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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

In re DOWNSTREAM ADDICKS AND
BARKER (TEXAS) FLOOD-CONTROL                     Sub-Master Docket
RESERVOIRS                                       No. 17-9002L

                                                 Senior Judge Loren A. Smith
                                                 (E-Filed January 10, 2023)

 THIS DOCUMENT APPLIES TO:
 ALL DOWNSTREAM CASES


                   PLAINTIFFS’ APPENDIX IN SUPPORT OF
            RESPONSE TO MOTION FOR SUMMARY JUDGMENT AND
                 CROSS-MOTION FOR SUMMARY JUDGMENT

                                   VOLUME II OF VIII

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 2   IN RE UPSTREAM ADDICKS
 3    AND BARKER (TEXAS)
 4   FLOOD-CONTROL RESERVOIRS         Sub-Master Docket No.
                                      17-cv-9001L
 5   _________________________
 6                                    Judge Charles F. Lettow
 7   THIS DOCUMENT RELATES TO:
 8   ALL UPSTREAM CASES
 9
10                 ORAL DEPOSITION OF VAL ALDRED
11                            AUGUST 1, 2018
12
13
14             ORAL DEPOSITION OF VAL ALDRED, produced as a
15   witness at the instance of the Defendant and duly
16   sworn, was taken in the above styled and numbered
17   cause on Wednesday, August 1, 2018, from 8:58 a.m.
18   to 3:31 p.m., before Rene White Moarefi, CSR, CRR,
19   RPR in and for the State of Texas, reported by
20   computerized stenotype machine, at the offices of
21   Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,
22   Houston, Texas, pursuant to the Federal Rules of
23   Civil Procedure and any provisions stated on the
24   record herein.
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 $<RX UHULJKW                                   DW"
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 :H UHJRLQJWRUHIHUWRLWODWHU                          42ND\'LG\RXZRUNZLWKDUHDOHVWDWH
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   7DNHDORRNDWWKLVIORRUSODQ$QGQRQHHGWRSD\        \RXUUHDOHVWDWHDJHQW"
   SDUWLFXODUDWWHQWLRQWRDQ\RIWKHGLPHQVLRQV%XW        $/HVVSUREDEO\
   WHOOPHLIWKLVIORRUSODQDFFXUDWHO\GHSLFWVWKH          42ND\+RZGLG\RXILQG\RXUKRPHDW
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   EHFDXVHLWWKUHZPHRIIDOLWWOHELWORRNLQJDWWKDW       VRXWKRI0HPRULDOWKDWORRNHGSDUWLFXODUO\
   VKDSHWRWKHULJKWKDQGFRUQHU                            LQWHUHVWLQJ$QG,WKLQNWKH\ZHUHDVNLQJDERXW
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 ILUVWIORRULVDFFXUDWH"                                   ZDVWU\LQJWRVHOODKRXVHLQ&DOLIRUQLDDQG
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 GLPHQVLRQVEXWWKHWKHOD\RXWLVFRUUHFW              7KRUQYLQHDQGORRNHGDWLWDQGVDLG\RXNQRZ
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 :KHQGLG\RXILUVWSXUFKDVH\RXUKRPH"
             :KHQGLG\RXILUVWSXUFKDVH\RXUKRPH"         NQRZLW VSUREDEO\MXVWDVJRRGDVDQ\WKDW VLQ
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     Case 1:17-cv-09002-LAS    Document 266-2     Filed 01/10/23   Page 10 of 1584
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                                                                     Page 1

1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2    IN RE UPSTREAM ADDICKS            )
     AND BARKER (TEXAS)                )
3    FLOOD-CONTROL RESERVOIRS          )
                                       )   Sub-Master Docket No
4    ________________________          )   17-cv-9002L
     THIS DOCUMENT RELATES TO
5    ALL DOWNSTREAM CASES              )
6
7                --------------------------------------
                              ORAL DEPOSITION OF
8
                                 PHILLIP AZAR
9
                                 JULY 9, 2018
10              --------------------------------------
11
12               ORAL DEPOSITION OF PHILLIP AZAR, produced as a
13   witness at the instance of the United States, and duly
14   sworn, was taken in the above-styled and numbered cause
15   on the 9th day of July, 2018, from 9:02 a.m. to
16   5:03 p.m., before Morgan Veletzuy, CSR in and for the
17   State of Texas, recorded by machine shorthand, at Kirby
18   Mansion, 2000 Smith Street, Suite 550, Houston, Texas
19   77002, pursuant to the Federal Rules of Civil Procedure
20   and the provisions stated on the record or attached
21   hereto; that the deposition shall be read and signed
22   before any notary public.
23
24
25

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                                                                                       A461
      Case 1:17-cv-09002-LAS    Document 266-2     Filed 01/10/23   Page 11 of 1584
                                    3KLOOLS$]DU                         -XO\

                                                                    Page 17

 1                      And then I moved to, during law school,

 2    Constitutional Square Apartments and it was on

 3    Greenridge.      And that's over close to the Galleria area.

 4          Q.     Approximately when did you live in that

 5    neighborhood?

 6          A.     During my law school career.         During my law

 7    school.

 8          Q.     When was that?

 9          A.     Probably 1979 through '82.

10          Q.     Where did you live after that?

11          A.     Four Leaf Towers.

12          Q.     Where are Four Leaf Towers?

13          A.     It's close to the Galleria, closer to the

14    Galleria.      It's over on Post Oak.

15          Q.     How long did you live there?

16          A.     Until I found a house through Magnolia Bend.

17    Probably about two years or maybe three years.

1
188         Q.     What year did you purchase the Magnolia Bend

1
199   p roperty?
      property?

2
200         A.     In 1990, I believe.      October 31st, 1990, was

21    the day my father passed away.           A lot of people pass

22    away around here.        Sorry.

23          Q.     Sorry to hear that.

24                      So you said you were living in the

25    Constitutional Square Apartments until approximately

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                                                                                        A462
         Case 1:17-cv-09002-LAS Document 266-2   Filed 01/10/23 Page 12 of 1584
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·3· · · ·IN THE UNITED STATES COURT OF FEDERAL CLAIMS

·4
· · IN RE DOWNSTREAM ADDICKS· · *
·5· AND BARKER (TEXAS)· · · · · * SUB-MASTER DOCKET
· · FLOOD-CONTROL RESERVOIRS· · * NO. 17-cv-9002L
·6· · · · · · · · · · · · · · · *
· · ___________________________ *
·7· · · · · · · · · · · · · · · *
· · THIS DOCUMENT RELATES TO:· ·*
·8· · · · · · · · · · · · · · · *
· · ALL TEST PROPERTIES· · · · ·*
·9

10

11

12
· · · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
13

14

15

16

17· Date· · · · · · · · · ·Edith A. Boggs, CSR

18

19· 9-18-18· · · · · · · · HOUSTON, TEXAS

20

21

22

23

24

25


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.com


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         Case 1:17-cv-09002-LAS Document 266-2   Filed 01/10/23 Page 13 of 1584
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·8· · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
·9
10
11· · · ·DEPOSITION AND ANSWERS of JANA CANAN BEYOGLU, taken
12· before Edith A. Boggs, a certified shorthand reporter in
13· Harris County for the State of Texas, taken at the law
14· offices of Neel, Hooper & Banes, PC, 1800 West Loop
15· South, Suite 1750, Houston, Texas, on the 18th day of
16· September, 2018, between the hours of 1:49 p.m. and 5:06
17· p.m.
18
19
20
21
22
23
24
25


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f




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       Case 1:17-cv-09002-LAS Document 266-2   Filed 01/10/23 Page 14 of 1584
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   ,15('2:1675($0$'',&.6                                                  

·1· you owned prior to Harvey?
·2· · · ·A.· Correct.
·3· · · ·Q.· And then Harvey, you purchased another one?
·4· · · ·A.· We purchased another one, that's right.
·5· · · ·Q.· Okay.· And how long were you at the Maplewood
·6· address?
·7· · · ·A.· We moved in 1998, and we moved to the other
·8· house in 2005.· So, between 1998 and 2005, I was in the
·9· Maplewood house.· Seven years maybe.
10· · · ·Q.· And the 107 Warrenton Drive house, the one that
11· flooded, how long were you there?
12· · · ·A.· Until Harvey.· 12 years.· 2005 until 2017.
13· · · ·Q.· And the new house that you purchased in Aliso?
14· · · ·A.· End of February.· We purchased the end of
15· February of this year.· So, only a few months.
16· · · ·Q.· Did you purchase any flood insurance for the
17· Maplewood house?
18· · · ·A.· Yes, we did.
19· · · ·Q.· Why did you purchase flood insurance that
20· house?
21· · · ·A.· What did?
22· · · ·Q.· Why.
23· · · ·A.· I don't know if it's the proper answer but I
24· purchase insurances for everything that I buy.· So,
25· Maplewood, I don't remember why I did but we were new in


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                                                          EsquireSolutions.comYVer1f




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                                   'DQD&XWWV                       -XQH

                                                                   Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2     IN RE UPSTREAM ADDICKS           )
      AND BARKER (TEXAS)               )
3     FLOOD-CONTROL RESERVOIRS         )
                                       )   Sub-Master Docket No
4     ________________________         )   17-cv-9002L
      THIS DOCUMENT RELATES TO         )
5     ALL DOWNSTREAM CASES             )
6
7                 --------------------------------------
                              ORAL DEPOSITION OF
8
                                  DANA CUTTS
9
                                 JUNE 27, 2018
10               --------------------------------------
11
12                ORAL DEPOSITION OF DANA CUTTS, produced as a
13    witness at the instance of the United States, and duly
14    sworn, was taken in the above-styled and numbered cause
15    on the 27th day of June, 2018, from 9:07 a.m. to
16    2:55 p.m., before Morgan Veletzuy, CSR in and for the
17    State of Texas, recorded by machine shorthand, at the
18    offices of McGehee, Chang, Landgraf, 10370 Richmond
19    Avenue, Suite 1300, Houston, Texas 77042, pursuant to
20    the Federal Rules of Civil Procedure and the provisions
21    stated on the record or attached hereto; that the
22    deposition shall be read and signed before any notary
23    public.
24
25

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                                                                                    A466
     Case 1:17-cv-09002-LAS    Document 266-2    Filed 01/10/23    Page 16 of 1584
                                    'DQD&XWWV                        -XQH

                                                                    Page 47

1           Q.    Okay.     And what year did you purchase the

2     property?

3           A.    In 1976.

4           Q.    Okay.     Did you know the prior owners of the

5     property?

6           A.    I met them, but I did not know them previously.

7           Q.    Okay.     Do you recall how much you paid for the

8     property when you purchased it?

9           A.    Yes.

10          Q.    And what amount did you pay for that property?

11          A.    $60,000 or fifty-nine nine.         $59,900.          I have

12    to be very specific here because I know it's all being

13    written.     Sorry.

14          Q.    Okay.     And are there any documents that reflect

15    this purchase price?

16          A.    I don't know if we have any left after the

17    after-Harvey flood that we experienced.

18          Q.    Okay.     Let me take a quick detour and ask about

19    the documents that were lost during Harvey.                 You

20    mentioned that you lost many documents during Harvey.

21          A.    We did.

22          Q.    Okay.     Can you describe where those documents

23    were kept.

24          A.    They were kept in file cabinets.

25          Q.    In what room of the house?

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23 Page 17 of 1584
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                                                                Page 1

1       IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
        IN RE DOWNSTREAM                         : Sub-Master Docket
3       ADDICKS AND BARKER                       : No. 17-cv-9002L
        (TEXAS) FLOOD-CONTROL                    :
4       RESERVOIRS                               : Judge Susan G.
                                                 : Braden
5                                                :
        THIS DOCUMENT RELATES                    :
6       TO:                                      :
        ALL TEST PROPERTIES                      :
7
8                                    *       *       *
9                   MONDAY, SEPTEMBER 17, 2018
10                                   *       *       *
11
12               Oral deposition of INGA GODEJORD taken
13     at the law offices of Neel, Hooper & Banes,
14     P.C. 1800 West Loop South, Suite 1750,
15     Houston, Texas, commencing at 1:01 p.m.
16     before Debbie Leonard, Registered Diplomate
17     Reporter, Certified Realtime Reporter.
18
19
20
21
22
23                               *       *       *
24
25

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23    Page 18 of 1584
                                   ,QJD*RGHMRUG               6HSWHPEHU

                                                                 Page 8

1      did you live when you first moved to Houston?

2                A.           Do you need an address?

3                Q.           If you recall.

4                A.           It was an apartment complex on

5      Eldridge Parkway, so we rented an apartment

6      there.

7                Q.           Were you living with your

8      husband?

9                A.           Yeah.

10               Q.           And where did you move after

11     that apartment on Eldridge?

12               A.           14334 Heatherfield Drive,

13     Houston.

14
14               Q.           And is that the property that's

15     at issue in this lawsuit?

16
16               A.           Yeah.

17               Q.           So I'd like you to look at

18     Exhibit 1.

19                            (Previously marked Exhibit

20               Godejord-1 was referred to the

21               witness.)

22                            THE WITNESS:      Uh-huh.

23     BY MS. HELD:

24               Q.           Now, I'm not sure if you've

25     actually -- if you've seen this document or

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                                                                                    A469
     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23    Page 19 of 1584
                                   ,QJD*RGHMRUG               6HSWHPEHU

                                                                Page 12

1                Q.           And at the time you purchased

2      the property, were you aware of the existence

3      of the waterway called Buffalo Bayou?

4                A.           No.

5                Q.           Mrs. Godejord, what is your

6      educational background?

7                A.           I have a degree in fine arts.

8                Q.           And are you presently employed?

9                A.           No.   I'm a housewife.

10               Q.           So just for the record, do you

11     have any specialized education in hydrology?

12               A.           No.

13               Q.           Or how about residential

14     appraisals?

15               A.           No.   It's just fine arts.

16               Q.           And have you ever worked for

17     the Army Corps of Engineers?

18               A.           No.

19               Q.           Have you ever worked for the

20     United States government?

21               A.           No, never.

22               Q.           So when you purchased your home

23     in 2008, what was the reason why you -- what

24     was the use that you were going to make of

25     the home?

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23 Page 20 of 1584
                                   ,QJD*RGHMRUG             6HSWHPEHU

                                                                  Page 13

1                A.           What do you mean?            Use?

2                Q.           What were you going -- why did

3      you purchase that home?              Was it to live in?

4      Was it to rent?

5                A.           To live in.      And we lived in

6      there, yeah, for ten years.                To live in.

7                Q.           And over that period of time,

8      who has lived in the house with you?

9                A.           My husband and my son.

10               Q.           And what -- how did you get the

11     funds to pay for the house?

12               A.           We took a loan.

13               Q.           And when you purchased the

14     property -- well, have you made any changes

15     to the house between the time you purchased

16     the property and when Hurricane Harvey

17     happened?

18               A.           You mean some renovation or

19     some --

20               Q.           Yes.   Any renovations or

21     additions, type -- things like that?

22               A.           The biggest renovation was our

23     roof after the Ike, so we changed that.                       And

24     then there was small things, like changing

25     garage doors or plumbing or something, yeah,

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23    Page 21 of 1584
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                                                                    Page 1

1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2         IN RE UPSTREAM ADDICKS       §

          AND BARKER (TEXAS)           §

3         FLOOD-CONTROL RESERVOIRS     § SUB-MASTER DOCKET

4

                                       § NO. 17-cv-9002L

5         _________________________ §

                                       § Chief Judge Susan G. Braden

6         THIS DOCUMENT RELATES TO: §

7         ALL DOWNSTREAM CASES         §

8         __________________________§

9                               ORAL DEPOSITION

10                             MR. JEREMY E. GOOD

11                               July 19, 2018

12

13             ORAL DEPOSITION OF MR. JEREMY E. GOOD, produced

14        as a witness at the instance of the United States and

15        duly sworn, was taken in the above-styled and

16        numbered cause on the 19th day of July, 2018, from

17             a.m. to 12:23 p.m., before Michelle Hartman,            9:00

18        Certified Shorthand Reporter in and for the State of

19        Texas and Registered Professional Reporter, reported

20        by computerized stenotype machine at the offices of

21        Raizner Slania, LLP, 2402 Dunlavy Street, Houston,

22        Texas 77006, pursuant to the Federal Rules of Civil

23        Procedure and the provisions stated on the record or

24

25        attached hereto.

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                                                                                    A472
     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 22 of 1584
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                                                               Page 90

1                 Q.   I am not sure the dates match up to

2    what we said in my mind, so I'm just going to ask:

3    Would you please tell me whether you think this

4    document properly reflects your lost rents?

5                 A.   This looks like something that my wife

6    did for our tax purposes for the year 2017.                 So it

7    just goes through the end of the calendar year of

8    2017, not reflecting anything of 2018.

9                 Q.   Okay.      Okay.   So then I am just going

10   to go back and ask you again to say maybe what you

11   said before that I didn't quite follow.

12                A.   Certainly.

13                Q.   And that is the end of 2000 -- for Unit

14   A, it was -- it was not occupied until the end of --

15   through December 31, 2017.

16                      When was it re -- it was reoccupied on

17   February 1?

18                A.   February the 1st, 2018.

19                Q.   And is that true for Unit B?

20                A.   Sometime in January.          So middle

21   January.

22                Q.   And C?

23                A.   February 1, 2018.

24                            (Exhibit 17 marked)

25                Q.   (BY MR. DAIN)       Can you tell me what

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                                                                                   A473
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                                                               Page 91

1    Exhibit
     Exhibit 17 is?
                is?

2                 A.   Document 17 is the HUD Settlement

3    Statement for our purchase of 760 Memorial Mews in

4               2015.
     January of 2015.

5                 Q.   Okay.      Thank you.

6                             (Exhibit 18 marked)

7                 Q.   (BY MR. DAIN)       Handing you what's been

8    marked Exhibit 18.          Could you tell me what that

9    document is?

10                A.   Document 18 was the appraisal that we

11   had done in December of 2014 to determine -- to

12   determine the value of the property.

13                Q.   Other than determining the property --

14   the value of the property, was it done for any other

15   reason?

16                      You weren't seeking -- did you need to

17   seek a loan or was this just something you did to --

18   as part of your diligence on the property?

19                A.   I don't recall the exact motivation for

20   this other than this is the prudent thing to do in

21   purchasing property.          There was nothing specific that

22   we were looking for other than overall value and

23   condition of the property.

24                Q.   And that document reflects the opinion

25   value of 360,000, which is the amount you paid,

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                                                               Page 1

 1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2   IN RE UPSTREAM ADDICKS            )

     AND BARKER (TEXAS)                )

 3   FLOOD-CONTROL RESERVOIRS          )   Sub-Master Docket No

 4   ________________________          )   17-cv-9002L

 5   THIS DOCUMENT RELATES TO          )

 6   ALL DOWNSTREAM CASES              )

 7                --------------------------------------

 8                            ORAL DEPOSITION OF

 9                               WAYNE HOLLIS

10                               JULY 19, 2018

11              --------------------------------------

12                ORAL DEPOSITION OF WAYNE HOLLIS, produced as a

13   witness at the instance of the United States, and duly

14   sworn, was taken in the above-styled and numbered cause

15   on the 19th day of July, 2018, from 8:59 a.m. to

16   12:13 p.m., before Morgan Veletzuy, CSR in and for the

17   State of Texas, recorded by machine shorthand, at Clark,

18   Love & Hutson, G.P., 440 Louisiana Street, Suite 1600,

19   Houston, Texas 77002, pursuant to the Federal Rules of

20   Civil Procedure and the provisions stated on the record

21   or attached hereto; that the deposition shall be read

22   and signed before any notary public.

23

24

25

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                                                                                  A475
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                                                             3DJH                                                                3DJH
  LQ9LHWQDP$QG,ZRXQGXSZLWKKLVSRUWLRQRIP\                    4$QGKDYHKDYH\RXZRUNHG\RXUZD\XSWRWKH
  SURSHUW\WKHDFUHV,VWDUWHGZLWK                                SRVLWLRQ\RXKDYHZLWKWKHPQRZ"
  $QGZHSXWWRJHWKHUIRUWXQDWHO\, YH                $<HV
  EHHQDEOHWRSXWWRJHWKHUDOORXWRIWKHROGIDPLO\                  4:K\GRQ W\RXWHOOPHDOLWWOHELWDERXWZKDW
  IDUPDOOFRQWLJXRXVDOPRVWDFUHVQRZEDFNWRR                 \RX YHGRQHZLWKWKHPRYHU\RXU\HDUV
  $QG,UDLVHFDWWOHRQLWDQGKD\                                     $,VWDUWHGRXWDVDVDOHVPDQDJHPHQWWUDLQHH
  47KDWZDVJRLQJWREHP\QH[WTXHVWLRQLIWKHUH              ILUVWFRXSOHRI\HDUV$QGWKHQ,JRWDFWLYDWHGDJDLQ
  ZDVOLYHVWRFN9HU\JRRG6R                                     DQGKDGWRJREDFNWRWKHPLOLWDU\IXOOWLPHIRUDERXW
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 4$QGKRUVHV6RLW VVWLOODQDFWLYHDFWLYH              SURJUDPDQG,ZDVRXUGHPRQVWUDWRURSHUDWRUIRUDERXWD
 IDUP"                                                                \HDUZKHQWKH\FDPHRXWZLWKDQHZW\SHVFUDSHUWKDW
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 IDPLO\ZKR                                                        UHSDLUVRQWKHPDFKLQH
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 SXWWKURXJKMXQLRUFROOHJHDQGWKH\ZRUNIRUPH                     EHFDPHDJHQHUDOOLQHVDOHVJX\$QGDERXW  
 SDUWWLPH%XW-RKQDQG,P\VRQDFWXDOO\UXQLWDQG              WKH\PRYHGPHLQWRWKLVQDWLRQDODFFRXQWVSRVLWLRQDQG
 PDNHHYHU\WKLQJZRUN                                                ,FDOORQWKHPDMRUFRQWUDFWRUVIURPDOORYHUWKH86
 49HU\QLFH$QGKRZPDQ\                                 DQGDOORYHUWKHZRUOGWKDWZRUNLQRXUDUHD
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 DQGWZREXOOVDQGHLJKWRUQLQHKRUVHV                              PXFKDQ\PRUH
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 $,W VDFRZFDOIRSHUDWLRQ,KDYH)PRWKHU                $1R, YHWUDYHOHGWR*HUPDQ\RQEXVLQHVVWR
                                                             3DJH                                                                3DJH
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  EXOOVRQWKHP                                                        WR&RVWD5LFD%HOL]H-XVWQRWUHDOIRUHLJQWUDYHO
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  VHUYHGLQWKHPLOLWDU\:KDW\HDUVZHUH\RXLQWKH                   4<HDK,FDQLPDJLQH
  PLOLWDU\"                                                             $QGDVLGHIURP\RXUKLJKVFKRROHGXFDWLRQ
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  49HU\JRRG$QGGLG\RXVHUYHRYHUVHDVDVZHOO"              \RXU\HDUVDW&DWHUSLOODUDQ\RWKHUKLJKHUHGXFDWLRQ
 $1R,QHYHUKDGWRJRRYHUVHDV                             WKDW\RX YH
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 7KDW VFRPPHQGDEOH$QG, PVRUU\DERXWWKHORVVRI                 IURP6DP+RXVWRQ6WDWH8QLYHUVLW\JUDGXDWHGLQ
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                                                                          WWRWDONLQJDERXW\RXUSURSHUW\\RXUKRPHDOLWWOHELW
                                                                             RWDONLQJDERXW\RXUSURSHUW\\RXUKRPHDOLWWOHELW
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                                                                                 $2KWKHVWUHHWDGGUHVVLV5LYHU)RUHVW
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                                                                              4$QGLVWKHKRPHDWWKDWDGGUHVV\RXUSULPDU\
 PDQDJHU                                                             UHVLGHQFH"
                                                                          UHVLGHQFH"
 49HU\JRRG$QGKRZORQJKDYH\RXEHHQZLWK                 $<HV
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      Case 1:17-cv-09002-LAS                           Document 266-2                     Filed 01/10/23             Page 26 of 1584
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  4$QGZKHUHLVWKDWSURSHUW\"                                   VW\OHRIWKHKRXVHDQGWKHVFKRROGLVWULFWWKDW
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  WZREHGURRPKRXVHRQLW%D\WRZQ7H[DV,W VXQGHU                   $1R
  +ROOLV0DULQH,UHQWRXWGRFNVSDFHDQGUHQWWKHKRXVH               4/HWPHWDNHRXWDPDS
  RFFDVLRQDOO\                                                           ([KLELWPDUNHG
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 4$QGGLGWKDWKRPHDOVRH[SHULHQFHVRPHVRPH               LVSRLQWLQJOHIWWKHRULHQWDWLRQ
 IORRGLQJRUDQ\GDPDJHIURP+XUULFDQH+DUYH\"                         7+(:,71(66<HV,,VHHWKDW$QG
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        4$QGIURPWKHUHYLHZRIVRPHGRFXPHQWVWKDW                   067$5',))$OLWWOHFRQIXVLQJ
 \RX YHSURYLGHG,XQGHUVWDQG\RXSXUFKDVHG\RXUKRPHRQ  4 %<067$5',)) 6RZKDWZH YHPDUNHGDV
         YHSURYLGHG,XQGHUVWDQG\RXSXUFKDVHG\RXUKRPHRQ
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     5LYHU)RUHVW'ULYHLQ-DQXDU\RILVWKDWFRUUHFW""            'HSRVLWLRQ([KLELWOHWPHVHHLIP\JODVVHVIDLOPH
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 +XUULFDQH+DUYH\ZKLFKZH OOGLVFXVVWRGD\KDYH\RXDQG  VXEGLYLVLRQSODWVIRU\RXUQHLJKERUKRRG
 \RXUZLIHOLYHGLQWKDWKRPHVLQFH\RXFORVHGLQ-DQXDU\              6RDP,FRUUHFWWKDW\RXUQHLJKERUKRRGLV
 "                                                                 NQRZQDV1RWWLQJKDP)RUHVW"
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  WKHSURSHUW\LQ"                                                  1RWWLQJKDP)RUHVWQHLJKERUKRRGV"
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  EHIRUH\RXSXUFKDVHG\RXUKRPHLQ"                                OLYHLQGR\RXMXVWVD\1RWWLQJKDP)RUHVWRU
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  UHFDOO"                                                                UHFRJQL]HWKHORFDWLRQRIRI\RXUSDUFHOXQGHUWKH
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 +ROORZ,JXHVV\RX GFDOOLW                                        $,DVVXPH,DVVXPHLW VQXPEHUQR
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 KRPHZKLOH\RXRZQHGLW"                                              DKHDGDQGKHOS$QGOHW V, PMXVWJRLQJWRNLQGRI
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                                  John Britton                     July 16, 2018

                                                                Page 1

 1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2    IN RE :   UPSTREAM ADDICKS

      AND BARKER (TEXAS)

 3    FLOOD-CONTROL RESERVOIRS

 4                                       CASE NO. 17-cv-9002L

 5    THIS DOCUMENT RELATES TO :

 6    ALL DOWNSTREAM CASES

 7

 8                          ORAL DEPOSITION

 9                            JOHN BRITTON

10·             30(B) (6) MEMORIAL ' SMC INVESTMENT 2013, LP

11                            JOHN BRITTON

12

13          ORAL 30(b) (6) DEPOSITION OF JOHN BRITTON·,

14    Memorial SMC Investment 2013, LP, produced as a

15    witness at the instance of the JOHN BRITTON and duly

16     sworn, was taken in the -above-styled and numbered

17     cause on the 16th day of July, 2018, from 9:10 a.m.

18     to 2:19 p . m., before Shauna_ Foreman, Certified

19     Shorthand Reporter in and for the State of Texas,

20     reported by computerized stenotype machine at the

21     offices of Vinson & Elkins, 1001 Fannin, Suite 2500,

22     Houston, Texas, pursuant to the Federal Rules of



                                                                       _J
23     Civil Procedure and the provisions stated on the

24     record or attached hereto.
25
      ._____       _                _ __
                         www.CapitaIReportingCompany.com
                                   202-857-3376


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                                                              John Britton                                                July 16, 2018
                                                                 Page 22                                                               Page24
            status of construction. I believe some of the                   1       Q. What activities did Memorial SMC carry out
     2 partners may have gotten monthly construction draws.                 2 itself from 2013 through 2017?
     3 We would make those available if they wanted them,                   3       A. I'm not sure I fully understand the
     4 but a lot of the partners don't want that much                       4 question. Memorial SMC is an ownership entity that
     5 detailed information.                                                5 is sponsored by Grayco Partners. Grayco Partners had
     6               Once the property is up and running,                   6 the obligation · · the development obligation •• I
     7 then we have monthly operating reports prepared by                   7 can't remember if there's a development agreement or
      8 our management company. And again, those are                         8 if the obligation of development is built into the
      9 supplied to the. limited partners who ask for them. I                9 limited partnership agreement.
    l O think annually we -- we provide ·• under the limited                lO            So the day-to-day operations fell to
     11 partnership agreement, we're obligated to provide                   11 Grayco Partners, who in turn engaged Grayco Builders
     12 annual reports, but we typically - if a partner                     12 for the construction aspect. And Grayco Partners and
     13 wants more often than annually, we'll provide them                  13 Grayco Builders both have employees.
     14 whatever they want.                                                 14       Q. And did Grayce Management have any role
     l5        Q. And prior to the formation or the·· prior                 15 prior to occupancy beginning?
     16 to the participation in the limited partnership by                  16       A. They have a limited role. When we are
     17 these various limited partners, were materials                      17 working on a development and coming up with
     18 provided to those entities associated with their                    18 the -· the backhouse operation, the leasing office
     I9 potential investment?                                               19 and how things are going to flow, we will consult
     20        A. Yes.                                                      20 with them. The management company itself is engaged
     21        Q. What was provided?                                        21 probably three months prior to initial leasing or
     22         A. An underwriting analysis prepared by Grayce              22 initial opening.
     23 Partners that looked at the development budget · · we               23       Q. All right. Then let me step back and talk
     24 prepared a development budget -- and a projection of                24 about the history of the Parkside project itself,
     25 operations, probably a 48-month or 84-month                         25 because the Parkside project existed before Memorial
                                                      - -- -- - +------                                                            -   - ----1
                                                                  Page 23                                                               Page 25
        1 projection of fmancial operations.                                    1 SMC Investment was created, correct?
        2       Q. After the formation, did Memorial SMC                     2        A. No.
        3 continue to provide projection of operations to the                   3
        4 various investors?                                                 4
        5       A. No. When we started construction, we
        6 provided construction-related information to the                              . Late 2011 and early 2012.
        7 partners, but we don't go in and reanalyze the                              Q. Oka . And who was involved in that from··
        8 operations before we even start operations.
        9       Q. And then at some -- at any point in time --
     10 on an annual basis -· was there ever any reports that
      11 provided projections that talked about maybe the                                                                              s
     12 Houston market, how it's developed, what's different,
      13 what's the same?                                                             A. There was an older office building. I
      14        A. The management company would prepare an                   14 believe it was the former headruiarters for Amoco, bu
      15 annual operating budget for the property.                           15 l'mn       10
      16        Q. From 2013 through December of 2017, is it                 16 older office uilding that w      located on a 21 or
      17 fair to characterize Memorial SMC 2013 as a passive                 17 so-acre parcel. That 21-acre parcel ultimately was
      18 participate in this project, in the Parkside project?               18 split into tw ~eels. The         ck approximate 9 acre
    . 19               MR. McNEIL: Objection. Form.                          19 Memorial SMC ended up__purchasing, and the front was
    I 20        A. Can you repeat that?                                      20 purchased from~          an entity controlled b)'. Skansk
      21        Q. (BY MR. DAIN) I'm trying to find out                     1 21    which is a construction com_Rany -- U.S. operations
      22 what •• they didn't have any employees. You                         22 based in New York but it's an international
      23 mentioned that Memorial SMC didn't have any                         23 construction com anx
      24 employees, correct?                                                 24          . And I saw the name of kanska in some 0£
    I 25         A. Correct.                                                 25 the documents, and 1-- I wasn't clear on their rol<.,

                                                                                                                         7 (Pages 22 - 25)
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                                                                John Britton                                             July 16, 2018
                                                                Page26                                                              Page28
    1      o the:t have -- other than the fact that they -- did                 property jointly with Skanska. They wanted the front
                                                                           2 half to use to develop a pair of office buildings.
                                                                           3 We were interested in the back half which abutted the
                                                                           4 Terry Hershey Park and would be a -- what we felt a
                                                                           5 fantastic apartment location.
                                                                           6            Our analysis of the property consisted
                                                                           7 of -- of location, looking at market com parables,
                                                                           8 looking at the physical aspects of the property, and
                                                                           9 trying to determine if it was satisfactory for an
                                                 ay_; 1s that             IO apartment development.
                                                                          11    Q. And this work between 2011 and 2013 would
                                                                          12 have all been performed by Grayco Partners; is that
                                                                          13 correct?
                                                                          14       A. Yes. Grayco Partners typically on the
                                                                          15 front end of developments as the development company
   16    Q. ~ no did it close at the same time the                        16 will perform all the analysis and contract for the
   17 Skanska property closed?                                            17 properties in its name. Those purchase contracts
   18     . Technically, Skanska urchased the pro ert):                   18 typically have an assignment provision where Grayco
   19 and we purchased the oR_erty from Skanska.                          19 can assign it to a re lated entity .
   20     . Okay.                                                         20              So we don't move the property into the
   21              ~~~
                                                                          21 actual owner until the very end when we close. So
                                                                          22 all the pre-development activities are taken --
                  So you purchased from Skanska?                          23 undertaken by Grayco Partners.
   24              echnicaJ!y, we purchased from Skanska.                 24       Q. What was the purchase price of the
   25             Prior to that, had there already been a                 2 5 property?

                                                                Page 27                                                             Page 29
          legal commitment for that acquisition from Skanska?               l      A. It was around $9 million, but I would
     2      A. Yes. We began working with Skanska to                        2 rather not speculate. I think we've given you the
     3 acquire this property. They wanted the front. We                     3 purchase and sale agreement. Can we take a look at
     4 wanted the back. We worked in conjunction with                       4 that to confirm the number?
     5 Skanska, agreed to let Skanska sort of drive the car.                5      Q. I don't know ifl've seen the purchase and
     6 They were the direct purchaser of the property. We                   6 sale agreement between Grayco Partners and Skanska.
     7 were working in the background with Skanska.                         7             MS. MILNER: We've produced it.
     8 Something happened along the way. Skanska ended up                   8             MR. DAIN: Is it in a special warranty
     9 not wanting to close with Grayco, and litigation                     9 deed, or is it a separate document?
    10 commenced.                                                          10             MS. MILNER: It's a separate document.
    11       Q. And when did the litigation occur?                         11 Give me just one second.
    12       A. Late 2012, I believe.                                      l2       A. I'm sorry. Well, the original contract was
    13       Q. That resulted in a settlement of that                      13 $7,912,000.
    14 litigation?                                                         14             MR. McNEIL: David, he's looking at a
    15       A. Yes.                                                       15 copy of the purchase and sale contract betv,een SCD
   [ 16      Q. And as part of that settlement agreement,                  16 Acquisitions, LLC and Grayco Partners, LLC. It's
    17 did they agree to convey the 9-acre lot?                            17 dated December 30th, 2011.
    18       A. They did.                                                  18              MR. DAIN: And is there a Bates stamp
    19       Q. From the perspective of exploring the                     \ 19 on that?
    20 development, you mentioned the efforts on behalf of                 20              MS. MILNER: I didn't print any of
    21 Grayco began in late 2011.                                          21 those with Bates stamp numbers on them for our prep.
    22             Can you just walk me through what                       22 Do you want to just use his copy?
    23 steps were taken as far as investigating this                      ! 23             MR. McNEIL: There is -- no. This is
    24 potential developmen~ starting in late 2011?                       1 24 just -- he -- these are documents that he reviewed to
   L__ ___
   , 25     __So we -- again, we're loolcing at the _ __;..._
        A. Sure.                                         j 25___
                                                              prepare______
                                                                     for the deposition.,____________,

                                                                                                                      8 (Pages 26 - 29)
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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 30 of 1584
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                                                               Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2    IN RE UPSTREAM ADDICKS              )
     AND BARKER (TEXAS)                  )
3    FLOOD-CONTROL RESERVOIRS            )   Sub-Master Docket No
4    ________________________            )   17-cv-9002L
5    THIS DOCUMENT RELATES TO            )
6    ALL DOWNSTREAM CASES                )
7                 --------------------------------------
8                             ORAL DEPOSITION OF
9                                VIRGINIA MILTON
10                                JULY 10, 2018
11               --------------------------------------
12                ORAL DEPOSITION OF VIRGINIA MILTON, produced
13   as a witness at the instance of the United States, and
14   duly sworn, was taken in the above-styled and numbered
15   cause on the 10th day of July, 2018, from 3:14 p.m. to
16   5:00 p.m., before Morgan Veletzuy, CSR in and for the
17   State of Texas, recorded by machine shorthand, at
18   Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19   Suite 4000, Houston, Texas 77056, pursuant to the
20   Federal Rules of Civil Procedure and the provisions
21   stated on the record or attached hereto; that the
22   deposition shall be read and signed before any notary
23   public.
24
25

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      Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 31 of 1584
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                                                               Page 10

 1    Thank you.

 2          A.   Okay.

 3          Q.   You were in the room for the latter part of

 4    Mr. Milton's deposition.         Is there anything you want to

 5    correct that Mr. Milton said?

 6          A.   I don't think correct.        I think because he

 7    didn't know about Mrs. Kickerillo, that she is remarried

 8    to another Italian.       She is no longer married to

 9    Vincent Kickerillo.

10          Q.   Was that the only thing?

11          A.   Yes.

12          Q.   Is it -- what's the address of the home which

1
133   i
      is     issue in this
        s at issue    this matter?
                           matter?

14          A.   850 Silvergate Drive, 77079, Houston, Texas.

15                       MR. HOBBS:    I'm going to object to the form

16    of that question
              question too.

17          Q.   (BY MR. LEVINE)       What year did you and your

1
188   husband purchase that home?

1
199         A.   1978.

20          Q.   And you purchased it together?

21          A.   Yes.

22          Q.   How long have you and Mr. Milton been married?

23          A.   53 years.

24          Q.   Congratulations.

25          A.   Thank you.

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23 Page 32 of 1584
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                                                                  Page 1

1              THE UNITED STATES COURT OF FEDERAL CLAIMS

       IN RE: DOWNSTREAM ADDICKS         )

2      AND BARKER (TEXAS)                )

3      FLOOD-CONTROL RESERVOIRS          )

4                                        ) SUB-MASTER DOCKET NO.

5                                        ) 17-CV-90021

6                                        )

7    ********************************************************

8                             ORAL DEPOSITION OF

9                               JENNIFER SHIPOS

10                            September 19, 2018

                                   Volume 1

11   ********************************************************

12         ORAL AND VIDEOTAPED DEPOSITION OF JENNIFER SHIPOS,

13   produced as a witness at the instance of the DEFENDANT,

14   was taken in the above-styled and numbered cause on

15   September 19, 2018 from 3:02 p.m. to 5:05 p.m., before

16   Toyloria Lanay Hunter, CSR in and for the State of

17   Texas, reported by machine shorthand, at the law offices

18   of NEEL, HOOPER & BANES, P.C., 1800 West Loop South,

19   Suite 1750, Houston, Texas 77027, pursuant to the

20   Federal Rules of Civil Procedure and the provisions

21   stated on the record or attached hereto.

22

23

24

25

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      Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23 Page 33 of 1584
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                                                                  Page 8

 1          A.    BS.

 2          Q.    Do you have any graduate degrees?

 3          A.    No.

 4          Q.    I'm assuming in your training of finance, you

 5    never received any kind of training in hydrology?

 6          A.    No.

 7          Q.    Have you ever worked for the government?

 8          A.    No.

 9          Q.    How long have you lived in Houston?

1
100         A.    Since '93.

11          Q.    And you live at 931 Bayou Parkway?

1
122         A.    Since '96.

13          Q.    Does anyone else live with you?

14          A.    Yes, my daughter.

15          Q.    Okay.   And how old is she?

16          A.    She is 17.     And I have a son that's in

17    college.

18          Q.    He doesn't live at home?

19          A.    Not permanent -- I mean, he lives with me; but

20    not on a regular basis.

21          Q.    Where does he go to school?

22          A.    UT.

23          Q.    I'm sorry.     How old is he?

24          A.    He's 20.

25          Q.    I'd like to show you what we'll mark as

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                                                                                  A484
      Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23 Page 34 of 1584
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                                                                 Page 16

 1    in order to have homeowners association -- or no.              I

 2    mean -- we just never were required.           I think some areas

 3    are required.

 4          Q.      When you -- since you've owned it, have you

 5    ever had flood insurance?

 6          A.      Two years now.

 7          Q.      And so when did you first have flood

 8    in surance?
      insurance?

 9          A.      Well, I guess I just renewed it for the third

1
100   time in July.      So it would have been, let's see.         Maybe

1
111   J uly of 2016.
      July

1
122         Q.      What company is that with?

1
133         A.      Allstate
                    Allstate.

14          Q.      When you bought it in 2016, why did you buy

15    it?

16          A.      Well, I'd never had any kind of water.         Like,

17    we went through Allison.        We went through Ike.       Never

1
188   had a problem at all.        The tax flood day, it did come up

1
199   in the yard.      And that was probably -- you know.         To the

20    extent -- you know, that I had seen water, you know, it

21    was enou gh where we couldn't pull
          enough                    pull our cars in.

22                       So -- but then it went right back out.            So

23    that was the first time I thought maybe this would be a

24    good idea.      But we do live in Houston, so. . .

25          Q.      How much do you pay for flood insurance?

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                                                                 Page 1

1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2    IN RE UPSTREAM ADDICKS           )

     AND BARKER (TEXAS)               )

3    FLOOD-CONTROL RESERVOIRS         )   Sub-Master Docket No

4    ________________________         )   17-cv-9002L

5    THIS DOCUMENT RELATES TO         )

6    ALL DOWNSTREAM CASES             ) August 1, 2018

7                --------------------------------------

8                             ORAL DEPOSITION OF

9                              ZHENNIA SILVERMAN

10                               JULY 18, 2018

11              --------------------------------------

12               ORAL DEPOSITION OF ZHENNIA SILVERMAN, produced

13   as a witness at the instance of the United States, and

14   duly sworn, was taken in the above-styled and numbered

15   cause on the 9th day of July, 2018, from 4:05 p.m. to

16   5:34 p.m., before Morgan Veletzuy, CSR in and for the

17   State of Texas, recorded by machine shorthand, at 1200

18   Smith Street, 12th Floor, Houston, Texas 77002, pursuant

19   to the Federal Rules of Civil Procedure and the

20   provisions stated on the record or attached hereto; that

21   the deposition shall be read and signed before any

22   notary public.

23

24

25

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 36 of 1584
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                                                                  Page 8

1    Peter Silverman, right?

2            A.   Right.

3            Q.   And I think your husband testified that you

4                                                    1990?
     moved into the house on 12515 Westerley Lane in 1990?

5            A.   That would -- that sounds about right.

6            Q.   Okay.

7            A.   It was a couple of months before we got

8    married.
     married.

9            Q.   Okay.     Did you live anywhere between the

10   apartment on 18th Street and --

11           A.   Yes.     We -- I moved in with my husband and we

12   lived at Waterford Square Apartments on Alabama.

13           Q.   Okay.     Okay.   And then after -- and have you

14   lived in Houston then since the mid-'80s other than that

15   time that you were abroad with your husband?

16           A.   That is correct.

17           Q.   And how much of that time -- because I believe

18   your husband testified that he was abroad between, say,

19   1992 and 1995.         Were you there with him for all of that

20   time?

21           A.   Almost all of that time.

22           Q.   Okay.

23           A.   He did have some assignments like to work in

24   the Philippines or to work in China where I did not

25   accompany him.

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                                                               Page 1

1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
      IN RE DOWNSTREAM                   )
3     ADDICKS AND BARKER                 )       Sub-Master Docket
      (TEXAS) FLOOD-CONTROL              )       No. 17-cv-9002L
4     RESERVOIRS                         )
5
6
     ******************************************************
7                             ORAL DEPOSITION OF
8                                TIMOTHY STAHL
9                             SEPTEMBER 5, 2018
10   ******************************************************
11
             ORAL DEPOSITION of TIMOTHY STAHL, produced as a
12   witness at the instance of the Defendant, and duly
     sworn, was taken in the above-styled and numbered
13   cause on September 5, 2018, from 10:10 a.m. to 2:52
     p.m., before Heather L. Garza, CSR, RPR, in and for
14   the State of Texas, recorded by machine shorthand, at
     the offices of NEEL, HOOPER & BANES, P.C., 1800 West
15   Loop South, Suite 1750, Houston, Texas, pursuant to
     the Federal Rules of Civil Procedure and the
16   provisions stated on the record or attached hereto;
     that the deposition shall be read and signed.
17
18
19
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                                                              Page 20

1                So, Mr. Stahl, how long have you lived in the

2    Houston area?

3         A.     I was born here in 1976.

4         Q.     Okay.    And what area of Houston did you grow

5    up in?

6         A.     Until my parents' divorce, right down the

7    street from this house.

8         Q.     So along either Buffalo Bayou or Spring

9    Branch?

10        A.     Spring Branch, yes.

11        Q.     Okay.    And when did you move away from this

12   Spring Branch area?

13        A.     I think it was 1986.         My mom and dad had a

14   divorce.     In '88 or so, I went to live with my dad on

15   the south side of town.          I was there until I was 17

16   and I finished high school and I went in the Army and

17   then I was gone until I was 21.             I lived on the south

18   side for a little while and then went to flight school

19   in Oklahoma and ended up in multiple different parts

20   of the country and then I was back here approximately

21   11 or 12 years ago.

22        Q.     Okay.

23        A.     About 2007-ish.

24        Q.     Okay.    And you purchased the home on Chimney

25
25   Rock Road in October, 2007; is that correct?
                                         correct?

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                                                                                  A489
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                                                              Page 21

1         A.     That is correct, yes, ma'am.

2         Q.     So during -- during the years that you grew

3    up along Spring -- in the Spring Branch area, did you

4    live in a house that directly abutted that Spring

5    Branch corridor?

6         A.     No, ma'am.

7         Q.     How -- how close were you to Spring Branch?

8         A.     Well, at the time there -- you're talking

9    about Spring Branch, the creek, or Spring Branch, the

10   neighborhood.

11        Q.     I'm talking about the creek.

12        A.     Okay.    I think there was a tributary or

13   something that we just called a ditch, a deep ditch,

14   that was across the street, but they've now put that

15   underground?

16        Q.     During the time you were growing up in that

17   area, did the home that you lived in experience any

18   flooding?

19        A.     No, ma'am, not even during Hurricane Alicia.

20        Q.     So you remember Hurricane Alicia?

21        A.     I do.

22        Q.     Was there any flooding in the streets in your

23   neighborhood during that hurricane?

24        A.     No, ma'am.

25        Q.     So going back to October, 2007, when you

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 40 of 1584
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                                                                Page 1

 1               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2         IN RE:   DOWNSTREAM            §

           ADDICKS AND BARKER (TEXAS)§

 3         FLOOD-CONTROL RESERVOIRS       §

 4         vs.                            § SUB-MASTER DOCKET NO.

 5         __________________________§ 17-cv-9002L

 6         THIS DOCUMENT RELATES TO: §

 7         ALL DOWNSTREAM CASES           §

           __________________________§

 8

 9                               ORAL DEPOSITION

10                            MR. SHAWN S. WELLING

11                               August 14, 2018

12

13               ORAL DEPOSITION OF MR. SHAWN S. WELLING,

14         produced as a witness at the instance of the United

15         States and duly sworn, was taken in the above-styled

16         and numbered cause on the 14th day of August, 2018,

17         from 9:22 a.m. to 3:52 p.m., before Michelle Hartman,

18         Certified Shorthand Reporter in and for the State of

19         Texas and Registered Professional Reporter, reported

20         by computerized stenotype machine at the offices of

21         Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,

22         Houston, Texas 77098, pursuant to the Federal Rules

23         of Civil Procedure and the provisions stated on the

24

25         record or attached hereto.

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      Case 1:17-cv-09002-LAS                          Document 266-2 Filed 01/10/23                               Page 41 of 1584
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     Case 1:17-cv-09002-LAS   Document 266-2    Filed 01/10/23   Page 42 of 1584
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                                                                  Page 1

 1        IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 2   IN RE UPSTREAM ADDICKS
 3    AND BARKER (TEXAS)
 4   FLOOD-CONTROL RESERVOIRS          Sub-Master Docket No.
                                       17-cv-9001L
 5   _________________________
 6                                     Judge Charles F. Lettow
 7   THIS DOCUMENT RELATES TO:
 8   ALL UPSTREAM CASES
 9
10                  ORAL DEPOSITION OF VAL ALDRED
11                            AUGUST 1, 2018
12
13
14             ORAL DEPOSITION OF VAL ALDRED, produced as a
15   witness at the instance of the Defendant and duly
16   sworn, was taken in the above styled and numbered
17   cause on Wednesday, August 1, 2018, from 8:58 a.m.
18   to 3:31 p.m., before Rene White Moarefi, CSR, CRR,
19   RPR in and for the State of Texas, reported by
20   computerized stenotype machine, at the offices of
21   Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,
22   Houston, Texas, pursuant to the Federal Rules of
23   Civil Procedure and any provisions stated on the
24   record herein.
25

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      Case 1:17-cv-09002-LAS                            Document 266-2                Filed 01/10/23               Page 43 of 1584
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 JXHVVRQ5LYHUYLHZ:D\MXVWQRUWKRI:RRGZD\DQG                  IORRGHG"
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 H[SHQVLYH"                                                         PHNQRZLIWKLVLVDQDFFXUDWHUHIOHFWLRQWRWKH
 $,EHOLHYHWKH\ZHUHDWWKHWLPH\HDK                  EHVWRI\RXUUHFROOHFWLRQRIWKHOLVWLQJRI\RXU
 4+RZPDQ\NLGVGLG\RXKDYHDWWKHWLPH"                 KRPHLQ
 $7KUHH                                                  $*ODGWRNQRZWKDW,UHPHPEHU,JRWWKH
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 FRQVLGHUDWLRQ"                                                     /RRNVWREHSUHWW\PXFKWKHZD\,UHPHPEHUHGLW
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 42WKHUWKDQVFKRROVDQG\RXUIDPLOLDULW\                 WKHWRSRIWKHOLVWLQJ7KHORWVL]HLVOLVWHGDV
 ZLWKWKHQHLJKERUKRRGZHUHWKHUHDQ\RWKHU                        VTXDUHIHHW'RHVWKDWVRXQGDERXWULJKWWR
 FRQVLGHUDWLRQVZKHQ\RXSXUFKDVHG\RXUKRPH"                       \RX"
 $'LGLWKDYHHQRXJKURRPVWRVXSSRUWD                   $,KDYHQRLGHD, PQRW
 IDPLO\RIILYH                                                    42ND\
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      Case 1:17-cv-09002-LAS                         Document 266-2                  Filed 01/10/23               Page 44 of 1584
                                                        9DO$OGUHG                                                 $XJXVW
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  PHDVXUHGLWRII, YHJRWWREHOLHYHWKDWWKH\                    %<06,=)$5
  ZRXOGUHSUHVHQWLWFRUUHFWO\DQGQRWWU\WRGHIUDXG                47KLVLVDSULQWRXWRU, OOUHSUHVHQW
  PHRUDQ\WKLQJ                                                    WR\RXWKLVLVDSULQWRXWIURPWKH+DUULV&RXQW\
  45LJKW2ND\$WWKHERWWRP,ZDQWWR                 $SSUDLVDO'LVWULFW,W\SHGLQ\RXUDGGUHVVDQG
  GLUHFW\RXUDWWHQWLRQWRWKHVROGLQIRUPDWLRQ                     WKLVLVWKHLQIRUPDWLRQWKDWZDVSURYLGHG
  $:DLW2ND\, PVRUU\*RWFKD2ND\                $JDLQWKHDSSUDLVDOGLVWULFWOLVWV\RXU
  47KHVDOHVSULFHZDVOLVWHGDVLV                     ODQGDUHDDVVTXDUHIHHW'R\RXKDYHDQ\
  OLVWHGDV'RHVWKDWFRPSRUWZLWK\RXU                    UHDVRQWREHOLHYHWKDWWKLVLVLQDFFXUDWH"
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 ULJKW,PHDQ,NQHZLWZDVDURXQGVRPHZKHUH                 OLVWHGDVVTXDUHIHHW'RHVWKDWVRXQGDERXW
 EHWZHHQDQG,GLGQ WUHPHPEHUH[DFWO\EXW              ULJKWWR\RX"
 WKDW VWKDW VUHDVRQDEOH                                      $,WGRHV
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 ZDVWDNHQRXW'RHVWKDWVRXQGDERXWULJKW"                      LVWKHLV/RW%ORFNRI7KRUQZRRG
 $,W,EHOLHYHVR                                    6HFWLRQ:KDW V7KRUQZRRG"
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 DERXW"                                                    LQ
 $,IWKHPDWKLVFRUUHFWWKDW VEH                   4$UH\RXSDUWRIDQ+2$"
 FRUUHFW                                                          $<HV
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 \RXUKRPH"                                                        $7KH\FRQWUDFWIRUWKHVHFXULW\IRUWKH
 $1R                                                    JDUEDJHSLFNXSDQGODZQFDUHDURXQGWKHHQWU\ZD\
 4:KHQGLG\RXSD\WKDWRII"                             $QGIRUWKHPRVWSDUWWKHUH VSUREDEO\DQXPEHURI
 $/HW VVHH,EHOLHYHLWZRXOGKDYHEHHQ               RWKHUWKLQJV2KWKH\PDLQWDLQWKHVZLPPLQJSRROV
                                                          3DJH                                                             3DJH
  VRPHWLPHLQDERXW                                            4'RWKH\PDLQWDLQDQ\GUDLQDJH"
  4&RQJUDWXODWLRQV                                        $,QZKDWZD\"
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  ORDQZLWKDSHUFHQWLQWHUHVWUDWH"                               $,GRQ WNQRZZKDWWKH\KDYH,WKDVEHHQ
  7+(:,71(66:HOOWKLVZDVQ W                     GRQHEXW,GRQ WNQRZWKDWWKH\WKDWWKH\GLGLW
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  WKHWLPHDIWHU,UHILQDQFHGLWZDVSUREDEO\PD\EH                  42ND\$UHWKHUHDQ\GHWHQWLRQSRQGVLQ
  SHUFHQWRUVRPHZKHUHWKHUHDERXWV:HKDG                        \RXUQHLJKERUKRRG"
 UDWFKHWHGGRZQDVLQWHUHVWUDWHVFDPHGRZQ                       $1R
 <HDKWKDWZRXOGKDYHEHHQFUD]\WR                42ND\6RORRNLQJEDFNRQ,EHOLHYH
 KDYHGRQHWKDW,SDLGLWRIIEHFDXVH,KDG\RX               LW V([KLELWGR\RXVHHDWDEOHWKDW VOLVWHGDV
 NQRZP\GDGKDGJLYHQPHVRPHOLIHLQVXUDQFHZKHQ                H[HPSWLRQVDQGMXULVGLFWLRQV"
 KHSDVVHGDZD\WKDW,XVHGWRSD\LWRII                         $<HV
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 QRZ                                                              +DUULV&RXQW\)ORRG&RQWURO3RUWRI+RXVWRQ
 $2ND\                                                  $XWKRULW\+DUULV&RXQW\+RVSLWDO'LVWULFW+DUULV
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 4,ZDQWWRLQWURGXFH\RX,ZDQWWRVKRZ              42ND\'R\RXUHFDOOUHFHLYLQJDQ\
 \RXDQRWKHUGRFXPHQWWKDW, PJRLQJWRPDUNDV                    GLVFORVXUHVZKHQ\RXSXUFKDVHG\RXUKRPHFRQFHUQLQJ
 ([KLELW                                                        IORRGLQJ"
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     Case 1:17-cv-09002-LAS    Document 266-2     Filed 01/10/23   Page 45 of 1584
                                   3KLOOLS$]DU                         -XO\

                                                                     Page 1

1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2    IN RE UPSTREAM ADDICKS            )
     AND BARKER (TEXAS)                )
3    FLOOD-CONTROL RESERVOIRS          )
                                       )   Sub-Master Docket No
4    ________________________          )   17-cv-9002L
     THIS DOCUMENT RELATES TO
5    ALL DOWNSTREAM CASES              )
6
7                --------------------------------------
                              ORAL DEPOSITION OF
8
                                 PHILLIP AZAR
9
                                 JULY 9, 2018
10              --------------------------------------
11
12               ORAL DEPOSITION OF PHILLIP AZAR, produced as a
13   witness at the instance of the United States, and duly
14   sworn, was taken in the above-styled and numbered cause
15   on the 9th day of July, 2018, from 9:02 a.m. to
16   5:03 p.m., before Morgan Veletzuy, CSR in and for the
17   State of Texas, recorded by machine shorthand, at Kirby
18   Mansion, 2000 Smith Street, Suite 550, Houston, Texas
19   77002, pursuant to the Federal Rules of Civil Procedure
20   and the provisions stated on the record or attached
21   hereto; that the deposition shall be read and signed
22   before any notary public.
23
24
25

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                                                                                       A496
      Case 1:17-cv-09002-LAS   Document 266-2     Filed 01/10/23   Page 46 of 1584
                                   3KLOOLS$]DU                         -XO\

                                                                   Page 186

 1    the whole bayou, a good part of it right there.                And a

 2    wide part, a skinny part or something, whatever they

 3    wanted to see, they liked it there.

 4                     So I said, "Just put a camera there.              That

 5    way you guys can observe that where you're at.                You'll

 6    know when it's up or down."         And I don't know whether

 7    that camera was there during Harvey or not.

 8          Q.   Knowing what you know now about how those dams

 9    and reservoirs work, do you think that they have

1
100   protected your home during storm events in the past
                                                     past??

1
111                    MR. ROBERTS:     Objection; calls for

1
122   speculation.

1
133         A.   Well, this will probably go both ways, but my

14    real answer would be I would never move in there if I

15    thought this would have happened, number one.                Number

16    two, I remember talking to Bobby Deden, the hydrologist

17    that we mentioned, Bobby, D-E-D-E-N.

18                     And I said, "Bobby, I thought you said this

19    would probably never flood."         And this was back in, I

20    want to say, '92, a couple years, maybe '94, whatever

21    that flood was after.       And they had 18-wheelers floating

22    down I-10.     And I found out later from talking to Bobby

23    the reason that that flood happened is because -- that's

24    the first time I ever heard about it -- was because the

25    people that were supposed to be going down to the dam,

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         Case 1:17-cv-09002-LAS Document 266-2   Filed 01/10/23 Page 47 of 1584
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·3· · · ·IN THE UNITED STATES COURT OF FEDERAL CLAIMS

·4
· · IN RE DOWNSTREAM ADDICKS· · *
·5· AND BARKER (TEXAS)· · · · · * SUB-MASTER DOCKET
· · FLOOD-CONTROL RESERVOIRS· · * NO. 17-cv-9002L
·6· · · · · · · · · · · · · · · *
· · ___________________________ *
·7· · · · · · · · · · · · · · · *
· · THIS DOCUMENT RELATES TO:· ·*
·8· · · · · · · · · · · · · · · *
· · ALL TEST PROPERTIES· · · · ·*
·9

10

11

12
· · · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
13

14

15

16

17· Date· · · · · · · · · ·Edith A. Boggs, CSR

18

19· 9-18-18· · · · · · · · HOUSTON, TEXAS

20

21

22

23

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25


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.com


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         Case 1:17-cv-09002-LAS Document 266-2   Filed 01/10/23 Page 48 of 1584
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·8· · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
·9
10
11· · · ·DEPOSITION AND ANSWERS of JANA CANAN BEYOGLU, taken
12· before Edith A. Boggs, a certified shorthand reporter in
13· Harris County for the State of Texas, taken at the law
14· offices of Neel, Hooper & Banes, PC, 1800 West Loop
15· South, Suite 1750, Houston, Texas, on the 18th day of
16· September, 2018, between the hours of 1:49 p.m. and 5:06
17· p.m.
18
19
20
21
22
23
24
25


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f




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       Case 1:17-cv-09002-LAS Document 266-2   Filed 01/10/23 Page 49 of 1584
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   ,15('2:1675($0$'',&.6                                                  

·1· · · ·Q.· And during -- from 2005 when you bought it
·2· until when you sold it, only you and your husband owned
·3· the property; is that right?
·4· · · ·A.· That's correct.
·5·
 5· · · ·Q.· Do you recall if they were -- well, what kind
·6· of documents did you receive when you purchased the
·7· house in 2005?
·8· · · ·A.· I don't know.· I don't remember.
·9· · · ·Q.· Do you remember getting disclosures of the
10· house?
11· · · ·A.· I'm sure we did.
12· · · ·Q.· Okay.· Do you remember if they disclosed any
13· issues with let's say plumbing?
14· · · ·A.· No, I don't recall.
15· · · ·Q.· Or termite -- issues with like termites?
16· · · ·A.· When we were buying it, no.
17· · · ·Q.· What about anything about flooding?
18· · · ·A.· No.
19· · · ·Q.· So, as far as you know, the property had never
20· flooded when you purchased it?
21· · · ·A.· No.
22· · · ·Q.· Okay.· And your Maplewood house where you
23· lived, did that house ever flood?
24· · · · A.· No.
        ·A.·
25· · · ·Q.· Prior to Maplewood, you lived somewhere else.


                                                          800.211.DEPO (3376)
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     Case 1:17-cv-09002-LAS   Document 266-2    Filed 01/10/23   Page 50 of 1584
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                                                                   Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2     IN RE UPSTREAM ADDICKS           )
      AND BARKER (TEXAS)               )
3     FLOOD-CONTROL RESERVOIRS         )
                                       )   Sub-Master Docket No
4     ________________________         )   17-cv-9002L
      THIS DOCUMENT RELATES TO         )
5     ALL DOWNSTREAM CASES             )
6
7                 --------------------------------------
                              ORAL DEPOSITION OF
8
                                  DANA CUTTS
9
                                 JUNE 27, 2018
10               --------------------------------------
11
12                ORAL DEPOSITION OF DANA CUTTS, produced as a
13    witness at the instance of the United States, and duly
14    sworn, was taken in the above-styled and numbered cause
15    on the 27th day of June, 2018, from 9:07 a.m. to
16    2:55 p.m., before Morgan Veletzuy, CSR in and for the
17    State of Texas, recorded by machine shorthand, at the
18    offices of McGehee, Chang, Landgraf, 10370 Richmond
19    Avenue, Suite 1300, Houston, Texas 77042, pursuant to
20    the Federal Rules of Civil Procedure and the provisions
21    stated on the record or attached hereto; that the
22    deposition shall be read and signed before any notary
23    public.
24
25

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                                                                                    A501
      Case 1:17-cv-09002-LAS     Document 266-2     Filed 01/10/23   Page 51 of 1584
                                      'DQD&XWWV                        -XQH

                                                                     Page 77

 1             A.   Just what I saw on the news, that the

 2     reservoirs were filling and they were going to have some

 3     controlled releases.

 4             Q.   Okay.     And have you received any information

 5     from local governments about the reservoirs after

 6     Hurricane Harvey?

 7             A.   Other than what I read in the news that water

 8     would be -- was being released for probably several

 9     months, no.

10             Q.   Okay.     Have you ever received information from

11     local governments about Houston being a flood-prone

12     area?

13             A.   Well, just what I've seen over the years when

14     they've talked about heavy rains and different parts of

15     Houston flooding like Meyerland, which seems to flood

16     quite a bit.         But just that general kind of thing.

17             Q.   Has -- do you have knowledge of whether your

1
188    property has ever flooded?

1
199            A.   Yes, I do have knowledge.

20             Q.   Okay.     And what is that knowledge?

21             A.   It has never flooded.

22             Q.   Okay.     Do you have knowledge about whether your

2
233    property has flooded before the time you owned it?

2
244            A.   No, I do not.

25             Q.   Okay.

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                                                                                        A502
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                                                                Page 1

1       IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
        IN RE DOWNSTREAM                         : Sub-Master Docket
3       ADDICKS AND BARKER                       : No. 17-cv-9002L
        (TEXAS) FLOOD-CONTROL                    :
4       RESERVOIRS                               : Judge Susan G.
                                                 : Braden
5                                                :
        THIS DOCUMENT RELATES                    :
6       TO:                                      :
        ALL TEST PROPERTIES                      :
7
8                                    *       *       *
9                   MONDAY, SEPTEMBER 17, 2018
10                                   *       *       *
11
12               Oral deposition of INGA GODEJORD taken
13     at the law offices of Neel, Hooper & Banes,
14     P.C. 1800 West Loop South, Suite 1750,
15     Houston, Texas, commencing at 1:01 p.m.
16     before Debbie Leonard, Registered Diplomate
17     Reporter, Certified Realtime Reporter.
18
19
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23                               *       *       *
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                                                                                 A503
     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23    Page 53 of 1584
                                   ,QJD*RGHMRUG               6HSWHPEHU

                                                                Page 11

1                Q.           And when you were looking at

2      homes in the Houston area, did you have any

3      understanding of potential flood risks in

4      different areas of Houston?

5                A.           No, not at all, nothing.

6                Q.           And did potential for flooding

7      come up at all with regard to your

8      consideration of the property that you

9      purchased?

10               A.           No.

11               Q.           Had you looked into whether the

12     property had flooded before, before you made

13     the purchase?

14
14               A.           No.   But, actually -- no, not

15     before.

16
16               Q.           And before you made the

17     purchase of the property, had you ever heard

18
18     of the Addicks Reservoir and the Barker

19
19     Reservoir?

20               A.           (Moving head side to side.)

21                            No.

22
22               Q.           Could you say that --

23               A.           No.

24               Q.           -- for the court reporter?

25               A.           No.

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23    Page 54 of 1584
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                                                                Page 16

1                Q.           So since the time that you

2      started living in that house, have you ever

3      gone down and viewed the Buffalo Bayou?

4                A.           I walked in the park.            I saw

5      the bayou there, yeah.

6                Q.           About how often do you walk in

7      the park or did -- how often did you used to

8      walk in the park before Hurricane Harvey?

9                A.           Maybe couple times in a week.

10     Not in summers, though.

11               Q.           So when you were looking at

12     neighborhoods with your real estate agent,

13     did you discuss with her any -- did you

14     discuss with her flooding -- potential

15     flooding risks of different neighborhoods?

16               A.           We did discuss flooding in

17     Houston, but since she mentioned the people

18     there lived for so long, like, 30, 40, 50

19     years, so I guess we were aware that there

20     were no flooding.            Same neighbors for many

21     years.

22               Q.           And before Hurricane Harvey,

23     you had said that you walked along the park

24     by Buffalo Bayou a couple times a week?

25               A.           I did.

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23    Page 55 of 1584
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                                                                    Page 1

1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2         IN RE UPSTREAM ADDICKS       §

          AND BARKER (TEXAS)           §

3         FLOOD-CONTROL RESERVOIRS     § SUB-MASTER DOCKET

4

                                       § NO. 17-cv-9002L

5         _________________________ §

                                       § Chief Judge Susan G. Braden

6         THIS DOCUMENT RELATES TO: §

7         ALL DOWNSTREAM CASES         §

8         __________________________§

9                               ORAL DEPOSITION

10                             MR. JEREMY E. GOOD

11                               July 19, 2018

12

13             ORAL DEPOSITION OF MR. JEREMY E. GOOD, produced

14        as a witness at the instance of the United States and

15        duly sworn, was taken in the above-styled and

16        numbered cause on the 19th day of July, 2018, from

17             a.m. to 12:23 p.m., before Michelle Hartman,            9:00

18        Certified Shorthand Reporter in and for the State of

19        Texas and Registered Professional Reporter, reported

20        by computerized stenotype machine at the offices of

21        Raizner Slania, LLP, 2402 Dunlavy Street, Houston,

22        Texas 77006, pursuant to the Federal Rules of Civil

23        Procedure and the provisions stated on the record or

24

25        attached hereto.

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                                                                                    A506
     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23    Page 56 of 1584
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                                                               Page 20

1    try to be there -- if there are no maintenance

2    issues, which there are inevitably, but I -- if there

3    are no maintenance issues, I try to get there at

4    least once a month.

5                 Q.    Prior to the purchase, were you

6    aware of -- aware of any flooding of any properties

7                     Street?
     on Memorial Mews Street?

8                 A.    No.

9                 Q.    Were you ever aware of any flooding of

10   any properties near your property?

11                A.    No.

12                Q.    Were you ever aware of any instance in

13   which the stream that runs through Terry Hershey Park

14   overflowed its banks?

15                A.    No.

16                Q.    Let's talk about the complex itself a

17   little bit.       Just for the record, could you describe

18   the unit itself.

19                       It was four units?

20                A.    Correct.    It is a single unit -- a

21   single being, rather, with four units.                It is

22   approximately 3,400 square feet in total space.                  Each

23   unit is a two-bedroom/two-bathroom approximately 800

24   and -- a little over 800 square feet each.

25                Q.    What was that number?

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 57 of 1584
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                                                               Page 1

 1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2   IN RE UPSTREAM ADDICKS            )

     AND BARKER (TEXAS)                )

 3   FLOOD-CONTROL RESERVOIRS          )   Sub-Master Docket No

 4   ________________________          )   17-cv-9002L

 5   THIS DOCUMENT RELATES TO          )

 6   ALL DOWNSTREAM CASES              )

 7                --------------------------------------

 8                            ORAL DEPOSITION OF

 9                               WAYNE HOLLIS

10                               JULY 19, 2018

11              --------------------------------------

12                ORAL DEPOSITION OF WAYNE HOLLIS, produced as a

13   witness at the instance of the United States, and duly

14   sworn, was taken in the above-styled and numbered cause

15   on the 19th day of July, 2018, from 8:59 a.m. to

16   12:13 p.m., before Morgan Veletzuy, CSR in and for the

17   State of Texas, recorded by machine shorthand, at Clark,

18   Love & Hutson, G.P., 440 Louisiana Street, Suite 1600,

19   Houston, Texas 77002, pursuant to the Federal Rules of

20   Civil Procedure and the provisions stated on the record

21   or attached hereto; that the deposition shall be read

22   and signed before any notary public.

23

24

25

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      Case 1:17-cv-09002-LAS                           Document 266-2                   Filed 01/10/23               Page 58 of 1584
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1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2    IN RE UPSTREAM ADDICKS           )
     AND BARKER (TEXAS)               )
3    FLOOD-CONTROL RESERVOIRS         )   Sub-Master Docket No
4    ________________________         )   17-cv-9002L
5    THIS DOCUMENT RELATES TO         )
6    ALL DOWNSTREAM CASES             )
7                --------------------------------------
                              ORAL DEPOSITION OF
8
                                 ARNOLD MILTON
9
                                 JULY 10, 2018
10              --------------------------------------
11
12               ORAL DEPOSITION OF ARNOLD MILTON, produced as
13   a witness at the instance of the United States, and duly
14   sworn, was taken in the above-styled and numbered cause
15   on the 10th day of July, 2018, from 9:02 a.m. to
16   2:48 p.m., before Morgan Veletzuy, CSR in and for the
17   State of Texas, recorded by machine shorthand, at
18   Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19   Suite 4000, Houston, Texas 77056, pursuant to the
20   Federal Rules of Civil Procedure and the provisions
21   stated on the record or attached hereto; that the
22   deposition shall be read and signed before any notary
23   public.
24
25

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                                                                                   A510
      Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 60 of 1584
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                                                                 Page 22

 1            Q.   What else attracted you to this particular

 2    home?

 3            A.   We liked it because it was fairly small and we

 4    only had one daughter.

 5            Q.   Was the school district a factor in your

 6    decision?

 7            A.   No.   We knew we were going to Kinkaid.

 8    Actually, we went to St. Francis with her first and then

 9    on to Kinkaid.       And both of those schools were just off

10    of Memorial.       And when I went to work downtown I drove

11    right past them so it was easy to take the daughter to

12    school in the morning.

13            Q.   Was there anything else about the home or the

14    neighborhood that was a factor in your decision?

15            A.   Not really.

16            Q.   Was flooding a concern for you when you were

17    p urchasing the home?
      purchasing

1
188           A.   No.   We really didn't think about it.        I was

1
199   aware of the dams, but there hadn't been an
                                               any  problem
                                                  y problem

20    that we were aware of out there, so..
                                       so....

21                       The first few years we were in the house we

22    bought flood insurance religiously, and after about

2
233   38 years we tended to forget about it.            And that's what

2
244   happened to us on the last one.          We actually discussed

25    it and m
             my                                 got busy
               y wife almost did it and then we got busy and
                                                         and

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23      Page 61 of 1584
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1    forgot
     for got about it and we got
                             got caught.
                                 caught.

2           Q.   I'll come back to questions about the details

3    about the flood insurance.

4                      Going back to the time of the purchase, you

5    said you were aware of the dams.            Can you describe for

6    me what your level of awareness was?

7           A.   Well, I knew they were big, long, earthen dams.

8    And I knew Loop 6 crossed Addicks to the north and

9    Westheimer went south of Barker Cypress.                And, of

10   course, that dam was west of Highway 6, south of I-10

11   too.    So I just knew they were large.           And I can

12   remember my father saying years ago that Memorial

13   wouldn't have been developed without those dams.

14          Q.   Do you recall approximately when your father

15   said that?

16          A.   No.   It was probably in the '50s.

17          Q.   So when you were young?

18          A.   Uh-huh.

19          Q.   Do you think your father's correct?

20          A.   Oh, yeah.     If you've ever looked at the 1975

21   flood pictures of downtown Houston, you'd know.

22          Q.   Going back to your awareness of the dams prior

23   to purchasing, did you know what their names were?

24          A.   I guess I did.      It seemed like I've known their

25   names forever.        But I feel fairly certain I didn't know

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 62 of 1584
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                                                               Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2    IN RE UPSTREAM ADDICKS              )
     AND BARKER (TEXAS)                  )
3    FLOOD-CONTROL RESERVOIRS            )   Sub-Master Docket No
4    ________________________            )   17-cv-9002L
5    THIS DOCUMENT RELATES TO            )
6    ALL DOWNSTREAM CASES                )
7                 --------------------------------------
8                             ORAL DEPOSITION OF
9                                VIRGINIA MILTON
10                                JULY 10, 2018
11               --------------------------------------
12                ORAL DEPOSITION OF VIRGINIA MILTON, produced
13   as a witness at the instance of the United States, and
14   duly sworn, was taken in the above-styled and numbered
15   cause on the 10th day of July, 2018, from 3:14 p.m. to
16   5:00 p.m., before Morgan Veletzuy, CSR in and for the
17   State of Texas, recorded by machine shorthand, at
18   Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19   Suite 4000, Houston, Texas 77056, pursuant to the
20   Federal Rules of Civil Procedure and the provisions
21   stated on the record or attached hereto; that the
22   deposition shall be read and signed before any notary
23   public.
24
25

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      Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 63 of 1584
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                                                                 Page 31

 1            Q.   Prior to Hurricane Harvey, had the

 2    850 Silvergate property ever flooded?

 3            A.   No.     Not only had it not flooded, it never had

 4    a drop of water from any thunderstorm, hurricane, o
                                                        orr

 5    tropical storm
               storm..

 6            Q.   Did it ever rain on your house during one of

 7    those t ypes of events?
            types

 8            A.   Yes.

 9            Q.   But water never came onto your property from

1
100   some other source, is what you're saying?

11                         MR. HOBBS:    Objection; form.

12            A.   We never had any water in our house from any

1
133   sou rce.
      source.

14            Q.   (BY MR. LEVINE)       So you've never had any water

15    d amage to your home from any storm?
      damage

16            A.   No.

17            Q.   Has your roof ever been damaged?

18            A.   We've had a couple of leaks -- one in the

19    dining room area, one in the kitchen going into the

20    garage area, from a shingle that got blown off.             And so

21    we had -- we didn't realize we had a leak and had the

22    roof fixed.         Also, we have a lot of squirrels that are

23    on the roof that do damage.           So we have had from that

24    also.

25            Q.   You've had water damage from that?

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23 Page 64 of 1584
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1              THE UNITED STATES COURT OF FEDERAL CLAIMS

       IN RE: DOWNSTREAM ADDICKS         )

2      AND BARKER (TEXAS)                )

3      FLOOD-CONTROL RESERVOIRS          )

4                                        ) SUB-MASTER DOCKET NO.

5                                        ) 17-CV-90021

6                                        )

7    ********************************************************

8                             ORAL DEPOSITION OF

9                               JENNIFER SHIPOS

10                            September 19, 2018

                                   Volume 1

11   ********************************************************

12         ORAL AND VIDEOTAPED DEPOSITION OF JENNIFER SHIPOS,

13   produced as a witness at the instance of the DEFENDANT,

14   was taken in the above-styled and numbered cause on

15   September 19, 2018 from 3:02 p.m. to 5:05 p.m., before

16   Toyloria Lanay Hunter, CSR in and for the State of

17   Texas, reported by machine shorthand, at the law offices

18   of NEEL, HOOPER & BANES, P.C., 1800 West Loop South,

19   Suite 1750, Houston, Texas 77027, pursuant to the

20   Federal Rules of Civil Procedure and the provisions

21   stated on the record or attached hereto.

22

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      Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23 Page 65 of 1584
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                                                                Page 16

 1    in order to have homeowners association -- or no.             I

 2    mean -- we just never were required.           I think some areas

 3    are required.

 4          Q.     When you -- since you've owned it, have you

 5    ever had flood insurance?

 6          A.     Two years now.

 7          Q.     And so when did you first have flood

 8    insurance?

 9          A.     Well, I guess I just renewed it for the third

10    time in July.     So it would have been, let's see.         Maybe

11    July of 2016.

12          Q.     What company is that with?

13          A.     Allstate.

14          Q.     When you bought it in 2016, why did you buy

15    it?

16          A.     Well, I'd never had any kind of water.         Like,

17    we went through Allison.        We went through Ike.      Never

1
188   had a problem at all.       The tax flood day, it did come up

1
199   in the yard.     And that was probably -- you know.         To the

20    extent -- you know, that I had seen water, you know, it

21    was enou gh where we couldn't pull
          enough                    pull our cars in.

22                      So -- but then it went right back out.            So

2
233   that was the first time I thou ght maybe
                                thought  maybe this would be a

2
244   good idea.     But we do live in Houston, so. . .

25          Q.     How much do you pay for flood insurance?

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                                                                Page 86

 1          A.    Yes, it is.

 2          Q.    And Paragraph 5 -- now, when did you do this?

 3          A.    March --

 4          Q.    March 28th?

 5          A.    -- 28th.

 6          Q.    2018?

 7          A.    Yeah.

 8          Q.    Paragraph 5, that's your view of what happened

 9    to your house?

10          A.    Yes.

11          Q.    Now, with respect to the market values on

12    these appraisals or the appraised values, do you agree

13    with -- do you agree with the market value on this -- on

14    this -- on these sheets?

15          A.    Between these two?        Or --

16          Q.    For any of them.

17          A.    (Reading.)     I don't know the answer to that.

18          Q.    I notice that between 2016 and 2017, the land

1
199   value doesn't chan ge at all?
                    change

2
200         A.    Correct.

21          Q.    Do you agree with that?

22          A.    Not necessarily, but I don't know.

2
233         Q.    Well, the property was flooded.

24                        Was never flooded before 2017, was it?

25          A.    No.

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                                                                                  A517
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                                                                 Page 87

1            Q.     But it was flooded during 2017?

2            A.     Yes.

3            Q.     There's nothing in here reflecting that

4    anything like that ever happened?

5            A.     Right.

6            Q.     I got one last question now, ma'am.

7            A.     Okay.

8            Q.     If your -- let's say the dams would not have

9    been there.       Let's just assume the dams were never

10   there.       Would your purchase decision for the home have

11   been the same?

12                          MR. DOOHER:      Objection; calls for

13   speculation.

14   BY MR. BANES:

15           Q.     You can answer if you know.

16           A.     If -- would I have bought the property right

17   here?

18           Q.     Yeah.     Exhibit 1, where it's located.

19           A.     If the dams were not --

20           Q.     Right.

21           A.     I would say I would not have bought the

22   property.

23           Q.     Okay.

24                          MR. BANES:      Nothing further.

25                                    EXAMINATION

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 68 of 1584
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                                                                 Page 1

1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2    IN RE UPSTREAM ADDICKS           )

     AND BARKER (TEXAS)               )

3    FLOOD-CONTROL RESERVOIRS         )   Sub-Master Docket No

4    ________________________         )   17-cv-9002L

5    THIS DOCUMENT RELATES TO         )

6    ALL DOWNSTREAM CASES             ) August 1, 2018

7                --------------------------------------

8                             ORAL DEPOSITION OF

9                               PETER SILVERMAN

10                               JULY 18, 2018

11              --------------------------------------

12               ORAL DEPOSITION OF PETER SILVERMAN, produced

13   as a witness at the instance of the United States, and

14   duly sworn, was taken in the above-styled and numbered

15   cause on the 9th day of July, 2018, from 9:06 a.m. to

16   3:52 p.m., before Morgan Veletzuy, CSR in and for the

17   State of Texas, recorded by machine shorthand, at 1200

18   Smith Street, 12th Floor, Houston, Texas 77002, pursuant

19   to the Federal Rules of Civil Procedure and the

20   provisions stated on the record or attached hereto; that

21   the deposition shall be read and signed before any

22   notary public.

23

24

25

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      Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23    Page 69 of 1584
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                                                                  Page 40

 1          Q.    Okay.     Did you ask the previous owners about

 2    flooding in your home?           Did you ask them about flooding

 3    at all?     Any previous instances of flooding?

 4                        MR. HODGE:     Objection; form.     I think there

 5    were two questions there, so -- before he was able t
                                                         too

 6    answer
      answer..

 7                        MS. IZFAR:     I'll break it apart.

 8          Q.    (BY MS. IZFAR)        Did you ask the previous -- did

 9    you discuss with the previous owners any preexistin
                                               preexistingg

1
100   instances of flooding?

1
111         A.    No.

1
122         Q.    Did you ask them about flooding generally?

1
133         A.    No.

14          Q.    Were you concerned at all about flooding?

15          A.    No.

16          Q.    Was there a reason you weren't concerned about

17    flooding?

18          A.    It wasn't -- I had never owned a home, I

19    hadn't -- in Houston.         I had never heard about or lived

20    through flooding.        This wasn't part of my knowledge set

21    at the time.

22          Q.    Would you characterize your home as an

23    arms-length transaction?           The purchase of your home as

24    an arms-length transaction between you and the sellers?

25                        MR. HODGE:     Objection; form.     Calls for a

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 70 of 1584
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                                                               Page 1

1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
      IN RE DOWNSTREAM                   )
3     ADDICKS AND BARKER                 )       Sub-Master Docket
      (TEXAS) FLOOD-CONTROL              )       No. 17-cv-9002L
4     RESERVOIRS                         )
5
6
     ******************************************************
7                             ORAL DEPOSITION OF
8                                TIMOTHY STAHL
9                             SEPTEMBER 5, 2018
10   ******************************************************
11
             ORAL DEPOSITION of TIMOTHY STAHL, produced as a
12   witness at the instance of the Defendant, and duly
     sworn, was taken in the above-styled and numbered
13   cause on September 5, 2018, from 10:10 a.m. to 2:52
     p.m., before Heather L. Garza, CSR, RPR, in and for
14   the State of Texas, recorded by machine shorthand, at
     the offices of NEEL, HOOPER & BANES, P.C., 1800 West
15   Loop South, Suite 1750, Houston, Texas, pursuant to
     the Federal Rules of Civil Procedure and the
16   provisions stated on the record or attached hereto;
     that the deposition shall be read and signed.
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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23     Page 71 of 1584
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                                                                Page 32

1         Q.     Okay.

2         A.     And he said that his structure had never

3    gotten wet.        His structure is the same elevation as

4    mine.

5         Q.     And was this one of the neighbors in --

6         A.     It's 267, yes, ma'am.

7         Q.     267.     Okay.    Is that the same neighbor who

8    lives there today?

9         A.     No, ma'am.       Phillip passed away, and his wife

10   moved.

11        Q.     Okay.     And when did that happen?           When did

12   they move -- or his wife move?

13        A.     I think they sold it in 2016.              We'd have to

14   look at the records to be sure.

15        Q.     All right.       So did Phil describe to you any

16
16   flooding
     flooding or describe for you
                              you how -- how the creek
                                                 creek

17
17   responds when there's a rain event?

18
18        A.     Well, he said the worst it ever got was high,

19
19   but not to the point where it got his house wet.

20
20        Q.     Did he point out to you on the ground how

21   high
     high the water had gotten?
                        gotten?

22        A.     No, ma'am.       He was more interested in telling

23
23   me about his wine collection that was underneath the

24
24   stairs that he was hiding from his wife.

25
25        Q.     And the wine collection had never gotten wet?

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 72 of 1584
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                                                              Page 33

1         A.     No, ma'am, it had not.

2         Q.     Did the possibility of flooding present any

3    concerns to you at the time you decided to purchase?
                                                purchase?

4         A.     Because --

5                        MR. BANES:     Objection to form.

6                        You can go ahead.

7         A.     Because it was not in the hundred-year

8    floodplain
     floodplain and I had firsthand primary
                                    primary source

9    experience
     experience with living
                     living right
                            right next door for the last 30

10   something years, I felt safe.             There was no concern

11   about flooding.
           flooding.

12        Q.     (BY MS. TARDIFF)         At the time of your closing

13
13   on the property,
            property, were there any
                                 any disclosures -- well,

14
14   let
     let me step back.
                 back.

15               Did you talk to the seller of the property at

16
16   all about flooding
               flooding before you
                               you purchased?
                                   purchased?

17
17        A.     No, ma'am.      The seller was less than inclined

18
18   to talk to anybody.

19
19        Q.     Okay.     So no opportunity to talk to the

20
20   seller?
     seller?

21        A.     Not until closing where she slid a key across

22   the table.

23        Q.     Okay.     And at your closing, was there any

24   disclosure from the seller about any flooding of

25   either the home itself or the -- the land between the

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 73 of 1584
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                                                                Page 1

 1               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2         IN RE:   DOWNSTREAM            §

           ADDICKS AND BARKER (TEXAS)§

 3         FLOOD-CONTROL RESERVOIRS       §

 4         vs.                            § SUB-MASTER DOCKET NO.

 5         __________________________§ 17-cv-9002L

 6         THIS DOCUMENT RELATES TO: §

 7         ALL DOWNSTREAM CASES           §

           __________________________§

 8

 9                               ORAL DEPOSITION

10                            MR. SHAWN S. WELLING

11                               August 14, 2018

12

13               ORAL DEPOSITION OF MR. SHAWN S. WELLING,

14         produced as a witness at the instance of the United

15         States and duly sworn, was taken in the above-styled

16         and numbered cause on the 14th day of August, 2018,

17         from 9:22 a.m. to 3:52 p.m., before Michelle Hartman,

18         Certified Shorthand Reporter in and for the State of

19         Texas and Registered Professional Reporter, reported

20         by computerized stenotype machine at the offices of

21         Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,

22         Houston, Texas 77098, pursuant to the Federal Rules

23         of Civil Procedure and the provisions stated on the

24

25         record or attached hereto.

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     Case 1:17-cv-09002-LAS                  Document 266-2 Filed 01/10/23                                   Page 74 of 1584
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                                                                                                                                  A525
Case 1:17-cv-09002-LAS   Document 266-2     Filed 01/10/23   Page 75 of 1584

                                  John Britton                     July 16, 2018

                                                                Page 1

 1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 2    IN RE :   UPSTREAM ADDICKS      )

      AND BARKER (TEXAS)

 3    FLOOD-CONTROL RESERVOIRS

 4                                        CASE NO. 17-cv-9002L
 5    THIS DOCUMENT RELATES TO : )

 6    ALL DOWNSTREAM CASES

 7

 8                          ORAL DEPOSITION
 9                            JOHN BRITTON

10              30(B) (6) MEMORIAL . SMC INVESTMENT 2013, LP

11                            JOHN BRITTON

12

13          ORAL 30 (b) (6) DEPOSITION OF JOHN BRITTON·,

14    Memorial SMC Investment 2013, LP , produced as a

15    witness at the instance of the JOHN BRITTON and duly
16    sworn, was taken in the -above-styled and numbered

17    cause on the 16th day of July, 2018, from 9:10 a.m.
18     to 2:19 p.m . , before Shauna_ Foreman, Certified

19    Shorthand Reporter in and for the State of Texas,

20     reported by computerized stenotype machine at the

21    offices of Vinson & Elkins, 1001 Fannin, Suite 2500,

22    Houston, Texas, pursuant to the Federal Rules of

23    Civil Procedure and the provisions stated on the

24     record or attached hereto.

25

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                                  202-857-3376


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                                                               John Britton                                                July 16, 2018

    1 drainage on how they would ultimately fix the
                                                               Page 34   l         Q. Did your civil engineer ever raise any
                                                                                                                                       Page 36

    2 location of the buildings in terms of height and                       2 concerns about the proximity of the property to the
     3 drain the buildings. And we looked at the title                        3 Buffalo Bayou?
    4 policy to determine if there were any encumbrances on                   4    A. No.
     5 the title that would prevent the development.                          5    Q. Was there any discussions with your civil
     6    Q. All right. And who were your civil                               6 engineers about the proximity of the site to the
    ? engineers?                                                              7 B uffalo Bayou?
    8     A. Walter P. Moore.                                                 8    A. Not to my knowledge. Again, we looked at
     9    Q. What's the last name?                                            9 where the -- the height -- the elevation of the
   10     A. Moore, M-0-0-R-E.                                               10 property relative to the flood zone, and that's kind
    11    Q. At the time that you were doing this                            11 of the biggest thing you look at in Houston, Texas.
    12 analysis, were you aware of the proximity to the                      12           Again, we verified that there were no
   13 Addicks Dam?                                                           13 encumbrances o n the title. And then in formulating a
    14    A.   I mean, we were aware that the dams were                      14 final elevation with the civil engineer, we relied on
    15 there. Growing up in Houston, you know, the dams                      15 their calculations and ended up building this several
    16 have been there my entire life. So ··                                 16 feet above the hundred-year flood plain. We were not
    17    Q. And had there been ever any analysis                            17 quite to the 500-year flood plain level, but pretty
    18 performed that related to the potential for releases                  18 close.
    19 from the -· from the dam?                                             19     Q. And had you been aware of any instance in
    20     A. No.                                                            20 which the property had ever been flooded
    21           MR. McNEIL: Well, before you go any                         21 historically?
    22 further, analysis by whom?                                            22     A .. No.
    23           MR. DAIN: Anyone that he knew of.                           23     Q. Were you, at the time you purchased, aware
    24     Q. (BY MR. DAIN) I'm talking about your                           24 of any instance in which South Mayde Creek had ever
    25 knowledge.                                                            25 overtopped its banks with water?
                                                               Page 35                                                                  Page 37
     1           MR. McNEIL: Objection. Form.                                       A. I wasn't specifically aware of that, but
     2     A. There was no analysis by Grayco of the dam                      2 the creek overtopping its banks doesn't necessarily
     3 release or anything like that.                                         3 imply that the property that we built and the level
     4     Q. (BY MR. DAIN) Did you look at -- were                           4 we built would flood.
     5 you -· did you ever know or have anybody investigate                   5     Q. .J understand the distinction. I'm j ust-·
     6 the protocols associated with the o perations of the                   6     A. So, no, we had no specific -· I had no
     7 dams, as to when they would release water, how much                    7 knowledge of prior flooding, but bayous and rivers
     8 water they might release, under what conditions there                  8 flood in Houston all the time.
     9 would be releases, factors such as that?                               9     Q. What was the last --1 just didn't hear the
    10     A. No.                                                            10 last part of your phrase.
    11     Q. So, now, you make sure I have my                               11     A. Bayous and rivers come out of their banks,
    12 phraseology right. There was $77 million in                            12 flood in Houston.
    13 development costs at the time of -- through tbe time                   13     Q. I'm going to just jump -- I'm going to ask
    14 of completion of the apartment complex, correct?                       14 about some of the types of documents I've seen in the
    15     A. Approximately.                                                  15 production today and just ask some questions
    16     Q. Approximately. Fair enough.                                     16 generically about them so I understand who generates
    17            And in addition to those -· to the                          17 them and what they are used for, all right?
    18 development costs, had Grayco incurred other costs in             118 A. Yes.
    19 exploring this investment?                                             19     Q. I see a document called Box Score. Have
    20     A. Through completion, that was a                             .1 20 you seen those?
    21 comprehensive view of the costs. Post-completion, we                   21     A. Yes.
    22 spent pro bably a couple million dollars more in                  122         Q. Okay. What is -- what's the purpose of
                                                                         1
   : 23 operating deficit carry costs to get it to                           j 23 that document?
    24 stabilized -- a stabilized leve l of leasing where it                 124     A. Box Score is created by our management
   1. 25 was self-sustaining.                                                I 25 company, generated from the property management

                                                                                                                       10 (Pages 34 - 37)
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                                                                  Page 1

1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 2   IN RE UPSTREAM ADDICKS
 3    AND BARKER (TEXAS)
 4   FLOOD-CONTROL RESERVOIRS          Sub-Master Docket No.
                                       17-cv-9001L
 5   _________________________
 6                                     Judge Charles F. Lettow
 7   THIS DOCUMENT RELATES TO:
 8   ALL UPSTREAM CASES
 9
10                 ORAL DEPOSITION OF VAL ALDRED
11                            AUGUST 1, 2018
12
13
14             ORAL DEPOSITION OF VAL ALDRED, produced as a
15   witness at the instance of the Defendant and duly
16   sworn, was taken in the above styled and numbered
17   cause on Wednesday, August 1, 2018, from 8:58 a.m.
18   to 3:31 p.m., before Rene White Moarefi, CSR, CRR,
19   RPR in and for the State of Texas, reported by
20   computerized stenotype machine, at the offices of
21   Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,
22   Houston, Texas, pursuant to the Federal Rules of
23   Civil Procedure and any provisions stated on the
24   record herein.
25

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        Case 1:17-cv-09002-LAS                            Document 266-2                   Filed 01/10/23                Page 78 of 1584

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1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2    IN RE UPSTREAM ADDICKS          )
     AND BARKER (TEXAS)              )
3    FLOOD-CONTROL RESERVOIRS        )
                                     )   Sub-Master Docket No
4    ________________________        )   17-cv-9002L
     THIS DOCUMENT RELATES TO
5    ALL DOWNSTREAM CASES            )
6
7               --------------------------------------
                           ORAL DEPOSITION OF
8
                              PHILLIP AZAR
9
                              JULY 9, 2018
10             --------------------------------------
11
12              ORAL DEPOSITION OF PHILLIP AZAR, produced as a
13   witness at the instance of the United States, and duly
14   sworn, was taken in the above-styled and numbered cause
15   on the 9th day of July, 2018, from 9:02 a.m. to
16   5:03 p.m., before Morgan Veletzuy, CSR in and for the
17   State of Texas, recorded by machine shorthand, at Kirby
18   Mansion, 2000 Smith Street, Suite 550, Houston, Texas
19   77002, pursuant to the Federal Rules of Civil Procedure
20   and the provisions stated on the record or attached
21   hereto; that the deposition shall be read and signed
22   before any notary public.
23
24
25

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                                                               Page 184

1    but that -- in front of the dams and reservoirs, but the

2    houses behind the reservoirs, behind the dams.                I'm sure

3    they were starting to get flooded too.           They had to

4    release it.     It had to go somewhere, and I guess it

5    ended up in my living room.         I don't know what to tell

6    you.

7           Q.   Are there specific government actions, though,

8    that you're alleging took your real property?

9                     MR. ROBERTS:     Objection; calls for

10   speculation.

11          A.   Well, you certainly can --

12                    MR. ROBERTS:     Vague.

13          A.   -- talk to my attorney about that because I

14   really don't know.       I know that -- I know what a taking

15   is because that happened off of I-10 to St. James Place.

16   That was my client.       And they took the property for the

17   benefit of other people, other people driving down I-10

18   every day.     And they didn't want to pay and it ended up

19   in litigation.     Finally, they settled.        But this was a

20   taking also.     The same way I think.

21          Q.   (BY MR. LEVINE)     What are you alleging the

22   government did to take your personal property?

23                    MR. ROBERTS:     Objection; asked and

24   answered.

25          A.   They -- they damaged the property by the

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                                                                  Page 185

1    release that they did.        And I'm not sure when they

2    released it, but whenever they released it, they damaged

3    the property.     And inside the property was the personal

4    property.

5         Q.     (BY MR. LEVINE)     Okay.        When you say released

6    it, what is it?

7         A.     I guess the reservoirs and the dams that are

8    upstream.     I didn't know of any dams prior to moving in

9    there.    I didn't know of any dams prior to any of these

10   floods, including this last one.              But I guess there's

11   dams and reservoirs and everything that I've read about.

12        Q.     Prior to Hurricane Harvey, were you aware of

13   the Addicks and Barker dams?

14        A.     I've heard of them.      I've heard of something on

15   Highway 6.     I didn't know it even governed the Buffalo

16   Bayou.

17        Q.     Did you have any idea how they worked?

18        A.     No, sir.   I knew that they came down there and

19   it was either the flood on 2015 or 2016.              That's when

20   all of the Corps people were out in my yard, and I

21   chased them off and one guy came back.

22                    And I said, "Look, why don't you just throw

23   your slide rules down and your calculators down and put

24   a camera up.     And that way" -- because they liked that

25   area because my backyard had a good clearing of seeing

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1    the whole bayou, a good part of it right there.               And a

2    wide part, a skinny part or something, whatever they

3    wanted to see, they liked it there.

4                     So I said, "Just put a camera there.            That

5    way you guys can observe that where you're at.               You'll

6    know when it's up or down."        And I don't know whether

7    that camera was there during Harvey or not.

8         Q.   Knowing what you know now about how those dams

9    and reservoirs work, do you think that they have

10   protected your home during storm events in the past?

11                    MR. ROBERTS:    Objection; calls for

12   speculation.

13        A.   Well, this will probably go both ways, but my

14   real answer would be I would never move in there if I

15   thought this would have happened, number one.            Number

16   two, I remember talking to Bobby Deden, the hydrologist

17   that we mentioned, Bobby, D-E-D-E-N.

18                    And I said, "Bobby, I thought you said this

19   would probably never flood."        And this was back in, I

20   want to say, '92, a couple years, maybe '94, whatever

21   that flood was after.      And they had 18-wheelers floating

22   down I-10.     And I found out later from talking to Bobby

23   the reason that that flood happened is because -- that's

24   the first time I ever heard about it -- was because the

25   people that were supposed to be going down to the dam,

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1    the reservoir or something to control it, got stuck in

2    the -- in the high water on I-10 or something like that.

3                     But now they have access to a helicopter.

4    Now, that's just what I heard.          I don't know anything,

5    but that's what Bobby told me.          But that won't happen

6    again because they have access to a helicopter.

7         Q.     (BY MR. LEVINE)     Would you describe Houston as

8    flood prone?

9         A.     Well, sure.

10        Q.     Do you think that the Addicks and Barker dams

11   and reservoirs protect downstream residents from -- from

12   flooding?

13                    MR. ROBERTS:     Objection; calls for

14   speculation.

15        A.     I have no knowledge.       I really don't.        What I

16   do depend on, and I think everybody depends on,

17   including you when you buy a house, is restrictions and

18   city municipalities.      I looked through everything.            I

19   didn't see any problem with that house, or I wouldn't

20   have bought it.

21        Q.     (BY MR. LEVINE)     When you say "restrictions,"

22   can you describe a little bit for me what you mean?

23        A.     You can't build a house in Hunter's Creek

24   unless you have at least a half acre.          If you have less

25   than a half acre, you can't build a house.            Restriction

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·3· · · ·IN THE UNITED STATES COURT OF FEDERAL CLAIMS

·4
· · IN RE DOWNSTREAM ADDICKS· · *
·5· AND BARKER (TEXAS)· · · · · * SUB-MASTER DOCKET
· · FLOOD-CONTROL RESERVOIRS· · * NO. 17-cv-9002L
·6· · · · · · · · · · · · · · · *
· · ___________________________ *
·7· · · · · · · · · · · · · · · *
· · THIS DOCUMENT RELATES TO:· ·*
·8· · · · · · · · · · · · · · · *
· · ALL TEST PROPERTIES· · · · ·*
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12
· · · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
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16

17· Date· · · · · · · · · ·Edith A. Boggs, CSR

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19· 9-18-18· · · · · · · · HOUSTON, TEXAS

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                                                           EsquireSolutions.com


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·8· · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
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10
11· · · ·DEPOSITION AND ANSWERS of JANA CANAN BEYOGLU, taken
12· before Edith A. Boggs, a certified shorthand reporter in
13· Harris County for the State of Texas, taken at the law
14· offices of Neel, Hooper & Banes, PC, 1800 West Loop
15· South, Suite 1750, Houston, Texas, on the 18th day of
16· September, 2018, between the hours of 1:49 p.m. and 5:06
17· p.m.
18
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·1· apartment that long.· I couldn't.· It's just too small
·2· and I couldn't stay.· I had a problem with -- after all
·3· these Harvey, I couldn't -- I cannot stay in small
·4· areas.
·5· · · ·Q.· Okay.· So, after that, you went back home,
·6· lived there for about another --
·7· · · ·A.· I thought I would be able to do it for about a
·8· month or so, start fixing the house, but we couldn't
·9· find any contractors.· So -- and I couldn't stay either.
10· So, we purchased.· We got into a new house.
11· · · ·Q.· When did you start looking for the new house?
12· · · ·A.· After we moved into the house, immediately I
13· started looking at new house.
14· · · ·Q.· And you said that you bought that one in
15· February of 2018, this year?
16· · · ·A.· Yeah, end of February.
17· · · ·Q.· How long did it take you to find that one?
18· · · ·A.· Well, we didn't have too much choices, I guess.
19· We just had to get out.· So, we didn't look at
20· particularly everything.· So, this is the one we said,
21· "Okay.· We can live in it," and we bought it.· So, we
22· didn't look for too long.
23· · · ·Q.· And what community or development are you
24· currently living in?
25· · · ·A.· North Eldridge.· It's a closed community, gated


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      JANA CANAN BEYOGLU                                          September 18, 2018
      IN RE DOWNSTREAM ADDICKS                                                     98

 1     community.
 2           Q.   A gated community?
 3           A.   A gated community.
 4           Q.   Do you know if that property is located near
 5     the Addicks reservoir?
 6           A.   Yes, we do.
 7           Q.   What did you know about the Addicks and Barker
 8     reservoirs prior to Harvey?
 9           A.   Nothing.       I didn't hear anything.
10           Q.   You didn't know of their existence prior to
11     Harvey?
12           A.   I mean, we knew it was there.
13           Q.   So, you knew the reservoirs were there?
14           A.   Yes.
15           Q.   Okay.       What did you know about other than it
16     was there?
17           A.   Nothing else.       It was there.
18           Q.   What did you know about the purpose of the
19     reservoirs?
20           A.   To provide us clean water.
21           Q.   Provide clean water?
22           A.   Provide us the water, yeah, clean water,
23     drinking water, nice water.          I don't know.
24           Q.   Okay.       For the Addicks and Barker reservoirs?
25           A.   Yeah.


                                                                 800.211.DEPO (3376)
                                                                 EsquireSo/utions. com



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·1· · · ·Q.· Okay.· How much did you spend, if you can
·2· estimate -- well, what was your monthly rent where you
·3· were staying temporarily at the apartments?
·4· · · ·A.· The apartments?· 1,800 maybe.· One bedroom.
·5· · · ·Q.· About 1,800?· The documents that you provide
·6· will have that information?
·7· · · ·A.· Yes, it will.
·8· · · ·Q.· Okay.
·9· · · ·A.· No.· 1,400 or something.· I'm sorry.· 1,400 or
10· something, and then other expenses and stuff.· We paid
11· for electricity and stuff.· I think it was coming up
12· 1,800 or something like that.
13· · · ·Q.· And you mentioned that it took a very long time
14· to even get an estimate from a contractor?
15· · · ·A.· We couldn't even reach anybody.· They were not
16· even returning our -- they were saying they were going
17· to come and they never did.· I mean, I remember my
18· husband were on the phone with a lot of them, trying to
19· get estimates and stuff.
20· · · · · · · · And like I said, I didn't get involved too
21· much on this part.· I didn't want to either.              I
22· didn't -- I didn't want to.· So, he was more involved
23· with all those stuff, all the contracting stuff, all the
24· insurance stuff, all those stuff.
25· · · ·Q.· So, you were the one that made the initial


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                                                                  Page 1

1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2     IN RE UPSTREAM ADDICKS          )
      AND BARKER (TEXAS)              )
3     FLOOD-CONTROL RESERVOIRS        )
                                      )    Sub-Master Docket No
4     ________________________        )    17-cv-9002L
      THIS DOCUMENT RELATES TO        )
5     ALL DOWNSTREAM CASES            )
6
7                --------------------------------------
                              ORAL DEPOSITION OF
8
                                  DANA CUTTS
9
                                 JUNE 27, 2018
10              --------------------------------------
11
12               ORAL DEPOSITION OF DANA CUTTS, produced as a
13    witness at the instance of the United States, and duly
14    sworn, was taken in the above-styled and numbered cause
15    on the 27th day of June, 2018, from 9:07 a.m. to
16    2:55 p.m., before Morgan Veletzuy, CSR in and for the
17    State of Texas, recorded by machine shorthand, at the
18    offices of McGehee, Chang, Landgraf, 10370 Richmond
19    Avenue, Suite 1300, Houston, Texas 77042, pursuant to
20    the Federal Rules of Civil Procedure and the provisions
21    stated on the record or attached hereto; that the
22    deposition shall be read and signed before any notary
23    public.
24
25

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                                                                     Page 73

1     accurate description of our neighborhood.

2            Q.   Okay.     And so just for the record, I will note

3     that the range -- and the range goes backwards -- is

4     LUCO 0000249 to LUCO 0000242.

5            A.   I guess, yeah.

6                         MR. CHANG:     I don't think there's an "O" in

7     there.

8                         THE WITNESS:      There's no "O" in there.

9     That's what you're saying wrong.

10                        MS. DUNCAN:     Oh, that's the problem.        Thank

11    you for pointing that out.

12           Q.   (BY MS. DUNCAN)        Excuse me.    Let's do this

13    range again.        LUC 0000249 to LUC 0000242.

14                        Mrs. Cutts, these pictures were taken in

15    the last few months.         Do you have any -- does this -- do

16    these pictures fairly and accurately represent your --

17    your neighborhood as it appeared in the past few months?

18           A.   As far as I know, yes.

19           Q.   Okay.

20                        MR. McGEHEE:      We have a request.       It's not

21    me.    But we have a request to take a break.

22                        MS. DUNCAN:     Let's take a short break.

23    Let's do ten minutes.         And I show as the time -- let's

24    see.     I show 11:02.     Great.

25                        (Break taken from 11:02 a.m. to 11:10 a.m.)

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1                        MS. DUNCAN:    Okay.    Great.     Go back on the

2     record.    I show a time of 11:10.

3           Q.   (BY MS. DUNCAN)       Mrs. Cutts, feel free to

4     stretch or stand up.

5           A.   Thank you.

6           Q.   Or move around as makes you comfortable.

7           A.   Thank you.

8           Q.   When you purchased the property, what did you

9     know about Addicks and Barker Reservoirs?

10          A.   Nothing.

11          Q.   Okay.     When did you first learn about the

12    existence of Addicks and Barker Reservoirs?

13          A.   I do not remember.

14          Q.   Okay.     Can you give me an approximation of

15    about how long you've known about the reservoirs?

16          A.   No, I cannot because I have no recollection of

17    any date that I might have learned about it.

18          Q.   Okay.     I'm going to ask you a few more

19    questions about that but in the context of some other

20    things.

21          A.   Sure.

22          Q.   So we'll come back to that.

23                       Have you ever seen the Army Corps of

24    Engineers host any public meetings?

25          A.   No.

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1             Q.    Okay.    Have you ever seen the Army Corps of

2     Engineers ever send any e-mails?

3             A.    No.

4             Q.    Have you ever been to the Army Corps of

5     Engineers' website?

6             A.    No, I don't believe so.

7             Q.    Okay.    Okay.     Have you ever received any

8     materials describing the reservoirs from other local

9     governments such as the County or the City, things like

10    that?

11            A.    Before the flood?        During the flood?        After the

12    flood?       Do you have any timeline you want me to respond

13    to?

14            Q.    Let's -- let's talk about each of those.              Let's

15    start with before the flood.

16            A.    So could you rephrase that question, please?

17            Q.    Yes.    Yes.     Did you receive any information

18    about the reservoirs from local governments before

19    Hurricane Harvey?

20            A.    All I remember receiving were news reports

21    about the reservoirs filling up, the gates being opened.

22    That's all I remember.

23            Q.    Okay.    And so the news reports about the

24    reservoirs filling up, that's in reference to Hurricane

25    Harvey?

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                                                                  Page 1

1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2    IN RE UPSTREAM ADDICKS          )
     AND BARKER (TEXAS)              )
3    FLOOD-CONTROL RESERVOIRS        )
                                     )   Sub-Master Docket No
4    ________________________        )   17-cv-9002L
     THIS DOCUMENT RELATES TO        )
5                                    )
     ALL DOWNSTREAM CASES            )
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                           ORAL DEPOSITION OF
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                                PAUL CUTTS
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12              ORAL DEPOSITION OF PAUL CUTTS, produced as a
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17   State of Texas, recorded by machine shorthand, at the
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21   stated on the record or attached hereto; that the
22   deposition shall be read and signed before any notary
23   public.
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1    home?

2            A.   311 Blue Willow, Houston, 77042.

3            Q.   Okay.     And from your perspective, why -- why

4    did you purchase the house?

5            A.   Well, we were looking for a long time.                 At that

6    time there were a lot of families coming down to

7    Houston.      Shell Oil transferred all their corporate

8    offices down here, and I was part of coordinating that

9    transfer.      Real fun.     But...

10           Q.   What would you say the -- the primary reasons

11   were that you purchased the home you purchased?

12           A.   Well, we were tired of looking.             But frankly,

13   we loved it, and we just sort of fell onto it.                     It was

14   so well maintained.         And we did meet the buyers.              We

15   didn't get to know them well.             But we felt that they

16   were the kind of owners that we'd like to follow.                     And

17   we've always enjoyed the house.                The school was -- a

18   very good reputation for a grade school.                 And it was a

19   walk to the school, not a drive or a bus.

20                        So we felt there were so many advantages to

21   just the location.         So you know, we felt it was the

22   perfect house at that time.

23           Q.   Okay.     Was risk of flooding a consideration in

24   your purchase?

25           A.   Pardon?

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1         Q.    Was risk of flooding a consideration when you

2    made the purchase?

3         A.    No.     We didn't really give that much thought.

4         Q.    Okay.     At the time you made the purchase, were

5    you aware of Addicks and Barker Reservoirs?

6         A.    No.

7         Q.    Do you recall when you became aware of Addicks

8    and Barker Reservoirs?

9         A.    Probably somewhere along the first few years

10   when we were living there.         And, you know, you get to

11   talk about your backgrounds and all that kind of stuff

12   and where you are and what's around you, that sort of

13   thing.    You begin to get familiar with where you're

14   living.    At some point, we probably stumbled on that.               I

15   don't recall any gee whiz.         I mean, it just -- yeah.

16        Q.    And what do you understand the purpose of the

17   reservoirs to be?

18        A.    Well, I thought it was to keep flood waters

19   from overtaking the land and so you had a place to

20   contain it until it could evaporate or flow out.                In

21   other words, it was a way to manage the flood-related

22   problems in the area.

23        Q.    Do you think that the Addicks and Barker

24   Reservoirs have done that job?

25        A.    That's hard to say.        We haven't had any

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1    flooding in our neighborhood.          But, I mean, you see the

2    neighborhoods in the news when we have flooding and

3    you -- you know, is it working?             I don't know.       I really

4    don't know.

5         Q.   Okay.     There is a ditch that is managed by

6    Harris County Flood Control District behind your home.

7                      Are you familiar with what I'm referencing?

8         A.   Yes.     Yeah, I was listening.

9         Q.   Great.     Great.    Do you understand whether --

10   well, what do you understand the purpose of that ditch

11   to be?

12        A.   Well, I always thought it was a runoff for

13   Buffalo Bayou.      It was to get the water there.

14        Q.   Okay.     So what is your understanding of where

15   the water flows to from that ditch?

16        A.   I think it flows north, but I don't know much

17   more about it than that.        It probably travels somewhere

18   down to the Gulf eventually.

19        Q.   Does the water in the ditch behind your home

20   flow into Buffalo Bayou?

21        A.   I think it does.       But again, I'm not that

22   familiar with that element here.

23        Q.   Do you know how far your home is from Buffalo

24   Bayou?

25        A.   About a mile.       I don't know.       Less than a mile

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                                                                         Page 1

1       IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
        IN RE DOWNSTREAM                        : Sub-Master Docket
3       ADDICKS AND BARKER                      : No. 17-cv-9002L
        (TEXAS) FLOOD-CONTROL                   :
4       RESERVOIRS                              :
                                                : Judge Susan G.
5                                               : Braden
        THIS DOCUMENT RELATES                   :
6       TO:                                     :
                                                :
7       ALL TEST PROPERTIES                     :
8                                   *       *       *
9                  MONDAY, SEPTEMBER 17, 2018
10                                  *       *       *
11
12              Oral deposition of ARNSTEIN GODEJORD
13    taken at the law offices of Neel, Hooper &
14    Banes, P.C. 1800 West Loop South, Suite 1750,
15    Houston, Texas, commencing at 9:07 a.m.
16    before Debbie Leonard, Registered Diplomate
17    Reporter, Certified Realtime Reporter.
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23                              *       *       *
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1               A.        It varies a bit, but sometimes

2     several times a week.             Not all the way down

3     to the bayou but to the park.

4               Q.        What type of activities do you

5     do in the park?

6               A.        I like to run.

7               Q.        And prior to the purchase of

8     your home, had you gone down -- did you go

9     down to Buffalo Bayou from the house before

10    you bought it?

11              A.        Not from the house.

12              Q.        Were you aware of the presence

13    of Buffalo Bayou --

14              A.        Yes.

15              Q.        -- prior -- prior to your

16    purchase of the house?

17              A.        Yeah.

18              Q.        And was there a park there at

19    that time?

20              A.        Yes.

21              Q.        And did you have any plans to

22    use the park when you purchased the house?

23              A.        Oh, I would say yes.

24              Q.        So back a little bit earlier in

25    the deposition, we talked about changes that

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1      you've made to the house since you purchased

2      it, and you had mentioned you had made some

3      changes to the master bedroom.

4                A.       Uh-huh.

5                Q.       Could you please tell me what

6      those changes were?

7                A.       Oh, that was actually related

8      to the water damage.            Water came in.

9                Q.       After Ike?

10               A.       Yeah.

11               Q.       So would you --

12               A.       It -- it was just repair, I

13     would say.      Like, we had to change the tiles

14     in the -- we had to tear down some of the

15     walls and change some tiles in the shower,

16     things like that.

17               Q.       So who else has lived at the

18     house besides you after you purchased it?

19               A.       My wife and son.

20               Q.       And has this been your family's

21     primary residence?

22               A.       Yes.

23               Q.       So before you purchased your

24     home, did you have any knowledge of the

25     existence of the Addicks -- the Addicks

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                                                                      Page 23

1      Reservoir and the Barker Reservoir?

2                A.       No.

3                Q.       Do you recall when you learned

4      of their existence?

5                A.       It's hard to say an exact point

6      in time.

7                Q.       Just, like, a general -- was it

8      mid-2000s, like, right before Harvey?

9                A.       I think -- I would almost say

10     it was, like, at the event of Harvey I

11     learned what that park is for.                    To me, it was

12     a park, big park.

13               Q.       So would it be fair to say,

14     then, you weren't aware of the purpose of the

15     Addicks Reservoir and the Barker Reservoir

16     prior to Hurricane Harvey?

17               A.       Yes.     I would say yes to that.

18               Q.       So I guess -- had you ever gone

19     into any meetings with the Corps of Engineers

20     about the Addicks and Barker Reservoirs prior

21     to Hurricane Harvey?

22               A.       No.

23               Q.       And so -- now, going to

24     Hurricane Harvey, when did you first learn

25     that your home may be at risk for flooding

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                                                                     Page 24

1      during Hurricane Harvey?

2               A.        At the risk of flooding, I

3      think I learned when my son called us and say

4      that they are releasing the water.                     He had

5      heard that on the news, and he said that he

6      might have to evacuate the house.

7               Q.        And where were you and your

8      wife at this time?

9               A.        In Canada.

10              Q.        So was there anyone at your

11     house other than your son?

12              A.        Yes, there was one -- one

13     person visiting us at that point.                    So there

14     were two.

15              Q.        And how old was your son?

16              A.        Well, he's 26 now, so he was 25

17     at that time.

18              Q.        So what did you do when you

19     learned that your house may need to be

20     evacuated, since you were in Canada?

21              A.        Preparing to -- to go back to

22     Houston.

23              Q.        Did you ask your son to do any

24     preparations at the house to prepare for a

25     potential evacuation?

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                                                                           Page 1

1       IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
        IN RE DOWNSTREAM                        : Sub-Master Docket
3       ADDICKS AND BARKER                      : No. 17-cv-9002L
        (TEXAS) FLOOD-CONTROL                   :
4       RESERVOIRS                              : Judge Susan G.
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5                                               :
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7
8                                   *       *       *
9                  MONDAY, SEPTEMBER 17, 2018
10                                  *       *       *
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12              Oral deposition of INGA GODEJORD taken
13     at the law offices of Neel, Hooper & Banes,
14     P.C. 1800 West Loop South, Suite 1750,
15     Houston, Texas, commencing at 1:01 p.m.
16     before Debbie Leonard, Registered Diplomate
17     Reporter, Certified Realtime Reporter.
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23                              *       *       *
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1               reporter get that?

2                         THE REPORTER:           I was going to

3               ask how to spell it later, but I did

4               get it.

5                         MS. HELD:        Oh, okay.

6                         MR. BANES:         N-E-S-M-I-T-H,

7               Laura, L-A-U-R-A.

8                         THE WITNESS:           Actually,

9               L-A-R-A, Lara.

10                        MR. BANES:         Lara.        L-A-R-A?

11                        THE WITNESS:           Yeah.

12                        MR. BANES:         Yeah, that's right.

13              That's right.

14     BY MS. HELD:

15              Q.        And how did you choose Lara to

16     be your real estate agent for this

17     transaction?

18              A.        I think my husband worked with

19     some Norwegians.         His colleagues, it was,

20     like, they referred, so she helped many

21     Norwegians here in Houston, so --

22              Q.        So when you were looking at

23     homes, did you talk to anyone else for advice

24     besides Lara, your real estate agent?

25              A.        Not me.

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1                Q.       And when you were looking at

2      homes in the Houston area, did you have any

3      understanding of potential flood risks in

4      different areas of Houston?

5                A.       No, not at all, nothing.

6                Q.       And did potential for flooding

7      come up at all with regard to your

8      consideration of the property that you

9      purchased?

10               A.       No.

11               Q.       Had you looked into whether the

12     property had flooded before, before you made

13     the purchase?

14               A.       No.    But, actually -- no, not

15     before.

16               Q.       And before you made the

17     purchase of the property, had you ever heard

18     of the Addicks Reservoir and the Barker

19     Reservoir?

20               A.       (Moving head side to side.)

21                        No.

22               Q.       Could you say that --

23               A.       No.

24               Q.       -- for the court reporter?

25               A.       No.

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                                                                   Page 12

1               Q.        And at the time you purchased

2      the property, were you aware of the existence

3      of the waterway called Buffalo Bayou?

4               A.        No.

5               Q.        Mrs. Godejord, what is your

6      educational background?

7               A.        I have a degree in fine arts.

8               Q.        And are you presently employed?

9               A.        No.    I'm a housewife.

10              Q.        So just for the record, do you

11     have any specialized education in hydrology?

12              A.        No.

13              Q.        Or how about residential

14     appraisals?

15              A.        No.    It's just fine arts.

16              Q.        And have you ever worked for

17     the Army Corps of Engineers?

18              A.        No.

19              Q.        Have you ever worked for the

20     United States government?

21              A.        No, never.

22              Q.        So when you purchased your home

23     in 2008, what was the reason why you -- what

24     was the use that you were going to make of

25     the home?

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1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2         IN RE UPSTREAM ADDICKS       §

          AND BARKER (TEXAS)           §

3         FLOOD-CONTROL RESERVOIRS     § SUB-MASTER DOCKET

4

                                       § NO. 17-cv-9002L

5         _________________________ §

                                       § Chief Judge Susan G. Braden

6         THIS DOCUMENT RELATES TO: §

7         ALL DOWNSTREAM CASES         §

8         __________________________§

9                               ORAL DEPOSITION

10                             MR. JEREMY E. GOOD

11                               July 19, 2018

12

13             ORAL DEPOSITION OF MR. JEREMY E. GOOD, produced

14        as a witness at the instance of the United States and

15        duly sworn, was taken in the above-styled and

16        numbered cause on the 19th day of July, 2018, from

17             a.m. to 12:23 p.m., before Michelle Hartman,               9:00

18        Certified Shorthand Reporter in and for the State of

19        Texas and Registered Professional Reporter, reported

20        by computerized stenotype machine at the offices of

21        Raizner Slania, LLP, 2402 Dunlavy Street, Houston,

22        Texas 77006, pursuant to the Federal Rules of Civil

23        Procedure and the provisions stated on the record or

24

25        attached hereto.

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     Case 1:17-cv-09002-LAS   Document 266-2        Filed 01/10/23    Page 108 of 1584
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1                 Q.   That's fine.       It is somewhere in the

2    two documents.      We can double-check that it might be

3    Salamar II?

4                 A.   II, could be.

5                 Q.   That's fine.

6                 A.   Yes, thank you.

7                 Q.   And who are the principles of that

8    entity?

9                 A.   I have to check the names.               I know the

10   wife's name is Lu-Lu and I would have to look back on

11   my correspondence on who the husband's name is.

12                Q.   What diligence did you do in looking at

13   this property when you made this purchase?

14                A.   I would say we did what would be normal

15   due diligence looking into the property and any of

16   the details that go into purchasing a home or

17   investment property.

18                Q.   Did they provide you financial

19   information showing you their incumbent expenses

20   associated with the property?

21                A.   There were some documents that they --

22   went back and forth.        My wife does a lot more of the

23   details on the numbers, being a CPA, me being the

24   musician; so she would be able to answer that better

25   than I am, but I'm sure there was some information

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                                                                      Page 17

1     that gave us at least a ballpark of what the numbers

2     were on the property.

3                 Q.    What other factors did you consider in

4     deciding to purchase this property, was it primarily

5     the income and expense positive cash flow that you

6     saw?

7                 A.    Yes.   I think the fact, too, that it's

8     in Houston.      It is in a great spot between Katy and

9     downtown; it's in the West Houston area close to the

10    City Center as well there at Katy -- or, excuse me,

11    at I-10 and the Katy Freeway, I-10 and Beltway 8.                         So

12    we thought it would be a good investment.

13                Q.   Any other factors you considered?

14                A.   Not to my recollection.

15                Q.   Now, at the time that you purchased it,

16    I assume you were aware of the Addicks Reservoir and

17    Dam?

18                A.   I was aware of the area but not fully

19    aware of exactly how everything worked out there as

20    far as what the dam was; but yes, I was aware of it.

21                Q.   What did you understand at that time?

22                A.   I understood that it appeared from my

23    knowledge that this was a large area.                 As a matter of

24    fact, we used to go ride our bikes there.                   Because

25    the Terry Hershey empties into it, we would go ride

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     Case 1:17-cv-09002-LAS    Document 266-2        Filed 01/10/23    Page 110 of 1584

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                                                                      Page 18

1                                 thought
     our bikes in the area, and I thou ght it was an
                                                  an

2    overflow area if the storms ever got very, very bad.

3                 Q.   And did you understand that South --

4    does South Mayde Creek run close to the front of

5    your -- of the 760 property?

6                 A.   The Buffalo Bayou.

7                 Q.   Is that Buffalo Bayou, or what, runs

8    down through the park directly in front of you?

9                 A.   I'm not sure which bayou of water that

10   is, what that's called.

11                Q.   What is the park name then?

12                A.   That is Terry Hershey right there.

13                Q.   So the water, that runs through Terry

14   Hershey?

15                A.   Yes.

16                Q.   And do you understand that that -- I

17   will refer to it as a "stream."

18                A.   Yeah.

19                Q.   -- that that stream flows from the

20   gates that release -- that release the water from the

21   Addicks Reservoir?

22                A.   I was not fully aware that that's where

23   the source was.

24                Q.   When you purchased it?

25                A.   Correct.

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     Case 1:17-cv-09002-LAS   Document 266-2        Filed 01/10/23    Page 111 of 1584

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                                                                     Page 19

1                 Q.   At some point did you become aware of

2    that?

3                 A.   Yeah, we did.       After the dam was

4    opened, we realized that that's where the water was

5    coming from.

6                 Q.   After the Harvey event?

7                 A.   After the Addicks release, after the

8    damages were released, yeah.

9                 Q.   Yeah, during the Harvey event --

10   because I mean, there may -- was there ever any

11   releases from the dam after you owned it prior to

12   August of 2017 that you're aware of?

13                A.   Not that I -- I'm not alone.                  I don't

14   know the answer to that.

15                Q.   As you sit here today, you don't recall

16   ever seeing any other -- being aware of any other

17   releases from the Addicks Reservoir into the stream

18   that goes through the Terry Hershey Park before

19   August?

20                A.   There may have been; there may not have

21   been.     Unless I'm a primary resident, so -- I'm not

22   there on a daily basis, so I'm not aware.

23                Q.   How often do you visit -- over the

24   course of your ownership, how often do you visit?

25                A.   I'm typically in the area and I will

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     Case 1:17-cv-09002-LAS    Document 266-2    Filed 01/10/23   Page 112 of 1584
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1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2    IN RE UPSTREAM ADDICKS            )
     AND BARKER (TEXAS)                )
3    FLOOD-CONTROL RESERVOIRS          )   Sub-Master Docket No
4    ________________________          )   17-cv-9002L
     THIS DOCUMENT RELATES TO          )
5    ALL DOWNSTREAM CASES              )
6
7                --------------------------------------
8                             ORAL DEPOSITION OF
9                                PEGGY HOLLIS
10                               JULY 19, 2018
11              --------------------------------------
12               ORAL DEPOSITION OF PEGGY HOLLIS, produced as a
13   witness at the instance of the United States, and duly
14   sworn, was taken in the above-styled and numbered cause
15   on the 19th day of July, 2018, from 12:57 p.m. to
16   1:48 p.m., before Morgan Veletzuy, CSR in and for the
17   State of Texas, recorded by machine shorthand, at Clark,
18   Love & Hutson, G.P., 440 Louisiana Street, Suite 1600,
19   Houston, Texas 77002, pursuant to the Federal Rules of
20   Civil Procedure and the provisions stated on the record
21   or attached hereto; that the deposition shall be read
22   and signed before any notary public.
23
24
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       Case 1:17-cv-09002-LAS                           Document 266-2                      Filed 01/10/23              Page 113 of 1584

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     Case 1:17-cv-09002-LAS    Document 266-2    Filed 01/10/23   Page 114 of 1584

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1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2   IN RE UPSTREAM ADDICKS            )

     AND BARKER (TEXAS)                )

 3   FLOOD-CONTROL RESERVOIRS          )   Sub-Master Docket No

 4   ________________________          )   17-cv-9002L

 5   THIS DOCUMENT RELATES TO          )

 6   ALL DOWNSTREAM CASES              )

 7               --------------------------------------

 8                            ORAL DEPOSITION OF

 9                               WAYNE HOLLIS

10                               JULY 19, 2018

11              --------------------------------------

12               ORAL DEPOSITION OF WAYNE HOLLIS, produced as a

13   witness at the instance of the United States, and duly

14   sworn, was taken in the above-styled and numbered cause

15   on the 19th day of July, 2018, from 8:59 a.m. to

16   12:13 p.m., before Morgan Veletzuy, CSR in and for the

17   State of Texas, recorded by machine shorthand, at Clark,

18   Love & Hutson, G.P., 440 Louisiana Street, Suite 1600,

19   Houston, Texas 77002, pursuant to the Federal Rules of

20   Civil Procedure and the provisions stated on the record

21   or attached hereto; that the deposition shall be read

22   and signed before any notary public.

23

24

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       Case 1:17-cv-09002-LAS                           Document 266-2                      Filed 01/10/23                 Page 115 of 1584
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 $1R,W VRQ*DOYHVWRQ%D\VDOWZDWHU                       WHOO\RXWKDWLI\RXFKHFNRXWWKHFRPSDVVVWDUQRUWK
 4$QGGLGWKDWKRPHDOVRH[SHULHQFHVRPHVRPH               LVSRLQWLQJOHIWWKHRULHQWDWLRQ
 IORRGLQJRUDQ\GDPDJHIURP+XUULFDQH+DUYH\"                         7+(:,71(66<HV,,VHHWKDW$QG
 $1R                                                          HDVWLVQRUWK
 4$QGIURPWKHUHYLHZRIVRPHGRFXPHQWVWKDW                   067$5',))$OLWWOHFRQIXVLQJ
 \RX YHSURYLGHG,XQGHUVWDQG\RXSXUFKDVHG\RXUKRPHRQ  4 %<067$5',)) 6RZKDWZH YHPDUNHGDV
 5LYHU)RUHVW'ULYHLQ-DQXDU\RILVWKDWFRUUHFW"               'HSRVLWLRQ([KLELWOHWPHVHHLIP\JODVVHVIDLOPH
 $'HFHPEHURIDQGFORVHGLQ-DQXDU\RI               KHUH7KH%DWHV1XPEHULV+DUULV7KHVHFRQG
 4*RWLW7KDQN\RX                                          SDJHLV+DUULV$QG, OOUHSUHVHQWWR\RX
 $QGDVLGHIURPWKHSHULRGIROORZLQJ                     0U+ROOLVWKDWWKLVLVVRPHH[FHUSWVIURPWKH
 +XUULFDQH+DUYH\ZKLFKZH OOGLVFXVVWRGD\KDYH\RXDQG  VXEGLYLVLRQSODWVIRU\RXUQHLJKERUKRRG
 \RXUZLIHOLYHGLQWKDWKRPHVLQFH\RXFORVHGLQ-DQXDU\              6RDP,FRUUHFWWKDW\RXUQHLJKERUKRRGLV
 "                                                                 NQRZQDV1RWWLQJKDP)RUHVW"
 $<HVFRQWLJXRXVO\ZH YHOLYHGWKHUH                         $1RWWLQJKDP)RUHVW
 42ND\$QGGR\RXUHFDOOKRZPXFK\RXSDLGIRU               41RWWLQJKDP)RUHVW6RDUHWKHUHDQXPEHURI
                                                              3DJH                                                                 3DJH
  WKHSURSHUW\LQ"                                                  1RWWLQJKDP)RUHVWQHLJKERUKRRGV"
  $<HV,GR:HSDLGIRULW                           $<HDK<HVWKHUHLV
  4$QGZKDWDUHDRI+RXVWRQZHUH\RXOLYLQJLQ                   46RZKHQ\RXWHOOSHRSOHZKDWQHLJKERUKRRG\RX
  EHIRUH\RXSXUFKDVHG\RXUKRPHLQ"                                OLYHLQGR\RXMXVWVD\1RWWLQJKDP)RUHVWRU
  $,QWKDWVDPHDUHDDERXWDPLOHVRXWKRIZKHUH                $1R:HDGGWKH
  ZHDUHQRZ                                                            4$GGWKH2ND\
  4'LGWKDWQHLJKERUKRRGKDYHDQDPHGR\RX                     $QGORRNLQJDWWKHILUVWSDJHKHUHGR\RX
  UHFDOO"                                                                UHFRJQL]HWKHORFDWLRQRIRI\RXUSDUFHOXQGHUWKH
  $$VKIRUGWKH$VKIRUGDUHD7KH$VKIRUG                     )RUHVW"
 +ROORZ,JXHVV\RX GFDOOLW                                        $,DVVXPH,DVVXPHLW VQXPEHUQR
 4$QGZHUH\RXRZQLQJRUUHQWLQJWKHUH"                        QXPEHU<HDKEHFDXVHWKHUH VWKLVKRXVH\HDK
 $,RZQHGWKDWKRPH                                           QXPEHU
 42ND\$Q\H[SHULHQFHZLWKIORRGLQJDWWKDW                  4,WKLQN\RX UHFRUUHFW6R, PJRLQJWRJR
 KRPHZKLOH\RXRZQHGLW"                                              DKHDGDQGKHOS$QGOHW V, PMXVWJRLQJWRNLQGRI
 $1RQRQH                                                    SXWDUHGER[DURXQGWKDW
 46RWHOOPHDOLWWOHELWDERXWWKHSURFHVVRI              6RWKDW VWKHORFDWLRQRI\RXUSURSHUW\
 RIILQGLQJWKHKRPHWKDW\RXSXUFKDVHGLQ'HFHPEHURI                 ZLWKLQ1RWWLQJKDP)RUHVW6HFWLRQ"
 FORVHGLQ-DQXDU\                                         $<HV
 $2XUVRQZDVMXVWJRLQJLQWRMXQLRUKLJK$QG                49HU\JRRG:HUHWKHUHRWKHUIHDWXUHVRIRI
 ZHOLYHGLQWKH+RXVWRQ+,6'VFKRROGLVWULFWDQGZH                  WKHQHLJKERUKRRG"<RXWDONHGDERXWWKHVFKRROGLVWULFW
 ZDQWHGWRPRYHLQWRWKH6SULQJ%UDQFKVFKRROGLVWULFW                WKHWKHORRNRIWKHKRXVH:HUHWKHUHDQ\RWKHU
 $QGP\ZLIHEHLQJIURPWKHVRXWK$ODEDPDIRXQGWKLV                IHDWXUHVRI1RWWLQJKDP)RUHVW6HFWLRQWKDWLQIOXHQFHG
 FRORQLDOKRPHWKDWORRNHGOLNH$ODEDPDDQGLQVLVWHGZH                \RXUGHFLVLRQWREX\WKHKRPHKHUH"
 SXUFKDVHLW                                                          $-XVWDYHU\QLFHSDUWRI:HVW+RXVWRQ
 4,WGRHVKDYHWKDWORRN,DJUHH                             4$WWKHWLPH\RXSXUFKDVHGZHUH\RXDZDUHRI

                                                                                                                      3DJHV
                                         ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP

                                                                                                                                                A566
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                                                             :D\QH+ROOLV                                                -XO\
                                                             3DJH                                                              3DJH
  WKHWKHSUR[LPLW\RIRI\RXUKRPHDQGWKH                       VSDFHRUWKHELNHSDWKDWDOO"
  QHLJKERUKRRGWR%XIIDOR%D\RX"                                        $1R,GRQRWXVHDQ\RILW
  $<HV                                                         4$OOULJKW:H OOVHWWKDWWKLVDVLGHIRU
  4$QGZDVWKDWDIDFWRULQ\RXUGHFLVLRQWR
       4$QGZDVWKDWDIDFWRULQ\RXUGHFLVLRQWR                    QRZDQGZH OOSUREDEO\FRPHEDFNWRLWLIZHQHHGLW
   SXUFKDVHWKHKRPHDWDOO""
  SXUFKDVHWKHKRPHDWDOO                                              IRUUHIHUHQFH
  $:HOOIURPP\XQGHUVWDQGLQJWKHGDPVZHUH
       $:HOOIURPP\XQGHUVWDQGLQJWKHGDPVZHUH                   $2ND\
  EXLOWWRSURWHFWXVDQGZHDOZD\VUHOLHGRQWKDW                     46RDWWKHWLPHWKDW\RXZHUHORRNLQJDWWKH
   WKHRU\
  WKHRU\                                                               KRPHDQGSXUFKDVLQJZHUH\RXXVLQJDUHDOHVWDWHDJHQW"
  4$QGVR\RX
       4$QGVR\RX UHDZDUHRIERWKWKHWKH$GGLFNV               $<HV
   DQG%DUNHU5HVHUYRLUVDQGGDPDWWKHWLPH"
 DQG%DUNHU5HVHUYRLUVDQGGDPDWWKHWLPH"                           4$QGGLGWKHUHDOHVWDWHDJHQWKDYHDQ\
 $9HU\DZDUH
        $9HU\DZDUH                                                 GLVFXVVLRQVZLWK\RXDERXWIORRGULVNIRUWKLVSURSHUW\
 42ND\$QGWKLVTXHVWLRQSUREDEO\UHTXLUHV\RX              DWWKHWLPH"
 WRWDNHDJXHVV%XWDERXWDERXWKRZIDULV\RXU              $,WKDGQHYHUIORRGHG
 \RXUSDUFHOIURPNLQGRIWKHWKHHGJHRIWKHJUHHQ                4,WKDGQHYHUIORRGHGEHIRUH\RXUSXUFKDVH"
 VSDFHZKHUH%XIIDOR%D\RXLVORFDWHG"                                $&RUUHFW
 $:H UHSUREDEO\DERXWDTXDUWHURIDPLOHWRD               4$QG\RXZHUHWROGWKDWE\WKHUHDOHVWDWH
 WKLUGRIDPLOHIURPWKHDFWXDOIORZRIWKHED\RX                   DJHQW"
 4$QGGRHV\RXUQHLJKERUKRRGKDYHZHOOOHW                $&RUUHFW
 PHOHWPHEDFNXSDQGDVNDSUHOLPLQDU\TXHVWLRQ,              4'LGWKHUHDOHVWDWHDJHQWGLVFORVHZKHWKHU\RX
 XQGHUVWDQGWKHUHLVDDELNHSDWKWKDWUXQVDORQJWKH             ZHUHLQDLQDIORRG]RQH"
 ED\RXQHDU\RXUQHLJKERUKRRGLVWKDWULJKW"                         $'LVFORVHGZHZHUHLQWKH\HDUIORRGSODLQ
 $7KDW VFRUUHFW*UHHQEHOWDQGDDQGDELNH              4$QGGLG\RXKDYHDQXQGHUVWDQGLQJDWWKDWWLPH
 WUDLO                                                               DVWRZKDWWKDWPHDQW"
 42ND\$QGGRHVGRHV\RXUQHLJKERUKRRG                   $<HV
 KDYHKDYHDFFHVVWRWKDWWKDWELNHSDWK"                       4$QGZKDWZDV\RXUXQGHUVWDQGLQJ"
                                                             3DJH                                                              3DJH
  $<HV                                                         $7KDWZHZRXOGQRWIORRG
  4$QGKRZGR\RXDFFHVVLW"                                    4$QGDWWKHWLPH\RXSXUFKDVHG\RXUKRPHGLG
  $<RXDFFHVVLWE\JRLQJGRZQDQGFURVVLQJ                     \RXKDYHDPRUWJDJHRQWKHKRPH"
  %UDPEOHZRRGDQGVRPHDFFHVVSRLQWVDWGLIIHUHQWVWUHHWV               $<HVZHGLG
  WKDWGHDGHQGWRWKDWJUHHQVSDFH                                    4'LG\RXUPRUWJDJHKROGHUUHTXLUHWKDW\RX
  46RORRNLQJDWWKHILUVWSDJHIRUH[DPSOH                   LQVXUHWKHKRPH"
  ZRXOG\RXJRGRZQ1RWWLQJKDP2DNV7UDLODQGGRHVWKDW                 $<HV
  SURYLGH\RXDFFHVVWRWKHJUHHQVSDFH"$WWKHWRSRI              4'LGWKH\DOVRUHTXLUHWKDW\RXKDYHIORRG
  $1R<RXKDYHWRJRGRZQ\HDK1RWWLQJKDP                 LQVXUDQFHRQWKHKRPH"
 2DNV7UDLO$QGWKHUH VDQDFFHVVWKHUHDQGWKHQ                   $,GRQ WWKLQNWKH\UHTXLUHGEXWZHKDGLW
 WKHUH VDQDFFHVVDW'DLU\$VKIRUG$QGWKHQWKHUH VDQ             4$QGVRGLG\RXSXUFKDVHIORRGLQVXUDQFHIURP
 DFFHVVWKDWGRHVQ WVKRZRQWKLVPDS:KHUH5LYHU                   WKHEHJLQQLQJ"
 )RUHVWPDNHVDWXUQWRWKHQRUWKKHUHWKHUH VDQRWKHU               $<HV
 VWUHHWWKDW&DUROFUHVWJRHVDFURVVDQGWKHUH VDQDFFHVV             4$QGKDGGLG\RXPDLQWDLQWKDWIORRG
 WKHUH                                                               LQVXUDQFH
 46RLI\RXORRNDWWKHVHFRQGSDJHRIZKDWZH YH             $:HOOPD\EHWKH\UHTXLUHGLW7KH\GLGUHTXLUH
 PDUNHGDV\RXU'HSRVLWLRQ([KLELWDUHWKRVHDFFHVV                LW,WKLQNWKHPRUWJDJHFRPSDQ\UHTXLUHGIORRG
 SRLQWVVKRZQRQWKDWPDS"                                            LQVXUDQFH,WKLQN,GRQ W,GRQ WWUXO\UHFDOO
 $,FDQ WVHHWKDW,DFWXDOO\FDQ WVHHWKDW               4+DYH\RXPDLQWDLQHGIORRGLQVXUDQFHRQWKH
 %XW,FDQ WUHDGWKHQDPHRIWKHVWUHHWEXW                      SURSHUW\VLQFHVLQFH\RXFORVHGRQLWLQ-DQXDU\RI
 4,WLVYHU\VPDOO                                           "
 $<HDK%XWWKHUH VDQDFFHVVDWILYHRUVL[                 $<HVZHKDYH
 GLIIHUHQWSRLQWVWKHUHZKHUHWKHVWUHHWVGHDGHQGLQWR               42ND\$QGDVLGHIURPWKHFODLPWKDW\RXPDGH
 WKHJUHHQVSDFH                                                     DIWHU+DUYH\KDYH\RXHYHUKDGWRPDNHDQRWKHUFODLPRQ
 4$QGLVWKDWGR\RXGR\RXXVHWKHJUHHQ               \RXUIORRGLQVXUDQFHSROLF\"

                                                                                                                     3DJHV
                                           ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP

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                                                            :D\QH+ROOLV                                                 -XO\
                                                             3DJH                                                                 3DJH
  46RGXULQJWKHVHYHQRUHLJKW\HDUVWKDW\RX                  $<HVVLU
  OLYHGWKHUHGLG\RXHYHUH[SHULHQFHDQ\IORRGLQJ"                    4$QGGR\RXUHFDOOZKDW\RXUUHVSRQVHZDV"
  $,WQHYHUIORRGHG                                            $<HV,VDLG+RXVWRQLVIODWDVDSDQFDNHDQG
  4$QGGR\RXNQRZZKHWKHUWKDWSURSHUW\IORRGHG                ,GRQ WNQRZLIWKDWZRXOGKDYHH[LVWHGZLWKRXWWKH
  DVDUHVXOWRIWKHUHOHDVHIURPWKH$GGLFNVDQG%DUNHU"               GDPV
  $<HV,GR,WIORRGHG                                      4$QG,MXVWZDQWWRFODULI\,VWKDWLVWKDW
  4'R\RXKDYHDQ\LGHDWRZKDWGHJUHH"                         EDVHGRQDQ\H[SHULHQFHLQK\GURORJ\RULQLQIORRG
  $,ZHQWE\WKHUHDQG,WKLQNLWZDVWR                     PDQDJHPHQWRUDQ\WKLQJWRWKDWQDWXUH"
  IHHW                                                               $1RVLU%HFDXVHWKHGDPVZHUHEXLOWEHIRUH,
 42ND\, GDVN\RXDERXW\RXUFXUUHQWSURSHUW\             ZDVERUQ
 EXW,WKLQNZHWDONHGDERXWWKDWDWDWVRPHOHQJWK               48QGHUVWRRG,DOVRMXVWZDQWWRFODULI\
 2QHWKLQJWKDW\RXKDGPHQWLRQHGHDUOLHU              <RX,EHOLHYHLQRQHRIRXUHPDLOVDQG,
 \RXKDGVSRNHQDERXWWKHSXWWLQJLQWKHGUDLQDJH                  DSRORJL]H,GRQ WVRUU\
 GLWFKDQGDGGLQJJXWWHUV$QG\RXDOVRPHQWLRQHGWKDW               ,Q([KLELW\RXPHQWLRQHGWKDWWKHGDPV
 WKHUHZDVDVHHSDJHLVVXH                                           ZHUHJRLQJWREHUHOHDVHGDWDP'LG\RXKDYHDQ\
 &DQ\RXMXVWFODULI\IRUPHWKDWWKH                SHUVRQDONQRZOHGJHDERXWZKHQWKHGDPVZHUHJRLQJWREH
 RUGHURIWKRVHWKLQJV":DVWKHVHHSDJHLVVXHEHIRUHRU              UHOHDVHG"
 DIWHU\RXEXLOWWKHJXWWHUVLQWKH                                $1R7KDWZDVKHDUVD\IURPDQHZVFDVW
 $7KHVHHSDJHLVVXHZDVEHIRUH:KHQZHERXJKW               47KDWZDVWKHEOLS\RXPHQWLRQHGRQWKHVFUHHQ"
 WKHKRXVHLIZHKDGDKHDY\UDLQLWVHHSHGLQ7KH                $<HVWKHOLWWOHEOLS$QGLWGLGQ WVD\WKH\
 KRXVHGLGQRWKDYHJXWWHUVQRUWKHGUDLQDJHGLWFK$QG             ZHUHRSHQLQJWKHP7KH\VDLGWKH\PD\RSHQWKHP
 ,PDGHDVZDOHLQWKHEDFN\DUG+DGDFRQWUDFWRUDQG                42ND\7KDW VJRRG7KDWDFWXDOO\EULQJVPHWR
 GLGWKHFRQFUHWHOLQHGGLWFKGRZQWKHHDVWVLGHRIWKH               DQRWKHUTXHVWLRQ,KDG<RXSDUGRQPH
 KRXVHWRGUDLQWRWKHVWUHHW                                        6RLQ([KLELW\RXPHQWLRQHGWKDW\RX
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  NQRZOHGJHRIWKHGDPV6RKDYH\RXKDGDQ\LQYROYHPHQW                WKHGDP"
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 UHVXOWRIWKDWSURIHVVLRQDOH[SHULHQFH"                              WKDWDOOHJHGO\WKH\ZHUHJRLQJWRRSHQ
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  VRXWKHDVWLVWKDWFRUUHFW"1RUWKZHVWWRVRXWKHDVW"                   DERXWDERXWWKHUHSDLUVWKDW\RX YHGRQHWRWKHKRPH
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  WDONHGDERXWVHYHUDOIRXQGDWLRQVDQG,ZDQWWRPDNH                   ZRUNLQJWRLPSURYHDQGKHGLGQ WZDQWDQ\PRUHSD\PHQW
  VXUHZH YHJRWWKHPDOOVWUDLJKW+DYH\RXKDGDQ\                    48QGHUVWRRG7KDW VDJRRGVRQ,KRSHP\
  IRXQGDWLRQLVVXHVLQ\RXUKRPHEHIRUH+XUULFDQH+DUYH\"                IRONV SODFHQHYHUIORRGV
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 FDUSHW$QGWKHQZKHQLWRSHQHGXSDVZHZHQWLQEDFN               RU
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                                                                    Page 1

1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2    IN RE UPSTREAM ADDICKS            )
     AND BARKER (TEXAS)                )
3    FLOOD-CONTROL RESERVOIRS          )   Sub-Master Docket No
4    ________________________          )   17-cv-9002L
5    THIS DOCUMENT RELATES TO          )
6    ALL DOWNSTREAM CASES              )
7                --------------------------------------
                              ORAL DEPOSITION OF
8
                                 ARNOLD MILTON
9
                                 JULY 10, 2018
10              --------------------------------------
11
12               ORAL DEPOSITION OF ARNOLD MILTON, produced as
13   a witness at the instance of the United States, and duly
14   sworn, was taken in the above-styled and numbered cause
15   on the 10th day of July, 2018, from 9:02 a.m. to
16   2:48 p.m., before Morgan Veletzuy, CSR in and for the
17   State of Texas, recorded by machine shorthand, at
18   Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19   Suite 4000, Houston, Texas 77056, pursuant to the
20   Federal Rules of Civil Procedure and the provisions
21   stated on the record or attached hereto; that the
22   deposition shall be read and signed before any notary
23   public.
24
25

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                                                                    Page 22

1            Q.   What else attracted you to this particular

2    home?

3            A.   We liked it because it was fairly small and we

4    only had one daughter.

5            Q.   Was the school district a factor in your

6    decision?

7            A.   No.   We knew we were going to Kinkaid.

8    Actually, we went to St. Francis with her first and then

9    on to Kinkaid.       And both of those schools were just off

10   of Memorial.       And when I went to work downtown I drove

11   right past them so it was easy to take the daughter to

12   school in the morning.

13           Q.   Was there anything else about the home or the

14   neighborhood that was a factor in your decision?

15           A.   Not really.

16           Q.   Was flooding a concern for you when you were

17   purchasing the home?

18           A.   No.   We really didn't think about it.            I was

19   aware of the dams, but there hadn't been any problem

20   that we were aware of out there, so...

21                      The first few years we were in the house we

22   bought flood insurance religiously, and after about

23   38 years we tended to forget about it.            And that's what

24   happened to us on the last one.           We actually discussed

25   it and my wife almost did it and then we got busy and

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1    forgot about it and we got caught.

2           Q.   I'll come back to questions about the details

3    about the flood insurance.

4                      Going back to the time of the purchase, you

5    said you were aware of the dams.               Can you describe for

6    me what your level of awareness was?

7           A.   Well, I knew they were big, long, earthen dams.

8    And I knew Loop 6 crossed Addicks to the north and

9    Westheimer went south of Barker Cypress.                And, of

10   course, that dam was west of Highway 6, south of I-10

11   too.    So I just knew they were large.             And I can

12   remember my father saying years ago that Memorial

13   wouldn't have been developed without those dams.

14          Q.   Do you recall approximately when your father

15   said that?

16          A.   No.   It was probably in the '50s.

17          Q.   So when you were young?

18          A.   Uh-huh.

19          Q.   Do you think your father's correct?

20          A.   Oh, yeah.     If you've ever looked at the 1975

21   flood pictures of downtown Houston, you'd know.

22          Q.   Going back to your awareness of the dams prior

23   to purchasing, did you know what their names were?

24          A.   I guess I did.      It seemed like I've known their

25   names forever.        But I feel fairly certain I didn't know

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1    the names back then.      It's been a long time.

2          Q.   So you think you were aware of the dams when

3    you were growing up in Houston?

4                    MR. HOBBS:     Objection; form.

5          A.   Again, I don't -- that's a long time ago.              I

6    remember my father saying that, that's about it.

7          Q.   (BY MR. LEVINE)     Given your educational and

8    vocational background, do you think that gave you any

9    greater appreciation for the dams' function?

10         A.   Well, being an Army engineer I've designed

11   drainage ditches and stuff like that for combat roads,

12   but that was about the extent of my deep thinking about

13   that particular problem.       It's not something we thought

14   a lot about.    We just kind of took it for granted that

15   those dams were there to protect that part of town.

16         Q.   When you say the dams were there to protect

17   that part of town, what part of town are you referring

18   to specifically?

19         A.   Well, basically all of the town I should say,

20   but fairly down from our direction at least it was the

21   west side from where we lived.

22         Q.   Having worked for and served in the Army Corps

23   of Engineers -- let me ask that question differently.

24   Sorry.

25                   Were you aware at the time you were

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                                                                     Page 25

1    purchasing the home in 1978 that the Army Corps of

2    Engineers operated Addicks and Barker dams?

3          A.    I don't remember if I was or not.           I may have

4    been; I may not have.         I just -- I don't think I was

5    actually.     But it's just a guess.

6          Q.    Do you recall at what point approximately you

7    might have become aware that the Army Corps of Engineers

8    operated Addicks dam and Barker dam?

9          A.    Well, I became much more focused on that during

10   the flood of course, with all the TV that was going on

11   and everybody was trying to figure out who to blame.

12   And that's when I really realized that it was a

13   federally operated situation.           The Corps of Engineers

14   was operating it.

15         Q.    When you say "during the flood," which flood

16   are you referring to?

17         A.    Harvey.

18         Q.    And when we talk about Harvey, what -- what do

19   you think that storm was?

20                    MR. HOBBS:       Objection; form.

21         A.    It was a hurricane.

22         Q.    (BY MR. LEVINE)       Do you know the approximate

23   time frame of when that hurricane occurred?

24         A.    Well, of course, we -- we got flooded on the

25   28th of August.       So I guess it developed in the

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1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2    IN RE UPSTREAM ADDICKS              )
     AND BARKER (TEXAS)                  )
3    FLOOD-CONTROL RESERVOIRS            )   Sub-Master Docket No
4    ________________________            )   17-cv-9002L
5    THIS DOCUMENT RELATES TO            )
6    ALL DOWNSTREAM CASES                )
7                 --------------------------------------
8                             ORAL DEPOSITION OF
9                                VIRGINIA MILTON
10                                JULY 10, 2018
11              --------------------------------------
12                ORAL DEPOSITION OF VIRGINIA MILTON, produced
13   as a witness at the instance of the United States, and
14   duly sworn, was taken in the above-styled and numbered
15   cause on the 10th day of July, 2018, from 3:14 p.m. to
16   5:00 p.m., before Morgan Veletzuy, CSR in and for the
17   State of Texas, recorded by machine shorthand, at
18   Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19   Suite 4000, Houston, Texas 77056, pursuant to the
20   Federal Rules of Civil Procedure and the provisions
21   stated on the record or attached hereto; that the
22   deposition shall be read and signed before any notary
23   public.
24
25

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     Case 1:17-cv-09002-LAS    Document 266-2        Filed 01/10/23    Page 125 of 1584

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1    the tax day flood, whatever all of the other areas --

2    floods that happened in Houston that weren't necessarily

3    flood-related.       Sometimes bad thunderstorms.

4          Q.   (BY MR. LEVINE)       Would you say that Houston is

5    prone to flooding?

6                       MR. HOBBS:    Objection; form.

7          A.   I would not because we never flooded, so I

8    would have never been concerned.

9          Q.   (BY MR. LEVINE)       Would you say you're aware of

10   previous flooding events in Houston?

11                      MR. HOBBS:    Is that a question?

12         A.   Is that -- is that -- is that -- you're

13   asking -- I'm sorry?

14         Q.   (BY MR. LEVINE)       Yes.     Are you aware of

15   previous flooding events in Houston?

16         A.   Yes.

17         Q.   Do you --

18         A.   But not near me.

19         Q.   Do you recall a storm called Allison?

20         A.   Yes.

21         Q.   Okay.     And did areas of Houston flood during

22   Allison?

23         A.   Yes.

24         Q.   Do you recall a storm called Ike?

25         A.   Yes.

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     Case 1:17-cv-09002-LAS    Document 266-2        Filed 01/10/23    Page 126 of 1584

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                                                                      Page 22

1           Q.   Did areas of Houston flood during Ike?

2           A.   I don't really recall the areas if there was

3    flooding.

4           Q.   Do you remember a flood in May of 2015

5    sometimes referred to as the Memorial Day flood?

6           A.   I read about it.

7           Q.   Did areas of Houston flood during that Memorial

8    Day storm?

9           A.   Yes, but not near me.

10          Q.   And you mentioned the tax day flood a moment

11   ago; is that correct?

12          A.   Yes.

13          Q.   Did -- did areas of Houston flood during tax

14   day?

15          A.   Yes, but not near me.

16          Q.   Do you know why your neighborhood didn't flood

17   during any of those previous storms we just mentioned?

18                      MR. HOBBS:    Objection; form.

19          A.   No.    I'm just glad it didn't.

20          Q.   (BY MR. LEVINE)      Do you know what Addicks Dam

21   is?

22          A.   Yes.

23          Q.   Do you know what Addicks Reservoir is?

24          A.   I'm assuming they're one and the same.

25          Q.   Do you know what Barker Dam is?

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     Case 1:17-cv-09002-LAS   Document 266-2        Filed 01/10/23    Page 127 of 1584

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                                                                     Page 23

1          A.   Yes.

2          Q.   Do you know what Barker Reservoir is?

3          A.   I assume they're one and the same.

4          Q.   When you purchased your home, were you aware of

5    Addicks Dam?

6          A.   No.

7          Q.   When you purchased your home, were you aware of

8    Barker Dam?

9          A.   No.

10         Q.   Do you know at what point since 1978 you first

11   became aware of Addicks Dam?

12         A.   No.

13         Q.   Do you know at what point since 1978 you first

14   became aware of Barker Dam?

15         A.   No.

16         Q.   Do you think Addicks Dam has protected your

17   neighborhood from flooding prior to Hurricane Harvey?

18                     MR. HOBBS:    Objection; form.

19         A.   I don't know.

20         Q.   (BY MR. LEVINE)      Do you think Barker Dam has

21   protected your home from flooding prior to Hurricane

22   Harvey?

23         A.   I don't know.

24                     MR. HOBBS:    Same objection.

25         Q.   (BY MR. LEVINE)      Prior to purchasing the home

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1    on Silvergate, were you aware of any flooding in that

2    neighborhood?

3            A.   No.

4            Q.   Where did you grow up?

5            A.   I grew up on a ranch between Refugio and

6    Victoria, Texas, 150 miles south of here.

7            Q.   Growing up, do you remember hearing about

8    flooding in Houston?

9            A.   No.

10           Q.   Do you remember how you first became aware of

11   Addicks and Barker Dams?

12           A.   No.

13                      MR. HOBBS:    Objection; asked and answered.

14           A.   I don't remember how I became aware.

15           Q.   (BY MR. LEVINE)     What's your present

16   understanding of what Addicks and Barker Dams do?

17           A.   My understanding is that the two dams were

18   built to protect the City of Houston and the Port of

19   Houston to protect the commerce.

20           Q.   And how did you come to that understanding?

21           A.   From what I've been told and from what I've

22   read.

23           Q.   Do you know where you've read those things?

24           A.   No.   I read a lot.

25           Q.   Do you read the news?

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     Case 1:17-cv-09002-LAS     Document 266-2      Filed 01/10/23   Page 129 of 1584
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1             THE UNITED STATES COURT OF FEDERAL CLAIMS

       IN RE: DOWNSTREAM ADDICKS         )

2      AND BARKER (TEXAS)                )

3      FLOOD-CONTROL RESERVOIRS          )

4                                        ) SUB-MASTER DOCKET NO.

5                                        ) 17-CV-90021

6                                        )

7    ********************************************************

8                             ORAL DEPOSITION OF

9                               JENNIFER SHIPOS

10                            September 19, 2018

                                   Volume 1

11   ********************************************************

12         ORAL AND VIDEOTAPED DEPOSITION OF JENNIFER SHIPOS,

13   produced as a witness at the instance of the DEFENDANT,

14   was taken in the above-styled and numbered cause on

15   September 19, 2018 from 3:02 p.m. to 5:05 p.m., before

16   Toyloria Lanay Hunter, CSR in and for the State of

17   Texas, reported by machine shorthand, at the law offices

18   of NEEL, HOOPER & BANES, P.C., 1800 West Loop South,

19   Suite 1750, Houston, Texas 77027, pursuant to the

20   Federal Rules of Civil Procedure and the provisions

21   stated on the record or attached hereto.

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     Case 1:17-cv-09002-LAS   Document 266-2        Filed 01/10/23    Page 130 of 1584
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1          Q.    From that Thursday up until the 29th, had you

2    heard about the storm increasing in severity?

3          A.    Yes, but the media kind of over exaggerates

4    some things, you know.       So we knew it had a potential of

5    getting a lot of inches of rain.

6          Q.    When you say the media can tend to over

7    exaggerate, have they done that on previous storms?

8          A.    I would say occasionally, yes.

9          Q.    What did you do to prepare?

10         A.    (No response.)

11         Q.    I'm sorry.    Let me back up.

12                      You testified earlier that you had been

13   given notice that they were going to release water from

14   the dams?

15         A.    Yes.

16         Q.    What -- what exactly are you referring to?

17         A.    Well, on the news and also through social

18   media, you know, people texting and people -- you know,

19   updating you that they potentially was going to in the

20   Barkers and the Addicts Reservoir, they were going to

21   start releasing water in accelerated fashion.

22         Q.    When you said earlier that you heard about it

23   on social media, did you share texts with people about

24   the --

25         A.    Actually, people shared it with me, yes.

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1           Q.    Shared it with you?

2           A.    Uh-huh.

3           Q.    Do you know if you saved copies of?

4           A.    I don't think I did.

5           Q.    What sorts of things did you hear?

6           A.    Just the fact that they were -- there was a

7    potential emergency situation.                  That the -- I mean,

8    there was all kinds of rumors going on.                    I mean, I

9    couldn't tell you if they were factual or not.

10          Q.    Prior to Hurricane Harvey, what was your

11   understanding of the purpose of Addicks Reservoir?

12          A.    I mean, my basic and simple understanding of

13   the dam and reservoirs were that they -- you know,

14   operate to basically control the flow of water all the

15   way downtown for the integrity of -- you know, not

16   flooding the areas.

17          Q.    And that's for both reservoirs?

18          A.    That's my understanding.

19          Q.    How did you come to that understanding?

20          A.    I've never read about them.                I'm not very

21   knowledgeable about them.             But that's what's in my

22   simple mind.        That's what I thought they were for.

23          Q.    And you live about 2/10s of a mile from

24   Buffalo Bayou?

25          A.    Yes.

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     Case 1:17-cv-09002-LAS   Document 266-2        Filed 01/10/23    Page 132 of 1584
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1          Q.    When you bought the house, were you aware that

2    it was that close to Buffalo Bayou?

3          A.    Yes.

4          Q.    Had you heard anything about Buffalo Bayou

5    ever flooding?

6          A.    No.

7          Q.    Okay.   Going back to the notice about the

8    storm coming, what did you do to prepare?

9          A.    I mean, I did the typical things.             I got --

10   so, you know, I bought water, batteries, you know,

11   thinking more that we'd lose power.             And -- you know,

12   just your typical preparation for -- you know, losing

13   power.

14         Q.    Did you get any sandbags?

15         A.    I did not get any sand, no.

16         Q.    Did you do anything with your personal

17   property?

18         A.    My contents you mean?

19         Q.    Yes.

20         A.    I did take up some of my clothes, some of my

21   chairs, anything that I -- I mean, I couldn't lift

22   anything myself.     But as much as I could lift, I did.

23         Q.    Did you put that -- those things like that on

24   tables?

25         A.    I put them upstairs.

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1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2    IN RE UPSTREAM ADDICKS           )

     AND BARKER (TEXAS)               )

3    FLOOD-CONTROL RESERVOIRS         )    Sub-Master Docket No

4    ________________________         )    17-cv-9002L

5    THIS DOCUMENT RELATES TO         )

6    ALL DOWNSTREAM CASES             ) August 1, 2018

7                --------------------------------------

8                             ORAL DEPOSITION OF

9                               PETER SILVERMAN

10                               JULY 18, 2018

11             --------------------------------------

12               ORAL DEPOSITION OF PETER SILVERMAN, produced

13   as a witness at the instance of the United States, and

14   duly sworn, was taken in the above-styled and numbered

15   cause on the 9th day of July, 2018, from 9:06 a.m. to

16   3:52 p.m., before Morgan Veletzuy, CSR in and for the

17   State of Texas, recorded by machine shorthand, at 1200

18   Smith Street, 12th Floor, Houston, Texas 77002, pursuant

19   to the Federal Rules of Civil Procedure and the

20   provisions stated on the record or attached hereto; that

21   the deposition shall be read and signed before any

22   notary public.

23

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     Case 1:17-cv-09002-LAS     Document 266-2      Filed 01/10/23     Page 134 of 1584
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1    all of the different topographical regions of Texas that

2    they've studied.

3          Q.    Understood.     So you mentioned earlier that your

4    area I think -- I believe on Westerley Lane was

5    particularly flat.        Do you have an understanding of

6    Houston being flat?

7                      MR. HODGE:    Objection; form.

8          A.    I think I was talking about my street being

9    level.     But from my personal observations, I would say

10   that Houston is a relatively flat area.

11         Q.    (BY MS. IZFAR)     Do you have any understanding

12   of the soil in Houston?

13                     MR. HODGE:    Objection; form.

14         A.    I have no particular understanding.            Every now

15   and then my wife will get soil and bring it to Cornelius

16   Nursery and ask, you know, what -- what do I need to do

17   to grow my plants better and things such like that.                   But

18   nothing as far as -- as far as the soil here.

19         Q.    (BY MS. IZFAR)     So you mentioned earlier that

20   the Gulf Coast is particularly prone to torrential

21   rainfall events.      Do you have any understanding as to

22   how much rainfall Houston gets per year?

23         A.    No.

24         Q.    When you moved here and when you were looking

25   for homes, did -- was flood risk a concern at all?

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1            A.     No.

2            Q.     Why was it not a concern?

3            A.     I moved here when I was 25 years old, and I

4    moved here looking for a place to live convenient to my

5    work and my social life and things like that.                      It was

6    not part of my equation.          It was not part of my equation

7    when I was looking to -- I mean, I moved here for a job,

8    for employment, not -- not for lifestyle or to live

9    here.        So I never thought about it.

10           Q.     So prior to Harvey had you ever heard of

11   Addicks and Barker?

12           A.     I had heard those terms.          There are streets

13   around me named Addicks and Barker, Barker Cypress,

14   Addicks Howell.        So I was familiar, in general, with

15   those terms in that area.

16           Q.     Had you heard of Addicks dam?

17           A.     Not in particular to a dam.          I had heard more

18   likely of, you know, of reservoirs and the like.                      But

19   never -- I never considered a dam, like, in particular.

20           Q.     So you had heard of Addicks Reservoir, though?

21           A.     Yes.

22           Q.     And had you heard of Barker Reservoir?

23           A.     I get the two confused.          And so I've probably

24   driven by Barker Reservoir thinking that that was

25   Addicks Reservoir.        And I had driven over Addicks

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1    Reservoir thinking that that was like Bear Creek or

2    something like that.        So I had heard about these things

3    in general but never in particular.

4          Q.   Had you ever visited any of the reservoirs?

5          A.   I had driven over, I think, what is Addicks

6    Reservoir because there is major roads in Houston that

7    go over the reservoir.        So if that's called visiting,

8    driving over them.        And --

9          Q.   Had you ever visited, like, Bear Creek Park or

10   any of the parks?

11         A.   I had been in the Bear Creek Park for an hour

12   for a Boy Scout ceremony once.           But not a whole lot of

13   time there.

14         Q.   What was your understanding of how the

15   reservoirs functioned?

16         A.   I had no understanding about how the reservoirs

17   functioned.

18         Q.   Okay.     Did you have any understanding as to

19   what they -- what their purpose was?

20         A.   No.     And the reason I answer no is if you had

21   told me I lived near a reservoir, my assumption would

22   have been that that's where you store water that you

23   then drink.      And I don't think that's the purpose of

24   these reservoirs.        So what I would have assumed if you

25   asked me about the reservoir that I lived near, would

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     Case 1:17-cv-09002-LAS     Document 266-2         Filed 01/10/23     Page 137 of 1584
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1    have been wrong.        So I was -- I obviously did not have

2    knowledge of what they were for.

3          Q.    Okay.     So when did you first learn that -- or

4    did you -- did there come a time when you learned that

5    Addicks and Barker served a flood-risk reduction

6    purpose?

7                        MR. HODGE:    Objection; form.

8          A.    Post this incident, I have learned that they

9    should serve that purpose for certain areas of Houston

10   or certain locations of Houston.                Post this incident, I

11   learned that they were built in regards to Downtown

12   Houston due to flooding that occurred to Downtown

13   Houston, I think, at the turn of the century or

14   somewhere near there.         So I always -- so I learned that

15   they had a use of having to do with the commercial

16   center of Houston.

17         Q.    (BY MS. IZFAR)       When you say you learned, how

18   did you acquire this knowledge?

19         A.    From television or articles that -- that said

20   the -- that the work was done following a bad flood to

21   Downtown Houston at the turn of the century and that

22   this is what they did to prevent future Downtown Houston

23   flooding.

24         Q.    Did you -- do you recall the names of any of

25   the articles?

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1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2    IN RE UPSTREAM ADDICKS            )

     AND BARKER (TEXAS)                )

3    FLOOD-CONTROL RESERVOIRS          )   Sub-Master Docket No

4    ________________________          )   17-cv-9002L

5    THIS DOCUMENT RELATES TO          )

6    ALL DOWNSTREAM CASES              ) August 1, 2018

7                --------------------------------------

8                             ORAL DEPOSITION OF

9                              ZHENNIA SILVERMAN

10                               JULY 18, 2018

11             --------------------------------------

12               ORAL DEPOSITION OF ZHENNIA SILVERMAN, produced

13   as a witness at the instance of the United States, and

14   duly sworn, was taken in the above-styled and numbered

15   cause on the 9th day of July, 2018, from 4:05 p.m. to

16   5:34 p.m., before Morgan Veletzuy, CSR in and for the

17   State of Texas, recorded by machine shorthand, at 1200

18   Smith Street, 12th Floor, Houston, Texas 77002, pursuant

19   to the Federal Rules of Civil Procedure and the

20   provisions stated on the record or attached hereto; that

21   the deposition shall be read and signed before any

22   notary public.

23

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     Case 1:17-cv-09002-LAS        Document 266-2        Filed 01/10/23    Page 139 of 1584

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1    Harvey?

2            A.     I don't.     And I have no idea what the rain --

3    you know, what that incident was like, because I wasn't

4    here.        And so I have no idea what the water was like.

5    And I know that it rained really hard on July 4th, but I

6    was in New York working.             And so, again, I mean, I've

7    just missed out on -- on being able -- I mean, I can't

8    gauge.

9            Q.     Right.     Do you ever recall a rain event where

10   there were consecutive days of rain?

11           A.     Yes.     And I don't know if it was 2015 or 2016,

12   but it rained for a really long time.                  And, you know,

13   the water in the bayou rose, but, I mean, we didn't have

14   any problems; nothing happened to our home.                    And I

15   remember they actually told us to stay home, which is

16   really a miracle.           And so my husband and I, we just

17   drove around and, you know, just kind of drove around

18   and looked at -- you know, looked at the water and

19   stuff.        But there was nothing near our home.

20           Q.     Do you have any -- any estimate as to how deep

21   the channel is for Buffalo Bayou right outside your

22   neighbor's home?

23           A.     No.    And I will tell you that in the 28 years

24   that we've lived there, I have never so much as crossed

25   the street and gotten as far as my husband did to look

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     Case 1:17-cv-09002-LAS        Document 266-2        Filed 01/10/23    Page 140 of 1584
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1    in my neighbor's backyard.

2            Q.     Do you ever go to Hershey Park?

3            A.     I have.     I have walked those trails in the

4    past.        Yeah, no, I have.

5            Q.     And how -- and do you look at Buffalo Bayou

6    when you walk those trails?

7            A.     Yes.     I mean, because it's right -- it's right

8    to the right of the trail.             And so I will -- I mean, I

9    will look at it.           I like to go because it's such a

10   beautiful green space and the vegetation.                   But I've

11   never walked it when -- I mean, the water is usually

12   really low, so -- from the times that I've walked it.

13           Q.     Okay.     What do you know about Addicks and

14   Barker?

15           A.     All I can tell you is that's the name of the

16   Park & Ride.           I mean, I really do not -- I couldn't tell

17   you which one is which.            I know I've driven over it to,

18   like, get to someone's house.              But I don't really know

19   anything about them.

20           Q.     Do you, sitting here now, have any

21   understanding as to what their function is?

22           A.     I really can't say that I do.             I remember while

23   being still in Paris reading up on it and reading up on,

24   you know, when they were built and why they were built

25   and, you know, sort of to -- you know, keep the water

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     Case 1:17-cv-09002-LAS      Document 266-2        Filed 01/10/23   Page 141 of 1584

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                                                                        Page 48

1     from flooding downtown and River Oaks, I think is what I

2     had read.     But I really -- I don't know anything about

3     the dam.

4          Q.     Do you have any understanding as to whether

5     they have protected your home from flooding?

6          A.     No.

7          Q.     You say that during Harvey your home did not

8     flood at all -- or maybe -- I don't want to put words in

9     your mouth.

10         A.     Okay.     So I was in Paris and I had been

11    communicating with my husband.           And I remember him

12    telling me -- calling me and telling me that -- that,

13    you know, that we were good.           That we were -- that we

14    had -- you know, that he was -- that there was no

15    electricity, that he was going to my sister's for a nap

16    and a shower and a meal, and that all was good.                   And he

17    forwarded that photo to me when he drove away.

18         Q.     Okay.     Do you have any understanding as to why

19    your home had not flooded as of the 27th?

20         A.     No.     I mean, I just know that, you know, it had

21    rained.     But that, you know, we had not -- there had

22    been no -- you know, no water had come in through the

23    weep holes and so we were good.            And my main concern

24    was -- so when my husband told me that he was leaving,

25    my main concern was that, you know -- you know, here I

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     Case 1:17-cv-09002-LAS        Document 266-2       Filed 01/10/23    Page 142 of 1584
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                                                                         Page 49

1    am overseas and I'm like, Did you bring the family photo

2    albums?        And he's like, No, we're fine.            We're okay, you

3    know.        And so -- so yeah.

4            Q.     Okay.   Have you heard of the Harris County

5    Flood Control District before?

6            A.     Yes, I've heard of it.        I've heard it, you

7    know, maybe mentioned on the news, or...

8            Q.     Have you ever visited their website before?

9            A.     No.

10           Q.     Okay.   Have you ever signed up for any sort of

11   warning systems from local government as to flooding?

12           A.     No.

13           Q.     Do you know if your husband has?

14           A.     No, I don't.

15           Q.     Okay.   Prior to Harvey, had you ever read

16   anything about Addicks and Barker?

17           A.     No.

18           Q.     Had you ever read anything about flooding in

19   Houston?

20           A.     No, not particularly.       I mean, maybe I saw a

21   headline or I saw a news segment, but it was not

22   something that was sort of a venturous to me because I

23   didn't really feel affected by it.                 So I -- it's not

24   something that I, you know, looked into or read about.

25           Q.     Do you know how the gates on Addicks and Barker

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     Case 1:17-cv-09002-LAS    Document 266-2     Filed 01/10/23     Page 143 of 1584

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                                                                    Page 1

1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
       IN RE DOWNSTREAM                  )
3      ADDICKS AND BARKER                )        Sub-Master Docket
       (TEXAS) FLOOD-CONTROL             )        No. 17-cv-9002L
4      RESERVOIRS                        )
5
6
     ******************************************************
7                             ORAL DEPOSITION OF
8                                TIMOTHY STAHL
9                             SEPTEMBER 5, 2018
10   ******************************************************
11
             ORAL DEPOSITION of TIMOTHY STAHL, produced as a
12   witness at the instance of the Defendant, and duly
     sworn, was taken in the above-styled and numbered
13   cause on September 5, 2018, from 10:10 a.m. to 2:52
     p.m., before Heather L. Garza, CSR, RPR, in and for
14   the State of Texas, recorded by machine shorthand, at
     the offices of NEEL, HOOPER & BANES, P.C., 1800 West
15   Loop South, Suite 1750, Houston, Texas, pursuant to
     the Federal Rules of Civil Procedure and the
16   provisions stated on the record or attached hereto;
     that the deposition shall be read and signed.
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     Case 1:17-cv-09002-LAS    Document 266-2        Filed 01/10/23     Page 144 of 1584

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                                                                  Page 125

1    width of your property was 25 feet, and it looks like

2    that's exactly what's shown here; is that correct?                          If

3    you look at the --

4         A.     Yeah.     Sure is.     25 feet.        All right.         Great.

5         Q.     So you were right on the money there.

6         A.     Although 26 in the back, I suppose.                    But this

7    doesn't go to the center of the creek like the verbal

8    description.

9         Q.     Oh, the light blue line, that's not the

10   center of the creek?

11        A.     I don't think so.         I think the center of the

12   creek is this dotted line.            Well, maybe not.             I don't

13   know.     The creek certainly doesn't seem to go that

14   high on a regular basis, this other dotted line.

15        Q.     Yeah.     Looks like there's a dotted line on

16   each side.

17        A.     Yeah.     On each side.           I don't know.

18        Q.     Okay.     All right.      But 1C is -- is your

19   property?

20        A.     It is, yes.

21        Q.     All right.

22                       (Exhibit No. 24 was marked.)

23        Q.     (BY MS. TARDIFF)         I've put in front of you

24   what's marked deposition Exhibit 24.                   Are you familiar

25   with this document?

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                                                                       Page 126

1         A.    I have not seen this document.

2         Q.    Okay.     If you have not seen it then I will

3    not ask you questions about it then.               So this isn't a

4    document you had prepared in connection with your sale

5    of the property?

6         A.    Not in connection to the sale of the

7    property, no.

8         Q.    Do you know if this was prepared in

9    connection with your claim here?

10        A.    I'm certain it was.

11                      MR. BANES:     Represent that it was.

12                      MS. TARDIFF:      Okay.      Very good.

13        Q.    (BY MS. TARDIFF)         Mr. Stahl, on the first page

14   here --

15                      MR. BANES:     This is our -- this is the

16   expert report from Mr. Stahl's property on damages.

17                      MS. TARDIFF:      Okay.      Very good.

18        Q.    (BY MS. TARDIFF)         Mr. Stahl, did you

19   participate in the property inspection on June 26th,

20   2018?

21        A.    Participate in the fact that I opened the

22   door and answered questions when asked, yes.

23        Q.    Very good.     All right.         Since you haven't

24   seen that, I will not ask you questions about it.

25   Mr. Stahl, at the time you purchased your property in

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     Case 1:17-cv-09002-LAS   Document 266-2       Filed 01/10/23     Page 146 of 1584
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                                                                    Page 127

1                       described
     October, 2007, you descr ibed for me your familiarity
                                               familiarity

2    with the neighborhood from having grown up in that

3    area.     Were you aware at that time of the presence of

4    Addicks and Barker reservoirs and dam?

5         A.     I knew they existed.

6         Q.     What did you know at the time you purchased

7    the property about what those dams and reservoirs do?

8         A.     They retained some water.

9         Q.     Have -- have you ever -- prior to purchasing

10   your property, did you look up any information about

11   those reservoirs?

12        A.     Not really, no.

13        Q.     You've described for me a number of storms

14   since you purchased the property in 2007 where the

15   water level did rise up to your air-conditioning unit

16   beneath your deck.       Do you have a belief as to whether

17   the water level during those storms would have been

18   higher on your property if -- if it wasn't for the

19   existence and operation of those Addicks and Barker

20   dams?

21        A.     I don't know.

22                    MR. BANES:     Objection; form.

23        Q.     (BY MS. TARDIFF)      Is flooding a fairly regular

24   occurrence in Houston?

25                    MR. BANES:     Objection; calls for

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                                                               Page 128

1    speculation.

2         A.    I don't know.

3         Q.    (BY MS. TARDIFF)        I want to ask you a few

4    follow-up questions about your purchase of the home.

5    You had described talking to your neighbor about

6    flooding and his observations.              Did you have any

7    concerns about floodwaters on your property at the

8    time of your -- at the time you purchased it?

9         A.    Floodwaters on property being dirt or

10   floodwaters on property being structure.

11        Q.    Well, let's start with the dirt on the land

12   itself.

13        A.    There's a creek that was active year round,

14   so there's always water there.

15        Q.    So you were aware of -- of that risk of the

16   water coming up at least on the land at the time you

17   purchased?

18        A.    I'm aware of risk of water being a foot deep

19   in the creek.

20        Q.    And when you say "a foot deep in the creek,"

21   are you talking in the creek bed or a foot deep on

22   your land?

23        A.    The creek is about a foot deep.              When I

24   bought the property, the creek was about a foot deep.

25   When I looked and inspected the property, the creek

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·3· · · ·IN THE UNITED STATES COURT OF FEDERAL CLAIMS

·4
· · IN RE DOWNSTREAM ADDICKS· · *
·5· AND BARKER (TEXAS)· · · · · * SUB-MASTER DOCKET
· · FLOOD-CONTROL RESERVOIRS· · * NO. 17-cv-9002L
·6· · · · · · · · · · · · · · · *
· · ___________________________ *
·7· · · · · · · · · · · · · · · *
· · THIS DOCUMENT RELATES TO:· ·*
·8· · · · · · · · · · · · · · · *
· · ALL TEST PROPERTIES· · · · ·*
·9

10

11

12
· · · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
13

14

15

16

17· Date· · · · · · · · · ·Edith A. Boggs, CSR

18

19· 9-18-18· · · · · · · · HOUSTON, TEXAS

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·8· · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
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11· · · ·DEPOSITION AND ANSWERS of JANA CANAN BEYOGLU, taken
12· before Edith A. Boggs, a certified shorthand reporter in
13· Harris County for the State of Texas, taken at the law
14· offices of Neel, Hooper & Banes, PC, 1800 West Loop
15· South, Suite 1750, Houston, Texas, on the 18th day of
16· September, 2018, between the hours of 1:49 p.m. and 5:06
17· p.m.
18
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·1· · · ·Q.· And during -- from 2005 when you bought it
·2· until when you sold it, only you and your husband owned
·3· the property; is that right?
·4· · · ·A.· That's correct.
·5· · · ·Q.· Do you recall if they were -- well, what kind
·6· of documents did you receive when you purchased the
·7· house in 2005?
·8· · · ·A.· I don't know.· I don't remember.
·9· · · ·Q.· Do you remember getting disclosures of the
10· house?
11· · · ·A.· I'm sure we did.
12· · · ·Q.· Okay.· Do you remember if they disclosed any
13· issues with let's say plumbing?
14· · · ·A.· No, I don't recall.
15· · · ·Q.· Or termite -- issues with like termites?
16· · · ·A.· When we were buying it, no.
17· · · ·Q.· What about anything about flooding?
18· · · ·A.· No.
19· · · ·Q.· So, as far as you know, the property had never
20· flooded when you purchased it?
21· · · ·A.· No.
22· · · ·Q.· Okay.· And your Maplewood house where you
23· lived, did that house ever flood?
24· · · ·A.· No.
25· · · ·Q.· Prior to Maplewood, you lived somewhere else.


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·1· · · ·Q.· What area?
·2· · · ·A.· Meyerland area, that I know, not -- I don't
·3· remember in other areas.
·4· · · ·Q.· Okay.· You said your area floods a lot?
·5· · · ·A.· No.
·6· · · · · · · · MR. BANES:· Meyerland.
·7· · · ·A.· Meyerland.
·8· · · ·Q.· (BY MS. SANTACRUZ)· Oh, okay.· Is that in
·9· Turkey?
10· · · ·A.· No.
11· · · · · · · · MR. BANES:· No.· That's here in Houston.
12· · · ·Q.· (BY MS. SANTACRUZ)· Okay.· I'm sorry.
13· · · ·A.· That's all I know.· I have friends there.
14· So --
15· · · · · · · · MR. BANES:· It's south of here on 610.
16· · · ·A.· 610.
17· · · ·Q.· (BY MS. SANTACRUZ)· Okay.· Thank you.
18· · · ·A.· Thank you.
         Q.· So, that area you know floods?
19· · · ·Q.·
20· · · ·A.· That's how I -- yes.
21· · · ·Q.· Okay.
22· · · ·A.· Yeah.
23· · · ·Q.· But not in Maplewood where you've lived or in
24· this area?
25· · · ·A.· No.


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·1· · · ·Q.· Yes.
·2· · · ·A.· Yes.
·3· · · ·Q.· So, you knew it was there?
·4· · · ·A.· Uh-huh.
·5· · · ·Q.· What did you know about the bayou at that time?
·6· · · ·A.· It was a nice bayou that you can run or walk or
·7· ride a bicycle.
·8· · · ·Q.· Did you ever see any water or that it was
·9· flooded or had any water in there?
10· · · ·A.· I didn't, no.
11· · · ·Q.· Was that -- what did you think was the use for
12· the bayou other than to use it for recreational
13· purposes?
14· · · ·A.· I didn't know.
15· · · ·Q.· You didn't think there was a possibility that
16· the bayou would overflow or flood?
17· · · ·A.· No, I didn't.
18· · · ·Q.· Not when you were purchasing the home?
19· · · ·A.· No.
20· · · ·Q.· Not after Hurricane Ike?
21· · · ·A.· No.
22· · · ·Q.· So --
23· · · ·A.· I didn't think that it would affect us or
24· anything.· Which I didn't think that because of Harvey
25· that it -- I don't know -- it got too much water.


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·1· · · ·Q.· So, during Hurricane Ike, you did not see --
·2· did you hear about the Buffalo Bayou having any water or
·3· overflowing?
·4· · · ·A.· I don't remember, to be honest with you.                   I
·5· don't remember.
·6· · · ·Q.· Well, let's talk about something more recent
·7· because Ike happened a while ago.· Tax day flood, have
·8· you heard of tax day flood?
·9· · · ·A.· I heard them, uh-huh.
10· · · ·Q.· Okay.
11· · · ·A.· But not in my area.
12· · · ·Q.· It did not flood anything in your area?
13· · · ·A.· No.
14· · · ·Q.· None of the houses in your neighborhood
15· flooded?
16· · · ·A.· As far as I know, no.
17· · · ·Q.· And the streets near where you live, did any of
18· them flood?
19· · · ·A.· Gessner right here, it floods right here
20· because of, I guess, the elevation and then it comes
21· this -- right here, it comes a little bit lower and it
22· does but it goes away immediately.· I mean, it doesn't
23· stay flooded for days or anything.
24· · · ·Q.· So, you were pointing from north to south --
25· · · ·A.· North to south.


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                                   John Britton                     July 16, 2018

                                                                  Page 1

 1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2     IN RE :   UPSTREAM ADDICKS

       AND BARKER (TEXAS)

 3     FLOOD-CONTROL RESERVOIRS

  4                                       CASE NO. 17-cv-9002L

  5    THIS DOCUMENT RELATES TO :

  6    ALL DOWNSTREAM CASES

  7

  8                          ORAL DEPOSITION

  9                           JOHN BRITTON

10·              30(B) (6) MEMORIAL ' SMC INVESTMENT 2013, LP

11                             JOHN BRITTON

 12

 13          ORAL 30(b) (6) DEPOSITION OF JOHN BRITTON·,

 14    Memorial SMC Investment 2013, LP, produced as a

 15    witness at the instance of the JOHN BRITTON and duly

 16    sworn, was taken in the -above-styled and numbered

 17    cause on the 16th day of July, 2018, from 9:10 a.m.

 18    to 2:19 p . m., before Shauna_ Foreman, Certified

 19    Shorthand Reporter in and for the State of Texas,

 20    reported by computerized stenotype machine at the

 21    offices of Vinson & Elkins, 1001 Fannin, Suite 2500,

 22    Houston, Texas, pursuant to the Federal Rules of



                                                                        _J
 23    Civil Procedure and the provisions stated on the

 24    record or attached hereto.
 25
      ._____        _                _ __
                          www.CapitaIReportingCompany.com
                                    202-857-3376


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Case 1:17-cv-09002-LAS                        Document 266-2                        Filed 01/10/23              Page 155 of 1584

                                                                 John Britton                                               July 16, 2018
                                                                 Page 34                                                               Page 36
        1 drainage on how they would ultimately fix the                              Q. Did your civil engineer ever raise any
        2 location ofthe buildings in tenns of height and                      2 concerns about the proximity of the property to the
        3 drain the buildings. And we looked at the title                      3 Buffalo Bayou?
        4 policy to determine if there were any enc1UObrances on               4     A. No.
         5 the title that would prevent the development.                       5     Q . Was there any discussions with your civil
        6     Q. All right. And who were your civil                            6 engineers about the proximity of the site to the
        '7 engineers?                                                          7 Buffalo Bayou?
        8     A. Walter P. Moore.                                              8      A. Not to my knowledge. Again, we looked at
        9     Q. What's the last name?                                         9 where the -- the height -- the elevation of the
    10        A. Moore, M-0-0-R-E.                                         10 property relative to the flood zone, and that's kind
    11        Q. At the time that you were doing this                      11 of the biggest thing you look at in Houston, Texas.
    12 analysis, were you aware of the proximity to the                    12               Again, we verified that there were no
    13 Addicks Dam?                                                        13 encumbrances on the title. And then in formulating a
    14    A. I mean, we were aware that the dams were                      14 final elevation with the civil engineer, we relied on
    15 there. Growing up in Houston, you know, the dams                    15 their calculations and ended up building this several
    16 have been there my entire life. So --                               16 feet above the hundred-year flood plain. We were not
    17        Q. And had there been ever any analysis                      17 quite to the 500-year flood plain level, but pretty
    18 performed that related to the potential for releases                18
    19 from the •• from the darn?                                          19
    20        A. No.                                                       20
    21               MR. McN EIL: Well, before you go any                  21 historicallx?
    22 further, analysis by whom?                                          22    A. No.
    23               MR. DAIN: Anyone that he knew of.                     23    Q. Were you, at the time you purchased, aw
    24        Q. (BY MR. DAIN) I'm talking about your                      24 of    instance ·    · h South Mayde Creek had ever
    25 knowledge.                                                          25 overtopped its banks with water?

                                                                 Page 35                                                                Page 37
        1            MR. McNEIL: Objection. Form.                                     A. I wasn't specifically aware of that, but
        2     A. There was no analysis by Grayco of the dam                    2 the creek overtoru>ing_its banks doesn't necessarily
        3 release or anything like that.                                       3 imply that the ro12IBY that we built and the level
        4     Q. (BY MR. DAIN) Did you look at-· were
         5 you -- did you ever know or have anybody investigate
         6 the protocols associated with the operations of the
         7 dams, as to when they would release water, how much
         8 water they might release, under what conditions there
         9 would be releases, factors such as that?
        10    A. No.
        11    Q. So, now, you make sure I have my
        12 phraseology right. There was $77 million in                              flood in Houston.
        13 development costs at the time of -- through the time                13     Q. I'm going to just jump -- I'm going to ask
        14 of completion of the apartment complex, correct?                    14 about some of the types of documents I've seen in the
        15     A. Approximately.                                               15 production today and just ask some questions
        16     Q . Approximately. Fair enough.                                 16 generically about them sol understand who generates
        17           And in addition to those -- to the                        17 them and what they are used for, all right?
        18 development costs, had Grayco incurred other costs in               18      A. Yes.
        19 exploring this investment?                                          19      Q. I see a document called Box Score. Have
                                                                           1
        20     A. Through completion, that was a                               20 you seen those?
        21 comprehensive view of the costs. Post-completion, we                21      A. Yes.
        22 spent probably a couple million dollars more in                     22      Q. Okay. What is-· what's the purpose of
    1   23 operating deficit carry costs to get it to                          23 that document?
    1 24 stabilized •• a stabilized level of leasing where it              [ 24        A. Box Score is created by our management

    1
      25 was self-sustaining.                                              I 25 company, generated from the property management

                                                                                                                        l O(Pages 34 - 37)
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                                                                   Page 1

1            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2      IN RE UPSTREAM ADDICKS          )
       AND BARKER (TEXAS)              )
3      FLOOD-CONTROL RESERVOIRS        )
                                       )   Sub-Master Docket No
4      ________________________        )   17-cv-9002L
       THIS DOCUMENT RELATES TO        )
5      ALL DOWNSTREAM CASES            )
6
7                  --------------------------------------
                              ORAL DEPOSITION OF
8
                                  DANA CUTTS
9
                                 JUNE 27, 2018
10               --------------------------------------
11
12                 ORAL DEPOSITION OF DANA CUTTS, produced as a
13     witness at the instance of the United States, and duly
14     sworn, was taken in the above-styled and numbered cause
15     on the 27th day of June, 2018, from 9:07 a.m. to
16     2:55 p.m., before Morgan Veletzuy, CSR in and for the
17     State of Texas, recorded by machine shorthand, at the
18     offices of McGehee, Chang, Landgraf, 10370 Richmond
19     Avenue, Suite 1300, Houston, Texas 77042, pursuant to
20     the Federal Rules of Civil Procedure and the provisions
21     stated on the record or attached hereto; that the
22     deposition shall be read and signed before any notary
23     public.
24
25

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      Case 1:17-cv-09002-LAS      Document 266-2    Filed 01/10/23   Page 157 of 1584
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                                                                      Page 77

 1              A.   Just what I saw on the news, that the

 2      reservoirs were filling and they were going to have some

 3      controlled releases.

 4              Q.   Okay.     And have you received any information

 5      from local governments about the reservoirs after

 6      Hurricane Harvey?

 7              A.   Other than what I read in the news that water

 8      would be -- was being released for probably several

 9      months, no.

10              Q.   Okay.     Have you ever received information from

11      local governments about Houston being a flood-prone

12      area?

13              A.   Well, just what I've seen over the years when

14      they've talked about heavy rains and different parts of

15      Houston flooding like Meyerland, which seems to flood

16      quite a bit.         But just that general kind of thing.

17              Q.   Has -- do you have knowledge of whether your

1
188     property has ever flooded?

1
199             A.   Yes, I do have knowledge.

20              Q.   Okay.     And what is that knowledge?

21              A.   It has never flooded.

22              Q.   Okay.     Do you have knowledge about whether your

2
233     property has flooded before the time you owned it?

2
244             A.   No, I do not.

25              Q.   Okay.

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                                                                   Page 1

1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2         IN RE UPSTREAM ADDICKS       §

          AND BARKER (TEXAS)           §

3         FLOOD-CONTROL RESERVOIRS     § SUB-MASTER DOCKET

4

                                       § NO. 17-cv-9002L

5         _________________________ §

                                       § Chief Judge Susan G. Braden

6         THIS DOCUMENT RELATES TO: §

7         ALL DOWNSTREAM CASES         §

8         __________________________§

9                               ORAL DEPOSITION

10                             MR. JEREMY E. GOOD

11                               July 19, 2018

12

13             ORAL DEPOSITION OF MR. JEREMY E. GOOD, produced

14        as a witness at the instance of the United States and

15        duly sworn, was taken in the above-styled and

16        numbered cause on the 19th day of July, 2018, from

17             a.m. to 12:23 p.m., before Michelle Hartman,            9:00

18        Certified Shorthand Reporter in and for the State of

19        Texas and Registered Professional Reporter, reported

20        by computerized stenotype machine at the offices of

21        Raizner Slania, LLP, 2402 Dunlavy Street, Houston,

22        Texas 77006, pursuant to the Federal Rules of Civil

23        Procedure and the provisions stated on the record or

24

25        attached hereto.

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                                                              Page 97

1                  Q.   And what was -- what was the nature of

2     that flooring?

3                  A.   Unit A was ceramic tile and Unit C was

4     a wood floor throughout.

5                  Q.   Since the repairs, are there granite

6     countertops in the units today?

7                  A.   They are some sort of stone.          I believe

8     they are granite, yes.

9                  Q.   Okay.    And what were they before?

10                 A.   Formica perhaps.       I'm not sure exactly

11    what the term was.

12                       MR. DAIN:     Okay.     Let me take a little

13    break and we will be done.

14                       MR. WICKERT:      Okay.

15                              (Recess taken)

16                       MR. DAIN:     Back on the record.

17                 Q.   (BY MR. DAIN)      Any security cameras on

18    Memorial Mews?

19                 A.   No.

20                 Q.   Are you aware of the Memorial Day

21    Flood?
      Flood?

22
22                 A.   Peripherally.

23                 Q.   Okay.    No knowledge of the Memorial Day

24
24    Flood and whether that event had any impact on

25    flooding in your neighborhood, in the Memorial Mews

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                                                                         Page 98

     1    neighborhood?

     2                 A.      I know it did not affect the Memorial

     3    Mews neighborhood.

     4                 Q.      Okay.   How about the Tax Day Flood, do

     5    you have any knowledge about whether the Tax Day

     6    Flood had any flooding in the neighborhood near

     7    Memorial Mews?

      8             A. There was impact for the Tax Day Flood.
TFFFSSBUBOPJNQBDU
      9             Q. Do you know when the building was

    10    built?

    11                 A.      In 1980 -- early 1980s.             I would have

    12    to go back and check the exact records.

    13                 Q.      How many units -- similar units are

    14    there at Memorial Mews?

    15                 A.      There are approximately 30-odd -- the

    16    number could be within five of that -- unit buildings

    17    there on the street.

    18                          MR. DAIN:     All right.          No further

    19    questions.

    20                          Sorry for the event.         I'm sorry for

    21    your losses.

    22                          THE WITNESS:      Thank you.

    23                          MR. DAIN:     Pass the witness.

    24                                 EXAMINATION

    25                 Q.      (BY MR. MCGEHEE)       All right.         Jeremy, I

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23     Page 161 of 1584
                                Mr. Jeremy E. Good                  July 19, 2018

                                                               Page 101

1                          CHANGES AND SIGNATURE

2     PAGE LINE     CHANGE                            REASON

3     _____________________________________________________
       Page 15 Line 5-6 Change "quad mixes" to "quad plexes" due to

4     _____________________________________________________
       a mistake in the transcription.

5     _____________________________________________________
      Page 18 Line 6 Change punctuation from a period to a question mark.


6     _____________________________________________________
      Clarification of answer


7    _____________________________________________________
     Page 19 Line 13 Change "I'm not alone" to "I'm not aware" due to a

8     _____________________________________________________
       mistake in the transcription.

9     _____________________________________________________
      Page 52 Line 9 Change from "the first one really had to do with" to

10    _____________________________________________________
      "the first one had nothing to do with" due to a mistake in the

11    _____________________________________________________
      transcription

12   _____________________________________________________
     Page 68 Line 4-5 Take out the words "the breakdown" to read" at that

13   _____________________________________________________
     point the spray foam was the most efficient" due to a mistake in

14   _____________________________________________________
     transcription

15   _____________________________________________________
     Page 68 Line 15-16 Change from " all the electrical components were in

16   _____________________________________________________
     the safe" to " all the electrical components were safe" due to a mistake

17   _____________________________________________________
     in transcription

18    _____________________________________________________
      Page 90 Line 13 Correction to the date. Change from "2000" to "2017"

19    _____________________________________________________
      due to clarification.

20   _____________________________________________________
     Page 93 Line 4 Change "sometimes" to "sometime" due to mistake in

21   _____________________________________________________
     transcription.

22    _____________________________________________________
      Page 94 Line 19-20 Change from "there would be enough for their rent

23    _____________________________________________________
      repairs and enough of" to "there would be enough for repairs and enough

24    _____________________________________________________
      of" due to mistake in the transcription.

25    _____________________________________________________

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                                Mr. Jeremy E. Good                 July 19, 2018



1                          CHANGES AND SIGNATURE

2     PAGE LINE     CHANGE                            REASON

3     Page 98 Line 8 Change from "There was impact for the Tax Day Flood" to
      _____________________________________________________

4     _____________________________________________________
      "There was no impact for the Tax Day Flood" due to mistake in


5     _____________________________________________________
      transcription.
      t      i ti


6     _____________________________________________________

7     _____________________________________________________

8     _____________________________________________________

9     _____________________________________________________

10    _____________________________________________________

11    _____________________________________________________

12    _____________________________________________________

13    _____________________________________________________

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21    _____________________________________________________

22    _____________________________________________________

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                                Mr. Jeremy E. Good                July 19, 2018

                                                              Page 102

1

2

3

4

5

6

7           I declare under penalty of perjury that the

8     foregoing is true and correct.

9

10                                  _____________________________

11                                    MR. Jeremy E. GOOD

12

13

14          SUBSCRIBED AND SWORN TO BEFORE ME, the

15    undersigned authority, by the witness, MR. TERRY E.

16    GOOD, on this the _____ day of

17    ______________________, 2018.

18

19                                _______________________________

20                                  NOTARY PUBLIC IN AND FOR

21                                  THE STATE OF ________________

22

23    My Commission Expires: __________

24

25

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                                                                Page 1

 1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2    IN RE UPSTREAM ADDICKS           )

      AND BARKER (TEXAS)               )

 3    FLOOD-CONTROL RESERVOIRS         )   Sub-Master Docket No

 4    ________________________         )   17-cv-9002L

 5    THIS DOCUMENT RELATES TO         )

 6    ALL DOWNSTREAM CASES             )

 7                --------------------------------------

 8                            ORAL DEPOSITION OF

 9                               WAYNE HOLLIS

10                               JULY 19, 2018

11               --------------------------------------

12                ORAL DEPOSITION OF WAYNE HOLLIS, produced as a

13    witness at the instance of the United States, and duly

14    sworn, was taken in the above-styled and numbered cause

15    on the 19th day of July, 2018, from 8:59 a.m. to

16    12:13 p.m., before Morgan Veletzuy, CSR in and for the

17    State of Texas, recorded by machine shorthand, at Clark,

18    Love & Hutson, G.P., 440 Louisiana Street, Suite 1600,

19    Houston, Texas 77002, pursuant to the Federal Rules of

20    Civil Procedure and the provisions stated on the record

21    or attached hereto; that the deposition shall be read

22    and signed before any notary public.

23

24

25

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                                                                                  A615
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 42ND\$QGWKLVTXHVWLRQSUREDEO\UHTXLUHV\RX              DWWKHWLPH"
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 XQGHUVWDQGWKHUHLVDDELNHSDWKWKDWUXQVDORQJWKH             ZHUHLQDLQDIORRG]RQH"
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 KDYHKDYHDFFHVVWRWKDWWKDWELNHSDWK"                       4$QGZKDWZDV\RXUXQGHUVWDQGLQJ"
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  %UDPEOHZRRGDQGVRPHDFFHVVSRLQWVDWGLIIHUHQWVWUHHWV               $<HVZHGLG
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  ZRXOG\RXJRGRZQ1RWWLQJKDP2DNV7UDLODQGGRHVWKDW                 $<HV
  SURYLGH\RXDFFHVVWRWKHJUHHQVSDFH"$WWKHWRSRI              4'LGWKH\DOVRUHTXLUHWKDW\RXKDYHIORRG
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 SRLQWVVKRZQRQWKDWPDS"                                            LQVXUDQFH,WKLQN,GRQ W,GRQ WWUXO\UHFDOO
 $,FDQ WVHHWKDW,DFWXDOO\FDQ WVHHWKDW               4+DYH\RXPDLQWDLQHGIORRGLQVXUDQFHRQWKH
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                                                                              42ND\$QGDVLGHIURPWKHFODLPWKDW\RXPDGH
 WKHJUHHQVSDFH                                                     DIWHU+DUYH\KDYH\RXHYHUKDGWRPDNHDQRWKHUFODLPRQ
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 4$QGLVWKDWGR\RXGR\RXXVHWKHJUHHQ               \RXUIORRGLQVXUDQFHSROLF\""
                                                                          \RXUIORRGLQVXUDQFHSROLF\

                                                                                                                     3DJHV
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     Case 1:17-cv-09002-LAS                          Document 266-2                 Filed 01/10/23               Page 166 of 1584
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                                                            3DJH                                                                3DJH
        $1R
  $1R                                                         &RQVWUXFWLRQ&RPSDQ\
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  *DOYHVWRQ%D\DOVRLQVXUHGZLWKIORRGLQVXUDQFH"                     7+(:,71(660LVFKHU0,6&+(5
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  SURSHUW\EHIRUH"                                                     EXLOGLQJWKHURDGVLQWKLVDUHDGHVFULEHWRPHZKDWWKH
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  $OLFLDSXOOHGWKHURRIRIIRILWDQGLWUDLQHGLQLW                GHYHORSPHQWRXWWKHUH9LQFH.LFNHULOORZDVWKH
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 LQWHUURJDWRU\IRUWKHUHFRUGLV,GHQWLI\GRFXPHQWV            46RDERXWKRZPDQ\\HDUVZRXOG\RXVD\GLGLW
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  HDFKSODLQWLIIUHYLHZHGRURWKHUVWHSVWDNHQSULRUWR                KHOSHGFRQVWUXFWURDGVWRZKDWLWORRNVOLNHWRGD\"
  SXUFKDVLQJDQGUHOHDVLQJWKHLUUHVSHFWLYHWHVW                       $3UREDEO\RU\HDUVWREXLOGRXW
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  ZDVOLNHO\RQWKHWHVWSURSHUW\DQGLQGHWHUPLQLQJ                   WKHZD\LWGLGZLWKRXWWKHFRQVWUXFWLRQRI$GGLFNVDQG
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 IORRGHGEDVHGXSRQWKHLUNQRZOHGJHRIWKHDUHDDQGWKH              KRPHKDYHWKHUHEHHQVWRUPHYHQWVZKHUHZKHUH\RX YH
 GLVFORVXUHVSURYLGHGWRWKHPDVSDUWRIWKHSXUFKDVH                VHHQWKRVHUHVHUYRLUVDWOHDVWPD\EHPD\EHILOOXSLV
 WUDQVDFWLRQ                                                       QRWWKHULJKWZRUGEXWKROGZDWHUEDFN"
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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 167 of 1584
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                                                                Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2     IN RE UPSTREAM ADDICKS             )
      AND BARKER (TEXAS)                 )
3     FLOOD-CONTROL RESERVOIRS           )   Sub-Master Docket No
4     ________________________           )   17-cv-9002L
5     THIS DOCUMENT RELATES TO           )
6     ALL DOWNSTREAM CASES               )
7                 --------------------------------------
8                             ORAL DEPOSITION OF
9                                VIRGINIA MILTON
10                                JULY 10, 2018
11               --------------------------------------
12                ORAL DEPOSITION OF VIRGINIA MILTON, produced
13    as a witness at the instance of the United States, and
14    duly sworn, was taken in the above-styled and numbered
15    cause on the 10th day of July, 2018, from 3:14 p.m. to
16    5:00 p.m., before Morgan Veletzuy, CSR in and for the
17    State of Texas, recorded by machine shorthand, at
18    Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19    Suite 4000, Houston, Texas 77056, pursuant to the
20    Federal Rules of Civil Procedure and the provisions
21    stated on the record or attached hereto; that the
22    deposition shall be read and signed before any notary
23    public.
24
25

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      Case 1:17-cv-09002-LAS      Document 266-2 Filed 01/10/23   Page 168 of 1584
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                                                                   Page 31

 1             Q.   Prior to Hurricane Harvey, had the

 2     850 Silvergate property ever flooded?

 3             A.   No.     Not only had it not flooded, it never had

 4     a drop of water from any thunderstorm, hurricane, o
                                                         orr

 5     tropical storm
                storm..

 6             Q.   Did it ever rain on your house during one of

 7     those t ypes of events?
             types

 8             A.   Yes.

 9             Q.   But water never came onto your property from

1
100    some other source, is what you're saying?

11                          MR. HOBBS:    Objection; form.

12             A.   We never had any water in our house from any

1
133    sou rce.
       source.

14             Q.   (BY MR. LEVINE)       So you've never had any water

15     damage to your home from any storm?

16             A.   No.

17             Q.   Has your roof ever been damaged?

18             A.   We've had a couple of leaks -- one in the

19     dining room area, one in the kitchen going into the

20     garage area, from a shingle that got blown off.              And so

21     we had -- we didn't realize we had a leak and had the

22     roof fixed.         Also, we have a lot of squirrels that are

23     on the roof that do damage.           So we have had from that

24     also.

25             Q.   You've had water damage from that?

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 169 of 1584
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                                                                 Page 1

1              THE UNITED STATES COURT OF FEDERAL CLAIMS

        IN RE: DOWNSTREAM ADDICKS       )

2       AND BARKER (TEXAS)              )

3       FLOOD-CONTROL RESERVOIRS        )

4                                       ) SUB-MASTER DOCKET NO.

5                                       ) 17-CV-90021

6                                       )

7     ********************************************************

8                             ORAL DEPOSITION OF

9                               JENNIFER SHIPOS

10                            September 19, 2018

                                   Volume 1

11    ********************************************************

12          ORAL AND VIDEOTAPED DEPOSITION OF JENNIFER SHIPOS,

13    produced as a witness at the instance of the DEFENDANT,

14    was taken in the above-styled and numbered cause on

15    September 19, 2018 from 3:02 p.m. to 5:05 p.m., before

16    Toyloria Lanay Hunter, CSR in and for the State of

17    Texas, reported by machine shorthand, at the law offices

18    of NEEL, HOOPER & BANES, P.C., 1800 West Loop South,

19    Suite 1750, Houston, Texas 77027, pursuant to the

20    Federal Rules of Civil Procedure and the provisions

21    stated on the record or attached hereto.

22

23

24

25

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                                                                                   A620
      Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 170 of 1584
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                                                                 Page 16

 1     in order to have homeowners association -- or no.             I

 2     mean -- we just never were required.          I think some areas

 3     are required.

 4           Q.     When you -- since you've owned it, have you

 5     ever had flood insurance?

 6           A.     Two years now.

 7           Q.     And so when did you first have flood

 8     insurance?

 9           A.     Well, I guess I just renewed it for the third

10     time in July.     So it would have been, let's see.          Maybe

11     July of 2016.

12           Q.     What company is that with?

13           A.     Allstate.

14           Q.     When you bought it in 2016, why did you buy

15     it?

16           A.     Well, I'd never had any kind of water.          Like,

17     we went through Allison.        We went through Ike.      Never

1
188    had a problem at all.       The tax flood day, it did come up

1
199    in the yard.     And that was probably -- you know.          To the

20     extent -- you know, that I had seen water, you know, it

21     was enou gh where we couldn't pull
           enough                    pull our cars in.

22                       So -- but then it went right back out.             So

2
233    that was the first time I thou ght maybe
                                 thought  maybe this would be a

2
244    good idea.     But we do live in Houston, so. . .

25           Q.     How much do you pay for flood insurance?

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                                                                                     A621
      Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 171 of 1584
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                                                                 Page 86

 1           A.    Yes, it is.

 2           Q.    And Paragraph 5 -- now, when did you do this?

 3           A.    March --

 4           Q.    March 28th?

 5           A.    -- 28th.

 6           Q.    2018?

 7           A.    Yeah.

 8           Q.    Paragraph 5, that's your view of what happened

 9     to your house?

10           A.    Yes.

11           Q.    Now, with respect to the market values on

12     these appraisals or the appraised values, do you agree

13     with -- do you agree with the market value on this -- on

14     this -- on these sheets?

15           A.    Between these two?        Or --

16           Q.    For any of them.

17           A.    (Reading.)     I don't know the answer to that.

18           Q.    I notice that between 2016 and 2017, the land

1
199    value doesn't chan ge at all?
                     change

2
200          A.    Correct.

21           Q.    Do you agree with that?

22           A.    Not necessarily, but I don't know.

2
233          Q.    Well, the property was flooded.

24                         Was never flooded before 2017, was it?

25           A.    No.

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     Case 1:17-cv-09002-LAS      Document 266-2 Filed 01/10/23   Page 172 of 1584
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                                                                  Page 87

1             Q.     But it was flooded during 2017?

2             A.     Yes.
                     Yes

3             Q.     There's nothing in here reflecting that

4     anything like that ever happened?

5             A.     Right.

6             Q.     I got one last question now, ma'am.

7             A.     Okay.

8             Q.     If your -- let's say the dams would not have

9     been there.       Let's just assume the dams were never

10    there.       Would your purchase decision for the home have

11    been the same?

12                           MR. DOOHER:      Objection; calls for

13    speculation.

14    BY MR. BANES:

15            Q.     You can answer if you know.

16            A.     If -- would I have bought the property right

17    here?

18            Q.     Yeah.     Exhibit 1, where it's located.

19            A.     If the dams were not --

20            Q.     Right.

21            A.     I would say I would not have bought the

22    property.

23            Q.     Okay.

24                           MR. BANES:      Nothing further.

25                                     EXAMINATION

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                                                                                      A623
     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 173 of 1584
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                                                                Page 1

1               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
       IN RE DOWNSTREAM                  )
3      ADDICKS AND BARKER                )       Sub-Master Docket
       (TEXAS) FLOOD-CONTROL             )       No. 17-cv-9002L
4      RESERVOIRS                        )
5
6
      ******************************************************
7                             ORAL DEPOSITION OF
8                                TIMOTHY STAHL
9                             SEPTEMBER 5, 2018
10    ******************************************************
11
             ORAL DEPOSITION of TIMOTHY STAHL, produced as a
12    witness at the instance of the Defendant, and duly
      sworn, was taken in the above-styled and numbered
13    cause on September 5, 2018, from 10:10 a.m. to 2:52
      p.m., before Heather L. Garza, CSR, RPR, in and for
14    the State of Texas, recorded by machine shorthand, at
      the offices of NEEL, HOOPER & BANES, P.C., 1800 West
15    Loop South, Suite 1750, Houston, Texas, pursuant to
      the Federal Rules of Civil Procedure and the
16    provisions stated on the record or attached hereto;
      that the deposition shall be read and signed.
17
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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 174 of 1584
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                                                              Page 33

1          A.    No, ma'am, it had not.

2          Q.    Did the possibility of flooding present any

3     concerns to you at the time you decided to purchase?
                                                 purchase?

4          A.    Because --

5                        MR. BANES:     Objection to form.

6                        You can go ahead.

7          A.    Because it was not in the hundred-year

8     floodplain
      floodplain and I had firsthand primary
                                     primary source

9     experience
      experience with living
                      living right
                             right next door for the last 30

10    something years, I felt safe.            There was no concern

11    about flooding.
            flooding.

12         Q.    (BY MS. TARDIFF)         At the time of your closing

13    on the property, were there any disclosures -- well,

14    let me step back.

15               Did you talk to the seller of the property at

16    all about flooding before you purchased?

17         A.    No, ma'am.      The seller was less than inclined

18    to talk to anybody.

19         Q.    Okay.     So no opportunity to talk to the

20    seller?

21         A.    Not until closing where she slid a key across

22    the table.

23         Q.    Okay.     And at your closing, was there any

24    disclosure from the seller about any flooding of

25    either the home itself or the -- the land between the

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     Case 1:17-cv-09002-LAS   Document 266-2    Filed 01/10/23   Page 175 of 1584
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                                                                   Page 1

 1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 2    IN RE UPSTREAM ADDICKS
 3     AND BARKER (TEXAS)
 4    FLOOD-CONTROL RESERVOIRS          Sub-Master Docket No.
                                        17-cv-9001L
 5    _________________________
 6                                      Judge Charles F. Lettow
 7    THIS DOCUMENT RELATES TO:
 8    ALL UPSTREAM CASES
 9
10                   ORAL DEPOSITION OF VAL ALDRED
11                            AUGUST 1, 2018
12
13
14              ORAL DEPOSITION OF VAL ALDRED, produced as a
15    witness at the instance of the Defendant and duly
16    sworn, was taken in the above styled and numbered
17    cause on Wednesday, August 1, 2018, from 8:58 a.m.
18    to 3:31 p.m., before Rene White Moarefi, CSR, CRR,
19    RPR in and for the State of Texas, reported by
20    computerized stenotype machine, at the offices of
21    Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,
22    Houston, Texas, pursuant to the Federal Rules of
23    Civil Procedure and any provisions stated on the
24    record herein.
25

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     Case 1:17-cv-09002-LAS                      Document 266-2                 Filed 01/10/23         Page 176 of 1584
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  42ND\$QGLQ\RXUEDFN\DUGGR\RXKDYH                4:KHQZDVWKDW"
  DVZLPPLQJSRRO"                                                   $3UREDEO\DERXWHLJKW\HDUVDJR
  $<HV                                                    46RDURXQG"
  4$QGWKRVHZHUHDOOEXLOWDURXQG                   $7KDW VSUHWW\IDLU,WKLQN
  "                                                              4+DYH\RXHYHUSHUIRUPHGDQ\IRXQGDWLRQ
  $7KHSRROZDVWKHUHZKHQZHERXJKWLW                   ZRUN"
 , PQRWVXUHZKHQLWZDVEXLOW,DVVXPHWKHJDUDJH              $1R
 ZDVEXLOWDWWKHVDPHWLPHWKHKRXVHZDV                         42WKHUWKDQWKDWRQHWLPHLQZKHQ\RX
 42ND\,WKLQNZH YHGLVFXVVHGVRPH                    WUHDWHG\RXUKRPHIRUWHUPLWHVKDYH\RXHYHUKDGD
 UHQRYDWLRQVDOUHDG\WKDW\RX YHGRQH,WKLQN\RX                IODUHXSDIWHUZDUGV"
 GHVFULEHGSDLQWLQJDQGQHZFDUSHWDQHZFRXQWHUWRS               $1R
 IRU\RXUNLWFKHQDQGDQXSJUDGHRIWKHPDVWHU                    42ND\+DYH\RXHYHUUHSODFHG\RXUURRI"
 EHGURRPRUPDVWHUEDWKLQ$UHWKHUHDQ\                 $<HV
 RWKHUFKDQJHVWR\RXUKRXVHWKDWZHKDYHQ W                       4:KHQZDVWKDW"
 GLVFXVVHG"                                                        $,WKLQNVRPHWLPHDURXQG
 $:KHQ\RXVD\FKDQJHVIURPZKHQWR                   42ND\+DYH\RXHYHUXSJUDGHGDQ\RI\RXU
 ZKHQ"                                                             DSSOLDQFHV"
 4)URPWKHWLPH\RXSXUFKDVHG\RXUKRPHLQ               $<HV,QZHERXJKWDEUDQGQHZ
 XQWLO$XJXVWRIEHIRUH+DUYH\,MXVWZDQW              ZDVKHUDQGGU\HUDQGUHIULJHUDWRUDQGPD\EHHYHQD
 WRJHWDJHQHUDOXQGHUVWDQGLQJRIWKHNLQGRI                     GLVKZDVKHUDQGDEXLOWLQPLFURZDYHRYHQLQWKH
 LPSURYHPHQWVWKDW\RXPDGHWR\RXUKRXVH                       NLWFKHQ+RWZDWHUWDQNVRPHZKHUHDORQJWKHZD\
 $6XUH                                                  43ULRUWR+DUYH\KDG\RXUKRXVHHYHU
                                                                         4 3ULRUWR+DUYH\KDG\RXUKRXVHHYHU
                                                          3DJH                                                    3DJH
                                                                                                                     3DJH
  4WRXQGHUVWDQGWKHFRQGLWLRQLWZDVLQ                IORRGHG"
                                                                      IORRGHG"
  $*RWFKD2ND\6ROHW VVHH,QWKH                     $ 1RWOLNH+DUYH\KDG:H GJRWWHQVRPH
                                                                      $1RWOLNH+DUYH\KDG:H
  WKHIDPLO\URRPZHUHPRYHGWKHH[LVWLQJSDUTXHW                    ZDWHULQRQFHEDFNLQDIWHUDKHDY\UDLQVWRUP
                                                                      ZDWHULQRQFHEDFNLQDIWHUDKHDY\UDLQVWRUP
  IORRULQJDQGSXWLQQHZ\RXNQRZZRRGIORRULQJ                  WKDWMXVWEDUHO\FUHSWLQIURPIURPWKHGULYHZD\
                                                                      WKDWMXVWEDUHO\FUHSWLQIURPIURPWKHGULYHZD\
  WKDWZDVPRUHPRGHUQ                                                   4 :HUH\RXWKHUHOLYLQJLQWKHKRPH
                                                                      4:HUH\RXWKHUHOLYLQJLQWKHKRPH
  4:KHQZDVWKDWGRQH"                                      GXULQJ"
                                                                      GXULQJ"
  $,Q                                                     $ ,ZDV,WKDSSHQHGLQLWKDSSHQHG
                                                                      $,ZDV,WKDSSHQHGLQLWKDSSHQHG
  42ND\                                                    VRPHWLPHDURXQG$SULORI
                                                                      VRPHWLPHDURXQG$SULORI
  $/HW VVHH:HZHGLGWKHEDWKURRPDV               4,ZDQWWRGLUHFW\RXUDWWHQWLRQWR
 ZHWDONHGDERXW2WKHUWKDQSDLQWLQJOHW VVHH                 ([KLELW
 :HPLJKWKDYHXSJUDGHGWKHFORVHWVDWOHDVWP\                   $:KLFKRQHLVWKDWRQH"
 ZLIH VFORVHWZLWK&DOLIRUQLD&ORVHWV7KH                      47KHIORRUSODQ
 GRZQVWDLUVZHKDGZHKDGWDNHQWKHWKH                     $2ND\
 H[LVWLQJFDUSHWLQJDQGWLOHGWKHOLYLQJURRPWKH              4/RRNLQJDWWKDWIORRUSODQFDQ\RX
 WKHHQWU\ZD\DQGWKHGLQLQJURRPDQGWKHKDOOZD\               LGHQWLI\ZKHUHWKHZDWHUFUHSWLQ"
 7KDW VDERXWLW                                                  $)URP+DUYH\"
 42ND\'R\RXKDYHDQ\ZRRGURWRQ\RXU                46RUU\)URPWKHUDLQV
 SURSHUW\"                                                         $)URPWKHIURPWKHULJKWKDQGVLGH
 $3UREDEO\                                              ZKHUHWKHGULYHZD\ZRXOGEHGLQLQJURRPDQGWKH
 4+RZORQJKDVWKDWKRZORQJKDYH\RX                 NLWFKHQDQGWKHQDURXQGWKHEDFNWRWKHEUHDNIDVW
 KDGZRRGURW"                                                     URRP$OLWWOHELWSUREDEO\LQWKHIURQW$QG
 $:HOOLW\RXNQRZDVIDUDVDVIDU              VRPHKRZLQWKHPDVWHUEHGURRP,GRQ WNQRZKRZ
 DV,FDQWHOODQ\WKHRQO\SODFHLWZRXOGEH                  WKDWKDSSHQHGEXWLWZDVDOLWWOHELWULJKWDWWKH
 ZRXOGEHEHKLQGWKHJDUDJHDQGWKDW VRQO\EHFDXVH               YHU\HGJHRIWKHPDVWHUEHGURRP
 ,MXVWKDSSHQHGWRVHHLWDFRXSOHRIZHHNVDJR                  42ND\6RWKHQ\RXKDGZDWHULQ\RXU

                                                                                                       3DJHV
                                          ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                                                                                                               A627
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                                                        9DO$OGUHG                                              $XJXVW
                                                          3DJH                                                             3DJH
  DOODORQJWKHULJKWVLGHRI\RXUKRPHWKHODXQGU\                 $QGZHKDGWRSXWZHKDGWRUHSODFH
  URRPWKHNLWFKHQWKHGLQLQJURRP'LG\RXKDYH                  WKHFDUSHWWKDWZDVLQWKHPDVWHUEHGURRPEHFDXVH
  ZDWHULQWKHIR\HU"                                                HYHQWKRXJKDVPDOOSRUWLRQRIWKDWKDGEHHQGDPDJHG
  $<HV                                                    E\WKHZDWHUDOLWWOHELWLWPHDQVWKHZKROHWKLQJ
  4$QGWKHOLYLQJURRP"                                    KDVWRJRVR
  $1RWVRPXFKWKHOLYLQJURRP                            42ND\'R\RXUHFDOODQ\GHWDLOVRIWKDW
  42ND\                                                   UDLQVWRUPLQ"
  $,WEDUHO\JRWLQWKHUH,PHDQLW                     $-XVWWKDW,ZRNHXSDQGWKDWPRUQLQJ
  ZDVQ WFRPSOHWHO\FRYHUHGZLWKZDWHU$QGWKHZDWHU               DQG,ZDV\RXNQRZVWHSSLQJLQZDWHUZKHQ,JRW
 WKDWZDVLQWKHUHZDVPD\EHJRVKKDOIDQLQFK,W              RXWRIEHGDWLQWKHPRUQLQJZKHQLWZDV
 ZDVDOPRVWOLNHVRPHERG\WRRNDELJROGEXFNHWRI                 FRPSOHWHO\GDUN$QGLWZDVDOOKDQGVRQGHFN\RX
 ZDWHUDQGMXVWSRXUHGLWRQWKHIORRUUDWKHUWKDQ                 NQRZ
 MXVWLWGLGQ WVWD\YHU\ORQJ,WUHFHGHGSUHWW\              4$OOKDQGVRQGHFN:KDWGRHVWKDWPHDQ"
 TXLFNO\                                                          $,WPHDQVZKDW VJRLQJRQKHUH"<RXNQRZ
 4+RZORQJGLGLWWDNHWRUHFHGH"                        OHW VZKDW VKDSSHQLQJ"<RXNQRZ\RXJRWWR
 $/HVVWKDQKRXUV                                    WDNHFDUHRIZKDWHYHU\RXNQRZZKDWHYHU VJRLQJ
 4$QG\RXDSSUR[LPDWHWKHUHZDVSUREDEO\D               RQ
 KDOILQFKRIVWDQGLQJZDWHU"                                      42ND\6RGLG\RXGR\RXUHFDOOKRZ
 $<HDKLWZDVMXVWVRPHWKLQJWRPRUHWR              PXFKUDLQRUKRZPXFKZDWHUIHOOLQ"
 EHPRUHDQQR\LQJWKDQDQ\WKLQJHOVH                              $<RX GKDYHWRJREDFNDQGORRNDWWKH
 42ND\:DVWKHUHDSDUWRI\RXUKRPHWKDW              QHZVSDSHUVWKDWPHDVXUHWKRVHWKLQJV,GRQ WKDYH
 KDGKLJKHUVWDQGLQJZDWHUWKDQDQRWKHUSDUW"                      DUDLQJDXJH
 $:HOOWKHSDUWWKDWZDVGU\GLGQ WKDYH                42ND\'R\RXUHFDOOLIWKDWUDLQVWRUP
 DQ\VWDQGLQJRKVWDQGLQJZDWHU1R,JXHVV                  ZDVRUZDVDVVRFLDWHGZLWKDQ\VWRUP"
 WKH\ZHUHSUREDEO\DERXWWKHVDPH,GRQ W,                  $,WLIWKHUHZDVLWZDVQ WDQDPHG
                                                          3DJH                                                             3DJH
  GLGQ WUHDOO\QRWLFHDWWKHWLPH                                  VWRUPOLNH\RXWKLQNRIWKDWDUHWKHWD[GD\
  42ND\,W\RXGLGQ WQRWLFHLIWKH                   0HPRULDO'D\RU+DUYH\RU$OOLVRQRUDQ\WKLQJ
  ZDWHUZDVDOLWWOHELWKLJKHULQWKHGLQLQJURRP                   OLNHWKDW,WZDVMXVWDFHOOWKDWQHYHULW
  WKDQVD\LQWKHNLWFKHQ"                                         VWD\HGVWDWLRQDU\RYHUDSHULRGRIWLPH
  $1RWUHDOO\                                             4'LGDQ\RI\RXUQHLJKERUVJHWZDWHULQ
  42ND\%XWLWZDVKLJKHULQWKHGLQLQJ                  WKHLUKRXVH"
  URRPWKDQLWZDVLQWKHOLYLQJURRPDQGWKHPDVWHU                 $<HVWKHQHLJKERUWRP\QRUWKJRWDORW
  EHGURRP"                                                           RIZDWHULQKLVKRXVHEHFDXVHKH VKH VDWWKH
  $<HV                                                    ORZHVWSRLQWRIWKHVWUHHW
 42ND\,VLW\RXUEHOLHIWKDWWKHZDWHU                46RLI\RXLI,GLUHFW\RXUDWWHQWLRQ
 FUHSWLQIURPWKHULJKWVLGH"                                     WR([KLELWFDQ\RXLGHQWLI\ZKLFKQXPEHURU
 $,WLV                                                 ZKLFKORWQXPEHUWKDWQHLJKERULV"
 4:KDWVWHSVGLG\RXWDNHWRWRUHSDLU                $, PJRLQJWRGRP\EHVWWRUHDGWKLV
 \RXUKRPHDIWHUZDWHUHQWHUHG\RXUKRPHLQ"                  45LJKW
 $,WUHDOO\GLGQ WQHHGDQ\UHSDLU:H               $,WORRNVOLNHLW VQXPEHUWKHUH
 WKHRQO\WKLQJWKDWZHGLGZDVWRUHSODFHWKH                     42ND\6RKH V
 EDVHERDUGV                                                       $2U, PQRWVXUHZKLFKRQH
 42ND\                                                  EHFDXVHLWORRNVOLNHLI, PUHDGLQJWKHVHLQ
 $7KDWZDVLW                                           RUGHU\HDKLW V
 4:K\GLG\RXUHSODFHWKHEDVHERDUGV"                    46RKH VULJKWQH[WWR\RXDQGQHDUWKH
 $7KHRWKHURQHVZHUHZHQHHGHGWRGRLW              FXOGHVDF"
 DQ\ZD\DQGWKHZDWHUKDG\RXNQRZVRDNHGWKH                   $&RUUHFW
 EDVHERDUGV7KH\ZHUHEXLOGHU VJUDGHEDVHERDUGV                42ND\,VHHWKDW
 VRZHWKRXJKWZH GSXWLQEHWWHUEDVHERDUGVDW              $QGKH VDWWKHORZHVWSDUWRIWKH
 WKHWLPH                                                         VWUHHW"

                                                                                                               3DJHV
                                          ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                                                                                                                        A628
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                                   3KLOOLS$]DU                         -XO\

                                                                     Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2     IN RE UPSTREAM ADDICKS           )
      AND BARKER (TEXAS)               )
3     FLOOD-CONTROL RESERVOIRS         )
                                       )   Sub-Master Docket No
4     ________________________         )   17-cv-9002L
      THIS DOCUMENT RELATES TO
5     ALL DOWNSTREAM CASES             )
6
7                --------------------------------------
                              ORAL DEPOSITION OF
8
                                 PHILLIP AZAR
9
                                 JULY 9, 2018
10              --------------------------------------
11
12               ORAL DEPOSITION OF PHILLIP AZAR, produced as a
13    witness at the instance of the United States, and duly
14    sworn, was taken in the above-styled and numbered cause
15    on the 9th day of July, 2018, from 9:02 a.m. to
16    5:03 p.m., before Morgan Veletzuy, CSR in and for the
17    State of Texas, recorded by machine shorthand, at Kirby
18    Mansion, 2000 Smith Street, Suite 550, Houston, Texas
19    77002, pursuant to the Federal Rules of Civil Procedure
20    and the provisions stated on the record or attached
21    hereto; that the deposition shall be read and signed
22    before any notary public.
23
24
25

                         ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                  
                                                                                       A629
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                                       3KLOOLS$]DU                           -XO\

                                                                         Page 29

 1           A.     Yeah, I think I have that in the file.

 2           Q.     Do you know, were those documents related to

 3     the home inspection provided to your attorneys for

 4     discovery responses in this matter?

 5           A.     I don't remember, sir.            But I believe I still

 6     have all of that.         You're asking for -- I don't know if

 7     I had -- I don't know if I did an inspection; but if I

 8     did, it would be in that file.

 9           Q.     Okay.

10           A.     I would keep that probably.

11           Q.     Okay.     Do you think you have that file in

12     paper?

13           A.     Oh, absolutely, yeah.

14           Q.     Where have you kept that file?

15           A.     We didn't have computers back then.

16           Q.     Sorry.     Let me ask again.

17                          Is -- is that file in this building?

18           A.     Yes, sir.     If I still have it, it's in this

19     building.

20           Q.     Do you think any documents related to the

21     p urchase of the Ma
       purchase            gnolia Bend property
                        Magnolia       property are in this

2
222    bu ilding?
       building?

2
233          A.     Unless they got destroyed in the other

24     building.      We had a couple floods before this flood,

2
255    this last one last August.           We had one in '15 and '16.

                              ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                       
                                                                                             A630
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                                    3KLOOLS$]DU                         -XO\

                                                                     Page 30

1     I think we had one in -- I'm going
                                   going to say
                                            say '92.

2                        But in '92, maybe another one, I stopped

3     kee ping m
      keeping  myy documents over there and brou ght them down
                                            brought       down

4     here, what I had left.        So if they're not destroyed,

5     they are down here.       They're within walking distance

6     right now.

7           Q.   Okay.

8           A.   And we didn't get flooded that bad down here,

9     so I should still have them
                             them..

10          Q.   Okay.     When did you purchase this property?

11    Can I refer to it as the Kirby house?

12          A.   Kirby Mansion.

13          Q.   Kirby Mansion.      When did you purchase the Kirby

14    Mansion?

15          A.   1991 -- I'm sorry.        '92, May of 1992.

16          Q.   Why did you purchase the Kirby Mansion?

17          A.   Looking for an office.

18          Q.   Was the primary purpose of the purchase of the

19    Kirby Mansion for office space?

20          A.   Correct.

21          Q.   Did you intend to use the Kirby Mansion as a

22    residence, as well?

23          A.   No.

24          Q.   Besides office space, was there any other

25    purpose for purchasing the Kirby Mansion?

                           ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                    
                                                                                        A631
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                                                                       Page 43

 1     before.    I don't know if it came here.             It came in a

 2     booklet.    I remember a little brochure, but I know the

 3     repetitive claims.       And I can see the losses.

 4           Q.   Right.     The losses listed on the third page?

 5           A.   Yes, sir.

 6           Q.   Yeah.     So that was -- that was the one I wanted

 7     to direct you to for the moment.              And it says, "Multiple

 8     Claims Report" at the top.         And there's four claims, it

 9     looks like, going back to 2001.              And I wanted to -- to

1
100    pass that document to you just because I want to kind of

11     walk through some of the past flooding history.                  Because

1
122    I know, unfortunately, that you've been through thi
                                                       thiss

1
133    before.    And so I thought that would just be a helpful

14     reference as we walk through it.

1
155                       So it looks like the first claim on this

1
166    report was in 2001.       Do you recall having any flooding

17     at the home between 1990 and 2001?

1
188          A.   1990 and -- oh, from the time I got it?

1
199          Q.   Yes, sir.

2
200          A.   Until 2001?     I believe so, at least one or two.

21           Q.   Okay.     Do you recall on what occasions you had

22     floodin
       floodingg durin
                 duringg that time period?
                                   period?

2
233          A.   I don't -- I mean, I recall the times.                I

24     remember kidding around with Bobby Deden, "I thought you

25     said it would never flood."          I remember that.          He came

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 1     over to the place.         I think if I bought it in '90, and I

 2     believe I did, '89, '90, or '91.               I don't remember

 3     exactly.      But if I bought it in '90, then we had another

 4     pretty good-sized flood.           I think it was '92, maybe '94.

 5     I don't remember.         But I know we had another flood

 6     shortly, maybe within a few years after -- of buying the

 7     p roperty.
       property.

 8           Q.     And do you recall, did the floodwaters reach

 9     your home?

1
100          A.     Yes, sir, inside.

11           Q.     Okay.     Where inside the home did the

1
122    floodwaters reach in that -- we'll call it early '90
                                                        '90ss

1
133    e vent?
       event?

14           A.     I don't believe it was '90 but, say, '92.

1
155          Q.     '90 -- we'll call it --

1
166          A.     Early '90s.     You got it.        Yes, sir.

17                          The water definitely got inside the first

1
188    floor.     There's three floors to this house.                  I

1
199    apologize.      Three floors.       And it definitely got into

2
200    the first floor, no doubt about it, garage/first floor
                                                        floor..

21           Q.     Do you recall about how deep the water was in

22     the home durin
                duringg that '92 event?

2
233          A.     Inches.     Inches.

24           Q.     Do you recall filing an insurance claim for

25     that event?

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 1     tile in the cold wine room.          And then in the

 2     recreational room it's another tile.             Is that what

 3     you're -- just tile, brown tile.             And it's all tile back

 4     there.

 5             Q.   Okay.

 6             A.   And then there's cedar out on the deck.

 7             Q.   When you had that first flood in the '92 time

 8     frame, do you recall replacing the flooring material in

 9     the home?

10             A.   Some of it, yes.     Not much.      It was more

11     cleanup on -- on most of the floods, it was more

12     cleanup.      Now, '15 -- may I go further because '15 and

13     '16, it was different.

14             Q.   Why don't we try to take them in order.

15             A.   Sure.   Okay.

16             Q.   So it sounds like in that -- first, in that '92

17     flood, it was mostly cleanup but you did replace som
                                                        somee

1
188    flooring.

1
199            A.   I don't remember.     If you put it in front of

2
200    me, I'll tell you exactly what it is.              But I just don't

21     remember everything.         They weren't as bad as the '15 and

22     '1 6.
       '16.

2
233            Q.   Okay.   Well, looking at the document that I

24     handed you, the furthest date of loss going back in time

25     on that page 3 is June 9th of 2001
                                     2001..

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                                                                       Page 50

 1                        What can you tell me about the June 9,

 2     2001, flooding event?

 3           A.   I don't even know what happened then.                I just

 4     don't -- I'm not trying to escape my answer.                  I just

 5     don't remember.       I've been through a lot since then, but

 6     I just don't remember.        If it happened on that day, I

 7     believe it.

 8           Q.   Okay.     There's a -- an event that was in --

 9     well, actually, here, let me go back for a moment.

1
100                       Do you recall a storm called Allison?

11           A.   Yes.

1
122          Q.   Okay.     Allison happened in June of 2001.              Does

13     that --

14           A.   You asked me a question earlier about floods,

15     have I ever tried one.        I did try one.        And it was for

16     Allison.    It was right down here, and I apologize.                   It

17     was right down here for Dominique Hermez, was my client

18     and was down here at the -- what is the hospital --

19     St. Joseph right down here.          It tore out his restaurant,

20     the flood did or Allison did.          I remember that now.             And

21     that did end up in a jury trial.

22                        If you need more information about that, I

23     can get it for you.

24           Q.   All right.     So let me go back.           Do you recall

25     the Allison storm in June of 2001
                                    2001??

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                                                                       Page 51

 1           A.    I was here.

 2           Q.    Okay.     When you say you were here, you mean you

 3     were in Houston durin
                       duringg that storm?

 4           A.    I was at the Kirby Mansion here in Houston,

 5     Texas.     Yes, sir.

 6           Q.    Okay.     Were you at the Magnolia Bend property

 7     d uring that storm
       during       storm??

 8           A.    Yes, sir.

 9           Q.    And did you -- did the Magnolia Bend property

1
100    experience flooding during Allison?

11           A.    I believe it did.

1
122          Q.    Okay.     What do you recall about the flooding at

1
133    the Magnolia Bend property during Allison?

14           A.    If that's the one I'm thinking about, that's

1
155    the one where all the 18-wheelers were floating dow
                                                       downn

1
166    I-10 and all that.        I remember the water came up to the

17     curb here.     And I think that's the one that messed up

1
188    the -- the courts downtown here.              And I really don't

1
199    remember, y ou know, what it was like at the -- I mean, I
                 you

2
200    know it happened.        But I just don't remember all of the

21     d amages at 3 Magnolia Bend
       damages                Bend..

22                         But I can probably pull all that up.             I'm

2
233    sure I've kept it.        It was -- I mean, these were all

24     pretty devastating to the family because we -- again, we

25     had to take -- if you don't mind me narrating.

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 1                        THE WITNESS:     Is that all right?

 2                        MR. ROBERTS:     Just be answering his

 3     questions.

 4           A.   Okay.     Well, it's just nothing like the

 5     release.     You know what I mean?           It was horrible, your

 6     release, this last one.         But these, you know, they came

 7     up a few inches but nothing like this last one.                  Because

 8     I remember before, when things would happen, we woul
                                                       wouldd

 9     stick things on the pool table, you know, expensive

1
100    things, like stereos, TVs that were downstairs.                  We put

11     them on the -- we think we're going to get by, by

1
122    putting them on the elevator -- not on the elevator, o
                                                            onn

1
133    the -- on the pool table.          Not this time.        Does that

14     make any sense
                sense??

15           Q.   (BY MR. LEVINE)        That's helpful.        I'm trying to

16     walk through each storm sequentially.

17           A.   Sorry.

18           Q.   No.     It's okay.     Let me -- let me say this --

19           A.   Go back to your question again.

20           Q.   Sure.     Well, when -- when the United States

21     sent its document request, were you aware that we asked

22     for information relating to previous flooding events at

23     the subject property?

24           A.   I believe if I didn't give them, I'm still

25     working on them.        I've had a couple of deaths in the

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                                                                          Page 54

1     2009.        Do you recall that flooding event?

2             A.     No.     But if -- if FEMA says it happened on that

3     day, I believe them.           I mean, I believe you-all.             It

4     probably happened.           I just don't remember all that

5     happened in 2009.

6             Q.     Okay.

7             A.     I'm not trying to escape my answer.                I just

8     don't remember.

9             Q.     No.     It's understandable.        You've been through

10    several of these events.              I can understand how it would

11    be hard to keep track of the details.

12            A.     But I can -- I can get --

13                           MR. ROBERTS:     Objection to sidebar.

14                           THE WITNESS:     I'm sorry?

15                           MR. ROBERTS:     I was just getting my

16    objection on the record.

17            A.     I can get those files for you and tell you, you

18    know, pretty much the same thing.                I mean, it's the same

19    house, you know.           And it's basically the same floodwater

20    and the same cleanup.            If that's the same thing that

21    happened.        Some -- some are worse than others.                That's

22    all I can tell you.           Some come right up to the house but

23    don't go in, which is good.

24            Q.     (BY MR. LEVINE)        Do you recall a storm called

25    Ike
      Ike??

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 1              A.   Sure do.     2008?

 2              Q.   Yes.

 3              A.   Yes, sir.

 4              Q.   Ike happened in September of 2008.

 5                           Do you recall flooding at the Magnolia Bend

 6     property during Ike?

 7              A.   I do.     I believe so, yes, sir.

 8              Q.   What do you recall about the flooding during

 9     Ike at the Magnolia Bend property?

1
100             A.   I believe it was, you know, higher than the

1
111    other ones, but not as high as this last one.

12              Q.   Do you --

1
133             A.   Again, I'm not trying to be evasive.                  I just

14     don't have it in front of me.             If you put something in

15     front of me, I could go crazy on it; but I just don'
                                                       don'tt

16     remember everything.          I'm pretty sure we had a flood

17     back then because I remember putting
                                    putting that on my
                                                    my IRS

1
188    10 40.
       1040.

1
199             Q.   A moment ago, you used the phrase "same house,"

20     "same floodwaters," "same cleanup."                 When you said "same

21     floodwater," what -- what did you
                                     you mean by
                                              by that?
                                                 that?

22              A.   Same floodwater, what do you mean?                  Well, you

2
233    know, it comes out of the Buffalo Bayou.                   You know,

2
244    it's -- water goes in my house.                 I mean, it's

25     floodwaters going in the house.                 I mean, the house

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                                                                        Page 56

 1     hasn't moved.        It got cleaned since the last flood.

 2     Then it flooded again.         It's happened a couple of times,

 3     several times.        You know that.

 4           Q.    So let's talk a little bit about the storms in

 5     2015 and 2016.        And then we'll -- we'll get to Harvey

 6     and the most recent event shortly.

 7           A.    Sure.

 8           Q.    What can you tell me about the storm that took

 9     place in May of 2015, sometimes referred to as the

1
100    Memorial Day Storm
                    Storm??

11           A.    I'll have to say the same thing.             I don't -- I

1
122    mean, if you tell me I had a flood, I believe you an
                                                         andd

1
133    I'll say it happened.         But again, water got in and there

14     was cleanup.        And I'm sure there was furniture that was

1
155    lost and clothes that were lost and toys that were lost.

1
166    And it seems like we always have damage to the bar are
                                                          areaa

17     and that Jacuzzi area because we don't keep water

1
188    because of the grandkids.          We're afraid they might get

1
199    in there.     If water comes in there, it's like a bubble.

2
200    The water just pushes it up and breaks everything around

21     it, the tile and stuff.

22                         If it happened during that time period, it

2
233    happened, I mean.        And the paint, of course.             And if it

24     got high enough for the -- what do you call it -- th
                                                         thee

25     electrical outlets, we probably replaced those
                                                those.

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 1                            I remember one year, and I think it was

 2     that year.        I just can't remember the -- the type of

 3     air-conditioning system.             But it's an air-conditioning

 4     system that uses the water down below.                  And it sucked in

 5     that water into the whole system.                And I think that was

 6     2008.        I think that was the one.

 7                            If it wasn't, it was another one.             But

 8     sometimes, you know -- now we're getting a little

 9     smarter.        We turned the air conditioner off.                So if

1
100    it -- if the pipes are busted, it doesn't keep on

1
111    sucking up the floodwater, which is sometimes pretty

1
122    dirty.        And that happened.       I remember that.

1
133                           It went through all of our air conditioners

14     and tore them up, just rusted them out and put some kind

15     of strange stuff in them
                           them..

16             Q.     Okay.     So during one of the pre-Harvey storms,

17     there was an instance where water got into your -- is it

18     a geothermal air-conditioning system?

19             A.     Very good.     Thank you.

20             Q.     All right.     So at one point, in a pre-Harvey

21     storm, floodwaters got into your geothermal

22     air-conditioning system and ruined the air-conditioning

23     throughout the house?

24             A.     That's correct, sir.

25             Q.     Okay.     Do you recall which pre-Harvey storm

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 1            Q.   Given that you've flooded so many times, would

 2     you say it's hard to keep track of the details of each

 3     event?

 4            A.   Absolutely.     Without having it in front of me,

 5     I just don't remember everything.

 6            Q.   Do you recall where you were during the

 7     Memorial Day Floods in May of 2015?

 8            A.   If I wasn't down here, I was over there.                And

 9     if I wasn't over there, I was on my way there.                  I was

10     here in town.

11            Q.   Do you recall any observations from that

12     May 2015 storm?

13            A.   I don't remember the storm, to be honest with

14     you.     Again, I'm not trying to evade any answer.               I just

15     don't remember.       Is there something you're looking for?

16     Just ask me, I'll tell you the truth.

17                      Just to tell me, what do you remember about

18     the storm, I remember there's water and everyone is

19     going crazy, taking stuff from the first floor to the

20     second floor.     Other than that, I'm sure that happened.

21            Q.   Do you recall how deep the floodwaters were in

22     the Magnolia Bend home during the May 2015 storm?

2
233           A.   Inches.     Compared to this one, inches.            When I

2
244    say this one, I mean the last one last year
                                              year..

25            Q.   Do you think the total depth of floodwaters in

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 1     your home from the May 2015 storm was more than a foot?

 2            A.    May 25th?

 3            Q.    May 2015 storm.

 4            A.    I'd have to look at the paperwork.               I don't

 5     remember.      I mean, I did these claims myself or the

 6     people here helped me with them.             But, I mean, if I

 7     could get the documents, I'll tell you exactly what it

 8     was.

 9            Q.    Prior to Hurricane Harvey --

1
100           A.    Yes, sir.

11            Q.    -- what's the deepest the floodwaters have ever

1
122    been during a flooding event at the Magnolia Bend home?

1
133           A.    I think one or two got around the -- what do

14     you call it -- the outlets.          But nothing -- and that's

1
155    just on the first floor.         In other words, on the first

1
166    floor, it came up from the banks, which is 3 or 4 fee
                                                         feett

17     down, maybe 2 or 3 feet.         And then it got into the first

1
188    floor.      Usually starts with the garage.           And then if it

1
199    g ot u
       got  upp to the outlets, that's another probably
                                               probably foot.

20            Q.    So prior to Harvey, you don't recall

21     floodwaters in your home above the outlets on the firs
                                                         firstt

22     fl oor?
       floor?

2
233           A.    There may have been.      If there was, we always

24     replaced the outlets.        A couple of the floods, if I may,

25     came late at night.       I think we tried to take some

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 1     pictures, but a lot of them didn't come out.                    So

 2     sometimes, we don't know how high they got.                    We really

 3     don't know how high Harvey got.              We did find a line in

 4     there, remember?        We found a line in there where the

 5     water settled down.        But we don't know how long it

 6     settled there.      And we do have some pictures of Harvey,

 7     and we p robably have pictures
              probably       pictures of the other floods too,

 8     I'
       I'mm sure.

 9           Q.     Prior to Harvey, what was the longest duration

1
100    of flooding during any of the flooding events we've

11     d iscussed in that Magnolia Bend home?
       discussed

1
122          A.     In and out --

1
133                      MR. ROBERTS:     Objection; form.

14                       THE WITNESS:     I'm sorry?

15                       MR. ROBERTS:     I'm just objecting.

16           A.     I mean, out so fast, it's not even funny.

17     There was one time it almost swept Big Mark away, an
                                                         andd

1
188    he's bigger than all of us put together.                He's a big old

1
199    boy, my brother.        It almost swept him out.          I mean, the

2
200    water went out so quick.         It's like they did something.

21     I don't know what they did.          And one time, it didn't go

22     out that q uick, but it was out within about an hour.
                quick,

2
233                      In other words, usually when the flood

24     subsides, it's gone.         It
                                     t just leaves.        It goes

25     somewhere.      But this time, if I may add, it was there

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 1                    couple
       for at least a cou ple of weeks.

 2             Q.     (BY MR. LEVINE)       During any flooding event at

 3     the Ma gnolia Bend p
           Magnolia         roperty prior
                          property  prior to Harvey,
                                             Harvey, was water in

 4     the home for more than an hour?

 5             A.     I don't believe so.        I mean, I just -- I don't

 6     know.        I know when it went out, it was gone.                I'd call

 7     over there or I'd be up on the second floor.                      We'd go

 8     down, it's out.          If I may -- if I could look at the

 9     paperwork that might help, but I don't remember the

1
100    water being in there that long.

11             Q.     Okay.

12             A.     Usually when it flooded, the abatement people

13     were there the next day, or I'd call somebody and

14     they'll get over there.            But this time, we went over

15     there three or four times, and we're thinking that the

16     water is going down and it didn't go down.                   We got

17     there, and it went back up on a sunny day.

18             Q.     During any of the flooding events prior to

19     Hurricane Harvey, was there ever any wind damage to the

20     home?

21             A.     Always.

22             Q.     Can you describe what type of wind damage

23     you've had to the home in previous flood events,

24     previous before Harvey?

25             A.     I don't remember which one, but I remember

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                                                                Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2     IN RE UPSTREAM ADDICKS          )

      AND BARKER (TEXAS)              )

3     FLOOD-CONTROL RESERVOIRS        )   Sub-Master Docket No

4     ________________________        )   17-cv-9002L

5     THIS DOCUMENT RELATES TO        )

6     ALL DOWNSTREAM CASES            ) August 1, 2018

7                --------------------------------------

8                             ORAL DEPOSITION OF

9                               PETER SILVERMAN

10                               JULY 18, 2018

11              --------------------------------------

12               ORAL DEPOSITION OF PETER SILVERMAN, produced

13    as a witness at the instance of the United States, and

14    duly sworn, was taken in the above-styled and numbered

15    cause on the 9th day of July, 2018, from 9:06 a.m. to

16    3:52 p.m., before Morgan Veletzuy, CSR in and for the

17    State of Texas, recorded by machine shorthand, at 1200

18    Smith Street, 12th Floor, Houston, Texas 77002, pursuant

19    to the Federal Rules of Civil Procedure and the

20    provisions stated on the record or attached hereto; that

21    the deposition shall be read and signed before any

22    notary public.

23

24

25

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                                                                   Page 61

 1            A.    And the company that was sort of managing the

 2     rental on the house hired them.

 3            Q.    Okay.     And why did you install this drainage

 4     system?

 5            A.    Because there was insufficient drainage at the

 6     house when it -- when there was a heavy rain.

 7            Q.    Do you recall when that heavy rain was?

 8            A.    It was sometime in '93.         And so we said let's

 9     go ahead and figure out what the problem is and try to

10     fix it.

11            Q.    Do you recall how much rain there was in 1993?

1
122           A.    No.     We were living overseas at the time, so we

1
133    were not in the country at the time of the event.

14            Q.    Okay.     Did you have tenants there?

1
155           A.    Yes.

1
166           Q.    Did they notify you how much rain there was?

17            A.    No.

1
188           Q.    Did your home experience flooding at that time?

1
199           A.    Because of the drainage, the water came in

2
200    through the weep holes and there was carpeting that go
                                                           gott

21     wet.

22            Q.    Do you know how much water came into your home?

2
233           A.    Only in enough to wet the edges of the

24     carpeting in the house.          There was not water throughout

25     the home
           home..

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      Case 1:17-cv-09002-LAS       Document 266-2 Filed 01/10/23    Page 197 of 1584
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                                                                        Page 71

 1              A.   I know of one house that was built in the

 2     subdivision since we lived there.              A couple of blocks

 3     away there was either one house out on a double lot or

 4     there was a free lot.           And so there was one lot that has

 5     been built since we lived -- since we lived there.

 6              Q.   (BY MS. IZFAR)       Okay.

 7              A.   But not on Westerley and not on any road

 8     abutting Westerley.          But I know of one newer house that

 9     was probably built in the '90s.

10              Q.   Okay.     So you mentioned that your home flooded

1
111    in 1993 to 1994.          Was that the first time your home

1
122    flooded while you were -- after you had purchased it i
                                                            inn

1
133    1990
       1990??

14                           MR. HODGE:     Objection; form.     That

15     misstates his testimony.

16              A.   You know, my issue is we didn't consider it

17     flooded.       But we made a claim and that claim went to

1
188    flood insurance.          We -- we sort of viewed it as a

1
199    d rainage issue and not a flood event.
       drainage

20              Q.   (BY MS. IZFAR)       Okay.   I'll clarify.

21                           So you mentioned in 1993 that water entered

22     your property after or during a rainstorm.                Was that the

23     first time that rainwater or storm water had entered

24     your property after you purchased it in 1990?

25                           MS. TARDIFF:     Entered your home.

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                                                                Page 77

 1     '91 and he came back.      And I think he was four years old

 2     when he came back.      So I think we came back probably '95

 3     or -- around after being gone maybe four years or

 4     four-plus years so.      I think it was maybe '95 or the

 5     beginning of '96.

 6           Q.   Okay.   And during that time when you were

 7     abroad, who was living in the home?

 8           A.   For -- for a large period, no one was.         We were

 9     lucky that my job provided us housing overseas.           We

10     lived sort of like Gypsies because we lived so many

11     places that we sort of went from a service apartment to

12     a service apartment.      So we weren't -- we didn't have

13     really the concern of having someone in the house at all

14     times.

15           Q.   Okay.   And during that time when you were away,

1
166    there were at least two rain events where water entered

17     your home, right
                  right??

1
188          A.   There were -- there were those events in those

1
199    y
       years                                    yes.
         ears when -- when we had those claims, yes.

2
200          Q.   So the 1992 flood insurance covered your

21     claim -- or you received coverage, right?

22           A.   We received a payment from our flood insurance

2
233            yes.
       in '92, yes.

24           Q.   Okay.   And then the 1993 to 1994 event, did you

25     also receive coverage?

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                                                                    Page 78

 1             A.     Yes.    There was a claim made, and I think the

 2     carpeting was replaced again.             And then the tenants

 3     moved back in -- or the tenants were there durin
                                                  duringg the
                                                          the

 4     time.        They didn't move out at all.        I don't really

 5     recall which one
                    one..

 6             Q.     So the carpeting was replaced in 1993, 1994.

 7     Was an
           anyy other remediation work done?

 8             A.     I don't recall.      Like I said, we had this

 9     company managing the house, and that's when they looke
                                                        lookedd

1
100    into the drainage system and all of those things.                 So

11     they covered all of those expenses.              I mean, we paid it,

1
122    but they managed it all.

13             Q.     Yeah.    Did they approach you about installing

14     this drainage system in 1993 and 1994?

15             A.     To the extent that they managed the process and

16     found the engineer and hired someone and hired the

17     plumbers and everything like that.

18             Q.     Did you instruct them to investigate the

19     drainage?

20             A.     I don't -- I don't recall how the conversation

21     started except that -- that we knew we had two

22     incidents, and we needed to figure out what the problem

23     was and fix it.

24             Q.     So did -- did you -- did you have any reason to

25     believe that the drainage was the issue?

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                                                                    Page 79

 1             A.    Yes.

 2             Q.    And why was that?

 3             A.    Because, as soon as the water drained, there

 4     was no issues
              issues..

 5             Q.    So prior to 1993, 1994 when you installed this

 6     new drainage system, did you have standing water in you
                                                           yourr

 7     p atio?
       patio?

 8             A.    No.

 9             Q.    Did you have standing water in your backyard at

1
100    all
       all??

11             A.    No.

12             Q.    Did you have any indication -- or did you --

13     was there any indication to make you believe that water

14     was not draining from your property?

15             A.    No.     It wasn't an issue of water draining, yes

16     or no.       It was more of water -- more issue of keeping up

17     with the rainfall when falling, so...

18             Q.    Okay.

19             A.    So it was more scope rather than a yes or no.

20             Q.    Understood.     So you mentioned two incidents,

21     one in 1992 and one in 1993 to 1994.               Were there any

22     other incidents when rainwater or any water entered your

23     home?

24             A.    There -- there were a couple of other claims

25     made over the 25 years.           But I don't -- you'd have to

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                                                                Page 1

1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2     IN RE UPSTREAM ADDICKS          )

      AND BARKER (TEXAS)              )

3     FLOOD-CONTROL RESERVOIRS        )   Sub-Master Docket No

4     ________________________        )   17-cv-9002L

5     THIS DOCUMENT RELATES TO        )

6     ALL DOWNSTREAM CASES            ) August 1, 2018

7                --------------------------------------

8                             ORAL DEPOSITION OF

9                              ZHENNIA SILVERMAN

10                               JULY 18, 2018

11              --------------------------------------

12               ORAL DEPOSITION OF ZHENNIA SILVERMAN, produced

13    as a witness at the instance of the United States, and

14    duly sworn, was taken in the above-styled and numbered

15    cause on the 9th day of July, 2018, from 4:05 p.m. to

16    5:34 p.m., before Morgan Veletzuy, CSR in and for the

17    State of Texas, recorded by machine shorthand, at 1200

18    Smith Street, 12th Floor, Houston, Texas 77002, pursuant

19    to the Federal Rules of Civil Procedure and the

20    provisions stated on the record or attached hereto; that

21    the deposition shall be read and signed before any

22    notary public.

23

24

25

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                                                                  Page 11

 1           Q.    Okay.     And when you were driving home, you said

 2     that you were on I-10 for six or seven hours?

 3           A.    Uh-huh.

 4           Q.    With an infant, wow.

 5           A.    Yes.

 6           Q.    Do you recall seeing water anywhere, you know,

 7     on the streets while you were driving?

 8           A.    No, I don't remember rising water or anything

 9     like that.      I just remember rain -- a lot of rain, and

10     just the traffic was not moving.            People were basically

11     just stopped.       And of course I didn't know what was, you

12     know, 4 or 5 miles ahead of me at the time.

13           Q.    Do you recall if this particular rain event had

14     a name
         name at all?
                 all?

1
155          A.    I don't.

1
166          Q.    It wasn't Andrew, was it?

17           A.    I couldn't tell you.

1
188          Q.    Okay.     So when you got home it must have been

1
199    p retty late at that time, right?
       pretty                     right?

2
200          A.    Yes.

21           Q.    And do you recall seeing any standing water in

22     y our house?
       your

2
233          A.    No, I do not.      As my husband had previously

24     mentioned
       mentioned,, our house was -- our house was for sale at
                                                           at

25     the time.      And when I left for work that morning, I had

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                                                                          Page 12

1     the beginnings
          beginnings of a baby
                          baby scrapbook
                               scrapbook and so I needed a

2     place to put it.           So I put it under the bed.          And when I

3     got home -- it was just like a -- you
      got                               you know, like a

4     Macy's -- the lid of a Macy's box.                And when I got home

5     the bottom of the box was wet, but not the contents.

6             Q.     And the scrapbook was located in your bedroom?

7             A.     In my -- yeah, right.          Correct.     In our

8     bedroom.

9             Q.     I want to show you what we marked as Exhibit 3

10    in your husband's deposition.                Can you point to the room

11    where the scrapbook was located?

12            A.     It would have been -- let's see.             So this is --

13    okay.        Right.     Right.   Right.      I mean, actually it would

14    have been right over here.             Because this is our patio,

15    laundry room, bathroom, and then this primary room is

16    really off to the side over here.

17            Q.     Okay.     Could you do me a favor and circle where

18    the scrapbook was?

19                           MR. HODGE:    So Exhibit 3 was part of

20    Mr. Silverman's deposition, and it was maintained as

21    such.        I want to make sure we're being clear on the

22    record if we're modifying an exhibit to Mr. Silverman's

23    deposition now in Mrs. Silverman's deposition.

24                           MS. IZFAR:    Okay.     My intention is to keep

25    the same numbers and to refer to them as Silverman and

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      Case 1:17-cv-09002-LAS       Document 266-2 Filed 01/10/23   Page 204 of 1584
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                                                                    Page 14

 1     1992.

 2             Q.    (BY MS. IZFAR)      Do you recall any other areas

 3     in which there was floodin g?
                          flooding?

 4             A.    No.     Because by the time I got home there

 5     was -- I mean, there was nothing.              I mean, it was --

 6     maybe it was just a little damp, but that was it.

 7             Q.    Okay.     Was there any other standing water on

 8     your property outside of your home?

 9             A.    No.

1
100            Q.    Okay.     And do you -- did you stay in your home

11     that night?

1
122            A.    Yes.

1
133            Q.    Did you ever move out?

14             A.    No, I didn't.      It was really late at night and,

1
155    I mean, I had been in my car, you know, for most -- fo
                                                           forr

1
166    a really long time.          So, no, I stayed -- I stayed at

17     home.

18             Q.    Okay.     And were you involved with the

19     remediation?

20             A.    You know, I remember calling my husband who was

21     in Thailand and telling him what had happened.               And I

22     really didn't know what to do.             And I remember he told

23     me, I think, maybe, you know, call an adjuster,

24     whatever.       But I really don't recall, to tell you the

25     truth.       I couldn't tell you what was remediated.          I

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                                                                  Page 17

 1     remember -- yeah, I'm pretty sure my husband was not

 2     home for that one.

 3           Q.   Okay.     Were you -- do you recall being home?

 4           A.   Again, I would have been at work.           But when I

 5     got home, yes, I would have -- you know, I would have

 6     known.

 7           Q.   Okay.     Do you recall where the water entered

 8     your house?

 9           A.   No.     But I guess it would have been in our

10     bedroom, but I don't really recall.           Because by the time

11     I got home there wasn't any water.           There may have been

12     some wet carpeting.       But I don't remember each event

13     specifically.       2009 I came home afterwards as well.         And

14     I do know at that time my husband had gotten

15     dehumidifiers and fans, like professional ones.             But I

16     don't think we replaced the carpet, we just steam

17     cleaned it.

18           Q.   Okay.     Do you -- do you recall how much water

1
199           your house in 2009?
       was in your

2
200          A.   No.     I mean, it was never -- it was never -- I

21     mean, it was just enough to -- to wet the carpet or, you

22     know, make the tile floors a little dam
                                           dampp maybe
                                                 maybe in our
                                                          our

2
233    bedroom.    But it wasn't like -- it wasn't like inches or

24     not even an inch.       I mean, and it wasn't -- by the time

25     I got home, it wasn't there
                             there..

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                                                                   Page 45

1           Q.   Okay.     Do you ever stock up for hurricanes?

2           A.   No, I don't think we ever have.             Maybe, you

3     know, water.       But, no, I don't think we've ever -- we've

4     never really prepared like gone out and bought -- not

5     like, you know, what you see on the news, people in

6     Florida emptying the shelves and buying batteries, no.

7           Q.   Have you ever evacuated before a storm before?

8           A.   No.

9           Q.   So do you recall after -- about a month after

10    Hurricane Katrina there was another storm, Hurricane

11    Rita, where a lot of Houstonians voluntarily evacuated.

12    You didn't evacuate then?

13          A.   No.

14          Q.   Do you recall how much rain there was during

15    that event?

16          A.   I don't.     I was working and I worked until

17    about 2:00 o'clock in the morning on the day that

18    everybody was supposed to evacuate.           And by the time I

19    got home it was too late for us to leave.               And it turned

20    out to be a very good thing because it was needless at

21    the end and, you know, people were stuck on highways

22    forever.

23          Q.   You work really long hours.

24          A.   Yes.

25          Q.   Do you -- do you ever recall a rain event like

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      Case 1:17-cv-09002-LAS        Document 266-2 Filed 01/10/23     Page 207 of 1584
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                                                                       Page 46

 1     Harvey?
       Harve y?

 2             A.     I don't.     And I have no idea what the rain --

 3     y
       you                                               wasn't
         ou know, what that incident was like, because I wasn't

 4     here.        And so I have no idea what the water was like.

 5     And I know that it rained really hard on July 4th, but I

 6     was in New York working.             And so, again, I mean, I've

 7     just missed out on -- on bein
                                beingg able -- I mean, I can't
                                                         can't

 8     ga uge.
       gauge.

 9             Q.     Right.     Do you ever recall a rain event where

1
100    there were consecutive days of rain?

11             A.     Yes.     And I don't know if it was 2015 or 2016,

1
122    but it rained for a really long time.                And, you know,

1
133    the water in the bayou rose, but, I mean, we didn't have

14     any problems; nothing happened to our home.                  And I

1
155    remember they actually told us to stay home, which i
                                                          iss

1
166    really a miracle.           And so my husband and I, we just

17     d rove around and, you know, just kind of drove around
       drove                                           around

1
188    and looked at -- you know, looked at the water and

1
199    stuff.                                       home
                     But there was nothing near our home.

20             Q.     Do you have any -- any estimate as to how deep

21     the channel is for Buffalo Bayou right outside your

22     neighbor's home?

23             A.     No.    And I will tell you that in the 28 years

24     that we've lived there, I have never so much as crossed

25     the street and gotten as far as my husband did to look

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 208 of 1584
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                                                                Page 1

 1               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2         IN RE:   DOWNSTREAM            §

           ADDICKS AND BARKER (TEXAS)§

 3         FLOOD-CONTROL RESERVOIRS       §

 4         vs.                            § SUB-MASTER DOCKET NO.

 5         __________________________§ 17-cv-9002L

 6         THIS DOCUMENT RELATES TO: §

 7         ALL DOWNSTREAM CASES           §

           __________________________§

 8

 9                               ORAL DEPOSITION

10                             MR. SHAWN S. WELLING

11                               August 14, 2018

12

13               ORAL DEPOSITION OF MR. SHAWN S. WELLING,

14         produced as a witness at the instance of the United

15         States and duly sworn, was taken in the above-styled

16         and numbered cause on the 14th day of August, 2018,

17         from 9:22 a.m. to 3:52 p.m., before Michelle Hartman,

18         Certified Shorthand Reporter in and for the State of

19         Texas and Registered Professional Reporter, reported

20         by computerized stenotype machine at the offices of

21         Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,

22         Houston, Texas 77098, pursuant to the Federal Rules

23         of Civil Procedure and the provisions stated on the

24

25         record or attached hereto.

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                                                                    WKHUILUVWIORRUVMXVWLQWKDWRQHXQGHUQHDWKWKH

 UHF  DOO"
     UHFDOO"                                                  
                                                                 GGDQFHVWXGLRDUHD
                                                                    DQFHVWXGLRDUHD
 $/HW
             $/HW VVHH,NH                              4$QGVRWKHQXQGHUQHDWKWKLVGDQFH
                                                                             4$QGVRWKHQXQGHUQHDWKWKLVGDQFH
 4$QGSULRUWR,NHGR\RXHYHUUHFDOO
            4$QGSULRUWR,NHGR\RXHYHUUHFDOO        
                                                                 VVWXGLRDUHDZRXOGWKDWKDYHEHHQSDUWRIWKHILUVW
                                                                    WXGLRDUHDZRXOGWKDWKDYHEHHQSDUWRIWKHILUVW
 DQ\ZDWHULQWKHGRZQVWDLUV
    DQ\ZDWHULQWKHGRZQVWDLUV""                             IORRU"
                                                                   IORRU"
 $$Q\WLPHWRJHWRQO\RQO\RQWKH
            $$Q\WLPHWRJHWRQO\RQO\RQWKH          $1R
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 UULJKWVLGHRIWKHEXLOGLQJQRWWKHOHIWQRW
      LJKWVLGHRIWKHEXLOGLQJQRWWKHOHIWQRW             42ND\$QG
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 DQ\ZKHUHQHDUWKH$&XQLWVRUDQ\RIWKHOLYLQ
     DQ\ZKHUHQHDUWKH$&XQLWVRUDQ\RIWKHOLYLQJ   J        ([KLELWPDUNHG
 VVWUXFWXUH:KHQ,VD\OLYLQJVWUXFWXUH,
     WUXFWXUH:KHQ,VD\OLYLQJVWUXFWXUH, P            05'$,1:KLFKQXPEHULVWKLV"
 WWDONLQJDERXWWKHRULJLQDOOLYLQJVWUXFWXUH
      DONLQJDERXWWKHRULJLQDOOLYLQJVWUXFWXUH              7+(&28575(3257(5
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                  %XWWKHQHZDGGLWLRQRQZKDWLVQRZ         4 %<05'$,1 +DQGLQJ\RXZKDW VEHHQ
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 FFRQVLGHUHGILUVWIORRUDVZHOOZDWHUZLOOVHHS
      RQVLGHUHGILUVWIORRUDVZHOOZDWHUZLOOVHHS           PDUNHG:HOOLQJ([KLELW
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 WKURXJKDQGJHWWKHIORRUGDPSZLWKPD\EH,ZRXOG          ,KDYHWKURXJKKHUHZKLFKDUH
 VVD\RKDTXDUWHURIDQLQFKLQVRPHDUHDVVRPH
     D\RKDTXDUWHURIDQLQFKLQVRPHDUHDVVRPH         VRPHRIWKHGLVFRYHU\UHVSRQVHV,SUREDEO\VKRXOG
                                                    3DJH                                                              3DJH
   DU HDV
     DUHDV                                                     KDYHJRQHDKHDGDQGPDUNHG VLF DOOWKRVHEXWZH UH
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   4$QGWKDWZDVWUXHIURPIRUZDUG"          JRLQJWRWDONDERXWWKLVRQHULJKWQRZ
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   4/LNHZKDWW\SHRI,GLGQ                   E\DQHQWLW\WKDWWKH8QLWHG6WDWHVKLUHGWRKHOSXV
   LLQWHUUXSW\RX
      QWHUUXSW\RX                                             XQGHUVWDQGWKHVHSURSHUWLHVDVSDUWRIWKLV
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   $,UHFDOOPD\EHVL[WLPHVLWKDV               OLWLJDWLRQ
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      FFXUUHGVL[VHYHQWLPHV                                $6R,GRKDYHDEOXHSULQWRIWKHQHZ
             42ND\$QGZKDWKDSSHQHGLQ,NH"
   42ND\$QGZKDWKDSSHQHGLQ,NH"              VSDFH7KLVLVJUHDW,OLNHVHHLQJHYHU\WKLQJDOO
             $:HOOQRWPXFKRIDQ\WKLQJPRUHWKDQ
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 DQ\RWKHUKDUGUHDOO\KDUGUDLQEHFDXVHLWLVD         056$/,6%85<$QGWREHFOHDUWKLV
 UUHVXOWRIUXQQLQJZDWHUFRPLQJGRZQDQGJHWWLQJ
      HVXOWRIUXQQLQJZDWHUFRPLQJGRZQDQGJHWWLQJ           LVVRPHWKLQJ\ DOOSXWWRJHWKHUULJKW"
 WWKURXJKWKHWKHZDOOV$QGLW
     KURXJKWKHWKHZDOOV$QGLW VOLNH,VDLG         05'$,17KLVLVVRPHWKLQJWKDWZH
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      LQLPDO6RZHZRXOGMXVWVXFNLWRXWZLWKZKDW
     PLQLPDO6RZHZRXOGMXVWVXFNLWRXWZLWKZKDW       WKDWWKH8QLWHG6WDWHVKDVFUHDWHG
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 GR\RXFDOOWKRVHWKLQJV"(YDF
     GR\RXFDOOWKRVHWKLQJV"(YDF                      056$/,6%85<5LJKW
 4$QGWKDWRFFXUUHGLQ,NHDVDUHVXOWRI
             4$QGWKDWRFFXUUHGLQ,NHDVDUHVXOWRI      7+(:,71(662ND\2ND\
 WWKH,NHUDLQV"
     KH,NHUDLQV"                                            4 %<05'$,1 6RWKHODVWSDJHRIWKLV
 $$ORWRIGLIIHUHQWWLPHV$ORWRI
             $$ORWRIGLIIHUHQWWLPHV$ORWRI          LQWKHORZHUOHIWKDQGFRUQHUVWDWHV:HOOLQJORZHU
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 GLIIHUHQWWLPHVLILW VUHDOO\UHDOO\KHDY\UDLQ
                             VUHDOO\UHDOO\KHDY\UDLQ     VWXGLR
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 %  XWDJDLQQRWWKDWLWLVREYLRXV:HFDQDFFHVVLW
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 EHFDXVHZH UHQRWH[FOXGHGWRJHWWLQJWRWK
                     UHQRWH[FOXGHGWRJHWWLQJWRWKHH        4&DQ\RXLGHQWLI\ZKDWWKDWLV"
     EXLOGLQJDQGLWLVPLQLPDOWRQRWKLQJ
 EXLOGLQJDQGLWLVPLQLPDOWRQRWKLQJ                      $,WZDVXVXDOO\VHWRXWWREH6WXGLR%
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            4$QGZKDWLVWKHPRVWDFFXPXODWLRQ\RX        ,WVWLOOLVEHLQJXVHGIRUWKDWSXUSRVHLQWZR
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 UHF  DOOGRZQWKHUH"
     UHFDOOGRZQWKHUH"                                        GLIIHUHQWIXQFWLRQVIRUXV2QHLIDSULYDWHOHVVRQV
 $+DUYH\
             $+DUYH\                                      QHHGWRRFFXUGXULQJDWLPHRI
 43ULRU"
             43ULRU"                                        3KRQHYLEUDWHV

                                                                                                            3DJHV
                                    ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                                                                                                                   A660
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                                   9DO$OGUHG                       $XJXVW

                                                                   Page 1

 1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 2    IN RE UPSTREAM ADDICKS
 3     AND BARKER (TEXAS)
 4    FLOOD-CONTROL RESERVOIRS          Sub-Master Docket No.
                                        17-cv-9001L
 5    _________________________
 6                                      Judge Charles F. Lettow
 7    THIS DOCUMENT RELATES TO:
 8    ALL UPSTREAM CASES
 9
10                   ORAL DEPOSITION OF VAL ALDRED
11                            AUGUST 1, 2018
12
13
14              ORAL DEPOSITION OF VAL ALDRED, produced as a
15    witness at the instance of the Defendant and duly
16    sworn, was taken in the above styled and numbered
17    cause on Wednesday, August 1, 2018, from 8:58 a.m.
18    to 3:31 p.m., before Rene White Moarefi, CSR, CRR,
19    RPR in and for the State of Texas, reported by
20    computerized stenotype machine, at the offices of
21    Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,
22    Houston, Texas, pursuant to the Federal Rules of
23    Civil Procedure and any provisions stated on the
24    record herein.
25

                         ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
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                                                                                     A661
     Case 1:17-cv-09002-LAS                        Document 266-2                    Filed 01/10/23                Page 211 of 1584
                                                       9DO$OGUHG                                                   $XJXVW
                                                            3DJH                                                            3DJH
  46R\RXVSHQWWZRQLJKWVDZD\IURP\RXU                    IXUQLWXUHLQWRSDSHUFXSV'LG\RXWDNHDQ\RWKHU
  KRPHWKHQ"                                                          VWHSVDWWKDWWLPHWRWU\WRVDYHDQ\RI\RXU
  $7KDW VZHOOEHIRUH,FDPHEDFNRQWKH                 EHORQJLQJV"
  VW\HV                                                           $1R,PHDQWKDWZDVDERXWDOOZHFRXOG
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  KRPHRQWKHVW"                                                    GRQHEHIRUHZHHYDFXDWHGZDVGRQHDQGLWZDVDOOZH
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  ZDWHUZDVVWLOOVWDQGLQJLQWKHLQWKHKRXVH                     42ND\'R\RXUHFDOOZKHQ\RXOHIW\RXU
  WRRNSLFWXUHVWULHGWRSXWVRPHIXUQLWXUHRQLQ                  KRPHRQWKHVW"
 FXSVDQGWKLQJVOLNHWKDWVRLWZRXOGQ WEHVWDQGLQJ                $$FRXSOHKRXUVODWHU
 LQZDWHUDQGQRWPXFKZHFRXOGGR                               42ND\$QGGXULQJWKDWWLPHKDGWKH
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 WKDW VEHFDXVHLWKDGUHFHGHGPRUHWKDQOLNHO\                    42ND\'R\RXUHFDOOZKHQ\RXQH[W
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 UHFHLYHGLQWRWDO"
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 VWXGV
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        4 $QGZDVWKDWZDWHUOHYHOXQLIRUP                           WKDWSRLQWZHFRXOGEHJLQDQGGLGPXFNRXWDOOWKH
 WKURXJKRXWWKHKRXVH"
     WKURXJKRXWWKHKRXVH"                                             ZDOOVWHDUGRZQWKHZDOOVWDNHRXWWKHVKHHWURFN
 $,WKLQNVR
          $ ,WKLQNVR                                              VTXHHJHHRXWZKDWHYHUZDWHUZHFRXOGWKDWZDVQHDU
 4'LGGLG\RXQRWLFHWKDWRQHSRUWLRQRI                WKHGRRU
 \RXUKRPHUHFHLYHGPRUHZDWHUWKDQDQRWKHUSRUWLRQ"                 46RGR\RXKDYHDQHVWLPDWHDVWRKRZPXFK
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  WKDWWKHKRPHVORSHGGRZQZDUGWKHIXUWKHUQRUWK\RX                  42ND\
  ZHQW'LGWKHQRUWKVLGHRI\RXUKRPHZKLFKLV,                  $,GRQ W,MXVWQR
  EHOLHYHWKHULJKWVLGHRI\RXUKRPHJHWPRUH                       42ND\:HUH\RXDEOHWRVTXHHJHHRXWWKH
  ZDWHU"                                                               ZDWHU"
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  GD\,MXVWGRQ WUHPHPEHU,PHDQ,GLGQ WWDNH                  KDGDEURRPDQGWULHGWRSXVKVRPHRILWRXW
  WKHWLPHWRPHDVXUHLW                                              42ND\'LG\RXUZLIHDFFRPSDQ\\RXRQ
 46RZKHQ\RXFDPHWR\RXUKRPHRQWKHVW                ERWKWULSV"
 DURXQGPLGPRUQLQJFDQ\RXMXVWZDONPHWKURXJKZKDW                $<HV
 \RXVDZ"                                                            4'LGDQ\RQHHOVHDFFRPSDQ\\RX"
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 IORRGHG:HKDGWRSDUNRQWKHVWUHHWRQ                           ZLWKPHRQWKHILUVWWULS,GRQ WUHPHPEHULIVKH
 7KRUQEUDQFKZKLFKLVWKHVWUHHWHDVWRIRXUV$QG                 ZDVZLWKPHRQWKHVHFRQGWULS$QGWKHQWKH
 ZHSDUNHGDVIDUDVZHFRXOG\RXNQRZDVFORVH                  GDXJKWHU,ZDVOLYLQJZLWKDFFRPSDQLHGPHRQWKH
 DVZHFRXOGDQGWKHQZDONHGDURXQGWKHWKHFRUQHU                VHFRQGWULS,MXVWWKHUHZHUHSHRSOHFRPLQJDQG
 DQGWKHQFURVVHGRXUVWUHHWWRWKHKRXVH                           JRLQJKRQHVWO\
 2KDQGWKHQIURPWKHUHZHZHQWLQVLGH                  45LJKW
 DQGVDZDOOWKHZDWHUWKDWZDVVWDQGLQJWKHUHDQG                   $,GRQ WUHPHPEHUZKRZDVZKRRUZKHQDQG
 MXVW\RXNQRZZHUH,JXHVVXQKDSS\DERXWLW:H                ZKHUH
 ZHUHVDG,WZDVWRRNVRPHSLFWXUHVDQG\RX                    4'LG\RXSHUVRQDOO\ULSRXWWKHVKHHWURFN
 NQRZWULHGWRWULHGWRRUJDQL]HRUJHWRXU                   DQGWKHLQVXODWLRQ"
 FROOHFWRXUWKRXJKWVDVEHVWZHFRXOG                              $,GLGDOLWWOHELW\HV
 42ND\<RXPHQWLRQHGWKDW\RXSXWVRPH                   4$QG\RXUIDPLO\GLGDVZHOO"

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                                                                                                                                         A662
     Case 1:17-cv-09002-LAS   Document 266-2      Filed 01/10/23   Page 212 of 1584
                                   3KLOOLS$]DU                         -XO\

                                                                     Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2     IN RE UPSTREAM ADDICKS           )
      AND BARKER (TEXAS)               )
3     FLOOD-CONTROL RESERVOIRS         )
                                       )   Sub-Master Docket No
4     ________________________         )   17-cv-9002L
      THIS DOCUMENT RELATES TO
5     ALL DOWNSTREAM CASES             )
6
7                --------------------------------------
                              ORAL DEPOSITION OF
8
                                 PHILLIP AZAR
9
                                 JULY 9, 2018
10              --------------------------------------
11
12               ORAL DEPOSITION OF PHILLIP AZAR, produced as a
13    witness at the instance of the United States, and duly
14    sworn, was taken in the above-styled and numbered cause
15    on the 9th day of July, 2018, from 9:02 a.m. to
16    5:03 p.m., before Morgan Veletzuy, CSR in and for the
17    State of Texas, recorded by machine shorthand, at Kirby
18    Mansion, 2000 Smith Street, Suite 550, Houston, Texas
19    77002, pursuant to the Federal Rules of Civil Procedure
20    and the provisions stated on the record or attached
21    hereto; that the deposition shall be read and signed
22    before any notary public.
23
24
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      Case 1:17-cv-09002-LAS   Document 266-2      Filed 01/10/23   Page 213 of 1584
                                    3KLOOLS$]DU                          -XO\

                                                                    Page 145

 1           A.   I don't know if that was the high watermark.

 2     I've never seen it.      I've just heard about it.            I've

 3     seen the one in the elevator.         And me and Ms. Stout, the

 4     one that did this for Jackson insurance company, I was

 5     debating that with her.       I remember that's why me and

 6     her got -- I got sideways with her because, as far as

 7     I'm concerned, I don't know where that water went.                   And

 8     she kept asking me.      And I said I have no idea.            I know

 9     that we stepped off -- my family stepped off the second

10     floor, you know, outside and left in a boat.

11                       So if it went higher, it may have gone

12     higher.    But I know there -- it settled down somewhere,

13     and I guess it settled down there.            And that was

14     somewhere below, according to her mark, I think, right

15     below the second-floor floor.         That make sense?

16           Q.   Yes.    Are you -- are you saying that the

17     waterline that is reflected in this report at 117 inches

1
188    is below the subfloor of the second floor?

1
199          A.   No.    I'm saying that's what they're saying.               I

2
200    didn't see anything.      I don't -- I'm not trying to be

21     evasive with you or play games with you.              I don't know.

22     I thou ght it was hi
         thought            gher than that according
                         higher            according to my
                                                        my

2
233    famil y.
       family.

24           Q.   So sorry.    Let me rephrase the question.

25                       Does the report suggest that the waterline

                           ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
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     Case 1:17-cv-09002-LAS    Document 266-2      Filed 01/10/23   Page 214 of 1584
                                    3KLOOLS$]DU                         -XO\

                                                                    Page 146

1     was
      w           inches
        as at 117 in ches --

2           A.   Yes, sir.

3           Q.   -- and below the subfloor of the second floor?

4           A.   Yeah.     It's right at the -- that's correct.

5     And if I may add, it's right below the floor of the

6     second floor, I guess.        I mean, it's in the subfloor.

7     The elevator, did you get that one?             I don't even know

8     what they came up with there.

9           Q.   Are you saying there was a waterline in the

10    elevator shaft?

11          A.   Yeah, I think there was, wasn't there?

12          Q.   Where did you observe that waterline in the

13    elevator shaft?

14          A.   I observed the line, but I don't know where it

15    was as far as inches.

16          Q.   From -- from what point -- let me ask it again.

17                       Were you on the first floor looking up in

18    the elevator shaft to observe that line?

19          A.   Yes, sir.

20          Q.   Are you able to estimate how -- what the height

21    of that line in the elevator shaft was?

22          A.   We actually measured.         I don't remember.        I

23    really don't.       I think I was holding the dummy when we

24    measured it.

25          Q.   If you could turn to --

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        Case 1:17-cv-09002-LAS Document 266-2   Filed 01/10/23 Page 215 of 1584
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·3· · · ·IN THE UNITED STATES COURT OF FEDERAL CLAIMS

·4
· · IN RE DOWNSTREAM ADDICKS· · *
·5· AND BARKER (TEXAS)· · · · · * SUB-MASTER DOCKET
· · FLOOD-CONTROL RESERVOIRS· · * NO. 17-cv-9002L
·6· · · · · · · · · · · · · · · *
· · ___________________________ *
·7· · · · · · · · · · · · · · · *
· · THIS DOCUMENT RELATES TO:· ·*
·8· · · · · · · · · · · · · · · *
· · ALL TEST PROPERTIES· · · · ·*
·9

10

11

12
· · · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
13

14

15

16

17· Date· · · · · · · · · ·Edith A. Boggs, CSR

18

19· 9-18-18· · · · · · · · HOUSTON, TEXAS

20

21

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23

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                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.com


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        Case 1:17-cv-09002-LAS Document 266-2   Filed 01/10/23 Page 216 of 1584
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·8· · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
·9
10
11· · · ·DEPOSITION AND ANSWERS of JANA CANAN BEYOGLU, taken
12· before Edith A. Boggs, a certified shorthand reporter in
13· Harris County for the State of Texas, taken at the law
14· offices of Neel, Hooper & Banes, PC, 1800 West Loop
15· South, Suite 1750, Houston, Texas, on the 18th day of
16· September, 2018, between the hours of 1:49 p.m. and 5:06
17· p.m.
18
19
20
21
22
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                                                           EsquireSolutions.comYVer1f




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      Case 1:17-cv-09002-LAS Document 266-2   Filed 01/10/23     Page 217 of 1584
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   ,15('2:1675($0$'',&.6                                                   

·1· · · ·A.· No, I don't, definitely.
·2· · · · · · · · You see my massage chair also?· I'm sorry,
·3· it was an antique but it was really important for me.
·4· You know, it was very, very important for me.
·5· · · ·Q.· Well, just generally, you don't agree with the
·6· valuations of the insurance --
·7· · · ·A.· No.· No, because they did drop it a lot.
·8· · · ·Q.· All right.· And you said your husband is
·9· working on the diminution in value of the house with an
10· appraiser?
11· · · ·A.· Yes, he is.· Yes, he is.
12· · · ·Q.· Ma'am, just one more question.· If you had --
13· if the dams were not there, would your purchase decision
14· be different?
15· · · ·A.· Yes, it would be different.
16· · · · · · · · MR. BANES:· Pass the witness.
17· · · · · · · · FURTHER EXAMINATION
         Q.· (BY MS. SANTACRUZ)· Okay.· Just a couple
18· · · ·Q.·
19· follow-up questions on that, and we're primarily going
20· to be focusing on this Exhibit 9, the claim adjuster
21· report.· You mentioned something about the claim
22· adjuster measuring the level of how high the water came
23· in?
24· · · ·A.· Well, because there were marks on the walls,
25· like inside and outside of the house.· The water,
                                   house.·


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                                                          EsquireSolutions.com  YVer1f




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      Case 1:17-cv-09002-LAS Document 266-2   Filed 01/10/23     Page 218 of 1584
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·1· because it stayed, I guess, that long, it marked on the
·2· Sheetrocks.
·3· · · ·Q.· Okay.
·4· · · ·A.· So, he measured it, I guess.
·5· · · ·Q.· He measured it, and you were there when he
·6· measured it?
·7· · · ·A.· I wasn't.· My husband but that's what he told
·8· me, that that's how they came up with the four feet.
·9· · · ·Q.· So, according to you --
10· · · ·A.· Our -- I'm sorry.· Our contractor was with the
11· insurance company also.· I'm remembering that because he
12· wanted to be there so he knows where to -- how far that
13· he can cut the Sheetrocks.
14· · · ·Q.· So, your husband will know better than you what
15· was the amount if he was the one that met with the claim
16· insurance adjuster?
17· · · ·A.· That's true.
18· · · ·Q.· You mentioned that he included it in some
19· report.· I don't see it in this report.· Do you know
20· another report that he completed?
21· · · ·A.· I really don't know.· I don't know, but if
22· there is one, I'm sure our contractor has it because
23· that's how -- that's how they know, I guess, where to
24· shut the Sheetrocks and how far to go to the mold and
25· the humidities and wetness in the Sheetrock.· So, I'm


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                                                          EsquireSolutions.com  YVer1f




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     Case 1:17-cv-09002-LAS   Document 266-2    Filed 01/10/23   Page 219 of 1584
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                                                                   Page 1

1            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2      IN RE UPSTREAM ADDICKS          )
       AND BARKER (TEXAS)              )
3      FLOOD-CONTROL RESERVOIRS        )
                                       )   Sub-Master Docket No
4      ________________________        )   17-cv-9002L
       THIS DOCUMENT RELATES TO        )
5      ALL DOWNSTREAM CASES            )
6
7                  --------------------------------------
                              ORAL DEPOSITION OF
8
                                  DANA CUTTS
9
                                 JUNE 27, 2018
10               --------------------------------------
11
12                 ORAL DEPOSITION OF DANA CUTTS, produced as a
13     witness at the instance of the United States, and duly
14     sworn, was taken in the above-styled and numbered cause
15     on the 27th day of June, 2018, from 9:07 a.m. to
16     2:55 p.m., before Morgan Veletzuy, CSR in and for the
17     State of Texas, recorded by machine shorthand, at the
18     offices of McGehee, Chang, Landgraf, 10370 Richmond
19     Avenue, Suite 1300, Houston, Texas 77042, pursuant to
20     the Federal Rules of Civil Procedure and the provisions
21     stated on the record or attached hereto; that the
22     deposition shall be read and signed before any notary
23     public.
24
25

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      Case 1:17-cv-09002-LAS    Document 266-2    Filed 01/10/23   Page 220 of 1584
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                                                                   Page 102

 1      outside and measuring how deep it was around the

 2      foundation.     Putting out appeals for volunteers to come

 3      and help us.       They -- people came and picked up all of

 4      our carpet and threw it out in the front, that were

 5      volunteers.     The next day they came back with a crew and

 6      took about two-thirds of our Sheetrock off up to the

 7      4-foot level.       And that was it.

 8            Q.   Okay.

 9            A.   And threw out most of our stuff.           And of

10      course, wrecked the front lawn because they threw it all

11      out the windows right onto the lawn.

12            Q.   Okay.     How high did the water get at your -- at

1
133     your home?

14            A.   It was 5 inches in some places and 8 inches in

15      others inside the house.

16            Q.   Okay.     And how about outside the house?

17            A.   Outside, it was between 11 and 12 inches is

1
188     what we measured.

19            Q.   Okay.     I'm going to mark a set of pictures as

20      Exhibit 15.

21                         (Exhibit 15 marked.)

22            Q.   (BY MS. DUNCAN)        Mrs. Cutts, take a look at

23      these.

24            A.   Sure.     Thank you.

25            Q.   These were provided to us from your attorney.

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 221 of 1584
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                                                                Page 1

1        IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
         IN RE DOWNSTREAM                        : Sub-Master Docket
3        ADDICKS AND BARKER                      : No. 17-cv-9002L
         (TEXAS) FLOOD-CONTROL                   :
4        RESERVOIRS                              : Judge Susan G.
                                                 : Braden
5                                                :
         THIS DOCUMENT RELATES                   :
6        TO:                                     :
         ALL TEST PROPERTIES                     :
7
8                                    *       *       *
9                   MONDAY, SEPTEMBER 17, 2018
10                                   *       *       *
11
12               Oral deposition of INGA GODEJORD taken
13     at the law offices of Neel, Hooper & Banes,
14     P.C. 1800 West Loop South, Suite 1750,
15     Houston, Texas, commencing at 1:01 p.m.
16     before Debbie Leonard, Registered Diplomate
17     Reporter, Certified Realtime Reporter.
18
19
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21
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23                               *       *       *
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25

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 222 of 1584
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                                                                Page 24

1                sorry.

2      BY MS. HELD:

3                Q.           And this is still while you're

4      in Canada, these photos were taken?

5                A.           Yes, ma'am.

6                Q.           Now, besides the Stackhouses,

7      were you communicating with anyone else in

8      your neighborhood about flooding while you

9      were in Canada?

10               A.           No.   Only with Stackhouses.

11               Q.           And were you communicating with

12     anyone else in Houston that was going to your

13     neighborhood to observe the flooding for you

14     while you were in Canada?

15               A.           Only my son.

16               Q.           So do you know how high the

17     water reached in your house?

18
18               A.           According to my husband,

19
19     2 feet.

20               Q.           But did you make any

21     observations yourself?

22
22               A.           I saw the water line.            It was

23     approximately 2 feet high.

24               Q.           And do you have any photographs

25     of the water line?

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 223 of 1584
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                                                                   Page 1

1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2         IN RE UPSTREAM ADDICKS       §

          AND BARKER (TEXAS)           §

3         FLOOD-CONTROL RESERVOIRS     § SUB-MASTER DOCKET

4

                                       § NO. 17-cv-9002L

5         _________________________ §

                                       § Chief Judge Susan G. Braden

6         THIS DOCUMENT RELATES TO: §

7         ALL DOWNSTREAM CASES         §

8         __________________________§

9                               ORAL DEPOSITION

10                             MR. JEREMY E. GOOD

11                               July 19, 2018

12

13             ORAL DEPOSITION OF MR. JEREMY E. GOOD, produced

14        as a witness at the instance of the United States and

15        duly sworn, was taken in the above-styled and

16        numbered cause on the 19th day of July, 2018, from

17             a.m. to 12:23 p.m., before Michelle Hartman,            9:00

18        Certified Shorthand Reporter in and for the State of

19        Texas and Registered Professional Reporter, reported

20        by computerized stenotype machine at the offices of

21        Raizner Slania, LLP, 2402 Dunlavy Street, Houston,

22        Texas 77006, pursuant to the Federal Rules of Civil

23        Procedure and the provisions stated on the record or

24

25        attached hereto.

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 224 of 1584
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                                                              Page 53

1     the middle of the unit.

2                  Q.   Okay.    And were the -- is this building

3     fairly flat?      Is the -- were the water levels pretty

4     much the same in the downstairs unit, both front and

5     back?

6                  A.   It is a relatively flat elevation, yes,

7     so I would guess that it was the same throughout both

8     the units, A and C.

9                  Q.   And so as you sit here today, do you

10    recall whether or not the flood waters reached the

11    windows?

12                 A.   Again, I would have to go back and

13    measure the windows from inside to see.              I don't

14    unfortunately have a picture of that here in front of

15    me.

16                 Q.   I don't quite understand your last

17    answer.    I just want to know whether you have a

18
18    recollection as you sit here today as to whether the

19
19                      got as high
      flood waters ever got    high as the windows?

20                 A.   Not knowing how high the windows are, I

21    don't know that information.           If they're within the

22
22                                                measured,
      38 to 40 inches, the bottom of where we had measured,

23    then I would say yes.

24                 Q.   But you don't recall sitting -- you

25    don't recall any water marks on a window, for

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 225 of 1584
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                                                              Page 55

1     water mark line is.

2                 Q.    Yes, that was going to be my -- my

3     question:     Where -- you can tell me where the water

4                     photo?
      mark is in this photo?

5                 A.    It appears to be -- the shading looks

6                                                        of
      to be to the left of my thumb, which is at the top of

7     the image, and if I were to turn the measurement on

8     its side,
      its side, it
                it looks approximately
                         approximately to be 41 inches.
                                                inches.

9                        MR. DAIN:     I believe we got these in a

10    black-and-white format.         Do you have them in a color

11    format?

12                       MR. WICKERT:      I think so.

13                       MR. DAIN:     We don't have to resolve it

14    here, but I might as well state it on the record that

15    I would like to get a clarification on this photo.

16                       MR. WICKERT:      Well, can we go off for

17    a moment?

18                       MR. DAIN:     Sure, sure, we can any

19    time.

20                              (Recess taken)

21                Q. (BY MR. DAIN)        Outside of these photos,

22    as you sit here, do you have any better way to

23    identify the actual height of the water that the

24    water reached within your property?

25                A.    Outside these specific three photos?

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 226 of 1584
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                                                                Page 1

 1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2    IN RE UPSTREAM ADDICKS           )

      AND BARKER (TEXAS)               )

 3    FLOOD-CONTROL RESERVOIRS         )   Sub-Master Docket No

 4    ________________________         )   17-cv-9002L

 5    THIS DOCUMENT RELATES TO         )

 6    ALL DOWNSTREAM CASES             )

 7                --------------------------------------

 8                            ORAL DEPOSITION OF

 9                               WAYNE HOLLIS

10                               JULY 19, 2018

11               --------------------------------------

12                ORAL DEPOSITION OF WAYNE HOLLIS, produced as a

13    witness at the instance of the United States, and duly

14    sworn, was taken in the above-styled and numbered cause

15    on the 19th day of July, 2018, from 8:59 a.m. to

16    12:13 p.m., before Morgan Veletzuy, CSR in and for the

17    State of Texas, recorded by machine shorthand, at Clark,

18    Love & Hutson, G.P., 440 Louisiana Street, Suite 1600,

19    Houston, Texas 77002, pursuant to the Federal Rules of

20    Civil Procedure and the provisions stated on the record

21    or attached hereto; that the deposition shall be read

22    and signed before any notary public.

23

24

25

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     Case 1:17-cv-09002-LAS                            Document 266-2                 Filed 01/10/23              Page 227 of 1584
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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 228 of 1584
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                                                                Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2     IN RE UPSTREAM ADDICKS          )
      AND BARKER (TEXAS)              )
3     FLOOD-CONTROL RESERVOIRS        )   Sub-Master Docket No
4     ________________________        )   17-cv-9002L
5     THIS DOCUMENT RELATES TO        )
6     ALL DOWNSTREAM CASES            )
7                --------------------------------------
                              ORAL DEPOSITION OF
8
                                 ARNOLD MILTON
9
                                 JULY 10, 2018
10              --------------------------------------
11
12               ORAL DEPOSITION OF ARNOLD MILTON, produced as
13    a witness at the instance of the United States, and duly
14    sworn, was taken in the above-styled and numbered cause
15    on the 10th day of July, 2018, from 9:02 a.m. to
16    2:48 p.m., before Morgan Veletzuy, CSR in and for the
17    State of Texas, recorded by machine shorthand, at
18    Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19    Suite 4000, Houston, Texas 77056, pursuant to the
20    Federal Rules of Civil Procedure and the provisions
21    stated on the record or attached hereto; that the
22    deposition shall be read and signed before any notary
23    public.
24
25

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      Case 1:17-cv-09002-LAS        Document 266-2 Filed 01/10/23   Page 229 of 1584
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                                                                    Page 104

 1     Harvey, those windows hadn't been open?

 2             A.     Never.

 3             Q.     None of them?

 4             A.     None of them.

 5             Q.     Did the fact that you couldn't open your

 6     windows ever present a problem for you and your wife

 7     over that number of years?

 8             A.     It interfered with my shooting squirrels with

 9     my BB gun; but otherwise, it didn't.                Fortunately, if

10     the air conditioner broke, the wife had it fixed

11     immediately.          And there was never any argument about

12     that.        So never a real problem.

13             Q.     I've seen a number of pictures from your home

14     showing measurements of a waterline following Harvey?

15             A.     Uh-huh.    Uh-huh.     Yes.   Yes.

16             Q.     Are those pictures that you took?

17             A.     Yes.

18             Q.     Was that waterline fairly consistent throughout

1
199    t he interior
       the  interior of
                     of the
                        the home?
                            home?

2
200            A.     Very, uh-huh.

21             Q.     Was that waterline consistent on the exterior

22     o
       of  the home?
         f the home?

2
233            A.     Yes.

24             Q.     Was that waterline roughly the same on the

25     interior and exterior
                    exterior??

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     Case 1:17-cv-09002-LAS       Document 266-2 Filed 01/10/23   Page 230 of 1584
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                                                                  Page 105

1             A.    Yes.

2             Q.    Was it exactly the same?

3             A.    Well, the floor varied a little bit.

4     Especially with a sunken living room, you're talkin
                                                   talkingg

5     about maybe a maximum 2-inch variation.

6             Q.    Do you know what the height of that inundation

7     was
      was??

8             A.    Oh, we measured it in several spots and it was,

9     what, 4 foot 3 and 3 quarters or something like that.

10            Q.    Your friend and neighbor Mr. Hamblin --

11            A.    Uh-huh.

12            Q.    Let me start the question again.

13                          Did Mr. Hamblin also have an inundation

14    line on his home?

15            A.    Yes, he did.

16            Q.    Was the inundation line on Mr. Hamblin's home

17    at a similar height to the inundation line on your home?

18            A.    Yeah.

19            Q.    And how do you know that?

20            A.    Well, I could see it on his windows.          He had

21    the house steam cleaned on the exterior before I did.

22    But there was no question about it right after the

23    flood.       In fact, the same mark was on all of the houses

24    unless they were higher up the street where it tended to

25    be a little bit lower.

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 231 of 1584
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                                                                 Page 1

1              THE UNITED STATES COURT OF FEDERAL CLAIMS

        IN RE: DOWNSTREAM ADDICKS       )

2       AND BARKER (TEXAS)              )

3       FLOOD-CONTROL RESERVOIRS        )

4                                       ) SUB-MASTER DOCKET NO.

5                                       ) 17-CV-90021

6                                       )

7     ********************************************************

8                             ORAL DEPOSITION OF

9                               JENNIFER SHIPOS

10                            September 19, 2018

                                   Volume 1

11    ********************************************************

12          ORAL AND VIDEOTAPED DEPOSITION OF JENNIFER SHIPOS,

13    produced as a witness at the instance of the DEFENDANT,

14    was taken in the above-styled and numbered cause on

15    September 19, 2018 from 3:02 p.m. to 5:05 p.m., before

16    Toyloria Lanay Hunter, CSR in and for the State of

17    Texas, reported by machine shorthand, at the law offices

18    of NEEL, HOOPER & BANES, P.C., 1800 West Loop South,

19    Suite 1750, Houston, Texas 77027, pursuant to the

20    Federal Rules of Civil Procedure and the provisions

21    stated on the record or attached hereto.

22

23

24

25

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      Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 232 of 1584
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                                                                 Page 34

 1     photographs on the interior of your house.

 2           A.     Okay.

 3           Q.     The next photograph, 000230, what's portrayed

 4     in that photograph
               photograph??

 5           A.     This is my hallway.       And I have an antique

 6     hutch here in the entrance way.

 7           Q.     How deep was the water there, if you know?

 8           A.     I would say it's probably around at that time,

 9     12 to 15 inches
                inches..

10           Q.     Okay.   And what do you base that on?

11           A.     I think I just recall it being -- I think we

1
122    tried to mark all the watermarks on it.

1
133          Q.     How long did it take the water to recede from

14     t he interior
       the  interior of
                     of the
                        the house?
                            house?

1
155          A.     Six days.

1
166          Q.     After the six days, do you remember seeing any

17     watermarks on the walls?

1
188          A.     Yes.

1
199          Q.     Was that all around the first floor?

2
200          A.     Yes.

21           Q.     And in the garage?

22           A.     Yes.

2
233          Q.     Did you have any watermarks in the exterior of

24     the house?

25           A.     Yes.

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      Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 233 of 1584
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                                                                  Page 35

 1           Q.      Next photograph, 000224?

 2           A.      That would be my kitchen.

 3           Q.      Is the water approximately the same depth?

 4           A.      Yes.

 5           Q.      The next one?

 6           A.      This is my family room.

 7           Q.      For the record, 000226.        That's -- I'm sorry,

 8     your living room
                   room??

 9           A.      Yeah.     Well, this is the family room, is what

1
100    I call it
              it..

11           Q.      And in the picture, is that --

1
122          A.      I have a leather couch and a leather love -- I

1
133    guess armchair
             armchair..

14           Q.      Uh-huh.

1
155          A.      And some end tables.

1
166          Q.      Are the end tables up on the furniture?

17           A.      Yes.

1
188          Q.      Okay.     Next photograph, 000227?

1
199          A.      This would be my breakfast area.

2
200          Q.      Uh-huh.

21           A.      And my -- I guess my dining room -- I guess my

22     table.     My kitchen table.

2
233          Q.      Were there chairs in there before the storm?

24           A.      Yes.    Those I did carry up the stairs.

25           Q.      The depth of the area water about the same as

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      Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 234 of 1584
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                                                                 Page 36

 1     the
       t he other
            other area?
                  area?

 2              A.   It was a little bit higher than the back of

 3     the house.

 4              Q.   Next photograph, 000229?

 5              A.   That is my dining room table.

 6              Q.   The water -- is depth of the water about the

 7     same
       same??

 8              A.   Yes.

 9              Q.   And I can see you have -- are those dining

1
100    room chairs up on the table?

11              A.   Yes.   And I have a -- well, you can't see my

12     rug.      But I have a nice area rug there too.

1
133             Q.   Next photograph, 000239?

14              A.   This would be my living room looking into the

15     d ining room too
       dining       too..

16              Q.   And the depth of the water there?

17              A.   It's about 15 inches.

1
188             Q.   Next photograph?

1
199             A.   A bathroom.

2
200             Q.   000228.   And the depth of the water there is

21     about the same
                 same??

2
222             A.   Yes.

23              Q.   Looking through the other photographs, the

24     remainder of the photographs --

25              A.   Uh-huh, yeah.    These are probably repeats --

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      Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23     Page 235 of 1584
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                                                                   Page 38

 1             Q.   The next one --

 2             A.   Yeah, you can't really see this.           This is my

 3     study.

 4             Q.   Next one, 000235?

 5             A.   Yeah, one of my antiques from the study.

 6             Q.   That was in the study?

 7             A.   Uh-huh.     It's an antique.

 8             Q.   Why is it -- what's -- what is it exactly?

 9             A.   I think it's like 19-- I don't remember the

10     date.

11             Q.   I'm sorry.     What is it --

12             A.   Oh, what is it?      It's just kind of a hutch.

13             Q.   A hutch?

14             A.   Yeah.

15             Q.   000236, that's the --

16             A.   That's the entrance way, yeah.

17             Q.   Antique in the entrance way?

18             A.   Uh-huh.

19             Q.   And then the last one, 000237?

20             A.   That's the backyard.

21             Q.   Okay.     About how deep was the water in the

22     back yard?
       backyard?

2
233            A.   That one was a little -- for some reason, that

24     one was a little higher, maybe 18 inches.              Just slightly

25     higher
       higher..

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 236 of 1584
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                                                                Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2     IN RE UPSTREAM ADDICKS          )

      AND BARKER (TEXAS)              )

3     FLOOD-CONTROL RESERVOIRS        )   Sub-Master Docket No

4     ________________________        )   17-cv-9002L

5     THIS DOCUMENT RELATES TO        )

6     ALL DOWNSTREAM CASES            ) August 1, 2018

7                --------------------------------------

8                             ORAL DEPOSITION OF

9                               PETER SILVERMAN

10                               JULY 18, 2018

11              --------------------------------------

12               ORAL DEPOSITION OF PETER SILVERMAN, produced

13    as a witness at the instance of the United States, and

14    duly sworn, was taken in the above-styled and numbered

15    cause on the 9th day of July, 2018, from 9:06 a.m. to

16    3:52 p.m., before Morgan Veletzuy, CSR in and for the

17    State of Texas, recorded by machine shorthand, at 1200

18    Smith Street, 12th Floor, Houston, Texas 77002, pursuant

19    to the Federal Rules of Civil Procedure and the

20    provisions stated on the record or attached hereto; that

21    the deposition shall be read and signed before any

22    notary public.

23

24

25

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      Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23       Page 237 of 1584
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                                                                    Page 126

 1     water was in my home would be like waterlines where you

 2     can actually -- one could see a waterline of how much

 3     water was in the home.        But what, when, and where, I

 4     don't know.       I was not there.

 5           Q.   (BY MS. IZFAR)      So when you walked into your

 6     home on September 8th, did you see any waterlines?

 7           A.   Yes.

 8           Q.   Did you take any pictures of those waterlines?

 9           A.   I don't recall taking any pictures on the 8th.

10           Q.   Did you take any measurements of the

11     waterlines?

12           A.   I never took any measurements.              I don't carry a

13     tape measure with me on my person or in my car, so I can

14     clearly say, no, I would not have done that.

15           Q.   Okay.     Do you have an estimate as to how high

1
166    the waterline was on September 8th?

17           A.   In my own mind I have an estimate, yes.

1
188          Q.   What's the estimate?

1
199          A.   I use a foot to 18 inches depending on where in

2
200    the house you are
                     are..

21           Q.   And when you say "depending on where in the

22     house you are," can you describe where the water was --

23     where the watermark was higher?

24           A.   The farther away from the street you go, I

25     would say the waterline would be higher.

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      Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23      Page 238 of 1584
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                                                                    Page 127

 1           Q.    So, for example -- and let's go back to -- I

 2     think it's Exhibit 2 -- no, Exhibit 3, this floor plan.

 3     Can you mark on -- on Exhibit 3 where the water -- where

 4     the high watermarks were approximately 12 inches?

 5           A.    No.     But it goes back to sort of a question you

 6     asked earlier which I said I don't know.                You said --

 7     you asked my, like, can you point out the low spots of

 8     my house.     That was hard for me to do at the time except

 9     to tell you that the highest points are here and the

10     lowest points are here (indicating).

11           Q.    Okay.     Understood.    So would you say --

12                         MS. IZFAR:    And let the record reflect that

13     the witness pointed to the front of the house when

14     pointing out the highest spots, and pointed to the back

15     of the house when pointing out the lowest spots.

16           Q.    (BY MS. IZFAR)       Could you draw a picture on the

17     floor plan and just indicate where the highest spots are

18     and where the lowest spots are.           Can you just draw a

19     line out to the front part that says "highest" and

20     then -- and then the back of the house which says

21     "lowest" so that we have some frame of reference.

22           A.    (Witness complies.)

23           Q.    So during Harvey the lowest spots near the back

2
244    of the house had about 18 inches; is that your estimate?

25                         MR. HODGE:    Objection; form.        That

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     Case 1:17-cv-09002-LAS       Document 266-2 Filed 01/10/23       Page 239 of 1584
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                                                                      Page 128

1                   testimony.
      misstates his testimon y.

2             A.     Again, that would be my guess.             But I really

3     never measured it.           But after -- after the dam releases

4     occurred and the water and sewage sat in the house, I

5     would guess -- and, again, it's speculation -- that th
                                                          thee

6     highest -- that it was never above 18 inches in any

7     spot.        I think that would have been a high.

8             Q.     (BY MS. IZFAR)     Okay.

9             A.     And so an average whatever like that.             I

10    wouldn't know an average or anything like that.                      But I

11    wouldn't -- from what I can tell from anything I saw, it

12    was not higher than that from my uneducated flood eyes.

13            Q.     Understood.     So did anyone do -- did anyone

14    conduct a professional assessment as to how high the

15    water was in your house?

16            A.     I believe the flood adjuster would have

17    commented on that.

18            Q.     When did you call the flood adjuster?

19            A.     I filed a claim as soon as possible on or about

20    September 1st, I would say.

21            Q.     Okay.    And this is -- you filed a claim then

22    with your NFIP insurance?

23            A.     Yes.    Or -- I'm not sure if it's fair to say

24    that or with FEMA.           But I went online and I clicked the

25    boxes to put myself in the system.

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 240 of 1584
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                                                                Page 1

1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2     IN RE UPSTREAM ADDICKS          )

      AND BARKER (TEXAS)              )

3     FLOOD-CONTROL RESERVOIRS        )   Sub-Master Docket No

4     ________________________        )   17-cv-9002L

5     THIS DOCUMENT RELATES TO        )

6     ALL DOWNSTREAM CASES            ) August 1, 2018

7                --------------------------------------

8                             ORAL DEPOSITION OF

9                              ZHENNIA SILVERMAN

10                               JULY 18, 2018

11              --------------------------------------

12               ORAL DEPOSITION OF ZHENNIA SILVERMAN, produced

13    as a witness at the instance of the United States, and

14    duly sworn, was taken in the above-styled and numbered

15    cause on the 9th day of July, 2018, from 4:05 p.m. to

16    5:34 p.m., before Morgan Veletzuy, CSR in and for the

17    State of Texas, recorded by machine shorthand, at 1200

18    Smith Street, 12th Floor, Houston, Texas 77002, pursuant

19    to the Federal Rules of Civil Procedure and the

20    provisions stated on the record or attached hereto; that

21    the deposition shall be read and signed before any

22    notary public.

23

24

25

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     Case 1:17-cv-09002-LAS       Document 266-2 Filed 01/10/23     Page 241 of 1584
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                                                                     Page 34

1     Exhibit 1 -- 23, Exhibit 23.

2           Q.    Okay.     Understood.        And is it your

3     understanding that these pictures were taken on

4     August 31st?

5           A.    I think so, yes.        Only because of the way this

6     was printed, I'm not sure where they were embedded.                    And

7     just so -- but just by looking at the -- at the date and

8     the time of the e-mails.           Oh, here we go.        Yeah, this

9     looks like August -- well, that was me forwarding to

10    Nick, hold on.        Okay.     Yeah, I mean, I have no reason to

11    believe that they weren't -- that these were e-mailed on

12    the 31st.

13          Q.    Okay.     Looking --

14          A.    And if you look at the very last -- it says

15    "Pics from your house, 10:00 a.m., August 31st."                 And

16    that's the -- the last three pages.

17          Q.    The last three pages of Exhibit 3 where Nick

18    has written to you --

19          A.    In the subject line.

20          Q.    Oh, got it.        Got it.     Understood.     Pics from --

21    in the subject line from Nick Speller to you on

22    August 31st at maybe 5:37, but unclear what time zone,

23    "Pics from your house, August 31st, 2017.

24                        Okay.     Thank you.     Looking at these

25    pictures here, do you have an estimate as to how hig
                                                       highh

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      Case 1:17-cv-09002-LAS       Document 266-2 Filed 01/10/23   Page 242 of 1584
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                                                                    Page 35

 1     the
       t he water
            water is?
                  is?

 2                           MR. HODGE:    Objection; form.

 3             A.    No.     I remember one of the first ones that I

 4     looked at was of our front door where we've got thi
                                                       thiss

 5     elephant that we bought in Indonesia with a pot on top

 6     of it.       And as I looked inside the house through those

 7     g lass doors, it appeared
       glass            appeared -- appeared
                                    appeared to me at that time
                                                           time

 8     that the water had risen up to the level of the armres
                                                       armrestt

 9     on the chair.          And I remember talking to my husband

1
100    about it.       And so that was -- and then of course seeing

11     my mailbox that was pretty --

12             Q.    (BY MS. IZFAR)       So right now just to be clear

13     for the record, you're looking at the second to last

14     page of the Exhibit 23, and you're looking at the --

15             A.    The third.

16             Q.    Wait.     The third image which is IMG --

17     captioned "IMG_0846.jpg"?

18             A.    Uh-huh.     That's correct.

19             Q.    Okay.     And is it your understanding that these

20     pictures were also taken on August 31st by your neighbor

21     Nick?

22             A.    Correct.

23             Q.    All right.     Did you have any other photographs

24     of your -- of your home between August 27th and

25     September 8th?

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 243 of 1584
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                                                                  Page 1

1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2     IN RE:     DOWNSTREAM         *

      ADDICKS AND BARKER            *

3     (TEXAS) FLOOD CONTROL         *

      RESERVOIRS                    * SUB-MASTER DOCKET NO.

4                                   * 17-cv-9002L

5     THIS DOCUMENT RELATES TO:*

6     ALL DOWNSTREAM CASES          *

7         ***************************************************

8         ORAL DEPOSITION OF DUTCH CHRISTOPHER LINDEBURG

9                                  VOLUME 1

10                            SEPTEMBER 26, 2018

11       ***************************************************

12             ORAL DEPOSITION of DUTCH CHRISTOPHER LINDEBURG,

13     produced as a witness at the instance of the United

14     States, and duly sworn, was taken in the above-styled

15     and numbered cause on September 26, 2018, from 4:19

16     p.m. to 6:14 p.m., before Carol Jenkins, CSR, RPR,

17     CRR, in and for the State of Texas, reported by

18     machine shorthand, at the Potts Law Firm, 3737 Buffalo

19     Speedway, Suite 1900, Houston, Texas 77098, pursuant

20     to notice and the Federal Rules of Civil Procedure.

21

22


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      Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23      Page 244 of 1584
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                                                                     Page 69

 1                         MR. POTTS:    I don't have any further

 2      questions.

 3                         MR. DAIN:    I just have one question to

 4      follow-up.

 5                             FURTHER EXAMINATION

 6      BY MR. DAIN:

 7           Q.    For the visit on the 29th, is that the

 8      deepest you ever saw the water?

 9           A.    That is the deepest I saw it, yes.

10
1 0          Q.    How deep was it off the floor of the basement

11      or the first floor?

12
1 2          A.    I mean, it came over the doorjamb because

13
1 3     there's loading doors in the back that go to kind of a

14      ramp that lead to the parking lot and so, I mean,

15      Shawn -- I sent Shawn a picture of it.                So we should

16
1 6     be able to tell from that.

17           Q.    Okay.

18           A.    Maybe, I mean.       I think that phone got

19      destroyed.     I can't seem to find that one.             Maybe it's

20      on Facebook.       I don't know.

21           Q.    Let me just --

22                         MR. POTTS:    Look at this.         Is this it?




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     Case 1:17-cv-09002-LAS   Document 266-2    Filed 01/10/23   Page 245 of 1584
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                                                                   Page 1

 1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 2    IN RE UPSTREAM ADDICKS
 3     AND BARKER (TEXAS)
 4    FLOOD-CONTROL RESERVOIRS          Sub-Master Docket No.
                                        17-cv-9001L
 5    _________________________
 6                                      Judge Charles F. Lettow
 7    THIS DOCUMENT RELATES TO:
 8    ALL UPSTREAM CASES
 9
10                   ORAL DEPOSITION OF VAL ALDRED
11                            AUGUST 1, 2018
12
13
14              ORAL DEPOSITION OF VAL ALDRED, produced as a
15    witness at the instance of the Defendant and duly
16    sworn, was taken in the above styled and numbered
17    cause on Wednesday, August 1, 2018, from 8:58 a.m.
18    to 3:31 p.m., before Rene White Moarefi, CSR, CRR,
19    RPR in and for the State of Texas, reported by
20    computerized stenotype machine, at the offices of
21    Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,
22    Houston, Texas, pursuant to the Federal Rules of
23    Civil Procedure and any provisions stated on the
24    record herein.
25

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    Case 1:17-cv-09002-LAS                         Document 266-2                 Filed 01/10/23              Page 246 of 1584
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                                                                     Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2     IN RE UPSTREAM ADDICKS           )
      AND BARKER (TEXAS)               )
3     FLOOD-CONTROL RESERVOIRS         )
                                       )   Sub-Master Docket No
4     ________________________         )   17-cv-9002L
      THIS DOCUMENT RELATES TO
5     ALL DOWNSTREAM CASES             )
6
7                --------------------------------------
                              ORAL DEPOSITION OF
8
                                 PHILLIP AZAR
9
                                 JULY 9, 2018
10              --------------------------------------
11
12               ORAL DEPOSITION OF PHILLIP AZAR, produced as a
13    witness at the instance of the United States, and duly
14    sworn, was taken in the above-styled and numbered cause
15    on the 9th day of July, 2018, from 9:02 a.m. to
16    5:03 p.m., before Morgan Veletzuy, CSR in and for the
17    State of Texas, recorded by machine shorthand, at Kirby
18    Mansion, 2000 Smith Street, Suite 550, Houston, Texas
19    77002, pursuant to the Federal Rules of Civil Procedure
20    and the provisions stated on the record or attached
21    hereto; that the deposition shall be read and signed
22    before any notary public.
23
24
25

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      Case 1:17-cv-09002-LAS      Document 266-2      Filed 01/10/23   Page 248 of 1584
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                                                                        Page 10

 1             A.   Correct.     Yes.

 2             Q.   And were you at the 3 Magnolia Bend property

 3     d uring Harve
       during        y?
               Harvey?

 4             A.   No.     I was here.

 5             Q.   Okay.     Was anyone in your family at the

 6     3 Magnolia Bend property during Harvey?

 7             A.   Yeah.     Dolly -- the same ones I just gave you,

 8     Dolly, Jimmy, and Dilores.           They were all there.

 9             Q.   Were they there throughout the entirety of the

1
100    storm
       storm??

11             A.   Until I called and I think Dilores called, too,

1
122    or one of them called, the sheriff's or 911 and they -
                                                            ---

1
133    they got picked up by a boat.

14             Q.   Do you know on what day they were picked up by

1
155    t he boat?
       the

1
166            A.   I want to say the 28th or the 27th, 28th.

17             Q.   Do you -- do you know what time of day they

1
188    were picked up
                   up??

1
199            A.   Not really.     I think it was light.

2
200            Q.   It was daylight?

21             A.   During the day.       Yes, sir.      So probably the

22     28th.

2
233            Q.   Okay.     So you think that your brother Jimmy and

24     sisters, Dilores and Dolly, were picked up by a boat

25     d uring the day on the 28th of August 2017?
       during

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     Case 1:17-cv-09002-LAS    Document 266-2      Filed 01/10/23   Page 249 of 1584
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                                                                     Page 11

1           A.   Correct.     They were taken over to around the

2     10,000 block of Memorial; Episcopal church or a

3     Methodist church
                church,, one of those churches there
                                               there,, 10,000
                                                       10,000

4     block of Memorial
               Memorial..

5           Q.   Do any of your siblings own a property interest

6     in the 3 Magnolia Bend property?

7           A.   No.     No, sir.

8           Q.   Did any of your siblings own personal property

9     that was in the 3 Magnolia Bend property during Harvey?

10          A.   Yes.

11          Q.   Is any of your siblings' personal property that

12    was in the 3 Magnolia Bend home during Harvey at issue

13    in this litigation?

14          A.   Better explain that to me.           At issue?

15          Q.   Sorry.     Let -- let me try and ask it again.

16          A.   Sure.

17          Q.   Is any of your siblings' personal property

18    subject to your claims in this matter?

19          A.   Yes.

20          Q.   Are -- are any of your siblings named

21    plaintiffs in this matter?

22          A.   No.

23          Q.   Do you recall seeing the United States'

24    interrogatories in this matter?

25          A.   Yes.

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     Case 1:17-cv-09002-LAS   Document 266-2    Filed 01/10/23   Page 250 of 1584
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                                                                   Page 1

1            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2      IN RE UPSTREAM ADDICKS          )
       AND BARKER (TEXAS)              )
3      FLOOD-CONTROL RESERVOIRS        )
                                       )   Sub-Master Docket No
4      ________________________        )   17-cv-9002L
       THIS DOCUMENT RELATES TO        )
5      ALL DOWNSTREAM CASES            )
6
7                  --------------------------------------
                              ORAL DEPOSITION OF
8
                                  DANA CUTTS
9
                                 JUNE 27, 2018
10               --------------------------------------
11
12                 ORAL DEPOSITION OF DANA CUTTS, produced as a
13     witness at the instance of the United States, and duly
14     sworn, was taken in the above-styled and numbered cause
15     on the 27th day of June, 2018, from 9:07 a.m. to
16     2:55 p.m., before Morgan Veletzuy, CSR in and for the
17     State of Texas, recorded by machine shorthand, at the
18     offices of McGehee, Chang, Landgraf, 10370 Richmond
19     Avenue, Suite 1300, Houston, Texas 77042, pursuant to
20     the Federal Rules of Civil Procedure and the provisions
21     stated on the record or attached hereto; that the
22     deposition shall be read and signed before any notary
23     public.
24
25

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      Case 1:17-cv-09002-LAS   Document 266-2    Filed 01/10/23   Page 251 of 1584
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                                                                   Page 92

 1            Q.   And that by the 29th, portions of the back lawn

 2      and front lawn had water.

 3            A.   Yes.

 4            Q.   At that point, were the streets full of water?

 5            A.   Yes.

 6            Q.   Okay.   And then the water was coming from the

 7      street into your front lawn?

 8            A.   Yes.

 9            Q.   Okay.   And then water in the back lawn, where

10      was that coming from?

11            A.   It had just creeped to the fence line and a

12      little bit under our fence, and that was as far as it

13      had gotten.

14            Q.   And was that water coming from the ditch behind

15      your home?

16            A.   Yes, it was.     Well, I believe -- yeah, I

17      believe it was.

18            Q.   Okay.   At what date -- what date did you

1
199     evacuate your home?

20            A.   We evacuated on Wednesday, August the 30th.

21            Q.   Okay.   And what time did you leave?

22            A.   About 7:30 in the morning, a.m.

2
233           Q.   And how did you leave?

2
244           A.   By kayak.

25            Q.   And where did you go?

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                                                                     Page 93

 1              A.     We went to an enormous monster SUV parked in my

 2      neighbor's driveway.         And we sat in the back cab of that

 3      SUV hunched over for over two hours while 14 other

 4      people were collected to be rescued.             And then we were

 5      driven to our destinations, whatever they might be.

 6              Q.     And where was your ultimate destination?

 7              A.     It was across the Sam Houston Tollway over in

 8      Briar Grove Park.        We had friends that had invited us to

 9      come.        We were also the last ones dropped off.          So we

1
100     had probably almost a four hour hunch-over sitting in

11      the back of that cab.

12              Q.     Between August 29th and when you left your home

13      on August 30th, can you describe the timeline of how the

14      water rose?

15              A.     Well, the water rose through the 28th, Monday

16      the 28th.        The storm ended; the water receded.          We put

17      our things back down because we were not going to flood.

18      It was very evident.         The sun came out and we all came

19      out and we were congratulating ourselves that we had

20      made it through the storm and we had not flooded.                   We

21      started putting our things back down.

22                          At some point -- and I'm not sure if it was

23      Monday late or Tuesday, I think it was Monday -- the

24      waters -- Tuesday, the water started coming up.                We

25      stood out and we were aghast, all of us.               We could not

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 253 of 1584
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                                                                Page 1

1        IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
         IN RE DOWNSTREAM                        : Sub-Master Docket
3        ADDICKS AND BARKER                      : No. 17-cv-9002L
         (TEXAS) FLOOD-CONTROL                   :
4        RESERVOIRS                              :
                                                 : Judge Susan G.
5                                                : Braden
         THIS DOCUMENT RELATES                   :
6        TO:                                     :
                                                 :
7        ALL TEST PROPERTIES                     :
8                                    *       *       *
9                   MONDAY, SEPTEMBER 17, 2018
10                                   *       *       *
11
12               Oral deposition of ARNSTEIN GODEJORD
13     taken at the law offices of Neel, Hooper &
14     Banes, P.C. 1800 West Loop South, Suite 1750,
15     Houston, Texas, commencing at 9:07 a.m.
16     before Debbie Leonard, Registered Diplomate
17     Reporter, Certified Realtime Reporter.
18
19
20
21
22
23                               *       *       *
24
25

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23    Page 254 of 1584
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                                                                 Page 24

1      during Hurricane Harvey?

2                A.           At the risk of flooding, I

3      think I learned when my son called us and say

4      that they are releasing the water.                      He had

5      heard that on the news, and he said that he

6      might have to evacuate the house.

7                Q.           And where were you and your

8      wife at this time?

9                A.           In Canada.

10               Q.           So was there anyone at your

11     house other than your son?

12               A.           Yes, there was one -- one

13     person visiting us at that point.                   So there

14     were two.

15               Q.           And how old was your son?

16               A.           Well, he's 26 now, so he was 25

17     at that time.

18               Q.           So what did you do when you

19
19     learned that your house may need to be

20     evacuated, since you were in Canada?

21               A.           Preparing to -- to go back to

22
22     Houston.

23               Q.           Did you ask your son to do any

24     preparations at the house to prepare for a

25     potential evacuation?

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 255 of 1584
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                                                                Page 25

1                A.           I would say that he was taken

2      by surprise, because we were sort of thinking

3      we were in the clear.             And then when he woke

4      up in the morning, it was water in the house.

5                Q.           So he was there when the water

6      came in the house?

7                A.           I think -- to be honest with

8      you, I'm not sure if he decided to evacuate

9      the day before or when there was water.                      But

10     he felt that he had to run, not -- didn't

11     have time to do anything.               And I believe

12     that -- well, I don't know if you want me to

13     explain that more or --

14                            THE WITNESS:      Should I?

15                            MR. BANES:      Let her ask you.

16                            THE WITNESS:      Yeah.

17     BY MS. HELD:

18               Q.           So -- so let's -- we'll

19     backtrack.

20               A.           Yeah.

21               Q.           So you were in Canada with your

22     wife --

23               A.           Yes.

24               Q.           -- and you heard from your

25     son --

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 256 of 1584
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                                                                   Page 1

1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2         IN RE UPSTREAM ADDICKS       §

          AND BARKER (TEXAS)           §

3         FLOOD-CONTROL RESERVOIRS     § SUB-MASTER DOCKET

4

                                       § NO. 17-cv-9002L

5         _________________________ §

                                       § Chief Judge Susan G. Braden

6         THIS DOCUMENT RELATES TO: §

7         ALL DOWNSTREAM CASES         §

8         __________________________§

9                               ORAL DEPOSITION

10                             MR. JEREMY E. GOOD

11                               July 19, 2018

12

13             ORAL DEPOSITION OF MR. JEREMY E. GOOD, produced

14        as a witness at the instance of the United States and

15        duly sworn, was taken in the above-styled and

16        numbered cause on the 19th day of July, 2018, from

17             a.m. to 12:23 p.m., before Michelle Hartman,            9:00

18        Certified Shorthand Reporter in and for the State of

19        Texas and Registered Professional Reporter, reported

20        by computerized stenotype machine at the offices of

21        Raizner Slania, LLP, 2402 Dunlavy Street, Houston,

22        Texas 77006, pursuant to the Federal Rules of Civil

23        Procedure and the provisions stated on the record or

24

25        attached hereto.

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 257 of 1584
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                                                               Page 43

1                  A.     Sure.

2                  Q.     -- when the water was no longer -- was

3     no longer -- the flood level was no longer at that

4     level?

5                  A.     I can't speculate when the water was

6     out.     The only thing I know is when the -- the

7     authorities there, I believe it was the police, said

8     that we were able to go in and access that area.

9                  Q.     And do you have any understanding as

10    you sit here today as to when the flood waters

11    receded from the common property of Memorial Mews?

12                 A.     Again, I would -- I would say I can't

13    speculate the exact dates.            I just know when the

14    roads were passible.

15                 Q.     And I will just ask the last one too:

16    You don't know -- as you sit here today, know when

17    the banks of the creek were no longer overflowing?

18                 A.     I do not.

19                 Q.     Were the tenants required to leave the

20    property?
      property?

21                 A.     I'm not sure if the evacuation

22
22    happened.     A mandatory evacuation was in place in

23    that area.        So I can't speak definitively on that,

24
24    but my understanding with the waters rising and the

25    boats that were coming for rescues, I would surmise

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 258 of 1584
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                                                                Page 44

1     that they
           they were.
                were.

2                  Q.     Do you know whether they, in fact, left

3         properties?
      the properties?

4                  A.     They all left the property.

5                  Q.     Okay.   Do you know when they left the

6     property?
      property?

7                  A.     I do not know the exact dates other

8     than I can look at the text message here.                It looks

9     like -- it doesn't indicate on this particular text

10    stream that I'm looking at.            I do have one that I

11    recall with Elizabeth, who was in Unit D, that she

12            Tuesday, August
      left on Tuesday, August the 29th, and I believe she

13    also was evacuated on a raft.

14                 Q.     Okay.   So Unit D you believe left on

15    the 29th?

16                 A.     Correct.

17                 Q.     Unit C may be reflected in Exhibit 6,

18    if it's -- if you do know what date, it would be

19    because it's in this document?

20                 A.     It does not appear to be in this

21    document.     It might be in an e-mail with -- with

22    them, but I do not see any indication on when they

23    left here.        I know that they were in the unit on

24    Monday, August 28th.

25                 Q.     Okay.   Well, then let me just ask:

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 259 of 1584
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                                                                Page 1

 1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2    IN RE UPSTREAM ADDICKS           )

      AND BARKER (TEXAS)               )

 3    FLOOD-CONTROL RESERVOIRS         )   Sub-Master Docket No

 4    ________________________         )   17-cv-9002L

 5    THIS DOCUMENT RELATES TO         )

 6    ALL DOWNSTREAM CASES             )

 7                --------------------------------------

 8                            ORAL DEPOSITION OF

 9                               WAYNE HOLLIS

10                               JULY 19, 2018

11               --------------------------------------

12                ORAL DEPOSITION OF WAYNE HOLLIS, produced as a

13    witness at the instance of the United States, and duly

14    sworn, was taken in the above-styled and numbered cause

15    on the 19th day of July, 2018, from 8:59 a.m. to

16    12:13 p.m., before Morgan Veletzuy, CSR in and for the

17    State of Texas, recorded by machine shorthand, at Clark,

18    Love & Hutson, G.P., 440 Louisiana Street, Suite 1600,

19    Houston, Texas 77002, pursuant to the Federal Rules of

20    Civil Procedure and the provisions stated on the record

21    or attached hereto; that the deposition shall be read

22    and signed before any notary public.

23

24

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     Case 1:17-cv-09002-LAS                          Document 266-2                    Filed 01/10/23               Page 260 of 1584
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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 261 of 1584
                                  $UQROG0LOWRQ                   -XO\

                                                                Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2     IN RE UPSTREAM ADDICKS          )
      AND BARKER (TEXAS)              )
3     FLOOD-CONTROL RESERVOIRS        )   Sub-Master Docket No
4     ________________________        )   17-cv-9002L
5     THIS DOCUMENT RELATES TO        )
6     ALL DOWNSTREAM CASES            )
7                --------------------------------------
                              ORAL DEPOSITION OF
8
                                 ARNOLD MILTON
9
                                 JULY 10, 2018
10              --------------------------------------
11
12               ORAL DEPOSITION OF ARNOLD MILTON, produced as
13    a witness at the instance of the United States, and duly
14    sworn, was taken in the above-styled and numbered cause
15    on the 10th day of July, 2018, from 9:02 a.m. to
16    2:48 p.m., before Morgan Veletzuy, CSR in and for the
17    State of Texas, recorded by machine shorthand, at
18    Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19    Suite 4000, Houston, Texas 77056, pursuant to the
20    Federal Rules of Civil Procedure and the provisions
21    stated on the record or attached hereto; that the
22    deposition shall be read and signed before any notary
23    public.
24
25

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      Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23     Page 262 of 1584
                                   $UQROG0LOWRQ                     -XO\

                                                                  Page 90

 1           Q.    When you woke up on the morning of the 28th,

 2     did you still have power?

 3           A.    Again, I'm not sure.      I -- I just don't

 4     remember.     I don't know why we would have needed power

 5     that morning.      It was just a matter of collecting a few

 6     things that you can grab and getting in the boat and

 7     going.

 8           Q.    Do both you and your wife have cell phones?

 9           A.    Yes.

10           Q.    Did you both have cell phones during Harvey?

11           A.    Yes.

12           Q.    Did you have your cell phones when you woke up

13     on the morning of the 28th?

14           A.    I'm pretty sure we did.

15           Q.    How long between when you woke up on the

1
166    morning of the 28th until you were evacuated?

17           A.    My son-in-law came and picked us up probably

1
188    about, I don't know, if I had to guess maybe 10:30,

1
199    11:00 o'clock.      Maybe as late as 2:00 o'clock but

2
200    somewhere towards midday.

21           Q.    When you say your son-in-law picked you up,

22                  pick you
       where did he pick you up?
                             up?

2
233          A.    He picked us up on Memorial Drive.          He was able

24     to get through.      Memorial Drive was flooded and I -- I

25     think he had to come in kind of a special way, but h
                                                          hee

                           ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
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                                                                                     A713
      Case 1:17-cv-09002-LAS       Document 266-2 Filed 01/10/23    Page 263 of 1584
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                                                                     Page 91

 1     has a big
             big SUV and he got
                            got us out of there before it got
                                                          got

 2     any deeper.

 3              Q.    How did you get from your home to the spot

 4     where your son-in-law picked you up around midday on the

 5     2 8th?
       28th?

 6              A.    He drove us.

 7              Q.    I'm sorry.     I think I'm a little confused.         Did

 8     you and your wife walk from your home to the spot o
                                                         onn

 9                                                     up?
       Memorial Drive where your son-in-law picked you up?

1
100             A.    No, we were taken out on a small boat.          And it

11     was just a little inflatable thing that -- two or thre
                                                         threee

1
122    guys came by and offered to take us out.                And it was

1
133    raining and it was fairly cool.            And I -- at the time I

14     thought, you know, I can just wade out of here.                I don't

1
155    care if the water is waist deep or deeper, but I didn'
                                                        didn'tt

1
166    want her to have to
                        to..

17                         So we got in the boat and I got in there

1
188    with her and these guys walked us out.             And the closer

1
199    y ou got
       you  got to the entrance of the subdivision the shallower
                                                       shallower

2
200    the water was.        When you finally got to Memorial, right

21     there in front of our subdivision it was still above

22     water.        If you went east the water was starting to come

2
233    across Memorial down where the ba you comes out of the
                                      bayou               the

24     Addicks Reservoir
               Reservoir..

25              Q.    Did -- did you -- do you recall the route that

                             ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                      
                                                                                        A714
     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 264 of 1584
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                                                                 Page 1

1              THE UNITED STATES COURT OF FEDERAL CLAIMS

        IN RE: DOWNSTREAM ADDICKS       )

2       AND BARKER (TEXAS)              )

3       FLOOD-CONTROL RESERVOIRS        )

4                                       ) SUB-MASTER DOCKET NO.

5                                       ) 17-CV-90021

6                                       )

7     ********************************************************

8                             ORAL DEPOSITION OF

9                               JENNIFER SHIPOS

10                            September 19, 2018

                                   Volume 1

11    ********************************************************

12          ORAL AND VIDEOTAPED DEPOSITION OF JENNIFER SHIPOS,

13    produced as a witness at the instance of the DEFENDANT,

14    was taken in the above-styled and numbered cause on

15    September 19, 2018 from 3:02 p.m. to 5:05 p.m., before

16    Toyloria Lanay Hunter, CSR in and for the State of

17    Texas, reported by machine shorthand, at the law offices

18    of NEEL, HOOPER & BANES, P.C., 1800 West Loop South,

19    Suite 1750, Houston, Texas 77027, pursuant to the

20    Federal Rules of Civil Procedure and the provisions

21    stated on the record or attached hereto.

22

23

24

25

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                                  
                                                                                   A715
     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 265 of 1584
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                                                                Page 80

1           Q.    And then so you heard that they were going to

2     release the dams.       And then you evacuated the house; is

3     that ri ght?
           right?

4           A.    Yes.

5           Q.    That morning at about 10:00?

6           A.    That morning on the 28th at 10:00, yes.

7           Q.    28th.

8                         Now, let's take a look at Exhibit 1 for a

9     second.    Keep your hand in Exhibit 11.

10          A.    Okay.

11          Q.    Now, I think -- you know, government's counsel

12    established pretty well that you're pretty close to the

13    dam, to the dam -- at least to the spillways?

14          A.    Yes.

15          Q.    Looks like you're almost at the convergence of

16    the two spillways?

17                        MR. DOOHER:    Object to the form.

18                        MR. BANES:    Sorry?

19                        MR. DOOHER:    Object to the form.

20    BY MR. BANES:

21          Q.    Was there -- did you know of any other water

22    coming other than from the dam on the 29th?

23          A.    No.

24          Q.    All right.     Was -- was water flowing from

25    anywhere else other than the dam; to your knowledge?

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     Case 1:17-cv-09002-LAS   Document 266-2    Filed 01/10/23   Page 266 of 1584
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                                                                   Page 1

 1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 2    IN RE UPSTREAM ADDICKS
 3     AND BARKER (TEXAS)
 4    FLOOD-CONTROL RESERVOIRS          Sub-Master Docket No.
                                        17-cv-9001L
 5    _________________________
 6                                      Judge Charles F. Lettow
 7    THIS DOCUMENT RELATES TO:
 8    ALL UPSTREAM CASES
 9
10                   ORAL DEPOSITION OF VAL ALDRED
11                            AUGUST 1, 2018
12
13
14              ORAL DEPOSITION OF VAL ALDRED, produced as a
15    witness at the instance of the Defendant and duly
16    sworn, was taken in the above styled and numbered
17    cause on Wednesday, August 1, 2018, from 8:58 a.m.
18    to 3:31 p.m., before Rene White Moarefi, CSR, CRR,
19    RPR in and for the State of Texas, reported by
20    computerized stenotype machine, at the offices of
21    Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,
22    Houston, Texas, pursuant to the Federal Rules of
23    Civil Procedure and any provisions stated on the
24    record herein.
25

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     Case 1:17-cv-09002-LAS                        Document 266-2                      Filed 01/10/23              Page 267 of 1584
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                                                                         KRPHRQWKHVW"
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 ZHSDUNHGDVIDUDVZHFRXOG\RXNQRZDVFORVH                  GDXJKWHU,ZDVOLYLQJZLWKDFFRPSDQLHGPHRQWKH
 DVZHFRXOGDQGWKHQZDONHGDURXQGWKHWKHFRUQHU                VHFRQGWULS,MXVWWKHUHZHUHSHRSOHFRPLQJDQG
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·3· · · ·IN THE UNITED STATES COURT OF FEDERAL CLAIMS

·4
· · IN RE DOWNSTREAM ADDICKS· · *
·5· AND BARKER (TEXAS)· · · · · * SUB-MASTER DOCKET
· · FLOOD-CONTROL RESERVOIRS· · * NO. 17-cv-9002L
·6· · · · · · · · · · · · · · · *
· · ___________________________ *
·7· · · · · · · · · · · · · · · *
· · THIS DOCUMENT RELATES TO:· ·*
·8· · · · · · · · · · · · · · · *
· · ALL TEST PROPERTIES· · · · ·*
·9

10

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12
· · · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
13

14

15

16

17· Date· · · · · · · · · ·Edith A. Boggs, CSR

18

19· 9-18-18· · · · · · · · HOUSTON, TEXAS

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                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.com


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        Case 1:17-cv-09002-LAS Document 266-2   Filed 01/10/23 Page 269 of 1584
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·8· · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
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11· · · ·DEPOSITION AND ANSWERS of JANA CANAN BEYOGLU, taken
12· before Edith A. Boggs, a certified shorthand reporter in
13· Harris County for the State of Texas, taken at the law
14· offices of Neel, Hooper & Banes, PC, 1800 West Loop
15· South, Suite 1750, Houston, Texas, on the 18th day of
16· September, 2018, between the hours of 1:49 p.m. and 5:06
17· p.m.
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      Case 1:17-cv-09002-LAS Document 266-2   Filed 01/10/23     Page 270 of 1584
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·1· 17th.
·2· · · ·Q.· The 16th or the 17th?
·3· · · ·A.· Either one of those days.· I can find it if I
·4· go into the -- my miles card when I returned.· I can
·5· kind exact date later if you need it.· Yeah.
·6· · · ·Q.· And so, you talked about being in communication
·7· with your friend while you were in Turkey?
·8· · · ·A.· Uh-huh.
·9· · · ·Q.· How did you communicate with her?
10· · · ·A.· WhatsApp.
11· · · ·Q.· WhatsApp?
12· · · ·A.· (Witness indicated by nodding her head
13· affirmatively.)
14· · · ·Q.· Okay.· Do you still have those records?
15· · · ·A.· I do.
         Q.· So, what were you communicating about while you
16· · · ·Q.·
17· were in Turkey?
18· · · ·A.· If the water is still in the house or not.· And
19· actually, I believe she took several pictures around
20· this time that water was still in the house somewhere
21· around here, that high, and then it start going down
22· later after 5th or 6th.
23· · · ·Q.· After the 5th or 6th?
24· · · ·A.· Uh-huh.
25· · · ·Q.· And is this the friend that lived --


                                                          800.211.DEPO (3376)
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     Case 1:17-cv-09002-LAS   Document 266-2    Filed 01/10/23   Page 271 of 1584
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                                                                   Page 1

1            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2      IN RE UPSTREAM ADDICKS          )
       AND BARKER (TEXAS)              )
3      FLOOD-CONTROL RESERVOIRS        )
                                       )   Sub-Master Docket No
4      ________________________        )   17-cv-9002L
       THIS DOCUMENT RELATES TO        )
5      ALL DOWNSTREAM CASES            )
6
7                  --------------------------------------
                              ORAL DEPOSITION OF
8
                                  DANA CUTTS
9
                                 JUNE 27, 2018
10               --------------------------------------
11
12                 ORAL DEPOSITION OF DANA CUTTS, produced as a
13     witness at the instance of the United States, and duly
14     sworn, was taken in the above-styled and numbered cause
15     on the 27th day of June, 2018, from 9:07 a.m. to
16     2:55 p.m., before Morgan Veletzuy, CSR in and for the
17     State of Texas, recorded by machine shorthand, at the
18     offices of McGehee, Chang, Landgraf, 10370 Richmond
19     Avenue, Suite 1300, Houston, Texas 77042, pursuant to
20     the Federal Rules of Civil Procedure and the provisions
21     stated on the record or attached hereto; that the
22     deposition shall be read and signed before any notary
23     public.
24
25

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                                                                                     A722
      Case 1:17-cv-09002-LAS      Document 266-2    Filed 01/10/23   Page 272 of 1584
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                                                                     Page 100

 1              A.   I have no knowledge of that.

 2              Q.   Do you have any photographs of what occurred on

 3      your property during the time when you were away?

 4              A.   No.

 5              Q.   Okay.     And what date did you return to your

 6      home?

 7              A.   Well, whatever eight days later.           It says in

 8      the -- do you have it?

 9              Q.   I think right underneath the map right in front

1
100     of you, I think that that's Exhibit 14.

1
111             A.   Thursday, September 7th.

12              Q.   Okay.     Okay.   Describe the process of coming

13      back to your home.

14              A.   Parking a half a mile away.          Sloshing through

15      all of our neighbors' yards up close to their houses

16      because there was standing water in the yards as well.

17      You could not walk on the sidewalk or the street.                  Their

18      lawns got pretty wrecked by all of the people.                 There

19      were emergency vehicles everywhere.              People were still

20      being rescued from the back.

21                           When we walked into our house, there was

22      still standing water in the floors that we mopped up.

23      That's -- that's it pretty much, yeah.

24              Q.   Okay.

25              A.   On that one day, that particular day.

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                                                                                         A723
     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 273 of 1584
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                                                                   Page 1

1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2         IN RE UPSTREAM ADDICKS       §

          AND BARKER (TEXAS)           §

3         FLOOD-CONTROL RESERVOIRS     § SUB-MASTER DOCKET

4

                                       § NO. 17-cv-9002L

5         _________________________ §

                                       § Chief Judge Susan G. Braden

6         THIS DOCUMENT RELATES TO: §

7         ALL DOWNSTREAM CASES         §

8         __________________________§

9                               ORAL DEPOSITION

10                             MR. JEREMY E. GOOD

11                               July 19, 2018

12

13             ORAL DEPOSITION OF MR. JEREMY E. GOOD, produced

14        as a witness at the instance of the United States and

15        duly sworn, was taken in the above-styled and

16        numbered cause on the 19th day of July, 2018, from

17             a.m. to 12:23 p.m., before Michelle Hartman,            9:00

18        Certified Shorthand Reporter in and for the State of

19        Texas and Registered Professional Reporter, reported

20        by computerized stenotype machine at the offices of

21        Raizner Slania, LLP, 2402 Dunlavy Street, Houston,

22        Texas 77006, pursuant to the Federal Rules of Civil

23        Procedure and the provisions stated on the record or

24

25        attached hereto.

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23     Page 274 of 1584
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                                                                  Page 41

1                  Q.     Okay.   Let me jump ahead just a little

2     bit.   When was the first time that you were able to

3     get to the
      get    the property?

4                  A.     September the 10th.

5                  Q.     And why were you -- why did it take so

6     long for you to get to the
      long                   the property?

7                  A.     That's when it was first accessible.

8                          finally dissipated
      The flood waters had finally dissipated at that point
                                                      point

9     and we were finally able to access it.                  And I

10    actually had to park my car a mile away and walk in.

11    They weren't allowing cars at that point.

12                         And if you see,too, I believe on one

13    of these things, (indicates) it indicates that I was

14
14    trying to get up there.           Let me see here.

15                         For example, on page -- this is my

16
16    page nine.        On Thursday, August 31st, I had told

17                                           afternoon.
      them, "I'm attempting to go again this afternoon.

18
18                                                 the
      Another contractor I use tried to get in but the

19
19    roads seem bad.         Keep you posted."

20                         So I was trying almost on a daily

21    basis to get up there.          Again, I would look at the

22
22    maps and say, well, I know this is closed, they are

23    probably just letting locals through.                  Again, I had

24
24                                         happening
      no idea the extent of what was truly happening.

25                 Q.     And let me just confirm:            This text

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                                                                                     A725
     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 275 of 1584
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                                                              Page 42

1     string
      string -- and this document contains a text string.
                                                  string.

2     It is a single text string between the three people

3                   identified?
      that you have identified?

4                  A.    Correct.

5                  Q.    Okay.   When you go there on

6     September 10th, could you describe for me what you

7                         level.
      saw as far as water level.

8                  A.    I arrived on the property on the

9                                                say
      evening of Sunday, September 10th, I would say

10    approximately 8:00 o'clock.           It was after a function

11    I had just played for.         I had to very carefully walk

12    through the mud at that point.            It was -- it was hard

13                  surfaces.
      to find solid surfaces.

14
14                        The water at that point had dissipated

15    to puddles.       So I believe I was able to at least get

16
16    to the outside of the building that evening, but

17    there were still again standing water in some places

18
18    and complete mud and impassable sections in others.

19                 Q.    But there was no longer a constant

20                                          units?
      inundation between the stream and the units?

21                 A.           correct
                         That's correct.

22                 Q.    What is your understanding as to when

23    flood waters were no longer present in the unit

24    itself?    And I don't mean by the time the building

25    dried out, I mean Monday --

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 276 of 1584
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                                                                Page 1

 1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2    IN RE UPSTREAM ADDICKS           )

      AND BARKER (TEXAS)               )

 3    FLOOD-CONTROL RESERVOIRS         )   Sub-Master Docket No

 4    ________________________         )   17-cv-9002L

 5    THIS DOCUMENT RELATES TO         )

 6    ALL DOWNSTREAM CASES             )

 7                --------------------------------------

 8                            ORAL DEPOSITION OF

 9                               WAYNE HOLLIS

10                               JULY 19, 2018

11               --------------------------------------

12                ORAL DEPOSITION OF WAYNE HOLLIS, produced as a

13    witness at the instance of the United States, and duly

14    sworn, was taken in the above-styled and numbered cause

15    on the 19th day of July, 2018, from 8:59 a.m. to

16    12:13 p.m., before Morgan Veletzuy, CSR in and for the

17    State of Texas, recorded by machine shorthand, at Clark,

18    Love & Hutson, G.P., 440 Louisiana Street, Suite 1600,

19    Houston, Texas 77002, pursuant to the Federal Rules of

20    Civil Procedure and the provisions stated on the record

21    or attached hereto; that the deposition shall be read

22    and signed before any notary public.

23

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     Case 1:17-cv-09002-LAS                          Document 266-2                    Filed 01/10/23              Page 277 of 1584
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  :KDWZHUH\RXORRNLQJDWWRNLQGRIJDXJHWKHOHYHO"                  $<HV7KHUHZDVVOXGJHDQGZDWHUUHWDLQHGLQ
                                                                              $<HV7KHUHZDVVOXGJHDQGZDWHUUHWDLQHGLQ
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  \RX UHDEOHWRJHWLQWR\RXUKRXVHDJDLQRQWKHWK"                 WKDWWLPH\RXNQRZZKDW V\RXUHVWLPDWHRIDVWR
  $<HV                                                         KRZKLJKWKHZDWHUJRWLQ\RXUKRPHZKLOH\RXZHUHDZD\"
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 \RXUZDLVWDWWKDWSRLQW                                            4$QGVRWKHWKHZDWHULWVHOIVWD\HGRQWKH
 $<HV                                                        ILUVWIORRU<RXGLGQ WJHWDQ\ZDWHURQWKHVHFRQG
 46RDERXWKRZPXFKKLJKHUZDVLWLQWKHKRXVH"               IORRUDVLGHIURPZDWHUWKDWZDVEURXJKWXSZKHQ\RX
 $,WUHDFKHGDWRWDORIDERXWWRLQFKHV                PRYHG"
 4:DVLWZDVLWWKDWKLJKRQWKHWK"                     $&RUUHFW
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 UHFRUGRILWDQG\RXFDQVHH                                       WKHXSSHUOHYHOVRI\RXUKRPHWKURXJKZLQGRZVRUWKH
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 UHDFKHGLQ\RXUKRXVHDVIDUDV\RXNQRZ"                           4$QGGLG\RXDFWXDOO\VWDUWNLQGRIVDOYDJH
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 QHYHUZHQWEDFNXQWLO                                             WKLQJV"
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      LPH\RXZHUHDEOHWRUHWXUQ"                                      4$QGDERXWKRZORQJKRZPDQ\ZDVWKDWD
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     Case 1:17-cv-09002-LAS                          Document 266-2                     Filed 01/10/23              Page 278 of 1584
                                                        :D\QH+ROOLV                                                   -XO\
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  ZHUHWKHUHRQWKHWK"                                                 DSSOLFDWLRQZDVWKDWVRPHWKLQJ\RXGLGRUGLG\RXUZLIH
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  4$QG\RXUHSRUWHGWR0V:ULJKWWKDW\RXUZLIH V                $<HV
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 IORRGHGDWWKHWLPHDOVR:HFRXOGQ WJHWDQ\WKLQJ                   $<HV
 RXW                                                                   4$QGGLG\RXPHHWZLWKWKHDGMXVWHU"
 46RKRZPDQ\YHKLFOHVGLG\RXKDYHLQWKH                      $<HV
 GULYHZD\"                                                              4:DVLWDPDQRUDZRPDQGR\RXUHFDOO"
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 4<RX UHKLJKHU2ND\                                         $<HV
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 XQWLOVKHILQLVKHV"                                                    LQVSHFWLRQZDV"
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       4 %<067$5',)) $OOULJKW0U+ROOLV, YH                 ZDONGLG\RXDFFRPSDQ\WKHPWKHQRQWKHLQVSHFWLRQ
  JJLYHQ\RXZKDWZH YHPDUNHGDV+ROOLV'HSRVLWLRQ
     LYHQ\RXZKDWZH YHPDUNHGDV+ROOLV'HSRVLWLRQ                       WKDWGD\"
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  SULQWRXWRIDQHPDLOIURP\RXDJDLQWR/LOOD:ULJK
   SULQWRXWRIDQHPDLOIURP\RXDJDLQWR/LOOD:ULJKWW                 ZHUHFOHDQLQJPHRXWDQGWKH\FRQWLQXHGWRGRZKDWWKH\
  DW$OOVWDWH0RQGD\6HSWHPEHUWKDWSP
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  4$QGLWVRXQGVOLNH\RXKDGUHJXODU
       4$QGLWVRXQGVOLNH\RXKDGUHJXODU                             GRFXPHQWLQJ"
   RPPXQLFDWLRQVZLWK0V:ULJKWGXULQJWKLVZKROHRUGHDO  $7KH\ZHUHORRNLQJDWLW
   FFRPPXQLFDWLRQVZLWK0V:ULJKWGXULQJWKLVZKROHRUGHDO
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         4$QGDWWKLVSRLQW\RX UHUHSRUWLQJWRKHUWKDW              067$5',)),DFWXDOO\GRQ WKDYHDQ
 \RXUKRPHVWLOOKDVLQFKHVRIZDWHULQLW""
   \RXUKRPHVWLOOKDVLQFKHVRIZDWHULQLW                          H[WUDFRS\RIWKLVRQH,DSRORJL]H
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         4%XW\RXKDGQRWEHHQEDFNVLQFH6DWXUGD\                   'HSRVLWLRQ([KLELWWKH%DWHVLV+ROOLV
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 LQFKHVRIZDWHULQLWDVRI0RQGD\
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 ZHQWEDFNLQWKHUHDQGWROGXV
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 KRXVHGLG\RXRU\RXUZLIHDSSO\WR)(0$IRU+XUULFDQH                $,W VRXUIORRGLQVXUDQFHSROLF\
 +DUYH\UHODWHGUHOLHI"                                                 42ND\
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 WKHUHFRUGRXUREMHFWLRQWRUHOHYDQFHIRUHYHU\WKLQJ                   43URRIRIORVV

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                                  $UQROG0LOWRQ                   -XO\

                                                                Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2     IN RE UPSTREAM ADDICKS          )
      AND BARKER (TEXAS)              )
3     FLOOD-CONTROL RESERVOIRS        )   Sub-Master Docket No
4     ________________________        )   17-cv-9002L
5     THIS DOCUMENT RELATES TO        )
6     ALL DOWNSTREAM CASES            )
7                --------------------------------------
                              ORAL DEPOSITION OF
8
                                 ARNOLD MILTON
9
                                 JULY 10, 2018
10              --------------------------------------
11
12               ORAL DEPOSITION OF ARNOLD MILTON, produced as
13    a witness at the instance of the United States, and duly
14    sworn, was taken in the above-styled and numbered cause
15    on the 10th day of July, 2018, from 9:02 a.m. to
16    2:48 p.m., before Morgan Veletzuy, CSR in and for the
17    State of Texas, recorded by machine shorthand, at
18    Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19    Suite 4000, Houston, Texas 77056, pursuant to the
20    Federal Rules of Civil Procedure and the provisions
21    stated on the record or attached hereto; that the
22    deposition shall be read and signed before any notary
23    public.
24
25

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                                                                 Page 94

 1                      When was the first time you returned to

 2     your 850 Silvergate home?

 3           A.    The following Saturday.      My son-in-law and I

 4     went back in a boat with a pretty big outboard.            And

 5     like I say, when I turned into the front yard I fell off

 6     the boat.     And then he and I went into the house and the

 7     water was up to here on me.       And obviously it had been

 8     higher based upon some of the stains on the wall.            And

 9     we wandered around the house and picked up whatever an
                                                           andd

1
100    put it in plastic bags.      I got my favorite boots, they

1
111    were floating solo up.      And I use those to work in the

1
122    yard now.

1
133                     But we took pictures.      The refrigerator was

14     floating in the kitchen.       The piano and a few other

15     pieces of furniture were under water in the living room.

16     And ever ything we put
           everything     put on tables was soaked,
                                            soaked,

17     unfortunately.     We had stacked a lot of rugs and stuff

1
188    up there.     And we had to have all -- all of that

1
199    cleaned.     Stuff we could save, which was a couple of

20     pretty good-sized rugs, we had those cleaned.            But we

21     sta yed probably
       stayed  probably about 40 minutes and left.

22           Q.    During that previous answer you said water was

2
233    about up to here and you pointed to your chest.            Can you

2
244    estimate about how high that was?

25           A.    However tall this is, I don't know.         Whatever

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                                       $UQROG0LOWRQ                   -XO\

                                                                    Page 97

 1     what
       wh at did
             did the
                 the water
                     water in the
                              the home
                                  home look
                                       look like?
                                            like?

 2             A.     It was brownish, dirty looking.

 3             Q.     And how did it smell?

 4             A.     Bad.    Smelled -- had a sewage tint to it.

 5             Q.     At that point was there any mold in your home?

 6             A.     You know, I don't remember the mold until we

 7     g ot in there and started reall
       got                       reallyy stripping
                                         stripping the walls

 8     down.        But I wasn't paying much attention to mold at

 9     that time.

1
100            Q.     What was the condition of the property upstairs

11     in your home on September 2nd?

12             A.     Well, it was very humid.        And the walls kind of

1
133    had lost their brightness.            The carpet was kind of

14     grungy looking.          But there wasn't much change other than

1
155    that.        And without something to compare it to, it was

1
166    just a mental picture I had
                               had..

17             Q.     Okay.    After you left the house on the 2nd,

1
188    where did you go
                     go??

1
199            A.     Well, we got in the boat.        They came back and

2
200    picked us up and we went back to our son-in-law's hous
                                                         housee

21     and took what we had collected.

22             Q.     When was the next time you returned to the

2
233    850 Silver gate home after September
           Silvergate             September 2nd?

24             A.     I'm pretty sure it was September the 10th.          We

25     thought about going back on the 9th but we were --

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                                                                                       A732
      Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23       Page 282 of 1584
                                     $UQROG0LOWRQ                       -XO\

                                                                      Page 98

 1                                                  already
       because we were low on our block, there were alread y

 2     people going into their homes on the 9th.                 But rather

 3               go back and try
       than just go          try to risk having
                                         having the water down
                                                          down

 4     enough to work, we went back on the 10th.

 5           Q.    And when you went back on the 10th, who was

 6     with you?

 7           A.    My son-in-law.      And I don't remember exactly

 8     when his fraternity brothers and the crew came, but I

 9     think it was mostly the next day.            And the first thing

1
100    we had to do was pump out the living room
                                            room.                 We had a

11     sunken living room, there's water still in it.                 So we

1
122    got one of these floor pumps and pumped that out.                 And I

1
133    believe there was power on when that happened.

14                      And like I say, when they showed up they

15     were ready to go to work.          They had already completely

16     stripped a couple of other homes for other friends, so

17     they knew exactly what they were doing.                 And they didn't

18     waste any time.       And most of the time I was -- had a big

19     shovel, I was scooping up whatever they had stripped and

20     putting it in a wheelbarrow and wheeling it out front

21     and dumping it on the pile; that was basically my job.

22     Which was kind of a blessing because I didn't have to

23     see what they were doing to the house or my stuff.                    But

24     basically they just took it down.

25           Q.    When --

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                                                                                         A733
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                                                                Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2     IN RE UPSTREAM ADDICKS             )
      AND BARKER (TEXAS)                 )
3     FLOOD-CONTROL RESERVOIRS           )   Sub-Master Docket No
4     ________________________           )   17-cv-9002L
5     THIS DOCUMENT RELATES TO           )
6     ALL DOWNSTREAM CASES               )
7                 --------------------------------------
8                             ORAL DEPOSITION OF
9                                VIRGINIA MILTON
10                                JULY 10, 2018
11               --------------------------------------
12                ORAL DEPOSITION OF VIRGINIA MILTON, produced
13    as a witness at the instance of the United States, and
14    duly sworn, was taken in the above-styled and numbered
15    cause on the 10th day of July, 2018, from 3:14 p.m. to
16    5:00 p.m., before Morgan Veletzuy, CSR in and for the
17    State of Texas, recorded by machine shorthand, at
18    Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19    Suite 4000, Houston, Texas 77056, pursuant to the
20    Federal Rules of Civil Procedure and the provisions
21    stated on the record or attached hereto; that the
22    deposition shall be read and signed before any notary
23    public.
24
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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 284 of 1584
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                                                               Page 65

1     government took your entire real property interest?

2                      MR. HOBBS:    Same objections.

3           A.    Entire property would mean they took the whole

4     house and the land under it and all my goods.           They did

5     destroy the whole lower floor to the -- and part of the

6     upper floor.     Destroyed the land in the sense of all of

7     the yard and plants, so yes.        And everything in it.

8     Some not replaceable.

9           Q.    (BY MR. LEVINE)    The -- your complaint alleges

10    that the government took both real property and personal

11    property permanently and temporarily.          For the temporary

12    claim, are you alleging that the government took your

13    property for a particular period of time?

14                     MR. HOBBS:    Objection; form.      And calls for

15    legal conclusions.

16          A.    I don't know what you mean by "particular

17    period of time," unless it's the time that we're having

18    to be out of our house where -- while it's been

19    restored.

20          Q.    (BY MR. LEVINE)    Do you know what the

21    a pproximate duration the flood waters were in your
      approximate                                    your home?

22          A.    At least two weeks.     From the time that the

23    flood -- the flooding stopped.        It doesn't mean that it

24    couldn't have been in there more.         But after the storm

25    had subsided, we couldn't go back into our home for two

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 285 of 1584
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                                                                 Page 1

1              THE UNITED STATES COURT OF FEDERAL CLAIMS

        IN RE: DOWNSTREAM ADDICKS       )

2       AND BARKER (TEXAS)              )

3       FLOOD-CONTROL RESERVOIRS        )

4                                       ) SUB-MASTER DOCKET NO.

5                                       ) 17-CV-90021

6                                       )

7     ********************************************************

8                             ORAL DEPOSITION OF

9                               JENNIFER SHIPOS

10                            September 19, 2018

                                   Volume 1

11    ********************************************************

12          ORAL AND VIDEOTAPED DEPOSITION OF JENNIFER SHIPOS,

13    produced as a witness at the instance of the DEFENDANT,

14    was taken in the above-styled and numbered cause on

15    September 19, 2018 from 3:02 p.m. to 5:05 p.m., before

16    Toyloria Lanay Hunter, CSR in and for the State of

17    Texas, reported by machine shorthand, at the law offices

18    of NEEL, HOOPER & BANES, P.C., 1800 West Loop South,

19    Suite 1750, Houston, Texas 77027, pursuant to the

20    Federal Rules of Civil Procedure and the provisions

21    stated on the record or attached hereto.

22

23

24

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      Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 286 of 1584
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                                                                 Page 34

 1     photographs on the interior of your house.

 2           A.     Okay.

 3           Q.     The next photograph, 000230, what's portrayed

 4     in that photograph?

 5           A.     This is my hallway.       And I have an antique

 6     hutch here in the entrance way.

 7           Q.     How deep was the water there, if you know?

 8           A.     I would say it's probably around at that time,

 9     12 to 15 inches.

10           Q.     Okay.   And what do you base that on?

11           A.     I think I just recall it being -- I think we

12     tried to mark all the watermarks on it.

13           Q.     How long did it take the water to recede from

14     t he interior
       the  interior of
                     of the
                        the house?
                            house?

1
155          A.     Six days.

16           Q.     After the six days, do you remember seeing any

17     watermarks on the walls?

18           A.     Yes.

19           Q.     Was that all around the first floor?

20           A.     Yes.

21           Q.     And in the garage?

22           A.     Yes.

23           Q.     Did you have any watermarks in the exterior of

24     the house?

25           A.     Yes.

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     Case 1:17-cv-09002-LAS    Document 266-2 Filed 01/10/23   Page 287 of 1584
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                                                                Page 78

1     --

2                         MR. DOOHER:    The fax sheet?

3     BY MR. BANES:

4           Q.     Exhibit 11.     Let's turn back to Exhibit 11,

5     ma'am.     All right.     Now, all right.

6                         Now, you left -- when did you leave the

7     house, ma'am?

8           A.     10:00 a.m.

9           Q.     10:00 a.m. on what day?

10          A.     On the 28th.

11          Q.     10:00 a.m. on the 28th?

12          A.     Yes.

13          Q.     All right.     And do you know -- so where -- how

14    did you figure out that flood waters didn't come on the

15    property until the 29th?

16          A.     Well, I told you, we walked to our neighbor's

17    house; which is, I don't know, about a mile to our

18    house.     The next day we got up and we waded through the

19    water.     And so at that point, it had water in the house.

20          Q.     On the 29th?

21          A.     On the 29th.

22          Q.     And so now, had there been any water -- now,

23    at least when you left on the 29th, there was no water

24    in the house?

25          A.     There was no water in the house.

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 288 of 1584
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                                                                Page 1

1               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
       IN RE DOWNSTREAM                  )
3      ADDICKS AND BARKER                )       Sub-Master Docket
       (TEXAS) FLOOD-CONTROL             )       No. 17-cv-9002L
4      RESERVOIRS                        )
5
6
      ******************************************************
7                             ORAL DEPOSITION OF
8                                TIMOTHY STAHL
9                             SEPTEMBER 5, 2018
10    ******************************************************
11
             ORAL DEPOSITION of TIMOTHY STAHL, produced as a
12    witness at the instance of the Defendant, and duly
      sworn, was taken in the above-styled and numbered
13    cause on September 5, 2018, from 10:10 a.m. to 2:52
      p.m., before Heather L. Garza, CSR, RPR, in and for
14    the State of Texas, recorded by machine shorthand, at
      the offices of NEEL, HOOPER & BANES, P.C., 1800 West
15    Loop South, Suite 1750, Houston, Texas, pursuant to
      the Federal Rules of Civil Procedure and the
16    provisions stated on the record or attached hereto;
      that the deposition shall be read and signed.
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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 289 of 1584
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                                                               Page 81

1     but above the air-conditioning unit.

2          Q.    Okay.    So where the deck is elevated, you

3     still
      still have
            have water
                 water underneath
                       underneath that
                                  that deck
                                       deck at that
                                               that time?
                                                    time?

4          A.    Yes, ma'am.

5          Q.    Okay.    And then how long did it take for the

6     water to recede past
                      past the end of your
                                      your structure?

7          A.    I don't remember.        For all the water to go

8     back to being
              being a creek, it was, like, a couple
                                             couple of

9     weeks.    It was very slow on the drainage.             It was -- I

10    think it was rapid at first and then it slowed down.
                                                     down

11         Q.    All right.      And were you visiting your

12    property daily at that point?

13         A.    Only in the sense of opening it up to get the

14    air out and to try and get things moved out to the

15    curb that we knew we weren't going to keep and we were

16    sorting things, oh, yeah, we can wash that off, until

17    we found out about that E. coli thing, and then we

18    just tossed all of that, too.           They're still calling

19    me specialist on here, too, but I haven't been a

20    specialist for 20 years.

21         Q.    That must have been -- maybe that was the

22    first time you had insurance with them.

23         A.    I've had insurance with USAA for 20 years.

24    Different sorts and credit card.

25         Q.    When you -- when you -- let me rephrase that.

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     Case 1:17-cv-09002-LAS   Document 266-2 Filed 01/10/23   Page 290 of 1584
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                                                                Page 1

 1               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2         IN RE:   DOWNSTREAM            §

           ADDICKS AND BARKER (TEXAS)§

 3         FLOOD-CONTROL RESERVOIRS       §

 4         vs.                            § SUB-MASTER DOCKET NO.

 5         __________________________§ 17-cv-9002L

 6         THIS DOCUMENT RELATES TO: §

 7         ALL DOWNSTREAM CASES           §

           __________________________§

 8

 9                               ORAL DEPOSITION

10                             MR. SHAWN S. WELLING

11                               August 14, 2018

12

13               ORAL DEPOSITION OF MR. SHAWN S. WELLING,

14         produced as a witness at the instance of the United

15         States and duly sworn, was taken in the above-styled

16         and numbered cause on the 14th day of August, 2018,

17         from 9:22 a.m. to 3:52 p.m., before Michelle Hartman,

18         Certified Shorthand Reporter in and for the State of

19         Texas and Registered Professional Reporter, reported

20         by computerized stenotype machine at the offices of

21         Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,

22         Houston, Texas 77098, pursuant to the Federal Rules

23         of Civil Procedure and the provisions stated on the

24

25         record or attached hereto.

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     Case 1:17-cv-09002-LAS                           Document 266-2 Filed 01/10/23                                 Page 291 of 1584
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     Case 1:17-cv-09002-LAS   Document 266-2    Filed 01/10/23   Page 292 of 1584

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                                                                 Page 1

1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 2   IN RE UPSTREAM ADDICKS
 3     AND BARKER (TEXAS)
 4   FLOOD-CONTROL RESERVOIRS          Sub-Master Docket No.
                                       17-cv-9001L
 5   _________________________
 6                                     Judge Charles F. Lettow
 7   THIS DOCUMENT RELATES TO:
 8   ALL UPSTREAM CASES
 9
10                  ORAL DEPOSITION OF VAL ALDRED
11                            AUGUST 1, 2018
12
13
14             ORAL DEPOSITION OF VAL ALDRED, produced as a
15   witness at the instance of the Defendant and duly
16   sworn, was taken in the above styled and numbered
17   cause on Wednesday, August 1, 2018, from 8:58 a.m.
18   to 3:31 p.m., before Rene White Moarefi, CSR, CRR,
19   RPR in and for the State of Texas, reported by
20   computerized stenotype machine, at the offices of
21   Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,
22   Houston, Texas, pursuant to the Federal Rules of
23   Civil Procedure and any provisions stated on the
24   record herein.
25

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     Case 1:17-cv-09002-LAS                  Document 266-2                   Filed 01/10/23              Page 293 of 1584

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1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2    IN RE UPSTREAM ADDICKS            )
     AND BARKER (TEXAS)                )
3    FLOOD-CONTROL RESERVOIRS          )
                                       )   Sub-Master Docket No
4    ________________________          )   17-cv-9002L
     THIS DOCUMENT RELATES TO
5    ALL DOWNSTREAM CASES              )
6
7                --------------------------------------
                              ORAL DEPOSITION OF
8
                                 PHILLIP AZAR
9
                                 JULY 9, 2018
10             --------------------------------------
11
12               ORAL DEPOSITION OF PHILLIP AZAR, produced as a
13   witness at the instance of the United States, and duly
14   sworn, was taken in the above-styled and numbered cause
15   on the 9th day of July, 2018, from 9:02 a.m. to
16   5:03 p.m., before Morgan Veletzuy, CSR in and for the
17   State of Texas, recorded by machine shorthand, at Kirby
18   Mansion, 2000 Smith Street, Suite 550, Houston, Texas
19   77002, pursuant to the Federal Rules of Civil Procedure
20   and the provisions stated on the record or attached
21   hereto; that the deposition shall be read and signed
22   before any notary public.
23
24
25

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1    after Hurricane Harvey, the abatement people -- is that

2    what you call them?        They came out.      And they tore up

3    some drywall, you know, to get to the -- when they did

4    their abatement, I guess they dry it out or something.

5    That's where we found a lot of it.            That's when we

6    discovered it.

7          Q.    Did the abatement people give any indication

8    where that wood rot came from?

9          A.    It may have been prior floods, roof problems.

10   I don't know.     They didn't tell me.         I've never talked

11   to anybody about that except my family when they put all

12   the buckets down to catch the water, towels.

13         Q.    So besides your family and the abatement people

14   pointing it out, you've never discussed the wood rot

15   with anyone?

16         A.    No, sir.     I take it back.      Anderson Windows

17   came out.     I pointed it out to them.         What my family

18   pointed out to me, what I just told you, I pointed out

19   to the window guy myself.         I was out there with some

20   other people.

21         Q.    Do you recall when you spoke to the folks from

22   Anderson Windows?

23         A.    After Hurricane Harvey but I don't remember the

24   dates.

25         Q.    Did the folks from Anderson Windows comment on

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1    the wood rot at all?

2            A.   I don't remember what he said.             I'm sure he

3    did.

4            Q.   Did he give any indication about how long it

5    might take for the windows to get into that condition?

6            A.   I don't remember if he said -- if he told me

7    that.

8            Q.   Do you have any idea how long it might have

9    taken for the windows to get in that condition?

10           A.   I'm sure it wasn't just Hurricane Harvey.                I'm

11   telling you that's when we discovered it, sir.                  Because

12   they came -- literally went up to the third floor and

13   took some drywall off.         But some on the -- certainly on

14   the first floor, if there was any drywall, they took it

15   off so they could see what was in there and dry it out,

16   I guess they call it.

17                       It certainly happened on the second floor.

18   And I believe they took some off the third floor, but

19   I'm not positive.

20           Q.   Do you have cracks in your stucco exterior at

21   the home?

22           A.   Now?    Now?

23           Q.   Presently.

24           A.   Yes.    In fact, we're working on the estimate on

25   that right now.

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1          Q.    Historically, throughout the time period that

2    you've owned the home, have you had problems with the

3    stucco cracking?

4          A.    No, sir.

5          Q.    Prior to Harvey, was there ever an instance

6    where you had cracked stucco?

7          A.    I don't remember that, but I don't believe so.

8          Q.    Do you regularly maintain the stucco?

9          A.    I remember my brothers and we've hired people

10   to paint it.     I don't believe we've done any stucco work

11   as far as fixing it or anything.            But I believe we've

12   painted it a couple of times.         You know, where they do

13   every year, they caulk it.

14                    I'm literally not that close to the house,

15   you know, everyday stuff, repairs and stuff.              My

16   brothers that live there did all of that.

17         Q.    Did you say brother or brothers, plural?

18         A.    Brothers.

19         Q.    Which brother --

20         A.    There are five boys and three sisters.             The

21   other brothers would be Mike, who passed away; Mark; and

22   Jimmy.     And Bobby, he did some work too.

23         Q.    Would you say that your family members are the

24   ones regularly attending to the maintenance of the home?

25         A.    Or we hired it out.

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1          Q.   In terms of paying attention to the details of

2    the maintenance, do your families pay more attention to

3    the maintenance of the Magnolia Bend home than you do?

4          A.   Yes, sir.

5          Q.   Prior to --

6          A.   The reason I say that is because I was

7    surprised to see the rot.         That didn't come from

8    Hurricane Harvey.        That's been there for a while.          But

9    we found it because of Hurricane Harvey, which is

10   probably a good thing.

11         Q.   Prior to Hurricane Harvey, did you ever have

12   mold in the home?

13         A.   I hope not.

14         Q.   As a result of any prior flooding events, are

15   you aware of any mold in the home?

16         A.   No, I'm not.      I just -- every time that

17   something like that happens, we get the dryers and the

18   guys that do -- bring in dryers and dehumidifiers and

19   that kind of stuff.

20                   Are you talking about, like, mold?              Do you

21   see black mold and the dangerous stuff on the wall that

22   you see?

23         Q.   I was asking about any sort of mold that could

24   form as a result of a water event.

25         A.   I'm sure it forms.        I just don't know.        There's

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1    or restrictive covenants there that run with the land

2    that are governed by the governments such as Hunter's

3    Creek, City of Hunter's Creek.

4                     They also govern -- and I think I have some

5    documents in this area.      They're the people that apply

6    the FEMA laws to the builders out here.              So if someone

7    buys a house, they would believe that it's -- it's a

8    good house, it's not going to flood, it's not going to

9    have the zombie attacks.       You know what I mean?          You

10   know, it's got the restrictive covenants that the --

11   that's governed by the city, whatever city municipality

12   in that area, which is Hunter's Creek.

13                    And I looked through all the paperwork.                I

14   didn't see nothing in it.       I saw there was some

15   variances as to walls and heights and floods and stuff,

16   but nothing like this, no.

17         Q.    I'm sorry.   When you say "variances," what do

18   you mean?     You saw variances within the deed when you

19   purchased the home?

20         A.    It wasn't on my property.       It was on other

21   properties.     I mean, I actually went through a whole

22   bunch of the stuff and I saw some variances.              It was

23   dealing with the -- and I forget the name of the

24   property.     But the guy on this -- what was his name?

25   The guy that built the house that was on top of that

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1    appraisal, he had some variances.

2                        David Young.    I think he was called to a

3    board once or twice for variances.             And what -- the only

4    variance that he had to do, as far as I'm concerned -- I

5    remember seeing this and I remember looking at it again

6    when you guys did the request for documents.               There was

7    a variance that he had to waterproof the basement, you

8    know, kickout doors, all new dura rot, drywall,

9    reinforced concrete, stuff like that.             And I remember

10   seeing a variance about a brick wall, but that was

11   down -- down Voss somewhere, someone else's property.

12         Q.    Do you know why he needed to waterproof the

13   basement?

14         A.    Yeah.     Probably because it might be prone for

15   flooding.     That's what I suspect.

16         Q.    And when you say "basement," you're referring

17   to the first floor of your home?

18         A.    Yes, sir.     I'm sorry.      Yes, sir.

19         Q.    Are you alleging that the government took your

20   entire real property interest?

21         A.    Yes.

22         Q.    How?

23         A.    Talk to them.      I mean, it's unlivable.

24         Q.    Do you think it's unlivable as a result of

25   government action?

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1          A.   Absolutely.

2          Q.   But you do have family members still living in

3    it?

4          A.   Yeah.     They're just basically policing what we

5    got over there.       I'm literally in the process of buying

6    a house right now.        And get that bought and probably

7    take a lot of that stuff out of there, including them.

8                       I just don't believe that house is

9    habitable anymore after this experience with Harvey and

10   with the release or whatever, both.            I mean, I don't

11   think the releases would have happened but for Harvey,

12   but I don't think the house would have been damaged but

13   for the releases.        And it was a taking.          I'm not mad at

14   anybody, but it happened.         I'm glad it -- you know, it

15   had to happen to somebody.         And if it's me, then it's a

16   taking; but it helped, you know, other people.

17         Q.   Your complaint alleges that the government took

18   your property permanently and temporarily.                For the

19   temporary claim, are you alleging the government took

20   your property from a certain time period to another

21   certain time period?

22         A.   Well, temporarily, we couldn't get in the

23   property at all.       The property was taken when the

24   release happened.        There was no doubt about it.           The

25   water went straight up.        We had to get the Coast Guard

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1    to get them out of there.       And later, the water

2    subsided.     It went off the property, into the grass, but

3    not over the bank yet.      And then it came back up.            On a

4    sunny day, no rain, no clouds in the sky, the water came

5    back up again into the property, into the house.

6                     We couldn't even get in there.           And we

7    had -- and that's Ms. Stout, the first time she -- the

8    first time she came, she couldn't get in or maybe the

9    first two or three times.       Because I was getting kind of

10   mad at her.     I didn't care if you did get your feet wet,

11   I wanted to get somebody in here and start getting the

12   mold off there, if there is mold in there.              I just

13   wanted it cleaned up and dried out.

14         Q.    Are you alleging that the temporary taking was

15   from the time the water inundated your property to the

16   time that the water receded from the property?

17         A.    But I believe it's one taking.           It's a

18   permanent taking because that property will never be the

19   same again.     Once you -- once you demolish something or

20   wreck something, it's never the same.

21         Q.    So you don't think there's been a temporary

22   taking of your real property?

23         A.    Well, sure there is.

24                    MR. ROBERTS:    Objection; misstates the

25   testimony.

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·3· · · ·IN THE UNITED STATES COURT OF FEDERAL CLAIMS

·4
· · IN RE DOWNSTREAM ADDICKS· · *
·5· AND BARKER (TEXAS)· · · · · * SUB-MASTER DOCKET
· · FLOOD-CONTROL RESERVOIRS· · * NO. 17-cv-9002L
·6· · · · · · · · · · · · · · · *
· · ___________________________ *
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· · THIS DOCUMENT RELATES TO:· ·*
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· · · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
13

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17· Date· · · · · · · · · ·Edith A. Boggs, CSR

18

19· 9-18-18· · · · · · · · HOUSTON, TEXAS

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·8· · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
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11· · · ·DEPOSITION AND ANSWERS of JANA CANAN BEYOGLU, taken
12· before Edith A. Boggs, a certified shorthand reporter in
13· Harris County for the State of Texas, taken at the law
14· offices of Neel, Hooper & Banes, PC, 1800 West Loop
15· South, Suite 1750, Houston, Texas, on the 18th day of
16· September, 2018, between the hours of 1:49 p.m. and 5:06
17· p.m.
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·1· · · ·A.· Two blocks down, and then I stayed with them,
·2· that's the friend.
·3· · · ·Q.· And her house didn't flood?
·4· · · ·A.· No.· No.
·5· · · ·Q.· Okay.· And you said that you hired a contractor
·6· to clean up the house?
·7· · · ·A.· Yeah.· We had a contractor to dry the house and
·8· cut the Sheetrocks and all the stuff.· I think they
·9· worked on this week and take everything out from the
10· house that it messed up.
11· · · ·Q.· Okay.· So, to your recollection, everything
12· that was on the first floor -- and based on the pictures
13· that we just saw, Exhibit 8, everything that was on the
14· first floor was destroyed by the flood?
15· · · ·A.· Yes, pretty much.
16· · · ·Q.· Okay.
17· · · ·A.· Not the flood.· Not the flood.· I think we
18· could have -- if the water was in and out, we could have
19· saved a lot of stuff but then the water rised after that
20· and stayed for ten days.· I think we lost almost
21· everything.· Yeah.
22· · · ·Q.· So, you think that if --
23· · · ·A.· Not the flood.
24· · · ·Q.· It was not the flood?
25· · · ·A.· Because we have friends that they flooded but


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·1· the water went out immediately a few hours later, and
·2· mine stayed ten days.· I mean, if it was only for a few
·3· hours, I'm sure I could have saved a bunch of stuff that
·4· I couldn't.
·5· · · ·Q.· So, how long did you estimate that the water
·6· stayed in your home?
·7· · · ·A.· At least probably ten days.· At least ten days.
·8· · · ·Q.· What makes you think that?
·9· · · ·A.· Because the pictures and the contractors and
10· then actually even the insurance agent that came and
11· looked and the water was still around, so, he said he
12· would come back.· I think he came back somewhere 11th.
13· He couldn't come back this week.· He came back on the
14· 11th, insurance agent, I believe.
15· · · ·Q.· Okay.· Well, we have that next as an exhibit.
16· · · ·A.· Yeah.
17· · · ·Q.· So, Exhibit 9, we have his report.
18· · · ·A.· Uh-huh.
19· · · ·Q.· And he was there -- if you look at the next
20· page -- September 6th.
21· · · ·A.· Yeah, he came and -- did he do some work on
22· September 6th?· Because I remember he couldn't do some
23· of them on September 6th.· He couldn't do everything and
24· he came back again.
25· · · ·Q.· When did he come back?


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·1· · · ·A.· I wasn't in the town that time.· So -- he came
·2· several times after that.
·3· · · ·Q.· Do you know who made the claim -- the phone
·4· call to call the insurance?
·5· · · ·A.· I did.
·6· · · ·Q.· You did?
·7· · · ·A.· I did.
·8· · · ·Q.· From -- no.· You were still here?
·9· · · ·A.· I was still here.
10· · · ·Q.· Because it says right here that it was done on
11· August 29th, 2017.
12· · · ·A.· I was here.
13· · · ·Q.· So, you were the one that called in?
14· · · ·A.· Yes.
15· · · ·Q.· And if you look right next to it, it says,
16· "Date of loss."· Do you see that?
17· · · ·A.· Yeah.
18· · · ·Q.· It says, "August 26, 2017 at 1:00 a.m."· Do you
19· see that?
20· · · ·A.· That's not right.· That's the time -- that's
21· like -- that's the lady drowning.· Mine was in the
22· morning, the 27th.· That's not right.
23· · · ·Q.· So, you believe this is incorrect?
24· · · ·A.· Yeah.· The 26th, 1:00 a.m. is not correct.
25· · · ·Q.· Where do you think he got that information


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·1· because we didn't want people -- when they come to see
·2· the house, we didn't want them to step on it with their
·3· shoes and stuff.
·4· · · ·Q.· Okay.· So, what's this Andrean Thomson oil
·5· painting?
·6· · · ·A.· That's one of the paintings that I purchased.
·7· Where is that?· It's -- it's oil paint.
·8· · · ·Q.· So, it's like a piece of art?
·9· · · ·A.· Piece of art, yes, oil paint.
10· · · ·Q.· Do you agree with that value?
11· · · ·A.· Where is it?· I cannot see that one right now.
12· · · ·Q.· 38.
13· · · ·A.· Yeah, I guess.· Probably it got higher, too.
14· It's been five years since we purchased it now.· The
15· price might have got higher right now, but they didn't
16· put in depreciation on that one.
17· · · ·Q.· Yeah, there's -- 53 they put a lot of
18· depreciation on.· That was a Persian hand knotted rug.
19· · · ·A.· Which that's not right.· That should have --
20· probably it's more than 20 something now.
21· · · ·Q.· It looks like they acknowledged it went up in
22· value or there was a tax or something and then they
23· depreciated it?
24· · · ·A.· Yeah.
25· · · ·Q.· You don't agree with that?


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·1· · · ·A.· No, I don't, definitely.
·2· · · · · · · · You see my massage chair also?· I'm sorry,
·3· it was an antique but it was really important for me.
·4· You know, it was very, very important for me.
·5· · · ·Q.· Well, just generally, you don't agree with the
·6· valuations of the insurance --
·7· · · ·A.· No.· No, because they did drop it a lot.
·8· · · ·Q.· All right.· And you said your husband is
·9· working on the diminution in value of the house with an
10· appraiser?
11· · · ·A.· Yes, he is.· Yes, he is.
12· · · ·Q.· Ma'am, just one more question.· If you had --
13· if the dams were not there, would your purchase decision
14· be different?
15· · · ·A.· Yes, it would be different.
16· · · · · · · · MR. BANES:· Pass the witness.
17· · · · · · · · FURTHER EXAMINATION
18· · · ·Q.· (BY MS. SANTACRUZ)· Okay.· Just a couple
19· follow-up questions on that, and we're primarily going
20· to be focusing on this Exhibit 9, the claim adjuster
21· report.· You mentioned something about the claim
22· adjuster measuring the level of how high the water came
23· in?
24· · · ·A.· Well, because there were marks on the walls,
25· like inside and outside of the house.· The water,


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·1· because it stayed, I guess, that long, it marked on the
·2· Sheetrocks.
·3· · · ·Q.· Okay.
·4· · · ·A.· So, he measured it, I guess.
·5· · · ·Q.· He measured it, and you were there when he
·6· measured it?
·7· · · ·A.· I wasn't.· My husband but that's what he told
·8· me, that that's how they came up with the four feet.
·9· · · ·Q.· So, according to you --
10· · · ·A.· Our -- I'm sorry.· Our contractor was with the
11· insurance company also.· I'm remembering that because he
12· wanted to be there so he knows where to -- how far that
13· he can cut the Sheetrocks.
14· · · ·Q.· So, your husband will know better than you what
15· was the amount if he was the one that met with the claim
16· insurance adjuster?
17· · · ·A.· That's true.
18· · · ·Q.· You mentioned that he included it in some
19· report.· I don't see it in this report.· Do you know
20· another report that he completed?
21· · · ·A.· I really don't know.· I don't know, but if
22· there is one, I'm sure our contractor has it because
23· that's how -- that's how they know, I guess, where to
24· shut the Sheetrocks and how far to go to the mold and
25· the humidities and wetness in the Sheetrock.· So, I'm


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1       IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
        IN RE DOWNSTREAM                        : Sub-Master Docket
3       ADDICKS AND BARKER                      : No. 17-cv-9002L
        (TEXAS) FLOOD-CONTROL                   :
4       RESERVOIRS                              : Judge Susan G.
                                                : Braden
5                                               :
        THIS DOCUMENT RELATES                   :
6       TO:                                     :
        ALL TEST PROPERTIES                     :
7
8                                   *       *       *
9                  MONDAY, SEPTEMBER 17, 2018
10                                  *       *       *
11
12              Oral deposition of INGA GODEJORD taken
13     at the law offices of Neel, Hooper & Banes,
14     P.C. 1800 West Loop South, Suite 1750,
15     Houston, Texas, commencing at 1:01 p.m.
16     before Debbie Leonard, Registered Diplomate
17     Reporter, Certified Realtime Reporter.
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23                              *       *       *
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1                A.       Yes, I do have.

2                Q.       Do you know if you provided

3      them to your counsel yet?

4                A.       I'm not sure.

5                         MR. BANES:         It's okay.           We'll

6                follow up if we need to.

7      BY MS. HELD:

8                Q.       So before Hurricane Harvey, did

9      you have flood insurance for the property?

10               A.       Yes, we did.           The first three

11     or four years after we bought the house.

12     Then we were told by our insurance broker

13     that we are in a 500-years floodplain, and we

14     actually do not need that, so then we

15     followed his advice.

16               Q.       Do you recall the name of this

17     insurance broker?

18               A.       No, not really.

19               Q.       Do you recall what company he

20     was associated with?

21               A.       No.    Sorry.

22               Q.       So before Hurricane Harvey, did

23     you believe that flooding on your property

24     and your house was a possibility?

25               A.       No, not after I heard about

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1      500-years floodplain.

2                Q.       So after you returned to

3      Houston from Canada, when -- when did you

4      begin the cleanup of your house?

5                A.       The day I entered the house.

6                Q.       And that was September 11th or

7      12th?

8                A.       11th or 12th.

9                Q.       And what type of tasks did you,

10     yourself, do in the cleaning up of your

11     property?

12               A.       My task was to salvage the

13     things that was still in a good order or was

14     not damaged.

15               Q.       Were there any -- was any of

16     your property on the second floor of the

17     house damaged?         And when I mean "property," I

18     mean personal property, like clothing or

19     furniture, things like that?

20               A.       No, no things on the second

21     floor.

22               Q.       I would now like you to look at

23     Exhibit 4.

24                        (Previously marked

25               Exhibit Godejord-4 was referred to the

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1               witness.)

2      BY MS. HELD:

3               Q.        And you recognize Exhibit 4?

4               A.        Yes, I do.

5               Q.        And what document is this,

6      would you identify it as?

7               A.        It's a contract between us and

8      Stiffel Homes.         It's a contract for his doing

9      our house, remodeling, renovation of the

10     house.

11              Q.        And how did you come to hire

12     the Stiffel Homes as your remodeling company?

13              A.        We went to --

14              Q.        What made you choose them?

15              A.        We looked at different

16     companies, and Stiffel was among them.

17     Actually, we trusted our next-door neighbors,

18     the Stackhouses.         So after some

19     consideration, we choosed Stiffel Homes.

20              Q.        So Stiffel Homes is the company

21     that's remodeling your neighbors' -- the

22     Stackhouses' home?

23              A.        Yes, they do.

24              Q.        And looking at paragraph

25     number 4.      So what is the price of the

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1               Q.        -- or dam release.              Excuse me.

2                         And you haven't bought -- there

3      were a lot -- there was a lot of furniture

4      that's not listed here that you haven't

5      replaced yet, right?

6               A.        We didn't replace, because we

7      are not in the house.

8               Q.        Yeah.     So when you move back in

9      the house, then -- then you're going to

10     replace the furniture; is that right?

11              A.        And appliances.

12              Q.        And appliances.           And that's --

13     that's -- we don't have those yet?

14              A.        Right.

15              Q.        All right.         And you haven't --

16     you haven't done -- you haven't done -- have

17     you done an estimate of the diminution in

18     value of the house yet because of the

19     flooding?

20              A.        No.

21              Q.        All right.         But you're claiming

22     that too?

23              A.        Yes.

24              Q.        All right.         And then -- oh.

25     Take a look back -- I want to ask you about

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1      two documents at the same time, ma'am.

2                         You've already got 5 in front

3      of you right there, so hold on to that.                         And

4      then right below it is 17.                So I'm going to

5      ask you about those two.

6                         Now, 5 is the -- was the

7      original estimate that you-all -- that was

8      used to get the loan for the house -- or for

9      the -- for the construction, right?

10               A.       Right.

11               Q.       All right.         Now -- and you -- I

12     think you testified that the highlighted

13     parts are what you kind of reduced it down to

14     for the loan that absolutely needed to be

15     done?

16               A.       Right.

17               Q.       Now, the other things, there

18     were several things that you-all decided to

19     do yourself, right?

20               A.       Yes.

21               Q.       All right.         Is that -- is that

22     among the things that aren't highlighted?

23               A.       For example, plumbing fixtures.

24               Q.       Yeah.     So you still had to buy

25     plumbing fixtures, right?

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1                A.       Yes.

2                Q.       And so just because it's not on

3      this list doesn't mean you didn't do it; it's

4      just you did it yourself or had purchased --

5      purchased it some other way?

6                A.       Right.

7                Q.       And those are either in the

8      receipts that we've got or we're going to get

9      those later?

10               A.       Right.

11               Q.       All right.         Now -- now, in

12     Exhibit 5 and --

13                        Now, Exhibit 5 is what was

14     ultimately used for Exhibit 12, I believe; is

15     that right?

16               A.       What is 12?

17               Q.       12 is the closing on the loan.

18               A.       Right.

19               Q.       So turning to Exhibit 12, and

20     go to Bates stamp Godejord-89, ma'am.                        It's

21     that number at the bottom in the middle.

22               A.       Uh-huh.

23               Q.       All right.         Now, there was

24     "Cash to Close."          Do you see that amount

25     right there?

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1               A.        Yes.     Yeah.

2               Q.        So that was money that you-all

3      had to come up with in addition to everything

4      else to close on the loan, right?

5               A.        Right.

6               Q.        That 43,834.70?

7               A.        Right.

8               Q.        And then there's -- under

9      "Borrower's Transaction" there's several

10     numbers under there.           What is -- do you know

11     what the -- what the -- what the "Home Point

12     Financial" is, what that is?

13              A.        Yes, I do know.

14              Q.        What -- what was that?

15              A.        It was the -- our mortgage

16     company we paid our first mortgage to.

17              Q.        All right.         So this was a loan

18     that encompassed both the amount estimated by

19     the contractor and the mortgage and all

20     closing costs, right?

21              A.        Right.

22              Q.        All right.         So what's the --

23     this 299,812, what -- what is that, on line 5

24     under "K"?

25              A.        The -- I'm just reading what's

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1               A.        Or because he didn't check the

2      sewage line, which was full of the

3      floodwaters --

4               Q.        Okay.     So --

5               A.        -- after they did that.

6               Q.        There's one in here for the

7      sewage line, I believe.             Oh, there it is.

8      It's at 2717, ma'am, in Exhibit -- in

9      Exhibit 17.       It's at BANES 2717.

10              A.        Uh-huh.

11              Q.        All right.         So you were saying

12     that when they first estimated the property

13     in Exhibit 5, they didn't see the problem

14     with the sewer lines?

15              A.        No.

16              Q.        What did they find when they

17     started looking at the -- at the lines?

18              A.        They found out that there is

19     still floodwaters in our sewage line, and the

20     sewage line is damaged, so this is why we

21     decided to repair them, and these were the

22     additional costs came.

23              Q.        So they found out --

24              A.        And change order.

25              Q.        All right.

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1                A.       Yeah.

2                Q.       So they found out that the

3      sewer lines were damaged by the floodwaters?

4                A.       And floodwaters were still in

5      there after the flood, after many months

6      after the flood.         After the water were

7      gone -- was gone, the water in the sewage

8      line still was in there.

9                Q.       Okay.     Now, so that's just one

10     example, but were all the -- were all these

11     change orders additional things that the --

12     that the contract -- that Stiffel found when

13     they started doing the work?

14               A.       Right.

15               Q.       All right.         And so they

16     wouldn't be included -- they were -- so

17     the -- the amounts in Exhibit 17 are in

18     addition to the amounts in Exhibit 5?

19               A.       Right.

20               Q.       Now, is there any examples in

21     Exhibit 17 where you're trying to take a

22     Toyota and turn it into a Lexus?

23               A.       No.

24               Q.       All right.         So these are things

25     that -- in Exhibit 17, these are additional

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1      things that needed to be done?

2                A.       Right.

3                Q.       Now, there was one example we

4      were talking about in Exhibit 8.                   I think we

5      were looking at the third page in Exhibit 8.

6                A.       Yeah.

7                Q.       Now, that was -- this was an

8      island that was built --

9                A.       Right.

10               Q.       -- during the renovation?

11               A.       Right.

12               Q.       Now, what was -- what was there

13     before?

14               A.       There was a wall.

15               Q.       Okay.

16               A.       With a win- -- not window in it

17     but opening.

18               Q.       All right.         So there was a

19     window -- there was a wall with a -- with a

20     stove top and a window opening?

21               A.       Yeah.

22               Q.       All right.         So it was just --

23     now, that wasn't a load-bearing wall, was it?

24               A.       No.

25               Q.       So instead of rebuilding the

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                                                                        Page 1

1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2         IN RE UPSTREAM ADDICKS       §

          AND BARKER (TEXAS)           §

3         FLOOD-CONTROL RESERVOIRS     § SUB-MASTER DOCKET

4

                                       § NO. 17-cv-9002L

5         _________________________ §

                                       § Chief Judge Susan G. Braden

6         THIS DOCUMENT RELATES TO: §

7         ALL DOWNSTREAM CASES         §

8         __________________________§

9                               ORAL DEPOSITION

10                             MR. JEREMY E. GOOD

11                               July 19, 2018

12

13             ORAL DEPOSITION OF MR. JEREMY E. GOOD, produced

14        as a witness at the instance of the United States and

15        duly sworn, was taken in the above-styled and

16        numbered cause on the 19th day of July, 2018, from

17             a.m. to 12:23 p.m., before Michelle Hartman,               9:00

18        Certified Shorthand Reporter in and for the State of

19        Texas and Registered Professional Reporter, reported

20        by computerized stenotype machine at the offices of

21        Raizner Slania, LLP, 2402 Dunlavy Street, Houston,

22        Texas 77006, pursuant to the Federal Rules of Civil

23        Procedure and the provisions stated on the record or

24

25        attached hereto.

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1    when we started corresponding again was the next day

2    at 10:51.

3                 Q.   I see what you're saying.

4                       Do you have any photos of the property

5    while the property was inundated with water?

6                 A.   I do not have any personal photos.

7    There was one that was taken that we submitted by

8    boats of one of the neighbor's properties within ten

9    units of ours that was taken.             I don't have any

10   actual photographs, though, myself.

11                Q.   Okay.    Yeah, I just don't remember

12   seeing any -- any photos.           It may have been produced.

13   I just --

14                      So other than that photo, are you --

15   you don't have any photos that reflect the property

16   while it was at -- while there were flood waters in

17   it?

18                A.   I do not.

19                Q.   Now, I think there is a rule here you

20   have produced these -- you have produced documents

21   reflecting texts and some e-mail communications.

22                A.   Correct.

23                Q.   Did your wife have any texts or any

24   e-mail communications with the tenants during this

25   period?

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1                 A.   She did not.        I am the primary

2    interface between the tenants and us.

3                       MR. DAIN:       Let's take a short break.

4                       MR. MCGEHEE:        Thank you.

5                              (Recess taken)

6                      (Exhibits 7 and 8 marked)

7                 Q.   (BY MR. DAIN)        So I would just like to

8    get this kind of on the record.                 If you would just --

9    Good Exhibit Number 7 is a Google map identified as

10   760 Memorial Mews Street.           In the middle of that map

11   is the little Google tag for 760 Memorial Mews

12   Street.

13                      Does that accurately depict the area

14   and the location of the property here?

15                A.   Yes.

16                Q.   And there is Memorial Drive.                   How far

17   above Memorial Drive is the Addicks Dam?

18                A.   I am not sure.

19                Q.   Okay.     A half mile?          What is your best

20   estimate?

21                      MR. WICKERT:        Objection that it calls

22   for speculation.

23                      THE WITNESS:        I just don't know.             It

24   is before 10, but I don't know.

25                Q. (BY MR. DAIN)         Okay.       Would you give me

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1       general
      a g        description
          eneral descri ption of the physical
                                     physical impact
                                              impact on the
                                                        the

2     property that you saw when you arrived on

3     September 10.

4                 A.    It is hard to really put it into words

5     what -- what that looked like when I showed up.                       Of

6     course it was at night, but I was able to go and I

7     believe I opened the doors at that point and stuck my

8     head in, and even though due to the extenuating

9     circumstances normally I won't enter the premises if

10    the tenant was not there, but I believe I did look in

11    and just do a brief view with my flashlight.

12                       The bottom units was complete

13    devastation.      That's really the general overview of

14    the condition of the units.

15                Q.    Was there damage to the building other

16    than flood?      Was there damage to any of the roof from

17    winds?

18                A.    I didn't observe any at that point.

19                Q.    Okay.     At some point in time, did you

20    come to the conclusion that there had been damage to

21    the roof from winds?

22                A.    I did have a roof contractor come out

23    and check the roof and it appeared to be okay.

24                Q.    So I just saw some references in some

25    of the SBA documents that related to roof damage and

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1    water accessing?

2                 A.   Right.

3                 Q.   What -- what was -- do you know what

4    I'm talking about?

5                 A.   I would have to go back and check what

6    that is.     When I say the roof was okay, it was there

7    were no blatant holes or missing sections.                       And

8    again, I would having to go back and check the

9    records on what Mr. Whitman had done for me, but

10   other than securing up some minor leaks and some

11   other things like that, everything was,

12   quote/unquote, minor compared to what was going on

13   downstairs.

14                Q.   But was the upstairs damaged because of

15   roof leaks, some damage?

16                A.   I -- I can't speak to -- to what damage

17   was caused from what.         I'm not certain.

18                Q.   Did you ever measure high water marks

19   in the building?

20                A.   We did.

21                Q.   I have some photos here.               I have all

22   the photos that were produced here.

23                A.   Yes.

24                Q.   I identified three that appeared to be

25   people with measuring tapes in their hand.                       So I

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1    the side:     So the face -- the bedrooms faced the

2    park.    So if this is a north/south, east/west, we are

3    looking at it entering from the south side of things.

4                 Q.   Okay.    Let's do this -- because that is

5    a fair point, I haven't tried to determine whether --

6    how it looks on the map -- if you would just -- if

7    you have a pen, if you would just make an "X" as to

8    the side of the building that faces the stream or

9    where the stream would -- what side the stream would

10   be in.

11                A.   (Complies.)

12                Q.   And so you've made an "X" on for Unit A

13   on the side that shows the bedrooms?

14                A.   Correct.

15                Q.   Okay.    And so for Unit C, the parking

16   lot, would you just make an "X" as to where the

17   parking lot is.

18                A.   The parking lot is here (Complies.)

19                Q.   And you've made the parking lot

20   underneath the sun room?

21                A.   That's correct.

22                Q.   Okay.    Thank you.           So just to get that

23   right, would it be correct that the kitchen and

24   dining room of Unit C shares a wall with the bathroom

25   and bedroom of Unit A?

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1                 A.   The kitchens are back to back.

2                 Q.   The kitchens?

3                 A.   The kitchen's actually -- and the

4     dining room is back to back.           So it is as if -- if

5     you turn Unit A, it is hard -- if you turn Unit A

6     90 degrees counterclockwise and -- and put it back to

7     back, you would have the correct outlay.

8                 Q.   Okay.     Now, I want to talk about the

9     repairs that were done and the costs that were

10    incurred.

11                      And there's been a lot of documents

12    provided on -- and I am going to try to figure out to

13    berths way to do this efficiently.

14                A.   Great.

15                Q.   But it will take some time to maybe

16    work through it all.

17                A.   Okay.

18                Q.   Let me just start generally:                   What,

19    from your perspective, were the total costs you

20    incurred in repairing the damage that came from the

21    flood?

22                A.   Up to this point, which is -- which is

23    July of 2018, we had incurred approximately -- and I

24    had the exact number somewhere in these documents,

25    but approximately $80,000.

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1                 Q.   And is -- that $80,000 number, does

2    that exclude the lost rent or include the lost rent?

3                 A.   That does not include lost rent.

4    That's simply materials that was -- that were

5    utilized.

6                       MR. DAIN:      Let's go off the record for

7    a second.

8                       THE WITNESS:       Sure.

9                             (Recess taken)

10                        (Exhibit 10 marked)

11                Q.   (BY MR. DAIN)       Handing you what's been

12   marked Exhibit 10.

13                      Is that the colored version of the

14   same three photos that we were talking about a little

15   while ago?

16                A.   Yes, it is.

17                Q.   And if you look at the last color --

18   the last page of that exhibit, do you have a better

19   ability at this point to identify what the height

20   water mark is as shown in that photo?

21                A.   As shown in this photo, it appears that

22   we are -- that we are somewhere in the 30 range.                       I

23   can't exactly tell.       The mud is at a bit of an angle

24   here, but I would say somewhere in the 30s nearly,

25   not up to the 41-inch mark.

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1                 Q.   All right.      So I will just do this one

2    more time before we go on the record.

3                       (Discussion off record)

4                 Q.   (BY MR. DAIN)       All right.         So we have

5    had this discussion about the most efficient way to

6    go forward, and you have talked about costs up

7    through July.

8                       All right.      Well, before we turn to

9    the documents then, let me just ask this:                   You say

10   costs incurred up through July 2018.

11                      Is there repairs that still needed to

12   be made?

13                A.   We don't know is the short answer.

14   Things that were compromised or may have been

15   compromised that were still working we kept in place

16   to help mitigate costs at the current time or at the

17   current time of repairs.

18                      Additionally, I'm seeing new cracks on

19   the outside that I had Stretch Construction come back

20   and look at and, you know, things like that.                     We

21   don't know if that is a long-term effect.                   We don't

22   know the full extension of the repairs.

23                Q.   So you estimate those -- you estimate

24   the costs to date to be approximately $80,000?

25                A.   Correct.

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1                 Q.   How were -- how did you keep the books

2    and records associated with these costs?

3                 A.   My wife kept the receipts and the costs

4    in a notebook so that everything was -- that

5    everything that was spent, whether it be on materials

6    or contractors, was kept.

7                 Q.   And were those handwritten notations?

8                 A.   Yes.     Except, of course, for the

9    receipts that were presented from the various --

10                Q.   Understood.       But your wife's

11   bookkeeping --

12                A.   Yes --

13                Q.   -- was --

14                A.   -- handwritten.

15                Q.   -- handwritten?

16                A.   Yes.

17                Q.   So I'm just going to start handing you

18   some documents and we're going to start talking about

19   how to understand the component parts of this

20   $80,000, all right?

21                A.   You bet.

22                Q.   Let me ask this:         Were the costs ever

23   broken out by units, Unit A, Unit C, Unit B, Unit D?

24                A.   I don't recall if every cost was broken

25   down in that manner.         Certainly some of the bigger

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1     items.     For example, the AC unit in Unit D would have

2     been itemized on the HVAC receipt.                   So there will be

3     some indications of some of the specific units, but

4     in most cases, probably not.

5                  Q.     Okay.     Well, just as we are about to

6     start the next question, let's put it in the same

7     place.

8                          State again which units are downstairs

9     and which units are upstairs.

10                 A.     Unit A and Unit C are the downstairs

11    units.     Unit B and Unit D are the upstairs units.

12                 Q.     Do you believe that there was damage

13    caused from the flooding to either B or D?

14                         MR. WICKERT:        Objection:         Form to the

15    question.

16                         THE WITNESS:        I don't know.

17                 Q. (BY MR. DAIN)           Did you undertake repairs

18    at B and D that are a part of the $80,000 figure you

19    gave me?

20                 A.     Yes.

21                 Q.     What repairs were done to B -- well,

22    how about:        Were they done to B or D or both?

23                 A.     I would have to go back to see

24    specifically what was done, but I know off the top of

25    my head the air conditioning unit in Unit D was fully

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1     replaced.
      re placed.

2                  Q.   And was the air conditioning unit for

3     Unit D on ground level?

4                  A.   Yes.

5                  Q.   Anything else on Unit D that was

6     repaired?

7                  A.   Based on my memory, no; but again, I

8     would have to refer back to our records.

9                  Q.   As you sit here today, do you recall

10    any water discharge in the upstairs units?

11                 A.   No.

12                 Q.   And as you sit here today, do you

13    recall any damage to Unit B from the flood waters?

14                 A.   No.

15                 Q.   And as you sit here today, is it your

16    recollection that the --

17                 A.   I may amend that.            Potentially the

18    staircase leading up to B, which was sitting on the

19    ground level, may have been impacted.                 We did have

20    repairs done on that.

21                 Q.   And that would be the staircase at the

22    ground level?

23                 A.   Correct.

24                 Q.   And other than the air conditioning

25    unit for Unit D, as you sit here today, can you

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1           any
     recall an         damage
               y other dama ge that was done to Unit D from
                                                       from

2    the flood waters?

3                 A.   No.

4                       MR. DAIN:       Okay.        Give me one second.

5    We will go off the record and I will try to get some

6    of the handwritten documents in front of you.

7                       THE WITNESS:        You got it.

8                       MR. DAIN:       We are going to go back on

9    the record for one thing, just to take care of

10   something I want to do that should help the rest of

11   the conversation.

12                Q.   (BY MR. DAIN)        If you would, look at

13   the Amended Initial Disclosures.                 I believe it is

14   Exhibit 1 or 2.

15                A.   Uh-huh.

16                Q.   Before we start the next discussion, it

17   might just be helpful to kind of identify some of the

18   players here.

19                A.   Sure.

20                Q.   And so you identified certain entities

21   that have knowledge of the extent of flooding.

22                A.   Yes.

23                Q.   I'm just going to walk you through

24   these and ask you as to each one the nature of the

25   work they did.

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1                 A.   Yes.

2                 Q.   So the first is Stretch Construction --

3                 A.   Yes.

4                 Q.   -- what was the nature of the work they

5    did?

6                 A.   They came in around the drywall phase

7    and helped get us to about 90 percent completion,

8    whether it was drywall or -- and again, I would have

9    to look back and see, but they did most of the

10   bathrooms and the kitchen work.

11                Q.   Like the kitchen replacement or just

12   wall work or what?

13                A.   Wall work, floor work.              And that's

14   been -- again, these -- I essentially was the general

15   contractor for this project.            And so each player did

16   a little bit of -- a little bit of everything, so to

17   speak.    And we can go through and look at a Stretch

18   itemization on that.

19                Q.   That's fine.        That was helpful.            Thank

20   you.

21                A.   Yeah.

22                Q.   The second entity is Abner Cabriales --

23                A.   Yes.

24                Q.   -- and then it says CAB Home

25   Renovations.

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1    have they done?

2                 A.   That's what I believe they did to the

3    extent that I can remember and if my memory serves on

4    that, but that's my understanding.

5                 Q.   That's fine.

6                       Second Chance Water Restoration, what

7    work did Second Chance Water Restoration do?

8                 A.   They came and did mold remediation work

9    for us.     Once we had mucked out the unit, which we

10   had completely cleaned it out and cleared it out,

11   they came in and took care of all the mold and made

12   sure that the unit was safe for beginning to rebuild.

13                Q.   And A-American Pest Control --

14                A.   Uh-huh.

15                Q.   -- what work did they do?

16                A.   They came in and sprayed for the

17   termites.     After we had gotten all of the mediation

18   done, we wanted to do a preventative spraying for

19   termites.

20                Q.   Okay.     That concludes the folks that

21   are identified as contractors in your Amended Initial

22   Disclosures.

23                      As you sit here today, can you think

24   of any other contractors that performed any work out

25   there?

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1                  A.     We had, again, various friends and

2     family that came in that helped us on multiple

3     levels.     I would say the only other one that was a

4     significant help would be a gentleman by the name of

5     Paul Hoarst (ph).         He was a friend that helped with a

6     good bit of the drywall.            He was a former contractor

7     and was able to help with that.

8                          But other than that, we had church

9     folk come out and rip stuff out and carry stuff off,

10    so that was a big help.

11                         MR. DAIN:      Okay.        Let's take a

12    little -- take a little break and I will get some

13    documents in front of you.

14                         MR. WICKERT:       Okay.       We can use the

15    restroom.

16                               (Recess taken)

17                       (Exhibits 11 and 12 marked)

18                 Q.     (BY MR. DAIN)       Handing you what's been

19    marked Good Exhibit Number 11 and then Good Exhibit

20    Number 12.        They both start with some handwritten

21    summaries.        For one second just take a quick review

22    of those.     Here is 11.

23                         MR. DAIN:      And one for you.              Sorry, I

24    just keep just --

25                 Q.     (BY MR. DAIN)       So these are the

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1    documents
     d                       they
       ocuments I believe as the y were produced
                                        produced to us.

2                       And 11 -- Exhibit 11 is

3    GoodResourcesLLC 109 and the last page is

4    GoodResourcesLLC 119.         Do you see that?

5                 A.   Yes.

6                 Q.   Okay.     What is this document?

7                 A.   This is a -- this is a record of all of

8    the receipts and costs that we incurred or were going

9    to come up.

10                Q.   Okay.     Now, let's go ahead in order to

11   make that -- so do we need to look at 11 and 12

12   together?

13                A.   I'm not sure if I understand your

14   question.

15                Q.   I'm just trying -- so let's just say,

16   you know, Exhibit Number 12 is GoodResourcesLLC

17   Document 120 and then Document 155, correct?

18                A.   Yes.

19                Q.   What is Exhibit Number 12?

20                A.   I believe it is a continuation of

21   Exhibit Number 11, so I would go through -- and my

22   guess as we look at some of the dates, I believe this

23   is a chronological --

24                Q.   Which one's chronological?

25                A.   I believe 11 is before 12.                Again, I

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1     would have to verify these dates on the receipts.                         It

2     looks like the first date on page 110 is from Home

3     Depot on September the 4th of '17, including some

4     masks that were purchased to not breathe in the air

5     up there.

6                        Academy, the next one over, the same

7     day, would have been for some boots that I bought and

8     then some bug spray.        And so it looks like it starts

9     from there.      And the next one -- and again, I am

10    interpreting how my wife would have kept these.

11                       The next one is for Lowe's on

12    September the 4th as well and so forth.

13                       So it looks to be a chronological --

14    let's go check.        119, the date on that is

15    October 2nd.     It looks to be -- I am seeing now

16    looking over at Document Number 12 that starts on

17    September 3rd, so that would not be consistent with

18    what my initial theory was.

19                       It appears to be -- most likely my

20    guess is that as I received receipts and/or as we

21    printed things, I gave them to Anna.                 For example, I

22    can explain what happened here on --

23                Q.   Are we in Exhibit --

24                A.   12.

25                Q.   -- 12.

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1                 A.   And Exhibit 12, we at that point

2     surmised that we were going to have a total loss with

3     all the flooding.       At that point we understood that

4     everything was underwater.          We had gone out and taken

5     advantage of a promotion at Lowe's for the kitchen.

6     It looks like we bought kitchen appliances at that

7     point and then they were paid for at a later point

8     when they were actually shipped.               So that's why that

9     would be at that date.

10                      So a lot of the things that were

11    purchased, my wife was quick to jump on any deals

12    that we could find and knowing what was going to be

13    coming down the road.

14                Q.   And so the first pages of 11 and 12, do

15    you recognize those as a spiral notebook as to how

16    your wife kept these records?

17                A.   Yes.   And as a matter of fact, I can

18    explain further to give some more clarity.

19                      The numbers with the boxes on both of

20    those pages would indicate what page number in her

21    notebook that coincided with.

22                Q.   So there is kind of a schedule that

23    underlies this?

24                A.   In trying to understand exactly what

25    she did, for example, if I go to on Document 11 --

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1                 Q.   Yes.

2                 A.   -- if I go down to "mold remediation,"

3     which is near the bottom of the left-hand list,

4     "mold," M-E-R, and then in parentheses number two for

5     $1,800.

6                 Q.   Yeah.

7                 A.   There is a number 11 next to that.                    And

8     if we go over to box 11 on this page, you'll see the

9     receipt for that on page 11, which is 115 of Document

10    11.

11                Q.   Okay.     That's helpful.           Thank you.

12                      So you would think the cover page is

13    all summary of everything else attached?

14                A.   It appears to be that.

15                Q.   Okay.     And without double-checking

16    every entry, that would be your understanding of

17    Exhibit 12 as well?

18                A.   Correct.      We could spot-check

19    certainly, but that's my understanding.

20                Q.   Prior to -- well, after you purchased

21    the property in January of 2015 -- correct?

22                A.   Correct.

23                Q.   -- did you perform any upgrades to any

24    of the units, carpet, kitchen, any significant

25    upgrades?

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1                 A.   We would have replaced the flooring in

2    Unit C and the flooring in Unit A.

3                 Q.   And this is before the flood?

4                 A.   This is before -- yes, before the

5    flood.    And I don't have the specific dates in memory

6    when we did that.        We would have repainted when

7    tenants moved out.        There may have been one or two

8    turnovers in that time period.

9                       We also replaced the air conditioning

10   unit in Unit A months prior to, just a couple of

11   months prior to the flood.           And those are some of

12   just the upgrades off the top of my head that I can

13   recall at this time.

14                Q.   And were the conditions of the units

15   relatively the same:        Was -- were the age of the

16   kitchens relatively the same, were the carpeting of

17   the units relatively the same in the four units?

18                A.   Relative to each other?

19                Q.   Relative to each other.

20                A.   I believe, yeah, they were all

21   updated -- yes, I think they were updated three or

22   four years prior to our purchase.                So I would say

23   around 2011, 2012 that they were upgraded.

24                Q.   Upgraded or updated in what way?

25                A.   New cabinetry, new appliances.                 And

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1    those just the first half of the year and second half

2    of the year?

3                 A.   In doing some quick math, that would be

4    my guess.     I don't know what that formula is but that

5    would be a guess, yeah.

6                 Q.   Turning to Exhibit 14.             What is

7    Exhibit 14?

8                 A.   Exhibit 14 is the 2017 Memorial Mews

9    rental income expense worksheet.

10                Q.   The same columns and rows as far as

11   structural organization; is that correct?

12                A.   Yes.

13                Q.   And this is a document you maintained?

14                A.   Yes.

15                Q.   Well, we talked about trying to find

16   identification of a summary of the expenses and costs

17   incurred in doing the repair work.

18                      Would the second page of this

19   document, page 481, reflect all the repair costs and

20   expenses you incurred through December 31, 2017?

21                A.   No.    The -- on the back side of page --

22   or Exhibit 14, the repair list is simply operating

23   costs.    If you look down and see, I have got --

24   August 24th, about two-thirds of the way down, I have

25   got a cleaning there of Unit B expense and then we

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1    have some power expenses that I had to pay since that

2    was going on.

3                         So we kept everything separate as far

4    as what would have been an expense due to the flood

5    and then just normal operating expenses.

6                 Q.     I see what you're saying.

7                         So, in fact -- so, in fact, I got it

8    backwards.        This document -- this total reflects

9    expenses and costs that were not related to the

10   flood?

11                A.     Correct.

12                Q.    And so nowhere in Exhibit -- nowhere in

13   Exhibit 14 are there numbers that reflect expense and

14   repairs incurred responding to the flood?

15                A.    The only things I would highlight would

16   be the -- I refunded the security deposits to the

17   tenants A and C just in good faith of realizing what

18   they had gone through.           And then also in the next

19   section, the rental income section is also reflected

20   where I did not receive any rents from September

21   through December on three of the four units.

22                Q.     Are the rental rates -- well, would you

23   compare for me the rental rates of the units in July

24   of 2018 compared to July of 2017?

25                A.     July of 2017, the rents were as

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1    follows:     For Unit A, 1075; Unit B, 1,000; Unit C,

2    1,000; and Unit D, 1,000.

3                       In July of 2018, the rents are as

4    follows:     Unit A is 1,300; Unit B is 1,125; Unit C is

5    1,300; Unit D is still at 1,000.

6                 Q.   Do you keep a 2018 income rental and

7    expense sheet -- worksheet?

8                       Similar to what we see in 2013 and

9    '14, do you keep one for 2018 on an ongoing basis?

10                A.   I do.

11                Q.   Outside of the cost of flood repair,

12   how did the expenses in the property -- have they

13   changed between 2017 and 2018?

14                A.   I would have to refer back to the sheet

15   to answer that conclusively, but off the top of my

16   head, no.

17                        (Exhibit 15 marked)

18                      MR. WICKERT:        Thank you.

19                Q.   (BY MR. DAIN)        Handing you what's been

20   marked Exhibit 15.        And I will represent it begins

21   with GoodResourcesLLC 587 and ends with LLC 605.

22   There is some blank pages and some bar pages and it

23   looks like a document that maybe got converted in a

24   way that messed it up some.

25                      What is this document?

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1    account?

2                 A.     Off the top of my head, I don't know.

3                 Q.     Over 20?

4                 A.     Yes.

5                 Q.     Over 30?

6                 A.     I would guess, yes.

7                 Q.     Over 40?

8                 A.     I don't know.

9                 Q.     Okay.    After you acquired the property,

10   did you ever try to market or sell that property

11   between the time you purchased it and today?

12                A.     No.

13                Q.     Do you have any photographs of the

14   interior of the property before Harvey?

15                A.     Yes.

16                Q.     And what are those?             Have they been

17   produced?

18                A.     We produced everything we have been

19   requested.        I don't know if that was on the list or

20   not, but if they were requested, they have been

21   produced.

22                Q.     Okay.    So you have delivered your

23   attorney photographs of the interior of your property

24   before Harvey?

25                A.     Again, I would have to look back at

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1     what was exactly requested.            We have -- anything that

2     has been requested from my attorney has been

3     submitted.

4                  Q.   And so let me just go back to the

5     question.     And maybe they are.          I don't recall as I

6     sit here.

7                  A.   Yeah.

8                  Q.   And so my question is simply:                  Do you

9     have interior photographs of the property before

10    Harvey?

11                 A.   Yes.

12                 Q.   For the downstairs units, when you did

13    the drywall repair, did you replace the entire

14    drywall or a portion of it?

15                 A.   We replaced all of the drywall up to

16    the ceiling.      So all of the walls.             The ceiling was

17    intact and -- as of our moisture test.

18                 Q.   Did you moisture test the -- why did

19    you decide to do the entire drywall?

20                 A.   Yeah, the walls did not pass the

21    moisture test.

22                 Q.   You mentioned the downstairs flooring

23    before that you -- that I believe you mentioned was

24    new after you purchased it?

25                 A.   Uh-huh.

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1                 Q.   And what was -- what was the nature of

2     that flooring?

3                 A.   Unit A was ceramic tile and Unit C was

4     a wood floor throughout.

5                 Q.   Since the repairs, are there granite

6     countertops in the units today?

7                 A.   They are some sort of stone.                   I believe

8     they are granite, yes.

9                 Q.   Okay.     And what were they before?

10                A.   Formica perhaps.         I'm not sure exactly

11    what the term was.

12                      MR. DAIN:       Okay.        Let me take a little

13    break and we will be done.

14                      MR. WICKERT:        Okay.

15                             (Recess taken)

16                      MR. DAIN:       Back on the record.

17                Q.   (BY MR. DAIN)        Any security cameras on

18    Memorial Mews?

19                A.   No.

20                Q.   Are you aware of the Memorial Day

21    Flood?

22                A.   Peripherally.

23                Q.   Okay.     No knowledge of the Memorial Day

24    Flood and whether that event had any impact on

25    flooding in your neighborhood, in the Memorial Mews

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1    neighborhood?

2                 A.   I know it did not affect the Memorial

3    Mews neighborhood.

4                 Q.   Okay.    How about the Tax Day Flood, do

5    you have any knowledge about whether the Tax Day

6    Flood had any flooding in the neighborhood near

7    Memorial Mews?

8                 A.   There was impact for the Tax Day Flood.

9                 Q.   Do you know when the building was

10   built?

11                A.   In 1980 -- early 1980s.              I would have

12   to go back and check the exact records.

13                Q.   How many units -- similar units are

14   there at Memorial Mews?

15                A.   There are approximately 30-odd -- the

16   number could be within five of that -- unit buildings

17   there on the street.

18                      MR. DAIN:       All right.         No further

19   questions.

20                      Sorry for the event.              I'm sorry for

21   your losses.

22                      THE WITNESS:        Thank you.

23                      MR. DAIN:       Pass the witness.

24                              EXAMINATION

25                Q.   (BY MR. MCGEHEE)         All right.            Jeremy, I

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1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2    IN RE UPSTREAM ADDICKS            )

     AND BARKER (TEXAS)                )

3    FLOOD-CONTROL RESERVOIRS          )   Sub-Master Docket No

4    ________________________          )   17-cv-9002L

5    THIS DOCUMENT RELATES TO          )

6    ALL DOWNSTREAM CASES              )

7                --------------------------------------

8                             ORAL DEPOSITION OF

9                               WAYNE HOLLIS

10                              JULY 19, 2018

11              --------------------------------------

12               ORAL DEPOSITION OF WAYNE HOLLIS, produced as a

13   witness at the instance of the United States, and duly

14   sworn, was taken in the above-styled and numbered cause

15   on the 19th day of July, 2018, from 8:59 a.m. to

16   12:13 p.m., before Morgan Veletzuy, CSR in and for the

17   State of Texas, recorded by machine shorthand, at Clark,

18   Love & Hutson, G.P., 440 Louisiana Street, Suite 1600,

19   Houston, Texas 77002, pursuant to the Federal Rules of

20   Civil Procedure and the provisions stated on the record

21   or attached hereto; that the deposition shall be read

22   and signed before any notary public.

23

24

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  RIORVVIRUWKHIORRGLQVXUDQFHEHIRUHVLJQLQJLW"                     LQIRUPDWLRQWKDWZHMXVWORRNHGDWRQ([KLELWVR,
  $&RUUHFW                                                      ZRQ WUHDVN\RXWKRVHTXHVWLRQV
  4$QGGRHVWKLVIRUPDFFXUDWHO\LGHQWLI\WKURXJK                %XWXQGHUWKHUH
                                                                                         %XWXQGHUWKHUH VDQLQGLFDWLRQRID
  \RXUIORRGLQVXUDQFHFODLPWKHFRVWRIUHSDLURU                       VXSSOHPHQWDOFODLPLQWKHDPRXQWRI'R\RX
 UHSODFHPHQWRI\RXUEXLOGLQJDQGFRQWHQWV"                            UUHFDOOZKDWWKDWZDVIRU"
                                                                             HFDOOZKDWWKDWZDVIRU"
 $1R                                                          $,GRQRW
                                                                                $,GRQRW
 05+$570$12EMHFWLRQIRUP,I\RXMXVW             4'R\RXUHFDOOZKHWKHUWKDWVXSSOHPHQWDOFODLP
                                                                                4'R\RXUHFDOOZKHWKHUWKDWVXSSOHPHQWDOFODLP
 JLYHPHDVHFRQGVRWKDWLI,KDYHDQREMHFWLRQ,FDQ                  ZDVSDLGE\\RXUIORRGLQVXUDQFHSROLF\""
                                                                         ZDVSDLGE\\RXUIORRGLQVXUDQFHSROLF\
 JHWLWLQ,NQRZ\RX UHJHWWLQJLWIURPERWKVLGHV                 $,DVVXPHLWZDV
                                                                                $,DVVXPHLWZDV
 IURP0RUJDQDQG,                                                    067$5',)):K\GRQ WZHJRDKHDGDQG
 4 %<067$5',)) 6R, PORRNLQJDW,WHP1R  WDNHDQRWKHUPLQXWHEUHDNDQG, OOUHYLHZP\
 $QGOHWPHEDFNXS6R\RXUSROLF\FRYHUDJHIRU\RXU                 QRWHV/HW VJRRIIWKHUHFRUG
 IORRGLQVXUDQFHZDVIRUWKHEXLOGLQJDQG               %UHDNWDNHQIURPDPWRDP
 IRUWKHFRQWHQWVFRUUHFW"                                            067$5',))/HW VJREDFNRQWKHUHFRUG
 $&RUUHFW                                                     $$QG,QHHGWRFRUUHFWRQHWKLQJ:HZHUHDOO
 46RXQGHU,WHPIXOODPRXQWRILQVXUDQFHWKDW              WDONLQJ
 LVWKHFRPELQDWLRQRIWKHEXLOGLQJDQGFRQWHQWV               4 %<067$5',)) 6XUH
 FRYHUDJHFRUUHFW"                                                    $,GLGVDOYDJHDQDUPRLUHRXWRIWKHORZHUIORRU
 $&RUUHFW                                                     WKDWZH YHVSHQWRQWRWDOO\UHEXLOGLQJ,WZDV
 42ND\6RIRULQVXUDQFHSXUSRVHVXQGHU,WHP
       42ND\6RIRULQVXUDQFHSXUSRVHVXQGHU,WHP              DQROGDUPRLUH$QGWKHQRXUIDPLO\SRUWUDLWVWKDWZDV

                                                                                                                    3DJHV
                                         ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP

                                                                                                                                                A802
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                                                            :D\QH+ROOLV                                                -XO\
                                                             3DJH                                                              3DJH
  KDQJLQJDV\RXJRXSWKHVWDLUFDVHDQGVRPHRQWKH                    WRGU\RXWWKHKRXVHDQGSDVVWKHPROGLQVSHFWLRQ$QG
  ZDOOVZKHQZHZHQWEDFNEHIRUHWKHZDWHUURVHWRWDOO\               ,WKLQN,SDLGWKHPDERXWRU,W VRQWKH
  ,GLGWDNHWKRVHRXWMXVWIRUWKHUHFRUG6RZKHQ,                 UHFRUGVLQDOORIWKLVVWXII$QGWKH\RND\HGWKHKRXVH
  VD\ZHGLGQ WVDOYDJHDQ\WKLQJEXWFORWKHVZHGLGGR                 WRUHEXLOG
  WKDW                                                                 $QGWKHVWUXFWXUHEDVLFVWUXFWXUHZDV
  42ND\9HU\JRRG:HOO, PJODGHVSHFLDOO\                ILQH%XWZHWRUHLWRXWWRWKHEULFNDQGGLGQ W
  ZLWKWKHSRUWUDLWV\RXZHUHDEOHWRVDYHWKRVH                      UHSODFHWKHEULFN:HVWDUWHGZLWKDQHZWHFKQLTXHWKDW
  $<HDKZHZHUHDEOHWRVDYHWKRVH                            WKH\FDQSXWLQDIRDPVXEVWDQFHDQGVWLOONHHS\RXU
  4<HDK$QG,PHDQZDVWKHUHVRPHGDPDJHWRWKH              DHUDWLRQDUHDEHWZHHQ\RXUEULFNDQG\RXUZDOOV$QG
 DUPRLUHWKDW\RXKDGUHEXLOW"2UZHUH\RX                        LW VMXVWEHHQWRWDOO\UHEXLOW
 $2KWRWDOO\GDPDJHGEXWWKH\KDYHWRWDOO\                  &DELQHWV,PHDQHYHU\WKLQJFDPHRXWWRWKH
 UHEXLOWLW7KDW VZKDW, PVD\LQJ7KH\WRRNLW                   VWXGVLQWKHZDOODQGWRWKHUXQQHUVLQWKHVHFRQG
 WRWDOO\DSDUWDQGKDGWRUHEXLOGLWDQGFKDUJHGXV                   IORRU$OOQHZ6KHHWURFNDOOQHZOLJKWLQJDOOQHZ
 IRUUHEXLOG:HKDYHQ WJRWWHQLWEDFNEXW                  ZLULQJDOOQHZZLQGRZVHYHU\WKLQJ
 ZH UHLQWKHSURFHVVRIJHWWLQJLWEDFN,W VLQ                    4$QGZKHQ\RXVD\UXQQHUVUXQQHUVWRWKH
 UHEXLOG                                                             VHFRQGIORRUDUH\RXWDONLQJDERXWWKHUXQQHUVRQWKH
 42ND\7KDQN\RXIRUWKDWFODULILFDWLRQ                    VWDLUVRU
 $QGDQ\DQ\WKLQJHOVHIURPWKHILUVW                $1R, PWDONLQJDERXWWKHFURVVPHPEHUV
 IORRUWKDW\RX UHWU\LQJWRUHVWRUH"$Q\DQ\UXJVRU             WKDW\RXU6KHHWURFNJRHVRQWKHFHLOLQJ:HKDGWR
 DQ\WKLQJOLNHWKDW"                                                  WDNHDOOWKDWRXWDQGWKHQVWDUWEDFNIURPWKHVHFRQG
 $<HV:HSXOOHGUXJVDQGKDGWKHPDWWKHUXJ                IORRUGRZQ
 SODFHDQGWKH\ UHDOOLQWKDWVWXIIZKHUH\RXVHH                   46RIURPIURPWKHFHLOLQJRI\RXUILUVW
 RULHQWDOUXJWKDWZHWRRNWKHZHWUXJVDQGWRRNWKHPWR              IORRU
 WKRVHSODFHVDQGWKH\ YHGRQHWKDW\HV-XVWWKH,              $<HDKFHLOLQJDOOJRQHRXW(YHU\WKLQJZHQW
 GRQ WNQRZZKDW\ DOOFDOOLWGHFRUDWLYHUXJVRUWKH                RXW
                                                             3DJH                                                              3DJH
  ELJWKDW\RXSXWRYHUWKHIORRULQJ                                42ND\$QGRQFH\RXSXOOHGHYHU\WKLQJRXWDQG
  48KKXK7KDW VDJRRGGHVFULSWLRQ                          \RXNQRZGRZQWRGRZQWRWKHEULFNGLG\RXKDYHDQ\
  $%XWZHVDOYDJHGVL[RUHLJKWRIWKRVH                       IRXQGDWLRQLVVXHVWKDW\RXQHHGHGWRDGGUHVV"
  42ND\$QGGLG\RXVD\DWWKLVSRLQW\RXDQG                 $1RQH
  \RXUZLIHDUHVWLOOOLYLQJZLWK\RXUVRQ"                             42ND\$QG\RXVD\\RX UHFORVHWRFORVHWR
  $<HV                                                         FRPSOHWLQJDWWKLVSRLQW"
  42ND\%XW\RXDUHZRUNLQJRQWKHRQWKH                  $<HV
  UHEXLOGRI\RXUKRPH"                                                 4'R\RXKDYHDQDQWLFLSDWHGGDWH\RX OOEHDEOH
  $<HV:H UHDOPRVWFRPSOHWH                                 WRPRYHEDFNLQ"
 42ND\6RVRWHOOPHDERXWWKDWWKDW                  $:H UHJRLQJWRWU\WRPRYHLQQH[WZHHN
 SURFHVVDQGIURP\RXNQRZLI\RXNLQGRIZDONPH                 SDUWLDOO\&RQVWUXFWLRQLVJRLQJWRJRRQDERXWDQRWKHU
 WKURXJKZKHQ\RXZHUHILUVWDEOHWRVWDUWWKDWUHEXLOG               VL[ZHHNVRISDLQWLQJDQGWRXFKLQJXSDQGILQLVKLQJ,
 DQGZKHUH\RXDUHWRGD\                                             MXVWJRWWKHWHOHSKRQHVLQWRGD\7KDW VZKR,ZDV
 $)RUWKHUHFRUGLW VEHHQDQLJKWPDUHDQGD                 FRPPXQLFDWLQJZLWK:HILQDOO\JRWWKHWHOHSKRQHVEDFN
 FRVWRYHUUXQ:HVWDUWHGLQ,WKLQNZHJRWRXU                LQDQGZRUNLQJWRGD\
 DQG, PMXVWUHFDOOLQJWKLVELGVLQ2FWREHUWRVWDUW              4'LG\RXKDYHWRGRDQ\DQ\UHEXLOGRU
 LQ1RYHPEHU$QGDOORIWKHFRQWUDFWRUVDUHELGVLQ                 UHVWRUDWLRQRIRI\RXUGUDLQDJHIHDWXUHVRXWVLGHWKH
 WKHUHWU\LQJWRZRUNRQVHYHQGLIIHUHQWKRPHV$QG                 KRXVH"
 WKH\ZRUNRQRXUVDOLWWOHZKLOHDQGOHDYHDQGFRPHEDFN             $1RRWKHUWKDQMXVWFOHDULQJXSWKHFORJJHG
 DQGJRVRPHZKHUHHOVH$QGLW VMXVWEHHQDORQJ                   GUDLQ
 WLULQJSURFHVVKXJHFRVWRYHUUXQ                                    ([KLELWPDUNHG
 %XWZHKDYHFRPSOHWHO\UHEXLOWWKHERWWRP              4 %<067$5',)) 6R0U+ROOLV, PJRLQJWR
 RIWKHKRXVH:HWRUHLWRXWWRWKHUDIWHUVRQWKHWRS              JLYH\RXDJURXSRIIRXUSKRWRVWKDW, PPDUNLQJDV
 IORRUEHFDXVHRIWKHZDWHUGDPDJH,KDG,WKLQN                 +ROOLV'HSRVLWLRQ([KLELW7KH%DWHVQXPEHUVDUH
 WKH\ UHFDOOHG6(59352FRPHLQIURP2KLRRU3HQQV\OYDQLD /8&WR

                                                                                                                  3DJHV
                                         ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP

                                                                                                                                            A803
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                                                           :D\QH+ROOLV                                                   -XO\
                                                              3DJH                                                                 3DJH
  $<HV                                                          4<RXWKLQN\RXZRXOGKDYHQRWLFHGWKDWDPRXQWRI
  4,GLGZDQWWRFODULI\RQHWKLQJ$QG\RXNQRZ               JDSHYHQZLWKWKHFDUSHWFRYHULQJLW"
  ZHFDQDFWXDOO\XVH([KLELWWRWRFODULI\                       $6XUH6WHSSLQJRQWKHFDUSHW\RXZRXOGKDYH
  <RXKDGGLVFXVVHGHDUOLHUWKHIORZRIZDWHU              IDOOHQWKURXJK
  WKDW\RXH[SHULHQFHGRQWKHWKDQGWKHWKZKHQ\RX                 4$QG,MXVWZDQWWRDVN\RXDFRXSOHODVW
                                                                               4$QG,MXVWZDQWWRDVN\RXDFRXSOHODVW
  ZHUHUHWXUQLQJWR\RXUKRPHDVPRYLQJIURPWKHQRUWKWR                TXHVWLRQVDERXWZKHUHZHDUHQRZ6RZH YHWDONHGDORW
  VRXWKHDVWLVWKDWFRUUHFW"1RUWKZHVWWRVRXWKHDVW"                    DERXWDERXWWKHUHSDLUVWKDW\RX
                                                                          DERXWDERXWWKHUHSDLUVWKDW    YHGRQHWRWKHKRPH
                                                                                                           \RX YHGRQHWRWKHKRPH
  $<HVQRUWKZHVWWRVRXWKHDVW                                   ,VDP,FRUUHFWLQXQGHUVWDQGLQJWKDWWKRVHDUHVWLOO
                                                                          ,VDP,FRUUHFWLQXQGHUVWDQGLQJWKDWWKRVHDUHVWLOO
  4&DQ\RXPDUNRQWKLVH[KLELWWKHGLUHFWLRQWKDW               RQJRLQJ"
                                                                           RQJRLQJ"
 \RXH[SHULHQFHGWKHZDWHUIORZLQJ"                                    $<HVFRUUHFW
                                                                                $<HVFRUUHFW
 $:KDWFRORU"5HG"                                            46RLVWKHUHDDIXOOWDOO\RIZKDWWKHFRVWV
 4%ODFNLI\RXZRXOG,WKLQNWKDW VZKDWZH                 DUHJRLQJWREHWRJHWVRUWRIEDFNWRZKHUH\RXZHUH"
 XVHGRQWKHRWKHURQWKHRWKHUH[KLELW                            $1R:H UHDGGLQJFRVWVGDLO\
 $7KHZDWHUWKHZDWHUFDPHDFURVVWKH                       4$QG,DOVRZDQWWRFODULI\6R\RXPRYHGLQ
 QHLJKERUKRRGOLNHWKLV                                               ZLWK\RXUVRQVKRUWO\DIWHULQIDFWLPPHGLDWHO\
 4$QGGLGWKDWZDWHUPHHWXSZLWKWKHED\RX                    DIWHU\RXHYDFXDWHGFRUUHFW"
 IXUWKHUGRZQVWUHDP"                                                   $,PPHGLDWHO\DIWHU
 $:HOOLWZDVDOORQHFRQWLJXRXVERG\RIZDWHU               4$QG\RXKDYHEHHQZLWKKLPVLQFHODWH$XJXVWRI
 42ND\8QGHUVWRRG                                           ODVW\HDU"
 067$5',))&RXOGMXVWDQG,GRQ W              $<HV
 ZDQWWRLQWHUUXSW\RXUTXHVWLRQLQJ%XWMXVWIRUWKH                 4$UH\RXSD\LQJUHQWWR\RXUVRQ"
 UHFRUGFRXOG\RXPDNHWKDWEODFNOLQHLQWRDQDUURZ"                 $:HSDLGKLPXSIURQWLQ2FWREHURUVRWR
 05+$570$1<HDK7KDW VDQH[FHOOHQW                GRVRPHZRUNPDNHLWPRUHFRPIRUWDEOHIRUXV$QG
 LGHD8KKXK                                                        WKDW VWKHRQO\UHQW, YHSDLGKLP
 067$5',))-XVWIRUFODULW\7KDQN\RX             4+DYH\RXKHOSHGRXWLQDQ\RWKHUZD\VSLFNLQJ
                                                              3DJH                                                                 3DJH
  $ :LWQHVVFRPSOLHV                                            XSXWLOLWLHVRUDQ\WKLQJOLNHWKDW"
  4 %<05+$570$1 7KDQN\RX0U+ROOLV                      $<HV:HMXVWERXJKWKLPDQHZVWRYHGLIIHUHQW
  ,MXVWZDQWHGWRFODULI\EHFDXVH,NQRZZH               WKLQJV, YHUHSDLUHGVRPHVWXII+DGVRPHFRQWUDFWRUV
  WDONHGDERXWVHYHUDOIRXQGDWLRQVDQG,ZDQWWRPDNH                   ZRUNLQJWRLPSURYHDQGKHGLGQ WZDQWDQ\PRUHSD\PHQW
  VXUHZH YHJRWWKHPDOOVWUDLJKW+DYH\RXKDGDQ\                    48QGHUVWRRG7KDW VDJRRGVRQ,KRSHP\
  IRXQGDWLRQLVVXHVLQ\RXUKRPHEHIRUH+XUULFDQH+DUYH\"                IRONV SODFHQHYHUIORRGV
  $:H UHRQHRIWKHIHZKRPHVLQWKHQHLJKERUKRRG                $+HLVUHDG\IRUXVWROHDYH:H UHRYHUGXH
  WKDWKDVQHYHUKDGIRXQGDWLRQSUREOHPVQRUKDVKDGWR                 48QGHUVWRRG
  UHSDLU2XUVZDVEXLOWHYLGHQWO\RQSLHUDQGEHDPRU                  05+$570$1:HOO,WKLQNWKDWWKDWLV
 VRPHWKLQJ,ZDVQ WWKHUHIRUWKHFRQVWUXFWLRQEXW                  DOO,KDYH
 LW VDYHU\VROLGIRXQGDWLRQ                                         )857+(5(;$0,1$7,21
 4$QG\RXGLGQ WKDYHDQ\IRXQGDWLRQLVVXHVRQ                 %<067$5',))
 WKHKRPHDIWHUWKHIORRGLQJHLWKHU"                                   46ROHWPHDVNDIHZIROORZXSTXHVWLRQVLI,
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                                    John Britton                    July 16, 2018

                                                                  Page 1

   1        IN THE UNITED STATES COURT OF FEDERAL CLAIMS

   2    IN RE:   UPSTREAM ADDICKS

        AND BARKER   (TEXAS)

   3    FLOOD-CONTROL RESERVOIRS

   4                                       CASE NO . 17-cv-9002L

   5    THIS DOCUMENT RELATES TO:

   6    ALL DOWNSTREAM CASES

   7

   8                           ORAL DEPOSITION

   9                            JOHN BRITTON

  10·            30(B) (6) MEMORIAL . SMC INVESTMENT 2013, LP

  11                            JOHN BRITTON

  12

  13          ORAL 30(b) (6) DEPOSITION OF JOHN BRITTON,

  14    Memorial SMC Investment 2013, LP, produced as a

  15    witness at the instance of the JOHN BRITTON and duly

  16    sworn, was taken in the above-styled and numbered

  17    cause on the 16th day of July, 2018, from 9:10 a.m.

  18    to 2:19 p.m., before Shauna Foreman, Certified

  19    Shorthand Reporter in and for the State of Texas,

  20    reported by computerized stenotype machine at the

  21    offices of Vinson & Elkins, 1001 Fannin, Suite 2500,

  22    Houston, Texas, pursuant to the Federal Rules of

  23     Civi l Procedure and the provisions stated on the

   24    record or attached hereto.

   25

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                                    202-857-3376




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                                                                   John Britton                                                    July 16, 2018
                                                                   Page 90                                                                    Page92
              Q. (BY MR. DAIN) Is there any indications
        2 that -- that there is a resistance to leasing in the
        3 building because of the Harvey flood?
        4    A. Well, we haven't-- and I mentioned before,
        5 I'm not sure ifwe have anybody living on the first
        6 floor yet. I'm not sure we've leased any first-floor
        7 units.
        8    Q. Understood.
        9    A. If you're talking about being impacted by                                 For ~       . t!ti: me: "U(llp;s: n.:y
       10 the flood that would be the first line of water                    1) wl'scoppcd v.--orldn     cu can' r-havc-reSJac:rus ·~mg
       11 entry. We've received a lot of questions - we've                    I at a multi•stor)' epanmenr without me pump
       12 had residents ask for elevation certificates so they
       13 can get insurance, including flood insurance.
       14           So I'm not answering your question
       15 directly. They're -- residents are aware that the
       16 property flooded, new residents corning in.
       17    Q. Understood, and rm -- and I appreciate the
       18 response.
       19           Have you heard from any of the folks
       20 that are I guess, front line in the effort to fill
       21 the tenants back up that there is -- there are people
       22 that are saying, "I won't" - words to the effect "I
       23 don't want to be here because of the prior flood''?
       24     A. Well, we've had people who moved out                                The .,..ires that were u.11derwatcr. lhe}' Vl'OUldn't let us
       25 because of the flood and didn't come back. Keep in                         splice lnlO them But in other mu. they would.
                                                        -------I'--------                                                            --~-----"---,
                                                                   Page 91
         1 mind, for every visitor ro the property, prospective                       111 aome 11re11S1 ~ had t<l compli:1~ty n:~.
         2 resident, you typically in the apartment industry --                  2           What was your question again? Sorry.
         3 or at least at our class of apartments, you typically                3     Q. 1 was trying to do what you were doing,
         4 close about 20 percent of the traffic. That means                    4 which was work backwards from the December reoccupy
         5 eight out of every l Owho come into your property                     5 opportunity to the loss of occupation. At least you
         6 don't lease from you. ls it because we flooded? Is                    6 made that leap, so I'll follow you.
         7 it because they don't like the manager? You know,                    7     A. Right. So -- okay. I know where I was
         8 that's hard for me to answer.                                         8 going.
    -~-o--     Q.       mcjll$1 boo p, r m--uourm mlln:o                         9           MR. McNEIL: Wasn't your question
    ~::Ht;::YO·u.--aboutBarte   buLyou. ralked.:a:lirde:eirrw:                 l O dealing with the occupancy of the townhomes versus
            about !ht J)t.tilU.$$1011 ro ~~ in Dt ember --                     11 the apartments, and he was explaining what all had to
                                                                               12 be done in order to gain occupancy and why it all
                     Did !K~tQ,'l\\h.Qus.e-units-g~--   =                      13 happened at the same time?
        14 there •• did Ibey aJso .suffer an inab11il)•lb e>e                  14      A. So when we bad to re-permit for these
        I IIIld, i  when        ~                                              15 higher codes and things like that, the city viewed
        16     A. Yes, and tht: W?lC date. So th        '!.                    16 that as a permit over the entirety of the property
                     fucto Jny_o b•ed lnitial.11· Enda ifter                   17 and they would not allow us to reoccupy until the
                                                                             1
        IS the flood - ff Monday W1l!i lhe 28th - 31st - lhe                   18 common area, like the electrical and the fire pump,
                                                                             I 19 all those things were completed for the entirety of
                                                                               20 the property.
                                                                               21            So as a result, the reopening of the
                                                                               22 property occurred simultaneous to the townhouses and
                                                                               23 the flats. That was in term.s of-· l take that back.
                                                                                24 I'm not sure we had any of the -- the townhouses
        25 survi amt SIB;' lhc: whole rime. We o:                            I 25 actually available in December. So we could have --
                                                                                                                              24 (Pages 90 - 93)
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                                                                John Britton                                             July 16, 2018
                                                                Page94                                                               Page 96
         if the units were rebuilt, I think we could have                     with the residents who were still remaining, pleaded
       2 moved people in, but J don't think we got the                     2 with them to leave. At that point, the mandatory
       3 turnover of the first townhouse until February.                   3 evacuation had not been made by the city, but it was
       4     Q. (BY MR. DAIN) They just-- while you had -                  4 deeply concerning that we were walking through the
       5 you weren't legally prohibited from doing that. You                5 property that was -- depending on the elevation,
       6 weren't physically ready for those folks?                          6 10 - you know, 5 and a half feet to l Ofeet from the
       7     A. We weren't legally prohibited as a property                 7 street or the finished first floor.
       8 level, but then they had individual permits on the                 8            So essentially the majority of the
       9 to\\011house buildings that had not yet - there wasn't             9 first floor was submerged, yet the power was on to
      IO as much work on the townhouses, but it bad to be                 10 the entirety of the property, which obviously creates
      11 restored before people could move back in.                       l l a hazard of unbelievable proportion. If there were a
      12            MR. DAIN: Off the record for a                        12 fire, no fire department entity would be able to save
      13 second.                                                          13 these people.
      14        (Recess from 1:15 p.m. to 1:23 p.m.)                       14            So we pleaded for them to leave. A
      15     Q. (BY MR. DAIN) Bringing you to late                        15 lot of them were dug in. We couldn't physically pull
      16 August 2017 and the Harvey storm begins, where are               16 them out of there and make them leave. But that's
      17 you? Are you in Houston area?                                    17 what we witnessed on that Wednesday, sort of utter
      18    A. I'm embarrassed to say on Saturday or                      18 devastation.
      19 Friday, I decided it would be a good idea to take my              19     Q. Who from -- whether it be Grayce
      20 dog and 12-year-old to our house io Galveston and                20 Management, LLC or who from any of the Grayco
      2 I watch the storm down there and got down there and was           21 entities was present during the beginning of the
      22 stuck four or five days.                                         22 storm and during the initial days of flooding?
      23     Q. Okay. So when did you return to Houston,                  23       A. Well, primarily it was Lauren Smith, who
      24 then?                                                             24 was the property manager. She resided at the
       25    A I returned to Houston on Wednesday                          25 property. She resided on the first floor of the
                                                                Page 95                                                               Page 97
        1 following the storm.                                                1 property. So all of her belongings were -- well, I
        2    Q. Okay. And when did you first visit                            2 say all of her belooglng were wiped out. She managed
        3 Parkside?                                                           3 to move some of her stuff up on Sunday evening to a
        4    A. Wednesday, the 30th.                                          4 second or third floor unit, but she was there the
        5    Q. And what clid you observe on the 30th?                        5 majority of the time until all the residents were
        6    A. Well, we took a boat to the property, a                       6 gone, all except the one we talked about who didn't
        7 17-foot fishing boat, not a flatjoh.o boat. So we                   7 ever leave.
        8 were navigating a hull that went several feet into                  8          There was one individual in the back
        9 the water. Pulled up to the northeastern comer of                   9 of the property in a townhouse who said he wasn't
       10 the property, the comer on South Mayde Creek, kind                  10 going anywhere. He stayed the whole time, and
       11 of pulled the boat up next to the apartment balconies               11 actually we were in contact with him to make sure he
       12 on the first floor and the second floor.                            12 was okay and he was taking pictures and watching out
       13           One of the individuals on the boat                        13 for the place.
       14 jumped up and climbed up to the second floor from the               14           MR. DAJN: I'll go ahead and have this
       15 boat. So that's bow high the water was. I, again                    15 marked.
       I6 not makiog a very sound decision, decided to slide                  16         (Exhibit 17 marked)
       17 off the boat into the first floor. First came down                  17     Q. (BY MR. DAIN) l'm handing you what's been
       18 on top ofa fence betw·een my legs which was not very                18 marked Britton Exhibit Number 17. It's a series of
       19 smart. Pulled myself back up, slid down all the way             !   19 text messages. Because of the effort today to
       20 to the ground, and the water was up to about my chin.           ! 20 reproduce these •· get copies of these documents here
       21 Didn't have a life vest on, but 1 sort of forced                I 21 and to get these documents in a correct order,
       22 myself over to the stairs that led up to the second             I 22 although the first page has a Bates stamp of 685, the
       23 story.                                                              23 rest of them are not·· many of the others are not
                                                                          1
      I 24          So made it up to the second story. We                     24 Bates stamped. I'm not sure ifany of them are.
       25 at that point walked through the building, conversed            J   25           Let me ask you: Have you seen that            __j
                                                                                                                     25 (Pages 94 - 97)
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                                                                    Page 1

1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2    IN RE UPSTREAM ADDICKS            )
     AND BARKER (TEXAS)                )
3    FLOOD-CONTROL RESERVOIRS          )   Sub-Master Docket No
4    ________________________          )   17-cv-9002L
5    THIS DOCUMENT RELATES TO          )
6    ALL DOWNSTREAM CASES              )
7                --------------------------------------
                              ORAL DEPOSITION OF
8
                                 ARNOLD MILTON
9
                                 JULY 10, 2018
10              --------------------------------------
11
12               ORAL DEPOSITION OF ARNOLD MILTON, produced as
13   a witness at the instance of the United States, and duly
14   sworn, was taken in the above-styled and numbered cause
15   on the 10th day of July, 2018, from 9:02 a.m. to
16   2:48 p.m., before Morgan Veletzuy, CSR in and for the
17   State of Texas, recorded by machine shorthand, at
18   Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19   Suite 4000, Houston, Texas 77056, pursuant to the
20   Federal Rules of Civil Procedure and the provisions
21   stated on the record or attached hereto; that the
22   deposition shall be read and signed before any notary
23   public.
24
25

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                                                                    Page 32

1    be about 5 feet.

2          Q.   And the two-drawer unit approximately --

3          A.   Half that.     It was half that.       Maybe 2 1/2

4    to 3 feet tall.

5          Q.   We've done a really good job of not talking

6    over each other or past each other so far, I'd just ask

7    that you let me finish the questions before answering if

8    that's okay.

9          A.   Oh, I'm sorry.      I thought you did.

10         Q.   Yeah, no problem.

11                      So you said the two-drawer unit was

12   probably about 2 1/2 to 3 feet tall?

13         A.   Uh-huh.

14         Q.   Okay.     And the small desk, approximately what

15   height was the file drawer in the small desk?

16         A.   What was that desk?        About 3 feet.      And we had

17   a large sliding drawer on the right side lower drawer --

18   no, sorry, middle drawer.         We had two thin drawers --

19   one above and one below.         But that sliding drawer was

20   where we kept the hanging files in the house.

21         Q.   And approximately what was the height of that

22   small drawer?

23         A.   The small drawer?

24         Q.   Sorry.     Let me rephrase the question.

25                      The drawer that you mentioned with the

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                                                                       Page 33

1    vertical files that was in the desk, approximately what

2    height was that drawer at?

3          A.    I guess 2 feet, roughly.

4          Q.    We'll get into details of Harvey later on, but

5    approximately what was the depth of the inundation of

6    the water in your home?

7          A.    About 4 feet 4 inches, plus or minus.

8          Q.    Were any documents that were in the two-drawer

9    unit salvageable?

10         A.    No.     You've got to understand the mentality of

11   being in a flooded house.          You couldn't even open the

12   drawers, everything was swollen.               And my son-in-law and

13   three of his college buddies came in with half a dozen

14   black kids they had hired from Home Depot and started

15   taking that house apart as soon as we could get back in,

16   pumping out the rest of the water.               And we stacked it

17   all in the front yard, it was almost as high as a man on

18   the curb.     All the way up and down the street, the same

19   situation.        So a lot of stuff just went out.

20                       And if I had all of the time in the world I

21   would have drained my Harley motorcycle and oiled it up

22   and tried to salvage what else I could.                 Our clothes

23   were totally mildewed and everything stank because the

24   sewer water backed up into the house.               Shoes and stuff

25   were floating around.         It was -- it was kind of a devil

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                                                                      Page 34

1    take behind most deal to try to save the house.                  And it

2    was almost impossible to supervise people under those

3    conditions, so a lot of stuff just went out the door.

4    And I noticed there were people going up and down the

5    street picking up stuff.          Some of our appliances

6    disappeared over the first night.              My file cabinets

7    disappeared.      And people were scrounging up and down the

8    neighborhood.      And it was very hard to save or salvage

9    anything.

10         Q.    So just going back to the house records for a

11   moment.

12         A.    Uh-huh.

13         Q.    The four-drawer unit, that was placed on the

14   curb and you did not salvage any documents from that

15   unit; is that correct?

16         A.    No.   No.    It was gone.

17         Q.    The two-drawer unit --

18         A.    Same thing.

19         Q.    -- was anything salvaged from that?

20         A.    No.

21         Q.    The desk, was anything salvaged from the desk?

22         A.    No.

23         Q.    And all of those things, the -- the four-drawer

24   unit, the two-drawer unit, and the desk are gone?

25         A.    Yes, all gone.

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                                                                   Page 35

1          Q.    So going back to the home and whether any

2    changes were made to the home.          From the time you bought

3    it to before Harvey you had mentioned, you know, some --

4    some appliances and some tile work in the kitchen.               We

5    mentioned some of the other things like air-conditioning

6    units.     Were there any other changes to the home during

7    that time that you can think of?

8          A.    Just painting.    That was about it.        I kept it

9    clean and well maintained.

10         Q.    When you bought the home did you buy it to use

11   as your primary residence?

12         A.    Yes.

13         Q.    At any point in the time that you've owned it,

14   did you use it for any other purpose?

15         A.    No.

16         Q.    You mentioned earlier that you have a family

17   ranch; is that correct?

18         A.    Yes.   Yes.

19         Q.    About how long does it take to drive from the

20   Silvergate home to the family ranch?

21         A.    Two hours.

22         Q.    When you say "family ranch," is that your side

23   of the family or Mrs. Milton's side of the family?

24         A.    My side.

25         Q.    How long has your family owned the ranch?

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                                                                    Page 61

1    needles.    And that was part of the problem that caused

2    that siding to be a problem.          And I think now that we're

3    spending money on the house we'll probably either trim

4    that pine tree up to where it's nothing but a few

5    needles at the top or take the whole thing down.                They

6    are really problems in Houston; pine trees are.

7          Q.   They get too tall for the soil or something?

8          A.   Well, the roots get under the slab, they shed

9    pine needles, they clog up your outside condenser units

10   on your air conditioner.         The squirrels come and they

11   chew holes in your house, pretty soon you feel like

12   you're on the frontier.

13         Q.   Did you plant those pine trees?

14         A.   No.   They were already there unfortunately and

15   I didn't pay enough attention, I was too busy trying to

16   make a living, I let them get too big.

17         Q.   We've got the same problems with white pines in

18   DC.

19         A.   Uh-huh.

20         Q.   Have you ever had a problem with the toilets in

21   your home backing up?

22                    MR. HOBBS:      Objection; form.

23         A.   No, not really.       I regularly fix the innards of

24   the toilets, but I don't think we've ever had anything

25   back up on us.

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                                                                     Page 62

1          Q.    (BY MR. LEVINE)     Let me ask it a little bit

2    differently.

3                      Have you ever had an instance where your

4    toilets backed up as a result of a storm?

5          A.    No.   Not until Harvey when we had water in the

6    house.     And I assume they backed up.          I know the place

7    didn't smell very good.        Obviously there was sewage in

8    the house in one form or another.             We were warned not to

9    get our heads into the water.          Which I promptly did when

10   I fell off the boat the first time I came back to see

11   the house.

12         Q.    Oh, man.     I hope you didn't get sick as a

13   result of that.

14         A.    I didn't.

15         Q.    Did you ever have any drainage issues with the

16   home prior to Harvey?

17         A.    No.   Over the course of almost 40 years my wife

18   loved to put on new mulch every year.             The beds got

19   built up to the point to where they were starting to be

20   a threat to the weep holes on some portions of the

21   house.

22                     But after Harvey I got out there, leveled

23   all that out.      I probably had about 80 big bags of dirt

24   that I let the people who were picking up debris pick

25   up.   So the slab is clear now.          And when we relandscape

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1    the lawn we're going to make sure that everything stays

2    where the slab can be seen.

3            Q.     When you say the mulch was starting to endanger

4    the weep holes, can you describe for me what you mean by

5    that?

6            A.     It means the mulch was up to the top of the

7    slab.        And between the mulch and the flower beds next to

8    the house and the slab of the house itself, water would

9    accumulate.          And if the water couldn't get away, it

10   would tend to go into the weep holes.

11                          Now, once we tore off all of the interior

12   Sheetrock that was wet and destroyed, there was no

13   obvious damage from that.             So it was starting to become

14   a threat, more probably in my mind than actually it was.

15   But I've taken the opportunity since the flood to take

16   out a lot of that mulch.

17           Q.     Prior to Hurricane Harvey had you observed any

18   sort of water damage in the home as a result of the weep

19   holes backing up?

20           A.     No.     No.

21           Q.     Is it correct that the weep holes are in the

22   foundation of your home?

23           A.     No, they were above the foundation.

24           Q.     Okay.     So they are -- when you say "the slab,"

25   is the slab the foundation of the home?

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                                                                      Page 87

1    you looked at the clock?

2            A.   Uh-huh.

3            Q.   Which clock are you referring to?

4            A.   It was a grandfather clock right inside the

5    front door.        And somehow it said 3:00 o'clock.             I wasn't

6    aware if it was still ticking or not because the

7    pendulum of course comes down.             But it said 3:00, I know

8    that.

9            Q.   Do you have a clock on your bedside table?

10           A.   No.

11           Q.   Let me ask that again.         At the time you went to

12   bed on August 28th, 2017, was there a clock on your

13   bedside table?

14           A.   There may have been.        You know, I don't pay any

15   attention to it.        I think it's half decoration as much

16   as clock.      But I know on my wife's side of the bed

17   there's a clock, but I don't think there is on my side.

18   I never paid attention to it if there is.

19           Q.   Do you recall if you looked at the clock that

20   was on your wife's bedside table before going to bed on

21   August 28th, 2017?

22           A.   I'm sure I did not.        I'm sure I did not.         The

23   first place we didn't go to sleep downstairs, we slept

24   upstairs.      And we were in the guest bedroom up there --

25   or on the couches.

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1          Q.    Do you have a -- at the time you went to bed on

2    August 28th, 2017, upstairs in your home, was there a

3    clock anywhere near the bed that you slept in that

4    night?

5          A.    I think there's a little travel clock, but I'm

6    not sure it even has batteries in it.             We just don't use

7    it.

8          Q.    So you said you woke up early on the morning of

9    August 28th, 2017, correct?

10         A.    Uh-huh.

11         Q.    Do you know approximately what time?

12         A.    Well, if I had to guess, it was probably pretty

13   close to 6:00 o'clock.         Maybe 7:00 at the latest.

14         Q.    What did you do when you woke up?

15         A.    Looked out the window to see where the water

16   was and what was going on.           I looked into the living

17   room from the top of the stairs.

18         Q.    What did you see?

19         A.    Oh, a mess.     Water.     I'm trying to remember

20   when I took the pictures.          I think I took some -- I may

21   have taken some pictures then.            I know I took a lot more

22   when I came back with my son-in-law the following

23   Saturday.     I don't remember exactly when I took them,

24   but it was either that morning some of them, or I know

25   I -- I'm pretty sure we took a lot more the following

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1    Saturday.     I can show you some of them if you'd like to

2    see them.

3          Q.    Yeah, we might want to take a look at some of

4    those in a minute here.

5          A.    Okay.

6          Q.    So you woke up and you said you looked at what

7    was going on; you saw a mess and you saw water.                 The

8    water that was in your home, was it clear?

9          A.    No, it was never clear.          It was always kind of

10   murky.

11         Q.    Okay.   Was there any particular smell that you

12   recall?

13         A.    Yeah, it didn't smell good.

14         Q.    Aside from not smelling good, can you describe

15   it for me in any way?

16         A.    Well, the first day that first water that came

17   in kind of smelled like dank swamp water.               The following

18   Saturday it had more of a sewage to it.               That's about

19   all I remember.

20         Q.    Do you remember observing any sort of debris in

21   the water?

22         A.    The second trip, yeah.       There was some stuff

23   that you wouldn't want to touch.             Most of the debris the

24   first morning were things like floating shoes and flower

25   dishes and stuff like that, books.

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1          Q.    When you woke up on the morning of the 28th,

2    did you still have power?

3          A.    Again, I'm not sure.      I -- I just don't

4    remember.     I don't know why we would have needed power

5    that morning.      It was just a matter of collecting a few

6    things that you can grab and getting in the boat and

7    going.

8          Q.    Do both you and your wife have cell phones?

9          A.    Yes.

10         Q.    Did you both have cell phones during Harvey?

11         A.    Yes.

12         Q.    Did you have your cell phones when you woke up

13   on the morning of the 28th?

14         A.    I'm pretty sure we did.

15         Q.    How long between when you woke up on the

16   morning of the 28th until you were evacuated?

17         A.    My son-in-law came and picked us up probably

18   about, I don't know, if I had to guess maybe 10:30,

19   11:00 o'clock.      Maybe as late as 2:00 o'clock but

20   somewhere towards midday.

21         Q.    When you say your son-in-law picked you up,

22   where did he pick you up?

23         A.    He picked us up on Memorial Drive.          He was able

24   to get through.      Memorial Drive was flooded and I -- I

25   think he had to come in kind of a special way, but he

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1    if I was in the right front or the back.                But the depth

2    gauges on the bayous that come out of Barker and

3    Addicks, which are both to the south and the east of us,

4    they don't show waters above those bridges, I don't

5    think.     Those depth gauges I think are under the

6    bridges, so I never paid much attention to them if

7    they're there at all.

8          Q.    Have you ever noticed gauges on highway

9    underpasses?

10         A.    Oh, yeah.     This Beltway 8 where it crosses

11   I-10, that has depth gauges.           Down around 610 and I-10

12   they're definitely there.

13         Q.    What do you think those depth gauges are for?

14         A.    They're for the water levels so you know not to

15   drive in them.        Shows you how deep it is.

16         Q.    So after you went back to your daughter's house

17   on the 28th -- well, let me start that again.

18                       Do you know what time you got to your

19   son-in-law and daughter's house on the 28th?

20         A.    I'd say noon or early afternoon.             Maybe

21   somewhere in the 11:00 to 2:00 range, I think.

22         Q.    And how long did you stay there?

23         A.    We're still there.

24         Q.    Okay.     Let me -- let me ask a slightly

25   different question.

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1                     When was the first time you returned to

2    your 850 Silvergate home?

3          A.    The following Saturday.         My son-in-law and I

4    went back in a boat with a pretty big outboard.                And

5    like I say, when I turned into the front yard I fell off

6    the boat.     And then he and I went into the house and the

7    water was up to here on me.       And obviously it had been

8    higher based upon some of the stains on the wall.                And

9    we wandered around the house and picked up whatever and

10   put it in plastic bags.      I got my favorite boots, they

11   were floating solo up.      And I use those to work in the

12   yard now.

13                    But we took pictures.         The refrigerator was

14   floating in the kitchen.       The piano and a few other

15   pieces of furniture were under water in the living room.

16   And everything we put on tables was soaked,

17   unfortunately.     We had stacked a lot of rugs and stuff

18   up there.     And we had to have all -- all of that

19   cleaned.     Stuff we could save, which was a couple of

20   pretty good-sized rugs, we had those cleaned.              But we

21   stayed probably about 40 minutes and left.

22         Q.    During that previous answer you said water was

23   about up to here and you pointed to your chest.                Can you

24   estimate about how high that was?

25         A.    However tall this is, I don't know.           Whatever

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1    you guys think.        But that tall.      4 and a half, 4,

2    somewhere in that range.

3           Q.   4 to 4 and a half feet you're suggesting?

4           A.   Well, let's say 4 feet.            It's probably 4 feet,

5    somewhere in that range.

6           Q.   You also had indicated at the start of that

7    answer a moment ago that it was the -- the following

8    Saturday?

9           A.   Uh-huh.

10          Q.   Do you know what the date was?

11          A.   I don't.     I'd have to look at it.

12          Q.   Do you think that could have been Saturday,

13   September 2nd, 2017?

14          A.   It was the following Saturday, whatever that

15   was.    That's about right.

16          Q.   You said on that following Saturday.              And it

17   was Saturday, September 2nd was the date of the Saturday

18   after August 28th?

19          A.   Yeah.     Yeah, right.

20          Q.   You were at the home for about 40 minutes?

21          A.   Yeah, 30 to 40.

22          Q.   And was it just you and your son-in-law?

23          A.   Yes.

24          Q.   And did you take anything with you when you

25   left the home on the -- September 2nd?

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1    work?

2            A.   Well, let's see.       I guess you say I was about

3    71 and I'm almost 80 now, so it was nine years ago.

4            Q.   You mentioned that you made money from the

5    ranch in the past year or so.            About how much was that?

6            A.   $4,000.

7            Q.   Do you know what the approximate value of the

8    ranch is?

9            A.   It's 700 acres at about, I don't know, 4- to

10   5,000 an acre, maybe 6.          So $3 million.

11           Q.   What do you think the 850 Silvergate property

12   was worth prior to Harvey?

13                     MR. HOBBS:       Objection; goes to damages.

14           A.   Well, we had a tax-based appraisal, and it was

15   somewhere in the neighborhood of 424,000.

16                     MR. HOBBS:       I also object to the form; it

17   calls for expert testimony.

18           Q.   (BY MR. LEVINE)       What do you think the value of

19   the 850 Silvergate property is today?

20                     MR. HOBBS:       Same objections.      Object that

21   it goes to damages and that it potentially calls for

22   expert testimony.

23           A.   The least -- or the last similar appraisal was

24   $257,000 roughly.

25           Q.   (BY MR. LEVINE)       Both of those numbers, you

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1    said those were tax appraisals; is that correct?

2            A.   Uh-huh.    Uh-huh.      Yes.

3            Q.   Do you think tax appraisals are fair

4    representations of the value of a home?

5                        MR. HOBBS:     Objection.      Calls for potential

6    expert testimony and goes to damages.

7            A.   I think they're close enough for government

8    work.

9            Q.   (BY MR. LEVINE)       Have you ever challenged a tax

10   appraisal?

11           A.   My wife challenged it once when I was overseas.

12   I don't know what was said or done, but I have not

13   personally.

14           Q.   Besides the tax-based appraisals, do you -- do

15   you have any other ideas what the value of the home is

16   presently?

17                       MR. HOBBS:     Objection; goes to damages.

18   And objection to the form.

19           A.   Not presently.       There were a couple of guys

20   that came around right after the flood hitting up

21   everybody.      And I asked them what they offer and they

22   said low 200.        So I'm saying 220 off the street.

23           Q.   (BY MR. LEVINE)       Do you know if any of your

24   neighbors sold?

25           A.   Yes.    The -- the old man across the street

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1    sold.        I don't know what he got.           The guy next to him

2    with the storm drain across the street, he sold and

3    moved out of the neighborhood.              He asked me once if I

4    thought it would flood again, I said "If they don't fix

5    the problem it will."         So he moved.

6                        And then there was another guy at the end

7    of the street that sold.           And all of those homes are

8    bigger than mine.        And if I had to guess, I would say

9    somewhere in the 250 or 270 range.                 I think that's about

10   what they got.

11           Q.     When you say "if they don't fix the problem,"

12   what do you mean by that?

13                       MR. HOBBS:     I'll object to the extent it

14   requires expert testimony.

15           A.     Well, the same thing that caused our house to

16   flood, which is the opening of the flood gates.

17           Q.     (BY MR. LEVINE)     What would you say the

18   government specifically did to take your property?

19                       MR. HOBBS:     Objection; form.

20           A.     They opened the flood gates.

21                       MR. HOBBS:     Objection.        Calls for expert

22   testimony.

23           Q.     (BY MR. LEVINE)     Do you think the government

24   did anything besides open the flood gates to take your

25   property?

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1                      MR. HOBBS:     Object to the form.            Object to

2     the extent it calls for expert testimony.

3          A.   I don't think so.

4          Q.   (BY MR. LEVINE)       Do you know if prior to Harvey

5     the Army Corps of Engineers ever opened the flood gates

6     on Addicks and Barker Reservoir?

7                      MR. HOBBS:     Objection; form.

8          A.   I don't know.

9          Q.   (BY MR. LEVINE)       Do you know if since Harvey --

10    start that again.

11                     Since Harvey, do you know if the Army Corps

12    has opened the gates on Addicks dam?

13                     MR. HOBBS:     Objection; form.

14         A.   Well, again, I don't know if you're talking

15    about fully open or partially open.            I don't know if

16    they can partially open it.         I just -- I don't know.

17         Q.   (BY MR. LEVINE)       Besides opening gates, what

18    are you alleging that the government did to take your

19    real property?

20                     MR. HOBBS:     Objection; form.

21         A.   That's it.

22         Q.   (BY MR. LEVINE)       Besides opening the gates,

23    what are you alleging that the government did to take

24    your personal property?

25                     MR. HOBBS:     Objection; form.        Again --

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1            A.   That's the front window.           That's the window I

2    was looking out to watch the water level on the street.

3            Q.   Is that the window on your home that's closest

4    to your front door?

5            A.   Yes.

6            Q.   And so if I'm looking at the home, that window

7    is immediately to the right of your front door?

8            A.   Exactly.

9            Q.   You can set that one aside.

10                        (Exhibit 43 marked.)

11           Q.   (BY MR. LEVINE)       Mr. Milton, I'm handing you

12   what's been marked as Exhibit 43.               Please take a moment

13   to review it and let me know when you're ready.

14           A.   Okay.     That's basically the same window, same

15   shot closer up.         And, again, if -- if you could have

16   straightened out that tape, it would have probably been

17   closer to 4.4 than 4.5, but it's showing almost

18   4.5 inches.

19           Q.   Did you take this picture?

20           A.   Yes.

21           Q.   And is it, again, John holding the measuring

22   tape?

23           A.   Yes, it is.

24           Q.   Okay.     And were the pictures taken in

25   Exhibits 41, 42, and 43 all taken on the same day?

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1          A.   Yes.

2          Q.   Do you know what day these pictures were taken?

3          A.   I might be able to find a date in my photos if

4    I went back and looked at my phone, I'm not sure.                  But

5    it was sometime after September 10th, that's for sure.

6          Q.   Do you have any reason to believe that the

7    waterline moved any time from the time that it was

8    formed to the time you took the picture?

9          A.   No.     No.

10         Q.   That holds for all three of those exhibits,

11   that question?

12         A.   Yes.     Yes.

13                      (Exhibit 44 marked.)

14         Q.   (BY MR. LEVINE)       Mr. Milton, I'm handing you

15   what's been marked as Exhibit 44.             Please take a moment

16   to review it and let me know when you're ready.

17         A.   Okay.     These are our invoices.

18                      MR. LEVINE:    Let the record reflect that

19   Exhibit 44 is Bates-stamped Milton 000178 through

20   Milton 000181.

21         A.   All right.

22         Q.   (BY MR. LEVINE)       Mr. Milton, do you recognize

23   Exhibit 44 that I've just handed to you?

24         A.   Yes.

25         Q.   And what is Exhibit 44?

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1            A.     It's the invoices for work that's been done on

2    the house to this point.

3            Q.     Is John the person you mentioned in the last --

4    in reference to the last couple of exhibits work for

5    Praxius Builders?

6            A.     Yes.

7            Q.     Okay.     And has anyone besides Praxius Builders

8    done work on your home since the demolition activities

9    that you described earlier with your son-in-law and his

10   associates?

11           A.     No, they've -- they've been in charge of all of

12   this.        And of course they use subcontractors.                  But they

13   had to cosign on the SBA loan, so they're on the hook

14   too.

15                          THE REPORTER:      They're on the hook, too?

16                          THE WITNESS:      Yeah, with us legally.

17           Q.     (BY MR. LEVINE)        Are there any other -- let me

18   ask that again.

19                          Do the expenditures reflected on Exhibit 44

20   look correct to you?

21                          MR. HOBBS:     Objection to the extent it goes

22   to damages only.

23           A.     Yeah, they're pretty much in line with what

24   I've seen before.           The mildew side treatment was

25   surprisingly expensive.

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1          Q.   (BY MR. LEVINE)        Have you paid these invoices?

2          A.   Yes, we have.

3          Q.   All of them?

4          A.   Yes.

5                       MR. HOBBS:     Objection to damages only to

6    those questions.

7          Q.   (BY MR. LEVINE)        As an aside, I remember seeing

8    a picture of a bathtub in the home on the first floor.

9    Is there an old bathtub that's still in the home on the

10   first floor?

11         A.   It's been moved out and the new one is in its

12   place now.     It was just too big and heavy to move, it

13   stayed there for a long time.

14         Q.   Okay.     You can set that aside.

15                      MR. LEVINE:      Can you pass me those maps,

16   please?

17         Q.   (BY MR. LEVINE)        Earlier you had described

18   piling up debris from the demolition work and the

19   cleanup work on the home; is that correct?

20         A.   Yes.

21         Q.   How was the debris that was piled up out in

22   front of your house removed?

23         A.   They brought in a couple of small, I forgot

24   what you call them, little rubber tract- -- tractors.

25   And they got up in the yard and pushed it out into the

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1    street.      And then they had a big four-wheel front loader

2    with a grabber on the front that picked it up and put it

3    in big trucks, hauled it off.

4            Q.   Did you have to request that service?

5            A.   No, they just showed up.             As I understand it,

6    the city sent them.

7            Q.   Did you have to pay directly for that service?

8            A.   No.

9            Q.   To your knowledge, has your builder acquired

10   all necessary permits for the construction work on your

11   home?

12           A.   Very carefully.        He's talked about them.            I

13   don't remember the details, but that was a big part of

14   hiring him, because he knew how to do it and where to

15   go.

16                        (Exhibit 45 marked.)

17           Q.   (BY MR. LEVINE)        Okay.     Mr. Milton, I'm handing

18   you what's been marked as Exhibit 45.                 Can you take a

19   moment to review it and let me know when you're ready.

20           A.   All right.

21           Q.   I'm sorry.      Did you say "all right"?

22           A.   Yes.     Yes.   I'm ready.

23           Q.   Okay.     Mr. Milton, what's the document that I

24   just handed you that's marked Exhibit 45?

25                        MR. HOBBS:     Objection; form.

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1             THE UNITED STATES COURT OF FEDERAL CLAIMS

        IN RE: DOWNSTREAM ADDICKS        )

2       AND BARKER (TEXAS)               )

3       FLOOD-CONTROL RESERVOIRS         )

4                                        ) SUB-MASTER DOCKET NO.

5                                        ) 17-CV-90021

6                                        )

7    ********************************************************

8                             ORAL DEPOSITION OF

9                               JENNIFER SHIPOS

10                            September 19, 2018

                                   Volume 1

11   ********************************************************

12         ORAL AND VIDEOTAPED DEPOSITION OF JENNIFER SHIPOS,

13   produced as a witness at the instance of the DEFENDANT,

14   was taken in the above-styled and numbered cause on

15   September 19, 2018 from 3:02 p.m. to 5:05 p.m., before

16   Toyloria Lanay Hunter, CSR in and for the State of

17   Texas, reported by machine shorthand, at the law offices

18   of NEEL, HOOPER & BANES, P.C., 1800 West Loop South,

19   Suite 1750, Houston, Texas 77027, pursuant to the

20   Federal Rules of Civil Procedure and the provisions

21   stated on the record or attached hereto.

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                                                                      Page 29

1    BY MR. DOOHER:

2            Q.   And when you say "we," is that both your

3    children?

4            A.   My boyfriend was staying with me at the time.

5    And my -- yeah.        It was just my boyfriend and I at the

6    time.

7            Q.   Had you called Ms. Willett before you went

8    over?

9            A.   No, I just surprised her, "I have nowhere to

10   go.     Hello."

11           Q.   What did you -- excuse me.

12                       Did you end up staying at her house?

13           A.   Yes.

14           Q.   For how long?

15           A.   We stayed just one night.

16           Q.   What'd you do after that first -- after that

17   one night?

18           A.   Then we found a path to get to my boyfriend's

19   apartment.

20           Q.   And then did you stay at your boyfriend's?

21           A.   Uh-huh.

22           Q.   For how long?

23           A.   For a while until my house was rebuilt.

24           Q.   How long was a while?

25           A.   I would say approximately six months.

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                                                                       Page 30

1          Q.     So the storm was in late August.

2          A.     We moved in right around maybe end of March.

3          Q.     Okay.     I'd like to show you what will be

4    marked Exhibit 5.

5                         (Exhibits 4 and 5 marked.)

6                         MR. BANES:    Excuse me.       Do we have a 4?

7                         MR. DOOHER:     Oh, no that's right.

8    BY MR. DOOHER:

9          Q.     I'll represent to you that these are

10   photographs that your attorney provided on a database.

11   Each includes what's called a Bates stamp on the bottom

12   of it.

13         A.     Okay.

14         Q.     They're written in hand here.              The photographs

15   from the database would not be printed with the Bates in

16   color.     Just so you know what we're referring to.

17         A.     Okay.

18         Q.     Can you look through the photographs?

19         A.     Yes.     Yep, that's my house.

20         Q.     You recognize the photograph?

21         A.     Yes.

22         Q.     Who took the photographs?

23         A.     These I took.

24         Q.     And you provided those to your attorney?

25         A.     Yes.     These are what I sent my attorney.

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                                                                      Page 31

1          Q.    We talked earlier about the Tax Day Flood?

2          A.    Uh-huh.

3          Q.    Had you heard -- had you ever heard of that

4    referred to as a Hundred-Year Storm?

5                        THE REPORTER:      A what?

6                        MR. DOOHER:     A Hundred-Year Storm.

7          A.    No.

8    BY MR. DOOHER:

9          Q.    Have you heard it referred to as a 500-year

10   storm?

11         A.    I don't recall.

12         Q.    After Hurricane Harvey, had you ever heard it

13   referred to as a thousand-year storm?

14         A.    Yes.

15         Q.    Excuse me.     Let's take a look at the

16   photographs, please.

17         A.    Okay.

18         Q.    The first one is Bates stamped -- excuse me.

19   Bates stamped 000218.        What's that showing?

20         A.    That's my street.

21         Q.    How deep -- and this is on the 29th?

22         A.    This might be maybe the day after the 29th.

23         Q.    Do you know if you're -- I'm sorry, what --

24         A.    I don't recall dates.

25         Q.    What did you take the photograph with?

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                                                                     Page 32

1          A.    This probably had to be my iPhone.

2          Q.    Do you know if there's -- if it has the

3    capability to time stamp?

4          A.    Probably.

5          Q.    Do you still have copies of the photograph?

6          A.    Yes.

7          Q.    Next photograph, Shipos 000219.

8                       What's that a picture of?

9          A.    My house.

10         Q.    And the flooding -- water flooding?

11         A.    Yes.

12         Q.    How deep -- if you recall, how deep would you

13   say it was on that day?

14         A.    Walking into it?       Or in my house?

15         Q.    I'm sorry.    Thank you.

16                      Walking into the water in the yard?

17         A.    I would say 4 feet.

18         Q.    Noticing there's a -- a basketball backboard

19   in the driveway?

20         A.    Uh-huh.

21         Q.    Was that up before the flood?

22         A.    Yes.

23         Q.    Next photograph, 000220, another photograph of

24   the outside of your house?

25         A.    Yes.

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1          Q.    The same for the next photograph?

2          A.    Yes.

3          Q.    Okay.     Looking at the next photograph, Shipos

4    000221, what is that portraying?

5          A.    My car.

6          Q.    And what kind of car is it?

7          A.    Maserati.

8          Q.    What year?

9          A.    I had just gotten it.          It was a -- well, it

10   was 2016.

11         Q.    And you say you had just gotten it.

12                       When did you get it?

13         A.    October 2000-- no.         It's a 2017.       So it would

14   have been October -- October 2016, sorry.               Yeah.

15         Q.    Was that car damaged as a result of the storm?

16         A.    Yeah.     It was totalled.

17         Q.    The next picture?

18         A.    This is my boyfriend's Audi.

19         Q.    That's his car?

20         A.    That's his car.

21         Q.    Was that damaged as a result of the storm?

22         A.    Yes.     It was totalled.

23         Q.    And next picture?

24         A.    Same car.     My boyfriend's car.

25         Q.    Okay.     I'd like you to look at some

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1    photographs on the interior of your house.

2          A.     Okay.

3          Q.     The next photograph, 000230, what's portrayed

4    in that photograph?

5          A.     This is my hallway.        And I have an antique

6    hutch here in the entrance way.

7          Q.     How deep was the water there, if you know?

8          A.     I would say it's probably around at that time,

9    12 to 15 inches.

10         Q.     Okay.   And what do you base that on?

11         A.     I think I just recall it being -- I think we

12   tried to mark all the watermarks on it.

13         Q.     How long did it take the water to recede from

14   the interior of the house?

15         A.     Six days.

16         Q.     After the six days, do you remember seeing any

17   watermarks on the walls?

18         A.     Yes.

19         Q.     Was that all around the first floor?

20         A.     Yes.

21         Q.     And in the garage?

22         A.     Yes.

23         Q.     Did you have any watermarks in the exterior of

24   the house?

25         A.     Yes.

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1    things, what do you mean?

2          A.   Well, the City, for one, since -- you know, we

3    flooded, I don't know why this is the case, but they

4    are -- basically, your electrical work that you have to

5    do, now has to meet -- as if it was a new construction.

6                      So all my outlets aren't up to code yet.

7    So I still have to do that.

8          Q.   Do they work, but they're not up to code?

9          A.   They work, yeah.       They work.      But they are not

10   up to code.    So like if I sell my house, there's still a

11   permit that's not closed on my house yet.

12         Q.   Do you intend to up the electrical?

13         A.   Well, I have to, yes.

14         Q.   In order to sell the house?

15         A.   Yes.    I had an inspector out there twice, and

16   he's not passed it.

17         Q.   Any idea how much that would cost?

18         A.   I don't know, yet.

19         Q.   Any other prospective costs?

20         A.   Just -- I don't know.         I just -- you just keep

21   running into it.     I don't know.

22         Q.   So right now and just generally --

23         A.   I mean, you're just talking about cost, right?

24   You're not even talking about the depreciation of the

25   value of my house?

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1            Q.   Not yet.     So the cost we have 190,000 that was

2    reimbursed by insurance?

3            A.   Uh-huh.

4            Q.   And that was for structural work?

5            A.   Uh-huh.

6            Q.   That is, furniture?

7            A.   No.     That doesn't include furniture.

8            Q.   Did you ever -- did you purchase new

9    furniture?

10           A.   I purchased -- everything is new in my house.

11           Q.   Was that reimbursed with insurance?

12           A.   It was reimbursed, but it was not replacement

13   cost.

14           Q.   You only received depreciation cost?

15           A.   Yes.     And they depreciated significantly.

16           Q.   As you explained before?

17           A.   Yes.

18           Q.   If you recall, what was the difference just

19   generally, in what you paid for new furniture versus how

20   much was reimbursed for depreciation?

21           A.   Well, one, I'll never be able to replace what

22   I had.

23           Q.   I see.

24           A.   So I don't know that answer.

25           Q.   Okay.     And when you say you'll never be able

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1    to replace it?

2          A.   They were just unique pieces of furniture.

3          Q.   I see.     Had you purchased those here in

4    Houston?

5          A.   I purchased some on the East Coast and some in

6    Houston, yes.

7          Q.   The ones you purchased on the East Coast, you

8    brought those with you?

9          A.   Yes.     And I have rug that is -- I'll never be

10   able to replace either.

11         Q.   With rugs that were the same?

12         A.   Yes.     Rugs that are the same, yes.

13         Q.   You have replaced them?

14         A.   I have replaced them, yes.

15         Q.   The documents that would refer to what you

16   paid for things that you've bought to replace, did you

17   provide copies of those to your attorney?

18         A.   I don't know if I have provided every

19   individual --

20         Q.   Okay.

21         A.   -- invoice or not.

22         Q.   Did you -- did you save all your invoices?

23         A.   I probably did not save all of them.                 I might

24   have the big-ticket items.         But not all of them, no.

25         Q.   Did you have any other costs -- did you incur

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1    personal property losses?

2          A.    I would say no.

3          Q.    Do you think the insurance fully compensated

4    you for all the real estate losses?

5          A.    No.

6          Q.    Do you think it -- do you think, did the --

7    did the insurance compensate you for any of the

8    diminution of value of the property?

9          A.    Definitely not.

10                       MR. DOOHER:     Object to the form.

11   BY MR. BANES:

12         Q.    Now, when you were -- when you were buying the

13   house 22 years ago --

14         A.    Yes.

15         Q.    -- did the title search reveal that the Core

16   of Engineers had an easement to flow water through your

17   house?

18         A.    Not that I'm aware of.

19         Q.    All right.      Did you ever hear that they had an

20   easement to do that?

21         A.    No.

22         Q.    Did the Core of Engineers knock on your door

23   one day and say, "We can -- we can put a river through

24   your house.       And --"

25                       MR. DOOHER:     Object to the form.

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1    BY MR. BANES:

2          Q.    "-- and we're just letting you know that"?

3          A.    No.

4          Q.    All right.

5                        Before this lawsuit, did you even know

6    they could do that?

7          A.    No.

8          Q.    And we haven't looked at any kind of easement

9    today, have we?

10         A.    No.

11         Q.    That would allow that?

12         A.    No.

13         Q.    Do you know generally about how much of your

14   savings you've had to use?

15         A.    I think I mentioned probably out of pocket is

16   I'd say 50.

17         Q.    50,000?

18         A.    Thousand.

19         Q.    You said 50 to 60 earlier?

20         A.    50 to 60, yes.

21         Q.    One last thing.       Take a look at Exhibit 13,

22   ma'am.

23         A.    Okay.

24         Q.    This document at HCAD 2434, that's your

25   handwriting on this document?

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1          A.    Yes, it is.

2          Q.    And Paragraph 5 -- now, when did you do this?

3          A.    March --

4          Q.    March 28th?

5          A.    -- 28th.

6          Q.    2018?

7          A.    Yeah.

8          Q.    Paragraph 5, that's your view of what happened

9    to your house?

10         A.    Yes.

11         Q.    Now, with respect to the market values on

12   these appraisals or the appraised values, do you agree

13   with -- do you agree with the market value on this -- on

14   this -- on these sheets?

15         A.    Between these two?         Or --

16         Q.    For any of them.

17         A.    (Reading.)     I don't know the answer to that.

18         Q.    I notice that between 2016 and 2017, the land

19   value doesn't change at all?

20         A.    Correct.

21         Q.    Do you agree with that?

22         A.    Not necessarily, but I don't know.

23         Q.    Well, the property was flooded.

24                       Was never flooded before 2017, was it?

25         A.    No.

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1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2    IN RE UPSTREAM ADDICKS           )

     AND BARKER (TEXAS)               )

3    FLOOD-CONTROL RESERVOIRS         )    Sub-Master Docket No

4    ________________________         )    17-cv-9002L

5    THIS DOCUMENT RELATES TO         )

6    ALL DOWNSTREAM CASES             ) August 1, 2018

7                --------------------------------------

8                             ORAL DEPOSITION OF

9                               PETER SILVERMAN

10                               JULY 18, 2018

11             --------------------------------------

12               ORAL DEPOSITION OF PETER SILVERMAN, produced

13   as a witness at the instance of the United States, and

14   duly sworn, was taken in the above-styled and numbered

15   cause on the 9th day of July, 2018, from 9:06 a.m. to

16   3:52 p.m., before Morgan Veletzuy, CSR in and for the

17   State of Texas, recorded by machine shorthand, at 1200

18   Smith Street, 12th Floor, Houston, Texas 77002, pursuant

19   to the Federal Rules of Civil Procedure and the

20   provisions stated on the record or attached hereto; that

21   the deposition shall be read and signed before any

22   notary public.

23

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                                                                     Page 67

1    I was out of the country at the time and just got a call

2    that there had been a heavy rain.

3          Q.   Okay.     Has that sump pump been replaced?

4          A.   It has.

5          Q.   When was it replaced?

6          A.   I don't know the date.         I did it myself,

7    though, so I know it's been replaced.

8          Q.   You installed the sump pump yourself?

9          A.   No, I replaced it myself.

10         Q.   Okay.     You had a plumber install it?

11         A.   Yes, it was installed as part of the system.

12         Q.   Was that before or after Harvey?

13         A.   Oh, no.     I haven't touched it since Harvey.

14         Q.   Okay.     So do you think that -- just can you

15   give me a ballpark range from when you last replaced the

16   sump pump?

17                      MR. HODGE:    Objection; form.

18         A.   It would be pure speculation.           I really don't

19   know when it was.

20         Q.   (BY MS. IZFAR)       Okay.    Other than these

21   additional four drains and the sump pump that you

22   installed around 1993 to '94, have you installed any

23   other drainage improvements?

24         A.   No.

25         Q.   Okay.     Do you have any detention ponds on your

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1    property?

2           A.   No.

3           Q.   Any -- have you ever done any foundation work?

4           A.   No.

5           Q.   Have you ever had any foundation damage?

6           A.   Before Harvey there was -- there was no

7    foundation damage.

8           Q.   So before Harvey you didn't have any cracks on

9    your sidewalk?

10          A.   No.     There were no cracks on the sidewalk.

11          Q.   And did you have any cracks on your driveway?

12          A.   We did.     We had the driveway replaced since

13   we've owned the home as well.

14          Q.   When was that?

15          A.   Less than 20 years ago and more than 5 years

16   ago.

17          Q.   Okay.     And what prompted you to replace the

18   driveway?

19          A.   The homeowners association came around and

20   myself, my neighbor to my right, my left, my neighbor

21   across the street, and next to them got letters saying

22   that our driveways needed to be repaired.               And one of

23   the neighbors took it upon themselves to do it as a

24   project thinking that, if we did all of them at the same

25   time, we would save money.          So they were all done at the

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1     same time.

2          Q.    Okay.   And you testified earlier that there is

3     no location on your property where ponded water occurs

4     during a rainstorm, correct?

5          A.    Well, I mean, during -- when it's raining,

6     there is -- it's wet.      But as -- as soon as the rain

7     stops, there is no standing water on our property.

8          Q.    Okay.   Do you have downspouts?

9          A.    I don't know what you mean.

10         Q.    So you mentioned that you have a gutter line on

11    your house, right?      The gutter line -- does the gutter

12    line flow into a tube that's attached to the side of

13    your home?

14         A.    Yes.

15         Q.    And then that -- and then that -- that -- will

16    that tube along the side of your house, I'm going to

17    call that a downspout, that flows onto the driveway,

18    correct?

19         A.    No.

20         Q.    Where does that water flow?

21         A.    It's the opposite side of the driveway.

22         Q.    Okay.   Okay.   Okay.

23         A.    So if you look at Exhibit 3, it would flow into

24    what's called the ENC courtyard.

25         Q.    Enclosed courtyard?

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1          Q.   Okay.

2          A.   I know she was there the same day we were there

3    on the 9th because her company sent, like, a crew from

4    her company to help her.         And they were there around the

5    same time.     But I will also say that Janet's husband is

6    a City of Houston fireman, so it would not surprise me

7    if he got access before other people did since he's a --

8    a safety official or whatever you want to call it.

9          Q.   Okay.

10         A.   But we never -- I haven't talked to -- I mean,

11   we never talked about it.

12         Q.   Okay.     And you mentioned that Judy was in the

13   hospital during Harvey?

14         A.   Yes.    Yes.

15         Q.   Okay.     Do you know anything about the condition

16   of her home?

17         A.   Yes.

18         Q.   Was it flooded?

19         A.   It was.

20         Q.   Do you recall how much water she got?

21         A.   I don't know how much water she got, but it

22   was -- it was -- it was flooded and they did not -- we

23   remediated and tore out everything in our house, and she

24   wasn't able to at the time until she got out of the

25   hospital and everything.         So I felt badly for her.

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1            Q.     Do you know when she got out of the hospital?

2            A.     Huh-uh.     No.   No, I'm sorry.       I apologize.        No,

3    I don't know.           But --

4            Q.     Okay.

5            A.     But I don't know when she got out of the

6    hospital.        But I have seen -- I did -- I was able to see

7    here post --

8            Q.     Okay.

9            A.     -- post-Harvey.       So I know she is out of the

10   hospital.        And she didn't have any place to go or place

11   to live, and it was sad.

12           Q.     Yeah, that is very sad.

13                          So the Garcias, you said they were living

14   at Katy in the time?

15           A.     That's my understanding, yes.

16           Q.     Okay.     Do you know how much water they got?

17           A.     No.

18           Q.     Okay.     So let's talk a little bit about the --

19   when you returned on the 8th.              The first time you walked

20   into your home, what did you see?

21           A.     It was surreal because things had moved to

22   places where they normally wouldn't be because they

23   floated -- they floated away.              So a trash basket that

24   would have been in one room was tipped over in another

25   room.        The -- the stench from the, you know, the --

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1    that's not what I saw, that's what I smelled.               But there

2    is a smell that flood has.         I can't describe it in

3    general or specific.      But just the smell of sewage and

4    the stench, like dead animals or anything like that.

5    I -- we didn't have masks or air or anything like that.

6    So the day we got in it was mainly just to try and take

7    things out of the freezer and the food and throw it away

8    so it wouldn't smell -- smell worse and to try and get

9    some clothes to wear and things like that.

10                    But there was already mold covering the

11   walls.     And we knew from everything that we had heard

12   that it wasn't safe for us to be inside of there.                  But I

13   wanted -- we had -- I wanted to open up windows and

14   everything like that to try and get fresh air into the

15   house to help -- to help with that.

16         Q.    When you say "we," who were you with?

17         A.    I was with my wife and I believe a coworker of

18   hers, her secretary -- or I'll get in trouble for that.

19   Maybe her legal professional -- what's it called?

20                    MRS. SILVERMAN:       LPA.

21         A.    Her legal practice assistant.

22         Q.    (BY MS. IZFAR)     What's her name?

23         A.    Carol Tamez, T-A-M-E-Z.

24         Q.    All right.   Was there still standing water in

25   the house?

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1          A.   It was wet still but there wasn't -- there was

2    not water throughout the house.

3          Q.   And on September 8th?

4          A.   On September 8th there was not water.                We were

5    able to walk into the house, but it was still -- it was

6    still wet.

7          Q.   Okay.

8          A.   And especially carpeted areas and the

9    padding were --

10         Q.   Right.

11         A.   -- completely squishy and wet.

12         Q.   Do you remember -- or do you have any idea of

13   when the water may have receded?

14         A.   No.     I really -- I don't.        I would -- I say

15   this and not to be helpful, but my guess is as soon

16   as -- as soon as the streets were able to drain, the

17   water drained out of my home as well.

18         Q.   Do you know when the streets were able to

19   drain?

20         A.   No.     And some of them were still underwater

21   even at that time coming into ours, but ours was not.

22         Q.   When you say some streets were underwater

23   around September 8th when you came in --

24         A.   Yes.

25         Q.   -- can you identify any of those streets?

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1          A.   No, not by name.      In general, one of the joys

2    of living where we did is we lived in the high area of

3    the neighborhood because we were near the Buffalo Bayou

4    and things flowed away from us.           So once the water came

5    out, it didn't stay in our street.             It flowed down to

6    the -- I hate this direction stuff -- it would flow to

7    the south towards Briar Forest, which is a main street.

8    I know you don't live -- well, you know Briar Forest.

9          Q.   I know Briar Forest.

10         A.   It would flow south towards Briar Forest, not

11   north towards Memorial.

12         Q.   Right.   So it would -- the water would flow

13   both east and south.        So kind of southeast?

14         A.   I don't know if it was -- I don't know if

15   that's fair to say.       I really don't know anything about

16   hydrology.    But Buffalo Bayou flows east-west and we

17   live on the south side of Buffalo Bayou.               So if it

18   overflowed, it would have flowed south.               So the bayou

19   itself is east/west, and since we live south of it, it

20   would flow south.

21         Q.   So when you say "east/west," you mean --

22         A.   I'm sorry west/east.

23         Q.   -- west/east?

24         A.   I apologize.

25         Q.   Right.   Okay.     Yeah, no.

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1    on the east side of his house than the west side of his

2    house.     So the water flowed on the east side, not the

3    west side.

4          Q.    Why is there less resistance on the west side

5    of his house?

6          A.    Because, A, the water was coming from the west

7    so it would hit east first.        And, B, I would -- my

8    assumption would be that the elevation is lower on the

9    east side than the west side, both of those things.                  So

10   the water is flowing east -- I'm sorry.               The water is

11   flowing west to east, so it would come to the east side

12   before it came -- it would come -- it was flowing west

13   to east, so it would come to the west side before the

14   east side.     So there would be more water on the west

15   side than the east side would be one reason.               And the

16   second reason that I would think is because of the

17   elevations.

18         Q.    Okay.   Putting the pictures aside, I just have

19   a few questions.      So you previously testified that you

20   weren't in your home until September 8th.               Just to

21   confirm, do you have any indication as to how long it

22   took for the water to recede?

23         A.    I have no personal knowledge of -- of what --

24   of how long it took to recede.

25         Q.    Do any of your neighbors have any knowledge?

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1            A.   I don't know.     I don't know.       When we were able

2    to get back in on the 8th and then the 9th, that

3    appeared to be the first time that anyone was able to

4    come in.      So I don't know of anyone who stayed in their

5    house during this event who I would even be able to ask

6    that.

7            Q.   You mentioned earlier that Nick visited the

8    area on August 31st -- August 30th and August 31st?

9            A.   Yes, I believe that to be the case, that he

10   visited both days.

11           Q.   Do you know when he visited next after

12   August 31st?

13           A.   I do not know when he visited after the 31st

14   or when he ultimately moved back into his house.

15           Q.   Okay.   You have not moved back into your home?

16           A.   Correct.

17           Q.   Why is that?

18           A.   Because it was destroyed in the flood and has

19   not been rebuilt.

20           Q.   Have you taken any remediation steps?

21           A.   Yes.

22           Q.   What steps?     Can you walk me through all of the

23   steps that you've taken?

24           A.   As soon as we can, we removed all of the wet

25   carpeting and anything that -- furniture, clothing,

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1    anything that had the ability to hold mold spores and
                                                       and

2    the like.     And we hired a contractor to come in to

3    finish demo remediation and paid him $5,000, and he came

4    in and sprayed all the surfaces with an alcohol

5    substance to kill the mold before he would let people go

6    inside the house.        And then 24 hours or so later, they

7    came in with a crew and a tractor and removed the

8    bathrooms, the kitchen, and the Sheetrock, the doors,

9    the trim, the moldings, the cabinets under 4 feet high,

10   anything built-in like that.

11         Q.    And when did this take place?

12         A.    The -- the week following -- the week of

13   September 10th.     I don't know exactly what days were the

14   spray days and what days were the construction days.

15   But that's my recollection, that we hired him and he

16   came -- he came that week.         It may have been plus or

17   minus a day.     But it was -- it was either that week or

18   shortly thereafter, maybe the 18th or so.              But

19   sometime -- sometime in the middle of September.

20         Q.    So after you finished all of the mold

21   remediation and demo work, did you take any other

22   remediation steps?

23         A.    I turned off the water to the house.

24         Q.    Why did you do that?

25         A.    It seemed like the right thing to do since no

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1    one was living there.

2            Q.   Did you intend to return to your home?

3            A.   We -- we hoped.    We love our street.        We live

4    in the best street in Ashford Forest.            And we love the

5    neighborhood and we love that part of town.              My wife

6    especially does not want to live far from the church she

7    attends.      And so we tried to think of ways where we

8    could live on that property again.            We'd be happy to.

9            Q.   Are you taking any other steps to remediate the

10   home to prepare it for habitation?

11           A.   I've pretty much decided that we can't live

12   there without finishing -- demolishing it and then

13   building something new there.         And I'm in the thought

14   process right now, if someone else wants to buy the

15   property, that that may be an alternative way for us to

16   go and perhaps will allow us to move on more easily from

17   this.

18           Q.   When you say that you've come to the conclusion

19   that you can't live there until -- unless you demolish

20   it and rebuild, can you walk me through that thought

21   process?

22           A.   It was the perfect house for a family of four

23   to raise children in in a perfect block.              But now as a

24   couple with grown children either in college or

25   graduated from college, we'd look for things like an

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1    22 houses and maybe additional 12 houses on the

2    north/south side.

3          Q.   Okay.     And do you have an estimate as to how

4    many are still vacant?

5          A.   I don't have an estimate, no.

6          Q.   So you previously testified that you thought

7    that your street was one of the prettiest streets -- and

8    I'm paraphrasing -- or one of the best streets.                  Is that

9    still your opinion?

10         A.   Those are two different things, right?                So to

11   this day I think it's probably the most beautiful street

12   you could possibly live on, but it's the saddest street

13   in the neighborhood still.         So it's still -- it's a very

14   sad street.

15         Q.   Are any of the other streets in Ashford Forest

16   vacant the way Westerley is?

17         A.   Not that I've been on, no.           It really seems to

18   be the hardest hit block in the subdivision.

19         Q.   Do you have an -- do you have a guess as to why

20   it was the hardest hit?

21                      MR. HODGE:    Objection; form.        Calls for

22   speculation.

23         A.   My guess is because it runs along the same

24   trajectory as the bayou, which overflowed during the

25   releases and damaged the homes.

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1          Q.   (BY MS. IZFAR)     Do you -- what is it about

2    Westerley Lane that made it the prettiest street?

3          A.   It doesn't go anywhere.            So the only people

4    driving on the street are the people who live on that

5    street, so you knew every car that went by.                The -- the

6    houses are set further back off the street, and the

7    trees and the animals and the greenery are unsurpassed

8    in any other street in the neighborhood.

9                    Additionally, I think the lots are probably

10   bigger than the other streets in the neighborhood.                    You

11   have -- to get to it, you have to deliberately make

12   three turns to get to that one street.               And so there is

13   no trucks; there is no noise.         It was just a beautiful

14   street.

15         Q.   Turning back to the repairs, I just want to

16   make sure that I got all of the information on this.                     So

17   you described that you had done some demolition work,

18   and then you had gutted the home down to its studs,

19   right?

20         A.   4 -- 4 feet of Sheetrock and then all of the

21   bathrooms and kitchen.      And I'll add -- I didn't say, I

22   also cut off the gas for the same reason as the water.

23   It didn't -- since the appliances were all disconnected

24   and everything, it didn't seem responsible to have live

25   gas running to the house without anyone living there

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1     without any appliances hooked to it.                 But I did leave

2     the electricity on.

3             Q.   Uh-huh.     Okay.     And other than that, did you do

4     anything -- any other repairs to the home?

5             A.   No.

6             Q.   Okay.

7             A.   We pay for a yardman to come and keep up the

8     outside.      I don't know if you consider that a repair or

9     not necessarily.         But we don't want to -- we don't want

10    people to feel like they're living in an unkempt place.

11            Q.   Have you thought about putting the home up for

12    sale?

13            A.   We -- we've discussed it, and we've spoken

14    to -- only to two people.            We've never put it on any MLS

15    listing.      But the guy who bought Judy's house, we

16    discussed it with.         And another guy we recently

17    discussed it with as well.

18            Q.   Who was the guy that bought Judy's house?

19            A.   His name is Randy.         And I believe the last name

20    is Milkovisch.

21            Q.   Okay.     I think I've got an e-mail from him.                So

22    I'm going to mark this as Exhibit No. 18.                   It's an

23    e-mail that you sent to yourself but that also lists --

24    identifies an e-mail that, I think, Randy Milkovisch

25    sent to you on January 29th, 2018.                 And it's

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1    Bates-stamped Silverman 000593.

2                        (Exhibit 18 marked.)

3          Q.    Is this Randy Milkovisch the person who bought

4    Judy's home?

5          A.    He is.

6          Q.    Okay.     And were you e-mailing him about selling

7    your home?

8          A.    I had called him and then sent him an e-mail,

9    "Let me know if interested.          Patio door is open."

10                       Since he was working on the house.             And

11   then he sort of walked through this and asked me a

12   question, and we responded.

13         Q.    So on January 29th at 12:42, it seems like he

14   wrote, "Good afternoon.         I walked the house last week.

15   I have several questions, but before we get too far into

16   them, what were you expecting to get from the house

17   as-is?"

18         A.    Correct.

19         Q.    And you wrote back on that same day at

20   1:30 p.m.     And you said "I haven't shopped the market

21   fully but would ask 200,000 if listing it.                What are

22   your thoughts?"

23                       And then he wrote back a few paragraphs

24   saying that he -- "I paid about $63 per square foot next

25   door and it needed to be demoed still.              I shopped her

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1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2    IN RE UPSTREAM ADDICKS            )

     AND BARKER (TEXAS)                )

3    FLOOD-CONTROL RESERVOIRS          )   Sub-Master Docket No

4    ________________________          )   17-cv-9002L

5    THIS DOCUMENT RELATES TO          )

6    ALL DOWNSTREAM CASES              ) August 1, 2018

7                --------------------------------------

8                             ORAL DEPOSITION OF

9                              ZHENNIA SILVERMAN

10                               JULY 18, 2018

11             --------------------------------------

12               ORAL DEPOSITION OF ZHENNIA SILVERMAN, produced

13   as a witness at the instance of the United States, and

14   duly sworn, was taken in the above-styled and numbered

15   cause on the 9th day of July, 2018, from 4:05 p.m. to

16   5:34 p.m., before Morgan Veletzuy, CSR in and for the

17   State of Texas, recorded by machine shorthand, at 1200

18   Smith Street, 12th Floor, Houston, Texas 77002, pursuant

19   to the Federal Rules of Civil Procedure and the

20   provisions stated on the record or attached hereto; that

21   the deposition shall be read and signed before any

22   notary public.

23

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1          Q.    And do you agree with his assessment that you

2    are still in a place where you're deciding whether to

3    renovate and move back or sell your house?

4          A.    We -- I think ideally we would -- I mean, I

5    love my neighborhood and I would love to rebuild and

6    we've talked about it.      But my husband's currently

7    unemployed, and so it's very hard for us to take on a

8    mortgage at this point and, you know, redo our home the

9    way that we want it.      I mean, we just, you know, we need

10   a little bit more financial stability I think before we

11   can make that type of commitment.             And we have looked

12   for houses but, you know, they're -- I mean, our lots

13   were big.     You know, everything now is just like these

14   little cookie-cutter houses and they all look the same

15   and it's -- so anyway...

16         Q.    So have you gotten estimates from contractors

17   as to how much it would cost to rebuild the home?

18         A.    I think my husband had talked to somebody at

19   one point.     And the only thing I remember from that

20   conversation was that it was a lot more per square foot

21   than we were willing to commit to at the time.

22         Q.    And then -- so do you have any plans to move

23   out of your current home?

24         A.    You know, I would love to move out of our

25   current home -- I mean out of our current apartment.

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1    But as I mentioned earlier, I really hate house hunting.

2    And so it's sort of a little bit of a safe haven for us

3    right now.       And it -- I mean, we definitely will have to

4    move out at some point.          Our apartment lease is up in

5    September and I don't know if we'll renew for another

6    year or not.

7            Q.    So of the money that you've received from FEMA,

8    do you have an understanding of how much is left for

9    repairs?

10           A.    It is my understanding that we have not touched

11   very much of that, if anything at all.                  I think the

12   large check that we got, my husband sent it to the bank

13   or to whoever holds our mortgage.                 We have used some for

14   living expenses, but I mean, I think we -- we still

15   have, you know, a bit of it.

16           Q.    Okay.

17           A.    But I will also tell you that I don't deal with

18   the finances, so...

19           Q.    Understood.    Do you -- do you agree with your

20   husband's testimony as to the remediation work that was

21   done?

22           A.    Yes.    I know that we paid $5,000.            And I

23   thought we had paid extra for the mold or whatever it is

24   that they sprayed, but maybe not.                 So I think it's

25   5,000.       I thought it was a little bit more than 5,000,

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1    but I'm sure we produced that receipt.

2            Q.   Okay.     And if you were to rebuild right now, is

3    there any sort of obstacle preventing you from

4    rebuilding?

5            A.   I mean, other than paying for it and figuring

6    out where we're going to stay while it happens, no.                     I

7    mean, I'm a creature, I guess, of habit.                 And so ideally

8    I would love to, you know -- you know, stay in the area.

9            Q.   Right.     But you don't know of any contractor

10   shortages or anything like that that would prevent you

11   from rebuilding?

12           A.   You know what, I hear horror stories every day

13   because I know a lot of people that have been affected

14   in the Katy area and near us.            And so, I mean, you know,

15   I hear -- you know, I mean, people talk about it at work

16   all the time.         Just -- there's a door shortage or, you

17   know, my contractor, you know, disappeared.                  Or I can't

18   get cabinets installed.          So that to me is very scary to

19   have to deal with that.

20           Q.   Okay.     And in terms of the money that you

21   received from FEMA, do you have any understanding as to

22   whether that is sufficient for you to fully repair your

23   home?

24           A.   I wouldn't think so, no.

25           Q.   Okay.     But do you have any estimates that are

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1    higher than that amount?

2            A.     We haven't gotten any estimates to repair our

3    home.        But just -- I mean, yeah.         I mean, I know that

4    that's, you know...

5            Q.     When is the last time you visited your home?

6            A.     I think I go back to the house more than my

7    husband does, sometimes for like a gardening supply or

8    something.        It's very depressing to go back and so

9    nobody wants to go back.             But sometimes our gardener

10   will leave his invoice somewhere and then I'll go and

11   pick that up.          But I've probably been in the last month.

12           Q.     Okay.     And he mentioned that you guys cut the

13   power -- or the water and the gas?

14           A.     Water and gas.      Because initially we left the

15   electricity on because we had it full blast to sort of

16   help dry out the house.

17           Q.     Okay.     Do you still have electricity there?

18           A.     Uh-huh.     I think so, yes.

19           Q.     And it's still running?

20           A.     Yes.    I believe the only thing that my husband

21   cut off was the water and the gas.

22           Q.     Okay.     Is there any -- since you've treated it

23   for mold, is there evidence of mold there?

24           A.     I don't normally walk through the house.

25           Q.     Okay.

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     Case 1:17-cv-09002-LAS    Document 266-2     Filed 01/10/23     Page 416 of 1584
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1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
       IN RE DOWNSTREAM                  )
3      ADDICKS AND BARKER                )        Sub-Master Docket
       (TEXAS) FLOOD-CONTROL             )        No. 17-cv-9002L
4      RESERVOIRS                        )
5
6
     ******************************************************
7                             ORAL DEPOSITION OF
8                                TIMOTHY STAHL
9                             SEPTEMBER 5, 2018
10   ******************************************************
11
             ORAL DEPOSITION of TIMOTHY STAHL, produced as a
12   witness at the instance of the Defendant, and duly
     sworn, was taken in the above-styled and numbered
13   cause on September 5, 2018, from 10:10 a.m. to 2:52
     p.m., before Heather L. Garza, CSR, RPR, in and for
14   the State of Texas, recorded by machine shorthand, at
     the offices of NEEL, HOOPER & BANES, P.C., 1800 West
15   Loop South, Suite 1750, Houston, Texas, pursuant to
     the Federal Rules of Civil Procedure and the
16   provisions stated on the record or attached hereto;
     that the deposition shall be read and signed.
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     Case 1:17-cv-09002-LAS   Document 266-2     Filed 01/10/23     Page 417 of 1584

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                                                                  Page 17

1    later, but you can set it aside for now.

2         A.    Yes, ma'am.

3         Q.    And then let me just ask you a couple

4    questions about the third document that we received

5    this morning and that we've marked as deposition

6    Exhibit 4.     Can you identify this for me, Mr. Stahl?

7         A.    Yes, I can.

8         Q.    And what is it?

9         A.    This is the third-party appraiser for USAA

10   who came out 20 grand under what it would actually

11   cost to repair the property.

12        Q.    And 20 grand under, is that by comparison to

13   the estimate you got from Home Remedy?

14        A.    Yes.

15        Q.    Okay.    All right.

16        A.    To the people who are actually interested

17   enough to do the work.

18        Q.    Okay.    And it looks like this particular

19   report is dated at the top, February 16th, 2018; is

20   that correct?

21        A.    Yes, ma'am.

22        Q.    And has your -- has your flood insurance paid

23   out any amount identified in this report?

24        A.    They have.

25        Q.    Okay.    How much did they pay out?

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     Case 1:17-cv-09002-LAS     Document 266-2       Filed 01/10/23    Page 418 of 1584
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                                                                      Page 18

1            A.   Exactly what's identified in this report,

2     27,681.66.

3            Q.   Okay.   I just want to make sure I've got the

4     right number.

5            A.   Maybe it was 27,209.             That's possible.           It

6     was right around $27,000 is what they paid out total.

7            Q.   Okay.   On the second page, the bottom

8     number --

9            A.   Yeah.   The net claim recovered.               I apologize.

10           Q.   Okay.

11           A.   So 27,209.80.

12           Q.   That's the amount the flood insurance paid to

13    you?

14           A.   Yeah.   It was right around $27,000.

15           Q.   Okay.

16           A.   So I'd go with that number.

17           Q.   Okay.   All right.       And when did they pay out

18    that amount to you?

19           A.   Well, they paid it out in portions.                   The

20    first check was for $10,000, which Ocwen, my mortgage

21    company who had the lien on the house, signed on

22    fairly quickly.         The second check was much later down

23    the road for $17,000.         Ocwen had a laundry list of

24    things that they needed from a contractor who would do

25    the work.     The last thing on that list was a release

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     Case 1:17-cv-09002-LAS   Document 266-2       Filed 01/10/23     Page 419 of 1584
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                                                                    Page 19

1    of lien or waiver of lien.          So the contractor --

2    normally if a contractor doesn't get paid, they put a

3    mechanics lien on the property.               What Ocwen was asking

4    was a contractor to waive their ability to put a

5    mechanic's lien on the property prior to getting a

6    penny, and every contractor I talked to just laughed.

7    There was a contractor who came in, and when he heard

8    I was dealing with Ocwen as my mortgage company, he

9    turned around and walked out.               Nobody likes Ocwen.

10        Q.    So how did you end up dealing with that

11   situation?

12        A.    I had to sell the house.             I had to pay off

13   the note with Ocwen in order to have the check

14   reissued by USAA, minus the Ocwen signatory.

15        Q.    And was the insurance company willing to do

16   that after you sold the house?

17        A.    They did, because I'm still the lienholder on

18   the house.     I still own it.

19        Q.    Okay.    All right.      I'm going to come back,

20   and we'll kind of walk through your sale of the

21   property, but before we do that and before I get too

22   far ahead of myself, I want to come back and just talk

23   a little more about your background and purchase of

24   the property and then we'll walk up chronologically to

25   that.

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     Case 1:17-cv-09002-LAS   Document 266-2      Filed 01/10/23     Page 420 of 1584
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                                                               Page 142

1    conditioner was located.

2         A.     Yes, sir.

3         Q.     Is the air conditioner below the -- below the

4    flood -- flood point of the lower deck?

5         A.     The air conditioner's location in relation to

6    the property is below the house, below the deck by

7    about 8 to 10 feet.

8         Q.     Okay.

9         A.     The -- where the deck meets the house --

10   because, again, there -- it's that odd pier-and-beam

11   thing.    So that's elevated from the -- the grade of

12   the dirt.     It's about an 8 to 10-foot difference from

13   the base of the air-conditioning unit to the base of

14   the deck, the bottom.         Not the top of the decking, but

15   the bottom of the structure.

16        Q.     Okay.   So after hitting the air conditioner,

17   water would have to come up about 8 or 10 feet more

18   before it even started entering the house?

19        A.     That would be correct.           Entering the bottom

20   of the house.

21        Q.     Entering the bottom of the house.                 And

22   then -- all right.        A couple more questions.              Did you

23   ever have -- I mean, did you -- did you ever have

24   occasion to investigate, like, the market value of the

25   house before Harvey?

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     Case 1:17-cv-09002-LAS       Document 266-2       Filed 01/10/23     Page 421 of 1584

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1            A.      To try and argue with HCAD to keep the price

2     down.

3            Q.      Well, but in terms of, like, what the

4     property would sell for and what HCAD thinks it is,

5     those might be two different things, aren't they?

6            A.      Yeah.   And the neighbors both sold about --

7     in 2016, the neighbor at 263 sold, in 2016, for a

8     little over a million dollars.                  The neighbor at 267

9     sold for about 550.

10           Q.      Okay.   So is your house comparable to either

11    one of those?

12           A.      It's very comparable to the one that sold at

13    550.        It's a thousand square feet smaller, but

14    otherwise, it was built by the same architect at the

15    same time on the same -- I mean, roughly the same

16    dirt.        It's literally right next to it.

17           Q.      Now, we were looking at -- at one point, Ms.

18    Tardiff showed you Exhibit 23.

19           A.      Hold on.     Let me get to it.

20           Q.      It's the last exhibits, I think.

21           A.      Okay.   Got it.

22           Q.      Now, Exhibit -- now, from your perspective,

23    what makes Exhibit 23 so interesting with respect to

24    where your property is located?

25           A.      It was close to the Spring Creek and Buffalo

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     Case 1:17-cv-09002-LAS   Document 266-2     Filed 01/10/23     Page 422 of 1584

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                                                              Page 144

1    Bayou.

2         Q.    Now, did HCAD actually carve out a separate

3    area for these three houses?

4         A.    As a matter of fact, they did.

5         Q.    Now, why did they do that?

6         A.    In 1968 -- actually, a little before that,

7    when they were building out the rest of the

8    neighborhood, the builders that were on that

9    neighborhood, they said that that particular lot was

10   unbuildable due to grade.          They liked building on flat

11   dirt, and this didn't have flat dirt so they left it.

12   This architect who was right out of Rice Architecture

13   School said, "I know how to build on that."                   So he

14   built three houses on that one lot.              But the Huntley

15   subdivision said you don't conform to our

16   single-family notion of a house, so we don't want you

17   as part of our neighborhood, and HCAD said, well, we

18   have to tax you so you have to be your own

19   neighborhood, because nobody else will touch it.                      So

20   it became its own neighborhood, three houses.

21        Q.    Okay.    Is the house -- an architect kind of

22   built this right out of Rice Architecture School?

23        A.    Yes, sir, he did.

24        Q.    Did he use just standard materials?

25        A.    Well, standard as in concrete and wood?

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1             IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2    IN RE:     DOWNSTREAM            *

     ADDICKS AND BARKER               *

3    (TEXAS) FLOOD CONTROL            *

     RESERVOIRS                       * SUB-MASTER DOCKET NO.

4                                     * 17-cv-9002L

5    THIS DOCUMENT RELATES TO:*

6    ALL DOWNSTREAM CASES             *

7         ***************************************************

8         ORAL DEPOSITION OF DUTCH CHRISTOPHER LINDEBURG

9                                   VOLUME 1

10                            SEPTEMBER 26, 2018

11       ***************************************************

12            ORAL DEPOSITION of DUTCH CHRISTOPHER LINDEBURG,

13    produced as a witness at the instance of the United

14    States, and duly sworn, was taken in the above-styled

15    and numbered cause on September 26, 2018, from 4:19

16    p.m. to 6:14 p.m., before Carol Jenkins, CSR, RPR,

17    CRR, in and for the State of Texas, reported by

18    machine shorthand, at the Potts Law Firm, 3737 Buffalo

19    Speedway, Suite 1900, Houston, Texas 77098, pursuant

20    to notice and the Federal Rules of Civil Procedure.

21

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     Case 1:17-cv-09002-LAS     Document 266-2        Filed 01/10/23    Page 424 of 1584
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1     and I looked at it.          I'm sure.     Just knowing -- I

2     mean, I know the property.

3          Q.    Right.

4          A.    Water can be down there.            This isn't our

5     first -- we've had rain here before, so...

6          Q.    And I believe you then said you returned much

7     later on the 27th.        Did I get that right?

8          A.    Let me see here.         Click out on that.           Let me

9     get back in.       Uh-huh.

10         Q.    Is that a "yes"?

11         A.    Yes.     I'm sorry.      Yes.

12         Q.    And did you return again on the 28th?

13         A.    Yes.

14         Q.    Do you remember what time of day that was,

15    approximately?

16         A.    That would be in the morning, I believe.

17    Yeah, in the morning, around 10:30-ish probably.

18    10:30 a.m.

19         Q.    10:30 a.m.?

20         A.    Let me double-check.

21         Q.    Okay.

22         A.    Planet Funk.        Yeah.




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1          Q.    You said yes?

2          A.    I'm sorry.      Yes.

3          Q.    You believe you returned on the 27th?

4          A.    I was there on the 27th in the afternoon and

5     I was there on the 28th in the actual daylight morning

6     and then I was there again on the 29th at the wee

7     hours of the morning around 2:00.

8          Q.    Okay.   What do you recall about the water

9     levels in the house over that period of time?                    Did

10    they stay the same?        Did they get worse?         Did they get

11    better?

12         A.    The water levels increased from the morning

13    of the 28th to the wee hour morning of the 29th, it

14    came up probably at least a foot and a half.

15         Q.    And that was based on -- what did you see?

16         A.    Well, it spilled into the stairwell because

17    when the water butts up to the parking area and the

18    shrubs, the next -- if it comes any further in and up,

19    it has a little bit of a step, about a foot step that

20    needs to come up to come into the basement --

21         Q.    Okay.

22         A.    -- or the first floor as y'all call it I




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     Case 1:17-cv-09002-LAS     Document 266-2       Filed 01/10/23      Page 426 of 1584
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1     guess.

2          Q.    Okay.

3          A.    So when I came back early in the morning, it

4     had come into the basement.

5          Q.    On which date?

6          A.    That would be early, early morning on the

7     29th, the 2:00 a.m.

8          Q.    Okay.

9          A.    So from when I went there in the morning of

10    the 28th at 10:30 a.m. and then came back at 2:00 a.m.

11    on the 29th, the water had risen at least a foot and a

12    half.

13         Q.    All right.      And did you store any property in

14    the first floor yourself?

15         A.    Yeah.

16         Q.    What did you store down there?

17         A.    I don't know.        What did I have?         I had set

18    design stuff that was left over from Death Trap.                     I

19    had smoke machines, wardrobe, vacuum, shop vac, I

20    don't know, powder gun.          Yeah.     We had all sorts of

21    old props, too, like from Blimp Trap.                 Like old timey

22    dial phones like the ringer phones, old typewriter,




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     Case 1:17-cv-09002-LAS     Document 266-2        Filed 01/10/23    Page 427 of 1584

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1     just cool prop stuff.

2          Q.    And just to be clear, do we know, if you can

3     remember, the first date and time that you actually

4     entered the property, went inside and were in the

5     first floor and could see the flooding, what date of

6     all the visits, which date and time did that occur at?

7          A.    I had gone in pretty much every visit.                 Every

8     time I'd go there, I'd do a walk through for the most

9     part.

10         Q.    Okay.

11         A.    I don't go through Shawn's personal area or

12    office or anything like that, but I go through -- I

13    usually go through the downstairs and walk just

14    basically do an under walk, check on the pig, throw a

15    stick for the dogs and lock the back door.

16         Q.    Okay.     All right.      And do you remember during

17    the visits to the first floor on the 28th and 29th

18    seeing what it looked like with respect to the props

19    and art and other things on the first floor?

20         A.    Uh-huh.

21         Q.    What did it look like?

22                       Is that "yes"?




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     Case 1:17-cv-09002-LAS      Document 266-2       Filed 01/10/23     Page 428 of 1584

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1             A.   I'm sorry.     Yes.

2             Q.   What did it look like with respect to the

3      property that was in that room?

4             A.   At what time?

5             Q.   On the 28th and 29th.

6             A.   It was okay prior to -- I mean, it was okay

7      on the daytime visit it was okay and the early morning

8      visit was not.

9             Q.   Okay.     Was the property -- was it floating in

10     the water?

11            A.   Yeah, the whole thing, it was water world,

12     so...

13            Q.   Okay.     And then how long did the water stay

14     like that?

15            A.   God, I don't know.         Arturo had to pump it

16     out.

17            Q.   Who is Arturo?

18            A.   He's the family handyman, gardener.                 He mows

19     the grass, you know, does that kind of stuff.

20            Q.   Okay.

21                         MR. DAIN:     Off the record.

22                         (Discussion held off the record.)




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                                                                         Page 69

1                          MR. POTTS:       I don't have any further

2        questions.

3                          MR. DAIN:      I just have one question to

4        follow-up.

5                              FURTHER EXAMINATION

6        BY MR. DAIN:

7            Q.    For the visit on the 29th, is that the

8        deepest you ever saw the water?

9            A.    That is the deepest I saw it, yes.

10           Q.    How deep was it off the floor of the basement

11       or the first floor?

12           A.    I mean, it came over the doorjamb because

13       there's loading doors in the back that go to kind of a

14       ramp that lead to the parking lot and so, I mean,

15       Shawn -- I sent Shawn a picture of it.                 So we should

16       be able to tell from that.

17           Q.    Okay.

18           A.    Maybe, I mean.         I think that phone got

19       destroyed.     I can't seem to find that one.                Maybe it's

20       on Facebook.      I don't know.

21           Q.    Let me just --

22                         MR. POTTS:       Look at this.        Is this it?




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     Case 1:17-cv-09002-LAS   Document 266-2         Filed 01/10/23   Page 430 of 1584

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 1               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2         IN RE:   DOWNSTREAM           §

           ADDICKS AND BARKER (TEXAS)§

 3         FLOOD-CONTROL RESERVOIRS      §

 4         vs.                           § SUB-MASTER DOCKET NO.

 5         __________________________§ 17-cv-9002L

 6         THIS DOCUMENT RELATES TO: §

 7         ALL DOWNSTREAM CASES          §

           __________________________§

 8

 9                               ORAL DEPOSITION

10                            MR. SHAWN S. WELLING

11                               August 14, 2018

12

13               ORAL DEPOSITION OF MR. SHAWN S. WELLING,

14         produced as a witness at the instance of the United

15         States and duly sworn, was taken in the above-styled

16         and numbered cause on the 14th day of August, 2018,

17         from 9:22 a.m. to 3:52 p.m., before Michelle Hartman,

18         Certified Shorthand Reporter in and for the State of

19         Texas and Registered Professional Reporter, reported

20         by computerized stenotype machine at the offices of

21         Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,

22         Houston, Texas 77098, pursuant to the Federal Rules

23         of Civil Procedure and the provisions stated on the

24

25         record or attached hereto.

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 47KDWVSRWULJKWWKHUH                                  WZRE\IRXUVWUXFWXUDOZDOOVWKDWZHUHWKHUHWKDWDOO
 $1RWKDW VRSHQRSHQ                                  JRWZLSHGRXW$QGWKHQWKHVHPDMRUVXSSRUWLQJEHDPV
 42ND\2SHQ&RXOG\RXMXVWZULWHWKH                  ZHUHVLPSO\EULFNVIRUOLNHROGKRXVHV7KLVLV
 ZRUGRSHQWKHUH"                                                    ZKDWLVLW"6RWKHUHDUHDFWXDOVXSSRUW
 $<HDK &RPSOLHV                                         EULFNVWKDWDUHEULFNEULFNEULFN:KRNQRZV
 42ND\7KDQN\RX                                       ZKDW VLQWKHFHQWHULWFRXOGEHFHPHQWWKDWKROGV
 $6RWKLVLVWKLVULJKWKHUHLV<                   XSWKLVROGKRXVH
 42ND\6R\RXZHUHMXVW\RXZHUH                  ,VKRXOGUHIUDLQIURPVD\LQJWKDW
 \RX UHQRZRQWKH:HOOLQJRIILFHSDJH"                                7KH\ZHUHWZRE\WKH\ZHUHQ WVXSSRUWLQJEHDPV
 $<HDK7KLVLVZKDW VXQGHUQHDWKWKLV                   6RWKH\ZHUHEHDPVEHFDXVHLI\RXORRNDWWKHPDQG
 IORRU,I\RX UHXQGHUQHDWKWKLVIORRU\RX UHKHUH                  WKH\DUHZRRGWZRE\VL[HVRUWZRE\IRXUV
 LQGLFDWHV                                                            4$UH\RXQRZWDONLQJDERXWLWHPVWKDW
                                                             3DJH                                                                3DJH
  42ND\6RRQWKH:HOOLQJRIILFHSDJH                     DUHLQWKHRXWVLGHDUHD
  \RXGLGD<DQGWKDWPDWFKHVXSWRZKHUHWKH<LV                  $8QGHUQHDWKWKHKRXVH
  RQWKHGRZQVWDLUVSDJH"                                                4XQGHUQHDWKWKHKRXVHLQWKHLQ
  $,WLVDOORIWKLVLVDOORIWKLV                   WKHEXWQRWHQFORVHGE\IRXUZDOOV"
  LVZDONVSDFH LQGLFDWHV XQGHUQHDWK$QGWKHQ                       $<HVHQFORVHG6RWKLVULJKWKHUHLV
  ULJKWKHUHLWVWDUWVWRVORSHXSDQGJHWDOLWWOH                      HQFORVHG LQGLFDWHV DQGWKHUH VDQRWKHUGRRUWKDW
  FUD]\ LQGLFDWHV XQGHU                                               JRHVXQGHUKHUH LQGLFDWHV WKDW VHQFORVHG
  42ND\8QGHUVWRRG                                       $QGWKHQWKLVLVZDONDEOH,FDQVWDQG
  $8QGHUVWRRG"                                              XS$QGLI\RXJRXSKHUH LQGLFDWHV LWVWDUWVWR
 46RIRUWKHIORRUWKHZRUNWKDWZDV                     VORSHDQGWKDW VZKHUHLWJHWVFUDZOVSDF\XSKHUH
 SHUIRUPHGZDVWKHGLUWZDVUHPRYHG"                                   %XWWKLVULJKWKHUHWKLVVWUXFWXUDO
 $<HDK6RPHGLUWQRWDOORILWQRWDV                 ZDOODQG,DPQRWWDONLQJDERXWWKLVRQHEXWWKH
 PXFKDVQHHGVWREHEXWZHJRWVRPHRXW                             RQHXQGHUQHDWKZDVKHOGXSE\WZRE\IRXUVDQG
 4+DYH\RXSDLQWHGWKHIORRUVLQFHWKDW                   PD\EHWZRE\VL[HVEXWWKH\ZHUHDOOWZRE\IRXUV
 WLPH"                                                                 WKH\DOOJRWWDNHQRXWDQGWKHQZHORRNHGDWWKH
 $,NQRZDOOWKHZDOOVZHUHSDLQWHGDQG                  DFWXDOVXSSRUWLQJEHDPV7KRVHZHUHQ WUHDOO\EHDPV
 ,NQRZWKH\ZHUHSXOOLQJXSWKHROGJORRSH\ SK                       7KRVHZHUHMXVWWKHFHPHQWEULFNVWKDWZHUHKROGLQJ
 VWXIIWKDWZDVFUDFNOLQJXS,GRQ WNQRZLIZHJRW                  WKDW
 DOOWKHZD\ILQLVKHG                                                 4$QGWKDWZRUNZDVDOOZDVSHUIRUPHG
 46RIRUWKHZDOOVZHUHWKHZDOOV                     ZLWKLQDQDUHDWKDWZDVZLWKLQIRXUZDOOV"
 $&RPSOHWHO\\HDK,GRQ WNQRZWRWKH                  $7KDW VFRUUHFW
 OHYHO,GRNQRZWKDWVRPHVRUWRI,FDQFDOOWKH                 42ND\$QGVRZRXOGWKDWDUHDEHWKH
 JX\ULJKWQRZEXW,NQRZWKDWVRPHWKLQJZDVXVHGRQ                  DUHDWKDW\RXGHVLJQDWHGZLWKLQ<RQWKH
 WKHZDOOVWRKHOSWKHPROG,WZDVQ WOLNHKLJK                      $7KDW V<7KLVFRXOGEH=
 SURIHVVLRQDOVWXIIEXWVRPHWKLQJMXVWWRDVD                     %HFDXVHWKHUHLVDQRWKHU

                                                                                                                  3DJHV
                                              ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP

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     Case 1:17-cv-09002-LAS                    Document 266-2                   Filed 01/10/23                  Page 432 of 1584

                                             0U6KDZQ):HOOLQJ                                             $XJXVW
                                                  3DJH                                                             3DJH
  &DQ,ZULWHKHUH"                            4:KDWDERXWDLUFRQGLWLRQLQJXQLWV"
  4*RDKHDGULJKWWKHUH LQGLFDWHV            $,KDYHQ WSXWLWEDFNLQ\HW
  $ &RPSOLHV 7KHUHLVDQRWKHUGRRUDQG        46D\DJDLQ
  WKLVZRXOGEH=                                          $,KDYHQ WSXWLWEDFNLQ\HW
  4$QGQRZ\RX UHRQWKH:HOOLQJRIILFH          42ND\:HUHWKHDLUFRQGLWLRQLQJXQLWV
  SDJHDQG\RX UHPDUNLQJD="                              GDPDJHG"
  $<HDK:KLFKLV=RYHUKHUHZKLFK          $<HDKWKHUHZHUHPXOWLSOHRQHVGDPDJHG
  PHDQVWKHUHLVD=WKDWZD\RYHUKHUH LQGLFDWHV         2QHWZRWKUHH0\WRWDO$&ELOOLVPD\EHJUDQG
  4$QGVR\RXPDGHLWDOVRPDGHD=         $QGWKHUHSODFHPHQWZDV-&%ORZHU,WKLQNWKDW V
 RQWKHILUVWIORRUOHYHO"                                  ZKRGLGWKRVH
 $<HDK                                        46R, PQRWVXUHZKDW\RX UHWHOOLQJPH
 42ND\'R\RXKDYHDWRWDOFRVWWKDW
            42ND\'R\RXKDYHDWRWDOFRVWWKDW         DERXWWKHVWDWXVRIWKHDLUFRQGLWLRQHUUHSDLU
   \RXKDYHLQFXUUHGIRUWKRVHUHSDLUVWRGDWH""
 \RXKDYHLQFXUUHGIRUWKRVHUHSDLUVWRGDWH                $7KHRQHLQWKLVURRPZDVQRWUHSODFHG
 $,ZRXOGVD\,FDQJLYH\RXDQHVWLPDWH
            $,ZRXOGVD\,FDQJLYH\RXDQHVWLPDWH      LQGLFDWHV 
 4*LYHPHDQHVWLPDWH
             4*LYHPHDQHVWLPDWH                         4+DYH\RXUHSODFHGOHW VVWDUWZLWK
 $/HWPHVHHWKDWZDV,ZRXOG
             $/HWPHVHHWKDWZDV,ZRXOG              WKHRQHVWKDW\RXKDYHUHSODFHG
   VD\RQHWZRWKUHH,ZRXOGVD\RQWKHH
 VD\RQHWZRWKUHH,ZRXOGVD\RQWK           $<HDK
   %DQG$LG
 %DQG$LG                                                  4:KDWKDYH\RXUHSODFHGIRUDLU
 4+DYH\RXOLVWHGDOOWKHZRUNWKDWKDV
            4+DYH\RXOLVWHGDOOWKHZRUNWKDWKDV        FRQGLWLRQLQJ"
   EHHQSHUIRUPHGIRUWKDW""
 EHHQSHUIRUPHGIRUWKDW                           $7KUHHILYHWRQXQLWVDQGWZRWKUHHWRQ
 $:LWK\RXULJKWQRZQR7KHUH
            $:LWK\RXULJKWQRZQR7KHUH VVWLOO       XQLWV
 P  RUHZRUNWKDWZDVGRQH
   PRUHZRUNWKDWZDVGRQH                                   4$QGZKDWGR\RXWKLQNZDVGDPDJHGWKDW
 4:KDWHOVHZKDWRWKHUPDWHULDOZRUN        KDVQ WEHHQUHSODFHG"
 ZDVGRQHVLJQLILFDQWZRUN"                                $7KHRQHGRZQKHUH LQGLFDWHV KDVQRW
 $7KHIHQFHZKROHEDFNOLQHIHQFHZDV       EHHQUHSODFHGLQWKHEDVHPHQW
                                                  3DJH                                                             3DJH
  XQGHUZDWHUIRUIRXUGD\VDQGLWZDVFRPSOHWHO\         4'RZQKHUHEHLQJLQWKHEDVHPHQW"
  SIIW SK 6RWKDWZDVUHGRQH                       $<HDK
  $QGWKHQWKHVWDLUZHOOXSWRWKH         4,VWKDWLQVLGHWKHEDVHPHQWRUDUHVRPH
  EDOFRQ\ZDVUHGRQH1HZUDLOLQJVZHUHDOOSXWLQ      RIWKHVHDLUFRQGLWLRQLQJXQLWVRXWVLGH"
  $QGOHW VVHHZKDWHOVH(YHU\WKLQJZDVUHSDLQWHG     $2XWVLGH
  IURPWKHILUVWOHYHOLQFOXGLQJWKHIHQFHVDQGWKH      4<HV
  EXLOGLQJLWVHOILQVLGH$OOWKDWZDVXQGHUZDWHU      $:HOOWKDWRQHZDVLQVLGH2IFRXUVH
  ,DPRQO\LQFRUSRUDWLQJZKDWZDV         WKH\DUHLQVLGHRXWVLGHGXDOXQLWV
  DFWXDOO\XQGHUZDWHU7KHDQGWKHQRIFRXUVH,      4<HDK
 JRWUHFHLYHGUHFHLYHGFRPSOHWHO\QHZSODQWV     $$QGWKH$&WKDW V\RXNQRZIRU
 $OOWKHSODQWVKDGEHHQWDNHQRXWDQGPD\EHDWOHDVW  IRUWRQVRI$&WKDW VD
 FORVHWRZRUWKRI\DUGUHZRUNZKLFKLVQRW  UHODWLYHO\FRQVHUYDWLYHILJXUH
 OLPLWHGWRORWVRIWKLQJVJHWWLQJFXWGRZQDQGWUHHV   05'$,1$OOULJKW,VOXQFKKHUH"
 EHLQJORVW,GRQ WNQRZKRZWRILJXUHWKDWLQWRD    05+,1621,ZDVJRLQJWRVXJJHVW,
 SULFHEXWWKDWZRXOGEHDORWRIWUHHVKDGWRJHW  GLGQ WZDQWWRFXW\RXRIIEXWLI\RXWKLQN\RX UH
 FXWGRZQQRWDORWDFRXSOHRIWKHPVREXW     DWDSODFHZKHUH\RXZDQWPLJKWZDQWWR
 WKHUHLVYDOXHWKHUHEXW, PQRWLQFOXGLQJWKDW       05'$,1,WKLQNWKLVLVDJRRG
 4:DVDQ\HOHFWULFDOZRUNUHGRQHDVD      WLPH
 UHVXOWRIWKHIORRGZDWHUV"                            056$/,6%85<FROOHFW\RXU
 $<HV                                     WKRXJKWVZHFDQWDNHKRZHYHUORQJ\RXQHHG
 4:KDW"                                    05'$,1<HDKOHW VGRWKDW
 $$OOWKHSDQHOLQJIRUWKHEDVHPHQWRU     056$/,6%85<2ND\
 ILUVWIORRUWKDWZDVRXW,WLVPLQRUFRPSDUHGWR     5HFHVVWDNHQ
 ZKDWQHHGVWREHGRQHMXVWNLQGRIZLWKLQWKHEDFN  4 %<05'$,1 6R,ZRXOGOLNHWR,
 LQWKHEDFNWKHEUHDNHUER[LQWKHEDFN              DPJRLQJWRFLUFOHEDFNWRWKHTXHVWLRQRIWKHZRUN

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                                   9DO$OGUHG                     $XJXVW

                                                                 Page 1

1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 2   IN RE UPSTREAM ADDICKS
 3    AND BARKER (TEXAS)
 4   FLOOD-CONTROL RESERVOIRS          Sub-Master Docket No.
                                       17-cv-9001L
 5   _________________________
 6                                     Judge Charles F. Lettow
 7   THIS DOCUMENT RELATES TO:
 8   ALL UPSTREAM CASES
 9
10                  ORAL DEPOSITION OF VAL ALDRED
11                            AUGUST 1, 2018
12
13
14             ORAL DEPOSITION OF VAL ALDRED, produced as a
15   witness at the instance of the Defendant and duly
16   sworn, was taken in the above styled and numbered
17   cause on Wednesday, August 1, 2018, from 8:58 a.m.
18   to 3:31 p.m., before Rene White Moarefi, CSR, CRR,
19   RPR in and for the State of Texas, reported by
20   computerized stenotype machine, at the offices of
21   Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,
22   Houston, Texas, pursuant to the Federal Rules of
23   Civil Procedure and any provisions stated on the
24   record herein.
25

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                                                           9DO$OGUHG                                              $XJXVW
                                                           3DJH                                                           3DJH
  $1R                                                      QHLJKERUKRRGZDVZDVDERXWXQGHUZDWHUDQGZH
  42ND\$OOULJKW:HFDQVHWWKLVDVLGH                 ZRXOGKDYHEHHQPDURRQHG
  IRUQRZ                                                            4:KHQ\RXVD\WKHHQWU\ZD\WR\RXU
  2ND\, PJRLQJWRDVN\RXDIHZ                        QHLJKERUKRRGZDVZDVWKHUHLVWKDWDVSHFLILF
  TXHVWLRQVQRZDERXWZKDWKDSSHQHGGXULQJ+DUYH\                    VWUHHW"
  $QG, YHJRWDEODQNFDOHQGDUVVRPHZKHUHLQIURQW                $,W V
  RI\RX6RIHHOIUHHWRUHIHUWRWKHPLI\RXKDYH                  4$UH\RXORRNLQJDW([KLELW"
  WURXEOHUHFDOOLQJFHUWDLQGDWHV                                    $<HDK, PORRNLQJDW([KLELW,W VWKH
  $2ND\                                                    HQWUDQFHDW/D&RVWDDQG0HPRULDO
 4:KHQGLG\RXILUVWKHDUDERXWWKH                       42ND\+RZGR\RXNQRZWKDW/D&RVWDDQG
 SRVVLELOLW\WKDWDVWRUPOLNH+DUYH\ZDVFRPLQJ"                   0HPRULDOZHUHEHFRPLQJLPSDVVDEOH"
 $,WKLQNSUREDEO\ZKHQHYHUWKHWKH79                $:HKDGJRQHGRZQWKHUHWRVHHLW,
 \RXNQRZVWDWLRQVVWDUWHGUHSRUWLQJLW,GRQ W                  WKLQNP\GDXJKWHUKDGKDGGULYHQGRZQWKHUHDQG
 NQRZH[DFWO\ZKHQWKDWZDVEXWVRPHWLPHDFRXSOHRI               VHHQWKDWLWZDVILOOLQJXSSUHWW\TXLFN
 GD\VEHIRUHLWKLW                                                42ND\:DVZKHQGLGZDWHUILUVWHQWHU
 42ND\$WWKDWWLPHZHOOGR\RX                  \RXUKRPH"
 FDQ\RXJLYHDQHVWLPDWHDVWRZKDWGDWHWKDWZDV"                 $,ZDVQ WRQWKHSURSHUW\ZKHQWKDW
 $<RXNQRZDV,UHFDOOWKLVZDVD                       KDSSHQHG
 KXUULFDQHWKDWNLQGRIZHQWDZD\DQGFDPHEDFNIURP                42ND\6RLWZDVDIWHU$XJXVWWK"
 WKHGHDGDJDLQDQGMXVWIODUHGXSSUHWW\TXLFNO\                  $,WZDVDIWHU,HYDFXDWHG
 3UREDEO\WKHVWRUQG                                         42ND\$QG\RXHYDFXDWHGRQ$XJXVWWK"
 42ND\:RXOG\RXKDYHDQ\WH[WRUHPDLOV               $<HVVRPHWLPHR FORFNLQWKH
 RUDQ\WKLQJWRVKRZZKHQ\RXILUVWNQHZDERXWZKHQ                 DIWHUQRRQR FORFN
 WKHKXUULFDQHZDVFRPLQJ"                                          4$QGZDWHUHQWHUHG\RXUKRPHDIWHU\RX
 $1R                                                     HYDFXDWHG"
                                                           3DJH                                                           3DJH
  42ND\:KHQ\RXKHDUGWKDW+DUYH\ZDV                    $7KDW VULJKW
  FRPLQJGLG\RXSUHSDUHLQDQ\ZD\"                                 4'R\RXKDYHDQHVWLPDWHDVWRZKHQWKH
  $1R                                                      ZDWHUHQWHUHG\RXUKRPH"
  42ND\'LG\RXEULQJLQVDQGEDJVDWDOO"                 $1R
  $1R                                                      42ND\:KHUH G\RXJRZKHQ\RXZHUH
  4'LG\RXPRYHDQ\SHUVRQDOSURSHUW\                       HYDFXDWHG"
  XSVWDLUV"                                                           $7RP\GDXJKWHU VKRXVH
  $1R                                                      4:KHUHGRHVVKHOLYH"
  4'LG\RXHOHYDWHDQ\RI\RXUSURSHUW\RU                  $6KHOLYHVLQ)DLUILHOGZKLFKLVDW
 PRYHLWWRKLJKHUJURXQG"                                          DQGWKH*UDQG3DUNZD\
 $1R                                                     4$QGGLGVKHJHWDQ\IORRGLQJ"
 4'LG\RXH[SHFWDQ\IORRGLQJ"                            $1R
 $1R                                                     42ND\$QGKRZORQJGLG\RXVWD\WKHUH
 4:K\QRW"                                                IRU"
 $,WZDVMXVWDVWRUPOLNHDORWRIRWKHU                 $:HOOZHP\ZLIHVWD\HGWKHUHXQWLO
 VWRUPV                                                            SUREDEO\\RXNQRZWKURXJKWKHEHWWHUSDUWRI
 42ND\'LG\RXSODQWRHYDFXDWHDWDOO"                 2FWREHURU1RYHPEHU,FDPHEDFNWRWKHKRXVHD
 $1R                                                     FRXSOHRIZHHNVODWHUDQGOLYHGXSVWDLUVWR\RX
 4'LG\RXHYDFXDWHDWDQ\SRLQW"                          NQRZPDQDJHWKHUHSDLUVDQGUHFRYHU\
 $:HGLGRQWKHWK                                     42ND\:KHQ\RXILUVWZKHQGLG\RX
 4:K\GLG\RXHYDFXDWHRQWKHWK"                       ILUVWUHWXUQWR\RXUKRPHDIWHU+DUYH\"
 $:HOOWKHZDWHUZDVJHWWLQJKLJKHUWRWKH               $6RZHFDPHEDFNWKHVW,JXHVV,W
 SRLQWZKHUHZHLIZHZHUHJRLQJWRJHWRXWDW                   ZRXOGEHD7KXUVGD\WKHVW
 DOOZHKDGWRJHWRXWSUREDEO\WRZDUGWKHODWWHU                  4'R\RXUHFDOOZKDWWLPH"
 SDUWRIWKDWDIWHUQRRQEHFDXVHWKHHQWU\ZD\WRRXU                $3UREDEO\PLGPRUQLQJPD\EHR FORFN

                                                                                                               3DJHV
                                        ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP

                                                                                                                                        A885
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                                                           9DO$OGUHG                                              $XJXVW
                                                           3DJH                                                            3DJH
  46R\RXVSHQWWZRQLJKWVDZD\IURP\RXU
       4 6R\RXVSHQWWZRQLJKWVDZD\IURP\RXU                   IXUQLWXUHLQWRSDSHUFXSV'LG\RXWDNHDQ\RWKHU
   KRPHWKHQ"
  KRPHWKHQ"                                                         VWHSVDWWKDWWLPHWRWU\WRVDYHDQ\RI\RXU
  $7KDW
        $ 7KDW VZHOOEHIRUH,FDPHEDFNRQWKH                  EHORQJLQJV"
  VW\HV                                                          $1R,PHDQWKDWZDVDERXWDOOZHFRXOG
  42ND\$QGKRZORQJGLG\RXVWD\DW\RXU
       4 2ND\$QGKRZORQJGLG\RXVWD\DW\RXU                 GRDWWKHWLPH(YHU\WKLQJHYHU\WKLQJZHKDG
  KKRPHRQWKHVW"
     RPHRQWKHVW"                                                  GRQHEHIRUHZHHYDFXDWHGZDVGRQHDQGLWZDVDOOZH
  $:HOOZHZHZHQWLQVDZWKDWWKH
        $ :HOOZHZHZHQWLQVDZWKDWWKH                       FRXOGGRDWWKHWLPH
   ZDWHUZDVVWLOOVWDQGLQJLQWKHLQWKHKRXVH
  ZDWHUZDVVWLOOVWDQGLQJLQWKHLQWKHKRXVH                    42ND\'R\RXUHFDOOZKHQ\RXOHIW\RXU
                                                                             4 2ND\'R\RXUHFDOOZKHQ\RXOHIW\RXU
   WRRNSLFWXUHVWULHGWRSXWVRPHIXUQLWXUHRQLQ
  WRRNSLFWXUHVWULHGWRSXWVRPHIXUQLWXUHRQLQ                 KRPHRQWKHVW"
                                                                        KRPHRQWKHVW"
   FXSVDQGWKLQJVOLNHWKDWVRLWZRXOGQ
 FXSVDQGWKLQ JVOLNHWKDWVRLWZRXOGQ WEHVWDQGLQJ
                                           WEHVWDQGLQJ              $$FRXSOHKRXUVODWHU
                                                                             $ $FRXSOHKRXUVODWHU
   LQZDWHUDQGQRWPXFKZHFRXOGGR
 LQZDWHUDQGQRWPXFKZHFRXOGGR                              42ND\$QGGXULQJWKDWWLPHKDGWKH
                                                                             4 2ND\$QGGXULQJWKDWWLPHKDGWKH
 4+RZPXFKZDWHUGLG\RXVHH"
       4 +RZPXFKZDWHUGLG\RXVHH"                             ZDWHUOHYHOFKDQJHGDWDOO"
                                                                        ZDWHUOHYHOFKDQJHGDWDOO"
 $$WWKHWLPHSUREDEO\DERXWDIRRW$QG
       $ $WWKHWLPHSUREDEO\DERXWDIRRW$QG                $,,GRQ
                                                                             $ ,,GRQ WNQRZ
        VEHFDXVHLWKDGUHFHGHGPRUHWKDQOLNHO\
 WKDW VEHFDXVHLWKDGUHFHGHGPRUHWKDQOLNHO\                    42ND\'R\RXUHFDOOZKHQ\RXQH[W
                                                                             4 2ND\'R\RXUHFDOOZKHQ\RXQH[W
 4+RZPXFKZDWHUGR\RXHVWLPDWHWKDW\RX                 UHWXUQHGWR\RXUKRPH
                                                                        UHWXUQHGWR\RXUKRPH""
 UHFHLYHGLQWRWDO"                                                 $,WZDVD6DWXUGD\WKH6HSWHPEHU
                                                                             $ ,WZDVD6DWXUGD\WKH6HSWHPEHU
 $$ERXWDIRRWDQGDKDOI                                WKHQG
                                                                        WKHQG
 42ND\$QGZKDW VWKDWHVWLPDWHEDVHGRQ"               42ND\$QGZKHQ\RXUHWXUQHGWR\RXU
                                                                             4 2ND\$QGZKHQ\RXUHWXUQHGWR\RXU
 $%DVHGRQWKHZDWHUOLQHVWKDWZHUHRQWKH               KRPHZKDWGLG\RXVHH"
                                                                        KRPHZKDWGLG\RXVHH"
 VWXGV                                                             $,WLWZDVQ
                                                                             $ ,WLWZDVQ WDVPXFKZDWHU,WWR
 4$QGZDVWKDWZDWHUOHYHOXQLIRUP                        WKDWSRLQWZHFRXOGEHJLQDQGGLGPXFNRXWDOOWKH
                                                                        WKDWSRLQWZHFRXOGEHJLQDQGGLGPXFNRXWDOOWKH
 WKURXJKRXWWKHKRXVH"                                              ZDOOVWHDUGRZQWKHZDOOVWDNHRXWWKHVKHHWURFN
                                                                        ZDOOVWHDUGRZQWKHZDOOVWDNHRXWWKHVKHHWURFN
 $,WKLQNVR                                             VTXHHJHHRXWZKDWHYHUZDWHUZHFRXOGWKDWZDVQHDU
 4'LGGLG\RXQRWLFHWKDWRQHSRUWLRQRI               WKHGRRU
                                                                        WKHGRRU
 \RXUKRPHUHFHLYHGPRUHZDWHUWKDQDQRWKHUSRUWLRQ"                46RGR\RXKDYHDQHVWLPDWHDVWRKRZPXFK
                                                                             4 6RGR\RXKDYHDQHVWLPDWHDVWRKRZPXFK
                                                           3DJH                                                            3DJH
  $1R,GRQ WUHFDOO                                       VWDQGLQJZDWHUWKHUHZDVDWWKDWWLPHRQWKHQG""
                                                                       VWDQGLQJZDWHUWKHUHZDVDWWKDWWLPHRQWKHQG
  42ND\<RXPHQWLRQHGHDUOLHU,EHOLHYH                       $ 1R,GRQ W
                                                                       $1R,GRQ
  WKDWWKHKRPHVORSHGGRZQZDUGWKHIXUWKHUQRUWK\RX                       4 2ND\
                                                                       42ND\
  ZHQW'LGWKHQRUWKVLGHRI\RXUKRPHZKLFKLV,                       $ ,GRQ W,MXVWQR
                                                                       $,GRQ
  EHOLHYHWKHULJKWVLGHRI\RXUKRPHJHWPRUH                            4 2ND\:HUH\RXDEOHWRVTXHHJHHRXWWKH
                                                                       42ND\:HUH\RXDEOHWRVTXHHJHHRXWWKH
  ZDWHU"                                                               ZDWHU"
                                                                       ZDWHU"
  $<RXNQRZWKHUHZDVDORWRIZDWHUWKDW                        $ ,NQRZWKDW,GLGQ W0\ZLIHPD\KDYH
                                                                       $,NQRZWKDW,GLGQ
  GD\,MXVWGRQ WUHPHPEHU,PHDQ,GLGQ WWDNH                  KDGDEURRPDQGWULHGWRSXVKVRPHRILWRXW
                                                                       KDGDEURRPDQGWULHGWRSXVKVRPHRILWRXW
  WKHWLPHWRPHDVXUHLW                                             42ND\'LG\RXUZLIHDFFRPSDQ\\RXRQ
 46RZKHQ\RXFDPHWR\RXUKRPHRQWKHVW               ERWKWULSV"
 DURXQGPLGPRUQLQJFDQ\RXMXVWZDONPHWKURXJKZKDW               $<HV
 \RXVDZ"                                                           4'LGDQ\RQHHOVHDFFRPSDQ\\RX"
 $<HDK,VDZRXUVWUHHWZDVVWLOO                       $/HW VVHH0\GDXJKWHUZKR&DVH\FDPH
 IORRGHG:HKDGWRSDUNRQWKHVWUHHWRQ                          ZLWKPHRQWKHILUVWWULS,GRQ WUHPHPEHULIVKH
 7KRUQEUDQFKZKLFKLVWKHVWUHHWHDVWRIRXUV$QG                ZDVZLWKPHRQWKHVHFRQGWULS$QGWKHQWKH
 ZHSDUNHGDVIDUDVZHFRXOG\RXNQRZDVFORVH                 GDXJKWHU,ZDVOLYLQJZLWKDFFRPSDQLHGPHRQWKH
 DVZHFRXOGDQGWKHQZDONHGDURXQGWKHWKHFRUQHU               VHFRQGWULS,MXVWWKHUHZHUHSHRSOHFRPLQJDQG
 DQGWKHQFURVVHGRXUVWUHHWWRWKHKRXVH                          JRLQJKRQHVWO\
 2KDQGWKHQIURPWKHUHZHZHQWLQVLGH                 45LJKW
 DQGVDZDOOWKHZDWHUWKDWZDVVWDQGLQJWKHUHDQG                  $,GRQ WUHPHPEHUZKRZDVZKRRUZKHQDQG
 MXVW\RXNQRZZHUH,JXHVVXQKDSS\DERXWLW:H               ZKHUH
 ZHUHVDG,WZDVWRRNVRPHSLFWXUHVDQG\RX                   4'LG\RXSHUVRQDOO\ULSRXWWKHVKHHWURFN
 NQRZWULHGWRWULHGWRRUJDQL]HRUJHWRXU                  DQGWKHLQVXODWLRQ"
 FROOHFWRXUWKRXJKWVDVEHVWZHFRXOG                             $,GLGDOLWWOHELW\HV
 42ND\<RXPHQWLRQHGWKDW\RXSXWVRPH                  4$QG\RXUIDPLO\GLGDVZHOO"

                                                                                                                3DJHV
                                         ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP

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                                                            9DO$OGUHG                                             $XJXVW
                                                           3DJH                                                             3DJH
  $7KH\GLGSOXVSHRSOHVKRZHGXSIURP                     WKRXJKWKDWJRWPRUHWKDQIHHWRIZDWHUZDV
  FKXUFKDQGWKHQHLJKERUVZLWKWRROVDQG                       WKHUH"
  4'LG\RXULSRXWDOORIWKHVKHHWURFNRQ                  $7KHUHZDVQ WSDUWRIP\SURSHUW\WKDWJRW
  WKHQGRUGLGLWWDNHDIHZGD\V"                                 DQ\IHHWRIZDWHUDQ\ZKHUH
  $7KHVHFRQGIORRUQHYHUWRXFKHGDQ\ZH                 45LJKW2ND\7KDQN\RX
  QHYHUWRXFKHGWKHIORRURQWKHVHFRQG                              $QGZKHQGLG\RXPRYHEDFNWROLYHRQWKH
                                                                                   $QGZKHQGLG\RXPRYHEDFNWROLYHRQWKH
  46RUU\,PHDQWRQ6HSWHPEHUQGZKHQ\RX                VHFRQGIORRURI\RXUKRPH
                                                                        VHFRQGIORRURI\RXUKRPH""
  UHWXUQHGWR\RXUKRPHIRUWKHVHFRQGWLPHLVWKDW                  $,FRXOGQ
                                                                             $ ,FRXOGQ WWHOO\RXDQH[DFWGDWH,
  ZKHQ\RXULSSHGRXWWKHVKHHWURFN"                                   ZRXOGFRPHDQGVWD\DIHZGD\VDQGWKHQDV
                                                                       ZRXOGFRPHDQGVWD\DIHZGD\VDQGWKHQDV
 $<HVWKDW VZKHQZHVWDUWHGGRLQJLW                   FRQWUDFWRUVZHUHDYDLODEOHDQGWKHQZKHQWKH\OHIW
 42ND\$QGKRZORQJGLGWKDWSURFHVV                    DQGWKHQH[WJURXSZRXOGFRPHLQDIHZGD\VDIWHU
 WDNH"                                                              WKDWRUZKHQHYHULWZDV, GVWD\ZLWKP   \
                                                                                                      GVWD\ZLWKP\
 $'D\V                                                   GDXJKWHU VDWP\GDXJKWHU VKRXVH
                                                                                                         VKRXVH
 42ND\'R\RXKDYHDQHVWLPDWHDVWRZKHQ
       4 2ND\'R\RXKDYHDQHVWLPDWHDVWRZKHQ               42ND\'R\RXKDYHDQ\GRFXPHQWDWLRQWKDW
                                                                             4 2ND\'R\RXKDYHDQ\GRFXPHQWDWLRQWKDW
 \RXPLJKWKDYHFRPSOHWHGWKDWZRUN
   \RXPLJKWKDYHFRPSOHWHGWKDWZRUN""                               ZRXOGKHOSUHIUHVK\RXUUHFROOHFWLRQDVWRZKHQ\RX
 $1RWDV,VLWKHUHLQIURQWRI\RXQRZ
       $ 1RWDV,VLWKHUHLQIURQWRI\RXQRZ                  VSHQW\RXUILUVWQLJKWEDFNDW\RXUKRPH
                                                                        VSHQW\RXUILUVWQLJKWEDFNDW\RXUKRPH""
 QR  ,GRQ WW
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 WRRNRXWPRUHVKHHWURFN"                                           $QG\HDK
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 MXVW                                                            42ND\$QG\RXEHOLHYHWKDWWKDWZDWHU
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                                                                    Page 1

1          IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2    IN RE UPSTREAM ADDICKS            )
     AND BARKER (TEXAS)                )
3    FLOOD-CONTROL RESERVOIRS          )
                                       )   Sub-Master Docket No
4    ________________________          )   17-cv-9002L
     THIS DOCUMENT RELATES TO
5    ALL DOWNSTREAM CASES              )
6
7               --------------------------------------
                              ORAL DEPOSITION OF
8
                                 PHILLIP AZAR
9
                                 JULY 9, 2018
10             --------------------------------------
11
12              ORAL DEPOSITION OF PHILLIP AZAR, produced as a
13   witness at the instance of the United States, and duly
14   sworn, was taken in the above-styled and numbered cause
15   on the 9th day of July, 2018, from 9:02 a.m. to
16   5:03 p.m., before Morgan Veletzuy, CSR in and for the
17   State of Texas, recorded by machine shorthand, at Kirby
18   Mansion, 2000 Smith Street, Suite 550, Houston, Texas
19   77002, pursuant to the Federal Rules of Civil Procedure
20   and the provisions stated on the record or attached
21   hereto; that the deposition shall be read and signed
22   before any notary public.
23
24
25

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                                                                         Page 7

1    today.       If you don't understand me or you're having

2    trouble hearing, please ask me to clarify.

3            A.    Sure.

4            Q.    Your counsel may object, but answer unless

5    you're instructed not to.             Try to answer with words, not

6    nods of the heads or "uh-huhs" or grunts.                  Let's try not

7    to talk over each other.             I -- I tend to ask questions

8    slowly, so I'd ask that you don't try and anticipate

9    where I'm going and just let me finish the question.

10   And then I'm happy to let you answer as long as you'd

11   like.

12                         I'll try to be as clear as possible again,

13   but let me know if you don't understand.                  If you need to

14   supplement a previous answer later in the deposition,

15   please feel free to do so.             If at any point you want a

16   break, please let me know.

17                         And then lastly, are you taking any

18   medication today that would prevent you from giving true

19   and complete answers?

20           A.    I don't believe so.        In fact, I forgot to take

21   my medications.          I need to run back and take them.            Can

22   I take a break real quick?

23                         MR. ROBERTS:     Yeah, sure.

24                         MR. LEVINE:     Sure.      Sure.

25                         Taking a break at 9:06.

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1                        (Break taken from 9:06 a.m. to 9:13 a.m.)

2                        THE REPORTER:     Back on the record at 9:13.

3          Q.    (BY MR. LEVINE)       Just ask that last question

4    again:     Are you taking any medication today that would

5    prevent you from giving true answers?

6          A.    No.

7          Q.    How did you prepare for the deposition today?

8          A.    I really didn't.

9          Q.    Okay.     Did you review any documents?

10         A.    No, sir.

11         Q.    Besides your attorneys, did you speak with

12   anyone about the deposition?

13         A.    Just my little girlfriend.          I told her what I

14   was doing.

15         Q.    I'm sorry.     Did you say your girlfriend?

16         A.    Lisa.

17         Q.    Does your girlfriend live with you?

18         A.    Part-time.

19         Q.    And where do you presently reside?

20         A.    Right here, 2000 Smith.

21         Q.    And did you live here at 2000 Smith Street

22   during Hurricane Harvey?

23         A.    I've been living both places during that time

24   period; but when Harvey came along, I've been down here

25   ever since.       We all got displaced, me and my whole

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                                                                       Page 9

1    family.

2            Q.   And when you say the other place, which

3    property are you referring to?

4            A.   I guess the subject property, 3 Magnolia Bend.

5            Q.   And that's the only subject property that's

6    involved in this litigation that you're a plaintiff for?

7            A.   Yes, I believe so.

8            Q.   Okay.     And when you said your whole family was

9    displaced during Harvey, who else lives with you at the

10   3 Magnolia property?

11           A.   Jimmy Azar, my brother -- Jimmy Azar.               Dilores

12   Azar, my sister.         Dolly Azar, A-Z-A-R.        That's it.

13           Q.   Okay.     So Jimmy's your brother, and Dilores is

14   your sister?

15           A.   Yeah, Dolly and Dilores are sisters.

16           Q.   Oh, two sisters?

17           A.   Yeah.

18           Q.   Okay.

19           A.   And Jimmy's my brother.

20           Q.   Okay.     But they're not in-laws or anything like

21   that?

22           A.   No, sir.

23           Q.   Okay.     And -- okay.     I'll come back to that.

24                        Was -- was your girlfriend Lisa with you

25   during Hurricane Harvey?

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                                                                      Page 10

1            A.   Correct.     Yes.

2            Q.   And were you at the 3 Magnolia Bend property

3    during Harvey?

4            A.   No.     I was here.

5            Q.   Okay.     Was anyone in your family at the

6    3 Magnolia Bend property during Harvey?

7            A.   Yeah.     Dolly -- the same ones I just gave you,

8    Dolly, Jimmy, and Dilores.           They were all there.

9            Q.   Were they there throughout the entirety of the

10   storm?

11           A.   Until I called and I think Dilores called, too,

12   or one of them called, the sheriff's or 911 and they --

13   they got picked up by a boat.

14           Q.   Do you know on what day they were picked up by

15   the boat?

16           A.   I want to say the 28th or the 27th, 28th.

17           Q.   Do you -- do you know what time of day they

18   were picked up?

19           A.   Not really.     I think it was light.

20           Q.   It was daylight?

21           A.   During the day.       Yes, sir.     So probably the

22   28th.

23           Q.   Okay.     So you think that your brother Jimmy and

24   sisters, Dilores and Dolly, were picked up by a boat

25   during the day on the 28th of August 2017?

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·3· · · ·IN THE UNITED STATES COURT OF FEDERAL CLAIMS

·4
· · IN RE DOWNSTREAM ADDICKS· · *
·5· AND BARKER (TEXAS)· · · · · * SUB-MASTER DOCKET
· · FLOOD-CONTROL RESERVOIRS· · * NO. 17-cv-9002L
·6· · · · · · · · · · · · · · · *
· · ___________________________ *
·7· · · · · · · · · · · · · · · *
· · THIS DOCUMENT RELATES TO:· ·*
·8· · · · · · · · · · · · · · · *
· · ALL TEST PROPERTIES· · · · ·*
·9

10

11

12
· · · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
13

14

15

16

17· Date· · · · · · · · · ·Edith A. Boggs, CSR

18

19· 9-18-18· · · · · · · · HOUSTON, TEXAS

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·8· · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
·9
10
11· · · ·DEPOSITION AND ANSWERS of JANA CANAN BEYOGLU, taken
12· before Edith A. Boggs, a certified shorthand reporter in
13· Harris County for the State of Texas, taken at the law
14· offices of Neel, Hooper & Banes, PC, 1800 West Loop
15· South, Suite 1750, Houston, Texas, on the 18th day of
16· September, 2018, between the hours of 1:49 p.m. and 5:06
17· p.m.
18
19
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·1· Turkish Airlines leaves about 8:30, 8:50.· So, all the
·2· way Friday afternoon, late afternoon, I was with them.
·3· · · ·Q.· So, on Friday, September 1st?
·4· · · ·A.· Friday, September 1st.
·5· · · ·Q.· So, at night, you flew to Turkey?
·6· · · ·A.· Uh-huh.
·7· · · ·Q.· Okay.· And when did you return from Turkey?
·8· · · ·A.· Do you have next September calendar with you?
·9· · · ·Q.· Yes.· I don't think I have marked this one yet.
10· · · · · · · · (Exhibit 20 marked.)
11· · · ·Q.· (BY MS. SANTACRUZ)· So, I have marked the
12· September, 2017 calendar as Exhibit 20.
13· · · ·A.· Either 10th or 11th, one of them.· Either 10th
14· of September or 11th -- okay.· Hold on.· If I left
15· here -- did I stay for a week or two weeks?· No.· Water
16· stayed until here.
17· · · · · · · · Okay.· I think I -- I think we returned on
18· 17th together, me and my husband.· Yeah, I believe on
19· the 17th, 16th, yeah, somewhere around here because I
20· see that we were communicating her with our friends that
21· I stayed with, and she was taking pictures and sending
22· us.· We knew that water was in the house -- I don't
23· know -- somewhere around all the way here.· And then we
24· got a company to came to house to dry the house next
25· week.· I believe we came back somewhere either 16th or


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·1· 17th.
·2· · · ·Q.· The 16th or the 17th?
·3· · · ·A.· Either one of those days.· I can find it if I
·4· go into the -- my miles card when I returned.· I can
·5· kind exact date later if you need it.· Yeah.
·6· · · ·Q.· And so, you talked about being in communication
·7· with your friend while you were in Turkey?
·8· · · ·A.· Uh-huh.
·9· · · ·Q.· How did you communicate with her?
10· · · ·A.· WhatsApp.
11· · · ·Q.· WhatsApp?
12· · · ·A.· (Witness indicated by nodding her head
13· affirmatively.)
14· · · ·Q.· Okay.· Do you still have those records?
15· · · ·A.· I do.
16· · · ·Q.· So, what were you communicating about while you
17· were in Turkey?
18· · · ·A.· If the water is still in the house or not.· And
19· actually, I believe she took several pictures around
20· this time that water was still in the house somewhere
21· around here, that high, and then it start going down
22· later after 5th or 6th.
23· · · ·Q.· After the 5th or 6th?
24· · · ·A.· Uh-huh.
25· · · ·Q.· And is this the friend that lived --


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·1· · · ·A.· Two blocks down, and then I stayed with them,
·2· that's the friend.
·3· · · ·Q.· And her house didn't flood?
·4· · · ·A.· No.· No.
·5· · · ·Q.· Okay.· And you said that you hired a contractor
·6· to clean up the house?
·7· · · ·A.· Yeah.· We had a contractor to dry the house and
·8· cut the Sheetrocks and all the stuff.· I think they
·9· worked on this week and take everything out from the
10· house that it messed up.
11· · · ·Q.· Okay.· So, to your recollection, everything
12· that was on the first floor -- and based on the pictures
13· that we just saw, Exhibit 8, everything that was on the
14· first floor was destroyed by the flood?
15· · · ·A.· Yes, pretty much.
16· · · ·Q.· Okay.
17· · · ·A.· Not the flood.· Not the flood.· I think we
18· could have -- if the water was in and out, we could have
19· saved a lot of stuff but then the water rised after that
20· and stayed for ten days.· I think we lost almost
21· everything.· Yeah.
22· · · ·Q.· So, you think that if --
23· · · ·A.· Not the flood.
24· · · ·Q.· It was not the flood?
25· · · ·A.· Because we have friends that they flooded but


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·1· the water went out immediately a few hours later, and
·2· mine stayed ten days.· I mean, if it was only for a few
·3· hours, I'm sure I could have saved a bunch of stuff that
·4· I couldn't.
·5· · · ·Q.· So, how long did you estimate that the water
·6· stayed in your home?
·7· · · ·A.· At least probably ten days.· At least ten days.
·8· · · ·Q.· What makes you think that?
·9· · · ·A.· Because the pictures and the contractors and
10· then actually even the insurance agent that came and
11· looked and the water was still around, so, he said he
12· would come back.· I think he came back somewhere 11th.
13· He couldn't come back this week.· He came back on the
14· 11th, insurance agent, I believe.
15· · · ·Q.· Okay.· Well, we have that next as an exhibit.
16· · · ·A.· Yeah.
17· · · ·Q.· So, Exhibit 9, we have his report.
18· · · ·A.· Uh-huh.
19· · · ·Q.· And he was there -- if you look at the next
20· page -- September 6th.
21· · · ·A.· Yeah, he came and -- did he do some work on
22· September 6th?· Because I remember he couldn't do some
23· of them on September 6th.· He couldn't do everything and
24· he came back again.
25· · · ·Q.· When did he come back?


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·1· · · ·A.· I wasn't in the town that time.· So -- he came
·2· several times after that.
·3· · · ·Q.· Do you know who made the claim -- the phone
·4· call to call the insurance?
·5· · · ·A.· I did.
·6· · · ·Q.· You did?
·7· · · ·A.· I did.
·8· · · ·Q.· From -- no.· You were still here?
·9· · · ·A.· I was still here.
10· · · ·Q.· Because it says right here that it was done on
11· August 29th, 2017.
12· · · ·A.· I was here.
13· · · ·Q.· So, you were the one that called in?
14· · · ·A.· Yes.
15· · · ·Q.· And if you look right next to it, it says,
16· "Date of loss."· Do you see that?
17· · · ·A.· Yeah.
18· · · ·Q.· It says, "August 26, 2017 at 1:00 a.m."· Do you
19· see that?
20· · · ·A.· That's not right.· That's the time -- that's
21· like -- that's the lady drowning.· Mine was in the
22· morning, the 27th.· That's not right.
23· · · ·Q.· So, you believe this is incorrect?
24· · · ·A.· Yeah.· The 26th, 1:00 a.m. is not correct.
25· · · ·Q.· Where do you think he got that information


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·1· from?
·2· · · ·A.· When he was -- he came in here, we weren't in
·3· town.· Me and my husband were out of country.· So, our
·4· friend and the contractors guy, they were with insurance
·5· person.· I don't know whatever they told him.· Maybe
·6· they got that.· I cannot tell where he got that
·7· information.
·8· · · ·Q.· Okay.· And what is the name of the contractor?
·9· · · ·A.· Mesut, M E S U T.
10· · · ·Q.· And the last name?
11· · · ·A.· C U L H A C I.· He's one of our friends also.
12· · · ·Q.· And how much did you pay him to help you clean
13· up?
14· · · ·A.· My husband would know it.· Really, I don't
15· know.
16· · · ·Q.· Are there any documents that would show how
17· much you guys paid?
18· · · ·A.· I'm sure either check or card or something.
19· I'm sure.
20· · · ·Q.· And what was it specifically that he did?· So,
21· he just cleaned?
22· · · ·A.· Actually, I have a video of what he did.· When
23· we were in Turkey, he sent us a video of what they were
24· doing in the house.
25· · · ·Q.· Have you provided that to your attorney?


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·1· · · ·A.· We probably did.· If it's not, I can provide
·2· it.
·3· · · ·Q.· Okay.
·4· · · ·A.· I know I have that.
·5· · · ·Q.· Great.· We'll follow up on that.
·6· · · ·A.· Yeah.· Yeah.
·7· · · ·Q.· Okay.· So, this date -- you said September 6th
·8· is the first time it was inspected and at some point, he
·9· came back?
10· · · ·A.· He came back, yeah.· I remember he came back.
11· He couldn't do some of the parts.· That's how I
12· remember.
13· · · ·Q.· And were you already in the States when he --
14· · · ·A.· No.· I was out.· We were out of country.
15· · · ·Q.· When he came back the second time?
16· · · ·A.· After that, really my -- emotionally, I wasn't
17· ready to go back to house.· So, I wasn't with him.
18· Maybe my husband was but I don't know.· I was totally --
19· I couldn't go see the house after that.
20· · · ·Q.· When was the first time that you saw it after
21· you left -- you came back from Turkey?
22· · · ·A.· The night that we flew in, we just drove by in
23· the car.· And after that, I probably didn't go back
24· maybe two or three weeks, four weeks.· I don't know.                I
25· couldn't go back.· I still cannot go back.


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·1· · · ·Q.· Okay.· And after you came back, where did you
·2· stay?
·3· · · ·A.· We rented an apartment immediately.· We moved
·4· into an apartment because we didn't know how the house
·5· looked or anything when we were in country.· I mean, you
·6· don't think that it will be this bad only if it was just
·7· a little water.· So, we just didn't want to purchase a
·8· house or anything.· We didn't want to go to anybody
·9· else.· So, we rented an apartment.
10· · · ·Q.· So, by the time you flew from Turkey --
11· · · ·A.· Into our apartment.
12· · · ·Q.· -- you had already leased an apartment?
13· · · ·A.· Yes.
14· · · ·Q.· Do you mind just marking down the dates when
15· you believe you returned to the States?
16· · · ·A.· Either this or this, 16th or 17th, somewhere
17· around then, we came back to Houston.
18· · · ·Q.· And were you able to salvage your belongings on
19· the second floor?
20· · · ·A.· We had -- I had kids' room and then the guest
21· room.· The guest room didn't have anything anyway, just
22· the bed.· And the kids' room, we took their -- because
23· it was staged, our house before, they were -- anything
24· in the closets, whatever, they were boxed and they were
25· in the garage.· We had only beds, just furnitures.


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·1·
 1· Those were saved.· Actually, those were the ones went to
·2· apartment for us.
·3· · · ·Q.· And how long were you at that apartment?
·4· · · ·A.· Until January.· So, October, November,
·5· December, January.· Probably four months.
·6· · · ·Q.· You signed a lease agreement for that
·7· apartment, right?
·8· · · ·A.· Actually, we signed a lease agreement for a
·9· year.
10· · · ·Q.· For a year?
11· · · ·A.· And I couldn't stay in the apartment because it
12· was choking me.· I couldn't stay.· So, we had to break
13· the lease and pay extra, whatever the penalty was.
14· · · · · · · · So, I thought I could live on the second
15· floor maybe in our house so we can maybe fix the house
16· during that time but there were no contractors right
17· away.· We couldn't find anybody to do any work.
18· · · · · · · · And we just kind of -- we didn't know what
19· to do.· So, we moved back to the upstairs but no kitchen
20· or anything.· So, at that time, we purchased a house.
21· We couldn't stay.· And we moved end of February to our
22· new house.
23· · · ·Q.· When did you move back to the house to live on
24· the second floor?
25· · · ·A.· The end of January, I'm thinking, maybe.


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·1· · · ·Q.· The end of January?
·2· · · ·A.· Yeah.· We tried that if we stayed upstairs, we
·3· maybe can fix the house on the bottom floor when we were
·4· in the house, but I think mold was too much and the
·5· smell and all the stuff in the house, and I couldn't
·6· stay there.
·7· · · ·Q.· Do you have any of the records about when you
·8· leased the property and when you broke the lease?
·9· · · ·A.· We can get it from the apartment.
10· · · ·Q.· Okay.
11· · · ·A.· I'm sure they have the papers still.
12· · · ·Q.· Yeah.· Because if I remember correctly, your
13· husband's testimony was that you guys lived there for
14· about eight to nine months in the apartment.· That seems
15· too long?
16· · · ·A.· Eight to nine months?· We got our new -- we got
17· our new house end of February.· So, we moved in.
18· There's no way.
19· · · ·Q.· Okay.
20· · · ·A.· We can ask the apartments to provide the
21· documents.
22· · · ·Q.· Yeah.
23· · · ·A.· We can do that.· I'm sure they have it.
24· · · ·Q.· Okay.· So, after about --
25· · · ·A.· There is no way I could have lived in that


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1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2     IN RE UPSTREAM ADDICKS          )
      AND BARKER (TEXAS)              )
3     FLOOD-CONTROL RESERVOIRS        )
                                      )    Sub-Master Docket No
4     ________________________        )    17-cv-9002L
      THIS DOCUMENT RELATES TO        )
5     ALL DOWNSTREAM CASES            )
6
7                 --------------------------------------
                              ORAL DEPOSITION OF
8
                                  DANA CUTTS
9
                                 JUNE 27, 2018
10               --------------------------------------
11
12                ORAL DEPOSITION OF DANA CUTTS, produced as a
13    witness at the instance of the United States, and duly
14    sworn, was taken in the above-styled and numbered cause
15    on the 27th day of June, 2018, from 9:07 a.m. to
16    2:55 p.m., before Morgan Veletzuy, CSR in and for the
17    State of Texas, recorded by machine shorthand, at the
18    offices of McGehee, Chang, Landgraf, 10370 Richmond
19    Avenue, Suite 1300, Houston, Texas 77042, pursuant to
20    the Federal Rules of Civil Procedure and the provisions
21    stated on the record or attached hereto; that the
22    deposition shall be read and signed before any notary
23    public.
24
25

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1             A.   I have no knowledge of that.

2             Q.   Do you have any photographs of what occurred on

3     your property during the time when you were away?

4             A.   No.

5             Q.   Okay.     And what date did you return to your

6     home?

7             A.   Well, whatever eight days later.           It says in

8     the -- do you have it?

9             Q.   I think right underneath the map right in front

10    of you, I think that that's Exhibit 14.

11            A.   Thursday, September 7th.

12            Q.   Okay.     Okay.   Describe the process of coming

13    back to your home.

14            A.   Parking a half a mile away.          Sloshing through

15    all of our neighbors' yards up close to their houses

16    because there was standing water in the yards as well.

17    You could not walk on the sidewalk or the street.                  Their

18    lawns got pretty wrecked by all of the people.                  There

19    were emergency vehicles everywhere.              People were still

20    being rescued from the back.

21                         When we walked into our house, there was

22    still standing water in the floors that we mopped up.

23    That's -- that's it pretty much, yeah.

24            Q.   Okay.

25            A.   On that one day, that particular day.

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1     today, the various steps to get back into your house.

2           A.   That's a very broad -- I'll try to give you

3     some basic.    The beginning started on the 8th when we

4     got back in.    Volunteers came and threw out carpet.             The

5     9th, they pulled out some Sheetrock.

6                     The next week, we hired someone at great

7     expense to pull out the rest of the Sheetrock, pull out

8     all of the -- and clean up, spray and sanitize, mold

9     removal -- not mold removal, but to spray for

10    everything, bleach it.       Clean and sanitize our garage.

11                    We moved what we thought we could save into

12    the garage for storage.       The garage was closed.         It was

13    un-air-conditioned.       About mid-October, I guess, our

14    contractor started.       He explained to us things were

15    difficult to get.       Everyone was clamoring for stuff, and

16    it would be a while.       He started in, I think,

17    mid-October.    I may be wrong about that.

18                    It took us that long to dry out the house.

19    We had to buy dehumidifiers, four of them.           We had to

20    buy a whole bunch of fans.        We had to buy more Clorox.

21    We had to buy more mold inhibitor, et cetera -- whatever

22    that's called -- and spray it.

23                    When he started, it took him -- we moved

24    back in May 31st.       It was a very slow process with a lot

25    of starts and stops in it.        The City could not make up

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                                                                           Page 1

1       IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
        IN RE DOWNSTREAM                        : Sub-Master Docket
3       ADDICKS AND BARKER                      : No. 17-cv-9002L
        (TEXAS) FLOOD-CONTROL                   :
4       RESERVOIRS                              : Judge Susan G.
                                                : Braden
5                                               :
        THIS DOCUMENT RELATES                   :
6       TO:                                     :
        ALL TEST PROPERTIES                     :
7
8                                   *       *       *
9                  MONDAY, SEPTEMBER 17, 2018
10                                  *       *       *
11
12              Oral deposition of INGA GODEJORD taken
13     at the law offices of Neel, Hooper & Banes,
14     P.C. 1800 West Loop South, Suite 1750,
15     Houston, Texas, commencing at 1:01 p.m.
16     before Debbie Leonard, Registered Diplomate
17     Reporter, Certified Realtime Reporter.
18
19
20
21
22
23                              *       *       *
24
25

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1      furniture?

2               A.        No.

3               Q.        Do you -- did your son

4      communicate with you and tell you when he was

5      leaving the house?

6               A.        Yes, he did.

7               Q.        And what did he say?

8               A.        He said that he's going to

9      leave the house, and it was August 28 when he

10     said that.

11              Q.        And could you -- did he explain

12     to you why he was leaving?

13              A.        Not really.            He just made a

14     decision, and he left.

15              Q.        Did he tell you if he saw any

16     water in the house at the time that he left?

17              A.        No.    He said that we are 3 feet

18     clear.     That was his last observation before

19     he left.

20              Q.        I'm going to show you some

21     photographs.       If you could look at Exhibit

22     Number 2.

23                        (Previously marked

24              Exhibit Godejord-2 was referred to the

25              witness.)

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1                sorry.

2      BY MS. HELD:

3                Q.       And this is still while you're

4      in Canada, these photos were taken?

5                A.       Yes, ma'am.

6                Q.       Now, besides the Stackhouses,

7      were you communicating with anyone else in

8      your neighborhood about flooding while you

9      were in Canada?

10               A.       No.    Only with Stackhouses.

11               Q.       And were you communicating with

12     anyone else in Houston that was going to your

13     neighborhood to observe the flooding for you

14     while you were in Canada?

15               A.       Only my son.

16               Q.       So do you know how high the

17     water reached in your house?

18               A.       According to my husband,

19     2 feet.

20               Q.       But did you make any

21     observations yourself?

22               A.       I saw the water line.              It was

23     approximately 2 feet high.

24               Q.       And do you have any photographs

25     of the water line?

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1      500-years floodplain.

2               Q.        So after you returned to

3      Houston from Canada, when -- when did you

4      begin the cleanup of your house?

5               A.        The day I entered the house.

6               Q.        And that was September 11th or

7      12th?

8               A.        11th or 12th.

9               Q.        And what type of tasks did you,

10     yourself, do in the cleaning up of your

11     property?

12              A.        My task was to salvage the

13     things that was still in a good order or was

14     not damaged.

15              Q.        Were there any -- was any of

16     your property on the second floor of the

17     house damaged?         And when I mean "property," I

18     mean personal property, like clothing or

19     furniture, things like that?

20              A.        No, no things on the second

21     floor.

22              Q.        I would now like you to look at

23     Exhibit 4.

24                        (Previously marked

25              Exhibit Godejord-4 was referred to the

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1               A.        Using --

2               Q.        How did you do that?

3               A.        Dehumidifiers and fans.                   For a

4      couple of months.         We called in different

5      inspections.       They checked humidity in the

6      house, termites.         Different, I will say,

7      sicknesses and things.            They checked those.

8               Q.        Did they look for mold?

9               A.        Mold, yes.

10              Q.        And did these inspectors create

11     any reports of their findings?

12              A.        They did.

13              Q.        Do you recall if you provided

14     those reports to your attorneys?

15              A.        I do not recall.

16              Q.        Do you recall what the findings

17     were of the reports on mold -- well, the

18     report on mold?

19              A.        It was negative.

20              Q.        And when you say that you dried

21     out the house with fans and dehumidifiers,

22     did you hire a company to do that?

23              A.        No, I did it myself.

24              Q.        Did you have to purchase the

25     fans.

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1                A.           Yes.

2                Q.           And how long did that take for

3      the fans and dehumidifier to dry --

4                A.           A couple of months.

5                Q.           So are you currently living in

6      the house?

7                A.           No, we do not live in the

8      house.

9                Q.           Where have you been living

10     since you returned from Canada after

11     Hurricane Harvey?

12               A.           First we lived in few hotels,

13     and then we rented apartment.

14               Q.           Now, we had talked about how

15     your son was at your house right before the

16     flooding, correct?

17               A.           Yeah.

18               Q.           So is he -- is he living with

19     you in the rental house now?

20               A.           Yes, he does.

21               Q.           So if you look at Exhibit

22     Number 17, this is a -- it contains multiple

23     change orders, and they're dated from

24     April 2018 up until July 2018.

25                            And do you know, have you

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1      received any other change order forms from

2      Stiffel Homes after the July 2018 one was

3      given to you?

4               A.        I want to say yes, we did, just

5      recently.

6               Q.        And do you know if you've

7      provided that to your attorney yet?

8               A.        No, we did not.           We got them

9      just few days ago, I guess.

10              Q.        And do you know generally what

11     type of work still needs to be completed in

12     the house before you can move back in?

13              A.        We don't have all appliances,

14     and couple of inspections should be done,

15     cleaning of the house.

16              Q.        Do you plan to move back into

17     the house?

18              A.        Yes, we do.

19              Q.        So going back to the

20     Continuation Sheet exhibit, which I believe

21     was Exhibit 6, or was it 5?

22              A.        Exhibit 5.

23              Q.        Exhibit 5.

24                        So as far as the highlighted

25     tasks are concerned, do you know if any of

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                                                                        Page 1

1              IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2         IN RE UPSTREAM ADDICKS       §

          AND BARKER (TEXAS)           §

3         FLOOD-CONTROL RESERVOIRS     § SUB-MASTER DOCKET

4

                                       § NO. 17-cv-9002L

5         _________________________ §

                                       § Chief Judge Susan G. Braden

6         THIS DOCUMENT RELATES TO: §

7         ALL DOWNSTREAM CASES         §

8         __________________________§

9                               ORAL DEPOSITION

10                             MR. JEREMY E. GOOD

11                               July 19, 2018

12

13             ORAL DEPOSITION OF MR. JEREMY E. GOOD, produced

14        as a witness at the instance of the United States and

15        duly sworn, was taken in the above-styled and

16        numbered cause on the 19th day of July, 2018, from

17             a.m. to 12:23 p.m., before Michelle Hartman,               9:00

18        Certified Shorthand Reporter in and for the State of

19        Texas and Registered Professional Reporter, reported

20        by computerized stenotype machine at the offices of

21        Raizner Slania, LLP, 2402 Dunlavy Street, Houston,

22        Texas 77006, pursuant to the Federal Rules of Civil

23        Procedure and the provisions stated on the record or

24

25        attached hereto.

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1                 Q.     Okay.    Let me jump ahead just a little

2    bit.    When was the first time that you were able to

3    get to the property?

4                 A.     September the 10th.

5                 Q.     And why were you -- why did it take so

6    long for you to get to the property?

7                 A.     That's when it was first accessible.

8    The flood waters had finally dissipated at that point

9    and we were finally able to access it.                     And I

10   actually had to park my car a mile away and walk in.

11   They weren't allowing cars at that point.

12                        And if you see,too, I believe on one

13   of these things, (indicates) it indicates that I was

14   trying to get up there.            Let me see here.

15                        For example, on page -- this is my

16   page nine.        On Thursday, August 31st, I had told

17   them, "I'm attempting to go again this afternoon.

18   Another contractor I use tried to get in but the

19   roads seem bad.        Keep you posted."

20                        So I was trying almost on a daily

21   basis to get up there.            Again, I would look at the

22   maps and say, well, I know this is closed, they are

23   probably just letting locals through.                    Again, I had

24   no idea the extent of what was truly happening.

25                Q.     And let me just confirm:               This text

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                                                                       Page 42

1    string -- and this document contains a text string.

2    It is a single text string between the three people

3    that you have identified?

4                 A.    Correct.

5                 Q.    Okay.    When you go there on

6    September 10th, could you describe for me what you

7    saw as far as water level.

8                 A.    I arrived on the property on the

9    evening of Sunday, September 10th, I would say

10   approximately 8:00 o'clock.             It was after a function

11   I had just played for.           I had to very carefully walk

12   through the mud at that point.              It was -- it was hard

13   to find solid surfaces.

14                       The water at that point had dissipated

15   to puddles.       So I believe I was able to at least get

16   to the outside of the building that evening, but

17   there were still again standing water in some places

18   and complete mud and impassable sections in others.

19                Q.    But there was no longer a constant

20   inundation between the stream and the units?

21                A.    That's correct.

22                Q.    What is your understanding as to when

23   flood waters were no longer present in the unit

24   itself?    And I don't mean by the time the building

25   dried out, I mean Monday --

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                                                                        Page 43

1                 A.     Sure.

2                 Q.     -- when the water was no longer -- was

3    no longer -- the flood level was no longer at that

4    level?

5                 A.     I can't speculate when the water was

6    out.     The only thing I know is when the -- the

7    authorities there, I believe it was the police, said

8    that we were able to go in and access that area.

9                 Q.     And do you have any understanding as

10   you sit here today as to when the flood waters

11   receded from the common property of Memorial Mews?

12                A.     Again, I would -- I would say I can't

13   speculate the exact dates.              I just know when the

14   roads were passible.

15                Q.     And I will just ask the last one too:

16   You don't know -- as you sit here today, know when

17   the banks of the creek were no longer overflowing?

18                A.     I do not.

19                Q.     Were the tenants required to leave the

20   property?

21                A.     I'm not sure if the evacuation

22   happened.     A mandatory evacuation was in place in

23   that area.        So I can't speak definitively on that,

24   but my understanding with the waters rising and the

25   boats that were coming for rescues, I would surmise

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                                                                        Page 44

1    that they were.

2                 Q.     Do you know whether they, in fact, left

3    the properties?

4                 A.     They all left the property.

5                 Q.     Okay.    Do you know when they left the

6    property?

7                 A.     I do not know the exact dates other

8    than I can look at the text message here.                      It looks

9    like -- it doesn't indicate on this particular text

10   stream that I'm looking at.              I do have one that I

11   recall with Elizabeth, who was in Unit D, that she

12   left on Tuesday, August the 29th, and I believe she

13   also was evacuated on a raft.

14                Q.     Okay.    So Unit D you believe left on

15   the 29th?

16                A.     Correct.

17                Q.     Unit C may be reflected in Exhibit 6,

18   if it's -- if you do know what date, it would be

19   because it's in this document?

20                A.     It does not appear to be in this

21   document.     It might be in an e-mail with -- with

22   them, but I do not see any indication on when they

23   left here.        I know that they were in the unit on

24   Monday, August 28th.

25                Q.     Okay.    Well, then let me just ask:

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                                                                      Page 45

1    What is your understanding, if you have one, of when

2    the tenants in Unit C left?

3                 A.   I don't have that in my memory.                   I

4    would -- I would have to go back and check, but my

5    guess is they left sometime -- you know what, I would

6    say let's check the text messages on that.                       I don't

7    have that, if it was Monday or Tuesday.

8                 Q.   Okay.    And just help me recall:                 Was it

9    Unit A that weren't there or Unit B that wasn't there

10   to begin with?

11                A.   Unit B was not there to begin with,

12   so --

13                Q.   And how about the tenants in Unit A,

14   how long did they stay at the property?

15                A.   I would have to check Unit A's

16   correspondence.      I do have -- I do see on page four

17   of that stream with Unit C on Monday, August 28th at

18   11:19, I acquired, "Any update on your situation?"

19                      Where one of them responded, "We left.

20   The water was coming in.           I had to take my family out

21   ASAP.    All the street was flooded.               Please bear with

22   us."

23                Q.   Okay.

24                      MR. MCGEHEE:        When was that, Jeremy?

25                      THE WITNESS:        That was Monday,

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1    August 28th at 11:19 a.m.            I believe -- I believe it

2    was 11:19.        Let me -- the -- my hesitation on this

3    now is it's -- that I am looking over it, it does not

4    have timestamps other than when I started the text.

5                         It looks like I started the text there

6    at 8:24, which goes through until a new text was

7    started at 11:19.         That's when I asked if there was

8    any update on the situation.             At that point that

9    response, "We left, the water was coming in," could

10   have happened any time between 11:19 and then when

11   the text message, the time stamps the next day for

12   Tuesday, August 29th.          So I'm not sure of -- there.

13                Q.    (BY MR. DAIN)        Would you just reference

14   the page you're looking at.

15                A.    You bet, yes.        I'm going back and forth

16   between page three and page four.

17                Q.    At the bottom of page three it says,

18   "Any update on your situation?"

19                A.    Which is then repeated again at the top

20   of page four.

21                Q.    Which is then repeated at the top of

22   page four.

23                A.    My only -- my uncertainty is when they

24   exactly responded back, if it was at 11:20 or if it

25   was later on in that day, the next message.                       Then

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                                                                      Page 86

1       have some power expenses that I had to pay since that

2       was going on.

3                              So we kept everything separate as far

4       as what would have been an expense due to the flood

5       and then just normal operating expenses.

6                     Q.      I see what you're saying.

7                              So, in fact -- so, in fact, I got it

8       backwards.         This document -- this total reflects

9       expenses and costs that were not related to the

10      flood?

11                    A.      Correct.

12                    Q.      And so nowhere in Exhibit -- nowhere in

13      Exhibit 14 are there numbers that reflect expense and

14      repairs incurred responding to the flood?

15                    A.      The only things I would highlight would

16      be the -- I refunded the security deposits to the

17      tenants A and C just in good faith of realizing what

18      they had gone through.            And then also in the next

19      section, the rental income section is also reflected

20      where I did not receive any rents from September

21      through December on three of the four units.

22                    Q.      Are the rental rates -- well, would you

23      compare for me the rental rates of the units in July

24      of 2018 compared to July of 2017?

25                    A.      July of 2017, the rents were as

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1            IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2      IN RE UPSTREAM ADDICKS               )

       AND BARKER (TEXAS)                   )

 3     FLOOD-CONTROL RESERVOIRS             )   Sub-Master Docket No

 4     ________________________             )   17-cv-9002L

 5     THIS DOCUMENT RELATES TO             )

 6     ALL DOWNSTREAM CASES                 )

 7                 --------------------------------------

 8                                ORAL DEPOSITION OF

 9                                    WAYNE HOLLIS

10                                    JULY 19, 2018

11                --------------------------------------

12                 ORAL DEPOSITION OF WAYNE HOLLIS, produced as a

13     witness at the instance of the United States, and duly

14     sworn, was taken in the above-styled and numbered cause

15     on the 19th day of July, 2018, from 8:59 a.m. to

16     12:13 p.m., before Morgan Veletzuy, CSR in and for the

17     State of Texas, recorded by machine shorthand, at Clark,

18     Love & Hutson, G.P., 440 Louisiana Street, Suite 1600,

19     Houston, Texas 77002, pursuant to the Federal Rules of

20     Civil Procedure and the provisions stated on the record

21     or attached hereto; that the deposition shall be read

22     and signed before any notary public.

23

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 4EDFN"                                                    $,ZRXOGVD\WKHWK
 $6RPHPHGLFLQHVVRPHFORWKHV                               42ND\$OOULJKW,WKLQN,VDZDQRWHWRWKDW
 7+(5(3257(5:LOO\RXMXVWWU\WRZDLW               HIIHFWVRWKDWVRXQGVULJKW
 XQWLOVKHILQLVKHVSOHDVH"                                          6RZKHQ\RXUHWXUQHGRQWKHWKGR\RX
 7+(:,71(662ND\                                    UHFDOOZKDWWLPH\RXUHWXUQHG"
 4 %<067$5',)) $QGVRRQRQWKHWK                 $0LGPRUQLQJ
 ZKLFKLV:HGQHVGD\,EHOLHYH<HV6RWKHWKZDV                42ND\:DVWKHUHZDVWKHUHDQ\ZDWHUVWLOO
 7XHVGD\7KHWKZDV:HGQHVGD\$ERXWZKDWWLPHGLG  LQWKHVWUHHWV"
 \RXUHWXUQE\ERDWRQWKHWK"                                      $1R
 $$URXQGQRRQDJDLQDOVR                                    42ND\+RZDERXWDQ\DQ\ZDWHUUHPDLQLQJLQ
 4$QGDJDLQZKDWZHUH\RXUREVHUYDWLRQVDERXW                \RXU\DUG"
                                                             3DJH                                                                 3DJH
  WKHZDWHUOHYHOVLQWKHVWUHHWDWWKDWWLPH"                          $1R
  $,WKDGULVHQDQRWKHUWRLQFKHV                        42ND\:DVWKHUHDQ\,XQGHUVWDQG\RXUKRPH
  4$QG\RXUHVWLPDWHRILWKDYLQJULVHQDQRWKHU              ZDVFHUWDLQO\VWLOOZHWLQVLGHEXWZDVWKHUHDQ\
  WRLQFKHVZHUH\RXORRNLQJDWPDLOER[HV"ZLQGRZV"                VWDQGLQJZDWHULQ\RXUKRPHRUKDGLWGUDLQHGDZD\"
  :KDWZHUH\RXORRNLQJDWWRNLQGRIJDXJHWKHOHYHO"                  $<HV7KHUHZDVVOXGJHDQGZDWHUUHWDLQHGLQ
  $0DLOER[HVVWUHHWVLJQV                                     WKHKRPH
  42ND\$QGDJDLQFDQ\RXGHVFULEHIRUPH                   4$QGEDVHGRQ\RXUREVHUYDWLRQVLQWKHKRPHDW
  \RX UHDEOHWRJHWLQWR\RXUKRXVHDJDLQRQWKHWK"                 WKDWWLPH\RXNQRZZKDW V\RXUHVWLPDWHRIDVWR
  $<HV                                                         KRZKLJKWKHZDWHUJRWLQ\RXUKRPHZKLOH\RXZHUHDZD\"
 4$QG\RXKDGVDLGWKHZDWHUZDVNLQGRIDERYH                $$ERXWWRLQFKHV
 \RXUZDLVWDWWKDWSRLQW                                            4$QGVRWKHWKHZDWHULWVHOIVWD\HGRQWKH
 $<HV                                                        ILUVWIORRU<RXGLGQ WJHWDQ\ZDWHURQWKHVHFRQG
 46RDERXWKRZPXFKKLJKHUZDVLWLQWKHKRXVH"               IORRUDVLGHIURPZDWHUWKDWZDVEURXJKWXSZKHQ\RX
 $,WUHDFKHGDWRWDORIDERXWWRLQFKHV                PRYHG"
 4:DVLWZDVLWWKDWKLJKRQWKHWK"                     $&RUUHFW
 $<HV,KDYHDYLGHRRILW< DOOKDYHD                   42ND\$Q\DQ\RWKHUUDLQZDWHUJHWWLQJLQWR
 UHFRUGRILWDQG\RXFDQVHH                                       WKHXSSHUOHYHOVRI\RXUKRPHWKURXJKZLQGRZVRUWKH
 4<HDK<HDK                                                URRIRUDQ\WKLQJ"
 $QGWKDW VWKHKLJKHVWWKDWWKHZDWHU                  $1R
 UHDFKHGLQ\RXUKRXVHDVIDUDV\RXNQRZ"                           4$QGGLG\RXDFWXDOO\VWDUWNLQGRIVDOYDJH
 $1R,WZRXOG,IHHOLWZHQWKLJKHUEXWZH              RSHUDWLRQVLQ\RXUKRPHRQWKHWKLQWHUPVRIUHPRYLQJ
 QHYHUZHQWEDFNXQWLO                                             WKLQJV"
 46RDIWHUWKHWKZKHQZKHQZDVWKHQH[W                $<HV
 WLPH\RXZHUHDEOHWRUHWXUQ"                                        4$QGDERXWKRZORQJKRZPDQ\ZDVWKDWD
 $6HSWHPEHUWKHWKRUWKWKHWKZKHQWKH               SHULRGRIGD\VRUZHHNV"

                                                                                                                  3DJHV
                                          ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                                                                                                                               A924
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                                                     :D\QH+ROOLV                                                    -XO\
                                                             3DJH                                                               3DJH
  $:HSUREDEO\ZRUNHGRQLWVL[WRHLJKWGD\V                   7+(:,71(66'LGKDYHIORRGLQJ:KHUHGLG
  WKURZLQJVWXIIRXW                                                   \RXVHH&DUROFUHVWLQKHUH"
  4$QGZDVWKH&RXQW\UHPRYLQJGDPDJHGJRRGVDW                 05+$570$1,WKLQNWKDW&DUROFUHVWLV
  WKDWWLPHRUGLG\RXKDYHWRKLUHVRPHERG\WRUHPRYH"                ULJKWWKHUH
  $,KDGVRPHIULHQGVWKDWFDPHZLWKWUXFNVDQG                 7+(:,71(662ND\/HW VJHWLW
  JUDSSOHVDQGUHPRYHGRXUVWXIIIRUXVSULRUWRZDLWLQJ                RULHQWDWHGWKHZD\LWVKRXOGEH7KDWZLOOKHOS
  RQWKH&RXQW\                                                        $:HOO%UDPEOHZRRGIORRGHGDOOWKHZD\WRWKH
  4$QG, OODVN\RXUZLIHPRUHGHWDLOVDERXWWKH                'DLU\$VKIRUGWKRXJK6RURXJKO\WKDWDUHDZKLFK
  IORRGLQVXUDQFHEXWEHIRUH\RXFDPHEDFNRQWKHWKGR              ZRXOGEHWKHWKHZHVWHUQSDUWRIWKHVXEGLYLVLRQ
 \RXNQRZKDG\RXFRQWDFWHG\RXULQVXUDQFHFRPSDQ\"                  4 %<067$5',)) 2ND\
 $<HV                                                        $GRZQ$QGWKHED\RXFRPHVKHUHDQG
 42ND\$QGGLG\RXJHWDVVLVWDQFHSURPSWO\LQ               %UDPEOHZRRGZHQWXQGHUZDWHUXSWRWKHHDYHVRIWKHLU
 WHUPVRIJHWWLQJKHOSZLWKWKHVDOYDJHRSHUDWLRQV"                   KRPHVVR
 $<HV7KH\KDGDQDGMXVWHURXWZKLOHZHZHUH                4$QG%UDPEOHZRRGWKRVHDUHWKHKRPHVWKDWDUH
 VDOYDJLQJ                                                           DGMDFHQW
 4$QGORRNLQJDW([KLELWDQG, OODVNWKH                  $<HDKDOODGMDFHQWWRWKHJUHHQVSDFH
 TXHVWLRQJHQHUDOO\EXWGLGDOORIWKHKRPHVLQWKH                  42ND\$QGXSWRWKHHDYHVIRUWKRVH
 1RWWLQJKDP)RUHVWQHLJKERUKRRGKDYHIORRGZDWHUWR                 6RDV\RXPRYHGDZD\IURP%XIIDOR%D\RX
 \RXUNQRZOHGJH"                                                      ZHUHWKHZDWHUOHYHOVORZHU"
 $1R                                                         $<HDK
 41R2ND\0D\EHZHORRNDWWKHVHFRQGSDJH                4$OOULJKW7KDQN\RX
 ZKLFKKDVVRWR\RXUNQRZOHGJHZKDWDUHDVRI                     $QGDFWXDOO\MXVWVRZH UHFOHDURQWKH
 1RWWLQJKDP)RUHVW6HFWLRQ                                       UHFRUG, PMXVWJRLQJWRKDYH\RXPDUNWKHWKHDUHD
 $, PJRLQJWRVD\WKHZHVWVHFWLRQDERXWWKUHH              EHORZ\RXUUHGOLQHWKDWIORRGHGMXVWZLWKDQ)
 IRXUVWUHHWVLQDQGWKHQWKHVRXWKHUQVHFWLRQIURP                 $ :LWQHVVFRPSOLHV
                                                             3DJH                                                               3DJH
  &DUROFUHVWZKLFKLVDVWUHHWQRUWKRIXVIORRGHGRQ                 47KHUHZHJR7KHKDWFKPDUNVWKDWZRUNVZHOO
  WKLVHQG7KH\GLGQ WIORRGRQWKLVHQG$QGWKHQ                   WRR3HUIHFW6RWKDW VPDUNHGDVKDWFKPDUNV7KDQN
  %UDPEOHZRRGWKHFRUULGRUDORQJWKHED\RXIORRGHG$QG               \RXYHU\PXFK
  DOORIWKHVHKRXVHVKHUHUHPDLQHGGU\                                $QG,NQRZ\RXSURGXFHGDORWRIGRFXPHQWV
  46R, PJRLQJWRKDYH\RXWDNHWKHUHGPDUNHU                DERXWWKHORVVHVIURPWKHIORRGLQJFHUWDLQO\RQ\RXU
  DQGZH UHRQWKHVHFRQGSDJHRI([KLELW                          ILUVWIORRU:DVMXVWJHQHUDOO\VSHDNLQJZDVWKHUH
  $,W VQRWJRLQJWREHFRUUHFW                                DQ\WKLQJVDOYDJHDEOHIURP\RXUILUVWIORRU"
  4,NQRZWKLVLVWKLVLVDQDSSUR[LPDWHEXW                $1RWKLQJRWKHUWKDQVRPHFORWKHVWKDWZH
  MXVW\RXNQRZ\RXU\RXUXQGHUVWDQGLQJRU                         LPPHGLDWHO\WRRNWRWKHODXQGU\ZHWFORWKHV$QGWKH\
 UHFROOHFWLRQRIWKHDUHD                                            VDOYDJHGVRPHDQGWKUHZDZD\DWRQRIWKHP
 $,FDQ WUHDGWKDW, PQRWFOHDURQZKHUH                   ([KLELWPDUNHG
 &DUROFUHVWLV                                                       4 %<067$5',)) $OOULJKW,ZDQWWRKDYH
 05+$570$1&DUROFUHVWLVULJKWWKHUH                \RXWDNHDORRNDWDIHZHPDLOVMXVWNLQGRISLHFLQJ
 LQGLFDWLQJ                                                          WRJHWKHURXUWLPHOLQHKHUH6RZKDW, YHPDUNHGDV
 7+(:,71(66<HDKWKDW V&DUROFUHVW                 +ROOLV'HSRVLWLRQ([KLELWLV%DWHVVWDPSHG+ROOLV
 7KHQZKHUHLV%D\RX.QROO"                                           
 05+$570$1%D\RX.QROO VULJKWWKHUH               $QG0U+ROOLVGR\RXUHFRJQL]HWKLV
 7+(:,71(66,FDQ WVHHWKLV,W VWRR              SULQWRXWRIDQHPDLOIURP\RXWRLVLW/LOOD:ULJKW"
 VPDOO                                                               $/LOOD:ULJKW
 067$5',)),WLVVPDOO,DSRORJL]H               4/LOOD:ULJKWRQ6XQGD\$XJXVWWKDW
 05+$570$16RUU\.ULV'R\RXZDQWKLP  SP"
 WRFLUFOHWKHDUHDVWKDWKDGIORRGLQJRUWKHDUHDVWKDW              $<HV
 GLGQ W"                                                              46RZDVWKLVDIWHU\RXKDGUHWXUQHGKRPHIURP
 067$5',))7KHDUHDVWKDWGLGKDYH                  \RXUWUDYHOVRQ6XQGD\"
 IORRGLQJ                                                            $<HV

                                                                                                                   3DJHV
                                            ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                                                                                                                             A925
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                                                     :D\QH+ROOLV                                                  -XO\
                                                             3DJH                                                              3DJH
  $$WWKDWSRLQW                                               UHODWHGWRWKH)(0$UHOLHI
  4$WWKDWSRLQW2ND\                                        $<HV$QGZHQHYHUJRWDUHVSRQVH
  :DVZDVWKHZDWHUULVLQJHYHQZKLOH\RX              4 %<067$5',)) $QGLQWHUPVRIPDNLQJWKH
  ZHUHWKHUHRQWKHWK"                                               DSSOLFDWLRQZDVWKDWVRPHWKLQJ\RXGLGRUGLG\RXUZLIH
  $<HV                                                         GRLW"
  42ND\6RDERXWKRZPXFKKLJKHUZDVLWZKHQ               $3HJJ\GLGLW
  ZKHQ\RXOHIWRQWKHWK"                                            42ND\$QGGLG\RXUZLIHDOVRWDNHFDUHRI
  $,WZDVSUREDEO\DQRWKHUWRLQFKHV                     VXEPLWWLQJWKHFODLPRQIORRGLQVXUDQFH"
  4$QG\RXUHSRUWHGWR0V:ULJKWWKDW\RXUZLIH V              $<HV
 DXWRLVDOVRIORRGHGLQWKHGULYHZD\"                                4'LG\RXKDYHDIORRGLQVXUDQFHDGMXVWHUFRPH
 $<HV$QGDQGP\<XNRQDQGP\WUXFNZHUH                 RXWWR\RXUKRPHDWVRPHSRLQWWRLQVSHFWWKHSURSHUW\"
 IORRGHGDWWKHWLPHDOVR:HFRXOGQ WJHWDQ\WKLQJ                 $<HV
 RXW                                                                 4$QGGLG\RXPHHWZLWKWKHDGMXVWHU"
 46RKRZPDQ\YHKLFOHVGLG\RXKDYHLQWKH                    $<HV
 GULYHZD\"                                                            4:DVLWDPDQRUDZRPDQGR\RXUHFDOO"
 $7KUHH$FWXDOO\IRXU0\QHLJKERUEURXJKW                $%RWK
 KLVRYHU                                                            4%RWK2ND\$OOULJKW
 4'LGKHEULQJKLVRYHUEHFDXVH\RXU                       $QGFDQGLG\RXDFFRPSDQ\WKHPRQWKHLU
 $+LJKHUWKDQKHZDV                                         LQVSHFWLRQRI\RXUKRPH"
 4<RX UHKLJKHU2ND\                                       $<HV
 $$FURVVWKHVWUHHW                                          42ND\$QGFDQ\RXZDONPHWKURXJKWKDW
 7+(5(3257(5:LOO\RXMXVWWU\WRZDLW               LQVSHFWLRQDQGZKDW\RXRUGR\RXUHFDOOZKHQWKH
 XQWLOVKHILQLVKHV"                                                  LQVSHFWLRQZDV"
 7+(:,71(66, PVRUU\                               $7KHWKRUWK:KHQZHZHUHFOHDQLQJRXWWKH
 7+(5(3257(5<RX UHRND\                            KRXVHWKH\DUULYHGDQGVWD\HGZLWKXVIRUDERXWDGD\
                                                             3DJH                                                              3DJH
   ([KLELWPDUNHG                                      42ND\$OOULJKW$QGFDQ\RXFDQ\RX
  4 %<067$5',)) $OOULJKW0U+ROOLV, YH               ZDONGLG\RXDFFRPSDQ\WKHPWKHQRQWKHLQVSHFWLRQ
  JLYHQ\RXZKDWZH YHPDUNHGDV+ROOLV'HSRVLWLRQ                      WKDWGD\"
  ([KLELW7KH%DWHV1XPEHULV+ROOLV7KLVLVD              $:HOO,VKRZHGWKHPZKDWLWZDV$QGWKHQZH
  SULQWRXWRIDQHPDLOIURP\RXDJDLQWR/LOOD:ULJKW                ZHUHFOHDQLQJPHRXWDQGWKH\FRQWLQXHGWRGRZKDWWKH\
  DW$OOVWDWH0RQGD\6HSWHPEHUWKDWSP                PHDVXUHGDQGDOOWKDW
  'R\RXUHFDOOWKLVHPDLO"                              4$QGGLGWKH\KDYHVSHFLILFTXHVWLRQVIRU\RX
  $<HV                                                         DERXWDERXWWKHGDPDJHWKH\ZHUHWUDFNLQJRU
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                                   John Britton                    July 16, 2018

                                                                 Page 1

 1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2     IN RE:   UPSTREAM ADDICKS

       AND BARKER   (TEXAS)

  3    FLOOD-CONTROL RESERVOIRS

 4                                        CASE NO . 17-cv-9002L

  5    THIS DOCUMENT RELATES TO:

  6    ALL DOWNSTREAM CASES

  7

  8                           ORAL DEPOSITION

  9                            JOHN BRITTON

10·             30(B) (6) MEMORIAL . SMC INVESTMENT 2013, LP

 11                            JOHN BRITTON

 12

 13          ORAL 30(b) (6) DEPOSITION OF JOHN BRITTON,

 14    Memorial SMC Investment 2013, LP, produced as a

 15    witness at the instance of the JOHN BRITTON and duly

 16    sworn, was taken in the above-styled and numbered

 17    cause on the 16th day of July, 2018, from 9:10 a.m.

 18    to 2:19 p.m., before Shauna Foreman, Certified

 19    Shorthand Reporter in and for the State of Texas,

 20    reported by computerized stenotype machine at the

 21    offices of Vinson & Elkins, 1001 Fannin, Suite 2500,

 22    Houston, Texas, pursuant to the Federal Rules of

 23    Civi l Procedure and the provisions stated on the

 24    record or attached hereto.

 25

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                                                            John Britton                                            July 16, 2018
                                                            Page 86                                                               Page 88
          know whether it was pulled together or what, but I           I superintendent who is out on the job, ass.istant
        2 think it was something that you were working with in         2 superintendent. We hire contract labor, people to
        3 preparing for your deposition here today; is that            3 come in and clean things up. The burden of those
        4 correct?                                                     4 salaries, all that stuff goes into the general
        5     A. Correct.                                              5 conditions. Dumpsters, things that the other
        6     Q. There's no Bates stamp number on it.                  6 subcontractors aren't paying for that Grayco Builders
        7 What's that document?                                        7 is responsible for.
        8  A. This document is a list of the                           8     Q. All right. And I guess I'm just trying to
      9 subcontractors and the value of their contracts and             9 get a sense. Grayco Builders, using its own
     IO purchase order logs and the values of those purchase           10 workforce, bills directly for that reconstruction
     11 order logs between Grayco Builders and the various             11 work, as well, correct?
     12 subcontractors working on the repair of Parkside at            12     A. The workforce that Grayco Builders uses is
     13 Memorial                                                       13 supervisory. Any labor that's doing manual labor is
     14    Q. So these aren't totaled - so for what time               14 third-party contracted •• contracted labor. Grayco
     15 period?                                                        15 Builders does not have plumbers on its payroU, does
     16    A. This is for the rebuild. So that contract                16 not have --the guys that are doing the cleanup out
     17 was entered into probably in December of 2017.                 17 there typically are not Grayco Builders' employees.
     18          MR. McNEIL: It corresponds to                         l 8 We hire them through a placement agency.
     19 Number 12 on your deposition notice.                           19     Q. But there's a distinction in the accounting
     20          MR. DAIN: Okay. Thank you.                            20 structure between those and individuals who are
     21    Q. (BY MR. DAIN) Number 12 reads, "Entities                 21 subcontractors?
     22 involved in the remediation and their roles and                22     A. Absolutely, yeah.
     23 responsibilities and background and experience."               23     Q. Okay. I'm done with that document.
     24           So just tell me again-· so these -                   24           What's your understanding about how
     25 what's the difference between the first table and the          25 well Parkside is doing in getting new tenants into
                                                  - - -- - - - - - - - -
                                                             Page 87
                                                                                                                            ____   Page 89
                                                                                                                                            _,

        I second table?                                                 l the property?
        2    A. Sure. The first table is lists of                       2          MR. McNEIL: Currently?
        3 subcontractors who entered into a subcontractor               3          MR. DAIN: Currently.
         4 agreement between Grayco Builders and these various                                                              fde
         5 companies.
         6            Toe second list is a purchase order
         7 log. So Grayco Builders buys product and some
         8 services under a purchase order structure as opposed            we had to do I lot of work to get there, bLII we sot
         9 to a subcontract structure.                                     that clone by December- 20th.
        10     Q. And would it be then correct that all other                     Wlnrrwe- did nor lmveai ~ of th
        I L costs of repair and rehabilitation would be costs by           common a.re-a ame-nitic: . A ~ to the pools W4:!I
        12 Grayco Builders itself?                                     12 allowed, I.he I i ~ center wa.1 oot u,ab,k, the
        13    A. No. I'm not sure I would agree with that
      14 statement. This is a Iist of subcontracts and POs at
      15 some point in time. It's not dated, so I'm not sure
      16 if it's the beginning, if it's current.
      17     Q. Okay.
      18      A. And if you add these up, it's not going to
      19 add up to the full contract amount because··
      20      Q. I'm trying to understand the difference.
    1
      2I      A. So in addition to these costs, you're going
      22 to have the general conditions, which is the cost
    I 23 that Grayco Builders expends that are charged back to
    ; 24 Lhejob.
    l 25             For instance, the cost of the                         would sal it'~ going great. It's going good.


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                                                               John Britton                                                  July 16, 2018
                                                               Page 90                                                                Page92
           Q. (BY MR. DAIN) Is there any indications
     2 that -- that there is a resistance to leasing in the
     3 building because of the Harvey flood?
     4    A. Well, we haven't-- and I mentioned before,
     5 I'm not sure ifwe have anybody living on the first
     6 floor yet. I'm not sure we've leased any first-floor
     7 units.
     8    Q. Understood.
     9    A. If you're talking about being impacted by
    10 the flood that would be the first line of water
    11 entry. We've received a lot of questions - we've
    12 had residents ask for elevation certificates so they
    13 can get insurance, including flood insurance.                      J The arc designed 10 Sia undem>111tr for, l think, l
    14            So I'm not answering your question                      4 bcKm. Bui lwu ~ l no way. So even the
    15 directly. They're -- residents are aware that the                 15 trmsf'onners Ibid      -n:
                                                                                              working WI: lmd IO replaee
    16 property flooded, new residents coming in.
    17    Q. Understood, and rm -- and I appreciate the
    18 response.
    19            Have you heard from any of the folks
    20 that are I guess, front line in the effort to fill
    21 the tenants back up that there is -- there are people
    22 that are saying, "I won't" - words to the effect "I                   2 wu11Jdn't let !l5. in certain llmll! of the
    23 don't want to be here because of the prior flood''?
    24     A. Well, we've had people who moved out
    25 because of the flood and didn't come back. Keep in
                                                               Page 91
     1 mind, for every visitor ro the property, prospective                        in some ares.i, we had tg completely .l"C'A1ire.
     2 resident, you typically in the apartment industry --                  2         What was your question again? Sorry.
     3 or at least at our class of apartments, you typically                 3   Q. 1 was trying to do what you were doing,
     4 close about 20 percent of the traffic. That means                     4 which was work backwards from the December reoccupy
     5 eight out of every l Owho come into your property                     5 opportunity to the loss of occupation. At least you
     6 don't lease from you. ls it because we flooded? Is                    6 made that leap, so I'll follow you.
     7 it because they don't like the manager? You know,                     7    A. Right. So -- okay. 1 know where I was
     8 that's hard for me to answer.                                         8 going.
           Q. Let-m ju,t back-up. r m lilbouno talk (l                       9          MR. McNEIL: Wasn't your question
    10 you about Harvey, btit you talked a little earllCf                  l O dealing with the occupancy of the townhomes versus
    l J llbout.the plITT[lissiOn ID RUCCupy in DIN:ember                   11 the apartments, and he was explaining what all had to
    12 December 20.                                                        12 be done in order to gain occupancy and why it all
                                                                           13 happened at the same time?
                                                                           14     A. So when we bad to re-permit for these
                                                                           15 higher codes and things like that, the city viewed
                                                                           16 that as a permit over the entirety of the property
                                                                           17 and they would not allow us to reoccupy until the
                                                                         1
                                                                           18 common area, like the electrical and the fire pump,
     19 mayor wued a mam1111ory evacwuion of all pro                     I 19 all those things were completed for the entirety of
     20 wiilim - l cm't gm: you the boL1DW111C~ bul we                     20 the property.
     21 v.~m right ~act dab in lhc middle oflL By th                      21
     22 ti~. Ccnicrpolnt hod cm oIT our power, we LL So
     23 lin}'bocfy wno wanted to smy prctt)· much b11d lO l.ea~·e..




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                                                                                                                           July 16, 2018

                                                                                                                                       -%
                                                                  John Britton

                                                                  ~~
      I if the units ere rebuilt, I think we could have                             with the residents who were still remaining, pleaded
      2 mavecl people in, bur r don't think we got the                         2 with them to leave. At that point, the mandatory
      3 tumowr aflhe first townhouse until febl'Wll")'.                        3 evacuation had not been made by the city, but it was
      4 Q. {BY MIL DAIN} They jus.t - while you had                            4 deeply concerning that we were walking through the
      ~ you v,imn't legally prohtbttli!d fiom doiog                            5 property that was -- depending on the elevation,
                                                                               6 10 -you know, 5 and a halffeet to 10 feet from the
                                                                               7 street or the finished first floor.
      8 le,'t!l, but tbco they It.ad indi\'idual p1mnits on the                8             So essentially the majority of the
      9 IOwnho115G bui1dinp that bad not '.)'Cl - then: Wll.'j 't              9 .first floor was submerged, yet the power was on to
     IO Ill! m!Jdl work OJl lhe townhausa, but it bad'to be                   10 the entirety of the property, which obviously creates
        restored f>efore peopfe cou--rc move 6ac m.                           11 a hazard of unbelievable proportion. If there were a
     12             MR. DAIN: Off the record fora                             12 fire, no fire department entity would be able to save
     13 second.                                                               13 these people.
     14          (Recess from 1:15 p.m. to 1:23 p.m.)                         14           So we pleaded for them to leave. A
     15       Q. (BY MR. DAIN) Bringing you to late                           15 lot of them were dug in. We couldn't physically pull
     16 August 2017 and the Harvey storm begins, where are                    16 them out of there and make them leave. But that's
     17 you? Are you in Houston area?                                         17 what we witnessed on that Wednesday, sort of utter
     18       A. I'm embarrassed to say on Saturday or                        18 devastation.
     19 Friday, I decided it would be a good idea to take my                  19     Q. Who from -- whether it be Grayco
     20 dog and 12-year-old to our house in Galveston and                     20 Management, LLC or who from any of the Grayco
     21 watch the storm down there and got down there and was                 21 entities was present during the beginning of the
     22 stuck four or five days.                                              22 storm and during the initial days offloading?
     23       Q. Okay. So when did you return to Houston,                     23    A. Well, primarily it was Lauren Smith, who
     24 then?                                                                 24 was the property manager. She resided at the
     25       A. I returned to Houston on Wednesday                           25 property. She resided on the first floor of the
                                                                    Page 95                                                            Page 97
         1 following the storm.                                                 1 property. So all of her belongings were -- well, 1
         2    Q. Okay. And when did you first visit                             2 say all of her belonging were wiped out. She managed
         3 Parkside?                                                            3 to move some of her stuff up on Sunday evening to a
         4    A. Wednesday, the 30th.                                           4 second or third floor unit, but she was there the
         5    Q. And what did you observe on the 30th?                          5 majority of the time until all the residents were
         6     A. Well, we took a boat to the property, a                       6 gone, all except the one we talked about who didn't
         7 17-foot fishing boat, not a flat john boat. So we                    7 ever leave.
         8 were navigating a hull that went several feet into                   8            There was one individual in the back
         9 the water. Pulled up to the northeastern comer of                    9 of the property in a townhouse who said he wasn't
      10 the property, the comer on South Mayde Creek, kind                    10 going anywhere. He stayed the whole time, and
      11 of pulled the boat up next to the apartment balconies                 11 actually we were in contact with him to make sure be
      12 on th.e first floor and the second floor.                             12 was okay and he was taking pictures and watching out
      13             One of the individuals on the boat                        13 for the place.
      14 jumped up and climbed up to the second floor from the                 14            MR. DAIN: I'll go ahead.and have this
         J5 boat. So that's how high the water was. 1, again                   15 marked.
         16 not making a very sound decision decided to slide                  16            (Exhibit 17 marked)
      17 off the boat into the first floor. First came down                    17       Q. (BY MR. DAIN) I'm banding you what's been
         J8 on top of a fence between my legs, which was not very              18 marked Britton Exhibit umber 17. It's a series of
         19 smart. Pulled myself back up, slid down all the way               I19 text messages. Because of the effort today to
      20 to the ground, and the water was up to about my chin.                I 20 reproduce these -- get copies of these documents here
      21 Didn't have a life vest on, but l sort of forced                     I 2 l and to get these documents in a correct order,
      22 myself over to the stairs that led up to the second                  . 22 although the first page has a Bates stamp of 685, the
      23 story.                                                               : 23 rest of them are not-· many of the others are not
     1
      24             So made it up to the second story. We                    I24 Bates stamped. I'm not sure if any of them are.
     1 25 at that point walked through the building, conversed                I 25            Let me ask you: Have you seen that            _j
                                                                                                                       25 (Pages 94 - 97)
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                                                                    Page 1

1            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2      IN RE UPSTREAM ADDICKS              )
       AND BARKER (TEXAS)                  )
3      FLOOD-CONTROL RESERVOIRS            )   Sub-Master Docket No
4      ________________________            )   17-cv-9002L
5      THIS DOCUMENT RELATES TO            )
6      ALL DOWNSTREAM CASES                )
7                  --------------------------------------
                                 ORAL DEPOSITION OF
8
                                    ARNOLD MILTON
9
                                    JULY 10, 2018
10                --------------------------------------
11
12                 ORAL DEPOSITION OF ARNOLD MILTON, produced as
13     a witness at the instance of the United States, and duly
14     sworn, was taken in the above-styled and numbered cause
15     on the 10th day of July, 2018, from 9:02 a.m. to
16     2:48 p.m., before Morgan Veletzuy, CSR in and for the
17     State of Texas, recorded by machine shorthand, at
18     Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19     Suite 4000, Houston, Texas 77056, pursuant to the
20     Federal Rules of Civil Procedure and the provisions
21     stated on the record or attached hereto; that the
22     deposition shall be read and signed before any notary
23     public.
24
25

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                                                                   Page 94

1                       When was the first time you returned to

2      your 850 Silvergate home?

3            A.    The following Saturday.          My son-in-law and I

4      went back in a boat with a pretty big outboard.             And

5      like I say, when I turned into the front yard I fell off

6      the boat.     And then he and I went into the house and the

7      water was up to here on me.           And obviously it had been

8      higher based upon some of the stains on the wall.              And

9      we wandered around the house and picked up whatever and

10     put it in plastic bags.          I got my favorite boots, they

11     were floating solo up.          And I use those to work in the

12     yard now.

13                      But we took pictures.          The refrigerator was

14     floating in the kitchen.           The piano and a few other

15     pieces of furniture were under water in the living room.

16     And everything we put on tables was soaked,

17     unfortunately.     We had stacked a lot of rugs and stuff

18     up there.     And we had to have all -- all of that

19     cleaned.     Stuff we could save, which was a couple of

20     pretty good-sized rugs, we had those cleaned.             But we

21     stayed probably about 40 minutes and left.

22           Q.    During that previous answer you said water was

23     about up to here and you pointed to your chest.             Can you

24     estimate about how high that was?

25           A.    However tall this is, I don't know.          Whatever

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                                                                    Page 97

1      what did the water in the home look like?

2              A.     It was brownish, dirty looking.

3              Q.     And how did it smell?

4              A.     Bad.    Smelled -- had a sewage tint to it.

5              Q.     At that point was there any mold in your home?

6              A.     You know, I don't remember the mold until we

7      got in there and started really stripping the walls

8      down.        But I wasn't paying much attention to mold at

9      that time.

10             Q.     What was the condition of the property upstairs

11     in your home on September 2nd?

12             A.     Well, it was very humid.        And the walls kind of

13     had lost their brightness.            The carpet was kind of

14     grungy looking.          But there wasn't much change other than

15     that.        And without something to compare it to, it was

16     just a mental picture I had.

17             Q.     Okay.    After you left the house on the 2nd,

18     where did you go?

19             A.     Well, we got in the boat.        They came back and

20     picked us up and we went back to our son-in-law's house

21     and took what we had collected.

22             Q.     When was the next time you returned to the

23     850 Silvergate home after September 2nd?

24             A.     I'm pretty sure it was September the 10th.          We

25     thought about going back on the 9th but we were --

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                                                                        Page 98

1      because we were low on our block, there were already

2      people going into their homes on the 9th.                  But rather

3      than just go back and try to risk having the water down

4      enough to work, we went back on the 10th.

5            Q.    And when you went back on the 10th, who was

6      with you?

7            A.    My son-in-law.       And I don't remember exactly

8      when his fraternity brothers and the crew came, but I

9      think it was mostly the next day.             And the first thing

10     we had to do was pump out the living room.                  We had a

11     sunken living room, there's water still in it.                  So we

12     got one of these floor pumps and pumped that out.                   And I

13     believe there was power on when that happened.

14                      And like I say, when they showed up they

15     were ready to go to work.           They had already completely

16     stripped a couple of other homes for other friends, so

17     they knew exactly what they were doing.                  And they didn't

18     waste any time.        And most of the time I was -- had a big

19     shovel, I was scooping up whatever they had stripped and

20     putting it in a wheelbarrow and wheeling it out front

21     and dumping it on the pile; that was basically my job.

22     Which was kind of a blessing because I didn't have to

23     see what they were doing to the house or my stuff.                     But

24     basically they just took it down.

25           Q.    When --

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                                                                    Page 124

1              Q.   Has your congressperson held meetings, public

2      meetings following Harvey?

3              A.   I believe he has.       I haven't been to any of

4      them.

5              Q.   Have you dealt with -- is it Mr. Culberson?

6              A.   John Culberson, yes.

7              Q.   Have you dealt with John Culberson personally

8      since Harvey?

9              A.   No.   I have met him face-to-face before.            I

10     went to a couple of meetings because I was kind of a

11     fair tax advocate.         And that eventually just disappeared

12     into committees and U.S. Congress.             And I went to a

13     meeting to ask him about that.

14             Q.   When you say "fair tax advocate," what do you

15     mean?

16             A.   I mean doing away with the income tax and

17     having a national sales tax so we don't have to keep up

18     with all of these receipts and paperwork.                And that the

19     tax is paid as it's due, and it doesn't become an

20     accounting nightmare.          Or an enforcement nightmare the

21     way it is.

22             Q.   Presently, what do you think your property can

23     be used for?

24                        MR. HOBBS:      Objection; goes to damages.

25             A.   What's it being used for?

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                                                                     Page 125

1            Q.   (BY MR. LEVINE)         Let me ask it differently.

2                        Do you think your 850 Silvergate home can

3      still be used as a residence?

4                        MR. HOBBS:       Objection; goes to damages.

5            A.   With repair, yes.

6            Q.   (BY MR. LEVINE)         Do you intend to continue

7      living in the home after it's repaired?

8            A.   Yes.

9            Q.   Do you know approximately when the repairs will

10     be completed?

11           A.   Hopefully by the end of August.               It's been

12     almost a year.

13           Q.   Have you and your wife been living with your

14     daughter and her family that entire time?

15           A.   Yes.

16           Q.   Has it cost you anything to -- to live with

17     your daughter during that time?

18                       MR. HOBBS:       Objection; goes to damages.

19           A.   We pay our fair share of food and whatever else

20     we do for entertainment.           And I still owe my son-in-law

21     for the tools and hired help from the cleanup.                 So

22     that's pending.

23           Q.   (BY MR. LEVINE)         Have you paid any rent to your

24     daughter and son-in-law?

25           A.   No.

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 487 of 1584
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1            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2      IN RE UPSTREAM ADDICKS                 )
       AND BARKER (TEXAS)                     )
3      FLOOD-CONTROL RESERVOIRS               )   Sub-Master Docket No
4      ________________________               )   17-cv-9002L
5      THIS DOCUMENT RELATES TO               )
6      ALL DOWNSTREAM CASES                   )
7                   --------------------------------------
8                                ORAL DEPOSITION OF
9                                    VIRGINIA MILTON
10                                     JULY 10, 2018
11                 --------------------------------------
12                  ORAL DEPOSITION OF VIRGINIA MILTON, produced
13     as a witness at the instance of the United States, and
14     duly sworn, was taken in the above-styled and numbered
15     cause on the 10th day of July, 2018, from 3:14 p.m. to
16     5:00 p.m., before Morgan Veletzuy, CSR in and for the
17     State of Texas, recorded by machine shorthand, at
18     Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19     Suite 4000, Houston, Texas 77056, pursuant to the
20     Federal Rules of Civil Procedure and the provisions
21     stated on the record or attached hereto; that the
22     deposition shall be read and signed before any notary
23     public.
24
25

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23     Page 488 of 1584
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1      government took your entire real property interest?

2                       MR. HOBBS:        Same objections.

3            A.    Entire property would mean they took the whole

4      house and the land under it and all my goods.               They did

5      destroy the whole lower floor to the -- and part of the

6      upper floor.     Destroyed the land in the sense of all of

7      the yard and plants, so yes.            And everything in it.

8      Some not replaceable.

9            Q.    (BY MR. LEVINE)        The -- your complaint alleges

10     that the government took both real property and personal

11     property permanently and temporarily.              For the temporary

12     claim, are you alleging that the government took your

13     property for a particular period of time?

14                      MR. HOBBS:        Objection; form.      And calls for

15     legal conclusions.

16           A.    I don't know what you mean by "particular

17     period of time," unless it's the time that we're having

18     to be out of our house where -- while it's been

19     restored.

20           Q.    (BY MR. LEVINE)        Do you know what the

21     approximate duration the flood waters were in your home?

22           A.    At least two weeks.         From the time that the

23     flood -- the flooding stopped.            It doesn't mean that it

24     couldn't have been in there more.             But after the storm

25     had subsided, we couldn't go back into our home for two

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 489 of 1584
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1               THE UNITED STATES COURT OF FEDERAL CLAIMS

         IN RE: DOWNSTREAM ADDICKS           )

2        AND BARKER (TEXAS)                  )

3        FLOOD-CONTROL RESERVOIRS            )

4                                            ) SUB-MASTER DOCKET NO.

5                                            ) 17-CV-90021

6                                            )

7      ********************************************************

8                                ORAL DEPOSITION OF

9                                  JENNIFER SHIPOS

10                               September 19, 2018

                                       Volume 1

11     ********************************************************

12           ORAL AND VIDEOTAPED DEPOSITION OF JENNIFER SHIPOS,

13     produced as a witness at the instance of the DEFENDANT,

14     was taken in the above-styled and numbered cause on

15     September 19, 2018 from 3:02 p.m. to 5:05 p.m., before

16     Toyloria Lanay Hunter, CSR in and for the State of

17     Texas, reported by machine shorthand, at the law offices

18     of NEEL, HOOPER & BANES, P.C., 1800 West Loop South,

19     Suite 1750, Houston, Texas 77027, pursuant to the

20     Federal Rules of Civil Procedure and the provisions

21     stated on the record or attached hereto.

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 490 of 1584
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                                                                   Page 34

1      photographs on the interior of your house.

2            A.     Okay.

3            Q.     The next photograph, 000230, what's portrayed

4      in that photograph?

5            A.     This is my hallway.         And I have an antique

6      hutch here in the entrance way.

7            Q.     How deep was the water there, if you know?

8            A.     I would say it's probably around at that time,

9      12 to 15 inches.

10           Q.     Okay.     And what do you base that on?

11           A.     I think I just recall it being -- I think we

12     tried to mark all the watermarks on it.

13           Q.     How long did it take the water to recede from

14     the interior of the house?

15           A.     Six days.

16           Q.     After the six days, do you remember seeing any

17     watermarks on the walls?

18           A.     Yes.

19           Q.     Was that all around the first floor?

20           A.     Yes.

21           Q.     And in the garage?

22           A.     Yes.

23           Q.     Did you have any watermarks in the exterior of

24     the house?

25           A.     Yes.

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 491 of 1584
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1      --

2                          MR. DOOHER:      The fax sheet?

3      BY MR. BANES:

4            Q.     Exhibit 11.       Let's turn back to Exhibit 11,

5      ma'am.     All right.      Now, all right.

6                          Now, you left -- when did you leave the

7      house, ma'am?

8            A.     10:00 a.m.

9            Q.     10:00 a.m. on what day?

10           A.     On the 28th.

11           Q.     10:00 a.m. on the 28th?

12           A.     Yes.

13           Q.     All right.      And do you know -- so where -- how

14     did you figure out that flood waters didn't come on the

15     property until the 29th?

16           A.     Well, I told you, we walked to our neighbor's

17     house; which is, I don't know, about a mile to our

18     house.     The next day we got up and we waded through the

19     water.     And so at that point, it had water in the house.

20           Q.     On the 29th?

21           A.     On the 29th.

22           Q.     And so now, had there been any water -- now,

23     at least when you left on the 29th, there was no water

24     in the house?

25           A.     There was no water in the house.

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 492 of 1584
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1            IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2      IN RE UPSTREAM ADDICKS              )

       AND BARKER (TEXAS)                  )

3      FLOOD-CONTROL RESERVOIRS            )   Sub-Master Docket No

4      ________________________            )   17-cv-9002L

5      THIS DOCUMENT RELATES TO            )

6      ALL DOWNSTREAM CASES                ) August 1, 2018

7                  --------------------------------------

8                                ORAL DEPOSITION OF

9                                  PETER SILVERMAN

10                                  JULY 18, 2018

11                --------------------------------------

12                 ORAL DEPOSITION OF PETER SILVERMAN, produced

13     as a witness at the instance of the United States, and

14     duly sworn, was taken in the above-styled and numbered

15     cause on the 9th day of July, 2018, from 9:06 a.m. to

16     3:52 p.m., before Morgan Veletzuy, CSR in and for the

17     State of Texas, recorded by machine shorthand, at 1200

18     Smith Street, 12th Floor, Houston, Texas 77002, pursuant

19     to the Federal Rules of Civil Procedure and the

20     provisions stated on the record or attached hereto; that

21     the deposition shall be read and signed before any

22     notary public.

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 493 of 1584
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1      did you talk with anyone else about your document

2      collection?

3            A.   No one other than my wife.

4            Q.   Okay.   Did you do any independent research?

5      Did you look at any websites online?

6            A.   Not -- not at that time.

7            Q.   Okay.   Prior to -- so -- so fast forwarding

8      from March until just, you know, prior to this

9      deposition, and going back to what you did to prepare

10     for this deposition, other than speaking with your

11     attorney, did you do anything else?

12           A.   Other than --

13           Q.   To prepare.

14           A.   -- again, to look through to see if I could

15     find anything that could be considered responsive.               I

16     did another review.

17           Q.   All right.       Can you let -- can you state for

18     the record where you reside right now?

19           A.   I reside in an apartment called Modera Energy

20     Corridor located at 14520 Briar Forest Drive.             We live

21     in Apartment 5213.         It's the same ZIP Code that our home

22     was in, Houston, Texas 77077.

23           Q.   Okay.   And how long have you lived in this

24     apartment?

25           A.   Since September of 2017.

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23      Page 494 of 1584
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1            Q.   So you -- you moved there after your home was

2      flooded?

3            A.   We moved there in September.            We sort of moved

4      in and then took a vacation, and so we didn't

5      actually -- right when we moved there, we didn't

6      actually sleep there for a few weeks.              So we moved first

7      and then started staying at the apartment.

8            Q.   Where did you go on vacation?

9            A.   We went on a cruise, a transatlantic cruise,

10     that started in South Hampton and ended in Fort

11     Lauderdale.

12           Q.   That sounds nice.

13           A.   It was -- it was very nice.            It was.    The irony

14     was anyone we met said, "Oh, you're from Houston.                 Good

15     thing -- good thing you weren't affected."

16           Q.   So going back -- let's go back a few -- I don't

17     want to judge your age, but let's go back a few decades.

18           A.   You can judge my age.

19           Q.   When did you graduate from high school?

20           A.   1980.

21           Q.   Okay.     And where did you go to high school?

22           A.   In Connecticut.         The name of the school is the

23     Loomis Chaffee School.          It's a private school in

24     Connecticut.       I went there for two of the four years of

25     high school.       I graduated -- that's where I graduated

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23       Page 495 of 1584
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1             Q.   (BY MS. IZFAR)       Mr. Silverman, at your closing

2      when you purchased your home, did the sellers provide

3      any disclosure about preexisting flooding or any

4      flooding that had occurred beforehand?

5             A.   No.

6             Q.   Did their agent provide you any disclosures?

7             A.   I knew nothing about prior flooding.

8             Q.   Okay.     So I want to talk to you a little bit

9      about drainage on your property.

10                         What happens when it rains?

11                         MR. HODGE:     Objection; form.

12            Q.   (BY MS. IZFAR)       You can answer.         If you need

13     more clarification, I can provide it.              Yeah.

14            A.   When it rains water drains to the street from

15     our -- from our property.

16            Q.   Do you have a sewer system on your property at

17     all?

18                         MR. HODGE:     Objection; form.

19            Q.   (BY MS. IZFAR)       Do you have a sewer opening at

20     the curb at your -- I mean, at the curb when you exit

21     your property?

22            A.   There is no storm sewer opening in front of my

23     house.

24            Q.   Okay.     Where is the nearest storm sewer

25     opening?

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1      would all be together.          And that's where I went on the

2      27th as well.

3            Q.   Okay.     So you spent the night with your sister,

4      did you say, on the 27th?

5            A.   Sister-in-law.

6            Q.   Okay.     Where do they live?

7            A.   Jersey Village neighborhood.

8                         MRS. SILVERMAN:       Laurel Creek.

9            Q.   (BY MS. IZFAR)        Okay.    So then -- so you took

10     some pictures on the 27th at around 4:53, 5:00 o'clock?

11           A.   Correct.

12           Q.   And then -- and then when did you leave?

13           A.   Right after I took the pictures.

14           Q.   Right after?

15           A.   And I don't recall if I went back in the house

16     or I took these and then just got in and left.

17           Q.   Okay.     And then when did you return?

18           A.   September 8th.

19           Q.   Did you -- you didn't return any time before

20     September 8th?

21           A.   No.     It was impossible to after -- after we

22     left to come back in.          And I think the mandatory

23     evacuation that was allowing homeowners back in would

24     only allowed us back in on the 8th.             And we had to show

25     ID that we owned the property there.              The National Guard

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1      protected the entrance to the neighborhood.

2             Q.   Okay.     Why did you decide to leave at around

3      5:00 p.m. on the 27th?

4             A.   Because the electricity had not turned back on.

5      It had gone out approximately maybe 1:00 or 2:00 o'clock

6      in the afternoon.         And I was by myself.           And three hours

7      without TV or internet and no air-conditioning was

8      clearly long enough for me to feel like, Let me go to my

9      sister-in-law's house.

10            Q.   Okay.     So did -- do you know why the power went

11     out?

12            A.   It would be speculation of why.               But it

13     wasn't -- it was not a local issue at my house.

14            Q.   Okay.     When you say "it was not a local issue,"

15     do you mean that the entire neighborhood's power was

16     out, or more than one -- sorry.

17                         Do you mean that more than your house did

18     not have power?

19                         MR. HODGE:     Objection; form.

20            A.   I mean that, and I mean that I believe for

21     safety reasons, in anticipation -- I don't know.                   It

22     would be speculation for me to say why the electricity

23     was turned off.        But I believe the electricity was

24     actually turned off, that it didn't go out.

25            Q.   (BY MS. IZFAR)       Understood.      So when you went

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23    Page 498 of 1584
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1              A.   I don't know.      I don't know.      When we were able

2      to get back in on the 8th and then the 9th, that

3      appeared to be the first time that anyone was able to

4      come in.      So I don't know of anyone who stayed in their

5      house during this event who I would even be able to ask

6      that.

7              Q.   You mentioned earlier that Nick visited the

8      area on August 31st -- August 30th and August 31st?

9              A.   Yes, I believe that to be the case, that he

10     visited both days.

11             Q.   Do you know when he visited next after

12     August 31st?

13             A.   I do not know when he visited after the 31st

14     or when he ultimately moved back into his house.

15             Q.   Okay.   You have not moved back into your home?

16             A.   Correct.

17             Q.   Why is that?

18             A.   Because it was destroyed in the flood and has

19     not been rebuilt.

20             Q.   Have you taken any remediation steps?

21             A.   Yes.

22             Q.   What steps?     Can you walk me through all of the

23     steps that you've taken?

24             A.   As soon as we can, we removed all of the wet

25     carpeting and anything that -- furniture, clothing,

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 499 of 1584
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1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2      IN RE UPSTREAM ADDICKS              )

       AND BARKER (TEXAS)                  )

3      FLOOD-CONTROL RESERVOIRS            )   Sub-Master Docket No

4      ________________________            )   17-cv-9002L

5      THIS DOCUMENT RELATES TO            )

6      ALL DOWNSTREAM CASES                ) August 1, 2018

7                  --------------------------------------

8                                ORAL DEPOSITION OF

9                                 ZHENNIA SILVERMAN

10                                  JULY 18, 2018

11                --------------------------------------

12                 ORAL DEPOSITION OF ZHENNIA SILVERMAN, produced

13     as a witness at the instance of the United States, and

14     duly sworn, was taken in the above-styled and numbered

15     cause on the 9th day of July, 2018, from 4:05 p.m. to

16     5:34 p.m., before Morgan Veletzuy, CSR in and for the

17     State of Texas, recorded by machine shorthand, at 1200

18     Smith Street, 12th Floor, Houston, Texas 77002, pursuant

19     to the Federal Rules of Civil Procedure and the

20     provisions stated on the record or attached hereto; that

21     the deposition shall be read and signed before any

22     notary public.

23

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23       Page 500 of 1584
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1      downward into the street?

2            A.   It was -- it went up to our courtyard.               So from

3      our courtyard, it would have been level.                 And I guess it

4      went a little bit down.          But, I mean, that's the natural

5      grading of just our front yard, is that it slopes down.

6            Q.   Okay.     Okay.     So I believe your husband

7      testified that during Hurricane Harvey you were out of

8      the country; is that correct?

9            A.   Yes.

10           Q.   Where were you?

11           A.   I was in Paris for work.           And I was supposed to

12     return on the 28th.

13           Q.   And when did you return?

14           A.   The airports didn't open up until

15     September 3rd, I believe, and I got one of the first

16     flights out.       And I flew via London to Houston.            It was

17     one of the first direct flights.

18           Q.   Okay.     And when you got to Houston, where did

19     you go?

20           A.   To my sister's.

21           Q.   Okay.     And is that where your husband was

22     staying?

23           A.   Uh-huh.

24           Q.   And then did you visit your home,

25     12515 Westerley Lane?

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23       Page 501 of 1584
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1            A.   It was not until -- I mean, so I came back and

2      I went to work.        And then it would have been, I believe,

3      this Friday or Saturday -- it would have been this

4      Friday, I think the 8th -- September the 8th.                 And we

5      had wanted to get back into the neighborhood, but we

6      weren't allowed.

7                       And we had to drive basically to 59 to

8      come -- we just couldn't get to our neighborhood since

9      we couldn't get -- come through I-10.              So -- so that was

10     the first day that we did it.            And I think we had to

11     drive like really far out and come back.                 And then one

12     of my coworkers, the secretary for our team, insisted on

13     coming to help and so -- sorry.

14           Q.   No, I understand.         It's a very emotional

15     experience that you went through; a very traumatic

16     experience.

17           A.   She's probably one of the only people that I

18     would have trusted to see our home in that state.

19           Q.   I'll back up a little bit.           So you came back on

20     September 3rd and you went to your sister's home?

21           A.   Uh-huh.

22           Q.   Did you talk to anyone -- any of your neighbors

23     about your home?

24           A.   No.   At this point, I didn't.           I didn't talk to

25     anyone anymore.        I had e-mailed with Nick from Paris.              I

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23    Page 502 of 1584
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1      had sort of initiated those e-mails with Nick and asked

2      him -- when I talked to my husband he said he could no

3      longer get back to the house because of the water

4      release; that there was no way to get back.              And so I

5      had Nick's e-mail address.

6                         And so I -- I was so desperate at that

7      point because my work had finished and I couldn't get

8      home and I had nothing to do but watch the news.               And so

9      I e-mailed Nick.        And then Nick was like, you know, I'm

10     coming -- I'm going to go to the house, and so I will --

11     you know, I'll take photos and send them to you.

12           Q.   Okay.     So did Nick send you and your husband

13     photos together?

14           A.   No.     He would have sent them to me directly.

15           Q.   Okay.     Do you -- during Peter's deposition we

16     looked at a bunch of photos that Nick had taken.               Did

17     Nick send you any other photos?

18           A.   No, that's all he sent.           And then I immediately

19     forwarded them to my husband.

20           Q.   Okay.     I understand.

21           A.   Right.

22           Q.   So those photos that we looked at were photos

23     that Nick had sent to you?

24           A.   Right.

25           Q.   Okay.

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     Case 1:17-cv-09002-LAS       Document 266-2 Filed 01/10/23    Page 503 of 1584
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                                                                      Page 31

1                             MS. TARDIFF:     I think it's 13.

2                             MS. IZFAR:     Yeah.

3              A.     It's a photo of Nick's house that we took I

4      think on the first day that we were able to get back

5      into the house.

6              Q.     (BY MS. IZFAR)       Okay.     So I believe it's

7      Exhibit 13, Bates number Silverman 00013.

8              A.     Right.     I think -- I think.       I mean, that's my

9      recollection because it is not included in any of these

10     e-mails from Nick.           And when I saw it earlier today, I

11     noticed that the sun was shining and it made me think

12     that.        Unless maybe Nick had texted that to my husband

13     directly, but I do not recall that being sent to me

14     ever.

15             Q.     Okay.     So when you went back to your home on

16     September 8th, do you recall seeing this kind of

17     standing water?

18             A.     There was -- I don't particularly remember

19     Nick -- but I do know that standing in my driveway

20     facing the street there was a current in the water.                  And

21     some of the ducks -- displaced ducks from the lake

22     section were just walking around on the grass across the

23     street from us.

24             Q.     Okay.     So could you mark in orange that you

25     believe this picture might have been taken on the 8th?

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1      the water is?

2                            MR. HODGE:    Objection; form.

3              A.    No.     I remember one of the first ones that I

4      looked at was of our front door where we've got this

5      elephant that we bought in Indonesia with a pot on top

6      of it.       And as I looked inside the house through those

7      glass doors, it appeared -- appeared to me at that time

8      that the water had risen up to the level of the armrest

9      on the chair.          And I remember talking to my husband

10     about it.       And so that was -- and then of course seeing

11     my mailbox that was pretty --

12             Q.    (BY MS. IZFAR)       So right now just to be clear

13     for the record, you're looking at the second to last

14     page of the Exhibit 23, and you're looking at the --

15             A.    The third.

16             Q.    Wait.     The third image which is IMG --

17     captioned "IMG_0846.jpg"?

18             A.    Uh-huh.     That's correct.

19             Q.    Okay.     And is it your understanding that these

20     pictures were also taken on August 31st by your neighbor

21     Nick?

22             A.    Correct.

23             Q.    All right.     Did you have any other photographs

24     of your -- of your home between August 27th and

25     September 8th?

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1            A.   No.     But being stuck in a hotel room and just

2      surfing the internet, I found some YouTube videos and

3      was able to see, like, somebody in a little motorboat

4      going down our street and in other streets in our

5      neighborhood.       And I can't remember, but he had a name

6      like Cray man or something like that.              And he had taken

7      video of our neighborhood, YouTube videos, and had

8      posted them.

9            Q.   Do you think you might be able to find those

10     YouTube videos again and send them to your attorney?

11           A.   I might be able -- yeah, I might be able to

12     look for them.

13           Q.   If you're able to find them, we call for the

14     production of those videos.

15           A.   Okay.

16           Q.   You mentioned that you were in a hotel room,

17     when did you check in to a hotel?

18           A.   Oh, no.      I was -- this is -- because all of

19     these e-mails were while I was still in Paris.

20           Q.   Got it.      Understood.      Understood.     So when did

21     you move from your sister's home to your current home?

22           A.   We -- prior to -- to our house being flooded,

23     we had planned -- and this is like months before -- my

24     father-in-law was turning 90 and we had planned a trip.

25     He likes to cruise and so we had planned a cruise with

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1      him.    And I really wanted to cancel it, and my husband

2      convinced me that we shouldn't.            And so we -- I wanted

3      to stay in our general area because I wanted to be close

4      to the house and, you know, just to everything that I

5      know, which is near our home.

6                          So there was an apartment complex near my

7      son's school and we were pretty desperate at that point,

8      you know, I mean, nobody likes to be living with

9      somebody else.        And I had just my -- you know, I had so

10     much luggage from our trip to Paris, and my husband had

11     a backpack.        And we just didn't -- I mean, I love my

12     sister, but it wasn't our home.            You know, and everybody

13     is different.        And so we really felt pressure.          I mean

14     we pressured ourselves to try and get out, you know.

15                         And so we -- I think we arranged sort of a

16     very quick move.        And, I mean, we looked for an

17     apartment.     And then we went on our trip.             And I think

18     we moved in as soon as we got back or maybe even right

19     before we left, I don't remember.

20            Q.   So mid-September?

21            A.   Yes.

22            Q.   And I believe your husband testified that the

23     apartment was named Modera?

24            A.   Modera, uh-huh, Energy Corridor.             And we took

25     an apartment on the second floor.

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1            Q.    And do you agree with his assessment that you

2      are still in a place where you're deciding whether to

3      renovate and move back or sell your house?

4            A.    We -- I think ideally we would -- I mean, I

5      love my neighborhood and I would love to rebuild and

6      we've talked about it.          But my husband's currently

7      unemployed, and so it's very hard for us to take on a

8      mortgage at this point and, you know, redo our home the

9      way that we want it.         I mean, we just, you know, we need

10     a little bit more financial stability I think before we

11     can make that type of commitment.             And we have looked

12     for houses but, you know, they're -- I mean, our lots

13     were big.     You know, everything now is just like these

14     little cookie-cutter houses and they all look the same

15     and it's -- so anyway...

16           Q.    So have you gotten estimates from contractors

17     as to how much it would cost to rebuild the home?

18           A.    I think my husband had talked to somebody at

19     one point.     And the only thing I remember from that

20     conversation was that it was a lot more per square foot

21     than we were willing to commit to at the time.

22           Q.    And then -- so do you have any plans to move

23     out of your current home?

24           A.    You know, I would love to move out of our

25     current home -- I mean out of our current apartment.

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1      But as I mentioned earlier, I really hate house hunting.

2      And so it's sort of a little bit of a safe haven for us

3      right now.       And it -- I mean, we definitely will have to

4      move out at some point.          Our apartment lease is up in

5      September and I don't know if we'll renew for another

6      year or not.

7              Q.    So of the money that you've received from FEMA,

8      do you have an understanding of how much is left for

9      repairs?

10             A.    It is my understanding that we have not touched

11     very much of that, if anything at all.              I think the

12     large check that we got, my husband sent it to the bank

13     or to whoever holds our mortgage.             We have used some for

14     living expenses, but I mean, I think we -- we still

15     have, you know, a bit of it.

16             Q.    Okay.

17             A.    But I will also tell you that I don't deal with

18     the finances, so...

19             Q.    Understood.    Do you -- do you agree with your

20     husband's testimony as to the remediation work that was

21     done?

22             A.    Yes.    I know that we paid $5,000.        And I

23     thought we had paid extra for the mold or whatever it is

24     that they sprayed, but maybe not.             So I think it's

25     5,000.       I thought it was a little bit more than 5,000,

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1                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
        IN RE DOWNSTREAM                      )
3       ADDICKS AND BARKER                    )       Sub-Master Docket
        (TEXAS) FLOOD-CONTROL                 )       No. 17-cv-9002L
4       RESERVOIRS                            )
5
6
       ******************************************************
7                                ORAL DEPOSITION OF
8                                    TIMOTHY STAHL
9                                SEPTEMBER 5, 2018
10     ******************************************************
11
               ORAL DEPOSITION of TIMOTHY STAHL, produced as a
12     witness at the instance of the Defendant, and duly
       sworn, was taken in the above-styled and numbered
13     cause on September 5, 2018, from 10:10 a.m. to 2:52
       p.m., before Heather L. Garza, CSR, RPR, in and for
14     the State of Texas, recorded by machine shorthand, at
       the offices of NEEL, HOOPER & BANES, P.C., 1800 West
15     Loop South, Suite 1750, Houston, Texas, pursuant to
       the Federal Rules of Civil Procedure and the
16     provisions stated on the record or attached hereto;
       that the deposition shall be read and signed.
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1      I -- I can look at the flood gauges and go, oh, yeah,

2      you know, by morning of the -- early, early, early

3      morning of the 28th, we're talking -- I was still in

4      Alaska and the sun was still up at midnight.                  But

5      midnight in anchorage was 3:00 a.m. Houston time.

6      There's a time difference.              So some time in there, I

7      was pretty sure there was water in my house.

8           Q.     All right.        But, again, you weren't in touch

9      with any neighbors who --

10          A.     Not until the next -- my neighbor at 269

11     called from Mexico asking if his house was on fire in

12     the morning.      I said I have no idea, I'm in Denali.

13     I'm up in Alaska.           I said, what about the guys in the

14     middle?     Oh, they're in Argentina.

15          Q.     All right.        So no --

16          A.     I couldn't tell you a specific time that the

17     water was there.          I can tell you when we came back a

18     few days later, the water had receded outside of the

19     structure still just below the structure.                It was --

20     it was close.

21          Q.     And when you say just below the structure,

22     can you tell me what you mean by that?

23          A.     Well, the back of the house is a pier and

24     beam of sorts and then, of course, you have the deck,

25     which is also on a pier, so the water was below that

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1      but above the air-conditioning unit.

2           Q.     Okay.      So where the deck is elevated, you

3      still have water underneath that deck at that time?

4           A.     Yes, ma'am.

5           Q.     Okay.      And then how long did it take for the

6      water to recede past the end of your structure?

7           A.     I don't remember.           For all the water to go

8      back to being a creek, it was, like, a couple of

9      weeks.    It was very slow on the drainage.              It was -- I

10     think it was rapid at first and then it slowed down.

11          Q.     All right.        And were you visiting your

12     property daily at that point?

13          A.     Only in the sense of opening it up to get the

14     air out and to try and get things moved out to the

15     curb that we knew we weren't going to keep and we were

16     sorting things, oh, yeah, we can wash that off, until

17     we found out about that E. coli thing, and then we

18     just tossed all of that, too.               They're still calling

19     me specialist on here, too, but I haven't been a

20     specialist for 20 years.

21          Q.     That must have been -- maybe that was the

22     first time you had insurance with them.

23          A.     I've had insurance with USAA for 20 years.

24     Different sorts and credit card.

25          Q.     When you -- when you -- let me rephrase that.

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 1                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2           IN RE:   DOWNSTREAM               §

             ADDICKS AND BARKER (TEXAS)§

 3           FLOOD-CONTROL RESERVOIRS          §

 4           vs.                               § SUB-MASTER DOCKET NO.

 5           __________________________§ 17-cv-9002L

 6           THIS DOCUMENT RELATES TO: §

 7           ALL DOWNSTREAM CASES              §

             __________________________§

 8

 9                                    ORAL DEPOSITION

10                                 MR. SHAWN S. WELLING

11                                    August 14, 2018

12

13                 ORAL DEPOSITION OF MR. SHAWN S. WELLING,

14           produced as a witness at the instance of the United

15           States and duly sworn, was taken in the above-styled

16           and numbered cause on the 14th day of August, 2018,

17           from 9:22 a.m. to 3:52 p.m., before Michelle Hartman,

18           Certified Shorthand Reporter in and for the State of

19           Texas and Registered Professional Reporter, reported

20           by computerized stenotype machine at the offices of

21           Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,

22           Houston, Texas 77098, pursuant to the Federal Rules

23           of Civil Procedure and the provisions stated on the

24

25           record or attached hereto.

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 $,I+DUYH\KDGDOUHDG\KLWODQGIDOO,
            $,I+DUYH\KDGDOUHDG\KLWODQGIDOO,                $XJXVWWK,KDYHQRWJRQHEDFNWRWKHSURSHUW\
 ZDVWKHUHDWWKHSURSHUW\VLWH,I,UHPHPEHU                    46RWKDWLVZK\,ZDVUHIHUHQFLQJWKH
 FRUUHFWO\WKHPRUQLQJDIWHU+DUYH\KLWHYHU\WKLQJ                 GDWHKHUHWRWU\WR
 ZDVILQH0\ZLIHVWDUWHGJHWWLQJVXSSOLHVIRUWKH                $6XUH,EX\WKDW
 DSDUWPHQW$QG,WKRXJKWWKLVLVULGLFXORXVVKH                4$QGVRLIWKLVVRLIE\WKLVGDWH
 IRUWXQDWHO\GLGQRWDQGJRWVRPHVXSSOLHV                        \RX UHQRWEDFNDWWKHSURSHUW\FDQ\RXWHOOPHZKDW

                                                                                                                  3DJHV
                                           ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                                                                                                                          A963
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                                                     0U6KDZQ):HOOLQJ                                       $XJXVW
                                                           3DJH                                                             3DJH
  GD\\RXGLGJHWEDFNWRWKHSURSHUW\"                               HLWKHULWKDGWRKDYHEHHQODWHDWQLJKW,
  $+PPZHOOOHW VVHH1R,FDQ W,                \HDK%HFDXVH,UHPHPEHULWEHLQJGDUN
  DPWU\LQJWRWKLQNLIWKHUHLVDQ\HYLGHQFH                        42ND\6RLWLVDWQLJKW$QGQRZD
  4:HOOOHW VGRWKLVJRDKHDG                      GDWHGR\RXNQRZWKHGDWH"
  ILQLVK                                                             $,GRQ W,ZRXOGHVWLPDWHZHZHUH
  $,UHPHPEHUDWVRPHSRLQWDJDLQVWWKH                 SUREDEO\WKHZDWHUZDVMXVWEHJLQQLQJWRUHFHGH
  GHVLUHRIP\ZLIH,GURYHRXWRIWKHRQHQLJKW                  42ND\
  EHFDXVHWKHSLJZDVGURZQLQJDQGP\EURWKHUKDG                    $0D\EHIRXUGD\VWKUHHRUIRXUGD\V
  JRWWHQWKHSLJZKRZDVGRZQLQJDQGJRWWHQKLPRXWRI                DIWHUPD\EHIRXUGD\VDIWHUWKHIORRGRFFXUUHG
 WKHZDWHUDQGSXWLWLQWRDFUDWH,W VQRWOLNH                  4$OOULJKW
 LW VDIDUPSLJ,W VOLNHDGRJWRXV                           $,WZDVMXVWHQRXJKIRUPHWRJHWP\
 4,PHWKLP                                           -HHSRXWEXWQRWHQRXJKIRUPHWROHDYHP\ZLIHDORQH
 $2ND\7KDW VULJKW6R,JRWP\-HHS               DQGQRWHQRXJKWREHRQSUHPLVHVZKHUHWKHUHZDVQR
 DQGP\-HHSZDVWKHKRRGZDVXQGHUZDWHUZKHQ,ZDV              HOHFWULFLW\QR,QWHUQHW
 GULYLQJDQG,JRWWKHUHWKDWQLJKWWRFKHFNRQWKH                 41RZ\RXGLG\RXGLGGRD)DFHERRN
 SLJ6RWKHZDWHUZDVVWLOOLQDEDGVFHQDULRDQG                SRVWGXULQJVRPHYLVLWZKHQ\RXFDPHEDFN
 WKHQ,GURYHEDFNDQGZHQWXQGHUZDWHUDJDLQDQGJRW                :DVWKDWZKHQDQGZDVWKDW\RXU
 EDFNXSIRUIHZEULHIDIHZPLQXWHVDQGRQO\WR                ILUVWYLVLWEDFNWRWKHSURSHUW\DIWHUWKLVYLVLWDW
 JRLQWKHHQWUDQFHDQGFKHFNRQWKHSLJVRQRWWR                 QLJKW"
 VFRRWDURXQGEHFDXVHLWZDVMXVWWRRGDQJHURXV                   $$UH\RXWDONLQJDERXW)DFHERRNSRVWV
 4$QGZDVWKDWVRGLG\RXHQWHULQWR                YLGHRRUSKRWR"
 WKHEXLOGLQJ"                                                      49LGHR
 $7KHIURQWIR\HU\HDKZKHUHWKHSLJ                 $2ND\,UHPHPEHUWKUHHSULRUWRPH
 ZDVOHIW                                                          JHWWLQJWRWKHSUHPLVH
 42ND\$QGGR\RXUHFDOOZKHWKHUWKDW                47KUHH)DFHERRNSRVWV"
                                                           3DJH                                                             3DJH
  YLVLWZDVEHIRUHRUDIWHU                                        $3RVWVWKUHHYLGHR)DFHERRNSRVWV
  $2KLWPXVWKDYHEHHQEHIRUHWKLV                    4<HV
  \HDK,ZRXOGLPDJLQH,PHDQRIWKLVVRUU\                    $SULRUWRPHDFWXDOO\JHWWLQJRQ
  DIWHUWKDW$IWHUWKLV                                            VLWH"
  46R\RXGRRND\7KDW VKHOSIXO                   4<HV
  WKDQN\RX6RWKDWZDVRQHYLVLW"                                  $7KDWRQHODWHQLJKW\HDK
  $, PVRUU\,KDYHWRWDNHWKLVH[FXVH               4$QGWKHQWKHUHZDVDWKHQ\RXGLGD
  PHSDUGRQPH                                                      )DFHERRNSRVW"
   'LVFXVVLRQRIIUHFRUG                               $2KWKHUHZDVRQHRQORFDWLRQ
 7+(:,71(66,GRQ WNQRZZKRZDV                  42QORFDWLRQ"
 FDOOLQJPHIURPWKLVGHDO*RDKHDG                              $2K\HDK<HDK,UHPHPEHUWKDW7KDW
 4 %<056$/,6%85< $WVRPHSRLQWVR               ZDVODWHUXKKXK
 \RX YHLGHQWLILHGRQHYLVLWWRWKHSURSHUW\                       4$QGVRP\TXHVWLRQZDVWKHQ:KHWKHU
 $8KKXK                                              WKDWYLVLWWKDW\RXYLGHRHGWKHUHZDV\RXUILUVW
 4$QG\RXWKLQNLWZDVDIWHU$XJXVWWK"              YLVLWEDFNWRWKHSURSHUW\"
 $8KKXK                                              $1R,WKLQNWKHUHZDVWKDWVKRUWYLVLW
 4$QGZDVLWOLNHHDUO\LQWKHPRUQLQJ"                WRWKHSLJ
 $8KKXK                                              48QGHUVWRRG6R
 4$QGZRXOGLWKDYHEHHQWKHPRUQLQJRI                $$YHU\TXLFNYLVLW
 $XJXVW"                                                         4%XWDIWHUWKHVKRUWYLVLWIRUWKH
 $<RXPHDQZKHQ,YLVLWHGWKHSURSHUW\                 IRUWKHSLJWKDWZHKDYHGLVFXVVHGZRXOGLWKDYH
 IRUWKHILUVWWLPH"                                                EHHQ\RXUQH[WYLVLWWKDWZDV
 4<HDK7KLVRQHWKDW\RX UH                       $'XULQJWKHGD\,WZDVNLQGRIGD\LVK
 $,WZDVHDUO\LQWKHPRUQLQJ,WZRXOG               DQG,ZDVWDONLQJWKDW VULJKW,ZDVWDONLQJ
 KDYHEHHQLWZDVDWQLJKW6R,WKLQNLWZDV                   DERXWWKHJDVDQGDOORIWKDW"

                                                                                                                3DJHV
                                           ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                                                                                                                         A964
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                                                  0U6KDZQ):HOOLQJ                                             $XJXVW
                                                           3DJH                                                              3DJH
  $ &RPSOLHV                                             LV
  46R\RXPDGHDOLWWOH;XSE\%D\RXRQ                4+RZDERXW&UDWH %DUUHODWWKHHQGLV
  WKH%HQG,VWKDW%D\RXRQWKH%HQGDFWXDOO\WKH                    WKHUHDQ\WKLQJWKDW\RXERXJKWIURP&UDWH %DUUHO
  QDPHRI\RXUFRPSOH["                                                WKDWZDVUHSODFHG"
  $8KKXK                                                $<HDK,WKLQN,ZRXOGKDYHWRJR
  42ND\$QGZRXOG\RXPDNHD%RQKHUH                WKURXJKWKDWOLVWDQGEHPRUHVSHFLILFEXW,GRQ W
  IRUZKHUH\RXUEURWKHULVZDVGXULQJWKHVWRUPRU                EHOLHYHWKDW VUHDOO\WKDWSHUWLQHQWWRLWDOO
  LI\RXJRWWZREURWKHUV                                             $IHZWKLQJVHDV\WRXQGHUVWDQG,
  2UGR\RXKDYHWZREURWKHUVZLWK                      ZRXOGMXVWZH UHJRLQJWRQHHGWRUHJHW\RX
 SURSHUW\WKHUHWKDWZHUHFORVHE\"                                  VRPHWKLQJDOLWWOHPRUHVSHFLILFEHFDXVH,FDQVHH
 $<HDK/HW VVHH                                     WKHZKHUHZHDUHJRLQJZLWKHYHU\WKLQJ$QGWR
 4:K\GRQ W\RXGRD-IRU-XGG$QG,               PDNHLWHDV\RQ\RX,QHHGWRWDONWRP\FRXQVHODQG
 IRUJHWZKRWKHRWKHURQHZDV                                       JHWVRPHWKLQJWR\RXDOLWWOHPRUHVSHFLILF
 $-XGGZDVRYHUWRWKH-XGGZDVRYHU                 42ND\7KDQN\RX,GRQ WUHDOO\KDYH
 KHUHLQDWRZQKRPHDQGWKHQ'HUULFNZDVRYHU                     DGHVLUHWRFURVVH[DPLQH\RXRQDOOWKHSDUWLFXODU
 'HUULFNZDVRYHUKHUH0\IDWKHUZDVULJKWKHUH                   UHFHLSWVDQGLQYRLFHVKHUHWRILQGRXWZKDWWKH\DUH
 LQGLFDWHV                                                          ,MXVWZDQWWRPDNHVXUHWKDW, P
 46R\RXSXWD-IRU-XGGD'IRU                  FOHDUWKDW,WLVQRW\RXUSRVLWLRQKHUHWRGD\WKDW
 'HUULFNDQGDQ)IRUIDWKHU"                                     DOOWKHVHELOOVDUHDVDUHVXOWRIIORRGLQJ"
 $8KKXK                                               $5LJKWQRWGLUHFWO\:KDW\RXQHHGLV
 42ND\7KDQN\RX                                     DYHU\VSHFLILF:KDWSDUWRIWKLVLVGLUHFWO\
 7+(:,71(66'R\RXJHWDOOWKHVH                   UHODWHGWRWKHIORRGDQGZKDWGLUHFWO\GR\RXVWLOO
 EDFN"                                                               QHHGIURPPHWRKDYHGRQH"
 05'$,16KHJHWVWKHPDOOEDFN6R               47KRVHWKLQJVDUHWUXH
 VKHZLOOWDNHDOLWWOHLQYHQWRU\DWVRPHSRLQWDV                   $2ND\
                                                           3DJH                                                              3DJH
  ZHOO                                                                 ,QIRUPDWLRQWREHVXSSOLHG
  7+(:,71(662ND\&DQ,JHWDFRS\                 4 %<05'$,1 2QHRIWKHWKLQJVWKDW
  RIWKHOLWWOHDUFKLWHFWXUDOGUDZLQJVRULVWKDW                  ZHZRXOGOLNHWRXQGHUVWDQGIURPHDFKRIWKHWHVW
  056$/,6%85<,KDYHJRWRQH                       SODLQWLIIVLQWKLVFDVHLVZKDWGD\WKHZDWHUVOHIW
  05'$,1+HKDVJRWDFOHDQFRS\                   WKHWHVWSURSHUW\
  056$/,6%85<<RXFDQWDNHPLQH                    ,DVNHG\RXDIHZTXHVWLRQVHDUOLHU
  05'$,12IIWKHUHFRUG                            DERXWDWWKHWLPHRIWKH$XJXVW)DFHERRNSRVWZH
   5HFHVVWDNHQ                                    ZHUHWU\LQJWRILJXUHRXWZKHWKHUWKHZDWHUDWWKDW
   ([KLELWPDUNHG                                  SRLQWKDGOHIWWKHEXLOGLQJRUQRW
 4 %<05'$,1 6R,JRWZKLFKLV                  $8KKXK
 :HOOLQJWKURXJK:HOOLQJ,WLVD                     4DQGLWPLJKWKDYHLWZDVSUHWW\
 FROOHFWLRQRIUHFHLSWVDQGGRFXPHQWVWKDWZHUH                      FORVHDWWKDWSRLQW
 SURGXFHGLQWKLVFDVH,GRQ WXQGHUVWDQGZK\LWZDV               ,VWKDWDIDLUFKDUDFWHUL]DWLRQRI
 SURGXFHGRUZKDWLVUHIOHFWHGLQKHUH                              ZKDW\RXVDLG"
 +DYH\RXVHHQWKLVGRFXPHQWEHIRUH"                  $)URPWKH)DFHERRN\HDKWKHZDWHU
 $<HDK0RQWDOEDQR                                     OHIWEXWQRWWKHPXG
 46D\DJDLQ                                            4&RUUHFWFRUUHFW
 $7KLVRQH0RQWDOEDQR/XPEHU                          $, PMXVWWDONLQJOLTXLG\PXFN
 4:HOOWKHZKROHSDFNDJH7KHUHLVD                  4,XQGHUVWDQGDPHVVUHPDLQHG
 ORWRIWKHPWKDWDUH0RQWDOEDQR7KHUHLV&UDWH                   $<HDK
 %DUUHO7KHUHLV-DYLHU'HOD7RUUH7KHUHLVD                   4,XQGHUVWDQGWKDW
 PDWWUHVVUHFHLSWLQKHUH                                           +RZTXLFNO\GLGWKHZDWHUUHFHGHIURP
 $<HDK,ZRXOGVD\WKH0RQWDOEDQR/XPEHU               $XJXVWWKIRUZDUG"
 LVWKHRQHWKDWLVSULPDULO\IRUFRQVWUXFWLRQ7UHH                $,ZRXOGEHWDNLQJJXHVVHV
 VHUYLFHWKHUHLVWKH)DQWDVWLF7UHH6HUYLFH7KHUH                4:HOOOHWPHSXWVRPHIUDPLQJRQLW

                                                                                                                 3DJHV
                                         ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                                                                                                                            A965
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                                                   0U6KDZQ):HOOLQJ                                             $XJXVW
                                                           3DJH                                                              3DJH
  6R,GRQ WZDQWSXUHJXHVVHV                                        WKDWZHUHGU\RUNHSWGU\RUWRQDYLJDWHZDWHUDURXQG
  :LWKLQWKHFRXUVHRIIRXUGD\VZRXOG
                 :LWKLQWKHFRXUVHRIIRXUGD\VZRXOG                 DUHDVWKDWQRUPDOO\ZRXOGKDYHPDUVK\VZDPS\+RXVWRQ
  LWKDYHOHIW\RXUSURSHUW\"                                          SODFHVWKDWZRXOGQRWEHDEOHWREHEXLOGDEOH0D\EH
  $6LQFHLWILUVWJRWWKHUH"
            $6LQFHLWILUVWJRWWKHUH"                              \RX UHDEOHWREXLOGKHUHEXWWKHQRYHUKHUH\RX
  4<HV:RXOGWKHIORRGZDWHUVKDGUH
             4<HV:RXOGWKHIORRGZDWHUVKDGUH                 FDQ W
  LQIRXUGD\VDIWHU\RXUODVW)DFHERRNSRVWZRXOG                    ,NQRZWKHGHPRJUDSKLFVRIP\
  WKHZRXOGWKHZDWHUVDWOHDVWE\WKDWSRLQWKDYH                  QHLJKERUKRRGDQGDIHZIHHWOHIW\RXFDQEXLOGD
  EHHQHQWLUHO\RII\RXUSURSHUW\QRWFRXQWLQJWKH                    IHZIHHWULJKW\RXFDQ W7KLVDOORZV\RXWRGR
  PHVVOHIWEHKLQG"                                                    WKDWDOORZVFRPPXQLWLHVWRJURZDQGWRSURVSHU
 $2K\RX
            $2K\RX UHWDONLQJDERXWWKHIRXUGD\V                4'LG\RXUEURWKHU'HUULFN VSODFHIORRG"
 DIWHU,KDGP\ODVWSRVW"                                           $-XGG VSODFHWKDW'HUULFNOLYHGLQ
 4<HV
             4<HV                                                  \HV
 $,WKLQNWKDWLVIDLUWRVD\WKH\ZRXOG
            $,WKLQNWKDWLVIDLUWRVD\WKH\ZRXOG                46R-XGGKDGWZRSODFHV"
 KDYHJRWWHQRIIP\SURSHUW\0D\EHQRWRII                         $-XGGKDVRQHSODFH+HOLYHVZLWK
 %UHQQHU V                                                          KHDOORZHGP\EURWKHUWROLYHWKHUHDQGKHLVVWD\LQJ
 42ND\                                                 ZLWKKLVJLUOIULHQGDFURVVWKHVWUHHW
 $,WZRXOGVWLOOEHRQWKHSDUNLQJORW                 42ND\6R-XGG VSODFHZKHUH'HUULFN
 4%XWZHDUHVWLOODQGMXVWVRWKH                   OLYHGGLGWKDWIORRG"
 UHFRUG VFOHDU\RXMXVWGRQ WNQRZDV\RXVLWKHUH                 $<HV
 WRGD\ZKHWKHULWZDVWKUHHGD\VIRXUGD\VRUILYH                  4$QG-XGG VSODFHRU-XGG VJLUOIULHQG V
 GD\VEXWLWZDVVRPHWKLQJRIWKDWPDJQLWXGH"                       SODFHZKHUHKHZDVOLYLQJGLGWKDWIORRG"
 $5LJKW,PHDQ,KDYHDFRXSOHRI                    $1R
 FRQFOXVLRQVDQGWKHRULHVEXW,GRQ WWKLQNWKLVLV                 4$QGZKDW VWKDWDGGUHVV"
 WKHWLPHDQGSODFHIRUPHWRH[SORLWWKDWRUWDON                   $,KDYHQRLGHD
 DERXWLWEXW,ZLOOMXVWDQVZHUWKHTXHVWLRQV                     42ND\+DQGLQJ\RXZKDW VEHHQPDUNHG
                                                           3DJH                                                              3DJH
  4$QG\RXWDONHGDERXWWKLVDOLWWOH                     :HOOLQJ V([KLELW1XPEHUJLYHPHDPRPHQWDQG
  HDUOLHUEXW,GLGQ WUHDOO\DVN\RXZHGLGQ WIUDPH                OHWPHJHWP\RZQFRS\RILW
  ZLWKLWDTXHVWLRQDQGDQVZHU:KDWZDV\RXU                        7KLVLV3ODLQWLII V2EMHFWLRQVDQG
  KLVWRULFXQGHUVWDQGLQJRIWKHSXUSRVHVRIWKH$GGLFNV                5HVSRQVHVWR'HIHQGDQW8QLWHG6WDWHV $PHQGHG6HFRQG
  DQG%DUNHUGDPVDQGUHVHUYRLUV"                                      6HWRI5HTXHVWVIRUWKH3URGXFWLRQRI'RFXPHQWV
  $1RWEHLQJDQH[SHUWLWLVP\                          'R\RXUHFDOOHYHUVHHLQJWKLV
  XQGHUVWDQGLQJWKDWWKHVHUHVHUYRLUVDQGWKHVH                     GRFXPHQWEHIRUH"
  UHVHUYRLUVDQGWKHVHGDPVSUHYHQWZDWHUIURPFRPLQJ                  $,GRQ WUHFDOO,GRQRWUHFDOO
  LQWRDUHDVWKDWDUHGHYHORSHGLQDQXQFRQWUROOHG                     7KLVLVWKHVDPHGRFXPHQW\RXKDQGHG
 PDQQHUWKDWWKH$UP\&RUSVRI(QJLQHHUVLVDOORZHG                 PHEHIRUH"
 WRFRQWUROLWEHLWDV,KDGRIWKRXJKWZKHQ,ZDV                4,WLVQRW,WLVDVXEVHTXHQW5HTXHVW
 KHDULQJWKHQHZVDQH[DPSOHLVWKLVPDVVIORRGLQJ                 IRU3URGXFWLRQRI'RFXPHQWV
 \RX UHDEOHLQVWHDGRIKDYLQJWKHZKROHWKLQJ                    $2ND\
 EUHDN\RXOHWZDWHURXW                                           4$QGOHWPHJHWRQSDJHIRXUUHTXHVW
 4/HWPHLQWHUUXSW\RXMXVWVR,IUDPHLW               IRUSURGXFWLRQQXPEHULWVD\V7H[WPHVVDJHV
 DOLWWOHELWEHWWHU%HFDXVH,PLJKWQRWKDYHIUDPHG               UHFHLYHGRUVHQWE\SODLQWLIIVUHODWLQJWRIORRGLQJ
 LWZHOO, PPRUHLQWHUHVWHGLQ\RXUKLVWRULFDO                    RQWKHWHVWSURSHUWLHVRUIORRGLQJRQSURSHUWLHV
 XQGHUVWDQGLQJWKDQZKDW\RXOHDUQHGHLWKHUGXULQJRU                ZLWKLQWKHVDPHQHLJKERUKRRGRIWKHWHVWSURSHUW\
 DIWHU+DUYH\                                                       GXULQJRUDIWHU+XUULFDQH+DUYH\
 $<HDK                                                 ,I\RXJRWKHUHLVDQREMHFWLRQ
 43ULRUWRWKH+DUYH\HYHQWVWDUWLQJDQG                DQGWKHQLI\RXJRDIHZSDJHVGRZQWRSDJHHLJKW
 KLVWRULFDOO\ZKHQ\RXDFTXLUHGWKHSURSHUW\GLG                    WKHUHLVD6KDZQ:HOOLQJVSHFLILFUHVSRQVH
 \RXZHUH\RXDZDUHRIWKHGDPV"                                  $8KKXK
 $<HV<HDKWKH\ZHUHDQLPSRUWDQWSDUW               4'LG\RXHYHUVHHWKDWUHVSRQVHEHIRUH
 RIXVEHLQJDEOHWREXLOGDQGEHDEOHWRKDYHSODFHV                WRGD\"

                                                                                                                3DJHV
                                         ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                                                                                                                            A966
     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 517 of 1584
                                      9DO$OGUHG                    $XJXVW

                                                                   Page 1

1           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 2     IN RE UPSTREAM ADDICKS
 3      AND BARKER (TEXAS)
 4     FLOOD-CONTROL RESERVOIRS             Sub-Master Docket No.
                                            17-cv-9001L
 5     _________________________
 6                                          Judge Charles F. Lettow
 7     THIS DOCUMENT RELATES TO:
 8     ALL UPSTREAM CASES
 9
10                    ORAL DEPOSITION OF VAL ALDRED
11                                AUGUST 1, 2018
12
13
14               ORAL DEPOSITION OF VAL ALDRED, produced as a
15     witness at the instance of the Defendant and duly
16     sworn, was taken in the above styled and numbered
17     cause on Wednesday, August 1, 2018, from 8:58 a.m.
18     to 3:31 p.m., before Rene White Moarefi, CSR, CRR,
19     RPR in and for the State of Texas, reported by
20     computerized stenotype machine, at the offices of
21     Potts Law Firm, 3737 Buffalo Speedway, Suite 1900,
22     Houston, Texas, pursuant to the Federal Rules of
23     Civil Procedure and any provisions stated on the
24     record herein.
25

                              ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                       
                                                                                     A967
  Case 1:17-cv-09002-LAS                          Document 266-2                Filed 01/10/23               Page 518 of 1584
                                                       9DO$OGUHG                                              $XJXVW
                                                          3DJH                                                           3DJH
  $1R                                                     QHLJKERUKRRGZDVZDVDERXWXQGHUZDWHUDQGZH
  42ND\$OOULJKW:HFDQVHWWKLVDVLGH                ZRXOGKDYHEHHQPDURRQHG
  IRUQRZ                                                           4:KHQ\RXVD\WKHHQWU\ZD\WR\RXU
  2ND\, PJRLQJWRDVN\RXDIHZ                       QHLJKERUKRRGZDVZDVWKHUHLVWKDWDVSHFLILF
  TXHVWLRQVQRZDERXWZKDWKDSSHQHGGXULQJ+DUYH\                   VWUHHW"
  $QG, YHJRWDEODQNFDOHQGDUVVRPHZKHUHLQIURQW               $,W V
  RI\RX6RIHHOIUHHWRUHIHUWRWKHPLI\RXKDYH                 4$UH\RXORRNLQJDW([KLELW"
  WURXEOHUHFDOOLQJFHUWDLQGDWHV                                   $<HDK, PORRNLQJDW([KLELW,W VWKH
  $2ND\                                                   HQWUDQFHDW/D&RVWDDQG0HPRULDO
 4:KHQGLG\RXILUVWKHDUDERXWWKH                      42ND\+RZGR\RXNQRZWKDW/D&RVWDDQG
 SRVVLELOLW\WKDWDVWRUPOLNH+DUYH\ZDVFRPLQJ"                  0HPRULDOZHUHEHFRPLQJLPSDVVDEOH"
 $,WKLQNSUREDEO\ZKHQHYHUWKHWKH79               $:HKDGJRQHGRZQWKHUHWRVHHLW,
 \RXNQRZVWDWLRQVVWDUWHGUHSRUWLQJLW,GRQ W                 WKLQNP\GDXJKWHUKDGKDGGULYHQGRZQWKHUHDQG
 NQRZH[DFWO\ZKHQWKDWZDVEXWVRPHWLPHDFRXSOHRI              VHHQWKDWLWZDVILOOLQJXSSUHWW\TXLFN
 GD\VEHIRUHLWKLW                                               42ND\:DVZKHQGLGZDWHUILUVWHQWHU
                                                                            4 2ND\:DVZKHQGLGZDWHUILUVWHQWHU
 42ND\$WWKDWWLPHZHOOGR\RX                 \RXUKRPH"
 FDQ\RXJLYHDQHVWLPDWHDVWRZKDWGDWHWKDWZDV"                $,ZDVQ
                                                                            $ ,ZDVQ WRQWKHSURSHUW\ZKHQWKDW
 $<RXNQRZDV,UHFDOOWKLVZDVD                      KDSSHQHG
 KXUULFDQHWKDWNLQGRIZHQWDZD\DQGFDPHEDFNIURP               42ND\6RLWZDVDIWHU$XJXVWWK"
                                                                            4 2ND\6RLWZDVDIWHU$XJXVWWK"
 WKHGHDGDJDLQDQGMXVWIODUHGXSSUHWW\TXLFNO\                 $,WZDVDIWHU,HYDFXDWHG
                                                                            $ ,WZDVDIWHU,HYDFXDWHG
 3UREDEO\WKHVWRUQG                                        42ND\$QG\RXHYDFXDWHGRQ$XJXVWWK"
                                                                            4 2ND\$QG\RXHYDFXDWHGRQ$XJXVWWK"
 42ND\:RXOG\RXKDYHDQ\WH[WRUHPDLOV              $<HVVRPHWLPHR
                                                                            $ <HVVRPHWLPHR FORFNLQWKH
 RUDQ\WKLQJWRVKRZZKHQ\RXILUVWNQHZDERXWZKHQ                DIWHUQRRQR FORFN
 WKHKXUULFDQHZDVFRPLQJ"                                         4$QGZDWHUHQWHUHG\RXUKRPHDIWHU\RX
 $1R                                                    HYDFXDWHG"
                                                          3DJH                                                           3DJH
  42ND\:KHQ\RXKHDUGWKDW+DUYH\ZDV                   $7KDW VULJKW
  FRPLQJGLG\RXSUHSDUHLQDQ\ZD\"                                4'R\RXKDYHDQHVWLPDWHDVWRZKHQWKH
  $1R                                                     ZDWHUHQWHUHG\RXUKRPH"
  42ND\'LG\RXEULQJLQVDQGEDJVDWDOO"                $1R
  $1R                                                     42ND\:KHUH G\RXJRZKHQ\RXZHUH
  4'LG\RXPRYHDQ\SHUVRQDOSURSHUW\                      HYDFXDWHG"
  XSVWDLUV"                                                          $7RP\GDXJKWHU VKRXVH
  $1R                                                     4:KHUHGRHVVKHOLYH"
  4'LG\RXHOHYDWHDQ\RI\RXUSURSHUW\RU                 $6KHOLYHVLQ)DLUILHOGZKLFKLVDW
 PRYHLWWRKLJKHUJURXQG"                                         DQGWKH*UDQG3DUNZD\
 $1R                                                    4$QGGLGVKHJHWDQ\IORRGLQJ"
 4'LG\RXH[SHFWDQ\IORRGLQJ"                           $1R
 $1R                                                    42ND\$QGKRZORQJGLG\RXVWD\WKHUH
 4:K\QRW"                                               IRU"
 $,WZDVMXVWDVWRUPOLNHDORWRIRWKHU                $:HOOZHP\ZLIHVWD\HGWKHUHXQWLO
 VWRUPV                                                           SUREDEO\\RXNQRZWKURXJKWKHEHWWHUSDUWRI
 42ND\'LG\RXSODQWRHYDFXDWHDWDOO"                2FWREHURU1RYHPEHU,FDPHEDFNWRWKHKRXVHD
 $1R                                                    FRXSOHRIZHHNVODWHUDQGOLYHGXSVWDLUVWR\RX
 4'LG\RXHYDFXDWHDWDQ\SRLQW"                         NQRZPDQDJHWKHUHSDLUVDQGUHFRYHU\
 $:HGLGRQWKHWK                                    42ND\:KHQ\RXILUVWZKHQGLG\RX
 4:K\GLG\RXHYDFXDWHRQWKHWK"                      ILUVWUHWXUQWR\RXUKRPHDIWHU+DUYH\"
 $:HOOWKHZDWHUZDVJHWWLQJKLJKHUWRWKH              $6RZHFDPHEDFNWKHVW,JXHVV,W
 SRLQWZKHUHZHLIZHZHUHJRLQJWRJHWRXWDW                  ZRXOGEHD7KXUVGD\WKHVW
 DOOZHKDGWRJHWRXWSUREDEO\WRZDUGWKHODWWHU                 4'R\RXUHFDOOZKDWWLPH"
 SDUWRIWKDWDIWHUQRRQEHFDXVHWKHHQWU\ZD\WRRXU               $3UREDEO\PLGPRUQLQJPD\EHR FORFN

                                                                                                              3DJHV
                                        ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                                                                                                                      A968
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                                      3KLOOLS$]DU                     -XO\

                                                                    Page 1

1            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2      IN RE UPSTREAM ADDICKS              )
       AND BARKER (TEXAS)                  )
3      FLOOD-CONTROL RESERVOIRS            )
                                           )   Sub-Master Docket No
4      ________________________            )   17-cv-9002L
       THIS DOCUMENT RELATES TO
5      ALL DOWNSTREAM CASES                )
6
7                  --------------------------------------
                                 ORAL DEPOSITION OF
8
                                    PHILLIP AZAR
9
                                    JULY 9, 2018
10                --------------------------------------
11
12                 ORAL DEPOSITION OF PHILLIP AZAR, produced as a
13     witness at the instance of the United States, and duly
14     sworn, was taken in the above-styled and numbered cause
15     on the 9th day of July, 2018, from 9:02 a.m. to
16     5:03 p.m., before Morgan Veletzuy, CSR in and for the
17     State of Texas, recorded by machine shorthand, at Kirby
18     Mansion, 2000 Smith Street, Suite 550, Houston, Texas
19     77002, pursuant to the Federal Rules of Civil Procedure
20     and the provisions stated on the record or attached
21     hereto; that the deposition shall be read and signed
22     before any notary public.
23
24
25

                              ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                       
                                                                                      A969
     Case 1:17-cv-09002-LAS       Document 266-2 Filed 01/10/23     Page 520 of 1584
                                        3KLOOLS$]DU                       -XO\

                                                                     Page 113

1      know.        I have no knowledge of it prior to this

2      deposition or prior to Harvey, I guess.

3              Q.     Do you understand that water was released from

4      those structures during the Harvey storm?

5              A.     I don't have any personal knowledge of it, but

6      it was all over the paper, everything I read.                 So other

7      than the news and everything, I don't have any personal

8      knowledge of it.

9              Q.     But from reading the news, you understand that

10     that occurred?

11             A.     Yes, sir.    That's what I heard, anyway.

12             Q.     Did your home begin -- did your Magnolia Bend

13     home begin to flood prior to when it was publicized that

14     there were releases of water from the dams?

15             A.     I have no idea.     Unless you give me some kind

16     of dates and times, I don't know.             All I know is I don't

17     remember all that time period back then.                 I'm not trying

18     to evade my answer.          I'm just telling you it rose --

19     there was one time we went down there, if I may add,

20     with the abatement people.           I had to get my abatement

21     people down there.          Because I wanted -- you know, after

22     a week or so, I wanted to get that stuff out of there

23     because mold would start growing.             And it was a sunny

24     day and the water rose.           We couldn't even get in.

25                         I mean, I drove all the way over there, all

                              ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                       
                                                                                          A970
     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23    Page 521 of 1584
                                      3KLOOLS$]DU                      -XO\

                                                                    Page 114

1      of us did, and we couldn't get in.             I think the

2      insurance girl that was there at the time -- I'll think

3      of the insurance company in a second -- she went in the

4      back door through the hill.           She had boots on.      But I

5      couldn't get in there.          And it was prior to my -- I

6      wasn't walking real good.           It was prior to my

7      transplant.

8              Q.     Do you think your home at Magnolia Bend began

9      to flood on August 25th?

10             A.     The home or the flooding?       Because I don't

11     think it flooded until later.

12             Q.     Do you think the Magnolia Bend home began to

13     flood on August 26th?

14             A.     I don't remember the dates.        It may have been.

15     If I could refer to some documents because I know I did

16     some documents with the flood people.              And I put down

17     between the 25th and 27th, it started flooding in the

18     area.        I think that's what I put down.

19             Q.     Okay.

20             A.     But the flood that really happened, I believe,

21     was when it covered all of my family's cars that were up

22     at the stop sign.         When I say "stop sign," you know,

23     we're at kind of a down area and then up on a hill, it's

24     on Voss.        And they were totally covered, all of them.

25             Q.     How many cars did your family park at that stop

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                                                                   Page 150

1      just me, but for her, for everybody.              Everybody was

2      pushed around.

3                          But, you know, we were getting kind of

4      toward our end of our rope, and she finally got out

5      there.     And she said she's leaving unless I sign

6      something.     This is what I was telling you, I signed as

7      to form to allow an inspection, I think I wrote there.

8      That's all.     That's all I'm saying.

9            Q.    Okay.     And when you say "she," you mean

10     Ms. Stout?

11           A.    Ms. Stout and her family.

12           Q.    And finally, Mr. Azar, if you could turn to the

13     very last page of the document, which is Bates-stamped

14     FEMA 069691.

15           A.    Yes, sir.

16           Q.    Do you recognize what -- what this is?

17           A.    Yeah.     I filled it out.       I remember doing it

18     wrong.     I put down, instead of 2015, 1915.            I wasn't

19     even around then.         He was.    Jack was but I wasn't.

20           Q.    What -- what is this page, Mr. Azar?

21           A.    I'm sorry.      It's a flood field survey.        I think

22     she wanted me to fill it out right there and then.                  I

23     mean, she didn't give me much time to do anything.                  I

24     think she even helped me fill it out.              I think that's

25     why it's mistaken.         But I put in there when the flood

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1      started on 8/25, again, when it -- that tree came down,

2      and 26.

3                       "What date, time did floodwaters enter your

4      risk?"     And I put down 8/25 and 8/26.           It flooded -- I

5      mean, it entered, you know, probably the garage and

6      stuff.     But I mean, it didn't fill up the whole first

7      floor until the 28th.          I mean, and when I say filled it

8      up, it filled it up.         I've had inches, but never a whole

9      floor, never.

10           Q.    So Question No. 9 on this flood field survey

11     is:   "Approximately how far is this water from the risk

12     of the home?"     And it's referring to the previous

13     question where you had said Buffalo Bayou is the nearest

14     body of water to your home.           Your answer there was -- it

15     looks like 25 to 50 feet.

16           A.    It may be less.        It may be more.       I don't know

17     that much about foot or yards as far as measurement.                  I

18     did not measure it.         I didn't walk it off.         But I do

19     know it's pretty close to the bayou.              And it depends.

20     The bank, the high bank is probably -- you know, from

21     the nearest corner, going to the -- from the house to

22     the bank, it's probably 25.           Other parts are probably

23     50 feet.

24                      It doesn't make any difference.             The whole

25     place flooded.     There was more water on the nonbayou

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23    Page 524 of 1584
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1      When I say this, the last page of the document, 9691.

2            Q.    So on September 11th, 2017, you filled out this

3      flood field survey, which is Bates-stamped FEMA 069691.

4      And in answering the question about what date and time

5      did the floodwaters enter your risk, you answered

6      August 25th and 26th, 2017.

7                          Do you think that your recollection on 9/11

8      when you filled out this form was correct?

9            A.    Yeah.

10                         MR. ROBERTS:     Objection; vague.

11           A.    When the water came in, it came in the garage

12     first and then it came into the first floor.              But it may

13     have been a week later before it filled up the whole

14     house.     We could get in and house on the 25th and 26th.

15                         In fact, it's pretty self-explanatory.          If

16     you look at the first document, which was signed a day

17     before, we were standing on -- in the property and there

18     was no water at all.         But the day before, there was

19     water -- no, I'm sorry.          Three days before, there was no

20     water and she came over.           And then she said she couldn't

21     get in, so she left after I came over.              And it was.

22     She's right.        Water came back in.       It was gone, and then

23     it came back in.

24                         But getting back to your question, on 8/25

25     and 8/26, that's when the water started coming in.                And

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     Case 1:17-cv-09002-LAS      Document 266-2 Filed 01/10/23        Page 525 of 1584
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1      when the water flooded it really bad, up to the -- that

2      line we talked about earlier.             It was probably on the

3      28th or 29th.          And I know that from looking at other

4      reports in other papers.

5              Q.     (BY MR. LEVINE)      Which other reports and papers

6      are you referring to?

7              A.     Oh, you know, in The Chronicle and stuff,

8      things on TV or YouTube.            That's when the releases were

9      done.        I believe the release was done either on the 27th

10     or 28th or maybe sooner.            I'm not sure.         But it was

11     right after, I guess, the releases, according to

12     The Chronicle, that all of Buffalo Bayou including --

13     what do you call it -- the Harris County district

14     criminal courts got flooded too, again.

15             Q.     But you're -- you're basing that off what you

16     saw in the news; is that correct?

17             A.     That's the only thing I've got to base it off

18     of.     I mean, I was absolutely not there.                I was -- we

19     were down here.          After it got flooded, we came here.

20             Q.     And when you say here, you mean Kirby Mansion?

21             A.     Kirby Mansion, yes, sir.

22             Q.     Okay.

23             A.     And that was probably -- if they found my car

24     on the 30th, then we came down -- we got out of there

25     either on the 28th or 29th when the water went sky high

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23        Page 526 of 1584
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1      real quick.    I mean, I went over there.                I could not

2      believe it when I got on the -- I could not believe I

3      couldn't even get there.

4            Q.   One other question about this particular page,

5      the FEMA 069691.        Question No. 13 asked:            "Have you,

6      since you owned this property, done any kind of major

7      improvements?"

8                       You circled the answer "Yes."               And then the

9      following line says:         "If yes, explain."

10                      And your response was "Just cosmetic."

11                      Can you describe for me what the cosmetic

12     major improvements were to the home since you had owned

13     it?

14           A.   We replaced windows, huge windows.                We painted

15     the place.    I'm sure we did other things.                I just don't

16     remember offhand.         But, you know, cosmetic stuff.            You

17     know, paint the inside, paint the outside.                  I know we

18     painted the outside three or four times.                  And I know my

19     brother Mike fixed several, if not all, the windows;

20     just about every one that busted, the seals broke.                     And

21     I forget the name of the company, but they came down and

22     brought us the windows.

23           Q.   Is -- is it fair to say --

24           A.   Excuse me.       We repaired other things, too,

25     after those floods downstairs.            We repaired -- I know we

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23     Page 527 of 1584
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1      repaired the controls one time behind the -- and the hot

2      tub and all of the controls, including the steam room --

3      the hot steam room, the sauna, shower.              I mean, that was

4      after they paid us for those floods.

5            Q.    Did you ever make any structural improvements

6      to the home?

7            A.    No, sir.

8            Q.    Okay.    Did you ever do any considerable

9      remodeling since when you purchased the home in 1990?

10           A.    No, sir.      We just cleaned up what was already

11     there.     I don't know, structural remodeling, to me, is

12     those windows.       That's probably the biggest thing we

13     ever did was those windows.           They're huge.      Oh, and I'm

14     sorry, and the roof.         It was damaged a couple of times.

15           Q.    When you say the roof was damaged a couple of

16     times, on what occasions was the roof damaged?

17           A.    I don't remember which occasion, but I know

18     that we got hit with some tornados.             It's pretty -- it's

19     public record.       The tornados touched down, down there.

20     It was in The Chronicle or maybe a paper out that way.

21     My building was in there too.            My -- the 3 Magnolia Bend

22     was in there.       Yeah, I know they were up there twice on

23     the roof fixing it.

24           Q.    Had -- during the time that you owned the home,

25     had you ever replaced the entire roof?

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·3· · · ·IN THE UNITED STATES COURT OF FEDERAL CLAIMS

·4
· · IN RE DOWNSTREAM ADDICKS· · *
·5· AND BARKER (TEXAS)· · · · · * SUB-MASTER DOCKET
· · FLOOD-CONTROL RESERVOIRS· · * NO. 17-cv-9002L
·6· · · · · · · · · · · · · · · *
· · ___________________________ *
·7· · · · · · · · · · · · · · · *
· · THIS DOCUMENT RELATES TO:· ·*
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· · ALL TEST PROPERTIES· · · · ·*
·9

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12
· · · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
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17· Date· · · · · · · · · ·Edith A. Boggs, CSR

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19· 9-18-18· · · · · · · · HOUSTON, TEXAS

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·8· · · · · · · DEPOSITION OF JANA CANAN BEYOGLU
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11· · · ·DEPOSITION AND ANSWERS of JANA CANAN BEYOGLU, taken
12· before Edith A. Boggs, a certified shorthand reporter in
13· Harris County for the State of Texas, taken at the law
14· offices of Neel, Hooper & Banes, PC, 1800 West Loop
15· South, Suite 1750, Houston, Texas, on the 18th day of
16· September, 2018, between the hours of 1:49 p.m. and 5:06
17· p.m.
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·1· · · ·Q.· Okay.· So, we talked about tax day.· What about
·2· Memorial Day flood, are you aware of --
·3· · · ·A.· All I know is the tax day and Memorial Day, I
·4· have a friend in Memorial -- I mean, in Meyerland area
·5· that they flooded, not in my neighborhood anybody.· That
·6· I don't recall.
·7· · · ·Q.· So, were you ever concerned that your house
·8· would flood?
·9· · · ·A.· Not at all.
10· · · ·Q.· Were you -- did you ever subscribe to like any
11· flooding alert service in order to know whether there is
12· a flood in your area?
13· · · ·A.· Would you rephrase?· I'm sorry, I was thinking
14· something else while you were -- yeah.
15· · · ·Q.· If you've subscribe at any point for the 20
16· plus years that you've been here in Houston -- 28 years
17· to a national flood alert -- or actually, local or
18· national flood alert system that lets you know when
19· there might be flooding in your area?
20· · · ·A.· Even -- no, never in my area.· I mean, flood
21· warnings or something that I get from my phone but
22· that's all.· There is no -- there is no alert that we
23· have to leave the house.· There's no alert of other
24· things.· Nothing.
25· · · ·Q.· How did you get the system in your phone?


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·1· They knocked the door.
·2· · · · · · · · So, I let them come in because they said
·3· they flooded, so, they want to come in.· And they stayed
·4· in my house, and then we all were rescued on 27th.
·5· · · ·Q.· So, on the 26th -- so, the street had already
·6· flooded and that's the reason why the lady --
·7· · · ·A.· Yes, this street right here was flooded right
·8· here.· And water wasn't even that much here.· It wasn't
·9· too high but it was -- they said it was an elderly lady.
10· So, when her car came in -- actually, I would be able to
11· see the car.· I mean, it wasn't too high or anything but
12· they said that she panicked or something.· So, she drown
13· herself.· It was an elderly -- they said 80 something
14· years old.· Her son was around and crying.· It was a
15· very bad night that night.· So, I guess any other person
16· could have been fine coming out from the water but they
17· said that she was probably panicked.
18· · · ·Q.· Okay.
19· · · ·A.· So, it wasn't on the street or anything.· It
20· was just right here in the corner, right here.
21· · · ·Q.· The corner of Gessner Road and Warrenton Drive?
22· · · ·A.· Uh-huh.
23· · · ·Q.· So, you said that your neighbors spent the
24· night at your place?
25· · · ·A.· After 3:00 or 4:00 a.m. in the morning, they


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1             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2       IN RE UPSTREAM ADDICKS              )
        AND BARKER (TEXAS)                  )
3       FLOOD-CONTROL RESERVOIRS            )
                                            )   Sub-Master Docket No
4       ________________________            )   17-cv-9002L
        THIS DOCUMENT RELATES TO            )
5       ALL DOWNSTREAM CASES                )
6
7                   --------------------------------------
                                  ORAL DEPOSITION OF
8
                                       DANA CUTTS
9
                                      JUNE 27, 2018
10                 --------------------------------------
11
12                  ORAL DEPOSITION OF DANA CUTTS, produced as a
13      witness at the instance of the United States, and duly
14      sworn, was taken in the above-styled and numbered cause
15      on the 27th day of June, 2018, from 9:07 a.m. to
16      2:55 p.m., before Morgan Veletzuy, CSR in and for the
17      State of Texas, recorded by machine shorthand, at the
18      offices of McGehee, Chang, Landgraf, 10370 Richmond
19      Avenue, Suite 1300, Houston, Texas 77042, pursuant to
20      the Federal Rules of Civil Procedure and the provisions
21      stated on the record or attached hereto; that the
22      deposition shall be read and signed before any notary
23      public.
24
25

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23        Page 533 of 1584
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                                                                        Page 11

1       house.    Also the pictures I took just before the flood

2       and during the flood.          I did a lot of crying as I did

3       that.    I started having sleep disturbances again when I

4       did that and other disturbances to remember the feeling

5       of despair and hopelessness that occurred when we were

6       getting no direction from anyone and not knowing what we

7       were supposed to do.

8                        I remember the joy when I realized that we

9       did not flood from Harvey, that the storm had ended and

10      the water was receding.           And I felt very happy to see

11      those pictures.        And then I looked again at the pictures

12      as the water started coming back up on the 29th of

13      August, as the water started coming back into our yard

14      under clear skies and remembering and thinking back

15      again that what is happening, what could be happening,

16      when we clearly made it through the storm.

17                       Going to -- trying to go to bed that night

18      and not being able to sleep.            Getting up at 1:30 in the

19      morning on Wednesday, August the 30th.                  Going out to my

20      front door with a pillowcase, a shovel, and garden soil

21      to sandbag my front door.           Watching four young men troll

22      down the middle of Blue Willow in waders up to their

23      chest with canoes and rafts and calling out to them.

24      And one of them coming over to me and telling me it was

25      hopeless to sandbag the front door because the water

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23        Page 534 of 1584
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1       would come in the weep holes.            Remembering that I

2       invited them into the kitchen to have coffee, total

3       stranger.     He gave me his contact information for when

4       we would flood and we would need to be rescued.                   I

5       thanked him because I told him calling 311 would have

6       been counterproductive.           They were totally inundated

7       with calls.     Went back to bed, didn't sleep.               Got up

8       about 3:00 o'clock, 4:00 o'clock in the morning and

9       stepped into water.

10                       And all of those horrible images and events

11      came back to my mind.          And I was devastated once again

12      that the government had taken our property.                  But they

13      had taken it.     I had no idea why, why this happened at

14      the time; but it happened.           And my mantra through this

15      whole event of the whole process was it is what it is.

16      I have to deal with what I'm given.              And that's all I

17      did, and that is how I prepared.

18                       I also prepared by talking with my husband

19      and my daughter.         Talking about the events, they

20      remembered some things that I did not because, quite

21      frankly, it was a blank in many cases.                  Sometimes you

22      blank out things that don't -- that you just simply

23      cannot remember.

24                       So we talked about it.           And, yes, things

25      happened.     I started an event diary at that time, at the

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23      Page 535 of 1584
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                                                                      Page 1

1         IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
          IN RE DOWNSTREAM                            : Sub-Master Docket
3         ADDICKS AND BARKER                          : No. 17-cv-9002L
          (TEXAS) FLOOD-CONTROL                       :
4         RESERVOIRS                                  : Judge Susan G.
                                                      : Braden
5                                                     :
          THIS DOCUMENT RELATES                       :
6         TO:                                         :
          ALL TEST PROPERTIES                         :
7
8                                         *       *       *
9                    MONDAY, SEPTEMBER 17, 2018
10                                        *       *       *
11
12                 Oral deposition of INGA GODEJORD taken
13      at the law offices of Neel, Hooper & Banes,
14      P.C. 1800 West Loop South, Suite 1750,
15      Houston, Texas, commencing at 1:01 p.m.
16      before Debbie Leonard, Registered Diplomate
17      Reporter, Certified Realtime Reporter.
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23                                    *       *       *
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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 536 of 1584
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1                  Q.           And when you were looking at

2       homes in the Houston area, did you have any

3       understanding of potential flood risks in

4       different areas of Houston?

5                  A.           No, not at all, nothing.

6                  Q.           And did potential for flooding

7       come up at all with regard to your

8       consideration of the property that you

9       purchased?

10                 A.           No.

11                 Q.           Had you looked into whether the

12      property had flooded before, before you made

13      the purchase?

14                 A.           No.    But, actually -- no, not

15      before.

16                 Q.           And before you made the

17      purchase of the property, had you ever heard

18      of the Addicks Reservoir and the Barker

19      Reservoir?

20                 A.           (Moving head side to side.)

21                              No.

22                 Q.           Could you say that --

23                 A.           No.

24                 Q.           -- for the court reporter?

25                 A.           No.

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 537 of 1584
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1                  Q.           At the time that you purchased

2       the house, did you know about the park that

3       was there?

4                  A.           I think I knew.

5                  Q.           Was that part of your

6       consideration in buying the home?

7                  A.           I do not recall.

8                  Q.           So, now, turning to the period

9       during Hurricane Harvey, were you in Houston

10      during Hurricane Harvey?

11                 A.           No, I wasn't.

12                 Q.           Where were you?

13                 A.           I was in Canada.

14                 Q.           And when did -- when did you

15      hear about Hurricane Harvey while you were in

16      Canada?         Or did you hear about Hurricane

17      Harvey while you were in Canada prior to your

18      house flooding?

19                 A.           I heard about Harvey before I

20      left to Canada because it was announced, I

21      mean, on TV, on radio, yes.

22                 Q.           When -- how did -- well, when

23      did you hear that there was going to be a

24      possibility that your -- your house itself

25      would flood?

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                                                                  Page 18

1                  A.           The possibility?           I never heard

2       about the possibility the house would --

3       would flood.

4                  Q.           Did you -- was there anyone

5       else at your -- staying at your house while

6       you were in Canada?

7                  A.           My son was there.

8                  Q.           Did you have any communications

9       with your son about Hurricane Harvey while

10      you were in Canada?

11                 A.           Yes.

12                 Q.           What type of communications?

13      And I -- by that I mean, did you talk on the

14      phone?      Did you text message, e-mail?

15                 A.           Phone, e-mail, text, Skype.

16                 Q.           And did you provide your

17      attorneys with any of the text messages or

18      e-mails, those type of written

19      communications?

20                 A.           Yes, e-mails.          I do not recall

21      that we provided text messages.

22                 Q.           Do you know if you still have

23      those text messages?

24                 A.           I'm afraid I'm -- I don't have

25      them.      I got a new phone.

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                                                                  Page 20

1       furniture?

2                  A.           No.

3                  Q.           Do you -- did your son

4       communicate with you and tell you when he was

5       leaving the house?

6                  A.           Yes, he did.

7                  Q.           And what did he say?

8                  A.           He said that he's going to

9       leave the house, and it was August 28 when he

10      said that.

11                 Q.           And could you -- did he explain

12      to you why he was leaving?

13                 A.           Not really.         He just made a

14      decision, and he left.

15                 Q.           Did he tell you if he saw any

16      water in the house at the time that he left?

17                 A.           No.    He said that we are 3 feet

18      clear.      That was his last observation before

19      he left.

20                 Q.           I'm going to show you some

21      photographs.            If you could look at Exhibit

22      Number 2.

23                              (Previously marked

24                 Exhibit Godejord-2 was referred to the

25                 witness.)

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                                                                   Page 21

1                               THE WITNESS:          Yeah.

2        BY MS. HELD:

3                  Q.           Do you recognize these

4        photographs?

5                  A.           Uh-huh.

6                               MR. BANES:         Is that a "yes"?

7                               THE WITNESS:          Yes.      Sorry.

8        BY MS. HELD:

9                  Q.           Do you know who took these

10       photographs?

11                 A.           Yes, I know.

12                 Q.           You know --

13                 A.           My son.

14                 Q.           -- who took these photographs?

15                 A.           My son.

16                 Q.           And how did he provide these

17       photographs to you?

18                 A.           He Skyped them, via Skype.

19                 Q.           And when did he take these

20       photographs?

21                 A.           I would say the first -- first

22       five photographs he took around August 31st.

23       And the last four, September the 4th he got

24       into house, yeah.

25                 Q.           And during that time, were you

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1                  Q.           And do you recognize these

2        photographs?

3                  A.           Uh-huh, yeah.

4                  Q.           Do you know who took those --

5        these photographs?

6                  A.           Yes.

7                  Q.           Who took them?

8                  A.           Our next-door neighbors,

9        Stackhouses.

10                 Q.           And how did they provide these

11       photographs to you?

12                 A.           Via e-mail.

13                 Q.           So do you know the dates of

14       these photographs, when they were taken,

15       approximately?

16                 A.           Approximately, yes.             The first

17       two, probably August 25th, I would say.                        The

18       next five, August 28th.                  And the last three,

19       I would guess August 29th.

20                 Q.           And the last two photographs,

21       are they of your home?

22                 A.           Uh-huh.

23                              MR. BANES:         Is that a "yes,"

24                 ma'am?

25                              THE WITNESS:          Yes, ma'am.       I'm

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1                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2           IN RE UPSTREAM ADDICKS       §

            AND BARKER (TEXAS)           §

3           FLOOD-CONTROL RESERVOIRS     § SUB-MASTER DOCKET

4

                                         § NO. 17-cv-9002L

5           _________________________ §

                                         § Chief Judge Susan G. Braden

6           THIS DOCUMENT RELATES TO: §

7           ALL DOWNSTREAM CASES         §

8           __________________________§

9                                 ORAL DEPOSITION

10                               MR. JEREMY E. GOOD

11                                 July 19, 2018

12

13               ORAL DEPOSITION OF MR. JEREMY E. GOOD, produced

14          as a witness at the instance of the United States and

15          duly sworn, was taken in the above-styled and

16          numbered cause on the 19th day of July, 2018, from

17               a.m. to 12:23 p.m., before Michelle Hartman,            9:00

18          Certified Shorthand Reporter in and for the State of

19          Texas and Registered Professional Reporter, reported

20          by computerized stenotype machine at the offices of

21          Raizner Slania, LLP, 2402 Dunlavy Street, Houston,

22          Texas 77006, pursuant to the Federal Rules of Civil

23          Procedure and the provisions stated on the record or

24

25          attached hereto.

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                                                                     Page 31

1      to happen.        Sunday, the storm came, the water started

2      to rise up in our subdivision making the roads

3      impassable through I think Wednesday of the following

4      week is when we were able to eventually get out of my

5      neighborhood.

6                           I would have to go back and check for

7      sure, but that's my basic recollection.                    The storm --

8                   Q.     Let me stop you there.

9                   A.     Yes.

10                  Q.     Let me just put a couple of dates on

11     this.

12                  A.     Thank you.

13                  Q.     August 26th would be a Saturday.               Is

14     that --

15                  A.     I believe so.        Can I check a calendar?

16                          MR. WICKERT:        (Indicates).

17                          THE WITNESS:        Yes, that's correct.

18                  Q. (BY MR. DAIN)           Okay.    So just to --

19     again, I just wanted to put some dates on it --

20                  A.     Absolutely.

21                  Q.     -- so it helps the record.

22                          So I think we're into your discussion

23     of August 27th?

24                  A.     Sure.     So Sunday, August 27th, it's

25     still raining but not as significant.                    It seems that

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1      we were watching the waterline at the house hoping

2      that it doesn't come up any further.                     We had about

3      20 feet or so before it came to the front door, which

4      was significant for our neighborhood.

5                         And then at that point, the rain

6      started to slow down.            The water did not continue to

7      rise there in our particular neighborhood, and Monday

8      was the first time the sun came out.                     I remember the

9      day well when the sun came out and that was a good

10     thing for our neighborhood.

11                        At that point I was coming out of my

12     tunnel vision of what was going on there.                     We started

13     to look around and we thought about 760.                     I wanted to

14     check in on the tenants to make sure that they were

15     doing okay; that the building was doing okay.

16                        I had also been watching -- there

17     were -- someone had alerted me to some sensors that

18     were along the Buffalo Bayou that had flood stages

19     and I was watching those to see had the water risen

20     there, and everything at that point was very -- it

21     was looking very good.

22                        The other thing we were watching, too,

23     as well is the Brazos River.               We had friends that

24     were on the other side of the Brazos and we were

25     concerned with them.            Obviously everyone was trying

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1      to check in with everybody, all the friends and

2      family and neighbors and everything else; but at that

3      point, I started sending messages out to tenants to

4      see what was going on, if everybody was okay, how the

5      building was doing, is the roof okay, all of these

6      general-type inquiries.

7                   Q.   Okay.       Let me stop you here --

8                   A.   Yes.

9                   Q.   -- and let's just talk about the

10     communications you had from the period with anybody

11     over at the Memorial Mews area from the period of

12     August 26th through August 28.

13                  A.   Yes.

14                  Q.   Okay.       From the period of August 26

15     through August 28, did you have any conversations

16     with any of the tenants from Unit A?

17                  A.   Yes.

18                  Q.   Okay.       And that was -- was it -- which

19     one -- which of the tenants?

20                  A.   I would have to go back and check.

21                        There was various phone calls and

22     texts that were going on at that point and I think

23     that we submitted the records of exactly when those

24     messages happened, but some phone calls as well,

25     just, "Hey, how are you doing, is everything okay?"

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1      And I don't have an exact recollection of when those

2      conversations happened.

3                   Q.   That's fine.          But during this period --

4      so during this period of August 26th through

5      August 28th, did you have any contact with the

6      tenants from Unit B?

7                   A.   No, I did not.

8                   Q.   During this period -- do you know why?

9      Were they there?

10                  A.   They were not there in the unit at that

11     time.

12                  Q.   Just were they -- but they were the

13     tenants at that point?

14                  A.   They were the tenants at that point,

15     yes.

16                  Q.   Do you know where they were?

17                  A.   I do not.

18                  Q.   During August 26th through August 28th,

19     did you have any communications with the tenants of

20     Unit C?

21                  A.   Yes.

22                  Q.   And who, which of the tenants?

23                  A.   Both.       Both Pedro -- I call him

24     "David."     So David and his wife, Maricella, and on

25     the text messages you'll see him reflected as "David"

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1      and "David."      I have their phone number saved as

2      David's name.      So it has Marcella's cell and his cell

3      as well.

4                   Q.   And during the period of August 26th

5      through August 28th, did you have any communications

6      with the tenant of the unit, D?

7                   A.   Yes.

8                   Q.   And which ones?

9                   A.   Elizabeth.

10                  Q.   And what was your -- what did they tell

11     you about the condition of the -- of your property up

12     through August 28?

13                  A.   Up through August 28th, things were

14     okay.    There was accessed still.              They were able to

15     get in and out.          They were all still there, with the

16     exception of Unit B.            And so any reports that they

17     had was the building was fine.               I was obviously

18     concerned about them but obviously very concerned

19     about the building as well, which we had an

20     investment in.         The building was fine, there were no

21     structural problems, and that everything seemed to be

22     okay.

23                  Q.   And at that -- were you ever -- what

24     was your first understanding of when the waters of

25     the stream that goes through the park overflowed its

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1      banks?

2                   A.   I was aware of the Addicks release

3      sometime on Monday, August 28th.                I don't recall

4      exactly when during the day, but that did trigger a

5      memory of mine over an understanding of mine -- a

6      realization, rather, is the best word to use that

7      this was right next to where our property is and that

8      this could possibly cause issues.                Not knowing

9      exactly again what was -- what was happening.                  The

10     extent of the release and all of the other details

11     were all coming at a very slow, slow basis.                 I just

12     had no understanding exactly what we were getting

13     into.

14                  Q.   Did you ever have any understanding as

15     to whether the stream in the park overflowed its

16     banks before any releases from the Addicks Dam had

17     begun?

18                  A.   I have never been aware of any

19     overflowing of those banks.

20                  Q.   And when was the first time you had a

21     conversation with some -- a conversation or -- well,

22     let me -- let me go with "conversation" since we have

23     some of the texts.

24                  A.   Yes.

25                  Q.   What is the first conversation you

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1      had -- you can recall having with one of your tenants

2      relating to whether the water was overflowing the

3      banks?

4                   A.   The conversation that I had -- that I

5      recall knowing that there was an issue with was with

6      Unit C.     I believe -- and I would have to go back to

7      see what we submitted, but I believe that when they

8      stated that the water was coming up to the stairs,

9      and they have got two steps into their house, that is

10     the Unit C in the back on the floor, at that point I

11     became concerned about that, knowing what we had

12     heard, reports that the Addicks was still releasing,

13     they were still releasing water.

14                        So that was when I first became aware

15     of it, sometime on August of 28th.

16                  Q.   And was that a telephone conversation?

17                  A.   I believe that that was a text message.

18     I believe that that was what we had submitted

19     yesterday.

20                        (Discussion off record)

21                               (Exhibit 6 marked)

22                  Q.   (BY MR. DAIN)          All right.      Handing you

23     what's been marked Good Exhibit Number 6.

24                        Do you see that?

25                  A.   Yes.

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1                   Q.   Now, this is an e-mail string --

2                   A.   Text message.

3                   Q.   Text message string, thank you --

4      that's the "David and David" on the top of the first

5      page.    Do you see that?

6                   A.   Yes.

7                   Q.   Can you tell -- this document was one

8      of the documents that was produced yesterday?

9                   A.   Yes.

10                  Q.   Can you tell me what this document is?

11                  A.   This is a text history between myself

12     and the tenants in Unit C, Pedro and Maricella.                   The

13     reason it says "David and David" up top, again Pedro

14     goes by "David" and I have both he and his wife's

15     number saved under David's contact.

16                        So one is Marcella's phone number and

17     one is David's phone number and this is a group text

18     message that I had sent to them.                It appears it's

19     7:24 on Monday, August -- 7:24 a.m., Monday,

20     August 28th checking in with them:                 "How are you guys

21     doing at the place?"

22                  Q.   And is that the first time you became

23     aware that any water had inundated -- that any water

24     had overflown the banks of the creek?

25                  A.   Yes, when one of them replied, "We're

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1      wanting to leave but we can't yet.                 Water is at the

2      top of our last step."

3                   Q.   And prior to that text, had you heard

4      from any of your tenants about -- about the water

5      level rising on the property?

6                   A.   To my recollection, no.

7                   Q.   Other than your tenants, were you in

8      contact with any other people, other Memorial Mews --

9      other owners or anybody else?

10                  A.   Not at that point, no.

11                  Q.   And outside that text, do you have any

12     understanding as you sit here today about when the

13     water exceeded the banks at the creek?

14                  A.   No, I do not.

15                  Q.   Other than that text, do you have any

16     knowledge as you sit here today or understanding as

17     you sit here today about when the water first made it

18     onto the property at Memorial Mews?

19                  A.   No, I do not.

20                  Q.   What is your understanding of the date

21     and time when flood waters first entered the complex?

22                  A.   My first understanding would have been

23     Monday morning, August 24th -- excuse me, August 28th

24     at 7:24 when they replied back that the water was

25     there up to the last step.

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1                         I believe David's response there on --

2      still on the first page, "I woke up this morning at

3      2:30 and the water had risen drastically.                I luckily

4      moved my cars, but something told me not to leave my

5      family and now I know why, I can't leave my family

6      like this," and he goes on.

7                         I think that was a good -- that is

8      indicative of everyone's understanding of -- or, you

9      know, lack of understanding really of what was

10     happening at this point:             That the water was coming

11     in and was continuing to rise at such a rapid and

12     high rate.

13                  Q.   Now, I have received some of the other

14     texts and document production here.

15                        To avoid kind of trying to put them

16     all out here, do you recall during the 28th whether

17     you were getting any other communications about the

18     tenants, about their status?

19                  A.   I believe that I was in touch by

20     e-mail, e-mail with Unit A at that point, and at that

21     point I don't believe -- I may have called Elizabeth.

22     Elizabeth typically would call and we would talk that

23     way.     If there was any text message, that would also

24     happen, but it probably would have been a phone call

25     there.

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1            IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 2     IN RE UPSTREAM ADDICKS               )

       AND BARKER (TEXAS)                   )

 3     FLOOD-CONTROL RESERVOIRS             )   Sub-Master Docket No

 4     ________________________             )   17-cv-9002L

 5     THIS DOCUMENT RELATES TO             )

 6     ALL DOWNSTREAM CASES                 )

 7                 --------------------------------------

 8                                ORAL DEPOSITION OF

 9                                    WAYNE HOLLIS

10                                    JULY 19, 2018

11                --------------------------------------

12                 ORAL DEPOSITION OF WAYNE HOLLIS, produced as a

13     witness at the instance of the United States, and duly

14     sworn, was taken in the above-styled and numbered cause

15     on the 19th day of July, 2018, from 8:59 a.m. to

16     12:13 p.m., before Morgan Veletzuy, CSR in and for the

17     State of Texas, recorded by machine shorthand, at Clark,

18     Love & Hutson, G.P., 440 Louisiana Street, Suite 1600,

19     Houston, Texas 77002, pursuant to the Federal Rules of

20     Civil Procedure and the provisions stated on the record

21     or attached hereto; that the deposition shall be read

22     and signed before any notary public.

23

24

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 WKDWGUDLQDJHVZDOHDQGGLWFKLV                                   6RKDVWKDWVSDFHEHHQFRQYHUWHGIURP
 $2KFDWFKEDVLQKHUH$QGWKHQLWUXQVGRZQ               JDUDJHWROLYLQJVSDFH"
 WKHVLGHRIWKHKRXVHWRWKHVWUHHW                                $1R7KHIDPLO\ZHERXJKWLWIURPKDG,
 4$QGLVWKDWFRQFUHWHOLQHG"                                JXHVV\RX GFDOOLWWKHRULJLQDOPDQFDYH,WKDGD
 $<HV                                                       SRROWDEOHRXWWKHUHDQGDLUFRQGLWLRQ$QG,KDYHLQ
 4$QGGLGWKDWGLGWKDWSOXVWKHZRUN\RXGLG            P\UHEXLOGFRQYHUWHGLWEDFNWRDJDUDJHGRRUDQGD
 LQWKHEDFNRQWKH)UHQFKGRRUV\RXGHVFULEHGGRHV              SHUVRQQHOGRRUDQGLW VEDFNWRJDUDJH%XWZHQHYHU
 GRHVWKDWVROYHDQ\GUDLQDJHSUREOHPV\RXKDYHLQWKH               XVHGLWRWKHUWKDQVWRUDJHEXWWKH\KDGDSRROURRPRXW
 EDFN\DUG"                                                           WKHUH
 $<HV7KDWVWRSSHGWKHVHHSDJHEHFDXVHWKH\KDG            42ND\6RWKDW VWKDW VWKHUHEXLOGDIWHU
 DQHQFORVHGSDWLRDQGWKH\KDGQRJXWWHUVQRUWKLV               DIWHU+XUULFDQH+DUYH\"
 $QG,SXWWKLVLQLQ RU DQGVROYHGP\OLWWOH               $<HV
 ZDWHUKROGLQJSUREOHP                                              4$QGKDYH\RXKDGWRDGGDQ\RWKHUGUDLQDJH
 47KDW VWKDW VRXWVWDQGLQJWKDW\RX UHDEOH              IHDWXUHVWR\RXUURRIWRGHDOZLWKUDLQZDWHU"
 WRGRWKDW\RXUVHOIZLWK\RXUEDFNJURXQG                           $1RQRWKLQJRWKHUWKDQJXWWHUV
                                                            3DJH                                                                 3DJH
  $,KDGRQHRIP\ORFDOFRQWUDFWRUVGRLW,                 4$QGZKHUHRQWKHKRXVHGR\RXKDYHJXWWHUV"
  ODLGLWRXW                                                         $$FWXDOO\DOODURXQGWKHKRXVHQRZ:HKDYH
  42ND\$QGWKHQGR\RXKDYHDQ\RWKHU                       DORQJWKHEDFNKHUHDQGWKHQWKH\FRPHGRZQ$QG
  VXEVXUIDFHGUDLQDJHIHDWXUHVRQ\RXUSURSHUW\"                       WKHUHRQWKHWZRVWRU\WKHUHLVDJXWWHUDFURVV
  $7KHUH VDVXEVXUIDFHGUDLQWKDWJRHVLQWRWKH               KHUH$QGLWGUDLQVLQWRDGRZQVSRXWWKDWJRHVLQWR
  VWRUPVHZHUWKDWZDVWKHUHZKHQ,ERXJKWLWDQGLW V                WKLVFRQFUHWHOLQHGGLWFK$QGWKHUH VJXWWHUVDOOWKH
  VWLOOWKHUH                                                         ZD\DFURVVWKHSRUWHFRFKHUH:HIL[HGWKDWDQGLW
  4$QGZKHUHLVWKDWORFDWHG"                                  GUDLQVGRZQLQWRWKLV2QWKHZHVWVLGHLWGUDLQVLQWR
  $,W VLQWKHEDFNDOVR                                     WKHGULYHZD\DQGRQWKHHDVWVLGHLWKLWVWKHGUDLQDJH
 42ND\$QGWKDWGUDLQVLQWRWKHVWRUPVHZHU"               GLWFK
 $<HV                                                       46RWKDW,XQGHUVWDQGWKDWZKHQ,FRPHEDFNDQG
 4'R\RXKDYHDVXPSSXPSRUDQ\WKLQJDVVRFLDWHG             ORRNDWWKHSDSHUODWHU, PJRLQJWRJLYH\RXDQRUDQJH
 ZLWKWKDW"                                                          PDUNHUQRZ$QGLI\RXLI\RXFRXOGMXVWNLQGRI
 $1R1RSXPSVDOOJUDYLW\                                GUDZZKHUH\RXKDYHWKDWGUDLQDJHRIIWKHURRI$QG
 4&DQFDQ\RXPDUNMXVWZLWKDUHG;NLQGRI              WKHQLI\RXZDQWWRPDNHLWDQDUURZVRZHNQRZWKH
 WKHDSSUR[LPDWHORFDWLRQRIWKDWWKDWGUDLQ"                     GLUHFWLRQWKDWZLOOZRUN
 $5LJKWKHUHRQWKHSDWLR                                   $:H YHJRWJXWWHUVDOOWKHZD\DFURVVKHUHWKDW
 42ND\$QGLVWKDWHIIHFWLYHWRGUDLQZDWHURII            FRPHVRXW,WJRHVLQWRWKLVGLWFKLQWKHEDFN:H
 IURPWKHSDWLRDUHD"                                                KDYHJXWWHUVWKDWJRKHUHWKDWJRLQWRWKLVGULYHZD\
 $<HV                                                       :HSXWJXWWHUVRQWKHIURQWRIWKLVJDUDJHWKDWJRHVRXW
 4'XULQJWKHWLPH\RX YHRZQHGLWKDYH\RXHYHU             KHUH$QGWKHQZHOLQHGWKHSRUWHFRFKHUHDOOWKHZD\
 KDGDQ\ZDWHUEDFNXSIURPWKHWKHVWRUPVHZHUV"                 GRZQWKHKRXVHXSWRWKHZH YHJRWD
 $1R                                                        VHFRQGIORRUW\SHGHDO$QGWKHQJXWWHUVKHUHWKDWDOO
 4$QGWKHQGR\RXKDYHDQ\RWKHUGUDLQDJHDQ\               GXPSRQWRWKHGULYHZD\WRJRRXW
 GLWFKRUDQ\WKLQJRQWKHVLGHRI\RXUSURSHUW\ZKHUHWKH            4$QGWKHQDVWKHZDWHUIORZVGRZQWKHGULYHZD\

                                                                                                                    3DJHV
                                          ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
                                                                                                                                              A1004
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                                                        :D\QH+ROOLV                                               -XO\
                                                             3DJH                                                               3DJH
  GR\RXKDYHVHZHUGUDLQVIRUWKDWVWRUPZDWHUFORVHWR                 DVWKHZDWHUFDPHXSZHWUDFNHGWKHZDWHUXSVWDLUVDQG
  \RXUGULYHZD\V"                                                       WRRNZHWFORWKHVRXWRIWKHORZHUOHYHOVRIWKHFORVHW
  $:HZHKDYHDVWRUPLQOHWLQEHWZHHQWKH                   DQGSXWWKHPLQWKHUHDQGUXLQHGDOORIWKHFDUSHWLQ
  ILUVWKRXVHDQGWKHVHFRQGKRXVHRQWKHFRUQHULVZKHUH               WKHWKUHHURRPVWKHEHGURRPDQG
  WKHVWRUPLQWDNHLVWRWKHVWRUPVHZHU$QGWKHQJRLQJ               ,KDGVHYHUDOSHRSOHFRPHRYHUWRKHOSPH
  WRWKHZHVWDERXWIRXUKRXVHVGRZQLVWKHLQOHWWKHUH              DQGZHZHUHZDGLQJLQWKHZDWHUFKHVWGHHSWU\LQJWR
  46RZKHQ\RXKDYHKHDY\UDLQDQGZDWHULV                     VDOYDJHZKDWHYHUZHFRXOG
  GUDLQLQJGRZQ\RXUGRZQ\RXUGULYHZD\GRHVLW                     4$OOULJKW$QGZHZLOOZDONZH OOZDON
  JHQHUDOO\JRZHVWRUGRHVLWJRHDVW"                                 WKURXJKWKDW$QGPD\EHWKDW VWKHEHVWSODFHWRWXUQ
 $,WQRUPDOO\JRHVHDVW7KHPDMRULW\RIWKH                 DWWKLVSRLQWDQGWDONDERXWWKHVWRUP
 IORZJRHVHDVW                                                      06(1('RZHKDYHDTXLFNPRPHQWWRWDNH
 4'XULQJKHDY\UDLQVKDYH\RXHYHUVHHQZDWHU
       4'XULQJKHDY\UDLQVKDYH\RXHYHUVHHQZDWHU                DPLQXWHEUHDN"
 NLQGRISRROLQJXSLQWKHVWUHHWLQIURQWRI\RXUKRXVH"             067$5',))$EVROXWHO\:K\GRQ WZHGR
 $1RWXQWLOWKH\UHOHDVHGWKHGDPZDWHU:H
       $1RWXQWLOWKH\UHOHDVHGWKHGDPZDWHU:H UH               WKDWQRZ":H UHRIIWKHUHFRUG
 DWWKHKLJKHVWSRLQWEHWZHHQWKHGUDLQWRWKHHDVWDQG                %UHDNWDNHQIURPDPWRDP
 WKHGUDLQWRWKHZHVWRXUKRXVH                                    067$5',)):HFDQJREDFNRQWKHUHFRUG
 42ND\$OOULJKW6R\RX UH                             4 %<067$5',)) $OOULJKW,ZHQWEDFNDQG
 $:HKDGQRZDWHULQWKHVWUHHW                              KDYHDFRXSOHRIRWKHUIROORZXSTXHVWLRQVDERXW\RXU
 46R\RXUDUHDRIWKHVXEGLYLVLRQWKDW, P                    KRPHEHIRUHZHVWDUWWDONLQJDERXWWKHVWRUP
 ORRNLQJEDFNDW([KLELW                                         +DYHVLQFH\RXSXUFKDVHGWKHKRPHKDYH
 $<HDK7KHRQHRIWKHFROOHFWLRQEDVLQVLV               \RXKDGWRPDNHDQ\DQ\RUKDYH\RXPDGHDQ\ELJ
 ULJKWKHUH                                                          LPSURYHPHQWVWRWKHKRPHVLQFH\RXURULJLQDOSXUSRVH"
 4:KLFKLVPDUNHGLQRUDQJH                                  $<HV
 $$QGWKHRWKHUFROOHFWLRQEDVLQLVULJKWWKHUH              4$QGZKDWKDYH\RXGRQH"
 42ND\                                                       $:HUHSODFHGWKHURRIDQGZHUHGLGWKH
                                                             3DJH                                                               3DJH
  $$QGZH UHDWWKHSHDN$QGYHU\OLWWOHUXQWR               EDWKURRPPDVWHUEDWK
  WKHZHVWPRVWWRWKHHDVW                                           40DVWHUEDWK2ND\
  4$QGWKHQLVLQWHUPVRIHOHYDWLRQGRHV\RXU              +DYH\RXKDGDQ\DVLGHIURPUHSODFHPHQW
  VXEGLYLVLRQGRHVLWJRGRZQLQHOHYDWLRQDV\RXJR                   RIWKHURRIZKLFKLVFHUWDLQO\DYHU\FRPPRQIL[IRUD
  WRZDUG%XIIDOR%D\RXGRZQ                                          KRPHRZQHUKDYH\RXKDGDQ\IRXQGDWLRQLVVXHVZLWKWKH
  $<HV7KHQDWXUDOIORZRIWKHODQGLVIURP                   KRPHGXULQJ\RXURZQHUVKLS"
  QRUWKWRVRXWK                                                       $1RQHZKDWVRHYHU
  4$QG\RXDUHRQWKHQRUWKVLGHRI%XIIDOR%D\RX              4$QG\RXKDYHQ WFRQVWUXFWHGDQ\DQ\QHZ
  FRUUHFW"                                                              EXLOGLQJVRQWKHSURSHUW\VLQFH\RXSXUFKDVHGLW"
 $&RUUHFW                                                    $1R
 4$QGMXVWORRNLQJEDFNDWWKHH[KLELWWKDWKDV               4$QGLQ\RXUQHLJKERUKRRG1RWWLQJKDP)RUHVW
 WKHIORRUSODQVIURP+DUULV&RXQW\$SSUDLVDO'LVWULFW               6HFWLRQDQGORRNLQJDW([KLELWDUHWKHUHDQ\RWKHU
 LI\RXFDQMXVWWDNHDTXLFNSHHNDWWKHVHFRQGSDJH                GUDLQDJHIHDWXUHVLQWKHQHLJKERUKRRGUHWHQWLRQSRQGV
 ZKLFKLVKDVWKHIORRUSODQIRU\RXUVHFRQGVWRU\                RUDQ\WKLQJOLNHWKDWWKDWIDFLOLWDWHWKHGUDLQDJHRI
 7KH%DWHVLV/8&                                               UDLQZDWHURIIRIWKHQHLJKERUKRRG"
 ,VWKDWDDSSHDUWREHDQDFFXUDWH                  $1R2QO\WKHVWRUPVHZHUV
 GHSLFWLRQRIWKHOD\RXWRI\RXUVHFRQGIORRU"                        42ND\$QGDQGZKHQ\RXZHUHLQKHUHLQWKH
 $7KDW VFRUUHFW                                             PLG VZRUNLQJRQWKHFRQVWUXFWLRQRIWKHURDGVZHUH
 4$QGZH UHJRLQJWRJREDFNODWHUDQGWDONDERXW             \RXDOVRLQYROYHGLQWKHFRQVWUXFWLRQRIWKHGUDLQDJH
 WKHGDPDJHRQ\RXUILUVWIORRUIURPWKHIORRGZDWHUV                 IHDWXUHVRIWKHURDGV"
 $Q\GDPDJHWR\RXUVHFRQGIORRU"                       $1R7KHGUDLQDJHIHDWXUHVZHUHSXWLQZKHQZH
 $<HV                                                        SXWWKHVWUHHWVLQ
 4$QGDQGZKDWGDPDJHGLG\RXKDYHWR\RXU                 42ND\6RWKRVHZHUHWKHUHDOUHDG\"
 VHFRQGIORRU"                                                        $<HV
 $:KHQZHWULHGWRVDYHZKDWHYHUZHFRXOGVDYH               4$QGGR\RXKDYHNQRZOHGJHWKRXJKEDVHGRQ

                                                                                                                  3DJHV
                                           ZZZ&DSLWDO5HSRUWLQJ&RPSDQ\FRP
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                                                     :D\QH+ROOLV                                                    -XO\
                                                             3DJH                                                               3DJH
  $:HSUREDEO\ZRUNHGRQLWVL[WRHLJKWGD\V                   7+(:,71(66'LGKDYHIORRGLQJ:KHUHGLG
  WKURZLQJVWXIIRXW                                                   \RXVHH&DUROFUHVWLQKHUH"
  4$QGZDVWKH&RXQW\UHPRYLQJGDPDJHGJRRGVDW                 05+$570$1,WKLQNWKDW&DUROFUHVWLV
  WKDWWLPHRUGLG\RXKDYHWRKLUHVRPHERG\WRUHPRYH"                ULJKWWKHUH
  $,KDGVRPHIULHQGVWKDWFDPHZLWKWUXFNVDQG                 7+(:,71(662ND\/HW VJHWLW
  JUDSSOHVDQGUHPRYHGRXUVWXIIIRUXVSULRUWRZDLWLQJ                RULHQWDWHGWKHZD\LWVKRXOGEH7KDWZLOOKHOS
  RQWKH&RXQW\                                                        $:HOO%UDPEOHZRRGIORRGHGDOOWKHZD\WRWKH
  4$QG, OODVN\RXUZLIHPRUHGHWDLOVDERXWWKH                'DLU\$VKIRUGWKRXJK6RURXJKO\WKDWDUHDZKLFK
  IORRGLQVXUDQFHEXWEHIRUH\RXFDPHEDFNRQWKHWKGR              ZRXOGEHWKHWKHZHVWHUQSDUWRIWKHVXEGLYLVLRQ
 \RXNQRZKDG\RXFRQWDFWHG\RXULQVXUDQFHFRPSDQ\"                  4 %<067$5',)) 2ND\
 $<HV                                                        $GRZQ$QGWKHED\RXFRPHVKHUHDQG
 42ND\$QGGLG\RXJHWDVVLVWDQFHSURPSWO\LQ               %UDPEOHZRRGZHQWXQGHUZDWHUXSWRWKHHDYHVRIWKHLU
 WHUPVRIJHWWLQJKHOSZLWKWKHVDOYDJHRSHUDWLRQV"                   KRPHVVR
 $<HV7KH\KDGDQDGMXVWHURXWZKLOHZHZHUH                4$QG%UDPEOHZRRGWKRVHDUHWKHKRPHVWKDWDUH
 VDOYDJLQJ                                                           DGMDFHQW
 4$QGORRNLQJDW([KLELWDQG, OODVNWKH                  $<HDKDOODGMDFHQWWRWKHJUHHQVSDFH
 TXHVWLRQJHQHUDOO\EXWGLGDOORIWKHKRPHVLQWKH                  42ND\$QGXSWRWKHHDYHVIRUWKRVH
 1RWWLQJKDP)RUHVWQHLJKERUKRRGKDYHIORRGZDWHUWR                 6RDV\RXPRYHGDZD\IURP%XIIDOR%D\RX
 \RXUNQRZOHGJH"                                                      ZHUHWKHZDWHUOHYHOVORZHU"
 $1R                                                         $<HDK
 41R2ND\0D\EHZHORRNDWWKHVHFRQGSDJH                4$OOULJKW7KDQN\RX
 ZKLFKKDVVRWR\RXUNQRZOHGJHZKDWDUHDVRI                     $QGDFWXDOO\MXVWVRZH UHFOHDURQWKH
 1RWWLQJKDP)RUHVW6HFWLRQ                                       UHFRUG, PMXVWJRLQJWRKDYH\RXPDUNWKHWKHDUHD
 $, PJRLQJWRVD\WKHZHVWVHFWLRQDERXWWKUHH              EHORZ\RXUUHGOLQHWKDWIORRGHGMXVWZLWKDQ)
 IRXUVWUHHWVLQDQGWKHQWKHVRXWKHUQVHFWLRQIURP                 $ :LWQHVVFRPSOLHV
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  DQGZH UHRQWKHVHFRQGSDJHRI([KLELW                          ILUVWIORRU:DVMXVWJHQHUDOO\VSHDNLQJZDVWKHUH
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 LQGLFDWLQJ                                                          WRJHWKHURXUWLPHOLQHKHUH6RZKDW, YHPDUNHGDV
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 VPDOO                                                               $/LOOD:ULJKW
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  LVQH[WWRED\RXDERXWWHQKRPHVKDGIRRWRIZDWHULQ             DQGWKH\ZHUHIORRGLQJGLG\RXKDYHDQ\H[SHFWDWLRQVWR
  WKHPWKLVPRUQLQJ                                                  KRZKLJKWKHZDWHUPLJKWJHWLQ\RXUQHLJKERUKRRG"
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 ORRNGRZQDWWKHHQGRI%D\RX.QROO'ULYHWKHQXPEHU  /LOOD:ULJKW
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 RSHQXS$GGLFNV'DPDWDP"                                   $&RUUHFW
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 6XQGD\"                                                             DVWRKRZPXFKZDWHU\RXKDGLQ\RXUKRPH"

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                                                                    Page 1

1            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2      IN RE UPSTREAM ADDICKS              )
       AND BARKER (TEXAS)                  )
3      FLOOD-CONTROL RESERVOIRS            )   Sub-Master Docket No
4      ________________________            )   17-cv-9002L
5      THIS DOCUMENT RELATES TO            )
6      ALL DOWNSTREAM CASES                )
7                  --------------------------------------
                                 ORAL DEPOSITION OF
8
                                    ARNOLD MILTON
9
                                    JULY 10, 2018
10                --------------------------------------
11
12                 ORAL DEPOSITION OF ARNOLD MILTON, produced as
13     a witness at the instance of the United States, and duly
14     sworn, was taken in the above-styled and numbered cause
15     on the 10th day of July, 2018, from 9:02 a.m. to
16     2:48 p.m., before Morgan Veletzuy, CSR in and for the
17     State of Texas, recorded by machine shorthand, at
18     Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19     Suite 4000, Houston, Texas 77056, pursuant to the
20     Federal Rules of Civil Procedure and the provisions
21     stated on the record or attached hereto; that the
22     deposition shall be read and signed before any notary
23     public.
24
25

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                                                                                      A1008
     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23        Page 559 of 1584
                                     $UQROG0LOWRQ                         -XO\

                                                                        Page 76

1            A.    Almost the length of the front yard.               If I had

2      to pace it, I'd say, I don't know, maybe 20, 25 feet.

3            Q.    25 feet in length?

4            A.    About.     About.

5            Q.    And approximately, do you know what the

6      difference in height would be from the front door to the

7      crack?

8            A.    It's probably another 4 or 5 inches.

9            Q.    Do you recall what day it was when the water

10     moved from the crack up to your front doorstep?

11           A.    Yeah, it was late on the 27th.               Or it may have

12     even been close to midnight or even after.                  I wasn't

13     looking at the clock.           I just know it was late and I was

14     watching it with a flashlight through the front window.

15           Q.    From the 25th to the 27th, was there any point

16     at which you and your wife discussed evacuating?

17           A.    No, I wish we had of.

18           Q.    Was there any point from the 25th to the 27th

19     when you recall seeing discussions of evacuations on

20     television?

21           A.    I don't recall discussions of evacuations.                 In

22     fact, that was one of the salient features, there was no

23     warning given.       It was all of a sudden here comes the

24     water.     If we had any kind of indication we would have

25     certainly gotten our cars and motorcycles out and told

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 560 of 1584
                                     $UQROG0LOWRQ                    -XO\

                                                                   Page 78

1            Q.    What type of car do you drive?

2            A.    Well, my wife had an FJ Cruiser with huge

3      wheels and they would have had no problem whatsoever.                I

4      had a little Mazda Miata, which I should never have

5      bought, that we used as a so-called Sunday car to go to

6      the movie and stuff.         And the water would have been at

7      the floorboards on that thing.

8            Q.    But the FJ Cruiser would have been okay?

9            A.    Oh, yeah.      Uh-huh.

10           Q.    You said you looked at the clock before you

11     went to bed that night; is that correct?

12           A.    Yes.     It was almost exactly 3:00 o'clock as I

13     remember.

14           Q.    And is that 3:00 o'clock on the 28th of

15     August 2017?

16           A.    Yes.

17           Q.    So sometime that evening before 3:00 a.m. was

18     when you saw the water level move from the crack up to

19     your front doorstep; is that correct?

20           A.    Right.     Right.

21                        MR. HOBBS:      Objection; form:

22           Q.    (BY MR. LEVINE)        What was the closest the water

23     your -- what was the closest the water got to your home

24     prior to when you went to bed that you observed?

25                        MR. HOBBS:      Objection; form.

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23       Page 561 of 1584
                                     $UQROG0LOWRQ                        -XO\

                                                                       Page 79

1              A.     Well, it was above my knees when I went to bed

2      in the house.

3              Q.     (BY MR. LEVINE)     Okay.   Let me -- let me back

4      up and understand.

5                          Do you recall at what point on August 27th,

6      2017, water entered your home?

7              A.     I was not --

8                          MR. HOBBS:     Objection; form.        Asked and

9      answered.

10             A.     I was not looking at the clock.           I know it was

11     late.        My wife claims it was midnight or after.           But I'm

12     not sure how exact she was either.             Just we were too

13     busy to worry about the time at that point.

14             Q.     (BY MR. LEVINE)     Okay.   So let me ask it

15     differently.        Do you know whether water entered your

16     home on August 27th, 2017, or August 28th, 2017?

17             A.     I don't know.

18             Q.     A moment ago you said you and your wife were

19     busy.        What were y'all busy doing around that time?

20             A.     We were taking everything we could up the

21     stairs once the water started coming in the house.

22             Q.     When you say "everything," can you describe for

23     me what types of things you were taking upstairs?

24             A.     All chairs that we could carry.           All lamps.

25     Anything small enough to carry.            And we also managed to

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 562 of 1584
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                                                                   Page 1

1            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2      IN RE UPSTREAM ADDICKS                 )
       AND BARKER (TEXAS)                     )
3      FLOOD-CONTROL RESERVOIRS               )   Sub-Master Docket No
4      ________________________               )   17-cv-9002L
5      THIS DOCUMENT RELATES TO               )
6      ALL DOWNSTREAM CASES                   )
7                   --------------------------------------
8                                ORAL DEPOSITION OF
9                                    VIRGINIA MILTON
10                                     JULY 10, 2018
11                 --------------------------------------
12                  ORAL DEPOSITION OF VIRGINIA MILTON, produced
13     as a witness at the instance of the United States, and
14     duly sworn, was taken in the above-styled and numbered
15     cause on the 10th day of July, 2018, from 3:14 p.m. to
16     5:00 p.m., before Morgan Veletzuy, CSR in and for the
17     State of Texas, recorded by machine shorthand, at
18     Fleming, Nolen & Jez, 2800 Post Oak Boulevard,
19     Suite 4000, Houston, Texas 77056, pursuant to the
20     Federal Rules of Civil Procedure and the provisions
21     stated on the record or attached hereto; that the
22     deposition shall be read and signed before any notary
23     public.
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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23       Page 563 of 1584
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                                                                       Page 41

1      storms, is it's not necessarily fearful knowing that

2      there can be flooding and knowing that there can be

3      disastrous effects.         I haven't had one that couldn't be

4      repaired.

5            Q.    (BY MR. LEVINE)        Do you recall at what point

6      water started coming onto your property from the storm

7      that wasn't, you know, falling from the sky?

8            A.    You're speaking of Harvey?

9            Q.    Yes, ma'am.

10           A.    Yes, I do remember exactly when water started

11     coming into our -- into my home.

12           Q.    When did water start coming into your home

13     during Hurricane Harvey?

14           A.    After midnight on August 28th.

15           Q.    Do you know what time after midnight --

16           A.    I do not know exactly.

17           Q.    -- on the 28th?

18                      I'm sorry.        Let me ask it again.

19                      Do you know what time on the 28th?

20           A.    I do not.

21           Q.    Do you know what time water started coming off

22     the street onto your property?

23                      MR. HOBBS:        Objection; form.

24           A.    I wasn't looking out my front door at that time

25     when water started coming into our home.                 It had been

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1      raining for several days and there was a lot of water.

2      But it would be heavy, heavy rain, and then all of a

3      sudden it would stop and it would -- our drains worked

4      perfectly.     You know, in the heaviest rain, maybe water

5      would just get up to the curb.            Water -- the rain would

6      stop and clear up for a while, it just drained right

7      off.

8                       Our backyard was perfect.               Nothing -- no

9      water in the yard.         You could see definitely there's

10     water on the pea gravel on the patio, but nothing to be

11     alarmed.     We were watching television.           A movie, not the

12     news, and the electricity went off.             And so we were

13     going to bed.

14                      And I went down to the kitchen to get a

15     drink of water and my husband was coming down the stairs

16     when I'm stepping down from the breakfast room into the

17     great room and water is coming in and rising.                  That's

18     when I first saw the water.           I never -- I wasn't at the

19     front when the water first started coming in that I saw,

20     I was at the back.

21            Q.   (BY MR. LEVINE)        Where were you watching the

22     movie?

23            A.   Upstairs in our game room.

24            Q.   Did the power go off before you came

25     downstairs?

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23    Page 565 of 1584
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                                                                    Page 45

1              Q.   And how do you know it was around midnight?

2                           MR. HOBBS:    Objection; form.

3              Q.   (BY MR. LEVINE)       Let me ask that again.

4              A.   Be --

5              Q.   Let me ask it again, please.          Thank you.

6                           How do you know it was around midnight that

7      water started to come into your home on approximately

8      August 28th?

9                           MR. HOBBS:    Objection; form.

10             A.   It had to be after midnight because, as I said,

11     I was aware of the time, having moved around in my

12     house, and I was watching a movie.             And we were watching

13     a movie that was later.           So it had to be after midnight

14     because the movie didn't start until something like

15     11:00 or 11:30, so it had to be after midnight.                 What

16     time exactly, I cannot say.

17             Q.   (BY MR. LEVINE)       After midnight on August 28th,

18     2017?

19             A.   That's what I think, yes.         Also, remember, we

20     had to recall these dates when we had to call FEMA

21     immediately.         So these dates are pretty well pressed

22     into your mind.

23             Q.   After you saw -- after you stepped down and you

24     saw the water coming in, what did you do next?

25             A.   I told Arnold, who was coming down from the

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 566 of 1584
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1               THE UNITED STATES COURT OF FEDERAL CLAIMS

         IN RE: DOWNSTREAM ADDICKS           )

2        AND BARKER (TEXAS)                  )

3        FLOOD-CONTROL RESERVOIRS            )

4                                            ) SUB-MASTER DOCKET NO.

5                                            ) 17-CV-90021

6                                            )

7      ********************************************************

8                                ORAL DEPOSITION OF

9                                  JENNIFER SHIPOS

10                               September 19, 2018

                                       Volume 1

11     ********************************************************

12           ORAL AND VIDEOTAPED DEPOSITION OF JENNIFER SHIPOS,

13     produced as a witness at the instance of the DEFENDANT,

14     was taken in the above-styled and numbered cause on

15     September 19, 2018 from 3:02 p.m. to 5:05 p.m., before

16     Toyloria Lanay Hunter, CSR in and for the State of

17     Texas, reported by machine shorthand, at the law offices

18     of NEEL, HOOPER & BANES, P.C., 1800 West Loop South,

19     Suite 1750, Houston, Texas 77027, pursuant to the

20     Federal Rules of Civil Procedure and the provisions

21     stated on the record or attached hereto.

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23     Page 567 of 1584
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                                                                     Page 24

1            Q.     Put them upstairs?

2            A.     Yeah.     I got my passports.        I probably did all

3      that on maybe the 28th or 27th.            27th, 28.

4            Q.     Any important documents, things like that, you

5      would move upstairs?

6            A.     Yes, because before that, the water had been

7      coming up and going back down at my house.               So I didn't

8      really -- didn't think about doing it until probably

9      maybe the 20 -- when I heard that there is going to be

10     probably be a release of water.

11           Q.     Oh, thank you.        Let's back up.

12                          So prior to getting notice about the dams

13     releasing water --

14           A.     Yes.

15           Q.     -- you had actually had water in your yard?

16           A.     I had water in my yard, yes.           You know, it was

17     getting up to the driveway, but then it would stop

18     raining and then it would recede.

19           Q.     When did -- if you received the notice --

20     excuse me.     When you received the notice, how long

21     before that had the water been coming into your yard?

22           A.     I'm sorry.      I don't understand that.

23           Q.     Before you received notice --

24           A.     Notice of what?

25           Q.     Of releasing the dams.

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 568 of 1584
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                                                                   Page 25

1            A.    Okay.

2            Q.    That they were going to release the dam --

3            A.    Uh-huh.

4            Q.    -- how long had the water been coming up in

5      and out of your yard?

6            A.    I don't know.        Maybe over the course of the

7      day or two days.

8            Q.    And where were your cars during this time?

9            A.    Well, I was under the impression that it was

10     going to start receding again once the water stopped.

11     So long story short, I did not get my cars out.

12           Q.    You kept them in your driveway?

13           A.    They were in the garage, yes.

14           Q.    They were in the garage.

15           A.    And then when we woke up the next morning, it

16     was too late.

17           Q.    When -- were you going back and forth to work

18     during this time period?

19           A.    Oh, no, no.        No school, no work, no nothing.

20     Everything was shut down.

21           Q.    How deep was the water in the street, if you

22     recall?

23           A.    At what point?

24           Q.    During the time period when you said it was

25     falling up and down.

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1            IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2      IN RE UPSTREAM ADDICKS              )

       AND BARKER (TEXAS)                  )

3      FLOOD-CONTROL RESERVOIRS            )   Sub-Master Docket No

4      ________________________            )   17-cv-9002L

5      THIS DOCUMENT RELATES TO            )

6      ALL DOWNSTREAM CASES                ) August 1, 2018

7                  --------------------------------------

8                                ORAL DEPOSITION OF

9                                  PETER SILVERMAN

10                                  JULY 18, 2018

11                --------------------------------------

12                 ORAL DEPOSITION OF PETER SILVERMAN, produced

13     as a witness at the instance of the United States, and

14     duly sworn, was taken in the above-styled and numbered

15     cause on the 9th day of July, 2018, from 9:06 a.m. to

16     3:52 p.m., before Morgan Veletzuy, CSR in and for the

17     State of Texas, recorded by machine shorthand, at 1200

18     Smith Street, 12th Floor, Houston, Texas 77002, pursuant

19     to the Federal Rules of Civil Procedure and the

20     provisions stated on the record or attached hereto; that

21     the deposition shall be read and signed before any

22     notary public.

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23      Page 570 of 1584
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                                                                      Page 95

1            A.   Yeah.     I'd refer to that one because that's how

2      I know what day --

3            Q.   Okay.     So let's -- let's just mark this then as

4      Exhibit 9 which is the identical picture as Exhibit 5,

5      but it has a time and date stamp on it but no Bates

6      number.    But it's identical to Exhibit 5 which I believe

7      is Silverman 000026.

8                         (Exhibit 9 marked.)

9            A.   So at around this time of day, which is around

10     4:53, sorry, I went and I took four or five pictures

11     including one at the Garcias' house that I was telling

12     you about before, how I walked down their driveway.                    I

13     took one at my house.          I took one at the corner.         And I

14     took one of the drain to show my wife that the drain was

15     working properly and that all was good.

16           Q.   (BY MS. IZFAR)        Okay.    So at this point at

17     4:53 p.m. on August 27th, you took this picture.                 And

18     this picture shows water that is flowing in the streets?

19           A.   Not a whole lot, but it shows -- it shows the

20     front of my house.

21           Q.   Okay.

22           A.   And I don't know if any -- I don't think there

23     are -- you know, very -- very little water, but no

24     freestanding water or anything like that.                Just water

25     going by my house.         And if we look at that other one

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1      more, you can see from the curb there's not much --

2      there's not much high water.            But the water was flowing

3      out from Exhibit 6 in the drain.

4             Q.   Okay.    So from Exhibit 6 you pointed to water

5      flowing out of a drain.          Was this also taken at

6      4:53 p.m. on August 27th?

7             A.   They were all taken around the same time of

8      day.

9             Q.   Okay.    Did you take these pictures?

10            A.   I did.

11            Q.   Okay.    And this pipe that is pouring water,

12     where is this located in your home?

13            A.   That is located on the --

14            Q.   Is it located in the front of your home?

15            A.   On the front of my home on the east side of my

16     driveway.

17            Q.   Okay.    And was the water that was in the street

18     flowing east?

19            A.   Yes.

20            Q.   Okay.    And how much water do you estimate was

21     there on August 27th at around 4:53 p.m.?

22            A.   As far as in the street or -- there was --

23     there was no water standing in my yard.                  There was no

24     water standing in -- anywhere around.              There was

25     water -- it would rain on and off.             But at this time of

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1      day, the sun had come out and just things were pretty

2      normal.

3            Q.    So would you estimate -- how much -- can you

4      estimate how much water was actually flowing through?

5            A.    I can't.      I don't know how to estimate that.

6            Q.    Okay.   How high do you believe this curb is?

7            A.    4 inches maybe.

8            Q.    Okay.   And --

9            A.    And so there's maybe a quarter inch in the

10     street.

11           Q.    A quarter inch of water flowing in the street?

12           A.    Yeah, if that.       I mean -- and only -- and not

13     covering the street, only at the edge where the water

14     flows at the lowest point where the water flows down to

15     the -- downwards.

16           Q.    So -- so the entire --

17           A.    I wasn't standing in water when I took that

18     picture.     My feet would not have been wet.

19           Q.    Where were you when you took the picture?

20           A.    Standing in the street.

21           Q.    You were standing in the street when you took

22     that picture?

23           A.    (Nods head.)

24           Q.    Okay.   So was the water deeper than nearer to

25     the curb?

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                                                                       Page 102

1              Q.     Oh, I think I believe I recall -- I don't think

2      I have it here, but I think I recall that document.

3      Okay.        That's helpful.

4                             So -- so you took some pictures on the

5      27th --

6              A.     Yes.

7              Q.     -- and then you sent them to your wife.

8              A.     I don't know if I sent them to my wife.              I took

9      them -- I took them for protection.

10             Q.     Okay.

11             A.     So she wouldn't be mad at me for leaving.

12             Q.     Yeah.     When did you first hear that there was a

13     possibility of a hurricane?

14             A.     Oh, I mean, before that.         By this time -- by

15     the 27th, like the hurricane had passed, everything was

16     done.        We had -- we had survived.         There was no water in

17     the house.        There was no tornados had hit our house.               I

18     mean, I was feeling pretty good.               The electricity went

19     off -- we had had electricity the whole time, and the

20     electricity had gone off that afternoon.                   I was waiting

21     for them to turn it back on because it was getting warm.

22     There was no TV or internet or anything like that.

23             Q.     Okay.

24             A.     But when I first heard of the hurricane, I have

25     no idea.        But I will say by this time I thought -- I

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     Case 1:17-cv-09002-LAS      Document 266-2 Filed 01/10/23   Page 574 of 1584
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1      thought, you know, we're pretty much all clear.

2            Q.    Did you first hear about it maybe August 25th?

3            A.    No.     I'm sure I -- I'm sure I heard about it

4      before August 25th.

5            Q.    Okay.     Were you following the news?

6            A.    Closely.      I was -- I was not working at the

7      time, and I'm sort of a 24-hour-a-day news person.

8            Q.    Okay.     Did you prepare in any way?

9            A.    No.     No.

10           Q.    Okay.     Did you buy any sandbags?

11           A.    No.

12           Q.    Okay.     Did you move any property to a higher

13     location?

14           A.    No.

15           Q.    Did you bag anything up?

16           A.    No.

17           Q.    Did you ever prepare -- did you ever live

18     through any other storms in Houston?

19           A.    We lived there Hurricane Ike.

20           Q.    And did you do anything to prepare for that

21     hurricane?

22           A.    No.     But we -- I spent the night -- I have a

23     sister-in-law and brother-in-law and their daughter who

24     live in town, and we all slept in the same -- in their

25     house together just in case something bad happened, we

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 575 of 1584
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1      And, in fact, I thought I lived in -- in the safest area

2      of a large city because I lived near Buffalo Bayou.               I

3      never thought about flooding like this.

4            Q.   (BY MS. IZFAR)        When you say "this type of

5      event," did you mean Harvey?

6                       MR. HODGE:        Objection; form.

7            A.   I meant the release of water from the dams, not

8      the rainfall.     The rainfall wasn't my concern at all.

9      My house stayed dry during the rainfall associated prior

10     to the flooding that occurred.            So, no, I really meant

11     that -- I really meant that I never considered a

12     either -- a deliberate release of water or a

13     catastrophic release of water.            Neither of those things

14     ever crossed my mind as causing a flood that would

15     affect my neighborhood.

16           Q.   (BY MS. IZFAR)        Do you ever recall a storm like

17     Harvey?

18                      MR. HODGE:        Objection; form.

19           A.   Only to the extent that it gets compared to

20     other rainfall events, some of them on those days that

21     we talked about, the flood claims or Allison or other

22     things.    You know, one of your questions earlier -- and

23     I remember I didn't really answer it the way I wanted to

24     -- was I reading or listening that they want to move the

25     rain gauge.     The official rain gauge from Houston is at

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     Case 1:17-cv-09002-LAS       Document 266-2 Filed 01/10/23       Page 576 of 1584
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1      address.

2              Q.     Okay.     And let's go further into the document.

3      For example, when we reviewed this document, they

4      described that your living room and dining room has room

5      tile.        Is that accurate?

6              A.     No.     The living room and dining room are

7      carpeted.

8              Q.     It also suggests here that your house flooded

9      on August 27th, 2017, is that accurate?

10             A.     No.     I was in my house on August 27th, 2017,

11     and there was no flooding at my house.

12             Q.     So if we go to page 6 on Exhibit 19 and if we

13     looked at the one, two, third bullet point from the top,

14     if you would read that to yourself, please.

15             A.     I've read it to myself.

16             Q.     Is that statement, based upon your own personal

17     knowledge and observation, blatantly false?

18             A.     It is.     I don't know where they got that

19     information from.           And it puts in doubt many of these

20     statements, including the first one which says I was not

21     able to return to my home until August 31st.                   I did not

22     return to my home on August 31st, so I don't know where

23     they got that from.           So I don't know where they got

24     their information from for any of these.                   It was not

25     from me.

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 577 of 1584
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1            Q.   So Exhibit 9 and Exhibit 5 are the exact same

2      photo; is that accurate?

3            A.   They are, yes.

4            Q.   And when was Exhibit 5 and Exhibit 9 taken?

5            A.   They were taken late in the afternoon on

6      August 27th.

7            Q.   Was there any floodwater in your home late in

8      the afternoon on August 27th, 2017?

9            A.   No.   By that time the hurricane had passed and

10     we were drying -- we were high and dry and the sun was

11     coming out.

12           Q.   So the statement contained in Exhibit 19 would

13     be false, that floodwater began to flood the home on

14     August 27th, 2017?

15                      MS. IZFAR:        Objection; leading.

16           A.   I never would have said that.

17           Q.   (BY MR. HODGE)        Additionally, within Exhibit 19

18     there's a reference that the house has no gutters.               Is

19     that an accurate statement?

20           A.   I'm not sure where that is, but as pointed out

21     to counsel for the government before, there is gutters

22     on one stretch of the house with a downspout into the

23     courtyard.

24           Q.   There is a reference in Exhibit 19 that the

25     yard slopes towards the house.            Is that accurate in

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 578 of 1584
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1                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
2
        IN RE DOWNSTREAM                      )
3       ADDICKS AND BARKER                    )       Sub-Master Docket
        (TEXAS) FLOOD-CONTROL                 )       No. 17-cv-9002L
4       RESERVOIRS                            )
5
6
       ******************************************************
7                                ORAL DEPOSITION OF
8                                    TIMOTHY STAHL
9                                SEPTEMBER 5, 2018
10     ******************************************************
11
               ORAL DEPOSITION of TIMOTHY STAHL, produced as a
12     witness at the instance of the Defendant, and duly
       sworn, was taken in the above-styled and numbered
13     cause on September 5, 2018, from 10:10 a.m. to 2:52
       p.m., before Heather L. Garza, CSR, RPR, in and for
14     the State of Texas, recorded by machine shorthand, at
       the offices of NEEL, HOOPER & BANES, P.C., 1800 West
15     Loop South, Suite 1750, Houston, Texas, pursuant to
       the Federal Rules of Civil Procedure and the
16     provisions stated on the record or attached hereto;
       that the deposition shall be read and signed.
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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 579 of 1584
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                                                                  Page 80

1      I -- I can look at the flood gauges and go, oh, yeah,

2      you know, by morning of the -- early, early, early

3      morning of the 28th, we're talking -- I was still in

4      Alaska and the sun was still up at midnight.                  But

5      midnight in anchorage was 3:00 a.m. Houston time.

6      There's a time difference.              So some time in there, I

7      was pretty sure there was water in my house.

8           Q.     All right.        But, again, you weren't in touch

9      with any neighbors who --

10          A.     Not until the next -- my neighbor at 269

11     called from Mexico asking if his house was on fire in

12     the morning.      I said I have no idea, I'm in Denali.

13     I'm up in Alaska.           I said, what about the guys in the

14     middle?     Oh, they're in Argentina.

15          Q.     All right.        So no --

16          A.     I couldn't tell you a specific time that the

17     water was there.          I can tell you when we came back a

18     few days later, the water had receded outside of the

19     structure still just below the structure.                It was --

20     it was close.

21          Q.     And when you say just below the structure,

22     can you tell me what you mean by that?

23          A.     Well, the back of the house is a pier and

24     beam of sorts and then, of course, you have the deck,

25     which is also on a pier, so the water was below that

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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 580 of 1584
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                                                                    Page 1

1               IN THE UNITED STATES COURT OF FEDERAL CLAIMS

2      IN RE:     DOWNSTREAM            *

       ADDICKS AND BARKER               *

3      (TEXAS) FLOOD CONTROL            *

       RESERVOIRS                       * SUB-MASTER DOCKET NO.

4                                       * 17-cv-9002L

5      THIS DOCUMENT RELATES TO:*

6      ALL DOWNSTREAM CASES             *

7           ***************************************************

8           ORAL DEPOSITION OF DUTCH CHRISTOPHER LINDEBURG

9                                      VOLUME 1

10                               SEPTEMBER 26, 2018

11        ***************************************************

12              ORAL DEPOSITION of DUTCH CHRISTOPHER LINDEBURG,

13      produced as a witness at the instance of the United

14      States, and duly sworn, was taken in the above-styled

15      and numbered cause on September 26, 2018, from 4:19

16      p.m. to 6:14 p.m., before Carol Jenkins, CSR, RPR,

17      CRR, in and for the State of Texas, reported by

18      machine shorthand, at the Potts Law Firm, 3737 Buffalo

19      Speedway, Suite 1900, Houston, Texas 77098, pursuant

20      to notice and the Federal Rules of Civil Procedure.

21

22


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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23   Page 581 of 1584
                                'XWFK&KULVWRSKHU/LQGHEXUJ      6HSWHPEHU

                                                                   Page 62

1       meeting today?

2            A.    Correct.

3            Q.    Yeah.      I've seen you twice today and then one

4       other time at Planet Funk with Mr. Welling and his

5       wife, correct?

6            A.    Uh-huh.

7            Q.    Okay.      And do you remember discussing with me

8       at the meeting at Mr. Welling's house your visits to

9       the property during the storm, where we talked about

10      that?

11           A.    A little bit.        I was doing the same thing I'm

12      doing here, going through this.

13           Q.    Asking you to reconstruct the timeline?

14           A.    Uh-huh.

15           Q.    Is that a yes?

16           A.    Yes.    Which I didn't do a very good job of at

17      that point.

18           Q.    So it was my understanding that you actually

19      entered the property, went into the first floor

20      basement at some point?

21           A.    Absolutely.

22           Q.    You remember that?




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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23        Page 582 of 1584
                                'XWFK&KULVWRSKHU/LQGHEXUJ           6HSWHPEHU

                                                                        Page 63

1            A.     Uh-huh.

2            Q.     Okay.     And you actually saw the water in the

3       first floor?

4            A.     I took pictures and sent them to Shawn, yeah.

5            Q.     Okay.     Do you remember how many times you

6       went to the property starting on the 27th until Shawn

7       returned?

8            A.     Every day, pretty much, yeah.               Yeah, I mean,

9       yeah, it was part of my routine, so...

10           Q.     And were some of those visits in the early

11      morning hours when it was still dark?

12           A.     Uh-huh.      Yeah.

13           Q.     Is that a "yes"?

14           A.     Yes.    Uh-huh, yes.

15           Q.     That's just because we've got to make sure

16      she takes your answer down.            I'm not trying to be rude

17      at all.

18                          So we talked a little bit earlier about

19      on the 27th you went, the water had not, from the

20      outside appearances, gotten into the house yet?

21           A.     The water was up to the parking threshold,

22      which I was able to tell.           I walked all the way over




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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23    Page 583 of 1584
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                                                                    Page 64

1       and I looked at it.          I'm sure.     Just knowing -- I

2       mean, I know the property.

3            Q.    Right.

4            A.    Water can be down there.           This isn't our

5       first -- we've had rain here before, so...

6            Q.    And I believe you then said you returned much

7       later on the 27th.         Did I get that right?

8            A.    Let me see here.         Click out on that.     Let me

9       get back in.       Uh-huh.

10           Q.    Is that a "yes"?

11           A.    Yes.     I'm sorry.      Yes.

12           Q.    And did you return again on the 28th?

13           A.    Yes.

14           Q.    Do you remember what time of day that was,

15      approximately?

16           A.    That would be in the morning, I believe.

17      Yeah, in the morning, around 10:30-ish probably.

18      10:30 a.m.

19           Q.    10:30 a.m.?

20           A.    Let me double-check.

21           Q.    Okay.

22           A.    Planet Funk.        Yeah.




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                                                                                       A1033
     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23      Page 584 of 1584
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                                                                      Page 65

1            Q.    You said yes?

2            A.    I'm sorry.       Yes.

3            Q.    You believe you returned on the 27th?

4            A.    I was there on the 27th in the afternoon and

5       I was there on the 28th in the actual daylight morning

6       and then I was there again on the 29th at the wee

7       hours of the morning around 2:00.

8            Q.    Okay.      What do you recall about the water

9       levels in the house over that period of time?                Did

10      they stay the same?         Did they get worse?         Did they get

11      better?

12           A.    The water levels increased from the morning

13      of the 28th to the wee hour morning of the 29th, it

14      came up probably at least a foot and a half.

15           Q.    And that was based on -- what did you see?

16           A.    Well, it spilled into the stairwell because

17      when the water butts up to the parking area and the

18      shrubs, the next -- if it comes any further in and up,

19      it has a little bit of a step, about a foot step that

20      needs to come up to come into the basement --

21           Q.    Okay.

22           A.    -- or the first floor as y'all call it I




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     Case 1:17-cv-09002-LAS     Document 266-2 Filed 01/10/23      Page 585 of 1584
                                'XWFK&KULVWRSKHU/LQGHEXUJ         6HSWHPEHU

                                                                      Page 66

1       guess.

2            Q.    Okay.

3            A.    So when I came back early in the morning, it

4       had come into the basement.

5            Q.    On which date?

6            A.    That would be early, early morning on the

7       29th, the 2:00 a.m.

8            Q.    Okay.

9            A.    So from when I went there in the morning of

10      the 28th at 10:30 a.m. and then came back at 2:00 a.m.

11      on the 29th, the water had risen at least a foot and a

12      half.

13           Q.    All right.       And did you store any property in

14      the first floor yourself?

15           A.    Yeah.

16           Q.    What did you store down there?

17           A.    I don't know.        What did I have?        I had set

18      design stuff that was left over from Death Trap.                 I

19      had smoke machines, wardrobe, vacuum, shop vac, I

20      don't know, powder gun.           Yeah.   We had all sorts of

21      old props, too, like from Blimp Trap.              Like old timey

22      dial phones like the ringer phones, old typewriter,




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Case 1:17-cv-09002-LAS                   Document 266-2             Filed 01/10/23         Page 586 of 1584




                    IN THE UNITED STATES COURT OF FEDERAL CLAIMS


            In re DOWNSTREAM ADDICKS                            )
            AND BARKER (TEXAS) FLOOD-                           )
            CONTROL RESERVOIRS                                  )
                                                                )
                                                                )   Sub-Master Docket No. 1:17-9002L
                                                                )
                                                                )
            TIDS DOCUMENT RELATES TO:                           )
                                                                )
            ALL DOWNSTREAM CASES                                )

            17-1206L



                                            INITIAL FACT SHEET
COMPLETE EACH OF THE FOLLOWING. IF YOU DO NOT KNOW THE ANSWER
TO A QUESTION, PLEASE AFFIRMATIVELY INDICATE YOU DO NOT KNOW THE
ANSWER.

1.         Name of Plaintiff(s):     Val Anthony Aldred

2.         Address of Plaintiff(s)' real property that allegedly flooded as a result of the U.S. Army Corps

           of Engineers' operations of the Addicks and Barker Dams and Reservoirs (hereinafter the

           "Property''):

835 Thomvine Lane, Houston, Texas 77079

3.         Location of any other property allegedly taken as a result of the U.S. Army Corps of Engineers'

           operations of the Addicks and Barker Dams and Reservoirs:

           None.

4.         County Property Parcel Identification number1: 1024670000024




1
    County Property Parcel Identification Numbers are available at the FBCAD website and the fJCAD website.




                                                                                                              A1036
Case 1:17-cv-09002-LAS                    Document 266-2             Filed 01/10/23          Page 587 of 1584




5.         If known, describe the date, timing, and extent/amount of Property flooding during Tropical

           Storm Harvey (i.e. how deep was the water over time, and how much, and what parts, of

           your property did it cover):

           Flooded Tuesday (8/29) afternoon sometime after 5:00 p.m.; the Plaintiff returned home

           Thursday morning 8/31 and water had mostly receded. Maximum flooding was 12 or more

           inches.

6.         If known, describe the date and extent of previous Property flooding (if any):

           2009 - inch of water following a heavy rainstorm

7.          As of August 24, 2017, was the Property located in: the 100-year floodplain D; the 500-year

            floodplainO; no known floodplain IZI.

8.          When was the Property purchased or leased by you, or do you have some other type of

            property interest?

            Purchased - 1997

9.          What is the elevation of the Property according to this website2 ?

            80.7 feet

10.         Do you have additional information regarding the elevation of the Property (e.g.,

            measurements taken for insurance purposes or a floodplain certificate)? If so, please provide

            the source and date of the information used to determine the elevation.



11.         Nature of Property interest (check all that apply): residential!ZI; commercial O; industrial O;

            owner 181; renter D.




2    Elevation information is available at https://www.mapdevelopers.com/elevation calculator.php

                                                            2




                                                                                                                A1037
Case 1:17-cv-09002-LAS             Document 266-2            Filed 01/10/23      Page 588 of 1584




12.     Condition of Property at time of acquisition (i.e. vacant, improved, partially improved):

        Improved.

13.     Is the Property currently listed on :MLS for sale?

        No

14.     Has the Property been sold since Tropical Storm Harvey? No

15.     Was there flood insurance for the Property during Tropical Storm Harvey? No



Plaintiff(s) Name: Val Anthony Aldred

Attorney Firm Name: The Potts Law Firm, LLP



Plaintiff(,) Signatrue ?   ~
                  ~ ~ L / ? . d o r / ~ -<~/,P
Date: - - - - - -- -- - -- - - - - - - -




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Case 1:17-cv-09002-LAS                   Document 266-2                 Filed 01/10/23             Page 589 of 1584




                       I N T IIE UNI TE D ST ATES CO URT OF F EDERAL C L A IMS



     lo Kc A DD ICKS AN D BARKl'.: R (T~XAS )

        FLOOD-CONTROL RESERVOIRS

                                                                        Ma ter Docket No. I 7-3000L

        THIS DOCI JMEI\T APPLIES TO:

                       LSJ00000345

                        ALLCA E



                                            INITIAL FACT SHl:t:T

 COMPLETE EACH O F T H E FO LLO W ING. IF YO U DO NOT KNOW T H E ANSWE R
 T O A QUESTION, PLEASE AFFIRMAT £VE L\' I N DICAT E YO U DON'T KNO W T H E
 Al'iSW ER:

 I.       Name of Plaintiff( ) -'-P=hi'"'"'li_,,_p'""'H-'" -'e'"'"rb=e=rt"-'A'--'-=za=r.._,""'
                                                                                           "- - - - - - - - - - - - - - -

 2.       Address of Plaintiff( )' real p1operty that all egedly ll ooded as a re ult or the USACE's

          operations of the Addicks and Ba rker Dam and Re ervoirs (hereinafter the " Proper1y''):

          3 1lacnolia Bend Dr Houston Texas 77024

 3.       County Property Parcel Identification numbcr 1.....1__1__
                                                                 49.....9;.. ;...
                                                                              60=0-'-10__0_,0__3_ __ _ _ _ _ __

 4.       Describe the date, timing, and extentiamount of Property fl ooding during Tropical Stom1

          Harvey (i e. how deep wa the water and how much, and what parts, of your property did

          it cover)      ugust 25. 2017. fi lled the garage and enti re 1st fl oor, and part of the second

          floor was also flooded, Plai nti ff esti mates that water rise to rwenty feet on his property and

          stayed there for ten to fourteen days




 1
     County Property Parcel Identification           umbers are available at the FBC' \D ,,.ct:,_ite and ~
 I!C'. \O \l. ebs11e

                                                                                 f       EXHIBIT

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Case 1:17-cv-09002-LAS             Document 266-2           Filed 01/10/23        Page 590 of 1584




 5       Describe the date and extent or prcviou Property floodin g (if any): _ _ _0~11.ly~a_c-o~u-p-
                                                                                        ..         le

        of inches to maybe I foot of water

 6.      As of August 24, 20 17. was the Propeny located in · the JOO-year flood zone             ; the

         500-year flood zone    X_     . no kno\ n flood zone _ __

 7      \J hen \: as the Property purchased or leased, by }OU, or do you have some other type or

        property interest? _ _......
                                19;...;9...aO...___ _ _ __ _ __ _ _ _ __

 8      What is the elevation1 of the Property'' _ _....;:U~n~k~n=o_wn
                                                                    ~ - -- -- -- - - - --

                   What is the ource and date of the infom,ation you used to detem,ine the

        elevation? - - - - -- - - - -- - - -- - -- - -

 9        arure of Propcny interest (check all that apply) residential _x_ , commercial _ _,

        industrial _ _ _ _ . 0\.\!11er J     _: renter_ _ .
 IO     Condition of Property at time of acquisition (i .e. acant. improved, partially improved):_

                Im roved

 11     Is the Property currently listed on MLS for sale?   -~o____________
 12.    Ha the Property been sold since Tropical Storm Harvey? ~...;:;O,___________

 13     Wa there flood insurance for the Property during Tropical Stenn Harvey? Yes i         No

 14     Plaintiff(s) Signature Block




        s l'hi/ip H. Azar, JI                    Cl / 30 / 2018
        Philip 11 Azar, H




 2
  Elevation information may be available on a flood insurance certification, or is available at
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Case 1:17-cv-09002-LAS                      Document 266-2                  Filed 01/10/23             Page 591 of 1584




                      IN THE UNITED STATES COURT OF FEDERAL CLAIMS



      In Re ADDICKS AND BARKER (TEXAS)

        FLOOD-CONTROL RESERVOIR

                                                                            Master Docket No. 17M3000L

        THIS DOCUMENT APPLIES TO:



                       ALL CASES



                                              INITIAL FACT SHEET

 COMPLETE EACH OF THE FOLLOWING. IF YOU DO NOT KNOW THE ANSWER
 TO A QUESTION, PLEASE AFFIRMATIVELY INDICATE YOU DO NOT KNOW THE
 ANSWER.

 1.      Name of Plaintiff(s):                             Jana and Gokhan Beyoglu

2.       Address of Plaintiff(s)' real property that allegedly flooded as a result of the USACE's

         operations of the Addicks and Barker Dams and Reservoirs (hereinafter the "Property"):

         107 Warrenton Drive, Houston, Texas 77024.

3.       Location of any other property allegedly taken as a result of the U.S. Army Corps of

         Engineers' operations of the Addicks and Barker Dams and Reservoirs: _ _ _ _ __




4.       County Property Parcel Identification number 1: _                 _0
                                                                            ~9~2~5~4~10~0~0~0~00~6~------

5.       If known, describe the date, timing, and extent/amount of Property flooding during

         Tropical Storm Harvey:___
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                                         _u=gu~st~2~7~,~2~0~17~,~t=
                                                                 ·h~e~B~e......
                                                                           y~og._l~u~
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                                                                                                   op""""e=1t""-'y_h=a=d~so=m~e




1 County Property Parcel Identification Numbers are available at the FBCAD website and the HCAD website.




                                                                                                                                  A1041
Case 1:17-cv-09002-LAS                    Document 266-2               Filed 01/10/23           Page 592 of 1584




             flooding due to Hurricane Harvey. The Beyoglu's property was inundated. destroyed.

             substantially damaged, and/or devalued as a direct result of the Government's intentional

             release of floodwater from the reservoirs into Buffalo Bayou on or about August 27. 2017

             to September 2017. Floodwaters occupied the property from on or about August 2([ 21

             through September 5. 2017.

    6.       If known, describe the date and extent of previous Property flooding (if any): - ~N~o=n~e·~

    7.       As of August 24, 2017, was the Property located in: the 100-year floodplain _ _; the

             500-year floodplain _K_; no known floodplain _ _ __

    8.      When was the Property purchased or leased by you, or do you have some other type of

            property interest Property was acquired on or about June 5, 2009. with ownership.

    9.      What is the elevation of the Prope1ty according to this website2 ? 20.0 meters or 65.5 feet

    10.     Do you have additional information regarding the elevation of the Property (e.g.,

            measurements taken for insmance purposes)? If so, please provide the source and date of

            the information used to determine the elevation. 69 Feet Elevation Certificate from FEMA

            dated 2/28/2005

    11.    Nature of Property interest (check all that apply): residential _x__; commercial _ _;

            industrial _ _; owner _K_; renter_ _.

12.         Condition of Property at time of acquisition (i.e. vacant, improved, partially improved):

           Improvements

13.        Is the Property currently listed on MLS for sale?          -JW~-~--te~S___ _ ____ _
14.        Has the Property been sold since Tropical St01m Harvey? -'N
                                                                     '--'-"'
                                                                         o_ _ _ __ _ _ _ __

15.        Was there flood insw·ance for the Propetty dw'ing Tropical Storm Harvey? Yes _x__ No _



2   Elevation i11fo1matio11 is available at https://www.mapdevelopcrs.com/elevation calculator.php

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Case 1:17-cv-09002-LAS                    Document 266-2                 Filed 01/10/23   Page 593 of 1584




Please contact the undersigned should you have any questions or wish to discuss further.




                                                                     Very truly yours,

                                                             NEEL, HOOPER& BANES, P.C.



                                                         By~
                                                          ryantS~




Plaintiff(s) S i g o a ~



Date: ------=-  J--+~~(!)--""--6_,_/___,,,2
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                                                                              A1044
Case 1:17-cv-09002-LAS            Document 266-2         Filed 01/10/23        Page 595 of 1584




                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS


     In Re ADDICKS AND BARKER (TEXAS)

       FLOOD-CONTROL RESERVOIRS
                                                              Master Docket No. 17-JOOOL

       THIS DOCUMENT APPLIES TO;


                  ALL CASES


                                       INITIAL FACT SHEET
 COMPLETE EACH OF THE FOLLOWING. IF YOU DO NOT KNOW THE ANSWER
 TO A QUESTION, PLEASE AFFffiMATIVELY INDICATE YOU DON'T KNOW THE
 ANSWER:

 1.      Name of Plaintiff(s): Paul and Dana Cutts

 2.      Address of Plaintiff(s)' real property that allegedly flooded as a result of the USACE' s

         operations of the Addicks and Barker Dams and Reservoirs (hereinafter the "Property"):

         311 Blue Willow D1·ive Houston TX 77042

 3.      County        Property                      Parcel          Identification number 1:

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                                                                    16~B=L=K=-=2=8~0982870000016

                       Houston TX 77042              WALNUT Bend Sec 8

 4.      Describe the date, timing, and extent/amount of Property flooding during Tropical Storm

         Harvey (i.e . how deep was the water and how much, and whal parts, of your property did

         it cover): (Saturday, August 26, 2017 to Tuesday, August 29, 2017: Harvey arrived in

         Houston, dumping significant rainfall that by Tuesday August 29, 2017 had covered



 1
  County Property Parcel Identification Numbers are available at the f BC' AD website and the
 HCAD website.
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Case 1:17-cv-09002-LAS         Document 266-2          Filed 01/10/23       Page 596 of 1584




       portions of our back lawn and front lawn. However, the interior portions of our home and

       garage did not sustain flooding during this time period. Monday, August 28, 2017: 1t

       was announced that Hurricane Harvey had finally changed course and was heading away

      from Houston. We breathed a sigh of relief upon realizing our property had survived this

      epic storm without flooding (in fact. our property has never once flooded prior to the

      post-Ha1vey dam release event). However, when the decision was made /hat same day to

      open Addicks Dam and release excess floodwaters, the released dam waters began to

      guickly flood back into our subdivision. Wednesday, August 30, 2017: By 3:00 a.m., the

      released dam waters had flowed into our home, and a thin layer of water covered our

      interior floors on the south side of our house. By 6:00 a.m. on that same morning. the

      released dam waters had flowed into and impacted all parts of our home. By 7:00 a.m. on

      that same morning. we were evacuated by kayak in the wake of still-rising dam release

      waters. We were told we could not return again until the dam release waters had

      subsided. Thursday, September 7, 2018: A full eight days later, we were finally able to

      access our subdivision and enter our home again (by wading in on foot from several

      blocks south). On that day, we measured the water marks on the interior walls of our

    • nouse and found visible water marks up to 8 inches in places throughout. Our entire

      property had visibly flooded, both inside and outside. The dam release waters reached 12

      inches on the back lawn (as indicated by water marks measured at the rear exterior wall

      of the garage) and 10 inches inside the garage (as indicated by water marks on both cars).

      The dam release waters completely covered the front lawn. All foliage, including

      significant plants and trees on both the front lawn and the back lawn, were damaged or

      killed by exposure to the standing dam release waters. The grass on both the back lawn



                                              2




                                                                                                   A1046
Case 1:17-cv-09002-LAS               Document 266-2             Filed 01/10/23       Page 597 of 1584




          and the front lawn rotted underneath the standing dam release waters and now needs to be

          completely re-sodded. The sprinkler system was damaged and needs extensive repairs.

          The garage needs to be completely stripped and repainted. Property stored in the garage

          was significantly displaced. indicating a current was present as the dam release waters

         flowed into and through the garage.

    5.   Describe the date and extent of previous Property flooding (if any): Our property has

         never once flooded in the past 41 years we have lived there - until the post-Harvey dam

         release. However. we have kept an active flood insurance policy throughout.

 6.      As of August 24, 2017, was the Property located in: the 100-year flood zone _ _ ; the

         500-year flood zone _ _; no known flood zone Zone X.

 7.      When was the Property purchased or leased, by you, or do you have some other type of

         property interest? We own the property outright and have lived in it since 1976.
                                 2
 8.      What is the elevation of the Property? 72.4 ft.            . What is the source and date of the

         information you used to determine the elevation?

         h!!P-s://www.mapdevelopers.com/elevation calculator.php January 19, 2018

 9.      Nature of Property interest (check all that apply): residential _ X_; commercial _ _;

         industrial _ _ _ _; -=-
                             ow         · _..;.X-=--...,.; renter_ _.
                                = n-=e•....

 10.     Condition of Property at time of acquisition (i.e. vacant, improved, partially improved)

         Property had been extensively renovated in 2007 throughout the entire house and we

         have lived continuously in the house since I 976.

11.      Is the Property currently listed on MLS for saJe? No

12.      Has the Property been sold since Tropical Storm Harvey? No


2
  Elevation information may be available on a flood insurance certification, or is available at
h!!P-s://www.mapdevelopers.com/eleva tion calculator.php
                                                      3




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Case 1:17-cv-09002-LAS           Document 266-2      Filed 01/10/23      Page 598 of 1584




 13.   Was there flood insurance for the Property during Tropical Storm Harvey? Yes X   No

 14.   Plaintiff(s) Signature Block.

         ,Da......,J c~
         OG?()~




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                      IN THE UNITED STATES COURT OF FEDERAL CLAIMS



    In Re ADDICKS AND BARKER (fEXAS)
        FLOOD-CONTROL RESERVOIR
                                                                                        Master Docket No. 17-JOOOL

        THIS DOCUMENT APPLIES TO:



                         ALL CASES


                                                     INITIAL FACT SHEET
COMPLETE EACH OF THE FOLLOWING. IF YOU DO NOT KNOW THE ANSWER
TO A QUESTION, PLEASE AFFIRMATIVELY INDICATE YOU DO NOT KNOW THE
ANSWER.

1.        Name of Plaintiftts):                         Arnstein and Inga Strause Godejord

2.        Address of Plaintiffts)' real property that allegedly flooded as a result of the USACE's

           operations of the Addicks and Barker Dams and Reservoirs (hereinafter the "Property"):

           14334 Heatherfield Drive, Houston, Texas 77079.

3.         Location of any other property allegedly taken as a result of the U.S. Anny Corps of

          Engineers' operations of the Addicks and Barker Dams and Reservoirs: - - --                                                         --




4.        County Property Parcel Identification number1: ---=09
                                                              __7__3;...:4..aa.0000.;:;..;...;:=00..=....:...;16"'--------

5.        If known, describe the date, timing, and extent/amount of Property flooding during

          Tropical Storm Harvey:_ _;A
                                    ............                    , -2_0-17-,.....th
                                          s --'o~f-'-A=u_gus_t__2-7....              ....e~G....od~ej'"'"or__.d"""''s---.pro~P......
                                                                                                                               ertv....-.-=ha=d=-=n=-ot


                     IS$
1
    County Property Parcel Identification Numbers are available at the FBCAD website and the HCAD website.




                                                                                                                                                          A1049
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                   flooded due to Hurricane Harvey. The Godejord's property was inundated, destroyed,

                   substantially damaged, and/or devalued as a direct result of the Government's intentional


I                 release of floodwater from the reservoirs into Buffalo Bayou on or about August 27, 2017

                  to September 2017. Floodwaters occupied the house from August 29, 2017 to September



I         6.

          7.
                  8 2017.

                  If known, describe the date and extent of previous Property flooding (if any): -~N=o=
                                                                                                      n~e·~

                  As ofAugust 24, 2017, was the Property located in: the 100-year floodplain _ ; the 500-

                  year floodplain     X      · no known floodplain _ _ _ __

         8.       When was the Property purchased or leased by you, or do you have some other type of

                 property interest     Property was acquired on or about 2008, with ownership.

         9.      What is the elevation of the Property according to this website2? 22.5 meters or 73.8 feet

         10.     Do you have additional information regarding the elevation of the Property (e.g. ,

                 measurements taken for insurance purposes)? If so, please provide the source and date of

                 the information used to determine the elevation.
                                                                      · - - - - - - - - - - -- -- -
         I 1.    Nature of Property interest (check all that apply): residential _K__; commercial _ _;

                industrial _ ___,· owner _x_; renter_ _.

        12.     Condition of Property at time of acquisition (i.e. vacant, improved, partially improved):

                Improved

        13.     Is the Property currently listed on MLS for sale? -=
                                                                   N=o' - - - -- -- -- - - - -

        14.     Has the Property been sold since Tropical Storm Harvey? __N""""o=----------

    15.         Was there flood insurance for the Property during Tropical Storm Harvey? Yes_ No...X




    2
        Elevation information is available at https://www.mapdevelopers.com/elevation calculator.php

                                                              2




                                                                                                                A1050
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 Please contact the undersigned should you have any questions or wish to discuss further.



                                                    Very truly yours,

                                                NEEL, HOOPER & BANES, P.C.



                                            By~~-



Plaintiftts) Name:   Arn~./&~/V) bt2dl?/()v-d
Plaintiftts) Sil/ll3rure/~~-              ~
Date:   P..ehYcA.PVVy 2.. 2-0/ g
                      (




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                     IN THE UNITED STATES COURT 0)1' Ji'F.DERAL CLAIMS


           In re DOWNSTREAM ADDICKS                                 )
           AND BARKER (TEXAS) FLOOD-                                )
           CONTROL RESERVOIRS                                       )
                                                                    )
                                                                    )    Sub-Master Docket No. 1:17-9002L
                                                                    )
                                                                    )
            THIS DOCUMENT RELATES TO:                               )
                                                                    )
            ALL DOWNSTREAM CASES                                    )

            17-cv-O1457



                                       AMENDED INITIAL FACT SHEET
 COMPLETE EACII OF THE FOLLOWING. IF YOU DO NOT KNOW THE ANSWER
 TO A QUESTION, PLEASE AFFIRMATIV.l::~:LY INDICATE YOU DO NOT KNOW THE
 ANSWER.

 1.       Name of Plaintiff(s):        Good Resources T,LC

 2.       Address of Plaintiff(s)' real property that allegedly floock<l as a result or Lhe U.S. Army Corps

          of Engineers' operations of the 1\ddicks and Darker Dams an<l Reservoirs (hereinafter Lhe

          "P rorcrty"):

          760 Memorial Mews StreeL, 11ouston, TX 77079

 1.       Location of any other property allegc:dly taken as a result o[ Lhe U.S. Army Corp s of Engineers'

          operations of the Addicks and Barker Dams and Reservoirs:

          None

 4.       County Property Parcel Identification nt1mber 1: 11472800200004

                                                                                                                     EXHIBIT
                                                                                                                 Q~/
                                                                                                                     o2.-
                                                                                                              Michelle Hartman, CSR

 I C.ou11L)' Property Pared ld~ntific:uion '\!umht!rs art! av:tilalilt! 111 1he FBC \D website and ~le.AD \ \ ' ~.




                                                                                                                                      A1052
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  5.        lf known, describe the date, timing, and extent/ amount of Property flooding during Tropical

            Storm I Iarvey (i.e. how deep was the water over lime, and how much, and whal parts, o f

            yo ur property did it cover):

            The property consists of fou r units. On August 28, 2017, water flooded the properties and the

            street damaging all 11 Air Conditioning Compressors and sha red water heater. 'l'he flooding

            reached an estimated 44.5 inches outside, and 38 inches inside the two ground units. 'l'be

            property was inaccessible uo.il September 10, 2017.

 6.         I [ known, describe the date and extent of previous Property flooding (if any):

            None.;

 7.         As of August 24, 2017, was the Property located in: the 100 year floodplain               D; the 500-year

            floodplain l8l; no known CTomlplain D.

                                                                                                                         ....
                                                                                                                          .. .
 8.         \'(/hen was the P roperty purchased or leased by you, or <lo you have some o ther rypc of

            property interest?

             January 30, 2015

 9.         What is the elevation of the Property according to this website:?




 10.      · Do you have addil.ional informal.ion regarding the eleval.ion of the Property (e.g.,

            measurements taken for insurance purposes or a floodplain certificate)? lf so, please provide

            the source am! elate of the informarion used to determine the eleval.io n.

            Yes. 78.S fr, per clc:varion ccrrificatc prepared hy South Texas Surve)'ing Associ:1tion, Tnc.

 11 .       NaLure o[ Property interest (check all that apply): residentiaLIZJ; conu11ercial I I; industrial IJ ;

            owner IZJ; renter D.



 2   E levation information is available at https://www.mapdc,·dopc>rs.n,m/dt"va1ion cak:ul:uor.php

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                                                                                                                        A1053
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  12.           CondiLion of Property al Lime of acquisilion (i.e. vacaul, improved, parLially improvc<l):

                Rc:cent.ly updaLed flooring, cabinets, A/C: an<l appliances.

  13.           Is the Property currently listed on MLS for sale?

                No

  14.           Has the Property been sold since Tropical Storm Hanrey? No

  15.           Was there flood insurance for the Property during Tropical Storm Harvey? No




  Plaintiff(s) Name: (;ood Resources LLC:

 Attorney fiirm N ame: Rai:.mer Stania LLP

                                        OocuSl9ned by:

  J     •   •        .                  ~~ b(JtJJ
  l la11111ff(s) Signature:               4 eA6A&AS&t4IF9::
                                                         ..:-
                                                           . - - - - - - - - - - - - - - - -- - --




 Date: __2_/_1_3_/_2_0_1 _
                         8 _ _ _ _ _ _ _ _ _ __ _ _
                                        l n DocuSlgncd b y:



  Plaintiff(s) Signature: __L _
                              a-!~iHB7rll8"1<~~!A
                                             09';>
                                              ~ l!l'~!IF-'"41+1
                                                             7Ff'--- - - - - - - - - - - -- - --             -   -   -




                2/13/ 2018
  D ate:
  Good Resources LLC
  By: Jeremy Good & Ana Good as Managing Members




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                                                                              A1055
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                    IN THE UNITED STATES COURT OF FEDERAL CLAIMS

    In re DOWNSTREAM ADDICKS AND
    BARKER (TEXAS) FLOOD-CONTROL
    RESERVOIRS                                                     Sub-Master Docket
                                                                   No. 17-9002L

    THIS DOCUMENT APPLIES TO:

    WAYNE HOLLIS, JR. AND PEGGY HOLLIS
    V. THE UNITED STATES OF AMERICA,
    No. 1:17-CV-1300L


                     PLAINTIFFS’ FIRST AMENDED INITIAL FACT SHEET

COMPLETE EACH OF THE FOLLOWING. IF YOU DO NOT KNOW THE ANSWER
TO A QUESTION, PLEASE AFFIRMATIVELY INDICATE YOU DO NOT KNOW THE
ANSWER.

      1. Name of Plaintiff(s): Wayne Hollis, Jr. and Peggy Hollis.

      2. Address of Plaintiff(s)’ real property that allegedly flooded as a result of the U.S. Army

           Corps of Engineers’ operations of the Addicks and Barker Dams and Reservoirs

           (hereinafter the “Property”): 14914 River Forest Drive, Houston, Texas 77079-6327.

      3. Location of any other property allegedly taken as a result of the U.S. Army Corps of

           Engineers’ operations of the Addicks and Barker Dams and Reservoirs: All personal

           property was discarded and moved to curbside where the City of Houston hauled the

           damaged items to an unknown landfill.

      4. County Property Parcel Identification number1: HCAD Parcel ID No. 1000810000012.

      5. If known, describe the date, timing, and extent/amount of Property flooding during

           Tropical Storm Harvey (i.e. how deep was the water over time, and how much, and what

           parts, of your property did it cover): Plaintiffs’ residence began flooding on August 28,



1
    County Property Parcel Identification Numbers are available at the FBCAD website and the HCAD website.




                                                                                                             A1056
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           2017 due to the United States Corp of Engineers releasing water from the Addicks and

           Barker Reservoirs. Plaintiffs’ residence continued to flood for approximately two weeks

           following the releases, which reached a high-water mark of approximately 42 inches in the

           interior of Plaintiffs’ residence at the property at issue.

      6. If known, describe the date and extent of previous Property flooding (if any): None.

      7. As of August 24, 2017, was the Property located in: the 100-year floodplain No; the 500-

           year floodplain Yes; no known floodplain.

      8. When was the Property purchased or leased by you, or do you have some other type of

           property interest? December 1983.

      9. What is the elevation of the Property according to this website2? 23.3 meter or 76.4 feet.

      10. Do you have additional information regarding the elevation of the Property (e.g.,

           measurements taken for insurance purposes or a floodplain certificate)? If so, please

           provide the source and date of the information used to determine the elevation. According

           to Google Earth, the property has an elevation of 76 feet as of 01.11.18.

      11. Nature of Property interest (check all that apply): residential X; commercial _____;

           industrial _____; owner _____; renter_____.

      12. Condition of Property at time of acquisition (i.e. vacant, improved, partially improved):

           Improved.

      13. Is the Property currently listed on MLS for sale? No.

      14. Has the Property been sold since Tropical Storm Harvey? No.

      15. Was there flood insurance for the Property during Tropical Storm Harvey? Yes X No __

Plaintiff(s) Name: Wayne Hollis, Jr. and Peggy Hollis



2
    Elevation information is available at https://www.mapdevelopers.com/elevation_calculator.php.


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                                                                                                                A1057
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Attorney Firm Name:           David C. Frederick, D.C. # 431864
                              dfrederick@kellogghansen.com
                              KELLOGG, HANSEN, TODD,
                              FIGEL &FREDERICK, P.L.L.C.
                              1615 M Street, N.W., Suite 400
                              Washington, D.C. 20036
                              Telephone: (202) 326-7900
                              Facsimile: (202) 326-7999

                              LEAD COUNSEL FOR
                              WAYNE HOLLIS, JR. AND PEGGY HOLLIS

                              and
                              Clayton A. Clark
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                              Scott A. Love
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                              CLARK, LOVE & HUTSON, G.P.
                              440 Louisiana St., Ste. 1600
                              Houston, Texas 77002
                              Telephone: (713) 757-1400
                              Facsimile: (713) 759-1217


“The undersigned plaintiffs, Wayne Hollis, Jr. and Peggy Hollis attest to reviewing the Plaintiffs’
fact sheet in this case and hereby declare the above information, facts and statements contained
herein are true and accurate to the best of our knowledge, information and belief.”




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                                                                                                      A1058
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS

         In re DOWNSTREAM ADDICKS                         )
         AND BARKER (TEXAS) FLOOD-                        )
         CONTROL RESERVOIRS                               )
                                                          )
                                                          ) Sub-Master Docket No. 1: l 7-9002L
                                                          )
         THIS DOCUMENT RELATES TO:                        )
         Memorial SMC Investment 2013, LP                 )
         v. United States, No. 17-1451 L                  )
                                                          )


COMPLETE EACH OF THE FOLLOWING. IF YOU DO NOT KNOW THE ANSWER
TO A QUESTION, PLEASE AFFIRMATIVELY INDICATE YOU DO NOT KNOW
THE ANSWER.


1.      Name of Plaintiff(s): Memorial SMC Investment 2013, LP _ _ _ _ _ _ _ _ _ _ __

2.      Address of Plaintiff(s)' real property that allegedly flooded as a result of the U.S. Army
        Co1ps of Engineers' operations of the Addicks and Barker Dams and Reservoirs 01ereinafter
        the "Property"): 777 S. Maydc Creek Dr., Houston, Texas

3.      Location of any other property allegedly taken as a result of the U.S. Army Cmps of Engineers'
        operations of the Addicks and Barker Dams and Reservoirs: 777 S. Mayde Creek Dr.,
        Houston, Texas

4.      County Property Parcel Identification number1: 1329650010002 _ _ _ _ _ _ _ _ __

5.      If known, describe the date, timing, and extent/ amount of Property flooding during Tropical
        Storm Harvey (i.e. how deep was the water over time, and how much, and what parts, of your
        property did it cover): The structures on the Property began to flood at approxiniatelv
        11 :20pm on August 27, 2017, and the Property was flooded through September 11. 2017.
        The high-water mark on the Property was approxiniatelv six feet, measured at an interior
        location at one of the higher points on the Property. Floodwaters covered the entire
        Property.

6.      If known, describe the date and extent of previous Property flooding (if any): None

7.      As of August 24, 2017, was the Property located in: the 100-year floodplain _ _; the 500-
        year floodplain _X_ _; no known floodplain _ __

8.      When was the Property purchased or leased by you, or do you have some other type of
        property interest: It was purchased on June 28, 2013.


1 1 County Prope11y Parcel Identification Numbers are available at the FBCAD website and the HCAD website.




                                                                                                             A1059
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9.          What is the elevation of the Property according to this website 2? 76.3 feet

10.         Do you have additional information regarding the elevatio n of the Property (e.g.,
            measurements taken for insurance purposes or a floodplain certificate)? If so, please provide
            the source and date of the information used to determine the elevation. Please see the
            attached Elevation Certificates for each building on the Property.

11.         N ature of Property interest (check all that apply) : residential _ _; commercial _X_ _;
            industrial _ _; owner _X_ _; renter_ _.


12.         Condition of Property at time of acquisition (i.e. vacant, improved, partially improved):
            Vacant - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -


13.         Is the Property currently listed on l'vILS for sale? No _ _ _ _ _ _ _ _ _ _ _ _ _ __


14.         Has the Pro perty been sold since Tropical Storm Harvey? The property was conveyed to an
            entity (ma jority owned by an affiliate of tl1e mortgagee) in order to restructure tl1e debt on
            the property _ _ _ _ _ _ __ _ _ _ _ _ __ _ _ __ _ _ _ _ _ _ _ _ _ _ __


15.         Was tl1ere flood insurance for tl1e Property during Tropical Storm Harvey? Yes _ No _X_

Plaintiff(s) Name: Memorial Sl\lIC Investment 2013. LP

Plaintiff(s) Signature:     _/?/ g;f:;;J::__
D ate       F.-£,,,kf~                 O{a
                                                         Respectfully submitted,

                                                         Isl Don C. Grifjin
                                                         Don C. Griffin, Attorney of Record
                                                         Texas Bar No. 08456975
                                                         D. Ferguson McNiel, of counsel
                                                         Texas Bar No. 13830300
                                                         Deborah C. M ilner, of counsel
                                                         Texas Bar No. 24065761
                                                         V INSON & E LKINS LLP
                                                          1001 Fannin Street, Suite 2500
                                                         Houston, Texas 77002
                                                         Telephone : 7 13 758 3508
                                                         Facsimile : 713 615 5985

2
     E levation information is available at https://www. mapdevelopers.com/elevationcalculator.php

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                                                                                                                        A1060
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                               Email: dgriffin@velaw.com
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                                      cmilner@velaw.com

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                               Richard Warren Mithoff, of counsel
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                               Email: rmithoff@mithofflaw.com
                                      whocker@mithofflaw.com


                               ATTORNEYS FOR PLAINTIFF
                               MEMORIAL SMC INVESTMENT 2013 LP,
                               A TEXAS LIMITED PARTNERSHIP




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U.S. DEPARTMENT OF HOMELAND SECURITY                 ·ELEVATION CERTIFICATE
FEDERAL EMERGENCY MANAGEMENT AGENCY                                                                                           0MB No. 1660-0008
National Flood Insurance Program                  Important: Read the instructions on pages 1-9.                              Expiration Date: July 31, 2015

                                                             SECTION A- PROPERTY INFORMATION                                  FOR INSURANCE COMPANY USE
 A1. Building Owner's Name Memorial SMC Investment 2013 LP                                                                    Policy Number:

 A2. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                        Company NAIC Number:
 777 S. Mayde Creek Dr., Parking Garage
      City Houston                                                          State Tx        ZIP Code 77079

 A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
 Resv. A, Blk. 1, Mayde Creek Crossing

 A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Non-Residential /Parking Garage)
 A5. Latitude/Longitude: Lat. 29°46'37.8" Long. 95°37'30.6" Horizontal Datum: D NAD 1927 [:8J NAD 1983
 A6. Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
 A7. Building Diagram Number 1A
 A8. For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
     a) Square footage of crawlspace or enclosure(s)                 N/A      sq ft               a) Square footage of attached garage        N/A      sq ft
     b) Number of permanent flood openings in the crawlspace                                      b) Number of permanent flood openings in the attached garage
         or enclosure(s) within 1.0 foot above adjacent grade       N/A                               within 1.0 foot above adjacent grade    N/A
     c) Total net area of flood openings in A8.b                    N/A       sq in               c) Total net area of flood openings in A9.b N/A      sq in
     d) Engineered flood openings?           D Yes t:8l No                                        d) Engineered flood openings?          D Yes t:8J No
                                         SECTION 8 - FLOOD INSURANCE RATE MAP (FIRM) INFORMATION

 B1. NFIP Community Name & Community Number                          B2. County Name                                          B3. State
 City of Houston - 480296                                            Harris                                                   Tx

   B4. Map/Panel Number            B5. Suffix     B6. FIRM Index Date             B7. FIRM Panel               B8. Flood            B9. Base Flood Elevation(s) (Zone
        48201C0620                     L               05/04/2015             Effective/Revised Date            Zone(s)                 AO, use base flood depth)
                                                                                    06/18/2007                X (Shaded)                         75.72
B10. Indicate the source of the Base Flood Elevation (BFE) data or base flood depth entered in Item B9.
          ~ FIS Profile         D FIRM      D Community Determined                  D Other/Source: _ _
B11. Indicate elevation datum used for BFE in Item B9: D NGVD 1929                  D NAVO 1988      ~ Other/Source: NAVD88 2001 ADJ
B12. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?                         D Yes       t:8J No
     Designation Date: _ _                                         0 CBRS          O OPA
                                      SECTION C - BUILDING ELEVATION INFORMATION (SURVEY REQUIRED)
C1. Building elevations are based on:          D Construction Drawings*             D Building Under Construction* t:8J Finished Construction
    *A new Elevation Certificate will be required when construction of the building is complete.
C2. Elevations-Zones A1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
    below according to the building diagram specified in Item A7. In Puerto Rico only, enter meters.
    Benchmark Utilized: RM 210395                                   Vertical Datum: NAVO 88 /2001 ADJ)
     Indicate elevation datum used for the elevations in items a) through h) below. D NGVD 1929 D NAVO 1988 181 Other/Source: NAVD88 2001 ADJ
     Datum used for building elevations must be the same as that used for the BFE.
                                                                                                           Check the measurement used.
     a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                  _n.Q_                       ~ feet       D meters
     b) Top of the next higher floor                                                              _fill_.§_                   t:8J feet    D meters
     c) Bottom of the lowest horizontal structural member (V Zones only)                          N/A. _ _                    t:8l feet    D meters
     d) Attached garage (top of slab)                                                             N/A. _ _                    ~ feet       D meters
     e) Lowest elevation of machinery or equipment servicing the building                         _n.Q_                       ~ feet       D meters
        (Describe type of equipment and location in Comments)
     f) Lowest adjacent (finished) grade next to building (LAG)                                   --1§.L                      ~ feet       D meters
     g) Highest adjacent (finished) grade next to building (HAG)                                  --1§.L                      t:8J feet    D meters
     h) Lowest adjacent grade at lowest elevation of deck or stairs, including structural support NA. _ _                     ~ feet       D meters
                                       SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
  This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
  information. / certify that the information on this Certificate represents my best efforts to interpret the data available.
  I understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
  [:8J Check here if comments are provided on back of form.             Were latitude and longitude in Section A provided by a
  D Check here if attachments.                                          licensed land surveyor?        D Yes ~ No
  Certifier's Name Brian E. Wilson                                                     License Number 5745

  Title Survey Manager                           Company Name Miller Survey Group

                                            N.   City Houston                          State Tx     ZIP Code 77043

  Signature                                      Date 04/15/16                         Telephone (713) 413-1900



FEMA Form 086-0-33 (7/12)                                         See reverse side for continuation.                                 Replaces all previous editions.


                                                                                                                                                                 A1062
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ELEVATION CERTIFICATE, page 2
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                                            FOR INSURANCE COMPANY USE
 Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Policy Number:
 777 S. Mayde Creek Dr., Parking Garage
 City Houston                                                             State Tx        ZIP Code 77079                   Company NAIC Number:

                            SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION (CONTINUED)
 Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agent/company, and (3) building owner.
 Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U1 OO-BM01, on bridge at Memorial Drive and Langham
 Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVO 1988, 2001 Adj.)

 C2(e)- Domestic Water and Fire P\p


 Signature                                                                           Date 04/15/16


       SECTION E - BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED) FOR ZONE AO AND ZONE A (WITHOUT BFE)

 For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
 and C. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
 E1.    Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
        grade (HAG) and the lowest adjacent grade (LAG).
        a) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the HAG.
        b) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the LAG.
 E2.    For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
        (elevation C2.b in the diagrams) of the building is _ _. _ _ D feet D meters D above or D below the HAG.
 E3.    Attached garage (top of slab) is - - · - -          D feet D meters D above or D below the HAG.
 E4.    Top of platform of machinery and/or equipment servicing the building is _ _ ._ _ D feet D meters D above or D below the HAG.
  E5.   Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
        ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.

                            SECTION F - PROPERTY OWNER (OR OWNER'S REPRESENTATIVE) CERTIFICATION
 The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
 or Zone AO must sign here. The statements in Sections A, B, and E are correct to the best of my knowledge.
 Property Owner's or Owner's Authorized Representative's Name

 Address                                                                        City                               State            ZIP Code

 Signature                                                                      Date                               Telephone

 Comments


- - - - - - - - - - - - - - - + - - - - - - - - - - - - - - - - - - - - - - - - - - - - - D Check here if attachments.
                                               SECTION G - COMMUNITY INFORMATION (OPTIONAL)
The local official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
of this Elevation Certificate. Complete the applicable item(s) and sign below. Check the measurement used in Items G8-G10. In Puerto Rico only, enter meters.
G1. D      The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
           is authorized by law to certify elevation information. (Indicate the source and date of the elevation data in the Comments area below.)
G2. D      A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
G3. D      The following information (Items G4-G10) is provided for community floodplain management purposes.

 G4. Permit Number                         G5. Date Permit Issued                               G6. Date Certificate Of Compliance/Occupancy Issued


G7. This permit has been issued for:        D New Construction          D Substantial Improvement
G8. Elevation of as-built lowest floor (including basement) of the building: _ _ _ _         D feet        D meters         Datum
G9. BFE or (in Zone AO) depth of flooding at the building site:            _ _. _ _          D feet        D meters         Datum
G10. Community's design flood elevation:                                                     D feet        D meters         Datum


 Local Official's Name                                                                  Title

 Community Name                                                                         Telephone

 Signature                                                                              Date

 Comments

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - D Check here if attachments.

FEMA Form 086-0-33 (7/12)                                                                                                         Replaces all previous editions.


                                                                                                                                                              A1063
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 ELEVATION CERTIFICATE, page 3
                                                       Building Photographs
                                                             See Instructions for Item A6
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                            FOR INSURANCE COMPANY USE
 Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.         Policy Number:
 777 S. Mayde Creek Dr., Parking Garage
 City Houston                                                            State Tx        ZIP Code 77079    Company NAIC Number:


If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
indicated in Section A8. If submitting more photographs than will fit on this page, use the Continuation Page.


Rear View taken 9/16/15




FEMA Form 086-0-33 (7/12)                                                                                      Replaces all previous editions.



                                                                                                                                               A1064
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ELEVATION CERTIFICATE, page 4                          Building Photographs
                                                                   Continuation Page
IMPORTANT: In these spaces, copy the corresponding information from Section A.                              FOR INSURANCE COMPANY USE
Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.           Policy Number:
777 S. Mayde Creek Dr., Parking Garage
City Houston                                                            State Tx        ZIP Code 77079      Company NAIC Number:


If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
with: date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side View." When applicable,
photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section A8.


Front View taken 9/16/15
,...




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FEMA Form 086-0-33 (7/12)                                                                                       Replaces all previous editions.



                                                                                                                                            A1065
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U.S.DEPARTMENTOFHOMELANDSECURITY                       ELEVATION CERTIFICATE
FEDERAL EMERGENCY MANAGEMENT AGENCY                                                                                                0MB No. 1660-0008
National Flood Insurance Program                   Important: Read the instructions on pages 1-9.                                  Expiration Date: July 31, 2015

                                                              SECTION A- PROPERTY INFORMATION                                      FOR INSURANCE COMPANY USE
 A1. Building Owner's Name Memorial SMC Investment 2013 LP                                                                         Policy Number:

 A2. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                             Company NAIC Number:
 777 S. Mayde Creek Dr., Building 1
        City Houston                                                         State Tx        ZIP Code 77079

 A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
 Resv. A, Blk. 1, Mayde Creek Crossing

 A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Apartments
 A5.    Latitude/Longitude: Lat. 29°46'37.8" Long. 95°37'30.6" Horizontal Datum: D NAO 1927 J:8] NAO 1983
 A6.    Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
 A7.    Building Diagram Number 1A
 AS.    For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
        a) Square footage of crawlspace or enclosure(s)                 N/A      sq ft               a) Square footage of attached garage        5 280    sq ft
        b) Number of permanent flood openings in the crawlspace                                      b) Number of permanent flood openings in the attached garage
            or enclosure(s) within 1.0 foot above adjacent grade        N/A                              within 1.0 foot above adjacent grade    NIA
        c) Total net area of flood openings in A8.b                     N/A      sq in               c) Total net area of flood openings in A9.b N/A      sq in
        d) Engineered flood openings?           D Yes J:8l No                                        d) Engineered flood openings?          D Yes [81 No
                                          SECTION B - FLOOD INSURANCE RATE MAP (FIRM) INFORMATION

 81. NFIP Community Name & Community Number                           82. County Name                                              83. State
 City of Houston - 480296                                             Harris                                                       Tx

   84. Map/Panel Number            85. Suffix      86. FIRM Index Date            87. FIRM Panel                       88. Flood       89. Base Flood Elevation(s) (Zone
        48201C0620                     L                05/04/2015            Effective/Revised Date                    Zone(s)            AO, use base flood depth)
                                                                                    06/18/2007                        X (Shaded)                    75.72'
810. Indicate the source of the Base Flood Elevation (BFE) data or base flood depth entered in Item 89.
            [81 FIS Profile      D FIRM          D Community Determined              D Other/Source: _ _
811. Indicate elevation datum used for BFE in Item 89: D NGVD 1929            D NAVO 1988         [81 Other/Source: NAVD88 2001 ADJ
812. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?          D Yes                          J:8] No
     Designation Date: _ _                                         0 CBRS          O OPA
                                      SECTION C-BUILDING ELEVATION INFORMATION (SURVEY REQUIRED)
C1. Building elevations are based on:          D Construction Drawings*             D Building Under Construction* [81 Finished Construction
    *A new Elevation Certificate will be required when construction of the building is complete.
C2. Elevations -Zones A1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
    below according to the building diagram specified in Item A7. In Puerto Rico only, enter meters.
       Benchmark Utilized: RM 210395                                    Vertical Datum: NAVO 88 (2001 ADJ)
       Indicate elevation datum used for the elevations in items a) through h) below. D NGVD 1929 D NAVO 1988 181 Other/Source: NAVD88 2001 ADJ
       Datum used for building elevations must be the same as that used for the BFE.
                                                                                                             Check the measurement used.
       a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                    ...If_.§]_                   [81 feet    D meters
       b) Top of the next higher floor                                                                __fill,.12.._                [81 feet    D meters
       c) Bottom of the lowest horizontal structural member (V Zones only)                            NIA._                        [81 feet    D meters
       d) Attached garage (top of slab)                                                               ...If_.~                     [81 feet    D meters
       e) Lowest elevation of machinery or equipment servicing the building                           _l§.§1_                      [81 feet    D meters
          (Describe type of equipment and location in Comments)
       f) Lowest adjacent (finished) grade next to building (LAG)                                     ~-L                          [81 feet    D meters
       g) Highest adjacent (finished) grade next to building (HAG)                                    -1J...L                      [81 feet    D meters
       h) Lowest adjacent grade at lowest elevation of deck or stairs, including structural support   ...IJ_.22_                   [81 feet    D meters
                                       SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
 This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
 information. I certify that the information on this Certificate represents my best efforts to interpret the data available.
 I understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
 J:8] Check here if comments are provided on back of form.             Were latitude and longitude in Section A provided by a
 D Check here if attachments.                                          licensed land surveyor?        D Yes J:8l No
  Certifier's Name Carolyn J. Quinn                                                     License Number 6033

  Title R.P.L.S.                                  Company Name Miller Survey Group

  Address 1760 W. Sam Houston Pkwy N.             City Houston                          State Tx      ZIP Code 77043

  Signature                                                                             Telephone (713) 413-1900



FEMA Form 086-0-33 (7/12)                                          See reverse side for continuation.                                    Replaces all previous editions.

                                                                                                                                                                    A1066
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ELEVATION CERTIFICATE, page 2
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                                            FOR INSURANCE COMPANY USE
 Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Policy Number:
 777 S. Mayde Creek Dr., Building 1
 City Houston                                                             State Tx        ZIP Code 77079                   Company NAIC Number:

                             SECTION D- SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION (CONTINUED)
 Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agenUcompany, and (3) building owner.
 Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U1 OO-BM01, on bridge at Memorial Drive and Langham
 Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVD 1988, 2001 Adj.)

 C2(e)-A/CPad.~                                ,


 Signature       I             ~~                                                    Date 8/19/15


        SECTION E - BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED) FOR ZONE AO AND ZONE A (WITHOUT BFE)

 For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
 and C. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
 E1.     Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
         grade (HAG) and the lowest adjacent grade (LAG).
         a) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the HAG.
         b) Top of bottom floor (including basement, crawlspace, or enclosure) is _.__. _ _        D feet D meters D above or D below the LAG.
 E2.     For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
         (elevation C2.b in the diagrams) of the building is _ _. _ _ D feet D meters D above or D below the HAG.
 E3.     Attached garage (top of slab) is - - · - -          D feet D meters D above or D below the HAG.
 E4.     Top of platform of machinery and/or equipment servicing the building is _ _._ _ D feet D meters D above or D below the HAG.
  E5.    Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
         ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.

                             SECTION F- PROPERTY OWNER (OR OWNER'S REPRESENTATIVE) CERTIFICATION
 The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
 or Zone AO must sign here. The statements in Sections A, B, and E are correct to the best of my knowledge.
 Property Owner's or Owner's Authorized Representative's Name

 Address                                                                        City                               State            ZIP Code

 Signature                                                                      Date                               Telephone

 Comments


- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.
                                                   SECTION G - COMMUNITY INFORMATION (OPTIONAL)
The local official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
of this Elevation Certificate. Complete the applicable item(s) and sign below. Check the measurement used in Items G8-G10. In Puerto Rico only, enter meters.
G1. D      The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
           is authorized by law to certify elevation information. (Indicate the source and date of the elevation data in the Comments area below.)
G2. D      A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
G3. D      The following information (Items G4-G10) is provided for community floodplain management purposes.

 G4. Permit Number                         G5. Date Permit Issued                               G6. Date Certificate Of Compliance/Occupancy Issued


G7. This permit has been issued for:        D New Construction          D Substantial Improvement
GB. Elevation of as-built lowest floor (including basement) of the building: _ _ _ _         D feet        D meters         Datum
G9. BFE or (in Zone AO) depth of flooding at the building site:            _ _. _ _          D feet        D meters         Datum
G10. Community's design flood elevation:                                                     D feet        D meters         Datum


 Local Official's Name                                                                  Title

 Community Name                                                                         Telephone

 Signature                                                                              Date

 Comments

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.

FEMA Form 086-0-33 (7/12)                                                                                                         Replaces all previous editions.

                                                                                                                                                             A1067
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 ELEVATION CERTIFICATE, page 3
                                                        Building Photographs
                                                             See Instructions for Item A6.
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                            FOR INSURANCE COMPANY USE
 Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.         Policy Number:
 777 S. Mayde Creek Dr., Building 1
 City Houston                                                            State Tx        ZIP Code 77079    Company NAIC Number:


 If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
 for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
 View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
 indicated in Section AB. If submitting more photographs than will fit on this page, use the Continuation Page.




Side View Taken 8/14/15




FEMA Form 086-0-33 (7/12)                                                                                       Replaces all previous editions.


                                                                                                                                            A1068
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ELEVATION CERTIFICATE, page 4
                                                       Building Photographs
                                                                   Continuation Page
IMPORTANT: In these spaces, copy the corresponding information from Section A.                            FOR INSURANCE COMPANY USE
Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.         Policy Number:
777 S. Mayde Creek Dr., Building 1
City Houston                                                            State Tx        ZIP Code 77079    Company NAIC Number:


If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
with: date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side View." When applicable,
photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section A8.




FEMA Form 086-0-33 (7/12)                                                                                     Replaces all previous editions.


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      U.S. DEPARTMENT OF HOMELAND SECURITY
      FEDERAL EMERGENCY MANAGEMENT AGENCY
                                                               ELEVATION CERTIFICATE                                                        0MB No. 1660-0008
      National Flood Insurance Program                     Important: Read the instructions on pages 1-9.                                   Expiration Date: July 31, 2015            I
                                                                      SECTION A- PROPERTY INFORMATION                                       FOR INSURANCE COMPANY USE
          A1. Building Owner's Name Memorial SMC lnvestment2013 LP                                                                          Policy Number:

          A2. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                             Company NAIC Number:
          777 S. Mayde Creek Dr., Building 2
              City Houston                                                         State Tx        ZIP Code 77079

          A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
          Resv. A. Blk. 1, Mayde Creek Crossing

          A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Apartments
          A5.     Latitude/Longitude: Lat. 29°46'37.8" Long. 95°37'30.6" Horizontal Datum: D NAO 1927 [g! NAD 1983
          A6.     Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
          A7.     Building Diagram Number 1A
          A8.     For a building with a crawlspace or enclosure(s):                                      AS. For a building with an attached garage:
                  a) Square footage of crawlspace or enclosure(s)                 N/A      sq ft               a) Square footage of attached garage        1 920   sq ft
                  b) Number of permanent flood openings in the crawlspace                                      b) Number of pemnanent flood openings in the attached garage
                      or enclosure(s) within 1.0 foot above adjacent grade        N/A                              within 1.0 foot above adjacent grade    N/A
                . c) Total net area offload openings in A8.b                      NIA      sqin                c) Total net area of flood openings in A9.b N/A      sq in
                  d) Engineered flood openings?           D Yes IZJ No                                         d) Engineered flood openings?          D Yes fgJ No
                                                  SECTION 8-FLOOD INSURANCE RATE MAP (FIRM) INFORMATION

          81. NFIP Community Name & Community Number                        I 82. County Name                                               83. State
      I City of Houston - 480296                                              Harris                                                       I Tx
           84. Map/Panel Number
                48201C0620
                                        I B5. Suffix
                                              L
                                                     I 86. FIRM  Index Date
                                                            05/04/2015
                                                                                           87. FIRM Panel
                                                                                       Effective/Revised Date
                                                                                                                     I        BB. Flood
                                                                                                                               Zone(s)
                                                                                                                                                  89. Base Flood Elevation(s) (Zone
                                                                                                                                                      AO, use base flood depth)
      I                                                                                      06/18/2007                       X (Shaded)     I                 75.72'
       B10. Indicate the source of the Base Flood Elevation (BFE) data or base flood depth entered in Item 89.
                     fgJ FIS Profile      D FIRM         D Community Determined               D Other/Source: _ _
       B11. Indicate elevation datum used for BFE in Item B9: D NGVD 1929            D NAVD 1988 18] Other/Source: NAVD88 2001 ADJ
       B12. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?  D Yes                                    fgJ No
            Designation Date: _ _                                         0 CBRS          O OPA
                                               SECTION C- BUILDING ELEVATION INFORMATION (SURVEY REQUIRED)
       C1. Building elevations are based on:          D Construction Drawings*             D Building Under Construction*       f8I Finished Construction
           *A new Elevation Certificate will be required when construction of the building is complete.
       C2. Elevations-Zones A1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
           below according to the building diagram specified in Item A7. In Puerto Rico only, enter meters.
           Benchmark Utilized: RM 210395                                    Vertical Datum: NAVD 88 (2001 ADJ)
           Indicate elevation datum used for the elevations in items a) through h) below. D NGVD 1929 D NAVO 1988 181 Other/Source: NAVD88 2001 ADJ
           Datum used for building elevations must be the same as that used for the BFE.
                                                                                                                        Check the measurement used.
                a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                    _]J_.72                       fgJ feet    D meters
                b) Top of the next higher floor                                                                .Jill.42                      18] feet    D meters
                c) Bottom of the lowest horizontal structural member (V Zones only)                            NIA. _ _                      [gl feet     D meters
                d) Attached garage (top of slab)                                                               _]J_.34                       18] feet     D meters
                e) Lowest elevation of machinery or equipment servicing the building                           .....IJ...22                . [gl feet     D meters
                   (Describe type of equipment and location in Comments)
                f) Lowest adjacent (finished) grade next to building (LAG)                                                                   18] feet     D meters
                g) Highest adjacent (finished) grade next to building (HAG)                                                                  18] feet     D meters
                h) Lowest adjacent grade at lowest elevation of deck or stairs, including structural support   .....IJ...10                  18] feet     D meters
                                                SECTION D- SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
           This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
           information. I certify that the infonnation on this Certificate represents my best efforts to interpret the data available.
           I understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
           l8l Check here if comments are provided on back of form.              Were latitude and longitude in Section A provided by a
           D Check here if attachments.                                          licensed land surveyor?        D Yes f8I No
           Certifier's Name Carolyn J. Quinn                                                    License Number 6033

           Title RP.LS.                                    Company Name Miller Survey Group

           Address 1760 W. Sam Houston Pkwy N.             City Houston                         State Tx       ZIP Code 77043

                                             ~ e 10/13/15                                       Telephone (713) 413-1900



---~F_E_M_A_Form 086-0~33 (7/12)_____________S_e_e_r_e_ve_r_s_e_s_id_e_~_o_r_c_o_nt_in_u_a_t_io_n_._ _ _ _ __                                       Replaces all previous editions.



                                                                                                                                                                                 A1070
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      ELEVATION CERTIFICATE, page 2
       IMPORTANT: In these spaces, copy the corresponding information from Section A.                                            FOR INSURANCE COMPANY USE
       Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Policy Number:
       777 S. Mayde Creek Dr., Building 2
       City Houston                                                             State Tx        ZIP Code 77079                   Company NAIC Number:

                                  SECTION D-SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION (CONTINUED)
       Copy both sides of this Elevation _Certificate for (1) community official, (2) insurance agenUcompany, and (3) building owner.
       Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U1 OO-BM01, on bridge at Memorial Drive and Langham
       Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVO 1988, 2001 Adj.)


       C2(e)- A/C Pad.
       Signature                                                                           Date 10/13/15

           SECTION E - BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED) FOR ZONE AO AND ZONE A (WITHOUT BFE}

        For Zones AO and A (without BFE}, complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
        and C. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
        E1. Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
             grade (HAG) and the lowest adjacent grade (LAG).
             a) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _          D feet D meters D above or D below the HAG.
             b) Top of bottom floor (including basement, crawlspace, or enclosure} is - - · - -         D feet D meters D above or D below the LAG.
        E2. For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
             (elevation C2.b in the diagrams) of the building is _ _. _ _ D feet D meters D above or D below the HAG.
        E3. Attached garage (top of slab) is - - · - -           D feet D 111eters D above or D below the HAG.
        E4. Top of platform of machinery and/or equipment servicing the building is - - · - - D feet D meters D above or D below the HAG.
        ES. Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
             ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.
                                  SECTION F - PROPERTY OWNER (OR OWNER'S REPRESENTATIVE) CERTIFICATION
       The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
       or Zone AO must sign here. The statements in Sections A, B, and E are correct to the best of my knowledge.
        Property Owner's or Owner's Authorized Representative's Name_

       Address                                                                        City                               State             ZIP Code

        Signature                                                                     Date                               Telephone

        Comments


      - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ' D Check here if attachments.
                                                         SECTION G - COMMUNITY INFORMATION (OPTIONAL)
      The local official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
      of this Elevation Certificate. Complete the applicable item(s} and sign below. Check the measurement used in Items G8-G10. In Puerto Rico only, enter meters.
      G1. D      The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
                 is authorized by law to certify elevation information. (Indicate the source and date of the elevation data in the Comments area below.)
      G2.0       A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
      G3.0       The following information (Items G4-G10) is provided for community floodplain management purposes.
        G4. Permit Number                         G5. Date Permit Issued                              GS. Date Certificate Of Compliance/Occupancy Issued

       G7. This permit has been issued for:        D New Construction         D Substantial Improvement
       GB. Elevation of as-built lowest floor (including basement) of the building: - - · - -      D feet        D meters          Datum
       G9. BFE or (in Zone AO} depth of flooding at the building site:           --·--             D feet        D meters          Datum
       G10. Community's design flood elevation:                                  --·--             D feet        D meters          Datum

        Local Official's Name                                                                 Title

        Community Name                                                                        Telephone

        Signature                                                                             Date

        Comments

       - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - D Check here if attachments.

_ _ _F_E_M_A_Form 086-0-33 (7/12)                                                                                                       Replaces all previous editions.



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 ELEVATION CERTIFICATE, page 3
                                                        Building Photographs
                                                             See Instructions for Item A6
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                             FOR INSURANCE COMPANY USE

 Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.          Policy Number:
 777 S. Mayde Creek Dr., Building 2
 City Houston                                                             State Tx       ZIP Code 77079     Company NAIC Number.


 If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
 for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
 View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
 indicated in Section A8. If submitting more photographs than will fit on this page, use the Continuation Page.



Side View Taken 9/01 /15




FEMA Form 086-0-33 (7/'12)                                                                                       Replaces all previous editions.




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ELEVATION CERTIFICATE, page 4                          Building Photographs
                                                                   Continuation Page
IMPORTANT: in these spaces, copy the corresponding information from Section A.                             FOR INSURANCE COMPANY USE

Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.          Policy Number:
777 S. Mayde Creek Dr., Building 2
City Houston                                                            State Tx        ZIP Code 77079     Company NAIC Number:


If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
with: date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side View." When applicable,
photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section A8.


Front View Taken 9/01/15




FEMA Form 086-0-33 (7/12)                                                                                       Replaces all previous editions.




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      U.S. DEPARTMENT OF HOMELAND SECURITY
      FEDERAL EMERGENCY MANAGEMENT AGENCY
                                                               ELEVA-ION
                                                                    l    CERTIFICATE                                                       0MB No. 1660-0008
      National Flood Insurance Program                      Important: Read the instructions on pages 1-9.                                 Expiration Date: July 31, 2015
                                                                                                                                                                                   I
                                                                      SECTION A- PROPERTY INFORMATION                                     FOR INSURANCE COMPANY USE
          A1. Building Owner's Name Memorial SMC Investment 2013 LP                                                                       Policy Number:

          AZ. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                           Company NAlC Number:
          777 S. Mayde Creek Dr., Building 3
                City Houston                                                          State Tx       ZIP Code 77079

          A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
          Resv. A, Blk. 1, Mayde Creek Crossing

          A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Apartments
          A5. Latitude/Longitude: Lat. 29°46'37.8" Long. 95°37'30.6"Horizontal Datum: D NAO 1927 ~ NAD 1983
          A6. Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
          A7. Building Diagram Number 1A
          A8. For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
              a) Square footage of crawlspace or enclosure(s)                 NIA      sq ft               a) Square footage of attached garage        2 880    sq ft
              b) Number of permanent flood openings in the crawlspace                                      b) Number of permanent flood openings in the attached garage
                  or enclosure(s) within 1.0 foot above adjacent grade       NIA                               within 1.0 foot above adjacent grade    NIA
              c) Total net area of flood openings in A8.b                    N/A       sqin                c) Total net area of flood openings in A9.b N/A      sq in
              d) Engineered flood openings?           0 Yes ~ No                                           d) Engineered flood openings?          0 Yes ~ No
                                                   SECTION B- FLOOD INSURANCE RATE MAP (FIRM) INFORMATION

      I 81. NFIP Community Name & Community Number                         I 82. County Name                                             I 83. State
          City of Houston - 480296                                           Harris                                                       Tx

           B4. Map/Panel Number            85. Suffix       B6. FIRM Index Date            87. FIRM Panel                    88. Flood         89. Base Flood Elevation(s) (Zone
                48201C0620                     L                 05/04/2015            Effective/Revised Date                 Zone(s)              AO, use base flood depth)
      I                                                 I                                    06/18/2007                     X (Shaded)                      75.72'
      810. Indicate the source of the Base Flood Elevation (BFE) data or base flood depth entered in Item 89.
                    1:8:1 FIS Profile    D FIRM         O Community Determined               D Other/Source: _ _
      811. Indicate elevation datum used for BFE in Item 89: D NGVD 1929            D NAVO 1988 1:8:1 Other/Source: NAVDB8 2001 ADJ
      812. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?    D Yes                                1:8:1 No
           Designation Date:__                                           D CBRS          D OPA
                                               SECTION C - BUILDING ELEVATION INFORMATION (SURVEY REQUIRED)
      C1. Building elevations are based on:          D Construction Drawings*             D Building Under Construction* ~ Finished Construction
          *A new Elevation Certificate will be required when construction of the building is complete.
      C2. Elevations -Zones A1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
          below according to the building diagram specified in Item At: In Puerto Rico only, enter meters.
          Benchmark Utilized: RM 210395.                                  Vertical Datum: NAVD 88 (2001 ADJ)
               Indicate elevation datum used for the elevations in items a) through h) below. D NGVD 1929 D NAVD 1988 181 Other/Source: NAVD8B,2001 ADJ
               Datum used for building elevations must be the same as that used for the BFE.
                                                                                                                     Check the measurement used.
               a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                    _1Z.60                       ~ feet      D meters
               b) Top of the next higher floor                                                                __lill.21                    ~ feet      D meters
               c) Bottom of the lowest horizontal structural member (V Zones only)                            N/A._ _                      ~ feet      D meters
               d) Attached garage (top of slab)                                                               _1Z.22                       ~ feet      D meters
               e) Lowest elevation of machinery or equipment servicing the building                           ....IJ...24                  ~ feet      D meters
                  (Describe type of equipment and location in Comments)
               f) Lowest adjacent (finished) grade next to building (LAG)                                     ....IJ...j_                  ~ feet      D meters
               g) Highest adjacent (finished) grade next to building (HAG)                                    _IJ_.',i.                    ~ feet      D meters
               h) Lowest adjacent grade at lowest elevation of deck or ~tairs, including structural support   ....If...05                  ~ feet      D meters
                                               SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
          This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
          information. I certify that the information on this Certificate represents my best efforts to interpret the data available.
           I understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
           ~     Check here if comments are provided on back of form.         Were latitude and longitude in Section A provided by a
           D     Check here if attachments.                                   licensed land surveyor?      D Yes 181 No
           Certifier's Name Carolyn J. Quinn                                                     License Number 6033
           Title R.P.L.S.                                   Company Name Miller Survey Group
           Address 1760 W. Sam Houston Pkwy N.              City Houston                         State Tx     ZIP Code 77043
                                                                                                 Telephone (713) 413-1900



_____ _H:MA Form 086-0-33 (7/12)                                           See reverse side for continuation.                                   . Replaces all previous editions. _ · -



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      ELEVATION CERTIFICATE, page 2
       IMPORTANT: In these spaces, copy the corresponding information from Section A.                                            FOR INSURANCE COMPANY USE
       Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Policy Number:
       777 S. Mayde Creek Dr., Building 3
       City Houston                                                             State Tx        ZIP Code 77079                   Company NAIC Number:

                                  SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION (CONTINUED)
       Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agent/company, and (3) building owner.
       Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U1 OO-BM01, on bridge at Memorial Drive and Langham
       Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVD 1988, 2001 Adj.)

       c2{e) - NC pad.                                   ,


       Signature       7   liAA~                                                           Date 10/13/15


             SECTION E- BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED) FOR ZONE AO AND ZONE A (WITHOUT BFE)

       For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
       and C. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
       E1.    Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
              grade (HAG) and the lowest adjacent grade (LAG).
              a) Top of bottom floor (including basement, crawlspace, or enclosure) is - - · - -        D feet D meters D above or D below the HAG. .
              b) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the LAG.
       E2.    For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
              (elevation C2.b in the diagrams) of the building is _ _._ _ D feet D meters D above or D below the HAG.
        E3.   Attached garage (top of slab) is - - · - -          D feet D meters D above or D below the HAG.
        E4.   Top of platform of machinery and/or equipment servicing the building is _ _._ _ D feet D meters D above or D below the HAG.
        E5.   Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
              ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.

                                  SECTION F - PROPERTY OWNER (OR OWNER'S REPRESENTATIVE) CERTIFICATION
       The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
       or Zone AO must sign here. The statements in Sections A, 8, and E are correct to the best of my knowledge.
       Property Owner's or Owner's Authorized Representative's Name

       Address                                                                        City                               State             ZIP Code

       Signature                                                                      Date                               Telephone

       Comments


      - - - - - - - - - - - - - - ' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 ' Check here if attachments.
                                                     SECTION G-COMMUNITY INFORMATION (OPTIONAL)
      The local official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
      of this Elevation Certificate. Complete the applicable item(s) and sign below. Check the measurement used in Items G8-G10. In Puerto Rico only, enter meters.
      G1. D      The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
                 is authorized by law to certify elevation infonmation. (Indicate the source and date of the elevation data in the Comments area below.)
      G2. D      A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
      G3. D      The following information (Items G4-G10) is provided for community floodplain management purposes.

       G4. Penmit Number                         G5. Date Permit Issued                               G6. Date Certificate Of Compliance/Occupancy Issued


      G7. This permit has been issued for:        D New Construction          D Substantial Improvement
      GS. Elevation of as-built lowest floor (including basement) of the building: _ _. _ _        D feet        D meters          Datum
      G9. BFE or (in Zone AO) depth of flooding at the building site:            _ _. _ _          D feet        D meters          Datum
      G10. Community's design flood elevation:                                                     D feet        D meters          Datum


        Local Official's Name                                                                 Title

        Community Name                                                                        Telephone

        Signature                                                                             Date

        Comments

      - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.

- - - FEMAForm 086-0-33(7'./'12) ~-                                                                                                     Replaces_alLpcevious_editions. _ _



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           ELEVATION CERTIFICATE, page 3
                                                                  Building Photographs
                                                                       See Instructions for Item A6
           IMPORTANT: In these spaces, copy the corresponding information from Section A.                            FOR INSURANCE COMPANY USE
           Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.         Policy Number:
           777 S. Mayde Creek Dr., Building 3
           City Houston                                                            State Tx        ZIP Code 77079    Company NAIC Number:


          If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
          for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
          View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
          indicated in Section A8. If submitting more photographs than will fit on this page, use the Continuation Page.




        Side View 9/01/15
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        I;!'., -   .




          FEMA Form 086-0-33 (7/12)                                                                                       Replaces all previous editions.
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ELEVATION CERTIFICATE, page 4                          Building Photographs
                                                                   Continuation Page
IMPORTANT: In these spaces, copy the corresponding information from Section A.                             FOR INSURANCE COMPANY USE
Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.          Policy Number:
777 s. Mayde Creek Dr., Building 3
City Houston                                                            State Tx        ZIP Code 77079     Company NAJC Number:


If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
with: date taken; "Front View" and "Rear View''; and, if required, "Right Side View" and "Left Side View." When applicable,
photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section AS.


_Front View Taken 9/01/2015




                                                                                                                            --- ·--       ..




FEMA Form 086-0-33 (7/12)                                                                                       Replaces all previous editions.




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U.S. DEPARTMENT OF HOMELAND SECURITY                  ELEVATION CERTIFICATE
FEDERAL EMERGENCY MANAGEMENT AGENCY                                                                                           0MB No. 1660-0008
National Flood Insurance Program                 Important: Read the instructions on pages 1-9.                               Expiration Date: July 31, 2015

                                                   SECTION A- PROPERTY INFORMATION                                           FOR INSURANCE COMPANY USE
 A1. Building Owner's Name Memorial SMC Investment 2013 LP                                                                   Policy Number:

 A2. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                       Company NAIC Number.
 777 S. Mayde Creek Qr., Building 4
     City Houston                                                         State Tx        ZIP Code 77079

 A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
 Resv. A, Blk. 1, Mayde Creek Crossing

 A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Apartments
 AS. Latitude/Longitude: Lat. 29°46'37.8" Long. 95°37'30.6"Horizontal Datum: D NAO 1927 l8I NAO 1983
 A6. Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
 A7. Building Diagram Number 1A
 A8. For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
      a) Square footage of crawlspace or enclosure(s)                NIA      sq ft               a) Square footage of attached garage        1 920    sq ft
    · b) Number of permanent flood openings in the crawlspace                                     b) Number of permanent flood openings in the attached garage
         or enclosure(s) within 1.0 foot above adjacent grade        N/A                              within 1.0 foot above adjacent grade    N/A
      c) Total net area of flood openings in A8.b                    N/A      sqin                c) Total net area of flood openings in A9.b NIA      sq in
      d) Engineered flood openings?          D Yes l8I No                                         d) Engineered flood openings?          D Yes [8J No
                                         SECTION B - FLOOD INSURANCE RATE MAP {FIRM) INFORMATION

 B1. NFIP Community Name & Community Number                         82. County Name                                           83. State
 City of Houston - 480296                                           Harris                                                    TX
   B4. Map/Panel Number            85. Suffix    86. FIRM Index Date             87. FIRM Panel               BB. Flood             89. Base Flood Elevation(s) (Zone
        48201C0620                     L              05/04/2015             Effective/Revised Date            Zone(s)                  AO, use base flood depth)
                                                                                   06/18/2007                X (Shaded)                          75.72
B10. Indicate the source of the Base Flood Elevation (BFE) data or base flood depth entered in Item B9.
         [8J FIS Profile      D FIRM        D Community Determined             D Other/Source: _ _
811. Indicate elevation datum used for BFE in Item B9: D NGVD 1929            D NAVO 1988         l8I Other/Source: NAVD88 2001 ADJ
B12. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?          D Yes                     IE! No
     Designation Date:__                                           0 CBRS          O OPA
                                      SECTION C - BUILDING ELEVATION INFORMATION {SURVEY REQUIRED)
C1. Building elevations are based on:          D Construction Drawings*             D Building Under Construction*       [8J Finished Construction
    *A new Elevation Certificate will be required when construction of the building is complete.
C2. Elevations-Zones A1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h                            ,
    below according to the building diagram specified in Item A7. In Puerto Rico only, enter meters.
    Benchmark Utilized: RM 210395                                     Vertical Datum: NAVO 88 (2001 ADJ)
     Indicate elevation datum used for the elevations in items a) through h) below. D NGVD 1929 D NAVO 1988 181 Other/Source: NAVD88 2001 ADJ
    Datum used for building elevations must be the same as that used for the BFE.
                                                                                                                 Check the measurement used.
     a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                  ...I/_.77                   ~ feet       D meters
     b) Top of the next higher floor                                                              ~.36                        ~ feet       D meters
     c) Bottom of the lowest horizontal structural member (V Zpnes only)                          N/A. _ _                    l8I feet     D meters
     d) Attached garage (top of slab)                                                             ...I/_.29                   IE! feet     D meters
     e) Lowest elevation of machinery or equipment servicing the building                         ...I/_.35                   IE! feet     D meters
        (Describe type of equipment and location in Comments)
     f) Lowest adjacent (finished) grade next to building (LAG)                                   _zz.1.                      ~feet        D meters
     g) Highest adjacent (finished) grade next to building (HAG)                                   _zz.~                      ~ feet       D meters
     h) Lowest adjacent grade at lowest elevation of deck or stairs, including structural support _zz.15                      ~feet         D meters
                                       SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
  This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
  information. 1certify that the information on this Certificate represents my best efforts to interpret the data available.
  1 understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
  IE! Check here if comments are provided on back of form.             Were latitude and longitude in Section A provided by a
  0 Check here if attachments.                                         licensed land surveyor?        D Yes [8J No
  Certifier's Name Carolyn J. Quinn                                                   License Number 6033
  Title R.P.L.S.                                 Company Name Miller Survey Group
  Address 1760 W. Sam Houston Pkwy N_            City Houston                         State Tx      ZIP Code 77043
  Signature                                                                           Telephone (713) 413-1900


 FEMA Form 086-0-33 (7/12)                                         See reverse side for continuation.                                 Replaces all previous editions.



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     ELEVATION CERTIFICATE, page 2
      IMPORTANT: In these spaces, copy the corresponding information from Section A.                                            FOR INSURANCE COMPANY USE
      Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Policy Number:
      777 S. Mayde Creek Dr., Building 4
      City Houston                                                             State Tx        ZIP Code 77079                   Company NAIC Number:

                                 SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION (CONTINUED}
      Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agent/company, and (3) building owner.
      Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U100-BM01, on bridge at Memorial Drive and Langham
      Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVD 1986, 2001 Adj.)

      C2(e)


      Signature                                                                           Date 10/13/15

         SECTION E - BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED} FOR ZONE AO AND ZONE A (WITHOUT BFE)

      For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
      and c. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
      E1. Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
           grade (HAG) and the lowest adjacent grade (LAG).
           a) Top of bottom floor (including basement, crawlspace, or enclosure) is - - · - -         D feet D meters D above or D below the HAG.
           b) Top of bottom floor (including basement, crawlspace, or enclosure) is - - · - -         D feet D meters D above or D below the LAG.
      E2. For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
           (elevation C2.b in the diagrams) of the building is - - · - - D feet D meters D above or D below the HAG.
      E3. Attached garage (top of slab) is - - · - -           D feet D meters D above or D belqw the HAG.
      E4. Top of platform of machinery and/or equipment servicing the building is - - · - - D feet D meters D above or D below the HAG.
      E5. Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
           ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.
                                  SECTION F- PROPERTY OWNER (OR OWNER'S REPRESENTATIVE) CERTIFICATION
      The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
      or Zone AO must sign here. The statements in Sections A, B, and E are correct to the best of my knowledge.
      Property Owner's or Owner's Authorized Representative's Name

      Address                                                                         City                              State             ZIP Code

      Signature                                                                       Date                              Telephone

      Comments

     - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.
                                                        SECTION G - COMMUNITY INFORMATION (OPTIONAL)
     The local official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
     of this Elevation Certificate. Complete the applicable item(s) and sign below. Check the measurement used in Items GB-G10. In Puerto Rico only, enter meters.
     G1. D      The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
                is authorized by law to certify elevation information. (Indicate the source and date of the elevation data in the Comments area below.)
     G2. 0      A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
     G3. D      The following information (Items G4-G10) is provided.for community floodplain management purposes.
      G4. Permit Number                         GS. Date Permit Issued                               G6. Date Certificate Of Compliance/Occupancy Issued

     G7. This permit has been issued for:        D New Construction          D Substantial Improvement
     GB. Elevation of as-built lowest floor (including basement) of the building: _ _. _ _        D feet D meters                 Datum
     G9. BFE or (in Zone AO) depth of flooding at the building site:            _ _. _ _          D feet D meters                 Datum
     G10. Community's design flood elevation:                                   _ _. _ _          D feet D meters                 Datum

       Local Official's Name                                                                 Title

       Community Name                                                                        Telephone

       Signature                                                                             Date

       Comments

     - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.

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              Case 1:17-cv-09002-LAS                         Document 266-2                   Filed 01/10/23    Page 630 of 1584


    ELEVATION CERTIFICATE, page 3
                                                           Building Photographs
                                                                 See Instructions for Item A6
    IMPORTANT: In these spaces, copy the corresponding information from Section A.                             FOR INSURANCE COMPANY USE

    Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.          Policy Number:
    777 S. Mayde Creek Dr., Building 4

    City Houston                                                             State Tx       ZIP Code 77079     Company NAIC Number.


    If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
    for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
    View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
    indicated in Section A8. If submitting more photographs than will fit on this page, use the Continuation Page.



Side View Taken 9/01/15
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    FEMA Form 086-0-33 (7/12)                                                                                       Replaces all previous editions.




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          Case 1:17-cv-09002-LAS                          Document 266-2                  Filed 01/10/23       Page 631 of 1584


ELEVATION CERTIFICATE, page 4                          Building Photographs
                                                                   Continuation Page
IMPORTANT: ln these spaces, copy the corresponding information from Section A.                                FOR INSURANCE COMPANY USE
Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.             Policy Number:
777 S. Mayde Creek Dr., Building 4
City Houston                                                            State TX        ZIP Code 77079        Company NAIC Number:


If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
with: date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side View." When applicable,
photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section AB.


Front View Taken 9/01/15




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FEMA Form 086-0-33 (7/12)                                                                                          Replaces all previous editions.




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        U.S.DEPARTMENTOFHOMELANDSECURITY                      ELEVATION CERTIFICATE
        FEDERAL EMERGENCY MANAGEMENT AGENCY                                                                                           0MB No. 1660-0008
        National Flood Insurance Program                 Important: Read the instructions on pages 1-9.                               Expiration Date: July 31, 2015

                                                           SECTION A - PROPERTY INFORMATION                                          FOR INSURANCE COMPANY USE
         A1. Building Owner's Name Memorial SMC Investment 2013 LP                                                                   Policy Number:

         A2. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                       Company NAIC Number.
         777 S. Mayde Creek Dr., Building 5
             City Houston                                                         State Tx        ZIP Code 77079

         A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
         Resv. A, Blk. 1, Mayde Creek Crossing

         A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Apartments
         A5. Latitude/Longitude: Lat. 29°46'37.8" Long. 95°37'30.6"Horizontal Datum: D NAD 1927 l8l NAD 1983
         A6. Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
         A7. Building Diagram Number 1A
         A8. For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
             a) Square footage of crawlspace or enclosure(s)                 N/A      sq ft                a) Square footage of attached garage        2 400    sq ft
             b) Number of permanent flood openings in the crawlspace                                       b) Number of permanent flood openings in the attached garage
                 or enclosure(s) within 1.0 foot above adjacent grade        NIA                              within 1.0 foot above adjacent grade     NIA
             c) Total net area of flood openings in A8.b                     N/A      sqin               . c) Total net area of flood openings in A9.b NIA      sq in
             d) Engineered flood openings?           D Yes l8:I No                                         d) Engineered flood openings?         D Yes l8l No
                                                 SECTION 8- FLOOD INSURANCE RATE MAP (FIRM) INFORMATION

         B1. NFIP Community Name & Community Number                         B2. County Name
         City of Houston - 480296                                           Harris

          B4. Map/Panel Number             B5. Suffix    B6. FIRM Index Date             87. FIRM Panel                 88. Flood           B9. Base Flood Elevation(s) (Zone
               48201C0620                      L              05/04/2015             Effective/Revised Date              Zone(s)                AO, use base flood depth)
                                                                                           06/18/2007                  X (Shaded)                        75.72'
        B10. Indicate the source of the Base Flood Elevation (BFE) data or base flood depth entered in Item B9.
                 l8J FIS Profile      D FIRM        D Community Determined              D Other/Source: _ _
        B11. Indicate elevation datum used for BFE in Item B9: D NGVD 1929            D NAVD 1988 18] Other/Source: NAVD88 2001 ADJ
        B12. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?  D Yes                             l8J No
             Designation Date:__                                           0 CBRS          O OPA .
                                              SECTION C - BUILDING ELEVATION INFORMATION (SURVEY REQUIRED)
        C1. Building elevations are based on:          D Construction Drawings*             D Building Under Construction*       l8l Finished Construction
            *A new Elevation Certificate will be required when construction of the building is complete.
        C2. Elevations-Zones A1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
            below according to the building diagram specified in Item A7. In Puerto .Rico only, enter meters.
            Benchmark Utilized: RM 210395                                    Vertical Datum: NAVD 88 /2001 ADJ)
            Indicate elevation datum used for the elevations,in items a) through h) below. D NGVD 1929 D NAVD 1988 l8l Other/Source: NAVD88.2001 ADJ
            Datum used for building elevations must be the same as that used for the BFE.
                                                                                                                         Check the measurement used.
             a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                    __ll.63                   l8l feet     D m~ters
             b) Top of the next higher floor                                                                __§§_.21                  l8l feet     D meters
             c) Bottom of the lowest horizontal structural member 0f Zones only)                            N/A. _ _                  l8l feet     D meters
             d) Attached garage (top of slab)                                                               __ll.20                   [81 feet     D meters
             e) Lowest elevation of machinery or equipment servicing the building                           __ll.21                   l8J feet     D meters
                (Describe type. of equipment and location in Comments)
             f) Lowest adjacent (finished) grade next to building (LAG)                                     ....ZM.                   l8J feet     D meters
             g) Highest adjacent (finished) grade next to building (HAG)                                    __ll..Q_                  l8J feet     D meters
             h) Lowest adjacent grade at lowest elevation of deck or stairs, including structural support   __ll.08                   l8J feet     D meters
                                               SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
          This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
          information. / certify that the information on this Certificate represents my best efforts to interpret the data available.
        - I understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
          [&! Check here if comments are provided on back ofform.               Were latitude and longitude in Section A provided by a
          D Check here if attachments.                                          licensed land surveyor?        D Yes l8J No
          Certifier's Name Carolyn J. Quinn                                                   License Number 6033
          Title R.P.L.S.                                 Company Name Miller Survey Group
          Address 1760 W. Sam Houston Pkwy N.            City Houston                         State Tx      ZIP Code 77043
          Signature                                                                           Telephone (713) 413-1900
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      ELEVATION CERTIFICATE, page 2
       IMPORTANT: In these spaces, copy the corresponding information from Section A.                                            FOR INSURANCE COMPANY USE
       Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Policy Number:
       777 S. Mayde Creek Dr., Building 5
       City Houston                                                             State Tx        ZIP Code 77079                   Company NAIC Number:

                                   SECTION D- SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION (CONTINUED}
       Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agent/company, and (3) building owner.
       Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U1 OO-BM01, on bridge at Memorial Drive and Langham
       Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVD 1988, 2001 Adj.)

       C2(e)- A/C pad.                                   ,

                          fuAkf~~
       Signature      /                                                                    Date 10/13/15


              SECTION E- BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED) FOR ZONE AO AND ZONE A (WITHOUT BFE)

        For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
        and C. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
        E1.    Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
               grade (HAG) and the lowest adjacent grade (LAG).
               a) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the HAG.
               b) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the LAG.
        E2.    For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
               (elevation C2.b in the diagrams) of the building is - - · - - D feet D meters D above or D below the HAG .
      . E3.    Attached garage (top of slab) is - - · - -          D feet D meters D above or D below the HAG.
        E4.    Top of platform of machinery and/or equipment servicing the building is _ _._ _ D feet D meters D above or D below the HAG.
        ES.    Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
               ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.

                                   SECTION F - PROPERTY OWNER (OR OWNER'S REPRESENTATIVE)·CERTIFICATION
       The property owner or owner's authorized representative who completes Sections A, 8, and E for Zone A (without a FEMA-issued or community-issued BFE)
       or Zone AO must sign here. The statements in Sections A, B, and E are correct to the best of my knowledge.
       Property Owner's or Owner's Authorized Representative's Name ·

       Address                                                                        City                               State             ZIP Code

       Signature                                                                    / Date                               Telephone

       Comments


      - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 , Check here if attachments.
                                                       SECTION G - COMMUNITY INFORMATION (OPTIONAL)
      The local official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
      of this Elevation Certificate. Complete the applicable item(s) and sign below. Check the measurement used in Items G8-G10. In Puerto Rico only, enter meters.
      G1. D      The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
                 is authorized by law to certify elevation information. (Indicate the source and date of the elevation data in the Comments area below.)
      G2. D      A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
      G3. D      The following information (Items G4-G10) is provided for community floodplain management purposes.

        G4. Permit Number                        GS. Date Permit Issued                               G6. Date Certificate Of Compliance/Occupancy Issued


      G7. This permit has been issued for:        D New Construction          D Substantial Improvement
      GB. Elevation of as-built lowest floor (including basement) of the building: _ _. _ _        D feet D meters                 Datum
      G9. BFE or (in Zone AO) depth of flooding at the building site:            --·--             D feet D meters                 Datum
     - G1 O. Community's design flood elevation: - -                             _ _. _ _ __ D feet D meters                       Datum


        Local Official's Name                                                                 Title

        Community Name                                                                        Telephone

        Signature                                                                             Date

        Comments

       - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.

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       ELEVATION CERTIFICATE, page 3 .
                                                             Building Photographs
                                                                   See Instructions for Item A6

       IMPORTANT: In these spaces, copy the corresponding information from Section A.                             FOR INSURANCE COMPANY USE

       Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.          Policy Number:
       777 S. Mayde Creek Dr., Building 5
       City Houston                                                            State Tx        ZIP Code 77079     Company NAIC Number:


       If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
       for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
       View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
       indicated in Section A8. If submitting more photographs than will fit on this page, use the Continuation Page.




Side View Taken 9/01/15
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       FEMA Form 086-0-33 (7/12)                                                                                        Replaces all previous editions.




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ELEVATION CERTIFICATE, page 4
                                                             Building Photographs
                                                                   Continuation Page
IMPORTANT: In these spaces, copy the corresponding information from Section A.                              FOR INSURANCE COMPANY USE
Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.           Policy Number:
777 S. Mayde Creek Dr., Building 5
City Houston                                                            State Tx        ZIP Code 77079      Company NAIC Number:


If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
with: date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side View." When applicable,
photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section AS.


Front View Taken 9/01/15




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FEMA Form 086-0-33 (7/12)                                                                                        Replaces all previous editions.




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  U.S. DEPARTMENT OF HOMELAND SECURITY
  FEDERAL EMERGENCY MANAGEMENT AGENCY
                                                          ELEVATION CERTIFICATE                                                    0MB No. 1660-0008
  National F1ood Insurance Program                    Important: Read the instructions on pages 1-9.                               Expiration Date: July 31, 2015
                                                                                                                                                                           I
                                                                SECTION A- PROPERTY INFORMATION                                   FOR INSURANCE COMPANY,USE
   A1. Building Owner's Name Memorial SMC Investment 2013 LP                                                                      Policy Number:

   A2. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                          Company NAIC Number:
   777 S. Mayde Creek Dr., Building 6
        City Houston                                                            State TX       ZIP Code 77079

   A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
   Resv. A, Blk. 1, Mayde Creek Crossing

   A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Apartments
   A5. Latitude/Longitude: Lat. 29°46'37.B" Long. 95°37'30.6"Horizontal Datum: D NAD 1927 [gJ NAD 1983
   A6. Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
   A7. Building Diagram Number 1A
   AB. For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
       a) Square footage of crawlspace or enclosure(s)                 N/A      sq ft               a) Square footage of attached garage        8 090    sq ft
       b) Number of permanent flood openings in the crawlspace                                      b) Number of permanent flood openings in the attached garage
           or enclosure(s) within 1.0 foot above adjacent grade        N/A                              within 1.0 foot above adjacent grade    N/A
       c) Total net area offload openings in AB.b                      N/A      sq in               c) Total net area of flood openings in A9.b N/A      sq in
       d) Engineered flood openings?           D Yes 181 No                                         d) Engineered flood openings?          D Yes [gJ No
                                           SECTION B - FLOOD INSURANCE RATE MAP {FIRM) INFORMATION

   B1. NFIP Community Name & Community Number
   City of Houston - 480296
                                                                     I 82. County Name
                                                                       Harris
                                                                                                                                 I Tx
                                                                                                                                   B3. State


    B4. Map/Panel Number             85. Suffix       86. FIRM Index Date            B7. FIRM Panel                  88. Flood       · 89. Base Flood Elevation(s) (Zone
         48201C0620                      L                 05/04/2015            Effective/Revised Date               Zone(s)              AO, use base flood depth)
                                                  I                                    06/18/2007                   X (Shaded)                      75.72'
  81 O. Indicate the source of the Base Flood Elevation (BFE) data or base flood depth entered in Item 89.
            [gJ FIS Profile      D FIRM        D Community Determined             D Other/Source: _ _
  811. Indicate elevation datum used for BFE in Item B9: D NGVD 1929            D NAVO 1988 [gJ Other/Source: NAVD88 2001 ADJ
  812. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?  D Yes                             181 No
       Designation Date:__                                           0 CBRS          O OPA
                                        SECTION C- BUILDING ELEVATION INFORMATION (SURVEY REQUIRED)
  C1. Building elevations are based on:          D Construction Drawings*             D Building Under Construction*       IZ! Finished Construction
      *A new Elevation Certificate will be required when construction of the building is complete.
  C2. Elevations-Zones A1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
      below according to the building diagram specified in Item A7. In Puerto Rico only, enter meters.
      Benchmark Utilized: RM 210395                                    Vertical Datum: NAVO 88 (2001 ADJ}
      Indicate elevation datum used for the elevations in items a) through h) below. D NGVD 1929 D NAVO 1988 r8J Other/Source: NAVD88 2001 ADJ
      Datum used for building elevations must be the same as that used for the BFE.
                                                                                                                   Check the measurement used.
       a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                     ...11..68                  ~ feet       D meters
       b) Top of the next higher floor                                                                 _§_§_.1.§.                 181 feet     D meters
       c) Bottom of the lowest horizontal structural member (V Zones only)                             N/A. _ _                    [gJ feet    D meters
       d) Attached garage (top of slab)                                                                ...11..21                   ~ feet      D meters
       e) Lowest elevation of machinery or equipment servicing the building                            NIA._ _                     ~ feet      D meters
          (Describe type of equipment and location in Comments)
       f) Lowest adjacent (finished) grade next to building (LAG)                                      ...11..'£                  181 feet     D meters
       g) Highest adjacent (finished) grade next to building (HAG)                                     ...11.-Q.                   ~ feet      D meters
       h) Lowest adjacent grade at lowest elev_ation of deck or stairs, including structural support   NIA. _ _                    [gJ feet    D meters
                                         SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
    This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
    information. I certify that the information on this Certificate represents my best efforts to interpret the data available.
    I understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
    181 Check here if comments are provided on back of form.              Were latitude and longitude in Section A provided by a
    D Check here if attachments.                                          licensed land surveyor?        D Yes • ~ No
    Certifier's Name Carolyn J. Quinn                                                      License Number 6033

    Title R.P.L.S.                                    Company Name Miller Survey Group
    Address 1760 W. Sam Houston Pkwy N.               City Houston                         State Tx    ZIP Code 77043
                                                                                           Telephone (713) 413-1900


   FEMA Form 086-0-33 (7/12)                                         See reverse side for continuation.                                  Replaces all previous editions.
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     ELEVATION CERTIFICATE, page 2
       IMPORTANT: In these spaces, copy the corresponding information from Section A.                                           FOR INSURANCE COMPANY USE
      Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Policy Number:
      777 S. Mayde Creek Dr., Building 6
       City Houston                                                            State Tx        ZIP Code 77079                   Company NAIC Number:

                                  SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION {CONTINUED}
      Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agent/company, and (3) building owner.
      Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U1 OO-BMD1, on bridge at Memorial Drive and Langham
      Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVO 1988, 2001 Adj.)



     ---,7,,_......~~
      Signature
                                      4d\dlk1tYfr:-...
                                       O ·Q                                               Date 10/13/15


          SECTION E - BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED} FOR ZONE AO AND ZONE A (WITHOUT BFE)

       For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, 8,
       and c. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
       E1.    Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
              grade (HAG) and the lowest adjacent grade (LAG).
              a) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the HAG.
              b) Top of bottom floor (including basement, crawlspace, or enclosure) is - - · - -        D feet D meters D above or D below the LAG.
       E2.    For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
              (elevation C2.b in the diagrams) of the building is _ _. _ _ D feet D meters D above or D below the HAG.
       E3.    Attached garage (top of slab) is - - · - -          D feet D meters D above or D below the HAG.                                        .
       E4.    Top of platform of machinery and/or equipment servicing the building is - - · - - D feet D meters D above or D below the HAG.
       ES.    Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
              ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.

                                  SECTION F - PROPERTY OWNER (OR OWNER'S REPRESENTATIVE) CERTIFICATION
       The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
       or Zone AO must sign here. The statements in Sections A, 8, and E are correct to the best of my knowledge.
       Property Owner's or Owner's Authorized Representative's Name

       Address                                                                        City                              State             ZIP Code

       Signature                                                                      Date                              Telephone

       Comments


      - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 ' Check here if attachments.
                                                     SECTION G - COMMUNITY INFORMATION {OPTIONAL)
      The local official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, 8, C (or E), and G
      of this Elevation Certificate. Complete the applicable item(s) and sign below. Check the measurement used in Items G8-G10. In Puerto Rico only, enter meters.
      G1. D      The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
                 is authorized by law to certify elevation information. (Indicate the source and date of the elevation data in the Comments area below.)
      G2. D      A community official completed Section Efor a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
      G3. D      The following information (Items G4-G10) is provided for community floodplain management purposes.

       G4. Permit Number                         G5. Date Permit Issued                              G6. Date Certificate Of Compliance/Occupancy Issued


      G7. This permit has been issued for:        D New Construction          D Substantial Improvement
      GB. Elevation of as-built lowest floor (including basement) of the building: - - · - -       D feet       D meters          Datum
      G9. BFE or (in Zone AO) depth of flooding at the building site:            --·--             D feet       D meters          Datum
      G1D. Community's design flood elevation:                                   --·--             D feet       D meters          Datum


        Local Official's Name                                                                Title

        Community Name                                                                       Telephone

        Signature                                                                            Date

        Comments

      - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.

---FEMA-Sorm-086,,_Q,,_33_~7Jj2)----. -·---- ·- ______________________________________ · - - - . Replaces all previous editions.



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           Case 1:17-cv-09002-LAS                         Document 266-2                  Filed 01/10/23   Page 638 of 1584

ELEVATION CERTIFICATE, page 3                         Building Photographs
                                                            See Instructions for Item A6
                                                               '
IMPORTANT: In these spaces, copy the corresponding information from Section A.                             FOR INSURANCE COMPANY USE

Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.          Policy Number:
777 s. Mayde Creek Dr., Building 6

City Houston                                                             State Tx       ZIP Code 77079     Company NAIC Number:


If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
indicated in Section A8. If submitting more photographs than will fit on this page, use the Continuation Page.




FEMA Form 086-0-33 (7 /12)                                                                                      Replaces all previous editions.




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          Case 1:17-cv-09002-LAS                         Document 266-2                   Filed 01/10/23            Page 639 of 1584


ELEVATION CERTIFICATE, page 4                          Building Photographs
                                                                   Continuation Page
IMPORTANT: In these spaces, copy the corresponding information from Section A.                                      FOR INSURANCE COMPANY USE
Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                   Policy Number:
777 S. Mayde Creek Dr., Building 6
City Houston                                                            State Tx        ZIP Code 77079              Company NAIC Number:


If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
with: date taken; "Front View" and "Rear View"; and, if required, "Right Side View'' and "Left Side View." When applicable,
photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section A8.


Front View Taken 8/28/15




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FEMA Form 086-0-33 (7/12)                                                                                                Replaces all previous editions.




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                Case 1:17-cv-09002-LAS                        Document 266-2                    Filed 01/10/23                Page 640 of 1584
U.S. DEPARTMENT OF HOMELAND SECURITY                   ELEVATION CERTIFICATE
FEDERAL EMERGENCY MANAGEMENT AGENCY                                                                                             0MB No. 1660-0008
National Flood Insurance Program                   Important: Read the instructions on pages 1-9.                               Expiration Date: July 31, 2015

                                                              SECTION A- PROPERTY INFORMATION                                   FOR INSURANCE COMPANY USE
 A1. Building Owner's Name Memorial SMC Investment 2013 LP                                                                      Policy Number:

 A2. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                          Company NAIC Number:
 777 S. Mayde Creek Dr., Building 7
        City Houston                                                           State Tx        ZIP Code 77079

 A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
 Resv. A, Blk. 1, Mayde Creek Crossing

 A4.    Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Residential
 A5.    Latitude/Longitude: Lat. 29°46'37.8" Long. 95°37'30.6"Horizontal Datum: D NAD 1927 [8] NAO 1983
 A6.    Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
 A7.    Building Diagram Number 1A
 AB.    For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
        a) Square footage of crawlspace or enclosure(s)                 N/A      sq ft               a) Square footage of attached garage        8 090   sq ft
        b) Number of permanent flood openings in the crawlspace                                      b) Number of permanent flood openings in the attached garage
            or enclosure{s) within 1.0 foot above adjacent grade       N/A                               within 1.0 foot above adjacent grade    N/A
        c) Total net area of flood openings in A8.b                    N/A       sq in               c) Total net area of flood openings in A9.b NIA      sq in
        d) Engineered flood openings?           D Yes t8l No                                         d) Engineered flood openings?          D Yes [8] No
                                          SECTION B - FLOOD INSURANCE RATE MAP (FIRM) INFORMATION

 81. NFIP Community Name & Community Number                         I 82. County Name                                         I 83. State
 City of Houston - 480296                                             Harris                                                   Tx

   B4. Map/Panel Number            85. Suffix     86. FIRM Index Date               B7. FIRM Panel                88. Flood         89. Base Flood Elevation(s) (Zone
        48201C0620                     L               05/04/2015               Effective/Revised Date             Zone(s)              AO, use base flood depth)
                                                                                      06/18/2007                 X (Shaded)                      75.72'
810. Indicate the source of the Base Flood Elevation (BFE) data or base flood depth entered in Item 89.
            [8] FIS Profile      D FIRM         D Community Determined                D Other/Source: _ _
811. Indicate elevation datum used for BFE in Item 89: D NGVD 1929            D NAVO 1988         [8] Other/Source: NAVD88 2001 ADJ
812. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?          D Yes                       [8] No
     Designation Date: _ _                                         0 CBRS          O OPA
                                      SECTION C- BUILDING ELEVATION INFORMATION (SURVEY REQUIRED)
C1. Building elevations are based on:          D Construction Drawings*             D Building Under Construction* [8] Finished Construction
    *A new Elevation Certificate will be required when construction of the building is complete.
C2. Elevations-Zones A1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
    below according to the building diagram specified in Item A7. In Puerto Rico only, enter meters.
       Benchmark Utilized: RM 210395                                    Vertical Datum: NAVO 88 (2001 ADJ)
       Indicate elevation datum used for the elevations in items a) through h) below. D NGVD 1929 D NAVO 1988 IZI Other/Source: NAVD88 2001 ADJ
       Datum used for building elevations must be the same as that used for the BFE.
                                                                                                             Check the measurement used.
       a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                   ...I]_.70                 [8] feet     D meters
       b) Top of the next higher floor                                                               ~.19                      [8] feet     D meters
       c) Bottom of the lowest horizontal structural member (V Zones only)                           NIA. _ _                  [8] feet     D meters
       d) Attached garage (top of slab)                                                              ...I]_.24                 [8] feet     D meters
       e) Lowest elevation of machinery or equipment servicing the building                         N/A. _ _                   [8] feet     D meters
          (Describe type of equipment and location in Comments)
       f) Lowest adjacent (finished) grade next to building (LAG)                                   ...IJ...1..                 [8] feet    D meters
       g) Highest adjacent (finished) grade next to building (HAG)                                  ...I]_.fl...                [8] feet    D meters
       h) Lowest adjacent grade at lowest elevation of deck or stairs, including structural support N/A. _ _                    [8] feet    D meters
                                       SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
 This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
 information. / certify that the information on this Certificate represents my best efforts to interpret the data available.
 I understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
 [8] Check here if comments are provided on back of form.              Were latitude and longitude in Section A provided by a
 D Check here if attachments.                                          licensed land surveyor?        D Yes [8] No
  Certifier's Name Carolyn J. Quinn                                                       License Number 6033

 Title Survey Manager                             Company Name Miller Survey Group

 Address 1760 W. Sam Houston Pkwy N.              City Houston                            State Tx   ZIP Code 77043

  Signature                                       Date 10/05/2015                         Telephone (713) 413-1900



FEMA Form 086-0-33 (7/12)                                          See reverse side for continuation.                                Replaces all previous editions.

                                                                                                                                                                 A1090
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    ELEVATION CERTIFICATE, page 2
     IMPORTANT: In these spaces, copy the corresponding information from Section A.                                           FOR INSURANCE COMPANY USE
     Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                        Policy Number:
     777 S. Mayde Creek Dr., Building 7
     City Houston                                                             State Tx        ZIP Code 77079                  Company NAIC Number:

                                   SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION (CONTINUED)
     Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agent/company, and (3) building owner.
     Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U100-BM01, on bridge at Memorial Drive and Langham
     Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVO 1988, 2001 Adj.)




     s ~                                                                                 Date 10/05/2015

            SECTION E - BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED) FOR ZONE AO AND ZONE A (WITHOUT BFE)

     For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
     and C. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
      E1.    Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
             grade (HAG) and the lowest adjacent grade (LAG).
             a) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the HAG.
             b) Top of bottom floor (including basement, crawlspace, or enclosure) is - - · - -        D feet D meters D above or D below the LAG.
      E2.    For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
             (elevation C2.b in the diagrams) of the building is _ _. _ _ D feet D meters D above or D below the HAG.
      E3.    Attached garage (top of slab) is - - · - -          D feet D meters D above or D below the HAG.
      E4.    Top of platform of machinery and/or equipment servicing the building is _ _._ _ D feet D meters D above or D below the HAG.
      ES.    Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
             ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.

                                   SECTION F- PROPERTY OWNER (OR OWNER'S REPRESENTATIVE) CERTIFICATION
     The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
     or Zone AO must sign here. The statements in Sections A, B, and E are correct to the best of my knowledge.
     Property Owner's or Owner's Authorized Representative's Name

     Address                                                                        City                              State            ZIP Code

     Signature                                                                      Date                              Telephone

     Comments


    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - D Check here if attachments.
                                                      SECTION G-COMMUNITY INFORMATION (OPTIONAL)
J   The local official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
    of this Elevation Certificate. Complete the applicable item(s) and sign below. Check the measurement used in Items G8-G10. In Puerto Rico only, enter meters.
    G1. D       The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
                is authorized by law to certify elevation information. (Indicate the source and date of the elevation data in the Comments area below.)
    G2. D       A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
    G3. D       The following information (Items G4-G10) is provided for community floodplain management purposes.

     G4. Permit Number                           GS. Date Permit Issued                            G6. Date Certificate Of Compliance/Occupancy Issued


    G7. This permit has been issued for:          D New Construction        D Substantial Improvement
    GB. Elevation of as-built lowest floor (including basement) of the building: _ _ _ _         D feet       D meters         Datum
    G9.     BFE or (in Zone AO) depth of flooding at the building site:        _ _. _ _          D feet       D meters         Datum
    G10. Community's design flood elevation:                                                     D feet       D meters         Datum


     Local Official's Name                                                                 Title

     Community Name                                                                        Telephone

     Signature                                                                             Date

     Comments

    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.

    FEMA Form 086-0-33 (7/12)                                                                                                         Replaces all previous editions.

                                                                                                                                                                 A1091
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 ELEVATION CERTIFICATE, page 3
                                                        Building Photographs
                                                             See Instructions for Item A6.
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                             FOR INSURANCE COMPANY USE

 Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.          Policy Number:
 777 S. Mayde Creek Dr., Building 7

 City Houston                                                             State Tx       ZIP Code 77079     Company NAIC Number:


 If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
 for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
 View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
 indicated in Section A8. If submitting more photographs than will fit on this page, use the Continuation Page.



Side View Taken 8/28/15




FEMA Form 086-0-33 (7/12)                                                                                       Replaces all previous editions.


                                                                                                                                            A1092
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ELEVATION CERTIFICATE, page 4                          Building Photographs
                                                                   Continuation Page
IMPORTANT: In these spaces, copy the corresponding information from Section A.                              FOR INSURANCE COMPANY .USE

Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P .0. Route and Box No.          Policy Number:
777 S. Mayde Creek Dr., Building 7
City Houston                                                             State Tx        ZIP Code 77079     Company NAIC Number:


If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
with: date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side View." When applicable,
photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section A8.


Front View Taken 8/28/15




FEMA Form 086-0-33 (7/12)                                                                                       Replaces all previous editions.


                                                                                                                                            A1093
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U.S. DEPARTMENT OF HOMELAND SECURITY
FEDERAL EMERGENCY MANAGEMENT AGENCY
                                                      ELEVATION CERTIFICATE                                                    0MB No. 1660-0008
National Flood Insurance Program                 Important: Read the instructions on pages 1-9.                                Expiration Date: July 31, 2015
                                                                                                                                                                        !
                                                             SECTION A- PROPERTY INFORMATION                                  FOR INSURANCE COMPANY-USE
 A1. Building Owner's Name Memorial SMC Investment 2013 LP                                                                    Policy Number:

 A2. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                        Company NAIC Number:
 777 S. Mayde Creek Dr., Building 8
      City Houston                                                          State Tx        ZIP Code 77079

 A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
 Resv. A, Blk. 1, Mayde Creek Crossing

 A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Apartments
 A5. Latitude/Longitude: Lat. 29°46'37.8" Long. 95°37'30.B"Horizontal Datum: D NAD 1927 181 NAD 1983
 A6. Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
 A7. Building Diagram Number 1A
 AB. For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
     a) Square footage of crawlspace or enclosure(s)                 N/A      sq ft               a) Square footage of attached garage        960      sq ft
     b) Number of permanent flood openings in the crawlspace                                      b) Number of permanent flood openings in the attached garage
         or enclosure(s) within 1.0 foot above adjacent grade       N/A                               within 1.0 foot above adjacent grade    N/A
     c) Total net area of flood openings in A8.b                    NIA       sq in               c) Total net area offlood openings in A9.b N/A       sq in
     d) Engineered flood openings?           D Yes 181 No                                         d) Engineered flood openings?          D Yes 181 No
                                         SECTION B - FLOOD INSURANCE RATE MAP (FIRM) INFORMATION

 B1. NFIP Community Name & Community Number                        I Harris
                                                                     B2. County Name                                         I Tx
                                                                                                                               B3. State
 City of Houston - 480296                                                                                                                                               I
   B4. Map/Panel Number            B5. Suffix    B6. FIRM Index Date             B7. FIRM Panel                  B8. Flood          B9. Base Flood Elevation(s) (Zone
        48201C0620                     L              05/04/2015             Effective/Revised Date               Zone(s)               AO, use base flood depth)
                                                                                   06/18/2007                   X(S_haded)     I                 75.72'
B1 o. Indicate the source of the Base Flood Elevation (BFE) data or base flood depth entered in Item 89.
          181 FIS Profile      D FIRM        D Community Determined              D Other/Source: _ _
B11. Indicate elevation datum used for BFE in Item B9: D NGVD 1929            D NAVD 1988 181 Other/Source: NAVD88 2001 ADJ
B12. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?  D Yes                             181 No
     Designation Date:__                                           0 CBRS          O OPA
                                      SECTION C- BUILDING ELEVATION INFORMATION (SURVEY REQUIRED)
C1. Building elevations are based on:          D Construction Drawings*             D Building Under Construction*       181 Finished Construction
    *A new Elevation Certificate will be required when construction of the building is complete.
C2. Elevations - Zones A 1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
    below according to the building diagram specified in Item A7. In Puerto Rico only, enter meters.
    Benchmark Utilized: RM 210395                                    Vertical Datum: NAVD 88 (2001 ADJ)
    Indicate elevation datum used for the elevations in items a) through h) below. D NGVD 1929 D NAVD 1988 12! Other/Source: NAVD88 2001 ADJ
    Datum used for building elevations must be the same as that used for the BFE.
                                                                                                                 Check the measurement used.
     a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                    __ll.55                    181 feet    D meters
     b) Top of the next higher floor                                                                ....§§..25                 181 feet    D meters
     c) Bottom of the lowest horizontal structural member (V Zones only)                             NIA._ _                   181 feet    D meters
     d) Attached garage (top of slab)                                                               __ll.22                    181 feet    D meters
     e) Lowest elevation of machinery or equipment servicing the building                           ...1§..84                  181 feet    D meters
        (Describe type of equipment and location in Comments)
     f) Lowest adjacent (finished) grade next to building (LAG)                                     __ll.Q_                    181 feet    D meters
     g) Highest adjacent (finished) grade next to building (HAG)                                    __zz.~                     181 feet    D meters
     h) Lowest adjacent grade at lowest elevation of deck or stairs, including structural support   ...1§..38                  181 feet     D meters
                                       SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
  This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
  information. I certify that the information on this Certificate represents my best efforts to interpret the data available.
  I understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
  181 Check here if comments are provided on back of form.              Were latitude and longitude in Section A provided by a
  D Check here if attachments.                                          licensed land surveyor?        D Yes 181 No
  Certifier's Name Carolyn J. Quinn                                                    License Number 6033
  Title R.P .L.S.                                Company Name Miller Survey Group
  Address 1760 W. Sam Houston Pkwy N.            City Houston                          State Tx     ZIP Code 77043
  Signature                                                                            Telephone (713) 413-1900


 FEMA Form 086-0-33 (7/12)                                         See reverse side for continuation.                                 Replaces all previous editions.




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          ELEVATION CERTIFICATE, page 2
           IMPORTANT: In these spaces, copy the corresponding information from Section A.                                            FOR INSURANCE COMPANY USE
           Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Policy Number:
           777 S. Mayde Creek Dr., Building 8
           City Houston                                                             State TX        ZIP Code 77079                   Company NAIC Number:

                                      SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION (CONTINUED)
           Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agent/company, and (3) building owner.
           Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U1 OO-BM01, on bridge at Memorial Drive and Langham
           Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVO 1988, 2001 Adj.)

           C2(e) - Generator PadJ?a.A                                  •


           Signature            7
                                          ~92Me1r&=                                            Date 10/16/15


              SECTION E - BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED) FOR ZONE AO AND ZONE A (WITHOUT BFE)

           For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
           and C. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
           E1. Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
               grade (HAG) and the lowest adjacent grade (LAG).
               a) Top of bottom floor (including basement, crawlspace, or enclosure) is - - · - -          D feet D meters D above or D below the HAG.
               b) Top of bottom floor (including basement, crawlspace, or enclosure) is - - · - -          D feet D meters D above or D below the LAG.
           E2. For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
               (elevation C2.b in the diagrams) of the building is - - · - - D feet D meters D above or D below the HAG.
           E3. Attached garage (top of slab) is - - · - -          D feet D meters D above or D below the·HAG.
           E4. Top of platform of machinery and/or equipment servicing the building is - - · - - D feet D meters D above or D below the HAG.
           E5. Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
               ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.

                                      SECTION F - PROPERTY OWNER (OR OWNER'S REPRESENTATIVE) CERTIFICATION
           The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
           or Zone AO must sign here. The statements in Sections A, B, and E are correct to the best of my knowledge.
           Property Owner's or Owner's Authorized Representative's Name

           Address                                                                         City                              State             ZIP Code

           Signature                                                                       Date                           , Telephone

           Comments


          - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.
                                                          SECTION G - COMMUNITY INFORMATION (OPTIONAL}
          The local official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
          of this Elevation Certificate. Complete the applicable item(s) and sign below. Check the measurement used in Items G8-G10. In Puerto Rico only, enter meters.
          G1. D      The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
                     is authorized by law to certify elevation information. (Indicate the source and date of the elevation data in the Comments area below.)
          G2. D      A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
          G3. D      The following information (Items G4-G1 O) is provided for community floodplain management purposes.

           G4. Permit Number                         G5. Date Permit Issued                               G6. Date Certificate Of Compliance/Occupancy Issued


          G7. This permit has been issued for:        D New Construction          D Substantial Improvement
          GB. Elevation of as-built lowest floor (including basement) of the building: - - · - -       D feet        D meters          Datum
          G9. BFE or (in Zone AO) depth of flooding at the building site:              _ _. _ _             D feet D meters            Datum
          G10. Community's design flood elevation:                                                          Ofeet    D meters          Datum
  I-
  ;

  I         Local Official's Name                                                                 Title
  I



  i
  I
            Community Name                                                                        Telephone

            Signature                                                                             Date
  I
            Comments

          - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.
  i
-i-- FEMA Form O~jl_-33 (7/12) ____
      I
                                                                                                                                            Replaces all previous editions.




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 ELEVATION CERTIFICATE, page 3
                                                       Building Photographs
                                                             See Instructions for Item A6
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                             FOR INSURANCE COMPANY USE
Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.           Policy Number:
777 S. Mayde Creek Dr., Building 8
 City Houston                                                            State Tx       ZIP Code 77079      Company NAIC Number:


If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
indicated in Section A8. If submitting more photographs than will fit on this page, use the Continuation Page.




Side View Taken 10/14/15




 FEMA Form 086-0-33 (7/12)                                                                                       Replaces all previous editions.




                                                                                                                                                   A1096
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        ELEVATION CERTIFICATE, page 4                         Building Photographs
                                                                           Continuation Page
        IMPORTANT: In these spaces, copy the corresponding information from Section A.                            FOR INSURANCE COMPANY USE
        Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.         Policy Number:
        777 S. Mayde Creek Dr., Building 8
        City Houston                                                            State Tx        ZIP Code 77079    Company NAIC Number:


        If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
        with: date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side View." When applicable,
        photographs must sho.w the foundation with representative examples of the flood openings or vents, as indicated in Section AB.


        Front View Taken 10/14/15




        FEMA Form 086-0-33 (7/12)                                                                                      Replaces all previous editions.
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      U.S. DEPARTMENT OF HOMELAND SECURITY                    ELEVATION CERTIFICATE
      FEDERAL EMERGENCY MANAGEMENT AGENCY                                                                                             0MB No. 1660-0008
      NationalFloodlnsuranceProgram                       Important: Read the instructions on pages 1-9.                              Expiration Date: July 31, 2015

                                                                    SECTION A- PROPERTY INFORMATION                                  FOR INSURANCE COMPANY USE
       A1. Building Owner's Name Memorial SMC Investment 2013 LP                                                                     Policy Number:

       A2. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Company NAIC Number:
       777 S. Mayde Creek Dr., Building 9
              City Houston                                                          State Tx       ZIP Code 77079

       A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
       Resv. A, Blk. 1, Mayde Creek Crossing

       A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Apartments
       A5.    Latitude/Longitude: Lat. 29°46'37.8" Long. 95°37'30.S"Horizontal Datum: D NAD 1927 18:1 NAO 1983
       A6.    Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
       A7.    Building Diagram Number 1A
       A8.    For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
              a) Square footage of crawlspace or enclosure(s)                N/A       sq ft               a) Square footage of attached garage        2 880   sq ft
              b) Number of permanent flood openings in the crawlspace                                      b) Number of permanent flood openings in the attached garage
                  or enclosure(s) within 1.0 foot above adjacent grade       NIA                               within 1.0 foot above adjacent grade    N/A
              c) Total net area of flood openings in AB.b                    NIA       sqin                c) Total net area of flood openings in A9.b NIA      sq in
              d) Engineered flood openings?           D Yes 18:1 No                                        d) Engineered flood openings?          D Yes 18:1 No
                                               SECTION B - FLOOD INSURANCE RATE MAP (FIRM) INFORMATION

       81. NFIP Community Name & Community Number                         I 82. County Name                                         I 83. State
       City of Houston - 480296                                            Harris                                                    Tx

        84. Map/Panel Number             85. Suffix       86. FIRM Index Date            87. FIRM Panel                 B8. Flood         B9. Base Flood Elevation(s) (Zone
             48201C0620                      L                 06/09/2014            Effective/Revised Date              Zone(s)              AO, use base flood depth)
                                                      I                         I          06/18/2007            I     X (Shaded)                      75.72'
      81 o. Indicate the source of the Base Flood Elevation (BFE) data .or base flood depth entered in Item B9.
                  18:1 FIS Profile     D FIRM         D Community Determined               D Other/Source: _ _
      811. Indicate elevation datum used for BFE in Item B9: D NGVD 1929            D NAVD 1988. 18:1 Other/Source: NAVD88 2001 ADJ
      812. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?    D Yes                           18:1 No
           Designation Date:__            .                              0 CBRS          O OPA
                                            SECTION C- BUILDING ELEVATION INFORMATION (SURVEY REQUIRED)
      C1. Building elevations are based on:          D Construction Drawings*             D Building Under Construction* 181 Finished Construction
          *A new Elevation Certificate will be required when construction of the building is complete.
      C2. Elevations-ZonesA1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
          below according to the building diagram specified in Item A7. In Puerto Rico only, enter meters.                   ·
             Benchmark Utilized: RM 210395                                    Vertical Datum: NAVO BB (2001 ADJ)
             Indicate elevation datum used for the elevations in items a) through h) below. D NGVD 1929 D NAVD 1988 18'1 Other/Source: NAVD88 2001 ADJ
             Datum used for building elevations must be the same as that used for the BFE.
                                                                                                                   Check the measurement used. :·
            a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                     _zz.60                   1:8:1 feet    D meters
            b) Top of the next higher floor                                                                 ...M_.30                 18:1 feet     D meters
            c) Bottom of the lowest horizontal structural member (V Zones .only)                             NIA. _ _                18:1 feet     D meters
          · d) Attached garage (top of slab)                                                                ...zz.oo                 18:1 feet     D meters
             e) Lowest elevation of machinery or equipment servicing the building                           .2§.85                   1:8:l feet    D meters
                (Describe type of equipment and location in Comments)
             f) Lowest adjacent (finished) grade next to building (LAG) '                                   --1§.Q.                  181 feet      D meters
             g) Highest adjacent (finished) grade next to building (HAG)                                    _I§.~                    18:1 feet     Dmeters
             h) Lowest adjacent grade at lowest elevation of deck or stairs, including structural support   ~.96                      1:8:l feet   D meters
                                             SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
        This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
        information. I certify that the information on this Certificate represents my best efforts to interpret the data available.
        /understand that any false statement may be punishable byfihe or imprisonment under 18 U.S. Code, Section 1001.
        l'8l Check here if comments are provided on back of form.             Were latitude and longitude in Section A provided by a
        D Check here if attachments.                                          licensed land surveyor?        D Yes 181 No
        Certifier's Name Brian E. Wilson                                                       License Number 5745

        Title Survey Manager                              Company Name Miller Survey Group
        Address 1760 W. Sam Houston Pkwy N.               ~ity Houston                         State Tx     ZIP Code 77043

                                                           ate 10/16/15                        Telephone (713) 413-1900



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      ELEVATION CERTIFICATE, page 2
       IMPORTANT: In these spaces, copy the corresponding information from Section A.                                               FOR INSURANCE COMPANY USE
       Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                            Policy Number:
       777 S. Mayde Creek Dr., Building 9
       City Houston                                                                State Tx        ZIP Code 77079                   Company NAIC Number:

                                      SECTION D- SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION (CONTINUED)
       Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agent/company, and (3) building owner.
       Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U1 OO-BM01, on bridge at Memorial Drive and Langham
       Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVO 1988, 2001 Adj.)

       C2(e) - Generator Pad.


       Signature
                                                                                              Date 10/16/15


              SECTION E - BUILD1NG ELEVATION INFORMATION (SURVEY NOT REQUIRED) FOR ZONE AO AND ZONE A (WITHOUT BFE)

        For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
        and C. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
        E1.       Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
                  grade (HAG) and the lowest adjacent grade (LAG).
                  a) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the HAG.
                  b) Top of bottom floor (including basement, crawlspace, or enclosure) is - - · - -        D feet D meters D above or D below the LAG.
        E2.       For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
                  {elevation C2.b in the diagrams) of the building is - - · - - D feet D meters D above or D below the HAG.
        E3.       Attached garage (top of slab) is - - · - -          D feet D meters· D above or D below the HAG.
        E4.       Top of platform of machinery and/or equipment servicing the building is _ _._ _ D feet D meters D above or D below the HAG.
        E5.       Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
                  ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.

                                       SECTION F - PROPERTY OWNER (OR OWNER'S REPRESENTATIVE) CERTIFICATION
        The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
        or Zone AO must sign here. The statements in Sections A, B, and E are correct to the best of my knowledge.
        Property Owner's or Owner's Authorized Representative's Name

        Address                                                                           City                              State              ZIP Code

        Signature                                                                         Date                              Telephone

        Comments


      - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ' D Check here if attachments.
                                                         SECTION G - COMMUNITY INFORMATION (OPTIONAL)
      The local official who is authorized by Jaw or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
      of this Elevation Certificate. Complete the applicable item(s) and sign below. Check the measurement used in Items G8-G10. In Puerto Rico only, enter meters.
       G1.   ·o     The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
                    is authorized by law to certify elevation information. (Jndicate._the source and date of the elevation data in the Comments area below.)
       G2. D         A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
       G3. D         The following information (Items G4-G10) is provided for community floodplain management purposes.

        G4. Permit Number                           G5. Date Permit Issued                               G6. Date Certificate Of Compliance/Occupancy Issued


       G7. This permit has been issued for:           D New Construction         D Substantial Improvement
       GB. Elevation of as-built lowest floor (including basement) of the building: - - · - -         D feet        D meters          Datum
       G9. BFE or (in Zone AO) depth of flooding at the building site:              --·--             D feet        D meters          Datum
 -----G10.-community's design flood elevation:------             -- ------------      _-_. _ _ --0 feet             [J meters -     -- Datum


        Local Official's Name                                                                    Title

        Community Name                                                                           Telephone

        Signature                                                                                Date

        Comments

       - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.
____ FEMA Form 086-0-33_(7/12)                                                                                                             Replaces all previous editions.
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 ELEVATION CERTIFICATE, page 3
                                                       Building Photographs
                                                            See Instructions for Item A6
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                             FOR INSURANCE COMPANY USE

Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.           Policy Number:
777 S. Mayde Creek Dr., Building 9                              ·

 City Houston                                                            State TX       ZIP Code 77079      Company NAIC Number:


If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View' and "Left Side
View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
indicated in Section AB. If submitting more photographs than will fit on this page, use the Continuation Page.




Side View Taken 10/14/15




 FEMA Form 086-0-33 (7/12)                                                                                       Replaces all previous editions.



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ELEVATION CERTIFICATE, page 4
                                                       Building Photographs
                                                                   Continuation Page
IMPORTANT: In these spaces, copy the corresponding information from Section A.                              FOR INSURANCE COMPANY USE
Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.           Policy Number:
777 S. Mayde Creek Dr., Building 9
City Houston                                                            State TX        ZIP Code 77079      Company NAIC Number.


If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
with: date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side View." When applicable,
photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section AB.




FEMA Form 086-0-33 (7/12)                                                                                        Replaces all previous editions.



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                  Case 1:17-cv-09002-LAS                       Document 266-2                  Filed 01/10/23                   Page 652 of 1584
U.S.DEPARTMENTOFHOMELANDSECURITY                       ELEVATION CERTIFICATE
FEDERAL EMERGENCY MANAGEMENT AGENCY                                                                                               0MB No. 1660-0008
National Flood Insurance Program                   Important: Read the instructions on pages 1-9.                                 Expiration Date: July 31, 2015

                                                               SECTION A- PROPERTY INFORMATION                                   FOR INSURANCE COMPANY USE
 A1. Building Owner's Name Memorial SMC Investment 2013 LP                                                                       Policy Number:

 A2. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                           Company NAIC Number:
 777 S. Mayde Creek Dr., Building 10-A
        City Houston                                                         State Tx        ZIP Code 77079

 A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
 Resv. A, Blk. 1, Mayde Creek Crossing

 A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Apartments
 A5.     Latitude/Longitude: Lat. 29°46'40.0" Long. 95°37'28.8" Horizontal Datum: D NAO 1927 1:8:1 NAO 1983
 A6.     Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
 A7.     Building Diagram Number 1A
 AS.     For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
         a) Square footage of crawlspace or enclosure(s)                N/A       sq ft               a) Square footage of attached garage        N/A      sq ft
       ''b) Number of permanent flood openings in the crawlspace                                      b) Number of permanent flood openings in the attached garage
             or enclosure(s) within 1.0 foot above adjacent grade       N/A                               within 1.0 foot above adjacent grade    N/A
         c) Total net area of flood openings in AS.b                    N/A       sq in               c) Total net area of flood openings in A9.b N/A      sq in
         d) Engineered flood openings?           D Yes 1:8:1 No                                       d) Engineered flood openings?          D Yes 1:8:1 No
                                          SECTION B- FLOOD INSURANCE RATE MAP (FIRM) INFORMATION

 B1. NFIP Community Name & Community Number                           B2. County Name                                            B3. State
 City of Houston - 480296                                             Harris                                                     Tx

  B4. Map/Panel Number             B5. Suffix      B6. FIRM Index Date             B7. FIRM Panel                   BS. Flood         B9. Base Flood Elevation(s) (Zone
       48201C0620                      L                05/04/2015             Effective/Revised Date                Zone(s)              AO, use base flood depth)
                                                                                     06/18/2007                    X (Shaded)                      75.72'
B 1O. Indicate the source of the Base Flood Elevation (BFE) data or base flood depth entered in Item B9.
            1:8:1 FIS Profile    D FIRM          O Community Determined              D Other/Source: _ _
B11. Indicate elevation datum used for BFE in Item B9: 0 NGVD 1929            D NAVO 1988         1:8:1 Other/Source: NAVD88 2001 ADJ
B12. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?            D Yes                       1:8:1 No
     Designation Date: _ _                                         0 CBRS          O OPA
                                      SECTION C- BUILDING ELEVATION INFORMATION (SURVEY REQUIRED)
C1. Building elevations are based on:          D Construction Drawings*             D Building Under Construction* 1:8:1 Finished Construction
    *A new Elevation Certificate will be required when construction of the building is complete.
C2. Elevations-Zones A1-A30, AE, AH, A (with BFE}, VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
    below according to the building diagram specified in Item A7. In Puerto Rico only, enter meters.
    Benchmark Utilized: RM 210395                                   Vertical Datum: NAVO 88 /2001 ADJ)
       Indicate elevation datum used for the elevations in items a) through h) below. D NGVD 1929 D NAVD 1988 ~ Other/Source: NAVD88.2001 ADJ
       Datum used for building elevations must be the same as that used for the BFE.
                                                                                                             Check the measurement used.
       a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                    _.ll.11.._                 1:8:1 feet   0 meters
       b) Top of the next higher floor                                                                _§.§..L_                   1:8:1 feet   D meters
       c) Bottom of the lowest horizontal structural member (V Zones only)                            N/A. _ _                   1:8:1 feet   D meters
       d) Attached garage (top of slab)                                                               N/A. _ _                   1:8:1 feet   D meters
       e) Lowest elevation of machinery or equipment servicing the building                           _n.~                       1:8:1 feet   D meters
          (Describe type of equipment and location in Comments)
       f) Lowest adjacent (finished) grade next to building (LAG)                                     --1§.§__                   1:8:1 feet   0 meters
       g) Highest adjacent (finished) grade next to building (HAG)                                    --1§ ..§__                 1:8:1 feet   D meters
       h) Lowest adjacent grade at lowest elevation of deck or stairs, including structural support   _If_.QL                    1:8:1 feet   D meters
                                       SECTION D-SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
 This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
 information. I certify that the information on this Certificate represents my best efforts to interpret the data available.
 I understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
 1:8:1 Check here if comments are provided on back of form.            Were latitude and longitude in Section A provided by a
 D Check here if attachments.                                          licensed land surveyor?        0 Yes IXI No
 Certifier's Name Carloyn J. Quinn                                                      License Number 6033

 Title RP.LS.                                     Company Name Miller Survey Group

 Address 1760 W. Sam Houston Pkwy N.              City Houston                          State Tx      ZIP Code 77043

 Signature                                                                              Telephone (713) 413-1900



FEMA Form 086-0-33 (7/12)                                          See reverse side for continuation.                                   Replaces all previous editions.


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ELEVATION CERTIFICATE, page 2
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                                            FOR INSURANCE COMPANY USE
 Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Policy Number:
 777 S. Mayde Creek Dr., Building 10-A
 City Houston                                                             State Tx        ZIP Code 77079                   Company NAIC Number:

                            SECTION D- SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION (CONTINUED)
 Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agenUcompany, and (3) building owner.
 Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U100-BM01, on bridge at Memorial Drive and Langham
 Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVO 1988, 2001 Adj.)

 C2(e) - A/C Pad.                           '


 Signature    1tru~                                                                  Date 8/24/15


       SECTION E-BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED) FOR ZONE AO AND ZONE A (WITHOUT BFE)

 For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
 and C. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
 E1.    Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
        grade (HAG) and the lowest adjacent grade (LAG).
        a) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the HAG.
        b) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the LAG.
 E2.    For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
        (elevation C2.b in the diagrams) of the building is _ _. _ _ D feet D meters D above or D below the HAG.
 E3.    Attached garage (top of slab) is _ _. _ _           D feet D meters D above or D below the HAG.
 E4.    Top of platform of machinery and/or equipment servicing the building is _ _ ._ _ D feet D meters D above or D below the HAG.
  E5.   Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
        ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.

                            SECTION F- PROPERTY OWNER (OR OWNER'S REPRESENTATIVE) CERTIFICATION
 The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
 or Zone AO must sign here. The statements in Sections A, B, and E are correct to the best of my knowledge.
 Property Owner's or Owner's Authorized Representative's Name

 Address                                                                        City                               State            ZIP Code

 Signature                                                                      Date                               Telephone

 Comments

____________________________________________ D Check here if attachments.
                                                SECTION G - COMMUNITY INFORMATION (OPTIONAL)
The local official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
of this Elevation Certificate. Complete the applicable item(s) and sign below. Check the measurement used in Items G8-G10. In Puerto Rico only, enter meters.
G1. D      The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
           is authorized by law to certify elevation information. (Indicate the source and date of the elevation data in the Comments area below.)
G2. D      A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
G3. D      The following information (Items G4-G10) is provided for community floodplain management purposes.

 G4. Permit Number                         G5. Date Permit Issued                               G6. Date Certificate Of Compliance/Occupancy Issued


G7. This permit has been issued for:        D New Construction          D Substantial Improvement
GB. Elevation of as-built lowest floor (including basement) of the building: _ _. _ _        D feet        D meters         Datum
G9. BFE or (in Zone AO) depth of flooding at the building site:            __ __             D feet        D meters         Datum
G10. Community's design flood elevation:                                                     D feet        D meters         Datum


 Local Official's Name                                                                  Title

 Community Name                                                                         Telephone

 Signature                                                                              Date

 Comments

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.

FEMA Form 086-0-33 (7/12)                                                                                                         Replaces all previous editions.

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 ELEVATION CERTIFICATE, page 3
                                                        Building Photographs
                                                             See Instructions for Item A6
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                              FOR INSURANCE COMPANY USE
 Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.           Policy Number:
 777 S. Mayde Creek Dr., Building 10-A
 City Houston                                                            State Tx        ZIP Code 77079      Company NAIC Number:


If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
indicated in Section A8. If submitting more photographs than will fit on this page, use the Continuation Page.




Side View Taken 8/21/15



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FEMA Form 086-0-33 (7/12)                                                                                        Replaces all previous editions.


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ELEVATION CERTIFICATE, page 4
                                                                                 Building Photographs
                                                                                             Continuation Page
IMPORTANT: In these spaces, copy the corresponding information from Section A.                                                FOR INSURANCE COMPANY USE
Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                             Policy Number:
777 S. Mayde Creek Dr., Building 10-A
City Houston                                                                                     State Tx   ZIP Code 77079    Company NAIC Number:


If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
with: date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side View." When applicable,
photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section AB.


Front View Taken 8/21/15




                                         ............... ~.:.. •. _,.a,   • ' . ..   .




FEMA Form 086-0-33 (7 /12)                                                                                                        Replaces all previous editions.


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U.S. DEPARTMENT OF HOMELAND SECURITY                  ELEVATION CERTI Fl CATE
FEDERAL EMERGENCY MANAGEMENT AGENCY                                                                                           0MB No. 1660-0008
National Flood Insurance Program                  Important: Read the instructions on pages 1-9.                              Expiration Date: July 31, 2015

                                                             SECTION A- PROPERTY INFORMATION                                  FOR INSURANCE COMPANY USE
 A1. Building Owner's Name Memorial SMC Investment 2013 LP                                                                    Policy Number:

 A2. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.0. Route and Box No.                        Company NAIC Number:
 777 S. Mayde Creek Dr., Building 10-B
        City Houston                                                        State Tx        ZIP Code 77079

 A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
 Resv. A, Blk. 1, Mayde Creek Crossing

 A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Apartments
 AS.    Latitude/Longitude: Lat. 29°46'40.0" Long. 95°37'28.S"Horizontal Datum: D NAD 1927 18:1 NAO 1983
 A6.    Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
 A7.    Building Diagram Number 1A
 AS.    For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
        a) Square footage of crawlspace or enclosure(s)                          sq ft               a) Square footage of attached garage        NIA     sq ft
        b) Number of permanent flood openings in the crawlspace                                      b) Number of permanent flood openings in the attached garage
            or enclosure(s) within 1.0 foot above adjacent grade       N/A                               within 1.0 foot above adjacent grade    N/A
        c) Total net area of flood openings in A8.b                    N/A       sq in               c) Total net area of flood openings in A9.b N/A     sq in
        d) Engineered flood openings?           D Yes ~ No                                           d) Engineered flood openings?          D Yes ~ No
                                          SECTION B - FLOOD INSURANCE RATE MAP (FIRM) INFORMATION

 B1. NFIP Community Name & Community Number                          B2. County Name                                          B3. State
 City of Houston - 480296                                            Harris                                                   Tx

   B4. Map/Panel Number            BS. Suffix     B6. FIRM Index Date             B7. FIRM Panel               BS. Flood            B9. Base Flood Elevation(s) (Zone
        48201C0620                     L               05/04/2015             Effective/Revised Date            Zone(s)                 AO, use base flood depth)
                                                                                    06/18/2007                X (Shaded)                         75.72'
B1 O. Indicate the source of the Base Flood Elevation (BFE) data or base flood depth entered in Item B9.
            ~ FIS Profile        D FIRM         D Community Determined               D Other/Source: _ _
B11. Indicate elevation datum used for BFE in Item B9: D NGVD 1929            D NAVO 1988         ~ Other/Source: NAVD88 2001 ADJ
B12. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?        D Yes                        ~ No
     Designation Date: _ _                                         0 CBRS          O OPA
                                      SECTION C- BUILDING ELEVATION INFORMATION (SURVEY REQUIRED)
C1. Building elevations are based on:          D Construction Drawings*             D Building Under Construction* ~ Finished Construction
    *A new Elevation Certificate will be required when construction of the building is complete.
C2. Elevations-Zones A1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
    below according to the building diagram specified in Item A7. In Puerto Rico only, enter meters.
       Benchmark Utilized: RM 210395                                   Vertical Datum: NAVO 88 (2001 ADJ\
       Indicate elevation datum used for the elevations in items a) through h) below. D NGVD 1929 D NAVO 1988 r:8l Other/Source: NAVD88 2001 ADJ
       Datum used for building elevations must be the same as that used for the BFE.
                                                                                                             Check the measurement used.
       a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                  ....ZZ..1.L               ~ feet       D meters
       b) Top of the next higher floor                                                              __fill_.L_                ~ feet       D meters
       c) Bottom of the lowest horizontal structural member (V Zones only)                          N/A. _ _                  ~ feet       D meters
       d) Attached garage (top of slab)                                                             N/A. _ _                  ~ feet       D meters
       e) Lowest elevation of machinery or equipment servicing the building                         ....Il..-~                ~ feet       D meters
          (Describe type of equipment and location in Comments)
       f) Lowest adjacent (finished) grade next to building (LAG)                                   ---1§..§.                 ~ feet       D meters
       g) Highest adjacent (finished) grade next to building (HAG)                                  ---1§..L                  ~ feet       D meters
       h) Lowest adjacent grade at lowest elevation of deck or stairs, including structural support ....IJ...M_               ~ feet       D meters
                                       SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
  This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
  information. / certify that the information on this Certificate represents my best efforts to interpret the data available.
  I understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
  ~     Check here if comments are provided on back of form.         Were latitude and longitude in Section A provided by a
  D     Check here if attachments.                                   licensed land surveyor?      D Yes ~ No
  Certifier's Name Carloyn J. Quinn                                                    License Number 6033

  Title R.P.L.S.                                  Company Name Miller Survey Group

  Address 1760 W. Sam Houston Pkwy N.             City Houston                         State Tx     ZIP Code 77043

  Signature                                       Date 8/28/15                         Telephone (713) 413-1900



FEMA Form 086-0-33 (7/12)                                          See reverse side for continuation.                                Replaces all previous editions.

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ELEVATION CERTIFICATE, page 2
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                                            FOR INSURANCE COMPANY USE
 Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Policy Number:
 777 S. Mayde Creek Dr., Building 10-B
 City Houston                                                             State Tx        ZIP Code 77079                   Company NAIC Number:

                            SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION (CONTINUED}
 Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agent/company, and (3) building owner.
 Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U1 OO-BM01, on bridge at Memorial Drive and Langham
 Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVO 1988, 2001 Adj.)




 Signature      I                                                                    Date 8/28/15


       SECTION E- BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED) FOR ZONE AO AND ZONE A (WITHOUT BFE)

 For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
 and C. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
 E1.    Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
        grade (HAG) and the lowest adjacent grade (LAG).
        a) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the HAG.
        b) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the LAG.
 E2.    For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
        (elevation C2.b in the diagrams) of the building is _ _. _ _ D feet D meters D above or D below the HAG.
 E3.    Attached garage (top of slab) is _ _. _ _           D feet D meters D above or D below the HAG.
 E4.    Top of platform of machinery and/or equipment servicing the building is _ _ ._ _ D feet D meters D above or D below the HAG.
  ES.   Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
        ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.

                             SECTION F- PROPERTY OWNER (OR OWNER'S REPRESENTATIVE} CERTIFICATION
 The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
 or Zone AO must sign here. The statements in Sections A, B, and E are correct to the best of my knowledge.
 Property Owner's or Owner's Authorized Representative's Name

 Address                                                                        City                               State            ZIP Code

 Signature                                                                      Date                               Telephone

 Comments


- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.
                                                SECTION G - COMMUNITY INFORMATION (OPTIONAL)
The local official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
of this Elevation Certificate. Complete the applicable item(s) and sign below. Check the measurement used in Items G8-G10. In Puerto Rico only, enter meters.
G1. D      The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
           is authorized by law to certify elevation information. (Indicate the source and date of the elevation data in the Comments area below.)
G2. D      A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
G3. D      The following information (Items G4-G10) is provided for community floodplain management purposes.

 G4. Permit Number                         G5. Date Permit Issued                               G6. Date Certificate Of Compliance/Occupancy Issued


G7. This permit has been issued for:        D New Construction           D Substantial Improvement
GB. Elevation of as-built lowest floor (including basement) of the building:_ _. _ _          D feet       D meters         Datum
G9. BFE or (in Zone AO) depth of flooding at the building site:             __ __             D feet       D meters         Datum
G10. Community's design flood elevation:                                                      D feet       D meters         Datum


 Local Official's Name                                                                  Title

 Community Name                                                                         Telephone

 Signature                                                                              Date

 Comments

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - D Check here if attachments.

FEMA Form 086-0-33 (7/12)                                                                                                         Replaces all previous editions.

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 ELEVATION CERTIFICATE, page 3
                                                       Building Photographs
                                                            See Instructions for Item A6
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                            FOR INSURANCE COMPANY USE

Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.          Policy Number:
777 S. Mayde Creek Dr., Building 10-B

City Houston                                                            State Tx        ZIP Code 77079     Company NAIC Number:


 If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
 for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
 View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
 indicated in Section A8. If submitting more photographs than will fit on this page, use the Continuation Page.


Side View Taken 8/21/15




FEMA Form 086-0-33 (7/12)                                                                                       Replaces all previous editions.


                                                                                                                                            A1108
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ELEVATION CERTIFICATE, page 4
                                                       Building Photographs
                                                                   Continuation Page
IMPORTANT: In these spaces, copy the corresponding information from Section A.                            FOR INSURANCE COMPANY USE
Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.         Policy Number:
777 S. Mayde Creek Dr., Building 10-B
City Houston                                                            State Tx        ZIP Code 77079    Company NAIC Number:


If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
with: date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side View." When applicable,
photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section A8.


Front View Taken 8/21/15




                                                I




FEMA Form 086-0-33 (7/12)                                                                                     Replaces all previous editions.


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      U.S. DEPARTMENT OF HOMELAND SECURITY                     ELEVATION CERTIFICATE
      FEDERAL EMERGENCY MANAGEMENT AGENCY                                                                                                 0MB No. 1660-0008
      NationalFloodinsuranceProgram                       Important: Read the instructions on pages 1-9.                                  Expiration Date: July 31, 2015

                                                                      SECTION A - PROPERTY INFORMATION                                    FOR INSURANCE COMPANY USE
          A1. Building Owner's Name Memorial SMC lnvestment2013 LP                                                                        Policy Number:

          A2. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                           Company NAIC Number:
          777 s. Mayde Creek Dr., Building 11 a
              City Houston                                                         State Tx        ZIP Code 77079

          A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
          Resv. A, Blk. 1, Mayde Creek Crossing

          A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Apartments
          A5. Latitude/Longitude: Lat. 29°46'37.8" Long. 95°37'30.6" Horizontal Datum: 0 NAD 1927 l8I NAD 1983
          A6. Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
          A7. Building Diagram Number 1A ·
          AS. For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
              a) Square footage of crawlspace or enclosure(s)                 NIA      sq ft               a) Square footage of attached garage        N/A      sq ft
              b) Number of permanent flood openings in the crawlspace                                      b) Number of permanent flood openings in the attached garage
                  or enclosure(s) within 1.0 foot above adjacent grade       NIA                               within 1.0 foot above adjacent grade    N/A
              c) Total net area of flood openings in AS.b                    N/A       sqin                c) Total net area of flood openings in A9.b N/A      sq in
              d) Engineered flood openings?           0 Yes l8I No                                         d) Engineered flood openings?          O Yes l8I No
                                                 SECTION 8- FLOOD INSURANCE RATE MAP (FIRM) INFORMATION

          81. NFIP Community Name & Community Number                        I B2. ~olmty N~me                                             B3. State
      I City of Houston - 480296                                              Harns        ·                                             I Tx
           B4. Map/Panel Number
                48201 C0620
                                          B5. Suffix
                                              L
                                                       I B6. FIRM  Index Date I
                                                              05/04/2015
                                                                                    B7. FIRM Panel
                                                                                Effective/Revised Date
                                                                                                                             68. Flood
                                                                                                                              Zone(s)
                                                                                                                                                89. Base Flood Elevation(s) (Zone
                                                                                                                                                    AO, use base flood depth)
                                                                                                                                                                                    I
      I                                                                                        06/18/2007           I       X (Shaded)                       75.72'
      B1 O. Indicate the source of the Base Flood Elevation (BFE) data or base flood depth entered in Item 89.
                  l8I FIS Profile       O FIRM          O Community Determined                 O Other/Source: _ _
      811. Indicate elevation datum used for BFE in Item B9: O NGVD 1929            0 NAVO 1988         l8I Other/Source: NAVD88 2001 ADJ
      812. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?          0 Yes                           l8I No
           Designation Date:__                              .            0 C8RS          O OPA
                                               SECTION C- BUILDING ELEVATION INFORMATION (SURVEY REQUIRED)
      C1. Building elevations are based on:          0 Construction Drawings*             l8I Building Under Construction*       0 Finished Construction
          *A new Elevation Certificate will be required when construction of the building is complete.
      C2. Elevations - Zones A 1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with 8FE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
          below according to the building diagram specifie~ in Item A7. In Puerto Rico only, enter meters.
          Benchmark Utilized: RM 210395                                    Vertical Datum: NAVO 88 /2001 ADJ)
          Indicate elevation datum used forttie elevations in items a) through h) below. D NGVD 1929 D NAVO 1988 1Zl Other/Source: NAVD88 2001 ADJ
          Datum used for building elevations must be the same as that used for the BFE.
                                                                                                                         Check the measurement used.
             a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                     ...11..04                    l8I feet     O meters
             b) Top of the next higher floor                                                                 ....fill..77                 l8I feet     O meters
             c) Bottom of the lowest horizontal structural member (V Zones only)                             NIA._ _                      l8I feet     O meters
             d) Attached garage (top of slab)                                                                NIA. _ _                     l8l feet     O meters
             e) Lowest elevation of machinery or equipment servicing the building                            ...1§.88                     l8I feet     O meters
                (Describe type of equipment and location in Comments)
             f) Lowest adjacent (finished) grade next to building (LAG)                                      ~-1.                         l8I feet     0 meters
             g) Highest adjacent (finished) grade next to building (HAG)                                     ...1§.~                      l8I feet     0 meters
             h) Lowest adjacent grade at lowest elevation of deck or stairs, including structural support    ...11..01                    l8l feet     0 meters
                                               SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
           This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
           information. I certify that the information on this Certificate represents my best efforts to interpret the data available.
          -1 understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
           [81 Check here if comments are provided on back of form.              Were latitude and longitude in Section A provided by a
           0 Check here if attachments.                                          licensed land surveyor?        O Yes t8l No
           Certifier's Name Carolyn J. Quinn                                                     License Number 6033
           Title RP.LS.                                   Company Name Miller Survey Group
           Address 1760 W. Sam Houston Pkwy N.          • City Houston                           State Tx    ZIP Code 77043
                                                                                                 Telephone. (713) 413-1900


~~~F_EMA Form 086-0~33_ (7/12)               ---~- -
                                                                            See reverse side for continuation.
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                                                                                                                                                  Replaces all previous editions.



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ELEVATION CERTIFICATE, page 2
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                                            FOR INSURANCE COMPANY USE
 Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Policy Number:
 777 S. Mayde Creek Dr., Building 11 a
 City Houston                                                             State Tx        ZIP Code 77079                   Company NAIC Number:

                            SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION (CONTINUED)
 Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agent/company, and (3) building owner.
 Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U1 D0-BM01, on bridge at Memorial Drive and Langham
 creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVO 1988, 2001 Adj.)




 Signature    l~:::JIM/YY"c::::                                                      Date 10/27/14

    SECTION E- BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED) FOR ZONE AO AND ZONE A (WITHOUT BFE)

 For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
 and c. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
 E1. Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
      grade (HAG) and the lowest adjacent grade (LAG).
      a) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _.__            D feet D meters D above or D below the HAG.
      b) Top of bottom floor (including basement, crawlspace, or enclosure) is - - · - -         D feet D meters D above or D below the LAG.
 E2. For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
      (elevation C2.b in the diagrams) of the building is _ _._ _ 0 feet O meters D above or D below the HAG.
 E3. Attached garage (top of slab) is - - · - -           0 feet O meters D above or O below the HAG.
 E4. Top of platform of machinery and/or equipment servicing the building ls - - · - - D feet D meters D above or D below the HAG.
 ES. Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
      ordinance? D Yes O No O Unknown. The local official must certify this Information in Section G.
                             SECTION F- PROPERTY OWNER (OR OWNER'S REPRESENTATIVE) CERTIFICATION
 The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
 or Zone AO must sign here. The statements in Sections A, B, and E are correct to the best of my knowledge.
 Property Owner's or Owner's Authorized Representative's Name

 Address                                                                         City                              State          .ZIP Code

 Signature                                                                       Date                              Telephone

 Comments


- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ' D Check here if attachments.
                                                   SECTION G- COMMUNITY INFORMATION (OPTIONAL)
The local official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
of this Elevation Certificate. Complete the applicable item(s) and sign below. Check the measurement used in Items G8-G10. In Puerto Rico only, enter meters.
G1. D      The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
           is authorized by law to certify elevation information. (Indicate the source and-date of the elevation data in the Comments area below.)
G2. 0      A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
G3. D      The following information (Items G4-G10) is provided for community floodplain management purposes.

 G4. Permit Number                         G5. Date Permit Issued                               G6. Date Certificate Of Compliance/Occupancy Issued

G7. This permit has been issued for:          D New Construction         O Substantial Improvement
GB. Elevation of as-built lowest floor (including basement) of the building: - - · - -        D feet       O meters          Datum _ _
G9. BFE or (in Zone AO) depth of flooding at the building site:             --·--             D feet       O meters          Datum
G1 O. Community's design flood EJlevation:.                                                       D feet   D meters          Datum

  Local Official's Name                                                                 Title

  Community Name                                                                        ·Telephone

  Signature                                                                             Date

  Comments

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.

                                                                                                                                  Replaces all previous editions.



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        ELEVATION CERTIFICATE, page 3
                                                              Building Photographs
                                                                   See Instructions for Item A6
        IMPORTANT: In these spaces, copy the corresponding information from Section A.                            FOR INSURANCE COMPANY USE
       Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.          Policy Number:
       777 S. Mayde Creek Dr., Building 11 a
       City Houston                                                            State Tx        ZIP Code 77079     Company NAIC Number:


       If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
       for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
       View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
       indicated in Section A8. If submitting more photographs than will fit on this page, use' the Continuation Page.




       Side View Taken 8/21/2015




        FEMA Form 086-0-33 (7/12)                                                                                      Replaces all previous editions.
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ELEVATION CERTIFICATE, page 4                         Building Photographs
                                                  Continuation Page
IMPORTANT: In these spaces, copy the corresponding information from Section A.                                 FOR INSURANCE COMPANY USE
Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.              Policy Number:
777 S. Mayde Creek Dr., Building 11 a
City Houston                                                            State Tx             ZIP Code 77079    Company NAIC Number:


If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
with: date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side View." When applicable,
photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section A8.


Front View Taken 8/21/2015
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FEMA Form 086-0-33 (7/12)                                                                                           Replaces all previous editions.



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U.S. DEPARTMENT OF HOMELAND SECURITY
FEDERAL EMERGENCY MANAGEMENT AGENCY
                                                         ELEVATION CERTIFICATE                                                        0MB No. 1660-0008
National Flood Insurance Program                    Important: Read the instructions on pages 1-9.                                    Expiration Date: July 31, 2015

                                                                SECTION A - PROPERTY INFORMATION                                      FOR INSURANCE COMPANY USE
    A1. Building Owner's Name Memorial SMC Investment 2013 LP                                                                         Policy Number.

    P-:2.. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                          Company NAIC Number:
    777 s. Mayde Creek Dr., Building 11 b
         City Houston                                                         State Tx        ZIP Code 77079

    A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
    Resv. A, Blk. 1, Mayde Creek Crossing

    A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Apartments
    AS. Latitude/Longitude: Lat. 29°46'37.8" Long. 95°37'30.S"Horizontal Datum: D NAD 1927 181 NAO 1983
    AS. Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
    A7. Building Diagram Number 1A                                                                      ·
    AB. For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
        a) Square footage of crawlspace or enclosure(s)                 N/A      sq ft               a) Square footage of attached garage         NIA     sq ft
        b) Number of permanent flood openings in the crawlspace                                      b) Number of permanent flood openings in the attached garage
            or enclosure(s) within 1.0 foot above adjacent grade        N/A                               within 1.0 foot above adjacent grade    N/A
        c) Total net area of flood openings in AB.b                     NIA      sq in               c) Total net area of flood openings in A9.b N/A      sq in
        d) Engineered flood openings?           D Yes 181 No                                         d) Engineered flood openings?           D Yes 181 No
                                            SECTION 8- FLOOD INSURANCE RATE MAP (FIRM} INFORMATION

    B1. NFIP Community Name & Community Number                       \ 82. County Name                                           1B3. State
I City of Houston - 480296                                             Harris                                                     I TX                                            I
     B4. Map/Panel Number
          48201 C0620
                                I BS. Suffix
                                      L
                                             I BS. FIRM  Index Date I
                                                    05/04/2015
                                                                          B7. FIRM Panel
                                                                      Effective/Revised Date
                                                                                                                    B8. Flood
                                                                                                                     Zone(s)
                                                                                                                                           B9. Base Flood Elevation(s) (Zone
                                                                                                                                               AO, use base flood depth)
I                                                                                     06/18/2007                   X (Shaded)          I                75.72'
B1 o. Indicate the source of the Base Flood Elevation (BFE) data or base flood depth entered in Item B9.
          181 FIS Profile      D FIRM        D Community Determined             D Other/Source: _ _
811. Indicate elevation datum used for BFE in Item 89: D NGVD 1929            D NAVO 1988 181 Other/Source: NAVD88 2001 ADJ
812. Is the building located in a Coastal Barrier Resources System (CBRS) area or Otherwise Protected Area (OPA)?  D Yes                                    181 No
     Designation Date:__                                           0 CBRS          O OPA
                                        SECTION C - BUILDING ELEVATION INFORMATION (SURVEY REQUIRED)
C1. Building elevations are based on:          D Construction Drawings*             D Building Under Construction*       181 Finished Construction
    *A new Elevation Certificate will be required when construction of the building is complete.
C2. Elevations -Zones A1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
    below according to the building diagram specified in Item A7. In Puerto Rico only, enter meters.
    Benchmark Utilized: RM 210395                                    Vertical Datum: NAVO 88 (2001 ADJ}
    Indicate elevation datum used for the elevations in items a) through h) below. D NGVD 1929 D NAVD 1988 !21 Other/Source: NAVDBB 2001 ADJ
    Datum used for building elevations must be the same as that used for the BFE.
                                                                                                                 Check the measurement used.
        a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                    _ll.04                         181 feet     D meters
        b) Top of the next higher floor                                                                _Jill.77                       181 feet     D meters
        c) Bottom of the lowest horizontal structural member (V Zones only)                            NIA._ _                        181 feet     D meters
        d) Attached garage (top of slab)                                                               N/A._ _                        181 feet     D meters
        e) Lowest elevation of machinery or equipment servicing the building                           ...1§..88                      181 feet     D meters
           (Describe type of equipment and location in Comments)         ·
        f) Lowest adjacent (finished) grade next to building (LAG)                                     -1§..~                         181 feet     D meters
        g) Highest adjacent (finished) grade next to building (HAG)                                    _ll.Q_                         181 feet     D meters
        h) Lowest adjacent grade at lowest elevation of deck or stairs, including structural support   ...1§..90                      181 feet     D meters
                                         SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
     This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
     information. I certify that the information on this Certificate represents my best efforts to interpret the data available.
     I understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
     181 Check here if comments are provided on back of form.              Were latitude and longitude in Section A provided by a
     D Check here if attachments.                                          licensed land surveyor?        D Yes 181 No
     Certifier's Name Brian E. Wilson                                                    License Number 5745

     Title Survey Manager                           Company Name Miller Survey Group
     Address 1760 W. Sam Houston Pkwy N.            City Houston                         State Tx      ZIP Code 77043

     Signature                                                                           Telephone (713) 413-1900
              /

. FEMA Forr:n 08_6-0~33(7/'12)                                        See reverse side for continuation.
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          ELEVATION CERTIFICATE, page 2
           IMPORTANT: In these spaces, copy the corresponding information from Section A.                                            FOR INSURANCE COMPANY USE
           Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Policy Number:
           777 S. Mayde Creek Dr., Building 11b
           City Houston                                                             State TX        ZIP Code 77079                   Company NAIC Number:

                                       SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION {CONTINUED)
           Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agent/company, and (3) building owner.
           Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U1 OO-BM01, on bridge at Memorial Drive and Langham
           Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVO 1988, 2001 Adj.)

           c2(e} - Generator pad. /} ,._                              ,


           Signature             7! & A ~ 2 z ~                                                Date 10/13/2015


              SECTION E- BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED) FOR ZONE AO AND ZONE A (WITHOUT BFE)

           For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
           and c. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
           E1. Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
               grade (HAG) and the lowest adjacent grade (LAG).
               a) Top of bottom fioor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the HAG.
               b) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the LAG.
           E2. For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
               (elevation C2.b in the diagrams) of the building is _ _. _ _ D feet D meters D above or D below the HAG.
           E3. Attached garage (top of slab) is _ _. _ _           D feet D meters D above or D below the HAG.
           E4. Top of platform of machinery and/or equipment servicing the building is _·__._ _ D feet D meters               D
                                                                                                                             above or D below the HAG.
           E5.    Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
                  ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.

                                           SECTION F - PROPERTY OWNER (OR OWNER'S REPRESENTATIVE) CERTIFICATION
           The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
           or Zone AO must sign here. The statements in Sections A, B, and E are correct to the best of my knowledge.
           Property Owner's or Owner's Authorized Representative's Name

           Address                                                                         City                              State             ZIP Code

           Signature                                                                       Date                              Telephone

           Comments


          - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ' D Check here if attachments.
                                                          SECTION G - COMMUNITY INFORMATION (OPTIONAL)
          The local· official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
          of this Elevation Certificate. Complete the applicable item(s) and sign below. Check the measurement used in Items G8-G10. In Puerto Rico only, enter meters.
          G1. D      The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
                     is authorized by law to certify elevation information. (Indicate the source and date of the elevation data in the Comments area below.)
          G2. D      A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
          G3. D      The following information (Items G4-G1 O) is provided for community floodplain management purposes.

           G4. Permit Number                          G5. Date Permit Issued                              G6. Date Certificate Of Compliance/Occupancy Issued


          G7. This permit has been issued for:         D New Construction         D Substantial Improvement
          GS. Elevation of as-built lowest floor (including basement) of the building: - - · - -       D feet        D meters          Datum
          G9. BFE or (in Zone AO) depth of flooding at the building site:            _ _. _ _          D feet        D meters          Datum
          G1 o. Community's design flood elevation:                                                    D feet        D meters          Datum


           Local Official's Name                                                                  Title

            Community Name                                                                        Telephone

            Signature                                                                             Date

            Comments

          - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.

__, ____ FEMA Form 086~0-33 (7/12) _                                                                                                 __ _ _ Replaces all previous editions. ____ _
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 ELEVATION CERTIFICATE, page 3
                                                       Building Photographs
                                                            See Instructions for Item A6
 IMPORTANT: In these spaces, copy the corresponding information from Section A.                             FOR INSURANCE COMPANY USE

Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.           Policy Number:
777 S. Mayde Creek Dr., Building 11 b
 City Houston                                                            State Tx       ZIP Code 77079      Company NAIC Number:


If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
View." When applicable, photographs must show the foundation with representative examples of the flood openings or vents, as
indicated in Section AS. If submitting more photographs than will fit on this page, use the Continuation Page.




            ~c-·jJf,:/
Side View Taken 8/21/2015                                                                                                                  ,
                                                                                                                                         ...
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FEMA Form 086-0-33 (7/1.2)                                                                                       Replaces all previous editions.



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ELEVATION CERTIFICATE, page 4
                                                       Building Photographs
                                                                   Continuation Page
IMPORTANT: In these spaces, copy the corresponding information from Section A.                              FOR INSURANCE COMPANY USE
Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.           Policy Number.
777 S. Mayde Creek Dr., Building 11 b

City Houston                                                            State Tx        ZIP Code 77079      Company NAIC Number.


If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
with: date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side View." When applicable,
photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section AS.


Front View Taken 8/21/2015




FEMA Form 086-0-33 (7/12)                                                                                        Replaces all previous editions.




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    U.S. DEPARTMENT OF HOMELAND SECURITY
    FEDERAL EMERGENCY MANAGEMENT AGENCY
                                                               -LEV
                                                               t=.  ATION CERTIFICATE                                                    0MB No. 1660-0008
    National Flood Insurance Program                       Important: Read the instructions on pages 1-9.                                Expiration Date: July 31, 2015

                                                                      SECTION A - PROPERTY INFORMATION                                  FOR INSURANCE COMPANY .USE ..
     A1. Building Owner's Name Memorial SMC Investment 2013 LP                                                                          Policy Number:

     A2. Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                              Company NAIC Number:
     777 S. Mayde Creek Dr., Building 11 c
         City Houston                                                         State Tx        ZIP Code 77079

     A3. Property Description (Lot and Block Numbers, Tax Parcel Number, Legal Description, etc.)
     Resv. A, Blk. 1, Mayde Creek Crossing

     A4. Building Use (e.g., Residential, Non-Residential, Addition, Accessory, etc.) Apartments
     A5. Latitude/Longitude: Lat. 29°46'37.8" Long. 95°37'30.6" Horizontal Datum: D NAO 1927 t8I NAO 1983
     A6. Attach at least 2 photographs of the building if the Certificate is being used to obtain flood insurance.
     A7. Building Diagram Number 1A
     A8. For a building with a crawlspace or enclosure(s):                                      A9. For a building with an attached garage:
         a) Square footage of crawlspace or enclosure(s)                 N/A     . sq ft              a) Square footage of attached garage       N/A       sq ft
         b) Number of permanent flood openings in the crawlspace                                      b) Number of permanent flood openings in the attached garage
             or enclosure(s) within 1.0 foot above adjacent grade        NIA                              within 1.0 foot above adjacent grade   N/A
         c) Total net area of flood openings in A8.b                     NIA       sqin               c) Total net area offload openings in A9.b N/A       sq in
         d) Engineered flood openings?           D Yes t8I No                                         d) Engineered flood openings?         D Yes [81 No
                                                   SECTION B- FLOOD INSURANCE RATE MAP (FIRM) INFORMATION

     B1. NFIP Community Name & Community Number                             I B2. County Name                                          I Tx
                                                                                                                                         B3. State
     City of Houston - 480296                                                 Harris                                                                                               I
         B4. Map/Panel Number              85. SufflX      86. FIRM Index Date              87. FIRM Panel               88. Flood          89. Base Flood Elevation(s)"(Zone
              48201C0620                       L                05/04/2015              Effective/Revised Date            Zone(s)               AO, use base flood depth)
                                                                                              06/18/2007           I     X (Shaded)                      75.72'                    I
    81   o. Indicate the source of the Base Flood Elevation (8FE) data or base flood depth entered in Item 89.
                    [81 FIS Profile      D FIRM         D Community Determined                D Other/Source: _ _
    811. Indicate elevation datum used for 8FE in Item 89: D NGVD 1929            D NAVD 1988 t8I Other/Source: NAVD88 2001 ADJ
    812. Is the building located in a Coastal Barrier Resources System (C8RS) area or Otherwise Protected Area (OPA)?  D Yes                                    t8I No
         Designation Date:__                                           0 CBRS          O OPA
                                              SECTION C - BUILDING ELEVATION INFORMATION {SURVEY REQUIRED)
    C1. · Building elevations are based on:         D Construction Drawings*             D Building Under Construction*       t8I Finished Construction
         *A new Elevation Certificate will be required when construction of the building is complete.
    C2. Elevations-Zones A1-A30, AE, AH, A (with BFE), VE, V1-V30, V (with BFE), AR, AR/A, AR/AE, AR/A1-A30, AR/AH, AR/AO. Complete Items C2.a-h
          below according to the building diagram specified in Item A7. In Puerto Rico only, enter meters.
          Benchmark Utilized: RM 210395                                    Vertical Datum: NAVO 88 (2001 ADJ)
          Indicate elevation datum used for the elevations in items a) through h) below. D NGVD 1929 D NAVO 1988 181. Other/Source: NAVD88 2001 ADJ
          Datum used for building elevations must be the same as that used for the BFE.
                                                                                                                      Check the measurement used.
               a) Top of bottom floor (including basement, crawlspace, or enclosure floor)                     _n.04                     [81 feet    D meters
               b) Top of the next higher floor                                                                 _Jill.77                  [81 feet    D meters
               c) Bottom of the lowest horizontal structural member 0f Zones only)                             NIA. _ _                  [81 feet    D meters
               d) Attached garage (top of slab)                                                                N/A. _ _                  [81 feet    D meters
               e) Lowest elevation of machinery or equipment servicing the building                            -1§..88                   t8I feet    D meters
                  (Describe type of equipment and location in Comments)
               f) Lowest adjacent (finished) grade next to building (LAG)                                      -1§..~                    !Zl feet    D meters
               g) Highest adjacent (finished) grade next to building (HAG)                                     _zz..Q_                   [81 feet    D meters
               h) Lowest adjacent grade at lowest elevation of deck or stairs, including structural support    -1§..90                   [81 feet    D meters
                                               SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION
      This certification is to be signed and sealed by a land surveyor, engineer, or architect authorized by law to certify elevation
      information. I certify that the information on this Certificate represents my best efforts to interpret the data available.
      I understand that any false statement may be punishable by fine or imprisonment under 18 U.S. Code, Section 1001.
         !Zl     Check here if comments are provided on back of form.          Were latitude and longitude in Section A provided by a
         D       Check here if attachments.                                    licensed land surveyor?      D Yes [81 No
         Certifier's Name Carolyn J. Quinn                                                       License Number 6033
         Title RP.LS.                                      Company Name Miller Survey Group

         Address 1760W. Sam Houston Pkwy N.,               City Houston                          State Tx      ZIP Code 77043

         Signature                                                                               Telephone (713) 413-1900



_ _F_E~fl._Form 086-0-33 (7/12)_                                             See reverse side for continuation.                                Replaces all previous editions.
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       ELEVATION CERTIFICATE, page 2
        IMPORTANT: In these spaces, copy the corresponding information from Section A.                                           FOR INSURANCE COMPANY USE
       Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.                         Policy Number:
       777 S. Mayde Creek Dr., Building 11 b
        City Houston                                                            State Tx        ZIP Code 77079                   Company NAIC Number:

                                    SECTION D - SURVEYOR, ENGINEER, OR ARCHITECT CERTIFICATION (CONTINUED)
       Copy both sides of this Elevation Certificate for (1) community official, (2) insurance agent/company, and (3) building owner.
       Comments Benchmark: Floodplain Reference Mark No. 210395, HCFCD Brass Disk stamped U1 OO-BM01, on bridge at Memorial Drive and Langham
       Creek, located on downstream side of bridge at stream centerline. Elev.= 79.42' (NAVO 1988, 2001 Adj.)

       '2(e)-Ge,eratocpad. ~

        Signature              /                                                           Date 10/13/2015


               SECTION E- BUILDING ELEVATION INFORMATION (SURVEY NOT REQUIRED) FOR ZONE AO AND ZONE A (WITHOUT BFE)

        For Zones AO and A (without BFE), complete Items E1-E5. If the Certificate is intended to support a LOMA or LOMR-F request, complete Sections A, B,
        and c. For Items E1-E4, use natural grade, if available. Check the measurement used. In Puerto Rico only, enter meters.
        E1.     Provide elevation information for the following and check the appropriate boxes to show whether the elevation is above or below the highest adjacent
                grade (HAG) and the. lowest adjacent grade (LAG).
                a) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the HAG.
                b) Top of bottom floor (including basement, crawlspace, or enclosure) is _ _. _ _         D feet D meters D above or D below the LAG.
        ·E2.    For Building Diagrams 6-9 with permanent flood openings provided in Section A Items 8 and/or 9 (see pages 8-9 of Instructions), the next higher floor
                (elevation C2.b in the diagrams) of the building is _ _._ _ D feet D meters D above or D below the HAG.
        E3.     Attached garage (top of slab) is - - · - -        D feet D meters D above or D below the HAG.
        E4.     Top of platform of machinery and/or equipment servicing the building is - - · - - D feet D meters D above or D below the HAG.
        E.5.    Zone AO only: If no flood depth number is available, is the top of the bottom floor elevated in accordance with the community's floodplain management
                ordinance? D Yes D No D Unknown. The local official must certify this information in Section G.

                                    SECTION F - PROPERTY OWNER (OR OWNER'S REPRESENTATIVE) CERTIFICATION
        The property owner or owner's authorized representative who completes Sections A, B, and E for Zone A (without a FEMA-issued or community-issued BFE)
        or Zone AO must sign here. The statements in Sections A, B, and E are correct to the best of my knowledge.
        Property Owner's or Owner's Authorized Representative's Name

        Address                                                                        City                              State             ZIP Code

        Signature                                                                      Date                              Telephone

        Comments


       - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.
                                                       SECTION G - COMMUNITY INFORMATION (OPTIONAL)
       The local official who is authorized by law or ordinance to administer the community's floodplain management ordinance can complete Sections A, B, C (or E), and G
       of this Elevation Certificate. Complete th~ applicable item(s) and sign below. Check the measurement used in Items GB-G10. In Puerto Rico only, enter meters.
       G1. D      The information in Section C was taken from other documentation that has been signed and sealed by a licensed surveyor, engineer, or architect who
                  is authorized by law to certify elevation information. (Indicate the source and date of the elevation data in the Comments area below.)
       G2. D       A community official completed Section E for a building located in Zone A (without a FEMA-issued or community-issued BFE) or Zone AO.
       G3. D       The following information (Items G4-G10) is provided for community floodplain management purposes.

        G4. Permit Number                          GS. Date Permit Issued                             G6. Date Certificate Of Compliance/Occupancy Issued


       G7. This permit has been issued for:         D New Construction         D Substantial Improvement
       GB.     Elevation of as-built lowest floor (including basement) of the building: _ _ _ _         D feet D meters            Datum _ _
       G9. BFE or (in Zone AO) depth of flooding at the building site:              --·--               D feet D meters            Datum
       G10._ Community's design flood elevation:                                                        D feet D meters            Datum


         Local Official's·Name                                                                Title

         Community Name                                                                       Telephone

         Signature                                                                            Date

         Comments

   i   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - 0 Check here if attachments.
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   I


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ELEVATION CERTIFICATE, page 3
                                                       Building Photographs
                                                            See Instructions for Item A6

 IMPORTANT: In these spaces, copy the corresponding information from Section A.                             FOR INSURANCE COMPANY USE
Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.           Policy Number:
777 S. Mayde Creek Dr., Building 11 c
 City Houston                                                            State TX       ZIP Code 77079      Company NAIC Number:


If using the Elevation Certificate to obtain NFIP flood insurance, affix at least 2 building photographs below according to the instructions
for Item A6. Identify all photographs with date taken; "Front View" and "Rear View"; and, if required, "Right Side View" and "Left Side
View." When applicable, photographs must show the foundation with representative examples of the flood openings or verits, as
indicated in Section A8. If submitting more photographs than will fit on this page, use the Continuation Page.




Side View Taken 8/21/2015




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 FEMA Form 086-0-33 (7/12)                                                                                       Replaces ali previous editions.




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        ELEVATION CERTIFICATE, page 4                          Building Photographs
                                                                           Continuation Page
        IMPORTANT: In these spaces, copy the corresponding information from Section A.                             FOR INSURANCE COMPANY USE
        Building Street Address (including Apt., Unit, Suite, and/or Bldg. No.) or P.O. Route and Box No.          Policy Number:
        777 S. Mayde Creek Dr., Building 11 c
        City Houston                                                            State Tx        ZIP Code 77079     Company NAIC Number:


        If submitting more photographs than will fit on the preceding page, affix the additional photographs below. Identify all photographs
        with: date taken; "Front View' and "Rear View"; and, if required, "Right Side View" and "Left Side View." When applicable,
        photographs must show the foundation with representative examples of the flood openings or vents, as indicated in Section AB.


        Front View Taken 8/21/2015




  i     FEMA Form 086-0-33 (7/12)                                                                                       Replaces all previous editions.
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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS


          In re DOWNSTREAM ADDICKS                            )
          AND BARKER (TEXAS) FLOOD-                           )
          CONTROL RESERVOIRS                                  )
                                                              )
                                                              )   Sub-Master Docket No. l:17-9002L
                                                              )
                                                              )
          THIS DOCUMENT RELATES TO:                           )
                                                              )
          ALL DOWNSTREAM CASES                                )

          17-1235L; Virginia and Arnold
          Milton



                                         INITIAL FACT SHEET

COMPLETE EACH OF THE FOLLOWING. IF YOU DO NOT KNOW THE ANSWER
TO A QUESTION, PLEASE AFFIRMATIVELY INDICATE YOU DO NOT KNOW THE
ANSWER.

1.      Name of Plaintiff(s):      Virginia Milton and Arnold Milton

2.      Address of Plaintiff(s)' real property that allegedly flooded as a result of the U.S. Army Corps

        of Engineers' operations of the Addicks and Barker Dams and Reservoirs (hereinafter the

        "Property"):

        850 Silvergate Dr., Houston, TX 77079-5068

3.      Location of any other property allegedly taken as a result of the U.S. Army Corps of Engineers'

        operations of the Addicks and Barker Dams and Reservoirs:

        None.

4.      County Property Parcel Identification number1: 1075160000010




I County Property Parcel Identification Numbers are available at the FBCAD website and the HCAD website.




                                                                                                             A1122
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5.       If known, describe the date, timing, and extent/ amount of Property flooding during Tropical

         Storm Harvey (i.e. how deep was the water over time, and how much, and what parts, of

         your property did it cover):

         On August 28, 2017 after 12:00 a.m. water began entering our home. The water reached 4

         feet 2.4 inches inside the house. The property ws flooded from August 28, 2017 to September

         10, 2017.

6.       If known, describe the date and extent of previous Property flooding (if any):

         None.

7.       As of August 24, 2017, was the Property located in: the 100-year floodplain                  D; the 500-year

         floodplain IZI; no known floodplain D.

8.       When was the Property purchased or leased by you, or do you have some other type of

         property interest?

          Purchased on April 19, 1978.

9.       What is the elevation of the Property according to this website2 ?

         24.0 meter or 78.6 feet.

10.      Do you have additional information regarding the elevation of the Property (e.g.,

         measurements taken for insurance purposes or a floodplain certificate)? If so, please provide




2 Elevation information is available at http~://www.mapdevelopcrs.com /elevario n   calculator.ph p

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 Case 1:17-cv-09002-LAS             Document 266-2          Filed 01/10/23        Page 674 of 1584




        the source and date of the information used to determine the elevation.




11.     Nature of Property interest (check all that apply): residential~; commercial D; industrial O;

        owner ~; renter D.




12.     Condition of Property at time of acquisition (i.e. vacant, improved, partially improved):


        Improved.


13.     Is the Property currently listed on MLS for sale?


        No


14.     Has the Property been sold since Tropical. Storm Harvey? No


15.    Was there flood insurance for the Property during Tropical Storm Harvey? No




Plainti.ff(s) Name: Virginia Milton and Arnold Milton


Attorney Firm Name: Fleming, Nolen &Jez, L.L.P.




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Case 1:17-cv-09002-LAS   Document 266-2   Filed 01/10/23   Page 675 of 1584




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 Date: t,




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       Case 1:17-cv-09002-LAS                                   Document 266-2                               Filed 01/10/23                         Page 676 of 1584




                                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS


         In Re ADDICKS AND BARKER (TEXAS)
              FLOOD-CONTROL RESERVOm

                                                                                                                Master Docket No. 17-3000L

              THIS DOCUMENT APPLIES TO:


                                    ALL CASES



                                                                      INITIAL FACT SHEET

         COMPLETE EACH OF THE FOLLOWING. IF YOU DO NOT KNOW THE ANSWER
         TO A QUESTION, PLEASE AFFIRMATIVELY INDICATE YOU DO NOT KNOW THE
         ANSWER.

         l.     Name of Plaintifl{s):                                                  Jennifer Shipos

         2.         Address of Plaintiff(s)' real property that allegedly tlooded as a result of the USACE' s

                operations of the Addicks and Barker Dams and Reservoirs (hereinafter the "Property"):

                931 Bayou Parkway, Houston, Texas 77077.

         3.         County Property Parcel Identification number 1: .........
                                                                         11__6__1__7=20"-1=2=0--0=27' - - - - -- - - -

         4.         If known, describe the date, timjng, and extent/amount of Property flooding during

                    Tropical Storm Harvey :_ _.A
                                               . . .___s_o___f'--'-A=u.._,gu=s=t......2. .7..._,
                                                                                           . . __2=0....17__,........._M......s.·.. . .__S""'h.....ip,.._o=s~·_,p_r~op_e=rty-~h=
                                                                                                                                                                               ad~n-o__t

                    flooded due to Hurricane Harvey. Ms. Shipes' property was inundated, destroyed,

                    substantially damaged. and/or devalued as a direct result of the Government' s intentional

                    release of flood water from the reservoirs into Buffalo Bayou on or about August 27,

                    2017 to September 2017. Floodwaters occupied the property from on or about August

                    29, 2017 to September 4, 2017.


...      1 County   Property Parcel Identification Numbers are available at the FBCAD wcb~1te and the I ICA.D website .



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     Case 1:17-cv-09002-LAS                    Document 266-2                Filed 01/10/23            Page 677 of 1584




       5.         If known, describe the date and extent of previous Property flooding (if any): _----=...;N=
                                                                                                            o=ne=·-

       6.         As of August 24, 2017, was the Property located in: the 100-year floodplain                 _x_; the
                  500-year floodplain             ; no known floodplain _ _ __

       7.         When was the Property purchased or leased by you, or do you have some other type of

                  property interest Property was acquired in or around December 1996, with ownership.

       8.         What is the elevation of the Property according to this website2? 24.5 meters or 80.4 feet

                  Do you have additional information regarding the elevation of the Property (e.g. ,

                  measurements taken for insurance purposes)? If so, please provide the source and date of

                  the information used to determine the e l e v a t i o n . - - - - - - - - - - - - - -

       9.         Nature of Property interest (check all that apply): residential _x_; commercial _ _;

                  industrial _ ·_; owner...X...; renter_ _.

       10.        Condition of Property at time of acquisition (i.e. vacant, improved, partially improved):

                           Improved, excellent, remodeled

       l l.       Is the Property currently listed on MLS for sale? _N.:.=o_ _ _ _ _ _ __ _ _ __

       12.        Has the Property been sold since Tropical Storm Harvey? _N.:.=o_ _ _ _ _ _ _ __

       13.        Was there flood insurance for the Property during Tropical Storm Harvey? Yes LNo _


                  Please contact the undersigned should you have any questions or wish to discuss further.




                                                                         Very truly yours,

                                                                    NEEL, HOOPER& BANES, P.C.



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           Elevation infonnation is available at https //www lllilp<lcvelopers.com/elev,nion calcula(or php

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           Case 1:17-cv-09002-LAS                                     Document 266-2                              Filed 01/10/23                         Page 678 of 1584
                                                                H***PROTECTED MATE RIAL*****




                                      IN THE UNITED STATES COURT OF FEDERAL CLAIMS



                In Re ADDICKS AND BARKER (TEXAS)
                    FLOOD-CONTROL RESERVOIR

                                                                                                                    Master Docket No. 17-3000L                                                   1
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                    THIS DOCUMENT APPLms TO:
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                                        ALL CASES
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                                                              AMENDED INITIAL FACT SHEET                                                                                                         If
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            COMPLETE EACH OF THE FOLLOWING. IF YOU DO NOT KNOW l'HE ANSWER                                                                                                                       ~
            TO A QUESTION, PLEASl!: Al'lt1RMATIVELY INDICATE YOU DO NOT KNOW THE                                                                                                                 l
                                                                                                                                                                                                 !
            ANSWER.                                                                                                                                                                              I
            1.        Name of Plaintiff(s):                                                Jennifer Shipes                                                                                       ;'!
                                                                                                                                                                                                 i
            2.         Address of Plaintiff(s)' real property that allegedly flooded as a result of the USACE's

                       operations of the Addicks and Barker Dams and Reservoirs (hereinafter the "Property"):                                                                                    i
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                       931 Bayou Parkway. Houston. Texas 77077.

            3.         Location of any other property allegedly taken as a result of the U.S. Almy Corps of

                      Engineers' operations of the Addicks and Barkel' Dams and Reservoirs: - - - - - -

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            5.
                       Cow1ty Property Parcel Identification number 1: _1""'1'--"6=1.....



                       Tropical Sl01m Harvey:._ _=-=
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                      If.known, describe the date, timing, and extent/amount of Property flooding during

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                      flooded due to Hurricane Harvey. Ms. Shipos' property was inundated. destroyed,


                County Property .Parcel Identification Numbers arc available at the FBCAD website and tb.e HCAD website.
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Case 1:17-cv-09002-LAS                    Document 266-2                  Filed 01/10/23        Page 679 of 1584
                                       *****PROTECTED MATE RIAL*****
                                                                                                                     I
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             substantially damaged, and/or devalued as a direct result of the Government's intentional

             release of flood water from the reservoirs into Buffalo Bayou on or about August 27.
                                                                                                                     I
             2017 to September 2017. Floodwaters occupied the property from on or about August
                                                                                                                     ~
             29. 2017 to September 4. 2017.                                                                          ~
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                                                                                                                     l

     6.      If known, describe the date and extent of previous Property flooding (if any): __N~o=ne=·-

     7.      As of August 24, 2017, was the Property located in: the 100-year floodplain __K_; the

             500-year floodplain_; no known floodplain _ __

     8.      When was the Property purchased or leased by you, or do you have some other type of

             property interest Property was acquired in or around December 1996. with ownership.
                                                                                                                     ~
  9.         What is the elevation of the Property according to this website2 ? 24.5 meters or 80.4 feet             •I
             Do you have additional information regarding the elevation of the Prope1ty (e.g.,
                                                                                                                     i
     10.

             measurements taken for insurance purposes)? 1f so, please provide the source and date of                I
             the information used to determine the elevation. _ __                 75.8' Elevation Certificate

            dated April 4. 2018

  11.       Nature of Property interest (check all that apply): residential __x_; commercial _ _;

            industrial _ _; owner_JL; n:nter_ _.

  12.       Condition of Property at time of acquisition (i.e. vacant, improved, partially improved):

            Improved. excellent. remodeled.

  13.       Is the Property currently listed on MLS for sale? _N'""'""'o_ _ _ _ __ __ _ __

  14.       Has the Property been sold since Tropical Storm Harvey? ...N
                                                                       .....o________ _ __

  15.       Was there flood insurance for the Property during Tropical Storm Harvey? Yes _K_No _




 2   Elevation information is available at httjJs://www.mapdevelopers,com/eleyation calculator.p)m

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      Case 1:17-cv-09002-LAS               Document 266-2                 Filed 01/10/23   Page 680 of 1584

                                     *****PROTECTED MATERIAL*****




       Please contact the undersigned should you have any questions or wish to discuss ft.uther.



                                                                   Very truly yours,

                                                              NEEL, HOOPER & BANES, P.C.


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                                                                   Bryant 8.anes

                                  ,/t             c:            C
       Plaintiff(s) Name:         .__J {!)f\11\t.vu( . )k'\J.QD)_ _ _ _ _ __
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       Plaintiff(s) Signature: l__~)vl-l,tf'- \i J,. DU..4!'.:::>
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       Date: _   c__.;. ,._/-'---"/C--iJj'--f-=-'l_·_ _ _ _ __




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     Case 1:17-cv-09002-LAS   Document 266-2   Filed 01/10/23   Page 681 of 1584




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Case 1:17-cv-09002-LAS                   Document 266-2              Filed 01/10/23          Page 682 of 1584




                     IN THE UNITED STATES COURT OF FEDERAL CLAIMS


             In re DOWNSTREAM ADDICKS                           )
             AND BARKER (TEXAS) FLOOD-                          )
             CONTROL RESERVOIRS                                 )
                                                                )
                                                                )    Sub-Master Docket No. 1:17-9002L
                                                                )
                                                                )
             THIS DOCUMENT RELATES TO:                          )
                                                                )
             ALL DOWNSTREAM CASES                               )

             17-9002L



                                            INITIAL FACT SHEET

COMPLETE EACH OF THE FOLLOWING. IF YOU DO NOT KNOW THE ANSWER
TO A QUESTION, PLEASE AFFIRMATIVELY INDICATE YOU DO NOT KNOW THE
ANSWER.

 l.        Name of Plaintiff(s):      Peter and Z hennia Silverman

 2.        A ddress o f Plaintiff(s)' real property that allegedly flooded as a result of the U.S. Army Corps

           of Engineers' operations of the A ddicks and Barker Dams and Reservoirs (hereinafter the

           "Property") :

           12515 \Vesterley Lane H ousto n, TX 77077

3.         Location of any other property allegedly taken as a result of the U.S. Army Corps of E ngineers'

           op erations of the Addicks and Barker Dams and Reservoirs:

           N/A

       4. Coun ty Property Parcel Identification number 1: 0990020000032




1   County P roperty Parcel Identification Numbers are available at the FBC\D website and the HC\D website.




                                                                                                                A1132
Case 1:17-cv-09002-LAS                   Document 266-2              Filed 01/10/23           Page 683 of 1584




    5.      If known, describe the date, timing, and extent/ amount of Property flooding during Tropical

            Storm Harvey (i.e. how deep was the water over time, and how much, and what parts, of

            yo ur property did it cover):

            The water likely entered the house on either August 29 or August 30 (when a neighbor

            returned by boat to find house flooded). \.Vhen we returned to the house on September 8, the

            water had just receded (the floor was wet). The high water mark was about 12 inches in the

            house in most places, but it varied a bit.

 6.        If known, describe the date and extent of previous Property flooding (if any):

           Yes; there have been small amounts of flooding, controllable with towels and mopping, from

            heavy rainfall events and lack of drainage in 1992, but not from Buffalo Bayou. The drainage

           issues have since been fixed. There was no flooding from Tropical Storm Harvey.

 7.        As o f August 24, 2017, was the Property located in: the 100-year floodplain            D; the 500-year

            floodplain D; no known floodplain ~.

 8.        When was the Property purchased or leased by you, or do you have some other type of

           property interest?

            Purchased August 13, 1990

 9.        What is the elevation of the Property according to this website2?

           75.3 feet

10.        Do you have additional information regarding the elevation of the Property (e.g.,

           measurements taken for insurance purposes or a floodplain certificate)? If so, please provide

           the source and date of the information used to determine the elevation.

           Slab elevation is 75.09 feet; South Texas Surveying Associates, Inc.; December 17. 2017




2   Elevation information is available at hrtps://www.mapdcvelopcrs.com/elevation calculator.php

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Case 1:17-cv-09002-LAS             Document 266-2            Filed 01/10/23         Page 684 of 1584




 11.    Nature of Property interest (check all that apply) : residential l:8:I; commercial O; industrial O;

        owner 1:8:1; renter 0.




 12.    Condition of Property at time o f acquisition (i.e. vacant, improved, partially improved) :

        Improved

 13.    Is the Property currently listed on MLS for sale?

        No

 14.    H as the Property been sold since Tropical Storm Harvey? Yes

 15.    Was there flood insurance for the Property during Tropical Storm Harvey? Yes




 Plaintiff(s) Name: Peter and Zhennia Silverman

 Attorney Firm Name: Marrs Ellis & Hodge LLP




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Case 1:17-cv-09002-LAS                   Document 266-2              Filed 01/10/23           Page 685 of 1584



                                       ***""PROTECTED MATERIAL*"""*




                       IN THE UNITED STATES COURT OF FEDERAL CLAIMS



      IN RE ADDICKS AND BARKER (TEXAS)

           FLOOD-CONTROL RESERVOIR

                                                                        MA.slER. DOO<Kr No. 17-3000L

           TITTS DOCUMENT APPLIES TO:



                        ALL CASES




                                      AMENDED INITIAL FACT SHEET

  COMPLETE EACH OF THE FOLLOWING. IF YOU DO NOT KNOW THE ANSWER
  TO A QUESTION, PLEASF. AFFIRMATIVELY INDICATE YOU DO NOT KNOW THE
  ANSW}:R.


  l.         Name of Plaintiff(s): ...;:T.:..:im=-..;;;S=ta=h=l---------- -- - - - - - - -

  2.         Address of Plaintiff(s)' real property that allegedly flooded as a result of the USACE's

             operations of the Addicks and 13arker Dams and Reservoirs (hereinafter the "Prope1ty"):

             265 Chimney Rock, Houston, Texas 77024.

  3.         Location of any other property allegedly taken as a result of !ht: U.S. Anny Corps of

             Engineers' operations of the Addicks and Barker Dams and Reservoirs: _ _ _ _ __




  4.         County Property Parcel Identification number 1: _ _.....
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      County Property Parcel Tdentifieation Numbers are available at the FBCAD website and the HCAl1 website.
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Case 1:17-cv-09002-LAS                    Document 266-2                  Filed 01/10/23          Page 686 of 1584


                                        *****PROTECTED MATERIAL*****




  5.          If known, describe the date, timing, and extent/amount of Prope1ty flooding during

             Tropical Storm llarvey: On August 27, 2017 Mr. Stahl's properly had minimal flooding

             due to Hurricane Harvey. Mr. Stahl 's property was inundated, destroyed, substantially

             damaged, and/or devalued as a direct result of the Government's intentional release of

              floodwater from the reservoirs into Buffalo Rayou on or about August 27, 2017 to

             September 20 17. Floodwaters occupied the property from on or about August 27 to

             August 29, 2017.

  6.         If known, describe the date and extent of previous Property flooding (if any): 'N-'=
                                                                                                on=c:..:..· - -

  7.         As of August 24, 20 17, was the Property located in: the JOO-year floodplain                X : the

             500-ycar floodplain ....K_; no known floodplain__,_._ _ __

  8.         When was the Property purchased or leased by you, or do you have some olher type of

             properly interest        Prope1ty was acquired on or about October 26, 2007 with ownership.

  9.         What is the elevation of the Property according to this websitc 2? 12.8 meters or 42.0 feet

  10.        Do you have additional infonnation regarding the elevation of the Property (                     E.G.,

             measurements taken for insurance purposes)? If so, please provide the source and date of

             the information used to determine the elevation.             47.5' E levation Certificate

             dated April 4, 2018.

  11 .       Nature of Propc1ty interest (check all that apply): residential X_;_fQmmercial _ _;

             industrial _ _ ; owner ....K_; renter_ _.

  12.        Condition of Property at time of acquisition (i.e. vacant, improved, partially improved):




  2   Elevation information is available at ht;tps://www.m11pclevelopers.com/elevation calculator.php

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                  Case 1:17-cv-09002-LAS                                       Document 266-2                       Filed 01/10/23            Page 687 of 1584




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Case 1:17-cv-09002-LAS   Document 266-2   Filed 01/10/23   Page 688 of 1584




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Case 1:17-cv-09002-LAS                   Document 266-2               Filed 01/10/23           Page 689 of 1584




                        IN THE UNITED STATES COURT OF FEDERAL CLAIMS



       In Re ADDICKS AND .8ARKER (TEXAS)

            FLOOD-CONTROL RESERVOIR

                                                                         Master Docket No.17-3000L
            TffiS DOCUMENT APPLIES TO:


                          ALL CASES



                                               INITIAL FACT SHEET
   COMPLETE EACH OF THE FOLLOWING. ll? YOU DO NOT KNOW THE ANSWER
   TO A QUESTION, PLEASE AFFIRMATIVELY INDICATE YOU DO NOT KNOW THE
   ANSWER.

   1.         Name of Plaintiff(s):                      Timothy Hawes Stahl

   2.        · Address ot' Plaintiff(s)' real prope1ty that allegedly flooded as a result of the USACE's

              operations of the Addicks and Barker Dams and Reservoirs (hereinafter the "Properly"):

              265 Chimney Rock. Houston. Texas 77024.

   3.         Location of any other properly allegedly taken as a result of the U.S. Ai.my Corps · of

              Engineers' operations of the Addicks and Barker Dams and Resetvoirs: - - - - - -




   4.         County Property Parcel Tdentificationnumber1: --~09~8~4~9~3~
                                                                         0 0_0~0~0~04~------

   5.         If known, describe the date, timing, and extent/amount of Property flooding during

              Tropical Storm Harvey: On August 27, 2017. Mr. Stahl's prope1ty had minimal flooding

              du~ to Hun·icanc Harvey. Mr. Stahl's prope1ty was inundated, destroyed, substantially

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       Cow1ty Property Pal'cel Identification Numbers are available at the FBCAP website and the HCAD website.




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Case 1:17-cv-09002-LAS                    Document 266-2                 Filed 01/10/23            Page 690 of 1584




              damaged, and/or devalued as a direct result of the Government's intentional release of

              floodwnlcr from the reservoirs into Buffalo Bayou on or about August 27. 2017 to

              ~tember 2017. Floodwaters occupied the property from on or about August 27 to

              August 29, 2017.

   6,         If known, describe the date and extent of previous Property flooding (if any):N
                                                                                            ;..;=01=1e=·--

   7.         As of August 24, 2017, was the Property located in: the 100-year floodplain                 _x_; the
              500-year floodplain l ; no known floodplain _ __ _

   8.         When was the Property purchased or leased by you, or do you have some other type of

              property interest         Property was acquired on or about October 26, 2007 with ownership.

   9.         Whal is the elevation of the Properly according to this website2? 12.8 meters or 42.0 feet

   I 0,       Do you have additional inf01n1ation regarding the elevation of tb.e Pmpe1iy (e.g.,

              measurements taken for irumrance purposes)? If so, please provide the source and date of

              the information used to determine the elevation.

   11.        Nature of Properly interest (check all that apply): residential _K_; commercial___;

              indush·ial
                           --· --·· owner X · renter
                                                         - -.
   12.        Condition of Property at time of acquisition (i. e. vacant, improved, pruiially improved):

              Im roved

   13,        Is the Property currently listed on MLS for sale? _N~o_ _ _ _ _ _ _ _ _ _ __

   14.        Ilas the Property been sold since Tropical Storm Harvey? _N~o_ _ _ _ _ _ _ _ __

   15.        Was there flood insurance for the Prope1ty dw'ing Tropical Sto11n Harvey? Yes _K_No _




   2   Elevation information is available at hUps:/hV\rn'.tnslpdevelopers.com/elev11tjon calculator.php

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Case 1:17-cv-09002-LAS           Document 266-2            Filed 01/10/23       Page 691 of 1584




   Please contact the undersigned should you have any questions or wish to discuss further.



                                                        Very truly yours,

                                                      NEEL, HOOPER & BANES, P.C.


                                               B y ~- =



   Plaintiff(s) Name:           Timothy Huwes Stahl




   Date: _ __           _ifebruary 2018




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Case 1:17-cv-09002-LAS   Document 266-2   Filed 01/10/23   Page 692 of 1584




                                                                              A1142
Case 1:17-cv-09002-LAS                      Document 266-2                  Filed 01/10/23               Page 693 of 1584




                        lN THE UN ITED STATES COURT OF F EDERAL CLAIMS



      Tn Re ADDICKS AND BARKER (TEXAS)

          FLOOD-CONTROT, RESERVOIR.

                                                                              Master Docket No. 17-3000L
          TIDS DOCUMENT APPLIES TO:



                         ALL CASES



                                                 INITIAL FACT SHEET

  C01'1PLETE EACH OF THE FOLLOWII\'G. lF YOU DO NOT KNOW THE ANSWER
  TO A QUESTION, PLEASE AFFIRMATIVELY INDICATE YOU DO NOT KNOW TBE
  A1'SWER.

  1.         Name of Plaintiff(s):                          Tim Stahl

  2.         Address of Plaintiff(s)' real property that allegedly flooded as a result of the USACE' s

             operations of the Addicks and Barker Dams and Reservoirs (hereinafter the "Property"):

             265 Chimney Rock. Houston, Texas 77024.

  3.         County Property Parcel Tdenli Cicali on number 1: --"""0-'-9-'-84""'9'""3'"0""""0-'-00"""0""'0'""'4_ _ _ _ _ __

  ·I.        If known, describe the date, timing, and extent/amount of Property flooding during

             Tropical Sturm Harvey:___O_n_A_u_.g_us_t_2_7~,_2_0_17-·~Mr_._S_ta_h_l'-s_p,._r~o.....p~erty......__h~a=d_m~in~im~al

             flooding due to Hurricane Harvey. Mr. Stahl's property was inundated, destroyed,

             substantially damaged, and/or devalued as a direct result of the Government's intentional

             release of fl oodwater from the reservoirs into Buffalo Bayou on or about August 27, 20 17

             to September 2017. Floodwaters occupied the property from on or about August 27 to

             August 29, 2017.

  1
      County Property Parcel Identification Nmnbcrs are available at tl1c FBCAD wcbsi1c and the HCAD websi1e.




                                                                                                                              Down_PL0000128
                                                                                                                                         A1143
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   5.         ff known, describe the date and extent of previous Property floodi ng (if any): N~o_ne~._ _

   6.         As of August 24, 2017, was the Property located in: the IOO-year floodplain _K_; the

              500-year floodplain ...X..; no known floodplain _ __ _

   7.         When was the Property purchased or leased by you, or do you have some other type of

              property interest       Property was acquired on or about October 26. 2007 with ownership

   8.         What is the elevation of the Property according to this website2 ? 12.8 meters or 42.0 feet

              Do you have additional information regarding the elevation of the Property (e.g. ,

              measurements taken for insurance purposes)? If so, please provide the source and date of

              the infonnat.ion used Lo clctcnninc the elevation. - - - - - - - - - - - - - -

   9.         Nature of Property interest (check all that apply) : residential _x_; commercial _ _ ;

              indu stri al _ _; owner _x_; renter_ _.

   10.        Condition of Property at time of acquisition (i .e. vacant, improved, partially improved):

                       Im roved

   J1.        Is the Property currently listed on MLS for sale? _ N=-=o_ _ _ _ _ __ _ _ _ __

   12 .       Has the Propeiiy been sold since Tropical Storm Harvey? ~N
                                                                       ~o _ _ _ _ _ _ _ __

   13 .       Was there flood insurance for the Property during Tropical Storm Harvey? Yes _K_No _


               Please contact the undersigned should you have any questions or wish to discuss further.




                                                                  Very truly yours,

                                                              NEEL, HOOPER& BANES, P.C.


                                                         By ~ -
                                                                  Bryant S,anes


   2   Elevation infonnatiou is available al hllps://www mapdevelopers.com/eleyation calculator.php

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                                                                                                            Down_ PLOOOO 129


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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS


           In re DOWNSTREAM ADDICKS                             )
           AND BARKER (TEXAS) FLOOD-                            )
           CONTROL RESERVOIRS                                   )
                                                                )
                                                                )    Sub-Master Docket No.1:17-9002L
                                                                )
                                                                )
           THIS DOCUMENT RELATES TO:                            )
                                                                )
           ALL DOWNSTREAM CASES                                 )

           17-1206L



                                            INITIAL FACT SHEET

 COMPLETE EACH OF THE FOLLOWING. IF YOU DO NOT KNOW THE ANSWER
 TO A QUESTION, PLEASE AFFIRMATIVELY INDICATE YOU DO NOT KNOW THE
 ANSWER.

 1.      Name of Plaintiff(s):       Shawn S. Welling

 2.      Address of Plaintiff(s)' real property that allegedly flooded as a result of the U.S. Army Corps

          of Engineers' operations of the Addicks and Barker Dams and Reservoirs (hereinafter the

          "Property"):

          5731 Logan Lane, Houston, Texas 77007

 3.       Location of any other property allegedly taken as a result of the U.S. Army C01ps of Engineers'

          operations of the Addicks and Barker Dams and Reservoirs:

         None.

 4.       County Property Parcel Identification number1: 1245050010004




 1 County Property Parcel Identification Numbers are available at the FBC.AJ) website and the HCAD \.vebsitc.




                                                                                                                  A1145
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 5.      If known, describe the date, timing, and extent/ amount of Property flooding during Tropical

         Storm Harvey (i.e. how deep was the water over time, and how much, and what parts, of

         your property did it cover):

         Flooded on or before August 28; as of August 30, property had 2-3 feet of water that Plaintiff

         pumped out of building: high-water mark was over 10 feet

 6.      If known, describe the date and extent of previous Property flooding (if any):

         None.

 7.      As of August 24, 2017, was the Property located in: the 100-year floodplain ISi; the 500-year

         floodplainD; no known floodplain D.

 8.      When was the Property purchased or leased by you, or do you have some other type of

         property interest?

          Purchased - 2000

 9.      What is the elevation of the Property according to this website'?

         43.5 feet.

 10.     Do you have additional information regarding the elevation of the Property (e.g.,

         measurements taken for insurance purposes or a floodplain certificate)? If so, please provide

          the source and date of the information used to determine the elevation.

         No.

 11.     Nature of Property interest (check all that apply): residentialD; commercial ISi; industrial D;

         owner ISi; renter D.




 12.     Condition of Property at time of acquisition (i.e. vacant, improved, partially improved):



 2 Elevation information is available at https://www.mapdcvdopcrs.com/c:lcvation   cakulator.php

                                                          2




                                                                                                                 A1146
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        Improved.

 13.    Is the Property currently listed on MLS for sale?

        No

 14.    Has the Propetty been sold since Tropical Storm Harvey? No

 15.    Was there flood insurance for the Property during Tropical Storm Harvey? No



 Plaintiff(s) Name: Shawn S. Welling

 Attorney Firm Name: The Potts Law Firm, LLP

                                        d


                                   /c/
 Plaintiff(s) Signature: ----,"?"'/_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



 Date: ----~..-1_'-~·····-\~"~~Z~~------~-)_'ZJ_'  _\-""J~--




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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
       ______________________________
                                     )
       In re DOWNSTREAM ADDICKS AND )                Sub-Master Docket No.
       BARKER (TEXAS) FLOOD-CONTROL )                   1:17-9002- L
       RESERVOIRS                    )
       ______________________________)               Chief Judge Susan G.
                                     )                     Braden
       THIS DOCUMENT RELATES TO:     )
                                     )
       ALL DOWNSTREAM CASES          )
       ______________________________)

                   **************************************

                         ORAL AND VIDEOTAPED DEPOSITION OF

                                     RICHARD LONG

                                   AUGUST 7, 2018

                    *************************************

              ORAL AND VIDEOTAPED DEPOSITION OF RICHARD LONG,
       produced as a witness at the instance of the Individual
       Downstream Plaintiffs, and duly sworn, was taken in the
       above-styled and numbered cause on AUGUST 7, 2018, from
       10:09 a.m. to 4:52 p.m., before Aubrea Hobbs, CSR, RPR,
       in and for the State of Texas, reported by computerized
       machine shorthand, at the office of McGehee, Chang,
       Landgraf, 10370 Richmond Avenue, Suite 1300, in the City
       of Houston, County of Harris, State of Texas, pursuant
       to Rule 30 of the Rules of the Court of Federal Claims,
       and the provisions stated on the record or attached
       hereto.


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Case 1:17-cv-09002-LAS                Document 266-2              Filed 01/10/23         Page 699 of 1584

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      TXHVWLRQDQGP\ELJTXHVWLRQLVJRLQJWREHSXWWKLVLQ        IRXQGDWLRQ
      FRQWH[WSXWWKHSXEOLFXVHLQFRQWH[W7HOOWKH              $7KHWKHRSHUDWLRQRIWKHSURMHFWVZHUH
      MXGJHDQGE\WKHZD\ZHKDYHPD\EHRUVR               GHVLJQDWHGIRUWKHRYHUDOOJRRGRIWKH&LW\RI+RXVWRQ
      KRPHRZQHUVZDWFKLQJWKLVDVZHVSHDN                          4 %<050F*(+(( :K\"
      $<HVVLU                                            $7RSURYLGHIORRGULVNPDQDJHPHQWWRWKH&LW\
      46RZHPD\KDYHWKHIDPLOLHVRIWKHVHWZRIRONV       RI+RXVWRQ
      XSKHUH7HOOWKHIDPLOLHVDQGWHOOWKHKRPHRZQHUVZKDW       4+RZZRXOGLWKHOSWKH&LW\RI+RXVWRQ"
     JUHDWHUJRRGZDVDFFRPSOLVKHGE\IROORZLQJWKHSURWRFRO       $,WZRXOGSUHYHQWLWZRXOGKHOSOLPLWWKH
     WKDWLQYROYHGUHOHDVLQJWKHGDPV)LUVWRIDOOGR\RX       LPSDFWVRIIORRGLQJWKDWPD\RFFXUIURPDVWRUPHYHQW
     NQRZWKRVHWZRIRONV"                                         4$QGLQRUGHUWRGRWKDW\RXZULWHSURWRFROV"
     05/(9,1(2EMHFWLRQIRUP&RPSRXQG        $7KHUHDUHSURWRFROV\HVVLU
     TXHVWLRQYDJXHPLVFKDUDFWHUL]HVSULRUWHVWLPRQ\ODFN       4/RWVRIUXOHVDQGUHJXODWLRQVRQKRZWRGR
     RIIRXQGDWLRQ                                                WKDW"
     050F*(+((7KDW VDVSHDNLQJ                $<HVVLU
     REMHFWLRQ                                                    4$QGEHIRUHZHJHWVWDUWHG\RXIROORZHGDOO
     4 %<050F*(+(( *RDKHDGDQGDQVZHUWKH           WKRVHUXOHVDQGUHJXODWLRQVGLGQ W\RX"
     TXHVWLRQ                                                     05/(9,1(2EMHFWLRQIRUPODFNRI
     $&DQ\RXDVNPHDVWUDLJKWTXHVWLRQDQGQRW       IRXQGDWLRQ
     UHVWUDLJKWUHVWDWH\RXUTXHVWLRQSOHDVHVLU             $,ZDVSDUWRIWKHWHDPWKDWZDVLQYROYHGLQ
     4'R\RXNQRZWKRVHSHRSOH"                           WKHGHFLVLRQPDNLQJSURFHVVEXWLWZDVQRWP\GHFLVLRQ
     $7KRVHSHRSOH"                                       4 %<050F*(+(( $QG, PDVNLQJ\RXWKDW
     47KDWZDVQ WDVWUDLJKWTXHVWLRQ"                    \ DOOIROORZHGWKRVHUXOHVDQGSURWRFROVGLGQ W\RX"
      ([KLELW1RPDUNHG                         $,W VP\XQGHUVWDQGLQJWKDWZHGLG\HV


                                                                                                              3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                                  A1149
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                                                         5LFKDUG/RQJ

                                                                                                                          
      4,W VP\XQGHUVWDQGLQJWRR/HW VWDONDERXW         42ND\
      WKRVH/HW VWDONDERXWWKHDFWV$QGEHIRUHZHWDON         $$QGRQ%DUNHU'DPVRXWKRI,E\
      DERXWWKHDFWVLI\RXFRXOGPRYH\RXUFKDLUMXVWD            DSSUR[LPDWHO\RQHPLOHDQGRQWKHZHVWVLGHRI+LJKZD\
      OLWWOHELW,ZDQWWRVKRZWKHMXGJHH[DFWO\ZKDWZH UH        
      WDONLQJDERXW7KLVORRNVIDPLOLDUWR\RXGRHVQ WLW"        46RWKDWZKHUHLWVD\VRXWOHWKHUHWKDW
       ([KLELW1RPDUNHG                          WKDW VZKHUHWKHUHOHDVHJDWHVDUH"
      05/(9,1(2EMHFWLRQIRUPODFNRI           $7KDW VZKHUHWKHFRQWUROVWUXFWXUHVDUH\HV
      IRXQGDWLRQ,VWKDWDQH[KLELWLQWKLVGHSRVLWLRQ"            VLU
      4 %<050F*(+(( *RDKHDGVLU                     42ND\, GOLNHWRWDONQRZDERXWWKHDFWV
     $<HVVLU                                           $QGWKHDFWV, PJRLQJWROLVWWKHPIRU\RXDQG, P
     42ND\$QGWKHVHDUHWKHUHVHUYRLUV"                JRLQJWRDVN\RXWRH[SODLQWKHP7KHILUVWDFWLV
     $<HVVLU                                           RSHQLQJ, PVRUU\FORVLQJWKHJDWHV
     47KLVLVWKH%XIIDOR%D\RX"                          05/(9,1('R\RXPLQGVLWWLQJGRZQ"
     $<HVVLU                                           7KDQN\RX
     4$QG, OOUHSUHVHQWWR\RXWKDWWKHUHDUH         4 %<050F*(+(( $WVRPHSRLQWGXULQJ
     GRWVRQKHUHDQG, OOUHSUHVHQWWR\RXWKDWWKH\             +XUULFDQH+DUYH\\ DOOFORVHGWKHJDWHV"
     UHIOHFWWKHWHVWSURSHUW\RZQHUVWKDWKDYHEHHQ            $<HVVLU
     LGHQWLILHGLQWKHFRQVROLGDWHGFRPSODLQW:LOO\RXVSRW      4$QG\RXGLGWKDWEHFDXVHWKDW VZKDWWKH
     PHWKDW"                                                      PDQXDOVDLGWRGR"
     $:RXOG\RXDVNWKDWTXHVWLRQDJDLQ"                  $<HVVLU
     4<HDK, OOUHSUHVHQWWR\RXWKDWWKHVH          4:KDWPDQXDO"
     GRWVUHSUHVHQWWKHWHVWSURSHUW\RZQHUVLQYROYHGLQWKLV      $2XU:DWHU&RQWURO0DQXDO
     FDVH                                                         4&DQ,DEEUHYLDWHWKDW:&0DQG\RXXQGHUVWDQG
     $2ND\                                               ZKDW, PWDONLQJDERXW"
     4$QGDQGLI\RXFRXOGEHDUZLWKPHRQHPRUH       $<HVVLU


                                                                                                                          
      WLPHZKHQ,WDONDERXWLQXQGDWLRQDUHDWKLVLV-DFN        4:KRZDVUHVSRQVLEOHIRUFORVLQJWKHJDWHV"
      0F*HKHHWDONLQJ:KHQ,WDONDERXWLQXQGDWLRQDUHD, P       $$PHPEHURIWKHRSHUDWLRQDOWHDPIRU$GGLFNV
      WDONLQJDERXWWKHUHOHDVHZDWHUWKDWWKDWIORRGHGWKH       DQG%DUNHU
      WHVWSURSHUWLHVDIWHUWKHUHOHDVHZDVFRQGXFWHG:KHQ,       48QGHU\RX"
      WDONDERXWLQXQGDWLRQDUHDWKLVLVZKDW, PWDONLQJ           $1RVLU
      DERXW'R\RXXQGHUVWDQGZKDW, PVD\LQJ"                     4'R\RXNQRZZKRLWZDV"
      05/(9,1(2EMHFWLRQIRUPYDJXH            $<HVVLU,GR
      $<HVVLU                                            42ND\&DQ\RXWHOOPHZKRLWZDV"
      4 %<050F*(+(( 'R\RXRND\:HKDYH           $'DYLG0F,QWRVK
     KHUHHQGRIGDPHQGRIGDP,VWKDWDFFXUDWH"               42ND\$QGKHZDVKHZDVSDUWRISDUWRI
     $<HVVLU                                           \RXUWHDP"
     42ND\$QGWKHQGRZQKHUHHQGRIGDPDQGXS         $+HZDVSDUWRIWKHRSHUDWLRQDOWHDP\HVVLU
     KHUHHQGRIGDPLVWKDWDFFXUDWH"                            4:KHQZDVWKDWSHUIRUPHG"
     $<HVVLU                                           05/(9,1(2EMHFWLRQIRUPYDJXHODFN
     42ND\1RZWKHUH VWZRRXWOHWVKHUH&DQ\RX      RIIRXQGDWLRQ
     WHOOWKHMXGJHZKHUHWKHUHOHDVHRXWOHWVRFFXUDQGLI         4 %<050F*(+(( *RDKHDG+H VMXVWWDONLQJ
     WKH\ UHLQWKHVHSODFHVPDUNHGRXWOHWRULIWKHUH V           LQWKHUHFRUG+H VQRWWDONLQJWR\RX
     RWKHUSODFHVZKHUHWKHUHLVDUHOHDVHRXWOHWZKHUHZDWHU      $,WZDVDSSUR[LPDWHO\DWLPHSHULRGZKHQ+DUYH\
     IORZHGGXULQJWKHGXULQJWKHVXUJH"                        PDGHODQGIDOORULPPHGLDWHO\WKHUHDIWHU
     05/(9,1(2EMHFWLRQIRUPFRPSRXQG         47KHWK"
     TXHVWLRQ                                                     $,GRQ WNQRZWKHDFWXDOGDWH,GRQ WUHFDOO
     4 %<050F*(+(( :KHUHDUHWKHUHOHDVHJDWHV"      WKHDFWXDOGDWH
     $7KHUHOHDVHJDWHVDUHDWWKHORFDWLRQVWKDW V       4%HIRUHWKHWKKRZ VWKDW"
     LQGLFDWHGRQWKHPDSRQ$GGLFNV'DPEHWZHHQ(OGULGJH          $<HV
     URDGDQG+LJKZD\QRUWKRI,                             42ND\


                                                                                                             3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                              A1150
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                                                       5LFKDUG/RQJ

                                                                                                                            
      05/(9,1(2EMHFWLRQIRUPYDJXH,V        4 %<050F*(+(( $QG\RXNQHZWKDWEHIRUHWKH
      WKDWDTXHVWLRQ&RXQVHO"                                      JDWHVZHUHRSHQHG"
      $7KHUHZDVDQLQWHQWLRQDOUHOHDVHRIZDWHUGRZQ       $<HV
      %XIIDOR%D\RX\HV                                            47KDWZDV\RXUSURWRFROVLQFH"
      4 %<050F*(+(( %\WKHERRN"                       05/(9,1(2EMHFWLRQIRUPYDJXH
      05/(9,1(2EMHFWLRQIRUPYDJXH            $7KDW VWKH&RUSV SURWRFRO
      $%\WKHERRN                                         4 %<050F*(+(( 2ND\:HUHWKHUHDQ\RWKHU
      4 %<050F*(+(( $QGWKDWERRNLVWKHVDPH          DFWVLQYROYLQJWKHLQGXFHGVXUFKDUJHEHVLGHVFORVLQJDQG
      ERRNWKDWFORVHGWKHJDWHV"                                    RSHQLQJWKHJDWHV"
     05/(9,1(2EMHFWLRQIRUPYDJXH           $$Q\RWKHUDFWV"
     $<HV                                                4<HDK:HUHWKHUHDQ\GHYLDWLRQV"
     4 %<050F*(+(( :KRSHUIRUPHGLW"                 05/(9,1(2EMHFWLRQIRUPODFNRI
     $:KRSHUIRUPHGZKDW"                                 IRXQGDWLRQ
     47KHLQGXFHGVXUFKDUJH                              $&DQ\RXJLYHPHWKHWLPHSHULRGZKHQ\RX UH
     $'HILQHSHUIRUPHG                                   UHIHUULQJWRGHYLDWLRQV"
     43OHDVH0U/RQJ\RXGHILQHSHUIRUPHG             4 %<050F*(+(( <HDKVXUH$IWHUWKHHDUO\
     05/(9,1(2EMHFWLRQKDUDVVPHQW            PRUQLQJKRXUVRIWKHWKDIWHUWKDWZHUHWKHUHDQ\
     $1RVLU:KHQ\RXVD\ZKRSHUIRUPHGLWGR         GHYLDWLRQV"
     \RXPHDQZKRSK\VLFDOO\SHUIRUPHGWKHJDWHFKDQJHV"           $1RWWKDW, PDZDUHRI
     4 %<050F*(+(( <HVVLU                         47KHVHKDGWKHVHJDWHVQRWEHHQFORVHGDQG
     $3DUWRIWKHRSHUDWLRQDOWHDP                       KDGWKH\QRWEHHQRSHQWKDWZRXOGKDYHEHHQDYLRODWLRQ
     4:KHQ"                                               RI\RXUSURWRFROWUXH"
     $,GRQ WNQRZWKHDFWXDOGDWHWKDWLWRFFXUUHG      05/(9,1(2EMHFWLRQIRUPODFNRI
     6RPHWLPHDURXQGWKHSRVW+DUYH\ODQGIDOO                     IRXQGDWLRQ
     46RVRPHWLPHDIWHUWKHWK"                         $7KDWZRXOGKDYHEHHQFRQWUDU\WRWKH:DWHU


                                                                                                                            
      $<HV                                                 &RQWURO0DQXDO
      4$QG\RXVLWWLQJKHUHULJKWQRZZKDW V\RXU       4 %<050F*(+(( $QGDQGLI\RXGLGQ W
      EHVWHVWLPDWHDVWRZKHQWKHJDWHVZHUHRSHQHG"                RSHQWKHJDWHVZKHQWKH\ZHUHRSHQHGLI\RXGLGQ WDQG
      05/(9,1(2EMHFWLRQIRUPYDJXH            VRPHERG\GHFLGHGQRWWRGRLWWKDWZRXOGEHDYLRODWLRQ
      $:LWKRXWP\ZLWKRXWUHFRUGV,GRQRWNQRZ        RIWKHUHJXODWLRQ"
      4 %<050F*(+(( :KDW\RX YHWROGHYHU\ERG\         05/(9,1(2EMHFWLRQIRUP
      PDQ\WLPHVLQWDONVWKDWWKH\ZHUHRSHQHGLQWKHHDUO\        4 %<050F*(+(( 7UXH"
      PRUQLQJKRXUVRIWKHWK                                     05/(9,1(&RPSRXQGTXHVWLRQ
      $2ND\                                                REMHFWLRQIRUPFRPSRXQGTXHVWLRQ
     4'RGLG\RXOLHZKHQ\RXVDLGWKDW"               $7KH:DWHU&RQWURO0DQXDOLVQRWDUHJXODWLRQ
     $1RVLU                                            ,W VDJXLGDQFHGRFXPHQW
     42ND\7KHPDQXDODXWKRUL]HGWKHRSHQLQJRI         4 %<050F*(+(( 2ND\,WZRXOGEHLQ
     WKHJDWHVWUXH"                                              YLRODWLRQRIWKHJXLGDQFHGRFXPHQW"
     $<HV                                                $,WZRXOGEHFRQWUDU\WRWKHJXLGDQFHGRFXPHQW
     4,QIDFWWKHPDQXDOUHTXLUHGWKHRSHQLQJRI         \HV
     WKHJDWHV"                                                    42ND\$QGDQGWKDW VWKHJXLGDQFHGRFXPHQW
     05/(9,1(2EMHFWLRQIRUPYDJXH           WKDW VEHHQDURXQGVLQFH"
     $<HV                                                05/(9,1(2EMHFWLRQIRUPYDJXH
     4 %<050F*(+(( $QGZKHQ\RXRSHQHGWKH           $7KLVGRFXPHQWKHUHLVGDWHG
     JDWHVEDVHGRQWKHWKLQJVZHGLVFXVVHGEHIRUH\RXNQHZ       4 %<050F*(+(( 2ND\:HOOWKHQLW VEHHQ
     WKDWWKHUHZHUHJRLQJWREHGRZQVWUHDPSURSHUWLHV             DURXQGDWOHDVWVLQFHUHPHPEHUWKDW"
     IORRGHG"                                                      05/(9,1(/HWWKHUHFRUGUHIOHFWWKDW
     05/(9,1(2EMHFWLRQIRUPYDJXH           WKHZLWQHVVZDVORRNLQJDWWKHGRFXPHQWFDOOHG:DWHU
     $:KHQWKHJDWHVZHUHRSHQLWZRXOGUHVXOWLQ         &RQWURO0DQXDO
     DGGLWLRQDOIORZVJRLQJGRZQVWUHDP\HV                       050F*(+(($QGZK\ZRXOG\RXVD\WKDW


                                                                                                               3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                                  A1151
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                                                        5LFKDUG/RQJ

                                                                                                                           
      &RXQVHO"                                                       IORRGVEXWZHFDQQRWVWRSDIORRG
      05/(9,1(1RYHPEHURI                   (QGRIDXGLRFOLS
      050F*(+((([FHSWWRLQVWUXFWZK\           4 %<050F*(+(( :DVWKDW
      ZRXOG\RXVD\WKDW"                                            7+(9,'(2*5$3+(5+DQJRQ+DQJRQ
      05/(9,1(<RXKDYHQ WGHVLJQDWHGLWDV       *LYHPHDVHFRQG*RDKHDG
      DQH[KLELW7KHZLWQHVVZDVORRNLQJDWLWDQG,ZDV           05/(9,1(&RXQVHOKDYH\RXGHVLJQDWHG
      VWDWLQJLWIRUWKHUHFRUG                                     WKDWDVDQH[KLELW"
      050F*(+((7KLVLV\RXUWKLUGZDUQLQJ       4 %<050F*(+(( :DVWKDW
      1RVSHDNLQJREMHFWLRQV$QGZH UHJRLQJWRWDONWRWKH        050F*(+((, PQRWWDONLQJWR\RX
     MXGJHLQDQKRXURUVRVRZHZLOOEULQJLWXSZLWKWKH       &RXQVHO
     MXGJHLI\RXYLRODWHWKDWDJDLQ                              4 %<050F*(+(( :DVWKDW\RX"
     05/(9,1(&RXQVHOLI\RX GOLNHWRJR      $<HV
     RIIUHFRUGDQGKDYHDGLVFXVVLRQ, PKDSS\WRGRWKDW       4,VWKDWZKDW\RXVDLG"
     4 %<050F*(+(( $IILUPDWLYHDFWV                 $7KDWDSSHDUVWREHZKDW,VDLG
     $IILUPDWLYHDFWV7KHVHDFWVWKHVHWZRDFWVLI+DUYH\       ([KLELW1RPDUNHG
     KLWDJDLQWKHVHWZRDFWVZRXOGEHSHUIRUPHGDJDLQ           4 %<050F*(+(( 2ND\$QG\RXDOVRXVHG
     ZRXOGQ WWKH\"                                                0RWKHU1DWXUH,VZRXOG\RXFRQVLGHU0RWKHU
     05/(9,1(2EMHFWLRQIRUPYDJXH           1DWXUH1DWXUH VDFWDQDFWRI*RG"
     $,IFRQGLWLRQVZHUHH[DFWO\WKHVDPH                $<HV
     4 %<050F*(+(( 6XUH$QG\RXH[SHFW             46R+XUULFDQH+DUYH\FRXOGEHFODVVLILHGDVDQ
     VRPHWLPHWKDWWKHFRQGLWLRQVZLOOEHH[DFWO\WKHVDPH        DFWRI*RGLI\RXZLOO"
     DQGWKDWWKHVHWZRDFWVZLOOQHHGWREHUHSHDWHGLQWKH       05/(9,1(2EMHFWLRQIRUPYDJXH
     IXWXUH"                                                       $<HV
     05/(9,1(2EMHFWLRQIRUPFRPSRXQG         4 %<050F*(+(( 7D[GD\IORRG"
     TXHVWLRQ                                                     $<HV


                                                                                                                           
      4 %<050F*(+(( )DLU"                              05/(9,1(2EMHFWLRQ
      $7KH&RUSVLVSUHSDUHGIRURWKHUVLPLODU              4 %<050F*(+(( 7D[GD\"
      HYHQWV                                                        05/(9,1(2EMHFWLRQIRUPYDJXH
      46RWKHVHFRXOGEHLQLQHYLWDEO\UHFXUULQJ         $<HV
      DFWVDJUHHG"                                                  4 %<050F*(+(( 0HPRULDO'D\IORRG"
      $<HV                                                 05/(9,1(2EMHFWLRQIRUPYDJXH
      47KHVHDFWVWKDWZH YHZULWWHQ1RDQG          $<HV
      WKH\DUHQRWDFWVRI*RGDUHWKH\"                            4 %<050F*(+(( $OOLVRQ"
      $7KHDFWLRQRIRSHQLQJDQGFORVLQJWKHJDWHV          $<HV
     ZHUHQRWDFWVRI*RG                                         4,WPD\UDLQWRGD\:RXOGWKDWEHDQDFWRI
     42ND\:KDWGR\RXFRQVLGHUDFWVRI*RG"            *RGLQ\RXURSLQLRQ"
     $*HQHUDOO\ZHDWKHURUJHRORJLFDOHYHQWV            $<HV
     42ND\, PJRLQJWRSOD\DQRWKHUFOLS, P         4,W V\RXUMRELW VWKHMRERIWKH&RUSVRI
     JRLQJWRDVNLIWKDW V\RXDQGDQGLI\RXVSRNH            (QJLQHHUVWRSURWHFWWKH&LW\RI+RXVWRQDVEHVWWKH\
     VWUDLJKW                                                     FDQIURPDFWVRI*RG"
     050F*(+((*RDKHDGDQGSOD\FOLS           05/(9,1(2EMHFWLRQ
     1R                                                        4 %<050F*(+(( 7UXH"
     7+(9,'(2*5$3+(5+DQJRQ*RDKHDG         05/(9,1(2EMHFWLRQIRUPFRPSRXQG
      $XGLRFOLSSOD\LQJ                           TXHVWLRQ
     05/21* YLDDXGLRFOLS 7KHZDWHULV       $:RXOG\RXUHVWDWH\RXUTXHVWLRQSOHDVH"
     ELJWKHZDWHULVPHDQDQGZHGRQRWKDYHFRQWURORYHU        4 %<050F*(+(( 6XUHVXUH,W VWKHMRERI
     0RWKHU1DWXUH7KH&RUSVRI(QJLQHHUVUHDOL]HGDIHZ         WKH&RUSVRI(QJLQHHUVWR\RXUNQRZOHGJHWRSURWHFW
     \HDUVEDFNWKDWZHDUHQRORQJHULQWKHIORRGFRQWURO         WKH&LW\RI+RXVWRQIURPDFWVRI*RG"
     EXVLQHVV:HDUHLQIORRGULVNPDQDJHPHQWEXVLQHVV          $,ZRXOGQRWVD\WKDW VDIDLUSDUDSKUDVLQJRI
     PHDQLQJWKDWZHFDQDFWXDOO\KHOSUHGXFHWKHLPSDFWVRI       ZKDWRXUUROHLV


                                                                                                           3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

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                                                       5LFKDUG/RQJ

                                                                                                                          
      4:KDWZRXOG\RXVD\"                                  05/(9,1(2EMHFWLRQIRUPFRPSRXQG
      $:HKDYHEHHQGLUHFWHGE\&RQJUHVVWRWDNH            TXHVWLRQ
      DFWLRQVWKDWZLOOUHGXFHWKHLPSDFWWRWKHEHVW             4 %<050F*(+(( <RXNQRZWKDW VWKH
      ZLWKLQWKHJXLGHVSURYLGHGWRXVRIDIORRGHYHQWLQWKH       GHILQLWLRQRIR[\PRURQ"
      &LW\RI+RXVWRQ                                               $<HVVLU
      46R\RXUPLVVLRQDFFRUGLQJWRWKH$FWRI             41RZKHUHLQWKH(PHUJHQF\$FWLRQ3ODQDUHWKH
      &RQJUHVVLVWRUHGXFHWKHLPSDFWRIDFWVRI*RGIDLU"        ZRUGVLQIRUPDOHPHUJHQF\XVHGFRUUHFW"
      $:KHUHZKHUHLW VZLWKLQWKHJXLGDQFH              05/(9,1(2EMHFWLRQIRUPODFNRI
      SURYLGHGWRXVDQGZKHUHLW VSRVVLEOHWRGRWKDW             IRXQGDWLRQ
     4:LWKWKDWFDYHDWIDLU"                             $,GRQRWNQRZWKHGRFXPHQWZRUGIRUZRUGVR,
     $<HV                                                FRXOGQ WVD\LILW VLQWKHUHRUQRW
     47KHVHDFWVZHUHQRWSXUVXDQWWRDQHPHUJHQF\        4 %<050F*(+(( <RXNQRZWKDWLW VQRW
     DVGHILQHGE\WKH&RUSVRI(QJLQHHUV"                         SURWRFROWRKDYHLQIRUPDOHPHUJHQF\DFWLRQSODQV
     05/(9,1(2EMHFWLRQIRUPYDJXHODFN      FRUUHFW"
     RIIRXQGDWLRQ                                                05/(9,1(2EMHFWLRQIRUPODFNRI
     4 %<050F*(+(( 7UXH"                             IRXQGDWLRQ
     $,GLGQ W,GRQRWNQRZ                          $<HVVLU
     4<RXNQRZZKDWWKH(PHUJHQF\$FWLRQ3ODQLV"         4 %<050F*(+(( $QG, OODQG, OOEH
     $<HV                                                VWUDLJKWZLWK\RX0U/RQJ,WKLQNWKHZRUGLQIRUPDO
     4<RXNQRZLW V\RX YHJRWWRIROORZWKH           HPHUJHQF\FDPHXSLQSUHSDUDWLRQIRUWKLVODZVXLWVR
     (PHUJHQF\$FWLRQ3ODQWRWKH7FRUUHFW"                      P\TXHVWLRQLVWKLV+DYH\RXHYHUVHHQWKRVHZRUGV
     $<RXQHHGWRIROORZWKH(PHUJHQF\$FWLRQ3ODQ       ZULWWHQLQDQ\GRFXPHQWHYHULQWKHKLVWRU\RIWKH
     \HV                                                          ZRUOGHYHUSXEOLVKHGE\WKH&RUSVRI(QJLQHHUVKDYH
     4$WQRWLPHGXULQJ+XUULFDQH+DUYH\ZDV              \RXHYHUVHHQWKHZRUGVLQIRUPDOHPHUJHQF\"
     +XUULFDQH+DUYH\GHFODUHGDQHPHUJHQF\E\WKH&RUSVRI        05/(9,1(2EMHFWLRQIRUPFRPSRXQG


                                                                                                                          
      (QJLQHHUVWUXH"                                               TXHVWLRQ
      $&RXOG\RXUHVWDWHWKDWTXHVWLRQSOHDVH"             $1RWWKDW,UHFDOO
      4$WQRWLPHGLG\RXGHVLJQDWHWKLVDVDQ               ([KLELW1RPDUNHG
      HPHUJHQF\"                                                     4 %<050F*(+(( <RX YHGRQHWKH&RUSVKDV
      05/(9,1(2EMHFWLRQIRUPFDOOVIRU         GRQHPRGHOLQJEHIRUH+DUYH\DQGDIWHU+DUYH\WR
      VSHFXODWLRQ                                                   GHWHUPLQHLQXQGDWLRQRXWFRPHVLVWKDWDIDLUVWDWHPHQW"
      $$WQRWLPHWRP\NQRZOHGJHGLGFRQGLWLRQV            05/(9,1(2EMHFWLRQIRUPFRPSRXQG
      H[LVWWKDWZRXOGUHTXLUHXVWRH[HUFLVHWKHHPHUJHQF\          TXHVWLRQ
      RSHUDWLRQSODQ                                                $<HVVLU
     4 %<050F*(+(( $QGVLQFHWKHFRQGLWLRQV          4 %<050F*(+(( ,ZDQQDWDONDERXWWKH
     GLGQ WH[LVW\RXGLGQ WGHFODUHDQHPHUJHQF\GLG\RX"       PRGHOLQJLQSXWDQGFRPSDUHWKDWZLWKVRPHRWKHUWKLQJV
     05/(9,1(2EMHFWLRQIRUPFDOOVIRU        /HWFRPHZLWKPHXSKHUHLI\RXZRXOGEULQJ\RXU
     VSHFXODWLRQ                                                  DWWHQWLRQXSKHUH'R\RXNQRZZKHWKHUWKH&RUSV
     $1RWWRP\NQRZOHGJH                                PRGHOLQJLQFOXGHVWKHVHWHVWSURSHUWLHVEHLQJLQXQGDWHG
     4 %<050F*(+(( $QGWKHUH VD, PJRLQJ        DIWHUWKHVXUFKDUJHDIWHUWKHLQGXFHGVXUFKDUJHGR\RX
     WRKDQG\RXWKDW7KDW VWKH&RUSVRI(QJLQHHUV              NQRZ"
     (PHUJHQF\$FWLRQ3ODQLVQ WLW"                              05/(9,1(2EMHFWLRQIRUPFDOOVIRU
     $<HVVLU                                           VSHFXODWLRQ
     4$QGWKDW VZKDW\RX UHUHIHUULQJWRDVQHYHU        $, PQRWDQH[SHUWRQWKHPRGHOLQJ
     EHLQJLQYRNHGLQ+DUYH\"                                      4 %<050F*(+(( $QG,GLGQ WDVNLI\RX UH
     $<HVVLU                                           DQH[SHUW'R\RXNQRZLIWKHVHDUHDVKHUHKDYHEHHQ
     42ND\,KHDUGWKHZRUGLQIRUPDOHPHUJHQF\       PRGHOHGE\WKH&RUSV"
     DQG,DOPRVWODXJKHGEHFDXVHLWVRXQGVWRPHOLNHDQ          $,QJHQHUDOWKRVHDUHDVKDYHEHHQPRGHOHGE\
     R[\PRURQ'R\RXNQRZDQR[\PRURQLVZKHQWZRZRUGV          WKH&RUSV
     VHHPWRFRQWUDGLFWHDFKRWKHU"                                4,ZDQWWRDVN\RXZKDWZRXOGEHPRUHFUHGLEOH


                                                                                                           3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

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                                                        5LFKDUG/RQJ

                                                                                                                       
      45LJKW)RUKLVSXEOLFPHHWLQJHDUO\QH[W           WKDWWKHJRDORIGHOD\LQJWKHIORZRIZDWHUDORQJWKH
      ZHHNDQGKHZLOOEHEDFNLQWKHRIILFHWRPRUURZ             ZDWHUVKHGZKLFKPDNHVGRZQVWUHDPIORZVPRUHFRQVLVWHQW
      6RZKDWZH UHWU\LQJWRGRKHUH,WKLQNLV         DQGOHVVGDPDJLQJZDVDFKLHYHGZLWKWKHLQGXFHG
      SUHSDUH&RORQHO2ZHQIRUDPHHWLQJULJKW"                     VXUFKDUJHUHOHDVHVRQWKHWKDQGWKDQGWKHUHDIWHU
      $<HV                                                 IURPWKHWZRUHVHUYRLUV"
      42ND\$QGVRWKHDQWWKHVHDUHDQWLFLSDWHG       05/(9,1(2EMHFWLRQIRUPFRPSRXQG
      TXHVWLRQVFRUUHFW"                                            TXHVWLRQ
      $<HV                                                 $&DQ\RXUHVWDWHWKHTXHVWLRQIRUPHSOHDVH"
      4$OOULJKW7KDW V\RXUXQGHUVWDQGLQJ"               4 %<0512/(1 <HVVLU'R\RXEHOLHYHWKDW
     $<HV                                                WKH&RUSVDFKLHYHGLWVJRDORILWVDVVHUWHGJRDOKHUH
     4$OOULJKW6RZH OOPDUNEHFDXVHWKHQH[W       RIGHOD\LQJWKHIORZRIZDWHUDORQJWKHZDWHUVKHGZKLFK
     GRFXPHQWWKDWZH OOPDUNLV1RZH OOPDUNZKLFK       PDNHVGRZQVWUHDPIORZVPRUHFRQVLVWHQWDQGOHVV
     LVWKHTXHVWLRQVZLWKWKHDQVZHUVSXWLQ                     GDPDJLQJ"
      ([KLELW1RPDUNHG                        $<HV
     4 %<0512/(1 $QGVRLIZHORRNDWWKH            4$OOULJKW$QGVR\RXEHOLHYHWKDWWKHWKH
     WRSDQG, OOJLYH\RXDVHFRQGWRORRNDWLW              LQGXFHGVXUFKDUJHWKDWRFFXUUHGRQWKHWKDQGWKHQ
     6HSWHPEHUWK'UDIW4 $ V$GGLFNVDQG%DUNHU          H[WHQGHGIRUPRUHWKDQDZHHNOHVVHQHGWKHDPRXQWRI
     5HVHUYRLUV                                                   IORZGRZQVWUHDPDQGPDGHLWOHVVGDPDJLQJ"
     'R\RXVHHWKDWVLU"                               $<HV
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     KDYHDPRPHQWWRUHYLHZ"                                      $7KDWZDVEDVHGRQWKHDPRXQWRILQIORZVWKDW
     0512/(1<HVKHFDQ                       ZDVUHSRUWHGWRPHWKDWZHUHRFFXUULQJLQWR$GGLFNVDQG
     4 %<0512/(1 ,MXVWZDQWWRDVNKLP+DYH       %DUNHUUHVHUYRLU
     \RXVHHQWKLVGRFXPHQWEHIRUH"                                42ND\%XWWKH\WKH&RUSVGLGKDYHWKH


                                                                                                                       
      $,FDQ WVD\VSHFLILFDOO\,KDYH                     RSWLRQRIQRWRSHQLQJWKHJDWHVULJKW"
      42ND\:HOOWDNHDORRNDWLWDQG, OODVN          05/(9,1(2EMHFWLRQIRUPFDOOVIRU
      \RXVRPHTXHVWLRQVDERXWLW                                   VSHFXODWLRQ
      $ :LWQHVVH[DPLQHVGRFXPHQW 2ND\                  $7KHPDQXDOJXLGHGXVRQKRZWRRSHUDWHDWWKDW
      4$OOULJKWVLU1RZWKHZH YH                   WLPH
      HVWDEOLVKHG,WKLQNWKDW([KLELWLVWKH4 $ VWKDW        4 %<0512/(1 ,XQGHUVWDQGEXWEXW
      ZHUHVXSSRVHGWRKHOS&RORQHO2ZHQ'LG\RXKDYHDQ\          \RX UHQRWUHTXLUHGWRIROORZWKHPDQXDOFRUUHFW"
      LQSXWLQWKHGUDIWLQJRIWKHVH4 $ V"                          05/(9,1(2EMHFWLRQIRUPFDOOVIRU
      $,GRQ WVSHFLILFDOO\UHFDOO                         VSHFXODWLRQ
     4'R\RXNQRZZKRGLGGUDIWWKHVH4 $ V"              $7KHWKHWKHPDQXDOLVWREHXVHGE\RXU
     $1RWVSHFLILFDOO\QR                               GDPVDIHW\RIILFHUWRGHWHUPLQHZKDWDFWLRQVWRWDNH
     4$OOULJKW:HOOOHW VORRNDWRQH4RND\        4 %<0512/(1 $QG
     WKDW VWKHILUVWTXHVWLRQ:K\GLGWKH&RUSVIORRGP\       $7KDW VQRWP\FDOO
     KRPH"                                                        42ND\1RZDUH\RX\RX UHDZDUHWKDWWKHUH
     7KHVXJJHVWHGDQVZHURUWKHDQVZHULQWKLV4 $      ZDVDWQRSRLQWGXULQJWKH+DUYH\HYHQWWKDWWKH
     LV,QDFFRUGDQFHZLWKRXUIORRGFRQWURODXWKRULWLHV       HLWKHURIWKHUHVHUYRLUVZHUHLQGDQJHURIIDLOXUH
     86$&(RSHUDWLRQVDUHGHVLJQHGWROHVVHQWKHHIIHFWVRI        FRUUHFW"
     GRZQVWUHDPIORRGLQJE\GHOD\LQJWKHIORZRIZDWHUDORQJ       $&RUUHFW
     WKHZDWHUVKHGZKLFKPDNHVGRZQVWUHDPIORZVPRUH               45LJKW$QGVR0U7KRPDVRUFRORQHOVWDUWV
     FRQVLVWHQWDQGOHVVGDPDJLQJ7KHFDXVHRIWKHIORRGLQJ      ZLWKD=
     ZDVWKHXQSUHFHGHQWHGUDLQIDOODVVRFLDWHGZLWK+XUULFDQH      $&RORQHO=HWWHUVWURP
     +DUYH\                                                      4=HWWHUVWURP, PVRUU\,EODQNHGRQWKDW
     'R\RXVHHWKDW"                                    (LWKHU0U7KRPDVRU&RORQHO=HWWHUVWURPFRXOGKDYH
     $<HVVLU                                           RYHUURGHWKHPDQXDOFRXOGQ WWKH\"
     4$OOULJKW1RZGR\RXEHOLHYHWKDWWKH         05/(9,1(2EMHFWLRQIRUPFDOOVIRU


                                                                                                        3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                              A1154
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                                                       5LFKDUG/RQJ

                                                                                                                       
      VSHFXODWLRQ                                                   WHVWLPRQ\DVNHGDQGDQVZHUHG
      $,GRQRWNQRZ                                       $7KHSURSHUW\IORRGHGDVDUHVXOWRILWV
      4 %<0512/(1 $UH\RXDZDUHRIDQ\WLPH            ORFDWLRQQRWDQLQWHQWE\WKH&RUSV
      GXULQJ\RXU\HDUFDUHHUZKHQWKHPDQXDOZDV                 4 %<0512/(1 5LJKWEXWLW VIRUHVHHDEOH
      GLVUHJDUGHGRUZDVRYHUULGGHQ"                                 ,PHDQ\RXNQRZWKDWZKHQ\RXRSHQLWLW VJRLQJWR
      $7RP\NQRZOHGJHLW VQHYHUEHHQGLVUHJDUGHG         IORRGWKDWSURSHUW\ULJKW"
      4+DVLWHYHUEHHQRYHUULGGHQ"                         05/(9,1(2EMHFWLRQIRUPYDJXH
      $1RWWRP\NQRZOHGJH                                 $&RXOG\RXUHVWDWHWKHTXHVWLRQSOHDVH"
      4<RXFDQKDYHYDULDWLRQVGHYLDWLRQVIURPWKH         4 %<0512/(1 :KHQ\RXRSHQWKHJDWHVLI
     PDQXDOWKRXJKFDQ W\RX"                                     \RXKDYHFHUWDLQDUHDVWKDWKDYHEHHQLGHQWLILHGDV
     $<HV                                                IORRGLQJDWDFHUWDLQUDWHRIIORZWKHQ\RXNQRZZKHQ
     4$OOULJKW$QGRQHGHYLDWLRQFRXOGKDYHEHHQ       \RXRSHQWKHPZKHQ\RXRSHQWKHJDWHV\RXNQRZWKRVH
     ZH UHQRWJRQQDRSHQWKHJDWHVULJKW"                        SURSHUWLHVZLOOIORRG"
     05/(9,1(2EMHFWLRQIRUPFDOOVIRU        05/(9,1(2EMHFWLRQIRUPFDOOVIRU
     VSHFXODWLRQ                                                  VSHFXODWLRQ
     $,WKDWZRXOGQ WEHP\GHFLVLRQRUFDOORQ        $<HV
     WKDW                                                         4 %<0512/(1 1RZWKHQH[WTXHVWLRQWKDW,
     4 %<0512/(1 2ND\1RZLIZHJRGRZQWR         ZDQWWRDVN\RXDERXWLVTXHVWLRQ4,WVD\V&DQ
     4LWVD\V:K\GLG\RXFKRRVHWRIORRGP\                 WKH&RUSVRI(QJLQHHUVIORRGKRPHVGRZQVWUHDPLIWKH\
     QHLJKERUKRRGDQGSURWHFWRWKHUV"                             QHHGWR"
     $QGWKHVWDWHPHQWKHUHLV86$&(GRHVQRW         7KHQLWKDVDQDQVZHU86$&(GRHVQRWLQWHQG
      LQWHQG WRIORRGDQ\RQH86$&(RSHUDWHVLWVSURMHFWV        WRIORRGDQ\RQH86$&(RSHUDWHVLWVSURMHFWVLQD
     LQDPDQQHUGHOLEHUDWHO\DQGFDUHIXOO\GHVLJQHGWR            PDQQHUGHOLEHUDWHO\DQGFDUHIXOO\GHVLJQHGWRSUHVHUYH
     SUHVHUYHWKHVWUXFWXUHDQGSURWHFWOLIHDQGSURSHUW\        WKHVWUXFWXUHDQGSURWHFWOLIHDQGSURSHUW\
     'R\RXVHHWKDWVLU"                               'R\RXVHHWKDW"


                                                                                                                       
      $<HV                                                 $<HV
      41RZLVWKLVDQDFFXUDWHVWDWHPHQWWKDW86$&(        42ND\1RZMXVWWRDQVZHUWKHTXHVWLRQ&DQ
      GRHVQRWLQWHQGWRIORRGDQ\RQH",VWKDWDDFFXUDWH           WKH&RUSVRI(QJLQHHUVIORRGKRPHVGRZQVWUHDPLIWKH\
      VWDWHPHQWLQ\RXUYLHZ"                                        QHHGWRWKHDQVZHULV\HVULJKW"
      $<HV                                                 05/(9,1(2EMHFWLRQIRUPFDOOVIRU
      4:HOOZKHQZKHQWKH$GGLFNVDQG%DUNHUJR         VSHFXODWLRQ
      LQWRLQGXFHGVXUFKDUJHDQGWKHUHLVDQLQWHQWLRQDO             4 %<0512/(1 5LJKW"
      UHOHDVHIURPWKHUHVHUYRLUVDQG\RXNQRZWKDWWKHUH           $&DQ\RXUHUHDVNWKHTXHVWLRQ"
      ZLOOEHIORRGLQJGRZQVWUHDPLVQ WWKDWLQWHQWLRQDO            4:HOOWKHTXHVWLRQWKHVXJJHVWHGDQVZHU
     IORRGLQJE\WKH$UP\&RUSVRI(QJLQHHUV"                      GRHVQ WDQVZHUWKHTXHVWLRQDQGVRLI\RXORRNDW
     05/(9,1(2EMHFWLRQIRUPFRPSRXQG         WKHTXHVWLRQ&DQWKH&RUSVRI(QJLQHHUVIORRGKRPHV
     TXHVWLRQ                                                     GRZQVWUHDPLIWKH\QHHGWR"
     $,WKLQNZHDUHSOD\LQJZLWKGHILQLWLRQVKHUH       7KDW VD\HVRUQR
     7KH&RUSVQHYHULQWHQGVWRIORRGDQ\RQH+RZHYHU            $QGVRWKHDQVZHULV86$&(GRHVQRWLQWHQG
     FRQGLWLRQVPD\UHVXOWLQWKDWDFWLYLW\                       WRIORRGDQ\RQH86$&(RSHUDWHVLWVSURMHFWVLQD
     4 %<0512/(1 5LJKW$QG, PQRWVXJJHVWLQJ      PDQQHUGHOLEHUDWHO\DQGFDUHIXOO\GHVLJQHGWRSUHVHUYH
     KDUP, PQRWVXJJHVWLQJWKDWVRPHLQWHQWWRKDUPRU         WKHVWUXFWXUHZKLFKLVWKHUHVHUYRLUVULJKWDQG
     PDOLFHQRQHRIWKDW:KDW, PUHDOO\DVNLQJWKRXJK        WRSURWHFWOLIHDQGSURSHUW\
     LVLVZKHQWKHJDWHVDUHRSHQLI\RXNQRZWKHUH OOEH       2ND\"%XWEXWMXVWD\HVRUQRDQVZHUWR
     FHUWDLQSURSHUWLHVIORRGHGDQGWKDW VDQLQGXFHG              WKLVLV&DQWKH&RUSVRI(QJLQHHUVIORRGKRPHV
     VXUFKDUJH\RXVDLGLQGXFHGZDVZDVLQWHQWLRQDODQG       GRZQVWUHDPLIWKH\QHHGWRWKHDQVZHULV\HVULJKW"
     VXUFKDUJHLVDUHOHDVHRIZDWHU\RX UHLQWHQWLRQDOO\         05/(9,1(2EMHFWLRQIRUPFRPSRXQG
     IORRGLQJVRPHSURSHUWLHVULJKW"                              TXHVWLRQFDOOVIRUVSHFXODWLRQ
     05/(9,1(2EMHFWLRQREMHFWLRQ           $3URSHUW\FDQEHLQXQGDWHGDVDUHVXOWRIWKH
     IRUPFRPSRXQGTXHVWLRQPLVFKDUDFWHUL]HVSULRU               DFWLRQRIWKH&RUSV


                                                                                                        3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

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                                  DEPARTMENT OF THE ARMY
                             GLAVESTON DISTRICT, CORPS OF ENGINEERS
                                          P.OBOX1229
                                  GALVESTON, TEXAS n663-1229

  REPLY TO
  ATTENTION OF
 CESWG-EC-DL                                                                                27 October 201 7


 MEMORANDUM FOR Commander, Southwestern Division, (CESWD-RBT, Michael
 Southern)

 SUBJECT: Addicks and Barker Dams, Houston, Texas, New Pool of Record

     1 Addicks and Barker Dams both set a new pool of record on 30 August 2017 of
       109.09 feet (NAV D88) and 101 .56 feet (NAVD88) respectively. This was due to
          Hurricane Harvey stalling over the Addicks and Barker reservoir watershed
          producing 32-35 inches of rain from 25- 29 August 2017. Galveston District
          engineers were on site monitoring around the clock under the Stage 2 Extended
          Watch alert in accordance with the Addicks and Barker Dams' Emergency Action
          Plan (EAP). V isual observations, photographic evidence, and instrumentation
          readings were recorded. The enclosed report documents the project's
          performance for the new pool of record in accordance with the requirements of
          ER 1110-2-1156, Safety of Dams, Policy and Procedures, 31 March 2014.


     2 The embankment, outlet structures, and emergency spillways functioned as
         intended. Piezometers, settlement pins, and alignment surveys for the outlet
         structures do not shown any alarming trends from this pool of record. There were
         no observations of seepage, or critical distress areas located on the dams. Wet
         areas located on the downstream embankment toe were monitored, but showed
         no signs of flow. Erosion of the dam and cofferdam crest became an issue for
         inspection teams trying to transverse them . Overall conclusion is that the project
         was performing as expected with no significant prob lems during this pool of
         record event.



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 Encl                                    Robert C. Thomas, P.E.
 1. Report of Performance                Chief, Engineering and Construction Division
                                         Galveston District Dam and Levee Safety Officer

 CF:
 Chief, Operations (CESWG-OD-0, Karl Brown)




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                                                                                                                         USACE016689


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                      Addicks & Barker Dams

                         New Pool of Record




           UNITED STATES ARMY CORPS OF L'IGINEfRS, G.\LVE.<;TON DISTRICT


                                   October I!, 2017
                            RobertThoma~. P.E.. \'G , DSO
                             Gary Chow, P. E., WG, OSPM




                                                                                   USACE016690


                                                                                         A1157
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                                    Report of Performance
                                                 Addicks & Barker Dams

      EXECUTTVE SUMMARRY

     The Addkk« and Barker dam ; watcr~hc<h 1·cccived between 32-3S inches o f rain during a 4--day period ,
       ugu~t 2S. 2017 through AurruH 29, 2017. when Hurricane Han•ey i-talled oYcr 1.hc region. Addicks and
      Barker Dams were bolh cmpl , except for normal bayou flows, prior lo the rainfall of Hurricane I larvcy.
     On ugu~I 30, 2016, l,olh Addkks & Barker dams n :ac.:hcd new m,uimum pool of n •cord,, at EL. 109.09fl
     and EL. IO I . 56ft, r c.~pcctiwly.   ·nw pre,·ious milXimum pool of r<'cord~ for Addicks and BilrkM" Dam~ were
     recorded on April 23, 2016 at EL. 102 .65ft and rL. 9;. 2ft, r especth•ely.

     In accordance with Lhe l:mergenc-y Ac.tion Plan (l:.AP) for Addick~ and Uarkcr Oams, Stage 2 cxtend,·d
     Watch alert was ac'thatcd on ugll5t 27, 2017 when the reservoir~' pool levels exceeded rL. 97.3ft and
     F.L. 9 J.Gil, r pcctively. T earns of foundation observers were mobilized from the Ga lveston D~tri I to 1hc-
      ite on August 26, 20 17 in anticipation of exceeding the- Stage- 2 Extended Watd1 pool levels in order to
     monitor tJ1e pl·rfonnance of the dam s around the dock. The 2+/ 7 monitoring t:,·,·nl began on .\ugu,,1. 27.
     2017 and ende<I when the pools recede d to the tage I Fx1t:ndcd Walrh lcvcL (September I S, 2017 for
     Addicks Dam, Scpl l'm bcr I 3, 20 17 for Barker Dam) . In general both dam fun ct ionc.>d as expected
     throughout this flooding event , and no critica l i ue.. were ob:.erved that would impact lhe future
     performam:e ofthr d:ims.

     When the rc~crvoir pool exceeded FL. 10 In for Addicks Dam and EL. 95. 7ft for Barker Daro , relea:.e
     from the re crYoir w ere made followmg lhc Water Control Manual (WC~) November 2012 mducC'd
     sw-dwrge regulated r ·lea cs. Induced !turd1.irgt' rl'g_Ularcd r ~cn ·oir relca:.e~ :.t.trted on Augu t 28 , 2017
     with ddicks resen ·oir at EL. IO I . H -n and Bnrke r reservoir at Fl .. 96. I fl. Th<' 1mximum disch.1rgc rate
     wa• recorded on U!JUSt 30, 2017 with 65 J+cr, for AddKk.~ <1t 29 5 g~te feet opening, ;inn 498Gcfs for
     Rarkcr al 25 gate feet opening.

     During this high pool e,·em, sewral major thoroughfares in ide tht• n •sen ·oirs w er e do ed due 10 waH•r
     inund.1tion. Th<"l><' major tJ1oroughfares were. Highway Gal [L. 96ft, Eldridge Parkway at l;L. 96.6fr for
     Addick 1•eS<-rvoir pool. and Wei.theimer Parkway at EL. 93 .2ft, South Bark<'r-Cyprci:i Road at EL 82.7ft
     for Barker rcH:irw,ir. Additiona lly government-own,·d land upstream cx1:end,; only 10 rt'!oo4' r\!oir I ,·cl.. of EL
     103.0fl and l:L 9j .Oft for J\ddick;; and Harker dams rcspccti.\'ely. Beaiuse oflhi:-, many local street,; and
     re:-idcntlal hoU£Cs up tream of tJu: rest>r\"Oirs were Ooodcd . Un on1ro lle d rclca!<c around the Addick~ north
     end emcrg~ncy s piHWil) wa~ ob~crvcd on ,\ugu~1 29, 2017 when the re crvoir rcacli~d Fl            1osrt. This
     rclt-a~c wa. obser ved to be limited lo low velocity sheet Oow




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 POST EVENT EVALUATION

 11u report pro,;dcs lhc l'mdings and e valuation of lbl: dam perfomnnce during th · t'>.ceedan ce of the
 pre vious ma imum pool of record . ll is prepared and submitted in a0<1Jrdance ,,.·ith ER J 110-2- 11 :;6, Safel)'
 of Dam-, Policy and Procedure,, 31 ~'larch 20 I+. Following are the findings and eva luation of the dam
 pc r fom1ance during the St;)ge 2 l;xtc ndl"d Watch H /7 monitoring l"V<:nl and the." post cYcnt ins pect.ion:

     Stage 2 Observations Teams

     In gcnd'a l, the observation team s did not find any critical u, ue · that ould impact the proper
     pe rformance of the darn.:. The oh,-en·er. were primarily composed of civil, structural , ~eotechn ical,
     and hydrology & hydraulic engineers . T echnicians having prc ,rious dam safety training were aim
     selected to hdp fill the gapi. in the observation teams. Ob ervers were train<'d in identifying any
     potential deft'Cl,; or damage , such as sand boili,, surface cro ioru. qlidcs, seepages. and dcprcssioni. t'I C.,
     which might ocrur during a high re,ervob· pool e ve n t. Jl,e dam monitoring acth ith-:. were carried o ut
     by l wo I 2-hour , hifts consining of four h~ms of 2-person obscrn·r~ plu, a ch ief foundation obser\'t'r to
     roordina te the operation!<. The reservoir pools and down~tre am water levels wcrC' monitored by one
     12-hour shifl coni:irung of two t cami; of 2-pcn>on hydraulic obscrwr,:, Cellular devices in conjunc-tion
     \ ilh Addicks and 13arkcr obst1"Vt'r map were wed to relay data bad: to the chief foun da tion observer.


     Dam Embankment Performance

     111ere were no c,;tic-al rindings ob crwd during this Stage 2 E~t ended Wawh for both Addicb :md
     Barker dams . ·n1e foundation obi,erwr. were responsible to impecl d1e folJo\,.ing: the cr~l. th<:
     up trcam and downstream slope, the do"·n stream toe areis, the diUll side bank;; of Turkey Creek at
     Ad dick.\ Dam and the dam Ade banks of C lodinc Ditch and Barker Ditch at Barker Dam . lbe following
     arc omc o f th<- non-critic.,11 Gndings that were ob served and continuously m onitored during the Stage 2
      Fxlended Watch event:


          a)   Addicks Dam - ·1he crc1<t of the cofferdam had dct1.,'riorated to a point were tnn1<iling acro~s it
               by , chicl e " 'ii- becoming an i. su • for tlle inspection l<'ams. ' ll1e <--r est of dam towards Clay Road
               bad d eteriorated prior to tbi high pool cYcnt , but wor en as Ych.icular rontinucd to u,c it for
               th is evl·nt. The r oad <;urfacc o f the ramp from o utlet i.tructure t o dam ere t had dctm orat<'d
               where the foundati on gt'ote., 1ile was exposed . Fro~ion, cau ed by cl ,'a lc d La il water in
               m mbination \"1dl surface drainagr of the lope, was obsern·d on the downstream 9 dc of lh •
               roffcrdilID near surVt")' posts. Kear the pool of n:cord , ob~ei·vcr · no t ·d that U1t're was
               uncontrolled low velocity m c-ct flo w rclc.isc around north end of ddicks's cm ergcnc-y
                pill way .


          b) Barker Oam - The crest of the cofTl'rdam had detenoratcd to a point wt:re transiting aero                1l
               by ,·elticle wa becoming an i sue for inspection teams. O bi,ervers no ted a we t soft area JU~l
               north of the construc tion area a1 tlw outlet structure on the downstream side of the




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                     eanbanlanent, but il is exvL-ct.cd thi~ was due to the higher le"el of pcdc~lrian iraffic it r eceived .
                     No seepage through the embauhnenl wai. ob~en ·cd in the wet pot region.



            Outlet Structure Perforwan c

            I)uring this pool of record there wrrr many fir~t tim e occurrences for bolb. outlel i.1n1rtur~ . lly
            following the WCM's induced surcharge regulated rt>le;u,r , both Addicks and Barker Dam oulJrt
            · cructures r1.>achcd a ne w maximum discharge rate . Fle ,·ated tail \\alcr at the outlet conduit!> wai, tJw
            result~ of the do\\flblrcam r.iinfall. This omscd all c.:ooduil~ for both dams lU bemrnt, prn,:-urlt.cd dwing
            the induced ~urc:harg regulated relcues. The foundation obscrwrs were r pon ible for inspection of
            th<' foll owing· th crest of the outlet struc.1ure , the down tream and up~tream lopes at the out let
            structure , the toe area of embankment at outlet structure, the erosion pro tection of the downstream
            c-banncl embankments. The outlet observers were responsible for inspection of the followmg: upstream
            inlet structure::~, and dm, nstn:am ouLicl tnKlure:,. Follow ing empt ing of the Addicb and 8.irker
            re ervoirs, the conduitI' we re vi.~ually inspectc:d on 19 0l'tobcr 2017 by a team of -tructunl and
            hydraulic engineer


                a)   Addick· Dam - The re~ervoir pool elevation cau_ed the walkway bridge to become submerged
                     a .. ~hown in figure I . Due to :.afcty CU11(.'t:r11 thl" power supply to the ga te 111au.um:ry ,,~
                                                                                                                       J~
                     turned off until tl1e r escn •oir pool elevation.; dropped. Operatiom of the oud<'t structure gates
                     wa~ <'Onduf't cd through th.- u ~e of a battery powerrd hand rlrill until the po w er could ht-
                     rcstored . O bservers reported lranweri'c cracking at top of the headwall on the down trcam
                     . 1de of dam when induced surcharge regulated releast> wert> ~tarted . T his was further a se, sed
                     lo not be an issue related to discharge: ralc:s by tl,e Gah•cston DL llict' s Sll·uctural SMC:, Ri~k
                     Management Center (RMC), .tnd Dam Safety CoP. Ele"nted tail waler caused the do'\\'l'\Stream
                     wing walli: o f th<' o utl<'1 trurtl.1rf> to he o,•t-rtoppt-d from th<' haf'k.;idc- with a lo wer watt'r
                     elevation in the tilling basin, bu1 no is."Ucs were seen from this. During the induc-<·d surcharge
                     regulated release, a vortex fonncd at the Add.id: Dam intake :-tructurc gate #2 . 1bi.s vortex
                     form.ltion was a cssed by the RM C and deemed not an i uc w1lel> loud audible banging sound
                     is heard , or large ,·ibrat.ior1.~ at intake structure is ob<;en•ed . The air intakc•i; of the outlet
                     i-tnu·1urc- hromr . uhm<>rgf"d c:au,ing d l'hri,- to c•on,-tTiM a ir now. It wa. clonmH:nlf'n that o nN'
                     the debri were cleared from the air intakes, the vortex cau,,ed b} cl isc-harge" from the outlet
                     stru<.-'IUre changed . Owing this event it wai- ob:.encd that conduit # I had hie,her dL hargc
 Cl)
 0                   velodti<- than the other 4 conduits. E"aluation of Addie-ks' s outlet ru-ucturc conduit jointl!
 C
 ti)
                     after the pool of record is represented in figure 2. Examination of all joints appt>.u ed to be in
 E
~                    good ~hapc i,ith minor leabge due to ,-mall <:radt.c; in the conduit.

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                        FIGURt; IAOOIC'-'- OAM C,\TF.TOWl!R SUOM[_RGEO.




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               l-! C.URF. 2 TYPI CA i. CONl1Ulr J0 11'T AT A OOICKS O UTIJ;T Sl' RUCT U RI'.                      ~
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     c)   Barker Dam - 8 cause of induced surcharge regulated rdc:asc, a \'Orlcx was Sl'm lo have formed on the
          up tream ide ofBarke r'i, outlet st ructure at gate #2 . This 'l'Ortex formation was a ' CS!>ed by the R)tC
          and deemed not an issue unless loud audible banging sound i~ h(.ward . or large "ibrations at inta ke
          stt'Ucture is obsen ·ed. TI1e n.-'lwn ·oir 's pool subme rged the air intakes for conduit #3 dur ing lhh- pool o f
          re('onl, cawing it lo bl' clogged with dcbri . Aflc:r 1.;lt:ui11g oul the: dc:brb;, il \\ as noll'd that tht: \ Orlcx
          on the up:,lrt:am , ide of the outlc-t rn-uc ture changed. l ne main power breaker w.ed for supplying
          powcr lo the- outle t structure, pre ented in. figure 3 , i.s lot.1 ted downstream m>ar Clodine ditd\ aero
          from project office. h Wil$ damaged during this pool of record when it was submerged in the
          uilwal<'rs. [xamination of tJ1e conduit~ in the po~l t'vent irupt:clion showed that minor palling,
          di,,pl.i) cd irt figure-+. ocr'Urr<.'d near the gate at for cxmduit #4. Al~o duri.r1~ th i:, in~pcc'l.ion , minor
          damage wn5 noted to the 3n1 joint downstrc.im of conduit #3 a.._q sea.>cn in figure;,




                      FI GURE 3 D AMAGED B ARKER DAM MAl1' POWER 81\EAKER 4.5FT AUO\·ll GROU1"0.




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                   flCURE 4   PALLl:>IC . F.AR GATF. FOR BARKER OUTLET CO:-IDUIT #4.




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         flCURF. 5 JOINT OAMAGt, TO 3RD DO\\ • TREAM JOI"• OF lSARl(l,R OUTLET COSDUIT #3.                ti


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            Emergen cy Spillway Performance

            1he north end emergency spillway ofd1e Addidc:o darn was flanked by a shallow depth low ,·clocit)'
             hcet flow from the re..,ervoir pool. This uncontrolled relea se is illustrated in ngure 6 . The full capacity
            uf lhc:, t:.1nt-rgt-ncy ,pillway was ool r~d1c<l ,, il.11 only lhc end scc,w- pad going w1cler" •lt"r. '11,i~ is
            because the top elevation of tht> emergency spillway is higher than the scour pad . ·o issues were
            observed ~"; 1b the Mnergency pillways during thi~ cv('nf Th(' emergency pillwa)" oft he ,oulh "nd of
            Addicks Dam , and both at Barker Dam did not see any flows.




~                     flGURC 6 UNCONTROUED RELEASE AT TH~ NORTII ADDICKS CMF.RGENC)' . rtLLWAY.
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('I
crl'
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c5'         Instru men tations
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 ~             a)   Conduit ui-vcy Pinll - On 20 October 2017 a po1>l c,,(•nt runcy wa p rformed for the
 lii                monitoring pins of the Addicks and Barker outlet conduiu. TI,e re:.ult.,., lbted in Tables I and
 E
.§                  2, ,.how no ,-ignincanl mo,1cment of the conduit.R wht"n c•ompared w,th the 2016 . un·eys.
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                     TABLE I P OST EV!ll\a SurtvtY 0 ~ AODICK. DAM CO:-IDUITS.
                          PIH       2.018SURVEYIFT1 2017 SURVEY lf'Tl A 2018&20171FTI
                              ATOC        0859            O&e9              0010
                   AMJ·1-ltf                                                0006
                              BTOC        0609            0615
                              ATOC        0887            087               0003
                   AIAJ·U T               0614            0.616             0002
                              BTOC
                              ATOC        0057            0602              0005
                   AIAJ-3-RT                              0615              0.003
                              BTOC        0612
                              ATOC        0669            0081              0012
                   AMJ~T                                  0627              0004
                              BTOC        0623
                              ATOC        0631            083!1             0007
                   AMJ~T                                  0603              0005
                              BTOC        0698
                              ATOC        0857            0861              000~
                   AMJ.e-RT                                                 0003
                              BTOC        0601            060.4
                              ATOC        08'5            0838              0013
                   AMJ·7-RT                                                 OOOA
                              B TOC       0579            0683
                              ATOC        0880            0885              0005
                   AMJ-8-RT                                                 0004
                              B TOC       0810            0614
                                          0851            0857              0006
                   AMJ-1-lT ATOC                                            .0002
                              BTOC        0605            0603
                              ATOC        0863            0.1168             0005
                   AMJ·2·LT                               0601               0006
                              BTOC        0.595
                              A TOC       0826            0836               0010
                   AMJ-3•LT                                                  0010
                              BTOC        0593            0600
                              ATOC        0850            0857               0007
                   AMJ~T                                                     0004
                              RTOC        0813            0817
                              ATOC        0853            OR!\!!             0~
                   AMJ-64.T                                                  0007
                              BTOC        081:1           0614
                              ATOC        0851            0856               0005
                   AMJ~T                                  061A               0005
                              BTO C       0613
                                                          0 . .A
                   AMJ.7-t.T ATOC         01161                              O"""
                              BTOC        0609            01116              0006
                                  A""'"   ni11?            OA19            orvn
                    AMJ-MT
                                  BTOC    0597             0802            0005




                            PIN           2016 SURVEY FT
                                  ATOC          0.898
             BMJ-1-RT
                                  BTOC          0.627
                                  AlOC          0.913                             -0.025
             BMJ·2-RT                                                              0,003
                                  B10C          0.580
                                  A10C          D.875                              0.001
             BMJ-3-RT                           0.633                             0~
                                  B10C
                                  ATOC          0.858                              0 .003
             BMJ-4-RT                                                              0002
                                  BTOC            0.603
                                  ATOC                                             0.001
             BMJ~T                                                                 0.001
                                  BTOC
                                  ATOC                                             0 ,000
             BMJ-6-RT                                                              0 ,000
                                  BTOC
             BMJ-7-RT             AlOC                                             0 .000
             CEILING              BlOC                                             0 .000
                                  AlOC                                             0003
             BMJ+U                                                                 0.002
                                  B10C
                                  A10C            0.869           0.873            0 .004
             BMJ-2-1..T                                                            0.003
                                  810C
                                  AlOC                                             0004
             BMJ-3-LT                                                              0000
                                  B10C
                                  AlOC                                             0004
             BMJ-4-1..T
                                  BTOC                                             0.003                       8
                                                                                                               C.
                                                                                                               II)
                                  AlOC                                             O.D03
             BMJ-6-1..T
                                  BTOC                                             0.002                       E
             81\\.1-6-l.T
                                  ATOC                                            0005                         ~
                                  BTOC                                            0002
                                                                                  0.000
                                                                                                               ~
             BMJ-7-1..T           ATOC
             CEILIIIG                                                             0.000
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                                  BTOC                                                                         t'
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           b) Piczom •tcr mcasuremen~ - Piezometers locall:d al cadi dam Wl'rc m easured daily during
                  Stage 1 & 2 oflhi.s pool of record, and then plotted for evaluaL.ion. The re~ult.s generally
                  pn.· ~entcd regular rt'sporues to the r bing pool, and no i.uddcn or unusual rises were recorded
                  throughout the event. lnere art' few spucc_ m the p1ezometer graphs that ha, e bt·en
                  dt'lt'rmincd to be CJTor.:. .in reading the wakr dt",.iliom oul in tht' ncld. Thl·rc i.:. h.btori<...il
                  issue with the reading~ fi-om pic-7onwtcr P-7 ~ince the dean out performed in 20 I 3. It is
                  cxp<'(·tt'd that during in-tallation of thi piezometcr 1ha1 a colbp<<' ocrun·ed of the abo"e claJ'
                  layer into the targeted elention oflowcr sand layer causing error in readingi.. Thi~
                  piezomctcr's reading           hould be ig,nort"d, and in th<· future replaced '""ith another piezomt-lt'r .
                 Some of tlu: pit:'1:omclt'ri- .idjaccnt to the out.let w.ill .md to11duil:. indila kcl in0uf'nr-es from the
                  bilC'l·w,1tcr in the outlet channel. These were mo;.tly clue to ~omc communications ofl»ckwatcr
                  pre ~w-e through the spillw,1y r r t;iining w.ill :ind head waU joints. t\o crilic,11 isStJr.< wrrC'
                 ohi-crvcd. Results of the pie:zometer data plo t, arc pn'!lcntcd in figur 7 through ngure 18 .




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                                    FIGUR E 7 ADDICK DAM PIE.ZO.\\l:TERS P-39 & l'-40A .




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                                             t-)cu RC 8 ADDICKS DAM 1' 11:.Z()\\ F.TERS P- 1 & P- 2.




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                         FIGURE<) ADDICKS DAM PICZOMl!TER. P-45N, P- 21, P-4-6 N, P 12A & P- 20.




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             FIGURE. 10 ADD ICKS DAM Pll:ZOMETkRS P-45N, P-47 1 P-47N, P-21, P-1 1,. P-19 & P-1 3.




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Case 1:17-cv-09002-LAS                                   Document 266-2                                 Filed 01/10/23                        Page 720 of 1584




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                               &RORQHO/DUV=HWWHUVWURP

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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
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       In re DOWNSTREAM ADDICKS ) Sub-Master Docket
       AND BARKER (TEXAS)        ) No. 1:17-9002 L
       FLOOD-CONTROL RESERVOIRS )
       __________________________) Chief Judge Susan G. Braden
                                 )
       THIS DOCUMENT RELATES TO: )
                                 )
       ALL DOWNSTREAM CASES      )
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
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       In re UPSTREAM ADDICKS    ) Sub-Master Docket
       AND BARKER (TEXAS)        ) No. 17-9001L
       FLOOD-CONTROL RESERVOIRS )
       __________________________) Judge Charles F. Lettow
                                 )
       THIS DOCUMENT RELATES TO: )
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     ZKDWHYHUKDSSHQHGWRWKHPWKH\JHWLWLWZDVIRUWKH         /$56=(77(567520 YLDDXGLRFOLS
     JUHDWHUJRRG+DYH\RXHYHUEHHQLQYROYHGLQDODZVXLW         LQDXGLEOH XVLQJRXUZDWHUFRQWUROPDQXDODVLWV
     OLNHWKLV"                                                     JXLGH7KHZDWHUFRQWUROPDQXDOLVDGRFXPHQWWKDWZDV
     $1RVLU                                              FUHDWHGMRLQWO\EHWZHHQWKH$UP\&RUSVRI(QJLQHHUVDQG
     47KHUHDUHODZ\HUVLQYROYHGZKREHOLHYHZKHQ        +DUULV&RXQW\LQDQWLFLSDWLRQRIIXWXUHVWRUPHYHQWV
     WKH\ILOHGWKHLUGRFXPHQWVWKDW\RXGLGQRWKLQJZURQJ          (QGRIDXGLRFOLS
     DQGWKDWHYHU\WKLQJ\RXGLGZDVDQDXWKRUL]HGDFW'R         4 %\0U0F*HKHH ,VWKDW\RX"
     \RXJHWLW"                                                    $<HV
     056+$3,52:KDWGR\RXPHDQJHWLW"         4$UH\RXWHOOLQJWKHWUXWKDERXWWKHZDWHU
     4 %\0U0F*HKHH 'R\RXJHWLW"                       FRQWUROPDQXDO", PVXUH\RXGLG
     056+$3,522EMHFWYDJXH                     $<HV
     4 %\0U0F*HKHH +H VWDONLQJWRWKHUHFRUG          47HOOWKH-XGJHZKDWWKHZDWHUFRQWUROPDQXDO
     'R\RXJHWLW"                                                 LV


                                                                                                                          
      $,EHOLHYH,GRVLU                                  $7KHZDWHUFRQWUROPDQXDOLVWKHGRFXPHQWWKDW
      42ND\,WKLQNZKDW\RXGLGZDVDQDXWKRUL]HG         LVXVHGWRJRYHUQZDWHUFRQWUROGHFLVLRQV
      DFWE\WKHERRN'R\RXDJUHHZLWKWKDW"                      4,IZHIHGJRZLWKPHRQWKLV,IZHKDGD
      $<HV                                                  FRPSXWHUWKDW\ DOOFUHDWHGDQGZHIHGWKHZDWHUFRQWURO
      42ND\$QG,MXVWZDQWHGWRVHWWKDWVWUDLJKW         PDQXDOLQWRWKDWFRPSXWHUVRWKDWWKHRQO\GHFLVLRQV
      EHFDXVHVRPHWLPHVZLWQHVVHVDUHGHIHQVLYHDQGWKH\ UH          WKDWZHUHPDGHGXULQJ+XUULFDQH+DUYH\FDPHRXWRIWKDW
      WU\LQJWRMXVWLI\WKHLUFRQGXFW,ZDQWWRNQRZLI            FRPSXWHUDQGWKDWFRPSXWHUZDVIROORZLQJWKHZDWHU
      WKHUH VDQ\WKLQJWKDW\RX YHEHHQWROGE\DQ\ERG\WKDW         FRQWUROPDQXDODUH\RXZLWKPHLQP\K\SRWKHWLFDO"
      ZRXOGLQKLELW\RXUDELOLW\WRGD\WREHEUXWDOO\KRQHVW         $,WKLQNVR
     LQIDYRURIWKHKRPHRZQHUVRULQIDYRURIDQ\WKLQJWKDW       4ZRXOGWKHFRPSXWHUKDYHPDGHDQ\GLIIHUHQW
     \RXGLGGXULQJ+XUULFDQH+DUYH\,VWKHUHDQ\WKLQJWKDW      GHFLVLRQVWKDQ\RXPDGH"
     LQKLELWV\RXIURPEHLQJEUXWDOO\KRQHVW"                      $7KDW VDYHU\VXEMHFWLYHDQGREYLRXVO\
     $0\GXW\LVWRWHOOWKHWUXWKVLU                   K\SRWKHWLFDOTXHVWLRQ'LIILFXOWIRUPHWRDQVZHUZKDW
     4*RRG%HFDXVHWKHUH VDZKROHEXQFKRIIRONV        WKHFRPSXWHUZRXOGGRYHUVXVZKDWWKHKXPDQVGLGRU
     WKDWDUHFRXQWLQJRQWKDW2ND\",IZHJHWLQWRDQ\         ZRXOGGRJLYHQWKHPRGHOVDQGWKHZDWHUFRQWUROPDQXDO
     TXHVWLRQVZKHUH\RXWKLQN\RX UHFRQIOLFWHGRU\RX UH         4$QG, PVD\LQJWKDW\RXIHGWKHZDWHUFRQWURO
     LQKLELWHGWRWHOOWKHWUXWKZLOO\RXIODJLWDQGWDON        PDQXDODQGDOO\RXUPRGHOVLQWRWKHFRPSXWHU:RXOGWKH
     WRPHDERXWLW"                                               FRPSXWHUKDYHPDGHDGLIIHUHQWGHFLVLRQWKDQ\RXPDGH"
     $<HVVLU,GRQRWDQWLFLSDWHWKDWZLOOEH          056+$3,522EMHFWWRWKHIRUPRIWKH
     QHFHVVDU\,ZLOOWHOOWKHWUXWK                            TXHVWLRQ
     4*RRG,GRQ WWKLQNVRHLWKHU:HKDYHD           $%DVHGRIIRIWKLVK\SRWKHWLFDO,GRQRW
     SURFHGXUHWKDW VSUREDEO\XQOLNHDQ\RWKHUGHSRVLWLRQV       EHOLHYHWKDWDFRPSXWHUUHFHLYLQJWKHLQSXWWKDW\RX
     , PJRLQJWRSOD\\RXFOLSVIURPWLPHWRWLPH, P           GHVFULEHGZRXOGKDYHPDGHDGLIIHUHQWGHFLVLRQ
     JRLQJWRVKRZ\RXDUWLFOHVZKHUH\RX UHTXRWHGIURPWLPH      4 %\0U0F*HKHH ,DJUHHZLWKWKDW7KDQNVIRU
     WRWLPHDQG, PJRLQJWRKDYHEORZXSVWKDWRXWOLQHZKHUH      \RXUDQVZHU


                                                                                                             3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                              A1176
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                                                &RORQHO/DUV=HWWHUVWURP

                                                                                                                           
      7KHRXWFRPHDQG, PIRFXVLQJRQWKH           RXWOLQHGLQWKHZDWHUFRQWUROPDQXDOWKHZDWHULVJRLQJ
      LQGXFHGVXUFKDUJH, PIRFXVLQJRQRSHQLQJWKHJDWHV         WRFRPHDURXQGRXWKHUHDQGJRGRZQLQWR6SULQJ9DOOH\
      $QGIRUWKHUHFRUGDQG, GOLNH\RXWRMXVWORRN            DQGRWKHUQHLJKERUKRRGVDQGDIIHFWRWKHUQHLJKERUKRRGV
      DURXQGEDFNKHUHLI\RXZRXOGIRUPH, PWDONLQJDERXW       ILUVWFRUUHFW"
      WKHWZRUHVHUYRLUVWKHJDWHVDWWKHWZRUHVHUYRLUV           $,FDQ WFRPPHQWRQWKHSDUWLFXODUFRPPXQLWLHV
      $QGZKHQ,WDONDERXW, PVRUU\:KHQ,WDONDERXW         \RXMXVWPHQWLRQHG
      WKHLQGXFHGVXUFKDUJH\RXNQRZH[DFWO\ZKDW, PWDONLQJ       4:K\QRW"
      DERXWGRQ W\RX"                                              $%HFDXVH,GRQ WKDYHWKDWLQIRUPDWLRQVLU
      $&DQ\RXSRLQWRXWWRPHZKHUH\RXWKLQNWKH           42ND\:KHUH, PJHVWXULQJZRXOGWKHZDWHU
     JDWHVDUHVLU"                                               FRPHRXWWKLVZD\"
     4<HDK,WKLQNWKHJDWHVDUHKHUHDQGWKH           $,WZRXOGFRPHRXWDURXQGWKHQRUWKHUQHQGRI
     LQGXFHGVXUFKDUJHFDPHWKURXJKWKRVHRXWOHWV,VWKDW        WKHGDP
     FRUUHFW"                                                      47KDW VWKHQRUWKHUQHQGRIWKHGDP"
     $7KHFRQWUROOHGUHOHDVHVZHUHUHOHDVHGWKURXJK        $<HVVLU
     WKRVHRXWOHWVWUXFWXUHV                                      4,WZRXOGFRPHRXWDURXQGWKLVZD\"
     42ND\$QGWHOOWKH-XGJHZKDWLQGXFHG               $,WZRXOGIORZEDVHGRIIRIWKHWRSRJUDSK\DQG
     VXUFKDUJHLVEHFDXVHZH UHJRLQJWREHXVLQJWKDWZRUGD      WKHDPRXQWRIZDWHUWKDWZHQWDURXQGWKHHQGRIWKHGDP
     ORW                                                          4'R\RXVHHP\JHVWXUH"
     $6XUFKDUJHLVDWHUPXVHGWRGHVFULEHRSWLPL]LQJ      $,VHH\RXUJHVWXUH
     WKHFDSDFLW\RIWKHUHVHUYRLUVDQGPLQLPL]LQJULVNWR         4,W VFRUUHFWLVQ WLW"
     WKHVWUXFWXUHV                                               $,GRQRWNQRZ
     4,I\RXKDGQRWIROORZHGWKHLQGXFHGVXUFKDUJH        4<RXGRQ WNQRZLIWKHZDWHUZRXOGKDYHFRPH
     SURWRFRODQGNHSWWKHJDWHVFORVHGWKDWZRXOGKDYHEHHQ      DURXQGWKLVZD\"
     DYLRODWLRQRIWKHZDWHUFRQWUROPDQXDOFRUUHFW"             $1RVLU
     056+$3,522EMHFWWRWKHIRUPRIWKH         4:KDWZRXOG\RXQHHGWRNQRZWKDW"


                                                                                                                           
      TXHVWLRQ                                                      $7KHDPRXQWRIZDWHUWKDWZDVJRLQJDURXQGWKH
      $,GRQ WNQRZLI,ZRXOGXVHWKHZRUG                  HQGRIWKHGDP
      YLRODWLRQ                                                   4+RZPXFKZDVJRLQJDURXQGWKHHQGRIWKHGDP
      4 %\0U0F*HKHH 8VH\RXUZRUGWKHQ$QVZHUP\       EHIRUH\RXRSHQHGWKHJDWHV"
      TXHVWLRQXVLQJZRUGVWKDW\RX UHFRPIRUWDEOHZLWK             $,GRQRWNQRZ
      $,WZRXOGQRWEHLQDFFRUGDQFHZLWKWKHZDWHU          4-XVWDOLWWOHELW7UXH"<RXVDLGWKDWMXVW
      FRQWUROPDQXDO                                                DOLWWOHELW7UXH"
      4,IWKHJDWHVKDGEHHQNHSWFORVHGDQG,ZDQW       $0\UHFROOHFWLRQRIWKHDSSUR[LPDWHDPRXQWRI
      WRJRXSKHUHDQGORRNDWWKLV,IWKHJDWHVKDGQHYHU        ZDWHUWKDWIORZHGDURXQGWKHHQGWKHQRUWKHUQHQGRI
     EHHQRSHQHGDQGWKHUHZDVQHYHUDQLQGXFHGVXUFKDUJH,       $GGLFNVGDPLVDSSUR[LPDWHO\FXELFIHHWSHU
     WKLQN\RX YHGHVFULEHGEHIRUHZKDWZRXOGKDSSHQ$QG         VHFRQG
     ZKDWZRXOGKDSSHQLVWKHZDWHUZRXOGKDYHVSLOOHGRXW         4$QGZKDWZRXOGWKDWLQXQGDWH":KDW
     DURXQGWKHHQGVRIWKHGDPDQGJRQHLQWRGLIIHUHQW            QHLJKERUKRRGVZRXOGWKDWLQXQGDWH"
     QHLJKERUKRRGVFRUUHFW"                                       $,GRQRWNQRZ
     $<HV                                                  ([KLELWVDQGPDUNHG
     42ND\$QGZHKDYHVRPHTXRWHVWKDWZHKDYH          050F*(+(()RUWKHUHFRUGWKHELJ
     IURP\RXDQG, PJRLQJWRVKRZ\RXWKHTXRWHV$QG          EORZXSGHSRVLWLRQ([KLELWWKDWVKRZVWKHWZRGDPVDQG
     \RX YHVDLGEHIRUHWKDWLW VJRLQJWREHEHWWHUWR            WKHUHOHDVHJDWHVDQGWKHTXRWHIURP&RORQHO=HWWHUVWURP
     UHOHDVHWKHZDWHUJRHVGLUHFWO\LQWR%XIIDOR%D\RXDV        LVGHSRVLWLRQ([KLELW
     RSSRVHGWROHWWLQJLWJRDURXQGWKHHQGVDQGWKURXJK          056+$3,52-DFNGR\RXKDYHFRSLHVRI
     DGGLWLRQDOQHLJKERUKRRGVDQGWKHQXOWLPDWHO\LQWRWKH         WKRVH"+RZDUHZHJRLQJWRPDNHWKHVHH[KLELWV"
     ED\RXV,VWKDWMXVWZKDWZHWDONHGDERXW"                   050F*(+((7KHVHH[KLELWVDUHJRLQJWR
     $7KDWLVDQDFFXUDWHTXRWHWKDW,VWDWHG             EHSDUWRIWKHUHFRUG
     42ND\$QGZKDW\RXPHDQWZDVLIZHNHHSWKH         056+$3,52+RZDUHZHJRLQJWRDWWDFK
     JDWHVFORVHGDQGZH UHQRWIROORZLQJWKHSURFHGXUHV           LWWRWKHGHSRVLWLRQ"


                                                                                                              3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                                  A1177
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                                                &RORQHO/DUV=HWWHUVWURP

                                                                                                                           
      050F*(+((7KHZD\ZH YHGRQHHYHU\           4 %\0U0F*HKHH 6XUURXQGLQJFRPPXQLWLHVPHDQV
      RWKHUGHSRVLWLRQH[KLELW:H UHJRLQJWRWDNHSLFWXUHV        WKHFRPPXQLWLHVDURXQGWKHQRUWKHUQHQGRIWKHGDP
      RILWDQGWKHQDWWDFKLWWRWKHUHFRUG                        FRUUHFW"
      056+$3,522ND\6RDWWKHFORVHRI          $,QSDUW\HV
      WKHGHSRVLWLRQZH OOWDNHSKRWRJUDSKVDQGWKHQWKH            4:KDW VWKHRWKHUSDUW"
      SKRWRJUDSKVZLOOEHWKHH[KLELWV"                              $,WGHSHQGVRQWKHWLPHIUDPHWKDW\RX UH
      050F*(+((<HV$QGPD\EHLWZDVQ W          UHIHUHQFLQJWR
      \RXEXWZH YHKDGDVWDQGLQJDJUHHPHQWZLWKRWKHUVWKDW       4, PWDONLQJDERXW$XJXVWWK
      DQ\WLPHDQ\ERG\\RXRU\RXUVLGHRURXUVLGHXVHV            $:LWKRXWORRNLQJDWWKH&:06PRGHOV,FDQ W
     EORZXSVWKHSURFHGXUHZLOOEHWRFRQGHQVHWKHEORZXSV        HQWLUHO\DQVZHU\RXUTXHVWLRQLQWHUPVRIZKLFK
     LQWRE\LQFOXGHLWLQWKHWUDQVFULSW$QGWKH      VXUURXQGLQJFRPPXQLWLHV\RX UHUHIHUULQJWR
     SHUVRQWKDWLVWKHFXVWRGLDQRIWKHGHSRVLWLRQNHHSVWKH      4:KHQ\RXZHUHWDONLQJWRWKHSHRSOHZKDWGLG
     EORZXSVIRUDQ\ERG\WRLQVSHFWZKRUHTXHVWVLW$QG          \RXPHDQE\VXUURXQGLQJFRPPXQLWLHV"
     WKHQWKHFRXUWUHSRUWHUZLOOWDNHSLFWXUHVRIWKHVHDW        $,QIDFWZKDWRFFXUUHGZDVZDWHUIORZHGDURXQG
     WKHHQGWRUHIOHFWWKHZULWLQJRUZKDWHYHUHOVHLVRQ         WKHQRUWKHUQHQGRI$GGLFNVGDP%XWGXULQJ+XUULFDQH
     WKHEORZXS                                                   +DUYH\WKHIRUHFDVWDOVRSUHGLFWHGWKDWZDWHUZRXOGIORZ
     056+$3,522ND\6R, PQRWIDPLOLDU        DURXQGERWKHQGVRI%DUNHUGDP
     ZLWKWKDWDJUHHPHQWEXWLWVRXQGVILQH, PMXVW            4$QGWKDWIRUHFDVWQHYHUFDPHWUXH"
     FXULRXVDVWRZKDWWKHDFWXDOH[KLELWWRWKHGHSRVLWLRQ       $7KHDGGLWLRQDOUDLQIDOOGLGQRWIDOO
     ZLOOEH:LOOLWEHWKHEORZXSVRUZLOOLWEHWKH           42ND\6RDQ\PRUHTXDOLILFDWLRQVWRWKH
     SKRWRJUDSKV"                                                  VXUURXQGLQJFRPPXQLWLHV"
     050F*(+((,WZLOOEHDSKRWRJUDSK          $1RVLU
     056+$3,522ND\,DJUHHZLWKWKDW         4$UH\RXIDPLOLDUZLWKWKHGHYLDWLRQWKDWZDVLQ
     050F*(+((2ND\                             SODFHVLQFHUHJDUGLQJWKHZDWHUIORZDW3LQH\
     7+(:,71(660D\,DVNDTXHVWLRQ"             3RLQW"


                                                                                                                           
       'LVFXVVLRQRIIWKHUHFRUG                       $&DQ\RXSKUDVH\RXUTXHVWLRQGLIIHUHQWO\VLU"
      056+$3,52-DFNWKHFRORQHOKDV              4<HDK,PLJKWKDYHXVHGWKHZURQJWHUPVRI
      LQGLFDWHGWKDW\RX UHPLVSURQRXQFLQJKLVQDPH                 DUW$V,XQGHUVWDQGWKHUH VDGHYLDWLRQDVWDQGLQJ
      4 %\0U0F*HKHH 6D\\RXUQDPHIRUPH                GHYLDWLRQLQSODFHGXULQJ+XUULFDQH+DUYH\WKDWZDV
      $0\QDPHLV=HWWHUVWURP                               DSSOLHGIRUDQGDSSURYHGLQWKDWVDLGWKHZDWHU
      4=HWWHUVWURP"                                          IORZDW3LQH\3RLQWFDQH[FHHG&)6DQGFDQJRXS
      $=HWWHUVWURPVLUQRW=HWWHUVWRUP                    WR&)6LQFHUWDLQVLWXDWLRQVDQG&)6LQ
      40\QDPHLV0F*HKHH,JHWPLVSURQXQFLDWLRQVD        FHUWDLQVLWXDWLRQV$UH\RXIDPLOLDUZLWKWKDW"
      ORWDOVR                                                      $<HVVLU
      ([KLELWPDUNHG                               4$QGLW VP\XQGHUVWDQGLQJDQG, PDVNLQJ\RX
     4 %\0U0F*HKHH 2ND\/HW VPDUNWKLVDV           DTXHVWLRQGLGWKDWGHYLDWLRQKDYHDQ\WKLQJWRGR
     ([KLELW&RORQHO=HWWHUVWURP<RX YHVDLGEHIRUH        ZLWKWKHHYHQWVRI+XUULFDQH+DUYH\RQFH\RXDFWLYDWHG
     DQGZHKDYHDFRS\RILW%XW\RXVDLG,IZHGRQ W         WKHLQGXFHGVXUFKDUJHSURWRFRO"
     EHJLQUHOHDVLQJQRZDQGWKLVZDVRQ$XJXVWWK        $1RVLU
     WKHYROXPHRIXQFRQWUROOHGZDWHUDURXQGWKHGDPVZLOO        41RZJRZLWKPH/HW VDVVXPHWKDW\RX
     EHKLJKHUDQGKDYHDJUHDWHULPSDFWRQWKHVXUURXQGLQJ        YLRODWHG\RXGLGQ WXVHWKHZRUGYLRODWH
     FRPPXQLWLHV                                                 /HW VDVVXPHWKDW\RXGLGQ WIROORZWKH
     'R\RXUHFDOOPDNLQJWKDWVWDWHPHQW"            ZDWHUFRQWUROPDQXDODQG\RXNHSWWKHJDWHVFORVHG
     $,GR                                                $UH\RXZLWKPH"
     4$QGWKHVXUURXQGLQJFRPPXQLWLHV\RXZHUH             $<HVVLU
     UHIHUULQJWRDQG, PJHVWXULQJQRZRQ([KLELW1R       47HOOWKH-XGJHDVFHQDULRZKHUHWKH
     7KHVXUURXQGLQJFRPPXQLWLHVZHUHWKHVHFRPPXQLWLHVDW         GHYLDWLRQZRXOGKDYHDSSOLHG:KDWZRXOGKDYHWRKDSSHQ
     WKHQRUWKHUQHQGRIWKHGDPFRUUHFW"                         IRUWKDWGHYLDWLRQWRDSSO\"
     056+$3,522EMHFWLRQEHHQDVNHGDQG         056+$3,522EMHFWWRWKHIRUPRIWKH
     DQVZHUHG                                                     TXHVWLRQ,WFDOOVIRUVSHFXODWLRQ


                                                                                                             3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                                  A1178
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                                               &RORQHO/DUV=HWWHUVWURP

                                                                                                                          
      GHWHUPLQLQJIHHWSHUVHFRQG"                             $<HV
      $1RVLU                                              4<RX UHFRQFHUQHGDERXWSXEOLFVDIHW\DQG\RX UH
      4,VLWIDLUWRVD\JOREDOO\WKDWVDIHW\ZDVD          DOVRFRQFHUQHGZLWKLQSXEOLFVDIHW\\RX UHFRQFHUQHG
      ELJFRQFHUQZKHQIHHWSHUVHFRQGZDVDSSURYHGDVD       DERXWWKHVDIHW\RI'RZQWRZQ+RXVWRQDQGWKH+RXVWRQ
      GHYLDWLRQ"                                                     6KLS&KDQQHO6RZHKDYHDTXRWHKHUH, OOMXVWDVN
      $&DQ\RXGHILQHZKDW\RXPHDQE\WKHZRUG              \RXLI\RXUHPHPEHUPDNLQJWKLVTXRWH$XJXVW:H
      VDIHW\VLU                                                 KDYHLWLI\RXGRQ W7KHVHVWUXFWXUHVFRQWLQXHWR
      46XUH7KDW VIDLU,IZHDOORZDFRPELQHG           SHUIRUPDVWKH\ZHUHGHVLJQHGWRGRZKLFKLVWRSURWHFW
      IORZDW3LQH\3RLQWRIIHHWSHUVHFRQGDUHZH           DJDLQVWIORRGLQJLQ'RZQWRZQ+RXVWRQDQGWKH+RXVWRQ
     FRPIRUWDEOHWKDWZH UHQRWJRLQJWRKDYHFROODWHUDO           6KLS&KDQQHO)DLUHQRXJK"
     GDPDJHRQ%XIIDOR%D\RX"                                      $7KDWLVDTXRWHWKDW,PDGHVLU
     056+$3,522EMHFWWRWKHIRUPRIWKH         42ND\'RZQWRZQ+RXVWRQDQG+RXVWRQ6KLS
     TXHVWLRQ                                                     &KDQQHOLVSDUWRIWKHSXEOLFVDIHW\WKDWZHMXVWWDONHG
     $,EHOLHYHWKDWFXELFIHHWSHUVHFRQGZDV       DERXW"
     VHOHFWHGEHFDXVHWKDWLVDFRPELQHGRXWIORZWKDWZRXOG        $7KDWUHIHUVWRWKHDXWKRUL]HGSXUSRVHRIWKH
     QRWLQXQGDWHVWUXFWXUHVGRZQVWUHDPRI3LQH\3RLQW            VWUXFWXUHV
     4 %\0U0F*HKHH 7KDQN\RXVLU$V,VWUXJJOH      4$QGWKHLQGXFHGVXUFKDUJHKDVDSXEOLFSXUSRVH
     ZLWKP\TXHVWLRQV, PWU\LQJWRILQGPLGGOHJURXQG,       DVVRFLDWHGZLWKLWDOVRFRUUHFW"
     DSSUHFLDWH\RXUFRRSHUDWLRQ                                  $7KHVXUFKDUJHLVGHYHORSHGLQFRQVLGHUDWLRQRI
     /HW VJRWRWKHUHDVRQRQHRIWKH            WKHDXWKRUL]HGSXUSRVHZKHQWKH\ZHUHFRQVWUXFWHGDQG
     UHDVRQVZK\WKHLQGXFHGVXUFKDUJHDQG, PJRLQJWREH      DXWKRUL]HGE\&RQJUHVV
     EDFNDQGIRUWKKHUH2QHRIWKHUHDVRQVZK\WKHLQGXFHG      4<RXNQRZDEXQFKRIRXUSURSHUWLHVGRZQKHUH
     VXUFKDUJHSURWRFROSHUPLWV\RXWRRSHQWKHIORRGJDWHV        ZHUHGDPDJHG<RXNQRZDEXQFKRIRXUSURSHUWLHVGRZQ
     RQHRIWKHUHDVRQV, PFDOOLQJLWLVDSXEOLFJRRG           KHUHDWOHDVWDOOWKHVHWHVWSURSHUWLHVZHUHGDPDJHG
     1RZ,ZDQWWRVKRZ\RXVRPHTXRWHVWKDW\RXPDGHEXW        GXULQJ+XUULFDQH+DUYH\)DLUHQRXJK"


                                                                                                                          
      , PJRLQJWRFRPHEDFNWRWKDWDQGDVN\RXWRH[SODLQ          $,I\RXVWDWHWKRVHZHUHGDPDJHGGXULQJ
      WKHSXEOLFJRRG                                               +XUULFDQH+DUYH\,KDYHQRWVHHQWKLVSURGXFW, YH
      +DYH\RXVDLGEHIRUHLQDUWLFOHVWKDW         VHHQWKHLPDJHU\EXWQRWWKHVHWHVWORFDWLRQV
      WKLVLVYHU\REYLRXVDQGGRQ WEHRIIHQGHG:HKDYH          4:HOOWKHVHDUHWKHWHVWORFDWLRQVDQGWKHVH
      \RXUDUWLFOHV+DYH\RXVDLGEHIRUHLQTXRWHVZKDW, YH       DUHWKHQDPHVRIWKHWHVWSURSHUWLHV, OOUHSUHVHQWWR
      ZULWWHQXSKHUHRQ([KLELW1R"                              \RXWKDWWKHVHDUHWKHORFDWLRQV$QG\RXDJUHHDQG
       ([KLELWPDUNHG                                , PJHVWXULQJQRZWKDWSURSHUWLHVDORQJWKLV%XIIDOR
      4 %\0U0F*HKHH , PJRLQJWRPDUNWKDW([KLELW       %D\RXZHUHLQXQGDWHGDQGGDPDJHGEHFDXVHRI+XUULFDQH
      1R+DYH\RXVDLGWKDWSXEOLFVDIHW\LVRXUQXPEHU         +DUYH\"
     RQHFRQFHUQDQG\RX UHZRUNLQJFORVHO\ZLWKWKHRWKHU         $%HFDXVHRI+XUULFDQH+DUYH\\HVVLU
     SDUWQHUVWRPRQLWRUWKHUHVHUYRLUV"                           4$QGEHFDXVHRIWKHLQGXFHGVXUFKDUJH
     6RSXEOLFVDIHW\LVDFRQFHUQWKDWKHOSV        056+$3,52, OOREMHFWWRWKHIRUPRI
     MXVWLI\WKHLQGXFHGVXUFKDUJHSURWRFRO)DLUHQRXJK"         WKHTXHVWLRQ,WFDOOVIRUH[SHUWDQDO\VLV
     056+$3,522EMHFWWRWKHIRUPRIWKH         $,FDQ WDQVZHUWKDWTXHVWLRQ,GRQ WNQRZ
     TXHVWLRQ,W VFRPSRXQG                                     ,GRQRWNQRZWKHDQVZHUWRWKDWTXHVWLRQVLU
     $6XUFKDUJHLVMXVWLILHGIRUWZRUHDVRQV              4 %\0U0F*HKHH <RXGRQ WNQRZLIWKHLQGXFHG
     RSWLPL]LQJVWRUDJHFDSDFLW\DQGHQVXULQJWKHVWUXFWXUDO       VXUFKDUJHGDPDJHGSURSHUWLHV"
     VWDELOLW\RIWKHGDPV                                        056+$3,522EMHFWWRWKHIRUPRIWKH
     4 %\0U0F*HKHH 3XEOLFVDIHW\ILWVLQWRWKDW        TXHVWLRQ,W VEHHQDVNHGDQGDQVZHUHG
     GHILQLWLRQFRUUHFW"                                          $,GRQRWNQRZWKDWLQGXFHGVXUFKDUJHGDPDJHG
     $,EHOLHYH\RX UHLPSO\LQJIRUWKHODWWHUWKDW        WKHVHSDUWLFXODUSURSHUWLHVVLU
     WKHVDIHW\RIWKHVWUXFWXUHVSUHYHQWVRUDOORZV            4 %\0U0F*HKHH )DLUHQRXJK<RXGRNQRZWKDW
     DGGLWLRQDOVDIHW\WRWKHSXEOLF                              WKH\GDPDJHGVRPHSURSHUWLHV"
     4$QGWKDW VDIDLUORJLFDOGHULYDWLRQ'R\RX       056+$3,522EMHFWWRWKHIRUPRIWKH
     DJUHH"                                                        TXHVWLRQFDOOVIRUH[SHUWDQDO\VLV


                                                                                                             3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

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                                                &RORQHO/DUV=HWWHUVWURP

                                                                                                                          
      $,GRQRWNQRZIRUVXUHEXW,KDYHEHHQWROG          DQRXWOLQHRIZKHUH,ZDQWWRJRIRUWKHQH[WSHULRGRI
      WKDWWKHUHZHUHGDPDJHVGXHWRWKHFRQWUROOHGUHOHDVHV         WLPHDQGZH UHJRLQJWRKDYHRWKHUEORZXSVWRWDON
      IURPWKHRXWOHWVWUXFWXUHV                                    DERXWWKHVHYDULRXVHQWLWLHV%XW,ZDQWWRWDON
      4 %\0U0F*HKHH $QG\RXPRGHOHGWKDWGLGQ W         JHQHUDOO\DERXWLIWKHUH VQRGDPKRZZHPRGHOLWLI
      \RX"                                                           WKHUH VQRGDPZKDWKDSSHQVLIWKHUH VQRGDPZKR
      $7KHUHZHUHPRGHOVWKDWZHUHFRQGXFWHGWKDW            PLJKWSD\IRUDQ\WKLQJWKDWKDSSHQVDQGLIWKHUH VQR
      VKRZHGWKHZDWHULPSDFWVRIWKHFRQWUROOHGUHOHDVHV           GDPZKDWDUHWKHDOWHUQDWLYHV'R\RXXQGHUVWDQGZKHUH
      4)DLUHQRXJK$QG\RXFRXOGIRUHVHHWKDWWKHUH        ZH UHJRLQJZLWKP\TXHVWLRQV"
      ZDVJRLQJWREHGDPDJHLI\RXVWDUWHGWKHLQGXFHG              056+$3,52%HIRUH\RXUHVSRQG,PHDQ
     VXUFKDUJHSURWRFRO"                                           ,DQWLFLSDWH, PJRLQJWRKDYHDIDLUQXPEHURI
     $,WZDVXQGHUVWRRGWKDWLIZHGLGWKHFRQWUROOHG      REMHFWLRQVKHUH-DFNEHFDXVHWKLVZLWQHVVLVREYLRXVO\
     UHOHDVHVLQVXUFKDUJHFRQGLWLRQVWKDWWKHUHZRXOG            QRWEHLQJSUHVHQWHGDVDQH[SHUWRQDQ\RIWKHVHLVVXHV
     SRWHQWLDOO\EHLPSDFWVGRZQVWUHDP                            DQGLVFHUWDLQO\QRWDPRGHOHUKHUHDWWKH&RUSV%XW
     050F*(+((0DUNWKLVDV([KLELW1R       \RXFDQDVNZKDWHYHUTXHVWLRQ
      ([KLELWPDUNHG                               4 %\0U0F*HKHH <RXRZQWKH&RUSVKHUHGRQ W
     4 %\0U0F*HKHH /HW VWDONDERXWWKHGDPV          \RX"7KH&RUSVRI(QJLQHHUVKHUHLQ*DOYHVWRQLV\RXUV
     $UH\RXIDPLOLDUZLWKPRGHOLQJWKDWWKH&RUSVKDVGRQH        7UXH"
     WKDWWDNHVWKHGDPVRXWDQGPRGHOVWKHQDWXUDO                $1RVLU
     HQYLURQPHQWRIWKLVDUHDZLWKRXWWKHGDPVDQGPRGHOV          4<RX UHWKHFRPPDQGHU"
     ZKDWZRXOGKDSSHQZKDWZRXOGKDYHKDSSHQHGGXULQJ          $,DPWKHFRPPDQGHU
     +XUULFDQH+DUYH\LQWKHQDWXUDOFRQGLWLRQ"$UH\RX           4'R\RXZHDUJUHHQWDEV"
     IDPLOLDUZLWKWKH&RUSV PRGHOV"                              $,GRQRWVLU
     $1RVLU                                             4<RX UHQRWFRQVLGHUHGDOHDGHUE\WKH$UP\"
     4$UH\RXIDPLOLDUWKDWWKH&RUSVKDVPRGHOHG          $,DPVLU
     WKHPPRGHOVGRH[LVW"                                        48QGHU\RXUOHDGHUVKLSDUHDOOWKHPLOLWDU\


                                                                                                                          
      $,KDYHQRWVHHQWKHP,FDQQRWFRQILUPWKDW          SHRSOHDVVLJQHGWRWKH*DOYHVWRQGLVWULFW"
      WKH\H[LVW                                                    $,DPWKHFRPPDQGHURIWKH*DOYHVWRQGLVWULFW
      4<RXGRQ WNQRZLIWKH&RUSVKDVPRGHOHGQDWXUDO       48QGHU\RXUFRPPDQGDOOWKHPLOLWDU\SHRSOH
      FRQGLWLRQVYHUVXVFRQGLWLRQVZLWKWKHGDP"                     DVVLJQHGWRWKH*DOYHVWRQGLVWULFWDUHXQGHU\RXU
      056+$3,522EMHFWLRQ7KDW VEHHQ            FRQWURO"
      DVNHGDQGDQVZHUHG                                            $$OORIWKHSHUVRQQHOVLU
      $0\NQRZOHGJHLVWKDWWKRVHPRGHOVZHUHEHLQJ          47RLQFOXGHFLYLOLDQSHUVRQQHO7UXH"
      SURGXFHGEXW,GRQRWNQRZLIWKH\DUHFRPSOHWH              $<HVVLU
      4 %\0U0F*HKHH /HW VWDONDERXWLQJHQHUDO          47RLQFOXGH5RE7KRPDV"
     PRGHOVZLWKRXWWKHGDPDQGOHW VWDONDERXWZKDW\RX         $<HVVLU
     NQRZPLJKWKDYHKDSSHQHGLIWKHUHZHUHQR$GGLFNV%DUNHU      47KLVLVZKHUHZH UHJRLQJ'R\RXXQGHUVWDQG
     GDPV,ZDQWWRWDONDERXWWKDW2ND\"                      ZKHUHZH UHJRLQJ"
     $<HVVLU                                            $,XQGHUVWDQGWKHK\SRWKHWLFDOTXHVWLRQVWKDW
     4,ZDQWWRJRWKURXJKDQDQDO\VLVRIKRZ\RX          \RXSODQRQSURSRVLQJVLU
     ZRXOGPRGHODVFHQDULRZKHUHWKHUHZRXOGEHQR                4$QGWKDQN\RX&RPPDQGHU7KHVHDUH
     $GGLFNV%DUNHUGDPV2ND\"                                   K\SRWKHWLFDO7KHVHDUHLIWKHUH VQR$GGLFNV%DUNHU
     $<HVVLU                                            GDPV$OOP\TXHVWLRQVLQYROYLQJWKLVERDUGDUHJRLQJ
     4)LUVWOHW VWDONDERXWKRZ\RXZRXOGPRGHOLW       WREHK\SRWKHWLFDODVVXPLQJWKHUH VQRGDPV)DLU
     'R\RXWKLQNLW VIDLUWRWDNH                             HQRXJK"
     056+$3,52+H\-DFN,WKLQN\RXU           $<HVVLU
     FROOHDJXHLVWU\LQJWRJHW\RXUDWWHQWLRQ                    41RZ,ZDQWWRWDONDERXWEHVWPRGHOLQJ1RW
     7+(9,'(2*5$3+(5, PKDYLQJWURXEOH           EHVWPRGHOLQJIURPWKHJX\WKDWZULWHVWKHPRGHOWKDW
     VHHLQJLW                                                    ZULWHVWKHDOJRULWKPVWKDWZULWHVWKHDOJHEUDWKDW
     050F*(+((2ND\                             ZULWHVWKHZDWHUIORZDELOLW\DQGFRQFOXVLRQVEXW,
     4 %\0U0F*HKHH &RPPDQGHU=HWWHUVWURPWKLVLV      ZDQWWRNQRZWKHEHVWPRGHOIURPDFRPPDQGHU V


                                                                                                            3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                             A1180
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                                               &RORQHO/DUV=HWWHUVWURP

                                                                                                                          
      VWDQGSRLQW2ND\"$QG,WKLQNWKHUH VWZRNLQGVRI           1HZ0H[LFRLWFDQDFWXDOO\FDXVHDKXUULFDQHLQ&KLQD
      PRGHOV                                                        :RXOG\RXDJUHHWKDWLIZHFKDQJH
      :HFDQJRLQDQGWDNHWKHHIIHFWVRI             VRPHWKLQJ\HDUVDJRWKHUH VOLNHO\JRLQJWREHRWKHU
      +XUULFDQH+DUYH\DQGLQZHFDQJRSRRIQRGDPV          FKDQJHVWKDWRFFXUEDVHGRQWKDWVLQJOHFKDQJH"
      DQGHOLPLQDWHWKHGDPVDQGOHWHYHU\WKLQJHOVHEH              056+$3,522EMHFWWRWKHIRUPRIWKH
      H[DFWO\WKHVDPH:HFRXOGPRGHODVLWXDWLRQOLNHWKDW       TXHVWLRQFDOOVIRUVSHFXODWLRQ
      7UXH"                                                          $,FDQ WVWDWHRUK\SRWKHVL]HZKDWGLGRUGLGQ W
      056+$3,522EMHFW7KDWFDOOVIRU            RFFXULQWKHSDVW\HDUV
      H[SHUWDQDO\VLV                                               4 %\0U0F*HKHH 'LGQ WDVNWKDW, PDVNLQJ
     $0RGHOVFDQEHUHGXFHGWREHDEOHWRYLVXDOL]H        WKDW\RXZRXOGDVVXPHORWVRIFKDQJHVZRXOGRFFXULI
     WKHFRQGLWLRQVWKDW\RXGHVFULEHG                            WKHUHZDVQRGDPEXLOW\HDUVDJR)DLUHQRXJK"
     4 %\0U0F*HKHH $QGVRZHFDQPRGHOWKDW            056+$3,522EMHFWWRWKHIRUPRIWKH
     FRQGLWLRQWKDW,MXVWGHVFULEHG,FDOOWKHPSRRI          TXHVWLRQFDOOVIRUVSHFXODWLRQ
     WKH\GLVDSSHDU$QGLQWKDW,ZDQW\RXWRDVVXPH             $$JDLQ,FDQ WDQVZHUZKDWOHYHORI
     \HDUVZLWKQRFKDQJHV,QRWKHUZRUGVZHWDNHWKH        GHYHORSPHQWVPD\RUPD\QRWKDYHRFFXUUHGKDGWKHVH
     H[DFWVDPHVLWXDWLRQLQZKHUHWKLVLVHPSW\             VWUXFWXUHVQRWEHHQFRQVWUXFWHGRUZKDWFKDQJHVKXPDQV
     WKHUH VQRKRPHVEXLOWWKURXJKKHUHZKHUHWKH%XIIDOR        ZRXOGKDYHPDGHWRWKHHQYLURQPHQWLQWKDWWLPHSHULRG
     %D\RXORRNVH[DFWO\WKHZD\LWGRHVWRGD\LQ            4 %\0U0F*HKHH ,GLGQ WDVN\RXZKDWFKDQJHV
     7KHUH VQRKRPHVGRZQKHUH7KHUH VQREXLOGLQJFRGH         , PMXVWDVNLQJ\RXWRDJUHHWKDWLW VUHDVRQDEOHWR
     FKDQJHVQRWKLQJMXVWWKDWWKHUH VQRGDPV                  DVVXPHWKDWWKHUHZRXOGEHFKDQJHVRYHUWLPHKDGWKH
     :HFDQPRGHOSRRIWKHUH VQRGDPVDQG        GDPVQHYHUEHHQEXLOW:RXOG\RXDJUHHZLWKWKDW"
     ZHFDQDVVXPHQRFKDQJHVRYHUD\HDUSHULRG:HFDQ       056+$3,522EMHFWWRWKHIRUPRIWKH
     GRWKDWLQDPRGHOFDQ WZH"                                 TXHVWLRQFDOOVIRUVSHFXODWLRQ
     $,EHOLHYH\RXFDQ                                   $,WKLQN,ZRXOGDVVXPHWKDWLIWKHGDPVZHUH
     4$QGZRXOG\RXDJUHHWKDWWRGRLWWKDWZD\           QRWEXLOWWKDWWKHDPRXQWRIGHYHORSPHQWWKDWH[LVWV


                                                                                                                          
      ZRXOGEHXQUHDVRQDEOH"                                         WRGD\ZRXOGQRWKDYHRFFXUUHG
      056+$3,522EMHFWWRWKHIRUPRIWKH          4 %\0U0F*HKHH 2ND\6RFKDQJHVZRXOGRFFXU"
      TXHVWLRQ0\VSHFLILFREMHFWLRQLQFOXGHVWKHIDFWWKDW        056+$3,522EMHFWWRWKHIRUPRIWKH
      ,KDYHQRLGHDZKDW\RXPHDQE\XQUHDVRQDEOH                TXHVWLRQFDOOVIRUVSHFXODWLRQ
      4 %\0U0F*HKHH +H VWDONLQJWRWKHUHFRUG          $&KDQJHLVWKHRQO\WKLQJFRQVWDQWLQOLIH
      'RQ WOLVWHQWRZKDWKHVD\V,IKH VWDONLQJWR\RX         4 %\0U0F*HKHH 2ND\7KDW VDJRRGZD\WR
      KH VYLRODWLQJKH VGRLQJVRPHWKLQJZURQJ*RDKHDG       VD\LWDQG,GRQ WPHDQWREXWLIWKH\ZHUHQHYHU
      $6RFRXOG\RXGHILQHZKDW\RXPHDQE\                  EXLOW\RXDJUHHWKDWLW VUHDVRQDEOHWRDVVXPHWKDW
      UHDVRQDEOHVLU"                                             FKDQJHVRYHUWLPHZRXOGRFFXU"
     46XUH/HWPHFRPSDUHLWWRWKHRWKHUPRGHO         056+$3,522EMHFWWRWKHIRUPRIWKH
     $QGZH UHWDONLQJDERXWKRZWRGRWKHEHVWPRGHOKRZWR      TXHVWLRQFDOOVIRUVSHFXODWLRQ
     SUHSDUHWKHEHVWPRGHODVDFRPPDQGHU                        $,EHOLHYHLW VUHDVRQDEOHWRDVVXPHLIWKH\KDG
     7KHRWKHUZD\WRGRLWLVWRJREDFN            QRWEHHQEXLOWWKHFRQGLWLRQVWKDWH[LVWWRGD\ZRXOGEH
     \HDUVRUJREDFN\HDUVDQGQRWKDYHWKHGDPVEXLOW      GLIIHUHQW
     EXWOHWWKHQDWXUDOIORZRIHYROXWLRQOHWWKHQDWXUDO        4 %\0U0F*HKHH 2ND\'LG,ZULWHDQ\WKLQJ
     IORZRIKLVWRU\PDNHWKHQRUPDOFKDQJHVWKDWZRXOGRFFXU      LPSURSHUDIWHUWKH\ZHUHQHYHUEXLOW"&KDQJHVRYHU
     KDGZHFKDQJHGDQHYHQW\HDUVDJR                         WLPH\RXEHOLHYHDUHUHDVRQDEOHWRDVVXPH"
     :KHQ,ZDVWKLQNLQJDERXWWKLVWKH             056+$3,52:HOOWKDWPLVVWDWHVKLV
     EXWWHUIO\HIIHFWFDPHWRPLQG$UH\RXIDPLOLDUZLWK         WHVWLPRQ\+HGLGQ WXVHWKDWWHUPUHDVRQDEOH
     WKHEXWWHUIO\HIIHFW"                                         4 %\0U0F*HKHH +H VWDONLQJWRWKHUHFRUG
     $,KDYHVHHQWKHPRYLH7KH%XWWHUIO\(IIHFW          'RQ WOHWKLPLQIOXHQFHZKDW\RX UHJRLQJWRVD\
     42ND\$QGDV,XQGHUVWDQGLWWKHEXWWHUIO\         056+$3,522EMHFWEHFDXVHLWPLVVWDWHV
     HIIHFWLVSDUWRIFKDRVWKHRU\,GRQ WNQRZZKDWWKDW       KLVWHVWLPRQ\
     PHDQV%XWWKHEXWWHUIO\HIIHFWZDVZULWWHQE\VRPH          $6RWRVXPPDUL]HWKDWVWDQGSRLQW,WKLQNWKHUH
     VFLHQWLVWVWKDWVDLGLIDEXWWHUIO\IODSVLWVZLQJVLQ        LVPRUHWRP\WHVWLPRQ\WKDQZKDW VVXPPDUL]HGLQWKRVH


                                                                                                           3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                              A1181
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                                                &RORQHO/DUV=HWWHUVWURP

                                                                                                                         
      'R\RXVHHWKDW"                                 LQGLFDWHGWKDWKRPHVDQGVWUXFWXUHVZRXOGEHLQXQGDWHG
      $<HVVLU                                             ZKHQWKHJDWHVZHUHRSHQHGSULRUWRRSHQLQJWKHJDWHV
      4:HPDGHWKHPTXLFNHUWKDQZHZRXOGKDYH              ULJKW"
      SUHIHUUHGEHFDXVHWKH$GGLFNVSRROURVHIDVWHURYHUQLJKW       $<HV
      WKDQZHKDGIRUHFDVWDQGWKHSRROWKUHDWHQHGWRGLVDEOH        42ND\6R\RXNQHZWKDWZDVJRLQJWRRFFXU,W
      SRZHUWRWKHJDWHV:HKDYHDUHPRWHJHQHUDWRUSODQDQG       DSSHDUVWRPHWKDWWKHUHDUHWUDGHRIIVRFFXUULQJKHUH
      DKDQGFUDQN1HLWKHUDUHDVGHSHQGDEOHDVWKHPDLQ           $QGRQHLV\RXFDQKDYHXQFRQWUROOHGUHOHDVHVJRLQJ
      V\VWHP(YHQRQWKHPDLQV\VWHPZHKDYHDOUHDG\KDGWZR       DFURVVWKHVSLOOZD\WKDWZLOOLPSDFWVRPHKRPHVDWOHDVW
      WHPSRUDU\JDWHIDLOXUHV7KDW VZK\,GHFLGHGWRRSHQ         RQWKHQRUWKHQGRI$GGLFNVRU\RXFDQKDYHZDWHU
     JDWHVRQ$GGLFNVIDVWHUWKDQZHKDYHGRQHLQWKHSDVW        IORZLQJGRZQ%XIIDOR%D\RXWKDWLPSDFWVKRPHVGRZQVWUHDP
     ,ZDVFRQFHUQHGWKDWZHZRXOGQRWEHDEOHWRDFWXDWHWKH      IURP$GGLFNVDQG%DUNHU'R\RXVHHWKHWUDGHRIIWKHUH"
     JDWHVDQGWKDWULVNWRRXUVSLOOZD\ZDVXQDFFHSWDEOH        056+$3,522EMHFWWRWKHIRUPRIWKH
     'R\RXVHHWKDW"                                TXHVWLRQ,W VYDJXHDQGLW VDOVRFRPSRXQG
     $<HVVLU                                            $6R,XQGHUVWDQGWKHG\QDPLFEHWZHHQ
     4, YHJRWVHYHUDOTXHVWLRQVDERXWWKLVGRFXPHQW      XQFRQWUROOHGDQGFRQWUROOHGUHOHDVHVDQGWKHLPSDFWV
     ,WVD\V(YHQRQWKHPDLQV\VWHPZHKDYHDOUHDG\KDG         HLWKHURIWKRVHFRQGLWLRQVFRXOGFDXVHGRZQVWUHDPDV
     WZRWHPSRUDU\JDWHIDLOXUHV,VWKDWFRQVLVWHQWZLWK        ZHOODVWRWKHVWUXFWXUHVWKHPVHOYHV
     \RXUUHFROOHFWLRQ"                                            4 %\0U1ROHQ :HOOLVLWIDLUWRVD\WKDW
     $,UHFDOOWKDWWKHUHZDVVRPHHOHFWULFDOLVVXHV       ZKHQZHRSHQWKHJDWHVZKHQWKH$UP\&RUSVPDNHVWKH
     WKDWLPSDFWHGWKHDELOLW\WRUDLVHDQGORZHUVRPHRIWKH      GHFLVLRQWRRSHQWKHJDWHVWKDWRQHRIWKHUHDVRQVWKDW
     JDWHV                                                        WKRVHGRZQVWUHDPKRPHRZQHUV SURSHUWLHVDUHEHLQJ
     4$QGLWJRHVRQDQGVD\V7KDW VZK\,GHFLGHG       LQXQGDWHGLVWRRQHSUHVHUYHWKHVWUXFWXUDOLQWHJULW\
     WRRSHQJDWHVRQ$GGLFNVIDVWHUWKDQZHKDYHGRQHLQWKH      RI$GGLFNV%DUNHUDQGWZRWREHQHILWSHRSOHRQWKH
     SDVW:KHQZDVWKHSDVW"                                    QRUWKHQGRI$GGLFNVZKRZRXOGKDYHKDGXQFRQWUROOHG
     $,GRQ WNQRZZKDWKH VUHIHUULQJWRVLU            ZDWHUJRLQJDFURVVWKHVSLOOZD\"


                                                                                                                         
      45LJKW%HFDXVH\ DOOKDGQHYHUKDGWKLV               056+$3,522EMHFWWRWKHIRUPRIWKH
      VLWXDWLRQEHIRUHULJKW"                                        TXHVWLRQ
      $1RWWRP\NQRZOHGJHVLU                              $$UH\RXLPSO\LQJWKDWLQWKHGHFLVLRQPDNLQJ
      4,ZDVFRQFHUQHGWKDWZHZRXOGQRWEHDEOHWR          WKHUHDUHRWKHUHOHPHQWVRWKHUWKDQZKDW,SUHYLRXVO\
      DFWXDWHWKHJDWHVDQGWKDWULVNWRRXUVSLOOZD\ZDV             GHVFULEHGWRWKHSXUSRVHRIVXUFKDUJH"
      XQDFFHSWDEOH                                                  4 %\0U1ROHQ 1R, PQRWLPSO\LQJWKDW
      'R\RXXQGHUVWDQGZKDWWKDWPHDQV"                :KDW, PMXVWDVNLQJWKRXJKLVLVWKDWZKHQ\RXKDYH
      $,WPHDQVWKDWLIZHKDGQRWGRQHWKHIDVWHU            ZDWHUJRLQJDURXQGDQGDFURVVWKHVSLOOZD\JRLQJDURXQG
      UHOHDVHVDQGUDLVHGWKHJDWHVTXLFNHUWKDQZKDWKH V            WKHQRUWKHQGRI$GGLFNVDFURVVWKHVSLOOZD\WKHUH
     LPSO\LQJWKDWWKHOLNHOLKRRGRIDGGLWLRQDOXQFRQWUROOHG       ZRXOGEHSHRSOHZKRZRXOGEHLPSDFWHGE\WKDWZDWHU
     UHOHDVHVDURXQGWKHQRUWKHUQHQGRI$GGLFNVRURIWKH          IORZLQJDFURVVWKHVSLOOZD\DQGWKRVHSHRSOHEHQHILWE\
     VSLOOZD\VSRVHGULVNWRWKHVWUXFWXUHV                        RSHQLQJWKHJDWHVWROHWZDWHUJRGRZQ%XIIDOR%D\RXVR
     46ROHWPHDVN\RXWKDWEHFDXVHWKHUH V\RX         WKDWLWVWRSVJRLQJDURXQGLQDQXQFRQWUROOHGPDQQHU
     KDYHDVLWXDWLRQZKHUH\RX UHRSHQLQJWKHJDWHVDQG            DFURVVWKHVSLOOZD\"
     OHWWLQJZDWHURXWLQWR%XIIDOR%D\RXDQGLW VJRLQJ            056+$3,52,REMHFWWRWKHIRUPRIWKH
     GRZQVWUHDPDQG\RXNQRZWKDWLW VJRLQJWRLPSDFW              TXHVWLRQ7KDWFDOOVIRUVSHFXODWLRQDQGDVVXPHVIDFWV
     SURSHUW\RZQHUVDORQJ%XIIDOR%D\RXFRUUHFW"                  QRWLQHYLGHQFH,WDOVRFDOOVIRUDQH[SHUWRSLQLRQ
     056+$3,522EMHFWWRWKHIRUPRIWKH          $6REDVHGRIIRIP\XQGHUVWDQGLQJDVDIDFWXDO
     TXHVWLRQFDOOVIRUVSHFXODWLRQDQGH[SHUWWHVWLPRQ\          ZLWQHVVDQGLQIRUPDWLRQSURYLGHGWRPHE\P\VWDII
     ,W VDOVRFRPSRXQG                                            WKHUHZRXOGEHLQGLUHFWEHQHILWVWKDW\RXGHVFULEHG
     $6R,EHOLHYHLQP\HDUOLHUWHVWLPRQ\\RXDVNHG        4 %\0U1ROHQ 6RLI\RXOHDYHWKHJDWH
     PHDQG,DQVZHUHGWKDWZHZHUHDZDUHRIWKHSRWHQWLDO          FORVHGDQG\RXZHUHDVNHGDERXWWKLVE\0U0F*HKHH
     IRULQXQGDWLRQRIVWUXFWXUHVGRZQVWUHDPGXHWR                 HDUOLHU,I\RXOHDYHWKHJDWHVFORVHGZKDW\RXJHWLV
     FRQWUROOHGUHOHDVHV                                           ZDWHUJRLQJDFURVVWKHQRUWKHQGRI$GGLFNVDFURVVWKH
     4 %\0U1ROHQ %XW\RXKDGPDSSLQJWKDW               VSLOOZD\FRUUHFW"


                                                                                                          3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                                  A1182
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                                               &RORQHO/DUV=HWWHUVWURP

                                                                                                                        
      $<HV                                                  SDVVHGDORQJDFRXSOHRIWLPHVLWORRNVOLNH$QG
      45LJKW$QGLI\RXRSHQWKHJDWHV\RXUHOLHYH        WKRVHDUHQ WUHDOO\UHOHYDQWEXWLW VSDVVHGDORQJRQ
      WKDWSUHVVXUHXOWLPDWHO\EHFDXVHXOWLPDWHO\LWVWRSV           WKHVDPHGD\WR3HWH3HUH],PHDQWR5LFKDUG.DLVHU
      JRLQJDURXQGWKHHQGDQGMXVWIORZVGLUHFWO\WKURXJKWKH       IURP3HWH3HUH]DQGWKHQIURP3HWH3HUH]XOWLPDWHO\EDFN
      JDWHVULJKW"                                                  WR5REHUW7KRPDVDQG\RX$QG, PQRWVXUHZKDWWKH
      $&RUUHFW                                              KRZWKDW VRFFXUULQJEXWWKDW VWKHZD\ZHUHFHLYHGLW
      42ND\'LGWKHWHPSRUDU\JDWHIDLOXUHVLPSDFW         ,FDQ WPDNHKHDGVRUWDLOVRILWEXW,GRQ WWKLQN
      RSHUDWLRQV"                                                    LW VWHUULEO\UHOHYDQW
      $7HPSRUDULO\                                          'R\RXUHPHPEHUUHFHLYLQJWKHDWWDFKPHQWV"
     4%XWXOWLPDWHO\\RXZHUHDEOHWRRSHQWKRVH           $,UHPHPEHUUHYLHZLQJWKHVHGRFXPHQWV\HV
     JDWHVWRDOORZWKHZDWHUWREHUHOHDVHGULJKW"               4$OOULJKW6ROHW VORRNDWWKHGRFXPHQW
     $&RUUHFW                                             WLWOHG7URSLFDO6WRUP+DUYH\,QXQGDWLRQ7LPLQJ
     4:H OOJRWR([KLELW                              'RZQVWUHDPRI$GGLFNV'DP'R\RXVHHWKDW"
      ([KLELWPDUNHG                              $<HVVLU
     4 %\0U1ROHQ ([KLELWLVDQHPDLODQGLW       4:HOOWKH\ UHQRWWKHVDPH
     KDVDWWDFKPHQWV:HFDQPDUNWKRVHZLWKWKHHPDLO           $7KHVDPHWLWOHWKRXJKVLU7LPLQJLVWKHUH
     EHFDXVH,WKLQNLW VOHVVFRQIXVLQJ                          47KH\ORRNWKHVDPHEXWWKH\ UHDOLWWOH
     2ND\6RZKDW\RXVKRXOGKDYHWKHUHLVDQ      6RZH UHORRNLQJDWWKHRQHWLWOHG
     HPDLOFKDLQDQGWKHQ\RXZRXOGKDYHFRSLHVRI               7URSLFDO6WRUP+DUYH\,QXQGDWLRQ7LPLQJ'RZQVWUHDPRI
     DWWDFKPHQWVLQFRORUZKLFKZHFDQGLVFXVV                   $GGLFNV'DP'R\RXVHHWKDW"
     0512/(1,GRQ WWKLQN,JDYH\RXWKDW       $<HVVLU
     RQH                                                          41RZLWVD\V$XJXVWKRXUV
     056+$3,527KDQN\RX                        IRUHFDVWULJKW"
     4 %\0U1ROHQ $UH\RXUHDG\VLU"                   $<HVVLU
     $<HVVLU                                            4$QGWKHQLWVD\V0DS1RWHV,WVD\V0RGHOHG


                                                                                                                        
      46RLIZHVWDUWDWWKHEDFNRQ([KLELWLW V        VFHQDULRIRU$XJXVWLV$GGLFNVUHOHDVLQJ&)6DQG
      GDWHG$XJXVWWKSP'R\RXVHHWKDW       %DUNHUUHOHDVLQJ&)6ERWKGDPVUDPSLQJXSWR
      VLU"                                                           &)6ODWHULQWKHGD\7KHSRROVFRQWLQXHWRULVHZLWK
      $<HVVLU                                             ZDWHUHYHQWXDOO\JRLQJDURXQGWKHHQGVRIWKHGDPV
      4,W VDQHPDLOIURP(GPRQG5XVVRDQGLW VWR         )ORZVDURXQGWKHQRUWKHQGRI$GGLFNVSHDNDWDERXW
      5LFKDUG3DQQHOODQGVHYHUDORWKHUVLQFOXGLQJ\RXUVHOI        &)6)ORZVDURXQGWKHQRUWKHQGRI%DUNHUZLOOEHDERXW
      7KHVXEMHFW%XIIDOR%D\RXDQG$ %IORRGPDSSURGXFWV         &)6DQGOHVVWKDQ&)6DURXQGWKHVRXWKHQG
      'R\RXVHHWKDW"                                               'R\RXVHHWKDW"
      $<HVVLU                                             $<HVVLU
     4,WVD\V6LUVSHU\RXUUHTXHVWSOHDVHVHH         4$QGVRLIZHJRGRZQWRWKHSURMHFWLRQVKHUH
     OLQNEHORZIURPWKH%XIIDOR%D\RXIORRGPDSSURGXFW,W      LWJLYHVWKHLQXQGDWLRQWLPLQJGRZQVWUHDP,WVD\V
     GRHVQ WZRUNIRUPH6R,DWWDFKHGWKH3')RIWKHPDS        WLPHRILQLWLDOLQXQGDWLRQ,WPHDVXUHVLWLQIRRW
     IURP+&)&'+DUULV&RXQW\)ORRG&RQWURO'LVWULFWDQG       GHSWKVDQG\RXKDYHGLIIHUHQWFRORUV'R\RXVHHWKDW
     LWJLYHVWKHOLQN$OVRDWWDFKHGDUH$GGLFNVIORRGLQJ        VLU"
     JUDSKLFVWKDWZHEULHIHGODVWQLJKWDWWKHPHHWLQJ            $<HVVLU
     HQJDJHPHQW7KHVHDUHJRLQJWREHSRVWHGRQWKH6:*          46RRQ$XJXVWDWKRXUV\RX YHJRW
     ZHEVLWHLIQRWGRQHDOUHDG\*ODGWRGLVFXVVH[SODLQ        EOXHNLQGRIDOLJKWEOXH'R\RXVHHWKDW"
     WKHVHEDVHGRQZKDW,XQGHUVWDQGLVGHVLUHG95(GPRQG       $<HVVLU
     -5XVVR                                                    4:KDWGRHVWKDWLQGLFDWH"
     'R\RXUHPHPEHUUHFHLYLQJWKLVVLU"            $7RPHWKDWLQGLFDWHVWKHWLPHZKHQWKDWDUHD
     $,GRQRWEXW,GLG                                 KLJKOLJKWHGLQEOXHKDGJUHDWHUWKDQDIRRWRIZDWHU
     4<HV<RXEHOLHYH\RXGLGEDVHGRQWKHIDFW          4$OOULJKW$QGZH UHORRNLQJDWQRZDSUHWW\
     WKDW\RX UHFRSLHGRQLW"                                     ODUJHDUHD1RZLVWKDWWKHDUHDWKDWLVEHKLQGWKH
     $<HV                                                 UHVHUYRLU"
     4$OOULJKW$QGLIZHFRXOGDQGLWJHWV           $<HVVLU


                                                                                                         3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                              A1183
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                                                &RORQHO/DUV=HWWHUVWURP

                                                                                                                        
      \RXVD\"                                                       46RGLG\RXH[SOLFLWO\UHTXHVWDSSURYDOIURPKLP
      05($67(5%<:H UHJRLQJ                 WRGRWKHLQGXFHGVXUFKDUJHVRQRUDERXW$XJXVWWK
      FRQVHFXWLYHO\                                                 "
      056+$3,526RWKLVLVIROORZLQJ               $,GLGQRWDVNIRUKLVDSSURYDO,LQIRUPHGKLP
      7KRPDV V"                                                      RIZKDWDFWLRQV,LQWHQGHGRQWDNLQJ
      05($67(5%<7KRPDVDQGWKHQ-RKQVRQ          4$QGKHDSSURYHGRIWKRVH"
      0XLFDQGWKHQ+HLQOH\6RDQ\ZD\LW V                  $+HGLGQRWGLVDSSURYHRIWKHP
      4 %\0U(DVWHUE\ &RORQHO,EHOLHYHWKLVLV          4<RXKHDUGVRPHTXHVWLRQVLQ\RXUSULRU
      GDWHGLQRUDURXQG6HSWHPEHURIDOWKRXJKLWGRHV         WHVWLPRQ\DERXWVRPHRIWKHIORZWKDWZDVJRLQJDURXQG
     QRWKDYHDGDWHRQLW,WKLQNZHGHULYHGWKDWIURPWKH      WKHHQGRIWKHQRUWKHUQSRUWLRQRIWKH$GGLFNV
     ILOHUHYLHZ                                                  HPEDQNPHQW'R\RXUHFDOOWKDW"
     $UH\RXIDPLOLDUZLWKWKLVGRFXPHQWWKDW V      $<HVVLU
     EHHQPDUNHGDV([KLELW"                                   4,VLWFRUUHFWWKDWQRLPSRXQGHGIORRGZDWHU
     $,KDYHQRWSUHYLRXVO\VHHQLWQRVLU              DFWXDOO\RYHUWRSSHGWKHDX[LOLDU\VSLOOZD\VDQ\ZKHUHLQ
     4:KHQ\RXFDPHKHUHWR+RXVWRQDQGDVVXPHG            WKH$GGLFNVDQG%DUNHUHPEDQNPHQWVGXULQJRUDIWHU
     FRPPDQGZDVWKHUHRUZHUHWKHUHDQ\GHYLDWLRQ             +DUYH\"
     DSSURYDOVLQSODFHIRU$GGLFNVDQG%DUNHU"                    $,WLVFRUUHFWWKDWQRZDWHUIORZHGRYHUWKH
     $0\XQGHUVWDQGLQJWKDWZKHQ,WRRNFRPPDQGZDV        DX[LOLDU\VSLOOZD\V
     WKDWZHKDGDQH[LVWLQJGHYLDWLRQDSSURYHGIRU$GGLFNV        4$QGQRZDWHURYHUIORZHGDQ\RIWKHHPEDQNPHQWV
     DQG%DUNHUGDP                                               IRUWKDWPDWWHU,VWKDWULJKW"
     4$QGFRXOG\RXMXVWYHU\EULHIO\GHVFULEHZKDW        $7KHGDPVZHUHQHYHURYHUWRSSHG
     WKDWGHYLDWLRQDSSURYDOZDV"                                  46RZKHQWKHWD[GD\HYHQWRFFXUUHGZHUH\RX
     $6RDVXPPDU\RIWKDWGHYLDWLRQLVWKDWLQ            KHUHLQWKHRIILFHZRUNLQJDVSDUWRI\RXUWUDQVLWLRQ"
     FHUWDLQFRQGLWLRQVZHKDGWKHDXWKRULW\WRUHOHDVHXSWR      $,ZDVKHUHLQ$SULO,GRQ WUHFDOOWKHH[DFW
     FXELFIHHWSHUVHFRQGRIFRPELQHGRXWIORZVEHWZHHQ      GDWHV,ZDVKHUHIRUDIHZGD\VOHDUQLQJDERXWWKH


                                                                                                                        
      WKH$GGLFNVDQG%DUNHURXWOHWVWUXFWXUHVDQGDQ\ZDWHU         *DOYHVWRQGLVWULFWDQGRXUPLVVLRQV$VSDUWRIWKDW,
      WKDWZDVLQWKH%XIIDOR%D\RXZDWHUVKHGGRZQVWUHDPDW          GLGVHHRXU(2&LQRSHUDWLRQDQGGLGYLVLWWKHGDPV
      WKH3LQH\3RLQWJDXJH                                         ZKLOHWKH\GHWDLQHGZDWHUGXHWRWKHWD[GD\IORRG
      48QGHUVWRRG$QG,WKLQNPD\EHWKDWLV            46RWKH(2&ZDVLQRSHUDWLRQGXULQJWKHWD[GD\
      VSHDNLQJWRZKDW\RXMXVWGHVFULEHG,I\RXORRNDW           HYHQW"
      SDUDJUDSKRI*HQHUDO2EMHFWLYHVLWVWDWHVLQWKH       $<HVVLU
      WKLUGOLQHWKDWGLVFKDUJHVJUHDWHUWKDQ&)6              4:HUHWKHUHDQ\LQGXFHGVXUFKDUJHVGXULQJRU
      UHTXLUHDXWKRUL]DWLRQE\WKHGLYLVLRQHQJLQHHUFRUUHFW"       DIWHUWKHWD[GD\ZHDWKHUHYHQWUHODWLQJWRWKH$GGLFNV
      $<HVVLU                                             DQG%DUNHUGDPVDQGUHVHUYRLUVWR\RXUNQRZOHGJH"
     46RGXULQJ+DUYH\RQRUDERXW$XJXVWWK       $1RVLU
     GLG\RXREWDLQDSSURYDOIURPWKHGLYLVLRQHQJLQHHUWR         46RWKH$XJXVWWKLQGXFHGVXUFKDUJHV
     LQLWLDWHWKHLQGXFHGVXUFKDUJHUHOHDVHV"                      WKDWZDVWKHILUVWWLPHWKDWLWKDSSHQHGLQWKHOLIHRI
     $6RWKHUHTXLUHPHQWLVIRUDGHYLDWLRQIURPWKH       WKHVHVWUXFWXUHV"
     ZDWHUFRQWUROPDQXDO7KHZDWHUFRQWUROPDQXDOWKHZD\      $<HVVLU
     LW VZULWWHQZRXOGDOORZDQGGLUHFWDQGUHFRPPHQGWKDW       4*HWWLQJEDFNWRP\SULRUTXHVWLRQVDERXW
     WKHVXUFKDUJHRSHUDWLRQVEHJLQ                               GHYLDWLRQDSSURYDOVKDYH\RXHYHUEHHQDVNHGWRJUDQW
     46R\RXZRXOGQRWQHHGWRJHWDGHYLDWLRQ             GHYLDWLRQDSSURYDOVVLQFH\RXDVVXPHGFRPPDQGEDFNLQ
     DSSURYDOIRUWKRVHLQGXFHGVXUFKDUJHVEHFDXVHWKH\ UH         -XO\RI"
     DOUHDG\DSSURYHGLQWKHZDWHUFRQWUROPDQXDO"                 $, YHQHYHUEHHQDVNHGWRJUDQWDGHYLDWLRQ
     $<HVVLU                                            4$QGDUH\RXFRQYHUVDQWZLWKWKHSURFHGXUHVDQG
     43XWWLQJWKDWDVLGHGLG\RXVHHNRUREWDLQ           SURWRFROVIRUUHTXHVWLQJDQGDSSURYLQJVXFKGHYLDWLRQV"
     DSSURYDODQ\ZD\IURP%ULJDGLHU*HQHUDO2ZHQ"                  $,GRQRWKDYHWKHDXWKRULW\WRDSSURYHD
     $,EULHIHGP\FRPPDQGHUDVWRZKDWZHZHUHJRLQJ      GHYLDWLRQ8QGHUP\UHVSRQVLELOLW\P\VWDIIZRXOG
     WRGRDQGPDGHKLPDZDUHRIWKHQHFHVVDU\DFWLRQVWKDW        UHTXHVWDGHYLDWLRQWRVRXWKZHVWHUQGLYLVLRQIRU
     ZHZHUHJRLQJWRWDNH                                        DSSURYDOE\*HQHUDO2ZHQ


                                                                                                        3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                              A1184
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                                                &RORQHO/DUV=HWWHUVWURP

                                                                                                                       
      RZQHGODQG"                                                    05($67(5%<7KDWUHDOO\LVDVSHDNLQJ
      $,XQGHUVWDQGWKDWWKHUHZDVVRPHDPRXQWRI            REMHFWLRQ%LOO
      ZDWHUWKDWGLGOHDYHJRYHUQPHQWRZQHGODQGGXULQJWKH          4 %\0U(DVWHUE\ <RXFDQDQVZHUWKHTXHVWLRQ
      WD[GD\IORRG                                                 DV,DVNHGLW
      4'R\RXNQRZZKHQWKH&RUSVRI(QJLQHHUVILUVW         $6RWKHWHUPIHGHUDOZDWHU,GRQ WNQRZKDVDQ
      FRPPXQLFDWHGWRWKHSXEOLFWKDWLWIRUHFDVWLPSRXQGHG          RIILFLDOPHDQLQJEXW,EHOLHYHWKDWLWLPSOLHVWKDW
      UXQRIIZRXOGJRRIIRIJRYHUQPHQWRZQHGODQGDQGLQWR          XSRQGHWHQWLRQRIZDWHUWKDWZHDUHPDQDJLQJWKDW
      WKHSULYDWHO\RZQHGXSVWUHDPWUDFWVWKDWDUHDGMDFHQWWR       ZDWHU
      JRYHUQPHQWRZQHGUHVHUYRLUODQG"                               46XUH,PHDQWKRVHHPEDQNPHQWVDUHWKHUHWR
     $,GRQRW                                            KROGEDFNUXQRIIWKDWRWKHUZLVHZRXOGIORZGRZQVWUHDP
     4:HUH\RXSK\VLFDOO\KHUHLQ+RXVWRQRU               ULJKW"
     *DOYHVWRQGXULQJWKHHQWLUH+DUYH\HYHQW"                     $<HVVLU
     $,ZDV                                               4$QGWKDW VUHDOO\WKHSUHVFULEHGZDWHU
     4$QGZHUH\RXLQWKH$GGLFNVILHOGRIILFH             PDQDJHPHQWSROLF\LVWRXVHWKRVHHPEDQNPHQWVWRKROG
     EHWZHHQ$XJXVWWKDQG6HSWHPEHUVW"                        EDFNUXQRIIWRPLWLJDWHDJDLQVWGDPDJLQJIORRGVWDJHV
     $,GHSOR\HGIURPWKLVKHDGTXDUWHUVWRWKH%DUNHU      IRU'RZQWRZQ+RXVWRQDQGWKH3RUWRI+RXVWRQFRUUHFW"
     GDPRIILFHRQWKH0RQGD\DIWHU+XUULFDQH+DUYH\PDGH          $<HVVLU
     ODQGIDOO,GRQ WUHFDOOWKHH[DFWGDWH                     4:HUH\RXKHUHZKHQWKHFRQVWUXFWLRQSURMHFWWR
     42ND\,WKLQN0RQGD\ZDVWKHWK6R\RX          LQVWDOOWKHQHZRXWOHWVWUXFWXUHVFRPPHQFHGLQ"
     ZHUHWKHUHRQVLWHIRUDIHZGD\VDQGWKHQ\RXFDPH          $7KHSURMHFWVFRPPHQFHGSULRUWRPHDVVXPLQJ
     EDFNWR*DOYHVWRQ"                                            FRPPDQGEXW,KDYHEHHQKHUHWKURXJKWKHHQWLUHSHULRG
     $,ZDVRQVLWHIURPWKDW0RQGD\LILWZDVWKH        VLQFHDVVXPLQJFRPPDQGIRUWKRVHFRQVWUXFWLRQSURMHFWV
     WKXQWLOWKHIROORZLQJ)ULGD\                             4$QGZDVWKHZRUNWRLQVWDOOWKRVHQHZRXWOHWV
     46RWKRVHILYHGD\VRUDUH\RXVD\LQJWZRZHHNV"      RQJRLQJZKHQ+DUYH\PDGHODQGIDOORQRUDERXW
     $, PVD\LQJWKRVHILYHGD\V                          $XJXVWWK"


                                                                                                                       
      48QGHUVWRRG                                           $<HVVLU
      $$WWKHUHVHUYRLU                                     4$QG, PVXUHWKHZRUNKDGWREHVXVSHQGHG
      4$QGDIWHUWKDWGLG\RXFRPHEDFNKHUHWR              EHFDXVHRIWKDW"
      *DOYHVWRQRUGLG\RXJRVRPHZKHUHHOVH"                       $<HVVLU
      $,FDPHEDFNKHUHWR*DOYHVWRQVLU                   4'R\RXNQRZZKHQLWUHFRPPHQFHGURXJKO\"
      4:LWKUHVSHFWWR([KLELWGR\RXNQRZLI           $,EHOLHYHLQ2FWREHURI
      WKDWLVVKDUHGRXWVLGHRIWKH&RUSVRI(QJLQHHUV              4$QGGR\RXKDYHDQXQGHUVWDQGLQJDVWRZKHQ
      PHDQLQJLVWKDWGLVVHPLQDWHGWR+DUULV&RXQW\)ORRG            LW VVXSSRVHGWREHFRPSOHWHG"
      &RQWURO'LVWULFWRUDQ\ERG\HOVH"                              $&XUUHQWO\E\WKHVFKHGXOHLWZLOOEHFRPSOHWHG
     $,GRQRW                                            LQ$SULORI
     4<RXGRQ WNQRZ"                                      42WKHUWKDQWKDWDUHWKHUHDQ\RWKHUDSSURYHG
     $1RVLU                                             PRGLILFDWLRQVWRWKH$GGLFNVDQG%DUNHUGDPVDQG
     4,Q\RXUSULRUWHVWLPRQ\,WKLQNWKHUHZHUHVRPH      UHVHUYRLUVSUHVHQWO\"
     TXHVWLRQVDQGVRPHUHVSRQVHVDERXWIHGHUDOZDWHU'R         $1RVLU
     \RXUHFDOOWKDW"                                              4$QG,EHOLHYH\RXWHVWLILHGHDUOLHUDERXWD
     $<HVVLU                                            VWXG\WKDWLVHLWKHUEHLQJSURSRVHGRULVXQGHUZD\'R
     4$QGLVLWFRUUHFWWKDWWKHLPSRXQGHGUXQRII          \RXUHFDOOWKDW"
     WKDWLVEHKLQGWKH$GGLFNVDQG%DUNHUHPEDQNPHQWVLV          $<HVVLU
     IHGHUDOZDWHU"                                                4,VLWEHLQJSURSRVHGRULVLWXQGHUZD\"
     056+$3,52:HOO, OOREMHFW7KHWHUP      $,WZDVDXWKRUL]HGDQGDSSURSULDWHGE\WKH
     LVYDJXH                                                     %LSDUWLVDQ%XGJHW$FW:HUHFHQWO\UHFHLYHGIXQGVDQG
     4 %\0U(DVWHUE\ <RXFDQDQVZHU                    DFWXDOO\,EHOLHYHWRGD\ZDVWKHILUVWGD\WKDWWKDW
     056+$3,52,I\RXPHDQWKDWWKHIHGHUDO      VWXG\RIILFLDOO\FRPPHQFHG
     JRYHUQPHQWRZQVLWWKHQ,REMHFWEHFDXVHLWZRXOGFDOO       4'RHVWKHVWXG\KDYHDQDPH"
     IRUDOHJDOFRQFOXVLRQ                                       $,WLVFDOOHGWKH%XIIDOR%D\RX 7ULEXWDULHV


                                                                                                        3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                             A1185
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                                               &RORQHO/DUV=HWWHUVWURP

                                                                                                                       
      VRPHWKLQJZKHUHDQH[WHUQDOQHZVVRXUFHRUVRPHERG\            FRPPXQLFDWHGWRWKHSXEOLFE\'U5XVVRZRXOGWKHUH
      SRVWHGWKLVLQIRUPDWLRQDQGWKH&RUSVRI(QJLQHHUV             KDYHEHHQD&&,5FUHDWHGLQFRQQHFWLRQZLWKWKDW"
      FDXJKWLWRULVWKLVUHODWLQJWRWKH&RUSVRI                 $,GRQRWNQRZ
      (QJLQHHUV RZQSUHVVUHOHDVHRULWVRZQQHZV                   46RLQWKH(1*\RXFDOOHGLW(1*/LQN"
      LQIRUPDWLRQ"                                                   $(1*/LQN
      056+$3,522EMHFWWRWKHIRUPRIWKH          4(1*/LQNLV, PJXHVVLQJVRPHNLQGRISODWIRUP
      TXHVWLRQ,W VFRPSRXQG                                      WKDW\ DOOKDYHDFFHVVWRKHUHDWWKH&RUSV"
      $7KLVGRFXPHQWLQWKLVIRUPDWLVIRUFRPPDQGDQG       $<HVVLU
      FRQWUROSXUSRVHVDQGSURYLGLQJLQIRUPDWLRQXSWKHFKDLQ        4$QGVR\RXFDQJREDFNLI\RXZDQWWRDQGSXOO
     RIFRPPDQGIRUWKHLUDZDUHQHVV                               WKHVHNLQGVRIUHSRUWVIRUDQ\WLPHSHULRGDURXQGDQ\
     4 %\0U(DVWHUE\ ,WVD\VGRZQKHUHXQGHU            WRSLF"
     5HPDUNV-RLQWSXEOLFUHOHDVHWRPHGLDZLWKRXU              $<HVVLU
     VSRQVRU+DUULV&RXQW\)ORRG&RQWURO'LVWULFW'R\RX       42ND\
     VHHWKDW"                                                      ([KLELWPDUNHG
     $1RVLU                                             4 %\0U(DVWHUE\ /HWPHKDQG\RXZKDW VEHHQ
     45LJKWDERYH'HVFULEHDQ\,QIRUPDWLRQ5HOHDVHG        PDUNHG([KLELWLVDQHPDLOGDWHG$XJXVWWK
     WRWKH3XEOLF"                                                IURP0DULR%HGGLQJILHOGWRDODUJHGLVWULEXWLRQ
     $<HVVLU                                            JURXSFRS\LQJ\RXFRUUHFW"
     47KHQLWVD\V'HVFULEHDQ\,QIRUPDWLRQ5HOHDVHG       $<HVVLU
     WRWKH3XEOLFFRUUHFW"                                       46RLI\RXORRNGRZQLWDSSHDUVWKDWRQ
     $<HVVLU                                            $XJXVWWKDWSP\RXVHQWDQHPDLO
     4, PDVVXPLQJWKDW VSDUWRIWKHDFWXDOIRUPLV       VD\LQJ)LQDOQHZVUHOHDVHIRULPPHGLDWHUHOHDVH
     WRGHVFULEHDQ\LQIRUPDWLRQUHOHDVHGWRWKHSXEOLF"           FRUUHFW"
     $7KHEOXHRUSXUSOHDUHILHOGVLQWKHRQOLQH          $<HVVLU
     GDWDEDVHWREHILOOHGDQGWKHEODFNGDWDLVZKDWZDV         4$WWKLVWLPHZDVLW\RXUFXVWRPDU\SUDFWLFHWR


                                                                                                                       
      LQSXWWHGE\0U%URZQ                                         DSSURYHDOOWKHQHZVUHOHDVHVWKDWZHQWRXWIURPWKLV
      48QGHUVWRRG6RXQGHUWKH'HVFULEH$Q\                GLVWULFW"
      ,QIRUPDWLRQILHOGLWVD\V7KHIROORZLQJWDONLQJSRLQWV       $<HV,UHYLHZHGWRP\NQRZOHGJHDQG
      DUHXVHG$QGWKHQLWKDV$GGLFNVDQG%DUNHUWDONLQJ         UHFROOHFWLRQ,UHYLHZHGDOOSUHVVUHOHDVHVGXULQJ
      SRLQWVGDWHG$XJXVWWKKRXUVFRUUHFW"           +XUULFDQH+DUYH\
      $<HVVLU                                             4$QGDOOWKRVHSUHVVUHOHDVHVFRQWDLQHGDFFXUDWH
      4,KDYHQ WGRQHDQH[DFWFRPSDULVRQRI                 LQIRUPDWLRQ"
      ([KLELW VWDONLQJSRLQWVLQWKHSULRUH[KLELWEXW         $<HV
      LWDSSHDUVWRPHWKDW([KLELW VWDONLQJSRLQWVGR          056+$3,52&RXQVHOZKDWDUHZHGRLQJ
     QRWKDYHWKHVSHFLILFHOHYDWLRQVFRQWDLQHGLQWKHSULRU       KHUH"7KLVLVDWOHDVWWKHWKLUGWLPHGXULQJWKLV
     H[KLELW'R\RXVHHWKDW"                                    GHSRVLWLRQZH YHVHHQWKLVQHZVUHOHDVH&DQZH
     $6RDUH\RXVD\LQJWKDWWKHWDONLQJSRLQWVKHUH       05($67(5%<+DYH,DVNHGKLPDVLQJOH
     GRQRWKDYHWKHVDPHLQIRUPDWLRQDVWKLV"                     TXHVWLRQDERXWWKDWQHZVUHOHDVHEHIRUHQRZ"+DYH,"
     47KDW VH[DFWO\ZKDW, PVD\LQJ                      056+$3,52:HOOLWFDPHXSWZLFHLQ
     $6R,ZRXOGDJUHHZLWKWKDWDVVHVVPHQWVLU,       WKHGRZQVWUHDPGLVFXVVLRQILUVWDVDEORZXS
     ZRXOGKDYHWRORRNDWWKHGDWHWLPHRIWKLV6,5FRPSDUHG      05($67(5%<, PQRWJRLQJWRGHEDWH
     WRWKHRQHLQWKLVGRFXPHQW                                  ZLWK\RX-XVWEHPLQGIXOWKDWZHKDYHVHSDUDWHFDVHV
     45LJKW:HOOWREHIDLUWKHWDONLQJSRLQWV         ZLWKVHSDUDWHMXGJHVDQGVR,KDYHWRPDNHDUHFRUG,
     WKDWDUHVXPPDUL]HGLQ([KLELWDSSHDUWRUHODWHWRD      FDQ WUHO\RQWKHSULRUWHVWLPRQ\IRUP\FDVHLQDOO
     GLIIHUHQWGDWHWKDQWKHSULRUH[KLELWGLGRQ                  H[WHQWVDQGSXUSRVHV$OOULJKW"
     $XJXVWWKDQGLV$XJXVWWKFRUUHFW"                 056+$3,52,GRQ WNQRZZKDWWKDW
     $<HVVLU                                            PHDQV:H UHFRRUGLQDWLQJGLVFRYHU\KHUH$OO, P
     42ND\6ROHWPHDVN\RXWKLVTXHVWLRQ              VD\LQJLVLW VQHDUO\DQGWKLVLVWKHWKLUGWLPH
     &RORQHO$V\RXWHVWLILHGSUHYLRXVO\LIWKHWDONLQJ         ZHKDYHVHHQWKLVQHZVUHOHDVH
     SRLQWVWKDWDUHLQ([KLELWKDGEHHQWUDQVSDUHQWO\         05($67(5%<<RX YHOLWHUDOO\VSHQWPRUH


                                                                                                        3DJHVWR

             6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                              A1186
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                                                &RORQHO/DUV=HWWHUVWURP

                                                                                                                         
      WLPHWDONLQJDERXWLWWKDQ,GLG                              46RWRNQRZWKHLQIRUPDWLRQWKDW VDVFULEHGWR
       ([KLELWPDUNHG                              \RXKHUH\RXZRXOGKDYHWRNQRZZKDWWKHDPRXQWRI
      4 %\0U(DVWHUE\ /HWPHKDQG\RXZKDW VEHHQ         LQIORZVWRWKHUHVHUYRLUVZHUHFRUUHFW"
      PDUNHGDV([KLELWLVDQHPDLOGDWHG                 $<HVVLU
      $XJXVWWKIURP0DULR%HGGLQJILHOGWRDODUJH           4$QGLVLWFRUUHFWWKDWEXWIRUWKH$GGLFNVDQG
      GLVWULEXWLRQJURXSWDONLQJDERXWEHJLQQLQJWKHUHOHDVHV       %DUNHUHPEDQNPHQWVDFFRUGLQJWRWKLVDQ\ZD\GXULQJWD[
      6RLWVD\VWKDWZHZLOOVWDUWZLWK%DUNHU        GD\WKHUHZRXOGKDYHEHHQFXELFIHHWSHUVHFRQG
      ILUVW5DWHRIULVHKDVLQFUHDVHGGUDPDWLFDOO\LQWKH         JRLQJGRZQVWUHDPXQLPSHGHG"
      ODVWIHZKRXUV'R\RXVHHWKDW"                              $<HVVLU
     $<HVVLU                                            4$QGWKHHPEDQNPHQWVKHOGDOOWKDWZDWHUEDFN"
     4$QGGR\RXUHFDOOZKHWKHURUQRW\RXUHFHLYHG        $<HVVLU
     WKLVHPDLOWKDWLV([KLELW"                              4'R\RXKDYHDQ\LGHDKRZWKH&RUSVRI(QJLQHHUV
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     UHFDOOUHFHLYLQJLWQR                                      UHVHUYRLUV"
     46RZHUH\RXGLUHFWO\LQYROYHGLQWKHGHFLVLRQ        $,KDYHDQLGHD\HVVLU
     WRPDNHWKHVXUFKDUJHUHOHDVHVLQWKHHDUO\PRUQLQJ           4<RX UHDSURIHVVLRQDOHQJLQHHUFRUUHFW"
     KRXUVRI$XJXVWWK"                                         $<HVVLU
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     4-XVWYHU\EULHIO\FDQ\RXMXVWWHOOXVDERXW         $<HVVLU
     WKDW":DVLWPLGQLJKWLQWKHPRUQLQJDQG\RXJRW      4$QGGR\RXKDYHDQ\HGXFDWLRQWUDLQLQJ
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     $0\UHFROOHFWLRQLVWKDWZHKDGGLVFXVVHGWKLV        $'XULQJP\EDFKHORU VGHJUHHFXUULFXOXP,
     WKHHYHQLQJHDUOLHUWKHHYHQLQJRIWKHGD\SULRUWKDW       VWXGLHGK\GURORJ\DQGK\GUDXOLFV
     WKHUHZRXOGEHWKHOLNHOLKRRGIRUUHOHDVHVDQGZKDW           42ND\6RZK\GRQ W\RXWHOOXVEULHIO\ZKDWLV
     FRQGLWLRQVWKRVHUHOHDVHVZRXOGEHDSSURSULDWH$QG          \RXUXQGHUVWDQGLQJRIKRZWKH&RUSVRI(QJLQHHUV


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      WKLVLVDQRWLILFDWLRQWKDWWKRVHFRQGLWLRQVKDGEHHQ          FDOFXODWHVZKDWLQIORZVDUHWRWKH$GGLFNVDQG%DUNHU
      UHDFKHG                                                       UHVHUYRLUV"
      4$QGWKRVHFRQGLWLRQVZRXOGEHWKHSUHVFULEHG          $6RJHQHUDOO\VSHDNLQJWKH\ZRXOGWDNH
      FRQGLWLRQVLQWKHZDWHUFRQWUROPDQXDO"                   UDLQIDOOWKDWZDVPHDVXUHGWRKDYHIDOOHQLQWKH
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      EHHQPDUNHGDV([KLELWLVDQ$XJXVW         4,VLWFRUUHFWWKDWWKHUHDUHQRWJDXJHVRQDOO
      SUHVVUHOHDVH1RDQG,EHOLHYHWKDW\RXKDGVRPH       RIWKHWULEXWDULHVWKDWFRPHLQWRWKH$GGLFNVDQG%DUNHU
     SULRUTXHVWLRQVDERXWWKLV                                   UHVHUYRLUVIURPWKH$GGLFNVDQG%DUNHUZDWHUVKHGV"
     ,ZDQWWRGLUHFW\RXUDWWHQWLRQWRWKH          $,GRQRWNQRZ
     VHFRQGSDJHRIWKLVH[KLELWILUVWSDUDJUDSKWKDWVD\V       4$QGZKRGR\RXWKLQNDWWKH&RUSVRI(QJLQHHUV
      7KLVIORRGHYHQWZLOOH[FHHGWKHWD[GD\IORRG         ZRXOGKDYHWKHPRVWNQRZOHGJHRQWKDWWRSLFWKDWWRSLF
     HOHYDWLRQV =HWWHUVWURPVDLG 'XULQJWKHWD[GD\      EHLQJWKHDPRXQWRILQIORZVWKDWJRLQWR$GGLFNVDQG
     IORRG$GGLFNVDQG%DUNHUGDPVUHGXFHG%XIIDOR%D\RX V         %DUNHU"
     SHDNGLVFKDUJHIURP&)6WR&)6                $7KDWZRXOGEH0U5RE7KRPDV
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     WKDWTXRWHWKDW VDVFULEHGWR\RX"                            05($67(5%<7KLVLVWKHRQH\RX
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     LVWKDWWKLVZDVIURPSUHYLRXVPRGHOLQJIURPWKHWD[GD\      $<HVVLU
     VWRUP                                                        4$QGVRLW V\RXUWHVWLPRQ\WKDW\RXGRQ W


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                                          VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

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  BARKER (TEXA           FLOOD CONTROL                  )
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  THIS DO '.UMENT RELATES TO!                            )
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  ALL DOWN TRBAM CASES




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  nolices (see ECF No. 27- l) ' n (I e contcx.t of Pfai tHT'r. cnrre.nt 30(b)(6) Amendtid               tioc.

          The United une · des,ignntcs the Ji ted witnesses subject ilo the objection inte.q,oscd

  be.low. TI1 persons designated wilJ les:tify w ti1 I': topic.i;; to , h±ch Uiey hav been usf gned.

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       7KH8QLWHG6WDWHV¶ZLWQHVVHVZLOOQRWRIIHUOHJDORSLQLRQVRUFRQFOXVLRQV

       7KHGHSRVLWLRQLVQRWD5XOH E  GHSRVLWLRQVRWKH8QLWHG6WDWHV¶GHVLJQHHVDUHQRW

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VSHFLILHGEHORZWKH8QLWHG6WDWHVGHVLJQDWHVWKHIROORZLQJLQGLYLGXDOVWRWHVWLI\WRWKHPDWWHUVDV

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       7KH8QLWHG6WDWHVREMHFWVWRDQ\WRSLFVUHTXHVWLQJWHVWLPRQ\³LQFOXGLQJEXWQRWOLPLWHG

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VSHFLILFDOO\HQXPHUDWHGLQUHDVRQDEOHSDUWLFXODULW\LQWKHGHSRVLWLRQQRWLFH

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3ODLQWLIIV¶ E  $PHQGHG1RWLFHDQGWKHVHWHUPVDVGHILQHGLQWKHXSVWUHDP3ODLQWLIIV¶

5&)& E  GHSRVLWLRQQRWLFHDUHLQFRQVLVWHQWZLWKWKHRUGLQDU\XVDJHRIWKH8QLWHG6WDWHV

$UP\&RUSVRI(QJLQHHUVDQGWKHUHIRUHFUHDWHVWKHSRVVLELOLW\RIFRQIXVLRQ7KHIDFWWKDW

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7KH8QLWHG6WDWHVZLOOREMHFWLIWKHVHWHUPVDUHQRWGHILQHGDWGHSRVLWLRQ

             '(6,*1$7,212):,71(66(6$1'63(&,),&2%-(&7,216

       1. The organizational structure and chain of command for the USACE’s maintenance
          and operation of the Barker and Addicks reservoirs and dams on August 27, 2017.

7KH8QLWHG6WDWHVGHVLJQDWHV5REHUW7KRPDV

       2. The organizational structure and chain of command for the USACE’s maintenance
          and operation of the Barker and Addicks reservoirs and dams from 2012 to August
          27, 2017.

7KH8QLWHG6WDWHVGHVLJQDWHV5REHUW7KRPDV


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         3. Th~ organizah'onal structul'e and chain ofoommondfor the USA<.:.'E'$ maintemmc:f!
            011d operatirm of1"1c JJurku and Ad,llr:ks res-en•oirs cmd dam.f al all time -siHce
             August 27. 201 7.

  11m Uniood States designales Roben Thomas.

         4. The genem.l hl.s.l ory ofthe. Barke.r mid Addicks n:servofr,~ and dams including l'11cir
            initial crm /ruction, the iustaT/ation -r;Jfgr1tes, ml.vin g oftbc emba11kment, addition of
            concrete , pillwuys, upgrtic/~ t'o ,,,,. gate tructure, ar,d rcwi ·iol'l!. lo operation.v
            procedures (indutling Wo(,er O>ntrol Manuals) by I.he USACE ·iJice inC1Iptio11.

  The United Stet~ designate~ Robert Thomas.

         5, Thi: «xlsteru::e, nah1re, metlrodoiogyi and extent,, of auy It dro.logic re· ean:1r and
             modeling conclu,:lt:d by USACE employees. inc.-./.udJng but nn.t llr1.1i'led to the MM·
             PnJductlon eme,•, shat was conductedfrom 2012 to A ,gust 27, 2017 re.luted lo the
             Barker an.ti Ad,licks 1'/!Serw,ir. · mu{ dam. • down~tt,,wm l',l:llft:r fl.ow. atJd ptojec::lcd
             re ulilngprop<1rty lo · or damag .

  111e United tat.es designates Robert Thomas to provide te.stimc:my only with mspeot to thcm-
  ,e xisling rnorfa.ling done 1111:d dm::-urnented by the United Smtes Anny Corps of Engineers
  concerning tht, extent and 8ftl ct of inundation re-nted to the Burker and Add'cks dmns 8Jtd
  dbwrutr-eam w.ater flows.

          6. The exts1e,.1ce.., natllr-e, melhqdology. and e:i:tcnt ofany hydr:ologic rese,1rch and
             madalihg condt1cled by US,1CE employees, including bw nor limited t(J the .MMC
             Produc:lion Center, ihtJI was cond11ctedjfom AugrJSt 27, 2017 to the pre.rent relaied to
             the Barker (111d Addicks reservoirs and darns, down treom w.arerflowi and projected
             ,-esu!tingproperty lo:,~ or damage.

  The United States designate· Robert Thomas to proVide Lc. limony only ,..,,j h respect to .11ri.i-
  litigalio11 modeling (or My modeling or an:Jysfa dom:i. ool at.the requesl of cou11:sel) by the
  United ,lutes Army Corps of Engineers oonc:-emiDg the extent and allec:t of inundation related to
  the Barker and Acldfo)<.<. drum. and down. lroom water now'S.

          7. The iden'fitie ofUSACE division, employees, ngems, anrUor Jhird~ptl!·ty t'Oflll'aCtors
             who were i11vol11ad' in anp way In lhe creation ofan)I and all USACE docmnents being
             produced ln lhis litigor 011 by the Defendant

  The Unit•d States objects to the request as overbroad, unduly burdensoml.l .ind 1a king
  rcasonuble particuJarity as it purports to rl:'{Juire knowledge and testimony abo1.1r the ulhors,
  consllilta.nts, and re\liewcrs ortbousands of documents spnnning n1ore lhan 10 yell!fS.

          8. The employment J1l.story and a111ploymentfile ,o f Unl1-ed S'ta1&'i .Al'lny Corp of
             EngineBrs' emplny •c Ricltord lo;1g.




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7KH8QLWHG6WDWHVREMHFWVWRWKLVUHTXHVWDVGXSOLFDWLYHRI3ODLQWLIIV¶SULRUUHTXHVWVDQG
LQDSSURSULDWHIRUD5&)& E  GHSRVLWLRQQRWLFH3ODLQWLIIVKDYHDOUHDG\GHSRVHG5LFKDUG
/RQJLQKLVLQGLYLGXDOFDSDFLW\

       9. Person(s) knowledgeable regarding the design and construction of the Addicks
          Reservoir and Barker Reservoir, including but not limited to knowledge regarding:

7KH8QLWHG6WDWHVREMHFWVWRWKHUHTXHVWIRUWHVWLPRQ\DERXWWKHGHVLJQDQGFRQVWUXFWLRQRIWKH
$GGLFNVDQG%DUNHUGDPV³LQFOXGLQJEXWQRWOLPLWHGWR´DQ\WRSLFVQRWVSHFLILHGLQ3ODLQWLIIV¶
 E  $PHQGHG1RWLFHDVODFNLQJUHDVRQDEOHSDUWLFXODULW\UHTXLUHGIRUWKH8QLWHG6WDWHVWR
GHVLJQDWHDQGSUHSDUHDZLWQHVVIRUWHVWLPRQ\ 7KH8QLWHG6WDWHVDOVRREMHFWVWRWKHUHTXHVWDV
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WKHOLVWHGVXEMHFWVRUWHVWLPRQ\DERXWWKHVXEVWDQWLYHLQIRUPDWLRQOLVWHG²LHGHVLJQDQG
FRQVWUXFWLRQRIWKHGDPV

           a.     Specific areas of Houston that the reservoirs were intended to protect;

7KH8QLWHG6WDWHVGHVLJQDWHV5REHUW7KRPDV

           b.    Modeling or other data reflecting—at the time of construction—the extent to
                 which the reservoirs were designed to protect those areas, and any future
                 development in those areas.

7KH8QLWHG6WDWHVGHVLJQDWHV5REHUW7KRPDV

      10. Person(s) knowledgeable regarding maintenance of the Addicks Reservoir and
          Barker Reservoir, including but not limited to knowledge regarding:

7KH8QLWHG6WDWHVREMHFWVWRWKHUHTXHVWDVRYHUEURDGDQGODFNLQJUHDVRQDEOHSDUWLFXODULW\DVLW
SXUSRUWVWRUHTXLUHNQRZOHGJHDQGWHVWLPRQ\DERXWDQ\DQGDOOPDLQWHQDQFHDQGWKHFRQGLWLRQRI
SURMHFWVWKDWKDYHEHHQLQH[LVWHQFHIRU\HDUV7KH8QLWHG6WDWHVREMHFWVWRWKHUHTXHVWIRU
WHVWLPRQ\DERXWPDLQWHQDQFHRIWKH$GGLFNVDQG%DUNHUGDPV³LQFOXGLQJEXWQRWOLPLWHGWR´DQ\
WRSLFVQRWVSHFLILHGLQ3ODLQWLIIV¶ E  $PHQGHG 1RWLFHDVODFNLQJUHDVRQDEOHSDUWLFXODULW\
UHTXLUHGIRUWKH8QLWHG6WDWHVWRGHVLJQDWHDQGSUHSDUHDZLWQHVVIRUWHVWLPRQ\7KH8QLWHG
6WDWHVDOVRREMHFWVWRWKHUHTXHVWDVYDJXHEHFDXVHLWLVXQFOHDUZKHWKHU3ODLQWLIIVVHHNWHVWLPRQ\
DERXWSHUVRQVNQRZOHGJHDEOHDERXWWKHOLVWHGVXEMHFWVRUWHVWLPRQ\DERXWWKHVXEVWDQWLYH
LQIRUPDWLRQOLVWHG²LHPDLQWHQDQFHRIWKHGDPV

           a. Monitoring of the condition of the reservoirs from 2012 through September 26,
              2017;

7KH8QLWHG6WDWHVGHVLJQDWHV5REHUW7KRPDV

           b. Regular maintenance on the dams, gates, etc. from 2012 through August 27, 2017;

7KH8QLWHG6WDWHVGHVLJQDWHV5REHUW7KRPDV


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                 l't!ason for any szwh n01Hvmplit#o11 ftom 20'12 thnmgh August 27. 201 7: and

  The United Stales ubjc:c.ts ln the requesl as lack,ing reasonable ptuticuluity as it provides no
  details with respect to the types af mainhmance pl.iojects abou which tes imony ·s de.sired and
  pmpons to require knawfo:dgc. 11nd i~slimony about potential dam maintcnm1oe projects ofan
  wIB~ified nuh,ire, .ubjcct to and without waiving the objec:tio11, tin::. United States designates
  RoberL Thomus to res ify about illntcturnl or operational changes mmlyzod or documented by the
  United · tate Army Corp_ of Eugi 11e~m;.
              d. Concerns '1bo111 de£! i11i:ng ar deJ •riomring condit on ofany parts of the resewJiOirs
                 Jfom ~0'12 thl'ough S,ptet11br1r 26, 2017.

  The United tates designates Robert Thomas.

         I J. Per~on(s) knowledgeal,le rf!ga:rding improvemel'Us that w:ere planned, con. ·idcred, or
              impl,E:menled by the United States, its agents and/or rcpr.e:sental ive..iJw· the: Addicks
              Rese,wh• at1ef Barki!r Reservoir. including h11t nm ilmited to b1owledgc regarding.·

  The United Staies obj ecl:s to the request for testimony .a bout llllSpcc ified improvements.,of ·tbe
  Addicks and Barker dams ''including bul: not limite I ~o' ony topics nol ispecrned in .PJaintiffs
  30(b)(6) Amonded otioe ns la.eking reasonabl~ particularity requited or the United tates to
  deslgnatc a11d prepa~ a witness for testimony. The United State. also obj:ecls to the request as
  vague bocause t 1s unolea:r whotl.ler NaintilJs. seek testimony abuu, ~rscns knowled,ge..abhs uboul
  the listed subjects, or (estimony aboul the s11b!tantive information Iisted-;..c_ in.s ! UaUon of the
  gates and re<.:onunended improvumtints.

              a In. ta1/otivn ofgat&s throughout llw history of the rese,wirs and Jww tltal
                 .changed the pkmsfor operation of the reserw,irs, their capacity, and the effec=ls'
                 re/ming 10 lmmdation or polenJialfor im.mdailon on land dow1wnu1m of tllrr
                 l'l!Sfwwirs falling within the slared "flood r.isk management protectfon " '11"(!{1 •
                 described h1 Sec1 itm 2.n2 of the Nov.ember, 3 20 12 Water Control Mµ.m,101, which
                 ~·.tntes lhtll "Addicks at1d Ba,-ker Reser\lOif$ c<mlrlbute. la the Qveral{ purposes of
                 atlthoNted Biiffah, Bayoujlood risk maiiageme11t projects, which in lude the
                .flood risk managl!me111 protection pmvith:d to,the City ofHaustonfromjlood
                 damage.~. tmd p1·tn1erilion ofexce "\:i~ v:e:latfrlu and silt depo~it,flS (sic) in the
                  fluw.'lon Ship Chmmel Tuming Ba in. The: iwo 1-eseJ•tffJit.r provide jloodwalei'
                 det Tilton for flood risk m,magcment on ,the Buffalo Dnyo11 water:shed ..• . ''; and

  The Uaited · tflte:s objects to the portinn ofthe request seeking testimony on effects rel ting to
  inundal.ion or poteu.tia.l fol" inunda io.n' as ove11>road and lacking r,cason11blc pa:rtic.uluri~y ns it
  purpom to require knowledge and h::sl' mony sboul how lhe gntes actuall.y afl'ccted flows
  cl:o\vn5tremn dunng every time he dams were used itl their 70ayear history. The. United Srates
  further objects to any reqllc~t for oprnion tcstilnany concerning 10:ffects refate:d to , •. potential
  for ·nuadati on.,.. · ubjeot to mid without waiviug lh" nbjectioos, the lJn itcd ta es dcsig11.ate
  Robert . homns to provide lest.jmony only nn tlie. Corps historic inktcl.Mion of g.aie.<i and b... nges
  in Addiok~ imd Barker rnsorvoir opendi,011 pl11m1 pert ining to u · oflhe gates and lhe re:ervoi'r

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FDSDFLWLHVGRFXPHQWHGVWDWHPHQWVRIWKH8QLWHG6DWHV&RUSVRI(QJLQHHUVFRQFHUQLQJWKH
SRWHQWLDOIRULQXQGDWLRQUHVXOWLQJIURPFKDQJHVLQRSHUDWLRQDOSODQVDQGWKHDFWXDORSHUDWLRQRI
WKHJDWHVGXULQJPDMRUIORRGHYHQWV

           b. Recommended improvements to the reservoirs made, considered, or accepted by
              the United States, its agents and/or representatives, that have not been completed
              from 2012 through August 27, 2017, and the reasons for any such non-
              completion;

7KH8QLWHG6WDWHVREMHFWVWRWKHUHTXHVWEHFDXVHLQIRUPDWLRQDERXWLPSURYHPHQWVQRWDFWXDOO\
FRPSOHWHGLVLUUHOHYDQWWRWKHFODLPVRUGHIHQVHVLQWKHFDVHDQGWKHH[SHFWHGEXUGHQRIGLVFRYHU\
RXWZHLJKVLWVOLNHO\EHQHILW6XEMHFWWRDQGZLWKRXWZDLYLQJWKHREMHFWLRQWKH8QLWHG6WDWHV
GHVLJQDWHV5REHUW7KRPDVWRWHVWLI\DERXWLPSURYHPHQWVWRWKHUHVHUYRLUVWKDWZHUH DQDO\]HGRU
GRFXPHQWHGE\WKH8QLWHG6WDWHV$UP\&RUSVRI(QJLQHHUVIURPDQG$XJXVW

      12. Person(s) knowledgeable regarding operation of the Addicks Reservoir and Barker
          Reservoir generally, including but not limited to knowledge regarding:

7KH8QLWHG6WDWHVREMHFWVWRWKHUHTXHVWIRUWHVWLPRQ\DERXWWKH$GGLFNVDQG%DUNHU5HVHUYRLU
RSHUDWLRQV³LQFOXGLQJEXWQRWOLPLWHGWR´DQ\WRSLFVQRWVSHFLILHGLQWKH1RWLFHDVODFNLQJ
UHDVRQDEOHSDUWLFXODULW\UHTXLUHGIRUWKH8QLWHG6WDWHVWRGHVLJQDWHDQGSUHSDUHDZLWQHVVIRU
WHVWLPRQ\7KH8QLWHG6WDWHVDOVRREMHFWVWRWKHUHTXHVWDVYDJXHEHFDXVHLWLVXQFOHDUZKHWKHU
3ODLQWLIIVVHHNWHVWLPRQ\DERXWSHUVRQVNQRZOHGJHDEOHDERXWWKHOLVWHGVXEMHFWVRUWHVWLPRQ\
DERXWWKHVXEVWDQWLYHLQIRUPDWLRQOLVWHG²LHRSHUDWLRQRIWKHGDPV

           a. Policies for releases of water from the reservoirs from 2012 through the present,
              including changes to such policies over time and the reasons for any such policy
              changes;

7KH8QLWHG6WDWHVGHVLJQDWHV5REHUW7KRPDV

           b. The history of any releases of water from the reservoirs from 2012 and prior to
              August 28, 2017;

7KH8QLWHG6WDWHVGHVLJQDWHV5REHUW7KRPDV

           c. Processes for requesting deviations from policies regarding releases of water
              from the reservoirs from 2012 through the present;

7KH8QLWHG6WDWHVGHVLJQDWHV5REHUW7KRPDV

           d. Processes for monitoring releases of water and the effects on Buffalo Bayou and
              properties downstream from the reservoirs from 2012 through the present;
7KH8QLWHG6WDWHVREMHFWVWRWKHUHTXHVWIRUWHVWLPRQ\DERXWSURSHUWLHVDWXQVSHFLILHGGLVWDQFHV
IURPWKH$GGLFNVDQG%DUNHUGDPV7KH8QLWHG6WDWHVIXUWKHUREMHFWVWRWKHUHTXHVWDV
RYHUEURDGXQGXO\EXUGHQVRPHDQGODFNLQJUHDVRQDEOHSDUWLFXODULW\EHFDXVHLWLVQRWOLPLWHGWR

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  monitoring per onned by the fed~ro1 go cmmeni, Subject l . 1111d without waiving the objections,
  Lhe Un't:ed ·tates de-_,;ignore. Robert Thomos to provide tesliniony only concerning processes of
  th~ United States Army orps of Engineers from 20 12 to the P ·csent for mo11 itoriog both
  releases of water lrom Addicks and Barker datru ud downstnmm ex:tents of inundalion.

             e. Any hydrological or other modeling pe1Jormed to d •tel'mine the s,:;ope and extt:nl
                of.any anllaipated'jlooding .tc1 downstream propertie •falling wlthit1 the staJeJ
                     "flood ri. k manacgem.ent proreclton '' anms described iu Section 1-02 ofthe
                     Navembel', 2012 Watei' Control Ma1tllal, aifw1he.r deso;ri/md in JJ(a) above,
                    fiw11 operation or anticipated operation oftJu: re ervofr from 2012 and prior to
                     Ar1igust IS, 1017; crr,d

  The United Stutes objGcts to the wquest as overbr-oad and lacking reasonable pa.rlicut11rjty as il
  purpo.rt:s to requim knowledge and testimony ;ioout hydrological or other modeling performed by
  unspe:oi.fied persons or enti:tics. Sub·e-ct to and without wal;vmg the objection,_th1;1 Uni red tates
  de&ignutes Rober · Thomas to provide lcsllmony only on the Unitc:d t:ates Army Ol])S of
  Engineer mode Ii ng of potma lfaJ flood i1Jg down.stroa1n of the Addicks oind Barker reservoks
  cc:mducted from 2012 to Augu l 1.5 20]7.

             f. Plans, modeliug, or other informarion--.fl'Dm .2012 through the present, r;reaJed by
                or at th ;•cquest ofth Uniled Stale , il a.gents amfloi· repre.se:ntallve , or relied
                IIJ10'" by the United · 1al'es, fts agents a11dlor r«pre emotive , with re.lpacl to ii.s
                operation ofthe Addicks wtd Barker Res.er11o;r. .- regar-dingcondlfions that "mld
                cau:s a fallW"t! ufthe t"6$ervoirs, and at1y action or ~jfort1 to pr wmi suchJallm•e.

  Tite United States dcsign.ite. Robert Thomas.

         J3. Pe1·son(s) knowlttdg.eable regardi;J,_rc l11e. opera.tfrm of the Addicks Resen,oir and
             /Ja'l'ker ResCJ·voh-for lb period :panning August 15, 2017 l()' 9eptemb&r 26, 20.17,
             inch1dlng bul ~ot llmilcd to lmowle4ge regardin.g;

   · he Uniied States objects to the request. fer te timony about the dllm , ''inclllding but not limlte<l
  to·' ' any .epics nol apeci:lioo in lhe Noti,ce as lncking reasonable pa.rticula· ity ruiui.red for th •
  United State to desi~1H1te and prepare a witn,ess for tc tillllot1y. Tite Uni.red States also objects to
  lhe request as vague because it ·is: uncleu.r whether Phdntiffs.seek testimony abollt persons
  kn.owle:dgeable about the listed subjects, or tcstimtmy .nbout lhe 'L1bstanrwe i.ofOJ1matioa listed~
  te. opero:li n ofthe drims during Aug,IJ!st and • ep~embe. 2017.

              a. When and why the declsiot1 ,va.,· made to .open ra ervoir gates hcgfmrfr1g on a1-
                 ,1hvul' August 18, 2017, and wry sr11:!sequenl deci.slo.m· tofnnher open reserve,;,,
                 gates i11ereaftcr; (md

    he United ~les design!ll.e Robet't Thomas to prnv{de te- iitnony only concerning the Uni1!ed
  ' tales Anny Co1.1,s ofBngi.icers' decision-making regarding opening the Addfoks Bnd Bnrkcr
  gates 011 ot ·n aund August 28,,2017 nnd days LhtrreaJler.
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           b. Any hydrological or other modeling performed to determine the scope and extent
              of any anticipated flooding to downstream properties from operation or
              anticipated operation of the reservoirs during the period spanning August 15,
              2017 to September 26, 2017.

7KH8QLWHG6WDWHVREMHFWVWRWKHUHTXHVWIRUWHVWLPRQ\QRWOLPLWHGWRK\GURORJLFRURWKHUPRGHOLQJ
UHTXHVWHGRUSHUIRUPHGE\WKHIHGHUDOJRYHUQPHQW6XEMHFWWRDQGZLWKRXWZDLWLQJWKHREMHFWLRQ
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&RUSVRI(QJLQHHUV¶PRGHOLQJFRQFHUQLQJWKHH[WHQWRILQXQGDWLRQGRZQVWUHDPRIWKH$GGLFNV
DQG%DUNHUGDPVUHVXOWLQJIURP+XUULFDQH+DUYH\GXULQJ$XJXVWDQG6HSWHPEHU

      14. Person(s) knowledgeable regarding communicating information to the public, to
          Houston or other local officials, to any United States official or employee, or to any
          neighborhood or members of a neighborhood concerning the Addicks and Barker
          Reservoirs for the period spanning August 15, 2017 to September 26, 2017, including
          but not limited to knowledge regarding:

7KH8QLWHG6WDWHVREMHFWVWRWKHUHTXHVWIRUWHVWLPRQ\DERXWWKHGDPV³LQFOXGLQJEXWQRWOLPLWHG
WR´DQ\WRSLFVQRWVSHFLILHGLQWKH1RWLFHDVODFNLQJUHDVRQDEOHSDUWLFXODULW\UHTXLUHGIRUWKH
8QLWHG6WDWHVWRGHVLJQDWHDQGSUHSDUHDZLWQHVVIRUWHVWLPRQ\7KH8QLWHG6WDWHVDOVRREMHFWVWR
WKHUHTXHVWDVYDJXHEHFDXVHLWLVXQFOHDUZKHWKHU3ODLQWLIIVVHHNWHVWLPRQ\DERXWSHUVRQV
NQRZOHGJHDEOHDERXWWKHOLVWHGVXEMHFWVRUWHVWLPRQ\DERXWWKHVXEVWDQWLYHLQIRUPDWLRQOLVWHG²
LHFRPPXQLFDWLRQVWRWKHSXEOLF

           a. When information was communicated about the Addicks and Barker dams, and
              why information was or was not communicated at a particular time; and

7KH8QLWHG6WDWHVREMHFWVWRWKHUHTXHVWIRUWHVWLPRQ\DERXWFRPPXQLFDWLRQVQRWOLPLWHGWRWKRVH
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$UP\&RUSVRI(QJLQHHUVWRORFDOJRYHUQPHQWRIILFLDOVDQGRWKHUZLVHYLDRIILFLDODJHQF\
FRPPXQLFDWLRQV

           b. Any methods of communication, including, but not limited to, by phone, email,
              text, fax, hard-copy distribution, social media communication, inperson
              communication, or any other method that the United States Government used to
              communicate with its citizens during the period spanning August 15, 2017 to
              September 26, 2017.

7KH8QLWHG6WDWHVREMHFWVWRWKHUHTXHVWDVYDJXHEHFDXVHLWLVXQFOHDUZKHWKHUWKHUHTXHVWVHHNV
WHVWLPRQ\FRQFHUQLQJWKHPHWKRGVRIFRPPXQLFDWLRQRUWKHPHVVDJHVFRQYH\HG7KH8QLWHG
6WDWHVLQWHUSUHWVWKHUHTXHVWWRSHUWDLQRQO\WRPHWKRGVRIFRPPXQLFDWLRQDQGJLYHQWKDW
XQGHUVWDQGLQJGHVLJQDWHV5REHUW7KRPDV




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             15. Re.1·.wnM knowledg.rwh.{11 '1bot11 tlte "regulatory jl.oodwffJ1'' 1 and ,•w:rou.nd/ng ''flood
                 l1ozL1rd areas" or '$pecialjlood hazard areas "1 along Buffalo Buym,, including any
                 chunges t:a the B't'zyou 's elel'allun or (.!()ntour, a,uJ an)I hydJ<olugicaJ Imo vledge abm1.I
                 Btf{/alo Bayotl 's wa1't!1·jfow from 2012 tn Augusl 28,. 1017, to the extent the. Unired
                 Statu relies upon or 11tllhes tmch knowledge in ii~ ope.ration ofthe Addl ks and
                  fJflrker Reser\l(J/rs pr1nuam to the Novembt!I' .2(}12 Watet Control Mnmtal

  ·n1e United States objeols to the request as Wlgue bcmau e i,t is: unclear wh~ther Plainlil'Th s~k_
  testimony about per'!ioos knowledgeable abou the Us:ted subjc:cts, or lestimony about the
  substan ive infimnatio:n listoo-i.e. de.sign and comurucLion of the di,ms.

             l 6. Pen.'tm(s) lmowledgeable abotd ih~ USGS Stnwm a1ig"s am/jload moniloririg
                  sy:,tcm l lfhh,1·the llddiclrs Reservoir and Barker Re.H.w11oi1· and along the .Brifjalo
                  Bayau, inchtding br11' not limited lo kn.mi ledge regarding:

  The United I Cates objects lo the request fo.r lestirnony about the st1scarn ga~es rid monitoring
  "iucluding but tot litnited lo .any topics not spe<:ificd in d1c, oticc as. lrLcld11g m!ISOl:\able
  ,particut. rity required for the United Stft't lo designnte o.nd prepare a wi!ti,uss for tcstimoDy, The
   United States abio objects to the request os vague hewu~t; il is: unclear whether Plaintiffs :seek
  testimony abouLperwns knowledgeable abou.t th~ [i ·Led subjooi1.1 er testimony · houl the
   imbslmltive infcinnation Hs.ted-i.e. USGS gages and Hood monitoring systems_

                  a. /low tit gauges an: monilfJr, tl, operated, mainlttined, imp.rllvtul, d lgned.. or
                      ons.trucledfrom 2012 .ro.A11gr1...t 28, 2017:

  The U1:1ikd States desigo11tes Jeffery -asl of Lhe Unire.d St!!les Geological Survey located in
  , 'onroe. Texais to provid~ te.stimon about contemporary monitoring., operations, maitil!!mmce.,
  and coustruction of USGS stream gages within th~ Addicks Re ervoir               and
                                                                                Barker Reservoir and
  nlong the Buffalo Ba.yoll,

                  b. The fimc1ion,1lity ofthe gauge during the ptu•ind spcmnlns ilug11st I 5, 2017 .m
                     September 26, 2017; and

    he Ulil itcd States des i notes Jeffery , -a t.

                  c. The pllr'J'OB ofthe. gauge I where the gquge. data is senl, and wh,11 uny person in
                     1hr: United Stales Oovermnl!nt do r w;fh the data,

  1110 Ut1lted SUttes objects l!o lh request a overbroad a:1ird not reasonably pnrtlc11lm: because i1
   eeks testimony about ..vh.1t In of many ag noies o personnel witllill tlii.e ~-dernl govcmmenl do
  w.i,ih eoUeot d data .. The njted Stale. designate.s Jeffery • 1.St to provfd tes imony onl.y
  concerning U G •s purpo.se:s witl1 i:-'eSJ)ecl ·to the stream gages and where and how U G • ~tore-s
  an cl m.nkes public ll.t¢ do·a coJJe:ct.ed lh,e,~fr-om.

  1 S,r.e   bUps://www.fcma.g.ovlfloooway

  i See hLtp!>://www.fema.gov/nood-7.ane.s


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            l he:reby ,ccrti(v thn1 on this 30th day of August. 2018, :1lruc and correct copy of the
  foregoing doomncnl was served upon th~ following iT1dividu laS eluci:ronicaUy via e,.m@il and by
  P,edE,i.:

  Daniel tmresl, Eliq. - Upst:m1m PlainLiO~
  900 Jackson neet
  . uite 500
  Dallas, Texas 75202

  Rand NoJen, · sq. - DownstJ.-eam Pln111:liffs
  2800 Post Oak. Boulevard
  Suitu 4000
  Hous!inn, Te:xas 77056,



                                                          Isl Krmtir,,e Tardiff
                                                          KRJS.TINE l'AADlF.F
                                                          'Tl'i11I Attorney
                                                          Natural Resources Section




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      Case 1:17-cv-09002-LAS                   Document 266-2                Filed 01/10/23             Page 750 of 1584




From :                    Kauffman, Michael G CIV USARMY CESWG (US) </O=USACE EXCHANGE/OU=SWD ADMIN
                          GROUP/CN=RECIPIENTS/CN=M30DXMGK>
To:                       Sterling, Michael C CIV USARMY CESWD (US)
CC:                       Thomas, Robert C Ill CIV USARMY CESWG (US); Maglio, Coraggio K CIV USARMY CESWG
                          (US); Scheffler, Charles Jr CIV USARMY CESWG (US); Beddingfield, Mario CIV (US); Clarkin,
                          Timothy J CIV USARMY CESWG (US); Garske, Michael L CIV USARMY CESWG (US)
Sent:                     9/20/2017 5:43:04 PM
Subject:                  Reservoir Contribution to Bayou Flow
Attachments:              FlowPercentages.xlsx



Dr. Sterling,
This email is in response to the phone conversation that we had on 19 September. You asked me to look at what
percentage of the flow in the bayou was a result of reservoir discharges.

The attached spreadsheet consists of flow data extracted from the USGS website and reservoir outflow calculated with our
rating curves.

Dairy Ashford (USGS 08073500 Buffalo Bayou nr Addicks. TX),
West Belt (USGS 08073600 Buffalo Bayou at W Belt Dr, Houston. TX), and
Piney Point (USGS 08073700 Buffalo Bayou at Piney Point, TX)
are the gauges used for comparison.

Normally flows will take 3-4 hours to reach West Belt and 8 hours to reach Piney Point. Because of the magnitude of the
flows in the bayou, I have assumed 3 hours to Dairy Ashford, 7 hours to West Bell, and 16 hours to Piney Point.

So columns K-P reflect those reservoir outflows lagged to compensate for that travel time. So for example, we started
releases from the reservoir at 0100, 28 August.
That flow showed up at Dairy Ashford at 0400, at West Bell at 0800, and at Piney Point at 1700 on 28 August

Columns R-T reflect what percent of the flow at those locations could be attributed to the reservoir outflows at that time
(Column A).

Michael Kauffman
Hydrology & Hydraulics
U.S. Army Corps or Engineers Galvesto11 District
Phone: 409-766-3104

Web: http://www.swg.usace.army.mil
Facebook: http://www.facebook.com/GalvestonDistrict
DVIDS: http://www.dvidshub.net/units/USACE-GD
Twitter: http://Www.twilter.com/usacegalveston
Linkedln: http://www.linkedin .com/company/3517332




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                                                                                           '       EXHIBIT

                                                                                                -;t)                         USACE006089




                                                                                                                                           A1194
    Case 1:17-cv-09002-LAS                                                         Document 266-2                         Filed 01/10/23                          Page 751 of 1584




                                                           Stnd calc  Submercrd
                                                                      Release
                                                                      Cak                      g.iuge rudings               Reservoir    Reservoir    Reservoir                 Pe1cent of f low m the Bilyou
                    Addicks             Barker             Total      Total                                                 Outflow at OutOowat      Outflow at                 Standard Ralmg Curve Cale!>
                    Reservoir           Reservoir          Reservoir Reservoir       Dairy Ashford West Belt PineyPoint    Dal,y Ashford West Belt   PineyPolnt      D• 11y l\d1ford     Wirst 8elt      P1nt vP01nt
                    Discharge           Oischarce          Dis.charge Oisch.ir1e          flow       flow       flow          flow         flow        flow
                    (ds)                (ds)               (ds)       (ds)                (ds)       (ds)       (ds)           (ds)        (ds)         (ds)
27 Au117, 07:00                                                                          6,S90      12,800     10,400                                                                                       01'
27 Aug 17, 08:00                                                                         6,6SO      13,400     10,600                                                     ""
                                                                                                                                                                          o"                ""              01'
27 Aug 17, 09:00                   0                                   0                 6,330      13,500     10,600                                                                       ""
27 AU& 17, 10:00                   0                                   0                 6,480                 10, 600                                                    ""                ""              0%

27 AU, 17, 11;00                   0                  0                0                 6,280
                                                                                                    13,600
                                                                                                    14,300     11,300                                                     ""                ""               °"
27 Aul 17, 12:00                   0                  0                0                 6,020      14,700     11,900                                                     ""                ""               ""
                                                                                                                                                                                                             o·,
27 Au& 17, 13:00                   0                                   0                 S,770      14,SOO     12,100                                                     ""
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27 Aua 17, 14:00                   0                                   0                 5,600      14,000     12,000                                                     O"                ""               ""
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27 Aua 17, 15:00                                      0                                  S,380      13,400     11,600                      0
21 Aua 11. 16:00                                                                                    13,000                                                                ""                ""              ""
27 Aue 17, 11:00                   0
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                                                                                         6,070      13,100
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                                                                                                               11,200
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27 Aug 17, 18:00                                      0                0                 6,000      12,800     11,000                                                     ""                ""              ""
27 Aug 17, 19:00                                      0                0                 5,820      12,300     10,600                                                     ""                ""
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27 Aua 17, 20:00                   0                  0                                  S,930      12,100     10, 300
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27 Aug 17, 21:00                                                                                    12,200     10,300                                                     ""                ""              ""
27 Aua 17, 22:00
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27 Aua 17, 23:00
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                                                                   0                     7,840      14,900     11,700                                                     °"                ""              ""
27 Aug 17, 24:00                                                                                    15,500                                                                ""                ""              ""
                                   0                               0                     8,380                 12,000                                                     o"
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28 Aua 17, 01:00
28 Aua 17, 02:00
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28Au& 17. 03:00
28 Aua 17, 04-:00
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                                1629                1586        321S                                           11,700        545                        0
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28 AUi 17, 05:00
28Aug17,06:00
28 Aua 17, 07:00
2sAue11,os:00
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                                2632
                                3116
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                                                    2042
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                                                                4675
                                                                S678
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                                                                                         7,720
                                                                                         7,950
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28 Aue 17, 09:00                2653                2579        5232                     8,S10      13,200     10,500       467S        1363                                                la%
28 Aue 11. 10:00                2659                2585        5244                     8,750      12,900     10,300       5878        217S                             ""
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28Aug 17, 11:00                 2665                2595        5260                     8,930      13,000     10,300       5675        3215                                                ""
                                                                                                                                                                                            ""              °"
28Aug 17.12:00                  2672                2604        5276                     9,080      13,200     10,400       5232        3693                              58%               28'1<
28 Aue 17, 13:00                2682                2612        5294                     9,240      13,500     10,600       5244        4675                                                3S%
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28 Aug 17, 14:00                268•                2621        5311                     9,2SO      13,800     10,800       5260        5678                              ""                                ""
28 Aue 17, 15:00                2. .7               2631        S328                     9,590      14,000     11,100       S276        5675                              ""
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                                                                                                                                                                                            41"
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28Aug 17, 16:00                 2704                2878        SS82                     9,710      14,400     11,500       52..        5232                                                                a%
28 Aug 17, 17:00
28 Aua 17, 18:00
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28 Aug 17, 19:00                3229                3383        6612                    10,100      15,600     12,600       5582        5276         2175
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28 Aue 17, 20:00                323g                3393        6632                    10,200      15,800     12,900       5600        52. .        3215                                   3, -.
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28 Aue 17, 21:00
28Aue11,22:00
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28 Aua 17, 23:00                3268                3417        6685                    10,400      16,100     13,200       6632        5582         5678                                   3S"             4j' )a

28 Aug 17, 24:00                3277                3423        6700                    10,SOO      16,100     13,100       6651        5600         5675                6J'I<              m,              43'"
29 Aue 17, 01:00
29 Aue 17, 02:00
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29 AUi 17, 0 3:00               3303                3443        6746                    10,600      16,100     13,200       6700        6632         S260                                   41
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29 Aug 17, 04:00
29 Aug 17, 05:00
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                                                                6774
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29 Aug 17, 06:00    3325   3462    6787       10,700   16,000    12,800       6746    6685    5311        63"
                                                                                                                     .,,.
                                                                                                                     42"
29 Au& 17, 07:00
29 Aue 17, 08:00
                    3331
                    3843
                           3711
                           3714
                                   7042
                                   7557
                                              10,400
                                              10,600
                                                       15,900
                                                       15,800
                                                                 12,800
                                                                 12,700
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                                                                              6774
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29 Au& 17, 09:00
29 Aus 17, 10:00
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                                   8559
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                                              10,600
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                                                                              7042
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29 Aug 17, 11:00
29 AU, 17, 12:00
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                           4659
                                   8949
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                                              10,900
                                              11,000
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                                                                 12,100
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29 Aug 17, 13:00
29Aug17, 14:00
29Aug17,15:00
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                           6096
                                  11275
                                  12722
                                  13799
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                                                                                                                              56"
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                                                                                                           86"
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29 Au& 17, 16:00    7705   6099   13803       12,400   14,900    11,500      11275    7809    6700
29 Au117, 17:00     7707   6330   14037       12,900   14,900    11,400     12722     8559    6715
                                                                                                           91"
                                                                                                           99"       ""       58"
                                                                                                                              59"
29 Aus 17, 18:00
29 Aug 17, 19:00
                    7708
                    7711
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                                  14047
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29 Aue 17, 20:00
29Augl7,21:00
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29 Aug 17, 22:00    7716   6339   14055       14,300   15,600    11,200     14047    13799    6787         98"       88"      61"
29 Aug 17, 23:00    7718   6340   14058       14,500   15,800    11,200     14045    13803    7042         97"       87"      63"
29Auc17,24:00
30Aug 17,01:00
30 Aug 17, 02:00
                    7719
                    7720
                    7721
                           6340
                           6340
                           6341
                                  14059
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                                                                            14055
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                                                                                     14037
                                                                                     14041
                                                                                     14047
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30 Aug 17, 03:00    7723   6342   14066       14,850   16,400    11,700     14059    14045    8949
                                                                                                          95"
                                                                                                          95"        86"      ""
                                                                                                                              76"
30Aug 17,04:00      7725   6341   14066       14,900   16,600    11,900     14061    14048   10271        94"        85"      86%
30 Aug 17, 05:00
30 Aug 17, 06:00
                    7727
                    7728
                           6342
                           6343
                                  14069
                                  14071
                                              14,900
                                              14,850
                                                       16,800
                                                       17,050
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                                                                            14063
                                                                            14066
                                                                                     14055
                                                                                     14058
                                                                                             11275
                                                                                             12722        .,,.
                                                                                                          94"
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                                                                                                                     84"      93"
                                                                                                                              100..
30 Aug 17, 07:00    7729   6342   14071       14,800   17,300    12,300     14066    14059   13799        95"        81"      100..
30Au& 17,08:00      1n3    6341   14069       14,800   17,SOO    12.600     14069    14061   13803        95"        8°"      100..
30 Aug 17, 09 ;00   7728   6340   14068       14,750   17,70-0   12,70-0    14071    14063   14037        95"        79%      100%
30 Aug 17, 10:00
30 Au& 17, 11:00
30Aua 11, 121>0
                    7727
                    7728
                    1128
                           6339
                           6337
                           6337
                                  14066
                                  14065
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                                              14,700
                                              14,650
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                                                       17,900
                                                       18,100
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30Aua 17, 13:00     7727   6337   14064       14,550   18,350    13,500     14066    14071   14048
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                                                                                                          97%        77"      100"
30Aug 17, 14:00     7726   6334   14060       14,500   18,450    13,700     14065    14071   14055
                                                                                                          .,,.       76"      100..
30Aua 11, 15:00
30Aug 17, 16:00
30Aug 17, 17:00
                    7726
                    7484
                    7485
                           6334
                           6332
                           6330
                                  14060
                                  13816
                                  13815
                                              14,450
                                              14,350
                                              14,250
                                                       18,500
                                                       18,550
                                                                 13,800
                                                                 13,900
                                                                 14,100
                                                                            14065
                                                                            14064
                                                                            14060
                                                                                     14069
                                                                                     14068
                                                                                     14066
                                                                                             14058
                                                                                             14059
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                                                                                                          ........   76"
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                                                                                                                              100..
                                                                                                                              100..
                                                                                                                              100"
30Aug 17, 18:00     7363   6330   13693       14,200   18,600    14,200     14060    14065   14063        99"        76"      99"
                                              14,300   18,700    14,200     13816    14065   14066                            99"
30 Au& 17, 19:00
30 Aug 17, 20:00
                    7243
                    7244
                           6331
                           6331
                                  13574
                                  13575       14,300   18,600    14,200     13815    14064   14066
                                                                                                          97"
                                                                                                          97"        ""
                                                                                                                     76"      99"
30Aug 17, 21:00     7244   6328   13572       14,000   18,800    14,400     13693    14060   14069        98"        75"      98"
30Aug 17, 22:00
30Au& 17, 231>0
30Aug 17, 24:00
                    7242
                    7239
                    7239
                           6327
                           6325
                           6324
                                  13569
                                  13564
                                  13563
                                              14,100
                                              14,100
                                              14,000
                                                       18,800
                                                       18,800
                                                       18,700
                                                                 14,300
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                                                                            13575
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31 Aug 17, 01:00
31 Aug 17, 02:00
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                    7238
                           6322
                           6319
                                  13560
                                  13557
                                              14,000
                                              13,900
                                                       18,900
                                                       18,800
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31 Au& 17, 03:00
31Au&17,04:00
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31Aug 17,05:00      7233   6312   13545       13,900   18,600
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                                                                                     13564   14060        99"        ""       96"

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31 Aug 17, 06:00
31 Au& 17, 07:00
                    7233
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                           6312
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                                                       18,600    14,700
                                                                            13SS5
                                                                            13549    13563   14060
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                                              13,700   18,600    14,700     13545    13560   13816                            94"
31 Au& 17, 08:00
31 Aug 17, 09:00
                    7229
                    7228
                           6307
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                                  13536
                                  13532       13,700   18,700    14,900     13545    13557   13815        99"        ""
                                                                                                                     ""       93"
31 Aug 17, 10:00
31 Au& 17, 111)()
                    7228
                    7225
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                                              13,800
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                                                       18,500
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                                                                                                                                      A1196
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                                                                                                          13S7S             100%
31 Aug 17, 12:00
31 Aug 17, 13:00
                    7219
                    7217
                           6297
                           6293
                                  13S1S
                                  13509
                                          9933
                                          9928
                                                     13,600
                                                     13,SOO
                                                              18,SOO
                                                              18,400
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                                                                                               13S45      13S72             100%   ""
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                                                                                                                                   74"
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31 AU& 17, 14:00    7214   6290   13504   9920       13,600   18,200     14,900     13S2S      13S40      13569
                                                                                                          13564                           ""
31 Aue 17, 15:00    7214   6287   13S02   9921       13,SOO   18,300
                                                              18,100
                                                                         14,900
                                                                         14,900
                                                                                    13515 9933 13S36
                                                                                    13S09 9928 13S32      13563
                                                                                                                            100%   74"
                                                                                                                                          ""
                                                                                                                                          ""
31 Aue 17, 16:00    7219   628S   llS04   9927       13,600
                                                                                                                                   ""
31 Au& 17, 17:00    7213   6283   13497   9918       13,400   18.000     14,700     13S04 9920 13S30      13560             100%   7S"
                                                                                                                                          ""
                                                                                                                            --            ""
31 Au& 17, 18:00    7212   6281   13493   9927       13,500   18,000     14,700     13502 9921 1352S      13557             100%   7S"
31 Aug 17, 19:00
31 Au& 17, 20:00
                    7209
                    7208
                           6280
                           6162
                                  13489
                                  13371
                                          9924
                                          9834
                                                     13,SOO
                                                     13,700
                                                              18,()(X)
                                                              17,900
                                                                         14,700
                                                                         14,800
                                                                                    13S04 9927 13Sl5 9933 13555
                                                                                    13497 9918 13S09 9928 13S49
                                                                                                                            100%   7S"
                                                                                                                                   7S"    ""
                                                                                                                                          ""
                    7206                             13,400              14,800     13493 9927 13S04 9920 13S45             100%
31 AU& 17, 21:00
31 Aug 17, 22:00    720S
                           61S9
                           61S6
                                  13366
                                  13361
                                          9838
                                          9829       13,SOO
                                                              17,900
                                                              17,600     14,800     13489 9924 13502 9921 13S45             100%
                                                                                                                                   7S"
                                                                                                                                          ""
31 Au& 17, 23:00    7203   61S4   13357   9830       13,500   17,600     14,700     13371 9834 13S04 9927 13S40                    ""
                                                                                                                                   ""
                                                                                                                                          92"

                                                                                                                                          ""
                                                                                                                            --            ""
31 AUJ 17, 24 :00   7200   6151   13352   9823       13,400   17,700     14,700     13366 9838 13497 9918 13536             100%   76"
01 Sep 17,01:()()   7197   61SO   13347   9818       13,400   17,600     14,700     13361 9829 13493 9927 13532             100%
                                                                                                                                   ""     ""
01 Sep 17, 02:00
01 Sep 17, 03:00
                    719S
                    7192
                           6147
                           6145
                                  13342
                                  13338
                                          9820
                                          9816
                                                     13,500
                                                     13,400
                                                              17,400
                                                              17,400
                                                                         14,700
                                                                         14.600
                                                                         14,700
                                                                                    13357 9830 13489 9924 13530
                                                                                    13352 9823 13371 9834 l3S2S
                                                                                    13347 9818 13366 9838 13515 9933
                                                                                                                            100%
                                                                                                                                   78"

                                                                                                                                   ""     ""
                                                                                                                                          93%
01 Sep 17, 04:00    7191   6142   13334   9817       13,SOO   17,300
                                                                                                                                   ""     ""
01 Sep 17,05:00     7190   6141   13331   9816       13,300   17,300     14,600     13342 9820 13361 9829 13509 9928        100%
                                                                                                                                   ""     ""

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01Sep17,06:00       7187   6137   13324   9809       13,200
                                                     13,200
                                                              17,300
                                                              17,300
                                                                         14,700
                                                                         14,700
                                                                                    13338 9816 133S7 9830 13S04 9920
                                                                                    13334 9817 133S2 9823 13S02 9921
                                                                                                                            100%
                                                                                                                            100%   ""     ""
01 sep 11. 01:00
01 Sep 17, 08:00
                    7184
                    7182
                           6135
                           6132
                                  13319
                                  13314
                                          9804
                                          9798       13,400   17,100     14,600     13331 9816 13347 9818 13S04 9927               ""
                                                                                                                                   ,.,.
                                                                                                                                   78%    ""
                                                                                                                                          ""
01 Sep 17, 09:00    7177   6130   13307   9793       13,400   17,000                13324 9809 13342 9820 13497 9918
01 Sep 17, 10:00
01 Sep 17, 11:00
                    7174
                    7172
                           612!
                           6125
                                  13302
                                  13297
                                          9791
                                          9788
                                                     13,200
                                                     13,300
                                                              17,100
                                                              17,000
                                                                                    13319 9804 13338 9816 13493 9927
                                                                                    13314 9798 13334 9817 13489 9924
                                                                                                                            100%
                                                                                                                            100%   ,.,.
                                                                                                                                   78"

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01 Sep 17, 12:00
01 Sep 17, 13:00
                    7170
                    7167
                           6122
                           6118
                                  13292
                                  13285
                                          9784
                                          9778
                                                     13,200
                                                     13,100
                                                              16,900
                                                              16,900
                                                                                    13307 9793 13331 9816 13371 9834
                                                                                    13302 9791 13324 9809 13366 9838
                                                                                                                            100%
                                                                                                                            100%   ,.,.
01 Sep 17, 14:00    7163   6114   13277   9773       13,200   16,700                13297 9788 13319 9804 13361 9829        100%   80%
01 Sep 17, lS:00    7161   6110   13271   9765       13,000   16,800                13292 9784 13314 9798 133S7 9830        100%   79'1
01 Sep 17, 16:00    7159   6109   13268   9765       13,300   16,600                13285 9778 13307 9793 13352 9823        100%   80%
01 Sep 17, 17:00    7158   6106   13264   9763       13,100   16,500                13277 9773 13302 9791 13347 9818        100%   81"
01 Sep 17, 18:00    71S4   6103   13257   9759       U.200    16,400                13271 9765 13297 9788 13342 9820        100%   81"
01 Sep 17, 19:00    71S4   6101   132SS   9755       13,200   16,200                13268 9765 13292 97&4 13338 9816        100%   82%
01 Sep 17, 20:00    71Sl   609S   13246   9746       13,100   16,300                13264 9763 13285 9778 13334 9817        100%   82"
01 Sep 17, 21:00    7148   6093   13241   9743       13,200   16,200                13257 9759 13277 9773 13331 9816        100%   82"
01 Sep 17, 22:00    7146   6092   13238   9743       13,000   16,300                1325S 9755 13271 9765 13324 9809        100%   81"
01 Sep 17, 23:00    7144   6089   13233   9734       13,100   16,100                13246 9746 13268 9765 13319 9804        100%   82"
01 Stp 17, 24:00    7141   6087   13228   9735       13,000   16,100                13241 9743 13264 9763 13314 9798        100%   82"
02 Sep 17, 01:00    7140   6084   13223   9727       13,200   15,900                13238 9743 132S7 9759 13307 9793        100%   83"
02 Sep 17, 02:00    7136   6081   13217   9721       13,200   15,900                13233 9734 13255 9755 13302 9791        100%   83"
02 Sep 17, 03:00    7133   6077   13210   9713       13,100   15,800                13228 9735 13246 9746 13297 9788        100%   84"
02Sep17,04:00       7131   6074   13204   9713       13,100   15,900                13223 9727 13241 9743 13292 9784        100%   83"
02 Sep 17, 05:00    7128   6070   13198   9705       13,000   15,700                13217 9721 13238 9743 13285 9778        100%   84"
02 Sep 17, 06:00    7126   6066   13193   9697       13,100   15,800                13210 9713 13233 9734 13277 9773        100%   84"
02 Sep 17, 07:00    7123   6064   13187   9692       13,000   15,500                13204 9713 13228 9735 13271 9765        100%   8S"
02 Sep 17, 08:00
02 Sep 17, 09:00
02 Sep 17, 10:00
                    7121
                    7116
                    7114
                           6062
                           60S9
                           60SS
                                  13183
                                  13176
                                  13169
                                          9689
                                          9682
                                          9674
                                                     13,000
                                                     12,900
                                                     12,900
                                                              15,600
                                                              15,700
                                                              15,600
                                                                                    13198 9705 13223 9727 13268 9765
                                                                                    13193 9697 13217 9721 13264 9763
                                                                                    13187 9692 13210 9713 13257 9759
                                                                                                                            100%
                                                                                                                            100%
                                                                                                                            100%
                                                                                                                                   ....
                                                                                                                                   8S"

                                                                                                                                   8S%
02 Sep 17, 11:00    7111   60S3   13164   9672       13,100   15,400                13183 9689 13204 9713 13255 9755        100%   86%
02 Sep 17, 12:00    7108   60S2   13160   9671       13,100   15,400                13176 9682 13198 970S 13246 9746        100%   86%
02Sep17,13:00       7106   604S   13151   9661       13,000   15,400                13169 9674 13193 9697 13241 9743        100%   86"
02 Sep 17, 14:00    7102   6043   13145   96S4       13,200   15,100                13164 9672 13187 9692 13238 9743        100%   87"
02 Sep 17, 15:00    7100   6038   13137   964S       13,100   15,200                13160 9671 13183 9689 13233 9734        100%   87"
02 Sep 17. 16:00    7097   6037   13134   9646       13,100   15,200     12.900     13151 9661 13176 9682 13228 9735        100%   87"    100%
02 Sep 17, 17:00    709S   6031   13126   963S       13,200   15,100     12,900     13145 9654 13169 9674 13223 9727        100%   87"    100%




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02 Sep 17. 18:00
02 Sep 17.19:00
                    7092
                    7090
                           6029
                           6027
                                  13120
                                  13116
                                          9631
                                          9629
                                                    13,000
                                                    13,100
                                                              15,100
                                                              15,000
                                                                       12,900
                                                                       12,900
                                                                                  13137 9645 13164 9672 13217 9721
                                                                                  13134 9646 13160 9671 13210 9713         """'
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02Sep17, 20:00
02Sep 11. 21 ,00
02 Sep 17, 22:00
                    7087
                    7085
                    7082
                           6022
                           6021
                           6017
                                  13110
                                  13107
                                  13099
                                          9622
                                          9620
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                                                    13,100
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                                                    13,100
                                                              14,900
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                                                              14,900
                                                                       12,900
                                                                       12,800
                                                                       12,900
                                                                                  13126 9635 13151 9661 13204 9713
                                                                                  13120 9631 13145 9654 13198 9705
                                                                                  13116 9629 13137 9645 13193 9697
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                                                                                                                                  88"

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02 Stp 17, 23 :00   7079   6013   13092   9603      12,900    14,800   12,800     13110 9622 13134 9646 13187 9692         100%          100%
02 Sep 17, 24:00
03Stp17,01:00
                    7078   6010   13088   9S98      13,000    14,800   12,800     13107 9620 13126 963S 13183 9689         100%   """
                                                                                                                                  89"    100%
                    7076   6006   13082   9594      13,100    14,700   12,800     13099 9610 13120 9631 13176 9682         100%   89"    100%
03 Sep 17, 02:00    7072   6006   13078   9590      13,000    14,700   12,800     13092 9603 13116 9629 13169 9674         100%   89"    100%




                                                                                                                                  -
03 Sep 17. 03:00    7068   6000   13068   9583      13,000    14,800   12,800     13088 9598 13110 9622 13164 9672         100%   89"    100%
03 Sep 17, 04:00    7067   5997   13063   957S      13,000    14,800   12,800
03Sepl7, 0S:OO      7064   5993   13057   9567      12,900    14,500   12,800
                                                                                  13082 9594 13107 9620 13160 9671
                                                                                  13078 9590 13099 9610 13151 9661
                                                                                                                           100%
                                                                                                                           100%   """    100%
                                                                                                                                         100%
03Stpl7, 06:00      7060   5989   13050   9561      12,900    14,500   12,800     13068 9583 13092 9603 13145 9654         100%          100%




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03 Sep 17, 07:00    70S8   5986   13044   9554      12,800    14,700   12,800     13063 957S 13088 9598 13137 964S         100%   89"    100%
03 Sep 17, 08:00    70S4   5983   13037   9546      13,000    14,600   12,800     13057 9567 13082 9594 13134 9646         100%   90%    100%
03 Sep 17, 09 :00   7051   5980   13032   9541      12,900    14,500   12,800     13050 9561 13078 9590 13126 9635         100%          100%
03 Sep 17, 10:00    7047   5977   13024   9532      13,000    14,400   12.800     13044 9SS4 13068 9583 13120 9631         100%   91"    100%
03 Sep 17, ll:OO    7045   5975   13020   9530      13.000    14,500   12,800     13037 9546 13063 9S75 13116 9629         100%          100%
03 Stp 17, 12:00    7042   S971   13012   9528      13,100    14,300   12,800     13032 9541 13057 9S67 13110 9622         99%    91"    100%
03 Sep 17, 13:00    7039   5967   13006   9528      13,000    14,500   12,800     13024 9532 130SO 9561 13107 9620         100%          100%
03 Sep 17, 14:00    7035   5963   12998   9Sl2      13,000    14,300   12,800     13020 9530 13044 9SS4 13099 9610         100%   91"    100%
03 Sep 17, 15:00    7032   59S8   12990   9501      13,000    14,200   12,800     13012 9S28 13037 9S46 13092 9603         100%   92"    100%
03 Sep 17, 16:00    7030   5954   12984   9498       U,900    14,300   12,800     13006 9528 13032 9541 13088 9598                       100%
03 Sep 17, 17:00    7026   5953   12980   9493      13,000    14,200   12,800     12998 9512 13024 9532 13082 9594         ""'"
                                                                                                                           100%
                                                                                                                                  91"
                                                                                                                                  92"    100%
03 Sep 17, 18:00    702S   5948   12973   9496      12,900    14,200   12,800     12990 9S01 13020 9530 13078 9590         100%   92"    100%
03 Sep 17, 19:00    7022   5945   12967   9489      12,900    14,300   12,800     12984 9498 13012 9528 13068 9583         100%   9 1"   100%
03 Sep 17, 20:00    7019   S720   12740   9324      13,000    14,100   12,800     12980 9493 13006 9528 13063 9S7S         100%   92"    100%
03 Sep 17, 21:00    7016   S7J7   12733   9318      12,900    14,000   12,800     12973 9496 12998 9512 13057 9S67         100%   93,.   100%
03 Sep 17, 22:00    7012   5714   12726   9317      13,000    14,100   12.800     12967 9489 12990 9501 BOSO 9561          100%   92"    100%
03 Stp 17, 23:00    7010   5710   12721   931S      12,900    14,000   12,800     12740 9324 12984 9498 13044 9SS4         99%    93"    100%
03 Stp 17, 24:00    7007   5709   12717   9310      12,700    14,000   12.800     12733 9318 12980 9493 13037 9S46         100%   93,.   100"
04 Sep 17, 01:00    7004   5706   12710   9303      12,700    14,000   12,800     12726 9317 12973 9496 13032 9S41         100%   93"    100%
04 Stp 17, 02:00    7001   5702   12703   9289      12,700    13,900   12,800     12721 931.S 12967 9489 13024 9532        100%          100%
04Stpl7, 03:00      6998   5699   12697   9290      12,700    13,900   12,800     12717 9310 12740 9324 13020 9530         100%   ""
                                                                                                                                  92"    100%
04 Sep 17, 04:00    6995   5695   12690   9286      12,800    13,700   12,800     12710 9303 12733 9318 13012 9S28         99%    93"    100%
04Sepl7, 0S:OO      6991   S693   12685   9277      12,800    13,700   12,800     12703 9289 12726 9317 13006 9528         99"    93"    100%
04Sepl7, 06:00      6988   5690   12678   9277      12,700    13,700   12,800     12697 9290 12721 9315 12998 9512         100%   93"    100%
04 Stp 17, 07:00    6985   5686   12671   9268      12,700    13,600   12.800     12690 9286 12717 9310 12990 9501         100%   94"    100%
04Stpl7, 08:00      6980   5574   12555   9175      12,500    13,600   12,800     12685 92n 12110 9303 12984 9498          100%   93"    1()0"
04Sepl7, 09:00      6976   5461   12437   9095      12,800    13,400   12.800     12678 92n 12103 9289 12980 9493          99%    95"    100%
04 Sep 17, 10:00    6974   5458   12432   9092      12,600    13,400   12.800     12671 9268 12697 9290 12973 9496         100%   95"    100%
04 Sep 17, 11:00    6971   5456   12428   9090      12,800    13,300   12,800     12555 9175 12690 9286 12967 9489         98"    95"    100%
04 Sep 17, 12:00    6968   5453   12420   9095      12,700    13,200   12,700     12437 9095 12685 9277 12740 9324         98%    96"    100%
04 S~p 17, 13:00    6964   S4SO   12414   9090      12,600    13,200   12,800     12432 9092 12678 9277 12733 9318         99%    96"    99"
04 Sep 17, 14:00    6960   5446   12406   9076      12,500    13,100   12,700     12428 9090 12671 9268 12726 9317         99%    97%    100%
04 Stp 17, 15:00    69S7   5443   12400   9069      12,600    13,200   12,700     12420 9095 12555 9175 12721 931S         99%    95"    100%
04 Stp 17.16:00     6953   S440   12393   9068      12,400    13,100   12,700     12414 9090 12437 9095 12717 9310         100%   95"    100%
04 Sep 17, 17:00    6950   5436   12386   9064      12,600    13,000   12,700     12406 9076 12432 9092 12710 9303         98"    96"    100%
04 Sep 17. 18:00    6947   5435   12382   9059      12,600    13,000   12.600     12400 9069 12428 9090 12703 9289         98"    96"    100%
04 Stp 17, 19:00    6944   5428   12372   9050      12, 600   12,900   12,600     12393 9068 12420 9095 12697 9290         98"    96"    100%
04 Stp 17, 20:00    6941   S207   12148   8891      12, 500   12,900   12,700     12386 9064 12414 9090 12690 9286         99%    96"    100%
04 Sep 17, 21 :00   6938   5203   12141   8892      12,400    12.800   12,600     12382 9059 12406 9076 12685 9277         100%   97"    100%
04 5tp 17, 22:00    6934   5204   llll8   8872      12,300    12,700   12,600     12372 90SO 12400 9069 12678 9277         100%   98"    100%
04 Sep 17, 23:00    6930   5198   12129   8882      12, 400   12,700   12,600     12148 8891 12393 9068 12671 9268         98"    98"    100%




                                                                                                                                                 A1198
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04 Sep 17, 24:00    6928   5196   12124    8869      12,300    12,600     12,600      12141 8892 12386 9064 12S5S 9175        99%        98"          100%
OS Sep 17, 01:00    6925   5195   12120    8864      12,400    12,500     12,600      12138 8872 12382 9059 12437 9095        98"        99"          99"




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OS Sep 17, 02:00    6920   5191   12111    8862      12,400    12,500     12,500      12129 8882 12372 9050 12432 9092        98"        99"          99"
OS Sep 17, 03:00    6918   5188   12106    8858      12,300    12,400     12,500      12124 8869 12148 8891 12428 9090        99%        98"          99"
OS S.p 17, 04:00    6913   5185   12098    8848      12,400    12,400     12,500      12120 8864 12141 8892 12420 9095        98"        98"
05 Sep 17, 05:00    6910   5181   12092    8861      12,300    12,400     12,500      12111 8862 12138 8872 12414 9090        98"        98"           99%
OS Stp 17, 06:00    6907   5179   12086    8838      12,200    12,100     12,400      12106 8858 12129 8882 12406 9076        99%        100%         100%
05Sep17, 07:()()    6904   5178   12032    8844      12,300    12,000     12,400      12098 8848 12124 8869 12400 9069        98"        100%         100%
05 Sep 17, 08:00    6900   4955   11856    8669      12,200    12,000     12,400      12092 8861 12120 8864 12393 9068        99%        100%         100%
05 Sep 17, 09:00    6897   4954   11851    8661      12,300    12,000     12,300      12086 8838 12111 8862 12386 9064        98"        100%         100%
05 Sep 17, 10:00    6893   4952   11845    8665      12,200    12,000     12,300      12082 8844 12106 8858 12382 9059        99%        100%         100%
05 Sep 17, 11:00
OS Stp 17, 12:00
05 Sep 17, 13:00
                    6889
                    6886
                    6882
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                           4945
                           4944
                                  11838
                                  11831
                                  11826
                                           8661
                                           8656
                                           8645
                                                     12,100
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                                                               11,900
                                                               11,900
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                                                                          12,300
                                                                          12,300
                                                                          12,200
                                                                                      11856 8669 12098 8848 12372 9050
                                                                                      11851 8661 12092 8861 12148 8891
                                                                                      11845 8665 12086 8838 12141 8892
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                                                                                                                              98"

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                                                                                                                                         100%
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                                                                                                                                                      100%
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                                                                                                                                                      100%
OS Sep 17, 14:00
05 Sep 17, 15:00
05 Sep 17, 16:00
                    6878
                    6874
                    6871
                           4940
                           4937
                           4935
                                  11818
                                  11811
                                  11807
                                           8663
                                           8644
                                           8640
                                                     12,100
                                                     12,000
                                                     11,900
                                                               11,800
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                                                               11,llOO
                                                                          12,200
                                                                          12,200
                                                                          12,100
                                                                                      11838 8661 12082 8844 12138 8872
                                                                                      11831 86S6 11856 8669 12129 8882
                                                                                      11826 8645 11851 8661 12124 8869
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                                                                                                                              98"

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OS Sep 17, 17:00    6867   4932   11799    8629      12,100    11,800     12,100      11818 8663 11845 8665 12120 8864        98"        100%         100%




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OS Sep 17, 18:00    6866   4927   11793    8625      12,000    11,700     12.000      11811 8644 11838 8661 12111 8862        98"        100%         100%
OS Stp 17, 19:00    6863   4926   11789    8622      12,000    11,700     12,000      11807 8640 11831 8656 12106 8858        98"        100%         100%
05 Sep 17, 20:00    6858   4703   11561    8452      11,900    11,700     12,000      11799 8629 11826 8645 12098 8848                   100%         100%
05 Sep 17, 21:00    6854   4702   11557    8455      12,000    11,600     11,900      11793 862S 11818 8663 12092 8861        98"        100%         100%
05 Stp 17, 22:00    6852   4701   11552    8453      11,800    11,700     11,900      11789 8622 11811 8644 12086 8838        100%       100%         100%
OS Stp 17, 23:00    6848   4698   11546    8443      11,900    11,600     11,900      11561 8452 11807 8640 12082 8844        97"        100%         100%
05 Sep 17, 24:00    6844   4695   11539    8453      11,800    11,600     11,800      11557 8455 11799 8629 11856 8669        98"        100%         100%
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06 Sep 17, 13:00    6794   4443   11237    8206      11,SOO    11,400     11,500      11256 8227 11497 8403 11557 845S        98"        100%         100%
06Sep 17, 14:00     6790   4439   11 229   8207      11,500    11,400     11,400      11246 8212 11275 8226 11552 8453        98"        99"          100%
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06 Sep 17, 21:00    6769   4213   10982    8021      11,300    11,300     11, 300     11202 8175 11229 8207 11501 8415                   99%          100%
06Sep 17, 22:00     6764   4211   10974    8021      11,300    11,200     11,300      11201 8177 11227 8206 11497 8403        99"        100%         100%
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07.Sep 17, 02:00    6750   4203   10952    7998      11,200    11,200     11,000      10975 8008 11201 8177 11256 8227        98"        100%         100%
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  Case 1:17-cv-09002-LAS                          Document 266-2                 Filed 01/10/23                        Page 756 of 1584




07Sep17,06:00       6737   4192   10930    7983       11,100   11,100   11,000     10943 7989 10975 8008 11229 8207          99%   99%    100%
07 Sep 17, 07:00    6730   4190   10920    7974       11,000   11,200   11,100     10935 7981 10969 8009 11227 8206          99"   98%    100%
07Sepl7,08:00       6720   3969   10689    7793       11,100   11,100   10,900     10935 7974 10956 8001 11220 8192          99%   99%    100%
07Sepl7,09:00       6720   3966   10686    7798       11,000   11,100   11,100     10'J30 7983 10952 7998 11211 8185         99%   99%    100%
07 Sep 17, 10:00    6725   3964   10689    7799       11,000   11,100   11,000     10920 7974 10943 7989 11202 8175          99%   99%    100%
07 Sep 17, 11:00    6709   3962   10672    7777       10,800   11,000   10,900     10689 7793 1093S 7981 11201 8177          99%   99%    100%
07 Sep 17, 12:00    6706   3962   10669    7778       10,800   11,000   11,000     10686 7798 10935 7974 10978 8006          99%   99%    100%
07 Sep 17, 13:00    6702   3959   10661    7769       10,800   10,800   11,000     10689 7799 10930 7983 10982 8021          99%   100%   100%
07 Sep 17, 14:00    6472   3957   10429    7909       10,800   11,000   10,700     10672 7777 10920 7974 10974 8021          99%   99%    100"
075epl7,1S:OO       6467   3956   10423    7905       10,700   10,900   10,900     10669 7778 10689 7793 10975 8008         100"    98"   100%
07 Sep 17, 16:00    6462   3954   10416    7916       10,700   10,900   10,700     10661 7769 10686 7798 10969 8009         100%    98%   100%
07 Sep 17, 17:00    6458   3952   10409    7901       10,600   10,700   10,800     10429 7909 10689 7799 10956 8001          98%   100%   100%
07 Sep 17. 18:00    6457   3950   10407   7901        10,600   10,800   10,700     10423 7905 10672 7777 10952 7998          98%    99%   100%
07 Sep 17, 19:00    6448   3949   10397    7895       10,600   10,800   10,900     10416 7916 10669 7778 10943 7989          98"    99%   100%
07 Sep 17, 20:00    6222   3731    9953   7867        10,500   10,700   10,700     10409 7901 10661 7769 10935 7981          99"   100%   100%
07 Sep 17, 21:00    6237   3730    9966   7908        10,500   10,700   10,600     10407 7901 10429 7909 10935 7974          99%   97%    100%
07 Sep 17, 22:00    6235   3728    9963   7895        10,300   10,700   10,800     10397 7895 10423 7905 10930 7983         100%   97%    100%
07 Sep 17, 23:00    6224   3727    9951   7883        10,300   10,700   10,700      9953 7867 10416 7916 10920 7974          97"   97%    100%
07 Sep 17, 24:00    6215   3725    9939   7871        10,200   10,500   10,700      9966 7908 10409 7901 10689 7793          98%   99%    100%
08Sepl7,01:C>O      6209   3721    9930   7861        10,200   10,500   10,700      9963 7895 10407 7901 10686 7798          98"   99%    100%
08 Sep 17, 02:00    6206   3720    9925   7860        10,100   10,400   10,400      99Sl 7883 10397 7895 10689 7799          99%   100%   100%
08 Sep 17, 03:00    6204   3718    9922   7860        10,000   10,400   10,400      9939 7871 9953 7867 10672 7777           99%   96%    100%
08 Sep 17, 04:00    6202   3717    9920   7861        10,000   10,400   10,400      9930 7861 9966 7908 10669 7778           99%   96%    100%
08 Sep 17, 05:00    6199   3715    9914   7854        9,920    10,300   10,300      9925 7860 9963 7895 10661 7769          100%   97%    100%
08 Sep 17, 06:00    6200   3714    9914   7858        9,870    10,300   10,100      9922 7860 9951 7883 10429 7909          100%          100%
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08 Sep 17, 09:00    5957   3490    9446   7197        9,770    10,200   10,000      9914 7858 9925 7860 10409 7901          100%   97"    100%
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08 Sep 17, 13:00    5945   3480    9425   7199        9,490    10,100   10,000      9439 7187 9914 7858 9966 7908            99%   98%    100%
OS Sep 17, 14:00    5719   3480    9199   6699        9,420    10,100   9,9SO       9435 7179 9907 7848 9963 7895           100%   98%    100%
OS Sep 17, 15:00    5721   3480    9200   6691        9,280    10,000   9,900       9431 7207 9452 7198 9951 7883           100"   95%    100"
OS Sep 17, 16:00    5719   3478    9197   6705        9,110    9,930    9,830       9425 7199 9446 7197 9939 7871           100%   95%    100%
085e p 17, 17:00    S711   3477    9188   6696        9,020    9,930    9,840       9199 6699 9439 7187 9930 7861           100%   95%    100%
08 Sep 17.18:00     5708   3474    9182   6690        8,820    9,820    9,820       9200 6691 943S 7179 9925 7860           100%   96%
08 Sep 17.19:00     5704   3474    9178   6698        8,680    9,880    9,780       9197 6705 9431 7207 9922 7860           100"   95%    '"""
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08 Sep 17, 20:00    S478   3252    8730   6542        8,660    9,800    9,720       9188 6696 9425 7199 9920 7861           100%   96%    100%
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095epl7, 01:00      5464   3249    8713   6382        8,090    9,480    9,560       8725 6371 9182 6690 9446 7197           100%   97"    99%
09 Sep 17, 02:00    S4S8   3247    8705   6381        8,000    9,450    9,520       8721 6376 9178 6698 9439 7187           100%   97%    99%
09 Sep 17, 03:00    5456   3246    8702   6383        7,820    9,330    9,480       8716 6380 8730 6542 9435 7179           100%   94%    100"
09 Sep 17, 04:00    5453   3245    8698   6389        7,8SO    9,280    9,420       8713 6382 8728 6368 9431 7207           100%   94%    100%
09Sepl7,05:00       5449   3244    8693   6393        7,720    9,190    9,340       8705 6381 872S 6371 9425 7199           100%   95%    100%
09Sepl7,06:00       5448   3243    8690   6390        7,610    9,090    9,250       8702 6383 8721 6376 9199 6699           100%   96%     99%
09 Sep 17, 07:00    5445   3241    8687   6393        7,640    9,040    9,220       8698 6389 8716 6380 9200 6691           100%   96%    100%
09 Sep 17, 08:00    5218   3024    8242   6354        7,490    8,980    9,170       8693 6393 8713 6382 9197 6705           100%   97%    ,oo,.
09 Sep 17, 09:00    5212   3023    823S   6367        7,460    8,970    9,110       8690 6390 8705 6381 9188 6696           100%   97%    100%
09 Sep 17, 10:00    5209   3020    8229   6365        7,380    8,960    9,050       8687 6393 8702 6383 9182 6690           100%   97%    100%
09 Sep 17, 11:00    5207   3017    8224   6369        7,300    8,850    9,030       8242 6354 8698 6389 9178 6698           100%   98%    100%




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  Case 1:17-cv-09002-LAS                          Document 266-2              Filed 01/10/23                         Page 757 of 1584




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09Sep 17, 17:00     5194   3011   8205     6429       7,150   8,570   8,740     8212 6400    8229 6365   8713 6382        100%          100%




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09 Sep 17, 18;()0   5181   3010   8191     6409       7,110   8,420   8,720     8209 6402    8224 6369   8705 6381        100%          100%
09Sep 17, 19:00     5180   3008   8188     6418       7,160   8,380   8,660     8205 6407    8223 6383   8702 6383        100%          100%
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09Sep17, 21:00      4947   3007   7955     6580       7,040   8,260   8,550     8188 6418    8209 6402   8690 6390        100%          100%
09Sepl7,23:00       4945   3005   7950     6584       7,010           8,510     7964 6567    8205 6407   8687 6393        100%          100%
09Sepl7, 24:00      4945   3005   7950     6591                       8,440     7960 6S69    8205 6429   8242 6354                      98"
10Stpl7,01:00       4946   3004   7950     6610                                 7955 6580    8191 6409   8235 6367
10 Se p 17, 02:00   4945   3003   7947     6610                                 7950 6584    8188 6418   8229 6365
10 Sep 17, 03:00    4940   3002   7942     6618                                 7950 6591    7964 6567   8224 6369
l0Stp 17, 04:00     4937   3001   7938     6628                                 7950 6610    7960 6569   8223 6383
10Sep17,05:00       4928   2999   7927     6613                                 7947 6610    7955 6580   8217 6382
l0Sep 17, 06:00     4928   2999   7927     6630                                 7942 6618    7950 6584   8212 6400
l0Sepl7,07:00       4926   2998   7924     6639                                 7938 6628    7950 6591   8209 6402
10Sep17,08:00       4699   2996   7695                                          7927 6613    7950 6610   8205 6407
l0Sepl7,09:00       4697   2994   7691                                          7927 6630    7947 6610   8205 6429
10 Sep 17, 10:00    4697   2993   7690                                             0 6639    7942 6618   8191 6409
10Sep17,11:00       4691   2992   7683                                                       7938 6628   8188 6418
10 Sep 17, 12:00    4688   2990   7678                                                       7927 6613   7964 6567
10Sepl7, l3:00      4686   2988   7674                                                       7927 6630   7960 6569
10Stp 17, 14:00     3789   2987   6n6                                                           0 6639   7955 6S80
10 Sop 17, lS:00    3788   2986   6774                                                          0        7950 6S84
10Sep17,16:00       3787   2984   6m                                                            0        7950 6591
lOSep 17, 17:00     3788   2983   6m                                                            0        7950 6610
10 Sep 17, 18:00    3782   2982   6764                                                          0        7947 6610
10 Sep 17, 19:00    3n9    2981   6760                                                          0        7942 6618
10Sepl7, 20·00      3n7    2982   6759                                                                   7938 6628
10Sepl7, 21:00      3n1    2980   6757                                             0                     7927 6613
10 Sep 17, 22:00    3n4    2980   6754                                             0                     7927 6630
10 Sep 17, 23:00    3773   2979   6752                                             0                        0 6639
10 Stp 17, 24:00    3n,    2977   6749
11 Sep 17, 01:00    3no    2976   6746
11 Sep 17, 02:00    3769   2975   6744                                             0
11Stpl7, 03:00      3767   2974   6741
11 Stp 17, 04:00    3765   2973   6738
11 Sep 17, 05:00    3763   2971   6734                                             0
11 Stp 17, 06:00    3762   2971   6733                                             0
11 Sep 17, 07:00    3761   2969   6730                                             0
11 Sep 17, 08:00    3759   2966   6725                                             0
11 Se p 17, 09:00   3759   2965   6724                                             0
11 Sep 17, 10:00    3759   2963   6722
11 Sep 17, 11:00    3756   2963   6719                                             0
11 Sep 17, 12:00    3759   2960   6719
11 Sep 17, 13:00    3760   2960   6720                                                                     0
11 Sep 17, 14:00    3756   2958   6714
11 Sep 17, 15:00    3754   2957   6711
11 Sep 17, 16:00    3752   2956   6708
11 Sep 17, 17:00    3750   2955   6705




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11 Sep 17, 18:00    3748   2954    6702                        0
11 Sep 17, 19:00    3746   29S2    6698
11 Sep 17, 20:00    lS27   2737    6264                                     0
11 Sep 17, 21:00    3526   2736    6262                             0       0
11 Sep 17, 22:00    lS24   2735    6259                             0       0
11 Sep 17, 23:00    lS22   2734    6256
11 Sep 17, 24:00    lS21   273:3   62S4
12Sep17,01:00       3S19   2732    6251
12Sepl7,02:00       3Sl8   2731    6249
12 Sep 17, 03:00    3517   2730    6247
12Sep 17, 04:00     3515   2729    6244
12 Sep 17, 05.:00   3514   2728    6242
12Sepl7,06:00       3513   2727    6240
12 Sep 17, 07:00    3511   2726    6237                        0
12Sep 17,08:00      3285   2509    5794                        0
12Sepl7,09:00       3284   2508    5792
12 Sep 17, 10:00    3283   2506    5789
12 Sep 17, 11:00    3282   2505    5787
12 Sep 17.12:00     3281   2503    S784
12Sepl7,13:00       3280   2503    5783
12Sepl7,14:00       3278   2502    5780
12 Sep 17, 15:00    3278   2501    5779
12 Sep 17, 16:00    3273   2501    5774
12Sepl7, 17:00      3273   2500    5773
12Sep17,18:00       3272   2498    5770                        0
12 Sep 17, 19:00    3271   2499    S770                        0
12 Sep 17, 20:00    3271   2391    5662                        0
12 Sep 17, 21:00    3269   2390    5659                        0
12 Sep 17, 22:00    3267   2390    5657                        0
12 Sep 17, 23:00    326S   2389    S6S4
12 Sep 17, 24:00    3264   2387    5651
13 Sep 17, 01:00    3263   2387    5650
13 Sep 17, 02:00    3262   2386    5648
13 Sep 17, 03:00    3261   2385    5646
13Sep17,04:00       3259   2385    5644
1l Sep 17, 05:00    3257   2384    5641
13 Sep 17, 06:00    3256   2383    5639                        0
13 Sep 17, 07:00    3255   2382    5637                        0
13 Sep 17, 08:00    2808   2272    5080                        0
13 Sep 17, 09:00    2807   2271    5078                        0
13 Sep 17, 10:00    2806   2269    5075                        0
13 Sep 17, 11:00    2805   2270    5075                        0
13 Sep 17, 12:00    2804   2268    5072                        0
13Sep 17, ll:OO     2803   2268    5071
13 Sep 17, 14:00    2802   2268    5070
13 Se p 17, 15:00   2801   2267    5068
13 Sep 17, 16:00    2799   2266    5065
13 Sep 17, 17:00    2798   2265    5063
13 Se p 17, 18:00   2797   2264    5061
13 Sep 17, 19:00    2795   2264    5059
13 Sep 17, 20:00    2570   2151    4721
13 Sep 17, 21:00    2568   2148    4716                                     0
13Sepl7, 22:00      2564   2149    4713                                     0
13 Sep 17, 23:00    2561   2147    4708                                     0




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13 Sep 17, 24:00   2S61   2147    4708                       0
14 Sep 17, 01:00   2560   2147    4707                       0
14 Sep 17, 02:00   2565   2146    011                        0
14Sep17,03:00      2565   2146    011                        0
14Sep17,04:00      2564   2145    4709
14 Sep 17, 05:00   2564   2145    4709
14 Sep 17, 06:00   2563   2144    4707
14 Sep 17, 07:00   2562   2143    4705
14 Sep 17, 08:00   2333   2025    4358                       0
14 Sep 17, 09:00   2332   2024    OS6                        0
14 Sep 17, 10:00   2332   2022    4354                       0         0
14 Sep 17, 11:00   2332   202.3   43SS
14 Sep 17, 12:00   2332   2023    43SS
14 Sep 17, 13:00   2332   2022    4354                       0
14 Sep 17, 14:00   2332   2019    4351                       0
14 Sep 17, 15:00   2332   2020    4]52                       0
14 Sep 17, 16:00   2331   2019    4350                       0
14Sep17,17:00      2330   2018    4348                       0
14 Sep 17, 18:00   2330   2017    4347
14 Sep 17, 19:00   2098   1883    3981
14Sep 17, 20:00    2103   1883    3986
14Sep 17, 21:00    2103   1882    3985                                 0
14Sep 17, 22:00    2103   1882    3985                                 0
14Sep17,23:00      2101   1882    3983                       0    0    0
14 Sep 17, 24:00   2102   1882    3984                       0         0
15Sep17, 01:00     2102   1882    3984
15 Sep 17, 02:00   2110   1881    3991                                 0
15 Sep 17, 03:00   2109   1881    3990                                 0
15 Sep 17, 04:00   2107   1880    3987                            0    0
15Sep17, 0S:OO     2107   1485    3592                            0    0
l5Sep17, 06:00     2104   1484    3588                            0    0
15Sep17, 0 7:00    2102   1483    3585                                 0
15 Sep 17, 08:00   2101   1482    3583
15Sep17,09:00      2102   1482    3584
15 Sep 17, 10:00   2098   1482    3580
15 Sep 17, 11:00   2097   1482    3579
15 Sep 17, lH>O    2098   1482    3580                            0
15 Sep 17, 13:00   2097   1482    3579                            0
15 Sep 17, 14:00   2097   1483    3580
15 Sep 17, 15:00   2097   1482    3579
1S Sep 17, 16:00   2097   1480    3577
15 Sep 17. 17:00   2097   1480    3577
lSSep 17, 18:00    2096   1480    3576
15 Sep 17, 19:00   2094   1479    3573
15 Sep 17, 20:00   1751   1478    3229
15 Sep 17, 21:00   1750   1478    3228
lSSep 17,22:00     1748   1476    3224
15 Sep 17, 23:00   1747   1474    3221
15 Sep 17, 24:00   1749   1476    3225
16Sep17, 01:00     1747   1476    3223
16Sep 17, 02:00    1745   1476    3221
16Sep17, 03-00     1744   1475    3219
16Sep 17, 04:00    1744   1475    3219
16 Sep 17, 05:00   1744   1475    3219




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• 16 Sep 17, 06:00   1744   1474   3218
  16 Sep 17, 07:00   1742   1474   3216
  16 Sep 17, 08:00   1434   1474   2958                        0
  16 Sep 17, 09:00   1487   1475   2962                        0
  16 Sep 17, 10:00   1437   1475   2962                        0    0       0
  16Srpl7, 11:00     148&   1475   2963                        0    0       0
  16Sepl7,l2i>O      1484   1475   2963                        0    0       0
  16Sep17, 13:00     1489   1474   2963                        0    0       0
  16 Sep 17, 14:00   148&   1472   2960                        0    0       0
  16Sep 17, 15:00    1487   1471   29S8                             0       0
  16Sep 17, 16:00    1486   1470   2956                        0            0
  16Sep 17, 17:00    1487   1471   2958                        0
  16 Sep 17, 18:00   1486   1471   2957
  16 Sep 17, 19:00   1487   1469   2956                        0
  16 Sep 17, 20:00   1436   1469   2955
                     1486   1470   2956                                     0
                                                                            0




                                                                                                   A1204
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


1RYHPEHU_55HY




  Baird.      Innovation Engineered.                                                   baird.com


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     $GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP
     +\GUDXOLF6WXG\
     ([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP


                                                                                 3UHSDUHGE\




                                                                            :)%DLUG $VVRFLDWHV/WG

                                                                             )RUIXUWKHULQIRUPDWLRQSOHDVHFRQWDFW
                                                                             5RE1DLUQDW
                                                                             UQDLUQ#EDLUGFRP
                                                                             ZZZEDLUGFRP



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:)%DLUG $VVRFLDWHV/WG %DLUG $OO5LJKWV5HVHUYHG&RS\ULJKWLQWKHZKROHDQGHYHU\SDUWRIWKLVGRFXPHQWLQFOXGLQJDQ\
GDWDVHWVRURXWSXWVWKDWDFFRPSDQ\WKLVUHSRUWEHORQJVWR%DLUGDQGPD\QRWEHXVHGVROGWUDQVIHUUHGFRSLHGRUUHSURGXFHGLQZKROHRU
LQSDUWLQDQ\PDQQHURUIRUPRULQRURQDQ\PHGLDWRDQ\SHUVRQZLWKRXWWKHSULRUZULWWHQFRQVHQWRI%DLUG

7KLVGRFXPHQWZDVSUHSDUHGE\:)%DLUG $VVRFLDWHV/WGIRU86'HSDUWPHQWRI-XVWLFH7KHRXWSXWVIURPWKLVGRFXPHQWDUH
GHVLJQDWHGRQO\IRUDSSOLFDWLRQWRWKHLQWHQGHGSXUSRVHDVVSHFLILHGLQWKHGRFXPHQWDQGVKRXOGQRWEHXVHGIRUDQ\RWKHUVLWHRUSURMHFW
7KHPDWHULDOLQLWUHIOHFWVWKHMXGJPHQWRI%DLUGLQOLJKWRIWKHLQIRUPDWLRQDYDLODEOHWRWKHPDWWKHWLPHRISUHSDUDWLRQ$Q\XVHWKDWD7KLUG
3DUW\PDNHVRIWKLVGRFXPHQWRUDQ\UHOLDQFHRQGHFLVLRQVWREHPDGHEDVHGRQLWDUHWKHUHVSRQVLELOLW\RIVXFK7KLUG3DUWLHV%DLUG
DFFHSWVQRUHVSRQVLELOLW\IRUGDPDJHVLIDQ\VXIIHUHGE\DQ\7KLUG3DUW\DVDUHVXOWRIGHFLVLRQVPDGHRUDFWLRQVEDVHGRQWKLVGRFXPHQW




55HY                                         &RPPHUFLDOLQ&RQILGHQFH                                                      3DJHL


                                                                                                                                                     A1206
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6XPPDU\RI2SLQLRQV
*HQHUDO2SLQLRQVRQ'DP2SHUDWLRQV

+XUULFDQH+DUYH\H[FHHGHG$GGLFNVDQG%DUNHU5HVHUYRLUVK\GUDXOLFGHVLJQFRQGLWLRQV

7KH$GGLFNVDQG%DUNHUGDPVDUHGHVLJQHGIRUVKRUWWHUPLPSRXQGPHQWRIVWRUPZDWHUUXQRII7KH8QLWHG
6WDWHV$UP\&RUSVRI(QJLQHHUV WKH&RUSV GHVLJQHGWKHUHVHUYRLUVEDVHGRQLQIORZK\GURJUDSKVH[FHHGLQJ
WKHHVWLPDWHGUXQRIIGXULQJWKHIORRGZKLFKZDVWKHVWRUPRIUHFRUGDWWKDWWLPH

$IWHUFRQVWUXFWLRQRIWKHGDPVWKHFRQFHSWRI6WDQGDUG3URMHFW)ORRGV 63)V HQWHUHGWKHOH[LFRQ7KH63)LV
WKHIORRGWKDWUHSUHVHQWVWKHPRVWVHYHUHK\GURORJLFFRQGLWLRQVFRQVLGHUHGUHDVRQDEO\FKDUDFWHULVWLFRIWKH
JHRJUDSKLFUHJLRQ7KH63)KDVEHHQUHYLVHGIRUWKHGDPVRYHUWLPH,WZDVGHILQHGLQWKH5HVHUYRLU
5HJXODWLRQ0DQXDODQGPRVWUHFHQWO\XSGDWHGLQWKH+\GURORJ\5HSRUW'XULQJWKH+XUULFDQH
+DUYH\HYHQWWKHFRPELQHGFXPXODWLYHLQIORZVWR$GGLFNVDQG%DUNHU5HVHUYRLUVUHDFKHGDWOHDVW
DFUHIHHW7KLVH[FHHGHGWKH63)FXPXODWLYHLQIORZVE\ LQDGGLWLRQWRH[FHHGLQJWKH63)
SHDNLQIORZVE\WRWLPHV DQGH[FHHGHGWKHUHYLVHG63)FXPXODWLYHLQIORZWR$GGLFNVDQG%DUNHU
5HVHUYRLUV E\7KH+DUYH\(YHQWDOVRH[FHHGHGWKH:DWHU&RQWURO0DQXDO63)ZDWHUVXUIDFH
HOHYDWLRQVDQGUHVXOWHGLQXQFRQWUROOHGVSLOODURXQGWKHQRUWKHQGRI$GGLFNV5HVHUYRLUIRUWKHILUVWWLPHLQWKH
KLVWRU\RIWKHSURMHFW'XHWRWKHLQWHQVLW\DQGGXUDWLRQRIUDLQIDOODVVRFLDWHGZLWKWKH+DUYH\(YHQWWKH&RUSV
PDGHUHOHDVHVLQDFFRUGDQFHZLWKWKHLQGXFHGVXUFKDUJHUHOHDVHVFKHGXOHIRUWKHILUVWWLPHLQWKHKLVWRU\RIWKH
WZRUHVHUYRLUV

7KH+DUYH\(YHQWH[FHHGHGWKHRULJLQDODQGWKHUHYLVHG63)FXPXODWLYHLQIORZVWR$GGLFNVDQG%DUNHU
5HVHUYRLUV

$GGLFNVDQG%DUNHU5HVHUYRLUFDSDFLWLHVDUHVPDOOHUWKDQWKHYROXPHRIWKHIORRGZDWHUJHQHUDWHG
GXULQJWKH+DUYH\(YHQWEXWWKH\HIIHFWLYHO\UHGXFHGSHDNIORZVGRZQVWUHDPRIWKHGDPVDVWKH\
ZHUHGHVLJQHGWRGR

7KHFRPELQHGFDSDFLW\RI$GGLFNVDQG%DUNHU5HVHUYRLUVLVDFUHIHHW ELOOLRQJDOORQV RIZDWHU
ZLWKLQWKH*RYHUQPHQW2ZQHG/DQG *2/ 7KLVFRPELQHGFDSDFLW\LVDSSUR[LPDWHO\JUHDWHUWKDQWKH
DPRXQWRIIORRGZDWHUJHQHUDWHGXQGHUWKHSUH+DUYH\\HDUIORRGIUHTXHQF\'XULQJWKH+DUYH\(YHQWDW
OHDVWDFUHIHHWRIIORRGZDWHUIORZHGLQWR$GGLFNVDQG%DUNHU5HVHUYRLUVVLJQLILFDQWO\H[FHHGLQJWKHLU
FRPELQHGFDSDFLW\DQGGLFWDWLQJVLJQLILFDQWUHOHDVHVIURPWKHUHVHUYRLUV

7KHPD[LPXPFRPELQHGGLVFKDUJHFDSDFLW\RI$GGLFNVDQG%DUNHUUHOHDVHFRQGXLWVLVDSSUR[LPDWHO\
FIV'XULQJWKH+DUYH\(YHQWIORRGZDWHULQIORZUDWHVWR$GGLFNVDQG%DUNHU5HVHUYRLUVUHDFKHGDW
OHDVWFIV7KHUHIRUHWKHPD[LPXPFRPELQHGFDSDFLW\RIWKHUHOHDVHFRQGXLWVZDVVLJQLILFDQWO\
H[FHHGHG7KHGLIIHUHQFHLQPDJQLWXGHEHWZHHQWKHUDSLGLQIORZUDWHVDQGWKHUHVWULFWHGRXWIORZUDWHVUHVXOWHG
LQDQLQLWLDOO\UDSLGLQFUHDVHRIZDWHUVXUIDFHHOHYDWLRQVEHKLQGWKHGDPV

'HVSLWHWKHUHOHDVHVWKDWZHUHPDGHGXULQJWKH+DUYH\(YHQWWKHUHVHUYRLUVHIIHFWLYHO\UHGXFHGSHDNIORZV
GRZQVWUHDPRIWKHGDPVDVWKH\ZHUHGHVLJQHGWRGR




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                               &RPPHUFLDOLQ&RQILGHQFH                                3DJHLL


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)ORRGLQJZDVXQDYRLGDEOHGXULQJWKH+DUYH\(YHQW

)ORRGLQJGXULQJWKH+DUYH\(YHQWZDVXQDYRLGDEOHGXHWRWKHIROORZLQJUHDVRQV
x   7KHWRWDOFXPXODWLYHLQIORZWR$GGLFNVDQG%DUNHU5HVHUYRLUVGXULQJWKH+DUYH\(YHQWZDVPRUHWKDQ
    WZLFHWKHFRPELQHGFDSDFLW\RIWKHUHVHUYRLUVZLWKLQWKH*2/
x   7KHPD[LPXPFRPELQHGFDSDFLW\RIWKHUHOHDVHFRQGXLWVFRXOGQRWGLVFKDUJHWKHH[FHVVYROXPHRIZDWHU
    GXULQJWKH+DUYH\(YHQW$VVXFKXSVWUHDPIORRGLQJZDVXQDYRLGDEOH
x   7KH+DUYH\(YHQWH[FHHGHGWKHK\GUDXOLFGHVLJQFRQGLWLRQVRIWKH$GGLFNVDQG%DUNHU5HVHUYRLUVZKLFK
    UHTXLUHGUHOHDVHVLQDFFRUGDQFHZLWKWKHLQGXFHGVXUFKDUJHVFKHGXOH$VVXFKGRZQVWUHDPIORRGLQJZDV
    XQDYRLGDEOH

2XUPRGHOLQJHIIRUWVVKRZHGWKDWRSHQLQJWKHJDWHVHQWLUHO\RUDOWHUQDWLYHO\QHYHUFRQVWUXFWLQJWKHGDPV
ZRXOGKDYHUHVXOWHGLQPXFKKLJKHUIORRGLQJWRGRZQVWUHDPSURSHUWLHVLQFOXGLQJWKHGRZQVWUHDP7HVW
3URSHUWLHVWKDQDFWXDOO\RFFXUUHG2QWKHRWKHUKDQGRXUPRGHOLQJHIIRUWVVKRZHGWKDWFORVLQJWKHJDWHV
HQWLUHO\ZRXOGKDYHUHVXOWHGLQJUHDWHUIORRGGHSWKVDQGPXFKORQJHUIORRGGXUDWLRQVDWXSVWUHDPSURSHUWLHV
LQFOXGLQJWKHXSVWUHDP7HVW3URSHUWLHVWKDQDFWXDOO\RFFXUUHG:HXWLOL]HGDVLPLODUPRGHOLQJDSSURDFKLQWKH
XSVWUHDPVXEFDVHXVLQJWKHVDPHPRGHOLQSXWVXVHGIRUWKHGRZQVWUHDPVXEFDVH:HVXPPDUL]HWKRVH
UHVXOWVIRUWKHXSVWUHDP7HVW3URSHUWLHVLQ$SSHQGL[&7KHXSVWUHDPPRGHOLQJUHVXOWVGHPRQVWUDWHFOHDUO\
WKDWIORRGLQJGXULQJWKH+DUYH\(YHQWZDVXQDYRLGDEOH

2SLQLRQVRQ'RZQVWUHDP)ORRGLQJGXULQJWKH+DUYH\(YHQW

7KH$GGLFNVDQG%DUNHU'DPVKDYHSUHYHQWHGGHYDVWDWLQJIORRGLQJRIWKHGRZQVWUHDP7HVW3URSHUWLHV
DQGRWKHUGRZQVWUHDPSURSHUWLHV

$GGLFNVDQG%DUNHU5HVHUYRLUVVWRUHGDWOHDVWELOOLRQJDOORQVRIIORRGZDWHUGXULQJWKH+DUYH\(YHQW
ZLWKRXWDFFRXQWLQJIRUIORRGZDWHUVWRUHGLQGHWHQWLRQSRQGVDQGWULEXWDULHVDERYHWKHUHVHUYRLUV7KLVYROXPH
RIIORRGZDWHUZDVJUDGXDOO\UHOHDVHGRYHUDSHULRGRIRQHPRQWK:LWKRXWWKHVHUHVHUYRLUVWKLVIORRGZDWHU
ZRXOGKDYHEHHQURXWHGWRDUHDVGRZQVWUHDPPXFKPRUHUDSLGO\FDXVLQJPRUHGHYDVWDWLQJIORRGLQJWRDOORI
WKHGRZQVWUHDP7HVW3URSHUWLHVDQGRWKHUGRZQVWUHDPDUHDVDVFRPSDUHGWRWKHIORRGLQJWKDWDFWXDOO\
RFFXUUHG

7KHIHGHUDOSURMHFWDOORZVIRUWKHGLVWULEXWLRQRIIORRGLPSDFWVDFURVVDZLGHDUHDWRPLQLPL]HWKHFKDQFHRIOLIH
WKUHDWHQLQJFRQGLWLRQVLQDQ\RQHDUHD'RZQVWUHDPRIWKHGDPVWKHIHGHUDOSURMHFW DQGSDUWLFXODUO\WKH
RSHUDWLRQRIWKH$GGLFNVDQG%DUNHU'DPV DOORZHGIRUIORRGZDWHUDFFXPXODWHGGXULQJWKH+DUYH\(YHQW D
IHZGD\V WREHGLVWULEXWHGRYHUDPXFKORQJHUSHULRG DIHZZHHNV ZKLFKHIIHFWLYHO\UHGXFHGWKHGHSWKRI
IORRGZDWHUVGRZQVWUHDPRIWKHGDPV

2XUDQDO\VLVVKRZHGWKDWWKHGRZQVWUHDP7HVW3URSHUWLHVZRXOGKDYHH[SHULHQFHGIORRGGHSWKVXSWRIHHW
JUHDWHUZLWKRXWWKHIHGHUDOSURMHFWWKDQWKH\DFWXDOO\H[SHULHQFHG8QGHUWKLVVFHQDULRWKLVDGGLWLRQDO
LQXQGDWLRQZLWKRXWWKHIHGHUDOSURMHFWZRXOGKDYHUHVXOWHGLQZDWHUGHSWKVRIPRUHWKDQWRIHHWDERYH
ILUVWILQLVKHGIORRUHOHYDWLRQVRIWKHGRZQVWUHDP7HVW3URSHUWLHV7KHIHGHUDOSURMHFWSUHYHQWHGVLJQLILFDQW
SURSHUW\GDPDJHVDQGVLJQLILFDQWO\UHGXFHGWKHULVNRIORVVRIOLIHIRUGRZQVWUHDPDUHDV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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(IIHFWLYHQHVVRIORZHU%XIIDOR%D\RX5HFWLILFDWLRQ

2XUDQDO\VLVVKRZHGWKDWWKHUHFWLILFDWLRQRIORZHU%XIIDOR%D\RXGRZQVWUHDPRIWKHGDPV LH/RZHU
/DQJKDP&UHHNDQGWKHSRUWLRQRI%XIIDOR%D\RXGRZQVWUHDPRIWKHGDPVEXWXSVWUHDPRI%HOWZD\ 
UHGXFHGIORRGGXUDWLRQVRQWKHGRZQVWUHDP7HVW3URSHUWLHVE\XSWRGD\V(LJKWRIWKHWKLUWHHQ7HVW
3URSHUWLHVDUHORFDWHGDORQJWKLVUHFWLILHGSRUWLRQRI%XIIDOR%D\RXEHORQJLQJWRWKHIROORZLQJSODLQWLIIV*RRG
5HVRXUFHV//&0HPRULDO60&,QYHVWPHQW/3$UQROGDQG9LUJLQLD0LOWRQ-HQQLIHU6KLSRV:D\QHDQG
3HJJ\+ROOLV3HWHUDQG=KHQQLD6LOYHUPDQ$UQVWHLQDQG,QJD*RGHMRUGVDQG3DXODQG'DQD&XWWV

(IIHFWLYHQHVVRIJDWHFRQWURO

2XUDQDO\VLVGHPRQVWUDWHGWKDWILUVWILQLVKHGIORRUVDWGRZQVWUHDP7HVW3URSHUWLHVZRXOGKDYHEHHQIORRGHGE\
XSWRIHHWPRUHZDWHULIWKH&RUSVKDGNHSWWKHUHVHUYRLUJDWHVRSHQGXULQJWKH+DUYH\(YHQWDVFRPSDUHG
WRWKHIORRGLQJWKDWDFWXDOO\RFFXUUHG,QDGGLWLRQRXUDQDO\VLVVKRZHGWKDWWKHGRZQVWUHDP7HVW3URSHUWLHV
ZRXOGKDYHH[SHULHQFHGORQJHUIORRGLQJWKDQDFWXDOO\RFFXUUHGLIWKH&RUSVKDGNHSWWKHUHVHUYRLUJDWHVRSHQ
GXULQJWKH+DUYH\(YHQW

7KHJDWHGFRQGXLWVDW$GGLFNVDQG%DUNHU'DPVHIIHFWLYHO\UHGXFHGIORRGLQJLPSDFWVGRZQVWUHDPRIWKHGDPV
GXULQJWKH+DUYH\(YHQW

5HSHDWHGIORRGLQJEHORZWKHGDPVFDXVHGE\KLVWRULFDOVWRUPVXQGHUWKHQRIHGHUDOSURMHFWVFHQDULR

2XUDQDO\VLVVKRZHGWKDWWKHGRZQVWUHDP7HVW3URSHUWLHVZRXOGKDYHUHSHDWHGO\IORRGHGGXULQJKLVWRULFDO
VWRUPV GDWHGDQG LQWKHDEVHQFHRIWKHIHGHUDOSURMHFW7KHH[LVWHQFH
DQGRSHUDWLRQRIWKHIHGHUDOSURMHFWSUHYHQWHGRUVLJQLILFDQWO\UHGXFHGIORRGLQJRQWKH7HVW3URSHUWLHVGXULQJ
WKHVHHYHQWV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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     Case 1:17-cv-09002-LAS                        Document 266-2                    Filed 01/10/23                Page 766 of 1584




7DEOHRI&RQWHQWV
    ,QWURGXFWLRQ

             'HILQLWLRQV                                                                                                                  

             6WXG\2EMHFWLYHV                                                                                                             

    6LWH&RQGLWLRQV

             )RFXV$UHDDQG)RFXV3HULRG                                                                                                  

             :DWHUVKHG                                                                                                                    

             7RSRJUDSK\                                                                                                                   

             &KDQQHO%DWK\PHWU\                                                                                                           

                      +&)&'+(&5$60RGHOVDQG&URVV6HFWLRQ'DWD                                                                       

                      /L'$5'DWD                                                                                                 

             $GGLFNVDQG%DUNHU3URMHFW                                                                                                 

             6HGLPHQW/RDGV                                                                                                             

             &KDQQHODQG%D\RX,PSURYHPHQW3URMHFWVIRU)ORRG5HGXFWLRQ                                                                 

             +LVWRULFDO6WRUPVDQG)ORRGV                                                                                               

             5DLQIDOO'DWD +XUULFDQH+DUYH\                                                                                            

            :LQG'DWD +XUULFDQH+DUYH\                                                                                                

            $GGLFNVDQG%DUNHU5HVHUYRLUV                                                                                              

                       2EMHFWLYHRIWKH5HVHUYRLUV                                                                                   

                       5HVHUYRLU6WRUDJHDQG'UDLQDJH&KDUDFWHULVWLFV                                                                

                       +LVWRULFDO3RRO(OHYDWLRQV                                                                                    

                       5HOHDVHV                                                                                                      

            3ODLQWLIIVDQG7HVW3ODLQWLIIV                                                                                             

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             ,QIORZWR$GGLFNVDQG%DUNHU5HVHUYRLUV                                                                                    

             )ORZ5HJLPH'RZQVWUHDPRI$GGLFNVDQG%DUNHU'DPV                                                                          
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                         &RPPHUFLDOLQ&RQILGHQFH                                                       3DJH Y


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                     5DLQIDOODQG5XQRII&KDUDFWHULVWLFV                                                                      

                     3URILOHRI/RZHU%XIIDOR%D\RX                                                                           

                     3ULRUWRWKH+DUYH\(YHQW                                                                                

                     *DWH&ORVXUH3HULRG                                                                                      

                     *UDGXDO5HOHDVH3HULRG                                                                                   

                     0D[LPXP*DWH5HOHDVH3HULRG                                                                              

             86*65DWLQJ&XUYHV                                                                                                  

             (VWLPDWHRI0DQQLQJ¶V5RXJKQHVVEDVHGRQ6WUHDP*DJH'DWD                                                           

                     0DQQLQJ¶V5RXJKQHVV±&KDQQHO                                                                            

                     0DQQLQJ¶V5RXJKQHVV±)ORRGSODLQ                                                                         

             5HVHUYRLU5DWLQJ&XUYHV                                                                                             

             ,QXQGDWLRQ0DSSLQJ                                                                                                  

             ,PSDFWRI6WRUP:DWHU'UDLQV                                                                                        

             *URXQGZDWHU)ORZ                                                                                                    

             5HOHDVHIURPWKH5HVHUYRLUV                                                                                         

            &KDUDFWHULVWLFVRI)ORRGLQJ EDVHGRQSK\VLFDOGDWD                                                                 

    ,QXQGDWLRQ0RGHOLQJ

             0RGHOLQJ2EMHFWLYH                                                                                                  

             0RGHO6HOHFWLRQ                                                                                                     

             7(/(0$&'0RGHO                                                                                                    

                     *RYHUQLQJ(TXDWLRQV                                                                                      

                         6XUIDFH:DWHU)ORZ                                                                                  

                         ,QILOWUDWLRQ /RVV                                                                                  

                     1XPHULFDO6ROXWLRQ                                                                                       

                     %RXQGDU\&RQGLWLRQV                                                                                      

                         7UDQVPLVVLYH%RXQGDU\&RQGLWLRQV                                                                    

                         *DOYHVWRQ%D\7LGDO%RXQGDU\                                                                        
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                      &RPPHUFLDOLQ&RQILGHQFH                                                  3DJHYL


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                  0RGHO'HYHORSPHQW                                                           

                       6SDWLDOO\9DULHG5DLQIDOODQG:LQG)LHOGV                            

                       )ORZWKURXJK$GGLFNVDQG%DUNHU&RQGXLWV                             

                  0RGHO/LPLWDWLRQV                                                           

                       0RGHO7\SH                                                           

                       /LPLWHG1XPEHURI&XOYHUWV                                           

                       0RGHO7RSRJUDSK\                                                     

                       &RPSXWDWLRQDO0HVK                                                   

                       5DSLGO\9DULHG)ORZV                                                 

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                  0RGHO'RPDLQ                                                                

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                  3K\VLFDO3DUDPHWHUV                                                         

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                       +\GURORJLF/RVVHV                                                    

                       0DQQLQJ¶V5RXJKQHVV                                                  

                       +\GUDXOLF6WUXFWXUHV                                                 

           0RGHO&DOLEUDWLRQ                                                                    

                  $FFHSWDEOH&ULWHULD                                                         

                  )ORRG:DYH6SHHG7HVW                                                       

                  ,QLWLDO&RQGLWLRQV $XJXVW                                         

                       %DVH)ORZVDQG6WDJHV                                                

                       $QWHFHGHQW6RLO0RLVWXUH&RQGLWLRQV                                  

                  0RGHO6HQVLWLYLW\                                                           

                       6HQVLWLYLW\WR&RXUDQW1XPEHU RU7LPH6WHS                          

                       6HQVLWLYLW\WR5DLQIDOO6SDWLDO9DULDELOLW\                          
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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                         6HQVLWLYLW\WR7LPH,QWHUYDORI5DLQIDOO,QWHQVLW\                                                       

                         6HQVLWLYLW\WR:LQG)RUFLQJ                                                                               

                         6HQVLWLYLW\WR7LGHVDQG6WRUP6XUJH&RQGLWLRQV                                                           

                         5RXJKQHVVDQG+\GURORJLF/RVV3DUDPHWHUV                                                                 

                         6XPPDU\RI0RGHO6HQVLWLYLW\                                                                              

                      'HYHORSPHQWRI$FWXDO+XUULFDQH+DUYH\6FHQDULR                                                               

                         ,QLWLDO&DOLEUDWLRQ                                                                                      

                         'HWDLOHG&DOLEUDWLRQ                                                                                     

             0RGHO9DOLGDWLRQ                                                                                                         

                      +LJK:DWHU0DUNV                                                                                              

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    +\GUDXOLF0RGHOLQJRI3K\VLFDO6FHQDULRV

             0RGHO5HSUHVHQWDWLRQRI+LVWRULFDO&RQGLWLRQV                                                                           

             0RGHO6FHQDULRV                                                                                                         

             0RGHO5HVXOWV                                                                                                           

                      $FWXDO+DUYH\5XQ                                                                                           

                      1R3URMHFW,5XQ                                                                                            

                      1R3URMHFW,,5XQ                                                                                           

                      *DWHV2SHQ5XQ                                                                                              

                      +DUYH\5HODWHG0RGHO5HVXOWV6XPPDU\                                                                        

                      +LVWRULFDO5XQV                                                                                             

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                        5HVXOWVRI8SVWUHDP+\GUDXOLF6WXG\
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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7DEOHV
7DEOH%DFNJURXQGRI6WUXFWXUDO&KDQJHVWR$GGLFNVDQG%DUNHU5HVHUYRLUV

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)LJXUH(VWLPDWHG VROLGOLQHV DQGPHDVXUHG VFDWWHUSRLQWV GLVFKDUJHVDW86*6JDJHORFDWLRQVSULRUWR
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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0HPRULDO60&,QYHVWPHQW/3 $FWXDO
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0HPRULDO60&,QYHVWPHQW/3
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+R%HFN\ $FWXDO+DUYH\5XQDQG1R
3URMHFW,5XQ 

)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%H\RJOX*RNKDQ -DQD $FWXDO
+DUYH\5XQDQG1R3URMHFW,5XQ 

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1R3URMHFW,5XQ 

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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0HPRULDO60&,QYHVWPHQW/3
 +LVWRULFDO6WRUPV 

)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LOWRQ$UQROG 9LUJLQLD +LVWRULFDO
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6KLSRV-HQQLIHU +LVWRULFDO6WRUPV 
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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                                                                                                                                                                               A1221
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+ROOLV:D\QH 3HJJ\ +LVWRULFDO
6WRUPV 

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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI*RGHMRUG$UQVWHLQ ,QJD +LVWRULFDO
6WRUPV 

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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%H\RJOX*RNKDQ -DQD +LVWRULFDO
6WRUPV 

)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI$]DU3KLOOLS +LVWRULFDO6WRUPV 

)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6WDKO7LPRWK\ +LVWRULFDO6WRUPV 

)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI:HOOLQJ6KDZQ +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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        ,QWURGXFWLRQ
3ODLQWLIIVZKRDUHSURSHUW\RZQHUVLQWKHZHVWHUQ+RXVWRQDUHDILOHGFODLPVDJDLQVWWKH8QLWHG6WDWHVRI
$PHULFD 'HIHQGDQW DOOHJLQJWDNLQJVRIWKHLUSURSHUWLHVDVVRFLDWHGZLWKIORRGLQJGXULQJWKHH[WUHPHZHDWKHU
HYHQWFRPPRQO\UHIHUUHGWRDV+XUULFDQH+DUYH\ $XJXVWWKWR$XJXVWVWKHUHLQDIWHUUHIHUUHGWRDV
WKH³+DUYH\(YHQW´ 3ODLQWLIIV¶FODLPVDUHKHUHLQDIWHUUHIHUUHGWRDV³WKH&DVH´

'U5RE1DLUQRI%DLUG $VVRFLDWHVZDVUHWDLQHGE\WKH86'HSDUWPHQWRI-XVWLFH '2- WRSURYLGHH[SHUW
WHVWLPRQ\LQUHODWLRQWRWKH&DVH7KLVUHSRUWSUHVHQWVDQDO\VLVDQGILQGLQJVUHODWHGWRWKH&DVH'U1DLUQ¶V
&9KLVSUHYLRXVWHVWLPRQ\DQGKLVUHPXQHUDWLRQDUHSUHVHQWHGLQ$SSHQGL[%

       'HILQLWLRQV
x   ³7KH&DVH´UHIHUVWRIn re Upstream Addicks and Barker, (Texas) Flood Control ReservoirsFY
     DQGIn re Downstream Addicks and Barker (Texas) Flood Control ReservoirsFY
x   ³&RUSV´UHIHUVWRWKH8QLWHG6WDWHV$UP\&RUSVRI(QJLQHHUV
x   7KH³+DUYH\(YHQW´UHIHUVWR+XUULFDQH+DUYH\ODQGIDOOHYHQWIURP$XJXVWWKWR$XJXVWVW
x   ³)RFXV$UHD´UHIHUVWRWKHDUHDFRQVLGHUHGE\WKLVVWXG\IRUGHWDLOHGDQDO\VLVDVGHILQHGLQ6HFWLRQ
    LQFOXGLQJDOO7HVW3ODLQWLIIV
x   ³)RFXV3HULRG´UHIHUVWRWKHSHULRGRIUHSRUWHGLQXQGDWLRQZLWKLQWKH)RFXV$UHDEHWZHHQ$XJXVWDQG
    6HSWHPEHUDVGHILQHGLQ6HFWLRQ
x   ³3ODLQWLIIV´RU³3ODLQWLII´UHIHUVWRDQ\RIWKHLQGLYLGXDOVRUHQWLWLHVZKRILOHGFODLPVUHODWHGWRWKH&DVHZLWKLQ
    WKH)RFXV$UHD
x   ³'HIHQGDQW´PHDQVWKH8QLWHG6WDWHVRI$PHULFD
x   ³8SVWUHDP$UHDV´PHDQVWKHDUHDVXSVWUHDPRIWKH$GGLFNVDQG%DUNHU5HVHUYRLUVZLWKLQWKH)RFXV$UHD
x   ³'RZQVWUHDP$UHDV´PHDQVWKHDUHDVGRZQVWUHDPRIWKH$GGLFNVDQG%DUNHU'DPVZLWKLQWKH)RFXV
    $UHD
x   ³7HVW3ODLQWLIIV´RU³7HVW3URSHUWLHV´UHIHUWR3ODLQWLIIVDQGWKHLUSURSHUWLHVVHOHFWHGE\WKHSDUWLHVIRUH[SHUW
    FRQVLGHUDWLRQ
x   ³*2/´UHIHUVWR*RYHUQPHQW2ZQHG/DQG
x   ³86*6´UHIHUVWRWKH8QLWHG6WDWHV*HRORJLFDO6XUYH\
x   ³+&)&'´UHIHUVWRWKH+DUULV&RXQW\)ORRG&RQWURO'LVWULFW
x   ³/RZHU/DQJKDP&UHHN´UHIHUVWRWKHRXWOHWFKDQQHORI$GGLFNV5HVHUYRLUH[WHQGLQJIURPWKH$GGLFNV
    RXWOHWWRWKHFRQIOXHQFHZLWKORZHU%XIIDOR%D\RX DSSUR[LPDWHO\PLOHVLQOHQJWK 
x   ³*,6´UHIHUVWR*HRJUDSKLF,QIRUPDWLRQ6\VWHPZKLFKLV³DIUDPHZRUNIRUJDWKHULQJPDQDJLQJDQG
    DQDO\]LQJGDWD5RRWHGLQWKHVFLHQFHRIJHRJUDSK\*,6LQWHJUDWHVPDQ\W\SHVRIGDWD,WDQDO\]HVVSDWLDO
    ORFDWLRQDQGRUJDQL]HVOD\HUVRILQIRUPDWLRQLQWRYLVXDOL]DWLRQVXVLQJPDSV´ KWWSVZZZHVULFRPHQ
    XVZKDWLVJLVRYHUYLHZ 
x   ³1$9'´³1$9' DGMXVWPHQW ´RU³1$9'´UHIHUVWRWKH1RUWK$PHULFDQ9HUWLFDO'DWXPRI
    ZKLFKLVWKHFXUUHQWYHUWLFDOGDWXPIRUWKHFRQWLJXRXV8QLWHG6WDWHVDQG$ODVND1$9'LV³DIL[HG
    UHIHUHQFHIRUHOHYDWLRQVGHWHUPLQHGE\JHRGHWLFOHYHOLQJ7KHGDWXPZDVGHULYHGIURPDJHQHUDO
    DGMXVWPHQWRIWKHILUVWRUGHUWHUUHVWULDOOHYHOLQJQHWVRIWKH8QLWHG6WDWHV&DQDGDDQG0H[LFR´
     KWWSVWLGHVDQGFXUUHQWVQRDDJRYGDWXPBRSWLRQVKWPO 
x   ³:DWHUERG\´UHIHUVWRDJHQHUDOZRUGWKDWHQFRPSDVVHVDOOW\SHVRIIUHHVXUIDFHZDWHUERGLHVVXFKDV
    FKDQQHOVED\RXVODNHVUHVHUYRLUVRFHDQVHWF

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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                                                                                                                            A1223
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x   ³7DLOZDWHU´UHIHUVWRZDWHUGRZQVWUHDPRIDQ\JLYHQZDWHUERG\
x   ³6WHDG\)ORZ´UHIHUVWRDIORZUHJLPHZKHUHGLVFKDUJHDQGIORZGHSWKGRQRWFKDQJHZLWKWLPH
x   ³)ORZ5HJLPH´UHIHUVWRWKHW\SHRIIORZWKURXJKFKDQQHOVDQGVWUHDPVZKLFKFRXOGEH³8QLIRUP)ORZ´
    ³1RQXQLIRUP)ORZ´³6WHDG\)ORZ´DQGRU³%DFNZDWHU)ORZ´
x   ³8QLIRUP)ORZ´UHIHUVWRDIORZUHJLPHZKHUHWKHVORSHVRIWKHFKDQQHOEHGZDWHUVXUIDFHDQGHQHUJ\
    JUDGHOLQHDUHHTXDO
x   ³1RQXQLIRUPIORZ´UHIHUVWRDIORZUHJLPHZKLFKLVQRWXQLIRUP
x   ³%DFNZDWHUIORZ´UHIHUVWRDQRQXQLIRUPIORZUHJLPHZKHUHZDWHUVXUIDFHVORSHEHFRPHVIODWWHUWKDQWKH
    VORSHRIWKHFKDQQHOEHGGXHWRFKDQQHOFRQVWULFWLRQVGDPVDQGRUKLJKWDLOZDWHUVXUIDFHHOHYDWLRQ
x   ³:6(´UHIHUVWR:DWHU6XUIDFH(OHYDWLRQ
x   ³5XQRII´RU³VXUIDFHUXQRII´UHIHUVWRJUDYLW\GULYHQIORZRIZDWHURYHUWKHJURXQGVXUIDFHGXHWRH[FHVV
    UDLQIDOOVWRUPZDWHURUDQ\RWKHUVRXUFH
x   ³([FHVVLYHUXQRII´UHIHUVWRUXQRIIGLVFKDUJHVEH\RQGWKHFDSDFLW\RIWKHUHFHLYLQJVWRUPZDWHUGUDLQDJH
    V\VWHP
x   ³63)´UHIHUVWR6WDQGDUG3URMHFW)ORRGZKLFKLVGHILQHG³DVDK\GURJUDSKUHSUHVHQWLQJUXQRIIIURPWKH
    6WDQGDUG3URMHFW6WRUP´ 636 7KH636³VKRXOGUHSUHVHQWVWKHPRVWVHYHUHIORRGSURGXFLQJUDLQIDOO
    GHSWKDUHDGXUDWLRQUHODWLRQVKLSDQGLVRK\HWDOSDWWHUQRIDQ\VWRUPWKDWLVFRQVLGHUHGUHDVRQDEO\
    FKDUDFWHULVWLFRIWKHUHJLRQLQZKLFKWKHGUDLQDJHEDVLQLVORFDWHG´>S86$&(@7KH63)GHILQHV
    WKHK\GUDXOLFGHVLJQFULWHULDRIDUHVHUYRLU
x   ³6')´UHIHUVWR6SLOOZD\'HVLJQ)ORRGZKLFKLVWKHPD[LPXPIORRGWKDWFRXOGFDXVHIORZRYHUDVSLOOZD\
    ZLWKRXWFDXVLQJVHULRXVVWUXFWXUDOGDPDJH

       6WXG\2EMHFWLYHV

7KLVVWXG\IRFXVHVRQWKHK\GUDXOLFDVSHFWVRIWKH$GGLFNVDQG%DUNHU'DPVZLWKRXWFRQVLGHUDWLRQRI
VWUXFWXUDORUJHRWHFKQLFDODVSHFWV LHVWUXFWXUDOGDPVDIHW\DVSHFWV 7KHIROORZLQJDUHWKHPDLQREMHFWLYHVRI
WKLVK\GUDXOLFVWXG\
x   'HILQHK\GUDXOLFIDFWRUVWKDWUHVXOWHGLQLQXQGDWLRQGXULQJWKH+DUYH\(YHQWZLWKLQWKH)RFXV$UHD7R
    DGGUHVVWKLVREMHFWLYHWKHIROORZLQJDQDO\VHVKDYHEHHQFRPSOHWHG
    x    $QDO\VLVRISK\VLFDOGDWDGXULQJWKH+DUYH\(YHQWDQG
    x    1XPHULFDOPRGHOLQJRILQXQGDWLRQGXULQJWKH+DUYH\(YHQWWRILOOWKHSK\VLFDOGDWDJDSV EHWZHHQDQG
         EH\RQGWKHJDJHVZKHUHZDWHUOHYHOVZHUHPHDVXUHG DQGWRVLPXODWHK\SRWKHWLFDOVFHQDULRVWR
         GHILQHDQGRULVRODWHK\GUDXOLFIDFWRUVFRQWULEXWLQJWRLQXQGDWLRQZLWKLQWKH)RFXV$UHD
x   3URYLGHDWRROWRHYDOXDWHIORRGLQJXQGHUYDULRXVK\SRWKHWLFDOVFHQDULRV7RDGGUHVVWKLVREMHFWLYH
    QXPHULFDOPRGHOVLPXODWLRQVKDYHEHHQFRPSOHWHGIRU
    x    $K\SRWKHWLFDOVFHQDULRZKHUHWKH$GGLFNVDQG%DUNHU'DPVZHUHUHPRYHG
    x    $K\SRWKHWLFDOJDWHRSHUDWLRQVFHQDULRZKHUHWKHJDWHVDUHVLPXODWHGDVIXOO\RSHQIRUWKHGXUDWLRQRI
         WKH+DUYH\(YHQWDQG
    x    $VHWRIK\SRWKHWLFDOVFHQDULRVVLPXODWLQJIORRGLQJGXHWRRWKHUKLVWRULFDOVWRUPVZLWKRXWIHGHUDO
         LPSURYHPHQWVRQ*2/ LHZLWKRXWWKHGDPVDQGFKDQQHOLPSURYHPHQWV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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            6LWH&RQGLWLRQV
7KLVVHFWLRQSURYLGHVDGHVFULSWLRQRIWKHVLWHFRQGLWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKH$GGLFNVDQG%DUNHU
'DPV

           )RFXV$UHDDQG)RFXV3HULRG

+XUULFDQH+DUYH\PDGHODQGIDOOLQWKH6RXWKHDVW7H[DVDUHDGURSSLQJWRLQFKHVRIUDLQIDOORQ+DUULV
&RXQW\EHWZHHQ$XJXVWDQG$XJXVWZKLFKFDXVHGRYHUEDQNIORRGLQJDQGLQXQGDWLRQRIODQG
'DPDJHVDOOHJHGO\GXHWRLQXQGDWLRQRIKRPHVKDYHEHHQUHSRUWHGGXULQJWKHSHULRGIURP$XJXVW
>@WR6HSWHPEHU>@>@ KHUHLQDIWHUUHIHUUHGWRDVWKH³)RFXV3HULRG´ 

7KLVVWXG\IRFXVHVRQLQXQGDWLRQRIWKHIROORZLQJDUHDVKHUHLQDIWHUUHIHUUHGWRDVWKH³)RFXV$UHD´
x     $UHDVXSVWUHDPRI$GGLFNVDQG%DUNHU5HVHUYRLUVZLWKLQDPLOHEXIIHUIURPWKH*2/DQGERXQGHGE\
      :HVWSDUN7ROOZD\ 6RXWK DQG:/LWWOH<RUN5G 1RUWK 
x     $UHDVDORQJ%XIIDOR%D\RXGRZQVWUHDPRI$GGLFNVDQG%DUNHU'DPVGRZQWR6KHSKHUG'ULYHERXQGHGE\
      :HVWKHLPHU5G 6RXWK DQG,QWHUVWDWH 1RUWK 

7KH)RFXV$UHDLVVKRZQLQ)LJXUHDORQJZLWKORFDWLRQVRIGRZQVWUHDP7HVW3ODLQWLIIV




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 $SSUR[LPDWHUDQJHEDVHGRQ+DUULV&RXQW\)ORRG&RQWURO'LVWULFW¶VJDJHGDWD>@7KH1DWLRQDO:HDWKHU6HUYLFH 1:6 ³HVWLPDWHG
DQ\ZKHUHIURPWR75,//,217216RIZDWHUZDVGXPSHGRQWR7H[DV´>@

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH)RFXV$UHDJUHHQSRO\JRQVUHSUHVHQWORFDWLRQVRIGRZQVWUHDP7HVW3ODLQWLIIV


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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    Case 1:17-cv-09002-LAS                               Document 266-2           Filed 01/10/23   Page 783 of 1584




           :DWHUVKHG

+DUULV&RXQW\KDVFODVVLILHGPDMRUZDWHUVKHGVGUDLQLQJLQWRPDMRUZDWHUZD\V>@)LJXUHVKRZV
ZDWHUVKHGERXQGDULHVZKLFKDUHODUJHO\GHWHUPLQHGE\WKHWRSRJUDSK\(DFKRIWKHVHZDWHUVKHGVXOWLPDWHO\
GUDLQVLQWR*DOYHVWRQ%D\>S)(0$@

0DQ\RIWKHGUDLQDJHEDVLQVZLWKLQ+DUULV&RXQW\DUHFKDUDFWHUL]HGE\EDVLQRYHUIORZ>S)(0$@
ZKLFKRFFXUVZKHQWKHZDWHUVXUIDFHHOHYDWLRQVH[FHHGWKHHOHYDWLRQVRIWKHGUDLQDJHEDVLQGLYLGH³8QGHU
PDMRUIORRGHYHQWV$GGLFNV5HVHUYRLUUHFHLYHVDERXWRQHWKLUGRILWVWRWDOYROXPHIURPWKHVTXDUHPLOH
GUDLQDJHDUHDRIWKH8SSHU&\SUHVV&UHHN%DVLQ´>S86$&(@




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 3DUWRIWKH%DUNHU5HVHUYRLUZDWHUVKHGLVORFDWHGLQ)RUW%HQG&RXQW\

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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           7RSRJUDSK\

7KH/LJKW'HWHFWLRQDQG5DGDU /L'$5 VXUYH\FRYHULQJ+DUULV&RXQW\DQGVXUURXQGLQJDUHDV WKHHQWLUH
ZDWHUVKHGGHVFULEHGDERYH ZDVGRZQORDGHGIURP³+RXVWRQ*DOYHVWRQ$UHD&RXQFLO´>@7KLVVXUYH\DOVR
FRYHUVDUHDVLQ)RUW%HQG&RXQW\RQWKHVRXWKZHVWHUQVLGHRI%DUNHU5HVHUYRLUDQGZDVFRPSOHWHGWRVXSSRUW
QXPHURXV*,6DSSOLFDWLRQVLQFOXGLQJIORRGPRGHOLQJDQGSUHYHQWLRQ>SS%$,5'@,QDGGLWLRQ
WKH/L'$5VXUYH\FRYHULQJ)RUW%HQGZDVGRZQORDGHGIURP³6WUDW0DS)RUW%HQG/L'$5´>@
7KHDQG/L'$5VXUYH\VZHUHFRPSDUHGLQRYHUODSSLQJDUHDVZLWKLQ)RUW%HQGDQGIRXQGWREH
FRQVLVWHQWO\VLPLODU

           &KDQQHO%DWK\PHWU\

$QDFFXUDWHUHSUHVHQWDWLRQRIWKHWRSRJUDSK\DQGGUDLQDJHQHWZRUNLVHVVHQWLDOIRUWKHDFFXUDWHHVWLPDWLRQRI
VWRUDJHDQGURXWLQJRIIORZVLQWKHK\GURG\QDPLFPRGHO/L'$5GDWDGHILQHJURXQGHOHYDWLRQVDERYHWKHZDWHU
VXUIDFHHOHYDWLRQLQSRQGVDQGVWUHDPVDWWKHWLPHWKH/L'$5ZDVIORZQ$VVXFKFKDQQHOEHGHOHYDWLRQV
PD\QRWEHUHSUHVHQWHGE\WKH/L'$5GDWD

7KHFKDQQHOFURVVVHFWLRQGDWDSURYLGHGE\WKH+DUULV&RXQW\)ORRG&RQWURO'LVWULFW +&)&' GHPRQVWUDWHV
WKLVLVVXH>@)LJXUHVKRZVWKH/L'$5GDWDVKDGHGE\HOHYDWLRQDQGWKHORFDWLRQRIWKH+&)&'FURVV
VHFWLRQVDVGDVKHGOLQHV7KHZDWHUVXUIDFHHOHYDWLRQDWWKHWLPHRIWKH/L'$5VXUYH\ZDVDSSUR[LPDWHO\
IHHW1$9'7KHLQVHWWRWKHWRSULJKWVKRZVDSURILOHYLHZRIWKHVXUYH\HGFURVVVHFWLRQ KLJKOLJKWHGLQUHG
LQWKHPDLQILJXUH 7KHZHWWHGSRUWLRQRIWKHFKDQQHOIURPWKH+&)&'FURVVVHFWLRQVVKDGHGLQEOXHLQWKH
LQVHWZDVQRWFDSWXUHGGXULQJWKH/L'$5VXUYH\DQGZDVPHUJHGLQWRWKH/L'$5EDVHG'LJLWDO(OHYDWLRQ
0RGHO '(0 




)LJXUH([DPSOHRI/L'$5DQG+&)&'+(&5$6GDWDVHW


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 &RQYHQWLRQDO/L'$5GRHVQRWSHQHWUDWHEHORZWKHZDWHUVXUIDFH

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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     +&)&'+(&5$60RGHOVDQG&URVV6HFWLRQ'DWD

:HDGGUHVVHGWKLVFKDQQHOEDWK\PHWU\LVVXHLQWZRZD\V)LUVWZHXVHGWKH+(&5$6PRGHOV
GHYHORSHGE\+&)&'IRUWKH+DUULV&RXQW\UHJLRQ>@7KHRQHGLPHQVLRQDO+(&5$6PRGHOVFRQVLVWRID
VHULHVRIFURVVVHFWLRQVDQGUHODWHGLQIRUPDWLRQ EULGJHDQGFXOYHUWGHWDLOVFKDQQHODQGIORRGSODLQURXJKQHVV
LQHIIHFWLYHIORZDUHDVHWF 7KHFURVVVHFWLRQVZHUHGHYHORSHGIURPDFRPELQDWLRQRIILHOGVXUYH\V ZLWKLQWKH
FKDQQHOEDQNV DQG/L'$5GDWD IORRGSODLQV 

$WRWDORI+(&5$6PRGHOVZHUHGRZQORDGHGIURP+&)&'0RGHODQG0DS0DQDJHPHQW 0 6\VWHP
>@7KHGRZQORDGHGPRGHOVKDYHDFRPELQHGOHQJWKRIRYHUPLOHVDQGLQFOXGHWKHPDLQVWHPDQG
WULEXWDULHVRI$GGLFNV5HVHUYRLU%DUNHU5HVHUYRLU%UD\V%D\RX%XIIDOR%D\RX&DUSHQWHU%D\RX&\SUHVV
&UHHN*UHHQV%D\RX+XQWLQJ%D\RX/LWWOH&\SUHVV&UHHN6DQ-DFLQWR5LYHU6LPV%D\RX6SULQJ&UHHN
9LQFH%D\RXDQG:KLWH2DN%D\RX0RGHOVRXWVLGHWKH)RFXV$UHDZHUHQRWSURFHVVHG)LJXUHDQG
)LJXUHRXWOLQHWKHVWUHDPVWKDWZHUHDFTXLUHGIURP>@IRUXSVWUHDPDQGGRZQVWUHDPDUHDVUHVSHFWLYHO\

7KH+(&5$6FURVVVHFWLRQVXSVWUHDPRI$GGLFNVDQG%DUNHU5HVHUYRLUVDUHVKRZQLQUHGLQ)LJXUHDQG
)LJXUHUHVSHFWLYHO\$VVKRZQLQ)LJXUH8SSHU%XIIDOR%D\RX ORFDWHGPRVWO\LQ)RUW%HQG&RXQW\ 
ZDVQRWFRYHUHGE\WKH+(&5$6FURVVVHFWLRQV,WLVDOVRQRWHGWKDW+(&5$6FURVVVHFWLRQVGRQRWFRYHU
VWUHDPVLQVLGH$GGLFNVDQG%DUNHU5HVHUYRLUV

7KH+(&5$6FURVVVHFWLRQVIRUDSRUWLRQRI%XIIDOR%D\RX7XUNH\&UHHN5XPPHO&UHHNDQGRWKHU
WULEXWDULHVDUHVKRZQLQUHGLQ)LJXUH/RZHU/DQJKDP&UHHN $GGLFNVRXWOHW LVQRWUHSUHVHQWHGE\WKH
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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)LJXUH6WUHDPVZLWKLQWKH)RFXV$UHDXSVWUHDPRIWKHGDPV VRXUFH+&)&'0>@ 6WUHDP
GDWDDFTXLUHGDQGXWLOL]HGLQWKHPRGHODUHVKRZQLQGDUNEOXH2WKHUVWUHDPVDUHVKRZQLQOLJKWEOXH




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 %OXHDQG5HGGRWVRXWOLQHRQJRLQJFKDQJHVWRWKHPRGHOVUHVXOWLQJIURPGHYHORSPHQWSURMHFWV5HGUHSUHVHQWV³/HWWHURI0DS5HYLVLRQ´
DQGEOXHUHSUHVHQWV³&RQGLWLRQDO/HWWHURI0DS5HYLVLRQ´³$/HWWHURI0DS5HYLVLRQ /205 LV)(0$ VPRGLILFDWLRQWRDQHIIHFWLYH)ORRG
,QVXUDQFH5DWH0DS ),50 RU)ORRG%RXQGDU\DQG)ORRGZD\0DS )%)0 RUERWK´ KWWSVZZZIHPDJRYOHWWHUPDSUHYLVLRQ ³$
&RQGLWLRQDO/HWWHURI0DS5HYLVLRQ &/205 LV)(0$ VFRPPHQWRQDSURSRVHGSURMHFWWKDWZRXOGXSRQFRQVWUXFWLRQDIIHFWWKHK\GURORJLF
RUK\GUDXOLFFKDUDFWHULVWLFVRIDIORRGLQJVRXUFHDQGWKXVUHVXOWLQWKHPRGLILFDWLRQRIWKHH[LVWLQJUHJXODWRU\IORRGZD\WKHHIIHFWLYH%DVH
)ORRG(OHYDWLRQV %)(V RUWKH6SHFLDO)ORRG+D]DUG$UHD 6)+$ ´ KWWSVZZZIHPDJRYFRQGLWLRQDOOHWWHUPDSUHYLVLRQ 

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6WUHDPVZLWKLQWKH)RFXV$UHDGRZQVWUHDPRIWKHGDPV VRXUFH+&)&'0>@ 6WUHDP
GDWDDFTXLUHGDQGXWLOL]HGLQWKHPRGHODUHVKRZQLQGDUNEOXH2WKHUVWUHDPVDUHVKRZQLQOLJKWEOXH




)LJXUH([DPSOHVRIFURVVVHFWLRQVIURPWKH+&)&'+(&5$6PRGHOVXSVWUHDPRI$GGLFNV
5HVHUYRLU>@




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH([DPSOHRIFURVVVHFWLRQVIURPWKH+&)&'+(&5$6PRGHOVXSVWUHDPRI%DUNHU
5HVHUYRLU>@
                       2XWOHWIURP

                       5HVHUYRLU
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)LJXUH([DPSOHRIFURVVVHFWLRQVIURPWKH+&)&'+(&5$6PRGHOV>@


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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7KHWRSRJUDSK\RI/RZHU/DQJKDP&UHHN GRZQVWUHDPRIWKH$GGLFNVRXWOHWV LVQRWFRYHUHGE\WKH+&)&'
+(&5$6PRGHOV7KHDOWHUQDWLYHWRGHYHORSFKDQQHOEDWK\PHWU\ZDVWRUHO\RQWKH/L'$5VXUYH\>@
7KLV/L'$5VXUYH\ZDVFRQGXFWHGIRUWKH&RUSV*DOYHVWRQ'LVWULFWEHWZHHQ0DUFKDQGFRYHULQJ
DSSUR[LPDWHO\PLOHVRIWKHORZHU%XIIDOR%D\RX>@'XULQJWKHSHULRGRIWKH/L'$5VXUYH\WKH
HVWLPDWHGGLVFKDUJHLQ/RZHU/DQJKDP&UHHNZDVOHVVWKDQFIV EDVHGRQHVWLPDWHGGLVFKDUJHVDW86*6
*DJH>@ ZKLFKLVDUHODWLYHO\VPDOOGLVFKDUJHFRUUHVSRQGLQJWRDPD[LPXPGHSWKRIIHHW>@
7KHUHIRUHWKH/L'$5VXUYH\LVH[SHFWHGWRUHSUHVHQWWKHERWWRPHOHYDWLRQRI/RZHU/DQJKDP&UHHN
UHDVRQDEO\ZHOO

       $GGLFNVDQG%DUNHU3URMHFW

&RQJUHVVDXWKRUL]HGWKH$GGLFNVDQG%DUNHU'DPVSURMHFWIROORZLQJWKHDQGIORRGHYHQWV>S
86$&(@$VSDUWRIWKHRYHUDOOIORRGULVNPDQDJHPHQWSURMHFW$GGLFNVDQG%DUNHU5HVHUYRLUVDVVLVWLQ
PDQDJLQJIORRGULVNIRUWKH&LW\RI+RXVWRQDQGKHOSSUHYHQWH[FHVVLYHYHORFLWLHVDQGVLOWGHSRVLWVLQWKH
+RXVWRQ6KLS&KDQQHO7XUQLQJ%DVLQ>S86$&(@

7DEOHVKRZVNH\GDWHVRIFRQVWUXFWLRQRIUHOHYDQFHWRWKHK\GUDXOLFVWXG\IRU$GGLFNVDQG%DUNHU'DPV>
S86$&(@

7DEOH%DFNJURXQGRI6WUXFWXUDO&KDQJHVWR$GGLFNVDQG%DUNHU5HVHUYRLUV

  'DWH                                &RQVWUXFWLRQ$FWLYLW\

  )HE±)HE                  %DUNHU5HVHUYRLUFRQGXLWVDQGRQHJDWH

  $XJ                            %DUNHULQLWLDORSHUDWLRQ

  0D\±'HF                 $GGLFNV5HVHUYRLUFRQGXLWVDQGRQHJDWH

  -XQ                            $GGLFNVLQLWLDORSHUDWLRQ

  )HE±$SU                 7ZRFRQGXLWJDWHVDGGHGDWHDFKRXWOHW

                                       *DWHVDGGHGWRWKHWZRUHPDLQLQJFRQGXLWVDWHDFKRXWOHW IRUDWRWDORI
  -DQ±)HE
                                       JDWHGFRQGXLWVDWHDFKRXWOHW 

                                       0DLQHPEDQNPHQWVUDLVHGE\IHHWLQ$GGLFNV>S86$&(@
  -XQ±$XJ
                                       DQGIHHWLQ%DUNHU>S86$&(@

  ±                         2XWOHWVWUXFWXUHUHQRYDWLRQVLQFOXGLQJHOHFWULFDOZRUNDQGJDWHUHSDLU

  3UHVHQW                      2QJRLQJFRQVWUXFWLRQRIQHZRXWOHWVDW$GGLFNVDQG%DUNHU

       6HGLPHQW/RDGV

%HWZHHQWKHFRPSOHWLRQRIWKH$GGLFNVDQG%DUNHU'DPVSURMHFWDQGWKHUHVHUYRLUUHVXUYH\V
WKHUHZDVQRHYLGHQFHRIDSSUHFLDEOHHURVLRQLQWKHZDWHUVKHGDERYHWKHGDPVRUVHULRXVVHGLPHQWDWLRQ
LVVXHVLQWKHUHVHUYRLUV>S86$&(@6LQFHVHGLPHQWORDGVRIWKHVWUHDPVIORZLQJLQWR$GGLFNV
DQG%DUNHU5HVHUYRLUVKDYHVXEVWDQWLDOO\LQFUHDVHGZKLFKLVDWWULEXWHGWRFRQVWUXFWLRQDFWLYLWLHVDVVRFLDWHG
ZLWKXUEDQL]DWLRQRIWKHXSSHUZDWHUVKHG>S86$&(@


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                               &RPPHUFLDOLQ&RQILGHQFH                               3DJH


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       &KDQQHODQG%D\RX,PSURYHPHQW3URMHFWVIRU)ORRG5HGXFWLRQ

7DEOHSUHVHQWVDVXPPDU\RIFKDQQHOSURMHFWVZLWKLQWKH)RFXV$UHDDSSURYHGE\WKHIHGHUDOJRYHUQPHQW
LQFOXGLQJFKDQQHOOLQLQJUHFWLILFDWLRQDQGGLYHUVLRQSURMHFWV7KH5HFWLILFDWLRQRI%XIIDOR%D\RX3URMHFW
LQFOXGHGVWUDLJKWHQLQJDQGZLGHQLQJRIDSSUR[LPDWHO\PLOHVRIWKHFKDQQHO3XEOLFRSSRVLWLRQGHOD\HG
DQRWKHUFKDQQHOLPSURYHPHQWSURMHFWWKDWZDVSODQQHGIRU%XIIDOR%D\RXLQFOXGLQJFRQFUHWHOLQLQJ>S
86$&(@7DEOHVKRZVDSSUR[LPDWHGDWHVRIWKHVHFKDQQHOLPSURYHPHQWV EDVHGRQUHYLHZRI
KLVWRULF*RRJOH(DUWKVDWHOOLWHLPDJHV 

7KH86$&(SHUPLWWHG+DUULV&RXQW\)RUW%HQG&RXQW\DQG:LOORZ)RUN'UDLQDJH'LVWULFWWREXLOGVHYHQ
PDMRULPSURYHPHQWVRQJRYHUQPHQWRZQHGUHVHUYRLUODQGDVPDSSHGRXWLQ)LJXUH

7DEOH6XPPDU\RI&KDQQHO3URMHFWVZLWKLQWKH)RFXV$UHD

  'DWH&RPSOHWHG               &KDQQHO3URMHFW'HVFULSWLRQ

  'RZQVWUHDP&KDQQHOV

                                5HFWLILFDWLRQRIaPLOHVRI%XIIDOR%D\RXLPPHGLDWHO\GRZQVWUHDPRIWKH
  
                                GDPV>S86$&(@

                                &KDQQHOLPSURYHPHQWVIRUPLOHVRI%UD\V%D\RX VWUDLJKWHQLQJDQG
  
                                HQODUJLQJDORQJZLWKFRQFUHWHOLQLQJ >S86$&(@

                                &KDQQHOLPSURYHPHQWVIRUPLOHVRI:KLWH2DN%D\RX VWUDLJKWHQLQJDQG
  
                                HQODUJLQJDORQJZLWKFRQFUHWHOLQLQJ >S86$&(@

                                +&)&'H[FDYDWHG7XUNH\&UHHN'LWFKEHORZ$GGLFNV'DP>S
  
                                86$&(@

                                0DLQHDUWKHPEDQNPHQWVRI$GGLFNVDQG%DUNHU'DPVZHUHUDLVHGWRIHHW
  
                                DQGIHHWUHVSHFWLYHO\>SS86$&(86$&(@

  PDMRUXSVWUHDPFKDQQHOLPSURYHPHQWV UHIHUWR)LJXUH 

  ±                  :LOORZ)RUN&UHHN,PSURYHPHQW±6WDJH

  ±                  7ULEXWDU\WR%XIIDOR%D\RX

  ±                  'UDLQDJH,PSURYHPHQWWR%HDU&UHHN9LOODJH

  ±                  :LOORZ)RUN&UHHN,PSURYHPHQW±6WDJH

  ±                  :LOORZ)RUN'LYHUVLRQ&KDQQHO

  ±                  0DVRQ&UHHN,PSURYHPHQW

  ±                  /DQJKDP+RUVHSHQ&UHHN'LYHUVLRQ

  ±                  %HDU&UHHN'LYHUVLRQ
EDVHGRQUHYLHZRIKLVWRULF*RRJOH(DUWK,PDJHV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                   &RPPHUFLDOLQ&RQILGHQFH                          3DJH


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)LJXUH6HYHQPDMRUFKDQQHOLPSURYHPHQWSURMHFWVXSVWUHDPRIDQGZLWKLQ$GGLFNVDQG%DUNHU
5HVHUYRLUV

           +LVWRULFDO6WRUPVDQG)ORRGV

$WWKHWLPHRIGUDIWLQJWKH:DWHU&RQWURO0DQXDO>@WKHPD[LPXPNQRZQIORRGRQ%XIIDOR%D\RXZDVWKH
IORRG>S86$&(@'XULQJWKLVIORRGRYHUIORZRFFXUUHGIURP:KLWH2DN%D\RXLQWR%XIIDOR
%D\RXZKLFKRYHUIORZHGLQWR%UD\V%D\RX>S86$&(@7KHHVWLPDWHGSHDNIORZUDWHVLQ%XIIDOR
%D\RXZHUHFIVDW:DXJK'ULYHDQGFIVDWWKHFRQIOXHQFHZLWK:KLWH2DNV%D\RX7KH
PD[LPXPUHFRUGHGSHDNGLVFKDUJHLQ%XIIDOR%D\RXVLQFHHVWDEOLVKPHQWRIJDJLQJVWDWLRQVZDVFIVDW
6KHSKHUG'ULYHLQ-XQH>S86$&(@$FRPSDULVRQEHWZHHQWKH+DUYH\(YHQWDQGWKH
IORRGLVSURYLGHGLQ6HFWLRQ

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 $SSUR[LPDWHO\PLOHVHDVWRI+LJKZD\DERXWVWUHDPPLOHVEHORZWKHUHVHUYRLUV

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                           &RPPHUFLDOLQ&RQILGHQFH                        3DJH


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           5DLQIDOO'DWD +XUULFDQH+DUYH\ 

:HGRZQORDGHGSUHFLSLWDWLRQGDWDIRUWKH+DUYH\(YHQWIRUVWDWLRQVLQKRXUO\DQGPLQXWHLQWHUYDOVIURP
WKH+DUULV&RXQW\)ORRG:DUQLQJ6\VWHPZHEVLWH>@:HUHYLHZHGDOOWKHGRZQORDGHGGDWDDQGPDUNHG
LQFRQVLVWHQWUHFRUGVRIUDLQIDOOGDWDDVPLVVLQJGDWD:HLGHQWLILHGLQFRQVLVWHQWUHFRUGVE\FRPSDULQJUDLQIDOO
GDWDDWHDFKVWDWLRQZLWKQHLJKERULQJVWDWLRQVDQGGLJLWL]HGORFDWLRQVRIUDLQIDOOVWDWLRQVIURPWKH+DUULV&RXQW\
)ORRG:DUQLQJ6\VWHP +&):6 PDS>@

,QDGGLWLRQWRJDJHGDWD$SSOLHG:HDWKHU$VVRFLDWHV $:$ DSSOLHGWKH6WRUP3UHFLSLWDWLRQ$QDO\VLV6\VWHP
WRGHVFULEHWKHUDLQIDOOGXULQJWKH+DUYH\(YHQWXVLQJDYDLODEOHVRXUFHV>@7KHRXWFRPHRIWKLVDQDO\VLVZDV
SURYLGHGDVPLQXWHUDLQIDOOGDWDJULGGHGDWDVSDWLDOUHVROXWLRQRIVHFRQGVRIODWLWXGHORQJLWXGH
 DSSUR[LPDWHO\NPUHVROXWLRQ 

          :LQG'DWD +XUULFDQH+DUYH\ 

$VSDUWRILWV6WRUP3UHFLSLWDWLRQ$QDO\VLV6\VWHPHYDOXDWLRQ$:$SURYLGHGJULGGHGZLQGGDWDFRUUHVSRQGLQJ
WRWKH+DUYH\(YHQWZKHUHZLQGVSHHGGLUHFWLRQDQGDWPRVSKHULFSUHVVXUHGDWDZHUHSURYLGHGDVJULGGHG
PLQXWHGDWDDWDVSDWLDOUHVROXWLRQRIVHFRQGV NP >@

          $GGLFNVDQG%DUNHU5HVHUYRLUV

 2EMHFWLYHRIWKH5HVHUYRLUV

$GGLFNVDQG%DUNHU5HVHUYRLUV³ZHUHGHVLJQHGE\WKH86$&(WRUHGXFHIORRGIORZVGRZQVWUHDPLQ%XIIDOR
%D\RXWKURXJKWKH&LW\RI+RXVWRQ´>S86$&(@DQGWRSURWHFWXUEDQGHYHORSPHQWLQWKH
GRZQVWUHDPIORRGSODLQ>S86$&(@

:KHQWKHUHVHUYRLUVZHUHFRPSOHWHGE\'HFHPEHUWKH\ZHUHPLOHVZHVWRIWKHFLW\OLPLWVRI+RXVWRQ
>S86$&(@1RZWKHVHUHVHUYRLUVDUHSDUWRIWKH&LW\RI+RXVWRQDQGVXEVWDQWLDOXUEDQ
GHYHORSPHQWLVORFDWHGXSVWUHDPDQGQH[WWRWKHIHGHUDOO\DFTXLUHGODQGVRU*2/>S86$&(@

 5HVHUYRLU6WRUDJHDQG'UDLQDJH&KDUDFWHULVWLFV

$VRXWOLQHGHDUOLHUWKHREMHFWLYHRIWKH$GGLFNVDQG%DUNHU'DPVLVWRUHGXFHIORRGULVNVLQWKHGRZQVWUHDP
IORRGSODLQ>S86$&(@$VVXFKWKH$GGLFNVDQG%DUNHU5HVHUYRLUVDUHGHVLJQHGIRUVKRUWWHUP
VWRUDJHGXULQJVWRUPFRQGLWLRQV7KHVWRUDJHFDSDFLWLHVRI$GGLFNVDQG%DUNHU5HVHUYRLUVZLWKLQWKH*2/DUH
DFUHIHHW ELOOLRQJDOORQV >S86$&(@DQGDFUHIHHW ELOOLRQJDOORQV >S
86$&(@UHVSHFWLYHO\

,QWKH5HVHUYRLU5HJXODWLRQ0DQXDOWKH&RUSVHVWLPDWHGWKDWWKHPD[LPXPQRQGDPDJLQJFKDQQHO
FDSDFLW\GRZQVWUHDPRIWKHUHVHUYRLUVZDVDERXWFIV>S86$&(@$WWKLVUDWHLWWDNHV
GD\VIRUIORRGZDWHUWRGLVFKDUJHIURPWKHUHVHUYRLUVLIZDWHUVXUIDFHHOHYDWLRQLVDW63)HOHYDWLRQVDVVXPLQJ
QRDGGLWLRQDOUDLQIDOODQGUHVXOWDQWUXQRIIGXULQJUHOHDVHV>S86$&(@7KH:DWHU&RQWURO
0DQXDOVWDWHV³SUHVHQWQRQGDPDJLQJFKDQQHOFDSDFLW\LVDSSUR[LPDWHO\FIV5HOHDVHVZKHQFRPELQHG
ZLWKXQFRQWUROOHGUXQRIIDQGRXWIORZIURP$GGLFNVDQG%DUNHU5HVHUYRLUVDUHOLPLWHGWRFIVGXHWR
VHULRXVHPEDQNPHQWSUREOHPVDQGLPSDFWVWRSULYDWHO\RZQHGODQG´>S86$&(@

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&RQVWUXFWLRQRI%DUNHU'DPZDVFRPSOHWHGLQ)HEUXDU\>S86$&(@ZKLOHFRQVWUXFWLRQRI$GGLFNV'DPZDVFRPSOHWHGLQ
'HFHPEHU>S86$&(@

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                           &RPPHUFLDOLQ&RQILGHQFH                                  3DJH


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 +LVWRULFDO3RRO(OHYDWLRQV

)URPWKHVWDUWRIRSHUDWLRQRIWKHGDPVLQXQWLOWKHWLPHRIGUDIWLQJWKH:DWHU&RQWURO0DQXDOLQWKH
PD[LPXPLPSRXQGPHQWVEHKLQGWKHUHVHUYRLUVRFFXUUHGLQ0DUFKZLWKSRROHOHYDWLRQVRIIHHW
 $GGLFNV DQGIHHW %DUNHU >S86$&(@7DEOHSURYLGHVHOHYDWLRQVLQGHVFHQGLQJRUGHUIRU
WKHWRSVLJQLILFDQWSRROVIRU$GGLFNVDQG%DUNHU5HVHUYRLUVSULRUWRWKH+DUYH\(YHQW

'XULQJ+XUULFDQH+DUYH\SRROHOHYDWLRQVLQ$GGLFNVDQG%DUNHU5HVHUYRLUVUHDFKHGIHHWDQG
IHHW1$9'RQWKHPRUQLQJRIH[FHHGLQJWKH6WDQGDUG3URMHFW)ORRGHOHYDWLRQV IHHWDQG
IHHWUHVSHFWLYHO\ 

7DEOH7RSSRROHOHYDWLRQVIRU$GGLFNVDQG%DUNHU5HVHUYRLUVSULRUWRWKH+DUYH\(YHQW>SS
86$&(@

                                            3RRO(OHYDWLRQDW$GGLFNV         3RRO(OHYDWLRQDW%DUNHU
  'DWH
                                            5HVHUYRLU IW1$9'              5HVHUYRLU IW1$9' 

  ±$XJ+DUYH\(YHQW                                        

  ±$SULO7D['D\                                           

  0DU                                                            

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  1RY                                                            

  1RY                                                           

  2FW                                                           

  0D\ 0HPRULDO'D\                                             

  0D\                                                           

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  6HS                                                            

  6HS                                                           
%DVHGRQUHYLHZRI86*6JDJHGDWD>@

 5HOHDVHV

,QDFFRUGDQFHZLWKWKH:DWHU&RQWURO0DQXDO>S86$&(@6HFWLRQE ,QGXFHG6XUFKDUJH
)ORRG&RQWURO5HJXODWLRQ “At any time the reservoir pool equals or exceeds 101 feet NAVD 1988 in Addicks
Reservoir and 95.7 feet NAVD 1988 in Barker Reservoir monitoring of pool elevation should immediately
ensue to determine if inflow is causing pool elevation to continue to rise. If inflow and pool elevation conditions
dictate, reservoir releases will be made in accordance with the induced surcharge regulation schedules shown
on plates 7-03 and 7-04. The gates should remain at the maximum opening attained from the induced
surcharge regulation schedules until reservoir levels fall to elevation 101 feet NAVD 1988 in Addicks and 94.9
feet NAVD 1988 in Barker. Then, if the outflow from both reservoirs when combined with the uncontrolled

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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runoff downstream is greater than channel capacity, adjust the gates until the total discharges do not exceed
channel capacity and follow the normal operating procedures.”

'XULQJWKH+DUYH\(YHQWLWLVRXUXQGHUVWDQGLQJWKDWWKH&RUSVRSHUDWHGWKH$GGLFNVDQG%DUNHUGDPVLQ
DFFRUGDQFHZLWKWKHLQGXFHGVXUFKDUJHVFKHGXOHLQWKH:DWHU&RQWURO0DQXDO7KHUHZHUHWKUHH
GLVWLQFWLYHSKDVHVWRWKHUHOHDVHVIURP$GGLFNVDQG%DUNHU5HVHUYRLUVGXULQJWKH+DUYH\(YHQW,QWKHILUVW
SKDVHEHWZHHQDWDQGDWWKHUHOHDVHVZHUHLQFUHDVHGWRDFRPELQHGUDWHRI
DSSUR[LPDWHO\FIV%HWZHHQRQWKHWKRI$XJXVWDQGRQWKHWKWKHUHZDVRQO\DVPDOO
LQFUHDVHLQWKHUDWHRIFRPELQHGUHOHDVHWRFIV,QWKHWKLUGSKDVHIURPRQWKHWKXQWLOWKDW
GD\WKHUHOHDVHZDVLQFUHDVHGWRDFRPELQHGUDWHRIDSSUR[LPDWHO\FIV7KHILUVWDQGWKLUGSKDVHV
ZKHUHWKHUHOHDVHVZHUHUDPSHGXSUHVXOWHGLQWZRGLVWLQFWLYHIORRGZDYHVPRYLQJGRZQVWUHDPWKURXJK
%XIIDOR%D\RX7DEOHVXPPDUL]HVWKHVHTXHQFHRIHYHQWVGXULQJWKH)RFXV3HULRG

7DEOH6HTXHQFHRI(YHQWV

                                             3RRO(OHYDWLRQV                                      $SSUR[LPDWH
                                             LQ$GGLFNV                                         5DWHRI5HOHDVH
  'DWH              5DLQIDOO>@                            *DWH2SHUDWLRQ
                                             %DUNHU IW                                          IURP$GGLFNV
                                             1$9'                                               %DUNHU FIV 

                     /LJKWVFDWWHUHG
  WR                              WR         *DWHVSDUWLDOO\RSHQWR
                     UDLQSULRUWR                                                                 ±  ±
                                                                   HPSW\WKHUHVHUYRLUVDQGWR
            +XUULFDQH+DUYH\        WR                                            
                                                                   UHOHDVHLQFRPLQJLQIORZV
                     ODQGIDOO

                6WDUWRI+DUYH\                                   *DWHVSDUWLDOO\RSHQWR
                                                                                                    ±  ±
  DP (YHQW¶VUDLQIDOO                          HPSW\WKHUHVHUYRLUVDQGWR
                                                                                                   
                OLJKWUDLQ                                        UHOHDVHLQFRPLQJLQIORZV

  
                     /LJKWUDLQ                       $GGLFNVJDWHVFORVHG           
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  DP
                                              WR         $GGLFNVDQG%DUNHUJDWHV
  WR          ,QWHQVHUDLQIDOO                                                                  
                                              WR            FORVHG
  DP

                                                                   6WDUWRIJUDGXDORSHQLQJRI
            /HVVLQWHQVH
                                                      $GGLFNVJDWHV FUHDWHVILUVW   ± 
                 UDLQIDOO
                                                                   IORRGZDYH 

                                                                   6WDUWRIJUDGXDORSHQLQJRI
            /HVVLQWHQVH                                                                  ±  ±
                                                      %DUNHUJDWHV FUHDWHVILUVW
                 UDLQIDOO                                                                      
                                                                   IORRGZDYH 

  SP                               WR        *UDGXDORSHQLQJVWRSSHG
                /HVVLQWHQVH
  WR                                                    DQGJDWHSRVLWLRQKHOGIRU     
                UDLQIDOO                      WR 
  DP                                                               ERWKVHWVRIJDWHV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                               &RPPHUFLDOLQ&RQILGHQFH                                   3DJH


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     DP (QGRIUDLQIDOO                            WR        *DWHRSHQLQJUHVXPHGDW
     WR DURXQG                                                ERWKUHVHUYRLUV FUHDWHV      
     SP                                                   WR          VHFRQGIORRGZDYH 

                    1RPHDVXUDEOH                                         6WDUWRIJUDGXDOFORVXUHRI
                                                                                                     
                        UDLQIDOO                                               $GGLFNVJDWHV

                    1RPHDVXUDEOH                                         6WDUWRIJUDGXDOFORVXUHRI
                                                                                                     
                        UDLQIDOO                                               %DUNHUJDWHV
    >S86$&(86$&(@>@>@


          3ODLQWLIIVDQG7HVW3ODLQWLIIV

)LJXUHPDSVRXWWKHXSVWUHDPDQGGRZQVWUHDP7HVW3ODLQWLIIVDQGPDMRUVWUHDPVZLWKLQWKH)RFXV$UHD
,QXQGDWLRQGDPDJHVDWWKH3ODLQWLIIV¶SURSHUWLHVFRXOGKDYHUHVXOWHGIURPVHYHUDOIDFWRUVDVVXPPDUL]HGEHORZ
x       ([FHVVLYHUXQRIIIURPORFDOUDLQIDOOWKDWRYHUZKHOPHGWKHORFDOVWRUPGUDLQDJHV\VWHP
x       %DFNZDWHUGXHWRKLJKZDWHUVXUIDFHHOHYDWLRQVLQWKHUHFHLYLQJZDWHUERG\ VXFKDVSRROHOHYDWLRQVLQ
        $GGLFNVRU%DUNHU5HVHUYRLUV 
x       %DFNZDWHUGXHWRFKDQQHOFRQVWULFWLRQLQVWUHDPVED\RXVDQGRU
x       5HOHDVHRIIORRGZDWHUIURP$GGLFNVDQG%DUNHU5HVHUYRLUV

7DEOHSURYLGHVDOLVWRIGRZQVWUHDP7HVW3ODLQWLIIVDORQJZLWKDJHQHUDOGHVFULSWLRQRIWKHLUSURSHUWLHV¶
ORFDWLRQVZLWKUHVSHFWWRWKHGDPVDQGWKHPDMRUVWUHDPV

7DEOHVXPPDUL]HVUHVXOWVRIODQGVXUYH\VFRPSOHWHGDWWKHXSVWUHDP7HVW3URSHUWLHV>@

7DEOH*HQHUDOGHVFULSWLRQRIGRZQVWUHDP7HVW3URSHUWLHV

     7HVW3ODLQWLII                                     /RFDWLRQZLWKUHVSHFWWRJDJHVDQGZDWHUERGLHV

     $OGUHG9DO /LQGD                                2QWKHVRXWKHUQVLGHRIORZHU7XUNH\&UHHN

     *RRG5HVRXUFHV//&                                2QWKHHDVWHUQVLGHRI/RZHU/DQJKDP&UHHN

     0HPRULDO60&,QYHVWPHQW                            2QWKHZHVWHUQVLGHRI/RZHU/DQJKDP&UHHN
     /3

     0LOWRQ$UQROGDQG9LUJLQLD                        2QWKHQRUWKHUQVLGHRIWKHUHFWLILHGVHFWLRQRI%XIIDOR%D\RXEHWZHHQ
                                                         +LJKZD\DQG'DLU\$VKIRUG5RDGXSVWUHDPRIWKHFRQIOXHQFHZLWK
                                                         /RZHU/DQJKDP&UHHN

     6KLSRV-HQQLIHU                                   2QWKHVRXWKHUQVLGHRIWKHUHFWLILHGVHFWLRQRI%XIIDOR%D\RXEHWZHHQ
                                                         +LJKZD\DQG'DLU\$VKIRUG5RDGXSVWUHDPRIWKHFRQIOXHQFHZLWK
                                                         /RZHU/DQJKDP&UHHN

     +ROOLV:D\QHDQG3HJJ\                            2QWKHVRXWKHUQVLGHRIWKHUHFWLILHGVHFWLRQRI%XIIDOR%D\RXEHWZHHQ
                                                         +LJKZD\DQG'DLU\$VKIRUG5RDGGRZQVWUHDPRIWKHFRQIOXHQFHZLWK
                                                         /RZHU/DQJKDP&UHHN


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 0D[LPXPUHOHDVHIORZUDWHGXULQJWKH(YHQWZDVOHVVWKDQWKHPD[LPXPFDSDFLW\RIWKHFRQGXLWV

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                &RPPHUFLDOLQ&RQILGHQFH                                 3DJH


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  6LOYHUPDQ3HWHUDQG                2QWKHVRXWKHUQVLGHRIWKHUHFWLILHGVHFWLRQRI%XIIDOR%D\RXEHWZHHQ
  =KHQQLD                             'DLU\$VKIRUG5RDGDQG%HOWZD\PXFKFORVHUWR'DLU\$VKIRUG5RDG
                                       'RZQVWUHDPRIWKHFRQIOXHQFHZLWK/RZHU/DQJKDP&UHHN

  *RGHMRUG$UQVWHLQDQG,QJD         2QWKHQRUWKHUQVLGHRIWKHUHFWLILHGVHFWLRQRI%XIIDOR%D\RXEHWZHHQ
                                       'DLU\$VKIRUG5RDGDQG%HOWZD\PXFKFORVHUWR'DLU\$VKIRUG5RDG
                                       'RZQVWUHDPRIWKHFRQIOXHQFHZLWK/RZHU/DQJKDP&UHHN

  &XWWV3DXODQG'DQD                2QWKHVRXWKHUQVLGHRI%XIIDOR%D\RXDWWKHWUDQVLWLRQEHWZHHQWKH
                                       UHFWLILHGDQGXQUHFWLILHGVHFWLRQV a\DUGVVRXWKRIWKH%D\RX RQ
                                       WKHZHVWVLGHRI%HOWZD\

  +R%HFN\ 1RORQJHUD7HVW         1RUWKRI%XIIDOR%D\RXRQWKHZHVWHUQVLGHRI%HOWZD\
  3ODLQWLII 

  %H\RJOX*RNKDQDQG-DQD            2QQRUWKHUQVLGHRIWKHXQUHFWLILHGVHFWLRQRI%XIIDOR%D\RXEHWZHHQ
                                       %HOWZD\DQG3LQH\3RLQW

  $]DU3KLOOLS                       2QWKHQRUWKHUQVLGHRIWKHXQUHFWLILHGVHFWLRQRI%XIIDOR%D\RXQHDU
                                        GRZQVWUHDPRI 9RVV'ULYHEHWZHHQ6DQ)HOLSHDQG6KHSKHUG'U
                                       JDJHV PXFKFORVHUWR6DQ)HOLSH 

  6WDKO7LPRWK\                      2QWKHQRUWKHUQVLGHRIWKHXQUHFWLILHGVHFWLRQRI%XIIDOR%D\RXQHDU
                                        GRZQVWUHDPRI 9RVV'ULYHEHWZHHQ6DQ)HOLSHDQG6KHSKHUG'U
                                       JDJHV PXFKFORVHUWR6DQ)HOLSH QHDUWKHFRQIOXHQFHRI6SULQJ
                                       %UDQFK&UHHNDQG%XIIDOR%D\RX

  :HOOLQJ6KDZQ                      2QWKHQRUWKHUQVLGHRIWKHXQUHFWLILHGVHFWLRQRI%XIIDOR%D\RX
                                       DSSUR[LPDWHO\\DUGVZHVW XSVWUHDP RI6KHSKHUG'U




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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7DEOH5HVXOWVRIODQGVXUYH\VDWXSVWUHDP7HVW3ODLQWLIIV>@

                                       (OHYDWLRQ IW 

  3ODLQWLII                           /RZHVW      *DUDJH        /RZHVW          )LUVW      2WKHU)LQLVKHG   6RXUFH
                                       *UDGH                      $GMDFHQW         )LQLVKHG   )ORRU
                                                                   *UDGH           )ORRU

  $OGUHG9DO /LQGD                                                                       86

  *RRG5HVRXUFHV//&                                                                     86

  0HPRULDO60&                                                            
                                                                                                                 86
  ,QYHVWPHQW/3

  0LOWRQ$UQROGDQG                                                      
                                                                                                                 86
  9LUJLQLD

  6KLSRV-HQQLIHU                                                                        86

  +ROOLV:D\QHDQG3HJJ\                                                                 86

  6LOYHUPDQ3HWHUDQG                                                    
                                                                                                                 86
  =KHQQLD

  *RGHMRUG$UQVWHLQDQG                                                  
                                                                                                                 86
  ,QJD

  &XWWV3DXODQG'DQD                                                                    86

  %H\RJOX*RNKDDQG                                                      
                                                                                                                 86
  -DQD

  $]DU3KLOOLS                                                                           86

  6WDKO7LPRWK\                                                                       86

  :HOOLQJ6KDZQ                                                                       86
2WKHUILQLVKHGIORRUHOHYDWLRQVXUYH\HG




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                      &RPPHUFLDOLQ&RQILGHQFH                                    3DJH


                                                                                                                               A1241
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)LJXUH)RFXV$UHDYLFLQLW\PDSVKRZLQJORFDWLRQVRI7HVW3ODLQWLIIVDQGPDMRUVWUHDPV'RZQVWUHDP7HVW3ODLQWLIIVDUHLGHQWLILHGLQ
)LJXUH



$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                                     3DJH




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        $QDO\VLVRI3K\VLFDO'DWD
7KLVVHFWLRQSUHVHQWVDQDO\VLVRISK\VLFDOGDWDFROOHFWHGGXULQJWKH+DUYH\(YHQW LHVWUHDPJDJHGDWD DQG
KLVWRULFDOO\ LHIORZUDWLQJFXUYHV WRGHYHORSDJHQHUDOXQGHUVWDQGLQJRIWKHIORZUHJLPHGXULQJWKHHYHQWDQG
WRHVWLPDWHJHQHUDOFKDUDFWHULVWLFVRIWKHPDLQVWUHDPVZLWKLQWKH)RFXV$UHD)LJXUHVKRZVORFDWLRQVRI
VWUHDPJDJHVZLWKLQWKH)RFXV$UHDZKLFKKDYHEHHQUHYLHZHGDQGDQDO\]HGLQWKLVVHFWLRQ

       ,QIORZWR$GGLFNVDQG%DUNHU5HVHUYRLUV

7KH&RUSVGHWHUPLQHGWKH6WDQGDUG3URMHFW)ORRG 63) HOHYDWLRQVEDVHGRQDGHVLJQIORRGWKDWJHQHUDWHV
SHDNUXQRIILQIORZVRIFIVDQGFIVLQWR$GGLFNVDQG%DUNHUUHVSHFWLYHO\ :DWHU&RQWURO
0DQXDO>SS86$&(@ 7KHVHSHDNLQIORZVDUHJUHDWHUWKDQWKHHVWLPDWHGUXQRIIGXULQJWKH
IORRGZKLFKZDVWKHVWRUPRIUHFRUGDWWKHWLPHRIGHVLJQLQJWKH$GGLFNVDQG%DUNHUGDPV UHIHUWR7DEOH
 

7KHFDSDFLW\UDWLQJWDEOHVGRFXPHQWHGLQWKH&RUSV¶:DWHU&RQWURO0DQXDO>@ZHUHXVHGWRHVWLPDWH
YROXPHRIIORRGZDWHUVLQWKHUHVHUYRLUVGXULQJWKH(YHQW86*6PHDVXUHPHQWVRISRROHOHYDWLRQVLQ$GGLFNV
DQG%DUNHU5HVHUYRLUV>@ 86*66WDWLRQV $GGLFNV DQG %DUNHU ZHUHXVHGWRGHILQH
WKHIUHHVXUIDFHHOHYDWLRQVLQWKHUHVHUYRLUV:HHVWLPDWHGWKHLQIORZVWR$GGLFNVDQG%DUNHU5HVHUYRLUV
GXULQJWKH+DUYH\(YHQWEDVHGRQWKHPDVVEDODQFHZLWKLQWKHUHVHUYRLUVDVWZRVHSDUDWHFRQWUROYROXPHV
7KHUHOHDVHVIURP$GGLFNVDQG%DUNHU5HVHUYRLUVZHUHLQFOXGHGLQWKHPDVVEDODQFHEXWIORRGZDWHUVWRUHG
XSVWUHDPRIWKHUHVHUYRLUV LHLQXSSHUWULEXWDULHVDQGORZO\LQJDUHDV ZDVQRWLQFOXGHG$VVXFKLQIORZV
HVWLPDWHGXVLQJWKLVPHWKRGRORJ\DUHH[SHFWHGWREHOHVVWKDQWKHSHDNIORZVJHQHUDWHGXSVWUHDPRIWKH
UHVHUYRLUVGXULQJWKH+DUYH\(YHQW7KHVSLOODURXQGWKHQRUWKHQGRI$GGLFNVGDPZDVQRWLQFOXGHGLQWKH
PDVVEDODQFH$VVXFKLQIORZVWR$GGLFNV5HVHUYRLUDUHVOLJKWO\XQGHUHVWLPDWHG7KH+DUYH\(YHQW
JHQHUDWHGSHDNLQIORZVRIDWOHDVWDQGFIVWR$GGLFNVDQG%DUNHU5HVHUYRLUVUHVSHFWLYHO\DV
VKRZQLQ)LJXUH+DUULV&RXQW\>@UHSRUWHGDSHDNPD[LPXPLQIORZRIFIVLQWR$GGLFNV5HVHUYRLU
GXULQJWKH+DUYH\(YHQWQRWLQFOXGLQJLQIORZVIURP+RUVHSHQ&UHHNZKLFKLVFRQVLVWHQWZLWKWKHHVWLPDWHG
LQIORZVSURYLGHGLQ)LJXUH$VVKRZQLQ7DEOHSHDNLQIORZUDWHVJHQHUDWHGGXULQJWKH+DUYH\(YHQW
DUHWRWLPHVWKH63)LQIORZV

,QWKH&RUSVUHFDOFXODWHGWKH63)K\GURJUDSKVIRU$GGLFNVDQG%DUNHU5HVHUYRLUVEDVHGRQRIWKH
3UREDEOH0D[LPXP3UHFLSLWDWLRQ 303 >S86$&(@7KHUHYLVHG63)LQIORZK\GURJUDSKVKDYH
SHDNLQIORZUDWHVRIFIVDQGFIVIRU$GGLFNVDQG%DUNHU5HVHUYRLUVUHVSHFWLYHO\$OWKRXJKWKH
HVWLPDWHGSHDNLQIORZUDWHVGXULQJ+DUYH\DUHVPDOOHUWKDQWKHUHYLVHG63)WKH+DUYH\LQIORZK\GURJUDSKV
DUHORQJHUWKDQWKH63)GXUDWLRQ7KHFDOFXODWHGWRWDOFXPXODWLYHLQIORZVWR$GGLFNVDQG%DUNHU5HVHUYRLUV
GXULQJWKH+DUYH\(YHQWDUHODUJHUWKDQWKH63)DVVKRZQLQ7DEOH)LJXUHDQG)LJXUH
FRPSDUHEHWZHHQLQIORZK\GURJUDSKVXQGHU+DUYH\(YHQW63)63)DQGIORRGIRU$GGLFNV
DQG%DUNHU5HVHUYRLUVUHVSHFWLYHO\)LJXUHDQG)LJXUHVKRZHVWLPDWHGFXPXODWLYHLQIORZVWR$GGLFNV
DQG%DUNHUGXULQJ+DUYH\(YHQW63)DQG63)

7KHIRFXVRIRXULQYHVWLJDWLRQUHODWHVWRWKHK\GUDXOLFGHVLJQDQGSHUIRUPDQFHRIWKH$GGLFNVDQG%DUNHU
5HVHUYRLUVZKLFKLVEDVHGRQWKH63):KHUHDVWKH6SLOOZD\'HVLJQ)ORRG 6') UHODWHVWRWKHVWUXFWXUDODQG
JHRWHFKQLFDOGHVLJQRIWKHHPEDQNPHQWVDVVRFLDWHGZLWKWKHWZRUHVHUYRLUV7KH&RUSVQRWHGLQWKH
:DWHU&RQWURO0DQXDOWKDWWKH6')SURGXFHV³IORZRYHUWKHHPEDQNPHQWVRIERWKGDPV´>S
86$&(@³7KHRFFXUUHQFHRIWKLVVLWXDWLRQFRXOGFUHDWHDFRQGLWLRQIDYRUDEOHIRUFRQVLGHUDEOHSURSHUW\
GDPDJHWRWKHSXEOLFDQGWKHSRVVLEOHORVVRIOLIH6SLOOZD\'HVLJQ)ORRG,PSDFWVDUHFXUUHQWO\EHLQJ
UHDQDO\]HGDVSDUWRID'DP6DIHW\0RGLILFDWLRQ6WXG\DQG>WKH:DWHU&RQWURO0DQXDO@ZLOOEHXSGDWHG
ZLWKUHVXOWVIURPWKHVWXG\DIWHULWLVUHYLHZHGDQGDSSURYHG´>S86$&(@

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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7KHPD[LPXPFRPELQHGFDSDFLW\RIWKH$GGLFNVDQG%DUNHUUHOHDVHFRQGXLWVLVFIV>S
86$&(DQG86$&(@ZKLFKLVJUHDWHUWKDQWKHFDSDFLW\RIWKHUHFHLYLQJFKDQQHO)ORRGZDWHU
LQIORZUDWHVWR$GGLFNVDQG%DUNHU5HVHUYRLUVUHDFKHGDWOHDVWFIVZKLFKLVDQRUGHURIPDJQLWXGH
ODUJHUWKDQWKHPD[LPXPFRPELQHGFDSDFLW\RIWKHUHOHDVHFRQGXLWVOHDGLQJWRDQXQDYRLGDEOHUDSLGUDWHRI
ULVHRISRROHOHYDWLRQVLQ$GGLFNVDQG%DUNHU5HVHUYRLUV'XHWRWKHRUGHURIPDJQLWXGHGLIIHUHQFHEHWZHHQ
WKHLQIORZVWRDQGRXWIORZVIURPWKHUHVHUYRLUVWKHSRROHOHYDWLRQVLQVLGHWKHUHVHUYRLUVDUHQRWPDQDJHDEOH
ZLWKRXWVLJQLILFDQWUHOHDVHVGXULQJHYHQWVVLPLODUWRWKH+DUYH\(YHQW

7DEOH6XPPDU\RIGHVLJQIORRGSHDNLQIORZVFRPSDUHGWRWKH+DUYH\(YHQWSHDNLQIORZV

                                                                                                                                7RWDO
                                                           3HDN
    6WRUPV OLVWHGDFFRUGLQJWR                                                              7RWDOFXPXODWLYH              FXPXODWLYH
                                                         LQIORZWR      3HDNLQIORZWR
    VHYHULW\IURPORZHVWWR                                                                 LQIORZWR$GGLFNV               LQIORZWR
                                                         $GGLFNV         %DUNHU FIV 
    KLJKHVWFXPXODWLYHLQIORZV                                                                   $FUHIW                 %DUNHU $FUH
                                                            FIV 
                                                                                                                                  IW 

    )ORRG>S
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    6WDQGDUG3URMHFW)ORRG
     63) >SS86$&(                                                                           
    @

    \HDUIORRGIUHTXHQF\>S
    86$&(DQG                                                                                                  
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    6WDQGDUG3URMHFW)ORRG
                                                                                                       
    >S86$&(@

    +DUYH\(YHQW                                                                                       
  3HDNLQIORZVDQGWRWDOFXPXODWLYHLQIORZVDUHFDOFXODWHGEDVHGRQYROXPHRIIORRGZDWHULQWKHUHVHUYRLUVDQGWKHUHOHDVHGDPRXQWRIZDWHU
WKURXJKWKHFRQGXLWV(VWLPDWHVGRQRWLQFOXGHZDWHUVWRUHGLQXSSHUWULEXWDULHVDQGORZO\LQJDUHDVXSVWUHDPRIWKHUHVHUYRLUVDQG
IORRGZDWHUVSLOOHGDURXQGWKHQRUWKHQGRI$GGLFNV
   &DOFXODWHGEDVHGRQGLJLWL]HGLQIORZK\GURJUDSKVSURYLGHGE\WKH5HVHUYRLU5HJXODWLRQ0DQXDO>@
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 6LJQLILFDQWUHOHDVHVH[FHHGLQJWKHFDSDFLW\RIWKHUHOHDVHFRQGXLWVDQGWKHUHFHLYLQJFKDQQHOVGRZQVWUHDPRIWKHGDPV

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                               &RPPHUFLDOLQ&RQILGHQFH                                       3DJH


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)LJXUH6WUHDPJDJHVZLWKLQWKH)RFXV$UHD

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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                  100000

                   90000

                   80000                                                                                                                                                                              EstimatedAddicksInflow
                                                                                                                                                                                                      (HarveyEvent)
                   70000

                   60000                                                                                                                                                                              EstimatedBarkerInflow
   Inflow(cfs)




                                                                                                                                                                                                      (HarveyEvent)
                   50000

                   40000

                   30000

                   20000

                   10000

                       0




                                                                                                                                                                                                                9/1/20170:00




                                                                                                                                                                                                                                 9/2/20170:00
                           8/24/20170:00




                                             8/25/20170:00




                                                                   8/26/20170:00




                                                                                         8/27/20170:00




                                                                                                                   8/28/20170:00




                                                                                                                                          8/29/20170:00




                                                                                                                                                                  8/30/20170:00




                                                                                                                                                                                         8/31/20170:00
                                                                                                                Datetime

)LJXUH$GGLFNVDQG%DUNHULQIORZK\GURJUDSKVGXULQJ+DUYH\(YHQW

                  140000
                                                                                                                                                                 EstimatedAddicksInflow(HarveyEvent)
                  120000
                                                                                                                                                                 1977SPF

                  100000
                                                                                                                                                                 1962SPF
   Inflow(cfs)




                  80000                                                                                                                                          1935


                  60000


                  40000


                  20000


                      0
                             0              20                40                    60                        80                    100                    120                     140             160            180           200

                                                                                                                Time(hr)

)LJXUH+DUYH\(YHQW63)63)DQGHYHQWLQIORZK\GURJUDSKVWR$GGLFNV
5HVHUYRLU




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                                                        &RPPHUFLDOLQ&RQILGHQFH                                                                                             3DJH


                                                                                                                                                                                                                                                 A1246
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                                 140000
                                                                                                               EstimatedBarkerInflow(HarveyEvent)
                                 120000
                                                                                                               1977SPF

                                 100000
                                                                                                               1962SPF
    Inflow(cfs)




                                  80000                                                                        1935


                                  60000


                                  40000


                                  20000


                                      0
                                          0     20         40         60          80           100       120    140        160         180         200

                                                                                       Time(hr)

)LJXUH+DUYH\(YHQW63)63)DQGHYHQWLQIORZK\GURJUDSKVWR%DUNHU5HVHUYRLU

                                 300000
                                              EstimatedCumulativeInflowtoAddicks
                                              (HarveyEvent)
                                 250000       1977SPF
   CumulativeInflow(Acre.ft)




                                              1962SPF
                                 200000
                                              1935

                                 150000


                                 100000


                                 50000


                                     0
                                          0     20         40         60          80           100       120    140        160         180         200

                                                                                       Time(hr)

)LJXUH&XPXODWLYHLQIORZYROXPHVWR$GGLFNV5HVHUYRLU +DUYH\(YHQW63)DQG63) 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                           &RPPHUFLDOLQ&RQILGHQFH                                           3DJH


                                                                                                                                                           A1247
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                                  300000
                                               EstimatedCumulativeInflowtoBarker
                                               (HarveyEvent)
                                  250000       1977SPF
    CumulativeInflow(Acre.ft)




                                               1962SPF
                                  200000

                                               1935
                                  150000


                                  100000


                                   50000


                                       0
                                           0   20         40         60          80       100           120   140   160   180   200

                                                                                  Time(hr)

)LJXUH&XPXODWLYHLQIORZYROXPHVWR%DUNHU5HVHUYRLU +DUYH\(YHQW63)DQG63) 

                                  )ORZ5HJLPH'RZQVWUHDPRI$GGLFNVDQG%DUNHU'DPV

7KLVVHFWLRQGHVFULEHVWKHIORZUHJLPHGRZQVWUHDPRIWKHGDPVEDVHGRQVWDJHDQGGLVFKDUJHPHDVXUHPHQWV
DWYDULRXVJDJHORFDWLRQVSULRUWRDQGGXULQJWKH+DUYH\(YHQW

                                5DLQIDOODQG5XQRII&KDUDFWHULVWLFV

)LJXUHSUHVHQWV86*6PHDVXUHGVWDJHHOHYDWLRQVDORQJ%XIIDOR%D\RXGRZQVWUHDPRIWKHGDPVGXULQJ
WKH+DUYH\(YHQW,WLVQRWHGWKDWGXULQJWKHLQWHQVHUDLQIDOOSHULRGEHWZHHQDPDQGDP
WKHUHZHUHQRUHOHDVHVIURP$GGLFNVDQG%DUNHU5HVHUYRLUV'XULQJWKLVSHULRGJDJHHOHYDWLRQULVLQJWUHQGV
ZHUHGLVWLQFWLYHO\VLPLODUZLWKRXWVSDFH EHWZHHQJDJHV RUWLPHODJV7KLVLVWUXHIRUDOOWKHGRZQVWUHDPJDJHV
ZLWKLQWKH)RFXV$UHDH[FHSWWKH86*6JDJHDW6KHSKHUG'ULYHZKLFKIHDWXUHVDYHU\GLIIHUHQW
SDWWHUQRIUHVSRQVH DVGLVFXVVHGEHORZ )LJXUHVKRZVWKDWWKH7XUQLQJ%DVLQ*DJHORFDWHG
DERXWPLOHV VWUHDPGLVWDQFH GRZQVWUHDPRI6KHSKHUG'ULYHDQGDERXWPLOHVGRZQVWUHDPRIWKH:KLWH
2DN%D\RXFRQIOXHQFHH[KLELWVWKHVDPHGLVWLQFWLYHULVLQJWUHQGRIJDJHHOHYDWLRQV

$VQRWHGDERYHXQOLNHDOORWKHUJDJHVORFDWHGXSVWUHDPDQGGRZQVWUHDPRILWVORFDWLRQWKHPHDVXUHGVWDJH
HOHYDWLRQVDWWKH6KHSKHUG'ULYHJDJHIROORZDVWUDLJKWOLQHEHWZHHQDQG
VKRZLQJQRFRUUHODWLRQWRWKHPXOWLSOHLQWHQVHUDLQIDOOSHDNVGXULQJWKLVSHULRG)RUUXQRIIGRPLQDQWIORZV
FKDQQHOFURVVVHFWLRQGLIIHUHQFHVDORQJWKH%XIIDOR%D\RXPD\LPSDFWWKHZD\VWDJHHOHYDWLRQVUHDFWWRSHDN
UDLQIDOOLQWHQVLWLHVEXWWKH\ZRXOGQRWLPSDFWWKHWHPSRUDOFRUUHODWLRQEHWZHHQUDLQIDOOLQWHQVLW\SHDNVDQGVWDJH
HOHYDWLRQSHDNV7KLVLVWUXHIRUDOOGRZQVWUHDPJDJHVFRQVLGHUHGH[FHSWWKH6KHSKHUG'ULYHJDJH
7KHUHIRUHPHDVXUHGVWDJHHOHYDWLRQVDWWKH6KHSKHUG'ULYHJDJHGXULQJWKH+DUYH\(YHQW RUDWOHDVWGXULQJ
WKHSHULRGEHWZHHQDQG DUHTXHVWLRQDEOHDQGFDQQRWEHUHOLHGXSRQLQWKH
DQDO\VLV

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 3XUVXDQWWRFRQYHUVDWLRQZLWK86*6GDWHWLPHRIWKHSHDNHOHYDWLRQDW6KHSKHUG'ULVQRWDFFXUDWHDQGZLOOEHFKDQJHG7KHSHDN
HOHYDWLRQSXEOLVKHGLVEDVHGRQDVXUYH\HGKLJKZDWHUPDUN QRWIURPDORJJHU 

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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7KHIROORZLQJVHFWLRQVLQYHVWLJDWHWKHSRVVLELOLW\RIEDFNZDWHUDORQJORZHU%XIIDOR%D\RX GRZQVWUHDPRIWKH
GDPV ZLWKLQWKH)RFXV$UHD

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)LJXUHVKRZVLQXQGDWLRQPDSDQGORQJLWXGLQDOSURILOHRIORZHU%XIIDOR%D\RXGRZQVWUHDPRIWKHGDPVXSWR
+LJKZD\ ZLWKLQWKH)RFXV$UHD ,QDGGLWLRQWKHILJXUHVKRZVJHQHUDOFKDQQHODWWULEXWHVDQGZDWHU
VXUIDFHHOHYDWLRQSURILOHVDWGHULYHGIURPJDJHGDWDDQGPDSSHGKLJKZDWHUPDUNHOHYDWLRQV
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FRQVWULFWLRQDW6DP+RXVWRQ7ROOZD\ %HOWZD\ FKDUDFWHUL]HGE\WKHPRUHODWHUDOO\H[SDQVLYHLQXQGDWLRQ
XSVWUHDPRI%HOWZD\%HOWZD\LVORFDWHGOHVVWKDQòPLOHGRZQVWUHDPRIWKHHQGRIWKHPLOHFKDQQHO
UHFWLILFDWLRQSURMHFWLQORZHU%XIIDOR%D\RXZKLFKLQFOXGHGVWUDLJKWHQLQJDQGZLGHQLQJRIWKHFKDQQHO7KH
WUDQVLWLRQEHWZHHQWKHUHFWLILHGVHFWLRQ ZLWKDODUJHUIORZFDSDFLW\ DQGWKHQDWXUDOVHFWLRQ ZLWKDORZHUIORZ
FDSDFLW\ RIWKH%D\RXDFWVDVDFRQVWULFWLRQGXULQJKLJKIORZFRQGLWLRQVZKHUHWKHGHSWKRIIORZLQFUHDVHVLQ
WKHUHFWLILHGVHFWLRQGXHWREDFNZDWHUHIIHFWV&RPSDULVRQEHWZHHQDYHUDJHVORSHVRIWKHFKDQQHOEHGDQG
WKHZDWHUVXUIDFHSURILOHVORSHDORQJWKHFKDQQHOFRQILUPEDFNZDWHUFRQGLWLRQVXSVWUHDPRI%HOWZD\ZKHUH
ZDWHUVXUIDFHVORSHLVIODWWHUWKDQWKHFKDQQHOEHGDVVKRZQLQ)LJXUH7KLVLVDOVRHYLGHQWDVHOHYDWLRQV
RIPDSSHGKLJKZDWHUPDUNVORFDWHGLPPHGLDWHO\XSVWUHDPRI%HOWZD\DUHKLJKHUWKDQWKHKHLJKWRIWKH
86*6*DJHORFDWHGDWWKHGRZQVWUHDPVLGHRIWKHEULGJH

5HYLHZRIWKHVWDJHGLVFKDUJHUDWLQJFXUYHDWWKH86*6*DJH )LJXUH FRQILUPVWKDWORZHU
%XIIDOR%D\RXDW%HOWZD\ZDVEDFNZDWHUHGGXULQJWKH+DUYH\(YHQWEHIRUHZLWKIORZGLVFKDUJHV
JUHDWHUWKDQFIV7KHVWDJHGLVFKDUJHUDWLQJFXUYHVUHSUHVHQWXQLIRUPIORZFRQGLWLRQVWKURXJKDFHUWDLQ
VHFWLRQRIWKHVWUHDP7KHUHIRUHWKHUDWLQJFXUYHLVQRWYDOLGGXULQJEDFNZDWHUFRQGLWLRQV LHQRQXQLIRUPIORZ
FRQGLWLRQV ZKLFKLVDOVRSRLQWHGRXWE\86*6>@0HDVXUHGVWDJHVVLJQLILFDQWO\KLJKHUWKDQWKHUDWLQJFXUYH
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ZKLFKEDQNVZLOOEHIORRGHG 7DEOHDQG)LJXUH VHHWKHODVWWZRURZVRIWKHWDEOHJLYLQJFURVV
VHFWLRQDODUHDVEHORZWKHWRSRIEDQNDQGEHORZWKHLQXQGDWLRQH[WHQWUHVSHFWLYHO\ VKRZWKDWWKHFKDQQHO
FDSDFLW\GURSVVLJQLILFDQWO\GRZQVWUHDPRI%HOWZD\ZKLFKPDUNVWKHHQGRIWKH%XIIDOR%D\RXUHFWLILFDWLRQ
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E\WKHIDFWWKDW3LQH\3RLQWUHSUHVHQWVDFRQVWULFWLRQWRORZHU%XIIDOR%D\RXVLQFHWKHIORZFRQYH\DQFH
FDSDFLW\RIWKH%D\RXXSVWUHDPRIWKLVSRLQWLVODUJHUWKDQLWVFDSDFLW\DWWKLVORFDWLRQDVVKRZQLQ7DEOH

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  6DQ)HOLSHJDJHLVORFDWHGDSSUR[LPDWHO\PLOHVGRZQVWUHDPRIWKH86*6JDJHDW3LQH\3RLQW

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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WKHSHDNDW3LQH\3RLQW FDQQRWEHH[SODLQHGE\WKHVDPHDUJXPHQW$VQRWHGLQ6HFWLRQPHDVXUHG
VWDJHHOHYDWLRQVDWWKH6KHSKHUG'ULYHJDJHFDQQRWEHUHOLHGXSRQ IRUWKLVSHULRGRIWLPH 6LQFHWKH
HVWLPDWLRQRIGLVFKDUJHVLVEDVHGRQWKHPHDVXUHGVWDJHHOHYDWLRQDQGWKHVWDJHGLVFKDUJHUDWLQJFXUYHWKH
HVWLPDWHGGLVFKDUJHVDW6KHSKHUG'ULYHJDJHDUHDOVRXQUHOLDEOH7KHHVWLPDWHGSHDNGLVFKDUJHRIFIV
DW6KHSKHUG'ULYHLVVLJQLILFDQWO\ODUJHUWKDQSHDNGLVFKDUJHVXSVWUHDPRI6KHSKHUG'ULYHDORQJORZHU%XIIDOR
%D\RXDVVKRZQLQ7DEOH'HVSLWHWKHXQUHOLDELOLW\RIHVWLPDWHGGLVFKDUJHVDW6KHSKHUG'ULYHPHDVXUHG
GLVFKDUJHVDWWKLVJDJH ZKLFKDUHQRWLQTXHVWLRQ DUHFRQVLGHUHGLQWKHDQDO\VLV)LJXUHVKRZV
HVWLPDWHGDQGPHDVXUHGGLVFKDUJHVGRZQVWUHDPRIWKHGDPVXSWR6KHSKHUG'ULYH ZLWKLQWKH)RFXV$UHD 
7KLVILJXUHVKRZVPHDVXUHGGLVFKDUJHVDW6KHSKHUG'ULYHRIWKHVDPHRUGHURIPDJQLWXGHDVPHDVXUHGDQG
HVWLPDWHGGLVFKDUJHVDWRWKHUVWDWLRQVXSVWUHDP6KHSKHUG'ULYHDORQJORZHU%XIIDOR%D\RX

7DEOH%XIIDOR%D\RX&DSDFLW\'RZQVWUHDPRI$GGLFNVDQG%DUNHU'DPVDQG0HDVXUHG6WDJHV
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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7DEOH7LPLQJRI0HDVXUHG3HDN6WDJHVDQG(VWLPDWHG3HDN'LVFKDUJHVGXULQJWKH+DUYH\(YHQW

                                                                                             3HDN
                                                          3HDN6WDJH      7LPLQJRI                                7LPLQJRI3HDN
     *DJH1R ORFDWLRQ                                                                     'LVFKDUJH
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RYHUWRSSHGGXULQJWKLVSHULRG UHIHUWREODFNGDVKHVUHSUHVHQWLQJWRSRIEDQNHOHYDWLRQVDWUHVSHFWLYHJDJH
ORFDWLRQV 6LPLODUO\DWWKH5XPPHO&UHHNJDJHDW%ULWWPRRUH5RDGWKHJDJHHOHYDWLRQH[FHHGHGWKHWRSRI
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2QWKHRWKHUKDQGPHDVXUHGVWDJHHOHYDWLRQVGRZQVWUHDPRIWKH$GGLFNVJDWHV 86*6JDJH 
ZHUHORZHUWKDQWKH1:6IORRGVWDJHHOHYDWLRQLQGLFDWLQJWKDWWKHEDQNRIWKH/RZHU/DQJKDP&UHHNZDV
QRWVLJQLILFDQWO\RYHUWRSSHGGXULQJWKLVSHULRG




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'XULQJWKHJUDGXDOJDWHUHOHDVHSHULRGWKHUHZHUHWZRIORRGZDYHVJHQHUDWHGE\WKHWZRSHULRGVZKHUH
UHOHDVHVZHUHUDPSHGXSIURP$GGLFNVDQG%DUNHU5HVHUYRLUV7KHILUVWUDPSXSRIUHOHDVHZDV
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LQFUHDVHLQWKHUDWHRIFRPELQHGUHOHDVHWRFIV7KHVHFRQGUDPSXSRIUHOHDVHZDVDSSUR[LPDWHO\
EHWZHHQDQGUHVXOWLQJLQDWRWDOHVWLPDWHGFRPELQHGLQFUHDVHLQGLVFKDUJHRI
DSSUR[LPDWHO\FIVEULQJLQJWKHWRWDOFRPELQHGUHOHDVHWRDSSUR[LPDWHO\FIV'XULQJWKHVHWZR
SHULRGVZKHUHUHOHDVHZDVUDPSHGXSUDLQIDOOLQWHQVLWLHVZHUHUHODWLYHO\ORZDVWKHPRGHUDWHO\LQWHQVHUDLQIDOO
SHULRG EHWZHHQDPDQGDP RFFXUUHGEHWZHHQWKHVHWZRSHULRGVDVVKRZQLQ)LJXUH
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GLVWLQFWLYHO\UHSUHVHQWVWKHVHWZRIORRGZDYHVZLWKWKHILUVWIORRGZDYHVWDUWLQJDWDSSUR[LPDWHO\
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DSSUR[LPDWHO\ WRKRXUVIROORZLQJWKHVWDUWRIWKHVHFRQGUDPSXS $FFRUGLQJWRWKH
:DWHU&RQWURO0DQXDO>S86$&(@LWWDNHVDERXWKRXUVIRUSHDNIORZWRWUDYHOIURP%DUNHU
5HVHUYRLUWR'DLU\$VKIRUG5RDGZKLFKLVVLPLODUWRWKHREVHUYHGWUDYHOWLPHRIWKHVHWZRGLVWLQFWLYHIORRG
ZDYHV,QDGGLWLRQGXULQJWKHSHULRGRIJUDGXDOUHOHDVHOHVVLQWHQVHUDLQIDOO OHVVWKDQLQKU ZDV
PHDVXUHGZKLFKUHGXFHVWKHLQIOXHQFHRIUXQRIIGLVFKDUJHRQWKHWUDYHOOLQJIORRGZDYH7DEOHVXPPDUL]HV
WKHIORRGZDYHFKDUDFWHULVWLFVGXULQJWKH+DUYH\(YHQWDWYDULRXVJDJHORFDWLRQVDORQJORZHU%XIIDOR%D\RX,W
LVQRWHGWKDWWKHWUDYHOWLPHVRIWKHWZRIORRGZDYHVDUHJHQHUDOO\LQDJUHHPHQWZLWKWKH:DWHU&RQWURO
0DQXDO>S86$&(@'LIIHUHQFHV JHQHUDOO\VORZHUIORRGZDYHVSHHGWKDQGRFXPHQWHG FRXOGEH
DWWULEXWHGWRRWKHUIORZFRQWULEXWRUV VXFKDVUXQRII EDFNZDWHUGXHWRFKDQQHOFRQVWULFWLRQDW3LQH\3RLQWDQG
IORRGLQJRIWKHEDQNV)ORRGZDYHVSHHGRYHUWKHURXJKHUIORRGSODLQZLOOEHVORZHUWKDQIORRGZDYHVSHHG
ZLWKLQWKHERXQGVRIWKHFKDQQHO

$WWKH%HOWZD\3LQH\3RLQWDQG6DQ)HOLSHJDJHVLQFUHDVHGGLVFKDUJHVGXHWRWKHVHWZRIORRGZDYHVGLG
QRWFRQWULEXWHWRVLJQLILFDQWDGGLWLRQDOIORRGLQJDVVKRZQLQ)LJXUH

$W/RZHU/DQJKDP&UHHNGRZQVWUHDPRIWKH$GGLFNVJDWHVJDJHHOHYDWLRQH[FHHGHGWKHEDQNHOHYDWLRQ
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JDWHVWKHLPSDFWRIWKHILUVWIORRGZDYHIURP$GGLFNVRQVWDJHHOHYDWLRQVDWWKLVJDJHORFDWLRQLVH[SHFWHGWR
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PHDVXUHPHQWVGXULQJWKH+DUYH\(YHQWDIWHUWKHVHFRQGIORRGZDYH RQDQG 
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WKHIROORZLQJWZRIDFWRUV
x      EDFNZDWHULQ/RZHU/DQJKDP&UHHNSULRUWRWKHUHOHDVHZKLFKLVFDXVHGE\H[WHQVLYHUXQRIIUHVXOWLQJLQ
       KLJKZDWHUVXUIDFHHOHYDWLRQVLQORZHU%XIIDOR DWWKHGRZQVWUHDPHQGRI/RZHU/DQJKDP&UHHN DQG

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    (VWLPDWHGEDVHGRQ'(0GDWDVLQFH1:6IORRGVWDJH IW VHHPVWREHHUURQHRXV
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    6WDJHGLVFKDUJHUDWLQJFXUYHVDUHLQYDOLGLIWKHVWUHDPLVEDFNZDWHUHG

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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x      &RQWLQXRXVUHOHDVHIURP$GGLFNV5HVHUYRLU

7KHVHFRQGIORRGZDYHFRQWULEXWHGWRDQRWKHUIHHWULVHLQWKHJDJHHOHYDWLRQIURPIHHWWRIHHW

7DEOH'LVFKDUJH5HOHDVH)ORRG:DYHVGXULQJWKH+DUYH\(YHQW

                                     7LPLQJRIIORRG         7LPLQJRIIORRG           $SSUR[LPDWH                'RFXPHQWHG
                                     ZDYH EHJLQQLQJ         ZDYH HQG                 7UDYHO7LPH  KU           7UDYHO7LPH KU 
     *DJH/RFDWLRQ
                                     )LUVW:DYH            )LUVW:DYH              )LUVW:DYH               >S
                                     6HFRQG:DYH              6HFRQG:DYH                6HFRQG:DYH                 86$&(@

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     3LQH\3RLQW                                                                                                    
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   )ORRGZDYHWUDYHOWLPHIURPWKH$GGLFNVDQG%DUNHU'DPVWRWKHJDJHORFDWLRQLVFDOFXODWHGEDVHGRQWKHWLPLQJVRIWKHEHJLQQLQJRIWKH
IORRGZDYHDWYDULRXVORFDWLRQV

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'XULQJWKHSHULRGRIPD[LPXPJDWHUHOHDVHIURP%DUNHU5HVHUYRLUEHWZHHQDQG
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ZDVSULPDULO\GXHWRWKHUHOHDVHIURP$GGLFNVDQG%DUNHU5HVHUYRLUV7KHPD[LPXPFRPELQHGUHOHDVHIURP
$GGLFNVDQG%DUNHU5HVHUYRLUVGXULQJWKH+DUYH\(YHQWZDVDSSUR[LPDWHO\FIV)ROORZLQJWKLVSHULRG
RIPD[LPXPUHOHDVHWKHFRPELQHGGLVFKDUJHIURP$GGLFNVDQG%DUNHUZDVJUDGXDOO\GHFUHDVHG6LQFHWKH
IORZZDVSULPDULO\GULYHQE\WKHUHOHDVH LQWKHDEVHQFHRIUDLQIDOODQGUXQRII DQHDUO\XQLIRUPIORZFRQGLWLRQ
DORQJORZHU%XIIDOR%D\RX ZKHUHE\HVWLPDWHGDQGPHDVXUHGGLVFKDUJHVDORQJORZHU%XIIDOR%D\RXDWYDULRXV
86*6JDJHORFDWLRQVDUHVLPLODUDQGRIWKHVDPHRUGHUDVWKHFRPELQHGUHOHDVH ZRXOGKDYHEHHQSUHVHQW
XQGHUFHUWDLQFRQGLWLRQVLQFOXGLQJ
x      IORZSDWKZD\ZDVVWULFWO\WKURXJKORZHU%XIIDOR%D\RX
x      QREDFNZDWHUXSVWUHDPRIFKDQQHOFRQVWULFWLRQV
x      QRPDMRUIORZFRQWULEXWLRQIURPRWKHUWULEXWDULHVRUVWRUPGUDLQVDQG
x   DIWHUDFHUWDLQSHULRGRIWLPHVXIILFLHQWWRFRQYH\UXQRIIZDWHUJHQHUDWHGE\WKHHDUOLHUUDLQIDOOWKURXJKDOO
    WKHVWDWLRQV
)LJXUHVKRZVWKDWDQHDUO\XQLIRUPIORZFRQGLWLRQRFFXUUHGEHWZHHQ'DLU\$VKIRUG5RDGDQG3LQH\3RLQW
5RDGVWDUWLQJIURP LHDWOHDVWGD\VDIWHUWKHUDLQVWRSSHG $VQRWHGHDUOLHUVLQFHWKHIORZ

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    )ORZVWULFWO\WKURXJKWKHFKDQQHOFDQEHDVVXPHGLIIUHHZDWHUVXUIDFHLVORZHUWKDQWKHFKDQQHO¶VEDQNHOHYDWLRQ

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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WKURXJKORZHU%XIIDOR%D\RXZDVQRWUHVWULFWHGWRWKHFKDQQHO LHRYHUEDQNIORRGLQJRFFXUUHG IORRGZDWHUV
ZHUHVWRUHGXSVWUHDPRIFKDQQHOFRQVWULFWLRQV VXFKDV3LQH\3RLQWDQG%HOWZD\ DQGLQORZOD\LQJDUHDV
$VDUHVXOWLWWRRNDVORQJDVGD\VWRUHOHDVHWKHVWRUHGIORRGZDWHUWKURXJKWKH3LQH\3RLQWFRQVWULFWLRQWR
HVWDEOLVKDQHDUO\XQLIRUPIORZFRQGLWLRQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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                              90                                                                                                                                                                                                                                                                                                                                                             08072600@Barker
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                                                                                                                                                                                                                                                                                                                                                                                             08073100@Addicks
                              80
                                                                                                                                                                                                                                                                                                                                                                                             08073500@DairyAshfordRd

                                                                                                                                                                                                     Maximum Release,Addicks &Barker
                                                                                                                                                                                                                                                                                                                                                           4
                              70                                                                                                                                                                                                                                                                                                                                                             HCFCD_RummelCreek@BrittmooreRd
  GageHeight(ft,NAVD88)




                                                                                                                                                                                                                                                                                                                                                                                             08073600@Beltway8




                                                                                                                                                                                                                                                                                                                                                                RainfallIntensity(in/hr)
                                                                                                                                                                                                                                                            Maximum Release, Barker
                              60                                                                                                                                                                                                                                                                                                                           6
                                                                                                                                                                                                                                                                                                                                                                                             08073700@PineyPoint
                                                                                                                                              Gradual Release                                                                                                                                                                                                                               HCFCDStageBB@SanFelipe
                              50
                                                                                                                                                                                                                                                                                                                                                           8
                                                                                                                                                                                                                                                                                                                                                                                             08074000@ShepherdDr
                              40
                                                                                                                                                                                                                                                                                                                                                                                             08074710@TurningBasin
                                                                                                       GatesClosed                                                                                                                                                                                                                                        10
                              30                                                                                                                                                                                                                                                                                                                                                             Startofoverbankflooding

                                                                                                                                                                                                                                                                                                                                                                                             Rainfall:2010@BarkerDam
                              20                                                                                                                                                                                                                                                                                                                           12
                                                    ReleasefromAddicks & Barker
                                                    priortoEvent
                              10
                                                                                                                                                                                                                                                                                                                                                           14

                               0
                                                                                                                                                                                                                                                                                        9/1/20170:00




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                                   8/24/20170:00




                                                                  8/25/20170:00




                                                                                      8/26/20170:00




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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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)LJXUH'LVFKDUJHUDWLQJFXUYHDW86*66WDWLRQDW%HOWZD\>@




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                                            Case 1:17-cv-09002-LAS                                                                                                                                                                                                          Document 266-2                                                                                              Filed 01/10/23                                                                              Page 814 of 1584




                   16000



                                                                                               GatesClosed                     Gradual Release
                   14000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      08072600@Barkeroutflow

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      08073100@Addicksoutflow
                   12000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      08073500@DairyAshfordRd

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      08073600@Beltway8
                   10000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      08073700@PineyPoint
 Discharge(cfs)




                                            ReleasefromAddicks & Barker




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Measureddischarge@Barkeroutflow
                                                                                                                                                                   Maximum Release,Addicks &Barker




                    8000

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Measureddischarge@Addicksoutflow
                                                                                                                                                                                                                 Maximum Release, Barker




                    6000                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Measureddischarge@DairyAshfordRd

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Measureddischarge@Beltway8
                                            priortoEvent




                    4000                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              Measureddischarge@PineyPoint

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Measureddischarge@ShepherdDr
                    2000
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Approximaterateofrelease@Addicks

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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 815 of 1584




)LJXUH'LVFKDUJHUDWLQJFXUYHDW86*66WDWLRQRQ/RZHU/DQJKDP&UHHN>@




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     Case 1:17-cv-09002-LAS                              Document 266-2             Filed 01/10/23   Page 816 of 1584




           86*65DWLQJ&XUYHV

7KH86*6PDLQWDLQVVWDJHGLVFKDUJHUDWLQJFXUYHVDWYDULRXVORFDWLRQVZLWKLQWKH)RFXV$UHD7KHFXUYHV
SURYLGHDUHODWLRQVKLSEHWZHHQZDWHUVXUIDFHHOHYDWLRQDQGIORZGLVFKDUJHIRUDUDQJHRIGLIIHUHQWHOHYDWLRQV
7KHVHUDWLQJFXUYHVDUHSHULRGLFDOO\XSGDWHGWRDFFRXQWIRUUHFHQWGLVFKDUJHPHDVXUHPHQWVDQGPRUSKRORJLFDO
FKDQJHV³6WDJHGLVFKDUJHUHODWLRQV UDWLQJV DUHXVXDOO\GHYHORSHGIURPDJUDSKLFDODQDO\VLVRIFXUUHQWPHWHU
GLVFKDUJHPHDVXUHPHQWV VRPHWLPHVFDOOHGFDOLEUDWLRQV PDGHRYHUDUDQJHRIVWDJHVDQGGLVFKDUJHV
0HDVXUHPHQWVDUHPDGHRQYDULRXVVFKHGXOHVDQGIRUGLIIHUHQWSXUSRVHV(DFKPHDVXUHPHQWLVFDUHIXOO\
PDGHDQGXQGHUJRHVTXDOLW\DVVXUDQFHUHYLHZ)UHTXHQWO\PHDVXUHPHQWVLQGLFDWHDFKDQJHLQWKHUDWLQJ
RIWHQGXHWRDFKDQJHLQWKHVWUHDPEHGRUULSDULDQYHJHWDWLRQ6XFKFKDQJHVDUHFDOOHGVKLIWVWKH\PD\
LQGLFDWHDVKRUWRUORQJWHUPFKDQJHLQWKHUDWLQJIRUWKHJDJH,QQRUPDO>XVDJH@WKHPHDVXUHGVKLIWV RU
FRUUHFWLRQV DUHDSSOLHGPDWKHPDWLFDOO\WRDGHILQHGUDWLQJ5DWLQJVPD\EHWHPSRUDULO\LQYDOLGDWHGDQG
XQDYDLODEOHGXHWREDFNZDWHUFRQGLWLRQVFDXVHGE\LFHWLGHVRURWKHUYDULDEOHSK\VLFDOREVWUXFWLRQV´>@

7KHPRVWXSWRGDWH86*6UDWLQJFXUYHVDUHXVHGWKURXJKRXWWKLVVWXG\WRHVWLPDWHIORZWKURXJKVWUHDPV
XQGHUXQLIRUPIORZFRQGLWLRQV

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0DQQLQJ¶VQYDOXHVLQ%XIIDOR%D\RXDQGLWVIORRGSODLQEDVHGRQJDJHGDWDDQGVWDJHGLVFKDUJHUDWLQJFXUYHV

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XSGXHWRIDOOHQWUHHVDVVKRZQLQ)LJXUH)LJXUHDQG)LJXUH7KHIORRGSODLQRIWKHXQUHFWLILHG
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&RZDQ  GHYHORSHGDSURFHGXUHIRUHVWLPDWLQJWKHHIIHFWVRIYDULRXVIDFWRUVWRGHILQHWKHYDOXHRI
0DQQLQJ¶VURXJKQHVVFRHIILFLHQWnIRUDFKDQQHOEDVHGRQWKHIROORZLQJHTXDWLRQ>@

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x      n1LVDFRUUHFWLRQYDOXHIRUVXUIDFHLUUHJXODULWLHV7KHUHFWLILHGVHFWLRQRI%XIIDOR%D\RXFDQEHDVVXPHG
       VPRRWKZLWKDFRUUHFWLRQYDOXHRIZKLOHDPRGHUDWHGHJUHHRILUUHJXODULW\LVDVVXPHGIRUWKHXQUHFWLILHG
       VHFWLRQZLWKDFRUUHFWLRQYDOXHRI±>S@
x      n2LVDFRUUHFWLRQYDOXHIRUYDULDWLRQVLQFKDQQHOFURVVVHFWLRQZKLFKFDQEHDVVXPHGJUDGXDOZLWKD
       FRUUHFWLRQYDOXHRI>S@
x      n3LVDFRUUHFWLRQYDOXHIRUWKHHIIHFWRIREVWUXFWLRQV$SSUHFLDEOHREVWUXFWLRQVDUHDVVXPHGIRUWKH
       UHFWLILHGVHFWLRQDERYH%HOWZD\ZLWKDFRUUHFWLRQYDOXHRI± UHIHUWR)LJXUH)LJXUH
       DQG)LJXUH 0LQRUREVWUXFWLRQVFDQEHDVVXPHGEHORZ%HOWZD\ZLWKDFRUUHFWLRQYDOXHRI±
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x      n4LVDYDOXHIRUYHJHWDWLRQLQWKHFKDQQHO:LWKLQWKHFKDQQHODVPDOODPRXQWRIYHJHWDWLRQLVDVVXPHG
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x      m LVDFRUUHFWLRQIDFWRUIRUPHDQGHULQJRIWKHFKDQQHO$QDSSUHFLDEOHGHJUHHRIPHDQGHULQJLVDVVXPHG
       DERYH%HOWZD\ EDVHGRQWKHUDWLRRIWKHVWUHDPGLVWDQFH DERXWPLOHV WRWKHVWUDLJKWGLVWDQFH DERXW
       PLOHV ZLWKDFRUUHFWLRQIDFWRURI%HORZ%HOWZD\DVHYHUHGHJUHHRIPHDQGHULQJLVDVVXPHG
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       GLVWDQFH DERXWPLOHV 

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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JUDVV7KHSKRWRVKRZVDKHDYLO\YHJHWDWHGIORRGSODLQDQGDOHVVYHJHWDWHGFKDQQHO




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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)LJXUH/RZHU%XIIDOR%D\RX UHFWLILHGVHFWLRQ QHDU%HOWZD\VKRZLQJDKHDYLO\YHJHWDWHG
IORRGSODLQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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)LJXUH/RZHU%XIIDOR%D\RX XQUHFWLILHGVHFWLRQ QHDU%ULDU)RUHVW'ULYHVKRZLQJDOHVV
YHJHWDWHGIORRGSODLQ

(VWLPDWHEDVHGRQRWKHUVWXGLHV

$)(0$IORRGLQVXUDQFHVWXG\IRU+DUULV&RXQW\LQFOXGHVUDQJHVRI0DQQLQJ¶VQYDOXHVZKHUHQIRUWKH
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7DEOH0DQQLQJ¶VURXJKQHVVFRHIILFLHQWVDGRSWHGE\WKH+&)&'+(&5$6PRGHO>@

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$VQRWHGDERYH0DQQLQJ¶VHTXDWLRQIRUIORZDSSOLHVWRXQLIRUPDQGVWHDG\IORZFRQGLWLRQVDQGWKHUHIRUH
XQGHUWKRVHFRQGLWLRQVFDQEHXVHGWRGHWHUPLQH0DQQLQJ¶VQZLWKNQRZOHGJHRIWKHRWKHUIORZYDULDEOHVRIWKH
HTXDWLRQ*DJHGDWDEHWZHHQ%HOWZD\DQG3LQH\3RLQWZDVUHYLHZHGIRUWKHSHULRGIURP$XJXVWWR
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SURILOHDQGFKDQQHOEHG7KH0DQQLQJ¶VURXJKQHVVFRHIILFLHQWIRUWKH%XIIDOR%D\RXFKDQQHOZDVHVWLPDWHGIRU
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7DEOH(VWLPDWHRI0DQQLQJ¶VQEDVHGRQ8QLIRUP)ORZ&DOFXODWLRQV&KDQQHO

                                                                              &KDQQHO
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                        0HDVXUHPHQW                                          &KDUDFWHULVWLFV                   0DQQLQJ¶V
     /RFDWLRQ                                                                                      %HG
                        'DWH         6WDJH                    'LVFKDUJH                                         Q
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     3LQH\                                                      
     3RLQW             

     &DOFXODWHGUHDFKDYHUDJH0DQQLQJ¶VQUHSUHVHQWLQJXQUHFWLILHGFKDQQHOVHFWLRQ PV                     

         0DQQLQJ¶V5RXJKQHVV±)ORRGSODLQ

(VWLPDWHEDVHGRQSK\VLFDOFKDUDFWHULVWLFVRIWKHIORRGSODLQ

&RZDQ  GHYHORSHGDSURFHGXUHIRUHVWLPDWLQJWKHHIIHFWVRIYDULRXVIDFWRUVWRGHILQHWKHYDOXHRI
0DQQLQJ¶VURXJKQHVVFRHIILFLHQWnIRUDFKDQQHO$PRGLILHGSURFHGXUHIRUIORRGSODLQVLVGHVFULEHGLQ>@DV
IROORZV

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x      nbLVDEDVHYDOXHRIQIRUWKHIORRGSODLQ¶VQDWXUDOEDUHVRLOVXUIDFHZKLFKFDQEHEHWZHHQDQG
       IRUILUPVRLO


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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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x     n1LVDFRUUHFWLRQYDOXHIRUVXUIDFHLUUHJXODULWLHV7KH%XIIDOR%D\RXIORRGSODLQZLWKLQWKHIRFXVDUHDFDQEH
      FRQVLGHUHGDVVOLJKWO\LUUHJXODULQVKDSHZLWKDYDOXHRIn1UDQJLQJEHWZHHQ±>S@
x     n3LVDFRUUHFWLRQYDOXHIRUHIIHFWRIREVWUXFWLRQV'XULQJWKH+DUYH\(YHQWKRPHVDQGEXLOGLQJVFORVHWR
      WKHIORRGSODLQZHUHIORRGHG$VVXFKWKRVHIORRGHGSURSHUWLHVZHUHRFFXS\LQJSDUWRIWKHFKDQQHOFDXVLQJ
      DSSUHFLDEOHREVWUXFWLRQVWRWKHIORZ8QGHUWKHVHFLUFXPVWDQFHVn3YDOXHFRXOGUDQJHEHWZHHQ±
      >S@
x     n4LVDYDOXHIRUYHJHWDWLRQLQWKHIORRGSODLQ'XULQJWKH+DUYH\(YHQWZDWHUVXUIDFHHOHYDWLRQVZHUHDV
      KLJKDVWKHXSSHUEUDQFKHVRIWKHWUHHVZLWKLQWKHIORRGSODLQRIORZHU%XIIDOR%D\RX7KHUHIRUHWKHIORZ
      REVWUXFWLRQDUHDVDVVRFLDWHGZLWKWUHHFDQRSLHVDUHPXFKODUJHUWKDQWKRVHRIWUHHWUXQNVDWORZHU
      HOHYDWLRQV$URXJKQHVVYDOXHIRUDQH[WUHPHDPRXQWRIYHJHWDWLRQLVLQWKHUDQJHRI±>S
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%DVHGRQWKHDERYHWKH0DQQLQJ¶VQIRUWKHIORRGSODLQRIORZHU%XIIDOR%D\RXZLWKLQWKHIRFXVDUHDLV
HVWLPDWHGWREHLQWKHUDQJHRI±PV

(VWLPDWHEDVHGRQRWKHUVWXGLHV

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7DEOHSUHVHQWVYDOXHVRI0DQQLQJ¶VURXJKQHVVFRHIILFLHQWVDGRSWHGE\WKH+DUULV&RXQW\+(&5$6PRGHO
>@ZKLFKVKRZVWKDW0DQQLQJ¶VQIRUIORRGSODLQVZLWKLQWKH)RFXV$UHDLVJHQHUDOO\LQWKHUDQJHIURPWR
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(VWLPDWHEDVHGRQVWDJHGLVFKDUJHUDWLQJFXUYHGXULQJWKH+DUYH\(YHQW

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FDOFXODWHGWKHQHFHVVDU\VKLIWVWRWKHLUUDWLQJFXUYHV8QGHUVWHDG\XQLIRUPIORZFRQGLWLRQV0DQQLQJ¶VQFDQ
EHFDOFXODWHGDVGHVFULEHGLQ6HFWLRQ'RZQVWUHDPRIWKHGDPVWKH86*6UDWLQJFXUYHVH[WHQGWR
HOHYDWLRQVFRYHULQJWKHIORRGSODLQDOORZLQJWKLVPHWKRGWREHXVHGWRFDOFXODWHWKHIORRGSODLQURXJKQHVV

'XULQJWKH+DUYH\(YHQWIORZGRZQVWUHDPRIWKHGDPVZDVQRWUHVWULFWHGWRWKHXQGHYHORSHGIORRGSODLQEXW
UDWKHUIORZWKURXJKXUEDQL]HGDUHDVZDVH[SHULHQFHG%HUHWWDHWDO>@GHPRQVWUDWHGWKDWHQKDQFHGIULFWLRQ
FDQEHHIIHFWLYHO\XVHGWRPRGHOIORZRYHUXUEDQL]HGDUHDVLQVWHDGRIUHSUHVHQWLQJGHWDLOHGEXLOGLQJJHRPHWU\

7KH86*6UDWLQJFXUYHVDW'DLU\$VKIRUG5RDGDQG3LQH\3RLQWZHUHXVHGWRHVWLPDWH0DQQLQJ¶VQIRUWKH
IORRGSODLQVRIORZHU%XIIDOR%D\RX7DEOHVKRZVWKDW0DQQLQJ¶VQIRUWKHIORRGSODLQVFRXOGEHXSWRP
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FDXVHGE\KLJKSRROHOHYDWLRQVLQ$GGLFNVDQG%DUNHU5HVHUYRLUV7KHUHIRUHWKLVPHWKRGFDQQRWEHXVHGWRFDOFXODWHIORRGSODLQURXJKQHVV
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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7DEOH(VWLPDWHRI)ORRGSODLQURXJKQHVVEDVHGRQ8QLIRUP)ORZ&DOFXODWLRQV

                                                                                                )XOO&URVV
                                            (OHYDWLRQ IW    4 FIV                  3                                 )ORRGSODLQRQO\Q
  /RFDWLRQ                                                                $  IW              VHFWLRQDODUHD
                                            1$9'            >@                     IW                                PV 
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  'DLU\                                     FKDQQHO                         FKDQQHO             FKDQQHO 
  $VKIRUG                                    IORRGSODLQ                    HQWLUHVHFWLRQ      IORRGSODLQ   

  3LQH\                                      FKDQQHO                         FKDQQHO             FKDQQHO 
  3RLQW                                     IORRGSODLQ                    HQWLUHVHFWLRQ      IORRGSODLQ   
)ORZDUHD $ DQGZHWWHGSHULPHWHU 3 DUHFDOFXODWHGEDVHGRQH[WUDFWHGFURVVVHFWLRQV
 &DOFXODWHGIURPWKHGLIIHUHQFHEHWZHHQIORRGSODLQDQGFKDQQHOYDOXHVIRU4$DQG3


                                5HVHUYRLU5DWLQJ&XUYHV

6WDJHFDSDFLW\UDWLQJFXUYHVIRU$GGLFNVDQG%DUNHU5HVHUYRLUVDUHVKRZQLQ)LJXUHDQG)LJXUH
UHVSHFWLYHO\$WUHODWLYHO\KLJKSRROHOHYDWLRQVLQWKH$GGLFNVDQG%DUNHU5HVHUYRLUVVPDOOLQFUHPHQWVLQSRRO
HOHYDWLRQVHTXDWHWRVLJQLILFDQWDGGLWLRQDODPRXQWVRIIORRGZDWHUVWRUHGLQWKHUHVHUYRLUV'XULQJWKH+DUYH\
(YHQWSHDNHOHYDWLRQVLQ$GGLFNVDQG%DUNHU5HVHUYRLUVUHDFKHGIHHWDQGIHHW>@
UHVSHFWLYHO\FRUUHVSRQGLQJWRDWRWDOVWRUHGYROXPHRIIORRGZDWHURIDWOHDVWELOOLRQ86JDOORQV 
DFUHIHHW ZLWKRXWDFFRXQWLQJIRUIORRGZDWHUVWRUHGLQGHWHQWLRQSRQGVDQGXSSHUWULEXWDULHV:LWKRXWWKHVH
UHVHUYRLUVWKLVDPRXQWRIIORRGZDWHUZRXOGKDYHEHHQURXWHGWRDUHDVGRZQVWUHDPFDXVLQJGHYDVWDWLQJ
IORRGLQJ




                                                                      AddicksCapacityCurve
                                  120
    PoolElevation(ft,NAVD88)




                                  110

                                  100

                                   90

                                   80

                                   70

                                   60
                                        0            50000        100000       150000          200000      250000         300000       350000
                                                                                  Capacity(Acre.ft)

)LJXUH7KH$GGLFNVVWDJHFDSDFLW\UDWLQJFXUYH 6RXUFH:DWHU&RQWURO0DQXDO>S
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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                                                          BarkerCapacityCurve
                                  115
                                  110
    PoolElevation(ft,NAVD88)




                                  105
                                  100
                                   95
                                   90
                                   85
                                   80
                                   75
                                   70
                                        0    50000   100000       150000         200000    250000    300000    350000
                                                                   Capacity(Acre.ft)

)LJXUH7KH%DUNHUVWDJHFDSDFLW\UDWLQJFXUYH 6RXUFH:DWHU&RQWURO0DQXDO>S
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0DSVVKRZLQJREVHUYHGKLJKZDWHUPDUNV VKRUHOLQH EDVHGRQWKH12$$PRVDLFDHULDOSKRWRVGDWHG
DUHVKRZQLQ)LJXUH)LJXUHDQG)LJXUHIRUDUHDVGRZQVWUHDPDQGXSVWUHDPRIWKH
$GGLFNVDQG%DUNHU5HVHUYRLUV7KHVHDHULDOSKRWRVZHUHDFTXLUHGEHWZHHQDQGRQ
7KHREVHUYHGLQXQGDWLRQOLPLWVRQWKDWGD\ZLWKLQWKH)RFXV$UHDZHUHUHFRUGHGDVGLVFUHWHOLQHV$
FRQWLQXRXV³VKRUHOLQH´UHSUHVHQWLQJWKHREVHUYHGLQXQGDWLRQOLPLWZDVGHYHORSHGE\VHOHFWLQJHOHYDWLRQ
FRQWRXUVWKDWPDWFKHGWKRVHREVHUYHGOLPLWV%HFDXVHPDSVSUHVHQWHGLQ)LJXUH)LJXUHDQG)LJXUH
UHSUHVHQWREVHUYHGLQXQGDWLRQOLPLWVRQDVSHFLILFGDWH  WKH\PD\QRWUHSUHVHQWWKHPD[LPXP
LQXQGDWLRQOLPLWVGXULQJWKH+DUYH\(YHQW




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH7UDFNHGKLJKZDWHUPDUNEHORZ$GGLFNVDQG%DUNHU'DPVEDVHGRQ12$$PRVDLFDHULDOLPDJHGDWHG WDNHQEHWZHHQ
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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)LJXUH7UDFNHGKLJKZDWHUPDUNXSVWUHDPRI$GGLFNVUHVHUYRLUEDVHGRQ12$$PRVDLFDHULDOLPDJHGDWHG WDNHQEHWZHHQ
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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)LJXUH7UDFNHGKLJKZDWHUPDUNXSVWUHDPRI%DUNHUUHVHUYRLUEDVHGRQ12$$PRVDLFDHULDOLPDJHGDWHG WDNHQEHWZHHQ
DQG 
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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6WRUPZDWHUGUDLQVPD\LQIOXHQFHIORRGFKDUDFWHULVWLFV DQGSDUWLFXODUO\WKHWLPLQJRIIORRGLQJ RIKRXVHVLQORZ
O\LQJDUHDVEHKLQGOHYHHVRUDQ\RWKHUW\SHRIEDUULHUVZKHUHILQLVKHGIORRUHOHYDWLRQVDUHORZHUWKDQIUHH
ZDWHUVXUIDFHHOHYDWLRQVLQWKHUHFHLYLQJVWUHDPVDWWKHRXWOHWRIWKHGUDLQV$UHDVEHWZHHQWKHVHKRXVHVDQG
WKHOHYHHVEDUULHUVPD\EHIORRGHGGXHWRUHYHUVHIORZWKRURXJKVWRUPZDWHUGUDLQV,QWKLVFDVHVWRUPZDWHU
GUDLQDJHQHWZRUNDQGSRQGHGDUHDVEHKLQGOHYHHVEDUULHUVDFWDVVWRUDJHIRUZDWHUDVULVLQJZDWHUOHYHOV
ZRXOGEDFNXSIORZVLQWRWKHVWRUPGUDLQDJHQHWZRUN ZKHQZDWHUVXUIDFHHOHYDWLRQH[FHHGVWKHHOHYDWLRQRI
WKHXSVWUHDPHQGRIWKHVWRUPGUDLQ 

'RZQVWUHDPRIWKHGDPVWKLVDGGLWLRQDOVWRUDJHPD\QRWEHVLJQLILFDQWDVWKHQHWZRUNKDGDOUHDG\EHHQ
VXUFKDUJHGGXHWRH[FHVVLYHUXQRIIIURPUDLQIDOOSULRUWRWKHUHOHDVHIURPWKHUHVHUYRLUV8QGHUWKLVIORZ
UHJLPHORZO\LQJDUHDVDUHH[SHFWHGWREHLQLWLDOO\IORRGHGJHQHUDWLQJIORZVWKURXJKVWRUPGUDLQVWRZDUGVWKH
UHFHLYLQJVWUHDPV'XULQJWKH+DUYH\(YHQWZDWHUVXUIDFHHOHYDWLRQVGRZQVWUHDPRIWKHGDPVURVHUDSLGO\LQ
ORZHU%XIIDOR%D\RXDQGVXUURXQGLQJORZO\LQJDUHDVVXUFKDUJLQJWKHVWRUPGUDLQDJHQHWZRUN'XULQJWKH
+DUYH\(YHQWDQGZLWKLQWKH)RFXV$UHDWKHUHZDVQRWHPSRUDORUVSDWLDOODJEHWZHHQUDLQIDOOSHDNVDQG
VWDJHHOHYDWLRQSHDNVEHORZRIWKHGDPV7KLVLQGLFDWHVWKDWWKHVWRUPZDWHUGUDLQDJHQHWZRUNZDV
VXUFKDUJHGGXULQJWKH+DUYH\(YHQW7KHUHIRUHEDFNZDWHUIORZVWKURXJKVWRUPGUDLQVDQGVWRUDJHRIWKH
VWRUPGUDLQDJHQHWZRUNFDQEHQHJOHFWHGIRUWKHDUHDGRZQVWUHDPRIWKHGDPV

           *URXQGZDWHU)ORZ

7KHIORZUDWHWKURXJKVRLO VXEVXUIDFHRUVHHSDJHIORZ LVGHSHQGHQWRQ'DUF\¶VSHUPHDELOLW\ RUK\GUDXOLF
FRQGXFWLYLW\ k>/7@DQGWKHK\GUDXOLFJUDGLHQWi >@ZKLFKLVGHILQHGE\'DUF\¶VODZDVIROORZV

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           Case 1:17-cv-09002-LAS                                                                                                                            Document 266-2                                                                                       Filed 01/10/23                                                                                   Page 831 of 1584




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      Case 1:17-cv-09002-LAS                                                                                                                             Document 266-2                                                                                            Filed 01/10/23                                                                                 Page 832 of 1584




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)LJXUH6FKHPDWLFGLDJUDPVKRZLQJLQIORZVWRDQGRXWIORZVIURPDFRQWUROYROXPHEHWZHHQ
%DUNHUFRQGXLWVDQG+LJKZD\7KHWUDQVLHQWEDFNZDWHUVWRUDJHGHSLFWHGLQWKLVILJXUHH[SODLQVZK\
WKHPHDVXUHGGLVFKDUJHVE\86*6ZRXOGKDYHXQGHUHVWLPDWHGWKHDFWXDOUHOHDVHVIURPWKH%DUNHU
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      &KDUDFWHULVWLFVRI)ORRGLQJ EDVHGRQSK\VLFDOGDWD 

$GGLFNVDQG%DUNHU5HVHUYRLUVVWRUHGDWOHDVW%LOOLRQ86*DOORQVRIIORRGZDWHUGXULQJWKH+DUYH\(YHQW
ZKLFKH[FHHGHGWKH63)FDXVLQJLQXQGDWLRQGXHWREDFNZDWHUXSVWUHDPRIWKHUHVHUYRLUV

6WRUPZDWHUGUDLQVPD\LQIOXHQFHWKHWLPLQJRIIORRGLQJXSVWUHDPRIWKHGDPVDVWKH\PD\FRQYH\IORRGZDWHU
EDFNZDUGIURPWKHUHFHLYLQJVWUHDPVWRZDUGVGHYHORSHGDUHDVGXHWRULVLQJZDWHUVXUIDFHHOHYDWLRQVLQWKHVH
VWUHDPV DERYHWKHHOHYDWLRQRIWKHXSVWUHDPHQGVRIVWRUPGUDLQV 7KLVEDFNZDWHUIORZPD\FDXVHSRQGLQJ
LQORZO\LQJDUHDV DQGDGGLWLRQDOVWRUDJH XSVWUHDPRIWKHGDPVDVSRROHOHYDWLRQVULVHUDSLGO\

1XPHULFDOPRGHOLQJRILQXQGDWLRQXQGHUYDULRXVVFHQDULRVLVUHTXLUHGWREHWWHUXQGHUVWDQGWKHFKDUDFWHULVWLFV
RIIORRGLQJZLWKLQWKH)RFXV$UHD7KHIROORZLQJVHFWLRQVGHVFULEHWKHPRGHOGHYHORSPHQWFDOLEUDWLRQ
YDOLGDWLRQDQGDSSOLFDWLRQ


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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            ,QXQGDWLRQ0RGHOLQJ
           0RGHOLQJ2EMHFWLYH

7KHRYHUDUFKLQJREMHFWLYHRIWKHQXPHULFDOPRGHOLQJRILQXQGDWLRQSUHVHQWHGLQWKLVUHSRUWZDVWRGHYHORSD
PRGHOFDSDEOHRIVLPXODWLQJLQXQGDWLRQGHSWKDQGWLPLQJZLWKDUHDVRQDEOHDFFXUDF\GXULQJH[WUHPHKLVWRULFDO
DQGK\SRWKHWLFDOUDLQIDOOVWRUPHYHQWVZLWKLQWKH)RFXV$UHDDQGSDUWLFXODUO\DWWKH7HVW3URSHUW\ORFDWLRQV
7KHPRGHOSURYLGHVDWRROWRVWXG\WKHFKDUDFWHULVWLFVRIIORRGLQJZLWKLQWKH)RFXV$UHDE\ILOOLQJWKHJDSV
EHWZHHQDYDLODEOHJDJHGDWDDQGE\VLPXODWLQJIORRGLQJXQGHUYDULRXVGDPRSHUDWLRQDVVXPSWLRQV)XUWKHU
WKHPRGHOSURYLGHVDWRROWRVWXG\LPSDFWVRIWKHIHGHUDOSURMHFWE\VLPXODWLQJIORRGLQJXQGHUYDULRXVSK\VLFDO
FRQILJXUDWLRQV

,QRUGHUWRDFKLHYHWKLVREMHFWLYHDWZRGLPHQVLRQDOGLVWULEXWHGPRGHOFDSDEOHRIVLPXODWLQJUXQRIILQXQGDWLRQ
DQGVWRUPVXUJHIRUH[WUHPHUDLQIDOOVWRUPHYHQWV LQFOXGLQJ+XUULFDQH+DUYH\ ZDVLGHQWLILHGDQGDSSOLHG

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6RPHNH\FKDUDFWHULVWLFVRIWKHZDWHUVKHGWKDWLQIOXHQFHPRGHOVHOHFWLRQDUHGHVFULEHGLQWKLVSDUDJUDSK
8QGHUPDMRUIORRGVPDQ\RIWKHGUDLQDJHEDVLQVZLWKLQ+DUULV&RXQW\DUHFKDUDFWHUL]HGE\EDVLQRYHUIORZ>
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VLPXODWHWKHFRQYH\DQFHDFURVVWKHVHZDWHUVKHGV LQFOXGLQJWKHUHOHDVHVIURP$GGLFNVDQG%DUNHU
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'XULQJPDMRUIORRGHYHQWVVRLOVEHFRPHVDWXUDWHGGXULQJWKHHDUO\VWDJHVRIWKHVWRUPDQGVWRUPGUDLQV
EHFRPHIXOO\VXUFKDUJHG$VVXFKPDMRUIORRGVFDQEHVLPXODWHGXVLQJDIUHHVXUIDFHIORZPRGHOZKHUH
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WRIORRGZDYHVGXHWRWKHUHODWLYHO\UDSLGRSHQLQJRIWKHFRQWUROJDWHV7KHUHIRUHDWZRGLPHQVLRQDOPRGHO
EDVHGRQWKH1/6:HTXDWLRQVVKRXOGEHDSSOLHGLQRUGHUWRVLPXODWHVXFKIORRGZDYHV

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RUUDSLGGURSVGRZQVWUHDPRIZHLUVRURWKHUREVWUXFWLRQVDUHORFDOL]HGIORZIHDWXUHVRIQHJOLJLEOHLPSRUWDQFH
FRQVLGHULQJWKHVFDOHRIWKHVWXG\DQGWKHORFDWLRQVRIWKH7HVW3URSHUWLHV7KHVHVSDWLDOO\FRQILQHGUDSLGO\
YDULHGIORZVUHTXLUHH[WHQVLYHFRPSXWDWLRQDOUHTXLUHPHQWVWRUHVROYHZKLOHWKH\PD\RQO\KDYHPLQLPDOLPSDFW
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'XULQJWKH+DUYH\(YHQWUDLQIDOOLQWHQVLWLHVDFURVVWKHYDULRXVZDWHUVKHGVRILQWHUHVWZHUHVLJQLILFDQWO\
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,QVXPPDU\LQRUGHUWRDFKLHYHWKHPRGHOLQJREMHFWLYHWKHQXPHULFDOPRGHOPXVWLQFOXGHWKHIROORZLQJPDLQ
IHDWXUHV
x   6XUIDFHZDWHUPRGHO
x   7ZRGLPHQVLRQDOGLVWULEXWHG YVOXPSHGK\GURORJLF PRGHO
x   *RYHUQLQJHTXDWLRQVEDVHGRQGHSWKDYHUDJHG1DYLHU6WRNHVHTXDWLRQV RUQRQOLQHDUVKDOORZZDWHU
    HTXDWLRQV1/6: 
x   &DSDEOHRIKDQGOLQJODUJHGRPDLQV
x   &DSDEOHRILQFOXGLQJWHPSRUDODQGVSDWLDOUDLQIDOOYDULDELOLW\

7DEOHSUHVHQWVDFRPSDULVRQEHWZHHQPRGHOIHDWXUHVRIIRXUGLIIHUHQWQXPHULFDOPRGHOVIRUIUHHVXUIDFH
ZDWHUIORZQDPHO\*66+$ PRGHO, +(&5$6 PRGHO,, 0,.()/22' PRGHO,,, DQG7(/(0$& PRGHO
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VLPXODWLQJDUHODWLYHO\ODUJHGRPDLQDQGZDVVHOHFWHGIRUWKLVVWXG\7(/(0$&LVDQRSHQVRXUFHPRGHO
ZLGHO\XVHGWRVLPXODWHIUHHVXUIDFHIORZVLQODUJHGRPDLQV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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7DEOH&RPSDULVRQEHWZHHQIUHHVXUIDFHZDWHUPRGHOVFRQVLGHUHG

                         0RGHOV&RQVLGHUHG
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  )HDWXUHV              *66+$ ,             +(&5$6 ,,                                7(/(0$& ,9 
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  *RYHUQLQJ                                    ':$ RU
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  (TXDWLRQV                                    1/6: 

                                                                                           )LQLWH(OHPHQWRU
  'LVFUHWL]DWLRQ        )LQLWH9ROXPH        )LQLWH9ROXPH        )LQLWH9ROXPH                           1$
                                                                                           )LQLWH9ROXPH

  3DUDOOHOL]HG           <HV                  <HV                  <HV                  <HV                      1$

                                                                                           ,PSOLFLWRU
  6ROYHU               ([SOLFLW             ([SOLFLW             ([SOLFLW                                       ,9     
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  *ULG                   &DUWHVLDQ            )OH[LEOH             )OH[LEOH             )OH[LEOH                 ,,,,,,9


  6WDELOLW\            &RQGLWLRQDO          &RQGLWLRQDO          &RQGLWLRQDO          8QFRQGLWLRQDO          ,9


  :HWWLQJGU\LQJ        <HV                  <HV                  <HV                  <HV                      1$


  6WRUPVXUJH           <HV                  1R                   <HV                  <HV                      ,,,,,9

  5DLQIDOO                                                                                 7LPH 
                         7LPH 6SDFH         7LPHRQO\            7LPH 6SDFH                                   ,,,,,,9
  9DULDELOLW\                                                                              6SDFH

  $XWR
                         $YDLODEOH            1RWDYDLODEOH        1RW$YDLODEOH        1RWDYDLODEOH           ,
  &DOLEUDWLRQ
 1/6:1RQOLQHDUVKDOORZZDWHUHTXDWLRQVDUHGHULYHGIURPGHSWKLQWHJUDWLRQRIWKH1DYLHU±6WRNHVHTXDWLRQV
  ':$'LIIXVLYH:DYH$SSUR[RI1/6:HTQVLVGHULYHGE\LJQRULQJDGYHFWLYHDFFHOHUDWLRQWHUPV$SSUR[LPDWLRQGRHVQRWKROGIRUKLJK
)URXGHQXPEHUIORZVVXFKDVZHWWLQJDQGGU\LQJGXULQJIORRGLQJDQGGU\LQJRXW
   ,PSOLFLWVROYHUVDUHSUHIHUUHGEHFDXVHWKH\DUHPXFKTXLFNHUWKDQH[SOLFLWVROYHUV7KLVLVQHHGHGIRUWKLVVWXG\
    7(/(0&LPSOLFLWVROYHULV³WKHRUHWLFDOO\´XQFRQGLWLRQDOO\VWDEOHZKHUHE\&RXUDQW1XPEHU!FDQEHXVHG
     5HTXLUHGGHYHORSPHQWRIVSDWLDOYDULDELOLW\VXEURXWLQH


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1DWLRQDOG¶+\GUDXOLTXHHW(QYLURQQHPHQW/1+( RIWKH5HVHDUFKDQG'HYHORSPHQW'LUHFWRUDWHRIWKH)UHQFK
(OHFWULFLW\%RDUG (')5 ' DQGLVQRZPDQDJHGE\DFRQVRUWLXPRIRWKHUFRQVXOWDQWVDQGUHVHDUFK
LQVWLWXWHV PRUHLQIRUPDWLRQFDQEHIRXQGLQZZZRSHQWHOHPDFRUJ >@/LNHSUHYLRXVYHUVLRQVRIWKH
SURJUDPYHUVLRQFRPSOLHVZLWK(')5 '¶V4XDOLW\$VVXUDQFHSURFHGXUHVIRUVFLHQWLILFDQGWHFKQLFDO
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     *RYHUQLQJ(TXDWLRQV
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7KHQRQOLQHDUVKDOORZZDWHU 1/6: HTXDWLRQVZKLFKDUHDOVRRIWHQUHIHUUHGWRDVWKHGH6DLQW9HQDQW
HTXDWLRQVJRYHUQVXUIDFHIORZ7KH1/6:HTXDWLRQVDUHGHULYHGIURPWKH1DYLHU6WRNHVHTXDWLRQVXQGHUWKH
DVVXPSWLRQWKDWWKHIORZLVLUURWDWLRQDODQGWKDWWKHYHUWLFDODFFHOHUDWLRQLVRIQHJOLJLEOHLPSRUWDQFH>@7KLV
HTXDWLRQVHWLVYDOLGIRUVKDOORZZDWHURUORQJZDYHV WKHW\SHRIZDYHVREVHUYHGLQULYHUVDQGGXHWRUDLQIDOO
IORRGLQJDQGVWRUPVXUJHIDOOLQWRWKHORQJZDYHFDWHJRU\ ,QYHFWRUIRUPZLWKWKHZDWHUGHSWKGHQRWHGE\h
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7KH6RLO&RQVHUYDWLRQ6HUYLFHV 6&6 &XUYH1XPEHUSURYLGHVDQHPSLULFDOPHWKRGWRGHWHUPLQHUXQRII
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DUHDVWKDWKDYHKLJKHUSRWHQWLDOIRUUXQRIILQDUDLQIDOOHYHQW7KHFXUYHQXPEHULVILUVWXVHGWRGHWHUPLQHWKH
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WKDQWKHLQLWLDODEVWUDFWLRQQRUXQRIIRFFXUV

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7KHLQLWLDODEVWUDFWLRQLVWKHQLQFRUSRUDWHGLQWRDUXQRIIHTXDWLRQWRGHWHUPLQHWKHWRWDOUXQRII 4 %RWKLQLWLDO
DEVWUDFWLRQDQGUXQRIIDUHSURYLGHGLQXQLWVRILQFKHVRIUXQRII

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7KHRSHQVRXUFH7(/(0$&'VRIWZDUHLQFOXGHVERWKILQLWHHOHPHQW )( DQGILQLWHYROXPH )90 VROXWLRQ
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LPSOHPHQWHGLQDIXOO\LPSOLFLWIRUP(YHQZLWKGLVWULEXWHGPHPRU\SDUDOOHOL]DWLRQUXQWLPHVIRUH[SOLFLW
VFKHPHVFDQVWLOOEHSURKLELWLYHIRUODUJHGRPDLQV !0FRPSXWDWLRQDOQRGHV EHFDXVHWKHWLPHVWHS


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UHVWULFWLRQVIRUH[SOLFLWVFKHPHVDUHJRYHUQHGE\WKH&)/FRQGLWLRQ>@DQGDUHWKHUHIRUHUHODWLYHO\
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$WRSHQERXQGDULHVDSVHXGR6RPPHUILHOGUDGLDWLRQW\SHFRQGLWLRQLVHPSOR\HG,QWKLVDSSURDFKWKHVKDOORZ
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7KHIUHHVXUIDFHIORZPRGHOGRHVQRWLQFOXGHVXEVXUIDFHIORZV7KHUHIRUHVXEVXUIDFHIORZV VXFKDV
VHHSDJHIORZ FDQQRWEHVLPXODWHGE\WKHPRGHO$VGHPRQVWUDWHGLQ6HFWLRQJURXQGZDWHUIORZVDUH
IRXQGWREHUHODWLYHO\LQVLJQLILFDQW
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:KLOHFXOYHUWVWUXFWXUHVFDQEHLQFOXGHGLQVXUIDFHZDWHUPRGHOVWKURXJKWKHLQWURGXFWLRQRIIORZDVDIXQFWLRQ
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VXUIDFHHOHYDWLRQVDUHORZHUWKDQWKHFXOYHUW¶VVRIILW RUDVDSUHVVXUL]HGIORZ GULYHQE\KHDGGLIIHUHQFHRQ
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HVWLPDWHVRISHDNZDWHUVXUIDFHHOHYDWLRQV KLJKHUWKDQDFWXDO DQGGXUDWLRQRIIORRGLQJ ORQJHUWKDQDFWXDO DW
3ODLQWLIIV¶KRPHVORFDWHGLQORZO\LQJDUHDVZKHUHIORRGZDWHUFRXOGEHWUDSSHG7KLVGRHVQRWDSSO\WR$GGLFNV
DQG%DUNHU5HVHUYRLUVVLQFHWKHLUUHOHDVHVWKURXJKWKHFRQGXLWVDUHLQFOXGHGLQWKHPRGHO

7KHPRGHOLVDOVRQRWFDSDEOHRIVLPXODWLQJIORZVWKURXJKVWRUPGUDLQVWRZDUGVORZO\LQJDUHDVVXUURXQGHGE\
KLJKHUJURXQGHOHYDWLRQV VXFKDVEDQNVRUOHYHHV LQFDVHVZKHUHZDWHUVXUIDFHHOHYDWLRQVLQWKHDGMDFHQW
ZDWHUERGLHVDUHKLJKHUWKDQZDWHUVXUIDFHHOHYDWLRQV RULQYHUWHOHYDWLRQVRIVWRUPGUDLQV DWWKHVHORZO\LQJ
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6SDWLDOO\FRQILQHGUDSLGO\YDULHGIORZV VXFKDVK\GUDXOLFMXPSVDQGUDSLGGURSVLQZDWHUVXUIDFHHOHYDWLRQV 
DUHQRWVLPXODWHGGXHWRHVFDODWLQJFRPSXWDWLRQDOFRVW7KHVHW\SHVRIUDSLGO\YDULHGIORZVDUHLQVLJQLILFDQW
FRPSDUHGWRWKHVFDOHRIWKHVWXG\

$PLQLPXPPHVKHOHPHQWVL]HPXVWEHUHDVRQDEO\VHOHFWHGWRUHSUHVHQWSK\VLFDOIHDWXUHVVXFKDVVWUHHW
QHWZRUNVDQGFKDQQHOFURVVVHFWLRQV6XFKPLQLPXPHOHPHQWVL]HRIWKHRUGHURI±IWLVQRWVXIILFLHQWO\
VPDOOWRUHVROYHUDSLGO\YDULHGIORZJHQHUDWLQJVXGGHQZDWHUVXUIDFHHOHYDWLRQFKDQJHV VXFKDVK\GUDXOLF
MXPSVRUHOHYDWLRQGURSVGXHWRZHLUVRUFKDQQHOREVWUXFWLRQV 8QOLNHWKHIORRGZDYHVRULJLQDWHGE\WKHJDWH
FRQWUROWKHVHW\SHVRI³VSDWLDOO\FRQWDLQHG´UDSLGO\YDULHGIORZVPD\KDYHPLQLPDOLPSDFWRQLQXQGDWLRQGHSWKV
RXWVLGHPDLQFKDQQHOVDQGWKHUHDUHQR7HVW3ODLQWLIIVORFDWHGLQWKHVHDUHDVDQ\ZD\,QRUGHUWRVLPXODWH
VXFKLQVLJQLILFDQWUDSLGO\YDULHGIORZVHOHPHQWVL]HVPXVWEHUHGXFHGWROHVVWKDQDIRRWZKLFKVLJQLILFDQWO\
LQFUHDVHVWKHFRPSXWDWLRQDOFRVW

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VXEEDVLQVWKDWPD\RYHUIORZWRLPSDFWWKH)RFXV$UHD VXFKDVWKH&\SUHVV&UHHNVXEEDVLQV 7KHPRGHO
GRPDLQH[WHQGVLQWR*DOYHVWRQ%D\WRDFFRXQWIRUVWRUPVXUJHVDQGWRDFWDVDQRSHQERXQGDU\7KHPRGHO
GRPDLQLVVKRZQLQ)LJXUHDORQJZLWK+8&ZDWHUVKHGERXQGDULHV




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7KHPRGHOIOH[LEOHPHVKZDVJHQHUDWHGWRPHHWWKHIROORZLQJUHTXLUHPHQWV
x   0HVKOLQHVUHSUHVHQWLQJVWUHHWVZLWKLQWKH)RFXV$UHDLQRUGHUWRVLPXODWHVKHHWIORZLQVWUHHWVGXULQJIORRG
    FRQGLWLRQV
x   0HVKOLQHVUHSUHVHQWLQJFKDQQHOEHGVDQGEDQNVJXOOLHVDQGWULEXWDULHVZLWKLQWKH)RFXV$UHDLQRUGHUWR
    FRUUHFWO\URXWHIORZVWKURXJKFKDQQHOVDQGORZO\LQJDUHDV
x   0HVKOLQHVUHSUHVHQWLQJGLNHVEXPSVDQGRWKHUGLVWLQFWLYHWRSRJUDSKLFIHDWXUHVLQRUGHUWRVLPXODWHIORZ
    RUZDWHUVWRUDJHEHKLQGWKHVHIHDWXUHV
x   0HVKQRGHVDWERWKHQGVRIPDMRUK\GUDXOLFVWUXFWXUHVIRUWUHDWPHQWRIIORZERXQGDULHV
x   0HVKQRGHVZLWKVXIILFLHQWUHVROXWLRQWRUHSUHVHQWIORRGHGVXEGLYLVLRQVLQFOXGLQJ7HVW3ODLQWLIIV¶KRPHV

7KHILQLWHHOHPHQWPHVKIRUWKH7(/(0$&'PRGHOZDVJHQHUDWHGXVLQJ%OXH.HQXH70VRIWZDUHGHYHORSHG
E\1DWLRQDO5HVHDUFK&RXQFLO&DQDGD>@DQG5>@&KDQQHOVZHUHUHSUHVHQWHGE\HOHPHQWVHORQJDWHGLQ
WKHGLUHFWLRQRIIORZZLWKDWOHDVWHOHPHQWVDFURVVWKHFKDQQHO(OHPHQWVZHUHIRUFHGWRUHSUHVHQW
WRSRJUDSKLFIHDWXUHVZLWKLQWKHIORRGSODLQ VXFKDVDELNHWUDLO 7KHWRWDOQXPEHURIPHVKQRGHVUHSUHVHQWLQJ
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FRPSXWDWLRQDOPHVKHVZHUHJHQHUDWHGXVLQJVLPLODUUHVROXWLRQDQGDSSURDFKWRUHSUHVHQWFRQGLWLRQVIRURWKHU
PRGHOUXQV

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$VQRWHGHDUOLHULQ6HFWLRQZHDFTXLUHGUDLQIDOOGDWDIRUWKH+DUYH\(YHQWDFURVVWKHPRGHOGRPDLQIURP
WKH+DUULV&RXQW\)ORRG:DUQLQJ6\VWHPZHEVLWH>@,QDGGLWLRQZHXWLOL]HGWKHRXWFRPHRIWKH6WRUP
3UHFLSLWDWLRQ$QDO\VLV6\VWHPGHVFULELQJUDLQIDOODVPLQXWHUDLQIDOOGDWDJULGGHGDWDVSDWLDOUHVROXWLRQRI
VHFRQGVRIODWLWXGHORQJLWXGH DSSUR[LPDWHO\NPUHVROXWLRQ >@)LJXUHVKRZVWKHWRWDO
DFFXPXODWHGUDLQIDOOGHSWKVGXULQJWKH+DUYH\(YHQWDFURVVWKHPRGHOGRPDLQ
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$VQRWHGLQ6HFWLRQVDQGYDULRXVVRXUFHVKDYHEHHQXVHGWRGHYHORSWKHPRGHOWRSRJUDSK\ZKLFKDUH
VXPPDUL]HGDVIROORZV
x   /L'$5>SS%$,5'@ZDVXVHGWRUHSUHVHQWWKHWRSRJUDSK\RIWKHHQWLUHPRGHO
    GRPDLQ
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    GUDLQLQJWR%DUNHU5HVHUYRLU 
x   +(&5$6FURVVVHFWLRQV>@ZHUHXVHGWRXSGDWHFKDQQHOVVHFWLRQVDVDSSOLFDEOHDQG
x   /L'$5>@ZDVXVHGWRXSGDWHWKH/RZHU/DQJKDP&UHHNFURVVVHFWLRQ DWWKH$GGLFNVRXWOHW 

)LJXUHSUHVHQWVWKHYDULRXVVRXUFHVXVHGWRGHYHORS7(/(0$&'PRGHOWRSRJUDSK\




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH7RWDODFFXPXODWHGUDLQIDOOGHSWKGXULQJWKH+DUYH\(YHQWDFURVVWKHPRGHOGRPDLQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6RXUFHVRIPRGHOWRSRJUDSK\


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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$VQRWHGHDUOLHUK\GURORJLFORVVHV GXHWRLQILOWUDWLRQLQWHUFHSWLRQDQGRWKHUIDFWRUV ZHUHHVWLPDWHGXVLQJWKH
&XUYH1XPEHUPHWKRG'DWDVHWVLQFOXGHWKHHLJKWGLJLWK\GURORJLFXQLWFRGH +8& ZDWHUVKHGVIURP
86'$±15&6ODQGXVHGDWDIURPWKH1DWLRQDO/DQG&RYHU'DWDEDVH 1/&'>@ IURPD
FROODERUDWLRQRIJRYHUQPHQWDODJHQFLHVDQGWKH6685*2K\GURORJLFVRLOJURXSIURP86'$±15&6'DWDVHWV
ZHUHGRZQORDGHGXVLQJWKH1DWLRQDO*HRVSDWLDO'DWD*DWHZD\DYDLODEOHIURPWKH8QLWHG6WDWHV'HSDUWPHQWRI
$JULFXOWXUH1DWLRQDO5HVRXUFH&RQVHUYDWLRQ6HUYLFH 86'$±15&6 >@

2QFHGDWDZHUHGRZQORDGHGDQGFRQVROLGDWHGWKH\ZHUHLQFRUSRUDWHGLQWR*,6VRIWZDUH7KH+8&
ZDWHUVKHGVZLWKLQWKHPRGHOGRPDLQDUHVKRZQLQ)LJXUH/DQGFRYHUGDWDZLWKLQWKH+8&ZDWHUVKHGV
RYHUODSSLQJWKHPRGHOGRPDLQZHUHVXPPDUL]HGLQWRYDULRXVFODVVLILFDWLRQVZLWKHDFKFODVVLILFDWLRQ
UHSUHVHQWLQJDXQLTXHODQGXVHFDWHJRU\DVVKRZQLQ)LJXUH7KHUHOHYDQWVRLOGDWDZLWKLQWKH+8&
ZDWHUVKHGVZHUHVXPPDUL]HGLQWRIRXUK\GURORJLFVRLOJURXSV +6*V ZKLFKDUHVKRZQLQ)LJXUH>@
7KH+6*VDUHFODVVLILHGIURP$WR'ZLWK$LQGLFDWLQJVRLOVZLWKKLJKSHUPHDELOLW\DQG'LQGLFDWLQJVRLOVZLWK
ORZSHUPHDELOLW\

7RFDOFXODWHFXUYHQXPEHUVWKHODQGXVHFDWHJRULHVDQGWKHK\GURORJLFVRLOVJURXSVZHUHFRQVROLGDWHGDFURVV
WKHPRGHOGRPDLQWRFDOFXODWHWKHFXUYHQXPEHUIRUHDFKFRPELQDWLRQRIYDOXHV7DEOHVKRZVWKHFXUYH
QXPEHUIRUWKHGLIIHUHQWODQGXVHVDQGVRLOJURXSV,QDGGLWLRQWRODQGXVHW\SHDQGVRLOW\SHFXUYHQXPEHU
DOVRGHSHQGVRQWKHPRLVWXUHFRQWHQWRIWKHVRLOEHIRUHWKHVWRUPHYHQW$QWHFHGHQWVRLOPRLVWXUHFRQGLWLRQ
 $0& UHSUHVHQWVWKHDPRXQWRIZDWHULQWKHVRLO$0&LVFDWHJRUL]HGLQWRWKUHHFRQGLWLRQV$0&,$0&,,
DQG$0&,,,&XUYHQXPEHUVSURYLGHGLQ7DEOHDUHUHSUHVHQWDWLYHRI$0&,,$0&DOWKRXJKLQIRUPHGE\
DYDLODEOHLQIRUPDWLRQRQVRLOPRLVWXUHXOWLPDWHO\EHFRPHVDPRGHOFDOLEUDWLRQSDUDPHWHUZLWKLQWKHUDQJHRI
UHDVRQDEOHYDOXHV:HDGGUHVVWKLVIXUWKHULQ6HFWLRQ

7RVLPXODWHORVVHVGXULQJRWKHUKLVWRULFDOHYHQWVKLVWRULFDOODQGXVHPDSSLQJLVUHTXLUHG7KH1/&'LVQRW
DYDLODEOHEHIRUH7KHUHIRUHUHSUHVHQWDWLRQRIOXPSHGODQGXVHFDWHJRULHVKDVEHHQFRPSOHWHGE\+DOII
EDVHGRQDQDO\VLVRIKLVWRULFDOLPDJHU\>@7DEOH7DEOHDQG7DEOHSURYLGH&XUYH1XPEHUYDOXHV
FRUUHVSRQGLQJWRKLVWRULFDOOXPSHGODQGXVHFDWHJRULHV SURYLGHGE\>@ IRUYDULRXV$0&FRQGLWLRQVDQG
K\GURORJLFVRLOJURXSV&XUYHQXPEHUPDSVUHSUHVHQWLQJH[LVWLQJFRQGLWLRQVZHUHSUHSDUHGE\LQWHUVHFWLQJWKH
IROORZLQJWKUHH*,6OD\HUVZLWKLQWKHPRGHOGRPDLQ
x     +\GURORJLF6RLO*URXS )LJXUH 
x     $QWHFHGHQW0RLVWXUH&RQGLWLRQVPDSLQDFFRUGDQFHZLWKWKHFDOLEUDWHGPRGHODVVXPLQJ$0&
      UHSUHVHQWDWLYHRIFRQGLWLRQVSULRUWRWKH+DUYH\(YHQWDQG
x     /DQGXVHPDSSURYLGHGE\1/&'>@ZKHUHDSSOLFDEOHRURWKHUZLVHDVGHILQHGE\>@




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  $OVRGHILQHGE\>SS±@DV$QWHFHGHQW5XQRII&RQGLWLRQ $5& ZKLFKFROOHFWLYHO\DFFRXQWVIRUWKHYDULDELOLW\LQUXQRIISUHGLFWLRQV
GXHWRIDFWRUVLQFOXGLQJUDLQIDOOLQWHQVLW\DQGGXUDWLRQWRWDOUDLQIDOOVRLOPRLVWXUHFRQGLWLRQVFRYHUGHQVLW\VWDJHRIJURZWKDQGWHPSHUDWXUH
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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7DEOH&XUYHQXPEHU $0&,, E\ODQGXVHDQGVRLOW\SH

                                                                        +\GURORJLF6RLO*URXS

  &RYHU7\SH                                              $                 %            &         '

  :DWHU                                                                                 

  2SHQ6SDFH *RRG                                                                         

  5HVLGHQWLDODFUH                                                                   

  5HVLGHQWLDODFUH                                                                   

  &RPPHUFLDO %XVLQHVV                                                                    

  )DOORZ%DUH6RLO                                                                       

  2DN$VSHQ *RRG                                                                          

  :RRGV *RRG                                                                              

  :RRGV )DLU                                                                              

  %UXVK )DLU                                                                              

  3DVWXUH*UDVVODQG )DLU                                                                 

  0HDGRZ                                                                                    

  5RZ&URSV65 *RRG                                                                     

  :RRG\:HWODQGV                                                                        

  (PHUJHQW+HUEDFHRXV:HWODQGV                                                          




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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7DEOH&XUYH1XPEHUVIRUKLVWRULFODQGXVHFODVVHV$0&,

                                       1/&'                                          +6*
  &ODVV
                                       ,'           ,PSHUYLRXV        $      %       &      '

  'HYHORSHGJUHHQDUHDV                                                          

  +LJKGHQVLW\                                                                   

  ,VRODWHGWUDQVSRUWDWLRQ             1$                                          

  /LJKWLQGXVWULDOFRPPHUFLDO                                                    

  5HVLGHQWLDOODUJHORW±ROGHU                  DQG                          

  5HVLGHQWLDOUXUDOORW                          DQG                           

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  6FKRROV                                                                         

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7DEOH&XUYH1XPEHUVIRUKLVWRULFODQGXVHFODVVHV$0&,,

                                       1/&'                                          +6*
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  'HYHORSHGJUHHQDUHDV                                                          

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  ,VRODWHGWUDQVSRUWDWLRQ             1$                                          

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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   Case 1:17-cv-09002-LAS                    Document 266-2           Filed 01/10/23   Page 847 of 1584




7DEOH&XUYH1XPEHUVIRUKLVWRULFODQGXVHFODVVHV$0&,,,

                                       1/&'                                          +6*
  &ODVV
                                       ,'           ,PSHUYLRXV        $      %       &      '

  'HYHORSHGJUHHQDUHDV                                                          

  +LJKGHQVLW\                                                                   

  ,VRODWHGWUDQVSRUWDWLRQ             1$                                          

  /LJKWLQGXVWULDOFRPPHUFLDO                                                    

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  5HVLGHQWLDOUXUDOORW                          DQG                           

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  6FKRROV                                                                         

  8QGHYHORSHG                                                                     

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 848 of 1584




)LJXUH+8&ZDWHUVKHGVZLWKLQWKHPRGHOGRPDLQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH1/&'ODQGXVHFODVVLILFDWLRQVZLWKLQWKHPRGHOGRPDLQ

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 850 of 1584




)LJXUH+\GURORJLFVRLOJURXSVZLWKLQWKHPRGHOGRPDLQ GRZQORDGHGIURP>@

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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   0DQQLQJ¶V5RXJKQHVV

0DQQLQJ¶VQUDQJHVGHULYHGLQ6HFWLRQDUHVXPPDUL]HGLQ7DEOHIRUWKHPDLQVWUHDPVZLWKLQWKH)RFXV
$UHD)RUWKHUHPDLQGHURIWKHZDWHUVKHGWKH1DWLRQDO/DQGFRYHU'DWDEDVH 1/&'>@ ZDV
XVHGWRGHILQHODQGFODVVHVIRUWKHPRGHOGRPDLQ1DWLRQDO/DQG&RYHU'DWDEDVH 1/&' LVWKH
PRVWUHFHQWQDWLRQDOODQGFRYHUSURGXFWFUHDWHGE\WKH0XOWL5HVROXWLRQ/DQG&KDUDFWHULVWLFV 05/& 
&RQVRUWLXP>@

0DQQLQJ¶VURXJKQHVVIRUPXODWLRQLVXVHGWRSDUDPHWHUL]HWKHRYHUJURXQGVKHHWIORZXVLQJVSDWLDOO\YDULHG
0DQQLQJ¶VQURXJKQHVVFRHIILFLHQWV0DQQLQJ¶VURXJKQHVVFRHIILFLHQWVDUHDVVLJQHGWRPHVKQRGHVEDVHGRQ
ODQGFRYHUFODVVHVDVSURSRVHGE\>@DQGSUHVHQWHGLQ7DEOH

,QRUGHUWRUHSUHVHQWKLVWRULFFRQGLWLRQVZKHUH1/&'LVQRWDYDLODEOHOXPSHGODQGXVHFDWHJRULHVGHILQHGE\
>@ZHUHXVHGWRGHILQH0DQQLQJ¶VQDVVXPPDUL]HGLQ7DEOH

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  6WUHDP1DPH
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                          'HYHORSHGRSHQVSDFH                              

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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                          0RVV                                              

                          3DVWXUHKD\                                       

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                          (PHUJHQWKHUEDFHRXVZHWODQGV                      

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7DEOH0DQQLQJ¶VQYDOXHVIRUKLVWRULFODQGXVHFODVVHV

  &ODVV                                 3HUFHQW,PSHUYLRXV                 0DQQLQJ¶VQ 6HOHFWHGYDOXH 

  'HYHORSHGJUHHQDUHDV                                                  >@>@  

  +LJKGHQVLW\                                                           >@

  ,VRODWHGWUDQVSRUWDWLRQ                                                >@

  /LJKWLQGXVWULDOFRPPHUFLDO                                            >@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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7KHPRGHOGRPDLQLQFOXGHV$GGLFNVDQG%DUNHUGDPVZKLFKDUHUHSUHVHQWHGLQWKHPRGHODVWRSRJUDSKLF
IHDWXUHVZKHUHPHVKHOHPHQWVDUHUHILQHGHQRXJKWRUHSUHVHQWWKHHPEDQNPHQWV6LPLODUO\DX[LOLDU\
VSLOOZD\VDWERWKHQGVRIHDFKGDPDUHUHSUHVHQWHGDVWRSRJUDSKLFIHDWXUHV)ORZWKURXJKJDWHGFRQGXLWVLV
HVWLPDWHGDVDIXQFWLRQRIWKHJDWHKHLJKWDQGKHDGZDWHUHOHYDWLRQ UHIHUWR6HFWLRQ 

2WKHUK\GUDXOLFVWUXFWXUHVZLWKLQWKH)RFXV$UHDLQFOXGHFXOYHUWVDQGRWKHUVPDOOHUVWRUPZDWHUGUDLQV$V
GLVFXVVHGLQ6HFWLRQRQO\PDMRUFXOYHUWVFRQYH\LQJZDWHUDFURVVPDMRUURDGVWKDWZHUHQRWRYHUWRSSHG
GXULQJWKH+DUYH\(YHQWKDYHEHHQLQFOXGHGLQWKHPRGHO0DMRUFXOYHUWVLQFOXGHGLQWKHPRGHODUHVKRZQLQ
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)LJXUH0DMRU&XOYHUWV5HSUHVHQWHGLQ7(/(0$&'PRGHO

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0RGHOFDOLEUDWLRQLVFRPSOHWHGE\DGMXVWLQJURXJKQHVVDQGK\GURORJLFORVVSDUDPHWHUVVRWKDWWKHPRGHO
DJUHHPHQWZLWKPHDVXUHGJDJHGDWDZLWKLQWKH)RFXV$UHDDQG)RFXV3HULRGLVPD[LPL]HG

7KHREMHFWLYHRIWKH7(/(0$&PRGHOFDOLEUDWLRQLVWZRIROG WRFDSWXUHWKHSHDNZDWHUVXUIDFHHOHYDWLRQV
DQGWKHLUWLPLQJZLWKLQWKH)RFXV$UHDGXULQJWKH)RFXV3HULRGDQG WRFDSWXUHWKHULVH LQGRZQVWUHDP


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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DUHDV DQGWKHIDOO LQXSVWUHDPDUHDV LQZDWHUVXUIDFHHOHYDWLRQVZLWKLQWKH)RFXV$UHDGXHWRUHOHDVHVIURP
$GGLFNVDQG%DUNHU5HVHUYRLUV

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7KLVVHFWLRQGHILQHVDVHWRIPRGHOSHUIRUPDQFHPHWULFVWRKHOSLGHQWLI\DFFHSWDEOHPRGHOFDOLEUDWLRQUHVXOWV
ZLWKLQWKHIRFXVDUHD7KHVHSHUIRUPDQFHPHWULFVKDYHEHHQGHILQHGFRQVLGHULQJWKHIROORZLQJ
x     7KHPDLQREMHFWLYHRIWKHQXPHULFDOPRGHOLVHVWLPDWLRQRILQXQGDWLRQ$VVXFKPRGHOOHGVWDJH RUZDWHU
      VXUIDFH HOHYDWLRQVDUHDVVLJQHGWKHPRVWVWULQJHQWDFFHSWDEOHFULWHULD
x     .QRZQDFFHSWDEOHFULWHULDXVHGE\VLPLODUVWXGLHVIRUVLPLODUDSSOLFDWLRQV
x     0RGHOOLPLWDWLRQVDVGHVFULEHGDERYHLQ6HFWLRQ
x     &RQVLGHUDWLRQRIDFFXUDF\DQGRSHUDWLRQDOUDQJHVRIPHDVXUHPHQWV:LWKLQWKHIRFXVDUHDVRPHRIWKH
      VWUHDPJDJHVZHUHRSHUDWLQJEH\RQGWKHLURSHUDWLRQDOOLPLWV

7KHWDUJHW RUGHVLUHG PRGHOSHUIRUPDQFHFULWHULDGHILQHGE\>@DUHDGRSWHGIRUWKLVVWXG\7KHIROORZLQJ
PHWULFVDUHXVHGWRHYDOXDWHWKHJRRGQHVVRIPRGHOFDOLEUDWLRQIRUULYHUZDWHUGHSWK RUVWDJHKHLJKW ZLWKLQWKH
)RFXV$UHDDQG)RFXV3HULRGEDVHGRQPRGHOOHGDQGREVHUYHGGDWD
x     5RRWPHDQVTXDUHHUURUSHUFHQWDJH 506( OHVVWKDQIRUDOOVWDWLRQV
x     3HDUVRQSURGXFWPRPHQWFRUUHODWLRQFRHIILFLHQW U JUHDWHUWKDQIRUDOOVWDWLRQV

)RUIORRGLQJDSSOLFDWLRQVWKHVLPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQLVWKHPRVWLPSRUWDQWSDUDPHWHUVLQFHLWV
VSDWLDODQGWHPSRUDOGLVWULEXWLRQGHILQHVRYHUODQGIORRGGHSWKDQGGXUDWLRQ)ORZGHSWKLQVLGHVWUHDPVLVRI
VHFRQGDU\LPSRUWDQFHVLQFHLWLVDSSOLFDEOHWRWKRVHVWUHDPV6LQFHIORZGHSWKFRXOGEHVLJQLILFDQWO\LPSDFWHG
E\ORFDOFRQGLWLRQVDWWKHSRLQWVDWZKLFKWKH\DUHH[WUDFWHG VXFKDVHUURQHRXVFKDQQHOEHGHOHYDWLRQVDEUXSW
WRSRJUDSKLFFKDQJHVLQFKDQQHOEHGUDSLGO\YDULHGIORZVWKDWPD\QRWEHUHSUHVHQWHGE\WKHPRGHOHWF WKH\
DUHPXFKOHVVUHOLDEOHWKDQZDWHUVXUIDFHHOHYDWLRQVIRUHVWLPDWLQJRYHUODQGIORRGLQJFKDUDFWHULVWLFV)RUWKH
SXUSRVHRIPRGHOFDOLEUDWLRQWKH506(ZLOOEHFDOFXODWHGIRUERWKZDWHUVXUIDFHHOHYDWLRQVDQGIORZGHSWKV
)RUWKHSXUSRVHRIHVWLPDWLQJRYHUODQGIORRGLQJH[WHQWVDQGGXUDWLRQVZDWHUVXUIDFHHOHYDWLRQVZLOOEHXVHG

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IORRGZDYH$GLVFKDUJHVLJQDORIFIVRYHUKRXUVZLWKWZRKRXUUDPSXSDQGUDPSGRZQSHULRGV
ZDVUHOHDVHGIURP%DUNHU'DP QHDU+LJKZD\ )LJXUHVKRZVWKHVLPXODWHGVWDJHHOHYDWLRQVEHORZ
%DUNHU'DPDWGLIIHUHQWVWDJHVXVLQJURXJKQHVVYDOXHVZLWKLQWKHUDQJHVSUHVHQWHGLQ7DEOH5HVXOWV
VKRZWKDWWKHSHDNHOHYDWLRQFRUUHVSRQGLQJWRWKHIORRGZDYHDW3LQH\3RLQWLVODJJLQJWKHSHDNRIWKH
GLVFKDUJHVLJQDOE\DSSUR[LPDWHO\KRXUV7KLVLVFRQVLVWHQWZLWKWKHHVWLPDWHGWLPHRIWUDYHOIRUSHDN
IORZVDORQJORZHU%XIIDOR%D\RXWKDWLVUHSRUWHGE\WKH5HVHUYRLU5HJXODWLRQ0DQXDORI>@,WZDV
HVWLPDWHGWKDWSHDNIORZVUHDFKWKHPRXWKRI5XPPHO&UHHNLQDSSUR[LPDWHO\KRXUVDQGUHDFK3LQH\
3RLQW5RDGLQDSSUR[LPDWHO\KRXUV>S86$&(@7KH&RUSVHVWLPDWHVFRPSDUHZHOOZLWKWKH
PRGHOUHVXOWV,WLVQRWHGWKDWFKDQQHOURXJKQHVVUXQRIIGLVFKDUJHDQGUHOHDVHUDWHVDIIHFWWKHWUDYHOWLPH
WKURXJK%XIIDOR%D\RX7KHUHIRUHFDOLEUDWLRQRI0DQQLQJ¶VURXJKQHVVYDOXHVLVHVVHQWLDOZKLFKLVDGGUHVVHG
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  ,IIORZGHSWKVZHUHXVHGWRHVWLPDWHRYHUODQGIORRGLQJWKHUHVXOWVPD\EHVLJQLILFDQWO\VNHZHGDVDUHVXOWRIDQ\LQDFFXUDFLHVLQORFDOODQG
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  86$&(XVHGWKHFRHIILFLHQWPHWKRGWRURXWHWKHGLVFKDUJHGRZQVWUHDP>S86$&(@

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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    GageHeight(m,NAVD88)




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,QFRQFHSWXDOWHUPV$0&DIIHFWVWKHDEVWUDFWLYHK\GURORJLFDOORVVHV LQFOXGLQJWKHDELOLW\RIWKHVRLOWRDEVRUE
ZDWHUGXULQJDUDLQIDOOHYHQW DQGWKHUHIRUHDIIHFWVWKHDPRXQWRIUXQRIIJHQHUDWHGIURPDJLYHQDUHD7KH
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DYHUDJHPRLVWXUHFRQGLWLRQDQG$0&,,,UHSUHVHQWVVRLOVWKDWDUHZHWDQGDUHOHVVDEOHWRLQILOWUDWHZDWHU
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x                                  6ORSHOHQJWKDQGVWHHSQHVV
x                                  3RVLWLRQRIDQDUHDZLWKLQDZDWHUVKHG
x                                  /DQGXVHDQGODQGFRYHU


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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x     +XPDQPRGLILFDWLRQVVXFKDVLUULJDWLRQDQGGUDLQDJH

,QWKH6&6&1PHWKRGWKHXVHRIGLIIHUHQW$0&YDOXHVLVDPHWKRGRIDFFRXQWLQJIRUSDUWRIWKHYDULDELOLW\LQ
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7KH6&6PHWKRGSUHVFULEHV$0&VHOHFWLRQEDVHGRQWKHWRWDOGD\DQWHFHGHQWUDLQIDOODQGZKHWKHUWKHDUHD
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,QSUDFWLFH$0&FDWHJRU\LVW\SLFDOO\VHOHFWHGE\WKHPRGHOHUWRSURGXFHWKHEHVWILWEHWZHHQSUHGLFWHGDQG
REVHUYHGUXQRIIYDOXHV(VWLPDWHGFRQGLWLRQVRIVRLOPRLVWXUHFRQWHQWSULRUWRWKH+DUYH\(YHQWZHUHUHOLHGRQ
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)LJXUH$QWHFHGHQWVRLOPRLVWXUHFRQGLWLRQVIRUWKHPRGHOGRPDLQ \HOORZ$0&,EOXH$0&,,JUHHQ$0&,,, 

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)LJXUH&XUYH1XPEHU0DSFRYHULQJWKHPRGHOGRPDLQ

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LVWKHVL]HRIWKHFRPSXWDWLRQDOJULG RUPHVKVL]H DWDFHUWDLQORFDWLRQZLWKWKHPRGHOGRPDLQ$ORZHU
&RXUDQWQXPEHUHVVHQWLDOO\GLFWDWHVWKDWDVPDOOHUFRPSXWDWLRQDOWLPHVWHSPD\EHUHTXLUHGWRUHSUHVHQWD
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VHQVLWLYLW\WR&RXUDQWQXPEHUKDVEHHQWHVWHGE\FRPSDULQJWKHPRGHOUHVXOWVIRUGHVLUHG&RXUDQWQXPEHUVRI
DQG,WLVFRQFOXGHGWKDWWKHPRGHOUHVXOWVDUHQRWVHQVLWLYHWR&RXUDQWQXPEHUVZLWKLQWKHWHVWHGUDQJH
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7KHLPSRUWDQFHRIUDLQIDOOVSDWLDOYDULDELOLW\KDVEHHQWHVWHGE\FRPSDULVRQRIPRGHOUHVXOWVIRUWKHIROORZLQJ
WZRVFHQDULRV
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    GRPDLQ KDYHEHHQDVVXPHGWRUHSUHVHQWWKHHQWLUHGRPDLQ

6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVXQGHUWKHVHVFHQDULRVZHUHVLJQLILFDQWO\GLIIHUHQW,WLVFRQFOXGHGWKDW
UDLQIDOOVSDWLDOYDULDELOLW\LVRISDUDPRXQWLPSRUWDQFHDQGPXVWEHFRQVLGHUHGLQWKHDQDO\VLV
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7KHPRGHOVHQVLWLYLW\WRWKHWLPHLQWHUYDORIUDLQIDOOLQWHQVLW\KDVEHHQWHVWHGE\UXQQLQJWKHPRGHOXVLQJ
+&)&'UDLQIDOOJDJHGDWDZLWKPLQXWHDQGKRXULQWHUYDOV,WLVFRQFOXGHGWKDWIRUWKH+DUYH\(YHQWWKH
PRGHOLVQRWVHQVLWLYHWRWLPHLQWHUYDORIUDLQIDOOLQWHQVLW\ZLWKLQWKHWHVWHGUDQJHDVWKHUHVXOWVDUHDOPRVW
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7KHLPSDFWRIZLQGKDVEHHQWHVWHGE\FRPSDULVRQEHWZHHQPRGHOUHVXOWVZLWKDQGZLWKRXWZLQGIRUFLQJ7KH
VDPHURXJKQHVVDQGLQILOWUDWLRQSDUDPHWHUVZHUHXVHGIRUERWKVFHQDULRV,WLVFRQFOXGHGWKDWWKHPRGHOLV
JHQHUDOO\QRWVHQVLWLYHWRZLQGIRUFLQJDQGWKHK\GUDXOLFVLVGRPLQDWHGE\UDLQIDOOLQILOWUDWLRQDQGUXQRII


   6HQVLWLYLW\WR7LGHVDQG6WRUP6XUJH&RQGLWLRQV

7KHLPSDFWRIWLGDOFRQGLWLRQVDQGVWRUPVXUJHDW*DOYHVWRQ%D\RQPRGHOUHVXOWVZLWKLQWKH)RFXV$UHDKDV
EHHQWHVWHGE\FRPSDULQJPRGHOUHVXOWVIRUWKHIROORZLQJWUDQVPLVVLYHRSHQERXQGDU\FRQGLWLRQVDW*DOYHVWRQ
%D\
x   $FWXDOPHDVXUHGZDWHUVXUIDFHHOHYDWLRQV LQFOXGLQJWLGHVDQGVWRUPVXUJH LPSRVHGDWWKHRSHQ
    ERXQGDU\DQG
x   6WDWLRQDU\ZDWHUVXUIDFHHOHYDWLRQLPSRVHGDWWKHRSHQERXQGDU\


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                               &RPPHUFLDOLQ&RQILGHQFH                                3DJH


                                                                                                                     A1304
                             Case 1:17-cv-09002-LAS                                                                          Document 266-2                                Filed 01/10/23                                                                            Page 861 of 1584




)LJXUHLOOXVWUDWHVDQH[DPSOHRIPRGHOUHVXOWVIRUERWKVFHQDULRVDW86*6JDJHDW6KHSKHUG
'ULYH ORFDWHGDWWKHGRZQVWUHDPOLPLWRIWKH)RFXV$UHD 3HDUVRQSURGXFWPRPHQWFRUUHODWLRQFRHIILFLHQWV
EHWZHHQUHVXOWVRIWKHVHWZRVFHQDULRVDWYDULRXVVWUHDPJDJHVZLWKLQWKH)RFXV$UHDDUHVXPPDUL]HGLQ
7DEOH,WLVFRQFOXGHGWKDWVWRUPVXUJHKDVQRWVLJQLILFDQWO\LPSDFWHGWKHIORRGLQJFKDUDFWHULVWLFV QHLWKHU
GHSWKQRUGXUDWLRQ ZLWKLQWKH)RFXV$UHD
                             60                                                                                                                                                                                                                                                       0


                             55




                                                                                                                                                                                            MaximumRelease,Addicks&
                                                                                                                                                                                                                                                                                      1
                                                                                                                                                                                                                                                                                                                         SimulatedWSE@ShepherdDr




                                                                                                                                                                                                                                           MaximumRelease, Barker
                             50                                                                                                                                                                                                                                                                                          _StormSurgeIncluded
                                                                                                                                                                                                                                                                                      2
                                                   ReleasefromAddicks& Barker




                             45

                                                                                                                                                                                                                                                                                      3                                  SimulatedWSE@ShepherdDr
                             40
                                                                                                                                                                                                                                                                                                                         _StormSurgeEXcluded
 GageHeight (ft,NAVD88)




                                                                                                                                                                                                                                                                                           RainfallIntensity (in/hr)
                             35                                                                      GatesClosed                                                                                                                                                                     4




                                                                                                                                                                                            Barker
                                                                                                                                                                                                                                                                                                                         NWSFloodStage(ft)
                                                   priortoEvent




                             30                                                                                                                                                                                                                                                       5


                             25
                                                                                                                                                                                                                                                                                      6
                                                                                                                                                                                                                                                                                                                         08074000_Rainfall
                             20
                                                                                                                                                                                                                                                                                      7

                             15

                                                                                                                                                                                                                                                                                      8
                             10                                                                                                                  GradualRelease
                                                                                                                                                                                                                                                                                      9
                             5


                             0                                                                                                                                                                                                                                                        10




                                                                                                                                                                                                                                                                      9/1/20170:00
                                  8/25/20170:00




                                                                                    8/26/20170:00




                                                                                                            8/27/20170:00




                                                                                                                             8/28/20170:00




                                                                                                                                                          8/29/20170:00




                                                                                                                                                                           8/30/20170:00




                                                                                                                                                                                                                          8/31/20170:00
                                                                                                                                              Datetime




)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVZLWKDQGZLWKRXWVWRUPVXUJHDW86*6*DJH
DW6KHSKHUG'ULYH




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                                                                                            &RPPHUFLDOLQ&RQILGHQFH                                                                                                                                                                 3DJH


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   Case 1:17-cv-09002-LAS                 Document 266-2              Filed 01/10/23    Page 862 of 1584




7DEOH&RUUHODWLRQEHWZHHQPRGHOUHVXOWVZLWKDQGZLWKRXWVWRUPVXUJH

  6WUHDP*DJH                                                                     5

  8SVWUHDPRI$GGLFNV'DP

  #$GGLFNV5HV                                                         

  #/DQJKDP&.B                                                         

  +&)&'B+RUVHSHQ&N#7UDLOVLGH                                                   

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  #%HDU&N                                                              

  #6RXWK0D\GH&N                                                       

  8SVWUHDPRI%DUNHU'DP

  #%DUNHU5HV                                                          

  #8SSHU%XIIDOR%D\RX                                                  

  +&)&'0DVRQ&U#3ULQFH&U5G                                                   

  'RZQVWUHDPRI$GGLFNVDQG%DUNHU*DWHV

  #%DUNHU                                                               

  #'DLU\$VKIRUG5G                                                     

  +&)&'B5XPPHO&UHHN#%ULWWPRRUH5G                                              

  #%HOWZD\                                                            

  #3LQH\3RLQW                                                          

  +&)&'6WDJH%%#6DQ)HOLSH                                                     

  #6KHSKHUG'U                                                          

   5RXJKQHVVDQG+\GURORJLF/RVV3DUDPHWHUV

7KHPRGHOVHQVLWLYLW\WRURXJKQHVVDQGK\GURORJLFORVVSDUDPHWHUVDUHDGGUHVVHGLQ6HFWLRQ
   6XPPDU\RI0RGHO6HQVLWLYLW\

7DEOHSURYLGHVDVXPPDU\RIWKHPRGHOVHQVLWLYLW\WRYDULRXVSDUDPHWHUV7KH³%DVH5XQ´FROXPQ
SUHVHQWVWKHSDUDPHWHUVFRQVLGHUHGIRUPRGHOFDOLEUDWLRQDQGRWKHUSURGXFWLRQUXQV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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7DEOH6XPPDU\RI7(/(0$&PRGHOVHQVLWLYLW\UHVXOWV

    6HQVLWLYLW\
                           %DVH5XQ        5DQJHWHVWHG &RQFOXVLRQ
    3DUDPHWHU

    &RXUDQW1XPEHU                       ±           1RWVHQVLWLYH

                                            6SDWLDOO\
                                            FRQVWDQW
    5DLQIDOOVSDWLDO      6SDWLDOO\
                                             XVLQJ*DJH       6SDWLDOYDULDELOLW\PXVWEHLQFOXGHG
    YDULDELOLW\            YDULDEOH
                                            DW
                                            %DUNHU'DP 

    7LPHLQWHUYDORI                                          0RGHOUHVXOWVDUHQRWVHQVLWLYHZLWKLQWKHWHVWHG
                           KRXU           ± PLQ
    UDLQIDOOLQWHQVLW\                                        UDQJH

                                            &DOPDQG
                           7LPHDQG
                                            6SDWLDOO\DQG
    :LQG                  VSDFH                               0RGHOUHVXOWVDUHQRWVHQVLWLYHWRZLQG
                                            WHPSRUDOO\
                           YDULDEOH
                                            YDULHGZLQG

                                            1RWLGHRU
                                            VWRUPVXUJH
                           7LGHVDQG       DQG
    7LGHVDQG6WRUP                                           :LWKLQWKH)RFXV$UHDWKHPRGHOUHVXOWVDUHQRW
                           VWRUPVXUJH
    6XUJH                                   7LGHVDQG         VHQVLWLYHWRWLGHVRUVWRUPVXUJHV
                           LQFOXGHG
                                            VWRUPVXUJH
                                            LQFOXGHG

       'HYHORSPHQWRI$FWXDO+XUULFDQH+DUYH\6FHQDULR

0HDVXUHGVWDJHHOHYDWLRQVDWYDULRXVVWUHDPJDJHVZLWKLQWKH)RFXV$UHDZHUHXVHGWRFDOLEUDWHWKHWZR
GLPHQVLRQDO7(/(0$&PRGHOGXULQJWKH)RFXV3HULRG EHWZHHQDQG FRYHULQJWKHHQWLUH
SHULRGRIUHSRUWHGIORRGLQJLQFOXGLQJWZRGLVWLQFWLYHIORZUHJLPHVGRZQVWUHDPRIWKHGDPV UXQRIIGRPLQDWHG
IORZUHJLPHLQORZHU%XIIDOR%D\RXGXULQJWKHSHULRGRIJDWHFORVXUHDQGPRVWLQWHQVHUDLQIDOODQG IORRG
ZDYHGRPLQDWHGIORZUHJLPHGXULQJWKHSHULRGRIUHOHDVHIURP$GGLFNVDQG%DUNHU5HVHUYRLUVZLWKQR
PHDVXUDEOHUDLQIDOO
     ,QLWLDO&DOLEUDWLRQ

7KH7(/(0$&'PRGHOFDOLEUDWLRQZDVSHUIRUPHGE\FKDQJLQJURXJKQHVVDQGK\GURORJLFORVVSDUDPHWHUV
ZLWKLQWKHLUUHVSHFWLYHUHDOLVWLFUDQJHV GHULYHGDERYHLQ6HFWLRQ )RUWKHSXUSRVHRILQLWLDOFDOLEUDWLRQ
506(DQGFRUUHODWLRQFRHIILFLHQW U DVGHILQHGLQ6HFWLRQZHUHFDOFXODWHGIRUHDFKJDJHZLWKLQWKH
)RFXV$UHDDQGDYHUDJHGRYHUWKHIROORZLQJWKUHH]RQHV
x     =RQH$8SVWUHDPRI$GGLFNV'DP
x     =RQH%8SVWUHDPRI%DUNHU'DP
x     =RQH&'RZQVWUHDPRI$GGLFNVDQG%DUNHU'DPV

7KUHHFKDQQHOURXJKQHVVVFHQDULRVKDYHEHHQSUHSDUHGIRUWKHSXUSRVHRIPRGHOFDOLEUDWLRQDVIROORZV
x     6FHQDULR,5RXJKFKDQQHOVVFHQDULR
x     6FHQDULR,,,QWHUPHGLDWHURXJKQHVVVFHQDULR
x     6FHQDULR,,,6PRRWKFKDQQHOVVFHQDULR

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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0DQQLQJ¶VURXJKQHVVPDSVUHSUHVHQWLQJWKHWKUHHURXJKQHVVVFHQDULRVKDYHEHHQSUHSDUHGDVGHVFULEHGLQ
7DEOHZKHUH0DQQLQJ¶VQUDQJHVKDYHEHHQVHOHFWHGEDVHGRQGHULYHGYDOXHV UHIHUWR6HFWLRQ 

7DEOH5DQJHVRI0DQQLQJ¶VQIRUVWUHDPDQGIORRGSODLQVZLWKLQWKHPRGHOGRPDLQ

                                                                                0DQQLQJ¶VQ
  7RSRJUDSKLFIHDWXUHV                                       6FHQDULR,        6FHQDULR,,       6FHQDULR,,,
                                                                URXJK          LQWHUPHGLDWH         VPRRWK

  /DQGDUHDVLQFOXGLQJUHVHUYRLUV                        0DQQLQJ¶VQGHILQHGE\0DWWRFNV )RUEHV  >@

  6WUHHWV                                                                     >S@

  $OOFKDQQHOVRXWVLGH)RFXV$UHD                                            >S@

  =RQH$8SVWUHDPRI$GGLFNV'DP                                                                      

  /DQJKDP&UHHN FKDQQHOIORRGSODLQ                                         

  +RUVHSHQ&UHHN FKDQQHOIORRGSODLQ                                        

  'LQQHU&UHHN FKDQQHOIORRGSODLQ                                          

  8                                                                                

  /DQJKDP&UHHN'LYHUVLRQFKDQQHO                                                           

  %HDU&UHHN                                                                                

  6RXWK0D\GH&UHHN FKDQQHOIORRGSODLQ                                     

  &KDQQHOLQVLGHUHVHUYRLU                                                                  

  =RQH%8SVWUHDPRI%DUNHU'DP                                                                       

  8SSHU%XIIDOR%D\RX                                                                       

  :LOORZ)RUNGLYHUVLRQFKDQQHO                                                             

  0DVRQ&UHHN                                                                               

  7ULE                                                                                 

  &KDQQHOLQVLGHUHVHUYRLU                                                                  

  =RQH&'RZQVWUHDPRI'DPV                                                                           

  %XIIDOR%D\RXIURP%DUNHUJDWHVWR'DLU\
                                                                                             
  $VKIRUG5RDG

  /RZHU/DQJKDP&UHHN                                                                      

  %XIIDOR%D\RXEHORZ'DLU\$VKIRUG5G                                                      

  %XIIDOR%D\RXIORRGSODLQXSWR'DLU\$VKIRUG
                                                                                             
  5RDG

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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     %XIIDOR%D\RXIORRGSODLQEHORZ'DLU\$VKIRUG
                                                                                                                       
     5RDGXSWR3LQH\3RLQW

     %XIIDOR%D\RXIORRGSODLQEHORZ3LQH\3RLQW                                                                       

     5XPPHO&UHHN FKDQQHOIORRGSODLQ                                                             

     &ORGLQH'LWFK FKDQQHOIORRGSODLQ                                                         

&XUYH1XPEHU &1 PDSVUHSUHVHQWLQJORZLQWHUPHGLDWHDQGKLJKK\GURORJLFDOORVVHVVFHQDULRVKDYHEHHQ
SUHSDUHGDVIROORZV
x      &1%DVH0DSUHSUHVHQWLQJDORZK\GURORJLFORVVHVVFHQDULR
       x     $0&,,,DVVLJQHGIRUDUHDVGRZQVWUHDPRI$GGLFNVDQG%DUNHU'DPVDQG
       x     $0&,,DVVLJQHGIRUDUHDVXSVWUHDPRI$GGLFNVDQG%DUNHU'DPV
x      &1%DVH0DS )LJXUH UHSUHVHQWLQJDQLQWHUPHGLDWHK\GURORJLFORVVHVVFHQDULR
       x     $0&,,,DVVLJQHGIRUDUHDVGRZQVWUHDPRI$GGLFNVDQG%DUNHU'DPV
       x     $0&,,DVVLJQHGIRUDUHDVXSVWUHDPRI$GGLFNVDQG%DUNHU'DPVDQG
       x     $0&,DVVLJQHGWRDUHDVIRUWKHQRUWKZHVWDUHDRIWKHPRGHOGRPDLQ
x      &1%DVH0DSUHSUHVHQWLQJDKLJKK\GURORJLFORVVHVVFHQDULR
       x     $0&,,,DVVLJQHGIRUDUHDVGRZQVWUHDPRI$GGLFNVDQG%DUNHU'DPVDQG
       x     $0&,DVVLJQHGIRUDUHDVXSVWUHDPRI$GGLFNVDQG%DUNHU'DPV

7DEOHGHILQHVK\GURORJLFORVVHVDQGURXJKQHVVSDUDPHWHUVIRUWKHLQLWLDOFDOLEUDWLRQUXQVUHSUHVHQWLQJWKH
+DUYH\(YHQW7KHIROORZLQJPRGHOFKDUDFWHULVWLFVDUHFRPPRQIRUDOOWKHUXQV
x      5DLQIDOOLQWHQVLWLHVDUHEDVHGRQJULGGHGUDLQIDOOGDWDGHULYHGE\$:$ UHIHUWR6HFWLRQ 
x      %DWK\PHWU\LVGHILQHGE\WKH/L'$5VXUYH\FRUUHFWHGIRUZDWHUGHSWKXVLQJWKH+&)&'+(&5$6
       WUDQVHFWGDWD UHIHUWR6HFWLRQ DQGWKH/L'$5VXUYH\IRU/RZHU/DQJKDP&UHHN
x      :LQGIRUFLQJLVLQFOXGHG
x      9DULDEOHWLPHVWHSFDOFXODWHGEDVHGRQD³GHVLUHG´&RXUDQW1XPEHURI
x      6LPXODWLRQIURPWR GD\V 

7KHUHVXOWVRIWKHLQLWLDOFDOLEUDWLRQUXQVZHUHXVHGWRFDOFXODWH506(IRU$GGLFNVDQG%DUNHUSRROGHSWKV
 UHSUHVHQWLQJ=RQHV$DQG% DQGDYHUDJH506(RIIORZGHSWKVRYHU=RQH&7DEOH7DEOHDQG
7DEOHSUHVHQWFDOFXODWHG506(UHSUHVHQWLQJ=RQHV$%DQG&UHVSHFWLYHO\)RUDOORIWKHFDOLEUDWLRQ
UXQVVWDUWLQJDURXQG ZKHQJDWHVZHUHFORVHG WKHPRGHORYHUHVWLPDWHVSRROHOHYDWLRQVKLJKHUWKDQIW
DQGIWLQ$GGLFNVDQG%DUNHU5HVHUYRLUVUHVSHFWLYHO\$ERYHWKRVHHOHYDWLRQVWKHVLPXODWHGUDWHVRIULVH
DUHKLJKHUWKDQREVHUYHG7KLVWUHQGLVLQGHSHQGHQWRIWKHURXJKQHVVDQGK\GURORJLFORVVVFHQDULRDVVKRZQ
$VVXFKWKLVRYHUHVWLPDWHGUDWHRIULVHFRXOGSRWHQWLDOO\EHDWWULEXWHGWRRQHRUPRUHRIWKHIROORZLQJ
x      7HPSRUDODQGVSDWLDOGLIIHUHQFHVEHWZHHQHVWLPDWHGDQGDFWXDOUDLQIDOOLQWHQVLWLHV
x      7KHUHODWLYHO\FRDUVHPHVKXSVWUHDPRIWKH)RFXV$UHDPD\QRWFDSWXUHVLJQLILFDQWORZO\LQJDUHDVDQGRU
       GHWHQWLRQSRQGV




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    7KHPRGHOFDOFXODWHVWKHQH[WWLPHVWHSXVLQJWKHGHVLUHG&RXUDQWQXPEHUEDVHGRQUHVXOWVDWWKHSUHVHQWWLPHVWHS

    5HVHUYRLUSRROHOHYDWLRQVDUHUHSUHVHQWDWLYHRIWKHLUUHVSHFWLYH]RQHVVLQFHWKH\ZHUHFRQWUROOLQJZDWHUVXUIDFHHOHYDWLRQVDIWHU

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                           &RPPHUFLDOLQ&RQILGHQFH                                                3DJH


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x     0LVUHSUHVHQWDWLRQRIWKHFKDQQHOEDWK\PHWULHVXSVWUHDPRIWKHUHVHUYRLUV
x     0LVUHSUHVHQWDWLRQRIWKHUHVHUYRLUVWRSRJUDSK\DERYHHOHYDWLRQVIHHW $GGLFNV DQGIHHW %DUNHU 
      DQGRU
x     6LJQLILFDQWFKDQJHWRWKHWRSRJUDSK\DERYHWKRVHHOHYDWLRQVEHWZHHQDQG

7KHRYHUHVWLPDWHGSRROHOHYDWLRQVLQ$GGLFNVDQG%DUNHU5HVHUYRLUVPD\DIIHFWHVWLPDWHVRIWKHWLPLQJRI
IORRGLQJLQDUHDVXSVWUHDPRIWKHUHVHUYRLUV7KHPRGHOLVH[SHFWHGWRHVWLPDWHHDUOLHUSHDNHOHYDWLRQVFDXVHG
E\EDFNZDWHUGXHWRSRROHOHYDWLRQVKLJKHUWKDQIHHWDQGIHHWLQ$GGLFNVDQG%DUNHUUHVSHFWLYHO\

,QDGGLWLRQWKHPRGHOJHQHUDOO\PLVVHVWKHILUVWVPDOOSHDNRIZDWHUVXUIDFHHOHYDWLRQPHDVXUHGLQPRVWRIWKH
VWUHDPVZLWKLQWKH)RFXV$UHDDWWKHHDUO\VWDJHVRIWKH+DUYH\(YHQW7KLVLVOLNHO\DWWULEXWHGWRVWRUPGUDLQ
IORZV QRWLQFOXGHGLQWKHPRGHO WUDQVIHUULQJZDWHUWRWKHUHFHLYLQJERGLHVPRUHUDSLGO\WKDQRYHUODQGIORZLQ
WKHHDUO\VWDJHVRIWKHVWRUP SULRUWRVXUFKDUJHRIWKHGUDLQV 7KHPRGHOKRZHYHUGRHVZHOODWSUHGLFWLQJ
VXEVHTXHQWSHDNVRIZDWHUVXUIDFHHOHYDWLRQDIWHUVWRUPGUDLQVEHFDPHIXOO\VXUFKDUJHG

7DEOH,QLWLDOFDOLEUDWLRQPRGHOUXQV

                                                                                                                      &1%DVH0DS
                                                                                              &1%DVH0DS           
                                                                  &1%DVH0DS
    0RGHO3DUDPHWHUV                                                                          ,QWHUPHGLDWH           +LJK
                                                                   /RZ+\GURORJLF
                                                                                              +\GURORJLF             +\GURORJLF
                                                                  /RVV6FHQDULR 
                                                                                              /RVV6FHQDULR          /RVV
                                                                                                                      6FHQDULR 

    ,5RXJKFKDQQHOVVFHQDULR                                              ,                      ,                  ,

    ,,,QWHUPHGLDWHURXJKQHVVVFHQDULR                                     ,,                     ,,                 ,,

    ,,,6PRRWKFKDQQHOVVFHQDULR                                           ,,,                  ,,,                 ,,,

7DEOH506(FDOFXODWHGIRU$GGLFNVSRROGHSWKVIRUDOOLQLWLDOFDOLEUDWLRQUXQV PLQLPXPYDOXHLV
EROGHG 

                                                                                                                      &1%DVH0DS
                                                                                              &1%DVH0DS           
                                                                  &1%DVH0DS
    0RGHO3DUDPHWHUV                                                                          ,QWHUPHGLDWH           +LJK
                                                                   /RZ+\GURORJLF
                                                                                              +\GURORJLF             +\GURORJLF
                                                                  /RVV6FHQDULR 
                                                                                              /RVV6FHQDULR          /RVV
                                                                                                                      6FHQDULR 

    ,5RXJKFKDQQHOVVFHQDULR                                                                                 

    ,,,QWHUPHGLDWHURXJKQHVVVFHQDULR                                                                       

    ,,,6PRRWKFKDQQHOVVFHQDULR                                                                               


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  8QOLNHVWUHDPVGRZQVWUHDPRIWKHUHVHUYRLUVHOHYDWLRQVGHULYHGIURP+(&5$6FURVVVHFWLRQVXSVWUHDPRIWKHUHVHUYRLUVDUHYHU\VLPLODU
WRWKH/L'$5
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  6XFKDVH[FDYDWLRQZRUNVDERYHHOHYDWLRQVIHHWDQGIHHWXSVWUHDP$GGLFNVDQG%DUNHUUHVSHFWLYHO\
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  $WWKHWLPHRIGUDIWLQJWKLVUHSRUWWKH/L'$5VXUYH\LVWKHPRVWUHFHQWVRXUFHRIUHVHUYRLUWRSRJUDSKLHV

  7KLVPRGHOLVGHYHORSHGIRUDQGVXLWHGWRH[WUHPHSUHFLSLWDWLRQHYHQWVDVVXPLQJVWRUPGUDLQVDUHVXUFKDUJHG

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                           &RPPHUFLDOLQ&RQILGHQFH                                         3DJH


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7DEOH506(FDOFXODWHGIRU%DUNHUSRROGHSWKVIRUDOOLQLWLDOFDOLEUDWLRQUXQV PLQLPXPYDOXHLV
EROGHG 

                                                                                                  &1%DVH0DS
                                                                               &1%DVH0DS      
                                                      &1%DVH0DS
    0RGHO3DUDPHWHUV                                                           ,QWHUPHGLDWH      +LJK
                                                       /RZ+\GURORJLF
                                                                               +\GURORJLF        +\GURORJLF
                                                      /RVV6FHQDULR 
                                                                               /RVV6FHQDULR     /RVV
                                                                                                  6FHQDULR 

    ,5RXJKFKDQQHOVVFHQDULR                                                           

    ,,,QWHUPHGLDWHURXJKQHVVVFHQDULR                                                   

    ,,,6PRRWKFKDQQHOVVFHQDULR                                                          

7DEOH506(DYHUDJHGRYHU=RQH&IRUDOOLQLWLDOFDOLEUDWLRQUXQV PLQLPXPYDOXHLVEROGHG 

                                                                             &1%DVH0DS
                                                    &1%DVH0DS                            &1%DVH0DS
    0RGHO3DUDPHWHUV                                                         ,QWHUPHGLDWH
                                                     /RZ+\GURORJLF                          +LJK+\GURORJLF
                                                                             +\GURORJLF
                                                    /RVV6FHQDULR                           /RVV6FHQDULR 
                                                                             /RVV6FHQDULR 

    ,5RXJKFKDQQHOVVFHQDULR                                                         

    ,,,QWHUPHGLDWHURXJKQHVVVFHQDULR                                                 

    ,,,6PRRWKFKDQQHOVVFHQDULR                                                   

   'HWDLOHG&DOLEUDWLRQ

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FHQWHURIWKHSDUDPHWHUVSDFHFRUUHVSRQGLQJWRLQWHUPHGLDWHK\GURORJLFORVVDQGURXJKQHVVVFHQDULRV ,, 
7KLVSURYLGHVJHQHUDOJXLGDQFHIRURYHUDOOUDQJHRIORVVDQGURXJKQHVVSDUDPHWHUV$VVKRZQIURP7DEOH
7DEOHDQG7DEOHWKHPLQLPXP506(IRUDOO]RQHVDUHDVVRFLDWHGZLWKWKHXVHRIWKH&1
0DSZKLFKLVLQDJUHHPHQWZLWKWKHHVWLPDWHGDQWHFHGHQWPRLVWXUHFRQGLWLRQVSUHVHQWHGLQ)LJXUH

)RUWKHSXUSRVHRIGHWDLOHGFDOLEUDWLRQDQRWKHU&1PDSKDVEHHQJHQHUDWHGEDVHGRQ&10DSVDQGDV
IROORZV

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'HWDLOHGFDOLEUDWLRQUXQVRIWKH+DUYH\(YHQWH[WHQGLQJXSWRFRYHULQJWKHHQWLUH)RFXV3HULRG
KDYHEHHQFRPSOHWHGZKHUHYDULDWLRQVWR5XQ,,0DQQLQJURXJKQHVVFRHIILFLHQWVDQG&1PDSVKDYHEHHQ
WHVWHG7DEOHGHVFULEHVWKHGHWDLOHGFDOLEUDWLRQUXQV,WZDVIRXQGWKDWUHVXOWVRI5XQ'\LHOGWKHOHDVW
506(DQGWKHKLJKHVWFRUUHODWLRQFRHIILFLHQWZLWKLQWKH)RFXV$UHDDQGWKH)RFXV3HULRG7DEOH
SUHVHQWV506(FRUUHODWLRQFRHIILFLHQWVDQGELDVFDOFXODWHGRYHUWKH)RFXV3HULRGIRUDOOWKHJDJHV
FRQVLGHUHGZLWKLQWKH)RFXV$UHDXVLQJWKHUHVXOWVRI'5HVXOWVSUHVHQWHGLQ7DEOHPHHWWKH
DFFHSWDQFHFULWHULDGHILQHGLQ6HFWLRQ

7KHIROORZLQJOLVWVXPPDUL]HVWKHFDOLEUDWHG0DQQLQJ¶VQZLWKLQWKH)RFXV$UHD =RQHV$%DQG& 
x     &KDQQHOV8SVWUHDPRI$GGLFNV'DP =RQH$ 

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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    x    /DQJKDP&UHHN +RUVHSHQ&UHHNDUHDVVLJQHG0DQQLQJ¶VQ  IORRGSODLQ DQGQ 
          FKDQQHO 
    x    'LQQHU&UHHNLVDVVLJQHG0DQQLQJ¶VQ  FKDQQHO 
    x    8LVDVVLJQHG0DQQLQJ¶VQ 
    x    /DQJKDP&UHHNGLYHUVLRQFKDQQHOLVDVVLJQHG0DQQLQJ¶VQ 
    x    %HDU&UHHNLVDVVLJQHG0DQQLQJ¶VQ 
    x    60D\GH&UHHNLVDVVLJQHG0DQQLQJ¶VQ  IORRGSODLQ DQGQ  FKDQQHO 
    x    &KDQQHOVLQVLGHUHVHUYRLUDUHDVVLJQHG0DQQLQJ¶VQ 
x   &KDQQHOV8SVWUHDPRI%DUNHU'DP =RQH% 
    x    8SSHU%XIIDOR%D\RXLVDVVLJQHG0DQQLQJ¶VQ 
    x    :LOORZ)RUN'LYHUVLRQ&KDQQHOLVDVVLJQHG0DQQLQJ¶VQ 
    x    0DVRQ&UHHNLVDVVLJQHG0DQQLQJ¶VQ 
    x    7ULEXWDU\LVDVVLJQHG0DQQLQJ¶VQ 
    x    &KDQQHOVLQVLGHUHVHUYRLUDUHDVVLJQHG0DQQLQJ¶VQ 
x   &KDQQHOV'RZQVWUHDPRIWKH'DPV =RQH& 
    x    /RZHU%XIIDOR%D\RXIORRGSODLQLVDVVLJQHG0DQQLQJ¶VQ XSWR%HOWZD\Q IURP
         %HOWZD\WR3LQH\3RLQWDQGQ IURP3LQH\3RLQWWR6KHSKHUG'U
    x    /RZHU%XIIDOR%D\RXFKDQQHOEHWZHHQ%DUNHUJDWHVDQG'DLU\$VKIRUG5RDGLVDVVLJQHG0DQQLQJ¶V
         Q 
    x    /RZHU%XIIDOR%D\RXFKDQQHOEHWZHHQ'DLU\$VKIRUG5RDGDQG%HOWZD\LVDVVLJQHG0DQQLQJ¶V
         Q 
    x    /RZHU%XIIDOR%D\RXFKDQQHOEHWZHHQ%HOWZD\DQG3LQH\3RLQW5RDGLVDVVLJQHG0DQQLQJ¶V
         Q 
    x    /RZHU%XIIDOR%D\RXFKDQQHOEHWZHHQ3LQH\3RLQW5RDGDQG6KHSKHUG'ULVDVVLJQHG0DQQLQJ¶V
         Q 
    x    /RZHU/DQJKDP&UHHN GRZQVWUHDPRI$GGLFNVJDWHV LVDVVLJQHG0DQQLQJ¶VQ 
    x    5XPPHO&UHHNFKDQQHOLVDVVLJQHG0DQQLQJ¶VQ 
    x    &ORGLQH'LWFKLVDVVLJQHG0DQQLQJ¶VQ  IORRGSODLQ DQGQ  FKDQQHO 

7KHFDOLEUDWHGPRGHO 5XQ'RU7KH$FWXDO+DUYH\5XQ SUHGLFWVSHDNZDWHUVXUIDFHHOHYDWLRQVDQGWKHLU
WLPLQJVZLWKLQWKH)RFXV$UHDZLWKDKLJKGHJUHHRIFHUWDLQW\'LIIHUHQFHVEHWZHHQPHDVXUHGJDJHKHLJKWV
DQGVLPXODWHGZDWHUVXUIDFHHOHYDWLRQVFDQEHVXPPDUL]HGDVIROORZV
x   7KHPRGHORYHUHVWLPDWHVSRROHOHYDWLRQVLQ$GGLFNVDQG%DUNHU5HVHUYRLUVEHWZHHQPLGGD\
    DQGPLGGD\
x   7KHPRGHOXQGHUHVWLPDWHVSRROHOHYDWLRQVLQ$GGLFNV5HVHUYRLUDIWHU
x   7KHPRGHORYHUHVWLPDWHVZDWHUVXUIDFHHOHYDWLRQVGRZQVWUHDPRIWKH%HOWZD\DIWHU
x   7KHPRGHOSUHGLFWVSHDNSRROHOHYDWLRQVLQERWKUHVHUYRLUVDERXWGD\HDUOLHUWKDQWKHWLPLQJRIWKHSHDN
    SRROHOHYDWLRQGHULYHGIURPWKHJDJHGDWD
x   7KHPRGHOSUHGLFWVWKHVWDUWRIWKHVSLOODURXQGWKHQRUWKHQGRI$GGLFNVUHVHUYRLUDERXWKRXUVHDUOLHU
    WKDQZKDWLVSHUFHLYHGE\JDJHGDWD+RZHYHUWKHPRGHOFRUUHFWO\HVWLPDWHVWKHGXUDWLRQRIWKHSHULRGRI
    VSLOODURXQGQRUWKHQGRI$GGLFNV
x   )RUDOOWKHVWUHDPVGUDLQLQJLQWRWKHUHVHUYRLUVWKHPRGHOGRHVQRWFDSWXUHWKHILUVWZDWHUVXUIDFHHOHYDWLRQ
    SHDNWKDWRFFXUUHGWKHPRUQLQJRI+RZHYHUWKHPRGHOFDSWXUHVDOOWKHRWKHUVXEVHTXHQW
    KLJKHUZDWHUVXUIDFHHOHYDWLRQSHDNV
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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7DEOH6XPPDU\RIGHWDLOHGFDOLEUDWLRQUXQV

     5XQ,'             9DULDWLRQWR5XQ,,                                                                     &10DS

                         5RXJKFKDQQHOVVFHQDULRGRZQVWUHDPRIWKHGDPV)ORRGSODLQVURXJKQHVVDV
     '                                                                                           
                         SHU,,

                         5RXJKFKDQQHOVVFHQDULRGRZQVWUHDPRIWKHGDPV)ORRGSODLQVURXJKQHVVDV
     '                                                                                           
                         SHU,,H[FHSWEHORZ3LQH\3RLQWZKHUHQ 

     '                &ORGLQH'LWFKQ  FKDQQHO DQG IORRGSODLQ                                   

                         &ORGLQH'LWFKQ  FKDQQHO DQG IORRGSODLQ 
     '                                                                                                           
                         :LQGIRUFLQJQRWLQFOXGHG

                         &ORGLQH'LWFKQ  FKDQQHO DQG IORRGSODLQ 
     '                                                                                                           
                         %XIIDOR%D\RXFKDQQHOIURP%DUNHUJDWHVWR'DLU\$VKIRUG5GQ 

     '                 &ORGLQH'LWFKQ  FKDQQHO DQG IORRGSODLQ                                   

                         5HILQHGPRGHOEDWK\PHWU\
     '                                                                                                           
                         &ORGLQH'LWFKQ  FKDQQHO DQG IORRGSODLQ 

7DEOH&DOFXODWHGFDOLEUDWLRQPHWULFVIRUWKH$FWXDO+DUYH\5XQ ' 

                                                                   506(                506(
     *DJH                                                                                         5          %LDV
                                                                   (OHYDWLRQ            'HSWK 

     =RQH$8SVWUHDPRI$GGLFNV'DP

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     +&)&'B+RUVHSHQ&N#7UDLOVLGH                                                            

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&UHHNEHGHOHYDWLRQWRPDWFKWKH/L'$5

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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6KHSKHUG'ULYHJDJH
  +LJK506(YDOXHVDUHGXHWRLQFRUUHFWFKDQQHOEDWK\PHWULHV UHIHUWR6HFWLRQ 


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       +LJK:DWHU0DUNV

)ROORZLQJ DQGGXULQJ WKH+DUYH\(YHQW+&)&'DQG86*6FROOHFWHGHOHYDWLRQVRIKLJKZDWHUPDUNV +:0 
DWYDULRXVORFDWLRQV/RFDWLRQVRIWKHVHKLJKZDWHUPDUNVZLWKLQWKH)RFXV$UHDDUHSUHVHQWHGLQ)LJXUH
DQG)LJXUHWRWDOLQJ+:0 E\+&)&'DQGE\86*6 +LJKZDWHUPDUNHOHYDWLRQVUHSUHVHQW
WKHKLJKHVWZDWHUVXUIDFHHOHYDWLRQUHDFKHGDWWKHLUUHVSHFWLYHORFDWLRQVVKRUWO\EHIRUHWKHGDWHWKH\ZHUH
VXUYH\HG

6RPHRIWKH86*6+:0VZHUHFROOHFWHGIURPEULGJHVDFURVVORZHU%XIIDOR%D\RX'XULQJWKH+DUYH\(YHQW
VRPHRIWKHEULGJHGHFNVZLWKLQWKH)RFXV$UHDZHUHRYHUWRSSHG$VVXFK+:0VDWEULGJHGHFNVPD\
XQGHUHVWLPDWHSHDNZDWHUVXUIDFHHOHYDWLRQV,QDGGLWLRQORFDWLRQVRI+:0VDWEULGJHGHFNVDORQJORZHU
%XIIDOR%D\RXDUHFRYHUHGE\JDJHGDWD7KHUHIRUHWKH+:0VZHUHILOWHUHGE\UHPRYLQJUHSHDWHGPDUNVDQG
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6LPXODWHGSHDNZDWHUVXUIDFHHOHYDWLRQVZHUHFRPSDUHGWRHOHYDWLRQVRIKLJKZDWHUPDUNVZLWKLQWKH)RFXV
$UHD)LJXUHDQG)LJXUHSUHVHQWGLVWULEXWLRQVRISHUFHQWHUURULQHVWLPDWHGSHDNZDWHUVXUIDFH
HOHYDWLRQVZLWKLQWKH)RFXV$UHDEDVHGRQ86*6DQG+&)&'+:0VUHVSHFWLYHO\7KHVHILJXUHVVKRZWKDW
WKHPRGHOHVWLPDWHVSHDNZDWHUVXUIDFHHOHYDWLRQVZLWKLQWKH)RFXV$UHDZLWKDKLJKGHJUHHRIFHUWDLQW\




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH0DSRI+LJK:DWHU0DUNVFROOHFWHGE\+&)&'




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH0DSRI+LJK:DWHU0DUNVFROOHFWHGE\86*6




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH'LVWULEXWLRQRIHUURULQVLPXODWHGSHDNZDWHUVXUIDFHHOHYDWLRQV 86*6+:0V 




)LJXUH'LVWULEXWLRQRIHUURULQVLPXODWHGSHDNZDWHUVXUIDFHHOHYDWLRQV 86*6+:0V 

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)RUWKHDVVHVVPHQWRIWKHDJUHHPHQWEHWZHHQWKHVLPXODWHGLQXQGDWLRQH[WHQWVDQGWKHREVHUYHGZDWHU
PDUNVIURPDHULDOLPDJHU\WKHSURFHGXUHSURSRVHGE\>@LVDGRSWHGZKHUHE\WKH)LQGH[LVGHILQHGDV
IROORZV

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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ZKHUH$WR'UHSUHVHQWWKHDUHDVSUHGLFWHGZHWRUGU\E\WKHPRGHODQGREVHUYHGLQWKHLPDJHU\GDWDDV
GHVFULEHGLQ7DEOH)UDQJHVIURP ZKHUHWKHUHLVQRRYHUODSEHWZHHQSUHGLFWHGDQGREVHUYHGZHW
DUHDV WR ZKHUHREVHUYHGDQGSUHGLFWHGZHWDUHDVFRLQFLGH $VVXFK)LQGH[UHSUHVHQWVWKHGHJUHH
RIDJUHHPHQWEHWZHHQREVHUYHGDQGSUHGLFWHGLQXQGDWLRQOLPLWVDVDSHUFHQWDJH

2EVHUYHGLQXQGDWLRQOLPLWVGHYHORSHGLQ6HFWLRQZHUHFRPSDUHGWRWKHPRGHOUHVXOWV7KH12$$PRVDLF
DHULDOSKRWRVGDWHGZHUHDFTXLUHGEHWZHHQDQG7KHUHIRUHLQXQGDWLRQGHSWKVDFURVV
WKHHQWLUHPRGHOGRPDLQZHUHH[WUDFWHGRQWKHQHDUHVWWLPHVWHS)LJXUH)LJXUHDQG)LJXUH
FRPSDUHEHWZHHQREVHUYHGDQGVLPXODWHGLQXQGDWLRQOLPLWVRQLQDUHDVXSVWUHDP$GGLFNV
5HVHUYRLUXSVWUHDP%DUNHU5HVHUYRLUDQGGRZQVWUHDPRIWKHGDPVUHVSHFWLYHO\7KHJUHHQDUHD $UHD$ 
UHSUHVHQWVDJUHHPHQWEHWZHHQREVHUYHGDQGVLPXODWHGOLPLWVZKLOH$UHDV% UHG DQG& EOXH LQGLFDWH
RYHUSUHGLFWLRQDQGXQGHUSUHGLFWLRQUHVSHFWLYHO\

7KH)LQGH[ZDVFDOFXODWHGIRUVHYHUDOSDUWVGRZQVWUHDPRIWKHGDPVDVIROORZV
x       EHORZWKHUHVHUYRLUVGRZQWR6KHSKHUG'U
x       EHORZWKHUHVHUYRLUGRZQWR%HOWZD\
x       EHORZ%HOWZD\GRZQWR6KHSKHUG'U

,WLVFRQFOXGHGWKDWWKHFDOLEUDWHGPRGHOHVWLPDWHVLQXQGDWLRQOLPLWVZLWKLQWKH)RFXV$UHDZLWKDKLJKGHJUHHRI
FHUWDLQW\

7DEOH3DUDPHWHUVXVHGWRFDOFXODWHWKHJRRGQHVVRIWKHILWEHWZHHQREVHUYHGDQGSUHGLFWHG
LQXQGDWLRQOLPLWV$DQG'UHSUHVHQWDUHDVSUHGLFWHGFRUUHFWO\

                                          0RGHO:HW                          0RGHO'U\

    ,PDJH:HW                             $                                  & XQGHUSUHGLFWLRQ 

    ,PDJH'U\                             % RYHUSUHGLFWLRQ                  '




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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)LJXUH&RPSDULVRQEHWZHHQVLPXODWHGDQGREVHUYHGLQXQGDWLRQOLPLWVXSVWUHDPRI$GGLFNV5HVHUYRLURQ




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)LJXUH&RPSDULVRQEHWZHHQVLPXODWHGDQGREVHUYHGLQXQGDWLRQOLPLWVXSVWUHDPRI%DUNHU5HVHUYRLURQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH&RPSDULVRQEHWZHHQVLPXODWHGDQGREVHUYHGLQXQGDWLRQOLPLWVGRZQVWUHDPRI$GGLFNVDQG%DUNHU5HVHUYRLUVRQ




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([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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        +\GUDXOLF0RGHOLQJRI3K\VLFDO6FHQDULRV
:HXVHGWKH7(/(0$&'WRDVVHVVIORRGLQJFKDUDFWHULVWLFVZLWKLQWKH)RFXV$UHDDVVRFLDWHGZLWKKLVWRULFDO
VWRUPV LQFOXGLQJWKH+DUYH\(YHQW XQGHUYDULRXVVFHQDULRV7KLVVHFWLRQSURYLGHVDGHVFULSWLRQRIWKHPRGHO
VFHQDULRVDQGSUHVHQWVUHVXOWVRIVLPXODWHGZDWHUVXUIDFHHOHYDWLRQVIRUHDFKVFHQDULRDWHDFK7HVW3URSHUW\

       0RGHO5HSUHVHQWDWLRQRI+LVWRULFDO&RQGLWLRQV

+LVWRULFDOODQGXVHFRYHULVXVHGWRUHSUHVHQWLQILOWUDWLRQDQGURXJKQHVVSDUDPHWHUVDVVRFLDWHGZLWKFKDQJLQJ
FRQGLWLRQVWKURXJKWLPH2QWKHRWKHUKDQGPRGHOWRSRJUDSK\LVXVHGWRUHSUHVHQWFKDQJHVWKURXJKWLPHWR
ED\RXVGDPVGLNHVSRQGVHWF7DEOHVXPPDUL]HVWKHGDWDXVHGWRGHULYHURXJKQHVVDQGLQILOWUDWLRQ
SDUDPHWHUVUHSUHVHQWLQJYDULRXVKLVWRULFDOODQGXVHV7KHWDEOHDOVRVXPPDUL]HVWKHVRXUFHRIWRSRJUDSKLF
LQIRUPDWLRQIRUWKHGLIIHUHQWPRGHOVFHQDULRV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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7DEOH6XPPDU\RISK\VLFDOSDUDPHWHUVRIKLVWRULFDOPRGHOUXQV

          /DQGXVH
  <HDU                     +\GURORJLF/RVVHV        5RXJKQHVV                                                   7RSRJUDSK\
          VRXUFH

                                                     0DQQLQJ¶VQEDVHGRQ
   >@                                         x    /DQGXVHIRUODQGDUHDV
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                                                     x    &DOLEUDWHGURXJKQHVVIRUDOOKLVWRULFVWUHDPVZLWKLQ
                           %DVHGRQ                     WKHGRPDLQ
                           x    $0&PDSSULRU       0DQQLQJ¶VQEDVHGRQ
          1/&'            WR+XUULFDQH        x    /DQGXVHIRUODQGDUHDV
                                                                                                             /L'$5>@
          >@                  +DUYH\(YHQW
                                                     x    &DOLEUDWHGURXJKQHVVIRUDOOKLVWRULFVWUHDPVZLWKLQ
                           x    +\GURORJLF6RLO          WKHGRPDLQ
                                *URXSVDV
          1/&'            GHILQHGLQ
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  WR                                                 0DQQLQJ¶VQEDVHGRQFDOLEUDWHGURXJKQHVV                  /L'$5>@DQG+&)&'VWUHDPVXUYH\V
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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           0RGHO6FHQDULRV

7DEOHSURYLGHVDGHVFULSWLRQRI+DUYH\UHODWHG7(/(0$&'PRGHOVFHQDULRV:HDQDO\]HGWKHIROORZLQJ
FRQGLWLRQV
x      $FWXDO+DUYH\5XQ5HSUHVHQWLQJDFWXDO+DUYH\(YHQWFRQGLWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKHGDPV
       GHYHORSHGLQ6HFWLRQ 
x      1R3URMHFW5XQ ,DQG,, 5HSUHVHQWLQJK\SRWKHWLFDOFRQGLWLRQVZLWKRXWWKHGDPVZLWKRXWFKDQQHO
       LPSURYHPHQWV 1R3URMHFW5XQ, DQGZLWKFKDQQHOLPSURYHPHQWV 1R3URMHFW5XQ,, 
x      *DWHV2SHQ5XQ5HSUHVHQWLQJDFWXDO+DUYH\(YHQWFRQGLWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKHGDPV
       XQGHUWKHK\SRWKHWLFDOVFHQDULRZKHUHJDWHVZHUHQHYHUFORVHGDQGPD[LPXPUHOHDVHVZHUHPDGH

,QDGGLWLRQWRPRGHOUXQVUHODWHGWRWKH+DUYH\(YHQW7DEOHSURYLGHVDGHVFULSWLRQRI7(/(0$&'PRGHO
UXQVVLPXODWLQJRWKHUKLVWRULFDOVWRUPVZLWKRXWWKHGDPVDQGZLWKRXWRWKHUIHGHUDOLPSURYHPHQWVRQ
*RYHUQPHQW2ZQHG/DQG *2/ 




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
    7KH*RYHUQPHQW2ZQHG/DQG *2/ EHKLQG$GGLFNVDQG%DUNHUGDPVLVGHILQHGE\>S86$&(@

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                           &RPPHUFLDOLQ&RQILGHQFH                        3DJH


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7DEOH+DUYH\UHODWHG7(/(0$&'PRGHOUXQV


  0RGHO5XQ              5HVHUYRLUDQG8SVWUHDP6WDWXV                                  'RZQVWUHDP6WDWXV                                           5HOHDVH


  $FWXDO+DUYH\          $FWXDO                                                         $FWXDO                                                      $FWXDO

                          3UHVHQWXUEDQL]HGFRQGLWLRQVZLWKRXWWKHGDPV                  3UHVHQWXUEDQL]HGFRQGLWLRQVZLWKRXWWKHIHGHUDO            1RWDSSOLFDEOH
                          DQGZLWKRXWWKHIHGHUDOLPSURYHPHQWVRQ*2/                    LPSURYHPHQWV
                           HUDFRQGLWLRQVRQ*2/DQGSUHVHQW                        x    7RSRJUDSK\DVSHUWKH$FWXDO+DUYH\5XQZLWK
                          FRQGLWLRQVRQSULYDWHODQG                                         WKHIROORZLQJFKDQJHV
                          x    7RSRJUDSK\DVSHUWKH$FWXDO+DUYH\5XQ                        x       /RZHU/DQJKDP&UHHNDQG7XUNH\&UHHN
                               ZLWKRXWIHGHUDOLPSURYHPHQWVRQIHGHUDO                                FRQQHFWHGWRWKHXSSHU&UHHNVDQG:
  1R3URMHFW,                SURSHUW\DQGZLWKRXWWKHGDPV                                          FRQQHFWHGWRXSSHU%XIIDOR%D\RX
                          x    &KDQQHOURXJKQHVVDVSHUWKH$FWXDO+DUYH\                     x       5HFWLILHGVHFWLRQRIORZHU%XIIDOR%D\RX
                               5XQ                                                                     UHPRYHGDQGWKHVHUDXQUHFWLILHGORZHU
                          x    /DQGXVHDVSHUWKH$FWXDO+DUYH\5XQ                                 %XIIDOR%D\RXLQWURGXFHG 
                                                                                          x    &KDQQHOURXJKQHVVDVSHUWKH$FWXDO+DUYH\5XQ
                                                                                          x    /DQGXVHDVSHUWKH$FWXDO+DUYH\5XQ
                          3UHVHQWXUEDQL]HGFRQGLWLRQVLQFOXGLQJIHGHUDO                 $FWXDO XUEDQL]HG                                            1RWDSSOLFDEOH
                          FKDQQHOLPSURYHPHQWVZLWKRXWWKHGDPV                          x    7RSRJUDSK\DVSHU$FWXDO+DUYH\5XQZLWKORZHU
                          x    7RSRJUDSK\DVSHU$FWXDO+DUYH\5XQZLWKRXW                    /DQJKDP&UHHNDQG7XUNH\&UHHNFRQQHFWHGWR
  1R3URMHFW,,               WKHGDPV                                                       WKHXSSHU&UHHNVDQG: FRQQHFWHGWR
                          x    &KDQQHOURXJKQHVVDVSHU$FWXDO+DUYH\5XQ                    XSSHU%XIIDOR%D\RX
                          x    /DQGXVHDVSHU$FWXDO+DUYH\5XQ                         x    &KDQQHOURXJKQHVVDVSHU$FWXDO+DUYH\5XQ
                                                                                          x    /DQGXVHDVSHU$FWXDO+DUYH\5XQ
                          $VSHUWKH$FWXDO+DUYH\5XQ                                   $VSHUWKH$FWXDO+DUYH\5XQ                                8QJDWHG
  *DWHV2SHQ                                                                                                                                          FRQGXLWV
                                                                                                                                                        PD[LPXP
SUHSDUHGEDVHGRQ$GGLFNVDQG%DUNHU&RQVWUXFWLRQ'UDZLQJV>S86$&(@DQG>S86$&(@
 $OVRNQRZQDV³&ORGLQH'LWFK´


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                         3DJH




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7DEOH7(/(0$&'PRGHOUXQVIRURWKHUVWRUPV

  <HDURI
                     5HVHUYRLUDQG8SVWUHDP6WDWXV                                            'RZQVWUHDP6WDWXV
  6WRUP

                     8UEDQL]HGFRQGLWLRQVDVSHUZLWKRXWWKHGDPVDQGWKH                8UEDQL]HGFRQGLWLRQVDVSHUZLWKRXWWKHIHGHUDO
                     IHGHUDOLPSURYHPHQWVRQ*2/ HUDFRQGLWLRQVRQ*2/                  LPSURYHPHQWV
                     DQGFRQGLWLRQVRQSULYDWHODQG                                     x     7RSRJUDSK\DVSHU/L'$5ZLWKWKHXQUHFWLILHGORZHU
   -XQ
                     x   7RSRJUDSK\DVSHU/L'$5VXUYH\ZLWKRXWGDPVDQGDOO                   %XIIDOR%D\RXDQGZLWKORZHU/DQJKDPDQG7XUNH\&UHHNV
  76$OOLVRQ 
                         RWKHUIHGHUDOLPSURYHPHQWV                                                 FRQQHFWHGWRWKHXSSHU&UHHNV
                     x   &KDQQHOURXJKQHVVDVSHU$FWXDO+DUYH\5XQ                           x     &KDQQHOURXJKQHVVDVSHU$FWXDO+DUYH\5XQ
                     x   /DQGXVHDVSHU1/&'                                             x     /DQGXVHDVSHU1/&'
                     3UHVHQWXUEDQL]HGFRQGLWLRQVZLWKRXWWKHGDPVDQGWKHIHGHUDO
                     LPSURYHPHQWVRQ*2/ HUDFRQGLWLRQVRQ*2/DQG                      3UHVHQWXUEDQL]HGFRQGLWLRQVZLWKRXWWKHIHGHUDOLPSURYHPHQWV
   $SU        SUHVHQWFRQGLWLRQVRQSULYDWHODQG                                      x     7RSRJUDSK\DVSHU1R3URMHFW5XQ,
  7D['D\           x   7RSRJUDSK\DVSHU1R3URMHFW5XQ,                                   x     &KDQQHOURXJKQHVVDVSHUWKH$FWXDO+DUYH\5XQ
                     x   &KDQQHOURXJKQHVVDVSHUWKH$FWXDO+DUYH\5XQ                       x     /DQGXVHDVSHUWKH$FWXDO+DUYH\5XQ
                     x   /DQGXVHDVSHUWKH$FWXDO+DUYH\5XQ
                     8UEDQL]HGFRQGLWLRQVDVSHUZLWKRXWWKHGDPVDQGWKH
                                                                                               8UEDQL]HGFRQGLWLRQVDVSHUZLWKRXWWKH)HGHUDO
                     )HGHUDOLPSURYHPHQWVRQ*2/ HUDFRQGLWLRQVRQ*2/
                                                                                               LPSURYHPHQWV
                     DQGFRQGLWLRQVRQSULYDWHODQG 
   2FW                                                                                   x     7RSRJUDSK\DVSHU6WRUP5XQ
                     x   7RSRJUDSK\DVSHU6WRUP5XQ
                                                                                               x     &KDQQHOURXJKQHVVDVSHUWKH$FWXDO+DUYH\5XQ
                     x   &KDQQHOURXJKQHVVDVSHUWKH$FWXDO+DUYH\5XQ
                                                                                               x     /DQGXVHDVSHU1/&'
                     x   /DQGXVHDVSHU1/&'
   0D\         $VSHU6WRUP5XQ                                                    $VSHU6WRUP5XQ

   0DU         $VSHU6WRUP5XQ                                                    $VSHU6WRUP5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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  <HDURI
                     5HVHUYRLUDQG8SVWUHDP6WDWXV                                            'RZQVWUHDP6WDWXV
  6WRUP

                     8UEDQL]HGFRQGLWLRQVDVSHUZLWKRXWWKHGDPVDQGWKH
                                                                                               8UEDQL]HGFRQGLWLRQVDVSHUZLWKRXWWKH)HGHUDO
                     )HGHUDOLPSURYHPHQWVRQ*2/ HUDFRQGLWLRQVRQ*2/
                                                                                               LPSURYHPHQWV
                     DQGFRQGLWLRQVRQSULYDWHODQG 
   -XQ                                                                                   x     7RSRJUDSK\DVSHU6WRUP5XQ
                     x   7RSRJUDSK\DVSHU6WRUP5XQ
                                                                                               x     &KDQQHOURXJKQHVVDVSHUWKH$FWXDO+DUYH\5XQ
                     x   &KDQQHOURXJKQHVVDVSHUWKH$FWXDO+DUYH\5XQ
                                                                                               x     /DQGXVHDVSHU
                     x   /DQGXVHDVSHU




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                                                       3DJH




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       0RGHO5HVXOWV

     $FWXDO+DUYH\5XQ

7KH$FWXDO+DUYH\5XQUHSUHVHQWVWKHDFWXDO+DUYH\(YHQW7KHFDOLEUDWHGPRGHOSUHGLFWVSHDNZDWHUVXUIDFH
HOHYDWLRQVDQGWKHLUWLPLQJVZLWKLQWKH)RFXV$UHDZLWKDKLJKGHJUHHRIFHUWDLQW\DVGHPRQVWUDWHGLQ6HFWLRQV
DQG&RPSDULVRQEHWZHHQVLPXODWHGDQGPHDVXUHGZDWHUVXUIDFHHOHYDWLRQVDUHSUHVHQWHGLQ)LJXUH
WR)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWGRZQVWUHDP7HVW3URSHUWLHVDUHSUHVHQWHGLQ)LJXUH
WR)LJXUH7DEOHDQG7DEOHSUHVHQWVXPPDULHVRIWKH$FWXDO+DUYH\5XQPRGHOUHVXOWVIRU
XSVWUHDPDQGGRZQVWUHDP7HVW3ODLQWLIIVUHVSHFWLYHO\

2XUDQDO\VLVVKRZVWKDWWKHIHGHUDOSURMHFW $GGLFNVDQG%DUNHU5HVHUYRLUV DOORZVIRUWKHGLVWULEXWLRQRI
IORRGLQJLPSDFWVDFURVVDZLGHDUHDWRPLQLPL]HWKHFKDQFHRIOLIHWKUHDWHQLQJFRQGLWLRQVLQDQ\RQHDUHD




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                               &RPPHUFLDOLQ&RQILGHQFH                            3DJH


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7DEOH6XPPDU\RIWKH$FWXDO+DUYH\5XQ5HVXOWVDW8SVWUHDP7HVW3ODLQWLIIV

                                                                                 (OHYDWLRQV IW1$9'                                 0D['HSWK
                                                                                                                                                         )ORRGLQJGXUDWLRQ
                                                        /RZHVW         *DUDJH          /RZHVW            )LUVW               2WKHU       DERYH)LUVW
  3ODLQWLII                                                                                                                                              LQ)LUVW)LQLVKHG
                                                        *UDGH                        $GMDFHQW         )LQLVKHG             )LQLVKHG   )LQLVKHG)ORRU
                                                                                                                                                                )ORRU
                                                                                       *UDGH            )ORRU                )ORRU          IW 

  /DNHVRQ(OGULGJH                                                                                                               GD\KU

  :LQG.XUW -HDQ                                                                                                      GD\KU

  0LWFKHOO6WHZDUW                                                                                                           GD\KU

  :HVW+RXVWRQ$LUSRUW&RUS                                                                                                       GD\KU

  0LWFKHOO0DULR                                                                                                            GD\KU

  %XUQKDP(OL]DEHWK                                                                                                         GD\KU

  6LGKX.XOZDQW                                                                                                             GD\KU

  7XUQH\5REHUW                                                                                                             GD\KU

  +ROODQG6FRWW                                                                                                             GD\KU

  3RSRYLFL&DWKHULQH                                                                                                         GD\KU

  6RDUHV(OLVLR                                                                                                              GD\KU

  0LFX&KULVWLQD                                                                                                                GD\KU

  *LURQ-XDQ $QQ                                                                                                       GD\KU

  %DQNHU7RGG &KULVWLQD                                                                                                      GD\KU
7KLVSURSHUW\GLGQRWDFWXDOO\IORRGDERYH))(7KHPRGHORYHUHVWLPDWHVWKHZDWHUVXUIDFHHOHYDWLRQVDWWKLVSURSHUW\




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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7DEOH6XPPDU\RIWKH$FWXDO+DUYH\5XQ5HVXOWVDW'RZQVWUHDP7HVW3ODLQWLIIV

                                                                       (OHYDWLRQV IW1$9'                        0D['HSWK
                                                                                                                                      )ORRGLQJGXUDWLRQ
                                                 /RZHVW       *DUDJH        /RZHVW         )LUVW       2WKHU       DERYH)LUVW
  3ODLQWLII                                                                                                                           LQ)LUVW)LQLVKHG
                                                 *UDGH                      $GMDFHQW       )LQLVKHG     )LQLVKHG   )LQLVKHG)ORRU
                                                                                                                                             )ORRU
                                                                              *UDGH          )ORRU        )ORRU          IW 

  $OGUHG9DO                                                                                                 GD\KU

  *RRG5HVRXUFHV//&                                                                                         GD\KU

  0HPRULDO60&,QYHVWPHQW/3                                                                          GD\KU

  0LOWRQ$UQROG 9LUJLQLD                                                                               GD\KU

  6KLSRV-HQQLIHU                                                                                            GD\KU

  +ROOLV:D\QH 3HJJ\                                                                                       GD\KU

  6LOYHUPDQ3HWHU =KHQQLD                                                                                   GD\KU

  *RGHMRUG$UQVWHLQ ,QJD                                                                                   GD\KU

  &XWWV3DXO 'DQD                                                                                          GD\KU

  +R%HFN\ QRORQJHUD7HVW3ODLQWLII                                                                                             

  %H\RJOX*RNKDQ -DQD                                                                                      GD\KU

  $]DU3KLOOLS                                                                                              GD\KU

  6WDKO7LPRWK\                                                                                           GD\KU

  :HOOLQJ6KDZQ                                                                                           GD\KU




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                        &RPPHUFLDOLQ&RQILGHQFH                                                3DJH




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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHXSVWUHDPRIWKH$GGLFNVJDWHV $GGLFNVUHVHUYRLU
SRROHOHYDWLRQV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




                                                                                                                                            A1331
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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQXSSHU/DQJKDP&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 889 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQXSSHU/DQJKDP&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 890 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW+&)&'*DJH8BRQ+RUVHSHQ&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQ%HDU&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 892 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQ6RXWK0D\GH&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 893 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHXSVWUHDPRI%DUNHUJDWHV %DUNHUUHVHUYRLUSRRO
HOHYDWLRQV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 894 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQXSSHU%XIIDOR%D\RX




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW+&)&'*DJH7BRQ0DVRQ&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 896 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQ/RZHU/DQJKDP&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




                                                                                                                                            A1340
         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 897 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQORZHU%XIIDOR%D\RXDW+LJKZD\




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 898 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQORZHU%XIIDOR%D\RXDW'DLU\$VKIRUG5RDG




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 899 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQORZHU%XIIDOR%D\RXDW%HOWZD\




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 900 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW+&)&'*DJH:BRQ5XPPHO&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 901 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQORZHU%XIIDOR%D\RXDW63LQH\3RLQW5RDG




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 902 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW+&)&'*DJH:BRQORZHU%XIIDOR%D\RXDW6DQ)HOLSH6W




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 903 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQORZHU%XIIDOR%D\RXDW6KHSKHUG'ULYH JDJH
PHDVXUHPHQWVDUHXQUHOLDEOHEHIRUH 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQ:KLWH2DNV%D\RXDWWKHFRQIOXHQFHZLWKORZHU
%XIIDOR%D\RX JDJHLVORFDWHGRXWVLGHWKH)RFXV$UHD 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI$OGUHG9DO /LQGD $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                           ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                                                      3DJH




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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI*RRG5HVRXUFHV//& $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                           ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                                                      3DJH




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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0HPRULDO60&,QYHVWPHQW/3 $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                           ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                                                            IW                        SOXVIHHW


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LOWRQ$UQROG 9LUJLQLD $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                           ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                                                            IW                        IWWRIWLQ


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6KLSRV-HQQLIHU $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                           ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+ROOLV:D\QH 3HJJ\ $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                           ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6LOYHUPDQ3HWHU =KHQQLD $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                           ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                                                                                    RQ


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI*RGHMRUG$UQHVWLHQ ,QJD $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                           ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI&XWWV3DXO 'DQD $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH              6XUYH\HG+:0(OHYDWLRQ               6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                      >@ IW1$9'                 ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+R%HFN\ $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                           ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%H\RJOX*RNKDQ -DQD $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                           ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23             Page 916 of 1584




)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI$]DU3KLOLS $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                           ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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))(DWWKLV7HVW3URSHUW\LVORZHUWKDQWKHJURXQGHOHYDWLRQ%HFDXVHRXUPRGHOVLPXODWHVVXUIDFHZDWHUIORZVVLPXODWHGIORRGGXUDWLRQDWWKLV7HVW
3URSHUW\LVRQO\IRUWZRYHU\EULHISHULRGVRIWLPHZKHQVLPXODWHG:6(ZDVDERYHWKHJURXQGHOHYDWLRQ
)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6WDKO7LPRWK\ $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                           ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI:HOOLQJ6KDZQ $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW          6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                          ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         1R3URMHFW,5XQ

7KH1R3URMHFW,5XQVLPXODWHVWKH+DUYH\(YHQWXQGHUWKHDVVXPSWLRQWKDWWKHIHGHUDOSURMHFWRQ
*RYHUQPHQW2ZQHG/DQGLVQRWLQSODFH7RSUHSDUHWKHWRSRJUDSK\IRUWKLVUXQWKHIROORZLQJFKDQJHVWRWKH
$FWXDO+DUYH\5XQWRSRJUDSK\ZHUHPDGH
x     $GGLFNVDQG%DUNHU'DPVZHUHUHPRYHG
x     %RUURZDUHDVLQVLGHWKHUHVHUYRLUVZHUHILOOHGWRQDWXUDOHOHYDWLRQV
x     &KDQQHOVRQ*2/ZHUHILOOHGWRQDWXUDOHOHYDWLRQVZLWKLQWKH*2/
x     7KHUHFWLILHGVHFWLRQVRIORZHU%XIIDOR%D\RXDQGORZHU/DQJKDP&UHHNEHORZWKHGDPVZHUHILOOHGWR
      QDWXUDOHOHYDWLRQV
x     7KHVHUDXQUHFWLILHGFRQGLWLRQVIRUORZHU%XIIDOR%D\RXDQGORZHU/DQJKDP&UHHNZHUHUH
      LQWURGXFHG
x     8SSHUWULEXWDULHVZHUHFRQQHFWHGWRORZHUWULEXWDULHVUHSUHVHQWLQJFRQGLWLRQVSULRUWRWKHFRQVWUXFWLRQRIWKH
      GDPVDQGUHVHUYRLUV

5RXJKQHVVDQGK\GURORJLFORVVSDUDPHWHUV GHULYHGIURPODQGXVH ZHUHFRSLHGIURPWKH$FWXDO+DUYH\5XQ
7DEOHDQG7DEOHSUHVHQWVXPPDULHVRIWKH1R3URMHFW5XQUHVXOWVH[WUDFWHGDWXSVWUHDPDQG
GRZQVWUHDP7HVW3ODLQWLIIVUHVSHFWLYHO\)LJXUHWR)LJXUHVKRZVLPXODWHGIUHHZDWHUVXUIDFH
HOHYDWLRQVDWWKH7HVW3URSHUWLHVFRPSDULQJWKH1R3URMHFW,5XQDQGWKH$FWXDO+DUYH\5XQ7KHVHILJXUHV
SURYLGHDPHDVXUHRIWKHEHQHILWRIWKHIHGHUDOSURMHFWRQIORRGOHYHOV'RZQVWUHDPRIWKHGDPV )LJXUH
WR)LJXUH WKHLQFUHDVHLQVLPXODWHGZDWHUVXUIDFHHOHYDWLRQVIRUWKH1R3URMHFW5XQ FRPSDUHGWRWKH
$FWXDO+DUYH\5XQ DWGRZQVWUHDP7HVW3URSHUWLHVLVDVKLJKDVIHHW,QDGGLWLRQZDWHUGHSWKDERYHILUVW
ILQLVKHGIORRUHOHYDWLRQVGRZQVWUHDPRIWKHGDPVUHDFKHGPRUHWKDQWRIHHWXQGHUWKH1R3URMHFW,5XQ
ZKLFKLVVXEVWDQWLDOO\KLJKHUWKDQGHSWKVH[SHULHQFHGGXULQJWKH+DUYH\(YHQW7KHVHUHVXOWVVKRZWKDWWKH
IHGHUDOSURMHFWKDVGLVWULEXWHGWKHIORRGLQJDFURVVWKHXSVWUHDPDQGGRZQVWUHDPDUHDVWRDFKLHYHOHVVVHYHUH
FRQGLWLRQVUHGXFLQJULVNWROLIHDQGSURSHUW\'RZQVWUHDPRIWKHGDPVWKHIHGHUDOSURMHFW SDUWLFXODUO\WKH
$GGLFNVDQG%DUNHU'DPV KDYHGLVWULEXWHGWKHDPRXQWRIIORRGZDWHUSURGXFHGRYHUWKHIHZGD\VGXUDWLRQRI
WKH+DUYH\(YHQWRYHUDPXFKORQJHUSHULRG IHZZHHNV ZKLFKKDVHIIHFWLYHO\DQGVLJQLILFDQWO\UHGXFHGWKH
GHSWKRIIORRGZDWHUVLQWKHGRZQVWUHDPDUHDV

$WDEXODUFRPSDULVRQRIWKH$FWXDO+DUYH\5XQDQGWKH1R3URMHFW,5XQLVSUHVHQWHGLQ7DEOH




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  %RUURZDUHDVDUHWKRVHZKHUHPDWHULDODUHGXJIRUXVHDWDQRWKHUORFDWLRQ
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  ,QFOXGLQJWKH$GGLFNVDQG%DUNHUGDPSURMHFWWKHORZHU%XIIDOR%D\RXUHFWLILFDWLRQSURMHFWDQGDOORWKHUIHGHUDODSSURYHGFKDQQHO
LPSURYHPHQWV

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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7DEOH6XPPDU\RIWKH1R3URMHFW,5XQ5HVXOWVDW8SVWUHDP7HVW3ODLQWLIIV

                                                                      (OHYDWLRQV IW1$9' 
                                                                                                                    0D['HSWKDERYH       )ORRGLQJ
  3ODLQWLII                                      /RZHVW        *DUDJH         /RZHVW           )LUVW     2WKHU      )LUVW)LQLVKHG   GXUDWLRQLQ)LUVW
                                                  *UDGH                      $GMDFHQW        )LQLVKHG   )LQLVKHG       )ORRU IW      )LQLVKHG)ORRU
                                                                               *UDGH           )ORRU      )ORRU

  0LWFKHOO0DULR                                                                                         GD\KU

  %XUQKDP(OL]DEHWK                                                                                       GD\KU

  0LFX&KULVWLQD                                                                                             GD\KU

  *LURQ-XDQ $QQ                                                                                    GD\KU

                                    Other Upstream Test Plaintiffs do not experience flooding under the No Project I Run.




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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7DEOH6XPPDU\RIWKH1R3URMHFW,5XQ5HVXOWVDW'RZQVWUHDP7HVW3ODLQWLIIV

                                                                                   (OHYDWLRQV IW1$9'                     0D['HSWK        )ORRGLQJ
                                                         /RZHVW          *DUDJH           /RZHVW        )LUVW     2WKHU     DERYH)LUVW      GXUDWLRQ
  3ODLQWLII
                                                         *UDGH                            $GMDFHQW      )LQLVKHG   )LQLVKHG    )LQLVKHG        DERYH)LUVW
                                                                                            *UDGH         )ORRU      )ORRU     )ORRU IW    )LQLVKHG)ORRU

  $OGUHG9DO /LQGD                                                                                                GD\KU

  *RRG5HVRXUFHV//&                                                                                               GD\KU

  0HPRULDO60&,QYHVWPHQW/3                                                                                GD\KU

  0LOWRQ$UQROG 9LUJLQLD                                                                                     GD\KU

  6KLSRV-HQQLIHU                                                                                                   GD\KU

  +ROOLV:D\QH 3HJJ\                                                                                             GD\KU

  6LOYHUPDQ3HWHU =KHQQLD                                                                                        GD\KU

  *RGHMRUG$UQHVWHLQ ,QJD                                                                                       GD\KU

  &XWWV3DXO 'DQD                                                                                                 GD\KU

  +R%HFN\ QRORQJHUD7HVW3ODLQWLII                                                                                                   

  %H\RJOX*RNKDQ -DQD                                                                                            GD\KU

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  6WDKO7LPRWK\                                                                                                 GD\KU

  :HOOLQJ6KDZQ                                                                                                 GD\KU
1RWVXUYH\HGEDVHGRQ'(0




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([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHXSVWUHDPSURSHUW\RI0LWFKHOO0DULR $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHXSVWUHDPSURSHUW\RI%XUQKDP(OL]DEHWK $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                                 3DJH




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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 924 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHXSVWUHDPSURSHUW\RI0LFX&KULVWLQD $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 925 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHXSVWUHDPSURSHUW\RI*LURQ-XDQ $QQ $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 926 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI$OGUHG9DO /LQGD $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 927 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI*RRG5HVRXUFHV//& $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 928 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0HPRULDO60&,QYHVWPHQW/3 $FWXDO+DUYH\5XQDQG1R3URMHFW,
5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 929 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LOWRQ$UQROG 9LUJLQLD $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 930 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6KLSRV-HQQLIHU $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 931 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+ROOLV:D\QH 3HJJ\ $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 932 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6LOYHUPDQ3HWHU =KHQQLD $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 933 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI*RGHMRUG$UQVWHLQ ,QJD $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 934 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI&XWWV3DXO 'DQD $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 935 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+R%HFN\ $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%H\RJOX*RNKDQ -DQD $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI$]DU3KLOOLS $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 938 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6WDKO7LPRWK\ $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 939 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI:HOOLQJ6KDZQ $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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     1R3URMHFW,,5XQ

7KH1R3URMHFW,,5XQSUHVHQWVDVFHQDULRZLWKRXWWKH$GGLFNVDQG%DUNHU'DPVEXWDVVXPLQJSUHVHQWGD\
WRSRJUDSK\DQGODQGXVH7RSUHSDUHWKLVDQDO\VLVZHUHPRYHGWKH$GGLFNVDQG%DUNHU'DPVIURPWKH$FWXDO
+DUYH\5XQDQGFRQQHFWHGWKHXSSHUWULEXWDULHVWRWKHORZHUWULEXWDULHV LHFRQQHFWLQJWKRVHWULEXWDULHVWKDW
ZHUHFXWRIIE\WKHFRQVWUXFWLRQRIWKHUHVHUYRLUVDQGGDPV 7KH1R3URMHFW,,5XQLQFOXGHVWKHUHFWLILHG
VHFWLRQWRORZHU%XIIDOR%D\RXGRZQWR%HOWZD\7DEOHSUHVHQWVDVXPPDU\RIWKHUHVXOWVDWGRZQVWUHDP
7HVW3ODLQWLIIV¶ORFDWLRQVIRUWKH1R3URMHFW,,5XQ

2XUDQDO\VLVVKRZVWKDWWKHGXUDWLRQRIIORRGLQJXQGHUWKH1R3URMHFW,,5XQLVXSWRGD\VOHVVWKDQWKH
GXUDWLRQRIIORRGLQJXQGHUWKH1R3URMHFW,5XQ7KLVUHGXFHGIORRGGXUDWLRQLVGXHWRWKHUHFWLILFDWLRQRIWKH
ORZHU%XIIDOR%D\RXZKLFKLQFUHDVHVFRQYH\DQFHFDSDFLW\DQGWKHUHE\UHGXFHVWKHGXUDWLRQRIIORRGLQJRQWKH
IORRGSODLQ

$WDEXODUFRPSDULVRQRIWKH1R3URMHFW5XQV,DQG,,LVSUHVHQWHGLQLQ7DEOH




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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7DEOH6XPPDU\RIWKH1R3URMHFW,,5XQ5HVXOWVDW'RZQVWUHDP7HVW3ODLQWLIIV

                                                                     (OHYDWLRQV IW1$9' 
                                                                                                                      0D['HSWKDERYH   )ORRGLQJGXUDWLRQ
  3ODLQWLII                                       /RZHVW        *DUDJH          /RZHVW          )LUVW      2WKHU      )LUVW)LQLVKHG       DERYH)LUVW
                                                   *UDGH                       $GMDFHQW       )LQLVKHG    )LQLVKHG       )ORRU IW       )LQLVKHG)ORRU
                                                                                 *UDGH          )ORRU       )ORRU

  $OGUHG9DO                                                                                                    GD\KU

  *RRG5HVRXUFHV//&                                                                                           GD\KU

  0HPRULDO60&,QYHVWPHQW/3                                                                            GD\KU

  0LOWRQ$UQROG 9LUJLQLD                                                                                  GD\KU

  6KLSRV-HQQLIHU                                                                                               GD\KU

  +ROOLV:D\QH 3HJJ\                                                                                         GD\KU

  6LOYHUPDQ3HWHU =KHQQLD                                                                                     GD\KU

  *RGHMRUG$UQVWHLQ ,QJD                                                                                      GD\KU

  &XWWV3DXO 'DQD                                                                                             GD\KU

  +R%HFN\ QRORQJHUD7HVW3ODLQWLII                                                                                                    

  %H\RJOX*RNKDQ -DQD                                                                                        GD\KU

  $]DU3KLOOLS                                                                                                 GD\KU

  6WDKO7LPRWK\                                                                                             GD\KU

  :HOOLQJ6KDZQ                                                                                             GD\KU




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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     *DWHV2SHQ5XQ

7KH*DWHV2SHQ5XQVLPXODWHVWKH+DUYH\(YHQWXQGHUWKHDVVXPSWLRQRIXQFRQWUROOHGUHOHDVH PD[LPXP
UHOHDVH IURPWKHGDPV$VVXFKWKLVUXQLVLGHQWLFDOWRWKH$FWXDO+DUYH\5XQH[FHSWWKDWJDWHKHLJKW
RSHQLQJVZHUHPD[LPL]HGIRUERWKGDPV IWLQ$GGLFNVDQGIWLQ%DUNHU 7DEOHSUHVHQWVDVXPPDU\RI
WKH*DWHV&ORVHG5XQUHVXOWVDWWKHGRZQVWUHDP7HVW3ODLQWLIIV¶ORFDWLRQV

'RZQVWUHDPRIWKHUHVHUYRLUVWKHVLPXODWHGZDWHUVXUIDFHHOHYDWLRQV DQGGHSWKRIIORRGZDWHUDERYHWKHILUVW
ILQLVKHGIORRU XQGHUWKHXQFRQWUROOHGUHOHDVHV JDWHVIXOO\RSHQ VFHQDULRDUHWRIWKLJKHUWKDQWKHDFWXDO
FRQWUROOHGUHOHDVH+DUYH\VFHQDULR,QDGGLWLRQVLPXODWHGIORRGLQJGXUDWLRQVXQGHUWKHK\SRWKHWLFDOXQJDWHG
FRQGXLWVVFHQDULRDUHORQJHUWKDQWKRVHHVWLPDWHGIRUWKH$FWXDO+DUYH\5XQGRZQVWUHDPRIWKHGDPV7KH
JDWHGFRQGXLWVDW$GGLFNVDQG%DUNHU'DPVHIIHFWLYHO\UHGXFHGIORRGLQJLPSDFWVGRZQVWUHDPRIWKHGDPV
GXULQJWKH+DUYH\(YHQW

$WDEXODUFRPSDULVRQRIWKH$FWXDO+DUYH\5XQDQGWKH*DWHV2SHQ5XQLVSUHVHQWHGLQ7DEOH




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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7DEOH6XPPDU\RIWKH*DWHV2SHQ5XQ5HVXOWVDW'RZQVWUHDP7HVW3ODLQWLIIV

                                                                          (OHYDWLRQV IW1$9' 
                                                                                                                           0D[LPXP'HSWK        )ORRGGXUDWLRQ
  3ODLQWLII                                       /RZHVW         *DUDJH          /RZHVW           )LUVW        2WKHU        DERYH)LUVW          DERYH)LUVW
                                                   *UDGH                        $GMDFHQW        )LQLVKHG      )LQLVKHG   )LQLVKHG)ORRU IW    )LQLVKHG)ORRU
                                                                                  *UDGH           )ORRU         )ORRU

  $OGUHG9DO                                                                                                          GD\KU

  *RRG5HVRXUFHV//&                                                                                                  GD\KU

  0HPRULDO60&,QYHVWPHQW/3                                                                                   GD\KU

  0LOWRQ$UQROG 9LUJLQLD                                                                                         GD\KU

  6KLSRV-HQQLIHU                                                                                                     GD\KU

  +ROOLV:D\QH 3HJJ\                                                                                                GD\KU

  6LOYHUPDQ3HWHU =KHQQLD                                                                                           GD\KU

  *RGHMRUG$UQVWHLQ ,QJD                                                                                            GD\KU

  &XWWV3DXO 'DQD                                                                                                   GD\KU

  +R%HFN\ QRORQJHUD7HVW3ODLQWLII                                                                                                          

  %H\RJOX*RNKDQ -DQD                                                                                               GD\KU

  $]DU3KLOOLS                                                                                                       GD\KU

  6WDKO7LPRWK\                                                                                                     GD\KU

  :HOOLQJ6KDZQ                                                                                                    GD\KU




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                    3DJH




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     +DUYH\5HODWHG0RGHO5HVXOWV6XPPDU\

7DEOHVXPPDUL]HVUHVXOWVRI+DUYH\UHODWHGUXQVIRUWKHGRZQVWUHDP7HVW3ODLQWLIIV0D[LPXPLQXQGDWLRQ
GHSWKVDUHFDOFXODWHGDVWKHGLIIHUHQFHEHWZHHQWKHPD[LPXPVLPXODWHGZDWHUVXUIDFHHOHYDWLRQDQGWKH
HOHYDWLRQRIWKHILUVWILQLVKHGIORRUDWHDFK7HVW3ODLQWLII7KHGXUDWLRQRIIORRGLQJDERYHWKHILUVWILQLVKHGIORRU
VKRZQLQWKHWDEOHLVWKHWRWDOGXUDWLRQIURPWKHVWDUWRIWKHILUVWIORRGLQJSHULRGWRWKHHQGRIWKHODVWIORRGLQJ
SHULRG




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                               &RPPHUFLDOLQ&RQILGHQFH                                 3DJH


                                                                                                                          A1388
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7DEOH6XPPDU\RI+DUYH\UHODWHGUXQUHVXOWVIRU'RZQVWUHDP7HVW3ODLQWLIIV

                                                  0D[LPXPGHSWKRILQXQGDWLRQDERYH))( IW                               'XUDWLRQ KU 
  3ODLQWLII                                     $FWXDO                          1R3URMHFW           *DWHV   $FWXDO   1R3URMHFW      1R         *DWHV
                                                              1R3URMHFW,
                                                 +DUYH\                              ,,               2SHQ    +DUYH\       ,         3URMHFW,,   2SHQ

  $OGUHG9DO                                                                                                            

  *RRG5HVRXUFHV//&                                                                                                  

  0HPRULDO60&,QYHVWPHQW/3                                                                                     

  0LOWRQ$UQROG 9LUJLQLD                                                                                            

  6KLSRV-HQQLIHU                                                                                                        

  +ROOLV:D\QH 3HJJ\                                                                                                

  6LOYHUPDQ3HWHU =KHQQLD                                                                                              

  *RGHMRUG$UQVWHLQ ,QJD                                                                                             

  &XWWV3DXO 'DQD                                                                                                       

  +R%HFN\ QRORQJHUD7HVW3ODLQWLII                                                                                                       

  %H\RJOX*RNKDQ -DQD                                                                                              

  $]DU3KLOOLS                                                                                                      

  6WDKO7LPRWK\                                                                                                        

  :HOOLQJ6KDZQ                                                                                                       




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                3DJH




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     +LVWRULFDO5XQV

+LVWRULFDOUXQVDUHVLPLODUWRWKH1R3URMHFW,5XQLQVHWXSEXWWKH\VLPXODWHRWKHUKLVWRULFDOVWRUPV)RUWKHVH
UXQVZHXVHGWKHVDPHWRSRJUDSK\ZLWKLQWKH*2/WKDWZHXVHGLQWKH1R3URMHFW,5XQ UHSUHVHQWLQJ¶V
HUDFRQGLWLRQVZLWKQRGDPVRUFKDQQHOLPSURYHPHQWV DQGWKHWRSRJUDSK\DQGODQGXVHRQSULYDWHODQGDVRI
WKHGDWHRIWKHVWRUP7DEOHSUHVHQWVVLPXODWHGPD[LPXPLQXQGDWLRQGHSWKVDQGGXUDWLRQVRIIORRGLQJ
DERYHILUVWILQLVKHGIORRUIRUWKHGRZQVWUHDP7HVW3ODLQWLIIV)LJXUHWR)LJXUHVKRZVLPXODWHGZDWHU
VXUIDFHHOHYDWLRQVDWGRZQVWUHDP7HVW3URSHUWLHVXQGHUYDULRXVKLVWRULFDOUDLQIDOOHYHQWVZLWKRXWWKHIHGHUDO
SURMHFW2XUDQDO\VLVVKRZVWKDWZLWKRXWWKHIHGHUDOSURMHFWGRZQVWUHDP7HVW3URSHUWLHVZRXOGKDYHIORRGHG
IUHTXHQWO\DQGVXEVWDQWLDOO\GXULQJRWKHUVWRUPV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                               &RPPHUFLDOLQ&RQILGHQFH                               3DJH


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7DEOH6XPPDU\RIUHVXOWVRI+LVWRULFDOUXQVDW'RZQVWUHDP7HVW3ODLQWLIIV

                                                  0D[LPXPGHSWKRILQXQGDWLRQ IW                                     'XUDWLRQ KU 
  3ODLQWLII
                                                                                         

  $OGUHG9DO                                                                                                    

  *RRG5HVRXUFHV//&                                                                                           

  0HPRULDO60&,QYHVWPHQW                                                                                  
  /3

  0LOWRQ$UQROG 9LUJLQLD                                                                                

  6KLSRV-HQQLIHU                                                                                                  

  +ROOLV:D\QH 3HJJ\                                                                                          

  6LOYHUPDQ3HWHU =KHQQLD                                                                                        

  *RGHMRUG$UQVWHLQ ,QJD                                                                                         

  &XWWV3DXO 'DQD                                                                                                

  +R%HFN\ QRORQJHUD7HVW                                                                                                   
  3ODLQWLII 

  %H\RJOX*RNKDQ -DQD                                                                                            

  $]DU3KLOOLS                                                                                                    

  6WDKO7LPRWK\                                                                                               

  :HOOLQJ6KDZQ                                                                                        




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                               &RPPHUFLDOLQ&RQILGHQFH                                  3DJH




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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI$OGUHG9DO /LQGD +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                               &RPPHUFLDOLQ&RQILGHQFH                     3DJH




                                                                                                                                A1392
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI*RRG5HVRXUFHV//& +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                               &RPPHUFLDOLQ&RQILGHQFH                   3DJH




                                                                                                                             A1393
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0HPRULDO60&,QYHVWPHQW/3 +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




                                                                                                                                            A1394
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LOWRQ$UQROG 9LUJLQLD +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 952 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6KLSRV-HQQLIHU +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




                                                                                                                                            A1396
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+ROOLV:D\QH 3HJJ\ +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




                                                                                                                                            A1397
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6LOYHUPDQ3HWHU =KHQQLD +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




                                                                                                                                            A1398
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI*RGHMRUG$UQVWHLQ ,QJD +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




                                                                                                                                            A1399
         Case 1:17-cv-09002-LAS                              Document 266-2                      Filed 01/10/23   Page 956 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI&XWWV3DXO 'DQD +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




                                                                                                                                            A1400
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+R%HFN\ +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




                                                                                                                                            A1401
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%H\RJOX*RNKDQ -DQD +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




                                                                                                                                            A1402
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI$]DU3KLOOLS +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




                                                                                                                                            A1403
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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6WDKO7LPRWK\ +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


55HY                                                       &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI:HOOLQJ6KDZQ +LVWRULFDO6WRUPV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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        &RQFOXVLRQV
7KHREMHFWLYHRIWKLVK\GUDXOLFVWXG\ZDVWRGHILQHK\GUDXOLFIDFWRUVWKDWUHVXOWHGLQLQXQGDWLRQGXULQJWKH
+DUYH\(YHQWDWGRZQVWUHDP7HVW3URSHUWLHV7RDGGUHVVWKLVREMHFWLYHZHUHYLHZHGSHUWLQHQWJDJHGDWDDQG
EDFNJURXQGGRFXPHQWV,QDGGLWLRQZHGHYHORSHGDQXPHULFDOPRGHOWRVLPXODWHLQXQGDWLRQGXULQJWKH
+DUYH\(YHQWWRSURYLGHDIXOOGHVFULSWLRQRILQXQGDWLRQLQWLPHDQGVSDFHDQGWRVLPXODWHK\SRWKHWLFDO
VFHQDULRVWRGHILQHDQGRULVRODWHK\GUDXOLFIDFWRUVFRQWULEXWLQJWRLQXQGDWLRQ,QDGGLWLRQZHXVHGWKLV
QXPHULFDOPRGHOWRVLPXODWHIORRGLQJGXHWRRWKHUKLVWRULFDOHYHQWVLQWKHDEVHQFHRIWKH$GGLFNVDQG%DUNHU
'DPV

&KDUDFWHULVWLFVRIRYHUEDQNIORRGLQJGRZQVWUHDPRIWKHGDPV

7KHIROORZLQJVXPPDUL]HVIORZFKDUDFWHULVWLFVGRZQVWUHDPRIWKH$GGLFNVDQG%DUNHU5HVHUYRLUVGXULQJWKH
+DUYH\(YHQW
x   )ORZLQORZHU%XIIDOR%D\RXZDVGRPLQDWHGE\UDLQIDOOUXQRIISURFHVVHVEHWZHHQPRUQLQJDQG
    PRUQLQJ SHULRGRIPRVWLQWHQVHUDLQIDOO DQGRYHUWKHFRXUVHRI$XJXVWWUDQVLWLRQHGWRD
    FRQGLWLRQGRPLQDWHGE\WKHUHOHDVHIURP$GGLFNVDQG%DUNHUVWDUWLQJPLGGD\
x   2YHUEDQNIORRGLQJVWDUWHGGXHWRVXUIDFHUXQRIIIURPORFDOUDLQIDOOSULRUWRJDWHUHOHDVHVIRUDOOVWDWLRQV
    FRQVLGHUHGH[FHSWDW/RZHU/DQJKDP&UHHNGRZQVWUHDPRIWKH$GGLFNVJDWHV
x   *DWHUHOHDVHGLGQRWVLJQLILFDQWO\LPSDFWWKHIORZGHSWKGRZQVWUHDPRI%HOWZD\EXWPD\KDYHH[WHQGHG
    WKHGXUDWLRQRILQXQGDWLRQ
x   $QDO\VLVRIJDJHGDWDVKRZVHYLGHQFHRIEDFNZDWHUXSVWUHDPRI%HOWZD\DWWKHWUDQVLWLRQEHWZHHQ
    UHFWLILHGDQGQDWXUDOVHFWLRQVRI%XIIDOR%D\RXDQGWKHDVVRFLDWHGFRQVWULFWLRQ%DFNZDWHUDOVRRFFXUUHG
    XSVWUHDPRI3LQH\3RLQWGXHWRFKDQQHOFRQVWULFWLRQ
x   0HDVXUHGVWDJHHOHYDWLRQVDQGHVWLPDWHGGLVFKDUJHVDWWKH6KHSKHUG'ULYHJDJHGXULQJWKH+DUYH\
    (YHQW DWOHDVWGXULQJWKHSHULRGEHWZHHQDQG DUHTXHVWLRQDEOHDQG
    FDQQRWEHUHOLHGXSRQLQWKHDQDO\VLV
x   /RZHU/DQJKDP&UHHNZDVEDFNZDWHUHGRQ SULRUWRWKHVWDUWRIWKHVHFRQGIORRGZDYH GXHWR
    KLJKZDWHUVXUIDFHHOHYDWLRQVLQORZHU%XIIDOR%D\RX
x   7KHVWDUWRIEDQNIORRGLQJLQ/RZHU/DQJKDP&UHHNGXULQJWKHHYHQLQJRILVDWWULEXWHGWR
    EDFNZDWHUFDXVHGE\KLJKZDWHUVXUIDFHHOHYDWLRQVLQORZHU%XIIDOR%D\RXGXHWRH[WHQVLYHUXQRII
    FRPELQHGZLWKWKHFRQWLQXRXVUHOHDVHIURP$GGLFNVDQG%DUNHU5HVHUYRLUV7KHVHFRQGIORRGZDYH
    UHOHDVHKDVFRQWULEXWHGWRDQRWKHUIHHWULVHLQWKHHOHYDWLRQRIWKHJDJHDWWKH$GGLFNVRXWOHWIURPIHHW
    WRIHHW
x   $QHDUO\XQLIRUPIORZFRQGLWLRQZDVHVWDEOLVKHGEHWZHHQ'DLU\$VKIRUG5RDGDQG3LQH\3RLQW5RDG
    VWDUWLQJIURP,WUHTXLUHGDERXWGD\VDIWHUWKHUDLQIDOOVWRSSHGWRUHOHDVHWKHVWRUHGZDWHU
     LQFOXGLQJZDWHUEDFNHGXSXSVWUHDP3LQH\3RLQWDQGZDWHUVWRUHGLQGHWHQWLRQSRQGVRUXSVWUHDPDQ\
    RWKHUREVWUXFWLRQ WKURXJKWKH3LQH\3RLQWFRQVWULFWLRQWRHVWDEOLVKDQHDUO\XQLIRUPIORZFRQGLWLRQ

7KHUHDVRQIRUWKHVWDUWRIRYHUEDQNIORRGLQJLQDUHDVEHORZWKHGDPVLVWKHH[FHVVLYHUXQRIIUHODWHGWRORFDO
UDLQIDOOSULRUWRWKHVWDUWRIUHOHDVHVIURPWKHGDPV ZLWKWKHH[FHSWLRQRI/RZHU/DQJKDP&UHHN ([FHVVLYH
UXQRIIEHORZWKHGDPVUHVXOWHGLQULVLQJZDWHUVXUIDFHHOHYDWLRQVLQ/RZHU%XIIDOR%D\RXFDXVLQJEDFNZDWHULQ
ORZHUWULEXWDULHVZKLFKLVWKHPDLQUHDVRQIRUWKHLQLWLDWLRQRIIORRGLQJLQ5XPPHO&UHHNDQGKDVFRQWULEXWHGWR
IORRGLQJLQ/RZHU/DQJKDP&UHHN7KHILUVWSKDVHRIWKHUHOHDVHVIURP$GGLFNV5HVHUYRLUFRQWULEXWHGWR
IORRGLQJLQ/RZHU/DQJKDP&UHHN



$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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2YHUEDQNIORRGLQJGRZQVWUHDPILUVWRFFXUUHGGXHWRORFDOUDLQIDOODQGUHODWHGVXUIDFHUXQRIISULRUWRWKH&RUSV¶
JDWHUHOHDVHVIRUDOOEXWRQHRIWKHJDJHVWKHORZHU/DQJKDP&UHHNJDJHORFDWHGLPPHGLDWHO\GRZQVWUHDPRI
WKH$GGLFNVJDWHV

+XUULFDQH+DUYH\H[FHHGHG$GGLFNVDQG%DUNHU5HVHUYRLUVK\GUDXOLFGHVLJQFRQGLWLRQV

7KH$GGLFNVDQG%DUNHU'DPVDUHGHVLJQHGIRUVKRUWWHUPLPSRXQGPHQWRIVWRUPZDWHUUXQRII7KH8QLWHG
6WDWHV$UP\&RUSVRI(QJLQHHUV WKH&RUSV GHVLJQHGWKHUHVHUYRLUVEDVHGRQLQIORZK\GURJUDSKVH[FHHGLQJ
WKHHVWLPDWHGUXQRIIGXULQJWKHIORRGZKLFKZDVWKHVWRUPRIUHFRUGDWWKDWWLPH

$IWHUFRQVWUXFWLRQRIWKHGDPVWKHFRQFHSWRI6WDQGDUG3URMHFW)ORRGV 63)V HQWHUHGWKHOH[LFRQ7KH63)LV
WKHIORRGWKDWUHSUHVHQWVWKHPRVWVHYHUHK\GURORJLFFRQGLWLRQVFRQVLGHUHGUHDVRQDEO\FKDUDFWHULVWLFRIWKH
JHRJUDSKLFUHJLRQ7KH63)KDVEHHQUHYLVHGIRUWKHGDPVRYHUWLPH,WZDVGHILQHGLQWKH5HVHUYRLU
5HJXODWLRQ0DQXDODQGPRVWUHFHQWO\XSGDWHGLQWKH+\GURORJ\5HSRUW'XULQJWKH+XUULFDQH
+DUYH\HYHQWWKHFRPELQHGFXPXODWLYHLQIORZVWR$GGLFNVDQG%DUNHU5HVHUYRLUVUHDFKHGDWOHDVW
DFUHIHHW7KLVH[FHHGHGWKH63)FXPXODWLYHLQIORZVE\ LQDGGLWLRQWRH[FHHGLQJWKH63)
SHDNLQIORZVE\WRWLPHV DQGH[FHHGHGWKHUHYLVHG63)FXPXODWLYHLQIORZWR$GGLFNVDQG%DUNHU
5HVHUYRLUV E\7KH+DUYH\(YHQWDOVRH[FHHGHGWKH:DWHU&RQWURO0DQXDO63)ZDWHUVXUIDFH
HOHYDWLRQVDQGUHVXOWHGLQXQFRQWUROOHGVSLOODURXQGWKHQRUWKHQGRI$GGLFNV5HVHUYRLUIRUWKHILUVWWLPHLQWKH
KLVWRU\RIWKHSURMHFW'XHWRWKHLQWHQVLW\DQGGXUDWLRQRIUDLQIDOODVVRFLDWHGZLWKWKH+DUYH\(YHQWWKH&RUSV
PDGHUHOHDVHVLQDFFRUGDQFHZLWKWKHLQGXFHGVXUFKDUJHUHOHDVHVFKHGXOHIRUWKHILUVWWLPHLQWKHKLVWRU\RIWKH
WZRUHVHUYRLUV

7KH+DUYH\(YHQWH[FHHGHGWKHRULJLQDODQGWKHUHYLVHG63)FXPXODWLYHLQIORZVWR$GGLFNVDQG%DUNHU
5HVHUYRLUV

$GGLFNVDQG%DUNHU5HVHUYRLUFDSDFLWLHVDUHVPDOOHUWKDQWKHYROXPHRIWKHIORRGZDWHUJHQHUDWHG
GXULQJWKH+DUYH\(YHQWEXWWKH\HIIHFWLYHO\UHGXFHGSHDNIORZVGRZQVWUHDPRIWKHGDPVDVWKH\
ZHUHGHVLJQHGWRGR

7KHFRPELQHGFDSDFLW\RI$GGLFNVDQG%DUNHU5HVHUYRLUVLVDFUHIHHW ELOOLRQJDOORQV RIZDWHU
ZLWKLQWKH*RYHUQPHQW2ZQHG/DQG *2/ 7KLVFRPELQHGFDSDFLW\LVDSSUR[LPDWHO\JUHDWHUWKDQWKH
DPRXQWRIIORRGZDWHUJHQHUDWHGXQGHUWKHSUH+DUYH\\HDUIORRGIUHTXHQF\'XULQJWKH+DUYH\(YHQWDW
OHDVWDFUHIHHWRIIORRGZDWHUIORZHGLQWR$GGLFNVDQG%DUNHU5HVHUYRLUVVLJQLILFDQWO\H[FHHGLQJWKHLU
FRPELQHGFDSDFLW\DQGGLFWDWLQJVLJQLILFDQWUHOHDVHVIURPWKHUHVHUYRLUV

7KHPD[LPXPFRPELQHGGLVFKDUJHFDSDFLW\RI$GGLFNVDQG%DUNHUUHOHDVHFRQGXLWVLVDSSUR[LPDWHO\
FIV'XULQJWKH+DUYH\(YHQWIORRGZDWHULQIORZUDWHVWR$GGLFNVDQG%DUNHU5HVHUYRLUVUHDFKHGDW
OHDVWFIV7KHUHIRUHWKHPD[LPXPFRPELQHGFDSDFLW\RIWKHUHOHDVHFRQGXLWVZDVVLJQLILFDQWO\
H[FHHGHG7KHGLIIHUHQFHLQPDJQLWXGHEHWZHHQWKHUDSLGLQIORZUDWHVDQGWKHUHVWULFWHGRXWIORZUDWHVUHVXOWHG
LQDQLQLWLDOO\UDSLGLQFUHDVHRIZDWHUVXUIDFHHOHYDWLRQVEHKLQGWKHGDPV

'HVSLWHWKHUHOHDVHVWKDWZHUHPDGHGXULQJWKH+DUYH\(YHQWWKHUHVHUYRLUVHIIHFWLYHO\UHGXFHGSHDNIORZV
GRZQVWUHDPRIWKHGDPVDVWKH\ZHUHGHVLJQHGWRGR

)ORRGLQJZDVXQDYRLGDEOHGXULQJWKH+DUYH\(YHQW

)ORRGLQJGXULQJWKH+DUYH\(YHQWZDVXQDYRLGDEOHGXHWRWKHIROORZLQJUHDVRQV
x   7KHWRWDOFXPXODWLYHLQIORZVWR$GGLFNVDQG%DUNHU5HVHUYRLUVGXULQJWKH+DUYH\(YHQWZDVPRUHWKDQ
    WZLFHWKHFRPELQHGFDSDFLW\RIWKHUHVHUYRLUVZLWKLQWKH*2/
x   7KHPD[LPXPFRPELQHGFDSDFLW\RIWKHUHOHDVHFRQGXLWVFRXOGQRWGLVFKDUJHWKHH[FHVVYROXPHRIZDWHU
    GXULQJWKH+DUYH\(YHQW$VVXFKXSVWUHDPIORRGLQJZDVXQDYRLGDEOH
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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x   7KH+DUYH\(YHQWH[FHHGHGWKHK\GUDXOLFGHVLJQFRQGLWLRQVRIWKH$GGLFNVDQG%DUNHU5HVHUYRLUVZKLFK
    UHTXLUHGUHOHDVHVLQDFFRUGDQFHZLWKWKHLQGXFHGVXUFKDUJHVFKHGXOH$VVXFKGRZQVWUHDPIORRGLQJZDV
    XQDYRLGDEOH

2XUPRGHOLQJHIIRUWVVKRZHGWKDWRSHQLQJWKHJDWHVHQWLUHO\RUDOWHUQDWLYHO\QHYHUFRQVWUXFWLQJWKHGDPV
ZRXOGKDYHUHVXOWHGLQPXFKKLJKHUIORRGLQJWRGRZQVWUHDPSURSHUWLHVLQFOXGLQJWKHGRZQVWUHDP7HVW
3URSHUWLHVWKDQDFWXDOO\RFFXUUHG2QWKHRWKHUKDQGRXUPRGHOLQJHIIRUWVVKRZHGWKDWFORVLQJWKHJDWHV
HQWLUHO\ZRXOGKDYHUHVXOWHGLQKLJKHUIORRGLQJDQGPXFKORQJHUIORRGLQJGXUDWLRQVDWXSVWUHDPSURSHUWLHV
LQFOXGLQJWKHXSVWUHDP7HVW3URSHUWLHVWKDQDFWXDOO\RFFXUUHG:HXWLOL]HGDVLPLODUPRGHOLQJDSSURDFKLQWKH
XSVWUHDPVXEFDVHXVLQJWKHVDPHPRGHOLQSXWVXVHGIRUWKHGRZQVWUHDPVXEFDVH:HVXPPDUL]HWKRVH
UHVXOWVIRUWKHXSVWUHDP7HVW3URSHUWLHVLQ$SSHQGL[&7KHXSVWUHDPPRGHOLQJUHVXOWVGHPRQVWUDWHFOHDUO\
WKDWIORRGLQJGXULQJWKH+DUYH\(YHQWZDVXQDYRLGDEOH

5HOHDVHVGXULQJWKH+DUYH\(YHQW

7KHUHZHUHWKUHHGLVWLQFWLYHSKDVHVWRWKHUHOHDVHVIURP$GGLFNVDQG%DUNHU5HVHUYRLUVGXULQJ+XUULFDQH
+DUYH\,QWKHILUVWSKDVHWKHUHOHDVHZDVUDPSHGXSWRDFRPELQHGUDWHRIDSSUR[LPDWHO\FIVEHWZHHQ
DQG%HWZHHQRQWKHWKRI$XJXVWDQGRQWKHWKWKHUHZDVRQO\D
VPDOOLQFUHDVHLQWKHUDWHRIFRPELQHGUHOHDVHWRFIV,QWKHWKLUGSKDVHIURPRQWKHWKXQWLO
WKDWGD\WKHUHOHDVHZDVRQFHDJDLQUDPSHGXSWRFRPELQHGUDWHRIDSSUR[LPDWHO\FIV7KHILUVWDQG
WKLUGSKDVHVZKHUHWKHUHOHDVHVZHUHUDPSHGXSUHVXOWHGLQWZRGLVWLQFWLYHIORRGZDYHVPRYLQJGRZQ%XIIDOR
%D\RXEHORZWKHGDPV

7KH$GGLFNVDQG%DUNHU'DPVKDYHSUHYHQWHGGHYDVWDWLQJIORRGLQJRIWKHGRZQVWUHDP7HVW3URSHUWLHV
DQGRWKHUGRZQVWUHDPSURSHUWLHV

$GGLFNVDQG%DUNHU5HVHUYRLUVVWRUHGDWOHDVWELOOLRQJDOORQVRIIORRGZDWHUGXULQJWKH+DUYH\(YHQW
ZLWKRXWDFFRXQWLQJIRUIORRGZDWHUVWRUHGLQGHWHQWLRQSRQGVDQGWULEXWDULHVDERYHWKHUHVHUYRLUV7KLVYROXPH
RIIORRGZDWHUZDVJUDGXDOO\UHOHDVHGRYHUDSHULRGRIRQHPRQWK:LWKRXWWKHVHUHVHUYRLUVWKLVIORRGZDWHU
ZRXOGKDYHEHHQURXWHGWRDUHDVGRZQVWUHDPPXFKPRUHUDSLGO\FDXVLQJPRUHGHYDVWDWLQJIORRGLQJWRDOORI
WKHGRZQVWUHDP7HVW3URSHUWLHVDQGRWKHUGRZQVWUHDPDUHDVDVFRPSDUHGWRWKHIORRGLQJWKDWDFWXDOO\
RFFXUUHG

7KHIHGHUDOSURMHFWDOORZVIRUWKHGLVWULEXWLRQRIIORRGLPSDFWVDFURVVDZLGHDUHDWRPLQLPL]HWKHFKDQFHRIOLIH
WKUHDWHQLQJFRQGLWLRQVLQDQ\RQHDUHD'RZQVWUHDPRIWKHGDPVWKHIHGHUDOSURMHFW DQGSDUWLFXODUO\WKH
RSHUDWLRQRIWKH$GGLFNVDQG%DUNHU'DPV DOORZHGIRUIORRGZDWHUDFFXPXODWHGGXULQJWKH+DUYH\(YHQW D
IHZGD\V WREHGLVWULEXWHGRYHUDPXFKORQJHUSHULRG DIHZZHHNV ZKLFKHIIHFWLYHO\UHGXFHGWKHGHSWKRI
IORRGZDWHUVGRZQVWUHDPRIWKHGDPV

2XUDQDO\VLVVKRZHGWKDWWKHGRZQVWUHDP7HVW3URSHUWLHVZRXOGKDYHH[SHULHQFHGXSWRIHHWPRUH
IORRGLQJZLWKRXWWKHIHGHUDOSURMHFWWKDQWKH\DFWXDOO\H[SHULHQFHG8QGHUWKLVVFHQDULRWKLVDGGLWLRQDO
LQXQGDWLRQZLWKRXWWKHIHGHUDOSURMHFWZRXOGKDYHUHVXOWHGLQZDWHUGHSWKVRIPRUHWKDQWRIHHWDERYH
ILUVWILQLVKHGIORRUHOHYDWLRQVRIWKHGRZQVWUHDP7HVW3URSHUWLHV7KHIHGHUDOSURMHFWSUHYHQWHGVLJQLILFDQW
SURSHUW\GDPDJHVDQGVLJQLILFDQWO\UHGXFHGWKHULVNRIORVVRIOLIHIRUGRZQVWUHDPDUHDV

(IIHFWLYHQHVVRIORZHU%XIIDOR%D\RX5HFWLILFDWLRQ

2XUDQDO\VLVVKRZHGWKDWWKHUHFWLILFDWLRQRIORZHU%XIIDOR%D\RXGRZQVWUHDPRIWKHGDPV LH/RZHU
/DQJKDP&UHHNDQGWKHSRUWLRQRI%XIIDOR%D\RXGRZQVWUHDPRIWKHGDPVEXWXSVWUHDPRI%HOWZD\ 
UHGXFHGIORRGGXUDWLRQVRQWKHGRZQVWUHDP7HVW3URSHUWLHVE\XSWRGD\V(LJKWRIWKHWKLUWHHQ7HVW
3URSHUWLHVDUHORFDWHGDORQJWKLVUHFWLILHGSRUWLRQRI%XIIDOR%D\RXEHORQJLQJWRWKHIROORZLQJSODLQWLIIV*RRG


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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5HVRXUFHV//&0HPRULDO60&,QYHVWPHQW/3$UQROGDQG9LUJLQLD0LOWRQ-HQQLIHU6KLSRV:D\QHDQG
3HJJ\+ROOLV3HWHUDQG=KHQQLD6LOYHUPDQ$UQVWHLQDQG,QJD*RGHMRUGVDQG3DXODQG'DQD&XWWV

(IIHFWLYHQHVVRIJDWHFRQWURO

2XUDQDO\VLVGHPRQVWUDWHGWKDWILUVWILQLVKHGIORRUVDWGRZQVWUHDP7HVW3URSHUWLHVZRXOGKDYHEHHQIORRGHGE\
XSWRIHHWPRUHZDWHULIWKH&RUSVKDGNHSWWKHUHVHUYRLUJDWHVRSHQGXULQJWKH+DUYH\(YHQWDVFRPSDUHG
WRWKHIORRGLQJWKDWDFWXDOO\RFFXUUHG,QDGGLWLRQRXUDQDO\VLVVKRZHGWKDWWKHGRZQVWUHDP7HVW3URSHUWLHV
ZRXOGKDYHH[SHULHQFHGORQJHUIORRGLQJWKDQDFWXDOO\RFFXUUHGLIWKH&RUSVKDGNHSWWKHUHVHUYRLUJDWHVRSHQ
GXULQJWKH+DUYH\(YHQW

7KHJDWHGFRQGXLWVDW$GGLFNVDQG%DUNHU'DPVHIIHFWLYHO\UHGXFHGIORRGLQJLPSDFWVGRZQVWUHDPRIWKHGDPV
GXULQJWKH+DUYH\(YHQW

5HSHDWHGIORRGLQJEHORZWKHGDPVFDXVHGE\KLVWRULFDOVWRUPVXQGHUWKHQRIHGHUDOSURMHFWVFHQDULR

2XUDQDO\VLVVKRZHGWKDWWKHGRZQVWUHDP7HVW3URSHUWLHVZRXOGKDYHUHSHDWHGO\IORRGHGGXULQJKLVWRULFDO
VWRUPV GDWHGDQG LQWKHDEVHQFHRIWKHIHGHUDOSURMHFW7KHH[LVWHQFH
DQGRSHUDWLRQRIWKHIHGHUDOSURMHFWSUHYHQWHGRUVLJQLILFDQWO\UHGXFHGIORRGLQJRQWKH7HVW3URSHUWLHVGXULQJ
WKHVHHYHQWV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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>@    86$&(³6WDQGDUG3URMHFW)ORRG'HWHUPLQDWLRQ(QJLQHHU0DQXDO´

>@    8SVWUHDP3ODLQWLIIV³3ODLQWLII)DFW6KHHW,QIRUPDWLRQ´

>@    'RZQVWUHDP3ODLQWLIIV³3ODLQWLII)DFW6KHHW,QIRUPDWLRQ´

>@    - +&)&' /LQGQHU³,PPHGLDWH5HSRUW±)LQDO+XUULFDQH+DUYH\6WRUPDQG)ORRG,QIRUPDWLRQ´
        

>@    +&)&'³+DUULV&RXQW\)ORRG&RQWURO'LVWULFW´>2QOLQH@$YDLODEOHKWWSVZZZKFIFGRUJ>$FFHVVHG
        $XJ@

>@    )(0$³)ORRG,QVXUDQFH6WXG\+DUULV&RXQW\7H[DVDQG,QFRUSRUDWHG$UHDV´

>@    86$&(³:DWHU&RQWURO0DQXDO$GGLFNVDQG%DUNHU5HVHUYRLUV%XIIDOR%D\RXDQG7ULEXWDULHV6DQ
        -DFLQWR5LYHU%DVLQ7;´

>@    +*$&³+RXVWRQ*DOYHVWRQ$UHD&RXQFLO/,'$5´>2QOLQH@$YDLODEOH
        KWWSVWQULVRUJGDWDFDWDORJHQWU\KRXVWRQJDOYHVWRQDUHDFRXQFLOKJDFOLGDU>$FFHVVHG
        $SU@

>@    0HUULFN &RPSDQ\³+RXVWRQ*DOYHVWRQ$UHD&RXQFLO +*$& /L'$5'DWD6HUYLFHV/L'$50DSSLQJ
        5HSRUW´

>@   715,6³6WUDW0DSFP)RUW%HQG/LGDU´>2QOLQH@$YDLODEOHKWWSVWQULVRUJGDWD
        FDWDORJHQWU\VWUDWPDSFPIRUWEHQG>$FFHVVHG)HE@

>@   +&)&'³0RGHODQG0DS0DQDJHPHQW 0 6\VWHP´>2QOLQH@$YDLODEOH
        KWWSVZZZKFIFGRUJLQWHUDFWLYHPDSSLQJWRROVPRGHODQGPDSPDQDJHPHQWPV\VWHP>$FFHVVHG
        $XJ@

>@   $//H:LQWHU³'DWD&ROOHFWLRQ 3URFHVVLQJ5HSRUWIRU0DUFK$LUERUQH/DVHU6FDQQLQJRI
        %XIIDOR%D\RXDQGVXUURXQGLQJDUHDV+RXVWRQ7H[DV´

>@   86*6³86*6:DWHUGDWD´>2QOLQH@$YDLODEOHKWWSVPDSVZDWHUGDWDXVJVJRYPDSSHULQGH[KWPO

>@   +&)&'³+DUULV&RXQW\)ORRG:DUQLQJ6\VWHP´>2QOLQH@$YDLODEOHKWWSVZZZKFIFGRUJLQWHUDFWLYH
        PDSSLQJWRROVKDUULVFRXQW\IORRGZDUQLQJV\VWHP>$FFHVVHG0DU@

>@   $:$³6$36$QDO\VLV+XUULFDQH+DUYH\´

>@   86$&(³(PHUJHQF\$FWLRQ3ODQ$GGLFNV5HVHUYRLU 1,'7; $QG%DUNHU5HVHUYRLU 1,'
        7; %XIIDOR%D\RXDQG7ULEXWDULHV´LQEmergency Operations PlanQR0D\

>@   86$&(³%XIIDOR%D\RX7H[DV5HVHYRLU5HJXODWLRQ0DQXDOIRU$GGLFNVDQG%DUNHU5HVHYRLUV
        %XIIDOR%D\RX:DWHUVKHG´

>@   86$&(³%DUNHU*DWH2SHQLQJ+HLJKWV´86$&(

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP 


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>@   +DOII³/DQG6XUYH\VRI7HVW3ODLQWLIIV¶3URSHUWLHV´

>@   86$&(³$GGLFNVDQG%DUNHU5HVHUYRLUV+\GURORJ\´

>@   12$$³+XUULFDQH+DUYH\,PDJHU\´>2QOLQH@$YDLODEOH
        KWWSVVWRUPVQJVQRDDJRYVWRUPVKDUYH\LQGH[KWPO>$FFHVVHG$XJ@

>@   86*6³:DWHU:DWFK´>2QOLQH@$YDLODEOHKWWSVZDWHUZDWFKXVJVJRY"LG ZZBWRRONLW

>@   1:6³1DWLRQDO:HDWKHU6HUYLFH*DJH'DWD´>2QOLQH@$YDLODEOH
        KWWSVZDWHUZHDWKHUJRYDKSVLQGH[SKS"ZIR KJ[

>@   86*6³*XLGHIRU6HOHFWLQJ0DQQLQJ¶V5RXJKQHVV&RHIILFLHQWIRU1DWXUDO&KDQQHOVDQG)ORRG3ODLQV´
        

>@   &0DQG005LFFDUGR%HUHWWD*LRYDQQL5DYD]]DQL³6LPXODWLQJWKH,QIOXHQFHRI%XLOGLQJVRQ)ORRG
        ,QXQGDWLRQLQ8UEDQ$UHDV´GeosciencesYROQR

>@   86$&(³$GGLFNV7DLOZDWHU6XEPHUJHG)ORZ(TXDWLRQ´

>@   86$&(³%DUNHU7DLOZDWHU6XEPHUJHG)ORZ(TXDWLRQ´

>@   5$WD³7HOHPDFG8VHU0DQXDO9HU´

>@   '+3HUHJULQH³(TXDWLRQVIRUZDWHUZDYHVDQGWKHDSSUR[LPDWLRQEHKLQGWKHP´LQWaves on
        Beaches and Resulting Sediment Transport50H\HU(G$FDGHPLF3UHVV1HZ<RUNSS±
        

>@   86'$³8UEDQ+\GURORJ\IRU6PDOO:DWHUVKHGV´

>@   +&RXUDQW5)ULHGULFKV./HZ\³2QWKHSDUWLDOGLIIHUHQFHHTXDWLRQVRIPDWKHPDWLFDOSK\VLFV´IBM
        J. Res. Dev.YROQRSS±

>@   12$$³12$$6WDWLRQ´>2QOLQH@$YDLODEOH
        KWWSVWLGHVDQGFXUUHQWVQRDDJRYVWDWLRQKRPHKWPO"LG GLUHFWLRQV

>@   15&&DQDGD³%OXH.HQXH706RIWZDUHWRROIRUK\GUDXOLFPRGHOOHUV´>2QOLQH@$YDLODEOH
        KWWSVZZZQUFFQUFJFFDHQJVROXWLRQVDGYLVRU\EOXHBNHQXHBLQGH[KWPO

>@   7KH5)RXQGDWLRQ³7KH53URMHFWIRU6WDWLVWLFDO&RPSXWLQJ´R Foundation for Statistical Computing,
        Vienna, Austria>2QOLQH@$YDLODEOHKWWSVZZZUSURMHFWRUJ

>@   12$$³*DOYHVWRQ7H[DV&RDVWDO'LJLWDO(OHYDWLRQ0RGHO´>2QOLQH@$YDLODEOH
        KWWSVGDWDQRDDJRYPHWDYLHZSDJH"[PO 12$$1(6',61*'&0**'(0LVR[PO[PO YLHZ
        JHW'DWD9LHZ KHDGHU QRQH

>@   86*6³1DWLRQDO/DQG&RYHU'DWDEDVH´>2QOLQH@$YDLODEOHKWWSVZZZPUOFJRYQOFGSKS
        >$FFHVVHG$SU@

>@   86'$³*HRVSDWLDO'DWD*DWHZD\´>2QOLQH@$YDLODEOHKWWSVGDWDJDWHZD\QUFVXVGDJRY

>@   86'$1DWLRQDO5HVRXUFHV6HUYLFHV³:HE6RLO6XUYH\´>2QOLQH@$YDLODEOH
        KWWSVZHEVRLOVXUYH\QUFVXVGDJRY


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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>@   +DOII³/DQG&RYHU$QDO\VLV´

>@   86*6³0XOWL5HVROXWLRQ/DQG&KDUDFWHULVWLFV&RQVRUWLXP 05/& ´>2QOLQH@$YDLODEOH
        KWWSVZZZPUOFJRY

>@   &0DWWRFNVDQG&)RUEHV³$UHDOWLPHHYHQWWULJJHUHGVWRUPVXUJHIRUHFDVWLQJV\VWHPIRUWKHVWDWHRI
        1RUWK&DUROLQD´Ocean Model.YROQR±SS±

>@   86'$³1DWXUDO5HVRXUFHV&RQVHUYDWLRQ6HUYLFH´>2QOLQH@$YDLODEOH
        KWWSVZZZQUFVXVGDJRYZSVSRUWDOQUFVVLWHQDWLRQDOKRPH

>@   86$&(DQG&35$³0RGHO3HUIRUPDQFH$VVHVVPHQW0HWULFVDQG8QFHUWDLQW\$QDO\VLV´

>@   86'$³6&6  &KDSWHU+\GURORJ\1DWLRQDO(QJLQHHULQJ+DQGERRN´LQNational Engineering
        Handbook.86'$:DVKLQJWRQ'&

>@   86'$³6&6  &KDSWHU+\GURORJ\1DWLRQDO(QJLQHHULQJ+DQGERRN´LQNational Engineering
        Handbook.86'$:DVKLQJWRQ'&

>@   903RQFHDQG5++DZNLQV³5XQRIIFXUYHQXPEHUKDVLWUHDFKHGPDWXULW\"´J. Hydrol. Eng.YRO
        QRSS±

>@   /:0D\VWater Resources Engineering-RKQ:LOH\ 6RQV

>@   )(0$³+XUULFDQH+DUYH\3UHFLSLWDWLRQDQG6WUHDPIORZ$QDO\VLV´)(0$

>@   97&KRZOpen Channel Hydraulics0F*UDZ+LOO%RRN&RPSDQ\,QF

>@   06$URQLFD*%DWHV3'DQG+RUULWW³$VVHVVLQJWKHXQFHUWDLQW\LQGLVWULEXWHGPRGHOSUHGLFWLRQV
        XVLQJREVHUYHGELQDU\SDWWHUQLQIRUPDWLRQZLWKLQ*/8(´Hydrol. Process.YROSS±
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        FDWDORJHQWU\KDUULVFRXQW\IORRGFRQWUROFP

>@   86$&(³$GGLFNV'DP3ODQVIRU&RQVWUXFWLRQRI(PEDQNPHQWDQG2XWOHW:RUNV´:DU'HSDUWPHQW
        &RUSVRI(QJLQHHUV86$UP\

>@   86$&(³%DUNHU'DP3ODQVIRU&RQVWUXFWLRQRI(PEDQNPHQWDQG2XWOHW:RUNV´:DU'HSDUWPHQW
        &RUSVRI(QJLQHHUV86$UP\

>@   '2-³6XPPDU\RI7HVW3ODLQWLIIV'HSRVLWLRQV´

>@   )0+HQGHUVRQOpen Channel Flow0DFPLOODQ3XEOLVKLQJ&R,QF

>@   12$$³+XUULFDQH+DUYH\&RVWOLHVW'LVDVWHULQ7H[DV+LVWRU\´>2QOLQH@$YDLODEOH
        KWWSQRDDPDSVDUFJLVFRPDSSV&DVFDGHLQGH[KWPO"DSSLG FFFEIHDDIEI
        >$FFHVVHG0DU@

>@   86*6³1:6)ORRG6WDJHV´>2QOLQH@$YDLODEOH
        KWWSVZDWHUGDWDXVJVJRYZDQZLVFXUUHQW"W\SH IORRGVWJ

>@   *'(JEHUWDQG/(URIHHYD³2687LGDO'DWD,QYHUVLRQ´>2QOLQH@$YDLODEOH
        KWWSYRONRYRFHRUVWHGXWLGHV

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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>@   86'$³3DUW+\GURORJ\&KDSWHU(VWLPDWLRQRI'LUHFW5XQRIIIURP6WRUP5DLQIDOO´LQNational
        Engineering Handbook7KH86'HSDUWPHQWRI$JULFXOWXUH 86'$ 

>@   1$6$³632576KRUWWHUP3UHGLFWLRQ5HVHDUFKDQG7UDQVLWLRQ&HQWHU5HDO7LPH/DQG,QIRUPDWLRQ
        6\VWHP´>2QOLQH@$YDLODEOHKWWSVZHDWKHUPVIFQDVDJRYVSRUWPRGHOLQJOLVKWPO

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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$GGLFNVDQG%DUNHU'LVFKDUJH(TXDWLRQV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP        &RPPHUFLDOLQ&RQILGHQFH


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$ $GGLFNVDQG%DUNHU2XWOHWV

$ ,QWURGXFWLRQ

7KH$GGLFNVDQG%DUNHU5HVHUYRLUVLQFOXGHFRQWUROOHGYDULDEOHKHLJKWJDWHV(DFKUHVHUYRLURXWOHWLVHTXLSSHG
ZLWKILYHJDWHGFRQGXLWV PLGGOHFRQGXLWLQFOXGHVJDWHV )LJXUHV$DQG$VKRZDHULDOYLHZVRI$GGLFNV
DQG%DUNHURXWOHWVUHVSHFWLYHO\




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)LJXUH$7KH%DUNHUJDWHRXWOHWFKDQQHOVKRZLQJFRQGXLWV6RXUFH,PDJHU\*RRJOH

,QERWKUHVHUYRLUVWKHXSVWUHDPVLGHRIWKHRXWOHWLQFOXGHVWZRZDWHUHOHYDWLRQVHQVRUVDUDGDUVHQVRUDQGD
SUHVVXUHJDJH7KHVHDUHXVHGWRUHSRUWWKHKHDGZDWHUHOHYDWLRQVIRUFDOFXODWLRQV$OVRLQERWKUHVHUYRLUV
WKHGRZQVWUHDPVLGHLVFKDUDFWHUL]HGE\DQH[SDQGLQJFKDQQHOZLWKIORZJDJHVGRZQVWUHDPRIWKHRXWOHW
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PHDVXUHGGLVFKDUJHVGRZQVWUHDPRI,ZKLFKLVVRPHPGRZQVWUHDPRIWKHRXWOHW

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$8SVWUHDP5HVHUYRLU*DJH6WDWLRQ 86*6 

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WKHVHPHDVXUHPHQWVWKHJDJHVWDWLRQUHSRUWVSUHFLSLWDWLRQDQGWKHHVWLPDWHGUHVHUYRLUVWRUDJHYROXPH

$'RZQVWUHDP5HVHUYRLU*DJH6WDWLRQ 86*6 

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+LJKZD\




)LJXUH$$HULDOYLHZRIWKHHDVWVLGHRI+LJKZD\6RXUFH*RRJOH,PDJHU\

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,QIRUPDWLRQDERXWJDWHRSHUDWLRQVZDVSURYLGHGE\WKH86$UP\&RUSVRI(QJLQHHUV &RUSV LQWKHIRUPRIIRXU
VSUHDGVKHHWV7KHVSUHDGVKHHWVGHVFULEHWKHHTXDWLRQVXVHGWRFDOFXODWHIORZWKURXJKWKHJDWHVGHSHQGLQJ
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,QHDFKVSUHDGVKHHWILYHJDWHVDUHXVHGWRUHSUHVHQWWKHDUUD\RIJDWHVLQHDFKUHVHUYRLU$OOTXDQWLWLHVDUHLQ
866WDQGDUG8QLWV

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$ 'LVFKDUJH(TXDWLRQV

7KHHTXDWLRQVWKDWFDOFXODWHWKHIORZVWKURXJKWKHJDWHVDUHGLIIHUHQWIRU$GGLFNVDQGIRU%DUNHU7KHUHDUH
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 8QVXEPHUJHG)ORZ QRVXEPHUJHQFHRIWKHKHDGZDWHURUWKHWDLOZDWHU 
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 7DLOZDWHU6XEPHUJHG)ORZ ZLWKKHDGZDWHUVXEPHUJHQFHDQGDWSDUWLDOWDLOZDWHUVXEPHUJHQFH 

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DFFRUGLQJWRWKH:DWHU&RQWURO0DQXDO7KHHTXDWLRQLVLQWKHIRUPRIDW\SLFDOVKDUSFUHVWHGZHLU
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               ܹܶ 7DLOZDWHUHOHYDWLRQ>IWDERYH1$9'@

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               ‫ ܹܪ‬+HDGZDWHUHOHYDWLRQ>IWDERYH1$9'@

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$ /RRNXS7DEOHV

/RRNXS7DEOHVIRUWKH&2DQGWKH&'SDUDPHWHUVZHUHH[WUDFWHGIURPWKHVSUHDGVKHHWVSURYLGHGE\WKH&RUSV

7DEOH/RRNXS7DEOHV

       $GGLFNV*DWH                    2ULILFH/RVV          %DUNHU*DWH2SHQLQJ          'LVFKDUJH
      2SHQLQJ5DWLR>@             &RHIILFLHQW&2>@            5DWLR>@           &RHIILFLHQW&'>@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP        &RPPHUFLDOLQ&RQILGHQFH


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      $GGLFNV*DWH                   2ULILFH/RVV            %DUNHU*DWH2SHQLQJ          'LVFKDUJH
     2SHQLQJ5DWLR>@             &RHIILFLHQW&2>@             5DWLR>@           &RHIILFLHQW&'>@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP        &RPPHUFLDOLQ&RQILGHQFH


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      $GGLFNV*DWH                   2ULILFH/RVV            %DUNHU*DWH2SHQLQJ              'LVFKDUJH
     2SHQLQJ5DWLR>@             &RHIILFLHQW&2>@             5DWLR>@           &RHIILFLHQW&'>@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP        &RPPHUFLDOLQ&RQILGHQFH


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      $GGLFNV*DWH                   2ULILFH/RVV            %DUNHU*DWH2SHQLQJ          'LVFKDUJH
     2SHQLQJ5DWLR>@             &RHIILFLHQW&2>@             5DWLR>@           &RHIILFLHQW&'>@

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$ *DWH)ORZ&DOFXODWLRQV

7KH:&0IORZHTXDWLRQZDVWHVWHGIRUWKH0HPRULDO'D\  DQG7D['D\  IORRGVZKHUHQR
WDLOZDWHUVXEPHUJHQFHRFFXUUHG7KHUHVXOWVDUHVKRZQEHORZ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP        &RPPHUFLDOLQ&RQILGHQFH


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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP        &RPPHUFLDOLQ&RQILGHQFH


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'U5RE1DLUQ&9([SHUW:LWQHVV([SHULHQFHDQG

&RPSHQVDWLRQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP        &RPPHUFLDOLQ&RQILGHQFH


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% 'U5RE1DLUQ&9

% 3URILOH
'U1DLUQLVDUHFRJQL]HGULYHUDQGFRDVWDOHQJLQHHULQJH[SHUWZLWK\HDUV¶H[SHULHQFHRQK\GURG\QDPLFVVHGLPHQW
WUDQVSRUWDQGVFRXUSURFHVVHVLQZDWHUVKHGVULYHUVHVWXDULHVODNHVFRDVWVDQGRFHDQV'U1DLUQLVUHVSRQVLEOHIRUD
UDQJHRIFRDVWDO]RQHSODQQLQJPDQDJHPHQWDQGHQJLQHHULQJLQYHVWLJDWLRQVQXPHULFDODQGSK\VLFDOPRGHOOLQJDQGGHVLJQ
SURMHFWV+HLVD3ULQFLSDORI%DLUG $VVRFLDWHV'U1DLUQKDVPDQDJHGPDQ\RI%DLUG¶VLQWHUQDWLRQDOSURMHFWVLQWKH
0LGGOH(DVWWKH&DULEEHDQ&HQWUDODQG6RXWK$PHULFD$IULFD$VLDDQG(XURSH


% (GXFDWLRQ
       3K'LQ&RDVWDO3URFHVVHVDQG(QJLQHHULQJ,PSHULDO&ROOHJHRI6FLHQFH7HFKQRORJ\DQG0HGLFLQH
         /RQGRQ(QJODQG
       06F 5HVHDUFK LQ&RDVWDO(QJLQHHULQJ4XHHQ V8QLYHUVLW\.LQJVWRQ2QWDULR
       %6F)LUVW&ODVV+RQRXUVLQ&LYLO(QJLQHHULQJ4XHHQ V8QLYHUVLW\.LQJVWRQ2QWDULR

% 3URIHVVLRQDO$IILOLDWLRQV
       5HJLVWHUHG3URIHVVLRQDO(QJLQHHU3URIHVVLRQDO(QJLQHHUVRI2QWDULR 3(2 
       $VVRFLDWH0HPEHU&DQDGLDQ6RFLHW\RI&LYLO(QJLQHHULQJ &6&( 
       $VVRFLDWH0HPEHU2QWDULR6RFLHW\RI3URIHVVLRQDO(QJLQHHUV 263( 
       $PHULFDQ6KRUHDQG%HDFK3UHVHUYDWLRQ$VVRFLDWLRQ
       &DQDGLDQ&RDVWDO6FLHQFHDQG(QJLQHHULQJ$VVRFLDWLRQ 
       &HQWUDO'UHGJLQJ$VVRFLDWLRQ &('$ 

% ([SHULHQFH

0LG%UHWRQ6HGLPHQW'LYHUVLRQ
6RXWKHDVW/RXLVLDQD SUHVHQW 
'U1DLUQLVWKH+\GUDXOLF(QJLQHHULQJ/HDGRQWKLVSURMHFWDQG%DLUG¶VVHQLRUWHFKQLFDOUHYLHZHU7KHSURMHFWLQYROYHVWKH
GHVLJQRIDFIVGLYHUVLRQIURPWKH/RZHU0LVVLVVLSSL5LYHUEHORZ1HZ2UOHDQVLQWR%UHWRQ6RXQG7KHGLYHUVLRQZLOO
ELVHFWWKHULYHUDQGEDFNOHYHHV\VWHPWRGHOLYHUVHGLPHQWWRUHVWRUHZHWODQGVDQGEXLOGODQGZLWKLQ%UHWRQ6RXQG'U1DLUQ
LVOHDGLQJ%DLUG¶VHIIRUWVRQWKHGHVLJQRIWKLVPLOOLRQUHVWRUDWLRQSURMHFW%DLUGLVDSSO\LQJDZLGHUDQJHRIQXPHULFDO
PRGHOVRQWKHSURMHFWWRHYDOXDWHWKHSHUIRUPDQFHRIWKHGLYHUVLRQLQWHUPVRIIORZFRQYH\DQFHDQGVHGLPHQWGHOLYHU\DQG
WRVXSSRUWGHVLJQGHYHORSPHQWRIWKHLQOHWJDWHVFRQYH\DQFHFKDQQHODQGRXWIDOO%DLUG¶VDFWLYLWLHVXQGHU'U1DLUQ¶V
GLUHFWLRQLQFOXGHSODQQLQJRIILHOGZRUNDQGDQDO\VLVRIILHOGGDWDLQFOXGLQJ$'&3GDWD/,667DQGWXUELGLW\GDWDZDWHU
VDPSOHVEHGVDPSOHVDQGPXOWLEHDPVXUYH\VWRHYDOXDWHIORZVEHGDQGVXVSHQGHGORDGWUDQVSRUW'U1DLUQLVDOVR
OHDGLQJ%DLUG¶VWHDPLQWKHDSSOLFDWLRQRIDZLGHUDQJHRIQXPHULFDOPRGHOVLQFOXGLQJ+(&5$60,.()/2:'
'HOIW'7(/(0$&$'&,5&DQGRXULQKRXVH'PRGHO0,6('7KHPRGHOOLQJDOVRLQFOXGHVDQHYDOXDWLRQRIVWRUP
VXUJHLPSDFWVIURPKXUULFDQHVRQWKH*XOI&RDVW




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP         &RPPHUFLDOLQ&RQILGHQFH


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/RZHU&KXUFKLOO5LYHUDQG0HOYLOOH/DNH0HUFXU\&RQWDPLQDWLRQ
/RZHU&KXUFKLOO5LYHU1HZIRXQGODQG 
'U1DLUQLVWKH%DLUG6HQLRU7HFKQLFDO$GYLVRUIRUWKLVSURMHFWWRHYDOXDWHWKHLPSDFWRIPHWK\OPHUFXU\WUDQVSRUWIURPWKH
/RZHU&KXUFKLOO)DOOV'DPUHVHUYRLULQWR*RRVH%D\/DNH0HOYLOOHDQGWKH1RUWK$WODQWLF'U1DLUQUHYLHZHG%DLUG¶VGDWD
DQDO\VLVHIIRUWVLQVXSSRUWRIGHYHORSPHQWRILQSXWDQGFDOLEUDWLRQGDWDIRUWKHLUPRGHOOLQJ%DLUGPRGHOOLQJXQGHUWKHUHYLHZ
RI'U1DLUQLQFOXGHGZDWHUVKHGPRGHOOLQJDQGDQDO\VLVIRUDOORIWKHZDWHUVKHGVWR*RRVH%D\DQG/DNH0HOYLOOHDQG
GHWDLOHG'HOIW'PRGHOOLQJRIK\GURG\QDPLFVVDOLQLW\WHPSHUDWXUHDQGFRQWDPLQDQWWUDQVSRUWIURPWKH/RZHU&KXUFKLOO
5LYHULQWRWKH1RUWK$WODQWLF

+DUPIXO$OJDO%ORRP$FWLRQ3ODQV1HZ<RUN6WDWH/DNHV
1HZ<RUN SUHVHQW 
'U1DLUQLVWKH%DLUG6HQLRU7HFKQLFDO$GYLVRUIRUWKLVSURMHFWWRHYDOXDWHWKHFDXVHRIKDUPIXODOJDOEORRPVRQ1HZ
<RUN6WDWHODNHVDQGWRGHYHORS$FWLRQ3ODQVIRUWKHUHKDELOLWDWLRQRIWKHVHODNHVWRUHGXFHWKHULVNRIIXWXUHDOJDOEORRPV
7KHODNHVLQFOXGHGVHYHUDO)LQJHU/DNHVLQFOXGLQJ/DNH*HRUJHDQG/DNH&KDPSODLQ'U1DLUQKDGRYHUDOOUHVSRQVLELOLW\
IRU%DLUG¶VUROHLQUHYLHZLQJZDWHUVKHGULYHUDQGODNHGDWDRQIORZVVHGLPHQWDQGQXWULHQWWUDQVSRUWLQWRWKHWKLUWHHQODNHV
$ZLGHUDQJHRIQXPHULFDOPRGHOVRIZDWHUVKHGULYHUDQGODNHSURFHVVHVIRUWKHWKLUWHHQODNHVDQGWKHLUUHVSHFWLYH
ZDWHUVKHGVZHUHUHYLHZHG%DLUGDOVRFRPSOHWHGH[WHQVLYHUHPRWHVHQVLQJDQDO\VLVRIZDWHUVKHGDQGODNHFRQGLWLRQV
LQFOXGLQJ&KORURSK\OODPDSSLQJWRHYDOXDWHDOJDOEORRPVRQWKHODNHV'U1DLUQFRRUGLQDWHG%DLUG¶VFRQWULEXWLRQVWRDFWLRQ
SODQVIRUUHVWRUDWLRQRIWKHODNHVDQGWKHLUUHVSHFWLYHZDWHUVKHGVWRUHGXFHWKHULVNRIIXWXUHKDUPIXODOJDOEORRPV

)ORRGLQJRI1HZ<RUN&LW\%XLOGLQJV'XULQJ+XUULFDQH6DQG\
1HZ<RUN SUHVHQW 
%DLUGDQG'U1DLUQKDYHEHHQUHWDLQHGWRUHYLHZQXPHULFDOPRGHOOLQJRIIORRGLQXQGDWLRQDVVRFLDWHGZLWKH[SHUWZLWQHVV
WHVWLPRQ\IRUWKLVFRQILGHQWLDOFOLHQW7KHPRGHOOLQJLQFOXGHVRYHUODQGIORZGXHWRVWRUPVXUJHDQGIORZLQWRDVHULHVRI
LQWHUFRQQHFWEDVHPHQWVRYHUD&LW\EORFN7KHUHYLHZLQFOXGHVERWKDQDVVHVVPHQWRIWKHPRGHOLQSXWVRXWSXWVDQG
DVVXPSWLRQVDQGFRPSDULVRQWRGDWDFROOHFWHGGXULQJWKHHYHQW8QGHU'U1DLUQ¶VGLUHFWLRQ%DLUGDOVRFRPSOHWHG
LQGHSHQGHQWPRGHOOLQJRIWKHLQXQGDWLRQRIWKHEXLOGLQJVGXULQJ+XUULFDQH6DQG\

(DVW6DQGXVN\%D\:HWODQG5HVWRUDWLRQ3URMHFWDQG6DQGXVN\%D\5HVWRUDWLRQ3ODQ
6DQGXVN\2KLR SUHVHQW 
'U1DLUQLVWKH%DLUG6HQLRU7HFKQLFDO$GYLVRUIRUWKLVSURMHFWWRUHVWRUHZHWODQGVWR(DVW6DQGXVN\%D\%DLUGDUHD
VXEFRQVXOWDQWWRWKLV&LW\RI6DQGXVN\SURMHFWIXQGHGE\WKH2KLR'15%DLUG¶VUROHLQFOXGHVFKDUDFWHUL]DWLRQRIWKH
K\GURORJLFK\GURG\QDPLFDQGVHGLPHQWRORJLFSURFHVVHVWKDWDUHUHOHYDQWWRERWKWKHKLVWRULFGLVDSSHDUDQFHDQGUHVWRUDWLRQ
RIWKH3XWQDP0DUVKFRPSOH[%DLUGDUHXQGHUWDNLQJILHOGZRUNQXPHULFDOPRGHORIWKHZDWHUVKHGDQGED\FRQWULEXWLRQWR
FRQFHSWGHYHORSPHQWDQGGHYHORSPHQWRIGHVLJQGRFXPHQWVIRUWKHVROXWLRQ'U1DLUQZDVDOVRWKHVHQLRUWHFKQLFDO
UHYLHZHUDW%DLUGIRUDVHFRQGSURMHFWRQ6DQGXVN\%D\LQYROYLQJWKHGHYHORSPHQWRIDVWUDWHJLFUHVWRUDWLRQSODQIRUWKH
/RZHU6DQGXVN\5LYHUDQG6DQGXVN\%D\LQYROYLQJWKHEHQHILFLDOXVHRIVHGLPHQWWRUHVWRUHZHWODQGVWRWKHZLGHED\DUHD
WRWUDSVHGLPHQWDQGQXWULHQWVEHIRUHWKH\UHDFKWKHZHVWHUQEDVLQRI/DNH(ULH

)R[5LYHU3&%&RQWDPLQDWLRQ:LVFRQVLQ
)R[5LYHU:LVFRQVLQ  
'U1DLUQZDVUHWDLQHGDVDUHEXWWDOH[SHUWZLWQHVVLQWKLVOLWLJDWLRQLQYROYLQJ3&%FRQWDPLQDWLRQRIWKH)R[5LYHU,QWKLVUROH
'U1DLUQUHYLHZHGSUHYLRXVUHSRUWVRQWKHPRGHOOLQJRIK\GURORJLFK\GURG\QDPLFVHGLPHQWWUDQVSRUWDQGFRQWDPLQDQW
WUDQVSRUWSURFHVVHVRYHUD\HDUSHULRGGDWLQJEDFNWKHV'U1DLUQDOVRUHYLHZHGDZLGHUDQJHRIGDWDUHSRUWVDQG
DQDO\VHVLQVXSSRUWRIWKHHYDOXDWLRQRI3&%IDWHDQGWUDQVSRUW'U1DLUQPDQDJHGDWHDPRIVFLHQWLVWVDQGPRGHOHUVDW
%DLUGLQWKHWHVWLQJDQGVLPXODWLRQRIIDWHDQGWUDQVSRUWSURFHVVHVRQWKH)R[5LYHU
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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8QGHU$UPRXU:RUOG+HDGTXDUWHUV
%DOWLPRUH+DUERU0DU\ODQG  
'U1DLUQZDVWKH%DLUG3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRUDOOK\GURORJLFDQGFRDVWDOHQJLQHHULQJUHODWHG
WRWKHGHYHORSPHQWRI8QGHU$UPRXU¶VQHZDFUHJOREDOKHDGTXDUWHUVDW3RUW&RYLQJWRQLQ%DOWLPRUH+DUERU0DU\ODQG
7KHSURMHFWLQFOXGHGDQDO\VLVDQGGHVLJQRIVHYHUDOQHZZDWHUIURQWHOHPHQWVLQFOXGLQJDIWORQJPDUJLQDOZKDUID
IWORQJOLYLQJVKRUHOLQHDDFUHPDQPDGHODNHDQHZFRROLQJZDWHULQWDNHDQGDELRZHLURXWIDOOVWUXFWXUH%DLUGZDV
UHVSRQVLEOHIRUWHFKQLFDODQDO\VHVWRVXSSRUWGHVLJQRIDOOZDWHUIURQWHOHPHQWVLQFOXGLQJDVVHVVPHQWRIIORRGULVNGXHWR
KXUULFDQHJHQHUDWHGVWRUPVXUJHZDYHUXQXSDQGRYHUWRSSLQJDVZHOODVSRWHQWLDOIXWXUHVHDOHYHOULVH%DLUGSURYLGHG
UHFRPPHQGDWLRQVIRUEXLOGLQJILUVWIORRUHOHYDWLRQVZKDUIGHFNHOHYDWLRQVDQGVKRUHSURWHFWLRQFUHVWHOHYDWLRQV%DLUGZDV
DOVRUHVSRQVLEOHIRUWKHGHVLJQRIDFRROLQJZDWHUV\VWHPLQFOXGLQJPRGHOLQJDQGFRPSOLDQFHDQDO\VHVRIWKHLQWDNH
VWUXFWXUHDWKUHHǦDFUHPDQPDGHODNHIRULQLWLDOFRROLQJDQGWZRWKHUPDOGLVFKDUJHVWUXFWXUHV

%D\RX/DIRXUFKH3XPS6WDWLRQDQG'LYHUVLRQ
'RQDOGVRQYLOOH/RZHU0LVVLVVLSSL5LYHU SUHVHQW 
'U1DLUQLVWKH%DLUG3URMHFW0DQDJHUIRUWKLVSURMHFWWRLQFUHDVHWKHSXPSVWDWLRQFDSDFLW\WKDWVXSSOLHVZDWHUIURPWKH
0LVVLVVLSSL5LYHUWR%D\RX/DIRXUFKH%DLUG¶VUROHRQWKHSURMHFWFRQVLVWRIZDWHUDQGVHGLPHQWPDQDJHPHQWRQWKHULYHU
DQGED\RXVLGHVRIWKHSURMHFW%DLUGKDVFRRUGLQDWHGILHOGVXUYH\VLQFOXGLQJ$'&3WXUELGLW\JDJHVEHGDQGZDWHU
VHGLPHQWVDPSOLQJDQGEDWK\PHWU\$'K\GURG\QDPLFVHGLPHQWWUDQVSRUWDQGPRUSKRORJLFPRGHORIWKHULYHUZDV
GHYHORSHGDQGDSSOLHGDQGOLQNHGWRD+(&5$6PRGHORIWKHED\RXWRVXSSRUWHYDOXDWLRQRIGLIIHUHQWDOWHUQDWLYHVIRU
VHGLPHQWDQGGHEULVPDQDJHPHQWLQWKHULYHUDQGRQWKHED\RX

-DYLWV&HQWHU([SDQVLRQ±)ORRG'\QDPLFV0RGHOLQJ
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'U1DLUQZDVWKH%DLUG3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHURQWKLVSURMHFWWRLQYHVWLJDWHSRWHQWLDOLPSDFWVRI
WKHSURSRVHGH[SDQVLRQRIWKH-DYLWV&HQWHUORFDWHGRQWK$YHQXHLQ1HZ<RUN&LW\RQIORRGG\QDPLFVDURXQGLWV
QHLJKERULQJ/LQFROQ7XQQHO9HQWLODWLRQ%XLOGLQJ%DLUGZDVUHWDLQHGWRDVVHVVWKHLPSDFWWKDWWKH&HQWHU¶VQHZDQQH[
ZRXOGKDYHRQIORRGOHYHOVDWWKHYHQWLODWLRQEXLOGLQJDQGFRQGXFWHGIORRGVLPXODWLRQVWRVLPXODWHRYHUODQGIORRGIORZDWWKH
VLWHLQFOXGLQJLQXQGDWLRQVDVVRFLDWHGZLWKWKHDQG\HDUIORRGHYHQWVIRUERWKWKHH[LVWLQJDQGSRVW
H[SDQVLRQFRQGLWLRQVWKHODWWHUXQGHUYDULRXVIXWXUHVHDOHYHOULVHVFHQDULRV

&KDQJLQJ&RXUVH'HVLJQ&RPSHWLWLRQ
3RVVLEOH5H$OLJQPHQWRIWKH/RZHU0LVVLVVLSSL5LYHU  
,Q6HSWHPEHU%DLUGZDVVHOHFWHGDVDZLQQLQJWHDPDPRQJJOREDOFRPSHWLWRUVLQWKH&KDQJLQJ&RXUVH'HVLJQ
&RPSHWLWLRQ'U1DLUQZDVWKH%DLUG7HDPOHDGHUDQGRIDQLQWHUGLVFLSOLQDU\WHDPRIOHDGLQJUHJLRQDODQGQDWLRQDO
VSHFLDOLVWV LQFOXGLQJDUHDVRIGHOWDDQGEDUULHULVODQGJHRPRUSKRORJ\VHDOHYHOULVHDQGVXEVLGHQFHHVWXDULQHSURFHVVHV
ZHWODQGVPDUVKEXLOGLQJILVKHULHVR\VWHUVQDYLJDWLRQIORRGULVNUHGXFWLRQDQGVRFLRHFRQRPLFIDFWRUV LQWKHGHYHORSPHQW
RILQQRYDWLYHVROXWLRQVWRWKHODQGORVVSUREOHPLQWKH0LVVLVVLSSL5LYHUGHOWDDVVRFLDWHGZLWKUHDOLJQPHQWRIWKHULYHUPRXWK
7KHWHDP VZRUNLQFOXGHGDZLGHUDQJHRIDQDO\VLVLQFOXGLQJQXPHULFDOPRGHOLQJRIULYHUIORRGLQJVWRUPVXUJH
K\GURG\QDPLFVHVWXDULQHVDOLQLW\VHGLPHQWWUDQVSRUWDQGGHOWDEXLOGLQJDQGQDYLJDWLRQVLPXODWLRQV'HWDLOHGUHYLHZVRI
PDUVKEXLOGLQJDQGR\VWHUUHHIUHVWRUDWLRQZHUHDOVRFRQVLGHUHGLQWKHGHYHORSPHQWRIWKHVROXWLRQ

&RDVWDO5LVN$VVHVVPHQWDQG0DQDJHPHQW3URJUDP
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'U1DLUQZDVWKHOHDGWHFKQLFDOUHYLHZHURIDVHGLPHQWWUDQVSRUWVWXG\WRDVVHVVVHDOOHYHOULVHLPSDFWVRQEHDFKHVDURXQG
%DUEDGRVDVSDUWRIWKH&RDVWDO5LVN$VVHVVPHQWDQG0DQDJHPHQW3URJUDP7KHVWXG\LQYROYHGDQLVODQGZLGH
DVVHVVPHQWRIXQGHUZDWHUKDELWDWFRQGLWLRQVLQUHODWLRQWRFDUERQDWHVHGLPHQWSURGXFWLRQSRWHQWLDOSURYLGLQJWKHQDWXUDO
VXSSO\RIEHDFKPDWHULDO$PXOWLFRPSRQHQWEHDFKVHGLPHQWEXGJHWSUHGLFWLRQPRGHOZDVGHYHORSHGWKDWIRUPXODWHVWKH
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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EDODQFHEHWZHHQVXSSO\DQGORVVRIVHGLPHQWIRULQGLYLGXDOEHDFKHVXQGHUIXWXUHVHDOHYHOULVHVFHQDULRV7KHPRGHOZLOO
VHUYHDVDPDQDJHPHQWWRROIRUWKH&RDVWDO=RQH0DQDJHPHQW8QLWWRXQGHUVWDQGWUHQGVDQGULVNVKLJKOLJKWNH\IXWXUH
LVVXHVFKDOOHQJHVDQGVXSSRUWEHDFKPDQDJHPHQWDFWLRQVRYHUDSODQQLQJKRUL]RQRIWR\HDUV

/D3DVWRUD5LYHUEDQN3URWHFWLRQ
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'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRU%DLUG¶VGHVLJQRIWKLVULYHUEDQNSURWHFWLRQSURMHFWWR
SURWHFWDKLJKZD\LQ3HUX6HYHUHULYHUEDQNHURVLRQZDVWKUHDWHQLQJDSULPDU\KLJKZD\DWDEHQGLQWKH/D3DVWRUD5LYHULQ
3XHUWR0ROGDQDGR3HUX%DLUGZDVUHVSRQVLEOHIRUGHVLJQGHYHORSPHQWRQWKLVPLOOLRQGHVLJQEXLOGSURMHFWFRQVLVWLQJ
RIVWHHOVKHHWSLOHEHQGZD\ZHLUVSURWHFWLQJNPRIULYHUEDQNFRPSOHWHGLQ%DLUG¶VDFWLYLWLHVXQGHU'U1DLUQ¶V
RYHUVLJKWLQFOXGHGUHYLHZRISK\VLFDOPRGHOLQJRIWKHSURWHFWLRQV\VWHPPDQDJHPHQWRIILHOGPHDVXUHPHQWVRIIORZVDQG
EDWK\PHWULFFKDQJHDQG'QXPHULFDOPRGHOLQJRIK\GURG\QDPLFVVHGLPHQWWUDQVSRUWDQGPRUSKRG\QDPLFVDOOLQVXSSRUW
RIGHVLJQGHYHORSPHQW

'XTP3RUW%DVLQ&KDQQHO6HGLPHQWDWLRQ$VVHVVPHQW
'XTP2PDQ  
'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRUWKLVDVVHVVPHQWRIFKDQQHOVHGLPHQWDWLRQDWWKH
QHZSRUWRI'XTPRQWKH,QGLDQ2FHDQ7KHSURMHFWLQYROYHVH[WHQVLYHILHOGZRUNXQGHUWKHGLUHFWLRQRI%DLUGDQG
K\GURG\QDPLFPRUSKRORJLFQXPHULFDOPRGHOLQJRIVHGLPHQWDWLRQSURFHVVHV

.DODPD]RR5LYHU6XSHUIXQG6LWH,QYHVWLJDWLRQV
.DODPD]RR5LYHU0,86$  
'U1DLUQZDVWKHOHDGH[SHUWZLWQHVVIRUWKHGHYHORSPHQWDQGDSSOLFDWLRQRI3&%)DWHDQG7UDQVSRUWPRGHOLQFOXGLQJ
ZDWHUVKHGK\GURG\QDPLFVHGLPHQWWUDQVSRUWPRUSKRORJLFFKDQJHDQGZDWHUTXDOLW\FRPSRQHQWV ZLWK6:$7DQG
'HOIW' 7KHPRGHOZDVGHYHORSHGFDOLEUDWHGDQGYDOLGDWHGWRGHYHORSDKLQGFDVWRIFRQGLWLRQVLQFOXGLQJGLVFKDUJHVIURP
IRXUWHHQSDSHUPLOOVIRUPLOHVRIWKH.DODPD]RR5LYHUEHWZHHQDQG%DLUG VZRUNDOVRLQFOXGHGILHOG
LQYHVWLJDWLRQVRIULYHUK\GURG\QDPLFVDQGEHGVHGLPHQWFRQGLWLRQV

&DSHUV5LGJH3XPSLQJ6WDWLRQIRUWKH/XFH%D\RX,QWHUEDVLQ7UDQVIHU3URMHFW
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'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRU%DLUG VUROHRQWKLVSURMHFWWRWUDQVIHUZDWHUIURPWKH
7ULQLW\5LYHUZHVWZDUGVWRZDUGV+RXVWRQLQ7H[DV7KH&DSHUV5LGJH3XPS6WDWLRQRIWKH7H[DV&RDVWDO:DWHU$XWKRULW\
IHDWXUHVD0*'FDSDFLW\WRWUDQVIHUIUHVKZDWHUDQGJRHVWRFRQVWUXFWLRQLQ%DLUGZRUNHGLQLWLDOO\DVD
VXEFRQWUDFWRUWR$(&20LQWKHVXFFHVVIXOFRPSOHWLRQRIWKH(QYLURQPHQWDO,PSDFW6WDWHPHQWDQGPRUHUHFHQWO\DVD
VXEFRQWUDFWRULQWKH)LQDO'HVLJQVWDJHWR'DQQHQEDXP%ODFNDQG9HDWFK%DLUGFRPSOHWHGGHWDLOHGJHRPRUSKLFDQDO\VLV
WKURXJKVLWHUHFRQQDLVVDQFHDQG*,6EDVHGDLUSKRWRDQDO\VLVLQDGGLWLRQWR'QXPHULFDOPRGHOOLQJRIULYHU
K\GURG\QDPLFVVHGLPHQWWUDQVSRUWDQGPRUSKRORJLFFKDQJHWRVXSSRUWWKHHQYLURQPHQWDOLPSDFWDVVHVVPHQWDQGILQDO
GHVLJQDQGWRHYDOXDWHSRWHQWLDOLPSDFWVWRIORRGLQJ%DLUGDOVRVXSSRUWHGWKHGHVLJQRIEDQNDQGWRHSURWHFWLRQIRUWKH
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(YDOXDWLRQRI6HGLPHQW6WDELOLW\DWD6XSHUIXQG6LWHIRU1DWLRQDO*ULG
*RZDQXV&DQDO%URRNO\Q1<86$ SUHVHQW 
'U1DLUQLVWKH3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRUDQHYDOXDWLRQRIVHGLPHQWVWDELOLW\LQDQLQGXVWULDOFDQDO
LQ%URRNO\Q%DLUG¶VZRUNLQFOXGHVFRRUGLQDWLRQRIILHOGZRUNLQFOXGLQJEDWK\PHWU\VXUYH\HURGLELOLW\VDPSOHDFTXLVLWLRQDQG
WHVWLQJ$'&3PHDVXUHPHQWVVHGLPHQWVDPSOHVDQGVXVSHQGHGVHGLPHQWVDPSOLQJ,QVXSSRUWRIWKLVSURMHFW%DLUGLV
DOVRUHVSRQVLEOHIRUDQHYDOXDWLRQRIEDUJHWUDIILFDQGEDUJHWUDIILFLPSDFWVQXPHULFDOPRGHOLQJRIK\GURG\QDPLFVVHGLPHQW
WUDQVSRUWDQGPRUSKRORJLFFKDQJHXVLQJ'HOIW'

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
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3LHU,9'HYHORSPHQWIRU9DOH
6DR/XLV%UD]LO  
'U1DLUQZDVWKH6HQLRU7HFKQLFDO$GYLVRUIRUWKHHYDOXDWLRQRIK\GURG\QDPLFVVHGLPHQWDWLRQVFRXUDQGXQGHUZDWHUVORSH
VWDELOLW\LVVXHVDVVRFLDWHGZLWKWKLV%LURQH[SRUWIDFLOLW\H[SDQVLRQE\9DOHLQQRUWKHUQ%UD]LO%DLUGFRRUGLQDWHG
FRPSUHKHQVLYHILHOGSURJUDPVLQFOXGLQJEDWK\PHWU\VXUYH\VJHRSK\VLFDOVXUYH\V$'&3PHDVXUHPHQWVVXVSHQGHG
VHGLPHQWVDPSOLQJVHDEHGVHGLPHQWVDPSOLQJDQGERUHKROHV%DLUGKDVFRPSOHWHGH[WHQVLYHPRGHOLQJRIK\GURG\QDPLFV
VHGLPHQWWUDQVSRUWDQGPRUSKRORJLFDOFKDQJHXVLQJRXULQKRXVHPRGHO0,6('WRHYDOXDWHFDSLWDODQGPDLQWHQDQFH
GUHGJLQJUHTXLUHPHQWVIRUVHGLPHQWWUDSVDQGEHUWKLQJDUHDVIRU9DOHPD[FODVVYHVVHOV ':7 

+DUERXU,PSURYHPHQWVWRDGGUHVV6HGLPHQWDWLRQ(URVLRQDQG:DYH$JLWDWLRQ
$O$VKNDUDKDQG4XUL\DW+DUERXUV2PDQ  
'U1DLUQZDVWKH%DLUG3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRUWKHHYDOXDWLRQRIVHGLPHQWDWLRQHURVLRQDQG
ZDYHDJLWDWLRQSUREOHPVDQGGHVLJQRIUHPHGLDOPHDVXUHVDWWKHVHWZRH[LVWLQJILVKHU\KDUERXUVLQ2PDQ%DLUG
FRRUGLQDWHGDFRPSUHKHQVLYHILHOGSURJUDPLQFOXGLQJEDWK\PHWU\VXUYH\PHWHRURORJLFDOPRQLWRULQJ$'&3PHDVXUHPHQWV
RIZDYHVDQGFXUUHQWVWLGHPHDVXUHPHQWVVHGLPHQWVDPSOLQJMHWSURELQJDQGERUHKROHV7KLVLQIRUPDWLRQLVVXSSRUWLQJ
QXPHULFDOPRGHOLQJRIZDYHVFXUUHQWVVHGLPHQWWUDQVSRUWDQGPRUSKRORJLFDOFKDQJHXVLQJRXULQKRXVHPRGHO
+<'526('WRXQGHUVWDQGWKHSUREOHPDQGGHYHORSVROXWLRQV6ROXWLRQVZHUHHYDOXDWHGLQDSK\VLFDOPRGHO7KHVHOHFWHG
VROXWLRQIRU4XLU\DWFRQVLVWVRIDPH[WHQVLRQRIWKHVRXWKEUHDNZDWHUZLWKRYHUWRQQHVRIVWRQHDQGRYHU
$FFURSRGH,,70FRQFUHWHDUPRUXQLWV IURPPXQLWVDORQJWKHWUXQNDQGPXQLWVDWWKHKHDG 

5LR&UXFHV(VWXDU\(YDOXDWLRQRI/DUJH6FDOH&KDQJHVLQ$TXDWLF9HJHWDWLRQ
9DOGLYLD&KLOH  
'U1DLUQZDVWKH%DLUG3URMHFW0DQDJHUIRUWKHHYDOXDWLRQRIWKHGLVDSSHDUDQFHRIVXEPHUJHGDTXDWLFYHJHWDWLRQDQGWKH
VHGLPHQWDWLRQRIWKLVNPORQJHVWXDU\LQ&KLOH7KHLQYHVWLJDWLRQLQFOXGHGDFRPSUHKHQVLYHILHOGLQYHVWLJDWLRQFRQVLVWLQJ
RIRYHUVHGLPHQWFRUHVUDGLRQXFOLGHGDWLQJODVHUSDUWLFOHDQDO\VLVELRLQGLFDWRUDQDO\VLVDQGWHVWLQJIRUPHWDOV$'&3
WXUELGLW\766DQGZDWHUOHYHOPHDVXUHPHQWV7KLVILHOGLQIRUPDWLRQZDVFRPELQHGZLWKDK\GURG\QDPLFDQGVHGLPHQW
WUDQVSRUWPRGHOWRLQYHVWLJDWHWKHUROHRISRLQWDQGQRQSRLQWVRXUFHORDGLQJRQDQXWULHQWDQGVHGLPHQWEDODQFHRIWKH
HVWXDU\6LQFHWKHODUJHVWHDUWKTXDNHHYHUUHFRUGHGFDXVHGPRIVXEVLGHQFHWRFUHDWHWKLVHVWXDU\WKHHVWXDU\KDVILOOHG
ZLWKVHGLPHQWOHDGLQJWRUDSLGVXFFHVVLRQLQYHJHWDWLRQFRPPXQLWLHV

(YDOXDWLRQRI5HTXLUHPHQWIRU1RUWK%UHDNZDWHU
3RUWRI6DODODK2PDQ  
'U1DLUQZDVWKH3URMHFW0DQDJHUIRUWKHHYDOXDWLRQPRRULQJSUREOHPVDVVRFLDWHGZLWKWKLVFRQWDLQHUWHUPLQDOSRUWLQ
VRXWKHUQ2PDQ7KHSULPDU\SUREOHPUHODWHVWRORQJZDYHV SHULRGVJUHDWHUWKDQV DQGUHIOHFWLRQRIORQJZDYHVIURPD
EHDFKLQWRWKHSRUW%DLUG¶VDVVLJQPHQWLVWRHYDOXDWHWKHQHHGIRUDPLOOLRQQRUWKEUHDNZDWHUWRSUHYHQWORQJZDYHV
IURPGLVUXSWLQJPRRULQJRSHUDWLRQVLQWKHSRUWDQGWRRSWLPL]HWKHOD\RXWRIWKHEUHDNZDWHU%DLUGLVDOVRUHVSRQVLEOHIRUDQG
(,$IRUWKHQHZEUHDNZDWHU7DVNVLQFOXGHEDWK\PHWU\VXUYH\H[WHQVLYHDQDO\VLVRIH[LVWLQJZDYHDQGVKLSPRWLRQGDWD
QXPHULFDOPRGHOLQJRIORQJZDYHVXVLQJ;%($&+DQGVKLSPRWLRQIRUYDULRXVSRUWOD\RXWDOWHUQDWLYHV7KH(,$WDVN
LQFOXGHVDQHYDOXDWLRQRIZDWHUTXDOLW\LPSDFWVRIWKHSURSRVHGEUHDNZDWHUDQGHURVLRQDQGVHGLPHQWDWLRQLPSDFWVRIWKH
EUHDNZDWHU

%ULFH/DJRRQ5HPHGLDWLRQ
6DXGL$UDELD  
%DLUG $VVRFLDWHVZHUHUHWDLQHGWRDSSO\DK\GURG\QDPLFPRGHO 0,.( DQGGHYHORSGHVLJQIRUWKHUHVWRUDWLRQRI%ULFH
/DJRRQRQWKH*XOIFRDVWRI6DXGL$UDELD'U1DLUQZDVWKH3URMHFW0DQDJHUIRUWKLVZRUN%DLUGFRPSOHWHGILHOGZRUN*,6
DQDO\VLVDQGQXPHULFDOPRGHOLQJWRGHYHORSWKHGHVLJQWRUHVWRUHWKLVFRDVWDOODJRRQ5HVWRUDWLRQLQFOXGHGUHRSHQLQJWKH
ODJRRQWRWKHVHDUHPRYDORIRLODQGUHFUHDWLRQRIWLGDOFKDQQHOVWKURXJKWKHODJRRQ7KHQXPHULFDOPRGHOZDVXVHGWR
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP         &RPPHUFLDOLQ&RQILGHQFH


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HYDOXDWHWKHUHTXLUHGRSHQLQJIRUWKHJDWHVWUXFWXUHDWWKHLQOHWWRWKHODJRRQLQDGGLWLRQWRWKHFRQILJXUDWLRQDQGGLPHQVLRQV
RILQWHUQDOWLGDOFKDQQHOV7KLVPLOOLRQUHVWRUDWLRQSURMHFWZDVFRPSOHWHGLQ

<DQEX,QGXVWULDO2XWIDOOV
6DXGL$UDELD  
%DLUG $VVRFLDWHVZHUHUHWDLQHGE\ORFDOHQYLURQPHQWDOFRQVXOWDQWVLQ6DXGL$UDELDWRGHYHORSWHVWDQGLPSOHPHQWD'
K\GURG\QDPLFDQGZDWHUTXDOLW\PRGHOWRHYDOXDWHWKHH[SDQVLRQRILQGXVWULDODQGGRPHVWLFZDVWHZDWHUWUHDWPHQWSODQWV
 WZRVHSDUDWHSURMHFWV IRUWKH,QGXVWULDO&LW\RI<DQEXRQWKH5HG6HD'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHRQWKLV
SURMHFWIRU%DLUG:RUNLQFOXGHGPRGHOGHYHORSPHQWFDOLEUDWLRQYDOLGDWLRQDJDLQVWH[LVWLQJGDWDDQGPRGHOLQJRIIXWXUH
VFHQDULRV7KHSXUSRVHRIWKHZRUNZDVWRVXSSRUW(QYLURQPHQWDO,PSDFW$VVHVVPHQWVIRUWKHWUHDWPHQWSODQH[SDQVLRQV

3RUW+HGODQG2XWHU+DUERXU'HYHORSPHQW
3RUW+HGODQG:HVWHUQ$XVWUDOLD  
'U1DLUQZDVWKH7HFKQLFDO'LUHFWRURIVHGLPHQWWUDQVSRUWVWXGLHVFRQGXFWHGLQVXSSRUWRIWKHGHVLJQRIDQHZRIIVKRUH
WHUPLQDOIRUWKHH[SRUWRILURQRUH7KHYHVVHOVWREHDFFRPPRGDWHGLQWKHIDFLOLW\UDQJHGLQVL]HIURPWR
':72YHUDOOUHVSRQVLELOLWLHVLQFOXGHGUHYLHZRIPHWHRURORJLFDODQGRFHDQRJUDSKLFFKDUDFWHUL]DWLRQGUHGJHGEDVLQOD\RXW
GUHGJHGGHSWKGHVLJQIRUDNPFKDQQHODQGEDVLQDQGHVWLPDWHVRIPDLQWHQDQFHGUHGJLQJUHTXLUHPHQWV%DLUGDSSOLHG
RXULQKRXVHPRGHO0,6('WRHYDOXDWHK\GURG\QDPLFVVHGLPHQWWUDQVSRUWDQGPRUSKRORJLFFKDQJHDQGFRPSOHWHG
UHYLHZVRI'(/)7'PRGHOLQJE\RWKHUV

)DULP3KRVSKDWH0DULQH7HUPLQDO'HYHORSPHQW
*XLQHD%LVVDX SUHVHQW 
'U1DLUQLVWKH%DLUG3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRUWKHGHYHORSPHQWRIPDULQHIDFLOLWLHVRSWLRQVIRU
WKLVQHZPLQHGHYHORSPHQWLQ*XLQHD%LVVDX:HVW$IULFD%DLUG¶VZRUNLQFOXGHGGHYHORSPHQWRIGHVLJQWRSURYLGHG
EDQNDEOHIHDVLELOLW\OHYHOFRVWHVWLPDWHVIRUFDSLWDODQGPDLQWHQDQFHFRVWVIRUDOOPDULQHIDFLOLWLHVDQGRSHUDWLRQVWRH[SRUW
WKHPLQHUDOSURGXFW7DVNVLQFOXGHGFRRUGLQDWLRQRIFRPSUHKHQVLYHILHOGSURJUDPVLQFOXGLQJEDWK\PHWU\VXUYH\
JHRSK\VLFDOVXUYH\VHDEHGVHGLPHQWVDPSOLQJ$'&3PHDVXUHPHQWVRIZDYHVDQGFXUUHQWVDQGWLGHPHDVXUHPHQWV
%DLUGFRPSOHWHGQXPHULFDOPRGHOLQJRIK\GURG\QDPLFVDQGVHGLPHQWWUDQVSRUWXVLQJRXULQKRXVHPRGHO0,6('%DLUG
GHYHORSHGGHVLJQIRUDQH[SRUWSLHUDQGGHVLJQIRUWRNPORQJFKDQQHOVLQFOXGLQJFDSLWDODQGRSHUDWLRQDOFRVW
HVWLPDWHV%DLUGHYDOXDWHGVKLSSLQJRSWLRQVIRUH[SRUW

&RWRQRX6HD'HIHQFH3URMHFW
%HQLQ:HVW$IULFD  
'U1DLUQZDVWKH3URMHFW0DQDJHUIRUWKHFRPSOHWLRQRID)LQDO'HVLJQ5HSRUWGUDZLQJVVSHFLILFDWLRQVELOORITXDQWLWLHV
DQGDQ(QYLURQPHQWDO$VVHVVPHQW5HSRUWIRUWKLV86'PLOOLRQVHDGHIHQFHSURMHFW7KHSURMHFWFRQVLVWHGRIHLJKWODUJH
KHDGODQGVWUXFWXUHVZLWKRYHUWRQQHVRIURFNDQGDOPRVWPRIEHDFKILOOWRSURWHFWNPRIVHYHUHO\HURGLQJ
VKRUHOLQH$QRWKHUDVSHFWRIWKHSURMHFWZDVDGGUHVVLQJDP\HDUVHGLPHQWDWLRQSUREOHPDWWKHGHHSGUDIW3RUWRI
&RWRQRX%DLUGZDVUHVSRQVLEOHIRUDOODVSHFWVRIGHVLJQRQWKLV'HVLJQ%XLOGSURMHFW,QYHVWLJDWLRQVLQFOXGHGWRSRJUDSKLF
DQGK\GURJUDSKLFVXUYH\LQJJHRWHFKQLFDODQGTXDUU\LQYHVWLJDWLRQVDQGQXPHULFDOPRGHOLQJRIZDYHVFXUUHQWVVDQG
WUDQVSRUWVHGLPHQWDWLRQDQGVKRUHOLQHFKDQJH,Q%DLUG $VVRFLDWHVZHUHUHWDLQHGWRWDNHWKHOHDGUROHLQ
GHYHORSLQJWHQGHUGRFXPHQWVIRUWKLVSURMHFWDQGWRSDUWLFLSDWHLQWKHHQJLQHHULQJVHUYLFHVGXULQJFRQVWUXFWLRQ

'RQ5LYHU0RXWK5HVWRUDWLRQDQG3RUW/DQGV)ORRG3URWHFWLRQ
7RURQWRDQG5HJLRQ&RQVHUYDWLRQ$XWKRULW\&DQDGD  
7KHQDWXUDOL]DWLRQRIWKH'RQ5LYHU0RXWKLQGRZQWRZQ7RURQWRVHHNVWRUHVWRUHVRPHRIWKHQDWXUDOIXQFWLRQVRIWKHULYHU
PRXWKDWWKHVDPHWLPHDVLPSURYLQJIORRGSURWHFWLRQ%DLUGLVDNH\SDUWRIWKHWHDPXQGHUWDNLQJWKHHQYLURQPHQWDO
DVVHVVPHQWDQGIXQFWLRQDOGHVLJQIRUQDWXUDOL]LQJWKH'RQDQGDGGUHVVLQJIORRGLQJLQWKH3RUW/DQGV%DLUG¶VUROHLVWR

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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DVVHVVWKHSK\VLFDOSURFHVVHVRIVHGLPHQWGHEULVWUDQVSRUWDQGGHSRVLWLRQXQGHUWKHH[LVWLQJFRQGLWLRQVDQGIRUDVHULHVRI
SURSRVHGDOWHUQDWLYHVXVLQJ'HOIW'7KLVDVVHVVPHQWLQFOXGHVVHGLPHQWWUDSDQDO\VLVDQGHYDOXDWLRQRIGUHGJLQJRSWLRQV
DVVHVVPHQWRIVHGLPHQWWUDQVSRUWDQGGHSRVLWLRQLQGLIIHUHQWQDWXUDOL]HGFKDQQHODOWHUQDWLYHVDQGSDUWLFLSDWLRQLQWKHGHVLJQ
DQGSXEOLFFRQVXOWDWLRQSURFHVV'U1DLUQLVWKH%DLUG3ULQFLSDOLQFKDUJHIRUWKHVHGLPHQWWUDQVSRUWDQDO\VLVDQGPRGHOOLQJ
DQGDQDFWLYHSDUWLFLSDQWLQWKH,QGLYLGXDO($SURFHVV

'HYHORSPHQWRI:DWHUVKHG%DVHG6HGLPHQW7UDQVSRUW0DQDJHPHQW6\VWHPV
'HWURLW'LVWULFW86$UP\&RUSVRI(QJLQHHUV  
'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHIRUWKHGHYHORSPHQWDQGLPSOHPHQWDWLRQRIVHYHUDOZDWHUVKHGVEDVHGK\GURORJLF
K\GURG\QDPLFDQGVHGLPHQWWUDQVSRUWPRGHOLQJV\VWHPVXVLQJ*,6DVDIUDPHZRUN%DLUGZDVUHVSRQVLEOHIRUGHYHORSLQJ
LPSOHPHQWLQJDQGWHVWLQJPRGHOVIRUWKH6DJLQDZ5LQ0LFKLJDQWKH0HQRPRQHH5LQ0LOZDXNHHWKH&OLQWRQ5LYHUQHDU
'HWURLWDQGWKH1HPDGML5DW'XOXWK)RUWKHVHIRXUZDWHUVKHGV%DLUGGHOLYHUHGILQDOUHSRUWVDQGXVHUPDQXDOVDQG
FRPSOHWHGWUDLQLQJZRUNVKRSVIRUORFDOXVHUVRIWKHV\VWHPV8QGHU'U1DLUQ¶VGLUHFWLRQ%DLUGLVGHYHORSLQJVLPLODU
V\VWHPVRQVHYHQRWKHUZDWHUVKHGVULYHUVDQGUHFHLYLQJZDWHUVLQ0LFKLJDQDQG2KLR%DLUG¶VRYHUDOOIHHVRQWKHVH
SURMHFWVH[FHHG86'PLOOLRQ

-HGGDK5HJLRQ&RDVWDO:DWHUDQG6HGLPHQW4XDOLW\$VVHVVPHQWDQG5HPHGLDWLRQ3URMHFW
-HGGDK6DXGL$UDELD  
'U1DLUQZDVWKH%DLUG3URMHFW0DQDJHUIRUWKLVFRPSUHKHQVLYHDVVHVVPHQWRIZDWHUDQGVHGLPHQWTXDOLW\DORQJDNP
UHDFKRI5HG6HDFRDVWFHQWHUHGRQ-HGGDK7KHLQYHVWLJDWLRQVLQFOXGHGZDWHUDQGVHGLPHQWTXDOLW\VDPSOLQJ
K\GURJUDSKLFVXUYH\VPHDVXUHPHQWVRIZDYHVDQGFXUUHQWVXVHRIELRLQGLFDWRUVDQGVWDEOHLVRWRSHDQDO\VLV'
QXPHULFDOPRGHOLQJRIK\GURG\QDPLFVDQGVHGLPHQWWUDQVSRUWDQGHYDOXDWLRQRIUHPHGLDODOWHUQDWLYHV$SODQIRUWKH
LPSOHPHQWDWLRQRIUHPHGLDOPHDVXUHVZDVGHYHORSHG

(YDOXDWLRQRI+DUERU,PSDFWVRQ'RZQGULIW6KRUHOLQH(URVLRQ
6W-RVHSK+DUERU/DNH0LFKLJDQ86$  
'U1DLUQZDVWKH3URMHFW0DQDJHUIRUWKLVFRPSUHKHQVLYHDVVHVVPHQWRIWKHLPSDFWVRI6W-RVHSK+DUERURQDGMDFHQW
VKRUHOLQHHURVLRQSURFHVVHV7KHZRUNZDVFRPSOHWHGWRGHYHORSH[SHUWZLWQHVVWHVWLPRQ\IRUDWULDOLQWKH)HGHUDO&RXUWRI
&ODLPVLQWKH86$'U1DLUQZDVWKHOHDGWHFKQLFDOH[SHUWLQERWKWKHDQGWULDOVIRUWKH86'HSWRI-XVWLFH
%DLUG VZRUNLQFOXGHGDWKRURXJKLQYHVWLJDWLRQRIWKHKLVWRU\RIHURVLRQSURFHVVHVVLQFHKDUERXUFRQVWUXFWLRQLQ
6SHFLILFWDVNVLQFOXGHGVKRUHOLQHFKDQJHDQDO\VLV DFFUHWLRQLQWKHILOOHWEHDFKHVDQGHURVLRQRIDGMDFHQWVKRUHV XVLQJ*,6
HYDOXDWLRQRIQDYLJDWLRQFKDQQHOGUHGJLQJHYDOXDWLRQRIWKHEHDFKQRXULVKPHQWPLWLJDWLRQSURJUDPQXPHULFDOPRGHOLQJRI
FKDQJHVWRZDWHUVKHGVXSSO\RIVHGLPHQWQXPHULFDOPRGHOLQJRIZDYHFOLPDWHZDYHWUDQVIRUPDWLRQK\GURG\QDPLF
ORQJVKRUHVHGLPHQWWUDQVSRUWDQGKDUERUE\SDVVLQJFRQVLGHUDWLRQRIFRKHVLYHDQGVDQG\VKRUHHURVLRQSURFHVVHVDQG
GHYHORSPHQWRIDFRPSUHKHQVLYHVHGLPHQWEXGJHWIRUVHYHUDOSHULRGVEHWZHHQDQGSUHVHQW

6W&ODLU5LYHU,QYHVWLJDWLRQ
*UHDW/DNHV%DVLQ  
'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHIRUWKLVDVVHVVPHQWRIUHGXFWLRQLQKHDGGLIIHUHQFHEHWZHHQ/DNHV+XURQ0LFKLJDQ
DQG/DNH6W&ODLU(ULH7KHSURMHFWGLVFRYHUHGDQRQJRLQJGURSLQWKHEDVHOHYHORI/DNHV0LFKLJDQ+XURQDQGIRXQGWKDW
WKLVZDVSULPDULO\H[SODLQHGE\HURVLRQRIWKHULYHUEHGRIWKHXSSHU6W&ODLU5LYHU7KHSURMHFWLQYROYHGQXPHULFDOPRGHOLQJ
*,6DQDO\VLVIURP/DNH+XURQWKURXJKWR/DNH(ULH

%UHDNZDWHU'DPDJHDQG5HSDLU$VVHVVPHQW
6RKDU,QGXVWULDO3RUW&RPSOH[2PDQ  
'U1DLUQZDVWKHSURMHFWPDQDJHUIRUDFRPSUHKHQVLYHDVVHVVPHQWRIF\FORQHGDPDJHWRNPRIEUHDNZDWHUVSURWHFWLQJD
ODUJHSRUWLQ2PDQ7KHVWXG\LQFOXGHGGHWDLOHGKLJKUHVROXWLRQODVHUDQGPXOWLEHDPVRQDUVXUYH\VRIWKHDERYHDQGEHORZ

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP         &RPPHUFLDOLQ&RQILGHQFH


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ZDWHUSRUWLRQVRIWKHEUHDNZDWHUDVVHVVPHQWTXDQWLILFDWLRQRIGDPDJHWRWKHDUPRXUOD\HUFDXVHGE\DWURSLFDOF\FORQH
DQGSUHOLPLQDU\GHVLJQGHYHORSPHQWIRUUHPHGLDOZRUNV'U1DLUQPDQDJHGWKHVWXG\WHDPGXULQJWKHSODQQLQJDQG
LPSOHPHQWDWLRQRIWKHILHOGVWXG\DQGWKURXJKRXWWKHGDWDUHGXFWLRQDQDO\VLVSKDVH

6HGLPHQWDWLRQ$VVHVVPHQWIRUDQHZ3RUWLQ*XLQHD
*XLQHD:HVW$IULFD  
'U1DLUQZDVWKHLQWHUQDOWHFKQLFDOGLUHFWRURIQXPHULFDOPRGHOLQJRIVHGLPHQWWUDQVSRUWDQGFKDQQHOVHGLPHQWDWLRQ
SURFHVVHVIRUWKLVQHZGHHSGUDIWSRUWDQGSURSRVHGNPORQJQDYLJDWLRQFKDQQHO7KHSURMHFWLQFOXGLQJFRRUGLQDWLRQRI
ILHOGLQYHVWLJDWLRQVWRPHDVXUHZDYHVDQGFXUUHQWVDQGGLUHFWILHOGZRUNWRUHWULHYHFRUHVVHDEHGVHGLPHQWVDPSOHVDQG
VXVSHQGHGVHGLPHQWVDPSOHV7KHQXPHULFDOPRGHOLQJFRQVLVWHGRIWKHDSSOLFDWLRQRIDK\GURG\QDPLFVHGLPHQWWUDQVSRUW
DQGPRUSKRORJLFPRGHOWRSUHGLFWVKRUWDQGORQJWHUPVHGLPHQWDWLRQDORQJWKHIXOOOHQJWKRIWKLVFKDQQHOWKHH[WHQGVIURP
RIIVKRUHLQWRWKHHVWXDU\RIWZRODUJHULYHUV

,-&/DNH2QWDULRDQG6W/DZUHQFH5LYHU5HYLHZRI5HJXODWLRQ3ODQV
,QWHUQDWLRQDO-RLQW&RPPLVVLRQ/DNH2QWDULR  
'U1DLUQZDVWKH%DLUG3ULQFLSDOLQFKDUJHIRUDODNHZLGHDVVHVVPHQWRIHURVLRQDQGIORRGLQJKD]DUGVDQGLPSDFWVWR
VXSSRUWWKHFXUUHQW,QWHUQDWLRQDO-RLQW&RPPLVVLRQUHYLHZRIUHJXODWLRQSODQVIRUFRQWUROOLQJWKHRXWIORZIURP/DNH2QWDULR
7KLV\HDUSURMHFWLQYROYHGGDWDFROOHFWLRQQXPHULFDOPRGHOLQJHFRQRPLFDQG*,6DQDO\VLVRQDODNHZLGHVFDOHFRYHULQJ
WKRXVDQGVRINLORPHWHUVWRGHWHUPLQHLPSDFWVRIGLIIHUHQWODNHOHYHOUHJXODWLRQSODQVRYHUD\HDUSODQQLQJKRUL]RQ%DLUG
GHYHORSHGFXVWRPL]HGVRIWZDUHLQWHJUDWLQJHURVLRQDQGIORRGSUHGLFWLRQPRGHOVZLWKHFRQRPLFGDPDJHPRGHOVZLWKLQD
*,6IUDPHZRUNWRFRPSOHWHWKLVWDVN

0RUSKRG\QDPLFVRI'UHGJHG3LWV±%LRORJLFDODQG3K\VLFDO,PSDFWV
*XOIRI0H[LFR860LQHUDOV0DQDJHPHQW6HUYLFH  
'U1DLUQZDVWKH3URMHFW0DQDJHUIRUWKHDVVHVVPHQWRILQILOOLQJRIGUHGJHGSLWVDORQJWKH*XOIRI0H[LFRDQG$WODQWLF
FRDVWVRIWKH86$&RDVWDOUHVWRUDWLRQSURMHFWVDVVRFLDWHGZLWKORQJWHUPSODQVDQGLQUHVSRQVHWRWKHGDPDJHDVVRFLDWHG
ZLWK+XUULFDQHV5LWDDQG.DWULQDUHTXLUHDVRXUFHRIEHDFKILOOTXDOLW\VHGLPHQW7KHSXUSRVHRIWKLVVWXG\LVWRHYDOXDWHSLW
PRUSKRORJ\ SLWLQILOOLQJDQGSLWPDUJLQHURVLRQ DQGWKHDVVRFLDWHGELRORJLFDODQGSK\VLFDOLPSDFWV7KHVWXG\LQFOXGHVILHOG
VXUYH\VRIDQH[LVWLQJSLW VHGLPHQWVDPSOHVDQGFRUHVEHQWKRVVDPSOLQJ$'&3PHDVXUHPHQWVK\GURJUDSKLFVXUYH\
ZDWHUTXDOLW\PHDVXUHPHQWVLQFOXGLQJWHPSHUDWXUHVDOLQLW\DQGVXVSHQGHGVHGLPHQW DQG'QXPHULFDOPRGHOLQJRISLW
LQILOOLQJZLWKWLPH7KHVWXG\UHVXOWHGLQJXLGHOLQHVIRUWKHUHJXODWLRQDQGPDQDJHPHQWRIVDQGDQGJUDYHOUHVRXUFHVDORQJ
WKH86FRDVW

%DUEDGRV&RDVWDO,QIUDVWUXFWXUH3URMHFW
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'U1DLUQZDVWKHSURMHFWPDQDJHUIRUWKHGHVLJQSKDVHRIRQHRIWKHODUJHVWRIHLJKWZDWHUIURQWUHKDELOLWDWLRQSURMHFWV%DLUG
GHVLJQHG7KHDZDUGZLQQLQJ86'PLOOLRQ5RFNOH\%HDFKSURMHFWFRQVLVWVRIEHDFKUHVWRUDWLRQWKURXJKWKHFRQVWUXFWLRQRI
QDWXUDOKHDGODQGVDQGEHDFKQRXULVKPHQWWRLPSURYHFRDVWDOUHVLOLHQFHDQGSXEOLFDFFHVV,QDGGLWLRQ'U1DLUQSURYLGHV
WHFKQLFDODGYLFHWRWKH&RDVWDO=RQH0DQDJHPHQW8QLWLQ%DUEDGRVRQDQRQJRLQJEDVLVUHODWHGWRWKHOLQNDJHEHWZHHQ
SRLQWDQGQRQSRLQWVRXUFH ZDWHUJURXQGZDWHUVKHG PDULQHZDWHUTXDOLW\UHHIKHDOWKDQGWKHOLQNWRORQJWHUPEHDFK
VWDELOLW\7KHVHYDULRXVVWXGLHVZHUHEDVHGRQH[WHQVLYHILHOGLQYHVWLJDWLRQVQXPHULFDOPRGHOLQJRIZDYHV LQFOXGLQJ
KXUULFDQHV VXUJHFXUUHQWVDQGVDQGWUDQVSRUW

3RUW'¶(KRDOD)RUW'DXSKLQ
0DGDJDVFDU  
'U1DLUQSURYLGHG4XDOLW\&RQWURORIVHGLPHQWWUDQVSRUWVWXGLHVRIWKHQHZPLOOLRQSRUWSURMHFWGHVLJQHGE\%DLUG7KH
SRUWLVORFDWHGDWWKHVRXWKHQGRI)DXVVH%DLHGHV*DOLRQVZKLFKLVDODUJHHPED\PHQWEHWZHHQWZRQDWXUDOKHDGODQGV

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP         &RPPHUFLDOLQ&RQILGHQFH


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XQGHUWKHDFWLRQRIELGLUHFWLRQDOVZHOODQGVHDZDYHV0DMRUSURMHFWFRPSRQHQWVLQFOXGHWZREHUWKVGUHGJLQJDQG
UHFODPDWLRQEHUPEUHDNZDWHUJUR\QHVQDYLJDWLRQFKDQQHODQGTXDUU\GHYHORSPHQW*,6DQDO\VLVRIKLVWRULFVKRUHOLQHV
DQGH[WHQVLYH'QXPHULFDODQDO\VLVRIZDYHVFXUUHQWVDQGVHGLPHQWWUDQVSRUWRIWKHED\ZLWKDQGZLWKRXWWKHSRUWLQSODFH
ZHUHFRQGXFWHGWRGHWHUPLQHVHGLPHQWDWLRQUDWHVDQGFRXQWHUPHDVXUHVDVZHOODVWKHHIIHFWRISRUWFRQVWUXFWLRQRQWKH
VKDSHRIWKHED\'U1DLUQKDVEHHQVHUYHGDVDVHQLRUWHFKQLFDOUHYLHZHURIWKHHURVLRQDQGVHGLPHQWDWLRQIURP%DLUG¶V
PRQLWRULQJRQWKHSURMHFW

6RXUFH:DWHU3URWHFWLRQ,QLWLDWLYH3URYLQFHRI2QWDULR
2QWDULR&DQDGD  
'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHDW%DLUGRQVHYHQGLIIHUHQWSURMHFWVZLWKRYHU0LQIHHVWRHYDOXDWHWKH
YXOQHUDELOLW\RIVXUIDFHZDWHULQWDNHVWRFRQWDPLQDWLRQ7KHZRUNLQYROYHVGHYHORSPHQWDQGDSSOLFDWLRQRISROLF\IRU
HYDOXDWLRQRIVXUIDFHZDWHULQWDNHV1XPHULFDOPRGHOLQJKDVEHHQFRPSOHWHGIRURYHUVXUIDFHZDWHULQWDNHVWR
GHWHUPLQHWKHWKUHDWVDQGYXOQHUDELOLW\IURPYDULRXVSROOXWDQWVRXUFHVLQFOXGLQJULYHUVZDVWHZDWHUWUHDWPHQWSODQWRXWIDOOV
DQGVSLOOVDWSRUWVDQGKDUERXUV

&DW,VODQG&KDLQ5HVWRUDWLRQ
*UHHQ%D\:,  
'U1DLUQZDVWKHSURMHFWPDQDJHUIRUWKHFRQFHSWXDODQGSUHOLPLQDU\GHVLJQSKDVHVRIWKLVPLOOLRQ86$&(DZDUG
ZLQQLQJ*UHDW/DNHV5HVWRUDWLRQ,QLWLDWLYHSURMHFWWKDWZDVFRPSOHWHGLQ7KHSURMHFWFRQVLVWHGRIUHVWRULQJWKH
DFUH&DW,VODQGFKDLQDQGFUHDWLQJFRQGLWLRQVIRUWKHUHFRYHU\RIWKHDFUH'XFN&UHHNZHWODQG7KHLQQRYDWLYH
DSSURDFKFRQVLVWHGRIFUHDWLQJDVNHOHWRQRIWKH&DW,VODQGFKDLQZKLFKZLOOEHILOOHGWKURXJKEHQHILFLDOXVHRIPLOOLRQFXELF
\DUGVRIGUHGJHGVHGLPHQWIURPWKH*UHHQ%D\QDYLJDWLRQFKDQQHORYHUWKHQH[W\HDUV7KHSURMHFWIHDWXUHGRYHU
IWRIUUXEEOHPRXQGVWUXFWXUHFRPSULVHGRIPRUHWKDQWRQVRIVWRQH7DVNVLQFOXGHGILHOGLQYHVWLJDWLRQVQXPHULFDO
DQGSK\VLFDOPRGHOLQJRIZDYHVDQGFXUUHQWVRYHUWRSSLQJVHGLPHQWSOXPHVDQGHYDOXDWLRQRIKLVWRULFGUHGJLQJDQG
VHGLPHQWDWLRQDFKLHYLQJVXUYLYDOFULWHULDIRUDTXDWLFYHJHWDWLRQDQGQDWXUDOLVODQGGHVLJQZLWKOLYLQJVKRUHOLQHV

.HWD6HD'HIHQFH3URMHFW*KDQD
:HVW$IULFD  
'U1DLUQZDVWKHVWXG\PDQDJHUIRUWKHGHYHORSPHQWRIDQPLOOLRQVHDGHIHQFHV\VWHPWRSURWHFWNPRIUDSLGO\
HURGLQJFRDVWOLQH7KHGHVLJQLQFOXGHGVHYHQODUJHKHDGODQGV HDFKFRQVWUXFWHGZLWKDSSUR[LPDWHO\WRIURFN 
PRIEHDFKQRXULVKPHQWDQGDIORRGUHOLHIVWUXFWXUH)LHOGLQYHVWLJDWLRQVLQFOXGHGERUHKROHVYLEUDFRUHVDXJHUV
WRSRJUDSKLFDQGK\GURJUDSKLFVXUYH\VDQGZDYHJDXJHGHSOR\PHQW'HVLJQDQDO\VHVLQFOXGHGWKHDSSOLFDWLRQRIQXPHULFDO
PRGHOVRIZDYHWUDQVIRUPDWLRQFRDVWDOSURFHVVHVVKRUHOLQHFKDQJHDQGWKHFRPSOHWLRQRISK\VLFDOPRGHOWHVWV7KH
QXPHULFDOPRGHOVZHUHDSSOLHGWRVLPXODWHZDYHVHWXSDQGUXQXSWKDWUHVXOWHGLQVHYHUHIORRGLQJDQGRYHUWRSSLQJRIWKH
EDUULHULVODQGWKDWSURWHFWV.HWD/DJRRQ%DLUG¶VHQJLQHHULQJIHHVGXULQJERWKGHVLJQDQGFRQVWUXFWLRQSKDVHVRIWKHSURMHFW
WRWDOHG&RQVWUXFWLRQRQWKHSURMHFWVWDUWHGLQ-DQXDU\DQGZDVFRPSOHWHGLQRQEXGJHWDQGDKHDG
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)ORRG+D]DUG5HYLHZIRU)(0$
&ROOLHU&RXQW\)ORULGD  
'U1DLUQPDQDJHG%DLUG¶VLQSXWWRDUHYLHZRIWKHKXUULFDQHIORRG]RQHPDSSLQJIRU&ROOLHU&RXQW\LQ)ORULGD%DLUGZDV
VSHFLILFDOO\UHWDLQHGE\)(0$WRGHWHUPLQHZKHWKHUDQDO\VHVFRPSOHWHGWRVXSSRUWUHPDSSLQJRIWKHIORRG]RQHFRUUHFWO\
FRQVLGHUHGWKHFRPELQHGLQIOXHQFHRIVWRUPVXUJHDQGZDYHVHWXSDORQJWKH&ROOLHU&RXQW\FRDVW




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
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([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP         &RPPHUFLDOLQ&RQILGHQFH


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/DNH0LFKLJDQ3RWHQWLDO'DPDJHV6WXG\86$UP\&RUSVRI(QJLQHHUV
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'U1DLUQZDVWKH%DLUG3ULQFLSDOLQFKDUJHIRUDVL[\HDU&RUSVRI(QJLQHHUV¶SURMHFWWRGHYHORSD)ORRGDQG(URVLRQ
3UHGLFWLRQ6\VWHP )(36 WRTXDQWLI\IORRGLQJHURVLRQDQGVHGLPHQWWUDQVSRUWSURFHVVHVLQLWLDOO\DORQJWKHHQWLUHNP
FRDVWRI/DNH0LFKLJDQDQGHYHQWXDOO\DOOWKH*UHDW/DNHV7KH)(36OLQNVZDYHDQDO\VLVWKH&26026FRDVWDOSURFHVV
PRGHODQGVHGLPHQWEXGJHWURXWLQHVWRD*,6V\VWHP IRUWKHSXUSRVHVRISUHDQGSRVWSURFHVVLQJ DQGSURYLGHVDYDOXDEOH
FRDVWDO]RQHPDQDJHPHQWWRROWRDVVHVVSRWHQWLDOHURVLRQDQGIORRGLQJGDPDJHVDQGIRUSODQQLQJSXUSRVHV7KHV\VWHP
DOVRSURYLGHVDUHJLRQDOVDQGPDQDJHPHQWWRROWRDVVHVVWKHLPSDFWRIYDULRXVIRUPVRIZDWHUIURQWGHYHORSPHQWRQVDQG
VXSSO\DQGVHGLPHQWDWLRQLVVXHV7KH)(36LVDOVREHLQJDSSOLHGWR/DNHV2QWDULRDQG(ULH

(OERZ&D\±)ORRGDQG(URVLRQ9XOQHUDELOLW\$VVHVVPHQW
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'U1DLUQZDVWKHVWXG\PDQDJHUIRUWKLVLQYHVWLJDWLRQRIIORRGDQGHURVLRQSURFHVVHVDORQJWKHVKRUHOLQHRI(OERZ&D\
7KHLQYHVWLJDWLRQZDVLQLWLDWHGWRDVVHVVGDPDJHFDXVHGE\+XUULFDQH)OR\GDQGWRGHYHORSUHFRPPHQGDWLRQVIRUUHPHGLDO
PHDVXUHV1XPHULFDOPRGHOVZHUHDSSOLHGWRDVVHVVGHHSZDWHUDQGQHDUVKRUHZDYHFRQGLWLRQVVWRUPVXUJHZDYH
JHQHUDWHGFXUUHQWVZDYHVHWXSUXQXSDQGRYHUZDVKDQGHURVLRQRIWKHGXQHIDFH7KHSUHGLFWLRQVZHUHYHULILHGZLWK
REVHUYDWLRQVRIIORRGLQJDQGHURVLRQGXULQJ+XUULFDQH)OR\G9XOQHUDELOLW\RIWKHVKRUHOLQHWRIXWXUHKXUULFDQHVLVSUHVHQWHG
WKURXJKGLUHFWOLQNVEHWZHHQWKHPRGHOVDQG*,6$IROORZXSVWXG\ZDVFRPSOHWHGWRDVVHVVWKHLPSDFWRI+XUULFDQHV
-HDQQHDQG)UDQFHVLQDQGWRUHILQHWKHSURSRVHGSURWHFWLRQRSWLRQV

+XGVRQ5LYHU3&%$VVHVVPHQW
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'U1DLUQZDVVHOHFWHGWRSURYLGHH[SHUWUHYLHZRQWKHK\GURG\QDPLFDQGVHGLPHQWWUDQVSRUWDVSHFWVRIWKH%DVHOLQH
0RGHOLQJ5HSRUWFRPSOHWHGIRUWKH(QYLURQPHQWDO3URWHFWLRQ$JHQF\

0RGHOLQJRI)DWHDQG7UDQVSRUWRI3&%&RQWDPLQDWHG6HGLPHQWVRQWKH)R[5LYHU:,
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'U1DLUQZDVWKHSURMHFWPDQDJHUIRUWKHGHYHORSPHQWRID''K\GURG\QDPLFIDWHDQGWUDQVSRUWPRGHOWRDVVHVV
UHVXVSHQVLRQSRWHQWLDOIRU3&%FRQWDPLQDWHGVHGLPHQWVIRUWKH)R[5LYHU5,)67KHSURMHFWLQFOXGHGDVVHVVPHQWRIWKH
UHVXVSHQVLRQFKDUDFWHULVWLFVRIILQHVHGLPHQWVXVLQJWKHUHVXOWVRIILHOGDQGODERUDWRU\PHWKRGV'U1DLUQDOVRPDQDJHG
WKHDSSOLFDWLRQRI*,6WRGHYHORS'PDSVRIFRQWDPLQDQWFRQFHQWUDWLRQDQGWRGLVSOD\SUHGLFWHGUHVXVSHQVLRQSDWWHUQVIRU
UHPHGLDODOWHUQDWLYHV

/RZHU*UHDW/DNHV)ORRGDQG(URVLRQ6WXG\
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,QWKH%XIIDOR'LVWULFW86$UP\&RUSVRI(QJLQHHUVLQLWLDWHGDFRPSUHKHQVLYHLQYHVWLJDWLRQRQWKH86VKRUHOLQHRI
/DNH(ULHDQG2QWDULR'U1DLUQZDVWKH3ULQFLSDOLQFKDUJHRQWKLVSURMHFWWKDWLQFOXGHGWKHDSSOLFDWLRQRIWKH)ORRGDQG
(URVLRQ3UHGLFWLRQ6\VWHP )(36 WRFRXQWLHVLQ2KLRDQG1HZ<RUN6WDWH7KH)(36LVDFXVWRPPRGHOLQJV\VWHP
GHYHORSHGE\%DLUGWRHYDOXDWHUHJLRQDOFRDVWDOSURFHVVHVSUHGLFWORQJWHUPHURVLRQLPSDFWVRIFRDVWDOVWUXFWXUHV VXFKDV
KDUERUV DQGDVVHVVPHQWVRIUHJLRQDOVHGLPHQWPDQDJHPHQW

6KHER\JDQ5LYHU:, 
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WKH6KHER\JDQ5LYHUWRLQYHVWLJDWHWKHSRWHQWLDOPRELOL]DWLRQRI3&%EHDULQJVHGLPHQW7KHSURMHFWZDVFRPSOHWHGIRUWKH
86$UP\&RUSVRI(QJLQHHUVRQEHKDOIRI(3$7KHZRUNLQFOXGHGPRGHOVHOHFWLRQDQGWHVWLQJODERUDWRU\H[SHULPHQWVWR
DVVHVVHURGLELOLW\RIUHODWLYHO\XQGLVWXUEHGFRUHVDPSOHVGDWDJDSDQDO\VLVDQGVXEVHTXHQWILHOGZRUNDQGWXUQRYHURIWKH
PRGHOLQJV\VWHPWRWKHFOLHQW
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP         &RPPHUFLDOLQ&RQILGHQFH


55HY                                                                                              $SSHQGL[%


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% 7HFKQLFDO3DSHUV
6*3HDUVRQ5/XEEDG70+/HDQG1DLUQ5%  7KHUPRPHFKDQLFDO(URVLRQ0RGHOOLQJRI%D\GDUDWVND\D%D\
        5XVVLDZLWK&26026WK,QWHUQDWLRQDO&RQIHUHQFHRQ6FRXUDQG(URVLRQ6HSWHPEHU
        0DWKHPDWLFDO,QVWLWXWH2[IRUG8.

1DLUQ5/LHJHO(9LFNHUPDQ-'DYLH6&DQFLHQQH-DQG0LOOHU'  3RVVLEOH5H$OLJQPHQWRIWKH/RZHU
          0LVVLVVLSSL5LYHUDQG,QIOXHQFHVRQ1DYLJDWLRQ3RUWV$6&(-XQH

'L[RQ-1DLUQ5%+HQVROG%)RUG*DQG2¶1HLOO.0  0LVVLVVLSSL'HOWDDQGWKH-HUVH\6KRUH,QQRYDWLYH
          3ODFH±%DVHG6ROXWLRQV7KH9DOXHRI,QWHUGLVFLSOLQDU\3HUVSHFWLYHV3URFWK,QWHUQDWLRQDO:RUNVKRSRQ:DYH
          +LQFDVWLQJDQG)RUHFDVWLQJWK&RDVWDO+D]DUG6\PSRVLXP.H\:HVW)/

*LEERQV&DQG1DLUQ5%  &RDVWDO5HPHGLDWLRQLQWKH$UDELDQ*XOI±7KH+\GUDXOLF5HVWRUDWLRQRID7LGDO/DJRRQ
         LQ6DXGL$UDELDWK,QWHUQDWLRQDO&RQIHUHQFHRQ(VWXDULHVDQG&RDVWV0XVFDW2PDQ

'LEDMQLD01DLUQ5%'XFNHWW)DQG*LEERQV&  :DYH&OLPDWH/RQJVKRUH7UDQVSRUWDQG6KRUHOLQH&KDQJHDW
          WKH2PDQ&RDVWWK,QWHUQDWLRQDO&RQIHUHQFHRQ(VWXDULHVDQG&RDVWV0XVFDW2PDQ

1DLUQ5'LEDMQLD0/X4DQG'HOSXSR'  /LTXHIDFWLRQIORZVOLGHVDW9DOH¶VRUHH[SRUWWHUPLQDO%UD]LO3URF
          &RDVWDO6HGLPHQWV¶:RUOG6FLHQWLILF6DQ'LHJR&DOLIRUQLD0D\

'LEDMQLD01DLUQ5%'HOSXSR'0RUDLV0)RXUQLHU&  0DQDJHPHQWRIVXEPDULQHVOLGHVDW9DOH¶VLURQRUH
          H[SRUWIDFLOLW\3RQWDGD0DGHLUD%UD]LO3URFHHGLQJVRI:HVWHUQ'UHGJLQJ$VVRFLDWLRQDQG7H[DV$ 08QLYHUVLW\
          &HQWHUIRU'UHGJLQJ6WXGLHV³'UHGJLQJ6XPPLWDQG([SR´-XQH

1DLUQ5%DQG6HOHJHDQ-3  6HGLPHQW0DQDJHPHQWDW6W-RVHSK5LYHUDQG+DUERU0LFKLJDQ86$
         SUHVHQW3URFHHGLQJVRI3,$1&:RUOG&RQJUHVV6DQ)UDQFLVFR86$-XQH

5HLQKDUGW(1DLUQ5%%DUDQDR3%UXQWRQ'$DQG5LVN0-  6HGLPHQW&RULQJDQG3RVW(DUWKTXDNH
        5HFRYHU\(VWLPDWHVLQWKH5LR&UXFHV(VWXDU\3UHVHQWHGDW6WDWHRIWKH&RDVW1HZ2UOHDQV/RXLVLDQD0DUFK
        

1DLUQ5%'LEDMQLD0'0RUDLV0/X4)RXUQLHU&3'HODXUp66  'HYHORSPHQWRIWKH3UHOLPLQDU\
         'UHGJLQJ3ODQIRUWKH9DOH3RQWDGD0DGHLUD3LHU,9([SRUW)DFLOLW\6DR/XLV%UD]LO:2'&21;;:RUOG
         'UHGJLQJ&RQJUHVVDQG([KLELWLRQ7KH$UWRI'UHGJLQJ%UXVVHOV%HOJLXP-XQH

'LEDMQLD01DLUQ5:LNHO*DQG$PDWR5  0RUSKRORJLFDO5HVSRQVHRI2IIVKRUH6KRDOVWR'UHGJLQJ6FHQDULRV
          3URF&RDVWDO6HGLPHQWV¶:RUOG6FLHQWLILF0LDPL)ORULGD0D\SS

1DLUQ5'LEDMQLD0:LNHO*DQG$PDWR5  $Q$QDO\VLVRI0RUSKRORJLFDO3DUDPHWHUVIRU6KRDOVRI0LG$WODQWLF
          %LJKW86$3URF&RDVWDO6HGLPHQWV¶:RUOG6FLHQWLILF0LDPL)ORULGD0D\SS

/X4DQG1DLUQ5  3UHGLFWLRQRQ0RUSKRORJLFDO5HVSRQVHRI'UHGJHG6DQG%RUURZ3LWV3URFHHGLQJV
         ,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(

'LEDMQLD06ROWDQSRXU01DLUQ5DQG$OODK\DU0  &\FORQH*RQX7KH0RVW,QWHQVH7URSLFDO&\FORQHRQ
          5HFRUGLQWKH$UDELDQ6HD,QGLDQ2FHDQ7URSLFDO&\FORQHVDQG&OLPDWH&KDQJH<&KDUDEL6XOWDQ4DERRV
          8QLYHUVLW\0XVFDW2PDQ (G 6SULQJHUSS

'LEDMQLD01DLUQ50F*LOOLV$DQG'HODXUH6  2QWKH$VVHVVPHQWRI,PSDFWVRI,QWHUUXSWLQJ/RQJVKRUH6DQG
          7UDQVSRUWRQWKH2PDQ&RDVW,&&=(0XVFDW2PDQ

5LVN0-%XUFKHOO0GH5RR.1DLUQ57XEUHWW0)RUVWHUUD*  7UDFHHOHPHQWVLQELYDOYHVKHOOVIURPWKH5tR
         &UXFHV&KLOH$TXDWLF%LRORJ\

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


55HY                                                                                                $SSHQGL[%


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5HLQKDUGW(*1DLUQ5%DQG/RSH]*  5HFRYHU\(VWLPDWHVIRUWKH5tR&UXFHV&KLOHDIWHUWKH0D\&KLOHDQ
        HDUWKTXDNH0DULQH*HRORJ\

/X46FRWW6DQG1DLUQ5%  0RGHOLQJ3UHGLFWLRQRI/RQJ7HUP6HGLPHQWDWLRQLQD'UHGJHG&KDQQHOWK
          ,QWHUQDWLRQDO&RQIHUHQFHRQ(VWXDULQHDQG&RDVWDO0RGHOLQJ6HDWWOH:DVKLQJWRQ1RYHPEHU

5LVN0-6KHUZRRG2$1DLUQ5%*LEERQV&  7UDFNLQJWKHUHFRUGRIVHZDJHGLVFKDUJHRII-HGGDK6DXGL
         $UDELDVLQFHXVLQJVWDEOHLVRWRSLFUHFRUGVIURPDQWLSDWKDULDQV0DULQH(FRORJ\3URJUHVV6HULHV

5LVN0-%XUFKHOO01DLUQ5%7XEUHWW0)RUVWHUUD*  7UDFHHOHPHQWVLQELYDOYHVIURPWKH5LR&UXFHV&KLOH
         WUDFHZDWHUVKHGHYROXWLRQDIWHUDPDMRUHDUWKTXDNHDQGFKDOOHQJHDSRVWXODWHGFKHPLFDOVSLOOIURPDSXOSSODQW
         $*8-RLQW$VVHPEO\7KH0HHWLQJRIWKH$PHULFDV±0D\7RURQWR2QWDULR&DQDGD

5HLQKDUGW(*1DLUQ5%DQG/RSH]*  6HGLPHQWDWLRQ3DWWHUQVLQWKH5LR&UXFHV$IWHUWKH0D\&KLOHDQ
        (DUWKTXDNHDQG7VXQDPL$*8-RLQW$VVHPEO\7KH0HHWLQJRIWKH$PHULFDV±0D\7RURQWR
        2QWDULR&DQDGD

1DLUQ5%/X4)RXUQLHU&33DQWRMD&DQG%DUDQDR3  ³7KUHH'LPHQVLRQDO+\GURG\QDPLF1XPHULFDO
         0RGHOLQJRIWKH&UXFHV5LYHUDQGWKH&DUORV$QGZDQGWHU6DQFWXDU\9DOGLYLD&KLOH3URFRIWKHWK,6(DQGWK
         +(,&,$+5

5LVN0-6KHUZRRG21DLUQ5%*LEERQV&&RWVDSDV/DQG70RQWHOOR  6KDOORZ$QWLSDWKDULDQV0DS
         6HZDJH3OXPHV-HGGDK6DXGL$UDELD3URFRIWKH$PHULFDQ6RFLHW\RI/LPQRORJ\DQG2FHDQRJUDSK\ $6/2 
         6XPPHU0HHWLQJ,QWHUDFWLRQVRQWKH(GJH6W-RKQ V1HZIRXQGODQG

5LVN0-2$6KHUZRRGDQG51DLUQ  7UDFLQJVHZDJHXVLQJDQWLSDWKDULDQVDQGJRUJRQLDQVH[DPSOHVIURP
          )ORULGDDQGWKH5HG6HD'HHSVHD&RUDO6\PSRVLXP3URJUDPPHDQG$EVWUDFWV

3DOPHU7$0RQWDJQD3$DQG1DLUQ5%  ³7KH(IIHFWVRI'UHGJH([FDYDWLRQ3LWRQ%HQWKLF0DFURIDXQDLQ
         2IIVKRUH/RXLVLDQD´-RI(QYLURQPHQWDO0DQDJHPHQW'2,V

'LEDMQLD01DLUQ5%DQG6HOHJHDQ-3  ³/RQJVKRUH6DQG7UDQVSRUW*UDGLHQWDQG%OXII(URVLRQLQWKH9LFLQLW\RI
          6W-RVHSK+DUERU0LFKLJDQ´3URFHHGLQJV,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(

'LEDMQLD06HOHJHDQ-3DQG1DLUQ5%  ³8VLQJ6FLHQFHWR&ODULI\WKH,VVXHVLQ6DQG5LJKWV/LWLJDWLRQ6W-RVHSK
          +DUERU0LFKLJDQ´3UHVHQWHGDWWKH$QQXDO0HHWLQJRIWKH$PHULFDQ6KRUHDQG%HDFK3UHVHUYDWLRQ$VVRFLDWLRQ
          &KLFDJR

1DLUQ5%DQG'LEDMQLD0  ³*HRPRUSKLF)HDWXUHV&UHDWHGDQG0DLQWDLQHGE\&URVVLQJ:DYH3DWWHUQV´3URFRI
         WKH$6&(&RDVWDO6HGLPHQWV&RQIHUHQFH¶

'LEDMQLD01DLUQ5%DQG6HOHJHDQ-3  ³*HRPRUSKLF5HVSRQVHDQG6HGLPHQW%XGJHWDW6W-RVHSK+DUERU
          6RXWKHDVW/DNH0LFKLJDQ´3URFRIWKH$6&(&RDVWDO6HGLPHQWV&RQIHUHQFH¶

5LVN0-DQG1DLUQ5%  ³)DFWRUV,QIOXHQFLQJWKH/RQJWHUP6WDELOLW\RIWKH&DUERQDWH6DQG%HDFKHVRI
         0DXULWLXV´3URFRIWKH$6&(&RDVWDO6HGLPHQWV&RQIHUHQFH¶

5REOLQ55'LEDMQLD01DLUQ5%DQG6HOHJHDQ-3³6KRUHOLQH5HVSRQVHWR'LNH)DLOXUHDW*UDQG0DUDLV+DUERU
         /DNH6XSHULRU0LFKLJDQ´3URFRIWKH$6&(&RDVWDO6HGLPHQWV&RQIHUHQFH¶

5LVN0-1DLUQ5%+XQWH:6KHUZRRG26DPPDUFR3%UDLWKZDLWH$:HDWKHUKHDG/DQG*RRGULGJH5
            ³%HWWHU:DWHU4XDOLW\%ULQJV%DFN&RUDOV:RUWKLQJ%DUEDGRV´3URFRIWKHWK&RQJUHVVRIWKH
         ,QWHUQDWLRQDO$VVRFLDWLRQRI7KHRUHWLFDODQG$SSOLHG/LPQRORJ\

1DLUQ5%/X4DQG'UXFNHU%  ³(YROXWLRQRI'UHGJHG3LWV2IIVKRUH/RXLVLDQD´3URFHHGLQJV,QWHUQDWLRQDO
         &RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP         &RPPHUFLDOLQ&RQILGHQFH


55HY                                                                                              $SSHQGL[%


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3HW\NRZVNL31DLUQ5%6HOHJHDQ-DQG%DUEHU/  ³&DW,VODQG&KDLQ5HVWRUDWLRQ*UHHQ%D\´3URF
        ,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(

1DLUQ5%%UXQWRQ'$DQG6HOHJHDQ-  ³0XOWLSOHDSSURDFKHVWRDVVHVVLQJWKHLPSDFWRIGDPVRQVHGLPHQW
         GHOLYHU\LQWKH6W-RVHSK5LYHU:DWHUVKHG0LFKLJDQ,OOLQRLV´WK)HGHUDO,QWHUDJHQF\6HGLPHQWDWLRQ&RQIHUHQFH
         5HQR1HYDGD$SULO

3RVVOH\7%UXQWRQ'$1DLUQ5%DQG6HOHJHDQ-  ³&RPSDULVRQRI6:$7DQG*66+$IRUDVVHVVPHQWRIWKH
         HIIHFWRI%03VRQZDWHUVKHGVHGLPHQW\LHOGDQGGHOLYHU\´WK)HGHUDO,QWHUDJHQF\6HGLPHQWDWLRQ&RQIHUHQFH
         5HQR1HYDGD$SULO

%UXQWRQ'$1DLUQ5%DQG6HOHJHDQ-  ³*HRPRUSKLFUHVSRQVHWRDGDPIDLOXUHLQWKH'HDG5LYHUZDWHUVKHG
         0LFKLJDQLQWHJUDWLRQRIHPSLULFDODQGDQDO\WLFDOWHFKQLTXHVLQD*,6IUDPHZRUN´WK)HGHUDO,QWHUDJHQF\
         6HGLPHQWDWLRQ&RQIHUHQFH5HQR1HYDGD

+DOYHUVRQ%1DLUQ5%%UXQWRQ'$DQG6HOHJHDQ-  ³$QDO\VLVRIDOWHUHGK\GURORJLFUHJLPHLQWKH&OLQWRQ5LYHU
        ZDWHUVKHG´UG)HGHUDO,QWHUDJHQF\+\GURORJLF0RGHOLQJ&RQIHUHQFH5HQR1HYDGD

1DLUQ5%DQG/X4  ³1XPHULFDO0RGHOLQJRI'UHGJHG3LWV&RDVWDO+\GURORJ\DQG3URFHVVHV´3URFHHGLQJVRIWKH
         $,+WK$QQLYHUVDU\0HHWLQJDQG,QWHUQDWLRQDO&RQIHUHQFH

%DNHU-(%RKOHQ):%RSS5)%URZQDZHOO%&ROOLHU7.)DUOH\.-*H\HU:51DLUQ5%DQG5RVPDQ/
           3&%VLQWKH8SSHUDQG7LGDO)UHVKZDWHU(VWXDU\7KH6FLHQFH%HKLQGWKH'UHGJLQJ&RQWURYHUV\LQWKH
         +XGVRQ%D\(VWXDU\(G/HYLQWRQ-6DQG:DOGPDQ-5&DPEULGJH8QLYHUVLW\3UHVV

$QJOLQ&'DQG1DLUQ5%  ³&RQIHGHUDWLRQ%ULGJH&DVH6WXG\´,Q6FRXU7HFKQRORJ\0HFKDQLFVDQG(QJLQHHULQJ
          3UDFWLFH(G$QQDQGDOH':0F*UDZ+LOO

/X41DLUQ5%DQG/DQJHQG\N6  ³*,6DQG0RGHOLQJ$QDO\VLVRQ0XVNHJRQ5LYHU'HOWD(YROXWLRQ´WK$QQXDO
         &RQIHUHQFHRI,QWHUQDWLRQDO$VVRFLDWLRQRI*UHDW/DNH5HVHDUFK$QQ$UERU0LFKLJDQ

/X4DQG1DLUQ5%  ³/DNH/HYHO3UHGLFWLRQLQ/DNH0LFKLJDQDQG+XURQ´WK$QQXDO&RQIHUHQFHRI,QWHUQDWLRQDO
          $VVRFLDWLRQRI*UHDW/DNH5HVHDUFK$QQ$UERU0LFKLJDQ

/X4'XFNHWW)+XWFKLQVRQ1%DOGZLQ5DQG1DLUQ5%  ³'(FRORJLFDO0RGHOLQJIRU$VVLPLODWLYH&DSDFLW\
         6WXG\RI/DNH6LPFRH´QG$QQXDO&RQIHUHQFHRI$TXDWLF7R[LFLW\:RUNVKRS:DWHUORR2QWDULR

=X]HN3-DQG1DLUQ5%  ³$XWRPDWHG/DNHZLGH&DOFXODWLRQVRI&RDVWDO)ORRGLQJDQG(FRQRPLF'DPDJHVIRU
         /DNH2QWDULR´3URFHHGLQJVRIWKH&RDVWDO'LVDVWHUV&RQIHUHQFH&KDUOHVWRQ6&

/X41DLUQ5%DQG6HOHJHDQ-3  ³1XPHULFDO0RGHOLQJRI3RWHQWLDO(URVLRQRIWKH/RZHU6KHER\JDQ5LYHU
         :LVFRQVLQ'XULQJ([WUHPH)ORRG)ORZV8VLQJ&+'6('´3URFHHGLQJVRIWKHWK,$+5&RQIHUHQFHRQ5LYHU
         &RDVWDODQG(VWXDULQH0RUSKRG\QDPLFV

%UXQWRQ'$DQG1DLUQ5%  ³:DWHUDQGVHGLPHQWEXGJHWVIRUODUJH*UHDW/DNHVZDWHUVKHGV´6RLODQG:DWHU
         &RQVHUYDWLRQ6RFLHW\(QYLURQPHQWDO0DQDJHPHQW&RQIHUHQFH5RFKHVWHU1HZ<RUN-XO\

1DLUQ5%DQG5LVN0-  ³&DUERQDWH%HDFKHV$EDODQFHEHWZHHQELRORJLFDODQGSK\VLFDOSURFHVVHV´(RV
         7UDQV$*8  )DOO0HHWLQJ6XSSO3DSHU+,

1DLUQ5%'LEDMQLD0$QJOLQ'DQG5LVN0-  ³'HVLJQRIFDUERQDWHVDQGEHDFKHVLQ%DUEDGRV´3URFHHGLQJV
         RIWKHWK,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(

1DLUQ5%DQG'LEDMQLD0  ³'HVLJQDQG&RQVWUXFWLRQRID/DUJH+HDGODQG6\VWHP.HWD6HD'HIHQFH3URMHFW
         :HVW$IULFD´-RXUQDORI&RDVWDO5HVHDUFK6SHFLDO,VVXH1R

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP         &RPPHUFLDOLQ&RQILGHQFH


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1DLUQ5%-RKQVRQ-+DUGLQ'DQG0LFKHO-  ³%LRORJLFDODQGSK\VLFDOPRQLWRULQJSURJUDPWRHYDOXDWHORQJWHUP
         LPSDFWVRIVDQGGUHGJLQJRSHUDWLRQVLQWKH8QLWHG6WDWHVRXWHUFRQWLQHQWDOVKHOI´-RXUQDORI&RDVWDO5HVHDUFK
         9RO

'LEDMQLD06DQFKH]&0DUWLQH]0/DUD$1DLUQ5%0DUYiQ)*)RXUQLHU&)DQG5LVN0  ³:K\DUH
          &DQFXQEHDFKHVHURGLQJ"$TXHVWLRQRILQWHJUDWHGFRDVWDO]RQHPDQDJHPHQW´3URFHHGLQJVRI;,,,&RQJUHVR
          3DQDPHULFDQRGH,QJHQLHULD2FHDQLFD\&RVWHUD0H[LFR

%UXQWRQ'$1DLUQ5%DQG6HOHJHDQ-  ³,QWHJUDWLRQRIK\GURORJLFVHGLPHQW\LHOGVHGLPHQWGHOLYHU\
         K\GURG\QDPLFDQGVHGLPHQWWUDQVSRUWPRGHOVLQODUJH*UHDW/DNHVZDWHUVKHGV´$PHULFDQ*HRSK\VLFDO8QLRQ
         )DOO0HHWLQJ6DQ)UDQFLVFR'HFHPEHU

%UXQWRQ'$/X41DLUQ5%DQG3RVVOH\7  ³8VHRI*,6DQGGLVWULEXWHGK\GURORJLFDQGVHGLPHQWGHOLYHU\
         PRGHOVDVWRROVIRUEHVWPDQDJHPHQWSODQQLQJRIODUJH*UHDW/DNHVZDWHUVKHGV´,QWHUQDWLRQDO6\PSRVLXPRQ
         )ORRG)RUHFDVWLQJDQG0DQDJHPHQWZLWK*,6DQG5HPRWH6HQVLQJ )06 *XDQJ]KRXDQG7KUHH*RUJHV
         &KLQD1RYHPEHU

0DUYiQ)*3RVVOH\70+DOYHUVRQ%(6HOHJHDQ-3DQG1DLUQ5%  ³6HGLPHQW'HOLYHU\DQG7UDQVSRUW
        $QDO\VLVIRUWKH0HQRPRQHH5LYHU:DWHUVKHG:,´,QWHUQDWLRQDO-RXUQDORI*UHDW/DNHV5HVHDUFK 6XEPLWWHGIRU
        UHYLHZ 

'LEDMQLD0DQG1DLUQ5%  ³&RWRQRX6HD'HIHQFH3URMHFW%HQLQ:HVW$IULFD´3URFHHGLQJVRIWKH,QWHUQDWLRQDO
          &RDVWDO(QJLQHHULQJ&RQIHUHQFH$6&(

5LVN0-1DLUQ5%DQG%KHURR5  ³3DOHRQWRORJ\DLGVFRDVWDOHQJLQHHULQJH[DPSOHVIURPWKH,QGLDQ2FHDQDQG
         WKH&DULEEHDQRIHQKDQFHGXQGHUVWDQGLQJRIFRDVWDOG\QDPLFV´$PHULFDQ*HRSK\VLFDO8QLRQ:HVWHUQ3DFLILF
         *HRSK\VLFV0HHWLQJ

'LEDMQLD01DLUQ5%DQG5RVV3  ³$QDO\VLVRI/RQJ7HUP6DQG$FFXPXODWLRQDWD+DUERUXVLQJ'+1XPHULFDO
          6LPXODWLRQ´&RDVWDO(QJLQHHULQJ9RO(OVHYLHU

+D\HV02DQG1DLUQ5%  ³1DWXUDO0DLQWHQDQFHRI6DQG5LGJHVDQG/LQHDU6KRDOVRQWKH86*XOIDQG$WODQWLF
        &RDVW6KHOYHVDQGWKH3RWHQWLDO,PSDFWVRI'UHGJLQJ´-RXUQDORI&RDVWDO5HVHDUFK9RO

/X4%UXQWRQ'$1DLUQ5%DQG'XFNHWW)  ³1XPHULFDOPRGHOLQJRILQWHUDFWLRQVEHWZHHQODNHOHYHOKHDG
          GLIIHUHQFHULYHUK\GURG\QDPLFVDQGEDWK\PHWULFFKDQJHLQWKH6W&ODLU5LYHU´$PHULFDQ*HRSK\VLFDO8QLRQ
          )DOO&RQIHUHQFH6DQ)UDQFLVFR

'LEDMQLD01DLUQ5%DQG5RVV3  ³(VWLPDWLQJ%\SDVVLQJ5DWH$URXQG&RDVWDO6WUXFWXUHV´$6&(3URFHHGLQJV
          &RDVWDO6HGLPHQWV¶

(OOLRWW7=X]HN31DLUQ5%DQG%HQGHU7  ³7KH,-&/DNH2QWDULR±6W/DZUHQFH5LYHU6WXG\$Q2YHUYLHZRI
            6HOHFWHG&RDVWDO7HFKQLFDO:RUNLQJ*URXS$FWLYLWLHVRQWKH/DNHDQG8SSHU5LYHU´3URFHHGLQJV&6&(VW
            &RDVWDO(VWXDU\DQG2IIVKRUH(QJLQHHULQJ&RQIHUHQFH

=X]HN3-1DLUQ5%(OOLRWW7DQG0RXOWRQ5  ³(URVLRQ0RGHOLQJDQG(FRQRPLF'DPDJH&DOFXODWLRQVZLWKWKH
         )ORRGDQG(URVLRQ3UHGLFWLRQ6\VWHP,-&/DNH2QWDULR±6W/DZUHQFH5LYHU6WXG\´&DQDGLDQ&RDVWDO
         &RQIHUHQFH.LQJVWRQ2QWDULR

=X]HN3-1DLUQ5%DQG7KLHPH6-  ³6SDWLDODQG7HPSRUDO&RQVLGHUDWLRQVIRU&DOFXODWLQJ6KRUHOLQH&KDQJH
         5DWHVLQWKH*UHDW/DNHV%DVLQ´-RXUQDORI&RDVWDO5HVHDUFK6SHFLDO,VVXH1R

=X]HN3-1DLUQ5%DQG5RVV3  ³4XDQWLI\LQJWKH+LVWRULF1HDUVKRUH6HGLPHQW%XGJHWIRU2WWDZDDQG$OOHJDQ
         &RXQW\/DNH0LFKLJDQ±WR3UHVHQW´3URFHHGLQJVRIWKH,QWHUQDWLRQDO$VVRFLDWLRQVRI*UHDW/DNHV
         5HVHDUFK&RQIHUHQFH
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP         &RPPHUFLDOLQ&RQILGHQFH


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0DUYiQ)*1DLUQ5%DQG=X]HN3-  ³)(36 )ORRGDQG(URVLRQ3UHGLFWLRQ6\VWHP DWRROIRUHYDOXDWLQJ
        6KRUHOLQH3URFHVVHVDQGWKHLU(FRQRPLF,PSDFWVDQGLWV3RWHQWLDO$SSOLFDWLRQWRWKH7H[DV&RDVW´3URFRIWKH
        7H[DV*/2&RQIHUHQFH

0F*LOOLV$'LEDMQLD0DQG1DLUQ5%  ³&RWRQRX6HD'HIHQFH3URMHFW%HQLQ:HVW$IULFD´3URFHHGLQJVRIWKH
          &DQDGLDQ&RDVWDO(QJLQHHULQJ&RQIHUHQFH

1DLUQ5%DQG'LEDMQLD0  ³.HWDVHDGHIHQFHSURMHFW&RQVWUXFWLRQSKDVH´3URFHHGLQJVRIWKHWK,QWHUQDWLRQDO
         &RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ:RUOG6FLHQWLILF

1DLUQ5%DQG$QJOLQ&'  &RQIHGHUDWLRQ%ULGJH1HZ6FRXU'HVLJQ0HWKRGRORJ\IRU&RPSOH[0DWHULDOV
         3URFHHGLQJVRIWKH)LUVW,QWHUQDWLRQDO&RQIHUHQFHRQ6FRXURI)RXQGDWLRQV7H[DV$ 08QLYHUVLW\&ROOHJH
         6WDWLRQ7H[DV1RYHPEHU

=X]HN3-DQG1DLUQ5%  ³4XDQWLI\LQJ&OLPDWH&KDQJH,PSDFWVRQ&RDVWDO(YROXWLRQ$SSOLFDWLRQRIWKH)ORRG
         DQG(URVLRQ3UHGLFWLRQ6\VWHP )(36 ´3URFHHGLQJVRIWKH&RDVWDO'LVDVWHUV&RQIHUHQFH6DQ'LHJR&$
         

=X]HN3-DQG1DLUQ5%  ³$SSOLFDWLRQRIWKH)ORRGDQG(URVLRQ3UHGLFWLRQ6\VWHPLQ2WWDZDDQG$OOHJDQ
         &RXQWLHV0LFKLJDQ´3URFHHGLQJVRIWKH/DNH0LFKLJDQ6WDWHRIWKH/DNH&RQIHUHQFH0XVNHJRQ0LFKLJDQ
         

=X]HN3-DQG1DLUQ5%  ³3UHGLFWLQJ6KRUHOLQH(URVLRQZLWK1XPHULFDO0RGHOVDQG&XVWRP*,67RROV´3URFRI
         WKH&RDVWDO=RQH&RQIHUHQFH&OHYHODQG2KLR

=X]HN3-1DLUQ5%DQG/DQJHQG\N6/  ³/DNH0LFKLJDQ3RWHQWLDO'DPDJHV6WXG\3DUW´3URFRIWKH
         &RDVWDO*HRWRROV&RQIHUHQFH&KDUOHVWRQ6RXWK&DUROLQD

1DLUQ5%DQG6HOHJHDQ-3  ³6HGLPHQW7UDQVSRUW0RGHOLQJIRU7KUHH*UHDW/DNHV:DWHUVKHGV3URFHHGLQJVRI
         WKHWK,QWHUDJHQF\6HGLPHQWDWLRQ&RQIHUHQFH5HQR1HYDGD

=X]HN3-1DLUQ5%DQG/DQJHQG\N6/  ³$*,6/LQNHG)ORRGDQG(URVLRQ3UHGLFWLRQ6\VWHPIRUWKH*UHDW
         /DNHV´3URFHHGLQJVRIWKH,QWHUQDWLRQDO$VVRFLDWLRQRI*UHDW/DNHV5HVHDUFK&RQIHUHQFH&RUQZDOO2QWDULR
         

1DLUQ5%DQG=X]HN3-  ³&RDVWDO3URFHVVHVDQG(URVLRQRQ/DNH(ULHDWWKH0LOOHQQLXP´3URFHHGLQJVRIWKH
         /DNH(ULHDWWKH0LOOHQQLXP&RQIHUHQFH:LQGVRU2QWDULR

1DLUQ5%DQG'DYLV-  ³$*,6/LQNHG6KRUH(URVLRQ3UHGLFWLRQ6\VWHPIRU/DNH0LFKLJDQ´3URFHHGLQJV&RDVWDO
         6HGLPHQWV¶$6&(/RQJ,VODQG1<

.RED\DVKL19LUGULQH-&1DLUQ5%DQG6RORPRQ60  ³(URVLRQRI)UR]HQ&OLIIVGXHWR6WRUP6XUJHRQ
        %HDXIRUW6HD&RDVW´-RXUQDORI&RDVWDO5HVHDUFK  

0LQQV&.DQG1DLUQ5%  ³'HIHQVLEOH0HWKRGV$SSOLFDWLRQVRIDSURFHGXUHIRUDVVHVVLQJGHYHORSPHQWVDIIHFWLQJ
         OLWWRUDOILVKKDELWDWRIWKH/RZHU*UHDW/DNHV´,Q$TXDWLF5HVWRUDWLRQLQ&DQDGD%DFNKX\V3XEOLVKHUV(G7
         0XUSK\

=X]HN3-1DLUQ5%*DXWKLHU5/DQG7KLHPH6-  ³$*,6/LQNHG6KRUH(URVLRQ3UHGLFWLRQ6\VWHPIRU/DNH
         0LFKLJDQ´3URFHHGLQJVRIWKH&RDVWDO*HRWRROV&RQIHUHQFH&KDUOHVWRQ6RXWK&DUROLQD

1DLUQ5%0DF,QWRVK.-+D\HV021DL*$QWKRQLR6/DQG:69DOOH\  ³&RDVWDO(URVLRQDW.HWD
         /DJRRQ*KDQD±/DUJH6FDOH6ROXWLRQWRD/DUJH6FDOH3UREOHP´3URFHHGLQJRIWKHWK,QWHUQDWLRQDO
         &RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(&RSHQKDJHQ


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP        &RPPHUFLDOLQ&RQILGHQFH


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1DLUQ5%6RORPRQ6.RED\DVKL1DQG9LUGULQH-  ³'HYHORSPHQWDQG7HVWLQJRID7KHUPDO0HFKDQLFDO
         1XPHULFDO0RGHOIRU3UHGLFWLQJ$UFWLF6KRUH(URVLRQ3URFHVVHV´3URFRIWKHWK,QWHUQDWLRQDO&RQIHUHQFHRQ
         3HUPDIURVW<HOORZNQLIH&DQDGD

1DLUQ5%DQG:LOOLV'+  ³(URVLRQ7UDQVSRUWDQG'HSRVLWLRQRI&RKHVLYH6HGLPHQWV´&RDVWDO(QJLQHHULQJ
         0DQXDO3DUW,,,&KDSWHU86$UP\&RUSVRI(QJLQHHUV&LUF1R

1DLUQ5%  ³(URVLRQRI&RKHVLYH6KRUHV´*UHDW/DNHV6SHFLDO,VVXHRI6KRUH %HDFK$SULO$6%3$
         .H\QRWHSUHVHQWDWLRQDWWKH$QQXDO&RQIHUHQFHRIWKH$6%3$9RO1R

=X]HN3-1DLUQ5%DQG0LQQV&.  ³7KH3K\VLFDO$VVHVVPHQWRI'HYHORSPHQWV$IIHFWLQJ)LVK+DELWDWLQ
         *UHDW/DNHV1HDUVKRUH5HJLRQV´3URFHHGLQJVRIWKH&DQDGLDQ&RDVWDO&RQIHUHQFH*XHOSK2QWDULR

$QJOLQ&'1DLUQ5%&RUQHWW$'XQDV]HJL/DQG'RXFHWWH'  ³%ULGJH3LHU6FRXU$VVHVVPHQWIRUWKH
          1RUWKXPEHUODQG6WUDLW&URVVLQJ&DQDGD´3URFHHGLQJVRIWKHWK,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO
          (QJLQHHULQJ$6&(2UODQGR

3DUVRQ/(0RUDQJ$DQG1DLUQ5%  ³*HRORJLF(IIHFWVRQ%HKDYLRXURI%HDFK)LOODQG6KRUHOLQH6WDELOLW\IRU
         6RXWKHDVW/DNH0LFKLJDQ´7HFKQLFDO5HSRUW&(5&86$UP\&RUSVRI(QJLQHHUV:DWHUZD\V
         ([SHULPHQW6WDWLRQ

=X]HN3-1DLUQ5%DQG*DXWKLHU5/  ³6SDWLDODQG7HPSRUDO9DULDELOLW\LQ7RSRI%DQN(URVLRQ5DWHV
         /HVVRQV/HDUQHGIURPWKH/DNH0LFKLJDQ3RWHQWLDO'DPDJHV6WXG\´3URFHHGLQJVRIWKH,QWHUQDWLRQDO
         $VVRFLDWLRQVRI*UHDW/DNHV5HVHDUFK&RQIHUHQFH

1DLUQ5%DQG3DUVRQ/(  ³(IIHFWLYHQHVVRI%HDFK1RXULVKPHQWDW6W-RVHSK+DUERU/DNH0LFKLJDQ´
         3URFHHGLQJV&RDVWDO'\QDPLFV $6&(3RODQG

1DLUQ5%6FRWW5'$QJOLQ&'DQG=X]HN3-  ³$QDO\VLVRI&RDVWDO3URFHVVHVDW7RURQWR,VODQGV´
         3URFHHGLQJVRIWKHWK,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(-DSDQ

1DLUQ5%DQG%DUURQ9  ³$Q(FRV\VWHP$SSURDFKWR6KRUHOLQH7UHDWPHQW´3URFHHGLQJV&RDVWDO=RQH&DQDGD
          +DOLID[

1DLUQ5%DQG+DWKHZD\'  ³%HQHILWVRI+D]DUG0LWLJDWLRQ3ODQQLQJWR5HGXFH6KRUHOLQH,PSDFWVGXHWR*UHDW
         /DNHV:DWHU/HYHO0DQDJHPHQW)OXFWXDWLRQVDQG6HYHUH6WRUPV´3URFHHGLQJVRIWKH$QQXDO$6&(+\GUDXOLFV
         &RQIHUHQFH%XIIDOR

1DLUQ5%  ³&RKHVLYH6KRUHVDQG/DUJH6FDOH&RDVWDO(YROXWLRQ´3URFHHGLQJV/DUJH6FDOH&RDVWDO%HKDYLRU
         86*62SHQ)LOH5HSRUW

1DLUQ5%  ³4XDVL'+0RUSKRG\QDPLF0RGHOOLQJ'HYHORSPHQW9DOLGDWLRQDQG$SSOLFDWLRQ´3URFHHGLQJVRIWKH
         &DQDGLDQ&RDVWDO&RQIHUHQFH9DQFRXYHU0D\

1DLUQ5%  ³3UDFWLFDO$SSOLFDWLRQVRI'DQG'&RDVWDO0RUSKRG\QDPLF0RGHOV´3URFHHGLQJVRIWKH,QWHUQDWLRQDO
         6\PSRVLXPRQ&RDVWDO*HRPRUSKRORJ\+LOWRQ+HDG6RXWK&DUROLQD-XQH

1DLUQ5%  ³3UHGLFWLQJ&RDVWDO3URFHVVHVDQG%HDFK)LOO3HUIRUPDQFH´3URFHHGLQJVRIWKH1DWLRQDO&RQIHUHQFHRQ
         %HDFK3UHVHUYDWLRQ7HFKQRORJ\6W3HWHUVEXUJ)ORULGD)HEUXDU\

1DLUQ5%DQG6RXWKJDWH+1  ³'HWHUPLQLVWLF3URILOH0RGHOOLQJRI1HDUVKRUH3URFHVVHV3DUW,,6HGLPHQW
         7UDQVSRUWDQG%HDFK3URILOH'HYHORSPHQW´&RDVWDO(QJLQHHULQJ

6RXWKJDWH+1DQG1DLUQ5%  ³'HWHUPLQLVWLF3URILOH0RGHOOLQJRI1HDUVKRUH3URFHVVHV3DUW,:DYHVDQG
        &XUUHQWV´&RDVWDO(QJLQHHULQJ

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP         &RPPHUFLDOLQ&RQILGHQFH


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1DLUQ5%  ³'HVLJQLQJIRU&RKHVLYH6KRUHV´,QYLWHGSDSHUIRU&RDVWDO(QJLQHHULQJLQ&DQDGD 4XHHQ V
         8QLYHUVLW\

1DLUQ5%DQG5LGGHOO.-  ³1XPHULFDO%HDFK3URILOH0RGHOOLQJIRU%HDFKILOO3URMHFWV´3URF&RDVWDO(QJLQHHULQJ
         3UDFWLFH $6&(/RQJ%HDFK&DOLIRUQLD

%LVKRS&76NDIHO0*DQG1DLUQ5%  ³&RKHVLYH3URILOH(URVLRQE\:DYHV´3URFHHGLQJVRIWKHUG
         ,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(9HQLFH

1DLUQ5%  ³3UREOHPV$VVRFLDWHGZLWK'HWHUPLQLVWLF0RGHOOLQJRI([WUHPH%HDFK(URVLRQ(YHQWV´3URFHHGLQJV
         &RDVWDO6HGLPHQWV $6&(6HDWWOH

1DLUQ5%  ³$SSOLFDWLRQVRI(QHUJHWLFV%DVHG1XPHULFDO0RGHOV´,QYLWHG3DSHUIRUDQ$6&(:RUNVKRSRQ
         'HYHORSPHQWDQG$SSOLFDWLRQRI&URVV6KRUH6HGLPHQW7UDQVSRUW0RGHOV&RDVWDO6HGLPHQWV 6HDWWOH

8OLF]ND.DQG1DLUQ5%  ³&URVV6KRUH6HGLPHQW7UDQVSRUW0RGHOOLQJDQG&RPSDULVRQZLWK7HVWVDW3URWRW\SH
          6FDOH´3URFHHGLQJV&RDVWDO6HGLPHQWV $6&(6HDWWOH

1DLUQ5%  ³%HDFK3URILOHV%DUVDQGWKH5ROHRI/RQJ:DYHV´3URFHHGLQJVRIWKH:RUNVKRSRQ:DYH*URXSV
         $VVRFLDWH&RPPLWWHHRQ6KRUHOLQHV15&&DQDGD

1DLUQ5%  ³3UHGLFWLRQRI&URVV6KRUH6HGLPHQW7UDQVSRUWDQG%HDFK3URILOH(YROXWLRQ´3K'7KHVLV'HSDUWPHQW
         RI&LYLO(QJLQHHULQJ,PSHULDO&ROOHJH/RQGRQ

1DLUQ5%5RHOYLQN-$DQG6RXWKJDWH+1  ³7UDQVLWLRQ=RQH:LGWKDQG,PSOLFDWLRQVIRU0RGHOOLQJ6XUI]RQH
         +\GURG\QDPLFV´3URFHHGLQJVRIWKHQG,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ'HOIW7KH
         1HWKHUODQGV

1DLUQ5%  ³9DOLGDWLRQRID'HWDLOHG$ORQJVKRUH6HGLPHQW7UDQVSRUW0RGHO´3URFHHGLQJVRI(XURPHFK6DQG
         7UDQVSRUWLQ5LYHUV(VWXDULHVDQGWKH6HD:DOOLQJIRUG(QJODQG

1DLUQ5%  ³3UHGLFWLRQRI:DYH+HLJKWDQG0HDQ5HWXUQ)ORZLQ&URVV6KRUH6HGLPHQW7UDQVSRUW0RGHOOLQJ´
         3URFHHGLQJV,$+56\PSRVLXPRQ0DWKHPDWLFDO0RGHOOLQJRI6HGLPHQW7UDQVSRUWLQWKH&RDVWDO=RQH
         &RSHQKDJHQ'HQPDUN

6D\DR2-DQG1DLUQ5%  ³3K\VLFDO0RGHOOLQJRI6KRUH(URVLRQDQG/LWWRUDO'ULIW´3URFHHGLQJVRIWKHVW
        ,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJ0DODJD6SDLQ

)OHPLQJ&$3LQFKLQ%0DQG1DLUQ5%  ³(YDOXDWLRQRI&RDVWDO6HGLPHQW7UDQVSRUW3UHGLFWLRQ7HFKQLTXHV´
         3URFHHGLQJVRIWKHWK,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ7DLSHL7DLZDQ

1DLUQ5%  ³3K\VLFDO0RGHOOLQJRI:DYH(URVLRQRQ&RKHVLYH3URILOHV´3URFHHGLQJV,$+56\PSRVLXPRQ&RKHVLYH
         6KRUHV1DWLRQDO5HVHDUFK&RXQFLO&DQDGD%XUOLQJWRQ2QWDULR

1DLUQ5%3LQFKLQ%0DQG3KLOSRWW./  ³&RKHVLYH3URILOH0RGHO'HYHORSPHQW´3URFHHGLQJV,$+56\PSRVLXP
         RQ&RKHVLYH6KRUHV1DWLRQDO5HVHDUFK&RXQFLO&DQDGD%XUOLQJWRQ2QWDULR

3LQFKLQ%01DLUQ5%DQG)OHPLQJ&$  ³$1XPHULFDO$SSURDFKWR:DYH+LQGFDVWLQJ:DYH7UDQVIRUPDWLRQ
          DQG6HGLPHQW7UDQVSRUW3WH6DSLQ´3URFHHGLQJV&RDVWDO(QJLQHHULQJ6HPLQDU4XHHQ V8QLYHUVLW\&DQDGD
          

)OHPLQJ&$3LQFKLQ%0DQG1DLUQ5%  ³(YDOXDWLRQRI&RDVWDO6HGLPHQW7UDQVSRUW7HFKQLTXHV3KDVH,,
         &RPSDULVRQZLWK0HDVXUHG'DWD1DWLRQDO5HVHDUFK&RXQFLO´&DQDGLDQ&RDVWDO6HGLPHQW6WXG\5HSRUW1R
         &6



$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP         &RPPHUFLDOLQ&RQILGHQFH


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3LQFKLQ%0DQG1DLUQ5%  ³7KH8VHRI1XPHULFDO0RGHOVIRUWKH'HVLJQRI$UWLILFLDO%HDFKHVWR3URWHFW&RKHVLYH
          6KRUHV´3URFHHGLQJV,$+56\PSRVLXPRQ&RKHVLYH6KRUHV1DWLRQDO5HVHDUFK&RXQFLO&DQDGD%XUOLQJWRQ
          2QWDULR

.DPSKXLV-:'DYLHV0+1DLUQ5%DQG6D\DR2-  ³&DOFXODWLRQRI/LWWRUDO6DQG7UDQVSRUW5DWH´&RDVWDO
       (QJLQHHULQJ9RO$PVWHUGDP

.DPSKXLV-:DQG1DLUQ5%  ³6FDOH(IIHFWVLQ/DUJH&RDVWDO0RELOH%HG0RGHOV´ 3URFRIWKHWK,QWHUQDWLRQDO
       &RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ+RXVWRQ


% $ZDUGV
       *ROG0HGDOLQ&LYLO(QJLQHHULQJ4XHHQ V8QLYHUVLW\.LQJVWRQ2QWDULR
       4XHHQ V8QLYHUVLW\-HQNLQV7URSK\IRUDWKOHWLFDQGVFKRODVWLFDFKLHYHPHQW
       8QZLQ3RVWJUDGXDWH3UL]HLQ&LYLO(QJLQHHULQJ,PSHULDO&ROOHJHRI6FLHQFH7HFKQRORJ\DQG
         0HGLFLQH/RQGRQ(QJODQG




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP        &RPPHUFLDOLQ&RQILGHQFH


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% 3UHYLRXV([SHUW:LWQHVV([SHULHQFH 
   &RPSHQVDWLRQ

% 3UHYLRXV([SHUW:LWQHVV([SHULHQFH

Muskegon Conservation Club v. Consumers Energy Co1R 0LFKLJDQWK&LUFXLW&RXUW  IRU
&RQVXPHUV0XVNHJRQ5LYHU±H[SHUWUHSRUWGHSRVLWLRQDQGWULDOWHVWLPRQ\ 

Banks et al. v. USA1R1R )HG&O ±OLDELOLW\SKDVH IRU'2-H[SHUWUHSRUWDWOHDVWRQHGHSRVLWLRQ
DQGWULDOWHVWLPRQ\ 

Banks et al. v. USA1R1R )HG&O ±GDPDJHVSKDVH IRU'2-WKUHHRUIRXUH[SHUWUHSRUWVDW
OHDVWRQHGHSRVLWLRQDQGWULDOWHVWLPRQ\ 

Georgia-Pacific Consumer Products LP, et al. v. NCR CorpHWDO1R&9 :'0LFK  .DODPD]RR
5LYHUIRU1&5±H[SHUWUHSRUWGHSRVLWLRQDQGWULDOWHVWLPRQ\ 

Appvion Inc. and NCR Corp. v. P.H. Glatfelter Co. et al )R[5LYHUIRU1&5±H[SHUWUHSRUWDQGGHSRVLWLRQ
VHWWOHPHQWUHDFKHGEHIRUHWULDOWKHUHIRUHQRWHVWLPRQ\ 

% &RPSHQVDWLRQ

7KHFRPSHQVDWLRQUDWHIRU'U1DLUQLVKRXU




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP        &RPPHUFLDOLQ&RQILGHQFH


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5HVXOWVRI8SVWUHDP+\GUDXOLF6WXG\




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP        &RPPHUFLDOLQ&RQILGHQFH


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& 6XPPDU\RI5HVXOWVDW8SVWUHDP7HVW3ODLQWLIIV

$VXPPDU\RIWKHUHVXOWVRIWKHXSVWUHDPK\GUDXOLFVWXG\DWWKHXSVWUHDP7HVW3URSHUWLHVLVSUHVHQWHGEHORZ
LQ7DEOHV&7KHXSVWUHDPK\GUDXOLFVWXG\LQFOXGHGWKHIROORZLQJPRGHOVFHQDULRV
x    $FWXDO+DUYH\5XQ5HSUHVHQWLQJDFWXDO+DUYH\(YHQWFRQGLWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKHGDPV
     5HIHUWR)LJXUHV&WR&
x    1R3URMHFW5XQ5HSUHVHQWLQJK\SRWKHWLFDOFRQGLWLRQVZLWKRXWWKHGDPVDQGFKDQQHOLPSURYHPHQWV
     ZLWKLQWKH*2/5HIHUWR)LJXUHV&WR&
x    *DWHV&ORVHG5XQ5HSUHVHQWLQJDFWXDO+DUYH\(YHQWFRQGLWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKHGDPV
     XQGHUWKHK\SRWKHWLFDOQRUHVHUYRLUUHOHDVHVFHQDULR
x    *DWHV2SHQ5XQ5HSUHVHQWLQJDFWXDO+DUYH\(YHQWFRQGLWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKHGDPV
     XQGHUWKHK\SRWKHWLFDOJDWHVIXOO\RSHQ PD[LPXPUHOHDVH VFHQDULR




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP        &RPPHUFLDOLQ&RQILGHQFH


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7DEOH&6XPPDU\RIPRGHOUXQUHVXOWVIRUXSVWUHDP7HVW3ODLQWLIIV

                                                          0D[LPXPGHSWKRILQXQGDWLRQDERYH))( IW                                'XUDWLRQ KU 
  3ODLQWLII                                              $FWXDO                             *DWHV         *DWHV      $FWXDO                 *DWHV       *DWHV
                                                                         1R3URMHFW                                           1R3URMHFW
                                                          +DUYH\                             &ORVHG       2SHQ       +DUYH\                 &ORVHG     2SHQ

  /DNHVRQ(OGULGJH                                                                                                                  

  :LQG.XUW -HDQ                                                                                                                  

  0LWFKHOO6WHZDUW                                                                                                                  

  :HVW+RXVWRQ$LUSRUW&RUS                                                                                                         

  0LWFKHOO0DULR                                                                                                               

  %XUQKDP(OL]DEHWK                                                                                                  !      

  6LGKX.XOZDQW                                                                                                         !      

  7XUQH\5REHUW                                                                                                         !      

  +ROODQG6FRWW                                                                                                         !       

  3RSRYLFL&DWKHULQH                                                                                                       !       

  6RDUHV(OLVLR                                                                                                            !       

  0LFX&KULVWLQD                                                                                                     !      

  *LURQ-XDQ $QQ                                                                                                   !      

  %DQNHU7RGG &KULVWLQD                                                                                                 !       
$FFRUGLQJWR3ODLQWLII¶VGHSRVLWLRQ>S%$,5'@WKHUHZDVQRIORRGLQJDERYHWKH))(




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                             &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW/DNHVRQ(OGULGJH $FWXDO+DUYH\5XQ 
                                                                                                                         $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                            3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                   )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI:LQG.XUW -HDQ $FWXDO+DUYH\5XQ 
                                                                                                                         $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRIZDWHULQ
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       HOHYDWLRQ IW1$9'                           1$9'                                   )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LWFKHOO6WHZDUW $FWXDO+DUYH\5XQ 
                                                                                                                         $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                            3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                   )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW:HVW+RXVWRQ$LUSRUW&RUS $FWXDO+DUYH\5XQ 
                                                                                                                         $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                            3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                   )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LWFKHOO0DULR $FWXDO+DUYH\5XQ 
                                                                                                                         $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                            3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                   )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%XUQKDP(OL]DEHWK $FWXDO+DUYH\5XQ 
                                                                                                                      $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW            6LPXODWHGGHSWKRI
                                                                                                                         3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                            ZDWHULQ)LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6LGKX.XOZDQW $FWXDO+DUYH\5XQ 
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    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                            3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                   )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI7XUQH\5REHUW $FWXDO+DUYH\5XQ 
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    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                            3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                   )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+ROODQG6FRWW $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ               6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     >@ IW1$9'                 ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI3RSRYLFL&DWKHULQH $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW          6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                          ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6RDUHV(OLVLR $FWXDO+DUYH\5XQ 
                                                                                                                         $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                            3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                   )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LFX&KULVWLQD $FWXDO+DUYH\5XQ 
                                                                                                                         $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                            3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                   )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI*LURQ-XDQ $QQ $FWXDO+DUYH\5XQ 
                                                                                                                         $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW           6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                            3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                   )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%DQNHU7RGG &KULVWLQD $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW         6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                         ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW/DNHVRQ(OGULGJH $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI:LQG.XUW -HDQ $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LWFKHOO6WHZDUW $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW:HVW+RXVWRQ$LUSRUW&RUS $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LWFKHOO0DULR $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%XUQKDP(OL]DEHWK $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6LGKX.XOZDQW $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI7XUQH\5REHUW $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+ROODQG6FRWW $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI3RSRYLFL&DWKHULQH $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6RDUHV(OLVLR $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LFX&KULVWLQD $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI*LURQ-XDQ $QQ $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 'RZQVWUHDP                                   &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%DQNHU7RGG &KULVWLQD $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV'RZQVWUHDP+\GUDXOLF6WXG\
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+\GUDXOLF6WXG\
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     $GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP
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                                                                             )RUIXUWKHULQIRUPDWLRQSOHDVHFRQWDFW
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                                                                             UQDLUQ#EDLUGFRP
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GDWDVHWVRURXWSXWVWKDWDFFRPSDQ\WKLVUHSRUWEHORQJVWR%DLUGDQGPD\QRWEHXVHGVROGWUDQVIHUUHGFRSLHGRUUHSURGXFHGLQZKROHRU
LQSDUWLQDQ\PDQQHURUIRUPRULQRURQDQ\PHGLDWRDQ\SHUVRQZLWKRXWWKHSULRUZULWWHQFRQVHQWRI%DLUG

7KLVGRFXPHQWZDVSUHSDUHGE\:)%DLUG $VVRFLDWHV/WGIRU86'HSDUWPHQWRI-XVWLFH7KHRXWSXWVIURPWKLVGRFXPHQWDUH
GHVLJQDWHGRQO\IRUDSSOLFDWLRQWRWKHLQWHQGHGSXUSRVHDVVSHFLILHGLQWKHGRFXPHQWDQGVKRXOGQRWEHXVHGIRUDQ\RWKHUVLWHRUSURMHFW
7KHPDWHULDOLQLWUHIOHFWVWKHMXGJPHQWRI%DLUGLQOLJKWRIWKHLQIRUPDWLRQDYDLODEOHWRWKHPDWWKHWLPHRISUHSDUDWLRQ$Q\XVHWKDWD7KLUG
3DUW\PDNHVRIWKLVGRFXPHQWRUDQ\UHOLDQFHRQGHFLVLRQVWREHPDGHEDVHGRQLWDUHWKHUHVSRQVLELOLW\RIVXFK7KLUG3DUWLHV%DLUG
DFFHSWVQRUHVSRQVLELOLW\IRUGDPDJHVLIDQ\VXIIHUHGE\DQ\7KLUG3DUW\DVDUHVXOWRIGHFLVLRQVPDGHRUDFWLRQVEDVHGRQWKLVGRFXPHQW




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6XPPDU\RI2SLQLRQV
*HQHUDO2SLQLRQVRQ'DP2SHUDWLRQV

+XUULFDQH+DUYH\H[FHHGHG$GGLFNVDQG%DUNHU5HVHUYRLUVK\GUDXOLFGHVLJQFRQGLWLRQV

7KH$GGLFNVDQG%DUNHUGDPVDUHGHVLJQHGIRUVKRUWWHUPLPSRXQGPHQWRIVWRUPZDWHUUXQRII7KH8QLWHG
6WDWHV$UP\&RUSVRI(QJLQHHUV WKH&RUSV GHVLJQHGWKHUHVHUYRLUVEDVHGRQLQIORZK\GURJUDSKVH[FHHGLQJ
WKHHVWLPDWHGUXQRIIGXULQJWKHIORRGZKLFKZDVWKHVWRUPRIUHFRUGDWWKDWWLPH

$IWHUFRQVWUXFWLRQRIWKHGDPVWKHFRQFHSWRI6WDQGDUG3URMHFW)ORRGV 63)V HQWHUHGWKHOH[LFRQ7KH63)LV
WKHIORRGWKDWUHSUHVHQWVWKHPRVWVHYHUHK\GURORJLFFRQGLWLRQVFRQVLGHUHGUHDVRQDEO\FKDUDFWHULVWLFRIWKH
JHRJUDSKLFUHJLRQ7KH63)KDVEHHQUHYLVHGIRUWKHGDPVRYHUWLPH,WZDVGHILQHGLQWKH5HVHUYRLU
5HJXODWLRQ0DQXDODQGPRVWUHFHQWO\XSGDWHGLQWKH+\GURORJ\5HSRUW'XULQJWKH+XUULFDQH+DUYH\
HYHQWWKHFRPELQHGFXPXODWLYHLQIORZVWR$GGLFNVDQG%DUNHU5HVHUYRLUVUHDFKHGDWOHDVWDFUHIHHW
7KLVH[FHHGHGWKH63)FXPXODWLYHLQIORZVE\ LQDGGLWLRQWRH[FHHGLQJWKH63)SHDNLQIORZV
E\WRWLPHV DQGH[FHHGHGWKHUHYLVHG63)FXPXODWLYHLQIORZWR$GGLFNVDQG%DUNHU5HVHUYRLUV E\
7KH+DUYH\(YHQWDOVRH[FHHGHGWKH:DWHU&RQWURO0DQXDO63)ZDWHUVXUIDFHHOHYDWLRQVDQG
UHVXOWHGLQXQFRQWUROOHGVSLOODURXQGWKHQRUWKHQGRI$GGLFNV5HVHUYRLUIRUWKHILUVWWLPHLQWKHKLVWRU\RIWKH
SURMHFW'XHWRWKHLQWHQVLW\DQGGXUDWLRQRIUDLQIDOODVVRFLDWHGZLWKWKH+DUYH\(YHQWWKH&RUSVPDGH
UHOHDVHVLQDFFRUGDQFHZLWKWKHLQGXFHGVXUFKDUJHUHOHDVHVFKHGXOHIRUWKHILUVWWLPHLQWKHKLVWRU\RIWKHWZR
UHVHUYRLUV

7KH+DUYH\(YHQWH[FHHGHGWKHRULJLQDODQGWKHUHYLVHG63)FXPXODWLYHLQIORZVWR$GGLFNVDQG%DUNHU
5HVHUYRLUV

$GGLFNVDQG%DUNHU5HVHUYRLUFDSDFLWLHVDUHVPDOOHUWKDQWKHYROXPHRIWKHIORRGZDWHUJHQHUDWHG
GXULQJWKH+DUYH\(YHQWEXWWKH\HIIHFWLYHO\UHGXFHGSHDNIORZVGRZQVWUHDPRIWKHGDPVDVWKH\
ZHUHGHVLJQHGWRGR

7KHFRPELQHGFDSDFLW\RI$GGLFNVDQG%DUNHU5HVHUYRLUVLVDFUHIHHW ELOOLRQJDOORQV RIZDWHU
ZLWKLQWKH*RYHUQPHQW2ZQHG/DQG *2/ 7KLVFRPELQHGFDSDFLW\LVDSSUR[LPDWHO\JUHDWHUWKDQWKH
DPRXQWRIIORRGZDWHUJHQHUDWHGXQGHUWKHSUH+DUYH\\HDUIRRGIUHTXHQF\'XULQJWKH+DUYH\(YHQWDW
OHDVWDFUHIHHWRIIORRGZDWHUIORZHGLQWR$GGLFNVDQG%DUNHU5HVHUYRLUVVLJQLILFDQWO\H[FHHGLQJWKHLU
FRPELQHGFDSDFLW\DQGGLFWDWLQJVLJQLILFDQWUHOHDVHVIURPWKHUHVHUYRLUV

7KHPD[LPXPFRPELQHGGLVFKDUJHFDSDFLW\RI$GGLFNVDQG%DUNHUUHOHDVHFRQGXLWVLVDSSUR[LPDWHO\
FIV'XULQJWKH+DUYH\(YHQWIORRGZDWHULQIORZUDWHVWR$GGLFNVDQG%DUNHU5HVHUYRLUVUHDFKHGDW
OHDVWFIV7KHUHIRUHWKHPD[LPXPFRPELQHGFDSDFLW\RIWKHUHOHDVHFRQGXLWVZDVVLJQLILFDQWO\
H[FHHGHG7KHGLIIHUHQFHLQPDJQLWXGHEHWZHHQWKHUDSLGLQIORZUDWHVDQGWKHUHVWULFWHGRXWIORZUDWHVUHVXOWHG
LQDQLQLWLDOO\UDSLGLQFUHDVHRIZDWHUVXUIDFHHOHYDWLRQVEHKLQGWKHGDPV

'HVSLWHWKHUHOHDVHVWKDWZHUHPDGHGXULQJWKH+DUYH\(YHQWWKHUHVHUYRLUVHIIHFWLYHO\UHGXFHGSHDNIORZV
GRZQVWUHDPRIWKHGDPVDVWKH\ZHUHGHVLJQHGWRGR

)ORRGLQJZDVXQDYRLGDEOHGXULQJWKH+DUYH\(YHQW

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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x    7KHWRWDOFXPXODWLYHLQIORZVWR$GGLFNVDQG%DUNHU5HVHUYRLUVGXULQJWKH+DUYH\(YHQWZDVPRUHWKDQ
     WZLFHWKHFRPELQHGFDSDFLW\RIWKHUHVHUYRLUVZLWKLQWKH*2/
x    7KHPD[LPXPFRPELQHGFDSDFLW\RIWKHUHOHDVHFRQGXLWVFRXOGQRWGLVFKDUJHWKHH[FHVVYROXPHRIZDWHU
     GXULQJWKH+DUYH\(YHQW$VVXFKXSVWUHDPIORRGLQJZDVXQDYRLGDEOH
x    7KH+DUYH\(YHQWH[FHHGHGWKHK\GUDXOLFGHVLJQFRQGLWLRQVRIWKH$GGLFNVDQG%DUNHU5HVHUYRLUVZKLFK
     UHTXLUHGUHOHDVHVLQDFFRUGDQFHZLWKWKHLQGXFHGVXUFKDUJHVFKHGXOH$VVXFKGRZQVWUHDPIORRGLQJZDV
     XQDYRLGDEOH

2XUPRGHOLQJHIIRUWVVKRZHGWKDWRSHQLQJWKHJDWHVHQWLUHO\RUDOWHUQDWLYHO\QHYHUFRQVWUXFWLQJWKHGDPV
ZRXOGKDYHUHVXOWHGLQPXFKKLJKHUIORRGLQJWRGRZQVWUHDPSURSHUWLHVLQFOXGLQJWKHGRZQVWUHDP7HVW
3URSHUWLHVWKDQDFWXDOO\RFFXUUHG:HXWLOL]HGDVLPLODUPRGHOLQJDSSURDFKLQWKHGRZQVWUHDPVXEFDVHXVLQJ
WKHVDPHPRGHOLQSXWVXVHGIRUWKHXSVWUHDPVXEFDVH:HVXPPDUL]HWKRVHUHVXOWVIRUWKHGRZQVWUHDP7HVW
3URSHUWLHVLQ$SSHQGL[&7KHGRZQVWUHDPPRGHOLQJUHVXOWVGHPRQVWUDWHFOHDUO\WKDWIORRGLQJGXULQJWKH
+DUYH\(YHQWZDVXQDYRLGDEOH

2SLQLRQVEDVHGRQ6LPXODWLRQRI+\SRWKHWLFDO)ORRG(YHQWV

&RPELQHGLPSDFWRIWKHIHGHUDOSURMHFWGXULQJWKH+DUYH\(YHQW

7KHIHGHUDOSURMHFWDOORZVIRUWKHGLVWULEXWLRQRIIORRGLPSDFWVDFURVVDZLGHDUHDWRPLQLPL]HWKHFKDQFHRIOLIH
WKUHDWHQLQJFRQGLWLRQVLQDQ\RQHDUHD6LPXODWHGPD[LPXPIORRGGHSWKVDERYHILUVWILQLVKHGIORRUVDUH
EHWZHHQWRIWIRUWKHXSVWUHDP7HVW3URSHUWLHVZKLFKDUHVLPLODUWRWKHIORRGGHSWKVDERYHILQLVKHG
IORRUVDWGRZQVWUHDP7HVW3URSHUWLHV'HVSLWHWKHGDPDJHGXHWRIORRGLQJWKHIHGHUDOSURMHFWSUHYHQWHG
VLJQLILFDQWSURSHUW\GDPDJHVDQGVLJQLILFDQWO\UHGXFHGWKHULVNRIORVVRIOLIHIRUGRZQVWUHDPDUHDV

2XUPRGHOLQJHIIRUWVGHPRQVWUDWHWKDWILQLVKHGILUVWIORRUVRQWKUHHRIWKHWKLUWHHQXSVWUHDP7HVW3URSHUWLHV
ZRXOGKDYHH[SHULHQFHGVRPHIORRGLQJHYHQLQWKHDEVHQFHRIWKHIHGHUDOSURMHFWZKLFKLQFOXGHVWKH$GGLFNV
DQG%DUNHU5HVHUYRLUV:LWKWKHIHGHUDOSURMHFWLQSODFHSHDNIORRGHOHYDWLRQVDWDOORIWKHXSVWUHDP7HVW
3URSHUWLHVDUHDWWULEXWHGWREDFNZDWHUGXHWRKLJKSRROHOHYDWLRQLQ$GGLFNVRU%DUNHU5HVHUYRLUVZLWKWKH
H[FHSWLRQRIIORRGLQJDW0U0DULR0LWFKHOO¶VSURSHUW\ZKLFKLVQRORQJHUD7HVW3URSHUW\VLQFHKHGLVPLVVHGKLV
FODLP$WYHU\KLJKSRROHOHYDWLRQVWKHUDWHRIULVHGHFUHDVHVVLJQLILFDQWO\GXHWRWKHLQFUHDVHGUHVHUYRLU
FDSDFLWLHVDWVXFKHOHYDWLRQV$VVXFKEDFNZDWHUIORRGLQJXSVWUHDPRIWKHUHVHUYRLUVLVFKDUDFWHUL]HGE\D
JUDGXDOUDWHRIULVHIRUWKHVHHOHYDWLRQV

,PSDFWRIXQFRQWUROOHGUHOHDVHVGXULQJWKH+DUYH\(YHQW JDWHVIXOO\RSHQVFHQDULR 

2XUPRGHOLQJHIIRUWVGHPRQVWUDWHWKDWILQLVKHGILUVWIORRUVRQVL[RIWKHWKLUWHHQ7HVW3URSHUWLHVZRXOGKDYH
H[SHULHQFHGVRPHIORRGLQJLIWKH&RUSVKDGOHIWWKHJDWHVIXOO\RSHQWKURXJKRXWWKHGXUDWLRQRIWKH+DUYH\
(YHQW

(IIHFWLYHQHVVRIFRQWUROOHGUHOHDVHVGXULQJWKH+DUYH\(YHQW

,IWKHUHOHDVHJDWHVRIWKHGDPVKDGEHHQOHIWFORVHGWKURXJKRXWWKH+DUYH\(YHQWWRPLQLPL]HGRZQVWUHDP
LPSDFWVRXUPRGHOLQJHIIRUWVGHPRQVWUDWHWKDWILQLVKHGILUVWIORRUVRQDOOWKLUWHHQXSVWUHDP7HVW3URSHUWLHV
ZRXOGKDYHH[SHULHQFHGVRPHIORRGLQJ8QGHUWKHK\SRWKHWLFDOVFHQDULRRIQRUHOHDVHVIURP$GGLFNVDQG
%DUNHU5HVHUYRLUVGXULQJWKH+DUYH\(YHQWXSVWUHDP7HVW3URSHUWLHVZRXOGKDYHH[SHULHQFHGWRIHHW
PRUHIORRGLQJDERYHILQLVKHGILUVWIORRUHOHYDWLRQVDVFRPSDUHGWRWKHDFWXDOFRQWUROOHGUHOHDVHVFHQDULR
6LPXODWHGIORRGGXUDWLRQVDWXSVWUHDP7HVW3URSHUWLHVXQGHUWKLVK\SRWKHWLFDOQRUHOHDVHVVFHQDULRDUHPXFK
ORQJHUWKDQXQGHUWKHDFWXDOFRQWUROOHGUHOHDVHVFHQDULR'XULQJWKH+DUYH\(YHQWWKHFRQWUROOHGUHOHDVHV
UHVXOWHGLQWKHUHGXFWLRQRIIORRGGHSWKVDQGSDUWLFXODUO\IORRGGXUDWLRQVDWWKHXSVWUHDP7HVW3URSHUWLHV


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                &RPPHUFLDOLQ&RQILGHQFH                               3DJHLLL


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7DEOHRI&RQWHQWV
    ,QWURGXFWLRQ

             'HILQLWLRQV                                                                                                                  

             6WXG\2EMHFWLYHV                                                                                                             

    6LWH&RQGLWLRQV

             )RFXV$UHDDQG)RFXV3HULRG                                                                                                  

             :DWHUVKHG                                                                                                                    

             7RSRJUDSK\                                                                                                                   

             &KDQQHO%DWK\PHWU\                                                                                                           

                      +&)&'+(&5$60RGHOVDQG&URVV6HFWLRQ'DWD                                                                       

                      /L'$5'DWD                                                                                                 

             $GGLFNVDQG%DUNHU3URMHFW                                                                                                 

             6HGLPHQW/RDGV                                                                                                             

             &KDQQHODQG%D\RX,PSURYHPHQW3URMHFWVIRU)ORRG5HGXFWLRQ                                                                 

             +LVWRULFDO6WRUPVDQG)ORRGV                                                                                               

             5DLQIDOO'DWD +XUULFDQH+DUYH\                                                                                            

            :LQG'DWD +XUULFDQH+DUYH\                                                                                                

            $GGLFNVDQG%DUNHU5HVHUYRLUV                                                                                              

                       2EMHFWLYHRIWKH5HVHUYRLUV                                                                                   

                       5HVHUYRLU6WRUDJHDQG'UDLQDJH&KDUDFWHULVWLFV                                                                

                       +LVWRULFDO3RRO(OHYDWLRQV                                                                                    

                       5HOHDVHV                                                                                                      

            3ODLQWLIIVDQG7HVW3ODLQWLIIV                                                                                             

    $QDO\VLVRI3K\VLFDO'DWD

             ,QIORZWR$GGLFNVDQG%DUNHU5HVHUYRLUV                                                                                    

             )ORZ5HJLPH8SVWUHDPRI$GGLFNVDQG%DUNHU'DPV                                                                            
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                         &RPPHUFLDOLQ&RQILGHQFH                                                       3DJHLY


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                     3ULRUWRWKH+DUYH\(YHQW                                                                                

                     *DWH&ORVXUH3HULRG                                                                                      

                     *UDGXDO5HOHDVH3HULRG                                                                                   

                     0D[LPXP5HOHDVH3HULRG                                                                                   

             86*65DWLQJ&XUYHV                                                                                                  

             (VWLPDWHRI0DQQLQJ¶V5RXJKQHVVEDVHGRQ6WUHDP*DJH'DWD                                                           

                     0DQQLQJ¶V5RXJKQHVV±&KDQQHO                                                                            

                     0DQQLQJ¶V5RXJKQHVV±)ORRGSODLQ                                                                         

             5HVHUYRLU5DWLQJ&XUYHV                                                                                             

             ,QXQGDWLRQ0DSSLQJ                                                                                                  

             ,PSDFWRI6WRUP:DWHU'UDLQV                                                                                        

             *URXQGZDWHU)ORZ                                                                                                    

             5HOHDVHIURPWKH5HVHUYRLUV                                                                                         

            &KDUDFWHULVWLFVRI)ORRGLQJ EDVHGRQSK\VLFDOGDWD                                                                 

    ,QXQGDWLRQ0RGHOLQJ

             0RGHOOLQJ2EMHFWLYH                                                                                                 

             0RGHO6HOHFWLRQ                                                                                                     

             7(/(0$&'0RGHO                                                                                                    

                     *RYHUQLQJ(TXDWLRQV                                                                                      

                         6XUIDFH:DWHU)ORZ                                                                                  

                         ,QILOWUDWLRQ /RVV                                                                                  

                     1XPHULFDO6ROXWLRQ                                                                                       

                     %RXQGDU\&RQGLWLRQV                                                                                      

                         7UDQVPLVVLYH%RXQGDU\&RQGLWLRQV                                                                    

                         *DOYHVWRQ%D\7LGDO%RXQGDU\                                                                        

                     0RGHO'HYHORSPHQW                                                                                        

                         6SDWLDOO\9DULHG5DLQIDOODQG:LQG)LHOGV                                                           
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                      &RPPHUFLDOLQ&RQILGHQFH                                                   3DJH Y


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                       )ORZWKURXJK$GGLFNVDQG%DUNHU&RQGXLWV                             

                   0RGHO/LPLWDWLRQV                                                          

                       0RGHO7\SH                                                           

                       /LPLWHG1XPEHURI&XOYHUWV                                           

                       0RGHO7RSRJUDSK\                                                     

                       &RPSXWDWLRQDO0HVK                                                   

                       5DSLGO\9DULHG)ORZV                                                 

            7(/(0$&'0RGHO6HWXS                                                              

                   0RGHO'RPDLQ                                                               

                   0HVK*HQHUDWLRQ                                                            

                   3K\VLFDO3DUDPHWHUV                                                        

                       5DLQIDOO                                                             

                       0RGHO7RSRJUDSK\                                                     

                       +\GURORJLF/RVVHV                                                    

                       0DQQLQJ¶V5RXJKQHVV                                                  

                       +\GUDXOLF6WUXFWXUHV                                                 

            0RGHO&DOLEUDWLRQ                                                                   

                   $FFHSWDEOH&ULWHULD                                                        

                   )ORRG:DYH6SHHG7HVW                                                      

                   ,QLWLDO&RQGLWLRQV $XJXVW                                        

                       %DVH)ORZVDQG6WDJHV                                                

                       $QWHFHGHQW6RLO0RLVWXUH&RQGLWLRQV                                  

                   0RGHO6HQVLWLYLW\                                                          

                       6HQVLWLYLW\WR&RXUDQW1XPEHU RU7LPH6WHS                          

                       6HQVLWLYLW\WR5DLQIDOO6SDWLDO9DULDELOLW\                          

                       6HQVLWLYLW\WR7LPH,QWHUYDORI5DLQIDOO,QWHQVLW\                   

                       6HQVLWLYLW\WR:LQG)RUFLQJ                                          
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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                                                                                                             A1483
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                         6HQVLWLYLW\WR7LGHVDQG6WRUP6XUJH&RQGLWLRQV                                                           

                         5RXJKQHVVDQG+\GURORJLF/RVV3DUDPHWHUV                                                                 

                         6XPPDU\RI0RGHO6HQVLWLYLW\                                                                              

                      'HYHORSPHQWRI$FWXDO+XUULFDQH+DUYH\6FHQDULR                                                               

                         ,QLWLDO&DOLEUDWLRQ                                                                                      

                         'HWDLOHG&DOLEUDWLRQ                                                                                     

             0RGHO9DOLGDWLRQ                                                                                                         

                      +LJK:DWHU0DUNV                                                                                              

                      ,QXQGDWLRQ/LPLWV                                                                                             

    +\GUDXOLF0RGHOOLQJRI3K\VLFDO6FHQDULRV

             0RGHO6FHQDULRV                                                                                                          

             0RGHO5HVXOWV                                                                                                            

                      $FWXDO+DUYH\5XQ                                                                                             

                      1R3URMHFW5XQ                                                                                              

                      *DWHV&ORVHG5XQ                                                                                            

                      *DWHV2SHQ5XQ                                                                                              

                      +DUYH\5HODWHG0RGHO5HVXOWV6XPPDU\                                                                        

    &RQFOXVLRQV

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                        $GGLFNVDQG%DUNHU'LVFKDUJH(TXDWLRQV

                        'U5RE1DLUQ&9([SHUW:LWQHVV([SHULHQFHDQG&RPSHQVDWLRQ

                        5HVXOWVRI'RZQVWUHDP+\GUDXOLF6WXG\



7DEOHV
7DEOH%DFNJURXQGRI6WUXFWXUDO&KDQJHVWR$GGLFNVDQG%DUNHU5HVHUYRLUV

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                         &RPPHUFLDOLQ&RQILGHQFH                                                    3DJHYLL


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7DEOH6XPPDU\RI&KDQQHO3URMHFWVZLWKLQWKH)RFXV$UHD

7DEOH7RSSRROHOHYDWLRQVIRU$GGLFNVDQG%DUNHU5HVHUYRLUVSULRUWRWKH+DUYH\(YHQW>SS
86$&(@

7DEOH6HTXHQFHRI(YHQWV

7DEOH*HQHUDOGHVFULSWLRQRIXSVWUHDP7HVW3URSHUWLHV

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7DEOH6XPPDU\RIGHVLJQIORRGSHDNLQIORZVFRPSDUHGWRWKH+DUYH\(YHQWSHDNLQIORZV

7DEOH0DQQLQJ¶VURXJKQHVVFRHIILFLHQWVDGRSWHGE\WKH+&)&'+(&5$6PRGHO>@

7DEOH(VWLPDWHRI0DQQLQJ¶VQEDVHGRQ8QLIRUP)ORZ&DOFXODWLRQV&KDQQHO

7DEOH(VWLPDWHRI)ORRGSODLQURXJKQHVVEDVHGRQ8QLIRUP)ORZ&DOFXODWLRQV

7DEOH&RPSDULVRQEHWZHHQIUHHVXUIDFHZDWHUPRGHOVFRQVLGHUHG

7DEOH&XUYHQXPEHU $0&,, E\ODQGXVHDQGVRLOW\SH

7DEOH0DQQLQJ¶VQGHULYHGUDQJHVIRUPDLQVWUHDPVZLWKLQWKH)RFXV$UHD

7DEOH0DQQLQJ¶VQDVVLJQHGYDOXHVIRUYDULRXV1/&'ODQGFRYHUFODVVHVZLWKLQWKHPRGHOGRPDLQ

7DEOH&RUUHODWLRQEHWZHHQPRGHOUHVXOWVZLWKDQGZLWKRXWVWRUPVXUJH

7DEOH6XPPDU\RI7(/(0$&PRGHOVHQVLWLYLW\UHVXOWV

7DEOH5DQJHVRI0DQQLQJ¶VQIRUVWUHDPDQGIORRGSODLQVZLWKLQWKHPRGHOGRPDLQ

7DEOH,QLWLDOFDOLEUDWLRQPRGHOUXQV

7DEOH506(FDOFXODWHGIRU$GGLFNVSRROGHSWKVIRUDOOLQLWLDOFDOLEUDWLRQUXQV PLQLPXPYDOXHLVEROGHG 
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EOXHOLQHLVWKHHVWLPDWHRIUHOHDVHEDVHGRQJDWHHTXDWLRQVFRQVLGHULQJWDLOZDWHUVXEPHUJHQFH86*6
PHDVXUHPHQWVRIGLVFKDUJHDUHVKRZQDV\HOORZGRWV WRJHWKHUZLWKDJRRGIDLUSRRUUDWLQJRQDFFXUDF\RIWKH
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)LJXUH&RPSDULVRQEHWZHHQVLPXODWHGDQGREVHUYHGLQXQGDWLRQOLPLWVXSVWUHDPRI%DUNHU5HVHUYRLURQ
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        ,QWURGXFWLRQ
3ODLQWLIIVZKRDUHSURSHUW\RZQHUVLQWKHZHVWHUQ+RXVWRQDUHDILOHGFODLPVDJDLQVWWKH8QLWHG6WDWHVRI
$PHULFD 'HIHQGDQW DOOHJLQJWDNLQJVRIWKHLUSURSHUWLHVDVVRFLDWHGZLWKIORRGLQJGXULQJWKHH[WUHPHZHDWKHU
HYHQWFRPPRQO\UHIHUUHGWRDV+XUULFDQH+DUYH\ $XJXVWWKWR$XJXVWVWKHUHLQDIWHUUHIHUUHGWRDV
WKH³+DUYH\(YHQW´ 3ODLQWLIIV¶FODLPVDUHKHUHLQDIWHUUHIHUUHGWRDV³WKH&DVH´

'U1DLUQRI%DLUG $VVRFLDWHVZDVUHWDLQHGE\WKH86'HSDUWPHQWRI-XVWLFH '2- WRSURYLGHH[SHUW
WHVWLPRQ\LQUHODWLRQWRWKH&DVH7KLVUHSRUWSUHVHQWVDQDO\VLVDQGILQGLQJVUHODWHGWRWKH&DVH'U1DLUQ¶V
&9KLVSUHYLRXVWHVWLPRQ\DQGKLVUHPXQHUDWLRQDUHSUHVHQWHGLQ$SSHQGL[%

       'HILQLWLRQV
x    ³7KH&DVH´UHIHUVWRIn re Upstream Addicks and Barker, (Texas) Flood Control ReservoirsFY
      DQGIn re Downstream Addicks and Barker (Texas) Flood Control ReservoirsFY
x    ³&RUSV´UHIHUVWRWKH8QLWHG6WDWHV$UP\&RUSVRI(QJLQHHUV
x    7KH³+DUYH\(YHQW´UHIHUVWR+XUULFDQH+DUYH\ODQGIDOOHYHQWIURP$XJXVWWKWR$XJXVWVW
x    ³)RFXV$UHD´UHIHUVWRWKHDUHDFRQVLGHUHGE\WKLVVWXG\IRUGHWDLOHGDQDO\VLVDVGHILQHGLQ6HFWLRQ
     LQFOXGLQJDOO7HVW3ODLQWLIIV
x    ³)RFXV3HULRG´UHIHUVWRWKHSHULRGRIUHSRUWHGLQXQGDWLRQZLWKLQWKH)RFXV$UHDEHWZHHQ$XJXVWDQG
     6HSWHPEHUDVGHILQHGLQ6HFWLRQ
x    ³3ODLQWLIIV´RU³3ODLQWLII´UHIHUVWRDQ\RIWKHLQGLYLGXDOVRUHQWLWLHVZKRILOHGFODLPVUHODWHGWRWKH&DVHZLWKLQ
     WKH)RFXV$UHD
x    ³'HIHQGDQW´PHDQVWKH8QLWHG6WDWHVRI$PHULFD
x    ³8SVWUHDP$UHDV´PHDQVWKHDUHDVXSVWUHDPRIWKH$GGLFNVDQG%DUNHU5HVHUYRLUVZLWKLQWKH)RFXV$UHD
x    ³'RZQVWUHDP$UHDV´PHDQVWKHDUHDVGRZQVWUHDPRIWKH$GGLFNVDQG%DUNHUGDPVZLWKLQWKH)RFXV
     $UHD
x    ³7HVW3ODLQWLIIV´RU³7HVW3URSHUWLHV´UHIHUWR3ODLQWLIIVDQGWKHLUSURSHUWLHVVHOHFWHGE\WKHSDUWLHVIRUH[SHUW
     FRQVLGHUDWLRQ
x    ³*2/´UHIHUVWR*RYHUQPHQW2ZQHG/DQG
x    ³86*6´UHIHUVWRWKH8QLWHG6WDWHV*HRORJLFDO6XUYH\
x    ³+&)&'´UHIHUVWRWKH+DUULV&RXQW\)ORRG&RQWURO'LVWULFW
x    ³/RZHU/DQJKDP&UHHN´UHIHUVWRWKHRXWOHWFKDQQHORI$GGLFNV5HVHUYRLUH[WHQGLQJIURPWKH$GGLFNV
     RXWOHWWRWKHFRQIOXHQFHZLWKORZHU%XIIDOR%D\RX DSSUR[LPDWHO\PLOHVLQOHQJWK 
x    ³:DWHUERG\´UHIHUVWRDJHQHUDOZRUGWKDWHQFRPSDVVHVDOOW\SHVRIIUHHVXUIDFHZDWHUERGLHVVXFKDV
     FKDQQHOVED\RXVODNHVUHVHUYRLUVRFHDQVHWF
x    ³7DLOZDWHU´UHIHUVWRZDWHUGRZQVWUHDPRIDQ\JLYHQZDWHUERG\
x    ³6WHDG\)ORZ´UHIHUVWRDIORZUHJLPHZKHUHGLVFKDUJHDQGIORZGHSWKGRQRWFKDQJHZLWKWLPH
x    ³)ORZ5HJLPH´UHIHUVWRWKHW\SHRIIORZWKURXJKFKDQQHOVDQGVWUHDPVZKLFKFRXOGEH³8QLIRUP)ORZ´
     ³1RQXQLIRUP)ORZ´³6WHDG\)ORZ´DQGRU³%DFNZDWHU)ORZ´
x    ³8QLIRUP)ORZ´UHIHUVWRDIORZUHJLPHZKHUHWKHVORSHVRIWKHFKDQQHOEHGZDWHUVXUIDFHDQGHQHUJ\
     JUDGHOLQHDUHHTXDO
x    ³1RQXQLIRUPIORZ´UHIHUVWRDIORZUHJLPHZKLFKLVQRWXQLIRUP


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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x    ³%DFNZDWHUIORZ´UHIHUVWRDQRQXQLIRUPIORZUHJLPHZKHUHZDWHUVXUIDFHVORSHEHFRPHVIODWWHUWKDQWKH
     VORSHRIWKHFKDQQHOEHGGXHWRFKDQQHOFRQVWULFWLRQVGDPVDQGRUKLJKWDLOZDWHUVXUIDFHHOHYDWLRQ
x    ³:6(´UHIHUVWR:DWHU6XUIDFH(OHYDWLRQ
x    ³5XQRII´RU³VXUIDFHUXQRII´UHIHUVWRJUDYLW\GULYHQIORZRIZDWHURYHUWKHJURXQGVXUIDFHGXHWRH[FHVV
     UDLQIDOOVWRUPZDWHURUDQ\RWKHUVRXUFH
x    ³([FHVVLYHUXQRII´UHIHUVWRUXQRIIGLVFKDUJHVEH\RQGWKHFDSDFLW\RIWKHUHFHLYLQJVWRUPZDWHUGUDLQDJH
     V\VWHP
x    ³63)´UHIHUVWR6WDQGDUG3URMHFW)ORRGZKLFKLVGHILQHG³DVDK\GURJUDSKUHSUHVHQWLQJUXQRIIIURPWKH
     6WDQGDUG3URMHFW6WRUP´ 636 7KH636³VKRXOGUHSUHVHQWVWKHPRVWVHYHUHIORRGSURGXFLQJUDLQIDOO
     GHSWKDUHDGXUDWLRQUHODWLRQVKLSDQGLVRK\HWDOSDWWHUQRIDQ\VWRUPWKDWLVFRQVLGHUHGUHDVRQDEO\
     FKDUDFWHULVWLFRIWKHUHJLRQLQZKLFKWKHGUDLQDJHEDVLQLVORFDWHG´>S86$&(@7KH63)GHILQHV
     WKHK\GUDXOLFGHVLJQFULWHULDRIDUHVHUYRLU
x    ³6')´UHIHUVWR6SLOOZD\'HVLJQ)ORRGZKLFKLVWKHPD[LPXPIORRGWKDWFRXOGFDXVHIORZRYHUDVSLOOZD\
     ZLWKRXWFDXVLQJVHULRXVVWUXFWXUDOGDPDJH

       6WXG\2EMHFWLYHV

7KLVVWXG\IRFXVHVRQWKHK\GUDXOLFDVSHFWVRIWKH$GGLFNVDQG%DUNHUGDPVZLWKRXWFRQVLGHUDWLRQRIVWUXFWXUDO
RUJHRWHFKQLFDODVSHFWV LHVWUXFWXUDOGDPVDIHW\DVSHFWV 7KHIROORZLQJDUHWKHPDLQREMHFWLYHVRIWKLV
K\GUDXOLFVWXG\
x    'HILQHK\GUDXOLFIDFWRUVWKDWUHVXOWHGLQLQXQGDWLRQGXULQJWKH+DUYH\(YHQWZLWKLQWKH)RFXV$UHD7R
     DGGUHVVWKLVREMHFWLYHWKHIROORZLQJDQDO\VHVKDYHEHHQFRPSOHWHG
     x   $QDO\VLVRISK\VLFDOGDWDGXULQJWKH+DUYH\(YHQWDQG
     x   1XPHULFDOPRGHOOLQJRILQXQGDWLRQGXULQJWKH+DUYH\(YHQWWRILOOWKHSK\VLFDOGDWDJDSV EHWZHHQDQG
         EH\RQGWKHJDJHVZKHUHZDWHUOHYHOVZHUHPHDVXUHG DQGWRVLPXODWHK\SRWKHWLFDOVFHQDULRVWR
         GHILQHDQGRULVRODWHK\GUDXOLFIDFWRUVFRQWULEXWLQJWRLQXQGDWLRQZLWKLQWKH)RFXV$UHD
x    3URYLGHDWRROWRHYDOXDWHIORRGLQJXQGHUYDULRXVK\SRWKHWLFDOVFHQDULRV7RDGGUHVVWKLVREMHFWLYH
     QXPHULFDOPRGHOVLPXODWLRQVKDYHEHHQFRPSOHWHGIRURQHK\SRWKHWLFDOVFHQDULRZKHUHWKH$GGLFNVDQG
     %DUNHU5HVHUYRLUVZHUHUHPRYHGDQGWZRK\SRWKHWLFDOJDWHRSHUDWLRQVFHQDULRVZKHUHWKHJDWHVDUH
     VLPXODWHGDVIXOO\RSHQIRUWKHGXUDWLRQRIWKH+DUYH\(YHQWDQGIXOO\FORVHGIRUWKHGXUDWLRQRIWKH+DUYH\
     (YHQW




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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            6LWH&RQGLWLRQV
7KLVVHFWLRQSURYLGHVDGHVFULSWLRQRIWKHVLWHFRQGLWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKH$GGLFNVDQG%DUNHU
GDPV

           )RFXV$UHDDQG)RFXV3HULRG

+XUULFDQH+DUYH\PDGHODQGIDOOLQWKH6RXWKHDVW7H[DVDUHDGURSSLQJWRLQFKHVRIUDLQIDOORQ+DUULV
&RXQW\EHWZHHQ$XJXVWWKDQG$XJXVWVWZKLFKFDXVHGRYHUEDQNIORRGLQJDQGLQXQGDWLRQRIODQG
'DPDJHVDOOHJHGO\GXHWRLQXQGDWLRQRIKRPHVKDYHEHHQUHSRUWHGGXULQJWKHSHULRGIURP$XJXVW
>@WR6HSWHPEHU>@>@ KHUHLQDIWHUUHIHUUHGWRDVWKH³)RFXV3HULRG´ 

7KLVVWXG\IRFXVHVRQLQXQGDWLRQRIWKHIROORZLQJDUHDVKHULQHDIWHUUHIHUUHGWRDVWKH³)RFXV$UHD´
x     $UHDVXSVWUHDPRI$GGLFNVDQG%DUNHU5HVHUYRLUVZLWKLQDPLOHEXIIHUIURPWKH*2/DQGERXQGHGE\
      :HVWSDUN7ROOZD\ 6RXWK DQG:/LWWOH<RUN5G 1RUWK 
x     $UHDVDORQJ%XIIDOR%D\RXGRZQVWUHDPRI$GGLFNVDQG%DUNHUGDPVGRZQWR6KHSKHUG'ULYHERXQGHGE\
      :HVWKHLPHU5G 6RXWK DQG,QWHUVWDWH 1RUWK 

7KH)RFXV$UHDLVVKRZQLQ)LJXUHDORQJZLWKORFDWLRQVRIXSVWUHDP7HVW3ODLQWLIIV




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 $SSUR[LPDWHUDQJHEDVHGRQ+DUULV&RXQW\)ORRG&RQWURO'LVWULFW¶VJDJHGDWD>@7KH1DWLRQDO:HDWKHU6HUYLFH 1:6 ³HVWLPDWHG
DQ\ZKHUHIURPWR75,//,217216RIZDWHUZDVGXPSHGRQWR7H[DV´>@

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH)RFXV$UHDSXUSOHSRO\JRQVUHSUHVHQWORFDWLRQVRIXSVWUHDP7HVW3ODLQWLIIV


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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           :DWHUVKHG

+DUULV&RXQW\KDVFODVVLILHGPDMRUZDWHUVKHGVGUDLQLQJLQWRPDMRUZDWHUZD\V>@)LJXUHVKRZV
ZDWHUVKHGERXQGDULHVZKLFKDUHODUJHO\GHWHUPLQHGE\WKHWRSRJUDSK\(DFKRIWKHVHZDWHUVKHGVXOWLPDWHO\
GUDLQVLQWR*DOYHVWRQ%D\>S)(0$@

0DQ\RIWKHGUDLQDJHEDVLQVZLWKLQ+DUULV&RXQW\DUHFKDUDFWHUL]HGE\EDVLQRYHUIORZ>S)(0$@
ZKLFKRFFXUVZKHQWKHZDWHUVXUIDFHHOHYDWLRQVH[FHHGWKHHOHYDWLRQVRIWKHGUDLQDJHEDVLQGLYLGH³8QGHU
PDMRUIORRGHYHQWV$GGLFNV5HVHUYRLUUHFHLYHVDERXWRQHWKLUGRILWVWRWDOYROXPHIURPWKHVTXDUHPLOH
GUDLQDJHDUHDRIWKH8SSHU&\SUHVV&UHHN%DVLQ´>S86$&(@




)LJXUH+DUULV&RXQW\:DWHUVKHGV>@




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 3DUWRIWKH%DUNHU5HVHUYRLUZDWHUVKHGLVORFDWHGLQ)RUW%HQG&RXQW\

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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           7RSRJUDSK\

7KH/LJKW'HWHFWLRQDQG5DGDU /L'$5 VXUYH\FRYHULQJ+DUULV&RXQW\DQGVXUURXQGLQJDUHDV WKHHQWLUH
ZDWHUVKHGGHVFULEHGDERYH ZDVGRZQORDGHGIURP³+RXVWRQ*DOYHVWRQ$UHD&RXQFLO´>@7KLVVXUYH\DOVR
FRYHUVDUHDVLQ)RUW%HQGRQWKHVRXWKZHVWHUQVLGHRI%DUNHUUHVHUYRLUDQGZDVFRPSOHWHGWRVXSSRUW
QXPHURXV*,6DSSOLFDWLRQVLQFOXGLQJIORRGPRGHOOLQJDQGSUHYHQWLRQ>SS%$,5'@,QDGGLWLRQ
WKH/L'$5VXUYH\FRYHULQJ)RUW%HQGZDVGRZQORDGHGIURP³6WUDW0DS)RUW%HQG/LGDU´>@7KH
DQG/LGDUVXUYH\VZHUHFRPSDUHGLQRYHUODSSLQJDUHDVZLWKLQ)RUW%HQGDQGIRXQGWREH
FRQVLVWHQWO\VLPLODU

           &KDQQHO%DWK\PHWU\

$QDFFXUDWHUHSUHVHQWDWLRQRIWKHWRSRJUDSK\DQGGUDLQDJHQHWZRUNLVHVVHQWLDOIRUWKHDFFXUDWHHVWLPDWLRQRI
VWRUDJHDQGURXWLQJRIIORZVLQWKHK\GURG\QDPLFPRGHO/L'$5GDWDGHILQHJURXQGHOHYDWLRQVDERYHWKHZDWHU
VXUIDFHHOHYDWLRQLQSRQGVDQGVWUHDPVDWWKHWLPHWKH/L'$5ZDVIORZQ$VVXFKFKDQQHOEHGHOHYDWLRQV
PD\QRWEHUHSUHVHQWHGE\WKH/L'$5GDWD

7KHFKDQQHOFURVVVHFWLRQGDWDSURYLGHGE\WKH+DUULV&RXQW\)ORRG&RQWURO'LVWULFW +&)&' GHPRQVWUDWHV
WKLVLVVXH>@)LJXUHVKRZVWKH/L'$5GDWDVKDGHGE\HOHYDWLRQDQGWKHORFDWLRQRIWKH+&)&'FURVV
VHFWLRQVDVGDVKHGOLQHV7KHZDWHUVXUIDFHHOHYDWLRQDWWKHWLPHRIWKH/L'$5VXUYH\ZDVDSSUR[LPDWHO\IW
1$9'7KHLQVHWWRWKHWRSULJKWVKRZVDSURILOHYLHZRIWKHVXUYH\HGFURVVVHFWLRQ KLJKOLJKWHGLQUHGLQWKH
PDLQILJXUH 7KHZHWWHGSRUWLRQRIWKHFKDQQHOIURPWKH+&)&'FURVVVHFWLRQVVKDGHGLQEOXHLQWKHLQVHW
ZDVQRWFDSWXUHGGXULQJWKH/L'$5VXUYH\DQGZDVPHUJHGLQWRWKH/L'$5EDVHG'LJLWDO(OHYDWLRQ0RGHO
 '(0 




)LJXUH([DPSOHRI/L'$5DQG+&)&'+(&5$6GDWDVHW


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
 &RQYHQWLRQDO/L'$5GRHVQRWSHQHWUDWHEHORZWKHZDWHUVXUIDFH

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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     +&)&'+(&5$60RGHOVDQG&URVV6HFWLRQ'DWD

:HDGGUHVVHGWKLVFKDQQHOEDWK\PHWU\LVVXHLQWZRZD\V)LUVWZHXVHGWKH+(&5$6PRGHOV
GHYHORSHGE\+&)&'IRUWKH+DUULV&RXQW\UHJLRQ>@7KHRQHGLPHQVLRQDO+(&5$6PRGHOVFRQVLVWRID
VHULHVRIFURVVVHFWLRQVDQGUHODWHGLQIRUPDWLRQ EULGJHDQGFXOYHUWGHWDLOVFKDQQHODQGIORRGSODLQURXJKQHVV
LQHIIHFWLYHIORZDUHDVHWF 7KHFURVVVHFWLRQVZHUHGHYHORSHGIURPDFRPELQDWLRQRIILHOGVXUYH\V ZLWKLQWKH
FKDQQHOEDQNV DQG/L'$5GDWD IORRGSODLQV 

$WRWDORI+(&5$6PRGHOVZHUHGRZQORDGHGIURP+&)&'0RGHODQG0DS0DQDJHPHQW 0 6\VWHP
>@7KHGRZQORDGHGPRGHOVKDYHDFRPELQHGOHQJWKRIRYHUPLOHVDQGLQFOXGHWKHPDLQVWHPDQG
WULEXWDULHVRI$GGLFNV5HVHUYRLU%DUNHU5HVHUYRLU%UD\V%D\RX%XIIDOR%D\RX&DUSHQWHU%D\RX&\SUHVV
&UHHN*UHHQV%D\RX+XQWLQJ%D\RX/LWWOH&\SUHVV&UHHN6DQ-DFLQWR5LYHU6LPV%D\RX6SULQJ&UHHN
9LQFH%D\RXDQG:KLWH2DN%D\RX0RGHOVRXWVLGHWKH)RFXV$UHDZHUHQRWSURFHVVHG)LJXUHDQG
)LJXUHRXWOLQHWKHVWUHDPVWKDWZHUHDFTXLUHGIURP>@IRUXSVWUHDPDQGGRZQVWUHDPDUHDVUHVSHFWLYHO\

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)LJXUHUHVSHFWLYHO\$VVKRZQLQ)LJXUH8SSHU%XIIDOR%D\RX ORFDWHGPRVWO\LQ)RUW%HQG ZDVQRW
FRYHUHGE\WKH+(&5$6FURVVVHFWLRQV,WLVDOVRQRWHGWKDW+(&5$6FURVVVHFWLRQVGRQRWFRYHUVWUHDPV
LQVLGH$GGLFNVDQG%DUNHU5HVHUYRLUV

7KH+(&5$6FURVVVHFWLRQVIRUDSRUWLRQRI%XIIDOR%D\RX7XUNH\&UHHN5XPPHO&UHHNDQGRWKHU
WULEXWDULHVDUHVKRZQLQUHGLQ)LJXUH/RZHU/DQJKDP&UHHN $GGLFNVRXWOHW LVQRWUHSUHVHQWHGE\WKH
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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  Case 1:17-cv-09002-LAS                  Document 266-2              Filed 01/10/23   Page 1056 of 1584




)LJXUH$FTXLUHGDQGXWLOL]HGLQWKHPRGHO GDUNEOXH DQGRWKHU OLJKWEOXH VWUHDPVZLWKLQWKH
)RFXV$UHDXSVWUHDPRIWKHGDPV>@




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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  Case 1:17-cv-09002-LAS                  Document 266-2              Filed 01/10/23   Page 1057 of 1584




)LJXUH$FTXLUHGDQGXWLOL]HGLQWKHPRGHO GDUNEOXH DQGRWKHU OLJKWEOXH VWUHDPVZLWKLQWKH
)RFXV$UHDGRZQVWUHDPRIWKHGDPV>@




)LJXUH([DPSOHVRIFURVVVHFWLRQVIURPWKH+&)&'+(&5$6PRGHOVXSVWUHDPRI$GGLFNV
5HVHUYRLU>@




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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  Case 1:17-cv-09002-LAS                  Document 266-2              Filed 01/10/23   Page 1058 of 1584




)LJXUH([DPSOHRIFURVVVHFWLRQVIURPWKH+&)&'+(&5$6PRGHOVXSVWUHDPRI%DUNHU
5HVHUYRLU>@
                       2XWOHWIURP

                       5HVHUYRLU
                       $GGLFNV
 5HVHUYRLU
 %DUNHU




                                              %XIIDOR%D\RX




)LJXUH([DPSOHRIFURVVVHFWLRQVIURPWKH+&)&'+(&5$6PRGHOV>@


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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  Case 1:17-cv-09002-LAS                  Document 266-2              Filed 01/10/23    Page 1059 of 1584




     /L'$5'DWD

7KHWRSRJUDSK\RI/RZHU/DQJKDP&UHHN GRZQVWUHDPRIWKH$GGLFNVRXWOHWV LVQRWFRYHUHGE\WKH+&)&'
+(&5$6PRGHOV7KHDOWHUQDWLYHWRGHYHORSFKDQQHOEDWK\PHWU\ZDVWRUHO\RQWKH/L'$5VXUYH\>@
7KLV/L'$5VXUYH\ZDVFRQGXFWHGIRUWKH86$&(*DOYHVWRQ'LVWULFWEHWZHHQ0DUFKDQG
FRYHULQJDSSUR[LPDWHO\PLOHVRIWKHORZHU%XIIDOR%D\RX>@'XULQJWKHSHULRGRIWKH/L'$5VXUYH\
HVWLPDWHGGLVFKDUJHLQ/RZHU/DQJKDP&UHHNZDVOHVVWKDQFIV EDVHGRQHVWLPDWHGGLVFKDUJHVDW86*6
*DJH>@ ZKLFKLVDUHODWLYHO\VPDOOGLVFKDUJHFRUUHVSRQGLQJWRDPD[LPXPGHSWKRIIW>@
7KHUHIRUHWKH/L'$5VXUYH\LVH[SHFWHGWRUHSUHVHQWWKHERWWRPHOHYDWLRQRI/RZHU/DQJKDP&UHHN
UHDVRQDEO\ZHOO

       $GGLFNVDQG%DUNHU3URMHFW

&RQJUHVVDXWKRUL]HGWKH$GGLFNVDQG%DUNHUGDPVSURMHFWIROORZLQJWKHDQGIORRGHYHQWV>S
86$&(@$VSDUWRIWKHRYHUDOOIORRGULVNPDQDJHPHQWSURMHFW$GGLFNVDQG%DUNHU5HVHUYRLUVDVVLVWLQ
PDQDJLQJIORRGULVNIRUWKH&LW\RI+RXVWRQDQGKHOSSUHYHQWH[FHVVLYHYHORFLWLHVDQGVLOWGHSRVLWVLQWKH
+RXVWRQ6KLS&KDQQHO7XUQLQJ%DVLQ>S86$&(@

7DEOHVKRZVNH\GDWHVRIFRQVWUXFWLRQRIUHOHYDQFHWRWKHK\GUDXOLFVWXG\IRU$GGLFNVDQG%DUNHU'DPV>
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7DEOH%DFNJURXQGRI6WUXFWXUDO&KDQJHVWR$GGLFNVDQG%DUNHU5HVHUYRLUV

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  $XJ                            %DUNHULQLWLDORSHUDWLRQ

  0D\±'HF                 $GGLFNVUHVHUYRLUFRQGXLWVDQGRQHJDWH

  -XQ                            $GGLFNVLQLWLDORSHUDWLRQ

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                                       *DWHVDGGHGWRWKHWZRUHPDLQLQJFRQGXLWVDWHDFKRXWOHW IRUDWRWDORI
  -DQ±)HE
                                       JDWHGFRQGXLWV 

                                       0DLQHPEDQNPHQWVUDLVHGE\IHHWLQ$GGLFNV>S86$&(@
  -XQ±$XJ
                                       DQGIHHWLQ%DUNHU>S86$&(@

  ±                         2XWOHWVWUXFWXUHUHQRYDWLRQVLQFOXGLQJHOHFWULFDOZRUNDQGJDWHUHSDLU

  3UHVHQW                      2QJRLQJFRQVWUXFWLRQRIQHZRXWOHWVDW$GGLFNVDQG%DUNHU

       6HGLPHQW/RDGV

%HWZHHQWKHFRPSOHWLRQRIWKH$GGLFNVDQG%DUNHU'DPVSURMHFWDQGWKHUHVHUYRLUUHVXUYH\V
WKHUHZDVQRHYLGHQFHRIDSSUHFLDEOHHURVLRQLQWKHZDWHUVKHGDERYHWKHGDPVRUVHULRXVVHGLPHQWDWLRQ
LVVXHVLQWKHUHVHUYRLUV>S86$&(@6LQFHVHGLPHQWORDGVRIWKHVWUHDPVIORZLQJLQWR$GGLFNV
DQG%DUNHUUHVHUYRLUVKDYHVXEVWDQWLDOO\LQFUHDVHGZKLFKLVDWWULEXWHGWRFRQVWUXFWLRQDFWLYLWLHVDVVRFLDWHGZLWK
XUEDQL]DWLRQRIWKHXSSHUZDWHUVKHG>S86$&(@


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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       &KDQQHODQG%D\RX,PSURYHPHQW3URMHFWVIRU)ORRG5HGXFWLRQ

7DEOHSUHVHQWVDVXPPDU\RIFKDQQHOSURMHFWVZLWKLQWKH)RFXV$UHDDSSURYHGE\WKHIHGHUDOJRYHUQPHQW
LQFOXGLQJFKDQQHOOLQLQJUHFWLILFDWLRQDQGGLYHUVLRQSURMHFWV7KH5HFWLILFDWLRQRI%XIIDOR%D\RX3URMHFW
LQFOXGHGVWUDLJKWHQLQJDQGZLGHQLQJRIDSSUR[LPDWHO\PLOHVRIWKHFKDQQHO3XEOLFRSSRVLWLRQGHOD\HG
DQRWKHUFKDQQHOLPSURYHPHQWSURMHFWWKDWZDVSODQQHGIRU%XIIDOR%D\RXLQFOXGLQJFRQFUHWHOLQLQJ>S
86$&(@7DEOHVKRZVDSSUR[LPDWHGDWHVRIWKHVHFKDQQHOLPSURYHPHQWV EDVHGRQUHYLHZRI
KLVWRULF*RRJOH(DUWKVDWHOOLWHLPDJHV 

7KH86$&(SHUPLWWHG+DUULV&RXQW\)RUW%HQG&RXQW\DQG:LOORZ)RUN'UDLQDJH'LVWULFWWREXLOGVHYHQ
PDMRULPSURYHPHQWVRQJRYHUQPHQWRZQHGUHVHUYRLUODQGDVPDSSHGRXWLQ)LJXUH

7DEOH6XPPDU\RI&KDQQHO3URMHFWVZLWKLQWKH)RFXV$UHD

  'DWH&RPSOHWHG               &KDQQHO3URMHFW'HVFULSWLRQ

  'RZQVWUHDP&KDQQHOV

                                5HFWLILFDWLRQRIaPLOHVRI%XIIDOR%D\RXLPPHGLDWHO\GRZQVWUHDPRIWKH
  
                                GDPV>S86$&(@

                                &KDQQHOLPSURYHPHQWVIRUPLOHVRI%UD\V%D\RX VWUDLJKWHQLQJDQG
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                                HQODUJLQJDORQJZLWKFRQFUHWHOLQLQJ >S86$&(@

                                &KDQQHOLPSURYHPHQWVIRUPLOHVRI:KLWH2DN%D\RX VWUDLJKWHQLQJDQG
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                                HQODUJLQJDORQJZLWKFRQFUHWHOLQLQJ >S86$&(@

                                +&)&'H[FDYDWHG7XUNH\&UHHN'LWFKEHORZ$GGLFNV'DP>S
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                                0DLQHDUWKHPEDQNPHQWVRI$GGLFNVDQG%DUNHU'DPVZHUHUDLVHGWRIW
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  PDMRUXSVWUHDPFKDQQHOLPSURYHPHQWV UHIHUWR)LJXUH 

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  ±                  'UDLQDJH,PSURYHPHQWWR%HDU&UHHN9LOODJH

  ±                  :LOORZ)RUN&UHHN,PSURYHPHQW±6WDJH

  ±                  :LOORZ)RUN'LYHUVLRQ&KDQQHO

  ±                  0DVRQ&UHHN,PSURYHPHQW

  ±                  /DQJKDP+RUVHSHQ&UHHN'LYHUVLRQ

  ±                  %HDU&UHHN'LYHUVLRQ
EDVHGRQUHYLHZRIKLVWRULF*RRJOH(DUWK,PDJHV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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)LJXUH6HYHQPDMRUFKDQQHOLPSURYHPHQWSURMHFWVXSVWUHDPRIDQGZLWKLQ$GGLFNVDQG%DUNHU
5HVHUYRLUV

           +LVWRULFDO6WRUPVDQG)ORRGV

$WWKHWLPHRIGUDIWLQJWKH:DWHU&RQWURO0DQXDO>@WKHPD[LPXPNQRZQIORRGRQ%XIIDOR%D\RXZDVWKH
IORRG>S86$&(@'XULQJWKLVIORRGRYHUIORZRFFXUUHGIURP:KLWH2DN%D\RXLQWR%XIIDOR
%D\RXZKLFKRYHUIORZHGLQWR%UD\V%D\RX>S86$&(@7KHHVWLPDWHGSHDNIORZUDWHVLQ%XIIDOR
%D\RXZHUHFIVDW:DXJK'ULYHDQGFIVDWWKHFRQIOXHQFHZLWK:KLWH2DNV%D\RX7KH
PD[LPXPUHFRUGHGSHDNGLVFKDUJHLQ%XIIDOR%D\RXVLQFHHVWDEOLVKPHQWRIJDJLQJVWDWLRQVZDVFIVDW
6KHSKHUG'ULYHLQ-XQH>S86$&(@$FRPSDULVRQEHWZHHQWKH+DUYH\(YHQWDQGWKH
IORRGLVSURYLGHGLQ6HFWLRQ

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 $SSUR[LPDWHO\PLOHVHDVWRI+LJKZD\DERXWVWUHDPPLOHVEHORZWKHUHVHUYRLUV

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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           5DLQIDOO'DWD +XUULFDQH+DUYH\ 

:HGRZQORDGHGSUHFLSLWDWLRQGDWDIRUWKH+DUYH\(YHQWIRUVWDWLRQVLQKRXUO\DQGPLQXWHLQWHUYDOVIURP
WKH+DUULV&RXQW\)ORRG:DUQLQJ6\VWHPZHEVLWH>@:HUHYLHZHGDOOWKHGRZQORDGHGGDWDDQGPDUNHG
LQFRQVLVWHQWUHFRUGVRIUDLQIDOOGDWDDVPLVVLQJGDWD:HLGHQWLILHGLQFRQVLVWHQWUHFRUGVE\FRPSDULQJUDLQIDOO
GDWDDWHDFKVWDWLRQZLWKQHLJKERULQJVWDWLRQVDQGGLJLWL]HGORFDWLRQVRIUDLQIDOOVWDWLRQVIURPWKH+DUULV&RXQW\
)ORRG:DUQLQJ6\VWHP +&):6 PDS>@

,QDGGLWLRQWRJDJHGDWD$SSOLHG:HDWKHU$VVRFLDWHV $:$ DSSOLHGWKH6WRUP3UHFLSLWDWLRQ$QDO\VLV6\VWHP
WRGHVFULEHWKHUDLQIDOOGXULQJWKH+DUYH\(YHQWXVLQJDYDLODEOHVRXUFHV>@7KHRXWFRPHRIWKLVDQDO\VLVZDV
SURYLGHGDVPLQXWHUDLQIDOOGDWDJULGGHGDWDVSDWLDOUHVROXWLRQRIVHFRQGVRIODWLWXGHORQJLWXGH
 DSSUR[LPDWHO\NPUHVROXWLRQ 

          :LQG'DWD +XUULFDQH+DUYH\ 

$VSDUWRILWV6WRUP3UHFLSLWDWLRQ$QDO\VLV6\VWHPHYDOXDWLRQ$:$SURYLGHGJULGGHGZLQGGDWDFRUUHVSRQGLQJ
WRWKH+DUYH\(YHQWZKHUHZLQGVSHHGGLUHFWLRQDQGDWPRVSKHULFSUHVVXUHGDWDZHUHSURYLGHGDVJULGGHG
PLQXWHGDWDDWDVSDWLDOUHVROXWLRQRIVHFRQGV NP >@

          $GGLFNVDQG%DUNHU5HVHUYRLUV

 2EMHFWLYHRIWKH5HVHUYRLUV

$GGLFNVDQG%DUNHU5HVHUYRLUV³ZHUHGHVLJQHGE\WKH86$&(WRUHGXFHIORRGIORZVGRZQVWUHDPLQ%XIIDOR
%D\RXWKURXJKWKH&LW\RI+RXVWRQ´>S86$&(@DQGWRSURWHFWXUEDQGHYHORSPHQWVLQWKH
GRZQVWUHDPIORRGSODLQ>S86$&(@

:KHQWKHUHVHUYRLUVZHUHFRPSOHWHGE\'HFHPEHUWKH\ZHUHPLOHVZHVWRIWKHFLW\OLPLWVRI+RXVWRQ
>S86$&(@1RZWKHVHUHVHUYRLUVDUHSDUWRIWKH&LW\RI+RXVWRQDQGVXEVWDQWLDOXUEDQ
GHYHORSPHQWLVORFDWHGXSVWUHDPDQGQH[WWRWKHIHGHUDOO\DFTXLUHGODQGV>S86$&(@

 5HVHUYRLU6WRUDJHDQG'UDLQDJH&KDUDFWHULVWLFV

$VRXWOLQHGHDUOLHUWKHREMHFWLYHRIWKH$GGLFNVDQG%DUNHUGDPVLVWRUHGXFHIORRGULVNVLQWKHGRZQVWUHDP
IORRGSODLQ>S86$&(@$VVXFKWKH$GGLFNVDQG%DUNHU5HVHUYRLUVDUHGHVLJQHGIRUVKRUWWHUP
VWRUDJHGXULQJVWRUPFRQGLWLRQV7KHVWRUDJHFDSDFLWLHVRI$GGLFNVDQG%DUNHU5HVHUYRLUVZLWKLQWKH*2/DUH
$FUHIHHW ELOOLRQJDOORQV >S86$&(@DQGDFUHIHHW ELOOLRQJDOORQV >S
86$&(@UHVSHFWLYHO\

,QWKH5HVHUYRLU5HJXODWLRQ0DQXDOWKH&RUSVHVWLPDWHGWKDWWKHPD[LPXPQRQGDPDJLQJFKDQQHO
FDSDFLW\GRZQVWUHDPRIWKHUHVHUYRLUVZDVDERXWFIV>S86$&(@$WWKLVUDWHLWWDNHV
GD\VIRUIORRGZDWHUWRGLVFKDUJHIURPWKHUHVHUYRLUVLIZDWHUVXUIDFHHOHYDWLRQLVDW63)HOHYDWLRQVDVVXPLQJ
QRDGGLWLRQDOUDLQIDOODQGUHVXOWDQWUXQRIIGXULQJUHOHDVHV>S86$&(@7KH:DWHU&RQWURO
0DQXDOVWDWHV³SUHVHQWQRQGDPDJLQJFKDQQHOFDSDFLW\LVDSSUR[LPDWHO\FIV5HOHDVHVZKHQFRPELQHG
ZLWKXQFRQWUROOHGUXQRIIDQGRXWIORZIURP$GGLFNVDQG%DUNHU5HVHUYRLUVDUHOLPLWHGWRFIVGXHWR
VHULRXVHPEDQNPHQWSUREOHPVDQGLPSDFWVWRSULYDWHO\RZQHGODQG´>S86$&(@

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 &RQVWUXFWLRQRI%DUNHUGDPZDVFRPSOHWHGLQ)HEUXDU\>S86$&(@ZKLOHFRQVWUXFWLRQRI$GGLFNVGDPZDVFRPSOHWHGLQ
'HFHPEHU>S86$&(@

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                           &RPPHUFLDOLQ&RQILGHQFH                                    3DJH


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 +LVWRULFDO3RRO(OHYDWLRQV

)URPWKHVWDUWRIRSHUDWLRQRIWKHGDPVLQXQWLOWKHWLPHRIGUDIWLQJWKH:DWHU&RQWURO0DQXDOLQWKH
PD[LPXPLPSRXQGPHQWVEHKLQGWKHUHVHUYRLUVRFFXUUHGLQ0DUFKZLWKSRROHOHYDWLRQVRIIHHW
 $GGLFNV DQGIHHW %DUNHU >S86$&(@7DEOHSURYLGHVHOHYDWLRQVLQGHVFHQGLQJRUGHUIRU
WKHWRSVLJQLILFDQWSRROVIRU$GGLFNVDQG%DUNHU5HVHUYRLUVSULRUWRWKH+DUYH\(YHQW

'XULQJ+XUULFDQH+DUYH\SRROHOHYDWLRQVLQ$GGLFNVDQG%DUNHU5HVHUYRLUVUHDFKHGIHHWDQG
IHHW1$9'RQWKHPRUQLQJRIH[FHHGLQJWKH6WDQGDUG3URMHFW)ORRGHOHYDWLRQV IHHWDQG
IHHWUHVSHFWLYHO\ 

7DEOH7RSSRROHOHYDWLRQVIRU$GGLFNVDQG%DUNHU5HVHUYRLUVSULRUWRWKH+DUYH\(YHQW>SS
86$&(@

                                            3RRO(OHYDWLRQDW$GGLFNV         3RRO(OHYDWLRQDW%DUNHU
  'DWH
                                            5HVHUYRLU IW1$9'              5HVHUYRLU IW1$9' 

  ±$XJ+DUYH\(YHQW                                        

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  6HS                                                            

  6HS                                                           
%DVHGRQUHYLHZRI86*6JDJHGDWD>@

 5HOHDVHV

,QDFFRUGDQFHZLWKWKH:DWHU&RQWURO0DQXDO>S86$&(@6HFWLRQE ,QGXFHG6XUFKDUJH
)ORRG&RQWURO5HJXODWLRQ “At any time the reservoir pool equals or exceeds 101 feet NAVD 1988 in Addicks
Reservoir and 95.7 feet NAVD 1988 in Barker Reservoir monitoring of pool elevation should immediately
ensue to determine if inflow is causing pool elevation to continue to rise. If inflow and pool elevation conditions
dictate, reservoir releases will be made in accordance with the induced surcharge regulation schedules shown
on plates 7-03 and 7-04. The gates should remain at the maximum opening attained from the induced
surcharge regulation schedules until reservoir levels fall to elevation 101 feet NAVD 1988 in Addicks and 94.9
feet NAVD 1988 in Barker. Then, if the outflow from both reservoirs when combined with the uncontrolled

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                &RPPHUFLDOLQ&RQILGHQFH                               3DJH


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runoff downstream is greater than channel capacity, adjust the gates until the total discharges do not exceed
channel capacity and follow the normal operating procedures.”

'XULQJWKH+DUYH\(YHQW86$&(RSHUDWHGWKH$GGLFNVDQG%DUNHUGDPVLQDFFRUGDQFHZLWKWKHLQGXFHG
VXUFKDUJHVFKHGXOH7KHUHZHUHWKUHHGLVWLQFWLYHSKDVHVWRWKHUHOHDVHVIURP$GGLFNVDQG%DUNHU5HVHUYRLUV
GXULQJWKH+DUYH\(YHQW,QWKHILUVWSKDVHEHWZHHQDWDQGDWWKHUHOHDVHV
ZHUHLQFUHDVHGWRDFRPELQHGUDWHRIDSSUR[LPDWHO\FIV%HWZHHQRQWKHWKRI$XJXVWDQG
RQWKHWKWKHUHZDVRQO\DVPDOOLQFUHDVHLQWKHUDWHRIFRPELQHGUHOHDVHWRFIV,QWKHWKLUGSKDVH
IURPRQWKHWKXQWLOWKDWGD\WKHUHOHDVHZDVLQFUHDVHGWRDFRPELQHGUDWHRIDSSUR[LPDWHO\
FIV7KHILUVWDQGWKLUGSKDVHVZKHUHWKHUHOHDVHVZHUHUDPSHGXSUHVXOWHGLQWZRGLVWLQFWLYHIORRG
ZDYHVPRYLQJGRZQVWUHDPWKURXJK%XIIDOR%D\RX7DEOHVXPPDUL]HVWKHVHTXHQFHRIHYHQWVGXULQJWKH
)RFXV3HULRG

7DEOH6HTXHQFHRI(YHQWV

                                                                                                       $SSUR[LPDWH
                                              3RRO(OHYDWLRQVLQ
                                                                                                       5DWHRI5HOHDVH
  'DWH              5DLQIDOO>@            $GGLFNV%DUNHU            *DWH2SHUDWLRQ
                                                                                                       IURP$GGLFNV
                                              IW1$9' 
                                                                                                       %DUNHU FIV 

                     /LJKWVFDWWHUHG                                      *DWHVSDUWLDOO\RSHQWR
  WR     UDLQSULRUWR            WR                HPSW\WKHUHVHUYRLUV        ±  ±
            +XUULFDQH+DUYH\         WR                   DQGWRUHOHDVHLQFRPLQJ    
                     ODQGIDOO                                              LQIORZV

                                                                           *DWHVSDUWLDOO\RSHQWR
                6WDUWRI+DUYH\
                                                                           HPSW\WKHUHVHUYRLUV        ±  ±
  DP (YHQW¶VUDLQIDOO             
                                                                           DQGWRUHOHDVHLQFRPLQJ    
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                                                                           6WDUWRIJUDGXDORSHQLQJ
            /HVVLQWHQVH                                         RI$GGLFNVJDWHV
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                 UDLQIDOO                                               FUHDWHVILUVWIORRG
                                                                           ZDYH 

                                                                           6WDUWRIJUDGXDORSHQLQJ
            /HVVLQWHQVH                                                                    ±  ±
                                                              RI%DUNHUJDWHV FUHDWHV
                 UDLQIDOO                                                                        
                                                                           ILUVWIORRGZDYH 

  SP                                WR 
                /HVVLQWHQVH                                              *UDGXDORSHQLQJ
  WR                                                                                        
                UDLQIDOO                       WR                  VWRSSHGDQGJDWH
  DP


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                &RPPHUFLDOLQ&RQILGHQFH                                      3DJH


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                                                                                       SRVLWLRQKHOGIRUERWK
                                                                                       VHWVRIJDWHV

                                                                                       *DWHRSHQLQJUHVXPHG
     DP (QGRIUDLQIDOO                            WR           DWERWKUHVHUYRLUV
     WR DURXQG                                                                               
                                                               WR              FUHDWHVVHFRQGIORRG
     SP            
                                                                                       ZDYH 

                    1RPHDVXUDEOH                                            6WDUWRIJUDGXDOFORVXUH
                                                                                                     
                        UDLQIDOO                                                  RI$GGLFNVJDWHV

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          3ODLQWLIIVDQG7HVW3ODLQWLIIV

)LJXUHPDSVRXWWKHXSVWUHDPDQGGRZQVWUHDP7HVW3ODLQWLIIVDQGPDMRUVWUHDPVZLWKLQWKH)RFXV$UHD
,QXQGDWLRQGDPDJHVDWWKH3ODLQWLIIVSURSHUWLHVFRXOGKDYHUHVXOWHGIURPVHYHUDOIDFWRUVDVVXPPDUL]HGEHORZ
x       ([FHVVLYHUXQRIIIURPORFDOUDLQIDOOWKDWRYHUZKHOPHGWKHORFDOVWRUPGUDLQDJHV\VWHP
x       %DFNZDWHUGXHWRKLJKZDWHUVXUIDFHHOHYDWLRQVLQWKHUHFHLYLQJZDWHUERG\ VXFKDVSRROHOHYDWLRQVLQ
        $GGLFNVRU%DUNHU5HVHUYRLUV 
x       %DFNZDWHUGXHWRFKDQQHOFRQVWULFWLRQLQVWUHDPVED\RXVDQGRU
x       5HOHDVHRIIORRGZDWHUIURP$GGLFNVDQG%DUNHU5HVHUYRLUV

7DEOHSURYLGHVDOLVWRIXSVWUHDP7HVW3ODLQWLIIVDORQJZLWKDJHQHUDOGHVFULSWLRQRIWKHLUSURSHUWLHV¶ORFDWLRQV
ZLWKUHVSHFWWRWKHGDPVDQGWKHPDMRUVWUHDPV

7DEOHVXPPDUL]HVUHVXOWVRIODQGVXUYH\VFRPSOHWHGDWWKHXSVWUHDP7HVW3URSHUWLHV>@

7DEOH*HQHUDOGHVFULSWLRQRIXSVWUHDP7HVW3URSHUWLHV

                                                                        *HQHUDOORFDWLRQZLWKUHVSHFWWRJDJHVDQGZDWHU
     7HVW3ODLQWLII                                     5HVHUYRLU
                                                                        ERGLHV

     /DNHVRQ(OGULGJH                                  8SVWUHDP      2QWKHQRUWKHUQVLGHRIWKHUHVHUYRLU
                                                         $GGLFNV

     :LQG.XUW -HDQ                                  8SVWUHDP      2QWKHQRUWKHUQVLGHRIWKHUHVHUYRLU
                                                         $GGLFNV

     0LWFKHOO6WHZDUW                                  8SVWUHDP      2QWKHZHVWHUQVLGHRIWKHUHVHUYRLUEHWZHHQ/DQJKDP
                                                         $GGLFNV        DQG%HDU&UHHNV

     :HVW+RXVWRQ$LUSRUW&RUS                         8SVWUHDP      2QWKHZHVWHUQVLGHRIWKHUHVHUYRLUEHWZHHQ6RXWK
                                                         $GGLFNV        0D\GHDQG%HDU&UHHNV

     0LWFKHOO0DULR                                    8SVWUHDP      2Q6RXWK0D\GH&UHHNDSSUR[LPDWHO\\DUGV
                                                         $GGLFNV        XSVWUHDPRIWKHUHVHUYRLU


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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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  %XUQKDP(OL]DEHWK                  8SVWUHDP          2QWKHZHVWHUQVLGHRIWKHUHVHUYRLUFORVHWR/DQJKDP
                                       $GGLFNV            &UHHN

  6LGKX.XOZDQW                      8SVWUHDP          2QWKHZHVWHUQVLGHRIWKHUHVHUYRLUFORVHWR/DQJKDP
                                       $GGLFNV            &UHHN

  7XUQH\5REHUW                      8SVWUHDP          2QWKHZHVWHUQVLGHRIWKHUHVHUYRLUFORVHWR/DQJKDP
                                       $GGLFNV            &UHHN

  +ROODQG6FRWW                      8SVWUHDP          2QWKHZHVWHUQVLGHRIWKHUHVHUYRLUDSSUR[LPDWHO\
                                       $GGLFNV            \DUGVQRUWKRIWKHVRXWKHUQDX[LOLDU\VSLOOZD\

  3RSRYLFL&DWKHULQH                                    2QWKHZHVWHUQVLGHRIWKHUHVHUYRLUEHWZHHQ0DVRQ
                                       8SVWUHDP
                                                          &UHHN,PSURYHPHQWDQG7ULEXWDU\DQG UHIHUWR
                                       %DUNHU
                                                          )LJXUH 

  6RDUHV(OLVLR                      8SVWUHDP          2Q:HVWKHLPHU3DUNZD\
                                       %DUNHU

  0LFX&KULVWLQD                     8SVWUHDP          \DUGVQRUWKRI%DUNHU VVRXWKHUQDX[LOLDU\VSLOOZD\
                                       %DUNHU

  *LURQ-XDQ $QQ                   8SVWUHDP          2QWKHLPSURYHGVHFWLRQRI8SSHU%XIIDOR%D\RX
                                       %DUNHU

  %DQNHU7RGG &KULVWLQD            8SVWUHDP          2QWKHHGJHRIWKH*2/QRUWKRIWKHLPSURYHG8SSHU
                                       %DUNHU             %XIIDOR%D\RX

7DEOH5HVXOWVRIODQGVXUYH\VDWXSVWUHDP7HVW3ODLQWLIIV>@

                                          (OHYDWLRQ IW 

  3ODLQWLII                              /RZHVW         *DUDJH        /RZHVW     )LUVW      2WKHU      6RXUFH
                                          *UDGH         (OHYDWLRQ     $GMDFHQW   )LQLVKHG   )LQLVKHG
                                                                       *UDGH     )ORRU      )ORRU

  /DNHVRQ(OGULGJH                                                              86

  :LQG.XUW -HDQ                                                      86

  0LWFKHOO6WHZDUW                                                          86

  :HVW+RXVWRQ$LUSRUW&RUS                                                      86

  0LWFKHOO0DULR                                                            86

  %XUQKDP(OL]DEHWK                                                         86

  6LGKX.XOZDQW                                                             86

  7XUQH\5REHUW                                                             86

  +ROODQG6FRWW                                                             86

  3RSRYLFL&DWKHULQH                                                         86

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                 &RPPHUFLDOLQ&RQILGHQFH                                3DJH


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  Case 1:17-cv-09002-LAS                    Document 266-2              Filed 01/10/23    Page 1067 of 1584




  6RDUHV(OLVLR                                                         86

  0LFX&KULVWLQD                                                           86

  *LURQ-XDQ $QQ                                                  86

  %DQNHU7RGG &KULVWLQD                                                86
2WKHUILQLVKHGIORRUHOHYDWLRQVXUYH\HG




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                  &RPPHUFLDOLQ&RQILGHQFH                         3DJH


                                                                                                                A1511
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)LJXUH)RFXV$UHDYLFLQLW\PDSVKRZLQJORFDWLRQVRI7HVW3ODLQWLIIVDQGPDMRUVWUHDPV8SVWUHDP7HVW3ODLQWLIIVDUHLGHQWLILHGLQ)LJXUH




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                    3DJH




                                                                                                                                                   A1512
  Case 1:17-cv-09002-LAS                  Document 266-2              Filed 01/10/23   Page 1069 of 1584




        $QDO\VLVRI3K\VLFDO'DWD
7KLVVHFWLRQSUHVHQWVDQDO\VLVRISK\VLFDOGDWDFROOHFWHGGXULQJWKH+DUYH\(YHQW LHVWUHDPJDJHGDWD DQG
KLVWRULFDOO\ LHIORZUDWLQJFXUYHV WRGHYHORSDJHQHUDOXQGHUVWDQGLQJRIWKHIORZUHJLPHGXULQJWKHHYHQWDQG
WRHVWLPDWHJHQHUDOFKDUDFWHULVWLFVRIWKHPDLQVWUHDPVZLWKLQWKH)RFXV$UHD)LJXUHVKRZVORFDWLRQVRI
VWUHDPJDJHVZLWKLQWKH)RFXV$UHDZKLFKKDYHEHHQUHYLHZHGDQGDQDO\]HGLQWKLVVHFWLRQ

       ,QIORZWR$GGLFNVDQG%DUNHU5HVHUYRLUV

7KH&RUSVGHWHUPLQHGWKH6WDQGDUG3URMHFW)ORRG 63) HOHYDWLRQVEDVHGRQDGHVLJQIORRGWKDWJHQHUDWHV
SHDNUXQRIILQIORZVRIFIVDQGFIVLQWR$GGLFNVDQG%DUNHUUHVSHFWLYHO\ :DWHU&RQWURO
0DQXDO>SS86$&(@ 7KHVHSHDNLQIORZVDUHJUHDWHUWKDQWKHHVWLPDWHGUXQRIIGXULQJWKH
IORRGZKLFKZDVWKHVWRUPRIUHFRUGDWWKHWLPHRIGHVLJQLQJWKH$GGLFNVDQG%DUNHUGDPV UHIHUWR7DEOH
 

7KHFDSDFLW\UDWLQJWDEOHVGRFXPHQWHGLQWKH&RUSV¶:DWHU&RQWURO0DQXDO>@ZHUHXVHGWRHVWLPDWH
YROXPHRIIORRGZDWHUVLQWKHUHVHUYRLUVGXULQJWKH(YHQW86*6PHDVXUHPHQWVRISRROHOHYDWLRQVLQ$GGLFNV
DQG%DUNHU5HVHUYRLUV>@ 86*66WDWLRQV $GGLFNV DQG %DUNHU ZHUHXVHGWRGHILQH
WKHIUHHVXUIDFHHOHYDWLRQVLQWKHUHVHUYRLUV:HHVWLPDWHGWKHLQIORZVWR$GGLFNVDQG%DUNHU5HVHUYRLUV
GXULQJWKH+DUYH\(YHQWEDVHGRQWKHPDVVEDODQFHZLWKLQWKHUHVHUYRLUVDVWZRVHSDUDWHFRQWUROYROXPHV
7KHUHOHDVHVIURP$GGLFNVDQG%DUNHU5HVHUYRLUVZHUHLQFOXGHGLQWKHPDVVEDODQFHEXWIORRGZDWHUVWRUHG
XSVWUHDPRIWKHUHVHUYRLUV LHLQXSSHUWULEXWDULHVDQGORZO\LQJDUHDV ZDVQRWLQFOXGHG$VVXFKLQIORZV
HVWLPDWHGXVLQJWKLVPHWKRGRORJ\DUHH[SHFWHGWREHOHVVWKDQWKHSHDNIORZVJHQHUDWHGXSVWUHDPRIWKH
UHVHUYRLUVGXULQJWKH+DUYH\(YHQW7KHVSLOODURXQGWKHQRUWKHQGRI$GGLFNVGDPZDVQRWLQFOXGHGLQWKH
PDVVEDODQFH$VVXFKLQIORZVWR$GGLFNV5HVHUYRLUDUHVOLJKWO\XQGHUHVWLPDWHG7KH+DUYH\(YHQW
JHQHUDWHGSHDNLQIORZVRIDWOHDVWDQGFIVWR$GGLFNVDQG%DUNHU5HVHUYRLUVUHVSHFWLYHO\DV
VKRZQLQ)LJXUH+DUULV&RXQW\>@UHSRUWHGDSHDNPD[LPXPLQIORZRIFIVLQWR$GGLFNV5HVHUYRLU
GXULQJWKH+DUYH\(YHQWQRWLQFOXGLQJLQIORZVIURP+RUVHSHQ&UHHNZKLFKLVFRQVLVWHQWZLWKWKHHVWLPDWHG
LQIORZVSURYLGHGLQ)LJXUH$VVKRZQLQ7DEOHSHDNLQIORZUDWHVJHQHUDWHGGXULQJWKH+DUYH\(YHQW
DUHWRWLPHVWKH63)LQIORZV

,QWKH&RUSVUHFDOFXODWHGWKH63)K\GURJUDSKVIRU$GGLFNVDQG%DUNHU5HVHUYRLUVEDVHGRQRIWKH
3UREDEOH0D[LPXP3UHFLSLWDWLRQ 303 >S86$&(@7KHUHYLVHG63)LQIORZK\GURJUDSKVKDYH
SHDNLQIORZUDWHVRIFIVDQGFIVIRU$GGLFNVDQG%DUNHU5HVHUYRLUVUHVSHFWLYHO\$OWKRXJKWKH
HVWLPDWHGSHDNLQIORZUDWHVGXULQJ+DUYH\DUHVPDOOHUWKDQWKHUHYLVHG63)WKH+DUYH\LQIORZK\GURJUDSKV
DUHORQJHUWKDQWKH63)GXUDWLRQ7KHFDOFXODWHGWRWDOFXPXODWLYHLQIORZVWR$GGLFNVDQG%DUNHU5HVHUYRLUV
GXULQJWKH+DUYH\(YHQWDUHODUJHUWKDQWKH63)DVVKRZQLQ7DEOH)LJXUHDQG)LJXUH
FRPSDUHEHWZHHQLQIORZK\GURJUDSKVXQGHU+DUYH\(YHQW63)63)DQGIORRGIRU$GGLFNV
DQG%DUNHU5HVHUYRLUVUHVSHFWLYHO\)LJXUHDQG)LJXUHVKRZHVWLPDWHGFXPXODWLYHLQIORZVWR$GGLFNV
DQG%DUNHUGXULQJ+DUYH\(YHQW63)DQG63)

7KHIRFXVRIRXULQYHVWLJDWLRQUHODWHVWRWKHK\GUDXOLFGHVLJQDQGSHUIRUPDQFHRIWKH$GGLFNVDQG%DUNHU
5HVHUYRLUVZKLFKLVEDVHGRQWKH63):KHUHDVWKH6SLOOZD\'HVLJQ)ORRG 6') UHODWHVWRWKHVWUXFWXUDODQG
JHRWHFKQLFDOGHVLJQRIWKHHPEDQNPHQWVDVVRFLDWHGZLWKWKHWZRUHVHUYRLUV7KH&RUSVQRWHGLQWKH
:DWHU&RQWURO0DQXDOWKDWWKH6')SURGXFHV³IORZRYHUWKHHPEDQNPHQWVRIERWKGDPV´>S
86$&(@³7KHRFFXUUHQFHRIWKLVVLWXDWLRQFRXOGFUHDWHDFRQGLWLRQIDYRUDEOHIRUFRQVLGHUDEOHSURSHUW\
GDPDJHWRWKHSXEOLFDQGWKHSRVVLEOHORVVRIOLIH6SLOOZD\'HVLJQ)ORRG,PSDFWVDUHFXUUHQWO\EHLQJ
UHDQDO\]HGDVSDUWRID'DP6DIHW\0RGLILFDWLRQ6WXG\DQG>WKH:DWHU&RQWURO0DQXDO@ZLOOEHXSGDWHG
ZLWKUHVXOWVIURPWKHVWXG\DIWHULWLVUHYLHZHGDQGDSSURYHG´>S86$&(@

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                &RPPHUFLDOLQ&RQILGHQFH                              3DJH


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7KHPD[LPXPFRPELQHGFDSDFLW\RIWKH$GGLFNVDQG%DUNHUUHOHDVHFRQGXLWVLVFIV>S
86$&(DQG86$&(@ZKLFKLVJUHDWHUWKDQWKHFDSDFLW\RIWKHUHFHLYLQJFKDQQHO)ORRGZDWHU
LQIORZUDWHVWR$GGLFNVDQG%DUNHU5HVHUYRLUVUHDFKHGDWOHDVWFIVZKLFKLVDQRUGHURIPDJQLWXGH
ODUJHUWKDQWKHPD[LPXPFRPELQHGFDSDFLW\RIWKHUHOHDVHFRQGXLWVOHDGLQJWRDQXQDYRLGDEOHUDSLGUDWHRI
ULVHRISRROHOHYDWLRQVLQ$GGLFNVDQG%DUNHU5HVHUYRLUV'XHWRWKHRUGHURIPDJQLWXGHGLIIHUHQFHEHWZHHQ
WKHLQIORZVWRDQGRXWIORZVIURPWKHUHVHUYRLUVWKHSRROHOHYDWLRQVLQVLGHWKHUHVHUYRLUVDUHQRWPDQDJHDEOH
ZLWKRXWVLJQLILFDQWUHOHDVHVGXULQJHYHQWVVLPLODUWRWKH+DUYH\(YHQW

7DEOH6XPPDU\RIGHVLJQIORRGSHDNLQIORZVFRPSDUHGWRWKH+DUYH\(YHQWSHDNLQIORZV

                                                                                                                                7RWDO
                                                           3HDN
    6WRUPV OLVWHGDFFRUGLQJWR                                                              7RWDOFXPXODWLYH              FXPXODWLYH
                                                         LQIORZWR      3HDNLQIORZWR
    VHYHULW\IURPORZHVWWR                                                                 LQIORZWR$GGLFNV               LQIORZWR
                                                         $GGLFNV         %DUNHU FIV 
    KLJKHVWFXPXODWLYHLQIORZV                                                                   $FUHIW                 %DUNHU $FUH
                                                            FIV 
                                                                                                                                  IW 

    )ORRG>S
                                                                                                          
    86$&(86$&(@

    6WDQGDUG3URMHFW)ORRG
     63) >SS86$&(                                                                           
    @

    \HDUIORRGIUHTXHQF\>S
    86$&(DQG                                                                                                  
    86$&(@

    6WDQGDUG3URMHFW)ORRG
                                                                                                       
    >S86$&(@

    +DUYH\(YHQW                                                                                       
  3HDNLQIORZVDQGWRWDOFXPXODWLYHLQIORZVDUHFDOFXODWHGEDVHGRQYROXPHRIIORRGZDWHULQWKHUHVHUYRLUVDQGWKHUHOHDVHGDPRXQWRIZDWHU
WKURXJKWKHFRQGXLWV(VWLPDWHVGRQRWLQFOXGHZDWHUVWRUHGLQXSSHUWULEXWDULHVDQGORZO\LQJDUHDVXSVWUHDPRIWKHUHVHUYRLUVDQG
IORRGZDWHUVSLOOHGDURXQGWKHQRUWKHQGRI$GGLFNV
   &DOFXODWHGEDVHGRQGLJLWL]HGLQIORZK\GURJUDSKVSURYLGHGE\WKH5HVHUYRLU5HJXODWLRQ0DQXDO>@
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
 6LJQLILFDQWUHOHDVHVH[FHHGLQJWKHFDSDFLW\RIWKHUHOHDVHFRQGXLWVDQGWKHUHFHLYLQJFKDQQHOVGRZQVWUHDPRIWKHGDPV

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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                                                                                                                                                A1514
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                  100000

                   90000

                   80000                                                                                                                                                                               EstimatedAddicksInflow
                                                                                                                                                                                                       (HarveyEvent)
                   70000

                   60000                                                                                                                                                                               EstimatedBarkerInflow
   Inflow(cfs)




                                                                                                                                                                                                       (HarveyEvent)
                   50000

                   40000

                   30000

                   20000

                   10000

                       0




                                                                                                                                                                                                                 9/1/20170:00




                                                                                                                                                                                                                                  9/2/20170:00
                           8/24/20170:00




                                             8/25/20170:00




                                                                   8/26/20170:00




                                                                                          8/27/20170:00




                                                                                                                    8/28/20170:00




                                                                                                                                           8/29/20170:00




                                                                                                                                                                   8/30/20170:00




                                                                                                                                                                                          8/31/20170:00
                                                                                                                 Datetime

)LJXUH$GGLFNVDQG%DUNHULQIORZK\GURJUDSKVGXULQJ+DUYH\(YHQW


                  140000
                                                                                                                                                                  EstimatedAddicksInflow(HarveyEvent)
                  120000
                                                                                                                                                                  1977SPFFlood

                  100000
                                                                                                                                                                  1962SPFFlood
   Inflow(cfs)




                  80000                                                                                                                                           1935Flood


                  60000


                  40000


                  20000


                      0
                                            20



                                                              40



                                                                                     60



                                                                                                               80
                           0




                                                                                                                                     100



                                                                                                                                                            120



                                                                                                                                                                                    140



                                                                                                                                                                                                           160



                                                                                                                                                                                                                        180



                                                                                                                                                                                                                                  200




                                                                                                                 Time(hr)

)LJXUH+DUYH\(YHQW63)63)DQGHYHQWLQIORZK\GURJUDSKVWR$GGLFNV
5HVHUYRLU



$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                                                         &RPPHUFLDOLQ&RQILGHQFH                                                                                             3DJH


                                                                                                                                                                                                                                                  A1515
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                                 100000
                                                                                                                  EstimatedBarkerInflow(HarveyEvent)
                                  90000

                                  80000                                                                           1977SPFFlood

                                  70000                                                                           1962SPFFlood

                                  60000
   Inflow(cfs)




                                                                                                                  1935Flood
                                  50000

                                  40000

                                  30000

                                  20000

                                  10000

                                      0
                                                20



                                                           40



                                                                       60



                                                                                  80
                                          0




                                                                                                   100



                                                                                                            120



                                                                                                                    140



                                                                                                                               160



                                                                                                                                           180



                                                                                                                                                      200
                                                                                       Time(hr)

)LJXUH+DUYH\(YHQW63)63)DQGHYHQWLQIORZK\GURJUDSKVWR%DUNHU5HVHUYRLU

                                 300000
                                              EstimatedCumulativeInflowtoAddicks
                                              (HarveyEvent)
                                 250000       1977SPF
   CumulativeInflow(Acre.ft)




                                              1962SPF
                                 200000
                                              1935

                                 150000


                                 100000


                                 50000


                                     0
                                                20



                                                           40



                                                                       60



                                                                                  80
                                          0




                                                                                                   100



                                                                                                            120



                                                                                                                    140



                                                                                                                               160



                                                                                                                                           180



                                                                                                                                                      200




                                                                                       Time(hr)

)LJXUH&XPXODWLYHLQIORZYROXPHVWR$GGLFNV5HVHUYRLU +DUYH\(YHQW63)DQG63) 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                           &RPPHUFLDOLQ&RQILGHQFH                                              3DJH


                                                                                                                                                              A1516
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                                 300000
                                              EstimatedCumulativeInflowtoBarker
                                              (HarveyEvent)
                                 250000       1977SPF
   CumulativeInflow(Acre.ft)




                                              1962SPF
                                 200000

                                              1935
                                 150000


                                 100000


                                  50000


                                      0
                                              20



                                                         40



                                                                    60



                                                                                80
                                          0




                                                                                             100



                                                                                                       120



                                                                                                             140



                                                                                                                    160



                                                                                                                          180



                                                                                                                                 200
                                                                                 Time(hr)

)LJXUH&XPXODWLYHLQIORZYROXPHVWR%DUNHU5HVHUYRLU +DUYH\(YHQW63)DQG63) 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                            3DJH


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)LJXUH6WUHDPJDJHVZLWKLQWKH)RFXV$UHD

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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           )ORZ5HJLPH8SVWUHDPRI$GGLFNVDQG%DUNHU'DPV

7KLVVHFWLRQGHVFULEHVIORZUHJLPHXSVWUHDPRIWKHGDPVEDVHGRQVWDJHDQGGLVFKDUJHPHDVXUHPHQWVDW
YDULRXVJDJHORFDWLRQVSULRUWRDQGGXULQJWKH+DUYH\(YHQW

         3ULRUWRWKH+DUYH\(YHQW

7KHUHDUHWZRPDLQVWUHDPVGUDLQLQJLQWR%DUNHU5HVHUYRLU8SSHU%XIIDOR%D\RXDQG0DVRQ&UHHN)LJXUH
VKRZVPHDVXUHGVWDJHHOHYDWLRQVDWWZRORFDWLRQVRQXSSHU%XIIDOR%D\RXDQGSRROHOHYDWLRQVLQ%DUNHU
5HVHUYRLU7KH&RUSVFORVHGWKHJDWHVRQDWLQSUHSDUDWLRQIRUWKH+DUYH\(YHQW3ULRUWR
FORVLQJWKHJDWHVWKH&RUSVUHOHDVHGZDWHUIURP%DUNHU5HVHUYRLUZKLFKUDSLGO\GURSSHGWKHSRROHOHYDWLRQ
GRZQWRIWDSSUR[LPDWHO\WKHERWWRPRI%DUNHU5HVHUYRLU IW1$9' ZKLFKLVVOLJKWO\KLJKHUWKDQ
WKHLQYHUWHOHYDWLRQRIWKHFRQGXLWV IW1$9' 'HVSLWHWKHUHODWLYHO\UDSLGGURS DYHUDJHRIIWGD\ LQ
SRROHOHYDWLRQVEHWZHHQDQGVWDJHHOHYDWLRQVLQXSSHU%XIIDOR%D\RXGRQRWVHHPWREH
LQIOXHQFHGE\WKLVGURS7KLVLQGLFDWHVWKDWDEDFNZDWHUFRQGLWLRQH[LVWHGLQXSSHU%XIIDOR%D\RXIRUWKDWWLPH
SHULRG

6LPLODUWUHQGVDUHREVHUYHGLQ$GGLFNV5HVHUYRLUDVVKRZQLQ)LJXUH

         *DWH&ORVXUH3HULRG

'XULQJWKHJDWHFORVXUHSHULRGEHWZHHQDQGWKHSHDNUDLQIDOOLQWHQVLW\RIWKH+DUYH\
(YHQWZDVUHFRUGHG XSWRLQFKKU +HDY\UDLQIDOORQXUEDQL]HGDUHDVUHVXOWHGLQUXQRIIDQGIORZWKURXJK
VWUHDPVWRZDUGV$GGLFNVDQG%DUNHU5HVHUYRLUVZKHUHSRROHOHYDWLRQVURVHUDSLGO\)LJXUHVKRZVVWDJH
HOHYDWLRQVDORQJXSSHU%XIIDOR%D\RXDQGSRROHOHYDWLRQVLQ%DUNHU5HVHUYRLU86*6JDJHLV
ORFDWHGMXVWXSVWUHDPRIWKH:LOORZ)RUNGLYHUVLRQFKDQQHOZKLFKLVDSSUR[LPDWHO\PLOHVXSVWUHDPRIWKH
%DUNHUJDWHV7KHVWUHDPGLVWDQFHEHWZHHQ86*6JDJHV XSVWUHDPRIWKH)RFXV$UHDDQGQRW
SLFWXUHGRQ)LJXUH DQG WKH:LOORZ)RUNJDJH LVDSSUR[LPDWHO\PLOHV2QDW
WKHVWUHDPIORZZDVOHVVWKDQFIVLQGLFDWLQJQRVLJQLILFDQWUXQRIILQWKHXSSHU%XIIDOR%D\RXFDWFKPHQW
DUHD,QDGGLWLRQWKHSRROHOHYDWLRQLQ%DUNHU5HVHUYRLUZDVYHU\ORZ DSSUR[LPDWHO\IW 8QGHUWKHVH
FRQGLWLRQVRIORZIORZ LHFRQWDLQHGZLWKLQWKHPDLQVWUHDP DQGORZSRROHOHYDWLRQLQWKHUHVHUYRLU LH
SUHFOXGLQJEDFNZDWHUHIIHFWVFDXVHGE\KLJKSRROHOHYDWLRQV XQLIRUPIORZLVH[SHFWHGWRGHYHORSZKHUHWKH
VORSHRIWKHZDWHUVXUIDFHSURILOHDORQJWKHVWUHDPLVH[SHFWHGWREHVLPLODUWRWKHVORSHRIWKHVWUHDPEHG
XQOHVVWKHVWUHDPZDVFRQVWULFWHGRUEORFNHGGRZQVWUHDPRIWKLVUHDFKFUHDWLQJDEDFNZDWHUHIIHFW$VWUHDP
FRQVWULFWLRQRUEORFNDJHFRXOGEHFDXVHGE\FKDQQHOVLOWDWLRQRUDFFXPXODWLRQRIGHEULV7KHVWUHDPEHGVORSH
EHWZHHQWKHVHWZRJDJHVLVDSSUR[LPDWHO\ Y  K %DVHGRQWKHPHDVXUHGVWDJHHOHYDWLRQVZDWHU
VXUIDFHSURILOHVORSHEHWZHHQWKHVHWZRJDJHVZDVPXFKIODWWHUWKDQWKHEHGVORSH DSSUR[LPDWHO\
 Y  K RQSULRUWRWKHVWDUWRIWKHLQWHQVHUDLQIDOOUXQRIISHULRG$VVXFKZHFRQFOXGH
EDVHGRQWKHVWDJHPHDVXUHPHQWVWKDWUHODWLYHO\ORZIORZVWKURXJKXSSHU%XIIDOR%D\RXDUHOLNHO\LPSDFWHGE\
FRQVWULFWLRQVVLOWDWLRQRUGHEULVFORVHWRWKHVWUHDPEHGFDXVLQJEDFNZDWHU

2QDIWHUWKHGD\SHULRGRIWKHPRVWLQWHQVHUDLQIDOOWKHVORSHRIWKHZDWHUVXUIDFHSURILOH
EHWZHHQ86*6JDJHVDQGZDV Y  K ZKLFKLVFORVHWRWKHVORSHRIWKHVWUHDP
EHG$WWKLVSRLQWLQWLPHWKHIORZUDWHWKURXJK8SSHU%XIIDOR%D\RXZDVDSSUR[LPDWHO\FIV%HWZHHQ
DQGZKLOHJDWHVZHUHFORVHGWKHSRROHOHYDWLRQLQ%DUNHU5HVHUYRLUURVH
UDSLGO\IURPIWWRIWDWDUDWHRIPRUHWKDQIWGD\'HVSLWHWKLVUDSLGULVHLQSRROHOHYDWLRQWKH
ZDWHUVXUIDFHSURILOHVORSHLQ8SSHU%XIIDOR%D\RXJUDGXDOO\FKDQJHGIURPEHLQJIODWWHUWKDQWKHVWUHDPEHG

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 %DVHGRQVWDJHGLVFKDUJHUDWLQJFXUYHIRU86*6JDJHSURYLGHGE\>@

 %DVHGRQ'(0GDWD

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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GXULQJWKHLQLWLDOSHULRGRIORZIORZFRQGLWLRQVWREHLQJFORVHWRWKHVWUHDPEHGVORSHGXULQJWKHSHULRGRISHDN
IORZFRQGLWLRQV UHIHUWR)LJXUH 7KLVVXJJHVWVWKDWWKHUDSLGULVHRIWKH%DUNHUSRROHOHYDWLRQ XSWR
HOHYDWLRQIW GLGQRWFDXVHEDFNZDWHULQ8SSHU%XIIDOR%D\RXVLQFHZDWHUVXUIDFHVORSHVDORQJWKHED\RX
KDYHVWHHSHQHGGHVSLWHWKHUDSLGSRROHOHYDWLRQULVH6WUHDPFRQVWULFWLRQVDOVRKDYHRQO\LPSDFWHGORZIORZ
UHJLPHVDORQJ8SSHU%XIIDOR%D\RX

$W$GGLFNV5HVHUYRLUFRQGLWLRQVUHVHPEOHGWKRVHLQ%DUNHU5HVHUYRLUGXULQJWKHSHULRGRIPRVWLQWHQVHUDLQIDOO
DQGJDWHFORVXUH7KLVSHULRG EHWZHHQDQG ZDVFKDUDFWHUL]HGE\UDSLGULVHLQSRRO
HOHYDWLRQUHODWLYHO\KLJKIORZVWKURXJKXSSHUWULEXWDULHVZLWKQRVLJQRIEDFNZDWHUGXHWRKLJKSRROHOHYDWLRQVLQ
$GGLFNV5HVHUYRLU UHIHUWR)LJXUH 

         *UDGXDO5HOHDVH3HULRG

7KH&RUSVEHJDQUHOHDVLQJZDWHUIURP%DUNHU5HVHUYRLUJUDGXDOO\RQDQGUHDFKHGPD[LPXP
UHOHDVH JDWHVRSHQDWIWKHLJKW RQ'XULQJWKLVSHULRGOHVVLQWHQVHUDLQIDOO OHVVWKDQ
LQKU ZDVPHDVXUHGDQGSRROHOHYDWLRQLQ%DUNHU5HVHUYRLUURVHIURPIWWRIWDWDUDWHRI
IWGD\$VVKRZQLQ)LJXUHGXULQJWKLVSHULRGZDWHUVXUIDFHSURILOHVORSHVEHWZHHQ86*6JDJHV
DQGJUDGXDOO\GHFUHDVHG7KHIODWWHUZDWHUVXUIDFHHOHYDWLRQSURILOHVGHYHORSHGDVD
UHVXOWRILQFUHDVLQJZDWHUVXUIDFHHOHYDWLRQVDW86*6JDJHDQGLQFUHDVLQJZDWHUVXUIDFHHOHYDWLRQ
LQ%DUNHU5HVHUYRLU6WDJHHOHYDWLRQVDW86*6JDJH FORVHWRWKHUHVHUYRLU ZHUHQHDUO\FRQVWDQWLQ
WLPHZKLFKLQGLFDWHVEDFNZDWHUFRQGLWLRQVGXHWRKLJKSRROHOHYDWLRQVLQ%DUNHU5HVHUYRLU'HVSLWHWKH
UHOHDVHIURPWKH%DUNHUJDWHVWKHLQIORZUDWH PRUHWKDQFIVIURPXSSHU%XIIDOR%D\RXDORQH ZDV
PXFKODUJHUWKDQWKHUHOHDVHUDWHGXULQJWKDWSHULRG ZKLFKJUDGXDOO\LQFUHDVHGWRDSSUR[LPDWHO\FIV $W
WKHVDPHWLPHSRROHOHYDWLRQVLQ%DUNHU5HVHUYRLUURVHWRHOHYDWLRQVEH\RQGWKH*2/8QGHUWKHVH
FRQGLWLRQVEDFNZDWHULQWKHXSSHUWULEXWDULHVLVHYLGHQWZKHUHWKHVWDJHGLVFKDUJHUDWLQJFXUYHVEHFRPH
LQYDOLG LHDVZDWHUVXUIDFHHOHYDWLRQPD\EHEDFNHGXSDQGURVHZLWKRXWLQFUHDVHLQIORZUDWH 

&RQGLWLRQVXSVWUHDPRI$GGLFNV5HVHUYRLUUHVHPEOHGWKRVHLQ%DUNHU5HVHUYRLUGXULQJWKHJUDGXDOUHOHDVH
SHULRG7KLVSHULRGEHWZHHQDQGZDVFKDUDFWHUL]HGE\LQFUHDVLQJSRRO
HOHYDWLRQVLQ$GGLFNV5HVHUYRLUVWDELOL]HGZDWHUVXUIDFHHOHYDWLRQVLQVWUHDPVFORVHWRWKHHGJHRIWKH
UHVHUYRLU 86*6JDJHVDQGRQ/DQJKDPDQG6RXWK0D\GH&UHHNVUHVSHFWLYHO\ DQG
GHFUHDVLQJZDWHUVXUIDFHHOHYDWLRQVLQWKHXSSHUVWUHDPVGUDLQLQJLQWRWKHUHVHUYRLU +&)&'RQ
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'XULQJWKHSHULRGRIPD[LPXPJDWHUHOHDVHIURP%DUNHU5HVHUYRLUEHWZHHQDQG
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5HVHUYRLUUHDFKHGDSHDNHOHYDWLRQRILQWKHPRUQLQJRIWKHQVWDUWHGWRGURSJUDGXDOO\WR
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JDJHZDVVWLOOLPSDFWHGE\EDFNZDWHUIURPWKHUHVHUYRLU$VVKRZQLQ)LJXUHGXULQJWKH
PD[LPXPUHOHDVHSHULRGVWDJHHOHYDWLRQVDW86*6JDJHZHUHYHU\FORVHWRWKHUHVHUYRLUSRRO
HOHYDWLRQZKLOHVWDJHVDWWKHXSSHU86*6JDJHZHUHGURSSLQJPXFKIDVWHUGXHWRWKHGHFUHDVHG
IORZUDWH,QRWKHUZRUGVWKHZDWHUVXUIDFHSURILOHEHWZHHQWKHVHWZRJDJHVJUDGXDOO\GHYHORSHGDIODWWHU
SURILOHGXULQJWKLVSHULRGDVDUHVXOWRIDKLJKSRROHOHYDWLRQLQWKHUHVHUYRLU FDXVLQJEDFNZDWHULQXSSHU%XIIDOR
%D\RX $XQLIRUPIORZFRQGLWLRQWKURXJKXSSHU%XIIDOR%D\RX ZLWKQREDFNZDWHU GHYHORSHGDIWHU
ZKHQSRROHOHYDWLRQVGURSSHGEHORZIWDVLQIHUUHGIURP)LJXUHE\WKHSDUDOOHOWLPHVWDJHFXUYHV



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  0D[LPXPUHOHDVHGXULQJWKH(YHQWLVOHVVWKDQWKHFDSDFLW\RIWKHFRQGXLWV

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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$VLPLODUWUHQGFDQEHREVHUYHGXSVWUHDPRI$GGLFNV5HVHUYRLUGXULQJWKHSHULRGRIPD[LPXPJDWHUHOHDVH
EHWZHHQDQGDVVKRZQLQ)LJXUH0HDVXUHGVWDJHHOHYDWLRQVDWWKH
XSSHU+&)&'JDJHDW/RQJHQEDXJK5RDGGURSSHGPXFKIDVWHUWKDQWKRVHPHDVXUHGDWWKHWZRORZHUJDJHV
RQ/DQJKDP&UHHNFORVHUWRWKH$GGLFNV5HVHUYRLU 86*6JDJHVDQG ZKLFKFORVHO\
IROORZHGWKHSRROHOHYDWLRQVLQWKHUHVHUYRLU$XQLIRUPIORZFRQGLWLRQWKURXJK/DQJKDP&UHHN ZLWKQR
EDFNZDWHU GHYHORSHGDIWHUZKHQSRROHOHYDWLRQVGURSSHGEHORZIWDVLQIHUUHGIURP)LJXUH
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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                                                   Case 1:17-cv-09002-LAS                                                                                                                                                                                                Document 266-2                                                                                                                                Filed 01/10/23                                                                                                                   Page 1078 of 1584




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                            120                                                                              6WHHS:6(                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    3
                                                                                                             JUDGLHQW                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      USGS08072300
 GageHeight(ft,NAVD88)




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                            110
                                                                                                                                                                                                                                                                              %DFNZDWHU PLOG                                                                                                                                                                                                                                                                                                             4
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                                                                                                                                                                                                                                                                              :6( JUDGLHQW                                                                                                                                                                                          6WHDG\XQLIRUP)ORZ                                                                                                                                     GatesClosed
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ZLWKRXWEDFNZDWHU                                                                                                      5
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           6
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Elev.LowestHome@Barker
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                                                   Case 1:17-cv-09002-LAS                                                                                                                                                                                                     Document 266-2                                                                                                                                     Filed 01/10/23                                                                                                                          Page 1079 of 1584




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 GageHeight(ft,NAVD88)




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7KH86*6PDLQWDLQVVWDJHGLVFKDUJHUDWLQJFXUYHVDWYDULRXVORFDWLRQVZLWKLQWKH)RFXV$UHD7KHFXUYHV
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7KHVHUDWLQJFXUYHVDUHSHULRGLFDOO\XSGDWHGWRDFFRXQWIRUUHFHQWGLVFKDUJHPHDVXUHPHQWVDQGPRUSKRORJLFDO
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GLVFKDUJHPHDVXUHPHQWV VRPHWLPHVFDOOHGFDOLEUDWLRQV PDGHRYHUDUDQJHRIVWDJHVDQGGLVFKDUJHV
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x      n1LVDFRUUHFWLRQYDOXHIRUVXUIDFHLUUHJXODULWLHV7KHUHFWLILHGVHFWLRQRI%XIIDOR%D\RXFDQEHDVVXPHG
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x      n2LVDFRUUHFWLRQYDOXHIRUYDULDWLRQVLQFKDQQHOFURVVVHFWLRQZKLFKFDQEHDVVXPHGJUDGXDOZLWKD
       FRUUHFWLRQYDOXHRI>S@
x      n3LVDFRUUHFWLRQYDOXHIRUWKHHIIHFWRIREVWUXFWLRQV$SSUHFLDEOHREVWUXFWLRQVDUHDVVXPHGIRUWKH
       UHFWLILHGVHFWLRQDERYH%HOWZD\ZLWKDFRUUHFWLRQYDOXHRI± UHIHUWR)LJXUH)LJXUH
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       GLVWDQFH DERXWPLOHV 

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)LJXUH/RZHU%XIIDOR%D\RX UHFWLILHGVHFWLRQ QHDU%HOWZD\VKRZLQJDKHDYLO\YHJHWDWHG
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)LJXUH/RZHU%XIIDOR%D\RX XQUHFWLILHGVHFWLRQ QHDU%ULDU)RUHVW'ULYHVKRZLQJDOHVV
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(VWLPDWHEDVHGRQRWKHUVWXGLHV

$)(0$IORRGLQVXUDQFHVWXG\IRU+DUULV&RXQW\LQFOXGHVUDQJHVRI0DQQLQJ¶VQYDOXHVZKHUHQIRUWKH
%XIIDOR%D\RXFKDQQHOLVLQWKHUDQJHRI±PV>S)(0$@

7DEOHSUHVHQWVYDOXHVRI0DQQLQJ¶VURXJKQHVVFRHIILFLHQWVDGRSWHGE\WKH+DUULV&RXQW\+(&5$6PRGHO
>@ZKLFKVKRZVWKDW0DQQLQJ¶VQIRUORZHU%XIIDOR%D\RXUDQJHVEHWZHHQDW%HOWZD\WRDW
+LJKZD\ GRZQVWUHDPRIWKH%DUNHU5HVHUYRLUJDWHV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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  Case 1:17-cv-09002-LAS                  Document 266-2              Filed 01/10/23         Page 1085 of 1584




7DEOH0DQQLQJ¶VURXJKQHVVFRHIILFLHQWVDGRSWHGE\WKH+&)&'+(&5$6PRGHO>@

  /RFDWLRQ                           &KDQQHO0DQQLQJ5RXJKQHVV              )ORRGSODLQ0DQQLQJ5RXJKQHVV

  +LJKZD\                                                             ±

  'DLU\$VKIRUG5G                                                      ±

  %HOWZD\                                                             ±

  3LQH\3RLQW                                                           

  6KHSKHUG'ULYH                                                       

  /DQJKDP&UHHN                      ±                           ±

  %HDU&UHHN                         ±                           ±

  6RXWK0D\GH&UHHN                  ±                           ±

(VWLPDWHEDVHGRQJDJHGDWD

$VQRWHGDERYH0DQQLQJ¶VHTXDWLRQIRUIORZDSSOLHVWRXQLIRUPDQGVWHDG\IORZFRQGLWLRQVDQGWKHUHIRUH
XQGHUWKRVHFRQGLWLRQVFDQEHXVHGWRGHWHUPLQH0DQQLQJ¶VQZLWKNQRZOHGJHRIWKHRWKHUIORZYDULDEOHVRIWKH
HTXDWLRQ*DJHGDWDEHWZHHQ%HOWZD\DQG3LQH\3RLQWZDVUHYLHZHGIRUWKHSHULRGIURP$XJWR$XJ
ZKHQIORZZDVQHDUO\XQLIRUPDVFKDUDFWHUL]HGE\YHU\VLPLODUVORSHVIRUWKHZDWHUVXUIDFHSURILOHDQG
FKDQQHOEHG7KH0DQQLQJ¶VURXJKQHVVFRHIILFLHQWIRUWKH%XIIDOR%D\RXFKDQQHOZDVHVWLPDWHGIRUWKLVSHULRG
DVVKRZQLQ7DEOH




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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7DEOH(VWLPDWHRI0DQQLQJ¶VQEDVHGRQ8QLIRUP)ORZ&DOFXODWLRQV&KDQQHO

                                                                              &KDQQHO
                                                   0HDVXUHG6WDJH 4                              $YHUDJH
                        0HDVXUHPHQW                                          &KDUDFWHULVWLFV                 0DQQLQJ¶V
     /RFDWLRQ                                                                                      %HG
                        'DWH         6WDJH                    'LVFKDUJH                                       Q
                                                                              $ IW     5 IW    6ORSH
                                     IW                       FIV 

     5HDFKEHWZHHQ'DLU\$VKIRUG5RDGDQG%HOWZD\                                                

     'DLU\                                                     
     $VKIRUG            
     5RDG

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     %HOWZD\
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     &DOFXODWHGUHDFKDYHUDJH0DQQLQJ¶VQUHSUHVHQWLQJUHFWLILHGFKDQQHOVHFWLRQ
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     PV 

     5HDFKEHWZHHQ%HOWZD\DQG3LQH\3RLQW                                                       

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     3LQH\                                                      
     3RLQW             

     &DOFXODWHGUHDFKDYHUDJH0DQQLQJ¶VQUHSUHVHQWLQJXQUHFWLILHGFKDQQHOVHFWLRQ PV                   

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     %HOWZD\
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     3LQH\                                                      
     3RLQW             

     &DOFXODWHGUHDFKDYHUDJH0DQQLQJ¶VQUHSUHVHQWLQJXQUHFWLILHGFKDQQHOVHFWLRQ PV                   

         0DQQLQJ¶V5RXJKQHVV±)ORRGSODLQ

(VWLPDWHEDVHGRQSK\VLFDOFKDUDFWHULVWLFVRIWKHIORRGSODLQ

&RZDQ  GHYHORSHGDSURFHGXUHIRUHVWLPDWLQJWKHHIIHFWVRIYDULRXVIDFWRUVWRGHILQHWKHYDOXHRI
0DQQLQJ¶VURXJKQHVVFRHIILFLHQWnIRUDFKDQQHO$PRGLILHGSURFHGXUHIRUIORRGSODLQVLVGHVFULEHGLQ>@DV
IROORZV

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x      nbLVDEDVHYDOXHRIQIRUWKHIORRGSODLQ¶VQDWXUDOEDUHVRLOVXUIDFHZKLFKFDQEHEHWZHHQDQG
       IRUILUPVRLO


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    5DQJHSURYLGHGE\>@DIWHU%HQVRQDQG'DOU\PSOH  

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                           &RPPHUFLDOLQ&RQILGHQFH                            3DJH


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x     n1LVDFRUUHFWLRQYDOXHIRUVXUIDFHLUUHJXODULWLHV7KH%XIIDOR%D\RXIORRGSODLQZLWKLQWKHIRFXVDUHDFDQEH
      FRQVLGHUHGDVVOLJKWO\LUUHJXODULQVKDSHZLWKDYDOXHRIn1UDQJLQJEHWZHHQ±>S@
x     n3LVDFRUUHFWLRQYDOXHIRUHIIHFWRIREVWUXFWLRQV'XULQJWKH+DUYH\(YHQWKRPHVDQGEXLOGLQJVFORVHWR
      WKHIORRGSODLQZHUHIORRGHG$VVXFKWKRVHIORRGHGSURSHUWLHVZHUHRFFXS\LQJSDUWRIWKHFKDQQHOFDXVLQJ
      DSSUHFLDEOHREVWUXFWLRQVWRWKHIORZ8QGHUWKHVHFLUFXPVWDQFHVn3YDOXHFRXOGUDQJHEHWZHHQ±
      >S@
x     n4LVDYDOXHIRUYHJHWDWLRQLQWKHIORRGSODLQ'XULQJWKH+DUYH\(YHQWZDWHUVXUIDFHHOHYDWLRQVZHUHDV
      KLJKDVWKHXSSHUEUDQFKHVRIWKHWUHHVZLWKLQWKHIORRGSODLQRIORZHU%XIIDOR%D\RX7KHUHIRUHWKHIORZ
      REVWUXFWLRQDUHDVDVVRFLDWHGZLWKWUHHFDQRSLHVDUHPXFKODUJHUWKDQWKRVHRIWUHHWUXQNVDWORZHU
      HOHYDWLRQV$URXJKQHVVYDOXHIRUDQH[WUHPHDPRXQWRIYHJHWDWLRQLVLQWKHUDQJHRI±>S
      @

%DVHGRQWKHDERYHWKH0DQQLQJ¶VQIRUWKHIORRGSODLQRIORZHU%XIIDOR%D\RXZLWKLQWKHIRFXVDUHDLV
HVWLPDWHGWREHLQWKHUDQJHRI±PV

(VWLPDWHEDVHGRQRWKHUVWXGLHV

$)(0$IORRGLQVXUDQFHVWXG\IRU+DUULV&RXQW\LQFOXGHVUDQJHVRI0DQQLQJ¶VQYDOXHVDQGWKH%XIIDOR%D\RX
IORRGSODLQ¶VQLVLQWKHUDQJHRI±PV>S)(0$@

7DEOHSUHVHQWVYDOXHVRI0DQQLQJ¶VURXJKQHVVFRHIILFLHQWVDGRSWHGE\WKH+DUULV&RXQW\+(&5$6PRGHO
>@ZKLFKVKRZVWKDW0DQQLQJ¶VQIRUIORRGSODLQVZLWKLQWKH)RFXV$UHDLVJHQHUDOO\LQWKHUDQJHIURPWR
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(VWLPDWHEDVHGRQVWDJHGLVFKDUJHUDWLQJFXUYHGXULQJWKH+DUYH\(YHQW

'XULQJWKH+DUYH\(YHQW86*6PHDVXUHGVWDJHHOHYDWLRQVDQGGLVFKDUJHVDORQJ%XIIDOR%D\RXDQG
FDOFXODWHGWKHQHFHVVDU\VKLIWVWRWKHLUUDWLQJFXUYHV8QGHUVWHDG\XQLIRUPIORZFRQGLWLRQV0DQQLQJ¶VQFDQ
EHFDOFXODWHGDVGHVFULEHGLQ6HFWLRQ'RZQVWUHDPRIWKHGDPVWKH86*6UDWLQJFXUYHVH[WHQGWR
HOHYDWLRQVFRYHULQJWKHIORRGSODLQDOORZLQJWKLVPHWKRGWREHXVHGWRFDOFXODWHWKHIORRGSODLQURXJKQHVV

'XULQJWKH+DUYH\(YHQWIORZGRZQVWUHDPRIWKHGDPVZDVQRWUHVWULFWHGWRWKHXQGHYHORSHGIORRGSODLQEXW
UDWKHUIORZWKURXJKXUEDQL]HGDUHDVZDVH[SHULHQFHG%HUHWWDHWDO>@GHPRQVWUDWHGWKDWHQKDQFHGIULFWLRQ
FDQEHHIIHFWLYHO\XVHGWRPRGHOIORZRYHUXUEDQL]HGDUHDVLQVWHDGRIUHSUHVHQWLQJGHWDLOHGEXLOGLQJJHRPHWU\

7KH86*6UDWLQJFXUYHVDW'DLU\$VKIRUG5RDGDQG3LQH\3RLQWZHUHXVHGWRHVWLPDWH0DQQLQJ¶VQIRUWKH
IORRGSODLQVRIORZHU%XIIDOR%D\RX7DEOHVKRZVWKDW0DQQLQJ¶VQIRUWKHIORRGSODLQVFRXOGEHXSWRP
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 8SVWUHDPRIWKHGDPVVWHDG\XQLIRUPIORZFRQGLWLRQVRYHUIORRGSODLQVDUHXQOLNHO\DVIORRGSODLQLQXQGDWLRQLVPRVWO\GULYHQE\EDFNZDWHU
FDXVHGE\KLJKSRROHOHYDWLRQVLQ$GGLFNVDQG%DUNHU5HVHUYRLUV7KHUHIRUHWKLVPHWKRGFDQQRWEHXVHGWRFDOFXODWHIORRGSODLQURXJKQHVV
XSVWUHDPRIWKHGDPV

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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7DEOH(VWLPDWHRI)ORRGSODLQURXJKQHVVEDVHGRQ8QLIRUP)ORZ&DOFXODWLRQV

                                                                                                )XOO&URVV
                                            (OHYDWLRQ IW    4 FIV                  3                                )ORRGSODLQRQO\Q
  /RFDWLRQ                                                                $  IW              VHFWLRQDODUHD
                                            1$9'            >@                     IW                               PV 
                                                                                                DYHUDJHGQ PV

  'DLU\                                     FKDQQHO                         FKDQQHO            FKDQQHO 
  $VKIRUG                                    IORRGSODLQ                    HQWLUHVHFWLRQ     IORRGSODLQ 

  3LQH\                                      FKDQQHO                         FKDQQHO            FKDQQHO 
  3RLQW                                     IORRGSODLQ                    HQWLUHVHFWLRQ     IORRGSODLQ 
)ORZDUHD $ DQGZHWWHGSHULPHWHU 3 DUHFDOFXODWHGEDVHGRQH[WUDFWHGFURVVVHFWLRQV


                                5HVHUYRLU5DWLQJ&XUYHV

6WDJHFDSDFLW\UDWLQJFXUYHVIRU$GGLFNVDQG%DUNHU5HVHUYRLUVDUHVKRZQLQ)LJXUHDQG)LJXUH
UHVSHFWLYHO\$WUHODWLYHO\KLJKSRROHOHYDWLRQVLQWKH$GGLFNVDQG%DUNHU5HVHUYRLUVVPDOOLQFUHPHQWVLQSRRO
HOHYDWLRQVHTXDWHWRVLJQLILFDQWDGGLWLRQDODPRXQWVRIIORRGZDWHUVWRUHGLQWKHUHVHUYRLUV'XULQJWKH+DUYH\
(YHQWSHDNHOHYDWLRQVLQ$GGLFNVDQG%DUNHU5HVHUYRLUVUHDFKHGIWDQG>@UHVSHFWLYHO\
FRUUHVSRQGLQJWRDWRWDOVWRUHGYROXPHRIIORRGZDWHURIDWOHDVWELOOLRQ86JDOORQV DFUHIHHW 
ZLWKRXWDFFRXQWLQJIRUIORRGZDWHUVWRUHGLQGHWHQWLRQSRQGVDQGXSSHUWULEXWDULHV:LWKRXWWKHVHUHVHUYRLUVWKLV
DPRXQWRIIORRGZDWHUZRXOGKDYHEHHQURXWHGWRDUHDVGRZQVWUHDPFDXVLQJGHYDVWDWLQJIORRGLQJ




                                                                      AddicksCapacityCurve
                                  120
    PoolElevation(ft,NAVD88)




                                  110

                                  100

                                   90

                                   80

                                   70

                                   60
                                        0            50000        100000       150000          200000      250000        300000       350000
                                                                                  Capacity(Acre.ft)

)LJXUH7KH$GGLFNVVWDJHFDSDFLW\UDWLQJFXUYH 6RXUFH:DWHU&RQWURO0DQXDO>S
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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                                                           BarkerCapacityCurve
                                  115
                                  110
    PoolElevation(ft,NAVD88)




                                  105
                                  100
                                   95
                                   90
                                   85
                                   80
                                   75
                                   70
                                        0    50000   100000       150000         200000    250000     300000   350000
                                                                   Capacity(Acre.ft)

)LJXUH7KH%DUNHUVWDJHFDSDFLW\UDWLQJFXUYH 6RXUFH:DWHU&RQWURO0DQXDO>S
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                                ,QXQGDWLRQ0DSSLQJ

0DSVVKRZLQJREVHUYHGKLJKZDWHUPDUNV VKRUHOLQH EDVHGRQWKH12$$PRVDLFDHULDOSKRWRVGDWHG
DUHVKRZQLQ)LJXUH)LJXUHDQG)LJXUHIRUDUHDVGRZQVWUHDPDQGXSVWUHDPRIWKH
$GGLFNVDQG%DUNHU5HVHUYRLUV7KHVHDHULDOSKRWRVZHUHDFTXLUHGEHWZHHQDQGRQ
7KHREVHUYHGLQXQGDWLRQOLPLWVRQWKDWGD\ZLWKLQWKH)RFXV$UHDZHUHUHFRUGHGDVGLVFUHWHOLQHV$
FRQWLQXRXV³VKRUHOLQH´UHSUHVHQWLQJWKHREVHUYHGLQXQGDWLRQOLPLWZDVGHYHORSHGE\VHOHFWLQJHOHYDWLRQ
FRQWRXUVWKDWPDWFKHGWKRVHREVHUYHGOLPLWV%HFDXVHPDSVSUHVHQWHGLQ)LJXUH)LJXUHDQG)LJXUH
UHSUHVHQWREVHUYHGLQXQGDWLRQOLPLWVRQDVSHFLILFGDWH  WKH\PD\QRWUHSUHVHQWWKHPD[LPXP
LQXQGDWLRQOLPLWVGXULQJWKH+DUYH\(YHQW




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH7UDFNHGKLJKZDWHUPDUNEHORZ$GGLFNVDQG%DUNHU'DPVEDVHGRQ12$$PRVDLFDHULDOSKRWRGDWHG WDNHQEHWZHHQ
DQG 

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH7UDFNHGKLJKZDWHUPDUNXSVWUHDPRI$GGLFNVUHVHUYRLUEDVHGRQ12$$PRVDLFDHULDOSKRWRGDWHG WDNHQEHWZHHQ
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6WRUPZDWHUGUDLQVPD\LQIOXHQFHIORRGFKDUDFWHULVWLFV DQGSDUWLFXODUO\WKHWLPLQJRIIORRGLQJ RIKRXVHVLQORZ
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'XULQJWKH+DUYH\(YHQWUHOHDVHVIURP$GGLFNVDQG%DUNHU5HVHUYRLUVZHUHPDGHLQDFFRUGDQFHZLWKWKH
LQGXFHGVXUFKDUJHUHJXODWLRQVDVGHVFULEHGLQ6HFWLRQ7KHGLVFKDUJHUHOHDVHGIURPWKHUHVHUYRLUVLVD
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GRZQVWUHDPRI$GGLFNVDQG%DUNHU5HVHUYRLUVURVHDERYHWKHVRIILWHOHYDWLRQVRIWKHUHVSHFWLYHFRQGXLWVD
FRQGLWLRQFDOOHG³WDLOZDWHUVXEPHUJHQFH´$FFRUGLQJWRWKH&RUSVUHFRUGVWDLOZDWHUVXEPHUJHQFHKDVQHYHU
EHHQH[SHULHQFHGEHIRUHWKH+DUYH\(YHQW$WDLOZDWHUVXEPHUJHQFHFRQGLWLRQUHVXOWVLQWKHGHYHORSPHQWRID
³VXEPHUJHGK\GUDXOLFMXPS´GRZQVWUHDPRIWKHFRQGXLWVSURYLGHGWKDWWKHJDWHKHLJKWVIRUFHWKHGHYHORSPHQW
RIVXSHUFULWLFDOIORZGRZQVWUHDPRIWKHFRQGXLWV7KHVXEPHUJHGK\GUDXOLFMXPSLQFOXGHVDIUHHK\GUDXOLFMXPS
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FRQGXLWVPD\EHUHGXFHGZKHUHE\WKHODUJHHGG\DERYHWKHIUHHMXPSFRQWULEXWHVDQHJDWLYHIORZDWDQ\
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VXEPHUJHQFHFRQGLWLRQ ZRXOGKDYHUHTXLUHGFRQWLQXRXVGLUHFWPHDVXUHPHQWVRIGLVFKDUJHVGRZQVWUHDPRI
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 ZKLFKVKRXOGEHGHGXFWHGIURPWKHPHDVXUHPHQWV DQGHVWLPDWHVRIODWHUDOEDFNZDWHUIORZVWRWULEXWDULHV
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&ORGLQHDQG%DUNHU'LWFKHV 5XQRIIDQGRWKHUGLVFKDUJHFRQWULEXWLRQVZHUHQRWHVWLPDWHGDORQJZLWKWKHVH
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7KHIROORZLQJGDWDVRXUFHVKDYHEHHQXVHGWRHVWLPDWHDSSUR[LPDWHGLVFKDUJHUHOHDVHGWKURXJKWKH$GGLFNV
DQG%DUNHUJDWHV
x      :DWHUVXUIDFHHOHYDWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKHFRQGXLWV EDVHGRQ86*6JDJHV>@ 
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x              5HOHDVHVUHVXOWLQJLQPRGHOHGZDWHUVXUIDFHHOHYDWLRQVGRZQVWUHDPRIWKHGDPVLQDJUHHPHQWZLWKWKH
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     Q(cfs)




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                                                                         )DLU                                                                                                                                                                                                                                                                                          includingTailwater
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GLVFKDUJHIRUPRGHOLQSXWWRORZHU%XIIDOR%D\RXLVWKHJUH\OLQH7KH$GGLFNVUHOHDVHEDVHGRQJDWH
HTXDWLRQVZLWKRXWWDLOZDWHUVXEPHUJHQFH VROLGEOXHOLQH LVDOPRVWLGHQWLFDOWRWKH$GGLFNV5HOHDVH
UDWLQJFXUYHVIURPWKH:&0 RUDQJHOLQH 7KHGDVKHGEOXHOLQHLVWKHHVWLPDWHRIUHOHDVHEDVHG
RQJDWHHTXDWLRQVFRQVLGHULQJWDLOZDWHUVXEPHUJHQFH86*6PHDVXUHPHQWVRIGLVFKDUJHDUHVKRZQ
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   Case 1:17-cv-09002-LAS                                                                                                                                Document 266-2                                                                                      Filed 01/10/23                                                                                       Page 1096 of 1584




            7000

            6000                                                                                                                                                                                                                                                                                                                                                    ApproximateReleasefromBarker

            5000                                                                                        3RRU
                                                                                                                                                                                                                                                                                                                                                                    BarkerRelease(WCM,2012)
                                                                                                                                                                                          3RRU
            4000                                     3RRU
  Q(cfs)




                                                                                                                                                                                                                                                                                                                                                                    BarkerRelease(GateEquations
            3000                                                                                                                                                                                                                                                                                                                                                    withoutTailwaterSubmergence)
                                                                                                                                                                                                                                             )DLU                                                     )DLU
            2000                                                                                                                                                                                                                                                                                                                                                    BarkerRelease(GateEquations
                                                                                                                                                                                                                                                                                                                                                                    includingTailwaterSubmergence)
            1000
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                   8/26/20170:00

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IRUPRGHOLQSXWWRORZHU%XIIDOR%D\RXLVWKHJUH\OLQHZKLFKPRVWO\OLHV E\FKDQFH XQGHUWKHVROLG
EOXHOLQHUHSUHVHQWLQJWKHUHOHDVHHVWLPDWHVGHULYHGIURPJDWHHTXDWLRQVZLWKRXWWDLOZDWHU
VXEPHUJHQFH7KHGDVKHGEOXHOLQHLVWKHHVWLPDWHRIUHOHDVHEDVHGRQJDWHHTXDWLRQVFRQVLGHULQJ
WDLOZDWHUVXEPHUJHQFH86*6PHDVXUHPHQWVRIGLVFKDUJHDUHVKRZQDV\HOORZGRWV WRJHWKHUZLWKD
JRRGIDLUSRRUUDWLQJRQDFFXUDF\RIWKHPHDVXUHPHQW 




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)LJXUH6FKHPDWLFGLDJUDPVKRZLQJLQIORZVWRDQGRXWIORZVIURPDFRQWUROYROXPHEHWZHHQ
%DUNHUFRQGXLWVDQG+LJKZD\7KHWUDQVLHQWEDFNZDWHUVWRUDJHGHSLFWHGLQWKLVILJXUHH[SODLQVZK\
WKHPHDVXUHGGLVFKDUJHVE\86*6ZRXOGKDYHXQGHUHVWLPDWHGWKHDFWXDOUHOHDVHVIURPWKH%DUNHU
FRQGXLWV

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ZKLFKH[FHHGHGWKH63)FDXVLQJLQXQGDWLRQGXHWREDFNZDWHUXSVWUHDPRIWKHUHVHUYRLUV

6WRUPZDWHUGUDLQVPD\LQIOXHQFHWKHWLPLQJRIIORRGLQJXSVWUHDPRIWKHGDPVDVWKH\PD\FRQYH\IORRGZDWHU
EDFNZDUGIURPWKHUHFHLYLQJVWUHDPVWRZDUGVGHYHORSHGDUHDVGXHWRULVLQJZDWHUVXUIDFHHOHYDWLRQVLQWKHVH
VWUHDPV DERYHWKHHOHYDWLRQRIWKHXSVWUHDPHQGVRIVWRUPGUDLQV 7KLVEDFNZDWHUIORZPD\FDXVHSRQGLQJ
LQORZO\LQJDUHDV DQGDGGLWLRQDOVWRUDJH XSVWUHDPRIWKHGDPVDVSRROHOHYDWLRQVULVHUDSLGO\

1XPHULFDOPRGHOOLQJRILQXQGDWLRQXQGHUYDULRXVVFHQDULRVLVUHTXLUHGWREHWWHUXQGHUVWDQGWKHFKDUDFWHULVWLFV
RIIORRGLQJZLWKLQWKH)RFXV$UHD7KHIROORZLQJVHFWLRQVGHVFULEHWKHPRGHOGHYHORSPHQWFDOLEUDWLRQ
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7KHRYHUDUFKLQJREMHFWLYHRIWKHQXPHULFDOPRGHOOLQJRILQXQGDWLRQSUHVHQWHGLQWKLVUHSRUWZDVWRGHYHORSD
PRGHOFDSDEOHRIVLPXODWLQJLQXQGDWLRQGHSWKDQGWLPLQJZLWKDUHDVRQDEOHDFFXUDF\GXULQJH[WUHPHKLVWRULF
DQGK\SRWKHWLFDOUDLQIDOOVWRUPHYHQWVZLWKLQWKH)RFXV$UHDDQGSDUWLFXODUO\DWWKH7HVW3URSHUW\ORFDWLRQV
7KHPRGHOSURYLGHVDWRROWRVWXG\WKHFKDUDFWHULVWLFVRIIORRGLQJZLWKLQWKH)RFXV$UHDE\ILOOLQJWKHJDSV
EHWZHHQDYDLODEOHJDJHGDWDDQGE\VLPXODWLQJIORRGLQJXQGHUYDULRXVGDPRSHUDWLRQDVVXPSWLRQV)XUWKHU
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,QRUGHUWRDFKLHYHWKLVREMHFWLYHDWZRGLPHQVLRQDOGLVWULEXWHGPRGHOFDSDEOHRIVLPXODWLQJUXQRIILQXQGDWLRQ
DQGVWRUPVXUJHIRUH[WUHPHUDLQIDOOVWRUPHYHQWV LQFOXGLQJ+XUULFDQH+DUYH\ ZDVLGHQWLILHGDQGDSSOLHG

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7KHUHDUHVRPHNH\FKDUDFWHULVWLFVRIWKHZDWHUVKHG8QGHUPDMRUIORRGVPDQ\RIWKHGUDLQDJHEDVLQVZLWKLQ
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+XUULFDQH+DUYH\UDLQIDOOIHDWXUHGVLJQLILFDQWWHPSRUDODQGVSDWLDOYDULDWLRQRYHUWKH%XIIDOR%D\RXZDWHUVKHG
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VLPXODWHPDMRUIORRGHYHQWVDWZRGLPHQVLRQDOGLVWULEXWHGPRGHOPXVWEHHPSOR\HG,QDGGLWLRQWKHPRGHO
VKRXOGEHFDSDEOHRIKDQGOLQJODUJHGRPDLQVWRUHSUHVHQWDOORIWKHZDWHUVKHGVRIFRQFHUQ7KHPRGHOGRPDLQ
VKRXOGLQFOXGHZDWHUVKHGVZLWKLQ+DUULV&RXQW\DQG)RUW%HQG&RXQW\WKH&\SUHVV&UHHNZDWHUVKHGDQG
RWKHUFRQWULEXWLQJZDWHUVKHGV WKH'RPDLQ DQGVKRXOGVLPXODWHWKHFRQYH\DQFHDFURVVWKHVHZDWHUVKHGV
 LQFOXGLQJWKHUHOHDVHVIURP$GGLFNVDQG%DUNHU5HVHUYRLUV 

'XULQJPDMRUIORRGHYHQWVVRLOVEHFRPHVDWXUDWHGGXULQJWKHHDUO\VWDJHVRIWKHVWRUPDQGVWRUPGUDLQV
EHFRPHIXOO\VXUFKDUJHG$VVXFKPDMRUIORRGVFDQEHVLPXODWHGXVLQJDIUHHVXUIDFHIORZPRGHOZKHUH
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WKHWZRGLPHQVLRQDOIORZ'XULQJPDMRUIORRGVLQWKH'RPDLQUXQRIIGLVFKDUJHVDQGUHOHDVHIURP$GGLFNVDQG
%DUNHUGDPVFRXOGOHDGWRUHODWLYHO\KLJKIORZYHORFLWLHV,QDGGLWLRQRSHUDWLRQRIWKHGDPJDWHVW\SLFDOO\OHDGV
WRIORRGZDYHVGXHWRWKHUHODWLYHO\UDSLGRSHQLQJRIWKHFRQWUROJDWHV7KHUHIRUHDWZRGLPHQVLRQDOPRGHO
EDVHGRQWKH1/6:HTXDWLRQVVKRXOGEHDSSOLHGLQRUGHUWRVLPXODWHVXFKIORRGZDYHV

2WKHUVSDWLDOO\FRQILQHGUDSLGO\YDULHGIORZVVXFKDVK\GUDXOLFMXPSVWKDWPD\GHYHORSEHORZWKHFRQWUROJDWHV
RUUDSLGGURSVGRZQVWUHDPRIZHLUVRURWKHUREVWUXFWLRQVDUHORFDOL]HGIORZIHDWXUHVRIQHJOLJLEOHLPSRUWDQFH
FRQVLGHULQJWKHVFDOHRIWKHVWXG\DQGWKHORFDWLRQVRIWKH7HVW3URSHUWLHV7KHVHVSDWLDOO\FRQILQHGUDSLGO\
YDULHGIORZVUHTXLUHH[WHQVLYHFRPSXWDWLRQDOUHTXLUHPHQWVWRUHVROYHZKLOHWKH\PD\RQO\KDYHPLQLPDOLPSDFW
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'XULQJWKH+DUYH\(YHQWUDLQIDOOLQWHQVLWLHVDFURVVWKHYDULRXVZDWHUVKHGVRILQWHUHVWZHUHVLJQLILFDQWO\
YDULDEOHERWKWHPSRUDOO\DQGVSDWLDOO\$VVXFKWKHVHOHFWHG'QXPHULFDOPRGHOPXVWVXSSRUWWHPSRUDODQG
VSDWLDOUDLQIDOOYDULDELOLW\

,QVXPPDU\LQRUGHUWRDFKLHYHWKHPRGHOOLQJREMHFWLYHWKHQXPHULFDOPRGHOPXVWLQFOXGHWKHIROORZLQJPDLQ
IHDWXUHV
x    6XUIDFHZDWHUPRGHO
x    7ZRGLPHQVLRQDOGLVWULEXWHG YVOXPSHGK\GURORJLF PRGHO
x    *RYHUQLQJHTXDWLRQVEDVHGRQGHSWKDYHUDJHG1DYLHU6WRNHVHTXDWLRQV RUQRQOLQHDUVKDOORZZDWHU
     HTXDWLRQV1/6: 
x    &DSDEOHRIKDQGOLQJODUJHGRPDLQV
x    &DSDEOHRILQFOXGLQJWHPSRUDODQGVSDWLDOUDLQIDOOYDULDELOLW\

7DEOHSUHVHQWVDFRPSDULVRQEHWZHHQPRGHOIHDWXUHVRIIRXUGLIIHUHQWQXPHULFDOPRGHOVIRUIUHHVXUIDFH
ZDWHUIORZQDPHO\*66+$ PRGHO, +(&5$6 PRGHO,, 0,.()/22' PRGHO,,, DQG7(/(0$& PRGHO
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VLPXODWLQJDUHODWLYHO\ODUJHGRPDLQDQGZDVVHOHFWHGIRUWKLVVWXG\7(/(0$&LVDQRSHQVRXUFHPRGHO
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7DEOH&RPSDULVRQEHWZHHQIUHHVXUIDFHZDWHUPRGHOVFRQVLGHUHG

                         0RGHOV&RQVLGHUHG
  0RGHO
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                                               ':$ RU
  *RY(TQV            ':$                                        1/6:                 1/6:                     ,,,,,,9
                                               1/6: 

                                                                                           )LQLWH(OHPHQWRU
  'LVFUHWL]DWLRQ        )LQLWH9ROXPH        )LQLWH9ROXPH        )LQLWH9ROXPH                           1$
                                                                                           )LQLWH9ROXPH

  3DUDOOHOL]HG           <HV                  <HV                  <HV                  <HV                      1$

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  6ROYHU               ([SOLFLW             ([SOLFLW             ([SOLFLW                                       ,9     
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  *ULG                   &DUWHVLDQ            )OH[LEOH             )OH[LEOH             )OH[LEOH                 ,,,,,,9


  6WDELOLW\            &RQGLWLRQDO          &RQGLWLRQDO          &RQGLWLRQDO          8QFRQGLWLRQDO          ,9


  :HWWLQJGU\LQJ        <HV                  <HV                  <HV                  <HV                      1$


  6WRUPVXUJH           <HV                  1R                   <HV                  <HV                      ,,,,,9

  5DLQIDOO                                                                                 7LPH 
                         7LPH 6SDFH         7LPHRQO\            7LPH 6SDFH                                   ,,,,,,9
  9DULDELOLW\                                                                              6SDFH

  $XWR
                         $YDLODEOH            1RWDYDLODEOH        1RW$YDLODEOH        1RWDYDLODEOH           ,
  &DOLEUDWLRQ
 1/6:1RQOLQHDUVKDOORZZDWHUHTXDWLRQVDUHGHULYHGIURPGHSWKLQWHJUDWLRQRIWKH1DYLHU±6WRNHVHTXDWLRQV
  ':$'LIIXVLYH:DYH$SSUR[RI1/6:HTQVLVGHULYHGE\LJQRULQJDGYHFWLYHDFFHOHUDWLRQWHUPV$SSUR[LPDWLRQGRHVQRWKROGIRUKLJK
)URXGHQXPEHUIORZVVXFKDVZHWWLQJDQGGU\LQJGXULQJIORRGLQJDQGGU\LQJRXW
   ,PSOLFLWVROYHUVDUHSUHIHUUHGEHFDXVHWKH\DUHPXFKTXLFNHUWKDQH[SOLFLWVROYHUV7KLVLVQHHGHGIRUWKLVVWXG\
    7(/(0&LPSOLFLWVROYHULV³WKHRUHWLFDOO\´XQFRQGLWLRQDOO\VWDEOHZKHUHE\&RXUDQW1XPEHU!FDQEHXVHG
     5HTXLUHGGHYHORSPHQWRIVSDWLDOYDULDELOLW\VXEURXWLQH


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1DWLRQDOG¶+\GUDXOLTXHHW(QYLURQQHPHQW/1+( RIWKH5HVHDUFKDQG'HYHORSPHQW'LUHFWRUDWHRIWKH)UHQFK
(OHFWULFLW\%RDUG (')5 ' DQGLVQRZPDQDJHGE\DFRQVRUWLXPRIRWKHUFRQVXOWDQWVDQGUHVHDUFK
LQVWLWXWHV PRUHLQIRUPDWLRQFDQEHIRXQGLQZZZRSHQWHOHPDFRUJ >@/LNHSUHYLRXVYHUVLRQVRIWKH
SURJUDPYHUVLRQFRPSOLHVZLWK(')5 '¶V4XDOLW\$VVXUDQFHSURFHGXUHVIRUVFLHQWLILFDQGWHFKQLFDO
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7KHQRQOLQHDUVKDOORZZDWHU 1/6: HTXDWLRQVZKLFKDUHDOVRRIWHQUHIHUUHGWRDVWKHGH6DLQW9HQDQW
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DVVXPSWLRQWKDWWKHIORZLVLUURWDWLRQDODQGWKDWWKHYHUWLFDODFFHOHUDWLRQLVRIQHJOLJLEOHLPSRUWDQFH>@7KLV
HTXDWLRQVHWLVYDOLGIRUVKDOORZZDWHURUORQJZDYHV WKHW\SHRIZDYHVREVHUYHGLQULYHUVDQGGXHWRUDLQIDOO
IORRGLQJDQGVWRUPVXUJHIDOOLQWRWKHORQJZDYHFDWHJRU\ ,QYHFWRUIRUPZLWKWKHZDWHUGHSWKGHQRWHGE\h
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VWUHDPVGRZQVWUHDPRIWKHUHVHUYRLUVHOHYDWLRQVGHULYHGIURP+(&5$6FURVVVHFWLRQVXSVWUHDPRIWKHUHVHUYRLUVDUHIRXQGYHU\VLPLODUWR
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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8QGHUHVWLPDWHGUHVHUYRLUDQGGHWHQWLRQSRQGFDSDFLWLHVXSVWUHDPRIWKHGDPVZLOOJHQHUDOO\OHDGWRRYHU
HVWLPDWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHXSVWUHDPSURSHUWLHV0LVUHSUHVHQWDWLRQRIWKHWRSRJUDSK\LVQRW
H[SHFWHGWRLPSDFWPRGHOUHVXOWVEHORZWKHGDPVVLQFHWKHDUHDVDURXQGORZHU%XIIDOR%D\RXZHUHIXOO\
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WKH)LUVW)ORRU(OHYDWLRQLVORZHUWKDQWKHJURXQGHOHYDWLRQ DUHQRWUHSUHVHQWHGE\WKHPRGHO7KHUHIRUH
IORRGLQJDQGGUDLQDJHRIEDVHPHQWVWKURXJKORFDOGUDLQVDUHQRWFDSWXUHGE\WKHPRGHO,QFDVHVZKHUH
)LQLVKHG)ORRU(OHYDWLRQVDW3ODLQWLIIV¶KRPHVDUHORZHUWKDQJURXQGHOHYDWLRQV UDUHFDVHV HDUO\IORRGLQJWKDW
PD\WDNHSODFHEHIRUHIORRGLQJRIWKHDGMDFHQWJURXQGZLOOQRWEHVLPXODWHGE\WKHPRGHO,QUHDOLW\WKLVHDUO\
IORRGLQJFRXOGRQO\RFFXUWKURXJKORFDOGUDLQVRUVHHSDJHIORZSURYLGLQJVXEVXUIDFHHQWU\IRUZDWHUWR
EDVHPHQWVZKLFKLVOHVVVLJQLILFDQWWKDQIORRGLQJGXHWRVXUIDFHIORZDQGLVQRWFDSWXUHGE\WKHPRGHODQ\ZD\
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7KHEDUHHDUWKWRSRJUDSK\GRHVQRWLQFOXGHVXSHUVWUXFWXUHV VXFKDVEXLOGLQJVDERYHJUDGHDQGEULGJHV 
7KHVHVXSHUVWUXFWXUHVPD\DFFRXQWIRUIORZFRQVWULFWLRQVZKLFKFDQQRWEHFDSWXUHGE\WKHPRGHO7KLVPD\
EHVLJQLILFDQWLQKLJKO\GHYHORSHGDUHDVQHDUIORZSDWKV+RZHYHUHQKDQFHGURXJKQHVVRIWKHIORRGSODLQZDV
FDOLEUDWHGWRDFFRXQWIRUDGGLWLRQDOURXJKQHVVGXHWRVXSHUVWUXFWXUHV DVGHPRQVWUDWHGE\%HUHWWDHWDO>@ 
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7KHPRGHOFRPSXWDWLRQDOPHVKUHDVRQDEO\UHSUHVHQWVVWUHHWVDQGVWUHDPVZLWKLQWKH)RFXV$UHD UHIHUWR
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LQFOXGHGHWHQWLRQSRQGVRURWKHUORZO\LQJDUHDVDERYH$GGLFNVDQG%DUNHU5HVHUYRLUVZKLFKPD\DFWDV
DGGLWLRQDOVWRUDJHDUHDVDERYH$GGLFNVDQG%DUNHU0LVUHSUHVHQWDWLRQRIVXFKORZO\LQJDUHDVPD\OHDGWR
RYHUHVWLPDWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHXSVWUHDPSURSHUWLHV
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6SDWLDOO\FRQILQHGUDSLGO\YDULHGIORZV VXFKDVK\GUDXOLFMXPSVDQGUDSLGGURSVLQZDWHUVXUIDFHHOHYDWLRQV 
DUHQRWVLPXODWHGGXHWRHVFDODWLQJFRPSXWDWLRQDOFRVW7KHVHW\SHVRIUDSLGO\YDULHGIORZVDUHLQVLJQLILFDQW
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$PLQLPXPPHVKHOHPHQWVL]HPXVWEHUHDVRQDEO\VHOHFWHGWRUHSUHVHQWSK\VLFDOIHDWXUHVVXFKDVVWUHHW
QHWZRUNVDQGFKDQQHOFURVVVHFWLRQV6XFKPLQLPXPHOHPHQWVL]HRIWKHRUGHURI±IWLVQRWVXIILFLHQWO\
VPDOOWRUHVROYHUDSLGO\YDULHGIORZJHQHUDWLQJVXGGHQZDWHUVXUIDFHHOHYDWLRQFKDQJHV VXFKDVK\GUDXOLF
MXPSVRUHOHYDWLRQGURSVGXHWRZHLUVRUFKDQQHOREVWUXFWLRQV 8QOLNHWKHIORRGZDYHVRULJLQDWHGE\WKHJDWH
FRQWUROWKHVHW\SHVRI³VSDWLDOO\FRQWDLQHG´UDSLGO\YDULHGIORZVPD\KDYHPLQLPDOLPSDFWRQLQXQGDWLRQGHSWKV
RXWVLGHPDLQFKDQQHOVDQGWKHUHDUHQR7HVW3ODLQWLIIVORFDWHGLQWKHVHDUHDVDQ\ZD\,QRUGHUWRVLPXODWH
VXFKLQVLJQLILFDQWUDSLGO\YDULHGIORZVHOHPHQWVVL]HVPXVWEHUHGXFHGWROHVVWKDQDIRRWZKLFKVLJQLILFDQWO\
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GRPDLQH[WHQGVLQWR*DOYHVWRQ%D\WRDFFRXQWIRUVWRUPVXUJHVDQGWRDFWDVDQRSHQERXQGDU\7KHPRGHO
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7KHPRGHOIOH[LEOHPHVKZDVJHQHUDWHGWRPHHWWKHIROORZLQJUHTXLUHPHQWV
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     FRUUHFWO\URXWHIORZVWKURXJKFKDQQHOVDQGORZO\LQJDUHDV
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     RUZDWHUVWRUDJHEHKLQGWKHVHIHDWXUHV
x    0HVKQRGHVDWERWKHQGVRIPDMRUK\GUDXOLFVWUXFWXUHVIRUWUHDWPHQWRIIORZERXQGDULHV
x    0HVKQRGHVZLWKVXIILFLHQWUHVROXWLRQWRUHSUHVHQWIORRGHGVXEGLYLVLRQVLQFOXGLQJ7HVW3ODLQWLIIV¶KRPHV

7KHILQLWHHOHPHQWPHVKIRUWKH7(/(0$&'PRGHOZDVJHQHUDWHGXVLQJ%OXH.HQXH70VRIWZDUHGHYHORSHG
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WKHGLUHFWLRQRIIORZZLWKDWOHDVWHOHPHQWVDFURVVWKHFKDQQHO(OHPHQWVZHUHIRUFHGWRUHSUHVHQW
WRSRJUDSKLFIHDWXUHVZLWKLQWKHIORRGSODLQ VXFKDVDELNHWUDLO 7KHWRWDOQXPEHURIPHVKQRGHVUHSUHVHQWLQJ
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FRPSXWDWLRQDOPHVKHVZHUHJHQHUDWHGXVLQJVLPLODUUHVROXWLRQDQGDSSURDFKWRUHSUHVHQWFRQGLWLRQVIRURWKHU
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$VQRWHGHDUOLHULQ6HFWLRQZHDFTXLUHGUDLQIDOOGDWDIRUWKH+DUYH\(YHQWDFURVVWKHPRGHOGRPDLQIURP
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3UHFLSLWDWLRQ$QDO\VLV6\VWHPGHVFULELQJUDLQIDOODVPLQXWHUDLQIDOOGDWDJULGGHGDWDVSDWLDOUHVROXWLRQRI
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     GUDLQLQJWR%DUNHU5HVHUYRLU 
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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)LJXUH7RWDODFFXPXODWHGUDLQIDOOGHSWKGXULQJWKH+DUYH\(YHQWDFURVVWKHPRGHOGRPDLQ




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$VQRWHGHDUOLHUK\GURORJLFORVVHV GXHWRLQILOWUDWLRQLQWHUFHSWLRQDQGRWKHUIDFWRUV ZHUHHVWLPDWHGXVLQJWKH
&XUYH1XPEHUPHWKRG'DWDVHWVLQFOXGHWKHHLJKWGLJLWK\GURORJLFXQLWFRGH +8& ZDWHUVKHGVIURP
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ZHUHGRZQORDGHGXVLQJWKH1DWLRQDO*HRVSDWLDO'DWD*DWHZD\DYDLODEOHIURPWKH8QLWHG6WDWHV'HSDUWPHQWRI
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2QFHGDWDZHUHGRZQORDGHGDQGFRQVROLGDWHGWKH\ZHUHLQFRUSRUDWHGLQWR*,6VRIWZDUH7KH+8&
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RYHUODSSLQJWKHPRGHOGRPDLQZHUHVXPPDUL]HGLQWRYDULRXVFODVVLILFDWLRQVZLWKHDFKFODVVLILFDWLRQ
UHSUHVHQWLQJDXQLTXHODQGXVHFDWHJRU\DVVKRZQLQ)LJXUH7KHUHOHYDQWVRLOGDWDZLWKLQWKH+8&
ZDWHUVKHGVZHUHVXPPDUL]HGLQWRIRXUK\GURORJLFVRLOJURXSV +6*V ZKLFKDUHVKRZQLQ)LJXUH>@
7KH+6*VDUHFODVVLILHGIURP$WR'ZLWK$LQGLFDWLQJVRLOVZLWKKLJKSHUPHDELOLW\DQG'LQGLFDWLQJVRLOVZLWK
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7RFDOFXODWHFXUYHQXPEHUVWKHODQGXVHFDWHJRULHVDQGWKHK\GURORJLFVRLOVJURXSVZHUHFRQVROLGDWHGDFURVV
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QXPEHUIRUWKHGLIIHUHQWODQGXVHVDQGVRLOJURXSV,QDGGLWLRQWRODQGXVHW\SHDQGVRLOW\SHFXUYHQXPEHU
DOVRGHSHQGVRQWKHPRLVWXUHFRQWHQWRIWKHVRLOEHIRUHWKHVWRUPHYHQW$QWHFHGHQWVRLOPRLVWXUHFRQGLWLRQ
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&XUYHQXPEHUPDSVUHSUHVHQWLQJH[LVWLQJFRQGLWLRQVZHUHSUHSDUHGE\LQWHUVHFWLQJWKHIROORZLQJWKUHH*,6
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GXHWRIDFWRUVLQFOXGLQJUDLQIDOOLQWHQVLW\DQGGXUDWLRQWRWDOUDLQIDOOVRLOPRLVWXUHFRQGLWLRQVFRYHUGHQVLW\VWDJHRIJURZWKDQGWHPSHUDWXUH

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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)LJXUH1/&'ODQGXVHFODVVLILFDWLRQVZLWKLQWKHPRGHOGRPDLQ

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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                          &XOWLYDWHGFURSV                                  

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VSLOOZD\VDWERWKHQGVRIHDFKGDPDUHUHSUHVHQWHGDVWRSRJUDSKLFIHDWXUHV)ORZWKURXJKJDWHGFRQGXLWVLV
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)LJXUH0DMRU&XOYHUWV5HSUHVHQWHGLQ7(/(0$&'PRGHO

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DJUHHPHQWZLWKPHDVXUHGJDJHGDWDZLWKLQWKH)RFXV$UHDDQG)RFXV3HULRGLVPD[LPL]HG

7KHREMHFWLYHRIWKH7(/(0$&PRGHOFDOLEUDWLRQLVWZRIROG WRFDSWXUHWKHSHDNZDWHUVXUIDFHHOHYDWLRQV
DQGWKHLUWLPLQJZLWKLQWKH)RFXV$UHDGXULQJWKH)RFXV3HULRGDQG WRFDSWXUHWKHULVH LQGRZQVWUHDP
DUHDV DQGWKHIDOO LQXSVWUHDPDUHDV LQZDWHUVXUIDFHHOHYDWLRQVZLWKLQWKH)RFXV$UHDGXHWRUHOHDVHVIURP
$GGLFNVDQG%DUNHU5HVHUYRLUV

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7KLVVHFWLRQGHILQHVDVHWRIPRGHOSHUIRUPDQFHPHWULFVWRKHOSLGHQWLI\DFFHSWDEOHPRGHOFDOLEUDWLRQUHVXOWV
ZLWKLQWKHIRFXVDUHD7KHVHSHUIRUPDQFHPHWULFVKDYHEHHQGHILQHGFRQVLGHULQJWKHIROORZLQJ
x    7KHPDLQREMHFWLYHRIWKHQXPHULFDOPRGHOLVHVWLPDWLRQRILQXQGDWLRQ$VVXFKPRGHOOHGVWDJH RUZDWHU
     VXUIDFH HOHYDWLRQVDUHDVVLJQHGWKHPRVWVWULQJHQWDFFHSWDEOHFULWHULD
x    .QRZQDFFHSWDEOHFULWHULDXVHGE\VLPLODUVWXGLHVIRUVLPLODUDSSOLFDWLRQV
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x     &RQVLGHUDWLRQRIDFFXUDF\DQGRSHUDWLRQDOUDQJHVRIPHDVXUHPHQWV:LWKLQWKHIRFXVDUHDVRPHRIWKH
      VWUHDPJDJHVZHUHRSHUDWLQJEH\RQGWKHLURSHUDWLRQDOOLPLWV

7KHWDUJHW RUGHVLUHG PRGHOSHUIRUPDQFHFULWHULDGHILQHGE\>@DUHDGRSWHGIRUWKLVVWXG\7KHIROORZLQJ
PHWULFVDUHXVHGWRHYDOXDWHWKHJRRGQHVVRIPRGHOFDOLEUDWLRQIRUULYHUZDWHUGHSWK RUVWDJHKHLJKW ZLWKLQWKH
)RFXV$UHDDQG)RFXV3HULRGEDVHGRQPRGHOOHGDQGREVHUYHGGDWD
x     5RRWPHDQVTXDUHHUURUSHUFHQWDJH 506( OHVVWKDQIRUDOOVWDWLRQV
x     3HDUVRQSURGXFWPRPHQWFRUUHODWLRQFRHIILFLHQW U JUHDWHUWKDQIRUDOOVWDWLRQV

)RUIORRGLQJDSSOLFDWLRQVWKHVLPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQLVWKHPRVWLPSRUWDQWSDUDPHWHUVLQFHLWV
VSDWLDODQGWHPSRUDOGLVWULEXWLRQGHILQHVRYHUODQGIORRGGHSWKDQGGXUDWLRQ)ORZGHSWKLQVLGHVWUHDPVLVRI
VHFRQGDU\LPSRUWDQFHVLQFHLWLVDSSOLFDEOHWRWKRVHVWUHDPV6LQFHIORZGHSWKFRXOGEHVLJQLILFDQWO\LPSDFWHG
E\ORFDOFRQGLWLRQVDWWKHSRLQWVDWZKLFKWKH\DUHH[WUDFWHG VXFKDVHUURQHRXVFKDQQHOEHGHOHYDWLRQVDEUXSW
WRSRJUDSKLFFKDQJHVLQFKDQQHOEHGUDSLGO\YDULHGIORZVWKDWPD\QRWEHUHSUHVHQWHGE\WKHPRGHOHWF WKH\
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                              18
    GageHeight(m,NAVD88)




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7RHVWDEOLVKEDVHIORZVLQ%XIIDOR%D\RXDQGLWVPDMRUWULEXWDULHVDK\SRWKHWLFDO7(/(0$&'PRGHOUXQZDV
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PRLVWXUHFRQGLWLRQV

,QFRQFHSWXDOWHUPV$0&DIIHFWVWKHDEVWUDFWLYHK\GURORJLFDOORVVHV LQFOXGLQJWKHDELOLW\RIWKHVRLOWRDEVRUE
ZDWHUGXULQJDUDLQIDOOHYHQW DQGWKHUHIRUHDIIHFWVWKHDPRXQWRIUXQRIIJHQHUDWHGIURPDJLYHQDUHD7KH
$0&LVFDWHJRUL]HGLQWRWKUHHFRQGLWLRQV$0&,$0&,,DQG$0&,,,$0&,UHSUHVHQWVVRLOVWKDWDUHGU\DQG
DUHDEOHWRLQILOWUDWHDJUHDWHUDPRXQWRIZDWHU JHQHUDWLQJOHVVUXQRII $0&,,UHSUHVHQWVVRLOVWKDWKDYHDQ
DYHUDJHPRLVWXUHFRQGLWLRQDQG$0&,,,UHSUHVHQWVVRLOVWKDWDUHZHWDQGDUHOHVVDEOHWRLQILOWUDWHZDWHU
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7KHDQWHFHGHQWPRLVWXUHFRQWHQWRIDVRLOGHSHQGVRQ
x                                  ,QWHQVLW\GXUDWLRQDQGWLPLQJRISULRUUDLQIDOOHYHQWV
x                                  6RLOW\SHLQSDUWLFXODUVRLOWH[WXUH
x                                  6ORSHOHQJWKDQGVWHHSQHVV
x                                  3RVLWLRQRIDQDUHDZLWKLQDZDWHUVKHG
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x                                  +XPDQPRGLILFDWLRQVVXFKDVLUULJDWLRQDQGGUDLQDJH

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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,QWKH6&6&1PHWKRGWKHXVHRIGLIIHUHQW$0&YDOXHVLVDPHWKRGRIDFFRXQWLQJIRUSDUWRIWKHYDULDELOLW\LQ
WKHUDLQIDOOUXQRIIUHODWLRQVKLS$0&,,LVXVHGWRUHSUHVHQWWKHFHQWUDOYDOXHVLQWKHUDLQIDOOUXQRII UHODWLRQVKLS
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UXQRIISRWHQWLDO$VVXFK$0&LVDVXUURJDWHWRDFFRXQWIRUWKHYDULDELOLW\LQWKHUDLQIDOOUXQRIIUHODWLRQVKLSDQG
LWEHFRPHVDPHWKRGRIFDOLEUDWLQJWKHDPRXQWRIUXQRIISUHGLFWHGE\WKH6&6&1DSSURDFK

7KH6&6PHWKRGSUHVFULEHV$0&VHOHFWLRQEDVHGRQWKHWRWDOGD\DQWHFHGHQWUDLQIDOODQGZKHWKHUWKHDUHD
LVLQWKHGRUPDQWRUJURZLQJVHDVRQ 6&6>@ +RZHYHUWKLVUHODWLRQVKLSZDVGHYHORSHGIRUDQ
XQVSHFLILHGUHJLRQQRWDFFRXQWLQJIRUUHJLRQDOGLIIHUHQFHVRUVFDOHHIIHFWV(FKRLQJWKLVFRQFHUQ6&6GHOHWHG
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,QSUDFWLFH$0&FDWHJRU\LVW\SLFDOO\VHOHFWHGE\WKHPRGHOHUWRSURGXFHWKHEHVWILWEHWZHHQSUHGLFWHGDQG
REVHUYHGUXQRIIYDOXHV(VWLPDWHGFRQGLWLRQVRIVRLOPRLVWXUHFRQWHQWSULRUWRWKH+DUYH\(YHQWZHUHUHOLHGRQ
WRGHWHUPLQHWKHYDULDWLRQLQ$0&DFURVVWKHVWXG\DUHDDQGWKHQWKHUHVXOWDQWUXQRIISUHGLFWLRQVZHUH
YDOLGDWHGDJDLQVWJDJHREVHUYDWLRQV7KHVHQVLWLYLW\RIWKHPRGHOZDVDOVRWHVWHGZLWKYDU\LQJ$0&YDOXHV
DQGLWZDVFRQILUPHGWKDWWKHILQDOFKRLFHRI$0&YDOXHVSURYLGHGWKHPRVWDSSURSULDWHILWWRREVHUYHGUXQRII
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)RUWKH+DUYH\(YHQWWKHDQWHFHGHQWVRLOPRLVWXUHSUHGLFWLRQVZHUHDYDLODEOHIURP1$6$ )LJXUH 7KH
VRLOPRLVWXUHFRQWHQWGDWDVHWVKRZQLQWKHILJXUHLVDNPUHVROXWLRQ9ROXPHWULF6RLO0RLVWXUHRIWKHVRLO
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DUHDVUHSUHVHQWPRGHUDWH$0&&RQVLVWHQWZLWKWKHVHGDWDDUHDVWRWKHQRUWKZHVWRIWKHGRPDLQZHUH
DVVLJQHGFXUYHQXPEHUVIRU$0&,VRLOVXSVWUHDPRIWKHGDPVZHUHDVVLJQHGFXUYHQXPEHUVIRU$0&,,DQG
VRLOVLQWKHUHPDLQGHURIWKHGRPDLQZHUHDVVLJQHGFXUYHQXPEHUVIRU$0&,,,)LJXUHVKRZVWKH$0&
FDWHJRULHVDVVLJQHGWRWKHVXEZDWHUVKHGV

7KHDQWHFHGHQWPRLVWXUHFRQGLWLRQVIRUWKHZDWHUVKHGVZHUHXVHGWRDVVLJQFXUYHQXPEHUVWKURXJKRXWWKH
PRGHOGRPDLQ&XUYHQXPEHUFDQEHDGMXVWHGXVLQJWKHIROORZLQJHTXDWLRQVIRU$0&,DQG$0&,,,>@

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)LJXUH$QWHFHGHQWVRLOPRLVWXUHFRQGLWLRQVIRUWKHPRGHOGRPDLQ \HOORZ$0&,EOXH$0&,,JUHHQ$0&,,, 

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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)LJXUH&XUYH1XPEHU0DSFRYHULQJWKHPRGHOGRPDLQ

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LVWKHVL]HRIWKHFRPSXWDWLRQDOJULG RUPHVKVL]H DWDFHUWDLQORFDWLRQZLWKWKHPRGHOGRPDLQ$ORZHU
&RXUDQWQXPEHUHVVHQWLDOO\GLFWDWHVWKDWDVPDOOHUFRPSXWDWLRQDOWLPHVWHSPD\EHUHTXLUHGWRUHSUHVHQWD
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VHQVLWLYLW\WR&RXUDQWQXPEHUKDVEHHQWHVWHGE\FRPSDULQJWKHPRGHOUHVXOWVIRUGHVLUHG&RXUDQWQXPEHUVRI
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WZRVFHQDULRV
x    6SDWLDOO\YDULDEOHUDLQIDOOLQWHQVLWLHV SURYLGHGE\>@ DQG
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     GRPDLQ KDYHEHHQDVVXPHGWRUHSUHVHQWWKHHQWLUHGRPDLQ

6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVXQGHUWKHVHVFHQDULRVZHUHVLJQLILFDQWO\GLIIHUHQW,WLVFRQFOXGHGWKDW
UDLQIDOOVSDWLDOYDULDELOLW\LVRISDUDPRXQWLPSRUWDQFHDQGPXVWEHFRQVLGHUHGLQWKHDQDO\VLV
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+&)&'UDLQIDOOJDJHGDWDZLWKPLQDQGKULQWHUYDOV,WLVFRQFOXGHGWKDWIRUWKH+DUYH\(YHQWWKHPRGHO
LVQRWVHQVLWLYHWRWLPHLQWHUYDORIUDLQIDOOLQWHQVLW\ZLWKLQWKHWHVWHGUDQJHDVWKHUHVXOWVDUHDOPRVWLGHQWLFDO
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7KHLPSDFWRIZLQGKDVEHHQWHVWHGE\FRPSDULVRQEHWZHHQPRGHOUHVXOWVZLWKDQGZLWKRXWZLQGIRUFLQJ7KH
VDPHURXJKQHVVDQGLQILOWUDWLRQSDUDPHWHUVZHUHXVHGIRUERWKVFHQDULRV,WLVFRQFOXGHGWKDWWKHPRGHOLV
JHQHUDOO\QRWVHQVLWLYHWRZLQGIRUFLQJDQGWKHK\GUDXOLFVLVGRPLQDWHGE\UDLQIDOOLQILOWUDWLRQDQGUXQRII


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EHHQWHVWHGE\FRPSDULQJPRGHOUHVXOWVIRUWKHIROORZLQJWUDQVPLVVLYHRSHQERXQGDU\FRQGLWLRQVDW*DOYHVWRQ
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x    $FWXDOPHDVXUHGZDWHUVXUIDFHHOHYDWLRQV LQFOXGLQJWLGHVDQGVWRUPVXUJH LPSRVHGDWWKHRSHQ
     ERXQGDU\DQG
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)LJXUHLOOXVWUDWHVDQH[DPSOHRIPRGHOUHVXOWVIRUERWKVFHQDULRVDW86*6JDJHDW6KHSKHUG
'ULYH ORFDWHGDWWKHGRZQVWUHDPOLPLWRIWKH)RFXV$UHD 3HDUVRQSURGXFWPRPHQWFRUUHODWLRQFRHIILFLHQWV
EHWZHHQUHVXOWVRIWKHVHWZRVFHQDULRVDWYDULRXVVWUHDPJDJHVZLWKLQWKH)RFXV$UHDDUHVXPPDUL]HGLQ
7DEOH,WLVFRQFOXGHGWKDWVWRUPVXUJHKDVQRWVLJQLILFDQWO\LPSDFWHGWKHIORRGLQJFKDUDFWHULVWLFV QHLWKHU
GHSWKQRUGXUDWLRQ ZLWKLQWKH)RFXV$UHD
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                                                                                                                                                                                                                                                                                                                           SimulatedWSE@ShepherdDr




                                                                                                                                                                                                                                            MaximumRelease, Barker
                             50                                                                                                                                                                                                                                                                                            _StormSurgeIncluded
                                                                                                                                                                                                                                                                                        2
                                                   ReleasefromAddicks& Barker




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                                                                                                                                                                                                                                                                                                                           _StormSurgeEXcluded
 GageHeight (ft,NAVD88)




                                                                                                                                                                                                                                                                                             RainfallIntensity (in/hr)
                             35                                                                      GatesClosed                                                                                                                                                                       4




                                                                                                                                                                                             Barker
                                                                                                                                                                                                                                                                                                                           NWSFloodStage(ft)
                                                   priortoEvent




                             30                                                                                                                                                                                                                                                         5


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                                                                                                                                                                                                                                                                                                                           08074000_Rainfall
                             20
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                             10                                                                                                                   GradualRelease
                                                                                                                                                                                                                                                                                        9
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                                                                                                                                                                                                                                                                        9/1/20170:00
                                  8/25/20170:00




                                                                                    8/26/20170:00




                                                                                                            8/27/20170:00




                                                                                                                              8/28/20170:00




                                                                                                                                                           8/29/20170:00




                                                                                                                                                                            8/30/20170:00




                                                                                                                                                                                                                           8/31/20170:00
                                                                                                                                               Datetime




)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVZLWKDQGZLWKRXWVWRUPVXUJHDW86*6*DJH
DW6KHSKHUG'ULYH




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                                                                                             &RPPHUFLDOLQ&RQILGHQFH                                                                                                                                                                  3DJH


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7DEOH&RUUHODWLRQEHWZHHQPRGHOUHVXOWVZLWKDQGZLWKRXWVWRUPVXUJH

  6WUHDP*DJH                                                                         5

  8SVWUHDPRI$GGLFNV'DP

  #$GGLFNV5HV                                                             

  #/DQJKDP&.B                                                             

  +&)&'B+RUVHSHQ&N#7UDLOVLGH                                                       

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  #%HDU&N                                                                  

  #6RXWK0D\GH&N                                                           

  8SVWUHDPRI%DUNHU'DP

  #%DUNHU5HV                                                              

  #8SSHU%XIIDOR%D\RX                                                      

  +&)&'0DVRQ&U#3ULQFH&U5G                                                       

  'RZQVWUHDPRI$GGLFNVDQG%DUNHU*DWHV

  #%DUNHU                                                                   

  #'DLU\$VKIRUG5G                                                         

  +&)&'B5XPPHO&UHHN#%ULWWPRRUH5G                                                  

  #%HOWZD\                                                                

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7KHPRGHOVHQVLWLYLW\WRURXJKQHVVDQGK\GURORJLFORVVSDUDPHWHUVDUHDGGUHVVHGLQ6HFWLRQ
   6XPPDU\RI0RGHO6HQVLWLYLW\

7DEOHSURYLGHVDVXPPDU\RIWKHPRGHOVHQVLWLYLW\WRYDULRXVSDUDPHWHUV7KH³%DVH5XQ´FROXPQ
SUHVHQWVWKHSDUDPHWHUVFRQVLGHUHGIRUPRGHOFDOLEUDWLRQDQGRWKHUSURGXFWLRQUXQV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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7DEOH6XPPDU\RI7(/(0$&PRGHOVHQVLWLYLW\UHVXOWV

    6HQVLWLYLW\
                           %DVH5XQ        5DQJHWHVWHG &RQFOXVLRQ
    3DUDPHWHU

    &RXUDQW1XPEHU                       ±           1RWVHQVLWLYH

                                            6SDWLDOO\
                                            FRQVWDQW
    5DLQIDOOVSDWLDO      6SDWLDOO\
                                             XVLQJ*DJH       6SDWLDOYDULDELOLW\PXVWEHLQFOXGHG
    YDULDELOLW\            YDULDEOH
                                            DW
                                            %DUNHU'DP 

    7LPHLQWHUYDORI                                          0RGHOUHVXOWVDUHQRWVHQVLWLYHZLWKLQWKHWHVWHG
                           KRXU           ± PLQ
    UDLQIDOOLQWHQVLW\                                        UDQJH

                                            &DOPDQG
                           7LPHDQG
                                            6SDWLDOO\DQG
    :LQG                  VSDFH                               0RGHOUHVXOWVDUHQRWVHQVLWLYHWRZLQG
                                            WHPSRUDOO\
                           YDULDEOH
                                            YDULHGZLQG

                                            1RWLGHRU
                                            VWRUPVXUJH
                           7LGHVDQG       DQG
    7LGHVDQG6WRUP                                           :LWKLQWKH)RFXV$UHDWKHPRGHOUHVXOWVDUHQRW
                           VWRUPVXUJH
    6XUJH                                   7LGHVDQG         VHQVLWLYHWRWLGHVRUVWRUPVXUJHV
                           LQFOXGHG
                                            VWRUPVXUJH
                                            LQFOXGHG

       'HYHORSPHQWRI$FWXDO+XUULFDQH+DUYH\6FHQDULR

0HDVXUHGVWDJHHOHYDWLRQVDWYDULRXVVWUHDPJDJHVZLWKLQWKH)RFXV$UHDZHUHXVHGWRFDOLEUDWHWKHWZR
GLPHQVLRQDO7(/(0$&PRGHOGXULQJWKH)RFXV3HULRG EHWZHHQDQG FRYHULQJWKHHQWLUH
SHULRGRIUHSRUWHGIORRGLQJLQFOXGLQJWZRGLVWLQFWLYHIORZUHJLPHVGRZQVWUHDPRIWKHGDPV UXQRIIGRPLQDWHG
IORZUHJLPHLQORZHU%XIIDOR%D\RXGXULQJWKHSHULRGRIJDWHFORVXUHDQGPRVWLQWHQVHUDLQIDOODQG IORRG
ZDYHGRPLQDWHGIORZUHJLPHGXULQJWKHSHULRGRIUHOHDVHIURP$GGLFNVDQG%DUNHU5HVHUYRLUVZLWKQR
PHDVXUDEOHUDLQIDOO
     ,QLWLDO&DOLEUDWLRQ

7KH7(/(0$&'PRGHOFDOLEUDWLRQZDVSHUIRUPHGE\FKDQJLQJURXJKQHVVDQGK\GURORJLFORVVSDUDPHWHUV
ZLWKLQWKHLUUHVSHFWLYHUHDOLVWLFUDQJHV GHULYHGDERYHLQ6HFWLRQ )RUWKHSXUSRVHRILQLWLDOFDOLEUDWLRQ
506(DQGFRUUHODWLRQFRHIILFLHQW U DVGHILQHGLQ6HFWLRQZHUHFDOFXODWHGIRUHDFKJDJHZLWKLQWKH
)RFXV$UHDDQGDYHUDJHGRYHUWKHIROORZLQJWKUHH]RQHV
x     =RQH$8SVWUHDPRI$GGLFNVGDP
x     =RQH%8SVWUHDPRI%DUNHUGDP
x     =RQH&'RZQVWUHDPRI$GGLFNVDQG%DUNHUGDPV

7KUHHFKDQQHOURXJKQHVVVFHQDULRVKDYHEHHQSUHSDUHGIRUWKHSXUSRVHRIPRGHOFDOLEUDWLRQDVIROORZV
x     6FHQDULR,5RXJKFKDQQHOVVFHQDULR
x     6FHQDULR,,,QWHUPHGLDWHURXJKQHVVVFHQDULR
x     6FHQDULR,,,6PRRWKFKDQQHOVVFHQDULR

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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0DQQLQJ¶VURXJKQHVVPDSVUHSUHVHQWLQJWKHWKUHHURXJKQHVVVFHQDULRVKDYHEHHQSUHSDUHGDVGHVFULEHGLQ
7DEOHZKHUH0DQQLQJ¶VQUDQJHVKDYHEHHQVHOHFWHGEDVHGRQGHULYHGYDOXHV UHIHUWR6HFWLRQ 

7DEOH5DQJHVRI0DQQLQJ¶VQIRUVWUHDPDQGIORRGSODLQVZLWKLQWKHPRGHOGRPDLQ

                                                                                  0DQQLQJ¶VQ
  7RSRJUDSKLFIHDWXUHV                                       6FHQDULR,          6FHQDULR,,       6FHQDULR,,,
                                                                URXJK            LQWHUPHGLDWH         VPRRWK

  /DQGDUHDVLQFOXGLQJUHVHUYRLUV                        0DQQLQJ¶VQGHILQHGE\0DWWRFNV )RUEHV  >@

  6WUHHWV                                                                       >S@

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  +RUVHSHQ&UHHN FKDQQHOIORRGSODLQ                                          

  'LQQHU&UHHN FKDQQHOIORRGSODLQ                                            

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  6RXWK0D\GH&UHHN FKDQQHOIORRGSODLQ                                       

  &KDQQHOLQVLGHUHVHUYRLU                                                                    

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  :LOORZ)RUNGLYHUVLRQFKDQQHO                                                               

  0DVRQ&UHHN                                                                                 

  7ULE                                                                                   

  &KDQQHOLQVLGHUHVHUYRLU                                                                    

  =RQH&'RZQVWUHDPRI'DPV                                                                             

  %XIIDOR%D\RXIURP%DUNHUJDWHVWR'DLU\
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  $VKIRUG5RDG

  /RZHU/DQJKDP&UHHN                                                                        

  %XIIDOR%D\RXEHORZ'DLU\$VKIRUG5G                                                        

  %XIIDOR%D\RXIORRGSODLQXSWR'DLU\$VKIRUG
                                                                                               
  5RDG

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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     %XIIDOR%D\RXIORRGSODLQEHORZ'DLU\$VKIRUG
                                                                                                                       
     5RDGXSWR3LQH\3RLQW

     %XIIDOR%D\RXIORRGSODLQEHORZ3LQH\3RLQW                                                                       

     5XPPHO&UHHN FKDQQHOIORRGSODLQ                                                             

     &ORGLQH'LWFK FKDQQHOIORRGSODLQ                                                         

&XUYH1XPEHU &1 PDSVUHSUHVHQWLQJORZLQWHUPHGLDWHDQGKLJKK\GURORJLFDOORVVHVVFHQDULRVKDYHEHHQ
SUHSDUHGDVIROORZV
x      &1%DVH0DSUHSUHVHQWLQJDORZK\GURORJLFORVVHVVFHQDULR
       x     $0&,,,DVVLJQHGIRUDUHDVGRZQVWUHDPRI$GGLFNVDQG%DUNHUGDPVDQG
       x     $0&,,DVVLJQHGIRUDUHDVXSVWUHDPRI$GGLFNVDQG%DUNHUGDPV
x      &1%DVH0DS )LJXUH UHSUHVHQWLQJDQLQWHUPHGLDWHK\GURORJLFORVVHVVFHQDULR
       x     $0&,,,DVVLJQHGIRUDUHDVGRZQVWUHDPRI$GGLFNVDQG%DUNHUGDPV
       x     $0&,,DVVLJQHGIRUDUHDVXSVWUHDPRI$GGLFNVDQG%DUNHUGDPVDQG
       x     $0&,DVVLJQHGWRDUHDVIRUWKHQRUWKZHVWDUHDRIWKHPRGHOGRPDLQ
x      &1%DVH0DSUHSUHVHQWLQJDKLJKK\GURORJLFORVVHVVFHQDULR
       x     $0&,,,DVVLJQHGIRUDUHDVGRZQVWUHDPRI$GGLFNVDQG%DUNHUGDPVDQG
       x     $0&,DVVLJQHGIRUDUHDVXSVWUHDPRI$GGLFNVDQG%DUNHUGDPV

7DEOHGHILQHVK\GURORJLFORVVHVDQGURXJKQHVVSDUDPHWHUVIRUWKHLQLWLDOFDOLEUDWLRQUXQVUHSUHVHQWLQJWKH
+DUYH\(YHQW7KHIROORZLQJPRGHOFKDUDFWHULVWLFVDUHFRPPRQIRUDOOWKHUXQV
x      5DLQIDOOLQWHQVLWLHVDUHEDVHGRQJULGGHGUDLQIDOOGDWDGHULYHGE\$:$ UHIHUWR6HFWLRQ 
x      %DWK\PHWU\LVGHILQHGE\WKH/L'$5VXUYH\FRUUHFWHGIRUZDWHUGHSWKXVLQJWKH+&)&'+(&5$6
       WUDQVHFWGDWD UHIHUWR6HFWLRQ DQGWKH/L'$5VXUYH\IRU/RZHU/DQJKDP&UHHN
x      :LQGIRUFLQJLVLQFOXGHG
x      9DULDEOHWLPHVWHSFDOFXODWHGEDVHGRQD³GHVLUHG´&RXUDQW1XPEHURI
x      6LPXODWLRQIURPWR GD\V 

7KHUHVXOWVRIWKHLQLWLDOFDOLEUDWLRQUXQVZHUHXVHGWRFDOFXODWH506(IRU$GGLFNVDQG%DUNHUSRROGHSWKV
 UHSUHVHQWLQJ=RQHV$DQG% DQGDYHUDJH506(RIIORZGHSWKVRYHU=RQH&7DEOH7DEOHDQG
7DEOHSUHVHQWFDOFXODWHG506(UHSUHVHQWLQJ=RQHV$%DQG&UHVSHFWLYHO\)RUDOORIWKHFDOLEUDWLRQ
UXQVVWDUWLQJDURXQG ZKHQJDWHVZHUHFORVHG WKHPRGHORYHUHVWLPDWHVSRROHOHYDWLRQVKLJKHUWKDQIW
DQGIWLQ$GGLFNVDQG%DUNHU5HVHUYRLUVUHVSHFWLYHO\$ERYHWKRVHHOHYDWLRQVWKHVLPXODWHGUDWHVRIULVH
DUHKLJKHUWKDQREVHUYHG7KLVWUHQGLVLQGHSHQGHQWRIWKHURXJKQHVVDQGK\GURORJLFORVVVFHQDULRDVVKRZQ
$VVXFKWKLVRYHUHVWLPDWHGUDWHRIULVHFRXOGSRWHQWLDOO\EHDWWULEXWHGWRRQHRUPRUHRIWKHIROORZLQJ
x      7HPSRUDODQGVSDWLDOGLIIHUHQFHVEHWZHHQHVWLPDWHGDQGDFWXDOUDLQIDOOLQWHQVLWLHV
x      7KHUHODWLYHO\FRDUVHPHVKXSVWUHDPRIWKH)RFXV$UHDPD\QRWFDSWXUHVLJQLILFDQWORZO\LQJDUHDVDQGRU
       GHWHQWLRQSRQGV




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    7KHPRGHOFDOFXODWHVWKHQH[WWLPHVWHSXVLQJWKHGHVLUHG&RXUDQWQXPEHUEDVHGRQUHVXOWVDWWKHSUHVHQWWLPHVWHS
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    5HVHUYRLUSRROHOHYDWLRQVDUHUHSUHVHQWDWLYHRIWKHLUUHVSHFWLYH]RQHVVLQFHWKH\ZHUHFRQWUROOLQJZDWHUVXUIDFHHOHYDWLRQVDIWHU

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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x     0LVUHSUHVHQWDWLRQRIWKHFKDQQHOEDWK\PHWULHVXSVWUHDPRIWKHUHVHUYRLUV
x     0LVUHSUHVHQWDWLRQRIWKHUHVHUYRLUVWRSRJUDSK\DERYHHOHYDWLRQVIW $GGLFNV DQGIW %DUNHU DQGRU
x     6LJQLILFDQWFKDQJHWRWKHWRSRJUDSK\DERYHWKRVHHOHYDWLRQVEHWZHHQDQG

7KHRYHUHVWLPDWHGSRROHOHYDWLRQVLQ$GGLFNVDQG%DUNHU5HVHUYRLUVPD\DIIHFWHVWLPDWHVRIWKHWLPLQJRI
IORRGLQJLQDUHDVXSVWUHDPRIWKHUHVHUYRLUV7KHPRGHOLVH[SHFWHGWRHVWLPDWHHDUOLHUSHDNHOHYDWLRQVFDXVHG
E\EDFNZDWHUGXHWRSRROHOHYDWLRQVKLJKHUWKDQIWDQGIWLQ$GGLFNVDQG%DUNHUUHVSHFWLYHO\

,QDGGLWLRQWKHPRGHOJHQHUDOO\PLVVHVWKHILUVWVPDOOSHDNRIZDWHUVXUIDFHHOHYDWLRQPHDVXUHGLQPRVWRIWKH
VWUHDPVZLWKLQWKH)RFXV$UHDDWWKHHDUO\VWDJHVRIWKH+DUYH\(YHQW7KLVLVOLNHO\DWWULEXWHGWRVWRUPGUDLQ
IORZV QRWLQFOXGHGLQWKHPRGHO WUDQVIHUULQJZDWHUWRWKHUHFHLYLQJERGLHVPRUHUDSLGO\WKDQRYHUODQGIORZLQ
WKHHDUO\VWDJHVRIWKHVWRUP SULRUWRVXUFKDUJHRIWKHGUDLQV 7KHPRGHOKRZHYHUGRHVZHOODWSUHGLFWLQJ
VXEVHTXHQWSHDNVRIZDWHUVXUIDFHHOHYDWLRQDIWHUVWRUPGUDLQVEHFDPHIXOO\VXUFKDUJHG

7DEOH,QLWLDOFDOLEUDWLRQPRGHOUXQV

                                                                                                                      &1%DVH0DS
                                                                                             &1%DVH0DS            
                                                                  &1%DVH0DS
    0RGHO3DUDPHWHUV                                                                         ,QWHUPHGLDWH            +LJK
                                                                   /RZ+\GURORJLF
                                                                                             +\GURORJLF              +\GURORJLF
                                                                  /RVV6FHQDULR 
                                                                                             /RVV6FHQDULR           /RVV
                                                                                                                      6FHQDULR 

    ,5RXJKFKDQQHOVVFHQDULR                                              ,                     ,                   ,

    ,,,QWHUPHGLDWHURXJKQHVVVFHQDULR                                     ,,                    ,,                  ,,

    ,,,6PRRWKFKDQQHOVVFHQDULR                                           ,,,                  ,,,                 ,,,

7DEOH506(FDOFXODWHGIRU$GGLFNVSRROGHSWKVIRUDOOLQLWLDOFDOLEUDWLRQUXQV PLQLPXPYDOXHLV
EROGHG 

                                                                                                                      &1%DVH0DS
                                                                                             &1%DVH0DS            
                                                                  &1%DVH0DS
    0RGHO3DUDPHWHUV                                                                         ,QWHUPHGLDWH            +LJK
                                                                   /RZ+\GURORJLF
                                                                                             +\GURORJLF              +\GURORJLF
                                                                  /RVV6FHQDULR 
                                                                                             /RVV6FHQDULR           /RVV
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    ,5RXJKFKDQQHOVVFHQDULR                                                                                 

    ,,,QWHUPHGLDWHURXJKQHVVVFHQDULR                                                                       

    ,,,6PRRWKFKDQQHOVVFHQDULR                                                                               




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  8QOLNHVWUHDPVGRZQVWUHDPRIWKHUHVHUYRLUVHOHYDWLRQVGHULYHGIURP+(&5$6FURVVVHFWLRQVXSVWUHDPRIWKHUHVHUYRLUVDUHYHU\VLPLODU
WRWKH/L'$5

  6XFKDVH[FDYDWLRQZRUNVDERYHHOHYDWLRQVIWDQGIWXSVWUHDP$GGLFNVDQG%DUNHUUHVSHFWLYHO\

  $WWKHWLPHRIGUDIWLQJWKLVUHSRUWWKH/L'DUVXUYH\LVWKHPRVWUHFHQWVRXUFHRIUHVHUYRLUWRSRJUDSKLHV

  7KLVPRGHOLVGHYHORSHGIRUDQGVXLWHGWRH[WUHPHSUHFLSLWDWLRQHYHQWVDVVXPLQJVWRUPGUDLQVDUHVXUFKDUJHG

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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7DEOH506(FDOFXODWHGIRU%DUNHUSRROGHSWKVIRUDOOLQLWLDOFDOLEUDWLRQUXQV PLQLPXPYDOXHLV
EROGHG 

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                                                                                &1%DVH0DS     
                                                       &1%DVH0DS
    0RGHO3DUDPHWHUV                                                            ,QWHUPHGLDWH     +LJK
                                                        /RZ+\GURORJLF
                                                                                +\GURORJLF       +\GURORJLF
                                                       /RVV6FHQDULR 
                                                                                /RVV6FHQDULR    /RVV
                                                                                                  6FHQDULR 

    ,5RXJKFKDQQHOVVFHQDULR                                                           

    ,,,QWHUPHGLDWHURXJKQHVVVFHQDULR                                                   

    ,,,6PRRWKFKDQQHOVVFHQDULR                                                          

7DEOH506(DYHUDJHGRYHU=RQH&IRUDOOLQLWLDOFDOLEUDWLRQUXQV PLQLPXPYDOXHLVEROGHG 

                                                                              &1%DVH0DS
                                                     &1%DVH0DS                            &1%DVH0DS
    0RGHO3DUDPHWHUV                                                          ,QWHUPHGLDWH
                                                      /RZ+\GURORJLF                          +LJK+\GURORJLF
                                                                              +\GURORJLF
                                                     /RVV6FHQDULR                           /RVV6FHQDULR 
                                                                              /RVV6FHQDULR 

    ,5RXJKFKDQQHOVVFHQDULR                                                         

    ,,,QWHUPHGLDWHURXJKQHVVVFHQDULR                                                 

    ,,,6PRRWKFKDQQHOVVFHQDULR                                                   

   'HWDLOHG&DOLEUDWLRQ

5HVXOWVRIWKHLQLWLDOPRGHOFDOLEUDWLRQVKRZWKDWWKHRSWLPXPFDOLEUDWLRQIRU=RQHV$%DQG&LVDWRUQHDUWKH
FHQWHURIWKHSDUDPHWHUVSDFHFRUUHVSRQGLQJWRLQWHUPHGLDWHK\GURORJLFORVVDQGURXJKQHVVVFHQDULRV ,, 
7KLVSURYLGHVJHQHUDOJXLGDQFHIRURYHUDOOUDQJHRIORVVDQGURXJKQHVVSDUDPHWHUV$VVKRZQIURP7DEOH
7DEOHDQG7DEOHWKHPLQLPXP506(IRUDOO]RQHVDUHDVVRFLDWHGZLWKWKHXVHRIWKH&10DS
ZKLFKLVLQDJUHHPHQWZLWKWKHHVWLPDWHGDQWHFHGHQWPRLVWXUHFRQGLWLRQVSUHVHQWHGLQ)LJXUH

)RUWKHSXUSRVHRIGHWDLOHGFDOLEUDWLRQDQRWKHU&1PDSKDVEHHQJHQHUDWHGEDVHG&10DSVDQGDV
IROORZV

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'HWDLOHGFDOLEUDWLRQUXQVRIWKH+DUYH\(YHQWH[WHQGLQJXSWRFRYHULQJWKHHQWLUH)RFXV3HULRG
KDYHEHHQFRPSOHWHGZKHUHYDULDWLRQVWR5XQ,,0DQQLQJURXJKQHVVFRHIILFLHQWVDQG&1PDSVKDYHEHHQ
WHVWHG7DEOHGHVFULEHVWKHGHWDLOHGFDOLEUDWLRQUXQV,WZDVIRXQGWKDWUHVXOWVRI5XQ'\LHOGWKHOHDVW
506(DQGWKHKLJKHVWFRUUHODWLRQFRHIILFLHQWZLWKLQWKH)RFXV$UHDDQGWKH)RFXV3HULRG7DEOH
SUHVHQWV506(FRUUHODWLRQFRHIILFLHQWVDQGELDVFDOFXODWHGRYHUWKH)RFXV3HULRGIRUDOOWKHJDJHV
FRQVLGHUHGZLWKLQWKH)RFXV$UHDXVLQJWKHUHVXOWVRI'5HVXOWVSUHVHQWHGLQ7DEOHPHHWWKH
DFFHSWDQFHFULWHULDGHILQHGLQ6HFWLRQ

7KHIROORZLQJOLVWVXPPDUL]HVWKHFDOLEUDWHG0DQQLQJ¶VQZLWKLQWKH)RFXV$UHD =RQHV$%DQG& 
x     &KDQQHOV8SVWUHDPRI$GGLFNV'DP =RQH$ 

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                &RPPHUFLDOLQ&RQILGHQFH                               3DJH


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     x   /DQJKDP&UHHN +RUVHSHQ&UHHNDUHDVVLJQHG0DQQLQJ¶VQ  IORRGSODLQ DQGQ 
          FKDQQHO 
     x   'LQQHU&UHHNLVDVVLJQHG0DQQLQJ¶VQ  FKDQQHO 
     x   8LVDVVLJQHG0DQQLQJ¶VQ 
     x   /DQJKDP&UHHNGLYHUVLRQFKDQQHOLVDVVLJQHG0DQQLQJ¶VQ 
     x   %HDU&UHHNLVDVVLJQHG0DQQLQJ¶VQ 
     x   60D\GH&UHHNLVDVVLJQHG0DQQLQJ¶VQ  IORRGSODLQ DQGQ  FKDQQHO 
     x   &KDQQHOVLQVLGHUHVHUYRLUDUHDVVLJQHG0DQQLQJ¶VQ 
x    &KDQQHOV8SVWUHDPRI%DUNHU'DP =RQH% 
     x   8SSHU%XIIDOR%D\RXLVDVVLJQHG0DQQLQJ¶VQ 
     x   :LOORZ)RUN'LYHUVLRQ&KDQQHOLVDVVLJQHG0DQQLQJ¶VQ 
     x   0DVRQ&UHHNLVDVVLJQHG0DQQLQJ¶VQ 
     x   7ULEXWDU\LVDVVLJQHG0DQQLQJ¶VQ 
     x   &KDQQHOVLQVLGHUHVHUYRLUDUHDVVLJQHG0DQQLQJ¶VQ 
x    &KDQQHOV'RZQVWUHDPRIWKH'DPV =RQH& 
     x   /RZHU%XIIDOR%D\RXIORRGSODLQLVDVVLJQHG0DQQLQJ¶VQ XSWR%HOWZD\Q IURP
         %HOWZD\WR3LQH\3RLQWDQGQ IURP3LQH\3RLQWWR6KHSKHUG'U
     x   /RZHU%XIIDOR%D\RXFKDQQHOEHWZHHQ%DUNHUJDWHVDQG'DLU\$VKIRUG5RDGLVDVVLJQHG0DQQLQJ¶V
         Q 
     x   /RZHU%XIIDOR%D\RXFKDQQHOEHWZHHQ'DLU\$VKIRUG5RDGDQG%HOWZD\LVDVVLJQHG0DQQLQJ¶V
         Q 
     x   /RZHU%XIIDOR%D\RXFKDQQHOEHWZHHQ%HOWZD\DQG3LQH\3RLQW5RDGLVDVVLJQHG0DQQLQJ¶V
         Q 
     x   /RZHU%XIIDOR%D\RXFKDQQHOEHWZHHQ3LQH\3RLQW5RDGDQG6KHSKHUG'ULVDVVLJQHG0DQQLQJ¶V
         Q 
     x   /RZHU/DQJKDP&UHHN GRZQVWUHDPRI$GGLFNVJDWHV LVDVVLJQHG0DQQLQJ¶VQ 
     x   5XPPHO&UHHNFKDQQHOLVDVVLJQHG0DQQLQJ¶VQ 
     x   &ORGLQH'LWFKLVDVVLJQHG0DQQLQJ¶VQ  IORRGSODLQ DQGQ  FKDQQHO 

7KHFDOLEUDWHGPRGHO 5XQ'RU7KH$FWXDO+DUYH\5XQ SUHGLFWVSHDNZDWHUVXUIDFHHOHYDWLRQVDQGWKHLU
WLPLQJVZLWKLQWKH)RFXV$UHDZLWKDKLJKGHJUHHRIFHUWDLQW\'LIIHUHQFHVEHWZHHQPHDVXUHGJDJHKHLJKWV
DQGVLPXODWHGZDWHUVXUIDFHHOHYDWLRQVFDQEHVXPPDUL]HGDVIROORZV
x    7KHPRGHORYHUHVWLPDWHVSRROHOHYDWLRQVLQ$GGLFNVDQG%DUNHU5HVHUYRLUVEHWZHHQPLGGD\
     DQGPLGGD\
x    7KHPRGHOXQGHUHVWLPDWHVSRROHOHYDWLRQVLQ$GGLFNV5HVHUYRLUDIWHU
x    7KHPRGHORYHUHVWLPDWHVZDWHUVXUIDFHHOHYDWLRQVGRZQVWUHDPRIWKH%HOWZD\DIWHU
x    7KHPRGHOSUHGLFWVSHDNSRROHOHYDWLRQVLQERWKUHVHUYRLUVDERXWGD\HDUOLHUWKDQWKHWLPLQJRIWKHSHDN
     SRROHOHYDWLRQGHULYHGIURPWKHJDJHGDWD
x    7KHPRGHOSUHGLFWVWKHVWDUWRIWKHVSLOODURXQGWKHQRUWKHQGRI$GGLFNVUHVHUYRLUDERXWKRXUVHDUOLHU
     WKDQZKDWLVSHUFHLYHGE\JDJHGDWD+RZHYHUWKHPRGHOFRUUHFWO\HVWLPDWHVWKHGXUDWLRQRIWKHSHULRGRI
     VSLOODURXQGQRUWKHQGRI$GGLFNV
x    )RUDOOWKHVWUHDPVGUDLQLQJLQWRWKHUHVHUYRLUVWKHPRGHOGRHVQRWFDSWXUHWKHILUVWZDWHUVXUIDFHHOHYDWLRQ
     SHDNWKDWRFFXUUHGWKHPRUQLQJRI+RZHYHUWKHPRGHOFDSWXUHVDOOWKHRWKHUVXEVHTXHQW
     KLJKHUZDWHUVXUIDFHHOHYDWLRQSHDNV
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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7DEOH6XPPDU\RIGHWDLOHGFDOLEUDWLRQUXQV

     5XQ,'             9DULDWLRQWR5XQ,,                                                                     &10DS

                         5RXJKFKDQQHOVVFHQDULRGRZQVWUHDPRIWKHGDPV)ORRGSODLQVURXJKQHVVDV
     '                                                                                           
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                         5RXJKFKDQQHOVVFHQDULRGRZQVWUHDPRIWKHGDPV)ORRGSODLQVURXJKQHVVDV
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                         SHU,,H[FHSWEHORZ3LQH\3RLQWZKHUHQ 

     '                &ORGLQH'LWFKQ  FKDQQHO DQG IORRGSODLQ                                   

                         &ORGLQH'LWFKQ  FKDQQHO DQG IORRGSODLQ 
     '                                                                                                           
                         :LQGIRUFLQJQRWLQFOXGHG

                         &ORGLQH'LWFKQ  FKDQQHO DQG IORRGSODLQ 
     '                                                                                                           
                         %XIIDOR%D\RXFKDQQHOIURP%DUNHUJDWHVWR'DLU\$VKIRUG5GQ 

     '                 &ORGLQH'LWFKQ  FKDQQHO DQG IORRGSODLQ                                   

                         5HILQHGPRGHOEDWK\PHWU\
     '                                                                                                           
                         &ORGLQH'LWFKQ  FKDQQHO DQG IORRGSODLQ 

7DEOH&DOFXODWHGFDOLEUDWLRQPHWULFVIRUWKH$FWXDO+DUYH\5XQ ' 

                                                                   506(                506(
     *DJH                                                                                         5           %LDV
                                                                   (OHYDWLRQ            'HSWK 

     =RQH$8SVWUHDPRI$GGLFNV'DP

     #$GGLFNV5HV                                                                    

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     +&)&'B+RUVHSHQ&N#7UDLOVLGH                                                             

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 5HILQHGPRGHOEDWK\PHWU\LQFOXGHVUHPRYDORIEORFNDJHVDW+RUVHSHQ%HDUDQG/DQJKDP&UHHNVDQGDGMXVWPHQWRI/RZHU/DQJKDP
&UHHNEHGHOHYDWLRQWRPDWFKWKH/L'$5

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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  +&)&'B5XPPHO&UHHN#%ULWWPRRUH5G                                                                       

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  +LJK506(YDOXHVDUHGXHWRLQFRUUHFWFKDQQHOEDWK\PHWULHV UHIHUWR6HFWLRQ 


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)ROORZLQJ DQGGXULQJ WKH+DUYH\(YHQW+&)&'DQG86*6FROOHFWHGHOHYDWLRQVRIKLJKZDWHUPDUNV +:0 
DWYDULRXVORFDWLRQV/RFDWLRQVRIWKHVHKLJKZDWHUPDUNVZLWKLQWKH)RFXV$UHDDUHSUHVHQWHGLQ)LJXUH
DQG)LJXUHWRWDOLQJ+:0 E\+&)&'DQGE\86*6 +LJKZDWHUPDUNHOHYDWLRQVUHSUHVHQW
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)LJXUH'LVWULEXWLRQRIHUURULQVLPXODWHGSHDNZDWHUVXUIDFHHOHYDWLRQV 86*6+:0V 




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)RUWKHDVVHVVPHQWRIWKHDJUHHPHQWEHWZHHQWKHVLPXODWHGLQXQGDWLRQH[WHQWVDQGWKHREVHUYHGZDWHU
PDUNVIURPDHULDOLPDJHU\WKHSURFHGXUHSURSRVHGE\>@LVDGRSWHGZKHUHE\WKH)LQGH[LVGHILQHGDV
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ZKHUH$WR'UHSUHVHQWWKHDUHDVSUHGLFWHGZHWRUGU\E\WKHPRGHODQGREVHUYHGLQWKHLPDJHU\GDWDDV
GHVFULEHGLQ7DEOH)UDQJHVIURP ZKHUHWKHUHLVQRRYHUODSEHWZHHQSUHGLFWHGDQGREVHUYHGZHW
DUHDV WR ZKHUHREVHUYHGDQGSUHGLFWHGZHWDUHDVFRLQFLGH $VVXFK)LQGH[UHSUHVHQWVWKHGHJUHH
RIDJUHHPHQWEHWZHHQREVHUYHGDQGSUHGLFWHGLQXQGDWLRQOLPLWVDVDSHUFHQWDJH

2EVHUYHGLQXQGDWLRQOLPLWVGHYHORSHGLQ6HFWLRQZHUHFRPSDUHGWRWKHPRGHOUHVXOWV7KH12$$PRVDLF
DHULDOSKRWRVGDWHGZHUHDFTXLUHGEHWZHHQDQG7KHUHIRUHLQXQGDWLRQGHSWKVDFURVV
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FRPSDUHEHWZHHQREVHUYHGDQGVLPXODWHGLQXQGDWLRQOLPLWVRQLQDUHDVXSVWUHDP$GGLFNV
5HVHUYRLUXSVWUHDP%DUNHU5HVHUYRLUDQGGRZQVWUHDPRIWKHGDPVUHVSHFWLYHO\7KHJUHHQDUHD $UHD$ 
UHSUHVHQWVDJUHHPHQWEHWZHHQREVHUYHGDQGVLPXODWHGOLPLWVZKLOH$UHDV% UHG DQG& EOXH LQGLFDWH
RYHUSUHGLFWLRQDQGXQGHUSUHGLFWLRQUHVSHFWLYHO\

7KH)LQGH[ZDVFDOFXODWHGIRUVHYHUDOSDUWVGRZQVWUHDPRIWKHGDPVDVIROORZV
x       EHORZWKHUHVHUYRLUVGRZQWR6KHSKHUG'U
x       EHORZWKHUHVHUYRLUGRZQWR%HOWZD\
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,WLVFRQFOXGHGWKDWWKHFDOLEUDWHGPRGHOHVWLPDWHVLQXQGDWLRQOLPLWVZLWKLQWKH)RFXV$UHDZLWKDKLJKGHJUHHRI
FHUWDLQW\

7DEOH3DUDPHWHUVXVHGWRFDOFXODWHWKHJRRGQHVVRIWKHILWEHWZHHQREVHUYHGDQGSUHGLFWHG
LQXQGDWLRQOLPLWV$DQG'UHSUHVHQWDUHDVSUHGLFWHGFRUUHFWO\

                                          0RGHO:HW                          0RGHO'U\

    ,PDJH:HW                             $                                  & XQGHUSUHGLFWLRQ 

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)LJXUH&RPSDULVRQEHWZHHQVLPXODWHGDQGREVHUYHGLQXQGDWLRQOLPLWVXSVWUHDPRI$GGLFNV5HVHUYRLURQ




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)LJXUH&RPSDULVRQEHWZHHQVLPXODWHGDQGREVHUYHGLQXQGDWLRQOLPLWVXSVWUHDPRI%DUNHU5HVHUYRLURQ




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)LJXUH&RPSDULVRQEHWZHHQVLPXODWHGDQGREVHUYHGLQXQGDWLRQOLPLWVGRZQVWUHDPRI$GGLFNVDQG%DUNHU5HVHUYRLUVRQ




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7KH7(/(0$&'ZDVDSSOLHGWRDVVHVVIORRGLQJFKDUDFWHULVWLFVZLWKLQWKH)RFXV$UHDDVVRFLDWHGWKH+DUYH\
(YHQWXQGHUYDULRXVVFHQDULRV7KLVVHFWLRQSURYLGHVDGHVFULSWLRQRIWKHPRGHOVFHQDULRVDQGSUHVHQWV
UHVXOWVRIVLPXODWHGZDWHUVXUIDFHHOHYDWLRQVIRUHDFKVFHQDULRDWHDFK7HVW3URSHUW\

       0RGHO6FHQDULRV

7DEOHSURYLGHVDGHVFULSWLRQRI7(/(0$&'PRGHOVFHQDULRV7KHIROORZLQJPRGHOUXQVKDYHEHHQ
FRQVLGHUHG
x    $FWXDO+DUYH\5XQ5HSUHVHQWLQJDFWXDO+DUYH\(YHQWFRQGLWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKHGDPV
     GHYHORSHGLQ6HFWLRQ 
x    1R3URMHFW5XQ5HSUHVHQWLQJK\SRWKHWLFDOFRQGLWLRQVZLWKRXWWKHGDPVDQGFKDQQHOLPSURYHPHQWVZLWKLQ
     WKH*2/
x    *DWHV&ORVHG5XQ5HSUHVHQWLQJDFWXDO+DUYH\(YHQWFRQGLWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKHGDPV
     XQGHUWKHK\SRWKHWLFDOVFHQDULRZKHUHQRUHOHDVHVZHUHPDGHIURPHLWKHUUHVHUYRLU
x    *DWHV2SHQ5XQ5HSUHVHQWLQJDFWXDO+DUYH\(YHQWFRQGLWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKHGDPV
     XQGHUWKHK\SRWKHWLFDOVFHQDULRZKHUHJDWHVZHUHQHYHUFORVHGDQGPD[LPXPUHOHDVHVZHUHPDGH




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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7DEOH+DUYH\UHODWHG7(/(0$&'PRGHOUXQV


     0RGHO5XQ                                    5HVHUYRLUDQG8SVWUHDP6WDWXV                         'RZQVWUHDP6WDWXV                               5HOHDVH


     $FWXDO+DUYH\                                $FWXDO                                                $FWXDO                                          $FWXDO

                                                   3UHVHQWXUEDQL]HGFRQGLWLRQVZLWKRXWWKHGDPV         3UHVHQWXUEDQL]HGFRQGLWLRQVZLWKRXWWKH        1RWDSSOLFDEOH
                                                   DQGZLWKRXWWKHIHGHUDOLPSURYHPHQWVRQ*2/           IHGHUDOLPSURYHPHQWV
                                                    HUDFRQGLWLRQVRQ*2/DQGSUHVHQW               x    7RSRJUDSK\DVSHUWKH$FWXDO+DUYH\
                                                   FRQGLWLRQVRQSULYDWHODQG                                5XQZLWKWKHIROORZLQJFKDQJHV
                                                   x     7RSRJUDSK\DVSHUWKH$FWXDO+DUYH\5XQ              x    ORZHU/DQJKDP&UHHNDQG7XUNH\
                                                         ZLWKRXWIHGHUDOLPSURYHPHQWVRQIHGHUDO                   &UHHNFRQQHFWHGWRWKHXSSHU
                                                         SURSHUW\DQGZLWKRXWWKHGDPV                            &UHHNVDQG:
     1R3URMHFW                                   x     &KDQQHOURXJKQHVVDVSHUWKH$FWXDO+DUYH\                FRQQHFWHGWRXSSHU%XIIDOR%D\RX
                                                         5XQ                                                   x    5HFWLILHGVHFWLRQRIORZHU%XIIDOR
                                                   x     /DQGXVHDVSHUWKH$FWXDO+DUYH\5XQ                    %D\RXUHPRYHGDQGWKHVHUD
                                                                                                                    XQUHFWLILHGORZHU%XIIDOR%D\RX
                                                                                                                    LQWURGXFHG 
                                                                                                          x    &KDQQHOURXJKQHVVDVSHUWKH$FWXDO
                                                                                                               +DUYH\5XQ
                                                                                                          x    /DQGXVHDVSHUWKH$FWXDO+DUYH\5XQ
     *DWHV&ORVHG                                 $FWXDODVSHUWKH$FWXDO+DUYH\5XQ                   $FWXDODVSHUWKH$FWXDO+DUYH\5XQ             1RQH

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     *DWHV2SHQ
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 SUHSDUHGEDVHGRQ$GGLFNVDQG%DUNHU&RQVWUXFWLRQ'UDZLQJV>S86$&(@DQG>S86$&(@




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       0RGHO5HVXOWV

     $FWXDO+DUYH\5XQ

7KH$FWXDO+DUYH\5XQUHSUHVHQWVWKHDFWXDO+DUYH\(YHQW$VVKRZQLQ6HFWLRQWKHFDOLEUDWHGPRGHO
SUHGLFWVSHDNZDWHUVXUIDFHHOHYDWLRQVDQGWKHLUWLPLQJVZLWKLQWKH)RFXV$UHDZLWKDKLJKGHJUHHRIFHUWDLQW\
DVGHPRQVWUDWHGLQ6HFWLRQVDQG&RPSDULVRQEHWZHHQVLPXODWHGDQGPHDVXUHGZDWHUVXUIDFH
HOHYDWLRQVDUHSUHVHQWHGLQ)LJXUHWR)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWXSVWUHDP7HVW
3URSHUWLHVDUHSUHVHQWHGLQ)LJXUHWR)LJXUH7DEOHSUHVHQWVVXPPDULHVRIWKH$FWXDO+DUYH\
5XQPRGHOUHVXOWVIRUXSVWUHDP7HVW3ODLQWLIIV

7KHIHGHUDOSURMHFW $GGLFNVDQG%DUNHU5HVHUYRLUV DOORZVIRUWKHGLVWULEXWLRQRIIORRGLQJLPSDFWVDFURVVD
ZLGHDUHDWRPLQLPL]HWKHFKDQFHRIOLIHWKUHDWHQLQJFRQGLWLRQVLQDQ\RQHDUHD6LPXODWHGPD[LPXPIORRG
GHSWKVDERYHILUVWILQLVKHGIORRUVIRUXSVWUHDP7HVW3URSHUWLHVDUHEHWZHHQWRIW'HVSLWHWKHGDPDJH
GXHWRIORRGLQJVLPXODWHGGHSWKVDERYHILUVWIORRUVFRXOGKDYHEHHQKLJKHUZLWKPXFKORQJHUGXUDWLRQVZLWKRXW
WKHUHOHDVHVOHDGLQJWRLQFUHDVHGULVNWROLIHDQGSURSHUW\ UHIHUWR6HFWLRQ 

3HDNIORRGHOHYDWLRQVDWDOOWKHXSVWUHDP7HVW3URSHUWLHVDUHDWWULEXWHGWREDFNZDWHUGXHWRKLJKSRRO
HOHYDWLRQVLQ$GGLFNVRU%DUNHU5HVHUYRLUV0U0DULR0LWFKHOO¶VSURSHUW\ZKLFKLVQRORQJHUD7HVW3URSHUW\
 DVKHVRXJKWGLVPLVVDORIKLVFODLP GLGQRWH[SHULHQFHIORRGLQJDVDUHVXOWRIEDFNZDWHUGXHWRKLJKSRRO
HOHYDWLRQV$WKLJKSRROHOHYDWLRQVWKHUDWHRIULVHGHFUHDVHVVLJQLILFDQWO\GXHWRWKHLQFUHDVHGUHVHUYRLU
FDSDFLWLHVDWVXFKHOHYDWLRQV$VVXFKEDFNZDWHUIORRGLQJXSVWUHDPRIWKHUHVHUYRLUVLVFKDUDFWHUL]HGE\D
JUDGXDOUDWHRIULVH




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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7DEOH6XPPDU\RIWKH$FWXDO+DUYH\5XQ5HVXOWVDW8SVWUHDP7HVW3ODLQWLIIV

                                                                                (OHYDWLRQV IW1$9'                                  0D['HSWK
                                                                                                                                                         )ORRGLQJGXUDWLRQ
                                                       /RZHVW         *DUDJH           /RZHVW            )LUVW               2WKHU       DERYH)LUVW
  3ODLQWLII                                                                                                                                              LQ)LUVW)LQLVKHG
                                                       *UDGH        (OHYDWLRQ        $GMDFHQW         )LQLVKHG             )LQLVKHG   )LQLVKHG)ORRU
                                                                                                                                                                )ORRU
                                                                                       *UDGH            )ORRU                )ORRU          IW 

  /DNHVRQ(OGULGJH                                                                                                               GD\KU

  :LQG.XUW -HDQ                                                                                                      GD\KU

  0LWFKHOO6WHZDUW                                                                                                           GD\KU

  :HVW+RXVWRQ$LUSRUW&RUS                                                                                                       GD\KU

  0LWFKHOO0DULR                                                                                                            GD\KU

  %XUQKDP(OL]DEHWK                                                                                                         GD\KU

  6LGKX.XOZDQW                                                                                                             GD\KU

  7XUQH\5REHUW                                                                                                             GD\KU

  +ROODQG6FRWW                                                                                                             GD\KU

  3RSRYLFL&DWKHULQH                                                                                                         GD\KU

  6RDUHV(OLVLR                                                                                                              GD\KU

  0LFX&KULVWLQD                                                                                                                GD\KU

  *LURQ-XDQ $QQ                                                                                                       GD\KU

  %DQNHU7RGG &KULVWLQD                                                                                                      GD\KU
7KLVSURSHUW\GLGQRWDFWXDOO\IORRGDERYH))(7KHPRGHORYHUHVWLPDWHVWKHZDWHUVXUIDFHHOHYDWLRQVDWWKLVSURSHUW\




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHXSVWUHDPRIWKH$GGLFNVJDWHV $GGLFNVUHVHUYRLU
SRROHOHYDWLRQV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQXSSHU/DQJKDP&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQXSSHU/DQJKDP&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW+&)&'*DJH8BRQ+RUVHSHQ&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                               3DJH




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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQ%HDU&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1149 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQ6RXWK0D\GH&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                              3DJH




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1150 of 1584




)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHXSVWUHDPRI%DUNHUJDWHV %DUNHUUHVHUYRLUSRRO
HOHYDWLRQV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                              3DJH




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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQXSSHU%XIIDOR%D\RX




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW+&)&'*DJH7BRQ0DVRQ&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQ/RZHU/DQJKDP&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                              3DJH




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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQORZHU%XIIDOR%D\RXDW+LJKZD\




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQORZHU%XIIDOR%D\RXDW'DLU\$VKIRUG5RDG




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                              3DJH




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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQORZHU%XIIDOR%D\RXDW%HOWZD\




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                              3DJH




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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW+&)&'*DJH:BRQ5XPPHO&UHHN




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQORZHU%XIIDOR%D\RXDW63LQH\3RLQW5RDG




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW+&)&'*DJH:BRQORZHU%XIIDOR%D\RXDW6DQ)HOLSH6W




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQORZHU%XIIDOR%D\RXDW6KHSKHUG'ULYH JDJH
PHDVXUHPHQWVDUHXQUHOLDEOHEHIRUH 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHG $FWXDO+DUYH\5XQ DQGPHDVXUHG:6(DW86*6*DJHRQ:KLWH2DNV%D\RXDWWKHFRQIOXHQFHZLWKORZHU
%XIIDOR%D\RX JDJHLVORFDWHGRXWVLGHWKH)RFXV$UHD 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW/DNHVRQ(OGULGJH $FWXDO+DUYH\5XQ 
                                                                                                                            $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW              6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                               3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                      )LUVW)ORRU
                                                                                                                                     %$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                  3DJH




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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI:LQG.XUW -HDQ $FWXDO+DUYH\5XQ 
                                                                                                                            $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW              6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                               3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                      )LUVW)ORRU
                                                                                                                                     %$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                    3DJH




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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LWFKHOO6WHZDUW $FWXDO+DUYH\5XQ 
                                                                                                                            $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW              6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                               3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                      )LUVW)ORRU
                                                                                                                                     %$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23            Page 1165 of 1584




)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW:HVW+RXVWRQ$LUSRUW&RUS $FWXDO+DUYH\5XQ 
                                                                                                                            $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW              6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                               3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                      )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23            Page 1166 of 1584




)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LWFKHOO0DULR $FWXDO+DUYH\5XQ 
                                                                                                                            $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW              6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                               3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                      )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23          Page 1167 of 1584




)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%XUQKDP(OL]DEHWK $FWXDO+DUYH\5XQ 
                                                                                                                         $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW               6LPXODWHGGHSWKRI
                                                                                                                            3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                               ZDWHULQ)LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23            Page 1168 of 1584




)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6LGKX.XOZDQW $FWXDO+DUYH\5XQ 
                                                                                                                            $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW              6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                               3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                      )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23            Page 1169 of 1584




)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI7XUQH\5REHUW $FWXDO+DUYH\5XQ 
                                                                                                                            $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW              6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                               3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                      )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23         Page 1170 of 1584




)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+ROODQG6FRWW $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH              6XUYH\HG+:0(OHYDWLRQ                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                      >@ IW1$9'                   ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                  3DJH




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23             Page 1171 of 1584




)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI3RSRYLFL&DWKHULQH $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW             6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                             ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23            Page 1172 of 1584




)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6RDUHV(OLVLR $FWXDO+DUYH\5XQ 
                                                                                                                            $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW              6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                               3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                      )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23            Page 1173 of 1584




)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LFX&KULVWLQD $FWXDO+DUYH\5XQ 
                                                                                                                            $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW              6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                               3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                      )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23            Page 1174 of 1584




)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI*LURQ-XDQ $QQ $FWXDO+DUYH\5XQ 
                                                                                                                            $OOHJHGGHSWKLQILUVWIORRUDVSHU
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW              6LPXODWHGGHSWKRIZDWHULQ
                                                                                                                               3ODLQWLII¶VGHSRVLWLRQ>S
       HOHYDWLRQ IW1$9'                           1$9'                                      )LUVW)ORRU
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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%DQNHU7RGG &KULVWLQD $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH             6XUYH\HG+:0(OHYDWLRQ>@ IW            6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                           1$9'                            ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
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         1R3URMHFW5XQ

7KH1R3URMHFW5XQVLPXODWHVWKH+DUYH\(YHQWXQGHUWKHDVVXPSWLRQWKDWWKHIHGHUDOSURMHFWRQ*RYHUQPHQW
2ZQHG/DQGLVQRWLQSODFH7RSUHSDUHWKHWRSRJUDSK\IRUWKLVUXQWKHIROORZLQJFKDQJHVWRWKH$FWXDO
+DUYH\5XQWRSRJUDSK\ZHUHPDGH
x     $GGLFNVDQG%DUNHUGDPVZHUHUHPRYHG
x     %RUURZDUHDVLQVLGHWKHUHVHUYRLUVZHUHILOOHGWRQDWXUDOHOHYDWLRQV
x     &KDQQHOVRQ*2/ZHUHILOOHGWRQDWXUDOHOHYDWLRQVZLWKLQWKH*2/
x     7KHUHFWLILHGVHFWLRQVRIORZHU%XIIDOR%D\RXDQGORZHU/DQJKDP&UHHNEHORZWKHGDPVZHUHILOOHGWR
      QDWXUDOHOHYDWLRQV
x     7KHVHUDXQUHFWLILHGFRQGLWLRQVIRUORZHU%XIIDOR%D\RXDQGORZHU/DQJKDP&UHHNZHUHUH
      LQWURGXFHG
x     8SSHUWULEXWDULHVZHUHFRQQHFWHGWRORZHUWULEXWDULHVUHSUHVHQWLQJFRQGLWLRQVSULRUWRWKHFRQVWUXFWLRQRIWKH
      GDPVDQGUHVHUYRLUV

5RXJKQHVVDQGK\GURORJLFORVVSDUDPHWHUV GHULYHGIURPODQGXVH ZHUHFRSLHGIURPWKH$FWXDO+DUYH\5XQ
7DEOHDQG7DEOHSUHVHQWVXPPDULHVRIWKH1R3URMHFW5XQUHVXOWVH[WUDFWHGDWXSVWUHDPDQG
GRZQVWUHDP7HVW3ODLQWLIIVUHVSHFWLYHO\)LJXUHWR)LJXUHVKRZVLPXODWHGIUHHZDWHUVXUIDFH
HOHYDWLRQVDWWKHXSVWUHDP7HVW3URSHUWLHVFRPSDULQJWKH1R3URMHFW5XQDQGWKH$FWXDO+DUYH\5XQ7KHVH
ILJXUHVSURYLGHDPHDVXUHRIWKHEHQHILWRIWKHIHGHUDOSURMHFWRQIORRGOHYHOV'RZQVWUHDPRIWKHGDPV
 )LJXUHWR)LJXUH WKHLQFUHDVHLQVLPXODWHGZDWHUVXUIDFHHOHYDWLRQVIRUWKH1R3URMHFW5XQ
 FRPSDUHGWRWKH$FWXDO+DUYH\5XQ DWGRZQVWUHDP7HVW3URSHUWLHVLVDVKLJKDVIW,QDGGLWLRQZDWHU
GHSWKDERYHILUVWILQLVKHGIORRUHOHYDWLRQVGRZQVWUHDPRIWKHGDPVUHDFKHGPRUHWKDQWRIWXQGHUWKH1R
3URMHFW5XQZKLFKLVVXEVWDQWLDOO\KLJKHUWKDQGHSWKVH[SHULHQFHGGXULQJWKH+DUYH\(YHQW7KHVHUHVXOWV
VKRZWKDWWKHIHGHUDOSURMHFWKDVGLVWULEXWHGWKHIORRGLQJDFURVVWKHXSVWUHDPDQGGRZQVWUHDPDUHDVWR
DFKLHYHOHVVVHYHUHFRQGLWLRQVUHGXFLQJULVNWROLIHDQGSURSHUW\'RZQVWUHDPRIWKHGDPVWKHIHGHUDOSURMHFW
 SDUWLFXODUO\WKH$GGLFNVDQG%DUNHUGDPV KDYHGLVWULEXWHGWKHDPRXQWRIIORRGZDWHUSURGXFHGRYHUWKHIHZ
GD\VGXUDWLRQRIWKH+DUYH\(YHQWRYHUDPXFKORQJHUSHULRG IHZZHHNV ZKLFKKDVHIIHFWLYHO\DQG
VLJQLILFDQWO\UHGXFHGWKHGHSWKRIIORRGZDWHUVGRZQVWUHDPRIWKHGDPV

$WDEXODUFRPSDULVRQRIWKH$FWXDO+DUYH\5XQDQGWKH1R3URMHFW5XQLVSUHVHQWHGLQODWHULQ7DEOH




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  %RUURZDUHDVDUHWKRVHZKHUHPDWHULDODUHGXJIRUXVHDWDQRWKHUORFDWLRQ
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  ,QFOXGLQJWKH$GGLFNVDQG%DUNHUGDPSURMHFWWKHORZHU%XIIDOR%D\RXUHFWLILFDWLRQSURMHFWDQGDOORWKHUIHGHUDODSSURYHGFKDQQHO
LPSURYHPHQWV

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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7DEOH6XPPDU\RIWKH1R3URMHFW5XQ5HVXOWVDW8SVWUHDP7HVW3ODLQWLIIV

                                                                       (OHYDWLRQV IW1$9' 
                                                                                                                     0D['HSWKDERYH       )ORRGLQJ
  3ODLQWLII                                       /RZHVW       *DUDJH          /RZHVW           )LUVW     2WKHU      )LUVW)LQLVKHG   GXUDWLRQLQ)LUVW
                                                   *UDGH      (OHYDWLRQ      $GMDFHQW        )LQLVKHG   )LQLVKHG       )ORRU IW      )LQLVKHG)ORRU
                                                                                *UDGH           )ORRU      )ORRU

  0LWFKHOO0DULR                                                                                          GD\KU

  %XUQKDP(OL]DEHWK                                                                                        GD\KU

  0LFX&KULVWLQD                                                                                              GD\KU

  *LURQ-XDQ $QQ                                                                                     GD\KU

                                     Other Upstream Test Plaintiffs do not experience flooding under the No Project Run.




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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7DEOH6XPPDU\RIWKH1R3URMHFW5XQ5HVXOWVDW'RZQVWUHDP7HVW3ODLQWLIIV

                                                                           (OHYDWLRQV IW1$9'                                              )ORRGLQJ
                                                                                                                                0D['HSWK
                                                                                                                                                GXUDWLRQ
                                             /RZHVW           *DUDJH                /RZHVW                )LUVW     2WKHU       DERYH)LUVW
  3ODLQWLII                                                                                                                                   DERYH)LUVW
                                             *UDGH          (OHYDWLRQ            $GMDFHQW             )LQLVKHG   )LQLVKHG      )LQLVKHG
                                                                                                                                                )LQLVKHG
                                                                                    *UDGH                )ORRU      )ORRU       )ORRU IW 
                                                                                                                                                  )ORRU

  $OGUHG9DO /LQGD                                                                                               GD\KU

  *RRG5HVRXUFHV//&                                                                                              GD\KU

  60&,QYHVWPHQW                                                                                                GD\KU

  0LOWRQ$UQROG                                                                                                GD\KU

  6KLSRV-HQQLIHU                                                                                                  GD\KU

  +ROOLV:D\QH                                                                                                    GD\KU

  6LOYHUPDQ3HWHU                                                                                                  GD\KU

  *RGHMRUG6WUDXVH                                                                                                GD\KU

  &XWWV3DXO                                                                                                       GD\KU

  +R%HFN\                                                                                                                               

  %H\RJOX0DKPXW                                                                                                  GD\KU

  $]DU3KLOOLS                                                                                                    GD\KU

  6WDKO7LPRWK\                                                                                                GD\KU

  :HOOLQJ6KDZQ                                                                                                GD\KU
1RWVXUYH\HGEDVHGRQ'(0




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1179 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW/DNHVRQ(OGULGJH $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1180 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI:LQG.XUW -HDQ $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1181 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LWFKHOO6WHZDUW $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1182 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW:HVW+RXVWRQ$LUSRUW&RUS $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1183 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LWFKHOO0DULR $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1184 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%XUQKDP(OL]DEHWK $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1185 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6LGKX.XOZDQW $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1186 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI7XUQH\5REHUW $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1187 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+ROODQG6FRWW $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1188 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI3RSRYLFL&DWKHULQH $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1189 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6RDUHV(OLVLR $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1190 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LFX&KULVWLQD $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1191 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI*LURQ-XDQ $QQ $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%DQNHU7RGG &KULVWLQD $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI$OGUHG9DO /LQGD $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI*RRG5HVRXUFHV//& $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI60&,QYHVWPHQW $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1196 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI0LOWRQ$UQROG $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6KLSRV-HQQLIHU $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1198 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+ROOLV:D\QH $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6LOYHUPDQ3HWHU $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI*RGHMRUG6WUDXVH $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1201 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI&XWWV3DXO $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI+R%HFN\ $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI%H\RJOX0DKPXW $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                              3DJH




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)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI$]DU3KLOOLS $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                              3DJH




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1205 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI6WDKO7LPRWK\ $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1206 of 1584




)LJXUH6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDWWKHSURSHUW\RI:HOOLQJ6KDZQ $FWXDO+DUYH\5XQDQG1R3URMHFW5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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  Case 1:17-cv-09002-LAS                  Document 266-2              Filed 01/10/23   Page 1207 of 1584




     *DWHV&ORVHG5XQ

7KH*DWHV&ORVHG5XQVLPXODWHVWKH+DUYH\(YHQWXQGHUWKHDVVXPSWLRQWKDWQRUHOHDVHVDUHPDGHIURPWKH
GDPV$VVXFKWKLVUXQLVLGHQWLFDOWRWKH$FWXDO+DUYH\5XQH[FHSWWKDWIORZWKURXJKWKHGDPFRQGXLWVZDV
GHDFWLYDWHG7DEOHSUHVHQWVVXPPDULHVRIWKH*DWHV&ORVHG5XQUHVXOWVDWXSVWUHDP7HVW3ODLQWLIIV¶
ORFDWLRQV

:HVLPXODWHGIORRGGHSWKVDERYHILUVWILQLVKHGIORRUVIRUWKHXSVWUHDP7HVW3URSHUWLHVXQGHUWKHK\SRWKHWLFDO
VFHQDULRRIQRUHOHDVHVIURP$GGLFNVDQG%DUNHU5HVHUYRLUVZKLFKLQFUHDVHGLQXQGDWLRQXSWRIWFRPSDUHG
WRIORRGGHSWKVSUHGLFWHGIRUWKHDFWXDOFRQWUROOHGUHOHDVHVFHQDULRGXULQJWKH+DUYH\(YHQW6LPXODWHGIORRG
GXUDWLRQVIRUXSVWUHDP7HVW3URSHUWLHVXQGHUWKLVK\SRWKHWLFDOVFHQDULRDUHPXFKORQJHUWKDQWKHDFWXDO
FRQWUROOHGUHOHDVHVFHQDULR'XULQJWKH+DUYH\(YHQWWKHFRQWUROOHGUHOHDVHVUHGXFHGIORRGGHSWKVDQG
SDUWLFXODUO\IORRGGXUDWLRQVIRUWKHXSVWUHDP7HVW3URSHUWLHVDVFRPSDUHGWRDVFHQDULRZKHUHQRUHOHDVHV
ZHUHPDGH

$WDEXODUFRPSDULVRQRIWKH$FWXDO+DUYH\5XQDQGWKH*DWHV&ORVHG5XQLVSUHVHQWHGLQODWHULQ7DEOH




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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7DEOH6XPPDU\RIWKH*DWHV&ORVHG5XQ5HVXOWVDW8SVWUHDP7HVW3ODLQWLIIV

                                                                 (OHYDWLRQV IW1$9' 
                                                                                                                    0D['HSWKDERYH       )ORRGLQJGXUDWLRQ
  3ODLQWLII                              /RZHVW        *DUDJH          /RZHVW             )LUVW         2WKHU     )LUVW)LQLVKHG)ORRU       DERYH)LUVW
                                          *UDGH       (OHYDWLRQ      $GMDFHQW          )LQLVKHG       )LQLVKHG             IW             )LQLVKHG)ORRU
                                                                        *UDGH             )ORRU          )ORRU

  /DNHVRQ(OGULGJH                                                                                                GD\KU

  :LQG.XUW -HDQ                                                                                        GD\KU

  0LWFKHOO6WHZDUW                                                                                            GD\KU

  :HVW+RXVWRQ$LUSRUW&RUS                                                                                       GD\KU

  0LWFKHOO0DULR                                                                                              GD\KU

  %XUQKDP(OL]DEHWK                                                                                         !GD\KU

  6LGKX.XOZDQW                                                                                             !GD\KU

  7XUQH\5REHUW                                                                                             !GD\KU

  +ROODQG6FRWW                                                                                              !GD\KU

  3RSRYLFL&DWKHULQH                                                                                         !GD\KU

  6RDUHV(OLVLR                                                                                               !GD\KU

  0LFX&KULVWLQD                                                                                                !GD\KU

  *LURQ-XDQ $QQ                                                                                        !GD\KU

  %DQNHU7RGG &KULVWLQD                                                                                      !GD\KU




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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     *DWHV2SHQ5XQ

7KH*DWHV2SHQ5XQVLPXODWHVWKH+DUYH\(YHQWXQGHUWKHDVVXPSWLRQRIXQFRQWUROOHGUHOHDVH PD[LPXP
UHOHDVH IURPWKHGDPV$VVXFKWKLVUXQLVLGHQWLFDOWRWKH$FWXDO+DUYH\5XQH[FHSWWKDWJDWHKHLJKW
RSHQLQJVZHUHPD[LPL]HGIRUERWKGDPV IWLQ$GGLFNVDQGIWLQ%DUNHU 7DEOHSUHVHQWVVXPPDULHVRI
WKH*DWHV&ORVHG5XQUHVXOWVDWXSVWUHDPDQGGRZQVWUHDP7HVW3ODLQWLIIV¶ORFDWLRQV

8SVWUHDPRIWKHUHVHUYRLUVWKHVLPXODWHGZDWHUVXUIDFHHOHYDWLRQV DQGGHSWKRIIORRGZDWHUDERYHWKHILUVW
ILQLVKHGIORRU XQGHUWKHXQFRQWUROOHGUHOHDVHV JDWHVIXOO\RSHQ VFHQDULRDUHWRIWORZHUWKDQWKHDFWXDO
FRQWUROOHGUHOHDVH+DUYH\VFHQDULR

$WDEXODUFRPSDULVRQRIWKH$FWXDO+DUYH\5XQDQGWKH*DWHV2SHQ5XQLVSUHVHQWHGLQODWHULQ7DEOH




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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7DEOH6XPPDU\RIWKH*DWHV2SHQ5XQ5HVXOWVDW8SVWUHDP7HVW3ODLQWLIIV

                                                                        (OHYDWLRQV IW1$9' 
                                                                                                                       0D[LPXP'HSWK        )ORRGGXUDWLRQ
  3ODLQWLII                                    /RZHVW         *DUDJH           /RZHVW            )LUVW     2WKHU        DERYH)LUVW          DERYH)LUVW
                                                *UDGH        (OHYDWLRQ       $GMDFHQW         )LQLVKHG   )LQLVKHG   )LQLVKHG)ORRU IW    )LQLVKHG)ORRU
                                                                                *UDGH            )ORRU      )ORRU

  /DNHVRQ(OGULGJH                                                                                                        

  :LQG.XUW -HDQ                                                                                                

  0LWFKHOO6WHZDUW                                                                                                    

  :HVW+RXVWRQ$LUSRUW&RUS                                                                                                

  0LWFKHOO0DULR                                                                                              GD\KU

  %XUQKDP(OL]DEHWK                                                                                           GD\KU

  6LGKX.XOZDQW                                                                                                GD\KU

  7XUQH\5REHUW                                                                                               GD\KU

  +ROODQG6FRWW                                                                                               GD\KU

  3RSRYLFL&DWKHULQH                                                                                                   

  6RDUHV(OLVLR                                                                                                        

  0LFX&KULVWLQD                                                                                                  GD\KU

  *LURQ-XDQ $QQ                                                                                         GD\KU

  %DQNHU7RGG &KULVWLQD                                                                                               




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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     +DUYH\5HODWHG0RGHO5HVXOWV6XPPDU\

7DEOHVXPPDUL]HVUHVXOWVRI+DUYH\UHODWHGUXQVIRUWKHXSVWUHDP7HVW3ODLQWLIIV0D[LPXPLQXQGDWLRQ
GHSWKVDUHFDOFXODWHGDVWKHGLIIHUHQFHEHWZHHQWKHPD[LPXPVLPXODWHGZDWHUVXUIDFHHOHYDWLRQDQGWKH
HOHYDWLRQRIWKHILUVWILQLVKHGIORRUDWHDFK7HVW3ODLQWLII7KHUHPD\EHVHYHUDOSHULRGVRIIORRGLQJDERYHILUVW
ILQLVKHGIORRUGXULQJWKH+DUYH\(YHQW7KHGXUDWLRQRIIORRGLQJDERYHWKHILUVWILQLVKHGIORRUVKRZQLQWKHWDEOH
LVWKHWRWDOGXUDWLRQIURPWKHVWDUWRIWKHILUVWIORRGLQJSHULRGWRWKHHQGRIWKHODVWIORRGLQJSHULRG




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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7DEOH6XPPDU\RI+DUYH\UHODWHGUXQUHVXOWVIRU8SVWUHDP3ODLQWLIIV

                                                        0D[LPXPGHSWKRILQXQGDWLRQDERYH))( IW                                 'XUDWLRQ KU 
  3ODLQWLII                                           $FWXDO                              *DWHV               *DWHV   $FWXDO                 *DWHV     *DWHV
                                                                       1R3URMHFW                                              1R3URMHFW
                                                       +DUYH\                              &ORVHG             2SHQ    +DUYH\                 &ORVHG   2SHQ

  /DNHVRQ(OGULGJH                                                                                                                 

  :LQG.XUW -HDQ                                                                                                                 

  0LWFKHOO6WHZDUW                                                                                                                 

  :HVW+RXVWRQ$LUSRUW&RUS                                                                                                        

  0LWFKHOO0DULR                                                                                                              

  %XUQKDP(OL]DEHWK                                                                                                  !     

  6LGKX.XOZDQW                                                                                                         !     

  7XUQH\5REHUW                                                                                                         !     

  +ROODQG6FRWW                                                                                                         !      

  3RSRYLFL&DWKHULQH                                                                                                       !      

  6RDUHV(OLVLR                                                                                                            !      

  0LFX&KULVWLQD                                                                                                     !     

  *LURQ-XDQ $QQ                                                                                                   !     

  %DQNHU7RGG &KULVWLQD                                                                                                 !      
$FFRUGLQJWR3ODLQWLII¶VGHSRVLWLRQ>S%$,5'@WKHUHZDVQRIORRGLQJDERYHWKH))(




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        &RQFOXVLRQV
7KHREMHFWLYHRIWKLVK\GUDXOLFVWXG\ZDVWRGHILQHK\GUDXOLFIDFWRUVWKDWUHVXOWHGLQLQXQGDWLRQGXULQJWKH
+DUYH\(YHQWDWXSVWUHDP7HVW3URSHUWLHV7RDGGUHVVWKLVREMHFWLYHZHUHYLHZHGSHUWLQHQWJDJHGDWDDQG
EDFNJURXQGGRFXPHQWV,QDGGLWLRQZHGHYHORSHGDQXPHULFDOPRGHOWRVLPXODWHLQXQGDWLRQGXULQJWKH
+DUYH\(YHQWWRSURYLGHDIXOOGHVFULSWLRQRILQXQGDWLRQLQWLPHDQGVSDFHDQGWRVLPXODWHK\SRWKHWLFDO
VFHQDULRVWRGHILQHDQGRULVRODWHK\GUDXOLFIDFWRUVFRQWULEXWLQJWRLQXQGDWLRQ

+XUULFDQH+DUYH\H[FHHGHG$GGLFNVDQG%DUNHU5HVHUYRLUVK\GUDXOLFGHVLJQFRQGLWLRQV

7KH$GGLFNVDQG%DUNHUGDPVDUHGHVLJQHGIRUVKRUWWHUPLPSRXQGPHQWRIVWRUPZDWHUUXQRII7KH8QLWHG
6WDWHV$UP\&RUSVRI(QJLQHHUV WKH&RUSV GHVLJQHGWKHUHVHUYRLUVEDVHGRQLQIORZK\GURJUDSKVH[FHHGLQJ
WKHHVWLPDWHGUXQRIIGXULQJWKHIORRGZKLFKZDVWKHVWRUPRIUHFRUGDWWKDWWLPH

$IWHUFRQVWUXFWLRQRIWKHGDPVWKHFRQFHSWRI6WDQGDUG3URMHFW)ORRGV 63)V HQWHUHGWKHOH[LFRQ7KH63)LV
WKHIORRGWKDWUHSUHVHQWVWKHPRVWVHYHUHK\GURORJLFFRQGLWLRQVFRQVLGHUHGUHDVRQDEO\FKDUDFWHULVWLFRIWKH
JHRJUDSKLFUHJLRQ7KH63)KDVEHHQUHYLVHGIRUWKHGDPVRYHUWLPH,WZDVGHILQHGLQWKH5HVHUYRLU
5HJXODWLRQ0DQXDODQGPRVWUHFHQWO\XSGDWHGLQWKH+\GURORJ\5HSRUW'XULQJWKH+XUULFDQH+DUYH\
HYHQWWKHFRPELQHGFXPXODWLYHLQIORZVWR$GGLFNVDQG%DUNHU5HVHUYRLUVUHDFKHGDWOHDVWDFUHIHHW
7KLVH[FHHGHGWKH63)FXPXODWLYHLQIORZVE\ LQDGGLWLRQWRH[FHHGLQJWKH63)SHDNLQIORZV
E\WRWLPHV DQGH[FHHGHGWKHUHYLVHG63)FXPXODWLYHLQIORZWR$GGLFNVDQG%DUNHU5HVHUYRLUV E\
7KH+DUYH\(YHQWDOVRH[FHHGHGWKH:DWHU&RQWURO0DQXDO63)ZDWHUVXUIDFHHOHYDWLRQVDQG
UHVXOWHGLQXQFRQWUROOHGVSLOODURXQGWKHQRUWKHQGRI$GGLFNV5HVHUYRLUIRUWKHILUVWWLPHLQWKHKLVWRU\RIWKH
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UHOHDVHVLQDFFRUGDQFHZLWKWKHLQGXFHGVXUFKDUJHUHOHDVHVFKHGXOHIRUWKHILUVWWLPHLQWKHKLVWRU\RIWKHWZR
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7KH+DUYH\(YHQWH[FHHGHGWKHRULJLQDODQGWKHUHYLVHG63)FXPXODWLYHLQIORZVWR$GGLFNVDQG%DUNHU
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FRPELQHGFDSDFLW\DQGGLFWDWLQJVLJQLILFDQWUHOHDVHVIURPWKHUHVHUYRLUV

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H[FHHGHG7KHGLIIHUHQFHLQPDJQLWXGHEHWZHHQWKHUDSLGLQIORZUDWHVDQGWKHUHVWULFWHGRXWIORZUDWHVUHVXOWHG
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     GXULQJWKH+DUYH\(YHQW$VVXFKXSVWUHDPIORRGLQJZDVXQDYRLGDEOH
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     UHTXLUHGUHOHDVHVLQDFFRUGDQFHZLWKWKHLQGXFHGVXUFKDUJHVFKHGXOH$VVXFKGRZQVWUHDPIORRGLQJZDV
     XQDYRLGDEOH

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ZRXOGKDYHUHVXOWHGLQPXFKKLJKHUIORRGLQJWRGRZQVWUHDPSURSHUWLHVLQFOXGLQJWKHGRZQVWUHDP7HVW
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FDSDFLWLHVDWVXFKHOHYDWLRQV$VVXFKEDFNZDWHUIORRGLQJXSVWUHDPRIWKHUHVHUYRLUVLVFKDUDFWHUL]HGE\D
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6LPXODWHGIORRGGXUDWLRQVDWXSVWUHDP7HVW3URSHUWLHVXQGHUWKLVK\SRWKHWLFDOQRUHOHDVHVVFHQDULRDUHPXFK
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>@    - +&)&' /LQGQHU³,PPHGLDWH5HSRUW±)LQDO+XUULFDQH+DUYH\6WRUPDQG)ORRG,QIRUPDWLRQ´
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        -DFLQWR5LYHU%DVLQ7;´

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>@   7KH5)RXQGDWLRQ³7KH53URMHFWIRU6WDWLVWLFDO&RPSXWLQJ´R Foundation for Statistical Computing,
        Vienna, Austria>2QOLQH@$YDLODEOHKWWSVZZZUSURMHFWRUJ

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        KWWSVZHEVRLOVXUYH\QUFVXVGDJRY

>@   86*6³0XOWL5HVROXWLRQ/DQG&KDUDFWHULVWLFV&RQVRUWLXP 05/& ´>2QOLQH@$YDLODEOH
        KWWSVZZZPUOFJRY

>@   &0DWWRFNVDQG&)RUEHV³$UHDOWLPHHYHQWWULJJHUHGVWRUPVXUJHIRUHFDVWLQJV\VWHPIRUWKHVWDWHRI
        1RUWK&DUROLQD´Ocean Model.YROQR±SS±


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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>@   86$&(DQG&35$³0RGHO3HUIRUPDQFH$VVHVVPHQW0HWULFVDQG8QFHUWDLQW\$QDO\VLV´

>@   86'$³6&6  &KDSWHU+\GURORJ\1DWLRQDO(QJLQHHULQJ+DQGERRN´LQNational Engineering
        Handbook.86'$:DVKLQJWRQ'&

>@   86'$³6&6  &KDSWHU+\GURORJ\1DWLRQDO(QJLQHHULQJ+DQGERRN´LQNational Engineering
        Handbook.86'$:DVKLQJWRQ'&

>@   903RQFHDQG5++DZNLQV³5XQRIIFXUYHQXPEHUKDVLWUHDFKHGPDWXULW\"´J. Hydrol. Eng.YRO
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>@   )(0$³+XUULFDQH+DUYH\3UHFLSLWDWLRQDQG6WUHDPIORZ$QDO\VLV´)(0$

>@   97&KRZOpen Channel Hydraulics0F*UDZ+LOO%RRN&RPSDQ\,QF

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        XVLQJREVHUYHGELQDU\SDWWHUQLQIRUPDWLRQZLWKLQ*/8(´Hydrol. Process.YROSS±
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>@   86$&(³$GGLFNV'DP3ODQVIRU&RQVWUXFWLRQRI(PEDQNPHQWDQG2XWOHW:RUNV´:DU'HSDUWPHQW
        &RUSVRI(QJLQHHUV86$UP\

>@   86$&(³%DUNHU'DP3ODQVIRU&RQVWUXFWLRQRI(PEDQNPHQWDQG2XWOHW:RUNV´:DU'HSDUWPHQW
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>@   '2-³6XPPDU\RI7HVW3ODLQWLIIV'HSRVLWLRQV´

>@   )0+HQGHUVRQOpen Channel Flow0DFPLOODQ3XEOLVKLQJ&R,QF

>@   12$$³+XUULFDQH+DUYH\&RVWOLHVW'LVDVWHULQ7H[DV+LVWRU\´>2QOLQH@$YDLODEOH
        KWWSQRDDPDSVDUFJLVFRPDSSV&DVFDGHLQGH[KWPO"DSSLG FFFEIHDDIEI
        >$FFHVVHG0DU@

>@   *'(JEHUWDQG/(URIHHYD³2687LGDO'DWD,QYHUVLRQ´>2QOLQH@$YDLODEOH
        KWWSYRONRYRFHRUVWHGXWLGHV

>@   86'$³3DUW+\GURORJ\&KDSWHU(VWLPDWLRQRI'LUHFW5XQRIIIURP6WRUP5DLQIDOO´LQNational
        Engineering Handbook7KH86'HSDUWPHQWRI$JULFXOWXUH 86'$ 

>@   1$6$³632576KRUWWHUP3UHGLFWLRQ5HVHDUFKDQG7UDQVLWLRQ&HQWHU5HDO7LPH/DQG,QIRUPDWLRQ
        6\VWHP´>2QOLQH@$YDLODEOHKWWSVZHDWKHUPVIFQDVDJRYVSRUWPRGHOLQJOLVKWPO




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                            $GGLFNVDQG%DUNHU'LVFKDUJH(TXDWLRQV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
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$ $GGLFNVDQG%DUNHU2XWOHWV

$ ,QWURGXFWLRQ

7KH$GGLFNVDQG%DUNHU5HVHUYRLUVLQFOXGHFRQWUROOHGYDULDEOHKHLJKWJDWHV(DFKUHVHUYRLURXWOHWLVHTXLSSHG
ZLWKILYHJDWHGFRQGXLWV PLGGOHFRQGXLWLQFOXGHVJDWHV )LJXUHV$DQG$VKRZDHULDOYLHZVRI$GGLFNV
DQG%DUNHURXWOHWVUHVSHFWLYHO\




)LJXUH$$HULDOYLHZRIWKH$GGLFNV5HVHUYRLUJDWHV6RXUFH,PDJHU\*RRJOH




)LJXUH$$HULDOYLHZRIWKH%DUNHU5HVHUYRLUJDWHV6RXUFH,PDJHU\*RRJOH




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH$7KH%DUNHUJDWHRXWOHWFKDQQHOVKRZLQJFRQGXLWV6RXUFH,PDJHU\*RRJOH

,QERWKUHVHUYRLUVWKHXSVWUHDPVLGHRIWKHRXWOHWLQFOXGHVWZRZDWHUHOHYDWLRQVHQVRUVDUDGDUVHQVRUDQGD
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WKHGRZQVWUHDPVLGHLVFKDUDFWHUL]HGE\DQH[SDQGLQJFKDQQHOZLWKIORZJDJHVGRZQVWUHDPRIWKHRXWOHW
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$8SVWUHDP5HVHUYRLU*DJH6WDWLRQ 86*6 

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PHDVXUHGGLVFKDUJHVGRZQVWUHDPRI,ZKLFKLVVRPHPGRZQVWUHDPRIWKHRXWOHW

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$8SVWUHDP5HVHUYRLU*DJH6WDWLRQ 86*6 

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WKHVHPHDVXUHPHQWVWKHJDJHVWDWLRQUHSRUWVSUHFLSLWDWLRQDQGWKHHVWLPDWHGUHVHUYRLUVWRUDJHYROXPH

$'RZQVWUHDP5HVHUYRLU*DJH6WDWLRQ 86*6 

7KHGRZQVWUHDPUHVHUYRLUJDJHVWDWLRQLVDVWDJHPHDVXUHPHQWVWDWLRQORFDWHGDWWKHGRZQVWUHDPVLGHRI
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)LJXUH$$HULDOYLHZRIWKHHDVWVLGHRI+LJKZD\6RXUFH*RRJOH,PDJHU\

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,QIRUPDWLRQDERXWJDWHRSHUDWLRQVZDVSURYLGHGE\WKH86$UP\&RUSVRI(QJLQHHUV &RUSV LQWKHIRUPRIIRXU
VSUHDGVKHHWV7KHVSUHDGVKHHWVGHVFULEHWKHHTXDWLRQVXVHGWRFDOFXODWHIORZWKURXJKWKHJDWHVGHSHQGLQJ
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   %DUNHU)<0RUQUHSRUWV+U[OVP XQVXEPHUJHGDQGKHDGZDWHUVXEPHUJHGFRQGLWLRQV >@
   $'',&.65$7,1*[OV[ WDLOZDWHUVXEPHUJHGFRQGLWLRQV >@
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,QHDFKVSUHDGVKHHWILYHJDWHVDUHXVHGWRUHSUHVHQWWKHDUUD\RIJDWHVLQHDFKUHVHUYRLU$OOTXDQWLWLHVDUHLQ
866WDQGDUG8QLWV

$QKRXUO\WLPHVHULHVRIWKHRSHQLQJKHLJKWRIHDFKJDWHLVSURYLGHGLQVSUHDGVKHHWVDQG7KHVHWLPH
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$ 'LVFKDUJH(TXDWLRQV

7KHHTXDWLRQVWKDWFDOFXODWHWKHIORZVWKURXJKWKHJDWHVDUHGLIIHUHQWIRU$GGLFNVDQGIRU%DUNHU7KHUHDUH
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 8QVXEPHUJHG)ORZ QRVXEPHUJHQFHRIWKHKHDGZDWHURUWKHWDLOZDWHU 
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               ‫  ீܮ‬/HQJWKRIWKHFRQGXLWWKURXJKWKHJDWH>IW@  

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP            &RPPHUFLDOLQ&RQILGHQFH


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               ‫  ீܪ‬0D[LPXPKHLJKWRIWKHJDWHRSHQLQJ>IWDERYHLQYHUW@  

               ‫ܪ‬ை  +HLJKWRIWKHJDWHRSHQLQJ>IWDERYHLQYHUW@  

               ‫ ܹܪ‬+HDGZDWHUHOHYDWLRQ>IWDERYH1$9'@

               ܹܶ 7DLOZDWHUHOHYDWLRQ>IWDERYH1$9'@

               ݃ *UDYLWDWLRQDOFRQVWDQW>IWV@  

$ %DUNHU)ORZ(TXDWLRQV

$8QVXEPHUJHG)ORZ

(TXDWLRQZLWKWKHIROORZLQJFRQVWDQWV

‫ܥ‬ଵ  &RHIILFLHQW>@  

‫ܪ‬௜௡௩௘௥௧  *DWHLQYHUWHOHYDWLRQ>IWDERYH1$9'@  

$+HDGZDWHU6XEPHUJHG)ORZ

(TXDWLRQZLWKWKHIROORZLQJFRQVWDQWV

‫ܥ‬ଶ  &RHIILFLHQW>@  

‫ܥ‬ଷ  &RHIILFLHQW>@  

ܹீ  :LGWKRIWKHVLQJOHJDWH>IW@  

‫ܪ‬ை  +HLJKWRIWKHJDWHRSHQLQJ>IWDERYHLQYHUW@>@

‫ܪ‬௜௡௩௘௥௧  *DWHLQYHUWHOHYDWLRQ>IWDERYH1$9'@  

$7DLOZDWHU6XEPHUJHG)ORZ

7DLOZDWHUVXEPHUJHGIORZRFFXUVZKHQWKHKHDGZDWHULVVXEPHUJHGDQGWKHWDLOZDWHUUHDFKHVDWOHDVWDVKLJK
DVRIWKHJDWHRSHQLQJKHLJKW(TXDWLRQVKRZVWKHVWDQGDUGIRUPRIWKHW\SLFDORULILFHIORZHTXDWLRQZLWK
DFDOLEUDWHGGLVFKDUJHFRHIILFLHQW



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               ܳ &DOFXODWHGIORZUDWHWKURXJKDVLQJOHJDWH>FIV@

               ‫ܥ‬஽  'LVFKDUJHFRHIILFLHQW>@ 6HH/RRNXS7DEOHV 

               ܹீ  :LGWKRIWKHVLQJOHJDWH>IW@  

               ‫ܪ‬ை  +HLJKWRIWKHJDWHRSHQLQJ>IWDERYHLQYHUW@  

               ‫ ܹܪ‬+HDGZDWHUHOHYDWLRQ>IWDERYH1$9'@

               ܹܶ 7DLOZDWHUHOHYDWLRQ>IWDERYH1$9'@

               ݃ *UDYLWDWLRQDOFRQVWDQW>IWV@  



$ /RRNXS7DEOHV

/RRNXS7DEOHVIRUWKH&2DQGWKH&'SDUDPHWHUVZHUHH[WUDFWHGIURPWKHVSUHDGVKHHWVSURYLGHGE\WKH&RUSV

7DEOH/RRNXS7DEOHV

       $GGLFNV*DWH                    2ULILFH/RVV          %DUNHU*DWH2SHQLQJ          'LVFKDUJH
      2SHQLQJ5DWLR>@             &RHIILFLHQW&2>@            5DWLR>@           &RHIILFLHQW&'>@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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      $GGLFNV*DWH                   2ULILFH/RVV            %DUNHU*DWH2SHQLQJ          'LVFKDUJH
     2SHQLQJ5DWLR>@             &RHIILFLHQW&2>@             5DWLR>@           &RHIILFLHQW&'>@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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      $GGLFNV*DWH                   2ULILFH/RVV            %DUNHU*DWH2SHQLQJ              'LVFKDUJH
     2SHQLQJ5DWLR>@             &RHIILFLHQW&2>@             5DWLR>@           &RHIILFLHQW&'>@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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      $GGLFNV*DWH                   2ULILFH/RVV            %DUNHU*DWH2SHQLQJ          'LVFKDUJH
     2SHQLQJ5DWLR>@             &RHIILFLHQW&2>@             5DWLR>@           &RHIILFLHQW&'>@

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$ *DWH)ORZ&DOFXODWLRQV

7KH:&0IORZHTXDWLRQZDVWHVWHGIRUWKH0HPRULDO'D\  DQG7D['D\  IORRGVZKHUHQR
WDLOZDWHUVXEPHUJHQFHRFFXUUHG7KHUHVXOWVDUHVKRZQEHORZ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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'U5RE1DLUQ&9([SHUW:LWQHVV([SHULHQFHDQG

&RPSHQVDWLRQ




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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% 'U5RE1DLUQ&9

% 3URILOH
'U1DLUQLVDUHFRJQL]HGULYHUDQGFRDVWDOHQJLQHHULQJH[SHUWZLWK\HDUV¶H[SHULHQFHRQK\GURG\QDPLFVVHGLPHQW
WUDQVSRUWDQGVFRXUSURFHVVHVLQZDWHUVKHGVULYHUVHVWXDULHVODNHVFRDVWVDQGRFHDQV'U1DLUQLVUHVSRQVLEOHIRUD
UDQJHRIFRDVWDO]RQHSODQQLQJPDQDJHPHQWDQGHQJLQHHULQJLQYHVWLJDWLRQVQXPHULFDODQGSK\VLFDOPRGHOOLQJDQGGHVLJQ
SURMHFWV+HLVD3ULQFLSDORI%DLUG $VVRFLDWHV'U1DLUQKDVPDQDJHGPDQ\RI%DLUG¶VLQWHUQDWLRQDOSURMHFWVLQWKH
0LGGOH(DVWWKH&DULEEHDQ&HQWUDODQG6RXWK$PHULFD$IULFD$VLDDQG(XURSH


% (GXFDWLRQ
       3K'LQ&RDVWDO3URFHVVHVDQG(QJLQHHULQJ,PSHULDO&ROOHJHRI6FLHQFH7HFKQRORJ\DQG0HGLFLQH
         /RQGRQ(QJODQG
       06F 5HVHDUFK LQ&RDVWDO(QJLQHHULQJ4XHHQ V8QLYHUVLW\.LQJVWRQ2QWDULR
       %6F)LUVW&ODVV+RQRXUVLQ&LYLO(QJLQHHULQJ4XHHQ V8QLYHUVLW\.LQJVWRQ2QWDULR

% 3URIHVVLRQDO$IILOLDWLRQV
       5HJLVWHUHG3URIHVVLRQDO(QJLQHHU3URIHVVLRQDO(QJLQHHUVRI2QWDULR 3(2 
       $VVRFLDWH0HPEHU&DQDGLDQ6RFLHW\RI&LYLO(QJLQHHULQJ &6&( 
       $VVRFLDWH0HPEHU2QWDULR6RFLHW\RI3URIHVVLRQDO(QJLQHHUV 263( 
       $PHULFDQ6KRUHDQG%HDFK3UHVHUYDWLRQ$VVRFLDWLRQ
       &DQDGLDQ&RDVWDO6FLHQFHDQG(QJLQHHULQJ$VVRFLDWLRQ 
       &HQWUDO'UHGJLQJ$VVRFLDWLRQ &('$ 

% ([SHULHQFH

0LG%UHWRQ6HGLPHQW'LYHUVLRQ
6RXWKHDVW/RXLVLDQD SUHVHQW 
'U1DLUQLVWKH+\GUDXOLF(QJLQHHULQJ/HDGRQWKLVSURMHFWDQG%DLUG¶VVHQLRUWHFKQLFDOUHYLHZHU7KHSURMHFWLQYROYHVWKH
GHVLJQRIDFIVGLYHUVLRQIURPWKH/RZHU0LVVLVVLSSL5LYHUEHORZ1HZ2UOHDQVLQWR%UHWRQ6RXQG7KHGLYHUVLRQZLOO
ELVHFWWKHULYHUDQGEDFNOHYHHV\VWHPWRGHOLYHUVHGLPHQWWRUHVWRUHZHWODQGVDQGEXLOGODQGZLWKLQ%UHWRQ6RXQG'U1DLUQ
LVOHDGLQJ%DLUG¶VHIIRUWVRQWKHGHVLJQRIWKLVPLOOLRQUHVWRUDWLRQSURMHFW%DLUGLVDSSO\LQJDZLGHUDQJHRIQXPHULFDO
PRGHOVRQWKHSURMHFWWRHYDOXDWHWKHSHUIRUPDQFHRIWKHGLYHUVLRQLQWHUPVRIIORZFRQYH\DQFHDQGVHGLPHQWGHOLYHU\DQG
WRVXSSRUWGHVLJQGHYHORSPHQWRIWKHLQOHWJDWHVFRQYH\DQFHFKDQQHODQGRXWIDOO%DLUG¶VDFWLYLWLHVXQGHU'U1DLUQ¶V
GLUHFWLRQLQFOXGHSODQQLQJRIILHOGZRUNDQGDQDO\VLVRIILHOGGDWDLQFOXGLQJ$'&3GDWD/,667DQGWXUELGLW\GDWDZDWHU
VDPSOHVEHGVDPSOHVDQGPXOWLEHDPVXUYH\VWRHYDOXDWHIORZVEHGDQGVXVSHQGHGORDGWUDQVSRUW'U1DLUQLVDOVR
OHDGLQJ%DLUG¶VWHDPLQWKHDSSOLFDWLRQRIDZLGHUDQJHRIQXPHULFDOPRGHOVLQFOXGLQJ+(&5$60,.()/2:'
'HOIW'7(/(0$&$'&,5&DQGRXULQKRXVH'PRGHO0,6('7KHPRGHOOLQJDOVRLQFOXGHVDQHYDOXDWLRQRIVWRUP
VXUJHLPSDFWVIURPKXUULFDQHVRQWKH*XOI&RDVW




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
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/RZHU&KXUFKLOO5LYHUDQG0HOYLOOH/DNH0HUFXU\&RQWDPLQDWLRQ
/RZHU&KXUFKLOO5LYHU1HZIRXQGODQG 
'U1DLUQLVWKH%DLUG6HQLRU7HFKQLFDO$GYLVRUIRUWKLVSURMHFWWRHYDOXDWHWKHLPSDFWRIPHWK\OPHUFXU\WUDQVSRUWIURPWKH
/RZHU&KXUFKLOO)DOOV'DPUHVHUYRLULQWR*RRVH%D\/DNH0HOYLOOHDQGWKH1RUWK$WODQWLF'U1DLUQUHYLHZHG%DLUG¶VGDWD
DQDO\VLVHIIRUWVLQVXSSRUWRIGHYHORSPHQWRILQSXWDQGFDOLEUDWLRQGDWDIRUWKHLUPRGHOOLQJ%DLUGPRGHOOLQJXQGHUWKHUHYLHZ
RI'U1DLUQLQFOXGHGZDWHUVKHGPRGHOOLQJDQGDQDO\VLVIRUDOORIWKHZDWHUVKHGVWR*RRVH%D\DQG/DNH0HOYLOOHDQG
GHWDLOHG'HOIW'PRGHOOLQJRIK\GURG\QDPLFVVDOLQLW\WHPSHUDWXUHDQGFRQWDPLQDQWWUDQVSRUWIURPWKH/RZHU&KXUFKLOO
5LYHULQWRWKH1RUWK$WODQWLF

+DUPIXO$OJDO%ORRP$FWLRQ3ODQV1HZ<RUN6WDWH/DNHV
1HZ<RUN SUHVHQW 
'U1DLUQLVWKH%DLUG6HQLRU7HFKQLFDO$GYLVRUIRUWKLVSURMHFWWRHYDOXDWHWKHFDXVHRIKDUPIXODOJDOEORRPVRQ1HZ
<RUN6WDWHODNHVDQGWRGHYHORS$FWLRQ3ODQVIRUWKHUHKDELOLWDWLRQRIWKHVHODNHVWRUHGXFHWKHULVNRIIXWXUHDOJDOEORRPV
7KHODNHVLQFOXGHGVHYHUDO)LQJHU/DNHVLQFOXGLQJ/DNH*HRUJHDQG/DNH&KDPSODLQ'U1DLUQKDGRYHUDOOUHVSRQVLELOLW\
IRU%DLUG¶VUROHLQUHYLHZLQJZDWHUVKHGULYHUDQGODNHGDWDRQIORZVVHGLPHQWDQGQXWULHQWWUDQVSRUWLQWRWKHWKLUWHHQODNHV
$ZLGHUDQJHRIQXPHULFDOPRGHOVRIZDWHUVKHGULYHUDQGODNHSURFHVVHVIRUWKHWKLUWHHQODNHVDQGWKHLUUHVSHFWLYH
ZDWHUVKHGVZHUHUHYLHZHG%DLUGDOVRFRPSOHWHGH[WHQVLYHUHPRWHVHQVLQJDQDO\VLVRIZDWHUVKHGDQGODNHFRQGLWLRQV
LQFOXGLQJ&KORURSK\OODPDSSLQJWRHYDOXDWHDOJDOEORRPVRQWKHODNHV'U1DLUQFRRUGLQDWHG%DLUG¶VFRQWULEXWLRQVWRDFWLRQ
SODQVIRUUHVWRUDWLRQRIWKHODNHVDQGWKHLUUHVSHFWLYHZDWHUVKHGVWRUHGXFHWKHULVNRIIXWXUHKDUPIXODOJDOEORRPV

)ORRGLQJRI1HZ<RUN&LW\%XLOGLQJV'XULQJ+XUULFDQH6DQG\
1HZ<RUN SUHVHQW 
%DLUGDQG'U1DLUQKDYHEHHQUHWDLQHGWRUHYLHZQXPHULFDOPRGHOOLQJRIIORRGLQXQGDWLRQDVVRFLDWHGZLWKH[SHUWZLWQHVV
WHVWLPRQ\IRUWKLVFRQILGHQWLDOFOLHQW7KHPRGHOOLQJLQFOXGHVRYHUODQGIORZGXHWRVWRUPVXUJHDQGIORZLQWRDVHULHVRI
LQWHUFRQQHFWEDVHPHQWVRYHUD&LW\EORFN7KHUHYLHZLQFOXGHVERWKDQDVVHVVPHQWRIWKHPRGHOLQSXWVRXWSXWVDQG
DVVXPSWLRQVDQGFRPSDULVRQWRGDWDFROOHFWHGGXULQJWKHHYHQW8QGHU'U1DLUQ¶VGLUHFWLRQ%DLUGDOVRFRPSOHWHG
LQGHSHQGHQWPRGHOOLQJRIWKHLQXQGDWLRQRIWKHEXLOGLQJVGXULQJ+XUULFDQH6DQG\

(DVW6DQGXVN\%D\:HWODQG5HVWRUDWLRQ3URMHFWDQG6DQGXVN\%D\5HVWRUDWLRQ3ODQ
6DQGXVN\2KLR SUHVHQW 
'U1DLUQLVWKH%DLUG6HQLRU7HFKQLFDO$GYLVRUIRUWKLVSURMHFWWRUHVWRUHZHWODQGVWR(DVW6DQGXVN\%D\%DLUGDUHD
VXEFRQVXOWDQWWRWKLV&LW\RI6DQGXVN\SURMHFWIXQGHGE\WKH2KLR'15%DLUG¶VUROHLQFOXGHVFKDUDFWHUL]DWLRQRIWKH
K\GURORJLFK\GURG\QDPLFDQGVHGLPHQWRORJLFSURFHVVHVWKDWDUHUHOHYDQWWRERWKWKHKLVWRULFGLVDSSHDUDQFHDQGUHVWRUDWLRQ
RIWKH3XWQDP0DUVKFRPSOH[%DLUGDUHXQGHUWDNLQJILHOGZRUNQXPHULFDOPRGHORIWKHZDWHUVKHGDQGED\FRQWULEXWLRQWR
FRQFHSWGHYHORSPHQWDQGGHYHORSPHQWRIGHVLJQGRFXPHQWVIRUWKHVROXWLRQ'U1DLUQZDVDOVRWKHVHQLRUWHFKQLFDO
UHYLHZHUDW%DLUGIRUDVHFRQGSURMHFWRQ6DQGXVN\%D\LQYROYLQJWKHGHYHORSPHQWRIDVWUDWHJLFUHVWRUDWLRQSODQIRUWKH
/RZHU6DQGXVN\5LYHUDQG6DQGXVN\%D\LQYROYLQJWKHEHQHILFLDOXVHRIVHGLPHQWWRUHVWRUHZHWODQGVWRWKHZLGHED\DUHD
WRWUDSVHGLPHQWDQGQXWULHQWVEHIRUHWKH\UHDFKWKHZHVWHUQEDVLQRI/DNH(ULH

)R[5LYHU3&%&RQWDPLQDWLRQ:LVFRQVLQ
)R[5LYHU:LVFRQVLQ  
'U1DLUQZDVUHWDLQHGDVDUHEXWWDOH[SHUWZLWQHVVLQWKLVOLWLJDWLRQLQYROYLQJ3&%FRQWDPLQDWLRQRIWKH)R[5LYHU,QWKLVUROH
'U1DLUQUHYLHZHGSUHYLRXVUHSRUWVRQWKHPRGHOOLQJRIK\GURORJLFK\GURG\QDPLFVHGLPHQWWUDQVSRUWDQGFRQWDPLQDQW
WUDQVSRUWSURFHVVHVRYHUD\HDUSHULRGGDWLQJEDFNWKHV'U1DLUQDOVRUHYLHZHGDZLGHUDQJHRIGDWDUHSRUWVDQG
DQDO\VHVLQVXSSRUWRIWKHHYDOXDWLRQRI3&%IDWHDQGWUDQVSRUW'U1DLUQPDQDJHGDWHDPRIVFLHQWLVWVDQGPRGHOHUVDW
%DLUGLQWKHWHVWLQJDQGVLPXODWLRQRIIDWHDQGWUDQVSRUWSURFHVVHVRQWKH)R[5LYHU
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP            &RPPHUFLDOLQ&RQILGHQFH


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8QGHU$UPRXU:RUOG+HDGTXDUWHUV
%DOWLPRUH+DUERU0DU\ODQG  
'U1DLUQZDVWKH%DLUG3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRUDOOK\GURORJLFDQGFRDVWDOHQJLQHHULQJUHODWHG
WRWKHGHYHORSPHQWRI8QGHU$UPRXU¶VQHZDFUHJOREDOKHDGTXDUWHUVDW3RUW&RYLQJWRQLQ%DOWLPRUH+DUERU0DU\ODQG
7KHSURMHFWLQFOXGHGDQDO\VLVDQGGHVLJQRIVHYHUDOQHZZDWHUIURQWHOHPHQWVLQFOXGLQJDIWORQJPDUJLQDOZKDUID
IWORQJOLYLQJVKRUHOLQHDDFUHPDQPDGHODNHDQHZFRROLQJZDWHULQWDNHDQGDELRZHLURXWIDOOVWUXFWXUH%DLUGZDV
UHVSRQVLEOHIRUWHFKQLFDODQDO\VHVWRVXSSRUWGHVLJQRIDOOZDWHUIURQWHOHPHQWVLQFOXGLQJDVVHVVPHQWRIIORRGULVNGXHWR
KXUULFDQHJHQHUDWHGVWRUPVXUJHZDYHUXQXSDQGRYHUWRSSLQJDVZHOODVSRWHQWLDOIXWXUHVHDOHYHOULVH%DLUGSURYLGHG
UHFRPPHQGDWLRQVIRUEXLOGLQJILUVWIORRUHOHYDWLRQVZKDUIGHFNHOHYDWLRQVDQGVKRUHSURWHFWLRQFUHVWHOHYDWLRQV%DLUGZDV
DOVRUHVSRQVLEOHIRUWKHGHVLJQRIDFRROLQJZDWHUV\VWHPLQFOXGLQJPRGHOLQJDQGFRPSOLDQFHDQDO\VHVRIWKHLQWDNH
VWUXFWXUHDWKUHHǦDFUHPDQPDGHODNHIRULQLWLDOFRROLQJDQGWZRWKHUPDOGLVFKDUJHVWUXFWXUHV

%D\RX/DIRXUFKH3XPS6WDWLRQDQG'LYHUVLRQ
'RQDOGVRQYLOOH/RZHU0LVVLVVLSSL5LYHU SUHVHQW 
'U1DLUQLVWKH%DLUG3URMHFW0DQDJHUIRUWKLVSURMHFWWRLQFUHDVHWKHSXPSVWDWLRQFDSDFLW\WKDWVXSSOLHVZDWHUIURPWKH
0LVVLVVLSSL5LYHUWR%D\RX/DIRXUFKH%DLUG¶VUROHRQWKHSURMHFWFRQVLVWRIZDWHUDQGVHGLPHQWPDQDJHPHQWRQWKHULYHU
DQGED\RXVLGHVRIWKHSURMHFW%DLUGKDVFRRUGLQDWHGILHOGVXUYH\VLQFOXGLQJ$'&3WXUELGLW\JDJHVEHGDQGZDWHU
VHGLPHQWVDPSOLQJDQGEDWK\PHWU\$'K\GURG\QDPLFVHGLPHQWWUDQVSRUWDQGPRUSKRORJLFPRGHORIWKHULYHUZDV
GHYHORSHGDQGDSSOLHGDQGOLQNHGWRD+(&5$6PRGHORIWKHED\RXWRVXSSRUWHYDOXDWLRQRIGLIIHUHQWDOWHUQDWLYHVIRU
VHGLPHQWDQGGHEULVPDQDJHPHQWLQWKHULYHUDQGRQWKHED\RX

-DYLWV&HQWHU([SDQVLRQ±)ORRG'\QDPLFV0RGHOLQJ
1HZ<RUN&LW\  
'U1DLUQZDVWKH%DLUG3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHURQWKLVSURMHFWWRLQYHVWLJDWHSRWHQWLDOLPSDFWVRI
WKHSURSRVHGH[SDQVLRQRIWKH-DYLWV&HQWHUORFDWHGRQWK$YHQXHLQ1HZ<RUN&LW\RQIORRGG\QDPLFVDURXQGLWV
QHLJKERULQJ/LQFROQ7XQQHO9HQWLODWLRQ%XLOGLQJ%DLUGZDVUHWDLQHGWRDVVHVVWKHLPSDFWWKDWWKH&HQWHU¶VQHZDQQH[
ZRXOGKDYHRQIORRGOHYHOVDWWKHYHQWLODWLRQEXLOGLQJDQGFRQGXFWHGIORRGVLPXODWLRQVWRVLPXODWHRYHUODQGIORRGIORZDWWKH
VLWHLQFOXGLQJLQXQGDWLRQVDVVRFLDWHGZLWKWKHDQG\HDUIORRGHYHQWVIRUERWKWKHH[LVWLQJDQGSRVW
H[SDQVLRQFRQGLWLRQVWKHODWWHUXQGHUYDULRXVIXWXUHVHDOHYHOULVHVFHQDULRV

&KDQJLQJ&RXUVH'HVLJQ&RPSHWLWLRQ
3RVVLEOH5H$OLJQPHQWRIWKH/RZHU0LVVLVVLSSL5LYHU  
,Q6HSWHPEHU%DLUGZDVVHOHFWHGDVDZLQQLQJWHDPDPRQJJOREDOFRPSHWLWRUVLQWKH&KDQJLQJ&RXUVH'HVLJQ
&RPSHWLWLRQ'U1DLUQZDVWKH%DLUG7HDPOHDGHUDQGRIDQLQWHUGLVFLSOLQDU\WHDPRIOHDGLQJUHJLRQDODQGQDWLRQDO
VSHFLDOLVWV LQFOXGLQJDUHDVRIGHOWDDQGEDUULHULVODQGJHRPRUSKRORJ\VHDOHYHOULVHDQGVXEVLGHQFHHVWXDULQHSURFHVVHV
ZHWODQGVPDUVKEXLOGLQJILVKHULHVR\VWHUVQDYLJDWLRQIORRGULVNUHGXFWLRQDQGVRFLRHFRQRPLFIDFWRUV LQWKHGHYHORSPHQW
RILQQRYDWLYHVROXWLRQVWRWKHODQGORVVSUREOHPLQWKH0LVVLVVLSSL5LYHUGHOWDDVVRFLDWHGZLWKUHDOLJQPHQWRIWKHULYHUPRXWK
7KHWHDP VZRUNLQFOXGHGDZLGHUDQJHRIDQDO\VLVLQFOXGLQJQXPHULFDOPRGHOLQJRIULYHUIORRGLQJVWRUPVXUJH
K\GURG\QDPLFVHVWXDULQHVDOLQLW\VHGLPHQWWUDQVSRUWDQGGHOWDEXLOGLQJDQGQDYLJDWLRQVLPXODWLRQV'HWDLOHGUHYLHZVRI
PDUVKEXLOGLQJDQGR\VWHUUHHIUHVWRUDWLRQZHUHDOVRFRQVLGHUHGLQWKHGHYHORSPHQWRIWKHVROXWLRQ

&RDVWDO5LVN$VVHVVPHQWDQG0DQDJHPHQW3URJUDP
%DUEDGRV  
'U1DLUQZDVWKHOHDGWHFKQLFDOUHYLHZHURIDVHGLPHQWWUDQVSRUWVWXG\WRDVVHVVVHDOOHYHOULVHLPSDFWVRQEHDFKHVDURXQG
%DUEDGRVDVSDUWRIWKH&RDVWDO5LVN$VVHVVPHQWDQG0DQDJHPHQW3URJUDP7KHVWXG\LQYROYHGDQLVODQGZLGH
DVVHVVPHQWRIXQGHUZDWHUKDELWDWFRQGLWLRQVLQUHODWLRQWRFDUERQDWHVHGLPHQWSURGXFWLRQSRWHQWLDOSURYLGLQJWKHQDWXUDO
VXSSO\RIEHDFKPDWHULDO$PXOWLFRPSRQHQWEHDFKVHGLPHQWEXGJHWSUHGLFWLRQPRGHOZDVGHYHORSHGWKDWIRUPXODWHVWKH
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP            &RPPHUFLDOLQ&RQILGHQFH


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EDODQFHEHWZHHQVXSSO\DQGORVVRIVHGLPHQWIRULQGLYLGXDOEHDFKHVXQGHUIXWXUHVHDOHYHOULVHVFHQDULRV7KHPRGHOZLOO
VHUYHDVDPDQDJHPHQWWRROIRUWKH&RDVWDO=RQH0DQDJHPHQW8QLWWRXQGHUVWDQGWUHQGVDQGULVNVKLJKOLJKWNH\IXWXUH
LVVXHVFKDOOHQJHVDQGVXSSRUWEHDFKPDQDJHPHQWDFWLRQVRYHUDSODQQLQJKRUL]RQRIWR\HDUV

/D3DVWRUD5LYHUEDQN3URWHFWLRQ
3HXUWR0ROGDQDGR3HUX  
'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRU%DLUG¶VGHVLJQRIWKLVULYHUEDQNSURWHFWLRQSURMHFWWR
SURWHFWDKLJKZD\LQ3HUX6HYHUHULYHUEDQNHURVLRQZDVWKUHDWHQLQJDSULPDU\KLJKZD\DWDEHQGLQWKH/D3DVWRUD5LYHULQ
3XHUWR0ROGDQDGR3HUX%DLUGZDVUHVSRQVLEOHIRUGHVLJQGHYHORSPHQWRQWKLVPLOOLRQGHVLJQEXLOGSURMHFWFRQVLVWLQJ
RIVWHHOVKHHWSLOHEHQGZD\ZHLUVSURWHFWLQJNPRIULYHUEDQNFRPSOHWHGLQ%DLUG¶VDFWLYLWLHVXQGHU'U1DLUQ¶V
RYHUVLJKWLQFOXGHGUHYLHZRISK\VLFDOPRGHOLQJRIWKHSURWHFWLRQV\VWHPPDQDJHPHQWRIILHOGPHDVXUHPHQWVRIIORZVDQG
EDWK\PHWULFFKDQJHDQG'QXPHULFDOPRGHOLQJRIK\GURG\QDPLFVVHGLPHQWWUDQVSRUWDQGPRUSKRG\QDPLFVDOOLQVXSSRUW
RIGHVLJQGHYHORSPHQW

'XTP3RUW%DVLQ&KDQQHO6HGLPHQWDWLRQ$VVHVVPHQW
'XTP2PDQ  
'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRUWKLVDVVHVVPHQWRIFKDQQHOVHGLPHQWDWLRQDWWKH
QHZSRUWRI'XTPRQWKH,QGLDQ2FHDQ7KHSURMHFWLQYROYHVH[WHQVLYHILHOGZRUNXQGHUWKHGLUHFWLRQRI%DLUGDQG
K\GURG\QDPLFPRUSKRORJLFQXPHULFDOPRGHOLQJRIVHGLPHQWDWLRQSURFHVVHV

.DODPD]RR5LYHU6XSHUIXQG6LWH,QYHVWLJDWLRQV
.DODPD]RR5LYHU0,86$  
'U1DLUQZDVWKHOHDGH[SHUWZLWQHVVIRUWKHGHYHORSPHQWDQGDSSOLFDWLRQRI3&%)DWHDQG7UDQVSRUWPRGHOLQFOXGLQJ
ZDWHUVKHGK\GURG\QDPLFVHGLPHQWWUDQVSRUWPRUSKRORJLFFKDQJHDQGZDWHUTXDOLW\FRPSRQHQWV ZLWK6:$7DQG
'HOIW' 7KHPRGHOZDVGHYHORSHGFDOLEUDWHGDQGYDOLGDWHGWRGHYHORSDKLQGFDVWRIFRQGLWLRQVLQFOXGLQJGLVFKDUJHVIURP
IRXUWHHQSDSHUPLOOVIRUPLOHVRIWKH.DODPD]RR5LYHUEHWZHHQDQG%DLUG VZRUNDOVRLQFOXGHGILHOG
LQYHVWLJDWLRQVRIULYHUK\GURG\QDPLFVDQGEHGVHGLPHQWFRQGLWLRQV

&DSHUV5LGJH3XPSLQJ6WDWLRQIRUWKH/XFH%D\RX,QWHUEDVLQ7UDQVIHU3URMHFW
7ULQLW\5LYHU7H[DV  
'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRU%DLUG VUROHRQWKLVSURMHFWWRWUDQVIHUZDWHUIURPWKH
7ULQLW\5LYHUZHVWZDUGVWRZDUGV+RXVWRQLQ7H[DV7KH&DSHUV5LGJH3XPS6WDWLRQRIWKH7H[DV&RDVWDO:DWHU$XWKRULW\
IHDWXUHVD0*'FDSDFLW\WRWUDQVIHUIUHVKZDWHUDQGJRHVWRFRQVWUXFWLRQLQ%DLUGZRUNHGLQLWLDOO\DVD
VXEFRQWUDFWRUWR$(&20LQWKHVXFFHVVIXOFRPSOHWLRQRIWKH(QYLURQPHQWDO,PSDFW6WDWHPHQWDQGPRUHUHFHQWO\DVD
VXEFRQWUDFWRULQWKH)LQDO'HVLJQVWDJHWR'DQQHQEDXP%ODFNDQG9HDWFK%DLUGFRPSOHWHGGHWDLOHGJHRPRUSKLFDQDO\VLV
WKURXJKVLWHUHFRQQDLVVDQFHDQG*,6EDVHGDLUSKRWRDQDO\VLVLQDGGLWLRQWR'QXPHULFDOPRGHOOLQJRIULYHU
K\GURG\QDPLFVVHGLPHQWWUDQVSRUWDQGPRUSKRORJLFFKDQJHWRVXSSRUWWKHHQYLURQPHQWDOLPSDFWDVVHVVPHQWDQGILQDO
GHVLJQDQGWRHYDOXDWHSRWHQWLDOLPSDFWVWRIORRGLQJ%DLUGDOVRVXSSRUWHGWKHGHVLJQRIEDQNDQGWRHSURWHFWLRQIRUWKH
LQWDNH

(YDOXDWLRQRI6HGLPHQW6WDELOLW\DWD6XSHUIXQG6LWHIRU1DWLRQDO*ULG
*RZDQXV&DQDO%URRNO\Q1<86$ SUHVHQW 
'U1DLUQLVWKH3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRUDQHYDOXDWLRQRIVHGLPHQWVWDELOLW\LQDQLQGXVWULDOFDQDO
LQ%URRNO\Q%DLUG¶VZRUNLQFOXGHVFRRUGLQDWLRQRIILHOGZRUNLQFOXGLQJEDWK\PHWU\VXUYH\HURGLELOLW\VDPSOHDFTXLVLWLRQDQG
WHVWLQJ$'&3PHDVXUHPHQWVVHGLPHQWVDPSOHVDQGVXVSHQGHGVHGLPHQWVDPSOLQJ,QVXSSRUWRIWKLVSURMHFW%DLUGLV
DOVRUHVSRQVLEOHIRUDQHYDOXDWLRQRIEDUJHWUDIILFDQGEDUJHWUDIILFLPSDFWVQXPHULFDOPRGHOLQJRIK\GURG\QDPLFVVHGLPHQW
WUDQVSRUWDQGPRUSKRORJLFFKDQJHXVLQJ'HOIW'

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP            &RPPHUFLDOLQ&RQILGHQFH


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3LHU,9'HYHORSPHQWIRU9DOH
6DR/XLV%UD]LO  
'U1DLUQZDVWKH6HQLRU7HFKQLFDO$GYLVRUIRUWKHHYDOXDWLRQRIK\GURG\QDPLFVVHGLPHQWDWLRQVFRXUDQGXQGHUZDWHUVORSH
VWDELOLW\LVVXHVDVVRFLDWHGZLWKWKLV%LURQH[SRUWIDFLOLW\H[SDQVLRQE\9DOHLQQRUWKHUQ%UD]LO%DLUGFRRUGLQDWHG
FRPSUHKHQVLYHILHOGSURJUDPVLQFOXGLQJEDWK\PHWU\VXUYH\VJHRSK\VLFDOVXUYH\V$'&3PHDVXUHPHQWVVXVSHQGHG
VHGLPHQWVDPSOLQJVHDEHGVHGLPHQWVDPSOLQJDQGERUHKROHV%DLUGKDVFRPSOHWHGH[WHQVLYHPRGHOLQJRIK\GURG\QDPLFV
VHGLPHQWWUDQVSRUWDQGPRUSKRORJLFDOFKDQJHXVLQJRXULQKRXVHPRGHO0,6('WRHYDOXDWHFDSLWDODQGPDLQWHQDQFH
GUHGJLQJUHTXLUHPHQWVIRUVHGLPHQWWUDSVDQGEHUWKLQJDUHDVIRU9DOHPD[FODVVYHVVHOV ':7 

+DUERXU,PSURYHPHQWVWRDGGUHVV6HGLPHQWDWLRQ(URVLRQDQG:DYH$JLWDWLRQ
$O$VKNDUDKDQG4XUL\DW+DUERXUV2PDQ  
'U1DLUQZDVWKH%DLUG3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRUWKHHYDOXDWLRQRIVHGLPHQWDWLRQHURVLRQDQG
ZDYHDJLWDWLRQSUREOHPVDQGGHVLJQRIUHPHGLDOPHDVXUHVDWWKHVHWZRH[LVWLQJILVKHU\KDUERXUVLQ2PDQ%DLUG
FRRUGLQDWHGDFRPSUHKHQVLYHILHOGSURJUDPLQFOXGLQJEDWK\PHWU\VXUYH\PHWHRURORJLFDOPRQLWRULQJ$'&3PHDVXUHPHQWV
RIZDYHVDQGFXUUHQWVWLGHPHDVXUHPHQWVVHGLPHQWVDPSOLQJMHWSURELQJDQGERUHKROHV7KLVLQIRUPDWLRQLVVXSSRUWLQJ
QXPHULFDOPRGHOLQJRIZDYHVFXUUHQWVVHGLPHQWWUDQVSRUWDQGPRUSKRORJLFDOFKDQJHXVLQJRXULQKRXVHPRGHO
+<'526('WRXQGHUVWDQGWKHSUREOHPDQGGHYHORSVROXWLRQV6ROXWLRQVZHUHHYDOXDWHGLQDSK\VLFDOPRGHO7KHVHOHFWHG
VROXWLRQIRU4XLU\DWFRQVLVWVRIDPH[WHQVLRQRIWKHVRXWKEUHDNZDWHUZLWKRYHUWRQQHVRIVWRQHDQGRYHU
$FFURSRGH,,70FRQFUHWHDUPRUXQLWV IURPPXQLWVDORQJWKHWUXQNDQGPXQLWVDWWKHKHDG 

5LR&UXFHV(VWXDU\(YDOXDWLRQRI/DUJH6FDOH&KDQJHVLQ$TXDWLF9HJHWDWLRQ
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'U1DLUQZDVWKH%DLUG3URMHFW0DQDJHUIRUWKHHYDOXDWLRQRIWKHGLVDSSHDUDQFHRIVXEPHUJHGDTXDWLFYHJHWDWLRQDQGWKH
VHGLPHQWDWLRQRIWKLVNPORQJHVWXDU\LQ&KLOH7KHLQYHVWLJDWLRQLQFOXGHGDFRPSUHKHQVLYHILHOGLQYHVWLJDWLRQFRQVLVWLQJ
RIRYHUVHGLPHQWFRUHVUDGLRQXFOLGHGDWLQJODVHUSDUWLFOHDQDO\VLVELRLQGLFDWRUDQDO\VLVDQGWHVWLQJIRUPHWDOV$'&3
WXUELGLW\766DQGZDWHUOHYHOPHDVXUHPHQWV7KLVILHOGLQIRUPDWLRQZDVFRPELQHGZLWKDK\GURG\QDPLFDQGVHGLPHQW
WUDQVSRUWPRGHOWRLQYHVWLJDWHWKHUROHRISRLQWDQGQRQSRLQWVRXUFHORDGLQJRQDQXWULHQWDQGVHGLPHQWEDODQFHRIWKH
HVWXDU\6LQFHWKHODUJHVWHDUWKTXDNHHYHUUHFRUGHGFDXVHGPRIVXEVLGHQFHWRFUHDWHWKLVHVWXDU\WKHHVWXDU\KDVILOOHG
ZLWKVHGLPHQWOHDGLQJWRUDSLGVXFFHVVLRQLQYHJHWDWLRQFRPPXQLWLHV

(YDOXDWLRQRI5HTXLUHPHQWIRU1RUWK%UHDNZDWHU
3RUWRI6DODODK2PDQ  
'U1DLUQZDVWKH3URMHFW0DQDJHUIRUWKHHYDOXDWLRQPRRULQJSUREOHPVDVVRFLDWHGZLWKWKLVFRQWDLQHUWHUPLQDOSRUWLQ
VRXWKHUQ2PDQ7KHSULPDU\SUREOHPUHODWHVWRORQJZDYHV SHULRGVJUHDWHUWKDQV DQGUHIOHFWLRQRIORQJZDYHVIURPD
EHDFKLQWRWKHSRUW%DLUG¶VDVVLJQPHQWLVWRHYDOXDWHWKHQHHGIRUDPLOOLRQQRUWKEUHDNZDWHUWRSUHYHQWORQJZDYHV
IURPGLVUXSWLQJPRRULQJRSHUDWLRQVLQWKHSRUWDQGWRRSWLPL]HWKHOD\RXWRIWKHEUHDNZDWHU%DLUGLVDOVRUHVSRQVLEOHIRUDQG
(,$IRUWKHQHZEUHDNZDWHU7DVNVLQFOXGHEDWK\PHWU\VXUYH\H[WHQVLYHDQDO\VLVRIH[LVWLQJZDYHDQGVKLSPRWLRQGDWD
QXPHULFDOPRGHOLQJRIORQJZDYHVXVLQJ;%($&+DQGVKLSPRWLRQIRUYDULRXVSRUWOD\RXWDOWHUQDWLYHV7KH(,$WDVN
LQFOXGHVDQHYDOXDWLRQRIZDWHUTXDOLW\LPSDFWVRIWKHSURSRVHGEUHDNZDWHUDQGHURVLRQDQGVHGLPHQWDWLRQLPSDFWVRIWKH
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%ULFH/DJRRQ5HPHGLDWLRQ
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%DLUG $VVRFLDWHVZHUHUHWDLQHGWRDSSO\DK\GURG\QDPLFPRGHO 0,.( DQGGHYHORSGHVLJQIRUWKHUHVWRUDWLRQRI%ULFH
/DJRRQRQWKH*XOIFRDVWRI6DXGL$UDELD'U1DLUQZDVWKH3URMHFW0DQDJHUIRUWKLVZRUN%DLUGFRPSOHWHGILHOGZRUN*,6
DQDO\VLVDQGQXPHULFDOPRGHOLQJWRGHYHORSWKHGHVLJQWRUHVWRUHWKLVFRDVWDOODJRRQ5HVWRUDWLRQLQFOXGHGUHRSHQLQJWKH
ODJRRQWRWKHVHDUHPRYDORIRLODQGUHFUHDWLRQRIWLGDOFKDQQHOVWKURXJKWKHODJRRQ7KHQXPHULFDOPRGHOZDVXVHGWR
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
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HYDOXDWHWKHUHTXLUHGRSHQLQJIRUWKHJDWHVWUXFWXUHDWWKHLQOHWWRWKHODJRRQLQDGGLWLRQWRWKHFRQILJXUDWLRQDQGGLPHQVLRQV
RILQWHUQDOWLGDOFKDQQHOV7KLVPLOOLRQUHVWRUDWLRQSURMHFWZDVFRPSOHWHGLQ

<DQEX,QGXVWULDO2XWIDOOV
6DXGL$UDELD  
%DLUG $VVRFLDWHVZHUHUHWDLQHGE\ORFDOHQYLURQPHQWDOFRQVXOWDQWVLQ6DXGL$UDELDWRGHYHORSWHVWDQGLPSOHPHQWD'
K\GURG\QDPLFDQGZDWHUTXDOLW\PRGHOWRHYDOXDWHWKHH[SDQVLRQRILQGXVWULDODQGGRPHVWLFZDVWHZDWHUWUHDWPHQWSODQWV
 WZRVHSDUDWHSURMHFWV IRUWKH,QGXVWULDO&LW\RI<DQEXRQWKH5HG6HD'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHRQWKLV
SURMHFWIRU%DLUG:RUNLQFOXGHGPRGHOGHYHORSPHQWFDOLEUDWLRQYDOLGDWLRQDJDLQVWH[LVWLQJGDWDDQGPRGHOLQJRIIXWXUH
VFHQDULRV7KHSXUSRVHRIWKHZRUNZDVWRVXSSRUW(QYLURQPHQWDO,PSDFW$VVHVVPHQWVIRUWKHWUHDWPHQWSODQH[SDQVLRQV

3RUW+HGODQG2XWHU+DUERXU'HYHORSPHQW
3RUW+HGODQG:HVWHUQ$XVWUDOLD  
'U1DLUQZDVWKH7HFKQLFDO'LUHFWRURIVHGLPHQWWUDQVSRUWVWXGLHVFRQGXFWHGLQVXSSRUWRIWKHGHVLJQRIDQHZRIIVKRUH
WHUPLQDOIRUWKHH[SRUWRILURQRUH7KHYHVVHOVWREHDFFRPPRGDWHGLQWKHIDFLOLW\UDQJHGLQVL]HIURPWR
':72YHUDOOUHVSRQVLELOLWLHVLQFOXGHGUHYLHZRIPHWHRURORJLFDODQGRFHDQRJUDSKLFFKDUDFWHUL]DWLRQGUHGJHGEDVLQOD\RXW
GUHGJHGGHSWKGHVLJQIRUDNPFKDQQHODQGEDVLQDQGHVWLPDWHVRIPDLQWHQDQFHGUHGJLQJUHTXLUHPHQWV%DLUGDSSOLHG
RXULQKRXVHPRGHO0,6('WRHYDOXDWHK\GURG\QDPLFVVHGLPHQWWUDQVSRUWDQGPRUSKRORJLFFKDQJHDQGFRPSOHWHG
UHYLHZVRI'(/)7'PRGHOLQJE\RWKHUV

)DULP3KRVSKDWH0DULQH7HUPLQDO'HYHORSPHQW
*XLQHD%LVVDX SUHVHQW 
'U1DLUQLVWKH%DLUG3ULQFLSDOLQ&KDUJHDQGVHQLRUWHFKQLFDOUHYLHZHUIRUWKHGHYHORSPHQWRIPDULQHIDFLOLWLHVRSWLRQVIRU
WKLVQHZPLQHGHYHORSPHQWLQ*XLQHD%LVVDX:HVW$IULFD%DLUG¶VZRUNLQFOXGHGGHYHORSPHQWRIGHVLJQWRSURYLGHG
EDQNDEOHIHDVLELOLW\OHYHOFRVWHVWLPDWHVIRUFDSLWDODQGPDLQWHQDQFHFRVWVIRUDOOPDULQHIDFLOLWLHVDQGRSHUDWLRQVWRH[SRUW
WKHPLQHUDOSURGXFW7DVNVLQFOXGHGFRRUGLQDWLRQRIFRPSUHKHQVLYHILHOGSURJUDPVLQFOXGLQJEDWK\PHWU\VXUYH\
JHRSK\VLFDOVXUYH\VHDEHGVHGLPHQWVDPSOLQJ$'&3PHDVXUHPHQWVRIZDYHVDQGFXUUHQWVDQGWLGHPHDVXUHPHQWV
%DLUGFRPSOHWHGQXPHULFDOPRGHOLQJRIK\GURG\QDPLFVDQGVHGLPHQWWUDQVSRUWXVLQJRXULQKRXVHPRGHO0,6('%DLUG
GHYHORSHGGHVLJQIRUDQH[SRUWSLHUDQGGHVLJQIRUWRNPORQJFKDQQHOVLQFOXGLQJFDSLWDODQGRSHUDWLRQDOFRVW
HVWLPDWHV%DLUGHYDOXDWHGVKLSSLQJRSWLRQVIRUH[SRUW

&RWRQRX6HD'HIHQFH3URMHFW
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'U1DLUQZDVWKH3URMHFW0DQDJHUIRUWKHFRPSOHWLRQRID)LQDO'HVLJQ5HSRUWGUDZLQJVVSHFLILFDWLRQVELOORITXDQWLWLHV
DQGDQ(QYLURQPHQWDO$VVHVVPHQW5HSRUWIRUWKLV86'PLOOLRQVHDGHIHQFHSURMHFW7KHSURMHFWFRQVLVWHGRIHLJKWODUJH
KHDGODQGVWUXFWXUHVZLWKRYHUWRQQHVRIURFNDQGDOPRVWPRIEHDFKILOOWRSURWHFWNPRIVHYHUHO\HURGLQJ
VKRUHOLQH$QRWKHUDVSHFWRIWKHSURMHFWZDVDGGUHVVLQJDP\HDUVHGLPHQWDWLRQSUREOHPDWWKHGHHSGUDIW3RUWRI
&RWRQRX%DLUGZDVUHVSRQVLEOHIRUDOODVSHFWVRIGHVLJQRQWKLV'HVLJQ%XLOGSURMHFW,QYHVWLJDWLRQVLQFOXGHGWRSRJUDSKLF
DQGK\GURJUDSKLFVXUYH\LQJJHRWHFKQLFDODQGTXDUU\LQYHVWLJDWLRQVDQGQXPHULFDOPRGHOLQJRIZDYHVFXUUHQWVVDQG
WUDQVSRUWVHGLPHQWDWLRQDQGVKRUHOLQHFKDQJH,Q%DLUG $VVRFLDWHVZHUHUHWDLQHGWRWDNHWKHOHDGUROHLQ
GHYHORSLQJWHQGHUGRFXPHQWVIRUWKLVSURMHFWDQGWRSDUWLFLSDWHLQWKHHQJLQHHULQJVHUYLFHVGXULQJFRQVWUXFWLRQ

'RQ5LYHU0RXWK5HVWRUDWLRQDQG3RUW/DQGV)ORRG3URWHFWLRQ
7RURQWRDQG5HJLRQ&RQVHUYDWLRQ$XWKRULW\&DQDGD  
7KHQDWXUDOL]DWLRQRIWKH'RQ5LYHU0RXWKLQGRZQWRZQ7RURQWRVHHNVWRUHVWRUHVRPHRIWKHQDWXUDOIXQFWLRQVRIWKHULYHU
PRXWKDWWKHVDPHWLPHDVLPSURYLQJIORRGSURWHFWLRQ%DLUGLVDNH\SDUWRIWKHWHDPXQGHUWDNLQJWKHHQYLURQPHQWDO
DVVHVVPHQWDQGIXQFWLRQDOGHVLJQIRUQDWXUDOL]LQJWKH'RQDQGDGGUHVVLQJIORRGLQJLQWKH3RUW/DQGV%DLUG¶VUROHLVWR

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
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DVVHVVWKHSK\VLFDOSURFHVVHVRIVHGLPHQWGHEULVWUDQVSRUWDQGGHSRVLWLRQXQGHUWKHH[LVWLQJFRQGLWLRQVDQGIRUDVHULHVRI
SURSRVHGDOWHUQDWLYHVXVLQJ'HOIW'7KLVDVVHVVPHQWLQFOXGHVVHGLPHQWWUDSDQDO\VLVDQGHYDOXDWLRQRIGUHGJLQJRSWLRQV
DVVHVVPHQWRIVHGLPHQWWUDQVSRUWDQGGHSRVLWLRQLQGLIIHUHQWQDWXUDOL]HGFKDQQHODOWHUQDWLYHVDQGSDUWLFLSDWLRQLQWKHGHVLJQ
DQGSXEOLFFRQVXOWDWLRQSURFHVV'U1DLUQLVWKH%DLUG3ULQFLSDOLQFKDUJHIRUWKHVHGLPHQWWUDQVSRUWDQDO\VLVDQGPRGHOOLQJ
DQGDQDFWLYHSDUWLFLSDQWLQWKH,QGLYLGXDO($SURFHVV

'HYHORSPHQWRI:DWHUVKHG%DVHG6HGLPHQW7UDQVSRUW0DQDJHPHQW6\VWHPV
'HWURLW'LVWULFW86$UP\&RUSVRI(QJLQHHUV  
'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHIRUWKHGHYHORSPHQWDQGLPSOHPHQWDWLRQRIVHYHUDOZDWHUVKHGVEDVHGK\GURORJLF
K\GURG\QDPLFDQGVHGLPHQWWUDQVSRUWPRGHOLQJV\VWHPVXVLQJ*,6DVDIUDPHZRUN%DLUGZDVUHVSRQVLEOHIRUGHYHORSLQJ
LPSOHPHQWLQJDQGWHVWLQJPRGHOVIRUWKH6DJLQDZ5LQ0LFKLJDQWKH0HQRPRQHH5LQ0LOZDXNHHWKH&OLQWRQ5LYHUQHDU
'HWURLWDQGWKH1HPDGML5DW'XOXWK)RUWKHVHIRXUZDWHUVKHGV%DLUGGHOLYHUHGILQDOUHSRUWVDQGXVHUPDQXDOVDQG
FRPSOHWHGWUDLQLQJZRUNVKRSVIRUORFDOXVHUVRIWKHV\VWHPV8QGHU'U1DLUQ¶VGLUHFWLRQ%DLUGLVGHYHORSLQJVLPLODU
V\VWHPVRQVHYHQRWKHUZDWHUVKHGVULYHUVDQGUHFHLYLQJZDWHUVLQ0LFKLJDQDQG2KLR%DLUG¶VRYHUDOOIHHVRQWKHVH
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-HGGDK5HJLRQ&RDVWDO:DWHUDQG6HGLPHQW4XDOLW\$VVHVVPHQWDQG5HPHGLDWLRQ3URMHFW
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'U1DLUQZDVWKH%DLUG3URMHFW0DQDJHUIRUWKLVFRPSUHKHQVLYHDVVHVVPHQWRIZDWHUDQGVHGLPHQWTXDOLW\DORQJDNP
UHDFKRI5HG6HDFRDVWFHQWHUHGRQ-HGGDK7KHLQYHVWLJDWLRQVLQFOXGHGZDWHUDQGVHGLPHQWTXDOLW\VDPSOLQJ
K\GURJUDSKLFVXUYH\VPHDVXUHPHQWVRIZDYHVDQGFXUUHQWVXVHRIELRLQGLFDWRUVDQGVWDEOHLVRWRSHDQDO\VLV'
QXPHULFDOPRGHOLQJRIK\GURG\QDPLFVDQGVHGLPHQWWUDQVSRUWDQGHYDOXDWLRQRIUHPHGLDODOWHUQDWLYHV$SODQIRUWKH
LPSOHPHQWDWLRQRIUHPHGLDOPHDVXUHVZDVGHYHORSHG

(YDOXDWLRQRI+DUERU,PSDFWVRQ'RZQGULIW6KRUHOLQH(URVLRQ
6W-RVHSK+DUERU/DNH0LFKLJDQ86$  
'U1DLUQZDVWKH3URMHFW0DQDJHUIRUWKLVFRPSUHKHQVLYHDVVHVVPHQWRIWKHLPSDFWVRI6W-RVHSK+DUERURQDGMDFHQW
VKRUHOLQHHURVLRQSURFHVVHV7KHZRUNZDVFRPSOHWHGWRGHYHORSH[SHUWZLWQHVVWHVWLPRQ\IRUDWULDOLQWKH)HGHUDO&RXUWRI
&ODLPVLQWKH86$'U1DLUQZDVWKHOHDGWHFKQLFDOH[SHUWLQERWKWKHDQGWULDOVIRUWKH86'HSWRI-XVWLFH
%DLUG VZRUNLQFOXGHGDWKRURXJKLQYHVWLJDWLRQRIWKHKLVWRU\RIHURVLRQSURFHVVHVVLQFHKDUERXUFRQVWUXFWLRQLQ
6SHFLILFWDVNVLQFOXGHGVKRUHOLQHFKDQJHDQDO\VLV DFFUHWLRQLQWKHILOOHWEHDFKHVDQGHURVLRQRIDGMDFHQWVKRUHV XVLQJ*,6
HYDOXDWLRQRIQDYLJDWLRQFKDQQHOGUHGJLQJHYDOXDWLRQRIWKHEHDFKQRXULVKPHQWPLWLJDWLRQSURJUDPQXPHULFDOPRGHOLQJRI
FKDQJHVWRZDWHUVKHGVXSSO\RIVHGLPHQWQXPHULFDOPRGHOLQJRIZDYHFOLPDWHZDYHWUDQVIRUPDWLRQK\GURG\QDPLF
ORQJVKRUHVHGLPHQWWUDQVSRUWDQGKDUERUE\SDVVLQJFRQVLGHUDWLRQRIFRKHVLYHDQGVDQG\VKRUHHURVLRQSURFHVVHVDQG
GHYHORSPHQWRIDFRPSUHKHQVLYHVHGLPHQWEXGJHWIRUVHYHUDOSHULRGVEHWZHHQDQGSUHVHQW

6W&ODLU5LYHU,QYHVWLJDWLRQ
*UHDW/DNHV%DVLQ  
'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHIRUWKLVDVVHVVPHQWRIUHGXFWLRQLQKHDGGLIIHUHQFHEHWZHHQ/DNHV+XURQ0LFKLJDQ
DQG/DNH6W&ODLU(ULH7KHSURMHFWGLVFRYHUHGDQRQJRLQJGURSLQWKHEDVHOHYHORI/DNHV0LFKLJDQ+XURQDQGIRXQGWKDW
WKLVZDVSULPDULO\H[SODLQHGE\HURVLRQRIWKHULYHUEHGRIWKHXSSHU6W&ODLU5LYHU7KHSURMHFWLQYROYHGQXPHULFDOPRGHOLQJ
*,6DQDO\VLVIURP/DNH+XURQWKURXJKWR/DNH(ULH

%UHDNZDWHU'DPDJHDQG5HSDLU$VVHVVPHQW
6RKDU,QGXVWULDO3RUW&RPSOH[2PDQ  
'U1DLUQZDVWKHSURMHFWPDQDJHUIRUDFRPSUHKHQVLYHDVVHVVPHQWRIF\FORQHGDPDJHWRNPRIEUHDNZDWHUVSURWHFWLQJD
ODUJHSRUWLQ2PDQ7KHVWXG\LQFOXGHGGHWDLOHGKLJKUHVROXWLRQODVHUDQGPXOWLEHDPVRQDUVXUYH\VRIWKHDERYHDQGEHORZ

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP           &RPPHUFLDOLQ&RQILGHQFH


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ZDWHUSRUWLRQVRIWKHEUHDNZDWHUDVVHVVPHQWTXDQWLILFDWLRQRIGDPDJHWRWKHDUPRXUOD\HUFDXVHGE\DWURSLFDOF\FORQH
DQGSUHOLPLQDU\GHVLJQGHYHORSPHQWIRUUHPHGLDOZRUNV'U1DLUQPDQDJHGWKHVWXG\WHDPGXULQJWKHSODQQLQJDQG
LPSOHPHQWDWLRQRIWKHILHOGVWXG\DQGWKURXJKRXWWKHGDWDUHGXFWLRQDQDO\VLVSKDVH

6HGLPHQWDWLRQ$VVHVVPHQWIRUDQHZ3RUWLQ*XLQHD
*XLQHD:HVW$IULFD  
'U1DLUQZDVWKHLQWHUQDOWHFKQLFDOGLUHFWRURIQXPHULFDOPRGHOLQJRIVHGLPHQWWUDQVSRUWDQGFKDQQHOVHGLPHQWDWLRQ
SURFHVVHVIRUWKLVQHZGHHSGUDIWSRUWDQGSURSRVHGNPORQJQDYLJDWLRQFKDQQHO7KHSURMHFWLQFOXGLQJFRRUGLQDWLRQRI
ILHOGLQYHVWLJDWLRQVWRPHDVXUHZDYHVDQGFXUUHQWVDQGGLUHFWILHOGZRUNWRUHWULHYHFRUHVVHDEHGVHGLPHQWVDPSOHVDQG
VXVSHQGHGVHGLPHQWVDPSOHV7KHQXPHULFDOPRGHOLQJFRQVLVWHGRIWKHDSSOLFDWLRQRIDK\GURG\QDPLFVHGLPHQWWUDQVSRUW
DQGPRUSKRORJLFPRGHOWRSUHGLFWVKRUWDQGORQJWHUPVHGLPHQWDWLRQDORQJWKHIXOOOHQJWKRIWKLVFKDQQHOWKHH[WHQGVIURP
RIIVKRUHLQWRWKHHVWXDU\RIWZRODUJHULYHUV

,-&/DNH2QWDULRDQG6W/DZUHQFH5LYHU5HYLHZRI5HJXODWLRQ3ODQV
,QWHUQDWLRQDO-RLQW&RPPLVVLRQ/DNH2QWDULR  
'U1DLUQZDVWKH%DLUG3ULQFLSDOLQFKDUJHIRUDODNHZLGHDVVHVVPHQWRIHURVLRQDQGIORRGLQJKD]DUGVDQGLPSDFWVWR
VXSSRUWWKHFXUUHQW,QWHUQDWLRQDO-RLQW&RPPLVVLRQUHYLHZRIUHJXODWLRQSODQVIRUFRQWUROOLQJWKHRXWIORZIURP/DNH2QWDULR
7KLV\HDUSURMHFWLQYROYHGGDWDFROOHFWLRQQXPHULFDOPRGHOLQJHFRQRPLFDQG*,6DQDO\VLVRQDODNHZLGHVFDOHFRYHULQJ
WKRXVDQGVRINLORPHWHUVWRGHWHUPLQHLPSDFWVRIGLIIHUHQWODNHOHYHOUHJXODWLRQSODQVRYHUD\HDUSODQQLQJKRUL]RQ%DLUG
GHYHORSHGFXVWRPL]HGVRIWZDUHLQWHJUDWLQJHURVLRQDQGIORRGSUHGLFWLRQPRGHOVZLWKHFRQRPLFGDPDJHPRGHOVZLWKLQD
*,6IUDPHZRUNWRFRPSOHWHWKLVWDVN

0RUSKRG\QDPLFVRI'UHGJHG3LWV±%LRORJLFDODQG3K\VLFDO,PSDFWV
*XOIRI0H[LFR860LQHUDOV0DQDJHPHQW6HUYLFH  
'U1DLUQZDVWKH3URMHFW0DQDJHUIRUWKHDVVHVVPHQWRILQILOOLQJRIGUHGJHGSLWVDORQJWKH*XOIRI0H[LFRDQG$WODQWLF
FRDVWVRIWKH86$&RDVWDOUHVWRUDWLRQSURMHFWVDVVRFLDWHGZLWKORQJWHUPSODQVDQGLQUHVSRQVHWRWKHGDPDJHDVVRFLDWHG
ZLWK+XUULFDQHV5LWDDQG.DWULQDUHTXLUHDVRXUFHRIEHDFKILOOTXDOLW\VHGLPHQW7KHSXUSRVHRIWKLVVWXG\LVWRHYDOXDWHSLW
PRUSKRORJ\ SLWLQILOOLQJDQGSLWPDUJLQHURVLRQ DQGWKHDVVRFLDWHGELRORJLFDODQGSK\VLFDOLPSDFWV7KHVWXG\LQFOXGHVILHOG
VXUYH\VRIDQH[LVWLQJSLW VHGLPHQWVDPSOHVDQGFRUHVEHQWKRVVDPSOLQJ$'&3PHDVXUHPHQWVK\GURJUDSKLFVXUYH\
ZDWHUTXDOLW\PHDVXUHPHQWVLQFOXGLQJWHPSHUDWXUHVDOLQLW\DQGVXVSHQGHGVHGLPHQW DQG'QXPHULFDOPRGHOLQJRISLW
LQILOOLQJZLWKWLPH7KHVWXG\UHVXOWHGLQJXLGHOLQHVIRUWKHUHJXODWLRQDQGPDQDJHPHQWRIVDQGDQGJUDYHOUHVRXUFHVDORQJ
WKH86FRDVW

%DUEDGRV&RDVWDO,QIUDVWUXFWXUH3URMHFW
%DUEDGRV:HVW,QGLHV  
'U1DLUQZDVWKHSURMHFWPDQDJHUIRUWKHGHVLJQSKDVHRIRQHRIWKHODUJHVWRIHLJKWZDWHUIURQWUHKDELOLWDWLRQSURMHFWV%DLUG
GHVLJQHG7KHDZDUGZLQQLQJ86'PLOOLRQ5RFNOH\%HDFKSURMHFWFRQVLVWVRIEHDFKUHVWRUDWLRQWKURXJKWKHFRQVWUXFWLRQRI
QDWXUDOKHDGODQGVDQGEHDFKQRXULVKPHQWWRLPSURYHFRDVWDOUHVLOLHQFHDQGSXEOLFDFFHVV,QDGGLWLRQ'U1DLUQSURYLGHV
WHFKQLFDODGYLFHWRWKH&RDVWDO=RQH0DQDJHPHQW8QLWLQ%DUEDGRVRQDQRQJRLQJEDVLVUHODWHGWRWKHOLQNDJHEHWZHHQ
SRLQWDQGQRQSRLQWVRXUFH ZDWHUJURXQGZDWHUVKHG PDULQHZDWHUTXDOLW\UHHIKHDOWKDQGWKHOLQNWRORQJWHUPEHDFK
VWDELOLW\7KHVHYDULRXVVWXGLHVZHUHEDVHGRQH[WHQVLYHILHOGLQYHVWLJDWLRQVQXPHULFDOPRGHOLQJRIZDYHV LQFOXGLQJ
KXUULFDQHV VXUJHFXUUHQWVDQGVDQGWUDQVSRUW

3RUW'¶(KRDOD)RUW'DXSKLQ
0DGDJDVFDU  
'U1DLUQSURYLGHG4XDOLW\&RQWURORIVHGLPHQWWUDQVSRUWVWXGLHVRIWKHQHZPLOOLRQSRUWSURMHFWGHVLJQHGE\%DLUG7KH
SRUWLVORFDWHGDWWKHVRXWKHQGRI)DXVVH%DLHGHV*DOLRQVZKLFKLVDODUJHHPED\PHQWEHWZHHQWZRQDWXUDOKHDGODQGV

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP           &RPPHUFLDOLQ&RQILGHQFH


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XQGHUWKHDFWLRQRIELGLUHFWLRQDOVZHOODQGVHDZDYHV0DMRUSURMHFWFRPSRQHQWVLQFOXGHWZREHUWKVGUHGJLQJDQG
UHFODPDWLRQEHUPEUHDNZDWHUJUR\QHVQDYLJDWLRQFKDQQHODQGTXDUU\GHYHORSPHQW*,6DQDO\VLVRIKLVWRULFVKRUHOLQHV
DQGH[WHQVLYH'QXPHULFDODQDO\VLVRIZDYHVFXUUHQWVDQGVHGLPHQWWUDQVSRUWRIWKHED\ZLWKDQGZLWKRXWWKHSRUWLQSODFH
ZHUHFRQGXFWHGWRGHWHUPLQHVHGLPHQWDWLRQUDWHVDQGFRXQWHUPHDVXUHVDVZHOODVWKHHIIHFWRISRUWFRQVWUXFWLRQRQWKH
VKDSHRIWKHED\'U1DLUQKDVEHHQVHUYHGDVDVHQLRUWHFKQLFDOUHYLHZHURIWKHHURVLRQDQGVHGLPHQWDWLRQIURP%DLUG¶V
PRQLWRULQJRQWKHSURMHFW

6RXUFH:DWHU3URWHFWLRQ,QLWLDWLYH3URYLQFHRI2QWDULR
2QWDULR&DQDGD  
'U1DLUQZDVWKH3ULQFLSDOLQ&KDUJHDW%DLUGRQVHYHQGLIIHUHQWSURMHFWVZLWKRYHU0LQIHHVWRHYDOXDWHWKH
YXOQHUDELOLW\RIVXUIDFHZDWHULQWDNHVWRFRQWDPLQDWLRQ7KHZRUNLQYROYHVGHYHORSPHQWDQGDSSOLFDWLRQRISROLF\IRU
HYDOXDWLRQRIVXUIDFHZDWHULQWDNHV1XPHULFDOPRGHOLQJKDVEHHQFRPSOHWHGIRURYHUVXUIDFHZDWHULQWDNHVWR
GHWHUPLQHWKHWKUHDWVDQGYXOQHUDELOLW\IURPYDULRXVSROOXWDQWVRXUFHVLQFOXGLQJULYHUVZDVWHZDWHUWUHDWPHQWSODQWRXWIDOOV
DQGVSLOOVDWSRUWVDQGKDUERXUV

&DW,VODQG&KDLQ5HVWRUDWLRQ
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'U1DLUQZDVWKHSURMHFWPDQDJHUIRUWKHFRQFHSWXDODQGSUHOLPLQDU\GHVLJQSKDVHVRIWKLVPLOOLRQ86$&(DZDUG
ZLQQLQJ*UHDW/DNHV5HVWRUDWLRQ,QLWLDWLYHSURMHFWWKDWZDVFRPSOHWHGLQ7KHSURMHFWFRQVLVWHGRIUHVWRULQJWKH
DFUH&DW,VODQGFKDLQDQGFUHDWLQJFRQGLWLRQVIRUWKHUHFRYHU\RIWKHDFUH'XFN&UHHNZHWODQG7KHLQQRYDWLYH
DSSURDFKFRQVLVWHGRIFUHDWLQJDVNHOHWRQRIWKH&DW,VODQGFKDLQZKLFKZLOOEHILOOHGWKURXJKEHQHILFLDOXVHRIPLOOLRQFXELF
\DUGVRIGUHGJHGVHGLPHQWIURPWKH*UHHQ%D\QDYLJDWLRQFKDQQHORYHUWKHQH[W\HDUV7KHSURMHFWIHDWXUHGRYHU
IWRIUUXEEOHPRXQGVWUXFWXUHFRPSULVHGRIPRUHWKDQWRQVRIVWRQH7DVNVLQFOXGHGILHOGLQYHVWLJDWLRQVQXPHULFDO
DQGSK\VLFDOPRGHOLQJRIZDYHVDQGFXUUHQWVRYHUWRSSLQJVHGLPHQWSOXPHVDQGHYDOXDWLRQRIKLVWRULFGUHGJLQJDQG
VHGLPHQWDWLRQDFKLHYLQJVXUYLYDOFULWHULDIRUDTXDWLFYHJHWDWLRQDQGQDWXUDOLVODQGGHVLJQZLWKOLYLQJVKRUHOLQHV

.HWD6HD'HIHQFH3URMHFW*KDQD
:HVW$IULFD  
'U1DLUQZDVWKHVWXG\PDQDJHUIRUWKHGHYHORSPHQWRIDQPLOOLRQVHDGHIHQFHV\VWHPWRSURWHFWNPRIUDSLGO\
HURGLQJFRDVWOLQH7KHGHVLJQLQFOXGHGVHYHQODUJHKHDGODQGV HDFKFRQVWUXFWHGZLWKDSSUR[LPDWHO\WRIURFN 
PRIEHDFKQRXULVKPHQWDQGDIORRGUHOLHIVWUXFWXUH)LHOGLQYHVWLJDWLRQVLQFOXGHGERUHKROHVYLEUDFRUHVDXJHUV
WRSRJUDSKLFDQGK\GURJUDSKLFVXUYH\VDQGZDYHJDXJHGHSOR\PHQW'HVLJQDQDO\VHVLQFOXGHGWKHDSSOLFDWLRQRIQXPHULFDO
PRGHOVRIZDYHWUDQVIRUPDWLRQFRDVWDOSURFHVVHVVKRUHOLQHFKDQJHDQGWKHFRPSOHWLRQRISK\VLFDOPRGHOWHVWV7KH
QXPHULFDOPRGHOVZHUHDSSOLHGWRVLPXODWHZDYHVHWXSDQGUXQXSWKDWUHVXOWHGLQVHYHUHIORRGLQJDQGRYHUWRSSLQJRIWKH
EDUULHULVODQGWKDWSURWHFWV.HWD/DJRRQ%DLUG¶VHQJLQHHULQJIHHVGXULQJERWKGHVLJQDQGFRQVWUXFWLRQSKDVHVRIWKHSURMHFW
WRWDOHG&RQVWUXFWLRQRQWKHSURMHFWVWDUWHGLQ-DQXDU\DQGZDVFRPSOHWHGLQRQEXGJHWDQGDKHDG
RIVFKHGXOH

)ORRG+D]DUG5HYLHZIRU)(0$
&ROOLHU&RXQW\)ORULGD  
'U1DLUQPDQDJHG%DLUG¶VLQSXWWRDUHYLHZRIWKHKXUULFDQHIORRG]RQHPDSSLQJIRU&ROOLHU&RXQW\LQ)ORULGD%DLUGZDV
VSHFLILFDOO\UHWDLQHGE\)(0$WRGHWHUPLQHZKHWKHUDQDO\VHVFRPSOHWHGWRVXSSRUWUHPDSSLQJRIWKHIORRG]RQHFRUUHFWO\
FRQVLGHUHGWKHFRPELQHGLQIOXHQFHRIVWRUPVXUJHDQGZDYHVHWXSDORQJWKH&ROOLHU&RXQW\FRDVW




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP           &RPPHUFLDOLQ&RQILGHQFH


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/DNH0LFKLJDQ3RWHQWLDO'DPDJHV6WXG\86$UP\&RUSVRI(QJLQHHUV
/DNH0LFKLJDQ  
'U1DLUQZDVWKH%DLUG3ULQFLSDOLQFKDUJHIRUDVL[\HDU&RUSVRI(QJLQHHUV¶SURMHFWWRGHYHORSD)ORRGDQG(URVLRQ
3UHGLFWLRQ6\VWHP )(36 WRTXDQWLI\IORRGLQJHURVLRQDQGVHGLPHQWWUDQVSRUWSURFHVVHVLQLWLDOO\DORQJWKHHQWLUHNP
FRDVWRI/DNH0LFKLJDQDQGHYHQWXDOO\DOOWKH*UHDW/DNHV7KH)(36OLQNVZDYHDQDO\VLVWKH&26026FRDVWDOSURFHVV
PRGHODQGVHGLPHQWEXGJHWURXWLQHVWRD*,6V\VWHP IRUWKHSXUSRVHVRISUHDQGSRVWSURFHVVLQJ DQGSURYLGHVDYDOXDEOH
FRDVWDO]RQHPDQDJHPHQWWRROWRDVVHVVSRWHQWLDOHURVLRQDQGIORRGLQJGDPDJHVDQGIRUSODQQLQJSXUSRVHV7KHV\VWHP
DOVRSURYLGHVDUHJLRQDOVDQGPDQDJHPHQWWRROWRDVVHVVWKHLPSDFWRIYDULRXVIRUPVRIZDWHUIURQWGHYHORSPHQWRQVDQG
VXSSO\DQGVHGLPHQWDWLRQLVVXHV7KH)(36LVDOVREHLQJDSSOLHGWR/DNHV2QWDULRDQG(ULH

(OERZ&D\±)ORRGDQG(URVLRQ9XOQHUDELOLW\$VVHVVPHQW
$EDFR%DKDPDV  
'U1DLUQZDVWKHVWXG\PDQDJHUIRUWKLVLQYHVWLJDWLRQRIIORRGDQGHURVLRQSURFHVVHVDORQJWKHVKRUHOLQHRI(OERZ&D\
7KHLQYHVWLJDWLRQZDVLQLWLDWHGWRDVVHVVGDPDJHFDXVHGE\+XUULFDQH)OR\GDQGWRGHYHORSUHFRPPHQGDWLRQVIRUUHPHGLDO
PHDVXUHV1XPHULFDOPRGHOVZHUHDSSOLHGWRDVVHVVGHHSZDWHUDQGQHDUVKRUHZDYHFRQGLWLRQVVWRUPVXUJHZDYH
JHQHUDWHGFXUUHQWVZDYHVHWXSUXQXSDQGRYHUZDVKDQGHURVLRQRIWKHGXQHIDFH7KHSUHGLFWLRQVZHUHYHULILHGZLWK
REVHUYDWLRQVRIIORRGLQJDQGHURVLRQGXULQJ+XUULFDQH)OR\G9XOQHUDELOLW\RIWKHVKRUHOLQHWRIXWXUHKXUULFDQHVLVSUHVHQWHG
WKURXJKGLUHFWOLQNVEHWZHHQWKHPRGHOVDQG*,6$IROORZXSVWXG\ZDVFRPSOHWHGWRDVVHVVWKHLPSDFWRI+XUULFDQHV
-HDQQHDQG)UDQFHVLQDQGWRUHILQHWKHSURSRVHGSURWHFWLRQRSWLRQV

+XGVRQ5LYHU3&%$VVHVVPHQW
1HZ<RUN  
'U1DLUQZDVVHOHFWHGWRSURYLGHH[SHUWUHYLHZRQWKHK\GURG\QDPLFDQGVHGLPHQWWUDQVSRUWDVSHFWVRIWKH%DVHOLQH
0RGHOLQJ5HSRUWFRPSOHWHGIRUWKH(QYLURQPHQWDO3URWHFWLRQ$JHQF\

0RGHOLQJRI)DWHDQG7UDQVSRUWRI3&%&RQWDPLQDWHG6HGLPHQWVRQWKH)R[5LYHU:,
:LVFRQVLQ  
'U1DLUQZDVWKHSURMHFWPDQDJHUIRUWKHGHYHORSPHQWRID''K\GURG\QDPLFIDWHDQGWUDQVSRUWPRGHOWRDVVHVV
UHVXVSHQVLRQSRWHQWLDOIRU3&%FRQWDPLQDWHGVHGLPHQWVIRUWKH)R[5LYHU5,)67KHSURMHFWLQFOXGHGDVVHVVPHQWRIWKH
UHVXVSHQVLRQFKDUDFWHULVWLFVRIILQHVHGLPHQWVXVLQJWKHUHVXOWVRIILHOGDQGODERUDWRU\PHWKRGV'U1DLUQDOVRPDQDJHG
WKHDSSOLFDWLRQRI*,6WRGHYHORS'PDSVRIFRQWDPLQDQWFRQFHQWUDWLRQDQGWRGLVSOD\SUHGLFWHGUHVXVSHQVLRQSDWWHUQVIRU
UHPHGLDODOWHUQDWLYHV

/RZHU*UHDW/DNHV)ORRGDQG(URVLRQ6WXG\
/DNH(ULHDQG2QWDULR  
,QWKH%XIIDOR'LVWULFW86$UP\&RUSVRI(QJLQHHUVLQLWLDWHGDFRPSUHKHQVLYHLQYHVWLJDWLRQRQWKH86VKRUHOLQHRI
/DNH(ULHDQG2QWDULR'U1DLUQZDVWKH3ULQFLSDOLQFKDUJHRQWKLVSURMHFWWKDWLQFOXGHGWKHDSSOLFDWLRQRIWKH)ORRGDQG
(URVLRQ3UHGLFWLRQ6\VWHP )(36 WRFRXQWLHVLQ2KLRDQG1HZ<RUN6WDWH7KH)(36LVDFXVWRPPRGHOLQJV\VWHP
GHYHORSHGE\%DLUGWRHYDOXDWHUHJLRQDOFRDVWDOSURFHVVHVSUHGLFWORQJWHUPHURVLRQLPSDFWVRIFRDVWDOVWUXFWXUHV VXFKDV
KDUERUV DQGDVVHVVPHQWVRIUHJLRQDOVHGLPHQWPDQDJHPHQW

6KHER\JDQ5LYHU:, 
'U1DLUQZDVWKHSURMHFWPDQDJHUIRUWKH'QXPHULFDOPRGHOLQYHVWLJDWLRQRIK\GURG\QDPLFVDQGVHGLPHQWWUDQVSRUWRQ
WKH6KHER\JDQ5LYHUWRLQYHVWLJDWHWKHSRWHQWLDOPRELOL]DWLRQRI3&%EHDULQJVHGLPHQW7KHSURMHFWZDVFRPSOHWHGIRUWKH
86$UP\&RUSVRI(QJLQHHUVRQEHKDOIRI(3$7KHZRUNLQFOXGHGPRGHOVHOHFWLRQDQGWHVWLQJODERUDWRU\H[SHULPHQWVWR
DVVHVVHURGLELOLW\RIUHODWLYHO\XQGLVWXUEHGFRUHVDPSOHVGDWDJDSDQDO\VLVDQGVXEVHTXHQWILHOGZRUNDQGWXUQRYHURIWKH
PRGHOLQJV\VWHPWRWKHFOLHQW
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP           &RPPHUFLDOLQ&RQILGHQFH


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% 7HFKQLFDO3DSHUV
6*3HDUVRQ5/XEEDG70+/HDQG1DLUQ5%  7KHUPRPHFKDQLFDO(URVLRQ0RGHOOLQJRI%D\GDUDWVND\D%D\
        5XVVLDZLWK&26026WK,QWHUQDWLRQDO&RQIHUHQFHRQ6FRXUDQG(URVLRQ6HSWHPEHU
        0DWKHPDWLFDO,QVWLWXWH2[IRUG8.

1DLUQ5/LHJHO(9LFNHUPDQ-'DYLH6&DQFLHQQH-DQG0LOOHU'  3RVVLEOH5H$OLJQPHQWRIWKH/RZHU
          0LVVLVVLSSL5LYHUDQG,QIOXHQFHVRQ1DYLJDWLRQ3RUWV$6&(-XQH

'L[RQ-1DLUQ5%+HQVROG%)RUG*DQG2¶1HLOO.0  0LVVLVVLSSL'HOWDDQGWKH-HUVH\6KRUH,QQRYDWLYH
          3ODFH±%DVHG6ROXWLRQV7KH9DOXHRI,QWHUGLVFLSOLQDU\3HUVSHFWLYHV3URFWK,QWHUQDWLRQDO:RUNVKRSRQ:DYH
          +LQFDVWLQJDQG)RUHFDVWLQJWK&RDVWDO+D]DUG6\PSRVLXP.H\:HVW)/

*LEERQV&DQG1DLUQ5%  &RDVWDO5HPHGLDWLRQLQWKH$UDELDQ*XOI±7KH+\GUDXOLF5HVWRUDWLRQRID7LGDO/DJRRQ
         LQ6DXGL$UDELDWK,QWHUQDWLRQDO&RQIHUHQFHRQ(VWXDULHVDQG&RDVWV0XVFDW2PDQ

'LEDMQLD01DLUQ5%'XFNHWW)DQG*LEERQV&  :DYH&OLPDWH/RQJVKRUH7UDQVSRUWDQG6KRUHOLQH&KDQJHDW
          WKH2PDQ&RDVWWK,QWHUQDWLRQDO&RQIHUHQFHRQ(VWXDULHVDQG&RDVWV0XVFDW2PDQ

1DLUQ5'LEDMQLD0/X4DQG'HOSXSR'  /LTXHIDFWLRQIORZVOLGHVDW9DOH¶VRUHH[SRUWWHUPLQDO%UD]LO3URF
          &RDVWDO6HGLPHQWV¶:RUOG6FLHQWLILF6DQ'LHJR&DOLIRUQLD0D\

'LEDMQLD01DLUQ5%'HOSXSR'0RUDLV0)RXUQLHU&  0DQDJHPHQWRIVXEPDULQHVOLGHVDW9DOH¶VLURQRUH
          H[SRUWIDFLOLW\3RQWDGD0DGHLUD%UD]LO3URFHHGLQJVRI:HVWHUQ'UHGJLQJ$VVRFLDWLRQDQG7H[DV$ 08QLYHUVLW\
          &HQWHUIRU'UHGJLQJ6WXGLHV³'UHGJLQJ6XPPLWDQG([SR´-XQH

1DLUQ5%DQG6HOHJHDQ-3  6HGLPHQW0DQDJHPHQWDW6W-RVHSK5LYHUDQG+DUERU0LFKLJDQ86$
         SUHVHQW3URFHHGLQJVRI3,$1&:RUOG&RQJUHVV6DQ)UDQFLVFR86$-XQH

5HLQKDUGW(1DLUQ5%%DUDQDR3%UXQWRQ'$DQG5LVN0-  6HGLPHQW&RULQJDQG3RVW(DUWKTXDNH
        5HFRYHU\(VWLPDWHVLQWKH5LR&UXFHV(VWXDU\3UHVHQWHGDW6WDWHRIWKH&RDVW1HZ2UOHDQV/RXLVLDQD0DUFK
        

1DLUQ5%'LEDMQLD0'0RUDLV0/X4)RXUQLHU&3'HODXUp66  'HYHORSPHQWRIWKH3UHOLPLQDU\
         'UHGJLQJ3ODQIRUWKH9DOH3RQWDGD0DGHLUD3LHU,9([SRUW)DFLOLW\6DR/XLV%UD]LO:2'&21;;:RUOG
         'UHGJLQJ&RQJUHVVDQG([KLELWLRQ7KH$UWRI'UHGJLQJ%UXVVHOV%HOJLXP-XQH

'LEDMQLD01DLUQ5:LNHO*DQG$PDWR5  0RUSKRORJLFDO5HVSRQVHRI2IIVKRUH6KRDOVWR'UHGJLQJ6FHQDULRV
          3URF&RDVWDO6HGLPHQWV¶:RUOG6FLHQWLILF0LDPL)ORULGD0D\SS

1DLUQ5'LEDMQLD0:LNHO*DQG$PDWR5  $Q$QDO\VLVRI0RUSKRORJLFDO3DUDPHWHUVIRU6KRDOVRI0LG$WODQWLF
          %LJKW86$3URF&RDVWDO6HGLPHQWV¶:RUOG6FLHQWLILF0LDPL)ORULGD0D\SS

/X4DQG1DLUQ5  3UHGLFWLRQRQ0RUSKRORJLFDO5HVSRQVHRI'UHGJHG6DQG%RUURZ3LWV3URFHHGLQJV
         ,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(

'LEDMQLD06ROWDQSRXU01DLUQ5DQG$OODK\DU0  &\FORQH*RQX7KH0RVW,QWHQVH7URSLFDO&\FORQHRQ
          5HFRUGLQWKH$UDELDQ6HD,QGLDQ2FHDQ7URSLFDO&\FORQHVDQG&OLPDWH&KDQJH<&KDUDEL6XOWDQ4DERRV
          8QLYHUVLW\0XVFDW2PDQ (G 6SULQJHUSS

'LEDMQLD01DLUQ50F*LOOLV$DQG'HODXUH6  2QWKH$VVHVVPHQWRI,PSDFWVRI,QWHUUXSWLQJ/RQJVKRUH6DQG
          7UDQVSRUWRQWKH2PDQ&RDVW,&&=(0XVFDW2PDQ


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP            &RPPHUFLDOLQ&RQILGHQFH


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5LVN0-%XUFKHOO0GH5RR.1DLUQ57XEUHWW0)RUVWHUUD*  7UDFHHOHPHQWVLQELYDOYHVKHOOVIURPWKH5tR
         &UXFHV&KLOH$TXDWLF%LRORJ\

5HLQKDUGW(*1DLUQ5%DQG/RSH]*  5HFRYHU\(VWLPDWHVIRUWKH5tR&UXFHV&KLOHDIWHUWKH0D\&KLOHDQ
        HDUWKTXDNH0DULQH*HRORJ\

/X46FRWW6DQG1DLUQ5%  0RGHOLQJ3UHGLFWLRQRI/RQJ7HUP6HGLPHQWDWLRQLQD'UHGJHG&KDQQHOWK
          ,QWHUQDWLRQDO&RQIHUHQFHRQ(VWXDULQHDQG&RDVWDO0RGHOLQJ6HDWWOH:DVKLQJWRQ1RYHPEHU

5LVN0-6KHUZRRG2$1DLUQ5%*LEERQV&  7UDFNLQJWKHUHFRUGRIVHZDJHGLVFKDUJHRII-HGGDK6DXGL
         $UDELDVLQFHXVLQJVWDEOHLVRWRSLFUHFRUGVIURPDQWLSDWKDULDQV0DULQH(FRORJ\3URJUHVV6HULHV

5LVN0-%XUFKHOO01DLUQ5%7XEUHWW0)RUVWHUUD*  7UDFHHOHPHQWVLQELYDOYHVIURPWKH5LR&UXFHV&KLOH
         WUDFHZDWHUVKHGHYROXWLRQDIWHUDPDMRUHDUWKTXDNHDQGFKDOOHQJHDSRVWXODWHGFKHPLFDOVSLOOIURPDSXOSSODQW
         $*8-RLQW$VVHPEO\7KH0HHWLQJRIWKH$PHULFDV±0D\7RURQWR2QWDULR&DQDGD

5HLQKDUGW(*1DLUQ5%DQG/RSH]*  6HGLPHQWDWLRQ3DWWHUQVLQWKH5LR&UXFHV$IWHUWKH0D\&KLOHDQ
        (DUWKTXDNHDQG7VXQDPL$*8-RLQW$VVHPEO\7KH0HHWLQJRIWKH$PHULFDV±0D\7RURQWR
        2QWDULR&DQDGD

1DLUQ5%/X4)RXUQLHU&33DQWRMD&DQG%DUDQDR3  ³7KUHH'LPHQVLRQDO+\GURG\QDPLF1XPHULFDO
         0RGHOLQJRIWKH&UXFHV5LYHUDQGWKH&DUORV$QGZDQGWHU6DQFWXDU\9DOGLYLD&KLOH3URFRIWKHWK,6(DQGWK
         +(,&,$+5

5LVN0-6KHUZRRG21DLUQ5%*LEERQV&&RWVDSDV/DQG70RQWHOOR  6KDOORZ$QWLSDWKDULDQV0DS
         6HZDJH3OXPHV-HGGDK6DXGL$UDELD3URFRIWKH$PHULFDQ6RFLHW\RI/LPQRORJ\DQG2FHDQRJUDSK\ $6/2 
         6XPPHU0HHWLQJ,QWHUDFWLRQVRQWKH(GJH6W-RKQ V1HZIRXQGODQG

5LVN0-2$6KHUZRRGDQG51DLUQ  7UDFLQJVHZDJHXVLQJDQWLSDWKDULDQVDQGJRUJRQLDQVH[DPSOHVIURP
          )ORULGDDQGWKH5HG6HD'HHSVHD&RUDO6\PSRVLXP3URJUDPPHDQG$EVWUDFWV

3DOPHU7$0RQWDJQD3$DQG1DLUQ5%  ³7KH(IIHFWVRI'UHGJH([FDYDWLRQ3LWRQ%HQWKLF0DFURIDXQDLQ
         2IIVKRUH/RXLVLDQD´-RI(QYLURQPHQWDO0DQDJHPHQW'2,V

'LEDMQLD01DLUQ5%DQG6HOHJHDQ-3  ³/RQJVKRUH6DQG7UDQVSRUW*UDGLHQWDQG%OXII(URVLRQLQWKH9LFLQLW\RI
          6W-RVHSK+DUERU0LFKLJDQ´3URFHHGLQJV,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(

'LEDMQLD06HOHJHDQ-3DQG1DLUQ5%  ³8VLQJ6FLHQFHWR&ODULI\WKH,VVXHVLQ6DQG5LJKWV/LWLJDWLRQ6W-RVHSK
          +DUERU0LFKLJDQ´3UHVHQWHGDWWKH$QQXDO0HHWLQJRIWKH$PHULFDQ6KRUHDQG%HDFK3UHVHUYDWLRQ$VVRFLDWLRQ
          &KLFDJR

1DLUQ5%DQG'LEDMQLD0  ³*HRPRUSKLF)HDWXUHV&UHDWHGDQG0DLQWDLQHGE\&URVVLQJ:DYH3DWWHUQV´3URFRI
         WKH$6&(&RDVWDO6HGLPHQWV&RQIHUHQFH¶

'LEDMQLD01DLUQ5%DQG6HOHJHDQ-3  ³*HRPRUSKLF5HVSRQVHDQG6HGLPHQW%XGJHWDW6W-RVHSK+DUERU
          6RXWKHDVW/DNH0LFKLJDQ´3URFRIWKH$6&(&RDVWDO6HGLPHQWV&RQIHUHQFH¶

5LVN0-DQG1DLUQ5%  ³)DFWRUV,QIOXHQFLQJWKH/RQJWHUP6WDELOLW\RIWKH&DUERQDWH6DQG%HDFKHVRI
         0DXULWLXV´3URFRIWKH$6&(&RDVWDO6HGLPHQWV&RQIHUHQFH¶

5REOLQ55'LEDMQLD01DLUQ5%DQG6HOHJHDQ-3³6KRUHOLQH5HVSRQVHWR'LNH)DLOXUHDW*UDQG0DUDLV+DUERU
         /DNH6XSHULRU0LFKLJDQ´3URFRIWKH$6&(&RDVWDO6HGLPHQWV&RQIHUHQFH¶

5LVN0-1DLUQ5%+XQWH:6KHUZRRG26DPPDUFR3%UDLWKZDLWH$:HDWKHUKHDG/DQG*RRGULGJH5
            ³%HWWHU:DWHU4XDOLW\%ULQJV%DFN&RUDOV:RUWKLQJ%DUEDGRV´3URFRIWKHWK&RQJUHVVRIWKH
         ,QWHUQDWLRQDO$VVRFLDWLRQRI7KHRUHWLFDODQG$SSOLHG/LPQRORJ\
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP           &RPPHUFLDOLQ&RQILGHQFH


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1DLUQ5%/X4DQG'UXFNHU%  ³(YROXWLRQRI'UHGJHG3LWV2IIVKRUH/RXLVLDQD´3URFHHGLQJV,QWHUQDWLRQDO
         &RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(

3HW\NRZVNL31DLUQ5%6HOHJHDQ-DQG%DUEHU/  ³&DW,VODQG&KDLQ5HVWRUDWLRQ*UHHQ%D\´3URF
        ,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(

1DLUQ5%%UXQWRQ'$DQG6HOHJHDQ-  ³0XOWLSOHDSSURDFKHVWRDVVHVVLQJWKHLPSDFWRIGDPVRQVHGLPHQW
         GHOLYHU\LQWKH6W-RVHSK5LYHU:DWHUVKHG0LFKLJDQ,OOLQRLV´WK)HGHUDO,QWHUDJHQF\6HGLPHQWDWLRQ&RQIHUHQFH
         5HQR1HYDGD$SULO

3RVVOH\7%UXQWRQ'$1DLUQ5%DQG6HOHJHDQ-  ³&RPSDULVRQRI6:$7DQG*66+$IRUDVVHVVPHQWRIWKH
         HIIHFWRI%03VRQZDWHUVKHGVHGLPHQW\LHOGDQGGHOLYHU\´WK)HGHUDO,QWHUDJHQF\6HGLPHQWDWLRQ&RQIHUHQFH
         5HQR1HYDGD$SULO

%UXQWRQ'$1DLUQ5%DQG6HOHJHDQ-  ³*HRPRUSKLFUHVSRQVHWRDGDPIDLOXUHLQWKH'HDG5LYHUZDWHUVKHG
         0LFKLJDQLQWHJUDWLRQRIHPSLULFDODQGDQDO\WLFDOWHFKQLTXHVLQD*,6IUDPHZRUN´WK)HGHUDO,QWHUDJHQF\
         6HGLPHQWDWLRQ&RQIHUHQFH5HQR1HYDGD

+DOYHUVRQ%1DLUQ5%%UXQWRQ'$DQG6HOHJHDQ-  ³$QDO\VLVRIDOWHUHGK\GURORJLFUHJLPHLQWKH&OLQWRQ5LYHU
        ZDWHUVKHG´UG)HGHUDO,QWHUDJHQF\+\GURORJLF0RGHOLQJ&RQIHUHQFH5HQR1HYDGD

1DLUQ5%DQG/X4  ³1XPHULFDO0RGHOLQJRI'UHGJHG3LWV&RDVWDO+\GURORJ\DQG3URFHVVHV´3URFHHGLQJVRIWKH
         $,+WK$QQLYHUVDU\0HHWLQJDQG,QWHUQDWLRQDO&RQIHUHQFH

%DNHU-(%RKOHQ):%RSS5)%URZQDZHOO%&ROOLHU7.)DUOH\.-*H\HU:51DLUQ5%DQG5RVPDQ/
           3&%VLQWKH8SSHUDQG7LGDO)UHVKZDWHU(VWXDU\7KH6FLHQFH%HKLQGWKH'UHGJLQJ&RQWURYHUV\LQWKH
         +XGVRQ%D\(VWXDU\(G/HYLQWRQ-6DQG:DOGPDQ-5&DPEULGJH8QLYHUVLW\3UHVV

$QJOLQ&'DQG1DLUQ5%  ³&RQIHGHUDWLRQ%ULGJH&DVH6WXG\´,Q6FRXU7HFKQRORJ\0HFKDQLFVDQG(QJLQHHULQJ
          3UDFWLFH(G$QQDQGDOH':0F*UDZ+LOO

/X41DLUQ5%DQG/DQJHQG\N6  ³*,6DQG0RGHOLQJ$QDO\VLVRQ0XVNHJRQ5LYHU'HOWD(YROXWLRQ´WK$QQXDO
         &RQIHUHQFHRI,QWHUQDWLRQDO$VVRFLDWLRQRI*UHDW/DNH5HVHDUFK$QQ$UERU0LFKLJDQ

/X4DQG1DLUQ5%  ³/DNH/HYHO3UHGLFWLRQLQ/DNH0LFKLJDQDQG+XURQ´WK$QQXDO&RQIHUHQFHRI,QWHUQDWLRQDO
          $VVRFLDWLRQRI*UHDW/DNH5HVHDUFK$QQ$UERU0LFKLJDQ

/X4'XFNHWW)+XWFKLQVRQ1%DOGZLQ5DQG1DLUQ5%  ³'(FRORJLFDO0RGHOLQJIRU$VVLPLODWLYH&DSDFLW\
         6WXG\RI/DNH6LPFRH´QG$QQXDO&RQIHUHQFHRI$TXDWLF7R[LFLW\:RUNVKRS:DWHUORR2QWDULR

=X]HN3-DQG1DLUQ5%  ³$XWRPDWHG/DNHZLGH&DOFXODWLRQVRI&RDVWDO)ORRGLQJDQG(FRQRPLF'DPDJHVIRU
         /DNH2QWDULR´3URFHHGLQJVRIWKH&RDVWDO'LVDVWHUV&RQIHUHQFH&KDUOHVWRQ6&

/X41DLUQ5%DQG6HOHJHDQ-3  ³1XPHULFDO0RGHOLQJRI3RWHQWLDO(URVLRQRIWKH/RZHU6KHER\JDQ5LYHU
         :LVFRQVLQ'XULQJ([WUHPH)ORRG)ORZV8VLQJ&+'6('´3URFHHGLQJVRIWKHWK,$+5&RQIHUHQFHRQ5LYHU
         &RDVWDODQG(VWXDULQH0RUSKRG\QDPLFV

%UXQWRQ'$DQG1DLUQ5%  ³:DWHUDQGVHGLPHQWEXGJHWVIRUODUJH*UHDW/DNHVZDWHUVKHGV´6RLODQG:DWHU
         &RQVHUYDWLRQ6RFLHW\(QYLURQPHQWDO0DQDJHPHQW&RQIHUHQFH5RFKHVWHU1HZ<RUN-XO\

1DLUQ5%DQG5LVN0-  ³&DUERQDWH%HDFKHV$EDODQFHEHWZHHQELRORJLFDODQGSK\VLFDOSURFHVVHV´(RV
         7UDQV$*8  )DOO0HHWLQJ6XSSO3DSHU+,

1DLUQ5%'LEDMQLD0$QJOLQ'DQG5LVN0-  ³'HVLJQRIFDUERQDWHVDQGEHDFKHVLQ%DUEDGRV´3URFHHGLQJV
         RIWKHWK,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP           &RPPHUFLDOLQ&RQILGHQFH


55HY                                                                                             $SSHQGL[%


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1DLUQ5%DQG'LEDMQLD0  ³'HVLJQDQG&RQVWUXFWLRQRID/DUJH+HDGODQG6\VWHP.HWD6HD'HIHQFH3URMHFW
         :HVW$IULFD´-RXUQDORI&RDVWDO5HVHDUFK6SHFLDO,VVXH1R

1DLUQ5%-RKQVRQ-+DUGLQ'DQG0LFKHO-  ³%LRORJLFDODQGSK\VLFDOPRQLWRULQJSURJUDPWRHYDOXDWHORQJWHUP
         LPSDFWVRIVDQGGUHGJLQJRSHUDWLRQVLQWKH8QLWHG6WDWHVRXWHUFRQWLQHQWDOVKHOI´-RXUQDORI&RDVWDO5HVHDUFK
         9RO

'LEDMQLD06DQFKH]&0DUWLQH]0/DUD$1DLUQ5%0DUYiQ)*)RXUQLHU&)DQG5LVN0  ³:K\DUH
          &DQFXQEHDFKHVHURGLQJ"$TXHVWLRQRILQWHJUDWHGFRDVWDO]RQHPDQDJHPHQW´3URFHHGLQJVRI;,,,&RQJUHVR
          3DQDPHULFDQRGH,QJHQLHULD2FHDQLFD\&RVWHUD0H[LFR

%UXQWRQ'$1DLUQ5%DQG6HOHJHDQ-  ³,QWHJUDWLRQRIK\GURORJLFVHGLPHQW\LHOGVHGLPHQWGHOLYHU\
         K\GURG\QDPLFDQGVHGLPHQWWUDQVSRUWPRGHOVLQODUJH*UHDW/DNHVZDWHUVKHGV´$PHULFDQ*HRSK\VLFDO8QLRQ
         )DOO0HHWLQJ6DQ)UDQFLVFR'HFHPEHU

%UXQWRQ'$/X41DLUQ5%DQG3RVVOH\7  ³8VHRI*,6DQGGLVWULEXWHGK\GURORJLFDQGVHGLPHQWGHOLYHU\
         PRGHOVDVWRROVIRUEHVWPDQDJHPHQWSODQQLQJRIODUJH*UHDW/DNHVZDWHUVKHGV´,QWHUQDWLRQDO6\PSRVLXPRQ
         )ORRG)RUHFDVWLQJDQG0DQDJHPHQWZLWK*,6DQG5HPRWH6HQVLQJ )06 *XDQJ]KRXDQG7KUHH*RUJHV
         &KLQD1RYHPEHU

0DUYiQ)*3RVVOH\70+DOYHUVRQ%(6HOHJHDQ-3DQG1DLUQ5%  ³6HGLPHQW'HOLYHU\DQG7UDQVSRUW
        $QDO\VLVIRUWKH0HQRPRQHH5LYHU:DWHUVKHG:,´,QWHUQDWLRQDO-RXUQDORI*UHDW/DNHV5HVHDUFK 6XEPLWWHGIRU
        UHYLHZ 

'LEDMQLD0DQG1DLUQ5%  ³&RWRQRX6HD'HIHQFH3URMHFW%HQLQ:HVW$IULFD´3URFHHGLQJVRIWKH,QWHUQDWLRQDO
          &RDVWDO(QJLQHHULQJ&RQIHUHQFH$6&(

5LVN0-1DLUQ5%DQG%KHURR5  ³3DOHRQWRORJ\DLGVFRDVWDOHQJLQHHULQJH[DPSOHVIURPWKH,QGLDQ2FHDQDQG
         WKH&DULEEHDQRIHQKDQFHGXQGHUVWDQGLQJRIFRDVWDOG\QDPLFV´$PHULFDQ*HRSK\VLFDO8QLRQ:HVWHUQ3DFLILF
         *HRSK\VLFV0HHWLQJ

'LEDMQLD01DLUQ5%DQG5RVV3  ³$QDO\VLVRI/RQJ7HUP6DQG$FFXPXODWLRQDWD+DUERUXVLQJ'+1XPHULFDO
          6LPXODWLRQ´&RDVWDO(QJLQHHULQJ9RO(OVHYLHU

+D\HV02DQG1DLUQ5%  ³1DWXUDO0DLQWHQDQFHRI6DQG5LGJHVDQG/LQHDU6KRDOVRQWKH86*XOIDQG$WODQWLF
        &RDVW6KHOYHVDQGWKH3RWHQWLDO,PSDFWVRI'UHGJLQJ´-RXUQDORI&RDVWDO5HVHDUFK9RO

/X4%UXQWRQ'$1DLUQ5%DQG'XFNHWW)  ³1XPHULFDOPRGHOLQJRILQWHUDFWLRQVEHWZHHQODNHOHYHOKHDG
          GLIIHUHQFHULYHUK\GURG\QDPLFVDQGEDWK\PHWULFFKDQJHLQWKH6W&ODLU5LYHU´$PHULFDQ*HRSK\VLFDO8QLRQ
          )DOO&RQIHUHQFH6DQ)UDQFLVFR

'LEDMQLD01DLUQ5%DQG5RVV3  ³(VWLPDWLQJ%\SDVVLQJ5DWH$URXQG&RDVWDO6WUXFWXUHV´$6&(3URFHHGLQJV
          &RDVWDO6HGLPHQWV¶

(OOLRWW7=X]HN31DLUQ5%DQG%HQGHU7  ³7KH,-&/DNH2QWDULR±6W/DZUHQFH5LYHU6WXG\$Q2YHUYLHZRI
            6HOHFWHG&RDVWDO7HFKQLFDO:RUNLQJ*URXS$FWLYLWLHVRQWKH/DNHDQG8SSHU5LYHU´3URFHHGLQJV&6&(VW
            &RDVWDO(VWXDU\DQG2IIVKRUH(QJLQHHULQJ&RQIHUHQFH

=X]HN3-1DLUQ5%(OOLRWW7DQG0RXOWRQ5  ³(URVLRQ0RGHOLQJDQG(FRQRPLF'DPDJH&DOFXODWLRQVZLWKWKH
         )ORRGDQG(URVLRQ3UHGLFWLRQ6\VWHP,-&/DNH2QWDULR±6W/DZUHQFH5LYHU6WXG\´&DQDGLDQ&RDVWDO
         &RQIHUHQFH.LQJVWRQ2QWDULR

=X]HN3-1DLUQ5%DQG7KLHPH6-  ³6SDWLDODQG7HPSRUDO&RQVLGHUDWLRQVIRU&DOFXODWLQJ6KRUHOLQH&KDQJH
         5DWHVLQWKH*UHDW/DNHV%DVLQ´-RXUQDORI&RDVWDO5HVHDUFK6SHFLDO,VVXH1R

$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP           &RPPHUFLDOLQ&RQILGHQFH


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=X]HN3-1DLUQ5%DQG5RVV3  ³4XDQWLI\LQJWKH+LVWRULF1HDUVKRUH6HGLPHQW%XGJHWIRU2WWDZDDQG$OOHJDQ
         &RXQW\/DNH0LFKLJDQ±WR3UHVHQW´3URFHHGLQJVRIWKH,QWHUQDWLRQDO$VVRFLDWLRQVRI*UHDW/DNHV
         5HVHDUFK&RQIHUHQFH

0DUYiQ)*1DLUQ5%DQG=X]HN3-  ³)(36 )ORRGDQG(URVLRQ3UHGLFWLRQ6\VWHP DWRROIRUHYDOXDWLQJ
        6KRUHOLQH3URFHVVHVDQGWKHLU(FRQRPLF,PSDFWVDQGLWV3RWHQWLDO$SSOLFDWLRQWRWKH7H[DV&RDVW´3URFRIWKH
        7H[DV*/2&RQIHUHQFH

0F*LOOLV$'LEDMQLD0DQG1DLUQ5%  ³&RWRQRX6HD'HIHQFH3URMHFW%HQLQ:HVW$IULFD´3URFHHGLQJVRIWKH
          &DQDGLDQ&RDVWDO(QJLQHHULQJ&RQIHUHQFH

1DLUQ5%DQG'LEDMQLD0  ³.HWDVHDGHIHQFHSURMHFW&RQVWUXFWLRQSKDVH´3URFHHGLQJVRIWKHWK,QWHUQDWLRQDO
         &RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ:RUOG6FLHQWLILF

1DLUQ5%DQG$QJOLQ&'  &RQIHGHUDWLRQ%ULGJH1HZ6FRXU'HVLJQ0HWKRGRORJ\IRU&RPSOH[0DWHULDOV
         3URFHHGLQJVRIWKH)LUVW,QWHUQDWLRQDO&RQIHUHQFHRQ6FRXURI)RXQGDWLRQV7H[DV$ 08QLYHUVLW\&ROOHJH
         6WDWLRQ7H[DV1RYHPEHU

=X]HN3-DQG1DLUQ5%  ³4XDQWLI\LQJ&OLPDWH&KDQJH,PSDFWVRQ&RDVWDO(YROXWLRQ$SSOLFDWLRQRIWKH)ORRG
         DQG(URVLRQ3UHGLFWLRQ6\VWHP )(36 ´3URFHHGLQJVRIWKH&RDVWDO'LVDVWHUV&RQIHUHQFH6DQ'LHJR&$
         

=X]HN3-DQG1DLUQ5%  ³$SSOLFDWLRQRIWKH)ORRGDQG(URVLRQ3UHGLFWLRQ6\VWHPLQ2WWDZDDQG$OOHJDQ
         &RXQWLHV0LFKLJDQ´3URFHHGLQJVRIWKH/DNH0LFKLJDQ6WDWHRIWKH/DNH&RQIHUHQFH0XVNHJRQ0LFKLJDQ
         

=X]HN3-DQG1DLUQ5%  ³3UHGLFWLQJ6KRUHOLQH(URVLRQZLWK1XPHULFDO0RGHOVDQG&XVWRP*,67RROV´3URFRI
         WKH&RDVWDO=RQH&RQIHUHQFH&OHYHODQG2KLR

=X]HN3-1DLUQ5%DQG/DQJHQG\N6/  ³/DNH0LFKLJDQ3RWHQWLDO'DPDJHV6WXG\3DUW´3URFRIWKH
         &RDVWDO*HRWRROV&RQIHUHQFH&KDUOHVWRQ6RXWK&DUROLQD

1DLUQ5%DQG6HOHJHDQ-3  ³6HGLPHQW7UDQVSRUW0RGHOLQJIRU7KUHH*UHDW/DNHV:DWHUVKHGV3URFHHGLQJVRI
         WKHWK,QWHUDJHQF\6HGLPHQWDWLRQ&RQIHUHQFH5HQR1HYDGD

=X]HN3-1DLUQ5%DQG/DQJHQG\N6/  ³$*,6/LQNHG)ORRGDQG(URVLRQ3UHGLFWLRQ6\VWHPIRUWKH*UHDW
         /DNHV´3URFHHGLQJVRIWKH,QWHUQDWLRQDO$VVRFLDWLRQRI*UHDW/DNHV5HVHDUFK&RQIHUHQFH&RUQZDOO2QWDULR
         

1DLUQ5%DQG=X]HN3-  ³&RDVWDO3URFHVVHVDQG(URVLRQRQ/DNH(ULHDWWKH0LOOHQQLXP´3URFHHGLQJVRIWKH
         /DNH(ULHDWWKH0LOOHQQLXP&RQIHUHQFH:LQGVRU2QWDULR

1DLUQ5%DQG'DYLV-  ³$*,6/LQNHG6KRUH(URVLRQ3UHGLFWLRQ6\VWHPIRU/DNH0LFKLJDQ´3URFHHGLQJV&RDVWDO
         6HGLPHQWV¶$6&(/RQJ,VODQG1<

.RED\DVKL19LUGULQH-&1DLUQ5%DQG6RORPRQ60  ³(URVLRQRI)UR]HQ&OLIIVGXHWR6WRUP6XUJHRQ
        %HDXIRUW6HD&RDVW´-RXUQDORI&RDVWDO5HVHDUFK  

0LQQV&.DQG1DLUQ5%  ³'HIHQVLEOH0HWKRGV$SSOLFDWLRQVRIDSURFHGXUHIRUDVVHVVLQJGHYHORSPHQWVDIIHFWLQJ
         OLWWRUDOILVKKDELWDWRIWKH/RZHU*UHDW/DNHV´,Q$TXDWLF5HVWRUDWLRQLQ&DQDGD%DFNKX\V3XEOLVKHUV(G7
         0XUSK\

=X]HN3-1DLUQ5%*DXWKLHU5/DQG7KLHPH6-  ³$*,6/LQNHG6KRUH(URVLRQ3UHGLFWLRQ6\VWHPIRU/DNH
         0LFKLJDQ´3URFHHGLQJVRIWKH&RDVWDO*HRWRROV&RQIHUHQFH&KDUOHVWRQ6RXWK&DUROLQD


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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1DLUQ5%0DF,QWRVK.-+D\HV021DL*$QWKRQLR6/DQG:69DOOH\  ³&RDVWDO(URVLRQDW.HWD
         /DJRRQ*KDQD±/DUJH6FDOH6ROXWLRQWRD/DUJH6FDOH3UREOHP´3URFHHGLQJRIWKHWK,QWHUQDWLRQDO
         &RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(&RSHQKDJHQ

1DLUQ5%6RORPRQ6.RED\DVKL1DQG9LUGULQH-  ³'HYHORSPHQWDQG7HVWLQJRID7KHUPDO0HFKDQLFDO
         1XPHULFDO0RGHOIRU3UHGLFWLQJ$UFWLF6KRUH(URVLRQ3URFHVVHV´3URFRIWKHWK,QWHUQDWLRQDO&RQIHUHQFHRQ
         3HUPDIURVW<HOORZNQLIH&DQDGD

1DLUQ5%DQG:LOOLV'+  ³(URVLRQ7UDQVSRUWDQG'HSRVLWLRQRI&RKHVLYH6HGLPHQWV´&RDVWDO(QJLQHHULQJ
         0DQXDO3DUW,,,&KDSWHU86$UP\&RUSVRI(QJLQHHUV&LUF1R

1DLUQ5%  ³(URVLRQRI&RKHVLYH6KRUHV´*UHDW/DNHV6SHFLDO,VVXHRI6KRUH %HDFK$SULO$6%3$
         .H\QRWHSUHVHQWDWLRQDWWKH$QQXDO&RQIHUHQFHRIWKH$6%3$9RO1R

=X]HN3-1DLUQ5%DQG0LQQV&.  ³7KH3K\VLFDO$VVHVVPHQWRI'HYHORSPHQWV$IIHFWLQJ)LVK+DELWDWLQ
         *UHDW/DNHV1HDUVKRUH5HJLRQV´3URFHHGLQJVRIWKH&DQDGLDQ&RDVWDO&RQIHUHQFH*XHOSK2QWDULR

$QJOLQ&'1DLUQ5%&RUQHWW$'XQDV]HJL/DQG'RXFHWWH'  ³%ULGJH3LHU6FRXU$VVHVVPHQWIRUWKH
          1RUWKXPEHUODQG6WUDLW&URVVLQJ&DQDGD´3URFHHGLQJVRIWKHWK,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO
          (QJLQHHULQJ$6&(2UODQGR

3DUVRQ/(0RUDQJ$DQG1DLUQ5%  ³*HRORJLF(IIHFWVRQ%HKDYLRXURI%HDFK)LOODQG6KRUHOLQH6WDELOLW\IRU
         6RXWKHDVW/DNH0LFKLJDQ´7HFKQLFDO5HSRUW&(5&86$UP\&RUSVRI(QJLQHHUV:DWHUZD\V
         ([SHULPHQW6WDWLRQ

=X]HN3-1DLUQ5%DQG*DXWKLHU5/  ³6SDWLDODQG7HPSRUDO9DULDELOLW\LQ7RSRI%DQN(URVLRQ5DWHV
         /HVVRQV/HDUQHGIURPWKH/DNH0LFKLJDQ3RWHQWLDO'DPDJHV6WXG\´3URFHHGLQJVRIWKH,QWHUQDWLRQDO
         $VVRFLDWLRQVRI*UHDW/DNHV5HVHDUFK&RQIHUHQFH

1DLUQ5%DQG3DUVRQ/(  ³(IIHFWLYHQHVVRI%HDFK1RXULVKPHQWDW6W-RVHSK+DUERU/DNH0LFKLJDQ´
         3URFHHGLQJV&RDVWDO'\QDPLFV $6&(3RODQG

1DLUQ5%6FRWW5'$QJOLQ&'DQG=X]HN3-  ³$QDO\VLVRI&RDVWDO3URFHVVHVDW7RURQWR,VODQGV´
         3URFHHGLQJVRIWKHWK,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(-DSDQ

1DLUQ5%DQG%DUURQ9  ³$Q(FRV\VWHP$SSURDFKWR6KRUHOLQH7UHDWPHQW´3URFHHGLQJV&RDVWDO=RQH&DQDGD
          +DOLID[

1DLUQ5%DQG+DWKHZD\'  ³%HQHILWVRI+D]DUG0LWLJDWLRQ3ODQQLQJWR5HGXFH6KRUHOLQH,PSDFWVGXHWR*UHDW
         /DNHV:DWHU/HYHO0DQDJHPHQW)OXFWXDWLRQVDQG6HYHUH6WRUPV´3URFHHGLQJVRIWKH$QQXDO$6&(+\GUDXOLFV
         &RQIHUHQFH%XIIDOR

1DLUQ5%  ³&RKHVLYH6KRUHVDQG/DUJH6FDOH&RDVWDO(YROXWLRQ´3URFHHGLQJV/DUJH6FDOH&RDVWDO%HKDYLRU
         86*62SHQ)LOH5HSRUW

1DLUQ5%  ³4XDVL'+0RUSKRG\QDPLF0RGHOOLQJ'HYHORSPHQW9DOLGDWLRQDQG$SSOLFDWLRQ´3URFHHGLQJVRIWKH
         &DQDGLDQ&RDVWDO&RQIHUHQFH9DQFRXYHU0D\

1DLUQ5%  ³3UDFWLFDO$SSOLFDWLRQVRI'DQG'&RDVWDO0RUSKRG\QDPLF0RGHOV´3URFHHGLQJVRIWKH,QWHUQDWLRQDO
         6\PSRVLXPRQ&RDVWDO*HRPRUSKRORJ\+LOWRQ+HDG6RXWK&DUROLQD-XQH

1DLUQ5%  ³3UHGLFWLQJ&RDVWDO3URFHVVHVDQG%HDFK)LOO3HUIRUPDQFH´3URFHHGLQJVRIWKH1DWLRQDO&RQIHUHQFHRQ
         %HDFK3UHVHUYDWLRQ7HFKQRORJ\6W3HWHUVEXUJ)ORULGD)HEUXDU\

1DLUQ5%DQG6RXWKJDWH+1  ³'HWHUPLQLVWLF3URILOH0RGHOOLQJRI1HDUVKRUH3URFHVVHV3DUW,,6HGLPHQW
         7UDQVSRUWDQG%HDFK3URILOH'HYHORSPHQW´&RDVWDO(QJLQHHULQJ
$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP           &RPPHUFLDOLQ&RQILGHQFH


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6RXWKJDWH+1DQG1DLUQ5%  ³'HWHUPLQLVWLF3URILOH0RGHOOLQJRI1HDUVKRUH3URFHVVHV3DUW,:DYHVDQG
        &XUUHQWV´&RDVWDO(QJLQHHULQJ

1DLUQ5%  ³'HVLJQLQJIRU&RKHVLYH6KRUHV´,QYLWHGSDSHUIRU&RDVWDO(QJLQHHULQJLQ&DQDGD 4XHHQ V
         8QLYHUVLW\

1DLUQ5%DQG5LGGHOO.-  ³1XPHULFDO%HDFK3URILOH0RGHOOLQJIRU%HDFKILOO3URMHFWV´3URF&RDVWDO(QJLQHHULQJ
         3UDFWLFH $6&(/RQJ%HDFK&DOLIRUQLD

%LVKRS&76NDIHO0*DQG1DLUQ5%  ³&RKHVLYH3URILOH(URVLRQE\:DYHV´3URFHHGLQJVRIWKHUG
         ,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ$6&(9HQLFH

1DLUQ5%  ³3UREOHPV$VVRFLDWHGZLWK'HWHUPLQLVWLF0RGHOOLQJRI([WUHPH%HDFK(URVLRQ(YHQWV´3URFHHGLQJV
         &RDVWDO6HGLPHQWV $6&(6HDWWOH

1DLUQ5%  ³$SSOLFDWLRQVRI(QHUJHWLFV%DVHG1XPHULFDO0RGHOV´,QYLWHG3DSHUIRUDQ$6&(:RUNVKRSRQ
         'HYHORSPHQWDQG$SSOLFDWLRQRI&URVV6KRUH6HGLPHQW7UDQVSRUW0RGHOV&RDVWDO6HGLPHQWV 6HDWWOH

8OLF]ND.DQG1DLUQ5%  ³&URVV6KRUH6HGLPHQW7UDQVSRUW0RGHOOLQJDQG&RPSDULVRQZLWK7HVWVDW3URWRW\SH
          6FDOH´3URFHHGLQJV&RDVWDO6HGLPHQWV $6&(6HDWWOH

1DLUQ5%  ³%HDFK3URILOHV%DUVDQGWKH5ROHRI/RQJ:DYHV´3URFHHGLQJVRIWKH:RUNVKRSRQ:DYH*URXSV
         $VVRFLDWH&RPPLWWHHRQ6KRUHOLQHV15&&DQDGD

1DLUQ5%  ³3UHGLFWLRQRI&URVV6KRUH6HGLPHQW7UDQVSRUWDQG%HDFK3URILOH(YROXWLRQ´3K'7KHVLV'HSDUWPHQW
         RI&LYLO(QJLQHHULQJ,PSHULDO&ROOHJH/RQGRQ

1DLUQ5%5RHOYLQN-$DQG6RXWKJDWH+1  ³7UDQVLWLRQ=RQH:LGWKDQG,PSOLFDWLRQVIRU0RGHOOLQJ6XUI]RQH
         +\GURG\QDPLFV´3URFHHGLQJVRIWKHQG,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ'HOIW7KH
         1HWKHUODQGV

1DLUQ5%  ³9DOLGDWLRQRID'HWDLOHG$ORQJVKRUH6HGLPHQW7UDQVSRUW0RGHO´3URFHHGLQJVRI(XURPHFK6DQG
         7UDQVSRUWLQ5LYHUV(VWXDULHVDQGWKH6HD:DOOLQJIRUG(QJODQG

1DLUQ5%  ³3UHGLFWLRQRI:DYH+HLJKWDQG0HDQ5HWXUQ)ORZLQ&URVV6KRUH6HGLPHQW7UDQVSRUW0RGHOOLQJ´
         3URFHHGLQJV,$+56\PSRVLXPRQ0DWKHPDWLFDO0RGHOOLQJRI6HGLPHQW7UDQVSRUWLQWKH&RDVWDO=RQH
         &RSHQKDJHQ'HQPDUN

6D\DR2-DQG1DLUQ5%  ³3K\VLFDO0RGHOOLQJRI6KRUH(URVLRQDQG/LWWRUDO'ULIW´3URFHHGLQJVRIWKHVW
        ,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJ0DODJD6SDLQ

)OHPLQJ&$3LQFKLQ%0DQG1DLUQ5%  ³(YDOXDWLRQRI&RDVWDO6HGLPHQW7UDQVSRUW3UHGLFWLRQ7HFKQLTXHV´
         3URFHHGLQJVRIWKHWK,QWHUQDWLRQDO&RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ7DLSHL7DLZDQ

1DLUQ5%  ³3K\VLFDO0RGHOOLQJRI:DYH(URVLRQRQ&RKHVLYH3URILOHV´3URFHHGLQJV,$+56\PSRVLXPRQ&RKHVLYH
         6KRUHV1DWLRQDO5HVHDUFK&RXQFLO&DQDGD%XUOLQJWRQ2QWDULR

1DLUQ5%3LQFKLQ%0DQG3KLOSRWW./  ³&RKHVLYH3URILOH0RGHO'HYHORSPHQW´3URFHHGLQJV,$+56\PSRVLXP
         RQ&RKHVLYH6KRUHV1DWLRQDO5HVHDUFK&RXQFLO&DQDGD%XUOLQJWRQ2QWDULR

3LQFKLQ%01DLUQ5%DQG)OHPLQJ&$  ³$1XPHULFDO$SSURDFKWR:DYH+LQGFDVWLQJ:DYH7UDQVIRUPDWLRQ
          DQG6HGLPHQW7UDQVSRUW3WH6DSLQ´3URFHHGLQJV&RDVWDO(QJLQHHULQJ6HPLQDU4XHHQ V8QLYHUVLW\&DQDGD
          




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP           &RPPHUFLDOLQ&RQILGHQFH


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)OHPLQJ&$3LQFKLQ%0DQG1DLUQ5%  ³(YDOXDWLRQRI&RDVWDO6HGLPHQW7UDQVSRUW7HFKQLTXHV3KDVH,,
         &RPSDULVRQZLWK0HDVXUHG'DWD1DWLRQDO5HVHDUFK&RXQFLO´&DQDGLDQ&RDVWDO6HGLPHQW6WXG\5HSRUW1R
         &6

3LQFKLQ%0DQG1DLUQ5%  ³7KH8VHRI1XPHULFDO0RGHOVIRUWKH'HVLJQRI$UWLILFLDO%HDFKHVWR3URWHFW&RKHVLYH
          6KRUHV´3URFHHGLQJV,$+56\PSRVLXPRQ&RKHVLYH6KRUHV1DWLRQDO5HVHDUFK&RXQFLO&DQDGD%XUOLQJWRQ
          2QWDULR

.DPSKXLV-:'DYLHV0+1DLUQ5%DQG6D\DR2-  ³&DOFXODWLRQRI/LWWRUDO6DQG7UDQVSRUW5DWH´&RDVWDO
       (QJLQHHULQJ9RO$PVWHUGDP

.DPSKXLV-:DQG1DLUQ5%  ³6FDOH(IIHFWVLQ/DUJH&RDVWDO0RELOH%HG0RGHOV´ 3URFRIWKHWK,QWHUQDWLRQDO
       &RQIHUHQFHRQ&RDVWDO(QJLQHHULQJ+RXVWRQ


% $ZDUGV
       *ROG0HGDOLQ&LYLO(QJLQHHULQJ4XHHQ V8QLYHUVLW\.LQJVWRQ2QWDULR
       4XHHQ V8QLYHUVLW\-HQNLQV7URSK\IRUDWKOHWLFDQGVFKRODVWLFDFKLHYHPHQW
       8QZLQ3RVWJUDGXDWH3UL]HLQ&LYLO(QJLQHHULQJ,PSHULDO&ROOHJHRI6FLHQFH7HFKQRORJ\DQG
         0HGLFLQH/RQGRQ(QJODQG




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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% 3UHYLRXV([SHUW:LWQHVV([SHULHQFH 
   &RPSHQVDWLRQ

% 3UHYLRXV([SHUW:LWQHVV([SHULHQFH

Muskegon Conservation Club v. Consumers Energy Co1R 0LFKLJDQWK&LUFXLW&RXUW  IRU
&RQVXPHUV0XVNHJRQ5LYHU±H[SHUWUHSRUWGHSRVLWLRQDQGWULDOWHVWLPRQ\ 

Banks et al. v. USA1R1R )HG&O ±OLDELOLW\SKDVH IRU'2-H[SHUWUHSRUWDWOHDVWRQHGHSRVLWLRQ
DQGWULDOWHVWLPRQ\ 

Banks et al. v. USA1R1R )HG&O ±GDPDJHVSKDVH IRU'2-WKUHHRUIRXUH[SHUWUHSRUWVDW
OHDVWRQHGHSRVLWLRQDQGWULDOWHVWLPRQ\ 

Georgia-Pacific Consumer Products LP, et al. v. NCR CorpHWDO1R&9 :'0LFK  .DODPD]RR
5LYHUIRU1&5±H[SHUWUHSRUWGHSRVLWLRQDQGWULDOWHVWLPRQ\ 

Appvion Inc. and NCR Corp. v. P.H. Glatfelter Co. et al )R[5LYHUIRU1&5±H[SHUWUHSRUWDQGGHSRVLWLRQ
VHWWOHPHQWUHDFKHGEHIRUHWULDOWKHUHIRUHQRWHVWLPRQ\ 

% &RPSHQVDWLRQ

7KHFRPSHQVDWLRQUDWHIRU'U1DLUQLVKRXU




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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5HVXOWVRI'RZQVWUHDP+\GUDXOLF6WXG\




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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& 6XPPDU\RI5HVXOWVDW'RZQVWUHDP7HVW3ODLQWLIIV

$VXPPDU\RIWKHUHVXOWVRIPRGHOUXQVDWWKHGRZQVWUHDP7HVW3URSHUWLHVLVSUHVHQWHGEHORZLQ7DEOHV&
DQG&7KHIROORZLQJPRGHOUXQVKDYHEHHQFRQVLGHUHG
x    $FWXDO+DUYH\5XQ5HSUHVHQWLQJDFWXDO+DUYH\(YHQWFRQGLWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKHGDPV
     5HIHUWR)LJXUHV&WR&
x    1R3URMHFW5XQ,5HSUHVHQWLQJK\SRWKHWLFDOFRQGLWLRQVZLWKRXWWKHGDPVDQGFKDQQHOLPSURYHPHQWV
     ZLWKLQWKH*2/5HIHUWR)LJXUHV&WR&
x    1R3URMHFW5XQ,,5HSUHVHQWLQJK\SRWKHWLFDOFRQGLWLRQVZLWKRXWWKHGDPV LQFOXGLQJFKDQQHO
     LPSURYHPHQWVRQ*2/ 
x    *DWHV&ORVHG5XQ5HSUHVHQWLQJDFWXDO+DUYH\(YHQWFRQGLWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKHGDPV
     XQGHUWKHK\SRWKHWLFDOQRUHVHUYRLUUHOHDVHVFHQDULR
x    *DWHV2SHQ5XQ5HSUHVHQWLQJDFWXDO+DUYH\(YHQWFRQGLWLRQVXSVWUHDPDQGGRZQVWUHDPRIWKHGDPV
     XQGHUWKHK\SRWKHWLFDOJDWHVIXOO\RSHQ PD[LPXPUHOHDVH VFHQDULR
x    +LVWRULFDO5XQV6LPXODWLQJKLVWRULFDOUDLQHYHQWVXQGHUWKHK\SRWKHWLFDOFRQGLWLRQVZLWKRXWWKHGDPVDQG
     FKDQQHOLPSURYHPHQWVZLWKLQWKH*2/5HIHUWR)LJXUHV&WR&




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


55HY                                                                                   $SSHQGL[&


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7DEOH&6XPPDU\RI+DUYH\UHODWHGUXQUHVXOWVIRU'RZQVWUHDP3ODLQWLIIV

                                                         0D[LPXPGHSWKRILQXQGDWLRQDERYH))( IW                                  'XUDWLRQ KU 
  3ODLQWLII                                             $FWXDO         1R3URMHFW        1R3URMHFW         *DWHV   $FWXDO   1R3URMHFW   1R3URMHFW     *DWHV
                                                         +DUYH\             ,                 ,,              2SHQ    +DUYH\       ,            ,,          2SHQ

  $OGUHG9DO /LQGD                                                                                                              

  *RRG5HVRXUFHV//&                                                                                                            

  60&,QYHVWPHQW                                                                                                                

  0LOWRQ$UQROG                                                                                                                 

  6KLSRV-HQQLIHU                                                                                                                  

  +ROOLV:D\QH                                                                                                                  

  6LOYHUPDQ3HWHU                                                                                                                  

  *RGHMRUG6WUDXVH                                                                                                               

  &XWWV3DXO                                                                                                                        

  +R%HFN\                                                                                                                                             

  %H\RJOX0DKPXW                                                                                                               

  $]DU3KLOOLS                                                                                                                

  6WDKO7LPRWK\                                                                                                                  

  :HOOLQJ6KDZQ                                                                                                                 
1R3URMHFW5XQ,LVWKHVDPHUXQDVWKH1R3URMHFW5XQSUHVHQWHGLQWKLVUHSRUW
 1R3URMHFW5XQ,,LQFOXGHVFKDQQHOLPSURYHPHQWVRQ*2/DQGWKHORZHU%XIIDOR%D\RXUHFWLILFDWLRQ



$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                                 &RPPHUFLDOLQ&RQILGHQFH                                                $SSHQGL[&




                                                                                                                                                                         A1696
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7DEOH&6XPPDU\RIUHVXOWVRI+LVWRULFDOUXQVDW'RZQVWUHDP3ODLQWLIIV

                                                  0D[LPXPGHSWKRILQXQGDWLRQ IW                                          'XUDWLRQ KU 
  3ODLQWLII
                                                                                                

  $OGUHG9DO /LQGD                                                                                                   

  *RRG5HVRXUFHV//&                                                                                                  

  60&,QYHVWPHQW                                                                                                  

  0LOWRQ$UQROG                                                                                                  

  6KLSRV-HQQLIHU                                                                                                         

  +ROOLV:D\QH                                                                                                         

  6LOYHUPDQ3HWHU                                                                                                         

  *RGHMRUG6WUDXVH                                                                                                        

  &XWWV3DXO                                                                                                              

  +R%HFN\                                                                                                                                

  %H\RJOX0DKPXW                                                                                                          

  $]DU3KLOOLS                                                                                                           

  6WDKO7LPRWK\                                                                                                      

  :HOOLQJ6KDZQ                                                                                               




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                               $SSHQGL[&




                                                                                                                                                                A1697
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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW$OGUHG9DO /LQGD $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                   $SSHQGL[&




                                                                                                                                                                       A1698
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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW*RRG5HVRXUFHV//& $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                            1$                                   ´                          


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                   $SSHQGL[&




                                                                                                                                                                       A1699
        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23             Page 1256 of 1584




)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW60&,QYHVWPHQW $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                                                              IW                        SOXVIHHW


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                   $SSHQGL[&




                                                                                                                                                                       A1700
        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23             Page 1257 of 1584




)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW0LOWRQ$UQROG $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                                                              IW                        IWWRIWLQ


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                     $SSHQGL[&




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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW6KLSRV-HQQLIHU $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                            1$                                                    KRXVHEDFN\DUG


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                    $SSHQGL[&




                                                                                                                                                                       A1702
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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW+ROOLV:D\QH $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                                                                                        


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                   $SSHQGL[&




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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW6LOYHUPDQ3HWHU $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                   $SSHQGL[&




                                                                                                                                                                       A1704
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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW*RGHMRUG6WUDXVH $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                            1$                                   IW                              IW


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                   $SSHQGL[&




                                                                                                                                                                       A1705
        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23             Page 1262 of 1584




)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW&XWWV3DXO $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                                                                        LQVLGHRXWVLGH


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                   $SSHQGL[&




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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW+R%HFN\ $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                            1$                                   1$                              1$


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                   $SSHQGL[&




                                                                                                                                                                       A1707
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)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW%H\RJOX0DKPXW $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                                                              IW             IWRQ$XJSHDNXSWRIW


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                   $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23             Page 1265 of 1584




)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW$]DU3KLOLS $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                            1$                                                                IW


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23             Page 1266 of 1584




))(DWWKLV7HVW3URSHUW\LVORZHUWKDQWKHJURXQGHOHYDWLRQ%HFDXVHRXUPRGHOVLPXODWHVVXUIDFHZDWHUIORZVVLPXODWHGIORRGGXUDWLRQDWWKLV7HVW
3URSHUW\LVRQO\IRUWZRYHU\EULHISHULRGVRIWLPHZKHQVLPXODWHG:6(ZDVDERYHWKHJURXQGHOHYDWLRQ
)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW6WDKO7LPRWK\ $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                            1$                                                       IWLQORZHUOHYHO




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                     $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23             Page 1267 of 1584




)LJXUH&6LPXODWHGZDWHUVXUIDFHHOHYDWLRQVDW:HOOLQJ6KDZQ $FWXDO+DUYH\5XQ 
    6LPXODWHGSHDNZDWHUVXUIDFH                 6XUYH\HG+LJK:DWHU0DUN                 6LPXODWHGGHSWKRI     $OOHJHGGHSWKLQILUVWIORRUDVSHU3ODLQWLII¶V
       HOHYDWLRQ IW1$9'                     (OHYDWLRQ>@ IW1$9'               ZDWHULQ)LUVW)ORRU        GHSRVLWLRQ>S%$,5'@

                                                            1$                                   IW                    !IWLQEDVHPHQW


$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                                                    $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1268 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW$OGUHG9DO /LQGD $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1269 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW*RRG5HVRXUFHV//& $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1270 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW60&,QYHVWPHQW $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




                                                                                                                                              A1714
        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1271 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW0LOWRQ$UQROG $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1272 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW6KLSRV-HQQLIHU $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




                                                                                                                                              A1716
        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1273 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW+ROOLV:D\QH $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1274 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW6LOYHUPDQ3HWHU $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




                                                                                                                                              A1718
        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1275 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW*RGHMRUG6WUDXVH $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




                                                                                                                                              A1719
        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1276 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW&XWWV3DXO $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1277 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW+R%HFN\ $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1278 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW%H\RJOX0DKPXW $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1279 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW$]DU3KLOOLS $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1280 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW6WDKO7LPRWK\ $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                        Filed 01/10/23   Page 1281 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW:HOOLQJ6KDZQ $FWXDO+DUYH\5XQDQG1R3URMHFW,5XQ 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW$OGUHG9DO /LQGD +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW*RRG5HVRXUFHV//& +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP 


55HY                                                         &RPPHUFLDOLQ&RQILGHQFH                             $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                 Filed 01/10/23   Page 1284 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW60&,QYHVWPHQW +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF
6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP                             &RPPHUFLDOLQ&RQILGHQFH


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        Case 1:17-cv-09002-LAS                              Document 266-2                 Filed 01/10/23   Page 1285 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW0LOWRQ$UQROG +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF
6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP                             &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW6KLSRV-HQQLIHU +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF
6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP                             &RPPHUFLDOLQ&RQILGHQFH


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        Case 1:17-cv-09002-LAS                              Document 266-2                 Filed 01/10/23   Page 1287 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW+ROOLV:D\QH +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF
6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP                             &RPPHUFLDOLQ&RQILGHQFH


55HY                                                                                                        $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                 Filed 01/10/23   Page 1288 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW6LOYHUPDQ3HWHU +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF
6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP                             &RPPHUFLDOLQ&RQILGHQFH


55HY                                                                                                        $SSHQGL[&




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        Case 1:17-cv-09002-LAS                              Document 266-2                 Filed 01/10/23   Page 1289 of 1584




)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW*RGHMRUG6WUDXVH +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF
6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP                             &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW&XWWV3DXO +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF
6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP                             &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW+R%HFN\ +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF
6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP                             &RPPHUFLDOLQ&RQILGHQFH


55HY                                                                                                        $SSHQGL[&




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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW%H\RJOX0DKPXW +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF
6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP                             &RPPHUFLDOLQ&RQILGHQFH


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                                                                                                                                       A1736
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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW$]DU3KLOOLS +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF
6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP                             &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW6WDKO7LPRWK\ +LVWRULFDO6WRUPV 




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF
6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP                             &RPPHUFLDOLQ&RQILGHQFH


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)LJXUH&6LPXODWHGIUHHZDWHUVXUIDFHHOHYDWLRQVDW:HOOLQJ6KDZQ +LVWRULFDO6WRUPV




$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV8SVWUHDP+\GUDXOLF
6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP                             &RPPHUFLDOLQ&RQILGHQFH


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$GGLFNVDQG%DUNHU)ORRG&RQWURO5HVHUYRLUV
8SVWUHDP+\GUDXOLF6WXG\
([SHUW5HSRUWRI'U51DLUQ 8SVWUHDP          &RPPHUFLDOLQ&RQILGHQFH


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                             Case 1:17-cv-09002-LAS                                                    Document 266-2                                     Filed 01/10/23                                       Page 1297 of 1584




                             WƌŽƉĞƌƚǇ/ĚĞŶƚŝĨŝĐĂƚŝŽŶ                                           ůĞǀĂƚŝŽŶ/ŶĨŽƌŵĂƚŝŽŶ;ĨĞĞƚͿ                                                                    'ĂƚĞƐůŽƐĞĚZƵŶ
                                                                                                                                                                                                                                                     EƵŵďĞƌŽĨ
                                                                                                     >ŽǁĞƐƚ                   ^ĞĐŽŶĚ
                                                                                           'ĂƌĂŐĞ            &ŝƌƐƚ&ŝŶŝƐŚĞĚ               DĂǆĞƉƚŚŝŶ&ŝƌƐƚ        DĂǆĞƉƚŚŝŶ&ŝƌƐƚ       &ůŽŽĚŝŶŐĚƵƌĂƚŝŽŶŝŶ     &ůŽŽĚŝŶŐĚƵƌĂƚŝŽŶŝŶ ĨůŽŽĚŝŶŐƚŝŵĞƐ
              WůĂŝŶƚŝĨĨ                         ĚĚƌĞƐƐ              hWͬKtE >ŽǁĞƐƚ'ƌĂĚĞ           ĚũĂĐĞŶƚ                 &ŝŶŝƐŚĞĚ
                                                                                          ůĞǀĂƚŝŽŶ                &ůŽŽƌ                   &ŝŶŝƐŚĞĚ&ůŽŽƌ;ĨĞĞƚͿ     &ŝŶŝƐŚĞĚ&ůŽŽƌ;ŝŶĐŚĞƐͿ      &ŝƌƐƚ&ŝŶŝƐŚĞĚ&ůŽŽƌ   &ŝƌƐƚ&ŝŶŝƐŚĞĚ&ůŽŽƌ;ŚƌͿ ŽĨĨŝƌƐƚĨŝŶŝƐŚĞĚ
                                                                                                      'ƌĂĚĞ                     &ůŽŽƌ
                                                                                                                                                                                                                                                         ĨůŽŽƌ

ϭ        >ĂŬĞƐŽŶůĚƌŝĚŐĞ                                              hW         ϭϬϲ͘ϯ         Ͳ        ϭϬϴ͘ϰ         ϭϬϴ͘ϵ     Ͳ                 ϭ͘ϭ                       ϭϯ͘ϳ                   ϵĚĂǇ͕ϭϭŚƌ                  ϮϮϳ                     ϭ

Ϯ        tŝŶĚ͕<ƵƌƚΘ:ĞĂŶ                                              hW         ϭϬϲ͘ϵ       ϭϬϴ͘ϲ      ϭϬϴ͘Ϯ         ϭϬϵ͘Ϯ   ϭϬϵ͘ϯ               Ϭ͘ϵ                       ϭϬ͘ϱ                   ϲĚĂǇ͕ϭϰŚƌ                  ϭϱϴ                     ϭ

ϯ         DŝƚĐŚĞůů͕^ƚĞǁĂƌƚ            ϮϬϯϮϯĞƐĞƌƚtŝůůŽǁƌŝǀĞ        hW         ϭϬϱ͘ϳ       ϭϬϴ͘ϱ      ϭϬϴ͘Ϭ         ϭϬϵ͘Ϭ     Ͳ                 ϭ͘ϭ                       ϭϮ͘ϳ                   ϴĚĂǇ͕ϭϰŚƌ                  ϮϬϲ                     ϭ

ϰ    tĞƐƚ,ŽƵƐƚŽŶŝƌƉŽƌƚŽƌƉ͘         ϭϴϬϬϬ'ƌŽĞƐĐŚŬůĞZŽĂĚ           hW         ϭϬϲ͘ϲ         Ͳ        ϭϬϳ͘ϱ         ϭϬϴ͘ϲ                       ϭ͘ϱ                       ϭϳ͘ϳ                  ϭϱĚĂǇ͕ϭϭŚƌ                  ϯϳϭ                     ϭ

ϱ         DŝƚĐŚĞůů͕DĂƌŝŽ                                               hW         ϭϭϵ͘ϵ       ϭϮϭ͘ϱ      ϭϮϭ͘ϭ         ϭϮϭ͘ϵ     Ͳ                 ϭ͘ϴ                       Ϯϭ͘ϯ                   ϭĚĂǇ͕ϭϯŚƌ                   ϯϳ                     ϭ

ϲ       ƵƌŶŚĂŵ͕ůŝǌĂďĞƚŚ              ϭϱϲϮϲ&ŽƵƌ^ĞĂƐŽŶƌŝǀĞ         hW         ϭϬϮ͘ϲ       ϭϬϱ͘Ϭ      ϭϬϰ͘Ϭ         ϭϬϱ͘ϱ     Ͳ                 ϰ͘ϱ                       ϱϰ͘ϱ                  ϭϳĚĂǇ͕ϭϵŚƌ                  ϰϮϳ                     ϭ
                                     ϭϲϭϭϭƐƉĞŶŐůĞŶŶƌŝǀĞ͕hŶŝƚ
ϳ          ^ŝĚŚƵ͕<ƵůǁĂŶƚ                                               hW         ϭϬϱ͘ϭ         Ͳ        ϭϬϲ͘ϯ         ϭϬϳ͘ϭ   ϭϭϲ͘ϳ               ϯ͘Ϭ                       ϯϱ͘ϳ                  ϭϳĚĂǇ͕ϭϬŚƌ                  ϰϭϴ                     ϭ
                                            ϲϬϯ͕ƵŝůĚŝŶŐ&
ϴ          dƵƌŶĞǇ͕ZŽďĞƌƚ               ϭϱϵϭϬZĞĚtŝůůŽǁƌŝǀĞ          hW         ϭϬϭ͘ϳ       ϭϬϰ͘Ϯ      ϭϬϯ͘ϴ         ϭϬϰ͘ϳ     Ͳ                 ϱ͘ϰ                       ϲϱ͘Ϭ                  ϭϳĚĂǇ͕ϭϴŚƌ                  ϰϮϲ                     ϭ

ϵ          ,ŽůůĂŶĚ͕^ĐŽƚƚ                 ϭϵϮϯtŝŶŐůĞĂĨƌŝǀĞ           hW         ϭϬϲ͘ϭ       ϭϬϳ͘ϰ      ϭϬϳ͘Ϯ         ϭϬϳ͘ϴ     Ͳ                 Ϯ͘Ϯ                       Ϯϲ͘ϵ                   ϭϳĚĂǇ͕ϳŚƌ                  ϰϭϱ                     ϭ

ϭϬ      WŽƉŽǀŝĐŝ͕ĂƚŚĞƌŝŶĞ           ϭϵϵϮϳWĂƌƐŽŶƐ'ƌĞĞŶŽƵƌƚ         hW          ϵϵ͘ϲ       ϭϬϭ͘ϳ      ϭϬϬ͘ϵ         ϭϬϮ͘Ϯ     Ͳ                 ϭ͘ϳ                       ϮϬ͘ϴ                  ϭϲĚĂǇ͕ϮϭŚƌ                  ϰϬϱ                     ϭ

ϭϭ          ^ŽĂƌĞƐ͕ůŝƐŝŽ                                              hW          ϵϴ͘ϳ       ϭϬϬ͘ϳ      ϭϬϬ͘Ϭ         ϭϬϭ͘ϭ     Ͳ                 Ϯ͘ϵ                       ϯϰ͘ϱ                   ϭϳĚĂǇ͕ϲŚƌ                  ϰϭϰ                     ϭ

ϭϮ         DŝĐƵ͕ŚƌŝƐƚŝŶĂ              ϲϰϭϭĂŶǇŽŶWĂƌŬƌŝǀĞ          hW          ϵϳ͘ϳ        ϵϵ͘ϲ       ϵϴ͘ϵ         ϵϵ͘ϴ      Ͳ                 ϰ͘Ϯ                       ϰϵ͘ϵ                  ϭϳĚĂǇ͕ϮϭŚƌ                  ϰϮϵ                     ϭ

ϭϯ       'ŝƌŽŶ͕:ƵĂŶΘŶŶ               ϰϯϭϬĂƐƐŝĚǇWĂƌŬ>ĂŶĞ         hW          ϵϵ͘Ϭ       ϭϬϭ͘Ϭ      ϭϬϬ͘Ϯ         ϭϬϭ͘Ϭ   ϭϬϭ͘ϱ               Ϯ͘ϵ                       ϯϱ͘ϭ                   ϭϴĚĂǇ͕ϵŚƌ                  ϰϰϭ                     ϭ

ϭϰ    ĂŶŬĞƌ͕dŽĚĚΘŚƌŝƐƚŝŶĂ        ϰϲϭϰ<ĞůůŝǁŽŽĚDĂŶŽƌ>ĂŶĞ         hW          ϵϳ͘ϲ       ϭϬϬ͘Ϯ       ϵϵ͘ϲ         ϭϬϬ͘ϳ     Ͳ                 ϯ͘Ϯ                       ϯϴ͘ϲ                   ϭϳĚĂǇ͕ϵŚƌ                  ϰϭϳ                     ϭ

ϭ        ůĚƌĞĚ͕sĂůΘ>ŝŶĚĂ              ϴϯϱdŚŽƌŶǀŝŶĞ>ĂŶĞ          KtE          ϳϴ͘ϵ        ϴϬ͘ϭ       ϳϵ͘ϰ         ϴϬ͘ϲ     Eͬ                Ϭ͘ϰ                       ϰ͘ϲ                    ϬĚĂǇ͕ϭϬŚƌ                   ϭϬ                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
Ϯ       'ŽŽĚZĞƐŽƵƌĐĞƐ͕>>            ϳϲϬDĞŵŽƌŝĂůDĞǁƐ^ƚ͘ηϰ       KtE          ϳϱ͘ϭ         Ͳ         ϳϳ͘ϴ         ϳϴ͘ϱ     ϴϳ͘ϰ                                           Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϯ         ^D/ŶǀĞƐƚŵĞŶƚ               ϳϳϳ^͘DĂǇĚĞƌĞĞŬƌŝǀĞ       KtE          ϳϮ͘ϰ        ϳϴ͘Ϯ       ϳϯ͘ϱ         ϳϳ͘Ϯ     ϳϳ͘ϯ                                           Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϰ          DŝůƚŽŶ͕ƌŶŽůĚ                 ϴϱϬ^ŝůǀĞƌŐĂƚĞƌŝǀĞ        KtE          ϳϲ͘ϯ        ϳϴ͘ϲ       ϳϴ͘Ϭ         ϳϴ͘ϱ     ϳϴ͘ϲ                                           Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϱ         ^ŚŝƉŽƐ͕:ĞŶŶŝĨĞƌ                ϵϯϭĂǇŽƵWĂƌŬǁĂǇ           KtE          ϳϴ͘Ϯ        ϴϬ͘ϱ       ϴϬ͘Ϯ         ϴϬ͘ϵ      Ͳ                                             Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϲ          ,ŽůůŝƐ͕tĂǇŶĞ                   ϭϰϵϭϰZŝǀĞƌ&ŽƌĞƐƚ         KtE          ϳϰ͘ϱ        ϳϲ͘ϳ       ϳϱ͘Ϯ         ϳϲ͘ϲ      Ͳ                                             Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϳ         ^ŝůǀĞƌŵĂŶ͕WĞƚĞƌ               ϭϮϱϭϱtĞƐƚĞƌůĞǇ>ĂŶĞ         KtE          ϳϯ͘ϰ        ϳϱ͘Ϯ       ϳϰ͘ϰ         ϳϱ͘Ϭ      Ͳ                                             Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϴ        'ŽĚĞũŽƌĚ͕^ƚƌĂƵƐĞ                ϭϰϯϯϰ,ĞĂƚŚĞƌĨŝĞůĚ          KtE          ϲϴ͘ϱ        ϳϯ͘ϱ       ϳϮ͘ϴ         ϳϯ͘ϳ      Ͳ                                             Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϵ            ƵƚƚƐ͕WĂƵů                 ϯϭϭůƵĞtŝůůŽǁƌŝǀĞ        KtE          ϲϴ͘ϴ        ϳϭ͘ϭ       ϲϵ͘ϵ         ϳϭ͘ϳ      Ͳ                                             Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
ϭϬ           ,Ž͕ĞĐŬǇ                                                KtE          ϲϵ͘Ϯ

ϭϭ       ĞǇŽŐůƵ͕DĂŚŵƵƚ                  ϭϬϳtĂƌƌĞŶƚŽŶƌŝǀĞ         KtE          ϲϯ͘ϲ        ϲϰ͘ϴ       ϲϯ͘ϴ         ϲϱ͘ϰ      Ͳ                 ϭ͘Ϭ                       ϭϮ͘ϲ                   ϬĚĂǇ͕ϮϭŚƌ                   Ϯϭ                     Ϯ

ϭϮ          ǌĂƌ͕WŚŝůůŝƉ                   ϯDĂŐŶŽůŝĂĞŶĚ           KtE          ϰϯ͘ϲ        ϰϴ͘ϭ       ϰϰ͘ϴ         ϰϴ͘ϵ      Ͳ                 ϴ͘ϱ                      ϭϬϮ͘ϯ                   ϮĚĂǇ͕ϱŚƌ                    ϱϯ                     ϭ

ϭϯ         ^ƚĂŚů͕dŝŵŽƚŚǇ               ϮϲϱŚŝŵŶĞǇZŽĐŬZŽĂĚ         KtE          ϱϱ͘Ϭ        ϱϱ͘ϰ       ϱϱ͘Ϯ         ϱϮ͘ϭ     ϱϱ͘ϵ               Ϯ͘ϴ                       ϯϯ͘ϲ                   ϬĚĂǇ͕ϭϳŚƌ                   ϭϳ                     ϯ

ϭϰ        tĞůůŝŶŐ͕^ŚĂǁŶ                    ϱϳϯϭ>ŽŐĂŶ>ĂŶĞ           KtE          ϯϲ͘ϭ        ϰϲ͘ϴ       ϯϳ͘ϯ         ϯϲ͘Ϭ     ϰϳ͘ϰ               ϴ͘ϴ                      ϭϬϱ͘ϱ                    ϮĚĂǇ͕ϮŚƌ                   ϱϬ                     ϭ




                                                                                                                                                                                                                                                                        A1741
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                          Document 266-2 Filed 01/10/23 Page 1298 of 1584
  -RE1R

 1
           IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 2
 3   In Re: UPSTREAM                    )
     ADDICKS AND BARKER                 )
 4   (TEXAS) FLOOD-CONTROL              )    Sub-Master Docket No
     RESERVOIRS                         )    17-9001L
 5   _______________________            )
                                        )
 6   THIS DOCUMENT APPLIES              )
     TO:                                )
 7                                      )
     ALL UPSTREAM CASES                 )
 8
 9
                  ORAL AND VIDEOTAPED DEPOSITION OF
10                            BARRY KEIM
                          DECEMBER 6, 2018
11
12           ORAL DEPOSITION OF BARRY KEIM, produced as
13        a witness at the instance of Plaintiff and
14        duly sworn, was taken in the above styled and
15        numbered cause on December 6, 2018, from 9:31
16        a.m. to 10:44 a.m., before KATERI A.
17        FLOT-DAVIS, CSR, CCR in and for the State of
18        Texas, reported by machine shorthand, at the
19        offices of Williams Kherkher Hart Boundas,
20        8441 Gulf Freeway, Houston, Texas, pursuant to
21        the Federal Rules of Civil Procedure and the
22        provisions stated on the record herein.
23
24
25

                                                                Page 1

                               9HULWH[W/HJDO6ROXWLRQV
                                    

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Case 1:17-cv-09002-LAS            %DUU\.HLP3K''HFHPEHU
                                  Document 266-2 Filed 01/10/23 Page 1299 of 1584
 -RE1R
    OHJDOFRQFOXVLRQ                          06+(/'2EMHFWLRQ$VNHGDQG
    <RXFDQDQVZHU                       DQVZHUHG
    7+(:,71(66*LYHPHWKHTXHVWLRQ  7+(:,71(66<HV
    DJDLQQRZ                                0598-$6,129,&<RXZDQWWRWDNH
    0598-$6,129,&, OOUHSKUDVHLW  DEUHDNIRUDPLQXWH"
    7+(:,71(66:KDWLVWKHUHOHYDQFH  06+(/'6XUH
    RIWKRVHFLWHV",VWKDWZKDW\RX UH       7+(9,'(2*5$3+(5:HDUHRIIWKH
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   ,PHDQKRZLVLWUHOHYDQWWR\RX   7+(9,'(2*5$3+(5:H UHRQWKH
   ZKDWDPRXQWRIUDLQIDOORUIORRGLQJRFFXUUHG  UHFRUGDWDP
   LQ1HGHUODQGRU*URYH7H[DV"                   0598-$6,129,&:H OOVDYHWKH
   $:HOOLW VWKHIDFWWKDWWKDW VWKH  UHPDLQGHURIRXUTXHVWLRQVIRUWULDO
   KLJKHVWSRLQWUDLQIDOOVWKDWRFFXUUHGLQ        3DVVWKHZLWQHVV
   +XUULFDQH+DUYH\                               0512/(1'RZQVWUHDPZLOOUHVHUYH
   4<HDKEXWGR\RXNQRZZKHUHWKRVH  TXHVWLRQVXQWLOWKHWLPHRIWULDO
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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
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        In re DOWNSTREAM ADDICKS ) Sub-Master Docket
        AND BARKER (TEXAS)        ) No. 1:17-9002 L
        FLOOD-CONTROL RESERVOIRS )
        __________________________) Chief Judge Susan G. Braden
                                  )
        THIS DOCUMENT RELATES TO: )
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        ALL DOWNSTREAM CASES      )
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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
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        In re UPSTREAM ADDICKS    ) Sub-Master Docket
        AND BARKER (TEXAS)        ) No. 17-9001L
        FLOOD-CONTROL RESERVOIRS )
        __________________________) Judge Charles F. Lettow
                                  )
        THIS DOCUMENT RELATES TO: )
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        ALL UPSTREAM CASES        )
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       4:HOOWKDW VJRRG,ZLOOGHILQHLWIRU\RX         WKHFXELFIHHWSHUVHFRQGIORZGRZQ%XIIDOR%D\RXWKHUH
       0\QH[WTXHVWLRQLVJRLQJWREHGLG\RXNQRZZKDWWKDW         ZDVPDSVWKDWVKRZHGDWWKLVFXELFIHHWSHUVHFRQGWKLV
       GHILQLWLRQZDVRQ$XJXVWWK%XWOHWPHWHOO\RXZKDW       LVZKDWZRXOGEHLQXQGDWHG
       LQGXFHGVXUFKDUJHLV,W VSDUWRIWKH&RUSVRI               6RUHJDUGOHVVRIKRZWKHFXELFIHHWSHU
      (QJLQHHUV ZDWHUFRQWUROPDQXDOWKDWVD\VLQFHUWDLQ          VHFRQGJRWWKHUHWKHUHZHUHPDSVVKRZLQJDWWKLVFXELF
      FLUFXPVWDQFHVEDVHGRQUDWHRIULVHDQGHOHYDWLRQLQ       IHHWSHUVHFRQGWKLVLVZKDWZLOOEHIORRGHG
      WKHUHVHUYRLULQFHUWDLQFLUFXPVWDQFHVWKHVHUHOHDVH          4:HUH\RXSDUWRIWKHGLVFXVVLRQZKHWKHURUQRW
      JDWHVZLOOEHRSHQHGIRUGDPSURWHFWLRQDQGIRU               WKH&RUSVVKRXOGIROORZWKHZDWHUFRQWUROPDQXDOZLWK
      SURWHFWLRQRI'RZQWRZQ+RXVWRQDQGWKH6KLS&KDQQHO          UHVSHFWWRLQGXFHGVXUFKDUJH"
      $UH\RXIDPLOLDUZLOO\RXDFFHSWWKDW        $1R
      DVDGHILQLWLRQ"                                              4$QG\RXVDLG$XJXVWWK
      $<HDKDEVROXWHO\                                    $
      4:KHQGLG\RXILUVWKHUHWKHZRUGLQGXFHG            4$XJXVWWK,VWKDW"
      VXUFKDUJH"                                                   $<HV
      $,KDGQHYHUKHDUGLQGXFHG,KDYHKHDUGMXVW        46RULJKWDWPLGQLJKW
      VXUFKDUJHEHIRUH1HYHUKHDUGLQGXFHG                       $5LJKW
      42ND\:KHQZHUH\RXDZDUHQRZWKDW\RXNQRZ      4RQWKHWK:HUHWKHUHHYHUDQ\, P
      WKHGHILQLWLRQRILQGXFHGVXUFKDUJHZKHQGLG\RXEHFRPH      JRLQJWRXVHDLUTXRWHVHPHUJHQF\SURFHGXUHV
      DZDUHWKDWWKH&RUSVZDVJRLQJWRLPSOHPHQWLQGXFHG           LPSOHPHQWHG":DVWKHHPHUJHQF\SURWRFROLPSOHPHQWHGE\
      VXUFKDUJH"                                                    WKH&RUSVZLWKUHVSHFWWRQRWLI\LQJ+DUULV&RXQW\)ORRG


                                                                                                              3DJHVWR

              6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                           VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

                                                                                                                               A1746
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                                                                                                                            
       WKHZDWHUDQGWKH,EHOLHYHVHZDJHRIWKHVXEGLYLVLRQ        WRGD\LIWKHUHZHUHQR$GGLFNV%DUNHUGDP)DLU"
       7KDW VP\H[WHQWRINQRZOHGJH                                  06&$+,//2EMHFWLRQK\SRWKHWLFDO
       4$QGWKH\ZDQWZDWHUWRIORZVDIHO\"                    $,ZRXOGQ WVD\WKDWQR
       $,GRQ WNQRZ                                          4 %\0U0F*HKHH 2ND\,WKLQN\RXVDLG
       43DUWRIWKDWLVSDUWRIWKHSXUSRVHIRUWKH         EHIRUHDQG, PJRLQJWRJREDFNWRDSUHYLRXV
       08'UHJXODWLRQVLVWRFRQWUROIORRGZDWHU"                    TXHVWLRQ,IWKHVHJDWHVKDGQHYHUEHHQRSHQHG,WKLQN
       $,GRQ WNQRZ                                          \RXVDLGEHIRUHWKDWWKHUHZRXOGKDYHEHHQPRUHZDWHU
       42ND\                                                  WKDWIORZHGLQWRWKH6SULQJ9DOOH\DUHD,VWKDWULJKW"
       $,GRQ WNQRZ                                          $<HV
      4%XLOGHUV+DUULV&RXQW\KDVEXLOGLQJFRGHVIRU       4+RZZRXOGLWJHWWKHUH"
      EXLOGHUV"                                                      $7KLVLVWKHHQGRIWKHQRUWKHQGVSLOOZD\
      $ :LWQHVVQRGVKHDGDIILUPDWLYHO\                     DOVRNQRZQDVWKHHPHUJHQF\VSLOOZD\RUWKHDX[LOLDU\
      4:HWDONHGDERXWHOHYDWLRQ$UHWKHUHDQ\RWKHU       VSLOOZD\6RZDWHUZLOOHLWKHUUXQDURXQGLWRUDVWKH
      EXLOGLQJFRGHVWKDW\RXFRXOGLPDJLQHRUWKDWDUHOLNHO\       ZDWHUJHWVKLJKHULWFDQJRRYHUWKHWRSRILW
      LIWKHUH VQRGDP"                                             6RLQWKLVSDUWLFXODUFDVHZDWHUZKDW
      06&$+,//2EMHFWLRQK\SRWKHWLFDO            KDSSHQHGZLWK+DUYH\LVZDWHUJRWWRIHHW7KH
      4 %\0U0F*HKHH +\SRWKHWLFDOO\"                      JURXQGHOHYDWLRQZKHUHWKDWVSLOOZD\WLHVLQWRWKH
      $,IWKHUHDUHQRGDPV,GRQ WNQRZ/LNHZH          JURXQGLV6RDERXWDIRRWRIZDWHUFDPHDURXQGWKH
      WDONHGDERXWZLWKWKHSURMHFWVLQWKHED\RXVDQGOHYHHV       HQGRILW7KHZDWHUGLGQ WLQWKLVFDVHJRRYHUWKH
      WKHUHZRXOGKDYHWREHDQHQJLQHHULQJDQDO\VLVWR              WRSRIWKHFRQFUHWHVSLOOZD\%XWWKHUHZDVD&RUSVRI
      GHWHUPLQHZKDWFRXOGEHLPSDFWHGLIWKHUHZHUHQRGDPV         (QJLQHHUVIRUHFDVWDWVRPHSRLQWHLWKHURQ6XQGD\RU
      WKHUH$QGWKHQWKHUHZRXOGSRVVLEO\KDYHWREHVRPH          0RQGD\WKDWZDVIRUHFDVWLQJWKHSRRORI$GGLFNVWRUHDFK
      W\SHRIFRGHVIRUWKDW                                        
      42ND\(OHYDWLRQZRXOGEHRQHRIWKRVHW\SHVRI       6RLIWKHQDWXUDOJURXQGHOHYDWLRQKHUHLV
      FRGHV"                                                         DQGWKHIRUHFDVWZDVDERXWIHHWRI


                                                                                                                            
       $(OHYDWLRQ\HV                                        ZDWHUZRXOGKDYHEHHQFRPLQJDURXQGWKHWRSRIWKH
       4+RZDERXWPDWHULDO"                                    VSLOOZD\$QGZHGLGKDYHVRPHHQJLQHHULQJFRQVXOWDQWV
       $,GRQ WNQRZ                                          XVHWKDWDQGWKHQWXUQWKHZDWHUORRVHDQGOHWLW
       4$UH\RXIDPLOLDUZLWKDQ\VWDWHSURMHFWVWKDW          JRWRVHHZKHUHLWZRXOGJREHFDXVHZHZHUHQ WVXUH
       LQYROYHGUDLQDJHGLVWULFWVIURPWKH6WDWH"                      DERXWKRZLWZDVJRLQJWRLQWHUDFWZLWKDOOWKH
       $1R                                                    EXLOGLQJVDQGVXEGLYLVLRQVGHWHQWLRQEDVLQVURDGVLGH
       4+RZDERXWOHYHHLPSURYHPHQWGLVWULFWV"                 GLWFKV\VWHPVWKDWDUHLQWKLVSDUWRIWKHDUHDULJKW
       $1R                                                    KHUH
       46WRUPZDWHUFRQWUROGLVWULFWV"                          6RWKHLUPRGHOLQJVKRZHGWKDWPXFKRIWKLV
      $1R                                                   DUHDZRXOGEHLQXQGDWHGZLWKZDWHUDJDLQWKLVLVDW
      4'R\RXZRUNDWDOOZLWKWKH7H[DV&RPPLVVLRQRQ       WKHDQGWKDWZDWHUZRXOGKDYHFXWWKURXJKWKH
      (QYLURQPHQWDO4XDOLW\"                                         %HOWZD\XQGHUSDVVHVKHUHDQGIORZHGGRZQWKURXJK
      $0HSHUVRQDOO\QRWUHDOO\QR                        SRUWLRQVRI6SULQJ9DOOH\
      4:KDWGR\RXWKLQNWKHLUUROHLVDVIDUDVIORRG       47DNHWKHIDUULJKWSRUWLRQRI6SULQJ9DOOH\
      FRQWUROJRHV"                                                  'R\RXKDYHDQ\LGHDZKDWWKHWLPHRIFRQFHQWUDWLRQZDV
      $7RP\NQRZOHGJHWKH\GRQ WKDYHDUROH              IURPWKHWLPHLWVSLOOVRYHUKHUHXQWLOWKHWLPHLW
      7KH\ UHPDLQO\ZDWHUTXDOLW\$WOHDVWWKDW VWKHZD\,       KLWVVD\+LOVKLUH9LOODJH"
      XQGHUVWDQGZKDWWKH\GRZDWHUTXDOLW\                        $,GRQ WNQRZ
      4'HVFULEHWKH&LW\RI+RXVWRQ VPLVVLRQDVIDU         4,WZRXOGQ WEHLQVWDQWDQHRXV"
      DVIORRGFRQWUROJRHV                                         $1R
      $0\XQGHUVWDQGLQJRIZKDWWKH&LW\LV                  4,IWKH\KDGQ WRSHQHGWKHJDWHVDQGWKHZDWHU
      UHVSRQVLEOHIRUZKHQLWFRPHVWRGUDLQDJHLVWKH               VSLOOHGDV\RXMXVWGHVFULEHGLWZRXOGWKLVTXHVWLRQ
      URDGVLGHGLWFKGUDLQDJHDQGWKHXQGHUJURXQGGUDLQDJH           PD\DQVZHULWVHOIEXWWKHKRPHVGDPDJHGIURPWKH
      V\VWHPZLWKLQWKHFLW\OLPLWVRI+RXVWRQ                      LQGXFHGVXUFKDUJHZRXOGQRWKDYHUHFHLYHGLQGXFHG
      4$QGDOOWKRVHGUDLQDJHQHHGVZRXOGEHGLIIHUHQW       VXUFKDUJHGDPDJH"


                                                                                                             3DJHVWR

              6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                           VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

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                                                                                                                             
       VWDWHPHQWDWWULEXWHGWRKHUWKDWWRHVWDEOLVK                 $7KHUHPLJKWKDYHEHHQVRPHSHRSOHRQWKHSKRQH
       SHUPDQHQWOLDLVRQV/DWHUVKHVD\VWKDWWKH\ZDQWHGWR          EXW,ZDVLQSHUVRQWKHUH
       GHYHORSSXVKQRWLILFDWLRQV7KDWZRXOGEHLQ                    42ND\$QGWKHQLI\RXWXUQWRWKHODVWSDJH
       DQWLFLSDWLRQRIRWKHUH[WUHPHIORRGLQJHYHQWVKDSSHQLQJ          ZKLFKLV%DWHV1RWKHUH VDTXRWHDWWULEXWHGWR
       LQWKHIXWXUHFRUUHFW"                                          \RXZKHUHDJDLQ\RX UHWDONLQJDERXW7KHELJJHVW
       $3RVVLEO\                                               SUREOHPIRUXV+&)&'ZDVFRPPXQLFDWLRQVZLWK\ DOO
       4:K\HOVHZRXOG\RXQHHGWKDW"                           ,IZHDUHJRLQJFRQWLQXHWRGRWKLVJURXSZKDWLVWKH
       $,PHDQWKHHVWDEOLVKPHQWRISHUPDQHQWOLDLVRQV         SRLQWRIWKLVJURXS"
       ZRXOGEHVRPHWKLQJWKDW\RXFRXOGXVHRUXWLOL]HGXULQJ          7KHLQWHQWZDVWRFRQWLQXHWKHJURXS"
      DOHVVHUHYHQWWKDW,ZRXOGFRQVLGHUDQH[WUHPHHYHQW          $<HV
      42ND\                                                  4$QGZK\ZRXOGLWEHQHFHVVDU\WRFRQWLQXHWKH
      $6RLI+LJKZD\LVLPSDFWHGRU:HVWKHLPHU              JURXS"
      3DUNZD\LVLPSDFWHG\RXFRXOGVWLOOXWLOL]HDOLDLVRQ          $:HOOWKLVJURXS VEHHQWKHUHIRUWHQ\HDUV
      WRZRUNZLWK\RXWRPDNHVXUHWKDWFRPPXQLFDWLRQLV             DQGWKHUHDVRQWRFRQWLQXHLWLVWRLQFUHDVHWKH
      ZKDW VKDSSHQLQJZKDW VH[SHFWHGWRKDSSHQ%XWLWPD\        HIIHFWLYHQHVVRIFRPPXQLFDWLRQEHWZHHQDOOWKHVH
      QRWLPSDFWDQ\ERG\                                             SDUWQHUVZKHQWKHUHDUHLVVXHVRUFRQFHUQVDW$GGLFNV
      42ND\                                                  DQG%DUNHU
      $3XVKQRWLILFDWLRQVSUREDEO\ZRXOGEHDQH[WUHPH        42ND\,I\RXORRNDFRXSOHURZVGRZQWKHUH V
      W\SHRIDQHYHQWZKHUH\RX UHDFWXDOO\WHOOLQJVRPHERG\         DVWDWHPHQWDWWULEXWHGWR&RUDJJLR,EHOLHYHWKDW V
      VRPHWKLQJLVJRLQJWRKDSSHQ                                   0DJOLR&RUDJJLR,VWKDWFRUUHFW"
      4,WVD\VKHUH$OLFLDVD\V:HKDYHDOUHDG\            $<HV
      EULHIHGWKH:KLWH+RXVHRIGHYHORSLQJDPHWKRGWRSXVK          4:KRLVWKDW"
      QRWLILFDWLRQVRXWWRHYHU\RQH6RWKDWZRXOGEHIRUDQ        $+HZRUNVDWWKH&RUSV,GRQ WNQRZH[DFWO\
      H[WUHPHHYHQW"                                                  ZKDWKLVWLWOHLV
      $<HDK,DVVXPHVKH VWDONLQJDERXWWKH                4+DYH\RXLQWHUDFWHGZLWKKLPEHIRUH"


                                                                                                                             
       ZLUHOHVVHPHUJHQF\DOHUWVWKDWLVDEOHWREHXWLOL]HG            $8KKXK
       ZKHUHDJRYHUQPHQWDJHQF\FDQSXVKRXWPHVVDJHVWRFHOO          4:KDWUROHGRHVKHSOD\HYHQLI\RXGRQ WNQRZ
       SKRQHVWKDWDUHQ WQHFHVVDULO\LW VQRWDQRSWLQ             KLVWLWOH"
       V\VWHP<RXFDQKLWHYHU\FHOOSKRQHUHJDUGOHVV                $,GRQ WNQRZLIKH VDSURMHFWPDQDJHU,NQRZ
       %XW,GRQ WNQRZLIWKDW VZKDWVKH V              KH VDQHQJLQHHU,GRQ WNQRZZKDWH[DFWO\KLVWLWOH
       WDONLQJDERXWEXW,NQRZWKDW VRQHRIWKHWKLQJV               LVIRUOLNH$GGLFNVDQG%DUNHU
       +DUULV&RXQW\LVORRNLQJDW                                     42ND\+HVD\VDQG,TXRWH, GOLNHWRKDYH
       4'LGWKDWH[LVWDWWKHWLPHRI+XUULFDQH+DUYH\"         DQH[HUFLVHZKHUHZHZDONWKURXJKDQHYHQWZLWKHYHU\RQH
       $,WGLGH[LVWEXWLWZDVQRWDEOHWREH\RX          LQYROYHG3$2HWFHWHUDDQGDFWXDOO\WDONDERXW
      FRXOGQ WGUDZDSRO\JRQDQGKLWMXVWDFHUWDLQDUHD0\        VXUFKDUJHUHOHDVHQRWLILFDWLRQVDQGFRPPXQLFDWLRQV
      XQGHUVWDQGLQJDWWKHWLPHRI+DUYH\ZDVWKDW\RXFRXOG          6RKHZRXOGEHVD\LQJWKDWEHFDXVHKH
      RQO\ZDUQDIDLUO\ODUJHDUHDRUFRXQW\VL]HDUHD$QG         DQWLFLSDWHVWKDWVXUFKDUJHUHOHDVHVZRXOGRFFXUDJDLQLQ
      WKDWZRXOGKDYHEHHQRYHUZDUQLQJDVLJQLILFDQWQXPEHURI        WKHIXWXUH"
      SHRSOHDQGHVSHFLDOO\LQGLYLGXDOVZKRGLGQRWXQGHUVWDQG        06&$+,//)RUP
      $GGLFNV%DUNHUZKHUHUHOHDVHVZHUH6R\RXZRXOGKDYH          $,WFRXOGKDSSHQDJDLQ
      KDGDORWRISHRSOHJHWWLQJDPHVVDJHWKDWGLGQ WDSSO\         4 %\0U6HYHUVRQ 7KDQN\RX7KHQDWWKHYHU\
      WRWKHPZKLFKLVZK\ZHGLGQRWXVHLW                        ERWWRPLWVD\VWLPHIRUQH[WPHHWLQJPLG-XQHEHIRUH
      %XWJRLQJIRUZDUGP\XQGHUVWDQGLQJLV            WKHWK
      WKDWWKLVV\VWHPZLOOKDYHWKHFDSDELOLW\WRGUDZD             $8KKXK
      VSHFLILFSRO\JRQDQGWKHQZHFDQKLWZKDWZHZDQWWR           4'R\RXNQRZLIWKDWPHHWLQJRFFXUUHG"
      KLWZLWKWKDWPHVVDJH                                          $7KHUHZDVDPHHWLQJ,GRQ WUHPHPEHUZKHQLW
      42ND\$VDJHQHUDOPDWWHUZDVWKLVPHHWLQJ           ZDV7KHUH VDFWXDOO\EHHQWZRPHHWLQJVVLQFHWKHQ
      FRQGXFWHGRYHUWKHSKRQHRUZDVLWLQSHUVRQ"                   47ZRPHHWLQJVVLQFH$SULO"
      $7KLVZDVLQSHUVRQ                                    $<HDK
      4,QSHUVRQ"                                             4$QGGLG\RXDWWHQGERWKRIWKRVHPHHWLQJV"


                                                                                                              3DJHVWR

              6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                           VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

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                                                                                                                              
       $,GLGQRWDWWHQGWKHWKDQG,GLGQRW               4$QGZKRLVWKHLQWHQGHGDXGLHQFHRIWKLV
       DWWHQG,EHOLHYHWKHUHZDVRQHODVW:HGQHVGD\$QG          PHPRUDQGXP"
       WKDW VEHFDXVHWKH&RUSVLVFRPLQJXSZLWKWKHH[HUFLVH        $+LVWRULFDOO\LW VEHHQLQWHUQDOEXWLWKDV
       6RWKHPDLQSDUWRIWKHPHHWLQJVULJKWQRZDUHWKH\ UH          EHHQEHFRPLQJPRUHDQGPRUHSXEOLFIDFLQJHVSHFLDOO\LQ
       JRLQJWRFRPHXSZLWKWKHH[HUFLVH                             WKH   IORRGV%XWLW VVRUWRILW V
       4:KDWLVWKHH[HUFLVH"                                  ZULWWHQLQODQJXDJHWKHUH VODQJXDJHLQKHUHWKDW,
       $,WLVJRLQJWREH,GRQ WNQRZ,W VJRLQJ         FRXOGVHHVRPHLQGLYLGXDOVQRWXQGHUVWDQGLQJ%XWLW V
       WREHDOORIXVRQ1RYHPEHUVWDWWKH'36RIILFHRQ            VRUWRIPHDQWWREHLQWHULPEXWLW VEHFRPLQJ
       7KHQZKDWHYHUH[HUFLVHWKHZHDWKHUVHUYLFHDQGWKH        LQFUHDVLQJO\SXEOLFIDFLQJ
      &RUSVFRPHVXSZLWK6RWKH\ UHJRLQJWR,DVVXPHSXW       4,VLWDYDLODEOHRQOLQH"
      DORWRIUDLQLQWKHUHVHUYRLUV                               $7KH+DUYH\RQHLV
      4$UHWKHUHSDUWLFXODUDFWLRQVWKDWWKH\ UHJRLQJ       4, OOUHSUHVHQWWR\RXWKDW, YHORFDWHGWKLV
      WREHPRGHOLQJ"                                                RQOLQHDVZHOOWKHWD[GD\YHUVLRQ
      $,GRQ WNQRZ                                         $2KLVLW"2ND\)URPRXUZHEVLWH"
      42ND\                                                 4,EHOLHYHVR
      $:HGRQ WJHWDZKROHORWRIWKHH[HUFLVH              $2ND\
      EHFDXVHZHZHJRLQMXVWDVDUHVSRQVHSDUWRIWKLV        4<HDK:KHQ\RXZURWHWKLVGLG\RXUHFHLYH
      $QGWKLVLVZKHUH\RXFDQ\RXGRQ WZDQWWRNQRZD          LQSXWIURPWKH$UP\&RUSVRI(QJLQHHUV"
      ZKROHORWDKHDGRIWLPHQHFHVVDULO\EHFDXVH\RXZDQWWR        $1R
      ZRUNWKHHYHQWOLNHLW VDVWUXHDV\RXFDQUHDOO\PDNH        4'LG\RXFLUFXODWHDGUDIWWRWKHP"
      LW                                                            $1R
      %XW,WKLQNDORWRIWKHIRFXVLVJRLQJWR       4, GOLNH\RXWRWXUQWRSDJH2QWKDW
      EHRQWKHFRPPXQLFDWLRQVVLGH7KDWZDVNLQGRIP\            SDJHWKHUH VDKHDGLQJWKDWVD\V+DUULV&RXQW\)ORRG
      HPSKDVLVZLWKWKLVLVZHQHHGWRZRUNRQWKH                   &RQWURO'LVWULFW$FWLRQV
      FRPPXQLFDWLRQVVLGH                                           $<HV


                                                                                                                              
       42ND\, GOLNHWRKDQG\RXDQHZGRFXPHQW             4$QGWKDW VWKHDFWLRQVWKDW,JXHVVWKH+&)&'
       :RXOG\RXPDUNWKLVDV1R                                   WRRNGXULQJWKHWD[GD\IORRG,VWKDWFRUUHFW"
        ([KLELWPDUNHG                                 $<HV
       4 %\0U6HYHUVRQ 'R\RXUHFRJQL]HWKLV                 4:DV+&)&'LQYROYHGDWDOOGXULQJWKDWHYHQW
       GRFXPHQW"                                                        ZLWKRSHUDWLQJRUPDLQWDLQLQJWKH$GGLFNVDQG%DUNHU
       $<HV                                                    5HVHUYRLUV"
       4$QGZKDWLVLW"                                         $1R
       $7KLVLVWKHSRVWIORRGUHSRUWWKDWP\VHOIDQG           4'RHV+&)&'KDYHDQ\DXWKRULW\WRGLUHFW
       6WHYH)LW]JHUDOGZLOOSXWWRJHWKHUDIWHUHYHU\                   RSHUDWLRQRIWKRVH"
      VLJQLILFDQWVWRUPLQ+DUULV&RXQW\                             $1R
      4$QGLVWKDWSDUWRI\RXUGXWLHVDQG\RXUMRE          42ND\7KHQH[WKHDGLQJVD\V3URMHFWV7KDW
      WRZULWHWKLVUHSRUW"                                           +HOSHG5HGXFH+RXVH)ORRGLQJ$QGLWJRHVRQWRWKH
      $<HV                                                   QH[WSDJHDQGOLVWVYDULRXVED\RXVDQGWKHSURMHFWVLQ
      4'RHV6WHYH)LW]JHUDOGFRDXWKRULWZLWK\RX             WKHP
      HYHU\WLPH"                                                     $5LJKW
      $1RQRWHYHU\WLPH+HXVHGWRZULWHLWDORQJ        4&DQ\RXGHVFULEHKRZWKLVVHFWLRQZDVSXW
      WLPHDJRZKHQ,ILUVWVWDUWHG+HZRXOGZULWHWKHP            WRJHWKHU"
      7KHQZH GNLQGRIFRDXWKRULWWRJHWKHU7KHQ, YHWDNHQ        $6WHYHZURWHWKDW
      RYHUPRUHDQGPRUHWKHUHVSRQVLELOLWLHVRIGRLQJLW            42ND\
      $Q\WLPHZHKDYHDUHDOO\ELJHYHQWZH            $6WHYH)LW]JHUDOGZURWHWKDW
      XVXDOO\SDUWQHUDQGKHGRHVPRUHRIWKHHQJLQHHULQJ            4,I\RXWXUQWRSDJHLWVD\V*UHHQV%D\RX"
      VWXII7KHUH VSDJHVLQKHUHDWWKHEDFNWKDWVD\VWKLV        $<HV
      LVZKDW+&)&'SURMHFWVSUHYHQWHGIURPKDSSHQLQJVWXII          4$QGLWVD\VWKDWWKHUH V+&)&'UHJLRQDOSURMHFW
      OLNHWKDWVWXIIWKDW, PQRWDVYHUVHGLQ+H OOSXW          DQGDIHGHUDOSURMHFW$QGWKHUHZHUHSDUWLDO
      WKRVHSDUDJUDSKVLQ                                            H[FDYDWLRQRIVL[UHJLRQDODQGRQHIHGHUDOGHWHQWLRQ


                                                                                                               3DJHVWR

              6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                           VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

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                                                                                                                          
       RSHUDWLRQVFHQWHUZK\\RXZHUHQ WJHWWLQJPRUHVSHFLILFV        RI7KLVLVZKDWKDSSHQHG,W VIDFWXDO7KLVLVKRZ
       EHIRUHWKDWHYHQLQJDVWRDTXDQWLW\"                           KLJK$GGLFNVJRWWKLVLVKRZKLJK%DUNHUJRWWKLVLV
       $,GRQ WNQRZ$QG,ZRXOGJRIXUWKHUDQGVD\          WKHUHOHDVHV,W VSLFWXUHVVKRZLQJLWDQGWKHQDOVR
       WKH&RUSVOLDLVRQVWKDWZHUHLQWKHURRPZLWKPHVLWWLQJ        VKRZLQJKRZWKHZDWHUFDPHRXWRIWKHQRUWKHQGRI
       ULJKWEHKLQGPHGLGQRWKDYHUHDOO\DQ\EHWWHU                  $GGLFNVVSLOOZD\DQGZKDWFRXOGKDYHKDSSHQHGLIWKH
       LQIRUPDWLRQHLWKHU                                             SRROKDGUHDFKHGIHHW
       4<RXWDONHGDERXWVRPHRIWKHRXWUHDFKWKDW\RX         6RLWLVJHQHUDOO\MXVWDIDFWXDO
       KDYHGRQHLQRQHRIWKHXSVWUHDPQHLJKERUKRRGV:KDW           SUHVHQWDWLRQRIZKDWKDSSHQHGDERXWWKHZKROH+DUYH\
       QHLJKERUKRRGZDVWKDWGR\RXUHFDOO"                           VWRUP,WGRHVQ WMXVWIRFXVRQ$GGLFNV%DUNHU,W V
      $&LQFR5DQFK                                          WKHZKROHFRXQW\
      4&LQFR5DQFK7KDQN\RX:KHQZDVWKDW               42ND\,VDFRPSRQHQWRIWKDWSUHVHQWDWLRQWKDW
      SUHVHQWDWLRQ"<RXVDLGLWZDVRQKXUULFDQH                    \RX UHGRLQJHLWKHUWKHRQHV\RXZHUHGRLQJSRVWWD[
      SUHSDUHGQHVV"                                                  GD\IORRGRUQRZSRVW+DUYH\LVWKHUHVWLOODSXEOLF
      $,WZDVRQKXUULFDQHSUHSDUHGQHVV,WZDVWKH         HGXFDWLRQFRPSRQHQWWRWKDWLQWHUPVRIHGXFDWLQJSHRSOH
      VXPPHURI,EHOLHYH,WZDVDIWHUWKHWD[GD\          DERXWIORRGULVN"
      VWRUP                                                         $<HV
      42ND\$OOULJKW$QGLVWKDWWKHILUVWWLPH         4,GRQ WWKLQN,KDYHDQ\IXUWKHUTXHVWLRQVIRU
      \RXUHFDOOLQNLQGRIDSXEOLFSUHVHQWDWLRQWDONLQJ            QRZ
      DERXWLQWKDWSDUWLFXODUVLWXDWLRQ%DUNHUDQGWKH%DUNHU       050F*(+((,MXVWKDYHDIHZIROORZXS
      SRRODQGWKHSRWHQWLDOIRUIORRGLQJRXWVLGHWKH                EDVHGRQZKDWVKHDVNHG, OOEHUHDOTXLFN, PJRLQJ
      JRYHUQPHQWRZQHGODQG"                                         WRMXPSDURXQG,KDYHDERXWWKUHHSRLQWVIRUPH
      $,VSHQWDORWRIWLPHRQLWLQWKDW                
      SUHVHQWDWLRQEHFDXVHWKDWLVDQDUHDWKDWLVJRLQJWR       
      EHWKDWFRXOGSRWHQWLDOO\EHGLUHFWO\LPSDFWHGE\LW    
      , PVXUH,PHQWLRQHGLWLQRWKHUSUHVHQWDWLRQV, PQRW    




                                                                                                                          
       VXUH,KDGDVOLGHDERXWLWEXW,PLJKWKDYHPHQWLRQHG         5((;$0,1$7,21
       WKDWWKHUHDUHKRPHVLQWKHVHIORRGSRROVWKDWFRXOGEH         48(67,216%<050F*(+((
       IORRGHG                                                        4<RXWDONHGWR&KULVDERXWZKHQ\RXIRXQGRXW
       4$QGGLG\RXJHWDQ\TXHVWLRQVIURPDWWHQGHHVDW        DERXWWKHUHOHDVHDQG\RXGLGQ WUHDOL]HWKHH[WHQWRI
       WKDWSUHVHQWDWLRQDERXWWKDWDVSHFW"                            WKHUHOHDVHZKHQ\RXZHUHQRWLILHG$QG,WKLQN\RX
       $$WWKH&LQFR5DQFKRQH"                                WROGPHLWZDVDWDERXWPLGQLJKWRQWKHWKFRUUHFW"
       4<HV                                                   $
       $,GRQ WUHPHPEHUJHWWLQJDQ\TXHVWLRQVQR            4*RLQJEDFNWRWKHQKDG\RXEHHQWROGWKDWWKH
       4$QGIROORZLQJWKHWD[GD\IORRGGLG\RXJLYH           UHOHDVHZRXOGEHWKHELJJHVWUHOHDVHWKH\HYHUPDGHLQ
      WKDWVLPLODUSUHVHQWDWLRQWRDQ\RWKHUQHLJKERUKRRG            WKHKLVWRU\RIWKHGDPVDQGWKHUHOHDVHZRXOGEH
      DURXQGWKH%DUNHU5HVHUYRLU"                                   &)6
      $1R                                                   $1R
      4$QGDQ\VLPLODUSUHVHQWDWLRQWRQHLJKERUKRRGV         41R+DG\RXEHHQWROGWKDWZRXOG\RXKDYH
      XSVWUHDPRI$GGLFNV"                                           DOHUWHGGRZQVWUHDPSURSHUW\RZQHUVWKDWPRUHIRONVZRXOG
      $1RWWKDW,UHFDOOQR                                EHIORRGHG"
      42ND\$Q\VLPLODUSUHVHQWDWLRQVHLWKHUEHIRUH        06&$+,//2EMHFWLRQVSHFXODWLRQ
      RUDIWHU+DUYH\WRQHLJKERUKRRGVWKDWDUHGRZQVWUHDPRI        $<HV
      WKHUHVHUYRLUV"                                                4 %\0U0F*HKHH +RZFRPH"
      $, YHJLYHQQXPHURXVSUHVHQWDWLRQVDIWHU+DUYH\        $%HFDXVHZHZRXOGKDYHKDGKDUGQXPEHUVWRJRE\
      WRVXEGLYLVLRQVGRZQVWUHDPRIWKHUHVHUYRLUV\HV             DQGZHFRXOGKDYHWKHQPDSSHGWKDWUHOHDVHZLWKZKDWZDV
      4'HVFULEHIRUPHNLQGRIWKHFRQWHQWRIWKRVH          DOUHDG\LQ%XIIDOR%D\RXDQGKDGLQXQGDWLRQPDSSLQJ:H
      SUHVHQWDWLRQVDQGZKDWSRLQWV\RX UHWU\LQJWRFRYHU          SUREDEO\FRXOGKDYHGRQHWKHVDPHWKLQJZHGLGRQWKH
      $*HQHUDOO\LW VMXVWDSUHVHQWDWLRQDERXW              XSVWUHDPSRUWLRQDQGODEHOHGRXWWKHQHLJKERUKRRGVWKDW
      +DUYH\ZKDWKDSSHQHG$QGWKHUHDUHDKDQGIXORI             ZRXOGKDYHEHHQLPSDFWHGE\WKDWDPRXQWRIUHOHDVH
      VOLGHV, GVD\WZRRUWKUHHVOLGHVLQWKHUHWKDWVSHDN       4$QGWR\RXUFUHGLWLI\RXNQHZWKDWDGGLWLRQDO


                                                                                                           3DJHVWR

              6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                           VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

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                                                                                                                          
       KRPHVWKHQZRXOGEHIORRGHGZLWKIHGHUDOZDWHU\RXIHOW       ELWZURQJEXW, OODVNWKDW\RXKHOSPH<RXVDLGWKH
       OLNHLWZDV\RXUMREWRQRWLI\WKHSURSHUW\RZQHUV"            ZD\\RXLGHQWLI\,WKLQNWKHZD\\RXLGHQWLI\IORRGHG
       $,WLVWKHMRERIWKH+DUULV&RXQW\)ORRG              KRPHVWKHZD\\RXLGHQWLI\IORRGHGKRPHVLVDQG,
       &RQWURO'LVWULFWWRQRWLI\RILPSDFWV                         WKLQN\RXFDOOHGLWGDWDFROOHFWLRQZKHUH\RXWDNH\RXU
       4<RXVDLGLWNHSWUDLQLQJDQG\RXVDLG                VWUHDPJDXJH\RXPHDVXUHKLJKZDWHUPDUNV\RXKDYH
       WKURXJKRXWWKLVGHSRVLWLRQLWNHSWUDLQLQJDQGNHSW            VXUYH\VDQG\RXFDQXVHWKDWWRILJXUHRXWZKLFKKRPHV
       UDLQLQJ,KDYHWKHLPSUHVVLRQLW VVWLOOUDLQLQJRXW         IORRGHG"
       WKHUHQRZ7KHLQWHQVHUDLQIDOOGLGWKHLQWHQVH              $1R
       UDLQIDOOVXEVLGHRQWKHWK"                                  42ND\7HOOPHDERXWWKDW7HOOPHRQHZD\WR
      $<HV                                                 ILJXUHRXW
      4$QGZHKDYHSLFWXUHVRIWKHWKZKHUHWKH           $7KHZD\ZHLGHQWLI\IORRGHGKRPHVLVGDPDJH
      VXQ VRXW,VLWIDLUWRVD\WKDWLWVWRSSHGUDLQLQJRQ      DVVHVVPHQWWHDPVJRRXWDQGSK\VLFDOO\ORRNIRUVLJQVRI
      WKHWK"                                                     IORRGGDPDJHDWSURSHUWLHV
      $1R                                                  46RDUH\RXIDPLOLDUZLWK+(&5$6PRGHOVWKDW
      4+RZPXFKUDLQFDPHRQWKHWK"0XFK"               SURMHFWIORRGHGKRPHVDQGSURMHFWZKLFKKRPHVZHUH
      $7KHUHZDVVWLOODQRWKHURQDYHUDJHWRLQVRPH      IORRGHGRQO\EHFDXVHRIWKHUHOHDVH"
      FDVHVLQFKHVWKDWIHOORQWKHWKDQGWKHWK           $:HOOWKH+(&5$6PRGHOGRHVQ WGRWKDW7KH
      PDLQO\IRFXVHGGRZQLQWKHVRXWKHDVWSDUWRI+DUULV           +(&5$6PRGHOZLOOJLYH\RXDZDWHUVXUIDFHHOHYDWLRQ
      &RXQW\                                                       DQGWKHQ\RXFDQSORWWKDWDFURVV/,'$5GDWDZKLFKZRXOG
      47KDW VMXVWZKDW,ZDVJRLQJWRDVN,IZH          VKRZ\RXDSODLQRUDUHDWKDWFRXOGEHLQXQGDWHGZLWK
      FRXOGSXOOWKHPDSXSKHUH,IZHORRNDWWKHDUHDV          ZDWHU
      WKDWERWKXSVWUHDPDQGGRZQVWUHDPDUHLQWHUHVWHGLQ          4)DLUHQRXJK/HWPHJRZLWKZKDW\RXMXVW
      WKLVDUHDWKDW, PSRLQWLQJWRULJKWKHUHWKHJUHDW          VDLG7RGHWHUPLQHZKHWKHUKRPHVKDGEHHQIORRGHGRU
      LQWHQVLW\RIWKHUDLQIDOOVXEVLGHGRQWKHWKVXEVLGHG      ZKHWKHUWKH\ZRXOGKDYHEHHQIORRGHGZKLFKLVPRUH
      HYHQPRUHRQWKHWK,VWKDWIDLU"                         DFFXUDWH+(&5$6PRGHOLQJRUREVHUYDWLRQ"


                                                                                                                          
       $<HV                                                  $2EVHUYDWLRQLVPRUHDFFXUDWH
       4$QGWKHQLWZDVGU\IRUDERXWWHQGD\V"               4:K\"
       $2K\RXPHDQLWGLGQ WUDLQIRUWHQGD\V"             $%HFDXVH\RXSK\VLFDOO\JRRXWDQGVHH0RGHOV
       4<HVVLU                                             FDQVRPHWLPHVQRWSHUIRUPWKHZD\\RXWKLQNWKH\ UH
       $<HV2QFHWKHUDLQVWRSSHGLWGLGQRWUDLQ          JRLQJWRSHUIRUP
       DJDLQIRUDQH[WHQGHGSHULRG                                  4$QGQRWWREHGLVUHVSHFWIXOEXWWKHVPDUWHVW
       4/HWPHMXPSDURXQG,W VDJRRGVLJQ,Q\RXU       JX\VLQWKHZRUOGWKDWGR+(&5$6+(&5$6+(&5$6
       RSLQLRQHYHU\ERG\ VDWULVNIRUIORRG"                        KXPPDKXPPDWKDWDOO\LHOGVZKHQ\RX YHJRW
       $<HV                                                  REVHUYDWLRQFRUUHFW"2EVHUYDWLRQWUXPSVWKDWHYHU\
      4<RXEDVHWKDWRQIORRGPDSSLQJ\RXEDVHWKDW        WLPH"
      RQLQXQGDWLRQPRGHOV\RXEDVHWKDWRQ\RXUH[SHULHQFH"       $<HDK
      $([SHULHQFH                                          47KHODVWTXHVWLRQDQG,GRQ WPHDQWREH
      4+RZORQJKDYHWKRVHIORRGLQXQGDWLRQPRGHOVDQG      GLVUHVSHFWIXOWR\RXEXW,WKLQN\RXJDYHDQXQIDLU
      IORRGPRGHOVWKDWJDYH\RXWKDWFRQFOXVLRQKRZORQJ          DQVZHUDQG,ZDQWWRLW VQRWEHFDXVHRI\RXEXWOHW
      KDYHWKH\EHHQLQH[LVWHQFH"                                  PHJHWP\QRWHVXS,ZURWHGRZQWKDWZLWKRXWWKH
      $7KHIORRGSODLQPDSVIRU+DUULV&RXQW\WKH           GDPV+XUULFDQH+DUYH\ZLWKRXWWKHVHGDPVDOOWKDW
      ILUVWIORRGSODLQPDSFDPHRXWLQ                        ZDWHUZRXOGKDYHIORZHGLQWRRXUSURSHUWLHV, PD
      4$QGKRZDERXWWKHLQXQGDWLRQPDSSLQJDQGPRGHOV      GRZQVWUHDPODZ\HU<RXNQRZZKDWRXUSURSHUWLHV
      \RXXVHWRGD\"                                                PHDQV$QG\RXVDLG\HVWR.ULV'R\RXUHPHPEHU
      $7KHQHDUUHDOWLPHLQXQGDWLRQPDSSLQJZH            WKDW"
      GLGQ WVWDUWGRLQJWKDWXQWLO                           $<HV
      4$UH\RXFULWLFDORIKRPHRZQHUVZKRGRQ WNQRZ        4,WKLQNZKDW\RXPHDQW,WKLQNDIDLU
      WKDWHYHU\RQHLVDWULVNRIIORRGLQJLQ+DUULV&RXQW\"        TXHVWLRQ,WKLQN\RXUHDOO\PHDQWZLWKRXWWKHGDPV
      $1R                                                  WKDWSURSHUW\>VLF@ZRXOGKDYHIORZHGLQWRGRZQVWUHDP
      4<RXVDLGDQG, PJRLQJWRJHWWKLVDOLWWOH       SURSHUW\RQO\LI+DUULV&RXQW\KDGVDWRQRXUWKXPEVIRU


                                                                                                          3DJHVWR

              6RXWKZHVW5HSRUWLQJ 9LGHR6HUYLFH,QF5HJLVWUDWLRQ
                                           VZUHSWSURGXFWLRQ#VZUHSRUWLQJFRP

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                          ,Q5H'RZQVWUHDP$GGLFNVDQG%DUNHU 7H[DV
                                             )ORRG&RQWURO5HVHUYRLUV
                                                                                               Prepared for:
                                     'RZQVWUHDP/LWLJDWLRQ /HDGHUVKLS 7HDP
                                                                                               On Behalf of:
                                                                                0F*HKHH&KDQJ/DQGJUDI
                                                                           5LFKPRQG$YH6XLWH
                                                                                       +RXVWRQ7;

                                                                                          0LWKRII/DZ)LUP
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                                                                                         +RXVWRQ7;

                                                                                 )OHPLQJ1ROHQ -H]//3
                                                                             3RVW2DN%OYG6XLWH
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  Case 1:17-cv-09002-LAS                         Document 266-2                   Filed 01/10/23              Page 1309 of 1584
35,9,/(*('$1'&21),'(17,$/                                                                               ,QLWLDO([SHUW2SLQLRQ5HSRUW
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7DEOHRI&RQWHQWV
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68%-(&7727+($77251(<&/,(1735,9,/(*(                                                           *HRV\QWHF&RQVXOWDQWV,QF
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           $QDO\VLVRI2EVHUYHGDQG5HSRUWHG&RQGLWLRQV5HVXOWV 
6(&7,21,QLWLDO2SLQLRQVRQ3URSHUW\,QXQGDWLRQ 
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                      3URSHUW\± 6KLSRV
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           6XPPDU\RI&RQFOXVLRQV
6(&7,21,QLWLDO2SLQLRQRQ$GGLFNVDQG%DUNHU6SLOOZD\DQG2XWOHW:RUNV 
6(&7,213UHOLPLQDU\2SLQLRQV5HJDUGLQJ'HIHQVHVWKDW0D\EH5DLVHG
      ,QWURGXFWLRQ
           )ORRG3URWHFWLRQ0HDVXUHV 
           'HSRVLWLRQ7HVWLPRQ\
           )ORRG5LVN0DSSLQJ 


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  Case 1:17-cv-09002-LAS                     Document 266-2                  Filed 01/10/23             Page 1311 of 1584
35,9,/(*('$1'&21),'(17,$/                                                                         ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                                             *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                                       1RYHPEHU

          2SLQLRQV
6(&7,215HIHUHQFHV




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35,9,/(*('$1'&21),'(17,$/                                                                        ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                                            *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                                      1RYHPEHU

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)LJXUH/RFDWLRQRI'RZQVWUHDP7HVW3URSHUWLHV 
)LJXUH*HQHUDO7LPHOLQHRI(YHQWV  
)LJXUH2EVHUYHGDQG6LPXODWHG2XWIORZVDQG3RRO/HYHOVDW$GGLFNV5HVHUYRLU 
)LJXUH2EVHUYHGDQG6LPXODWHG2XWIORZVDQG3RRO/HYHOVDW%DUNHU5HVHUYRLU  
)LJXUH0D[LPXP,QXQGDWLRQEDVHGRQ(QKDQFHG'+(&5$60RGHO5HVXOWVIRU*DWHV
            2SHQHG6FHQDULR 
)LJXUH0D[LPXP,QXQGDWLRQEDVHGRQ(QKDQFHG'+(&5$60RGHO5HVXOWVIRU*DWHV
            &ORVHG6FHQDULR 
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                                                     /,672)7$%/(6

7DEOH/LVWRI7HVW3URSHUWLHV  
7DEOH6XPPDU\RI3ODLQWLII7HVWLPRQ\5HJDUGLQJ,QXQGDWLRQ 
7DEOH6ODE(OHYDWLRQVDQG3ODLQWLII7HVWLPRQ\5HJDUGLQJ:DWHU6XUIDFH(OHYDWLRQV  
7DEOH6XPPDU\RI*DWHV&ORVHG(QKDQFHG'+(&5$60RGHO 
7DEOH6XPPDU\RI(QKDQFHG'+(&5$60RGHO)ODQNLQJ)ORZ5HVXOWV 
7DEOH6XPPDU\RI&RPELQHG'+(&5$60RGHO5HVXOWV± 7HVW3URSHUWLHV  
7DEOH6XPPDU\RI'RZQVWUHDP7HVW3URSHUW\,QXQGDWLRQ'HSWKV  
7DEOH6XPPDU\RI'RZQVWUHDP7HVW3URSHUW\,QXQGDWLRQ'XUDWLRQV 

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$SSHQGL[$ 0DWW%DUGRO%DFNJURXQG
$SSHQGL[$ %RE%DFKXV%DFNJURXQG
$SSHQGL[% +(&+06DQG'+(&5$60RGHO$QDO\VHV
$SSHQGL[& (QKDQFHG'+(&5$60RGHO$QDO\VLV
$SSHQGL[' ,QIORZ7LPH6HULHV$QDO\VLV


$WWDFKPHQW )(0$)ORRG,QVXUDQFH6WXG\)ORRG3URILOHVDQG7DEOH VRXUFH)(0$




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 Case 1:17-cv-09002-LAS     Document 266-2       Filed 01/10/23      Page 1313 of 1584
35,9,/(*('$1'&21),'(17,$/                                       ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                           *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                     1RYHPEHU

                               /,672)$&521<06

'          RQHGLPHQVLRQDO
'          WZRGLPHQVLRQDO
DFIW       DFUHIHHW
DVO         DERYHVHDOHYHO
&&5         FRDOFRPEXVWLRQUHVLGXDO
&)0         &HUWLILHG)ORRGSODLQ0DQDJHU
FIV         FXELFIHHWSHUVHFRQG
'(0         GLJLWDOHOHYDWLRQPRGHO
'*(        'LSORPDWH*HRWHFKQLFDO(QJLQHHULQJ
':5(       'LSORPDWH:DWHU5HVRXUFHV(QJLQHHU
($3         (PHUJHQF\$FWLRQ3ODQ
HOHY        HOHYDWLRQ
)(0$        )HGHUDO(PHUJHQF\0DQDJHPHQW$JHQF\
),50        )ORRG,QVXUDQFH5DWH0DS
),6         )ORRG,QVXUDQFH6WXG\
IW          IHHW
*2/         JRYHUQPHQWRZQHGODQG
+&)&'       +DUULV&RXQW\)ORRG&RQWURO'LVWULFW
+(&         +\GURORJLF(QJLQHHULQJ&HQWHU
+06         +\GURORJLF0RGHOLQJ6\VWHP
KU          KRXU
LQ         LQFK
1$9'        1RUWK$PHULFDQ9HUWLFDO'DWXP
1('         1DWLRQDO(OHYDWLRQ'DWDVHW
1),3        1DWLRQDO)ORRG,QVXUDQFH3URJUDP
1*9'        1DWLRQDO*HRGHWLF9HUWLFDO'DWXP
3(        3URIHVVLRQDO(QJLQHHU
5$6         5LYHU$QDO\VLV6\VWHP
5R5         UDWHRIULVH
550         5HVHUYRLU5HJXODWLRQ0DQXDO
715,6       7H[DV1DWXUDO5HVRXUFHV,QIRUPDWLRQ6\VWHP
86$&(       8QLWHG6WDWHV$UP\&RUSVRI(QJLQHHUV
86*6        8QLWHG6WDWHV*HRORJLFDO6XUYH\
:&0         :DWHU&RQWURO0DQXDO
:6(         ZDWHUVXUIDFHHOHYDWLRQ




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 Case 1:17-cv-09002-LAS             Document 266-2          Filed 01/10/23       Page 1314 of 1584
35,9,/(*('$1'&21),'(17,$/                                                   ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                       *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                 1RYHPEHU

                                             6(&7,21

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     7HUPVRI5HIHUHQFH

, 0DWWKHZ %DUGRO KDYH EHHQ UHWDLQHG E\ WKH 'RZQVWUHDP /LWLJDWLRQ /HDGHUVKLS 7HDP ZKLFK
LQFOXGHVWKH IROORZLQJWKUHHDWWRUQH\V L 0F*HKHH&KDQJ/DQGJUDI LL 0LWKRII/DZ)LUPDQG
 LLL  )OHPLQJ 1ROHQ  -H] //3 RQ EHKDOI RI WKH  GRZQVWUHDP WHVW SURSHUW\ SODLQWLIIV LQ
FRQQHFWLRQZLWK,Q5H'RZQVWUHDP$GGLFNVDQG %DUNHU 7H[DV )ORRG&RQWURO5HVHUYRLUV FDVH
&9/  , KDYH EHHQ DVNHG WR SUHSDUH WKLV ,QLWLDO ([SHUW 2SLQLRQ 5HSRUW ³5HSRUW´  WR
DGGUHVVRSLQLRQVUHODWHGWRHQJLQHHULQJDQDO\VHVRIGDPDJHVWRWKHGRZQVWUHDPWHVWSURSHUWLHV
DQGLQWKHDERYHUHIHUHQFHGODZVXLWWKDWUHODWHWRLQXQGDWLRQGRZQVWUHDPRI$GGLFNVDQG%DUNHU
GDPVLQ+RXVWRQ7H[DV

*HRV\QWHF LVFRPSHQVDWHGIRU P\VHUYLFHVUHODWHGWRWKLVPDWWHUDWDUDWHRISHUKRXU IRU
LQYHVWLJDWLRQDQDO\VLVDQGUHSRUWSUHSDUDWLRQGHSRVLWLRQDQGWULDOSUHSDUDWLRQDQGDWDUDWH RI
 SHU KRXU IRU GHSRVLWLRQ DQG FRXUW DSSHDUDQFHV &RPSHQVDWLRQ IRU DOO ZRUN UHODWHG WR WKLV
PDWWHULVLQQRZD\WLHGWRWKHRXWFRPHRIWKLVOLWLJDWLRQ



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0DWW%DUGRO3(&)0':5(                                                           'DWH


, 5REHUW %DFKXV KDYH EHHQ UHWDLQHG E\ WKH 'RZQVWUHDP /LWLJDWLRQ /HDGHUVKLS 7HDP ZKLFK
LQFOXGHVWKHIROORZLQJWKUHHDWWRUQH\V L 0F*HKHH&KDQJ/DQGJUDI LL 0LWKRII/DZ)LUPDQG
 LLL  )OHPLQJ 1ROHQ  -H] //3 RQ EHKDOI RI WKH  GRZQVWUHDP WHVW SURSHUW\ SODLQWLIIV LQ
FRQQHFWLRQZLWK,Q5H'RZQVWUHDP$GGLFNVDQG%DUNHU 7H[DV )ORRG&RQWURO5HVHUYRLUV FDVH
&9/  , KDYH EHHQ DVNHG WR SUHSDUH RQO\ 6(&7,21  RI WKLV ,QLWLDO ([SHUW 2SLQLRQ
5HSRUW ³5HSRUW´ WRDGGUHVVRSLQLRQVUHODWHGWRWKHLQWHJULW\RIWKH$GGLFNVDQG%DUNHU5HVHUYRLUV
LQFOXGLQJEXWQRWOLPLWHGWRWKHVSLOOZD\V

*HRV\QWHFLVFRPSHQVDWHGIRU P\VHUYLFHVUHODWHGWRWKLVPDWWHU DW DUDWH RI  SHU KRXUIRU
LQYHVWLJDWLRQDQDO\VLVDQGUHSRUWSUHSDUDWLRQGHSRVLWLRQDQGWULDOSUHSDUDWLRQDQGDWDUDWHRI
 SHU KRXU IRU GHSRVLWLRQ DQG FRXUW DSSHDUDQFHV &RPSHQVDWLRQ IRUDOO ZRUN UHODWHG WR WKLV
PDWWHULVLQQRZD\WLHGWRWKHRXWFRPHRIWKLVOLWLJDWLRQ



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 Case 1:17-cv-09002-LAS           Document 266-2         Filed 01/10/23      Page 1315 of 1584
35,9,/(*('$1'&21),'(17,$/                                               ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                   *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                             1RYHPEHU

    3URIHVVLRQDO%DFNJURXQGDQG4XDOLILFDWLRQV

0DWWKHZ %DUGRO LV D 6HQLRU 3ULQFLSDO LQ WKH 2DN %URRN RIILFH RI *HRV\QWHF &RQVXOWDQWV
 *HRV\QWHF ORFDWHGDW.HQVLQJWRQ5RDG6XLWH2DN%URRN,/DQGKDV EHHQZLWK
*HRV\QWHF VLQFH -XQH  *HRV\QWHF SHUIRUPV FRQVXOWLQJ VHUYLFHV IRU FLYLO HQJLQHHULQJ DQG
ZDWHUUHVRXUFHVSURMHFWVWKURXJKRXWWKH8QLWHG6WDWHVDVZHOODVLQWHUQDWLRQDOO\LQ&DQDGD$VLD
$XVWUDOLD DQG (XURSH $V D UHSUHVHQWDWLYH RI *HRV\QWHF 0U %DUGRO WHQGHUV KLV SUHOLPLQDU\
RSLQLRQ UHVSRQVLYHWRWKH6FRSHRI:RUN VWDWHGLQ6HFWLRQ EHORZ

0U%DUGRO REWDLQHGKLV %DFKHORURI6FLHQFHGHJUHHLQ&LYLO (QJLQHHULQJIURP8QLYHUVLW\RI1RWUH
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+DUGLQ6LPPRQV8QLYHUVLW\LQ$ELOHQH7H[DV,Q KH REWDLQHG KLV 0DVWHUV RI6FLHQFHLQ
&LYLO (QJLQHHULQJ ZLWK DQ HPSKDVLV LQ ZDWHU UHVRXUFHV IURP WKH 8QLYHUVLW\ RI 6RXWKHUQ
&DOLIRUQLDLQ/RV$QJHOHV&DOLIRUQLD

0U%DUGRO KDV RYHU \HDUVRIH[SHULHQFHLQFLYLO DQGZDWHUUHVRXUFHVHQJLQHHULQJ DQGK\GURORJLF
DQGK\GUDXOLF PRGHOLQJLQFOXGLQJPRGHOVWKDWSUHGLFWDQGTXDQWLI\IORRGLQXQGDWLRQIURPVWRUP
HYHQWV +HKDV EHHQLQYROYHGZLWKDQGZRUNHGRQ FLYLODQG ZDWHUUHVRXUFHVHQJLQHHULQJSURMHFWV
WKURXJKRXWKLV FDUHHUZLWKDQHPSKDVLVRQZDWHUUHVRXUFHVHQJLQHHULQJDQGPRGHOLQJSURMHFWVIRU
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TXDOLILFDWLRQVWRVHUYHDVDQH[SHUWDUHGHVFULEHGLQKLVEDFNJURXQGLQIRUPDWLRQZKLFKLVDWWDFKHG
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ORFDWHGDW5REHUWV%OYG6XLWH.HQQHVDZ*$DQGKDV EHHQZLWK*HRV\QWHF
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KLV 'RFWRURI3KLORVRSK\LQ*HRWHFKQLFDO(QJLQHHULQJIURP6WDQIRUG8QLYHUVLW\

'U%DFKXV KDV RYHU\HDUVRIH[SHULHQFHLQJHRWHFKQLFDODQGJHRHQYLURQPHQWDOHQJLQHHULQJ
LQFOXGLQJ JHRWHFKQLFDO VLWH FKDUDFWHUL]DWLRQ VHWWOHPHQW DQG VORSH VWDELOLW\ DQDO\VLV DQG
SHUIRUPDQFHPRQLWRULQJRIJHRWHFKQLFDOIHDWXUHVDQGHDUWKVWUXFWXUHV+H SUHYLRXVO\VHUYHGDVD
JHRWHFKQLFDOHQJLQHHULQJIDFXOW\DW*HRUJLD,QVWLWXWHRI7HFKQRORJ\DQGIRFXVHGKLV UHVHDUFKRQ
WKH EHQHILFLDO UHXVH RI FRDO FRPEXVWLRQ UHVLGXDOV &&5V  DQG HQJLQHHULQJ DSSOLFDWLRQV IRU
JHRV\QWKHWLFPDWHULDOVSULPDULO\RQUHLQIRUFLQJDQGGUDLQDJHSURGXFHGHYHORSPHQW

'U%DFKXVLV D3URIHVVLRQDO(QJLQHHU DQGKHKDV EHHQDSUDFWLFLQJOLFHQVHG3URIHVVLRQDO(QJLQHHU
 3( LQWKH6WDWHRI*HRUJLDVLQFH DQGKDV UHFHLYHGUHFLSURFLW\LQPXOWLSOHVWDWHVDFURVVWKH
86)XUWKHUGHWDLOVRXWOLQLQJ'U%DFKXV¶V ZRUNH[SHULHQFHDQGTXDOLILFDWLRQVWRVHUYHDVDQH[SHUW
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$1':25.352'8&7'2&75,1(                                                                1RYHPEHU

     6FRSHRI:RUN

*HRV\QWHF KDV EHHQ DVNHG WR UHYLHZ GRFXPHQWV DQG GDWD FLWHG LQ 6HFWLRQ  EHORZ WR DVVHVV
ZKHWKHUDQGWRZKDWH[WHQWWKHLQGXFHGVXUFKDUJHSURFHGXUHVLQLWLDWHG E\WKH86$UP\&RUSVRI
(QJLQHHUV 86$&( FDXVHGLQXQGDWLRQRIDQGDVVRFLDWHGGDPDJH WR GRZQVWUHDPWHVWSURSHUWLHV
DQGZKHWKHUVXFKLQXQGDWLRQDQGDVVRFLDWHG GDPDJHZRXOGKDYHEHHQDYRLGHGRUUHGXFHGZLWKRXW
WKHLQGXFHGVXUFKDUJH:HKDYH DOVREHHQDVNHGWRRIIHUSUHOLPLQDU\DQDO\VLVRI FHUWDLQGHIHQVH
DUJXPHQWVWKDWPD\EHUDLVHGLQWKLVOLWLJDWLRQ7RWKDWH[WHQWZHUHVHUYHWKHULJKWWRDPHQGRXU
UHSRUWDQGRUDGGRSLQLRQVDQGFRQFOXVLRQVEDVHGRQIXWXUHHYLGHQFH




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35,9,/(*('$1'&21),'(17,$/                                                ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                    *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                              1RYHPEHU

       6FRSHDQG%DVHVRI2SLQLRQV

*HRV\QWHF ZDV DVNHG WR FRQGXFW DQ HYDOXDWLRQ RI WKH K\GURORJLF DQG K\GUDXOLF LPSDFWV RI
+XUULFDQH +DUYH\ LQ FRQMXQFWLRQ ZLWK WKH RSHUDWLRQ RI WKH $GGLFNV DQG %DUNHU 5HVHUYRLUV RQ
EHKDOI RI WKH 'RZQVWUHDP /LWLJDWLRQ /HDGHUVKLS 7HDP :H UHYLHZHG WKH IROORZLQJ GDWD DQG
GRFXPHQWVLQSUHSDUDWLRQIRUWKLV5HSRUWDQGWKHVHGDWDDQGGRFXPHQWVVHUYHDVWKHEDVHVRIRXU
RSLQLRQV :H UHYLHZHG D WZRGLPHQVLRQDO '  PRGHO GHYHORSHG E\ WKH 86$&( XVLQJ WKH
86$&(+\GURORJLF(QJLQHHULQJ&HQWHU +(& 5LYHU$QDO\VLV6\VWHP 5$6 VRIWZDUHYHUVLRQ
 +(&5$6 :HDOVRUHYLHZHGWKHRQHGLPHQVLRQDO ' +(&5$6PRGHOGHYHORSHGE\
WKH+DUULV&RXQW\)ORRG&RQWURO'LVWULFW +&)&' ZKLFKLVWKHEDVLVRIWKHUHJXODWRU\)HGHUDO
(PHUJHQF\ 0DQDJHPHQW $JHQF\ )(0$  HIIHFWLYH IORRGSODLQ PRGHOV IRU +DUULV &RXQW\
)XUWKHUPRUHZHUHYLHZHG'U3KLO%HGLHQW¶V +HUPDQ%URZQ3URIHVVRURI(QJLQHHULQJDW5LFH
8QLYHUVLW\ PRGLILFDWLRQV WRWKH+&)&''+(&5$6PRGHO :HUHYLHZHGK\GURORJ\PRGHOV
LQFOXGLQJ WKH +&)&' UHJXODWRU\ PRGHO EDVHG RQ WKH 86$&( +\GURORJLF (QJLQHHULQJ &HQWHU
+\GURORJLF0RGHOLQJ6\VWHP +(&+06 DVZHOODV'U%HGLHQW¶V+(&+06PRGHOVLPXODWLQJ
IORZV GXULQJ +XUULFDQH +DUYH\ :H DOVR UHYLHZHG DGGLWLRQDO GDWD DQG WHVWLPRQ\ DV LQGLFDWHG
EHORZ

      x   86$&('+(&5$6PRGHO SURYLGHGDVPRGHOLQJILOHVGXULQJGLVFRYHU\ODEHOHGZLWK
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      x    5HVHUYRLU5HJXODWLRQ0DQXDO 550 IRU$GGLFNVDQG%DUNHU5HVHUYRLUV,QLWLDODQG
          (PHUJHQF\,QVWUXFWLRQVWR'DP7HQGHU 86$&(
      x   :DWHU&RQWURO0DQXDO :&0 IRU$GGLFNVDQG%DUNHU5HVHUYRLUV%XIIDOR%D\RX
          DQG7ULEXWDULHV 6DQ-DFLQWR5LYHU%DVLQ7; 86$&(
      x   (PHUJHQF\$FWLRQ3ODQ ($3 IRU$GGLFNVDQG%DUNHU5HVHUYRLUV%XIIDOR%D\RX
          DQG7ULEXWDULHV 86$&(
      x   86$&( ³+XUULFDQH +DUYH\ )ORRG ,QXQGDWLRQ 0DSSLQJ $IWHU $FWLRQ 5HSRUW´ 86$&(
          
      x   86$&(VSUHDGVKHHW RISRROOHYHOJDWHRXWIORZUDWHVUDWHRIULVH 5R5 DQGFDOFXODWHG
          LQIORZUDWHVW\SLFDOO\UHIHUUHGWRDVWKH³PRUQLQJUHSRUW´DFFRUGLQJWR.DXIIPDQGHSRVLWLRQ
           SURYLGHGDVVSUHDGVKHHW GXULQJGLVFRYHU\ODEHOHGZLWK%DWHVQXPEHU 86$&(
      x   86 *HRORJLFDO 6XUYH\ 86*6  VWUHDP IORZ DQG ZDWHU VXUIDFH HOHYDWLRQ :6( JDXJH
          GDWD 86*6 DWWKHIROORZLQJORFDWLRQV
             o %DUNHU5HVQU$GGLFNV7;
             o %XIIDOR%D\RXDW6WDWH+Z\QU$GGLFNV7;
             o $GGLFNV5HVQU$GGLFNV7;


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68%-(&7727+($77251(<&/,(1735,9,/(*(                                *HRV\QWHF&RQVXOWDQWV,QF
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          o /DQJKDP &NDW$GGLFNV5HV2XWIORZQU$GGLFNV7;
          o  %XIIDOR%D\RXQU$GGLFNV7;
          o %XIIDOR%D\RXDW:%HOW'U+RXVWRQ7;
          o %XIIDOR%D\RXDW3LQH\3RLQW7;
          o %XIIDOR%D\RXDW+RXVWRQ7;
   x   )HGHUDO(PHUJHQF\0DQDJHPHQW$JHQF\ )(0$ )ORRG,QVXUDQFH6WXG\ ),6 IRU+DUULV
       &RXQW\7H[DV )(0$
   x   'RZQVWUHDPSODLQWLIIWHVWLPRQ\ LQFOXGLQJWKHIROORZLQJSODLQWLIIV
          o $UQROG0LOWRQWHVWLPRQ\RQ-XO\ 0LOWRQD
          o 9LUJLQLD0LOWRQWHVWLPRQ\RQ-XO\ 0LOWRQE
          o -HQQLIHU6KLSRV WHVWLPRQ\RQ6HSWHPEHU 6KLSRV
          o -RKQ%ULWWRQIRU60&0HPRULDO,QYHVWPHQW/3WHVWLPRQ\RQ-XO\
             %ULWWRQ
          o -HUHP\*RRGIRU*RRG5HVRXUFHV//&WHVWLPRQ\RQ-XO\ *RRG
          o 9DO$OGUHGWHVWLPRQ\RQ$XJXVW $OGUHG
          o 3HJJ\+ROOLVWHVWLPRQ\RQ-XO\ +ROOLVD
          o :D\QH+ROOLVWHVWLPRQ\RQ-XO\ +ROOLVE
          o 3HWHU6LOYHUPDQWHVWLPRQ\RQ-XO\ 6LOYHUPDQD
          o =KHQQLD6LOYHUPDQWHVWLPRQ\RQ-XO\ 6LOYHUPDQE
          o $UQVWHLQ *RGHMRUGWHVWLPRQ\RQ6HSWHPEHU *RGHMRUGD
          o ,JQD*RGHMRUGWHVWLPRQ\RQ6HSWHPEHU *RGHMRUGE
          o 'DQD&XWWVWHVWLPRQ\RQ-XQH &XWWVD
          o 3DXO&XWWVWHVWLPRQ\RQ-XQH &XWWVE
          o *RNKDQ%H\RJOX WHVWLPRQ\RQ6HSWHPEHU %H\RJOXE
          o -DQD%H\RJOXWHVWLPRQ\RQ6HSWHPEHU %H\RJOXD
          o 3KLOOLS$]DUWHVWLPRQ\RQ-XO\ $]DU
          o 7LP6WDKOWHVWLPRQ\RQ6HSWHPEHU 6WDKO
          o 6KDZQ:HOOLQJWHVWLPRQ\RQ$XJXVW :HOOLQJ
          o 'XWFK/LQGHEXUJWHVWLPRQ\RQ6HSWHPEHU /LQGHEXUJ
   x   86$&(ZLWQHVVWHVWLPRQ\LQFOXGLQJWKHIROORZLQJZLWQHVVHV
          o 0LFKDHO.DXIIPDQH[SHUWWHVWLPRQ\ RQ6HSWHPEHU .DXIIPDQ
          o 5REHUW7KRPDVH[SHUWWHVWLPRQ\RQ-XO\$XJXVWDQG6HSWHPEHU
             7KRPDV
          o -HII/LQGQHUH[SHUWWHVWLPRQ\RQ6HSWHPEHU /LQGQHU
          o -DPLOD-RKQVRQH[SHUWWHVWLPRQ\RQ2FWREHU -RKQVRQ


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           o %UD[WRQ&ROHVH[SHUWWHVWLPRQ\RQ2FWREHU &ROHV
   x   7H[DV1DWXUDO5HVRXUFHV,QIRUPDWLRQ6\VWHP 715,6 HOHYDWLRQGDWD 715,6
   x   +&)&'SUHFLSLWDWLRQGDWDVRXUFHV +&)&' E
   x   +LJKZDWHUPDUNV SURYLGHGDVVSUHDGVKHHWGXULQJGLVFRYHU\ODEHOHGZLWK%DWHVQXPEHU
       )(0$ VXPPDU\ WDEOHV ODEHOHG ZLWK %DWHV QXPEHUV 86$&( DQG
       86*6 DQGVKDSHILOHODEHOHGZLWK%DWHVQXPEHU)(0$

7KH OLVW RI GRFXPHQWV FRQVLGHUHG DQG WKH PRGHOLQJ ILOHV UHIHUHQFHG DERYH FDQ EH IRXQG LQ
6(&7,21 DWWKHHQGRIWKLV5HSRUW

*LYHQWKH OLPLWHGWLPHSHULRG IRUVXEPLVVLRQRIWKLV5HSRUWXQGHUWKH&RXUW¶VVFKHGXOH ZH KDYH
QRWXQGHUWDNHQDQHIIRUWWRDGGUHVVDOORIWKHSRLQWVDQGLVVXHV DVVRFLDWHGZLWKWKLVFDVHDQGZH
PD\UHYLVHRU VXSSOHPHQWWKHLQIRUPDWLRQLQWKLV5HSRUWDVZH FRQWLQXHWRUHYLHZ WKHWHVWLPRQ\
RIWHFKQLFDOH[SHUWVDQGH\HZLWQHVVHVWKHGLJLWDO PRGHOILOHVSURYLGHGDQGWKH([SHUW5HSRUWV
VXEPLWWHGWRWKHFRXUW

:H DOVR UHVHUYH WKHULJKW WR H[DPLQH DGGLWLRQDO LQIRUPDWLRQ DV LWEHFRPHV DYDLODEOH LQFOXGLQJ
WKURXJK IXUWKHU GLVFRYHU\ LQ WKLV FDVH DQG WR DGG WR RU PRGLI\ RXU RSLQLRQV EDVHG RQ VXFK
DGGLWLRQDOLQIRUPDWLRQ




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$1':25.352'8&7'2&75,1(                                                               1RYHPEHU

       5HSRUW2UJDQL]DWLRQ

7KLV5HSRUWLVRUJDQL]HGDVIROORZV

      x   6(&7,21 GHVFULEHVWKHWHUPVEDFNJURXQGPLVVLRQDQGVFRSHRIWKLV5HSRUW

      x   6(&7,21 SUHVHQWVDQLQWURGXFWLRQDQGIDFWXDOEDFNJURXQGWRWKHFDVH

      x   6(&7,21 SUHVHQWVWKHGRZQVWUHDPWHVWSURSHUWLHVFRQVLGHUHGLQWKLV5HSRUW

      x   6(&7,21 SUHVHQWVD UHYLHZRIWKHGDWDVRXUFHVUHOLHGXSRQDQGDJHQHUDO WLPHOLQHRI
          HYHQWVGXULQJ+XUULFDQH+DUYH\

      x   6(&7,21  SURYLGHV DQ RYHUYLHZ RI WKH K\GUDXOLF PRGHOLQJ PHWKRGRORJ\ XVHG LQ
          GHYHORSLQJRSLQLRQVUHODWHGWRLQXQGDWLRQRIWKHGRZQVWUHDPWHVWSURSHUWLHV

      x   6(&7,21  SURYLGHV DQ RYHUYLHZ RI WKH K\GUDXOLF PRGHOLQJ UHVXOWV GLVFXVVHG LQ WKH
          PHWKRGRORJ\VHFWLRQUHODWHGWR LQXQGDWLRQRIWKHGRZQVWUHDPWHVWSURSHUWLHV

      x   6(&7,21 SUHVHQWVRSLQLRQVUHODWHGWRLQXQGDWLRQRIWKHGRZQVWUHDPWHVWSURSHUWLHV
          DVDUHVXOWRIWKHHQJLQHHULQJDQDO\VHVFRQGXFWHG

      x   6(&7,21  SUHVHQWV RSLQLRQV UHODWHG WR WKH LQWHJULW\ RI WKH $GGLFNV DQG %DUNHU
          5HVHUYRLUV LQFOXGLQJEXWQRWOLPLWHGWRWKH VSLOOZD\V

      x   6(&7,21 SURYLGHVSUHOLPLQDU\RSLQLRQVRQWKHGHIHQVHDUJXPHQWVWKDWKDYHEHHQUDLVHG
          RUSRWHQWLDOO\PD\EHUDLVHGODWHU DQG

      x   6(&7,21 SUHVHQWVDGHWDLOHGOLVWRIUHIHUHQFHV




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%DUNHU'DPDVSUHVHQWO\FRQVWUXFWHGLQFOXGHVDQHDUWKHQGDPDSSUR[LPDWHO\IWORQJZLWK
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7ZRDX[LOLDU\VSLOOZD\VORFDWHGDWWKHQRUWKZHVWDQGVRXWKZHVWHQGVRIWKHGDPHPEDQNPHQW
ZHUHUHLQIRUFHGZLWKUROOHUFRPSDFWHGFRQFUHWHE\6HSWHPEHU  86$&( DW6HFF
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7KH86$&(GHVFULEHVWKHSXUSRVHRIWKH$GGLFNV DQG%DUNHU5HVHUYRLUVDVLQFOXGLQJ³IORRGULVN
PDQDJHPHQWSURWHFWLRQSURYLGHGWRWKH&LW\RI+RXVWRQIURPIORRGGDPDJHV« 7KHWZRUHVHUYRLUV
SURYLGH IORRGZDWHU GHWHQWLRQ IRU IORRG ULVN PDQDJHPHQW RQ WKH %XIIDOR %D\RX ZDWHUVKHG«´
 86$&(DW6HF  $VLQLWLDOO\GHVLJQHGWKHRXWOHWVRIHDFKUHVHUYRLUFRQVLVWHGRIILYH
ER[FXOYHUWFRQGXLWVZLWKRQHFRQGXLWJDWHGDQGWKHRWKHUIRXUXQFRQWUROOHG 86$&( DW
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RQERWKSURMHFWVLQPDGHLWSRVVLEOHWRUHGXFHGRZQVWUHDPIORRGLQJ«´ 86$&( DW
6HF 

     86$&(&RQVLGHUDWLRQVLQ2SHUDWLQJWKH5HVHUYRLUV

$Q2FWREHU  ³'UDIW2SHUDWLRQDO$VVHVVPHQWRIWKH$GGLFNVDQG%DUNHU5HVHUYRLUV´ 86$&(
 86$&(  FRQILUPV WKDW ³>W@KH VROH DXWKRUL]HG SXUSRVH IRU $GGLFNV DQG %DUNHU
5HVHUYRLUVLVWRUHGXFHSRWHQWLDOIORRGGDPDJHDORQJWKHGRZQVWUHDPUHDFKRI%XIIDOR%D\RX´
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³RSHUDWLRQDO FRQVWUDLQWV´ IRU WKH UHVHUYRLUV DV WKH\ UHODWH WR ERWK GRZQVWUHDP DQG XSVWUHDP
IORRGLQJULVN 86$&( DW 86$&( HPSKDVLVDGGHG 



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 8QOHVVRWKHUZLVHVSHFLILHGDOOHOHYDWLRQVKHUHLQDUHVSHFLILHGLQIHHW1$9' 1RUWK$PHULFDQ9HUWLFDO'DWXP
(SRFK 


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68%-(&7727+($77251(<&/,(1735,9,/(*(                                        *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                  1RYHPEHU

        7KH LQFUHDVH LQ GRZQVWUHDP GHYHORSPHQW DQG SRVVLEO\ GRZQVWUHDP WULEXWDU\
        LQIORZ KDVFRQWULEXWHGWRUHGXFWLRQVLQDOORZDEOHRXWIORZV The dams are operated
        strictly to prevent downstream flooding; therefore, the gates remain shut even if
        pool levels increase and flood upstream properties 7KHIORRGSRROVKDYHQHYHU
        H[FHHGHGWKHOLPLWRI*2/>JRYHUQPHQWRZQHGODQG@DQGWKHKRPHVXSVWUHDPRI
        WKHGDPVKDYHQRWIORRGHGGXHWRWKHSRRO +RZHYHUDYDLODEOHK\GURORJLFPRGHOV
        LQGLFDWHWKDWWKHOLPLWRI*2/ZRXOGEHH[FHHGHGLQH[WUHPHHYHQWVIRUH[DPSOH
        LWLVEHOLHYHGWKDWLI7URSLFDO6WRUPV$OOLVRQRU&ODXGHWWHKDGEHHQFHQWHUHGRQWKH
        EDVLQIORRGLQJRIWKHXSVWUHDPGHYHORSPHQWZRXOGKDYHRFFXUUHG

7KDWVDPHGRFXPHQWJHQHUDOO\GHVFULEHVWKH86$&(¶VRSHUDWLRQDOSURFHGXUHVIRUWKHUHVHUYRLUV
DQGFRQVLGHUDWLRQVWDNHQLQWRDFFRXQWE\WKH86$&(ZLWKUHVSHFWWRWKRVHSURFHGXUHV 86$&(
 DW 86$&(HPSKDVLVDGGHG 

        7KHFXUUHQWSURFHGXUHLVWRSUHYHQWGRZQVWUHDPIORRGLQJDQGSURWHFW GRZQVWUHDP
        SURSHUWLHV 'XULQJDIORRGLQJHYHQWWKHJDWHVDUHFORVHGDQGWKHUHVHUYRLUOHYHOVDUH
        DOORZHG WR ULVH XQWLO WKH\ RYHUIORZ WKH VSLOOZD\V 6LQFH WKHUH LV GHYHORSPHQW
        DGMDFHQWWRWKH*2/WKHVHVWUXFWXUHVZRXOGEHIORRGHGGXULQJDQH[WUHPHHYHQW
        $VQRWHGHDUOLHUWKHUHLVVLJQLILFDQWGHYHORSPHQWZLWKLQWKHIULQJHDUHDEHWZHHQ
        WKH*2/DQGWKHPD[LPXPSRROHOHYDWLRQWith such high valuation of upstream
        properties, it might be desirable to increase the allowable release rates from the
        reservoir once the downstream peak flows have occurred, and accept some
        increased duration of downstream flooding.

     7KH3XUSRVHRI,QGXFHG6XUFKDUJH2SHUDWLRQV

5REHUW7KRPDVWKH86$&(¶VGHVLJQDWHGZLWQHVVWRWHVWLI\UHJDUGLQJ³>S@ROLFLHVIRUUHOHDVHVRI
ZDWHU IURP WKH UHVHUYRLUV IURP  WKURXJK WKH SUHVHQW«´ WHVWLILHG UHJDUGLQJ WKH 86$&(¶V
UHOHDVH RI ZDWHU DOVR UHIHUUHG WR DV ³LQGXFHG VXUFKDUJH´  IURP WKH UHVHUYRLUV GXULQJ DQG DIWHU
+XUULFDQH +DUYH\ +H WHVWLILHG WKDW GXULQJ +XUULFDQH +DUYH\ WKH 86$&( ³VWDUWHG VXUFKDUJH
UHJXODWLRQVDFFRUGLQJWRWKHVFKHGXOHV´LQWKH86$&(¶V:&0 IRUWKHUHVHUYRLUV 7KRPDV
'HSR9RO,DW  2SHUDWLQJWKHUHVHUYRLUVSXUVXDQWWRWKH³LQGXFHGVXUFKDUJHIORRGFRQWURO
UHJXODWLRQ´ LQ WKH  :&0 KDV WKH HIIHFW RI RSHQLQJ WKH UHVHUYRLU IORRG FRQWURO JDWHV DQG
LQXQGDWLQJGRZQVWUHDPSURSHUWLHV 86$&( DW86$&(  7KHVHRSHUDWLRQ SURFHGXUHV
GLIIHUIURPWKH :&0¶V³1RUPDO)ORRG&RQWURO5HJXODWLRQ´ZKLFKNHHSVWKHJDWHVFORVHG
GXULQJ IORRG HYHQWV XQWLO UHOHDVHV FDQ EH PDGH LQ D PDQQHU WKDW GRHV QRW FDXVH GDPDJLQJ
GRZQVWUHDPIORRGLQJ 86$&(DW86$&( 

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IRUFRPPHQFLQJLQGXFHGVXUFKDUJHRSHUDWLRQV)RU$GGLFNV5HVHUYRLUWKHSRROOHYHOWULJJHU SRLQW
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WKHOLPLWVRI*2/DUHUHDFKHGDWDSRROOHYHORI IW ([WR7KRPDV'HSRDW7DEOH$ 



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$1':25.352'8&7'2&75,1(                                                                1RYHPEHU

:DWHU (OHYDWLRQ ,PSDFW 7DEOHV SXEOLVKHG E\ WKH 86$&( LQ WKH  (PHUJHQF\ $FWLRQ 3ODQ
 ³ ($3´  UHIOHFW WKH ³ILUVW VWUHHW IORRGHG XSVWUHDP´ IRU $GGLFNV 5HVHUYRLU RFFXUV DW DQ
HOHYDWLRQRIIWDQGWKH³ILUVWKRPHLQXQGDWHGXSVWUHDP´IRU$GGLFNVRFFXUVDWDQHOHYDWLRQ
RI  IW 86$&(  DW (  )RU %DUNHU 5HVHUYRLU WKH SRRO OHYHO WULJJHU SRLQW IRU
FRPPHQFLQJLQGXFHGVXUFKDUJHUHOHDVHV IURP WKHUHVHUYRLU LV IW )RU%DUNHUWKHOLPLWV RI
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UHIOHFWVWKDWIRU%DUNHU 5HVHUYRLU³ILUVWVWUHHWIORRGHGXSVWUHDP´RFFXUVDWDQHOHYDWLRQRIIW
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5REHUW 7KRPDV WHVWLILHG UHJDUGLQJ WKH SXUSRVH RI PDNLQJ LQGXFHG VXUFKDUJH UHOHDVHV 7KRPDV
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               VFKHGXOH
       4      :KDWLVWKHSXUSRVHRIPDNLQJLQGXFHGVXUFKDUJHUHOHDVHV"
       $      7KHSXUSRVH RIPDNLQJLQGXFHGVXUFKDUJHUHOHDVHVLVWRDVLWVD\VDERYH
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       $      5LJKW$QGLQJHQHUDOWRSUHYHQWDGDPDJLQJFRQGLWLRQWRWKHGDPV
7KH86$&(¶VDFWLRQLQFRPPHQFLQJLQGXFHGVXUFKDUJHRSHUDWLRQVEXUGHQHGWKHGRZQVWUHDPWHVW
SURSHUW\RZQHUVZLWKIORRGLQJE\GLVFKDUJLQJZDWHUGRZQVWUHDPWKDWXQGHUQRUPDOIORRGFRQWURO
UHJXODWLRQ SURFHGXUHV ZRXOG KDYH SURWHFWHG WKH GRZQVWUHDP WHVW SURSHUWLHV E\ EHLQJ UHWDLQHG
XSVWUHDPGLYHUWHGRYHUWKHDX[LOLDU\VSLOOZD\VWRRWKHUDUHDVRUUHOHDVHGGRZQVWUHDPDWDODWHU
GDWHLQDQRQGDPDJLQJPDQQHU

    7KH &DXVH RI ,QXQGDWLRQ 'XULQJ +DUYH\ ± 86$&(¶V 5HOHDVH RI :DWHUV IURP WKH
       $GGLFNVDQG%DUNHU5HVHUYRLUV3XUVXDQWWRLWV:DWHU&RQWURO0DQXDO

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VKRZ WKDW KDG WKH $GGLFNV DQG %DUNHU JDWHV UHPDLQHG FORVHG WKH GRZQVWUHDP WHVW SURSHUWLHV
ZRXOGQRWKDYHEHHQLQXQGDWHG RWKHUWKDQWKHVPDOOQXPEHURIWHVWSURSHUWLHVWKDWH[SHULHQFHG
PLQLPDOIORRGLQJSULRUWRWKHJDWHVRSHQLQJ  7KHRSHQLQJRIWKHJDWHVE\WKH86$&( ZDV WKXV
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        WKH'DPDJLQJ,QXQGDWLRQRI'RZQVWUHDP7HVW3URSHUWLHVWKDW:RXOG2FFXU

&RQVLGHULQJ WKH DPRXQW RI ZDWHU UHOHDVHG DFFRUGLQJ WR WKH LQGXFHG VXUFKDUJH VFKHGXOHV LQ WKH
 :&0WKH86$&(NQHZ LQDGYDQFHRIRSHQLQJWKHIORRGFRQWUROJDWHV WKHVFRSHDQGH[WHQW
RIDQWLFLSDWHGGRZQVWUHDPLQXQGDWLRQ$³0HPRUDQGXPIRU5HFRUG´SUHSDUHGDIWHUWKH7D[
'D\)ORRGDQGEHIRUH+XUULFDQH+DUYH\LQGLFDWHVWKDWWKH86$&(ZDVDZDUHRIZKDW ODQG DUHDV
IORRGILUVWGRZQVWUHDPDQGDWZKDWIORZUHOHDVHUDWHV ([WR7KRPDV'HSRDW86$&( 

        'HWHUPLQDWLRQVRISRWHQWLDOIORRGGDPDJHVZHUHDVVHVVHGXVLQJ86$&(VXUYH\VRI
        VW IORRU VWUXFWXUH HOHYDWLRQV DQG %XIIDOR %D\RX UHFRQQDLVVDQFH RI UHTXHVWHG
        UHOHDVHVDIWHUWKH0HPRULDO'D\)ORRGRIDQGWKH7D['D\)ORRGRI
        8VLQJ86$&(VXUYH\VRIVW IORRUHOHYDWLRQGDWDLWZDVGHWHUPLQHGWKDWWKHORZHU
        OHYHORIKRPHVLQWKHYLFLQLW\RIWKH:HVW%HOWZD\%ULGJH DSSUR[LPDWHO\PLOHV
        GRZQVWUHDPRIWKHUHVHUYRLUV H[SHULHQFHIORRGLQJDWGLVFKDUJHVLQ%XIIDOR%D\RX
        RI  FIV 7KLV GDWD LV FRQVLVWHQW ZLWK FRPSODLQWV RI SURSHUW\ LQXQGDWLRQ
        W\SLFDOO\UHFHLYHGE\WKH'LVWULFWDWGLVFKDUJHVRIFIVDQGDERYH$WIORZV
        JUHDWHUWKDQFIV DODUJHSHUFHQWDJHRIWKHVWUXFWXUHVLQFXUULQJIORRGGDPDJH
        DUH ORFDWHG EHWZHHQ WKH EULGJHV RYHU %XIIDOR %D\RX DW 1RUWK :LOFUHVW 'ULYH
         DSSUR[LPDWHO\  PLOHV GRZQVWUHDP RI WKH UHVHUYRLUV PHDVXUHG DORQJ WKH
        VWUHDPEHG DQG&KLPQH\5RFN5RDG DSSUR[LPDWHO\PLOHVGRZQVWUHDPRIWKH
        UHVHUYRLUV 

%RWK WKH  :&0 DQG  ($3 DOVR FRQWDLQ FRQVWDQW IORZ DUHD PDSV ZKLFK PRGHO
GRZQVWUHDP%XIIDOR%D\RXLQXQGDWLRQDWYDULRXVIORZUDWHDVVXPSWLRQVXSWRFIV ZHOOLQ
H[FHVV RI WKH PD[LPXP FRPELQHG UHOHDVH UDWHV IURP $GGLFNV DQG %DUNHU 5HVHUYRLUV GXULQJ
+XUULFDQH+DUYH\ )LJXUH VKRZQ EHORZ SURYLGHVDQH[DPSOHRIWKH³%XIIDOR%D\RX&RQVWDQW
)ORZ $UHD 0DS´ LQXQGDWLRQ PRGHOLQJ LQIRUPDWLRQ DYDLODEOH WR WKH 86$&( SULRU WR +XUULFDQH
+DUYH\

0U 7KRPDV WHVWLILHG WKDW DW WKH WLPH RI +XUULFDQH +DUYH\ WKH 86$&( KDG WKH FDSDELOLW\ WR
HYDOXDWHDQGWRNQRZLQDGYDQFHRIRSHQLQJWKHIORRGFRQWUROJDWHVWKHIXOOH[WHQWRIGRZQVWUHDP
LQXQGDWLRQWKDWZRXOG RFFXUE\VWUHHWLQWHUVHFWLRQDQGEORFNZLWKLQWKHDFFXUDF\RIWKHPRGHO
LWVHOI 7KRPDV'HSR9RO,,,DW  

        4      :DVWKH&RUSVDEOHWRDVFHUWDLQIURPWKLVPRGHOLQJZKDWWKHZDWHUVXUIDFH
                HOHYDWLRQZDVDWHDFKRIWKRVH&)6OHYHOV"
        $      6RWKH5$6PRGHOGRHVHVWLPDWHHOHYDWLRQDQGGLVFKDUJHVLU
        4      $QGWKDWZDVNQRZOHGJHWKDWWKH&RUSVKDGDWWKHWLPHWKLVZDVFUHDWHGWKLV
                PDQXDODQGWKLVPRGHOZDVFUHDWHG"
        $      <HVVLU



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 Case 1:17-cv-09002-LAS           Document 266-2          Filed 01/10/23      Page 1326 of 1584
35,9,/(*('$1'&21),'(17,$/                                                ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                    *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                              1RYHPEHU

       4      $QGNQRZOHGJHWKDWWKH&RUSVKDGDWWKHWLPHRI+DUYH\"
       $      <HVVLU
                                                     
       4      :HOO\RXFDQWHOOPH WKDWWKH&RUSVKDVWKH FDSDELOLW\RI]RRPLQJLQRQD
               PRGHOVXFKDV$"
       $      <HVVLU
       4      <RXKDYHWKDWWHFKQLFDOFDSDELOLW\"
       $      <HVVLU
       4      $QGKDGLWDWWKHWLPHRI+DUYH\"
       $      <HVVLU
       4      6RWKH&RUSVKDGWKHFDSDELOLW\WR]RRPLQRQD FRQVWDQWIORZPDSRUDQ
               LQXQGDWLRQPDSGLGLWQRW"
       $      <HVVLU
       4      $QGKDGWKDWFDSDELOLW\DWWKHWLPHRI+DUYH\"
       $      <HVVLU
       4      $QGWKH&RUSVFRXOGE\]RRPLQJLQRQHLWKHU WKLVFRQVWDQWIORZPDSRUWKH
               LQXQGDWLRQPDSVEHLQJUXQ SUH+DUYH\RUGXULQJWKHWLPHRI+DUYH\DFWXDOO\
               LGHQWLI\ VWUHHWVDQGLQWHUVHFWLRQVDQGEORFNVRQWKH LQXQGDWLRQPDS"
       $      5LJKW:LWKLQWKHDFFXUDF\RIWKHPRGHOVLU
$IWHU+XUULFDQH+DUYH\WKH86$&(XQGHUWRRNDQHIIRUWWRFDOFXODWHWKHSHUFHQWDJHRIIORZLQ
GRZQVWUHDP %XIIDOR %D\RX DWWULEXWDEOH WR WKH UHVHUYRLU UHOHDVHV ([  WR 7KRPDV 'HSR  $W
WLPHVDIWHUWKHLQGXFHGVXUFKDUJHUHOHDVHVEHJDQ86$&(FDOFXODWHGWKDWXSWRRIIORZLQ
%XIIDOR%D\RXZDVDWWULEXWDEOHWRUHVHUYRLUUHOHDVHV ([WR7KRPDV'HSR 

,QDGGLWLRQWR WKHFRQVWDQWIORZDUHDPDSV SUHVHQWHGLQ WKH:&0DQG($3WKH86$&(
ZRXOGKDYH UHDGLO\ KDGDFFHVVWRWKH UHFHQWO\SUHSDUHG)HGHUDO(PHUJHQF\0DQDJHPHQW$JHQF\
 )(0$ )ORRG ,QVXUDQFH 6WXG\ ),6  GDWHG  -DQXDU\  )(0$   'HWDLOHG )ORRG
3URILOHVDUHSUHVHQWHGLQ9ROXPHRIWKH ),6ZKLFKLQFOXGHWKHIXOOOHQJWKRI%XIIDOR%D\RX
7KHVH H[KLELWV LQFOXGHG DV $WWDFKPHQW  WR WKLV 5HSRUW SUHVHQW WKH ZDWHU VXUIDFH HOHYDWLRQV
DORQJWKHIXOOOHQJWKRI%XIIDOR%D\RXIRUDUDQJHRIIORZV 7DEOH LQ9ROXPH RIWKH),6SUHVHQWV
SHDNGLVFKDUJHVDVVRFLDWHGZLWKWKHDQG\HDUVWRUPHYHQWVDWVL[ORFDWLRQVDORQJ
%XIIDOR%D\RX DOVRLQFOXGHGLQ$WWDFKPHQW WRWKLV5HSRUW  (DFKRIWKHVHIORZVDUHGLUHFWO\
DVVRFLDWHG ZLWK WKH YDULRXV ZDWHU VXUIDFH HOHYDWLRQV SUHVHQWHG RQ WKH H[KLELWV LQFOXGHG DV
$WWDFKPHQW




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 Case 1:17-cv-09002-LAS            Document 266-2          Filed 01/10/23       Page 1327 of 1584
35,9,/(*('$1'&21),'(17,$/                                                  ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                      *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                1RYHPEHU

    7KHUH:DV1R(PHUJHQF\± 7KH5HVHUYRLUV3HUIRUPHGDV([SHFWHGE\86$&(

$  2FWREHU86$&(³0HPRUDQGXPIRU&RPPDQGHU´VWDWHVWKDWWKHUHVHUYRLUVSHUIRUPHG
DV H[SHFWHG GXULQJ +XUULFDQH +DUYH\ ([  WR 7KRPDV 'HSR DW 86$&( HPSKDVLV
DGGHG 

       7KH HPEDQNPHQW RXWOHW VWUXFWXUHV DQG HPHUJHQF\ VSLOOZD\V IXQFWLRQHG DV
       LQWHQGHG 3LH]RPHWHUV VHWWOHPHQW SLQV DQG DOLJQPHQW VXUYH\V IRU WKH RXWOHW
       VWUXFWXUHVGRQRWVKRZQ>VLF@DQ\ DODUPLQJWUHQGVIURPWKLVSRRORIUHFRUG7KHUH
       ZHUHQRREVHUYDWLRQVRIVHHSDJHRUFULWLFDOGLVWUHVVDUHDVORFDWHGRQWKHGDPV:HW
       DUHDVORFDWHGRQWKHGRZQVWUHDPHPEDQNPHQWWRHZHUHPRQLWRUHGEXWVKRZHGQR
       VLJQVRIIORZ« Overall conclusion is that the project was performing as expected
       with no significant problems during this pool of record event.

0U7KRPDVWHVWLILHGUHJDUGLQJWKHSXUSRVHRIWKH0HPRUDQGXP 7KRPDV'HSR9RO,,DW 

       4      :KDW LV WKH SXUSRVH RI WKLV 0HPRUDQGXP IRU &RPPDQGHU WKDW KDV EHHQ
               PDUNHGDV([KLELW":K\ZDVLWSUHSDUHG"
       $      $IWHUHYHU\IORRGRIUHFRUGZHSUHSDUHDGRFXPHQWGRFXPHQWLQJWKHVWDWH
               RIWKHGDPVLPPHGLDWHO\DIWHUZDUG
       4      ,VRQHRIWKHSXUSRVHVRISUHSDULQJWKLVPHPRUDQGXPWRDVVHVVZKHWKHURU
               QRW WKH $GGLFNV DQG %DUNHU GDPV DQG UHVHUYRLUV SHUIRUPHG DV H[SHFWHG
               GXULQJWKDWQHZSRRORIUHFRUG"
       $      <HVVLU
$³5HSRUWRI3HUIRUPDQFH´HQFORVHGZLWKWKH0HPRUDQGXPUHIOHFWVWKDW³WKH$GGLFNVDQG%DUNHU
GDPV¶ZDWHUVKHGVUHFHLYHGEHWZHHQLQFKHVRIUDLQGXULQJD GD\SHULRG$XJXVW
WKURXJK $XJXVW  «´ ([  WR 7KRPDV 'HSR DW 86$&(  $FFRUGLQJO\ WKH
0HPRUDQGXP¶VILQGLQJFRQFHUQLQJGDP SHUIRUPDQFHGXULQJ+XUULFDQH+DUYH\LVFRQVLVWHQWZLWK
WKHGHVLJQFULWHULDIRUWKHUHVHUYRLUVDVWKH³VSLOOZD\GHVLJQIORRG´IRUWKHUHVHUYRLUVLV³FRPSXWHG
DVLQFKHVLQKRXUVZLWKDSHDNLQWHQVLW\RILQFKHV´ 86$&( DW6HFD 

7KH0HPRUDQGXP¶VILQGLQJVDUHDOVRFRQVLVWHQWZLWKWKHIDFWWKDWQRIRUPDOGHFODUDWLRQRI/HYHO
/HYHORU/HYHO³(PHUJHQF\´ ZDVPDGHGXULQJ+XUULFDQH+DUYH\DVGHILQHGLQWKH
($3 IRUWKHUHVHUYRLUV 86$&(DW   $/HYHOHPHUJHQF\ WKHORZHVWOHYHOLQWKH
($3 LVGHILQHGDV³DGHYHORSLQJFRQGLWLRQLQZKLFKWKHGDPKDVQRWIDLOHGEXWSRVVLEO\FRXOGLI
WKHVLWXDWLRQFRQWLQXHVWRGHYHORS´ 86$&(DW  ,QIDFW0U7KRPDVWHVWLILHGWKDWKHZDV
QRWDZDUHRIDQ\/HYHORUHPHUJHQF\HYHUKDYLQJEHHQIRUPDOO\GHFODUHGLQWKHKLVWRU\RI
WKHGDPV 7KRPDV'HSR9RO,,DW 

       4       +DV WKHUH HYHU EHHQ D IRUPDO GHFODUDWLRQ RI D /HYHO  HPHUJHQF\ LQ WKH
               KLVWRU\RIWKH$GGLFNVDQG%DUNHUGDPVDQGUHVHUYRLUV"


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35,9,/(*('$1'&21),'(17,$/                                                                 ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                                     *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                              1RYHPEHU

         $       1RWWKDW,NQRZRIVLU
         4       +DVWKHUHHYHUEHHQDIRUPDOGHFODUDWLRQRI /HYHOHPHUJHQF\"
         $       1RWWKDW,NQRZRIVLU
         4        +DVWKHUHHYHUEHHQDIRUPDOGHFODUDWLRQRI/HYHOHPHUJHQF\"
         $       1RWWKDW,NQRZRIVLU
3HU 86$&(¶V RZQ SRVW+DUYH\ UHSRUW WKHUH LV QR FUHGLEOH HYLGHQFH WKDW DQ\ HPHUJHQF\
LPSOLFDWLQJSRVVLEOHGDPIDLOXUHH[LVWHGDWWKHWLPHRI +XUULFDQH +DUYH\

      6XPPDU\RI&RQFOXVLRQV

'XULQJDQGDIWHU+XUULFDQH+DUYH\$GGLFNVDQG%DUNHU5HVHUYRLUVZHUHRSHUDWHGLQDPDQQHU
WKDWFDXVHGGRZQVWUHDPIORRGLQJ DVDUHVXOWRILQGXFHGVXUFKDUJHRSHUDWLRQV,QGXFHGVXUFKDUJH
RSHUDWLRQV KDG WKH HIIHFW RI PLWLJDWLQJ XSVWUHDP LQXQGDWLRQ WR WKH GHWULPHQW RI GRZQVWUHDP
SURSHUWLHVZKLFKH[SHULHQFHGLQXQGDWLRQWKDWRWKHUZLVHZRXOGQRWKDYHRFFXUUHG$WWKHWLPHRI
+XUULFDQH +DUYH\ 86$&( NQHZ ± ZLWK VSHFLILFLW\ WR VWUHHWV EORFNV RU LQWHUVHFWLRQV ± WKH
GRZQVWUHDPLPSDFWRILWVGHFLVLRQWRUHOHDVHZDWHUIURP$GGLFNVDQG%DUNHU5HVHUYRLUVSXUVXDQW
WRWKH:&0¶VLQGXFHGVXUFKDUJHSURFHGXUHV$VH[SODLQHGLQWKLV5HSRUWDFWLRQXQGHUWDNHQ
E\86$&( WRRSHQWKH$GGLFNV DQG%DUNHUJDWHVZDVWKHGHFLVLRQWKDW FDXVHGWKHGRZQVWUHDP
WHVWSURSHUWLHVWREHLQXQGDWHGDQGWKRVHSURSHUWLHVZRXOGQRWKDYHEHHQLQXQGDWHG DQGRUZRXOG
QRWKDYHEHHQLQXQGDWHGWRWKHH[WHQWH[SHULHQFHGGXULQJDQGDIWHU+XUULFDQH+DUYH\EXWIRUWKH
LQGXFHGVXUFKDUJH UHOHDVH  7KLVGHFLVLRQWRDEDQGRQIURPWKHORQJVWDQGLQJSROLF\RISURWHFWLQJ
GRZQVWUHDPSURSHUWLHVLQFUHDVHGWKHGXUDWLRQDQGGHSWKRILQXQGDWLRQ




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 1R FRQFOXVLRQV FDQ EH UHDFKHG WR D UHDVRQDEOH GHJUHH RI VFLHQWLILF DQG HQJLQHHULQJ SUREDELOLW\ ZLWK UHVSHFW WR
GRZQVWUHDPWHVWSURSHUW\ 6WDKO


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 Case 1:17-cv-09002-LAS    Document 266-2     Filed 01/10/23      Page 1329 of 1584
35,9,/(*('$1'&21),'(17,$/                                    ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                        *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                  1RYHPEHU




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35,9,/(*('$1'&21),'(17,$/                                                 ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                     *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                              1RYHPEHU

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7KHOLVWRISODLQWLIIVFRQVLGHUHGLQWKLV5HSRUWDUHEDVHGRQWKH³2UGHU5HJDUGLQJ7HVW3URSHUW\
6HOHFWLRQ´ 'RFXPHQW  ILOHG  0DUFK  7KH RQO\ DPHQGPHQW WR WKH OLVW RI SODLQWLIIV
LGHQWLILHGLQ'RFXPHQWLVWKHUHPRYDORIWKH%HFN\+RSURSHUW\DW:HVW6DP+RXVWRQ
3DUNZD\ 1RUWK7KHUHPDLQLQJ GRZQVWUHDPWHVWSURSHUWLHVZKLFKZHUHLQYHVWLJDWHGIRU WKLV
5HSRUW DUH VXPPDUL]HG LQ 7DEOH  EHORZ 7KH ³=RQH´ LGHQWLILFDWLRQ LV EDVHG RQ WKH
³&RQVROLGDWHG DQG $PHQGHG 'RZQVWUHDP 0DVWHU &RPSODLQW´ 'RFXPHQW  ILOHG  -DQXDU\
7KHRQO\DPHQGPHQWVWRWKH]RQHVLGHQWLILHGLVWKDWWKH*RRG5HVRXUFHV//&SURSHUW\DQG
WKH 3KLOOLS $]DU SURSHUW\ ZHUH QRW RULJLQDOO\ LGHQWLILHG LQ WKH ³&RQVROLGDWHG DQG $PHQGHG
'RZQVWUHDP 0DVWHU &RPSODLQW´ 7KHVH  GRZQVWUHDP WHVW SURSHUWLHV WRJHWKHU ZLWK WKH ]RQH
GHVLJQDWLRQVDUHVKRZQLQ)LJXUH WRJHWKHUZLWKDVVRFLDWHGVXEILJXUHV 




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35,9,/(*('$1'&21),'(17,$/                                          ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                              *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                       1RYHPEHU

                            7DEOH/LVWRI7HVW3URSHUWLHV
   1XPEHU 3ODLQWLII 1DPH             3ODLQWLII7\SH         $GGUHVV                  =RQH
          0LOWRQ9LUJLQLDDQG      5HSUHVHQWDWLYH        6LOYHUJDWH
                                                                                  1RUWK
          $UQROG                     &ODVV3ODLQWLII        'ULYH
                                     5HSUHVHQWDWLYH
           6KLSRV-HQQLIHU                               %D\RX3NZ\        6RXWK
                                     &ODVV3ODLQWLII
            0HPRULDO60&            %HOOZHWKHU            60D\GH
                                                                                  1RUWK
            ,QYHVWPHQW/3       ,QGLYLGXDO3ODLQWLII   &UHHN'ULYH
                                     %HOOZHWKHU            0HPRULDO
           *RRG5HVRXUFHV//&                                                     1RUWK
                                     ,QGLYLGXDO3ODLQWLII   0HZV6W
                                     5HSUHVHQWDWLYH        7KRUQYLQH
           $OGUHG9DO                                                           1RUWK
                                     &ODVV3ODLQWLII        /DQH
            +ROOLV:D\QHDQG       5HSUHVHQWDWLYH        5LYHU
                                                                                  1RUWK
            3HJJ\                    &ODVV3ODLQWLII        )RUHVW'ULYH
            6LOYHUPDQ3HWHUDQG    %HOOZHWKHU            :HVWHUOH\
                                                                                  6RXWK
            =KHQQLD                  ,QGLYLGXDO3ODLQWLII   /DQH
            *RGHMRUG$UQVWHLQ      5HSUHVHQWDWLYH        
                                                                                  1RUWK
            DQG,JQD                 &ODVV3ODLQWLII        +HDWKHUILHOG'ULYH
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      x   $XJXVW± 5DLQFRQWLQXHVDSSUR[LPDWHO\LQFKHVSRRO OHYHOV ZLWKLQWKHUHVHUYRLUV
          EHJLQWRULVH
      x   $XJXVW± 5DLQFRQWLQXHVDSSUR[LPDWHO\LQFKHV
             o 3URSHUWLHVUHSRUWLQJLQLWLDOLQXQGDWLRQEDVHGRQWHVWLPRQ\
                     0HPRULDO60& PXOWLSOHEXLOGLQJVQRWDOOPD\KDYHEHHQLQXQGDWHG
                     %H\RJOX UHSRUWHGPLQRULQXQGDWLRQ
      x   $XJXVW  LQWR  ± 5HVHUYRLU JDWHV RSHQHG DQG LQGXFHG VXUFKDUJH UHOHDVHV PDGH
          GRZQVWUHDPWR%XIIDOR%D\RXSRROOHYHOVLQWKHUHVHUYRLUVFRQWLQXHWR ULVHDSSUR[LPDWHO\
          LQFKHVRIUDLQ
             o $GGLFNV JDWHVRSHQHGDWQRODWHUWKDQDP RQ$XJXVW
                    SHDNGLVFKDUJHFIV
                    SHDNSRROOHYHODWIW
             o %DUNHUJDWHVRSHQHGDWQRODWHUWKDQDP RQ$XJXVW



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 Case 1:17-cv-09002-LAS           Document 266-2       Filed 01/10/23         Page 1341 of 1584
35,9,/(*('$1'&21),'(17,$/                                             ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                 *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                           1RYHPEHU

                  SHDNGLVFKDUJHFIV
                  SHDNSRROOHYHODW IW
   x   $XJXVW
          o 3URSHUWLHVUHSRUWLQJLQLWLDOLQXQGDWLRQEDVHGRQWHVWLPRQ\
                   0LOWRQ
                   *RRG5HVRXUFHV
                   +ROOLV
                   $]DU KDG PLQRU LQXQGDWLRQ RQ $XJXVW  EXW UHSRUWHG VLJQLILFDQW
                   LQXQGDWLRQVWDUWLQJ$XJXVW UHVXOWLQJLQXSWRIWRILQXQGDWLRQ
                   6WDKOHVWLPDWHVLQXQGDWLRQEHJDQRQ$XJXVWEDVHGRQ86*6JDXJHV
                  :HOOLQJ
   x   $XJXVW  ± 8QFRQWUROOHG UHOHDVHV DOVR UHIHUUHG WR DV ³IODQNLQJ IORZV´ DURXQG WKH
       VSLOOZD\RQWKHQRUWKHQGRI$GGLFNVRFFXUVDSSUR[LPDWHO\LQFKHVRIUDLQRFFXUUHG
       DQGVWRSSHG
          o $GGLFNVJDWHVUHPDLQHGRSHQHG
                  SHDNGLVFKDUJHFIV
                  SHDNSRROOHYHODWIW
                  XQFRQWUROOHGUHOHDVHV IODQNLQJIORZV VWDUWHG DWDP
          o %DUNHUJDWHVUHPDLQHGRSHQHG
                  SHDNGLVFKDUJHFIV
                  SHDNSRROOHYHODWIW
          o 3URSHUWLHVUHSRUWLQJ LQLWLDO LQXQGDWLRQEDVHGRQWHVWLPRQ\
                   6KLSRV
                   6LOYHUPDQ
                  *RGHMRUG
   x   $XJXVW± 3RROOHYHOVLQERWKUHVHUYRLUVDWRUQHDUSHDNV%DUNHUZDVIXOO$GGLFNV
       ZDVIXOOQRUDLQRFFXUUHG
          o $GGLFNVJDWHVUHPDLQHGRSHQHG
                  SHDNGLVFKDUJHFIV
                  RYHUDOOSHDNSRROOHYHODWIW RFFXUUHG DWDP
                  XQFRQWUROOHGUHOHDVHV IODQNLQJIORZV DOVRRFFXUUHG
          o %DUNHUJDWHVUHPDLQHGRSHQHG
                  SHDNGLVFKDUJHFIV
                  RYHUDOOSHDNSRROOHYHODWIW RFFXUUHG DWDP
          o 3URSHUWLHVUHSRUWLQJLQLWLDOLQXQGDWLRQEDVHGRQWHVWLPRQ\


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 Case 1:17-cv-09002-LAS          Document 266-2      Filed 01/10/23       Page 1342 of 1584
35,9,/(*('$1'&21),'(17,$/                                            ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                          1RYHPEHU

                  $OGUHG
                  &XWWV
   x   $XJXVW± SRROOHYHOVEHJLQWRIDOO
          o $GGLFNVJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRRO OHYHODWIW
                 XQFRQWUROOHGUHOHDVHV IODQNLQJIORZV DOVRRFFXUUHG
          o %DUNHUJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRROOHYHODWIW
   x   6HSWHPEHU± SRROOHYHOVFRQWLQXHWRIDOO
          o $GGLFNVJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRROOHYHODWIW
                 XQFRQWUROOHGUHOHDVHV IODQNLQJIORZV VWRSSHG DURXQG SP
          o %DUNHUJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRROOHYHODWIW
   x   6HSWHPEHU± PDQGDWRU\HYDFXDWLRQRUGHULVVXHGE\&LW\RI+RXVWRQ
          o $GGLFNVJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRROOHYHODW IW
          o %DUNHUJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRROOHYHODWIW
   x   6HSWHPEHU± 7DLOZDWHUFRQGLWLRQVHQGHGDW%DUNHU
          o %DUNHUWDLOZDWHUFRQGLWLRQVUHSRUWHG WRHQG DWHOHYDWLRQIWDWDP
   x   6HSWHPEHU± 7DLOZDWHUFRQGLWLRQVHQGHGDW$GGLFNV
          o $GGLFNVWDLOZDWHUFRQGLWLRQVUHSRUWHGWRHQGDWHOHYDWLRQIWDWSP
   x   6HSWHPEHU± JDWHGLVFKDUJHUDWHVHQGHG
          o $GGLFNV± JDWHVFORVHGDWSP
          o %DUNHU± JDWHVFORVHG DWSP
   x   6HSWHPEHU± JDWHVRSHQHGDJDLQ




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35,9,/(*('$1'&21),'(17,$/                                                      ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                          *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                    1RYHPEHU

            o $GGLFNV± JDWHVRSHQHGDW SPDWFIVXQWLOHQGRIUHFRUG LQ³PRUQLQJ
              UHSRUW´ VSUHDGVKHHW RQ
            o %DUNHU± JDWHVRSHQHGDWSPDWFIVXQWLOHQGRIUHFRUGLQ³PRUQLQJ
              UHSRUW´VSUHDGVKHHWRQ 

)LJXUH SUHVHQWV DFRPSRVLWHJHQHUDOWLPHOLQHRIHYHQWVIURP $XJXVWWKURXJK 6HSWHPEHU
7KHJDXJHQXPEHURIWKHIRXU86*6JDXJHVDORQJ%XIIDOR%D\RXXVHGLQWKHGHYHORSPHQW
RIWKHJUDSKDUHLQGLFDWHGLQWKHOHJHQG7KHRXWIORZIURPWKHUHVHUYRLUV UHSUHVHQWVWKHFRPSRVLWH
GLVFKDUJHIURPWKHJDWHVRIWKHWZRUHVHUYRLUV $GGLFNV DQG%DUNHU 7KHIORZUDWHLVEDVHGRQWKH
86$&(UHSRUWHGYDOXHVSHUWKH86$&( VSUHDGVKHHW7KHSUHFLSLWDWLRQYDOXHV DUHEDVHG
RQ DQ DQDO\VLVRISUHFLSLWDWLRQGDWDIRU JDXJHVIURP $XJXVWWR 6HSWHPEHUREWDLQHG
IURPWKH+&)&'ZHEVLWH +&)&'  7KLHVVHQSRO\JRQVZHUHJHQHUDWHGIRUWKHSUHFLSLWDWLRQ
JDXJHVWRDFFRXQWIRUWKHVSDWLDOYDULDELOLW\LQWKHSUHFLSLWDWLRQ VHH $SSHQGL[% (DFK7KLHVVHQ
SRO\JRQ ZDV DVVLJQHG WKH UDLQ JDXJH WKDW IHOO LQ LW $Q DUHD ZHLJKHG WRWDO SUHFLSLWDWLRQ ZDV
FDOFXODWHGEDVHGRQWKHSUHFLSLWDWLRQWLPHVHULHVDQGDUHDRI7KLHVVHQSRO\JRQV7KHSUHFLSLWDWLRQ
DQDO\VLVLVGHWDLOHGLQ $SSHQGL[%

     3ODLQWLII7HVWLPRQ\RI2EVHUYHG&RQGLWLRQV

$FFRUGLQJWRGRZQVWUHDPSODLQWLIIWHVWLPRQ\7DEOH EHORZVXPPDUL]HVWKHUHSRUWHGHVWLPDWHG
WLPH RI ILUVW LQXQGDWLRQ WKH HVWLPDWH RI PD[LPXP REVHUYHG LQXQGDWLRQ DQG WKH GXUDWLRQGDWHV
ZKHQWKHSODLQWLIIFRXOGQRWDFFHVVWKH SURSHUW\GXHWRLQXQGDWLRQ ZKLFKLVUHSUHVHQWDWLYHRIWKH
WLPHGXUDWLRQWKDWWKHSURSHUW\ZDVLQXQGDWHG  %DVHGRQWKHWHVWLPRQ\VXPPDUL]HGLQ7DEOH
GRZQVWUHDP WHVW SURSHUWLHV   DQG  UHSRUWHG WR KDYH PLQLPDO LQXQGDWLRQ SULRU WR WKH
86$&(RSHQLQJWKHJDWHV

7KH (OHYDWLRQ&HUWLILFDWHVIRUHDFKRIWKHGRZQVWUHDPWHVWSURSHUWLHVZHUHUHYLHZHGLQRUGHUWR
LQYHVWLJDWH WKH VODE HOHYDWLRQ RI WKH EXLOGLQJ VWUXFWXUH RQ WKH SURSHUW\ 7KH VODE HOHYDWLRQ ZDV
FRPSDUHG WR WKH HVWLPDWH RI PD[LPXP REVHUYHG LQXQGDWLRQ GHSWK DFFRUGLQJ WR WKH SODLQWLII
WHVWLPRQ\ LQ RUGHU WR FDOFXODWH DQ HVWLPDWH RI PD[LPXP ZDWHU VXUIDFH HOHYDWLRQ 7DEOH 
SUHVHQWVWKHVODEHOHYDWLRQDQGFDOFXODWHGHVWLPDWHRIPD[LPXPREVHUYHGZDWHUVXUIDFHHOHYDWLRQ
IRUHDFKRIWKHGRZQVWUHDPWHVWSURSHUWLHV




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35,9,/(*('$1'&21),'(17,$/                                        ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                            *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                      1RYHPEHU

           7DEOH 6XPPDU\RI3ODLQWLII 7HVWLPRQ\5HJDUGLQJ,QXQGDWLRQ

                               (VWLPDWHRI       (VWLPDWHRI              'XUDWLRQ
                                  )LUVW       0D[LPXP2EVHUYHG          3URSHUW\ZDV
   1XPEHU 3ODLQWLII1DPH       ,QXQGDWLRQ        ,QXQGDWLRQ              ,QDFFHVVLEOH
          0LOWRQ9LUJLQLD
                           DP             IW               8QWLO
          DQG$UQROG
         6KLSRV-HQQLIHU                        IW               8QWLO
          0HPRULDO60&
                            ODWH
         ,QYHVWPHQW                              WRIW            8QWLO
                            QLJKW
          /3
          *RRG5HVRXUFHV 
                                                     IW               8QWLO
          //&               DP
         $OGUHG9DO                               IW               8QWLO
          +ROOLV:D\QH
                                                 IW               8QWLO
          DQG3HJJ\
          6LOYHUPDQ
         3HWHUDQG                               IW               8QWLO
          =KHQQLD
          *RGHMRUG
         $UQVWHLQDQG                           IW               8QWLO
          ,JQD
          &XWWV3DXODQG
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          'DQD
          %H\RJOX-DQD                        IWRQXSWR
                                                                      8QWLO 
          DQG*RNKDQ                              IWRQ
        $]DU3KLOOLS                    8SWRIWRQ        8QWLO
           6WDKO7LP                           IW               8QWLO
           :HOOLQJ6KDZQ                        IW               8QWLO




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35,9,/(*('$1'&21),'(17,$/                                                         ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                             *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                       1RYHPEHU

 7DEOH6ODE(OHYDWLRQVDQG3ODLQWLII7HVWLPRQ\5HJDUGLQJ:DWHU6XUIDFH(OHYDWLRQV

                                                    (OHYDWLRQ     (VWLPDWHRI0D[LPXP
                                                 &HUWLILFDWH6ODE    2EVHUYHG:DWHU
             1XPEHU       3ODLQWLII1DPH          (OHYDWLRQ IW   6XUIDFH(OHYDWLRQ IW
                         0LOWRQ                                      
                         6KLSRV                                      
                         0HPRULDO60& D          WR       WR
                         *RRG5HVRXUFHV                              
                         $OGUHG                                      
                         +ROOLV                                      
                                                            E
                         6LOYHUPDQ                                   
                         *RGHMRUG                                    
                         &XWWV                                       
                        %H\RJOX                                     
                        $]DU                                        
                        6WDKO                                                
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      D
1RWHV 7KH0HPRULDO60&SURSHUW\FRQVLVWVRIDSSUR[LPDWHO\GLIIHUHQW EXLOGLQJVWUXFWXUHVZKLFK
        KDYHDUDQJHRIVODEHOHYDWLRQVDFFRUGLQJWRWKHLUFRUUHVSRQGLQJ(OHYDWLRQ&HUWLILFDWHV
      E
          (OHYDWLRQ&HUWLILFDWHZDVQRWDYDLODEOHIRU6LOYHUPDQDOWKRXJKWKHSURSHUW\KDGEHHQVXUYH\HG
          ZLWKDVODEHOHYDWLRQRIIWE\6RXWK7H[DV6XUYH\LQJ$VVRFLDWHV,QF
      F
          7KHVODEHOHYDWLRQRIIWIRU:HOOLQJFRUUHVSRQGVWRWKH ORZHVWHOHYDWLRQRIPDFKLQHU\RU
           HTXLSPHQWVHUYLFLQJWKHEXLOGLQJWKHVODEHOHYDWLRQRIWKHILUVWIORRULVIWERWKRIZKLFKDUH
           UHSRUWHG RQWKH(OHYDWLRQ&HUWLILFDWH7KHUHSRUWHGLQXQGDWLRQGHSWKEDVHGRQSODLQWLIIWHVWLPRQ\
           LVZLWKUHVSHFWWRWKH PDFKLQHU\HOHYDWLRQEHORZWKHILUVWIORRUHOHYDWLRQ




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                                     Case 1:17-cv-09002-LAS                                       Document 266-2                          Filed 01/10/23                 Page 1346 of 1584




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                                                                                                              ϴͬϯϬͬϭϳϭϲ͗ϰϱ
                               ϴϬ                                                                                ϳϳ͘ϰϱ Ĩƚ                                                                             ϵ͕ϬϬϬ


                                     h^'^ϬϴϬϳϯϳϬϬWĞĂŬt^
                               ϳϬ         ϴͬϮϳͬϭϳϭϯ͗ϬϬ                                                                                                                                               ϳ͕ϱϬϬ
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                               ϲϬ                                                                       h^'^ϬϴϬϳϯϲϬϬWĞĂŬt^                                                                        ϲ͕ϬϬϬ
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                               ϰϬ                                                     h^'^ϬϴϬϳϰϬϬϬWĞĂŬt^                                                                                          ϯ͕ϬϬϬ
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UHVXOWVDUHSUHVHQWHGLQ$SSHQGL[%

     (QKDQFHG'+(&5$60RGHO5HVXOWV

7KHHQKDQFHG'+(&5$6PRGHOZDVGHYHORSHGXVLQJWKH86$&( '+(&5$6PRGHODVWKH
EDVLVIRU PRGHOGHYHORSPHQW$ GHWDLOHG GHVFULSWLRQRIWKHPRGHOHQKDQFHPHQWVDUHSURYLGHGLQ
$SSHQGL[ & 7KH SXUSRVH RI WKH HQKDQFHG ' +(&5$6 PRGHO ZDV WR DVVHVV ZKHQ IODQNLQJ
IORZVZRXOGRFFXULGHQWLI\ ZKHUHWKH IORZVZRXOGEH FRQYH\HGGRZQVWUHDP DQGTXDQWLI\IORZ
UDWHVDVWKH\ UHWXUQHGWR%XIIDOR%D\RX

7KH HQKDQFHG ' +(&5$6 PRGHO TXDQWLILHG WKH SRRO OHYHOV IODQNLQJ IORZ UDWHV DQG WKH
ORFDWLRQV RI ZKHUH IODQNLQJ IORZV ZRXOG UHWXUQ WR %XIIDOR %D\RX XQGHU WKH WZR PRGHOLQJ
VFHQDULRV 7DEOH  SUHVHQWV WKH SHDN SRRO OHYHOV DQG IODQNLQJ IORZV DW $GGLFNV DQG %DUNHU
5HVHUYRLUV IRU WKH JDWHV FORVHG VFHQDULR VLPXODWLRQ FRPSDUHG WR REVHUYHG FRQGLWLRQV GXULQJ
+XUULFDQH+DUYH\$OWKRXJKSRROOHYHOVZLWKLQERWK$GGLFNVDQG%DUNHU5HVHUYRLUVZRXOGKDYH
EHHQKLJKHUXQGHUWKHJDWHVFORVHGVFHQDULR%DUNHUSRROOHYHOV ZRXOGVWLOOQRWKDYHH[FHHGHG WKH
QDWXUDOJURXQGDWWKHHQGRIWKHGDPGXULQJ+XUULFDQH+DUYH\WKHUHE\DYRLGLQJIODQNLQJIORZV
7KH VLPXODWHGJDWHVFORVHGVFHQDULRSRROOHYHOVDUH IWDQG IWKLJKHUZLWKLQ$GGLFNVDQG
%DUNHU5HVHUYRLUVUHVSHFWLYHO\ )ODQNLQJIORZVZHUHRQO\SUHGLFWHGIRU$GGLFNV5HVHUYRLUXQGHU
ERWK WKH JDWHVRSHQHGDQGJDWHV FORVHGVFHQDULRVQRIODQNLQJIORZVZHUHSUHGLFWHGIRU %DUNHU
5HVHUYRLUXQGHUHLWKHUVFHQDULRGXULQJ+XUULFDQH+DUYH\7KHWRWDOSHDNIODQNLQJIORZOHDYLQJ
$GGLFNV5HVHUYRLUZDVREWDLQHG IURPWKHHQKDQFHG'+(&5$6PRGHODVFIVIRUWKH JDWHV
FORVHGVFHQDULRFRPSDUHGWRDSSUR[LPDWHO\FIVIRUWKHJDWHVRSHQHGFRQGLWLRQVDVUHSRUWHG
GXULQJWKH.DXIIPDQGHSRVLWLRQ7KHVHIODQNLQJIORZVDUHVSOLWEHWZHHQWKHIRXUUHWXUQORFDWLRQV
DW%XIIDOR%D\RXDQGDUHDOVRDWWHQXDWHGEHWZHHQWKHHQGRI$GGLFNV5HVHUYRLUDQGWKHUHWXUQ
ORFDWLRQV



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35,9,/(*('$1'&21),'(17,$/                                                      ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                          *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                    1RYHPEHU

)LJXUH DQG)LJXUH SUHVHQWWKH REVHUYHGDQGPRGHOHGRXWIORZVDQGSRROOHYHOVDW$GGLFNV
DQG%DUNHU5HVHUYRLUVUHVSHFWLYHO\)LJXUH DQG)LJXUH SUHVHQWWKHPD[LPXPLQXQGDWLRQ
H[WHQWV IURP WKH HQKDQFHG ' +(&5$6 PRGHO UHVXOWV IRU WKH JDWHV RSHQHG DQG JDWHV FORVHG
VFHQDULRVUHVSHFWLYHO\7KHJDWHVFORVHGVFHQDULRVKRZVQRIODQNLQJIORZVRFFXUUHGIRU%DUNHU
5HVHUYRLU )XUWKHUPRUH WKH IODQNLQJ IORZV WKDW RFFXU DW $GGLFNV 5HVHUYRLU DUH VKRZQ WR EH
FRQYH\HG IDUWKHU GRZQVWUHDP EHIRUH WKH\ UHWXUQ WR %XIIDOR %D\RX DQG E\SDVV PDQ\ RI WKH
GRZQVWUHDPWHVWSURSHUWLHV)RUH[DPSOHIODQNLQJIORZVIURP$GGLFNV 5HVHUYRLUUHWXUQWR%XIIDOR
%D\RXYLD 7XUNH\&UHHN5XPPHO&UHHN6SULQJ%UDQFKDQG:KLWH2DN%D\RX

7DEOH EHORZSUHVHQWVWKHVXPPDU\RIWKHHQKDQFHG'+(&5$6PRGHOUHVXOWVDGGLWLRQDO
PRGHOUHVXOWVDUHSUHVHQWHGLQ$SSHQGL[&

     &RPELQHG'+(&5$60RGHO5HVXOWV

$ FRPELQHG'+(&5$6PRGHOZDVGHYHORSHGXVLQJ'U%HGLHQW¶V'+(&5$6PRGHODQG
WKH+&)&''+(&5$6PRGHO7KHLQIORZK\GURJUDSKVZHUHREWDLQHGIRUWKHWZRVFHQDULRV
IURPWKH+(&+06PRGHO DQGWKH IODQNLQJIORZVIURPWKHHQKDQFHG'+(&5$6PRGHO DV
GHVFULEHGLQ6HFWLRQ 

$IWHULQSXWWLQJWKH+(&+06IORZVIRUWKHJDWHVRSHQHGVFHQDULRWKHUHVXOWLQJ ' +(&5$6
SURGXFHGIORZK\GURJUDSKVDUHYHU\ FRQVLVWHQWZLWKWKHUHFRUGHGIORZK\GURJUDSKVDWIRXURIWKH
86*6 JDXJHV DORQJ %XIIDOR %D\RX 86*6  6WDWH +Z\  86*6  1HDU
$GGLFNV86*6:%HOW'U86*63LQH\3RLQW $VZDVREVHUYHGZLWKWKH
+(&+06DQDO\VLVWKHJDWHVFORVHGVFHQDULRLQ+(&5$6 SURGXFHGIORZK\GURJUDSKVWKDWVKRZ
D YHU\ GLVWLQFW UHGXFWLRQ LQ IORZ DIWHU WKH WLPH WKH JDWHV ZRXOG KDYH RSHQHG 7R YLVXDOL]H WKH
FRPSDULVRQRIWKH86*6UHFRUGHGIORZVWKH'+(&5$6 JDWHVRSHQIORZDQGWKH'+(&
5$6 JDWHV FORVHG IORZ D VHULHV RI JUDSKLFDO RYHUOD\V KDYH EHHQ SUHSDUHG DQG LQFOXGHG LQ
$SSHQGL[%

$VXPPDU\RIWKHZDWHUVXUIDFHHOHYDWLRQDQGWKHFRUUHVSRQGLQJIORZUDWHDWHDFKWHVWSURSHUW\LV
SUHVHQWHGLQ 7DEOH IRUWKHWZRVFHQDULRV$ORQJZLWKWKHSHDNZDWHUVXUIDFHHOHYDWLRQWKHVODE
HOHYDWLRQRIHDFKWHVWSURSHUW\LVLQGLFDWHG,QDGGLWLRQWRWKHSHDNZDWHUVXUIDFHHOHYDWLRQWKH
UHVXOWVRIWKH'+(&5$6PRGHOZHUH XVHGWRHYDOXDWHDQGTXDQWLI\WKHWLPHWKHWHVW SURSHUW\
ZDVOLNHO\LQXQGDWHG)LJXUH DQGWKHDVVRFLDWHGVXEILJXUHVSUHVHQWWKHZDWHUVXUIDFHHOHYDWLRQ
K\GURJUDSKVQHDUHDFKRIWKHGRZQVWUHDPWHVWSURSHUWLHVIRUERWKVFHQDULRV

     $QDO\VLVRI2EVHUYHGDQG5HSRUWHG&RQGLWLRQV 5HVXOWV

7KHFRPELQHG'+(&5$6K\GUDXOLFPRGHOUHVXOWVSUHVHQWHGLQ7DEOH WRJHWKHUZLWKWKH
GHSRVLWLRQWHVWLPRQ\IRUHDFKRIWKHGRZQVWUHDPWHVWSURSHUW\SODLQWLIIVSUHVHQWHGLQ7DEOH
ZHUH XVHG WR DSSUR[LPDWH WKH LQXQGDWLRQ GHSWK DW HDFK SURSHUW\ EDVHG RQ WKH EXLOGLQJ VODE
HOHYDWLRQVDVSUHVHQWHGLQ 7DEOH )XUWKHUPRUH7DEOH  SUHVHQWVWKHGHSRVLWLRQWHVWLPRQ\
IRUWKHUHSRUWHGGXUDWLRQRILQXQGDWLRQDWHDFKRIWKHGRZQVWUHDPWHVWSURSHUWLHVWRJHWKHUZLWK


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35,9,/(*('$1'&21),'(17,$/                                            ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                          1RYHPEHU

WKHPRGHOHGGXUDWLRQRILQXQGDWLRQEDVHGRQWKHGXUDWLRQWKHJDWHVRSHQHGVFHQDULR:6(LVKLJKHU
WKDQWKHSHDNJDWHV FORVHGVFHQDULR:6( 7KHVH WDEOHVWRJHWKHUZLWKWKH:6(K\GURJUDSKVLQ
)LJXUH DVZHOODVSODLQWLIIWHVWLPRQ\IRUPWKHEDVLVRIRSLQLRQV




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  Case 1:17-cv-09002-LAS              Document 266-2         Filed 01/10/23           Page 1354 of 1584
35,9,/(*('$1'&21),'(17,$/                                                      ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                          *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                    1RYHPEHU

               7DEOH6XPPDU\RI*DWHV&ORVHG(QKDQFHG'+(&5$60RGHO

                                              0RGHOHG*DWHV            *DWHV2SHQHG
                                              &ORVHG6FHQDULR         2EVHUYHG&RQGLWLRQV
                 $GGLFNV3HDN3RRO
                                                                         
                      /HYHO IW
               %DUNHU3HDN3RRO/HYHO
                                                                         
                          IW
                 $GGLFNV 3HDN*DWH
                                                                               D
                    2XWIORZ FIV
                  %DUNHU3HDN*DWH
                                                                               D
                    2XWIORZ FIV
               $GGLFNV3HDN)ODQNLQJ
                                                                          a E
                     )ORZ FIV
                %DUNHU3HDN)ODQNLQJ
                                                                                 
                     )ORZ FIV
               $GGLFNV7LPLQJRI3HDN          DPRQ          DPRQ$XJXVW
                 )ODQNLQJ)ORZ FIV             $XJXVW                   
1RWHV D 7KH FDOFXODWHG JDWH RXWIORZ UDWHV DUH EDVHG RQ WDLOZDWHU FRQGLWLRQV UHSRUWHG LQ WKH 86$&(
         ³PRUQLQJ UHSRUW´ VSUHDGVKHHW DFWXDO JDWH RXWIORZ UDWHV PD\ KDYH EHHQ KLJKHU DFFRUGLQJ WR
         86*6JDXJHPHDVXUHPHQWV
        E
            7KH UHSRUWHGIODQNLQJIORZUDWH LV EDVHGRQ.DXIIPDQGHSRVLWLRQ




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 Case 1:17-cv-09002-LAS     Document 266-2    Filed 01/10/23      Page 1355 of 1584
35,9,/(*('$1'&21),'(17,$/                                    ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                        *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                  1RYHPEHU

     7DEOH6XPPDU\RI(QKDQFHG'+(&5$60RGHO)ODQNLQJ)ORZ5HVXOWV

                        3HDN5HWXUQ)ODQNLQJ)ORZ   3HDN5HWXUQ)ODQNLQJ)ORZ
                        IRU*DWHV2SHQHG6FHQDULR    IRU*DWHV&ORVHG6FHQDULR
     ,QIORZ/RFDWLRQ               FIV                           FIV
      7XUNH\&UHHN                                           
      5XPPHO&UHHN                                             
      6SULQJ%UDQFK                                          
     :KLWH2DN%D\RX                                         




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  Case 1:17-cv-09002-LAS              Document 266-2           Filed 01/10/23        Page 1356 of 1584
35,9,/(*('$1'&21),'(17,$/                                                       ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                           *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                     1RYHPEHU

      7DEOH6XPPDU\RI&RPELQHG'+(&5$60RGHO5HVXOWV± 7HVW3URSHUWLHV

                                                        0RGHOHG      0RGHOHG
                6ODE    0RGHOHG *DWHV 0RGHOHG*DWHV *DWHV2SHQ *DWHV&ORVHG
              (OHYDWLRQ 2SHQHG 3HDN    &ORVHG 3HDN  3HDN)ORZ   3HDN)ORZ
   /RFDWLRQ       IW       :6( IW        :6( IW          FIV          FIV
  0LOWRQ                                        
  6KLSRV                                        
 0HPRULDO WR
                                                        
    60&D        
   *RRG
                                                   
  5HVRXUFHVD
  $OGUHG                                      
   +ROOLV                                      
 6LOYHUPDQ                                    
 *RGHMRUG                                     
    &XWWV                                      
 %H\RJOX                                     
   $]DU                                      
   6WDKO                                     
 :HOOLQJ                                     
1RWHV D 0HPRULDO60&DQG*RRG5HVRXUFHVDUHORFDWHGDORQJ/DQJKDP&UHHNGRZQVWUHDPIURP
         WKH$GGLFNV5HVHUYRLURXWOHWVWUXFWXUHZKLFKLVDWULEXWDU\WR%XIIDOR%D\RX7KH'+(&5$6
         PRGHO UHSUHVHQWV %XIIDOR %D\RX DQG GRHV QRW LQFOXGH D /DQJKDP &UHHN UHDFK 7KHUHIRUH WKH
         PRGHOHGSHDN:6(DQGIORZVDUHEDVHGRQ%XIIDOR%D\RXFRQGLWLRQV




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35,9,/(*('$1'&21),'(17,$/                                    ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                        *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                  1RYHPEHU

         7DEOH6XPPDU\ RI'RZQVWUHDP7HVW3URSHUW\,QXQGDWLRQ 'HSWKV

                                                                          'LIIHUHQFH
                            (VWLPDWHRI  0RGHOHG    0RGHOHG             %HWZHHQ
                            0D[LPXP       *DWHV      *DWHV            *DWHV2SHQHG
                   6ODE     2EVHUYHG 2SHQHG3HDN &ORVHG3HDN           DQG*DWHV
 'RZQVWUHDP     (OHYDWLRQ ,QXQGDWLRQ  ,QXQGDWLRQ ,QXQGDWLRQ         &ORVHG:6(
 7HVW3URSHUW\       IW          IW          IW          IW                    IW
   0LOWRQ                                                
   6KLSRV                                                
   0HPRULDO    WR
                            WR                               
     60&           
    *RRG
                                                              
   5HVRXUFHV
   $OGUHG                                                  
   +ROOLV                                                  
 6LOYHUPDQ                                                 
  *RGHMRUG                                                 
    &XWWV                                                  
  %H\RJOX                                                 
   $]DU                                                   
   6WDKO                                                  
  :HOOLQJ                                                




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35,9,/(*('$1'&21),'(17,$/                                                      ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                          *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                    1RYHPEHU

            7DEOH6XPPDU\RI'RZQVWUHDP7HVW3URSHUW\,QXQGDWLRQ'XUDWLRQV

                                                                        'XUDWLRQRI*DWHV
                                     5HSRUWHG          0RGHOHG*DWHV 2SHQHG:6(*UHDWHU
      'RZQVWUHDP7HVW              ,QXQGDWLRQ          &ORVHG3HDN   7KDQ *DWHV&ORVHG
            3URSHUW\               'XUDWLRQ GD\V         :6( IW        3HDN:6( GD\V
           0LOWRQ                                                  
           6KLSRV                                                   
      0HPRULDO60&                                                 
      *RRG5HVRXUFHV                                               
           $OGUHG                                                   
            +ROOLV                                                 
          6LOYHUPDQ                                                 
          *RGHMRUG                                                 
            &XWWV                                                    
         %H\RJOX                                                   
            $]DU                                     1$               D
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7KH SURSHUW\ ORFDWHG DW  &KLPQH\ 5RFN 5RDG ZDV UHSRUWHG WR KDYH EHHQ GDPDJHG E\ WKH
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RSHUDWLRQV KDG WKH HIIHFW RI PLWLJDWLQJ XSVWUHDP LQXQGDWLRQ WR WKH GHWULPHQW RI GRZQVWUHDP
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VXEMHFWHGWRORFDORYHUWRSSLQJDQGIORRGZDWHUVIORZHGDURXQGWKHHQGRIWKHUHVHUYRLUFRQWDLQPHQW
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    x   7KH :&0DOORZHGWKHJDWHVWREHRSHQHG UHVXOWLQJLQ VLJQLILFDQWUHOHDVHVRIIORRG
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        )XUWKHUPRUH*HRV\QWHFFRQFXUVWKDWWKH86$&(UHVSRQVH WRLQVSHFWLRQVDQGDVVHVVPHQWV
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        86$&( DVVHVVPHQW« ³This release was observed to be limited to low velocity sheet
        flows.”
    x   7KHFXUUHQWFRQGLWLRQRIWKHGDPDWWKHQRUWK HQGRIWKH$GGLFNV5HVHUYRLULQFOXGHVOHYHHV
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        OHYHHLQWKLVDUHDDSSHDUHGWREHXQGDPDJHGE\WKHRYHUWRSSLQJGXULQJ+XUULFDQH+DUYH\
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       FRPSOHWHGE\86$&(DIWHUSXEOLFDWLRQRIWKH550 WRLPSURYHSHUIRUPDQFHRIWKH
       RXWOHWZRUNV LHPLWLJDWHSRWHQWLDOIRUH[FHVVLYHVHHSDJHDQGSLSLQJ 7KHSUHYLRXV LH
       SUH+XUULFDQH+DUYH\ PD[LPXPSRRORIUHFRUG LHHOHYDWLRQ  IW $GGLFNV DQG
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       HIIHFWLYHQHVVRIUHKDELOLWDWLRQDFWLYLWLHVDWWKHRXWOHWZRUNVFRPSOHWHG VLQFHLPSRVLWLRQRI
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       JDWHV ,Q IDFW SRVW+XUULFDQH +DUYH\ DVVHVVPHQW KDV VKRZQ WKDW SULPDULO\ GXH WR WKH
       QDWXUDOIODQNLQJ UHOHDVHDWWKHQRUWKHQGRIWKH$GGLFNV5HVHUYRLUWKHUHZDVOLWWOHLPSDFW
       RQLPSRXQGHGIORRGZDWHUHOHYDWLRQZKHQWKHJDWHVZHUHRSHQHG
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       PD[LPXPSRROOHYHOVZRXOGQRWKDYHFKDQJHGVLJQLILFDQWO\DQGWKHUHZRXOGKDYHEHHQQR
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ZDWHUVWKDWIORZLQWRVDLGQDYLJDEOHVWUHDPV´(FEMA FIS, Jan 6, 2017) The Flood Insurance Study
(FIS) for Harris County, TX and Incorporate Areas dated January 6, 2017.

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UDQJH RI DOWHUQDWLYH IORRG PLWLJDWLRQ SUDFWLFHV DQG IORRG SURWHFWLRQ PHDVXUHV WR DGGUHVV ODQG
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    x   DGGLWLRQDO OHYHHV DURXQG SURSHUW\ WR SURWHFW DJDLQVW H[WUHPH IORRG HYHQWV ZLWKLQ WKH
        ED\RXV
    x   LPSURYHG EULGJH VWDQGDUGV LQ WHUPV RI EULGJH HOHYDWLRQ GHVLJQ IORZV DQG VWUXFWXUDO
        VXSSRUW
    x   WKH XVH RI GHWHQWLRQ DQGRU UHWHQWLRQ SRQGV WR GHFUHDVH SHDN IORZ UDWHV DQGRU UXQRII
        YROXPHV
    x   UHVLGHQWLDO GHYHORSPHQW FKDQJHV LQ GRZQVWUHDP SURSHUWLHV ZLWK UHVSHFW WR GHQVLW\
        LPSHUYLRXVFRYHUDQGSUR[LPLW\WRED\RXV
    x   DGGLWLRQDOGLYHUVLRQFKDQQHOVORFDOFRQYH\DQFHV\VWHPVDQGE\SDVVFKDQQHOVWRDOORZIRU
        PXOWLSOHIORZSDWKV ZLWKLQWKHEXLOWHQYLURQPHQW
    x   VWRUPZDWHU UXQRII DQG GUDLQDJH SODQV IRU DQ LQWHJUDWHG DSSURDFK WR WKH LPSURYHG
        PDQDJHPHQWDQGFRQWURORIUXQRII
    x   UHJXODWRU\ODQGGHYHORSPHQWFRGHFKDQJHVUHODWHGWREXLOGLQJORFDWLRQPLQLPXPHOHYDWLRQ
        RIVWUXFWXUHVRUKRPHVDERYHWKHEDVHIORRG HOHYDWLRQDQGORFDOGUDLQDJHFRQWUROVDQG
    x   UHYLVHGUHJXODWRU\)ORRG,QVXUDQFH6WXGLHV SUHSDUHGE\)(0$WRPDSDQGGHOLQHDWHIORRG
        ULVN]RQHV


7KHFHQWUDODQGFRPPRQHOHPHQWLQIOXHQFLQJWKHLPSOHPHQWDWLRQRIIORRGPLWLJDWLRQSUDFWLFHVDQG
IORRGSURWHFWLRQPHDVXUHVZLWKLQWKHDUHDRILQWHUHVWRIWKLV 5HSRUWLVWKHIORRGLQJDORQJ%XIIDOR
%D\RX7KHSXUSRVHRIHDFKSUDFWLFHRUPHDVXUHLVWRUHGXFHWKHULVNRIGDPDJHRUORVVRIOLIHDV
ZDV FHQWUDO WR WKH RULJLQDO IRUPDWLRQ RI WKH +&)&' 7KLV LGHD ZDV UHLQIRUFHG ZKHQ &RQJUHVV
FUHDWHG WKH1DWLRQDO)ORRG,QVXUDQFH3URJUDP 1),3 LQWRUHGXFH IORRGORVVHVDQGGLVDVWHU
UHOLHI FRVW E\ JXLGLQJ IXWXUH GHYHORSPHQW DZD\ IURP IORRG KD]DUG DUHDV ZKHUH SUDFWLFDEOH
UHTXLULQJ IORRG UHVLVWDQW GHVLJQ DQG FRQVWUXFWLRQ DQG WUDQVIHUULQJ FRVWV RI ORVVHV WR IORRGSODLQ
RFFXSDQWVWKURXJKIORRGLQVXUDQFHSUHPLXPV

$VLVQRWHGRQWKH+&)&'ZHEVLWH +&)&'RUJ H[DPSOHVRIIORRGPLWLJDWLRQLQFOXGHHOHYDWLQJ
KRPHVDQGEXVLQHVVDERYHWKHEDVHIORRGUHORFDWLQJKRPHVRXWRIWKHIORRGSODLQDQGPLQLPL]LQJ
WKHYXOQHUDELOLW\WRIORRGGDPDJHWKURXJKERWKVWUXFWXUDODQGQRQVWUXFWXUDOPHDQV $QLPSRUWDQW
HOHPHQWRIWKH1),3LVWKHDGRSWLRQRIRUGLQDQFHDQGGHYHORSPHQWFRGHVDWWKHORFDOOHYHOWKDW
SURWHFWVWUXFWXUHV2QHVXFKH[DPSOHLVWKH&LW\RI+RXVWRQ¶VUHTXLUHPHQWWRFRQVWUXFWEXLOGLQJV
ZLWKDILQLVKIORRUDWOHDVWWZR IHHWKLJKHUWKDQWKH\HDUIORRGSODLQ 7KLVUHLQIRUFHVWKDWLIWKH
WZR GDPV ZHUH QRW FRQVWUXFWHG LQ WKH V DOWHUQDWLYH IORRG PLWLJDWLRQ SUDFWLFHV DQG IORRG
SURWHFWLRQPHDVXUHVZRXOGKDYH EHHQHYDOXDWHGZKLFKZRXOGKDYHLQFOXGHGWKHHVWDEOLVKPHQWRI
RUGLQDQFHVDQGGHYHORSPHQWFRGHVWRSURWHFWVWUXFWXUHV




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5HVHUYRLUV KDG QRW EHHQ FRQVWUXFWHG WKH DUHD DORQJ %XIIDOR %D\RX ZRXOG EH XQLQKDELWDEOH
DVVXPLQJLIQRRWKHUPHDVXUHVZHUHLPSOHPHQWHG)URPWKHGHSRVLWLRQ0U /LQGQHUFRQFXUUHG
WKDWUHDVRQDEOH IORRGULVNPDQDJHPHQWDOWHUQDWLYHVLQFOXGH

      x   FRQFUHWHOLQLQJRIWKHED\RX
      x   ZLGHQLQJGHHSHQLQJUHPRYLQJREVWDFOHV DQGVWUDLJKWHQLQJRIWKHED\RXV
      x   OHYHHV
      x   GLYHUVLRQFKDQQHOV
      x   VWRUPGUDLQVDQGSLSHVFRQVWUXFWHGE\PXQLFLSDOLWLHV
      x   ORFDOFRGHVIRUGHYHORSHUVWREXLOGIORRGFRQWUROV\VWHPV
      x   ]RQLQJ WR HQVXUH WKDW IXWXUH GHYHORSPHQW LV FRQVWUXFWHG DW DQ HOHYDWLRQ WKDW ZRXOG
          SRWHQWLDOO\ UHPRYH VWUXFWXUHV IURP YDULRXV IORRGSODLQV DV DQ DOWHUQDWLYH IRU IORRG ULVN
          PDQDJHPHQWDQG
      x   QRWGHYHORSLQJODQGLQDUHDVWKDWDUHSURQHWRLQXQGDWLRQLVDQDOWHUQDWLYHIRUIORRGULVN
          PDQDJHPHQW

:H DJUHH ZLWK -DPLOD -RKQVRQ IORRG FRQWURO PDQDJHU &LW\ RI +RXVWRQ  ZKR VWDWHG LQ WKH
GHSRVLWLRQ WHVWLPRQ\ WKDW LI QR GDPV ZHUH FRQVWUXFWHG WKH IORRGSODLQ ZRXOG EH GLIIHUHQW 6KH
LQGLFDWHGWKDWWKH&LW\RI+RXVWRQZRXOGVWLOOUHTXLUHEXLOGLQJVWREHEXLOWWZR IHHWKLJKHUWKDQWKH
\HDUIORRGSODLQ:KHQFRPSDUHGWRFXUUHQWIORRGSURWHFWLRQHOHYDWLRQV0V-RKQVRQLQGLFDWHG
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WRSURYLGHWKHVDPHWZR IHHWRIIUHHERDUGDERYHWKH\HDUIORRGSODLQ

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KLV RSLQLRQ WKDW WKH GDPDJH ZDV QRW FDXVHG E\ WKH &LW\¶V VWRUP GUDLQ V\VWHP %DVHG RQ KLV
H[SHULHQFH UDLQZDWHU W\SLFDOO\ GUDLQV LQ +RXVWRQ ZLWKLQ RQH GD\ $IWHU +DUYH\ KLV FUHZV
LQVSHFWHGWKHV\VWHPDQGIRXQGWKHGUDLQDJHV\VWHPZDVLQJRRGZRUNLQJRUGHUDQGWKXVLWLVKLV
RSLQLRQWKDWWKHZDWHUVWD\LQJIRUDZHHNODWHUZDVQRWFDXVHGE\WKH&LW\¶VV\VWHP




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7KURXJKWKH1DWLRQDO)ORRG,QVXUDQFH3URJUDP 1),3 )(0$LVWKHUHFRJQL]HGVRXUFH IRUIORRG
ULVN LQIRUPDWLRQ 5HVLGHQWV FDQ UHDGLO\ UHVHDUFK DQG XQGHUVWDQG WKHLU IORRG ULVN ZLWK RQOLQH
PDSSLQJWRROVDQGREWDLQLQJUHDGLO\DYDLODEOHLQIRUPDWLRQVXFKDVWKH),6 :DWHU6XUIDFH3URILOHV
DQG )(0$ )ORRG ,QVXUDQFH 5DWH 0DS ),50  7KHVH FROOHFWLYHO\ SURYLGH LQIRUPDWLRQ WR
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+RXVWRQIURPIORRGZDWHUV:DWHULVVWRUHGRQO\IRUIORRGFRQWURODQGLVUHOHDVHGZKHQIORRGLQJLV
QR ORQJHU D GDQJHU :KHQ VLJQLILFDQW UXQRII SURGXFLQJ VWRUPV RFFXU WKH JDWHV DUH FORVHG DQG
UHPDLQ FORVHG XQWLO WKH SHDN DW 3LQH\ 3RLQW SDVVHV DQG WKH GLVFKDUJH GURSV EHORZ  FIV
5HVHUYRLUUHOHDVHVZLOOQRWEHPDGH DQ\WLPHWKHFIVOLPLWLVH[FHHGHG FRQVLGHUHGDQRQ
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:H EHOLHYH EDVHG RQ UHDVRQDEOH SUREDELOLW\ DQG HQJLQHHULQJ MXGJHPHQW WKDW DOWHUQDWLYH IORRG
SURWHFWLRQPHDVXUHV WRWKH$GGLFNVDQG %DUNHU'DPVZRXOGKDYHEHHQFRQVLGHUHGDQGEXLOWRYHU
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ZRXOG KDYH LQFOXGHG VWRUPZDWHU PDQDJHPHQW IORRG SURWHFWLRQ DQG PLWLJDWLRQ DQG LPSURYHG
FRQYH\DQFH ZRXOG KDYH OLNHO\ SURYLGHG VLPLODURU EHWWHU SURWHFWLRQWR WKH  GRZQVWUHDP WHVW
SURSHUWLHVZKHQFRPSDUHGWRWKHSHUIRUPDQFHRIWKH$GGLFNVDQG%DUNHU'DPVGXULQJ+XUULFDQH
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      x   ,WLVUHDVRQDEOHWRDVVXPHWKDWRWKHUDOWHUQDWLYHIORRGSURWHFWLRQPHDVXUHVZRXOGKDYH EHHQ
          LPSOHPHQWHG LQ SODFH RI WKH UHVHUYRLUV LI WKH\ ZHUH QRW FRQVWUXFWHG 7KH DOWHUQDWLYH
          PHDVXUHVZRXOGKDYHLQFOXGHGVWUXFWXUDOSUDFWLFHVDQGSROLFLHVRURUGLQDQFHVWROLPLWZKHUH
          GHYHORSPHQWRFFXUUHGDQGKRZVWUXFWXUHVDUHFRQVWUXFWHG
      x   $OWHUQDWLYHVWUXFWXUDOPHDVXUHVDQGSUDFWLFHVZRXOGKDYHOLNHO\LQFOXGHG
              o LPSURYHPHQW RI FKDQQHO FRQYH\DQFH E\ OLQLQJ WKH ED\RXV ZLWK FRQFUHWH RU
                DUPRULQJ
              o LPSURYHPHQWRIFKDQQHOFRQYH\DQFHE\PDNLQJWKHED\RXFKDQQHOZLGHUGHHSHU
                VWUDLJKWHURUE\UHPRYLQJREVWUXFWLRQV
              o FRQVWUXFWLRQRIOHYHHVWROLPLWLQXQGDWLRQ
              o FRQVWUXFWLRQRIGLYHUVLRQFKDQQHOV
              o H[SDQVLRQ RI FXOYHUWV WUXQN VWRUP VHZHUV GUDLQV DQG ORFDO VWRUPZDWHU
                PDQDJHPHQWV\VWHPVDQG




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          o FRQWURORIVWRUPZDWHUUXQRII IURPGHYHORSPHQWE\WKHFRQVWUXFWLRQRI GHWHQWLRQ
            EDVLQV DV SDUW RI SULYDWH ODQG GHYHORSPHQW WR RIIVHW SRWHQWLDO LQFUHDVHV WR IORRG
            IORZV
   x   $OWHUQDWLYHSROLFLHVDQGRUGLQDQFHVWKDWZRXOGKDYHEHHQLPSOHPHQWHGDUHOLNHO\WRKDYH
       LQFOXGHG
          o ORFDO FRGHV WR UHTXLUH GHYHORSHUV WR FRQVWUXFW VWRUPZDWHU PDQDJHPHQW V\VWHPV
            VXFKDVGHWHQWLRQEDVLQVWRFRQWUROUXQRIIIURPGHYHORSPHQW
          o ORFDOFRGHVWRUHTXLUHGHYHORSHUVWRHYDOXDWHIORRGULVNDQGFRQVWUXFWDSSURSULDWH
            IORRGFRQWURORUPDQDJHPHQWV\VWHPVWRSURWHFWWKHLUSURSRVHGGHYHORSPHQWV
          o ORFDOFRGHVWRSURWHFWVWUXFWXUHVIURPGDPDJHVXFKDVUDLVLQJWKHEXLOGLQJRUFULWLFDO
            IDFLOLWLHVWZRIHHWDERYHWKH\HDUIORRGSODLQRUUHTXLULQJWKHXVHRIIORRGSURRI
            PDWHULDODQG
          o ORFDO FRGHV WR UHVWULFW GHYHORSPHQW LQ WKH IORRGSODLQ DQG UHTXLUH PLWLJDWLRQ
            PHDVXUHVLIWKHIORRGSODLQLVLPSDFWHGE\GHYHORSPHQW$QH[DPSOHLQFOXGHVWKH
            UHTXLUHPHQW WKDW SURSRVHG ILOO LQ WKH IORRGSODLQ PXVW EH RIIVHW E\ DSSURSULDWH
            FRPSHQVDWLQJYROXPH




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    Barker Reservoirs along Buffalo Bayou3KLOLS%%HGLHQW 3%%$ 1RYHPEHU

%H\RJOX-& D 2UDO'HSRVLWLRQRI-DQD&DQDQ%H\RJOX 6HSWHPEHU 6XE0DVWHU
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   KWWSVZZZKFIFGRUJLQWHUDFWLYHPDSSLQJWRROVPRGHODQGPDSPDQDJHPHQWPV\VWHP
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+&)&' E  +DUULV &RXQW\ )ORRG :DUQLQJ 6\VWHP KWWSVZZZKDUULVFRXQW\IZVRUJ
   DFFHVVHG6HSWHPEHU+DUULV&RXQW\)ORRG&RQWURO'LVWULFW

+ROOLV3 D 2UDO'HSRVLWLRQRI3HJJ\+ROOLV -XO\6XE0DVWHU'RFNHW1R 
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+ROOLV: E 2UDO'HSRVLWLRQRI:D\QH+ROOLV -XO\6XE0DVWHU'RFNHW1R 
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    'RFNHW1RPF

.DXIIPDQ 0   2UDO 9LGHRWDSHG 'HSRVLWLRQ RI 0LFKDHO .DXIIPDQ  6HSWHPEHU 
    6XE0DVWHU'RFNHW1R &9/

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    &9/

0LOWRQ9 E 2UDO'HSRVLWLRQRI9LUJLQLD 0LOWRQ-XO\6XE0DVWHU'RFNHW1R 
    &9/

6KLSRV-   2UDO'HSRVLWLRQRI-HQQLIHU6KLSRV 6HSWHPEHU 6XE0DVWHU'RFNHW1R
    &9/

6LOYHUPDQ= D 2UDO'HSRVLWLRQRI=KHQQLD6LOYHUPDQ -XO\6XE0DVWHU'RFNHW
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6LOYHUPDQ3 E 2UDO'HSRVLWLRQRI3HWHU6LOYHUPDQ -XO\6XE0DVWHU'RFNHW1R
     &9/

6WDKO7  2UDO'HSRVLWLRQRI7LPRWK\6WDKO 6HSWHPEHU 6XE0DVWHU'RFNHW1R
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7KRPDV5  2UDO9LGHRWDSHG'HSRVLWLRQ-XO\$XJXVWDQG6HSWHPEHU
    6XE0DVWHU'RFNHG1R/

715,6   +DUULV&RXQW\,PDJHU\DQG*,6GDWDKWWSVWQULVRUJGDWDGRZQORDGVWDWHZLGH
   DFFHVVHG$XJXVW7H[DV1DWXUDO5HVRXUFHV,QIRUPDWLRQ6\VWHP

86$&(   Buffalo Bayou, Texas Reservoir Regulation Manual for Addicks and Barker
   Reservoirs, Initial and Emergency Instructions to Dam Tender*DOYHVWRQ7H[DV$SULO

86$&(  Draft Operational Assessment of the Addicks and Barker Reservoirs, Fort Bend
   and Harris Counties, TX *DOYHVWRQ 'LVWULFW VSRQVRUHG E\ +DUULV &RXQW\ )ORRG &RQWURO
   'LVWULFW2FWREHU

86$&(  Addicks and Barker Reservoirs Buffalo Bayou and Tributaries, San Jacinto River
   Basin, TX Water Control Manual*DOYHVWRQ7H[DV1RYHPEHU

86$&(  Emergency Action Plan, Addicks Reservoir NID #TX00018 and Barker Reservoir
   NID #TX00019, Buffalo Bayou and Tributaries*DOYHVWRQ7H[DV0D\

86$&(  +XUULFDQH+DUYH\)ORRG,QXQGDWLRQ0DSSLQJ$IWHU $FWLRQ5HSRUW )RUW:RUWK
   'LVWULFW0DUFK

86*6   1DWLRQDO :DWHU ,QIRUPDWLRQ 6\VWHP 86*6 :DWHU 'DWD IRU WKH 1DWLRQ
   KWWSZDWHUGDWDXVJVJRYQZLV DFFHVVHG-XQH 8QLWHG6WDWHV*HRORJLFDO6XUYH\

:HOOLQJ 6   2UDO 'HSRVLWLRQ RI 0U 6KDZQ 6 :HOOLQJ  $XJXVW  6XE0DVWHU
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 Case 1:17-cv-09002-LAS    Document 266-2   Filed 01/10/23   Page 1393 of 1584
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               x )HH6FKHGXOH




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 Case 1:17-cv-09002-LAS    Document 266-2   Filed 01/10/23   Page 1394 of 1584
35,9,/(*('$1'&21),'(17,$/
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 Case 1:17-cv-09002-LAS    Document 266-2   Filed 01/10/23   Page 1395 of 1584
35,9,/(*('$1'&21),'(17,$/
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 Case 1:17-cv-09002-LAS    Document 266-2   Filed 01/10/23   Page 1396 of 1584
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 Case 1:17-cv-09002-LAS    Document 266-2   Filed 01/10/23   Page 1397 of 1584
35,9,/(*('$1'&21),'(17,$/
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 Case 1:17-cv-09002-LAS    Document 266-2   Filed 01/10/23   Page 1398 of 1584
35,9,/(*('$1'&21),'(17,$/
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Case 1:17-cv-09002-LAS                                                                 Document 266-2   Filed 01/10/23   Page 1399 of 1584




                                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS
 IN RE DOWNSTREAM ADDICKS AND                                                                       §
 BARKER   (TEXAS) FLOOD-CONTROL                                                                     §
 RESERVOIRS                                                                                         §   Sub-Master Docket No. 17-cv-9002L
                                                                                                    §
                                                                                                    §
 THIS DOCUMENT RELATES TO:                                                                              Judge Loren A. Smith
                                                                                                    §
                                                                                                    §
 ALL TEST PROPERTIES
                                                                                                    §
                                                                                                    §




                                   AFFIDAVIT OF MATTHEW BARDOL, P.E., CFM, D.WRE

      1. "My name is Matthew Bardol. I am over the age of eighteen, of sound mind, and capable
                to make this affidavit. The facts stated in this affidavit are true and correct and within my
                personal knowledge.

      2. Attached and incorporated by reference to this Affidavit is a true and correct copy of my
         report of November 13, 2018, which contains a fair and accurate summary of the opinions
         I have rendered in this matter, the bases for those opinions, and a fair and accurate summary
         of my background, education, training, and experience.

      3. Subsequent to the completion of my report, I received and reviewed the November 5, 2018
         Expert Report of Dr. R. Nairn (designated as 12879.101.Rl.RevO) served in the Upstream
         Sub-Master Docket. Specifically, I reviewed the "Gates Closed Run" generally described
         by Dr. Nairn in Section 5.2.3 of his Upstream Report, at pages 159-160, as well as the
         Telemac modeling data for the "Gates Closed Run", and an accompanying spreadsheet
         labeled as BAIRD0000385. A copy of that spreadsheet is attached hereto and incorporated
         by reference. The spreadsheet describes results of the modeling for the "Gates Closed
         Run" for the thirteen Downstream Test Properties as follows:


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Case 1:17-cv-09002-LAS                                            Document 266-2                                 Filed 01/10/23                                                Page 1400 of 1584




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     The results of Dr. Naim's modeling for the "Gates Closed Run" is consistent with and
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     further supports the results of the Gates Closed Enhanced 2D HEC-RAS Model described
     in my November 13, 2018 Report. Specifically, Dr. Naim's "Gates Closed Run" reflects
     that for the Cutts, Godejord, Good Resources, LLC, Hollis, Milton, Silverman, and Shipos
     properties, those properties would not have flooded but for the dam releases. For the
     Aldred, Beyoglu, Azar, and Welling Downstream Test Properties, Dr. Naim's "Gates
     Closed Run" reflects that those properties sustained increased depth and/or duration of
     flooding due to the releases from the Addicks and Barker reservoirs, consistent with the
     results of the Gates Closed Enhanced 2D HEC-RAS Model described in my November 13,
     2018 Report. The Aldred, Beyoglu, Azar, and Welling Downstream Test Properties would
     not have flooded to the depth and/or duration experienced but for the dam releases.

      FURTHER AFFIANT SAYETH NOT."

                                                                                                                 ?d/2 ~
                                                                                                          MATTHEW BAE<oi

      SWORN TO AND SUBSCRIBED before me this _..!A_ day of June, 2019 .




                                                                                                           NOTARY PUBLIC, STATE OF

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                                                                                                                                                      Notary Publlc - State of Illinois
                                                                                                                                                    My CommiHion Expires Apr 9, 2020




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                             WƌŽƉĞƌƚǇ/ĚĞŶƚŝĨŝĐĂƚŝŽŶ                                           ůĞǀĂƚŝŽŶ/ŶĨŽƌŵĂƚŝŽŶ;ĨĞĞƚͿ                                                                    'ĂƚĞƐůŽƐĞĚZƵŶ
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Ϯ        tŝŶĚ͕<ƵƌƚΘ:ĞĂŶ                                              hW         ϭϬϲ͘ϵ       ϭϬϴ͘ϲ      ϭϬϴ͘Ϯ         ϭϬϵ͘Ϯ   ϭϬϵ͘ϯ               Ϭ͘ϵ                       ϭϬ͘ϱ                   ϲĚĂǇ͕ϭϰŚƌ                  ϭϱϴ                     ϭ

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ϲ       ƵƌŶŚĂŵ͕ůŝǌĂďĞƚŚ              ϭϱϲϮϲ&ŽƵƌ^ĞĂƐŽŶƌŝǀĞ         hW         ϭϬϮ͘ϲ       ϭϬϱ͘Ϭ      ϭϬϰ͘Ϭ         ϭϬϱ͘ϱ     Ͳ                 ϰ͘ϱ                       ϱϰ͘ϱ                  ϭϳĚĂǇ͕ϭϵŚƌ                  ϰϮϳ                     ϭ
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ϳ          ^ŝĚŚƵ͕<ƵůǁĂŶƚ                                               hW         ϭϬϱ͘ϭ         Ͳ        ϭϬϲ͘ϯ         ϭϬϳ͘ϭ   ϭϭϲ͘ϳ               ϯ͘Ϭ                       ϯϱ͘ϳ                  ϭϳĚĂǇ͕ϭϬŚƌ                  ϰϭϴ                     ϭ
                                            ϲϬϯ͕ƵŝůĚŝŶŐ&
ϴ          dƵƌŶĞǇ͕ZŽďĞƌƚ               ϭϱϵϭϬZĞĚtŝůůŽǁƌŝǀĞ          hW         ϭϬϭ͘ϳ       ϭϬϰ͘Ϯ      ϭϬϯ͘ϴ         ϭϬϰ͘ϳ     Ͳ                 ϱ͘ϰ                       ϲϱ͘Ϭ                  ϭϳĚĂǇ͕ϭϴŚƌ                  ϰϮϲ                     ϭ

ϵ          ,ŽůůĂŶĚ͕^ĐŽƚƚ                 ϭϵϮϯtŝŶŐůĞĂĨƌŝǀĞ           hW         ϭϬϲ͘ϭ       ϭϬϳ͘ϰ      ϭϬϳ͘Ϯ         ϭϬϳ͘ϴ     Ͳ                 Ϯ͘Ϯ                       Ϯϲ͘ϵ                   ϭϳĚĂǇ͕ϳŚƌ                  ϰϭϱ                     ϭ

ϭϬ      WŽƉŽǀŝĐŝ͕ĂƚŚĞƌŝŶĞ           ϭϵϵϮϳWĂƌƐŽŶƐ'ƌĞĞŶŽƵƌƚ         hW          ϵϵ͘ϲ       ϭϬϭ͘ϳ      ϭϬϬ͘ϵ         ϭϬϮ͘Ϯ     Ͳ                 ϭ͘ϳ                       ϮϬ͘ϴ                  ϭϲĚĂǇ͕ϮϭŚƌ                  ϰϬϱ                     ϭ

ϭϭ          ^ŽĂƌĞƐ͕ůŝƐŝŽ                                              hW          ϵϴ͘ϳ       ϭϬϬ͘ϳ      ϭϬϬ͘Ϭ         ϭϬϭ͘ϭ     Ͳ                 Ϯ͘ϵ                       ϯϰ͘ϱ                   ϭϳĚĂǇ͕ϲŚƌ                  ϰϭϰ                     ϭ

ϭϮ         DŝĐƵ͕ŚƌŝƐƚŝŶĂ              ϲϰϭϭĂŶǇŽŶWĂƌŬƌŝǀĞ          hW          ϵϳ͘ϳ        ϵϵ͘ϲ       ϵϴ͘ϵ         ϵϵ͘ϴ      Ͳ                 ϰ͘Ϯ                       ϰϵ͘ϵ                  ϭϳĚĂǇ͕ϮϭŚƌ                  ϰϮϵ                     ϭ

ϭϯ       'ŝƌŽŶ͕:ƵĂŶΘŶŶ               ϰϯϭϬĂƐƐŝĚǇWĂƌŬ>ĂŶĞ         hW          ϵϵ͘Ϭ       ϭϬϭ͘Ϭ      ϭϬϬ͘Ϯ         ϭϬϭ͘Ϭ   ϭϬϭ͘ϱ               Ϯ͘ϵ                       ϯϱ͘ϭ                   ϭϴĚĂǇ͕ϵŚƌ                  ϰϰϭ                     ϭ

ϭϰ    ĂŶŬĞƌ͕dŽĚĚΘŚƌŝƐƚŝŶĂ        ϰϲϭϰ<ĞůůŝǁŽŽĚDĂŶŽƌ>ĂŶĞ         hW          ϵϳ͘ϲ       ϭϬϬ͘Ϯ       ϵϵ͘ϲ         ϭϬϬ͘ϳ     Ͳ                 ϯ͘Ϯ                       ϯϴ͘ϲ                   ϭϳĚĂǇ͕ϵŚƌ                  ϰϭϳ                     ϭ

ϭ        ůĚƌĞĚ͕sĂůΘ>ŝŶĚĂ              ϴϯϱdŚŽƌŶǀŝŶĞ>ĂŶĞ          KtE          ϳϴ͘ϵ        ϴϬ͘ϭ       ϳϵ͘ϰ         ϴϬ͘ϲ     Eͬ                Ϭ͘ϰ                       ϰ͘ϲ                    ϬĚĂǇ͕ϭϬŚƌ                   ϭϬ                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
Ϯ       'ŽŽĚZĞƐŽƵƌĐĞƐ͕>>            ϳϲϬDĞŵŽƌŝĂůDĞǁƐ^ƚ͘ηϰ       KtE          ϳϱ͘ϭ         Ͳ         ϳϳ͘ϴ         ϳϴ͘ϱ     ϴϳ͘ϰ                                           Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϯ         ^D/ŶǀĞƐƚŵĞŶƚ               ϳϳϳ^͘DĂǇĚĞƌĞĞŬƌŝǀĞ       KtE          ϳϮ͘ϰ        ϳϴ͘Ϯ       ϳϯ͘ϱ         ϳϳ͘Ϯ     ϳϳ͘ϯ                                           Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϰ          DŝůƚŽŶ͕ƌŶŽůĚ                 ϴϱϬ^ŝůǀĞƌŐĂƚĞƌŝǀĞ        KtE          ϳϲ͘ϯ        ϳϴ͘ϲ       ϳϴ͘Ϭ         ϳϴ͘ϱ     ϳϴ͘ϲ                                           Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϱ         ^ŚŝƉŽƐ͕:ĞŶŶŝĨĞƌ                ϵϯϭĂǇŽƵWĂƌŬǁĂǇ           KtE          ϳϴ͘Ϯ        ϴϬ͘ϱ       ϴϬ͘Ϯ         ϴϬ͘ϵ      Ͳ                                             Ͳ                          Ͳ                         Ͳ                     Ϭ
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                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϲ          ,ŽůůŝƐ͕tĂǇŶĞ                   ϭϰϵϭϰZŝǀĞƌ&ŽƌĞƐƚ         KtE          ϳϰ͘ϱ        ϳϲ͘ϳ       ϳϱ͘Ϯ         ϳϲ͘ϲ      Ͳ                                             Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϳ         ^ŝůǀĞƌŵĂŶ͕WĞƚĞƌ               ϭϮϱϭϱtĞƐƚĞƌůĞǇ>ĂŶĞ         KtE          ϳϯ͘ϰ        ϳϱ͘Ϯ       ϳϰ͘ϰ         ϳϱ͘Ϭ      Ͳ                                             Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϴ        'ŽĚĞũŽƌĚ͕^ƚƌĂƵƐĞ                ϭϰϯϯϰ,ĞĂƚŚĞƌĨŝĞůĚ          KtE          ϲϴ͘ϱ        ϳϯ͘ϱ       ϳϮ͘ϴ         ϳϯ͘ϳ      Ͳ                                             Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
                                                                                                                                          EŽ&ůŽŽĚŝŶŐĂďŽǀĞ>ĞǀĞů
ϵ            ƵƚƚƐ͕WĂƵů                 ϯϭϭůƵĞtŝůůŽǁƌŝǀĞ        KtE          ϲϴ͘ϴ        ϳϭ͘ϭ       ϲϵ͘ϵ         ϳϭ͘ϳ      Ͳ                                             Ͳ                          Ͳ                         Ͳ                     Ϭ
                                                                                                                                                     ϭ
ϭϬ           ,Ž͕ĞĐŬǇ                                                KtE          ϲϵ͘Ϯ

ϭϭ       ĞǇŽŐůƵ͕DĂŚŵƵƚ                  ϭϬϳtĂƌƌĞŶƚŽŶƌŝǀĞ         KtE          ϲϯ͘ϲ        ϲϰ͘ϴ       ϲϯ͘ϴ         ϲϱ͘ϰ      Ͳ                 ϭ͘Ϭ                       ϭϮ͘ϲ                   ϬĚĂǇ͕ϮϭŚƌ                   Ϯϭ                     Ϯ

ϭϮ          ǌĂƌ͕WŚŝůůŝƉ                   ϯDĂŐŶŽůŝĂĞŶĚ           KtE          ϰϯ͘ϲ        ϰϴ͘ϭ       ϰϰ͘ϴ         ϰϴ͘ϵ      Ͳ                 ϴ͘ϱ                      ϭϬϮ͘ϯ                    ϮĚĂǇ͕ϱŚƌ                   ϱϯ                     ϭ

ϭϯ         ^ƚĂŚů͕dŝŵŽƚŚǇ               ϮϲϱŚŝŵŶĞǇZŽĐŬZŽĂĚ         KtE          ϱϱ͘Ϭ        ϱϱ͘ϰ       ϱϱ͘Ϯ         ϱϮ͘ϭ     ϱϱ͘ϵ               Ϯ͘ϴ                       ϯϯ͘ϲ                   ϬĚĂǇ͕ϭϳŚƌ                   ϭϳ                     ϯ

ϭϰ        tĞůůŝŶŐ͕^ŚĂǁŶ                    ϱϳϯϭ>ŽŐĂŶ>ĂŶĞ           KtE          ϯϲ͘ϭ        ϰϲ͘ϴ       ϯϳ͘ϯ         ϯϲ͘Ϭ     ϰϳ͘ϰ               ϴ͘ϴ                      ϭϬϱ͘ϱ                    ϮĚĂǇ͕ϮŚƌ                   ϱϬ                     ϭ




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                          ,Q5H'RZQVWUHDP$GGLFNVDQG%DUNHU 7H[DV 
                                             )ORRG&RQWURO5HVHUYRLUV
                                                                                               Prepared for:
                                     'RZQVWUHDP/LWLJDWLRQ/HDGHUVKLS7HDP
                                                                                               On Behalf of:
                                                                                0F*HKHH&KDQJ/DQGJUDI
                                                                           5LFKPRQG$YH6XLWH
                                                                                       +RXVWRQ7;

                                                                                          0LWKRII/DZ)LUP
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                                                                            0DWW%DUGRO3( &)0':5(
                                                                           5REHUW%DFKXV3K'3( '*(




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    3URIHVVLRQDO(QJLQHHUOLFHQVHGLQ,/,1020,061(2+&$+,
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35,9,/(*('$1'&21),'(17,$/                                                                                ,QLWLDO([SHUW2SLQLRQ5HSRUW
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            6FRSHDQG%DVHVRI2SLQLRQV
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            86$&(&RQVLGHUDWLRQVLQ2SHUDWLQJWKH5HVHUYRLUV
            7KH3XUSRVHRI,QGXFHG6XUFKDUJH2SHUDWLRQV
            7KH&DXVHRI,QXQGDWLRQ'XULQJ+DUYH\± 86$&(¶V5HOHDVHRI:DWHUV
                IURPWKH$GGLFNVDQG%DUNHU5HVHUYRLUV3XUVXDQWWRLWV:DWHU&RQWURO
                0DQXDO
            86$&(.QHZLQ$GYDQFHRI2SHQLQJRIWKH)ORRG&RQWURO*DWHV WKH
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                3URSHUWLHVWKDW:RXOG2FFXU
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            3ODLQWLII7HVWLPRQ\RI2EVHUYHG&RQGLWLRQV
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            +(&+060RGHO0HWKRGRORJ\
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35,9,/(*('$1'&21),'(17,$/                                                                         ,QLWLDO([SHUW2SLQLRQ5HSRUW
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6(&7,213UHOLPLQDU\2SLQLRQV5HJDUGLQJ'HIHQVHVWKDW0D\EH5DLVHG
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    Case 1:17-cv-09002-LAS                     Document 266-2                 Filed 01/10/23             Page 1406 of 1584

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68%-(&7727+($77251(<&/,(1735,9,/(*(                                                            *HRV\QWHF&RQVXOWDQWV,QF
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$WWDFKPHQW)(0$)ORRG,QVXUDQFH6WXG\)ORRG3URILOHVDQG7DEOH VRXUFH)(0$ 




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68%-(&7727+($77251(<&/,(1735,9,/(*(                             *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                     1RYHPEHU

                               /,672)$&521<06

'        RQHGLPHQVLRQDO
'        WZRGLPHQVLRQDO
DFIW     DFUHIHHW
DVO       DERYHVHDOHYHO
&&5       FRDOFRPEXVWLRQUHVLGXDO
&)0       &HUWLILHG)ORRGSODLQ0DQDJHU
FIV       FXELFIHHWSHUVHFRQG
'(0       GLJLWDOHOHYDWLRQPRGHO
'*(      'LSORPDWH*HRWHFKQLFDO(QJLQHHULQJ
':5(       'LSORPDWH:DWHU5HVRXUFHV(QJLQHHU
($3       (PHUJHQF\$FWLRQ3ODQ
HOHY      HOHYDWLRQ
)(0$      )HGHUDO(PHUJHQF\0DQDJHPHQW$JHQF\
),50      )ORRG,QVXUDQFH5DWH0DS
),6       )ORRG,QVXUDQFH6WXG\
IW        IHHW
*2/       JRYHUQPHQWRZQHGODQG
+&)&'       +DUULV&RXQW\)ORRG&RQWURO'LVWULFW
+(&         +\GURORJLF(QJLQHHULQJ&HQWHU
+06       +\GURORJLF0RGHOLQJ6\VWHP
KU        KRXU
LQ       LQFK
1$9'      1RUWK$PHULFDQ9HUWLFDO'DWXP
1('       1DWLRQDO(OHYDWLRQ'DWDVHW
1),3      1DWLRQDO)ORRG,QVXUDQFH3URJUDP
1*9'      1DWLRQDO*HRGHWLF9HUWLFDO'DWXP
3(      3URIHVVLRQDO(QJLQHHU
5$6       5LYHU$QDO\VLV6\VWHP
5R5       UDWHRIULVH
550       5HVHUYRLU5HJXODWLRQ0DQXDO
715,6       7H[DV1DWXUDO5HVRXUFHV,QIRUPDWLRQ6\VWHP
86$&(      8QLWHG6WDWHV$UP\&RUSVRI(QJLQHHUV
86*6       8QLWHG6WDWHV*HRORJLFDO6XUYH\
:&0       :DWHU&RQWURO0DQXDO
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35,9,/(*('$1'&21),'(17,$/                                                   ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                        *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                1RYHPEHU

                                              6(&7,21

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      7HUPVRI5HIHUHQFH

, 0DWWKHZ %DUGRO KDYH EHHQ UHWDLQHG E\ WKH 'RZQVWUHDP /LWLJDWLRQ /HDGHUVKLS 7HDP ZKLFK
LQFOXGHVWKHIROORZLQJWKUHHDWWRUQH\V L 0F*HKHH&KDQJ/DQGJUDI LL 0LWKRII/DZ)LUPDQG
 LLL  )OHPLQJ 1ROHQ  -H] //3 RQ EHKDOI RI WKH  GRZQVWUHDP WHVW SURSHUW\ SODLQWLIIV LQ
FRQQHFWLRQZLWK,Q5H'RZQVWUHDP$GGLFNVDQG %DUNHU 7H[DV )ORRG&RQWURO5HVHUYRLUV FDVH
&9/  , KDYH EHHQ DVNHG WR SUHSDUH WKLV ,QLWLDO ([SHUW 2SLQLRQ 5HSRUW ³5HSRUW´  WR
DGGUHVVRSLQLRQVUHODWHGWRHQJLQHHULQJDQDO\VHVRIGDPDJHVWRWKHGRZQVWUHDPWHVWSURSHUWLHV
DQGLQWKHDERYHUHIHUHQFHGODZVXLWWKDWUHODWHWRLQXQGDWLRQGRZQVWUHDPRI$GGLFNVDQG%DUNHU
GDPVLQ+RXVWRQ7H[DV

*HRV\QWHF LVFRPSHQVDWHGIRU P\VHUYLFHVUHODWHGWRWKLVPDWWHU DW DUDWH RI  SHU KRXU IRU
LQYHVWLJDWLRQDQDO\VLVDQGUHSRUWSUHSDUDWLRQGHSRVLWLRQDQGWULDOSUHSDUDWLRQDQGDWDUDWH RI
 SHU KRXU IRU GHSRVLWLRQ DQG FRXUW DSSHDUDQFHV &RPSHQVDWLRQ IRUDOO ZRUN UHODWHG WR WKLV
PDWWHULVLQQRZD\WLHGWRWKHRXWFRPHRIWKLVOLWLJDWLRQ



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0DWW%DUGRO3(&)0':5(                                                    'DWH


, 5REHUW %DFKXV KDYH EHHQ UHWDLQHG E\ WKH 'RZQVWUHDP /LWLJDWLRQ /HDGHUVKLS 7HDP ZKLFK
LQFOXGHVWKHIROORZLQJWKUHHDWWRUQH\V L 0F*HKHH&KDQJ/DQGJUDI LL 0LWKRII/DZ)LUPDQG
 LLL  )OHPLQJ 1ROHQ  -H] //3 RQ EHKDOI RI WKH  GRZQVWUHDP WHVW SURSHUW\ SODLQWLIIV LQ
FRQQHFWLRQZLWK,Q5H'RZQVWUHDP$GGLFNVDQG%DUNHU 7H[DV )ORRG&RQWURO5HVHUYRLUV FDVH
&9/  , KDYH EHHQ DVNHG WR SUHSDUH RQO\ 6(&7,21  RI WKLV ,QLWLDO ([SHUW 2SLQLRQ
5HSRUW ³5HSRUW´ WRDGGUHVVRSLQLRQVUHODWHGWRWKHLQWHJULW\RIWKH$GGLFNVDQG%DUNHU5HVHUYRLUV
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*HRV\QWHFLVFRPSHQVDWHGIRU P\VHUYLFHVUHODWHGWRWKLVPDWWHUDWDUDWHRISHUKRXU IRU
LQYHVWLJDWLRQDQDO\VLVDQGUHSRUWSUHSDUDWLRQGHSRVLWLRQDQGWULDOSUHSDUDWLRQDQGDWDUDWHRI
 SHU KRXU IRU GHSRVLWLRQ DQG FRXUW DSSHDUDQFHV &RPSHQVDWLRQ IRUDOO ZRUN UHODWHG WR WKLV
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 *HRV\QWHF ORFDWHGDW.HQVLQJWRQ5RDG6XLWH2DN%URRN,/DQGKDV EHHQZLWK
*HRV\QWHF VLQFH -XQH  *HRV\QWHF SHUIRUPV FRQVXOWLQJ VHUYLFHV IRU FLYLO HQJLQHHULQJ DQG
ZDWHUUHVRXUFHVSURMHFWVWKURXJKRXWWKH8QLWHG6WDWHVDVZHOODVLQWHUQDWLRQDOO\LQ&DQDGD$VLD
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&LYLO (QJLQHHULQJ ZLWK DQ HPSKDVLV LQ ZDWHU UHVRXUFHV IURP WKH 8QLYHUVLW\ RI 6RXWKHUQ
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DQGK\GUDXOLF PRGHOLQJLQFOXGLQJPRGHOVWKDWSUHGLFWDQGTXDQWLI\IORRGLQXQGDWLRQIURPVWRUP
HYHQWV+HKDV EHHQLQYROYHGZLWKDQGZRUNHGRQ FLYLODQG ZDWHUUHVRXUFHVHQJLQHHULQJSURMHFWV
WKURXJKRXWKLVFDUHHUZLWKDQHPSKDVLVRQZDWHUUHVRXUFHVHQJLQHHULQJDQGPRGHOLQJSURMHFWVIRU
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TXDOLILFDWLRQVWRVHUYHDVDQH[SHUWDUHGHVFULEHGLQKLVEDFNJURXQGLQIRUPDWLRQZKLFKLVDWWDFKHG
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LQFOXGLQJ JHRWHFKQLFDO VLWH FKDUDFWHUL]DWLRQ VHWWOHPHQW DQG VORSH VWDELOLW\ DQDO\VLV DQG
SHUIRUPDQFHPRQLWRULQJRIJHRWHFKQLFDOIHDWXUHVDQGHDUWKVWUXFWXUHV+H SUHYLRXVO\VHUYHGDVD
JHRWHFKQLFDOHQJLQHHULQJIDFXOW\DW*HRUJLD,QVWLWXWHRI7HFKQRORJ\DQGIRFXVHGKLVUHVHDUFKRQ
WKH EHQHILFLDO UHXVH RI FRDO FRPEXVWLRQ UHVLGXDOV &&5V  DQG HQJLQHHULQJ DSSOLFDWLRQV IRU
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'U%DFKXVLV D3URIHVVLRQDO(QJLQHHUDQGKHKDV EHHQDSUDFWLFLQJOLFHQVHG3URIHVVLRQDO(QJLQHHU
 3( LQWKH6WDWHRI*HRUJLDVLQFHDQGKDVUHFHLYHGUHFLSURFLW\LQPXOWLSOHVWDWHVDFURVVWKH
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*HRV\QWHF KDV EHHQ DVNHG WR UHYLHZ GRFXPHQWV DQG GDWD FLWHG LQ 6HFWLRQ  EHORZ WR DVVHVV
ZKHWKHUDQGWRZKDWH[WHQWWKHLQGXFHGVXUFKDUJHSURFHGXUHVLQLWLDWHG E\WKH86$UP\&RUSVRI
(QJLQHHUV 86$&( FDXVHGLQXQGDWLRQRIDQGDVVRFLDWHGGDPDJHWR GRZQVWUHDPWHVWSURSHUWLHV
DQGZKHWKHUVXFKLQXQGDWLRQDQGDVVRFLDWHGGDPDJHZRXOGKDYHEHHQDYRLGHGRUUHGXFHGZLWKRXW
WKHLQGXFHGVXUFKDUJH:HKDYH DOVREHHQDVNHGWRRIIHUSUHOLPLQDU\DQDO\VLVRI FHUWDLQGHIHQVH
DUJXPHQWVWKDWPD\EHUDLVHGLQWKLVOLWLJDWLRQ7RWKDWH[WHQWZHUHVHUYHWKHULJKWWRDPHQGRXU
UHSRUWDQGRUDGGRSLQLRQVDQGFRQFOXVLRQVEDVHGRQIXWXUHHYLGHQFH




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+XUULFDQH +DUYH\ LQ FRQMXQFWLRQ ZLWK WKH RSHUDWLRQ RI WKH $GGLFNV DQG %DUNHU 5HVHUYRLUV RQ
EHKDOI RI WKH 'RZQVWUHDP /LWLJDWLRQ /HDGHUVKLS 7HDP :H UHYLHZHG WKH IROORZLQJ GDWD DQG
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(PHUJHQF\ 0DQDJHPHQW $JHQF\ )(0$  HIIHFWLYH IORRGSODLQ PRGHOV IRU +DUULV &RXQW\
)XUWKHUPRUHZHUHYLHZHG'U3KLO%HGLHQW¶V +HUPDQ%URZQ3URIHVVRURI(QJLQHHULQJDW5LFH
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LQFOXGLQJ WKH +&)&' UHJXODWRU\ PRGHO EDVHG RQ WKH 86$&( +\GURORJLF (QJLQHHULQJ &HQWHU
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IORZV GXULQJ +XUULFDQH +DUYH\ :H DOVR UHYLHZHG DGGLWLRQDO GDWD DQG WHVWLPRQ\ DV LQGLFDWHG
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      x   86$&('+(&5$6PRGHO SURYLGHGDVPRGHOLQJILOHVGXULQJGLVFRYHU\ODEHOHGZLWK
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      x   'U%HGLHQW¶V '+(&5$6PRGHO %HGLHQW 
      x   +&)&'+(&+06PRGHO +&)&'D 
      x    5HVHUYRLU5HJXODWLRQ0DQXDO 550 IRU$GGLFNVDQG%DUNHU5HVHUYRLUV,QLWLDODQG
          (PHUJHQF\,QVWUXFWLRQVWR'DP7HQGHU 86$&( 
      x   :DWHU&RQWURO0DQXDO :&0 IRU$GGLFNVDQG%DUNHU5HVHUYRLUV%XIIDOR%D\RX
          DQG7ULEXWDULHV6DQ-DFLQWR5LYHU%DVLQ7; 86$&( 
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          DQG7ULEXWDULHV 86$&( 
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           
      x   86$&(VSUHDGVKHHW RISRROOHYHOJDWHRXWIORZUDWHVUDWHRIULVH 5R5 DQGFDOFXODWHG
          LQIORZUDWHVW\SLFDOO\UHIHUUHGWRDVWKH³PRUQLQJUHSRUW´DFFRUGLQJWR.DXIIPDQGHSRVLWLRQ
           SURYLGHGDVVSUHDGVKHHWGXULQJGLVFRYHU\ODEHOHGZLWK%DWHVQXPEHU86$&( 
      x   86 *HRORJLFDO 6XUYH\ 86*6  VWUHDP IORZ DQG ZDWHU VXUIDFH HOHYDWLRQ :6(  JDXJH
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             o %DUNHU5HVQU$GGLFNV7;
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          o %XIIDOR%D\RXDW3LQH\3RLQW7;
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   x   )HGHUDO(PHUJHQF\0DQDJHPHQW$JHQF\ )(0$ )ORRG,QVXUDQFH6WXG\ ),6 IRU+DUULV
       &RXQW\7H[DV )(0$ 
   x   'RZQVWUHDPSODLQWLIIWHVWLPRQ\LQFOXGLQJWKHIROORZLQJSODLQWLIIV
          o $UQROG0LOWRQWHVWLPRQ\RQ-XO\ 0LOWRQD 
          o 9LUJLQLD0LOWRQWHVWLPRQ\RQ-XO\ 0LOWRQE 
          o -HQQLIHU6KLSRVWHVWLPRQ\RQ6HSWHPEHU 6KLSRV 
          o -RKQ%ULWWRQIRU60&0HPRULDO,QYHVWPHQW/3WHVWLPRQ\RQ-XO\
             %ULWWRQ 
          o -HUHP\*RRGIRU*RRG5HVRXUFHV//&WHVWLPRQ\RQ-XO\ *RRG 
          o 9DO$OGUHGWHVWLPRQ\RQ$XJXVW $OGUHG 
          o 3HJJ\+ROOLVWHVWLPRQ\RQ-XO\ +ROOLVD
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          o 3HWHU6LOYHUPDQWHVWLPRQ\RQ-XO\ 6LOYHUPDQD 
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          o $UQVWHLQ *RGHMRUGWHVWLPRQ\RQ6HSWHPEHU *RGHMRUGD 
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          o 3KLOOLS$]DUWHVWLPRQ\RQ-XO\ $]DU 
          o 7LP6WDKOWHVWLPRQ\RQ6HSWHPEHU 6WDKO 
          o 6KDZQ:HOOLQJWHVWLPRQ\RQ$XJXVW :HOOLQJ 
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    x   7H[DV1DWXUDO5HVRXUFHV,QIRUPDWLRQ6\VWHP 715,6 HOHYDWLRQGDWD 715,6 
    x   +&)&'SUHFLSLWDWLRQGDWDVRXUFHV +&)&'E 
    x   +LJKZDWHUPDUNV SURYLGHGDVVSUHDGVKHHWGXULQJGLVFRYHU\ODEHOHGZLWK%DWHVQXPEHU
        )(0$ VXPPDU\ WDEOHV ODEHOHG ZLWK %DWHV QXPEHUV 86$&( DQG
        86*6DQGVKDSHILOHODEHOHGZLWK%DWHVQXPEHU)(0$ 

7KH OLVW RI GRFXPHQWV FRQVLGHUHG DQG WKH PRGHOLQJ ILOHV UHIHUHQFHG DERYH FDQ EH IRXQG LQ
6(&7,21DWWKHHQGRIWKLV5HSRUW

*LYHQWKH OLPLWHGWLPHSHULRG IRUVXEPLVVLRQRIWKLV5HSRUWXQGHUWKH&RXUW¶VVFKHGXOH ZHKDYH
QRWXQGHUWDNHQDQHIIRUWWRDGGUHVVDOORIWKHSRLQWVDQGLVVXHV DVVRFLDWHGZLWKWKLVFDVHDQGZH
PD\UHYLVHRUVXSSOHPHQWWKHLQIRUPDWLRQLQWKLV5HSRUWDVZHFRQWLQXHWRUHYLHZ WKHWHVWLPRQ\
RIWHFKQLFDOH[SHUWVDQGH\HZLWQHVVHVWKHGLJLWDO PRGHOILOHVSURYLGHGDQGWKH([SHUW5HSRUWV
VXEPLWWHGWRWKHFRXUW

:H DOVR UHVHUYH WKHULJKW WR H[DPLQH DGGLWLRQDO LQIRUPDWLRQ DV LWEHFRPHV DYDLODEOH LQFOXGLQJ
WKURXJK IXUWKHU GLVFRYHU\ LQ WKLV FDVH DQG WR DGG WR RU PRGLI\ RXU RSLQLRQV EDVHG RQ VXFK
DGGLWLRQDOLQIRUPDWLRQ




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$1':25.352'8&7'2&75,1(                                                              1RYHPEHU

       5HSRUW2UJDQL]DWLRQ

7KLV5HSRUWLVRUJDQL]HGDVIROORZV

      x   6(&7,21 GHVFULEHVWKHWHUPVEDFNJURXQGPLVVLRQDQGVFRSHRIWKLV5HSRUW

      x   6(&7,21 SUHVHQWVDQLQWURGXFWLRQDQGIDFWXDOEDFNJURXQGWRWKHFDVH

      x   6(&7,21 SUHVHQWVWKHGRZQVWUHDPWHVWSURSHUWLHVFRQVLGHUHGLQWKLV5HSRUW

      x   6(&7,21 SUHVHQWVD UHYLHZRIWKHGDWDVRXUFHVUHOLHGXSRQDQGDJHQHUDO WLPHOLQHRI
          HYHQWVGXULQJ+XUULFDQH+DUYH\

      x   6(&7,21  SURYLGHV DQ RYHUYLHZ RI WKH K\GUDXOLF PRGHOLQJ PHWKRGRORJ\ XVHG LQ
          GHYHORSLQJRSLQLRQVUHODWHGWRLQXQGDWLRQRIWKHGRZQVWUHDPWHVWSURSHUWLHV

      x   6(&7,21  SURYLGHV DQ RYHUYLHZ RI WKH K\GUDXOLF PRGHOLQJ UHVXOWV GLVFXVVHG LQ WKH
          PHWKRGRORJ\VHFWLRQUHODWHGWRLQXQGDWLRQRIWKHGRZQVWUHDPWHVWSURSHUWLHV

      x   6(&7,21 SUHVHQWVRSLQLRQVUHODWHGWRLQXQGDWLRQRIWKHGRZQVWUHDPWHVWSURSHUWLHV
          DVDUHVXOWRIWKHHQJLQHHULQJDQDO\VHVFRQGXFWHG

      x   6(&7,21  SUHVHQWV RSLQLRQV UHODWHG WR WKH LQWHJULW\ RI WKH $GGLFNV DQG %DUNHU
          5HVHUYRLUVLQFOXGLQJEXWQRWOLPLWHGWRWKHVSLOOZD\V

      x   6(&7,21 SURYLGHVSUHOLPLQDU\RSLQLRQVRQWKHGHIHQVHDUJXPHQWVWKDWKDYHEHHQUDLVHG
          RUSRWHQWLDOO\PD\EHUDLVHGODWHU DQG

      x   6(&7,21 SUHVHQWVDGHWDLOHGOLVWRIUHIHUHQFHV




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68%-(&7727+($77251(<&/,(1735,9,/(*(                                              *HRV\QWHF&RQVXOWDQWV,QF
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ORQJZLWKWKHWRSRIWKHGDPDWHOHYDWLRQIW  86$&(DW6HFD 7KHHQGVRIWKH
HPEDQNPHQWWHUPLQDWHDWDQDWXUDOJURXQG HOHYDWLRQRIIWRQWKHQRUWKHQGDQGIWRQ
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HQGVRIWKHGDPHPEDQNPHQWZHUHUHLQIRUFHGZLWKUROOHUFRPSDFWHGFRQFUHWHE\6HSWHPEHU
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%DUNHU'DPDVSUHVHQWO\FRQVWUXFWHGLQFOXGHVDQHDUWKHQGDPDSSUR[LPDWHO\IWORQJZLWK
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7ZRDX[LOLDU\VSLOOZD\VORFDWHGDWWKHQRUWKZHVWDQGVRXWKZHVWHQGVRIWKHGDPHPEDQNPHQW
ZHUHUHLQIRUFHGZLWKUROOHUFRPSDFWHGFRQFUHWHE\6HSWHPEHU 86$&( DW6HFF
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7KH86$&(GHVFULEHVWKHSXUSRVHRIWKH$GGLFNV DQG%DUNHU5HVHUYRLUVDVLQFOXGLQJ³IORRGULVN
PDQDJHPHQWSURWHFWLRQSURYLGHGWRWKH&LW\RI+RXVWRQIURPIORRGGDPDJHV« 7KHWZRUHVHUYRLUV
SURYLGH IORRGZDWHU GHWHQWLRQ IRU IORRG ULVN PDQDJHPHQW RQ WKH %XIIDOR %D\RX ZDWHUVKHG«´
 86$&(DW6HF $VLQLWLDOO\GHVLJQHGWKHRXWOHWVRIHDFKUHVHUYRLUFRQVLVWHGRIILYH
ER[FXOYHUWFRQGXLWVZLWKRQHFRQGXLWJDWHGDQGWKHRWKHUIRXUXQFRQWUROOHG 86$&( DW
6HF %\)HEUXDU\ DOORIWKHFRQGXLWVRQERWKUHVHUYRLURXWOHWVKDGEHHQJDWHG 86$&(
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RQERWKSURMHFWVLQPDGHLWSRVVLEOHWRUHGXFHGRZQVWUHDPIORRGLQJ«´ 86$&( DW
6HF 

      86$&(&RQVLGHUDWLRQVLQ2SHUDWLQJWKH5HVHUYRLUV

$Q2FWREHU³'UDIW2SHUDWLRQDO$VVHVVPHQWRIWKH$GGLFNVDQG%DUNHU5HVHUYRLUV´ 86$&(
 86$&(  FRQILUPV WKDW ³>W@KH VROH DXWKRUL]HG SXUSRVH IRU $GGLFNV DQG %DUNHU
5HVHUYRLUVLVWRUHGXFHSRWHQWLDOIORRGGDPDJHDORQJWKHGRZQVWUHDPUHDFKRI%XIIDOR%D\RX´
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³RSHUDWLRQDO FRQVWUDLQWV´ IRU WKH UHVHUYRLUV DV WKH\ UHODWH WR ERWK GRZQVWUHDP DQG XSVWUHDP
IORRGLQJULVN 86$&( DW86$&(HPSKDVLVDGGHG 



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 8QOHVVRWKHUZLVHVSHFLILHGDOOHOHYDWLRQVKHUHLQDUHVSHFLILHGLQIHHW1$9' 1RUWK$PHULFDQ9HUWLFDO'DWXP
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68%-(&7727+($77251(<&/,(1735,9,/(*(                                         *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                 1RYHPEHU

         7KH LQFUHDVH LQ GRZQVWUHDP GHYHORSPHQW DQG SRVVLEO\ GRZQVWUHDP WULEXWDU\
         LQIORZ KDVFRQWULEXWHGWRUHGXFWLRQVLQDOORZDEOHRXWIORZV The dams are operated
         strictly to prevent downstream flooding; therefore, the gates remain shut even if
         pool levels increase and flood upstream properties 7KHIORRGSRROVKDYHQHYHU
         H[FHHGHGWKHOLPLWRI*2/>JRYHUQPHQWRZQHGODQG@DQGWKHKRPHVXSVWUHDPRI
         WKHGDPVKDYHQRWIORRGHGGXHWRWKHSRRO +RZHYHUDYDLODEOHK\GURORJLFPRGHOV
         LQGLFDWHWKDWWKHOLPLWRI*2/ZRXOGEHH[FHHGHGLQH[WUHPHHYHQWVIRUH[DPSOH
         LWLVEHOLHYHGWKDWLI7URSLFDO6WRUPV$OOLVRQRU&ODXGHWWHKDGEHHQFHQWHUHGRQWKH
         EDVLQIORRGLQJRIWKHXSVWUHDPGHYHORSPHQWZRXOGKDYHRFFXUUHG

7KDWVDPHGRFXPHQWJHQHUDOO\GHVFULEHVWKH86$&(¶VRSHUDWLRQDOSURFHGXUHVIRUWKHUHVHUYRLUV
DQGFRQVLGHUDWLRQVWDNHQLQWRDFFRXQWE\WKH86$&(ZLWKUHVSHFWWRWKRVHSURFHGXUHV 86$&(
 DW86$&(HPSKDVLVDGGHG 

         7KHFXUUHQWSURFHGXUHLVWRSUHYHQWGRZQVWUHDPIORRGLQJDQGSURWHFWGRZQVWUHDP
         SURSHUWLHV 'XULQJDIORRGLQJHYHQWWKHJDWHVDUHFORVHGDQGWKHUHVHUYRLUOHYHOVDUH
         DOORZHG WR ULVH XQWLO WKH\ RYHUIORZ WKH VSLOOZD\V 6LQFH WKHUH LV GHYHORSPHQW
         DGMDFHQWWRWKH*2/WKHVHVWUXFWXUHVZRXOGEHIORRGHGGXULQJDQH[WUHPHHYHQW
         $VQRWHGHDUOLHUWKHUHLVVLJQLILFDQWGHYHORSPHQWZLWKLQWKHIULQJHDUHDEHWZHHQ
         WKH*2/DQGWKHPD[LPXPSRROHOHYDWLRQWith such high valuation of upstream
         properties, it might be desirable to increase the allowable release rates from the
         reservoir once the downstream peak flows have occurred, and accept some
         increased duration of downstream flooding.

      7KH3XUSRVHRI,QGXFHG6XUFKDUJH2SHUDWLRQV

5REHUW7KRPDVWKH86$&(¶VGHVLJQDWHGZLWQHVVWRWHVWLI\UHJDUGLQJ³>S@ROLFLHVIRUUHOHDVHVRI
ZDWHU IURP WKH UHVHUYRLUV IURP  WKURXJK WKH SUHVHQW«´ WHVWLILHG UHJDUGLQJ WKH 86$&(¶V
UHOHDVH RI ZDWHU DOVR UHIHUUHG WR DV ³LQGXFHG VXUFKDUJH´  IURP WKH UHVHUYRLUV GXULQJ DQG DIWHU
+XUULFDQH +DUYH\ +H WHVWLILHG WKDW GXULQJ +XUULFDQH +DUYH\ WKH 86$&( ³VWDUWHG VXUFKDUJH
UHJXODWLRQVDFFRUGLQJWRWKHVFKHGXOHV´LQWKH86$&(¶V:&0 IRUWKHUHVHUYRLUV 7KRPDV
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UHJXODWLRQ´ LQ WKH  :&0 KDV WKH HIIHFW RI RSHQLQJ WKH UHVHUYRLU IORRG FRQWURO JDWHV DQG
LQXQGDWLQJGRZQVWUHDPSURSHUWLHV 86$&( DW86$&( 7KHVHRSHUDWLRQSURFHGXUHV
GLIIHUIURPWKH :&0¶V³1RUPDO)ORRG&RQWURO5HJXODWLRQ´ZKLFKNHHSVWKHJDWHVFORVHG
GXULQJ IORRG HYHQWV XQWLO UHOHDVHV FDQ EH PDGH LQ D PDQQHU WKDW GRHV QRW FDXVH GDPDJLQJ
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$1':25.352'8&7'2&75,1(                                                                1RYHPEHU

:DWHU (OHYDWLRQ ,PSDFW 7DEOHV SXEOLVKHG E\ WKH 86$&( LQ WKH  (PHUJHQF\ $FWLRQ 3ODQ
 ³ ($3´  UHIOHFW WKH ³ILUVW VWUHHW IORRGHG XSVWUHDP´ IRU $GGLFNV 5HVHUYRLU RFFXUV DW DQ
HOHYDWLRQRIIWDQGWKH³ILUVWKRPHLQXQGDWHGXSVWUHDP´IRU$GGLFNVRFFXUVDWDQHOHYDWLRQ
RI  IW 86$&(  DW (  )RU %DUNHU 5HVHUYRLU WKH SRRO OHYHO WULJJHU SRLQW IRU
FRPPHQFLQJ LQGXFHG VXUFKDUJH UHOHDVHVIURPWKHUHVHUYRLULVIW )RU%DUNHUWKHOLPLWVRI
*2/DUHUHDFKHGDWDSRROOHYHO RIIW ([WR7KRPDV'HSRDW7DEOH$ 7KH($3
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DQG³ILUVWKRPHLQXQGDWHGXSVWUHDP´RFFXUVDWDQHOHYDWLRQRIIW 86$&( DW( 

5REHUW 7KRPDV WHVWLILHG UHJDUGLQJ WKH SXUSRVH RI PDNLQJ LQGXFHG VXUFKDUJH UHOHDVHV 7KRPDV
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         4    $QGZKDWDUHLQGXFHGVXUFKDUJHUHOHDVHV"
         $     *HQHUDOO\ WKDW UHIHUV WR UHOHDVHV ZLWKLQ WKHLQGXFHG VXUFKDUJH UHJXODWLRQ
                VFKHGXOH
         4     :KDWLVWKHSXUSRVHRIPDNLQJLQGXFHGVXUFKDUJHUHOHDVHV"
         $     7KHSXUSRVH RIPDNLQJLQGXFHGVXUFKDUJHUHOHDVHVLVWRDVLWVD\VDERYH
                XWLOL]HWKHPD[LPXPH[WHQWSRVVLEOHIRUWKHUHVHUYRLUV
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                RIWKHGDPV,VWKDWZKDW\RXVDLG"
         $    5LJKW$QGLQJHQHUDOWRSUHYHQWDGDPDJLQJFRQGLWLRQWRWKHGDPV
7KH86$&(¶VDFWLRQLQFRPPHQFLQJLQGXFHGVXUFKDUJHRSHUDWLRQVEXUGHQHGWKHGRZQVWUHDPWHVW
SURSHUW\RZQHUVZLWKIORRGLQJE\GLVFKDUJLQJZDWHUGRZQVWUHDPWKDWXQGHUQRUPDOIORRGFRQWURO
UHJXODWLRQ SURFHGXUHV ZRXOG KDYH SURWHFWHG WKH GRZQVWUHDP WHVW SURSHUWLHV E\ EHLQJ UHWDLQHG
XSVWUHDPGLYHUWHGRYHUWKHDX[LOLDU\VSLOOZD\VWRRWKHUDUHDVRUUHOHDVHGGRZQVWUHDPDWDODWHU
GDWHLQDQRQGDPDJLQJPDQQHU

      7KH &DXVH RI ,QXQGDWLRQ 'XULQJ +DUYH\ ± 86$&(¶V 5HOHDVH RI :DWHUV IURP WKH
         $GGLFNVDQG%DUNHU5HVHUYRLUV3XUVXDQWWRLWV:DWHU&RQWURO0DQXDO

:KHQWKH86$&( RSHQHGWKHIORRGFRQWUROJDWHVIRUWKH$GGLFNVDQG%DUNHU5HVHUYRLUVLWGLGVR
SXUVXDQWWRLWV:&0IRUWKHUHVHUYRLUVDQGUHOHDVHG VXEVWDQWLDODGGLWLRQDOZDWHULQWR%XIIDOR
%D\RX7KHK\GUDXOLFPRGHOLQJWHVWLPRQ\DQGRWKHUHYLGHQFHDQDO\]HGWKURXJKRXWWKLV5HSRUW
VKRZ WKDW KDG WKH $GGLFNV DQG %DUNHU JDWHV UHPDLQHG FORVHG WKH GRZQVWUHDP WHVW SURSHUWLHV
ZRXOGQRWKDYHEHHQLQXQGDWHG RWKHUWKDQWKHVPDOOQXPEHURIWHVWSURSHUWLHVWKDWH[SHULHQFHG
PLQLPDOIORRGLQJSULRUWRWKHJDWHVRSHQLQJ 7KHRSHQLQJRIWKHJDWHVE\WKH86$&( ZDVWKXV
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         WKH'DPDJLQJ,QXQGDWLRQRI'RZQVWUHDP7HVW3URSHUWLHVWKDW:RXOG2FFXU

&RQVLGHULQJ WKH DPRXQW RI ZDWHU UHOHDVHG DFFRUGLQJ WR WKH LQGXFHG VXUFKDUJH VFKHGXOHV LQ WKH
 :&0WKH86$&(NQHZLQDGYDQFHRIRSHQLQJWKHIORRGFRQWUROJDWHV WKHVFRSHDQGH[WHQW
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'D\)ORRGDQGEHIRUH+XUULFDQH+DUYH\LQGLFDWHVWKDWWKH86$&(ZDVDZDUHRIZKDWODQGDUHDV
IORRGILUVWGRZQVWUHDPDQGDWZKDWIORZUHOHDVHUDWHV ([WR7KRPDV'HSRDW86$&( 

         'HWHUPLQDWLRQVRISRWHQWLDOIORRGGDPDJHVZHUHDVVHVVHGXVLQJ86$&(VXUYH\VRI
         VW IORRU VWUXFWXUH HOHYDWLRQV DQG %XIIDOR %D\RX UHFRQQDLVVDQFH RI UHTXHVWHG
         UHOHDVHVDIWHUWKH0HPRULDO'D\)ORRGRIDQGWKH7D['D\)ORRGRI
         8VLQJ86$&(VXUYH\VRIVW IORRUHOHYDWLRQGDWDLWZDVGHWHUPLQHGWKDWWKHORZHU
         OHYHORIKRPHVLQWKHYLFLQLW\RIWKH:HVW%HOWZD\%ULGJH DSSUR[LPDWHO\PLOHV
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         RI  FIV 7KLV GDWD LV FRQVLVWHQW ZLWK FRPSODLQWV RI SURSHUW\ LQXQGDWLRQ
         W\SLFDOO\UHFHLYHGE\WKH'LVWULFWDWGLVFKDUJHVRIFIVDQGDERYH$WIORZV
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         DUH ORFDWHG EHWZHHQ WKH EULGJHV RYHU %XIIDOR %D\RX DW 1RUWK :LOFUHVW 'ULYH
          DSSUR[LPDWHO\  PLOHV GRZQVWUHDP RI WKH UHVHUYRLUV PHDVXUHG DORQJ WKH
         VWUHDPEHG DQG&KLPQH\5RFN5RDG DSSUR[LPDWHO\PLOHVGRZQVWUHDPRIWKH
         UHVHUYRLUV 

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LQXQGDWLRQWKDWZRXOGRFFXUE\VWUHHWLQWHUVHFWLRQDQGEORFNZLWKLQWKHDFFXUDF\RIWKHPRGHO
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         4     :DVWKH&RUSVDEOHWRDVFHUWDLQIURPWKLVPRGHOLQJZKDWWKHZDWHUVXUIDFH
                HOHYDWLRQZDVDWHDFKRIWKRVH&)6OHYHOV"
         $     6RWKH5$6PRGHOGRHVHVWLPDWHHOHYDWLRQDQGGLVFKDUJHVLU
         4     $QGWKDWZDVNQRZOHGJHWKDWWKH&RUSVKDGDWWKHWLPHWKLVZDVFUHDWHGWKLV
                PDQXDODQGWKLVPRGHOZDVFUHDWHG"
         $     <HVVLU



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       $      <HVVLU
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       4      :HOO\RXFDQWHOOPH WKDWWKH&RUSVKDVWKH FDSDELOLW\RI]RRPLQJLQRQD
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       $      <HVVLU
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       4     $QGKDGLWDWWKHWLPHRI+DUYH\"
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       4      6RWKH&RUSVKDGWKHFDSDELOLW\WR]RRPLQRQDFRQVWDQWIORZPDSRUDQ
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       $      <HVVLU
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               LQXQGDWLRQPDSVEHLQJUXQSUH+DUYH\RUGXULQJWKHWLPHRI+DUYH\DFWXDOO\
               LGHQWLI\VWUHHWVDQGLQWHUVHFWLRQVDQGEORFNVRQWKHLQXQGDWLRQPDS"
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GRZQVWUHDP %XIIDOR %D\RX DWWULEXWDEOH WR WKH UHVHUYRLU UHOHDVHV ([  WR 7KRPDV 'HSR  $W
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,QDGGLWLRQWR WKHFRQVWDQWIORZDUHDPDSV SUHVHQWHGLQ WKH:&0DQG($3WKH86$&(
ZRXOGKDYH UHDGLO\KDGDFFHVVWRWKH UHFHQWO\SUHSDUHG)HGHUDO(PHUJHQF\0DQDJHPHQW$JHQF\
 )(0$  )ORRG ,QVXUDQFH 6WXG\ ),6  GDWHG  -DQXDU\  )(0$   'HWDLOHG )ORRG
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DORQJWKHIXOOOHQJWKRI%XIIDOR%D\RXIRUDUDQJHRIIORZV7DEOH LQ9ROXPH RIWKH),6SUHVHQWV
SHDNGLVFKDUJHVDVVRFLDWHGZLWKWKHDQG\HDUVWRUPHYHQWVDWVL[ORFDWLRQVDORQJ
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DVVRFLDWHG ZLWK WKH YDULRXV ZDWHU VXUIDFH HOHYDWLRQV SUHVHQWHG RQ WKH H[KLELWV LQFOXGHG DV
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DV H[SHFWHG GXULQJ +XUULFDQH +DUYH\ ([  WR 7KRPDV 'HSR DW 86$&( HPSKDVLV
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         7KH HPEDQNPHQW RXWOHW VWUXFWXUHV DQG HPHUJHQF\ VSLOOZD\V IXQFWLRQHG DV
         LQWHQGHG 3LH]RPHWHUV VHWWOHPHQW SLQV DQG DOLJQPHQW VXUYH\V IRU WKH RXWOHW
         VWUXFWXUHVGRQRWVKRZQ>VLF@DQ\ DODUPLQJWUHQGVIURPWKLVSRRORIUHFRUG7KHUH
         ZHUHQRREVHUYDWLRQVRIVHHSDJHRUFULWLFDOGLVWUHVVDUHDVORFDWHGRQWKHGDPV:HW
         DUHDVORFDWHGRQWKHGRZQVWUHDPHPEDQNPHQWWRHZHUHPRQLWRUHGEXWVKRZHGQR
         VLJQVRIIORZ« Overall conclusion is that the project was performing as expected
         with no significant problems during this pool of record event.

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         4     :KDW LV WKH SXUSRVH RI WKLV 0HPRUDQGXP IRU &RPPDQGHU WKDW KDV EHHQ
                PDUNHGDV([KLELW":K\ZDVLWSUHSDUHG"
         $     $IWHUHYHU\IORRGRIUHFRUGZHSUHSDUHDGRFXPHQWGRFXPHQWLQJWKHVWDWH
                RIWKHGDPVLPPHGLDWHO\DIWHUZDUG
         4     ,VRQHRIWKHSXUSRVHVRISUHSDULQJWKLVPHPRUDQGXPWRDVVHVVZKHWKHURU
                QRW WKH $GGLFNV DQG %DUNHU GDPV DQG UHVHUYRLUV SHUIRUPHG DV H[SHFWHG
                GXULQJWKDWQHZSRRORIUHFRUG"
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GDPV¶ZDWHUVKHGVUHFHLYHGEHWZHHQLQFKHVRIUDLQGXULQJDGD\SHULRG$XJXVW
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         4     +DV WKHUH HYHU EHHQ D IRUPDO GHFODUDWLRQ RI D /HYHO  HPHUJHQF\ LQ WKH
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         $       1RWWKDW,NQRZRIVLU
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WKDWFDXVHGGRZQVWUHDPIORRGLQJ DVDUHVXOWRILQGXFHGVXUFKDUJHRSHUDWLRQV,QGXFHGVXUFKDUJH
RSHUDWLRQV KDG WKH HIIHFW RI PLWLJDWLQJ XSVWUHDP LQXQGDWLRQ WR WKH GHWULPHQW RI GRZQVWUHDP
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GRZQVWUHDPLPSDFWRILWVGHFLVLRQWRUHOHDVHZDWHUIURP$GGLFNVDQG%DUNHU5HVHUYRLUVSXUVXDQW
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QRWKDYHEHHQLQXQGDWHGWRWKHH[WHQWH[SHULHQFHGGXULQJDQGDIWHU+XUULFDQH+DUYH\EXWIRUWKH
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 1R FRQFOXVLRQV FDQ EH UHDFKHG WR D UHDVRQDEOH GHJUHH RI VFLHQWLILF DQG HQJLQHHULQJ SUREDELOLW\ ZLWK UHVSHFW WR
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6HOHFWLRQ´ 'RFXPHQW  ILOHG  0DUFK  7KH RQO\ DPHQGPHQW WR WKH OLVW RI SODLQWLIIV
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3DUNZD\ 1RUWK7KHUHPDLQLQJ GRZQVWUHDPWHVWSURSHUWLHVZKLFK ZHUH LQYHVWLJDWHG IRU WKLV
5HSRUW DUH VXPPDUL]HG LQ 7DEOH  EHORZ 7KH ³=RQH´ LGHQWLILFDWLRQ LV EDVHG RQ WKH
³&RQVROLGDWHG DQG $PHQGHG 'RZQVWUHDP 0DVWHU &RPSODLQW´ 'RFXPHQW  ILOHG  -DQXDU\
7KHRQO\DPHQGPHQWVWRWKH]RQHVLGHQWLILHGLVWKDWWKH*RRG5HVRXUFHV//&SURSHUW\DQG
WKH 3KLOOLS $]DU SURSHUW\ ZHUH QRW RULJLQDOO\ LGHQWLILHG LQ WKH ³&RQVROLGDWHG DQG $PHQGHG
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VXSSOHPHQWDO DQDO\VHV DUH SURYLGHG LQ VXEVHTXHQW VHFWLRQV RI WKLV 5HSRUW DQG DV VHSDUDWH
DSSHQGLFHVZKHUHUHIHUHQFHG

       7LPHOLQHRI(YHQWVEDVHGRQ$YDLODEOH'DWD

*DXJHGDWDGRZQVWUHDPWHVWSURSHUW\RZQHUSODLQWLIIWHVWLPRQ\UHSRUWHG86$&(JDWHRXWIORZ
UDWHVDQGWKH86$&($IWHU$FWLRQ5HSRUW 86$&( ZHUHUHYLHZHG WRGHYHORSDJHQHUDO
WLPHOLQHRIHYHQWVDQGDFWLRQV WDNHQE\WKH86$&(7KHWLPHOLQHVXPPDUL]HGLQWKHRXWOLQHEHORZ
WRJHWKHUZLWK )LJXUH RIWKHJDXJHGDWDHVWDEOLVKHVUHSRUWHGJDWHUHOHDVHUDWHVDQGLQXQGDWLRQ
OHYHOV$OOUHSRUWHGGDWHVDUHLQGXULQJDQGIROORZLQJ+XUULFDQH+DUYH\ LQWKH+RXVWRQDUHD
3URSHUW\LQIRUPDWLRQLVEDVHGRQSODLQWLIIQDPHDQGQXPEHUDVLQGLFDWHGLQ7DEOHDERYHDORQJ
ZLWK SURSHUW\ LQXQGDWLRQ UHSRUWHG E\ WKH SODLQWLIIV DV LQGLFDWHG LQ 7DEOH  LQ WKH IROORZLQJ
VHFWLRQ

      x   $XJXVW± +DUYH\PDNHVODQGIDOOQHDU5RFNSRUW7H[DVDSSUR[LPDWHO\RQHLQFKRIUDLQ
          IDOOVLQWKH+RXVWRQDUHDEHJLQQLQJDURXQGDP
             o 3URSHUWLHVUHSRUWLQJLQLWLDOLQXQGDWLRQEDVHGRQWHVWLPRQ\
                     $]DU PLQRULQXQGDWLRQ 
      x   $XJXVW±5DLQFRQWLQXHVDSSUR[LPDWHO\LQFKHVSRRO OHYHOVZLWKLQWKHUHVHUYRLUV
          EHJLQWRULVH
      x   $XJXVW±5DLQFRQWLQXHVDSSUR[LPDWHO\LQFKHV
             o 3URSHUWLHVUHSRUWLQJLQLWLDOLQXQGDWLRQEDVHGRQWHVWLPRQ\
                     0HPRULDO60& PXOWLSOHEXLOGLQJVQRWDOOPD\KDYHEHHQLQXQGDWHG 
                    %H\RJOX UHSRUWHGPLQRULQXQGDWLRQ 
      x   $XJXVW  LQWR  ± 5HVHUYRLU JDWHV RSHQHG DQG LQGXFHG VXUFKDUJH UHOHDVHV PDGH
          GRZQVWUHDPWR%XIIDOR%D\RXSRROOHYHOVLQWKHUHVHUYRLUVFRQWLQXHWR ULVHDSSUR[LPDWHO\
          LQFKHVRIUDLQ
             o $GGLFNVJDWHVRSHQHGDWQRODWHUWKDQDPRQ$XJXVW
                    SHDNGLVFKDUJHFIV
                    SHDNSRROOHYHODWIW
             o %DUNHUJDWHVRSHQHGDWQRODWHUWKDQDPRQ$XJXVW



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   Case 1:17-cv-09002-LAS            Document 266-2        Filed 01/10/23        Page 1435 of 1584
35,9,/(*('$1'&21),'(17,$/                                                ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                     *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                             1RYHPEHU

                   SHDNGLVFKDUJHFIV
                   SHDNSRROOHYHODWIW
   x   $XJXVW
          o 3URSHUWLHVUHSRUWLQJLQLWLDOLQXQGDWLRQEDVHGRQWHVWLPRQ\
                    0LOWRQ
                   *RRG5HVRXUFHV
                    +ROOLV
                    $]DU KDG PLQRU LQXQGDWLRQ RQ $XJXVW  EXW UHSRUWHG VLJQLILFDQW
                    LQXQGDWLRQVWDUWLQJ$XJXVWUHVXOWLQJLQXSWRIWRILQXQGDWLRQ
                    6WDKOHVWLPDWHVLQXQGDWLRQEHJDQRQ$XJXVWEDVHGRQ86*6JDXJHV
                   :HOOLQJ
   x   $XJXVW  ± 8QFRQWUROOHG UHOHDVHV DOVR UHIHUUHG WR DV ³IODQNLQJ IORZV´ DURXQG WKH
       VSLOOZD\RQWKHQRUWKHQGRI$GGLFNVRFFXUVDSSUR[LPDWHO\LQFKHVRIUDLQRFFXUUHG
       DQGVWRSSHG
          o $GGLFNVJDWHVUHPDLQHGRSHQHG
                   SHDNGLVFKDUJHFIV
                   SHDNSRROOHYHODWIW
                   XQFRQWUROOHGUHOHDVHV IODQNLQJIORZV VWDUWHG DWDP
          o %DUNHUJDWHVUHPDLQHGRSHQHG
                   SHDNGLVFKDUJHFIV
                   SHDNSRROOHYHODWIW
          o 3URSHUWLHVUHSRUWLQJ LQLWLDOLQXQGDWLRQEDVHGRQWHVWLPRQ\
                   6KLSRV
                    6LOYHUPDQ
                   *RGHMRUG
   x   $XJXVW±3RROOHYHOVLQERWKUHVHUYRLUVDWRUQHDUSHDNV%DUNHUZDVIXOO$GGLFNV
       ZDVIXOOQRUDLQRFFXUUHG
          o $GGLFNVJDWHVUHPDLQHGRSHQHG
                   SHDNGLVFKDUJHFIV
                   RYHUDOOSHDNSRROOHYHODWIWRFFXUUHGDWDP
                   XQFRQWUROOHGUHOHDVHV IODQNLQJIORZV DOVRRFFXUUHG
          o %DUNHUJDWHVUHPDLQHGRSHQHG
                   SHDNGLVFKDUJHFIV
                   RYHUDOOSHDNSRROOHYHODWIWRFFXUUHGDWDP
          o 3URSHUWLHVUHSRUWLQJLQLWLDOLQXQGDWLRQEDVHGRQWHVWLPRQ\


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  Case 1:17-cv-09002-LAS          Document 266-2       Filed 01/10/23       Page 1436 of 1584
35,9,/(*('$1'&21),'(17,$/                                              ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                   *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                           1RYHPEHU

                  $OGUHG
                  &XWWV
   x   $XJXVW±SRROOHYHOVEHJLQWRIDOO
          o $GGLFNVJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRROOHYHODWIW
                 XQFRQWUROOHGUHOHDVHV IODQNLQJIORZV DOVRRFFXUUHG
          o %DUNHUJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRROOHYHODWIW
   x   6HSWHPEHU±SRROOHYHOVFRQWLQXHWRIDOO
          o $GGLFNVJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRROOHYHODWIW
                 XQFRQWUROOHGUHOHDVHV IODQNLQJIORZV VWRSSHGDURXQGSP
          o %DUNHUJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRROOHYHODWIW
   x   6HSWHPEHU±PDQGDWRU\HYDFXDWLRQRUGHULVVXHGE\&LW\RI+RXVWRQ
          o $GGLFNVJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRROOHYHODWIW
          o %DUNHUJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRROOHYHODWIW
   x   6HSWHPEHU±7DLOZDWHUFRQGLWLRQVHQGHGDW%DUNHU
          o %DUNHUWDLOZDWHUFRQGLWLRQVUHSRUWHGWRHQGDWHOHYDWLRQIWDWDP
   x   6HSWHPEHU±7DLOZDWHUFRQGLWLRQVHQGHGDW$GGLFNV
          o $GGLFNVWDLOZDWHUFRQGLWLRQVUHSRUWHGWRHQGDWHOHYDWLRQIWDWSP
   x   6HSWHPEHU±JDWHGLVFKDUJHUDWHVHQGHG
          o $GGLFNV±JDWHVFORVHGDWSP
          o %DUNHU± JDWHVFORVHG DWSP
   x   6HSWHPEHU±JDWHVRSHQHGDJDLQ




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35,9,/(*('$1'&21),'(17,$/                                                      ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                           *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                   1RYHPEHU

            o $GGLFNV±JDWHVRSHQHGDW SPDWFIVXQWLOHQGRIUHFRUG LQ³PRUQLQJ
              UHSRUW´VSUHDGVKHHWRQ
            o %DUNHU± JDWHVRSHQHGDWSPDWFIVXQWLOHQGRIUHFRUGLQ³PRUQLQJ
              UHSRUW´VSUHDGVKHHWRQ 

)LJXUH SUHVHQWVDFRPSRVLWHJHQHUDOWLPHOLQHRIHYHQWVIURP $XJXVWWKURXJK 6HSWHPEHU
7KHJDXJHQXPEHURIWKHIRXU86*6JDXJHVDORQJ%XIIDOR%D\RXXVHGLQWKHGHYHORSPHQW
RIWKHJUDSKDUHLQGLFDWHGLQWKHOHJHQG7KHRXWIORZIURPWKHUHVHUYRLUVUHSUHVHQWVWKHFRPSRVLWH
GLVFKDUJHIURPWKHJDWHVRIWKHWZRUHVHUYRLUV $GGLFNV DQG%DUNHU 7KHIORZUDWHLVEDVHGRQWKH
86$&(UHSRUWHGYDOXHVSHUWKH86$&(VSUHDGVKHHW7KHSUHFLSLWDWLRQYDOXHV DUHEDVHG
RQ DQ DQDO\VLVRISUHFLSLWDWLRQGDWDIRU JDXJHVIURP$XJXVWWR6HSWHPEHUREWDLQHG
IURPWKH+&)&'ZHEVLWH +&)&' 7KLHVVHQSRO\JRQVZHUHJHQHUDWHGIRUWKHSUHFLSLWDWLRQ
JDXJHVWRDFFRXQWIRUWKHVSDWLDOYDULDELOLW\LQWKHSUHFLSLWDWLRQ VHH $SSHQGL[% (DFK7KLHVVHQ
SRO\JRQ ZDV DVVLJQHG WKH UDLQ JDXJH WKDW IHOO LQ LW $Q DUHD ZHLJKHG WRWDO SUHFLSLWDWLRQ ZDV
FDOFXODWHGEDVHGRQWKHSUHFLSLWDWLRQWLPHVHULHVDQGDUHDRI7KLHVVHQSRO\JRQV7KHSUHFLSLWDWLRQ
DQDO\VLVLVGHWDLOHGLQ $SSHQGL[%

      3ODLQWLII7HVWLPRQ\RI2EVHUYHG&RQGLWLRQV

$FFRUGLQJWRGRZQVWUHDPSODLQWLIIWHVWLPRQ\7DEOH EHORZVXPPDUL]HVWKHUHSRUWHGHVWLPDWHG
WLPH RI ILUVW LQXQGDWLRQ WKH HVWLPDWH RI PD[LPXP REVHUYHG LQXQGDWLRQ DQG WKH GXUDWLRQGDWHV
ZKHQWKHSODLQWLIIFRXOGQRWDFFHVVWKH SURSHUW\GXHWRLQXQGDWLRQ ZKLFKLVUHSUHVHQWDWLYHRIWKH
WLPHGXUDWLRQWKDWWKHSURSHUW\ZDVLQXQGDWHG %DVHGRQWKHWHVWLPRQ\VXPPDUL]HGLQ7DEOH
GRZQVWUHDP WHVW SURSHUWLHV   DQG  UHSRUWHG WR KDYH PLQLPDO LQXQGDWLRQ SULRU WR WKH
86$&(RSHQLQJWKHJDWHV

7KH (OHYDWLRQ&HUWLILFDWHVIRUHDFKRIWKHGRZQVWUHDPWHVWSURSHUWLHVZHUHUHYLHZHGLQRUGHUWR
LQYHVWLJDWH WKH VODE HOHYDWLRQ RI WKH EXLOGLQJ VWUXFWXUH RQ WKH SURSHUW\ 7KH VODE HOHYDWLRQ ZDV
FRPSDUHG WR WKH HVWLPDWH RI PD[LPXP REVHUYHG LQXQGDWLRQ GHSWK DFFRUGLQJ WR WKH SODLQWLII
WHVWLPRQ\ LQ RUGHU WR FDOFXODWH DQ HVWLPDWH RI PD[LPXP ZDWHU VXUIDFH HOHYDWLRQ 7DEOH 
SUHVHQWVWKHVODEHOHYDWLRQDQGFDOFXODWHGHVWLPDWHRIPD[LPXPREVHUYHGZDWHUVXUIDFHHOHYDWLRQ
IRUHDFKRIWKHGRZQVWUHDPWHVWSURSHUWLHV




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35,9,/(*('$1'&21),'(17,$/                                        ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                             *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                     1RYHPEHU

           7DEOH6XPPDU\RI3ODLQWLII 7HVWLPRQ\5HJDUGLQJ,QXQGDWLRQ

                               (VWLPDWHRI      (VWLPDWHRI              'XUDWLRQ
                                  )LUVW      0D[LPXP2EVHUYHG          3URSHUW\ZDV
   1XPEHU 3ODLQWLII1DPH       ,QXQGDWLRQ       ,QXQGDWLRQ              ,QDFFHVVLEOH
          0LOWRQ9LUJLQLD
                           DP           IW               8QWLO
          DQG$UQROG
         6KLSRV-HQQLIHU                       IW                8QWLO
          0HPRULDO60&
                            ODWH
         ,QYHVWPHQW                             WRIW           8QWLO
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          /3
          *RRG5HVRXUFHV 
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         $OGUHG9DO                              IW                8QWLO
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          DQG3HJJ\
          6LOYHUPDQ
         3HWHUDQG                             IW               8QWLO
          =KHQQLD
          *RGHMRUG
         $UQVWHLQDQG                         IW               8QWLO
          ,JQD
          &XWWV3DXODQG
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          %H\RJOX-DQD                       IWRQXSWR
                                                                     8QWLO
          DQG*RNKDQ                             IWRQ
        $]DU3KLOOLS                   8SWRIWRQ        8QWLO
           6WDKO7LP                         IW              8QWLO
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35,9,/(*('$1'&21),'(17,$/                                                        ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                            *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                     1RYHPEHU

 7DEOH6ODE(OHYDWLRQVDQG3ODLQWLII7HVWLPRQ\5HJDUGLQJ:DWHU6XUIDFH(OHYDWLRQV

                                                    (OHYDWLRQ     (VWLPDWHRI0D[LPXP
                                                 &HUWLILFDWH6ODE    2EVHUYHG:DWHU
             1XPEHU       3ODLQWLII1DPH          (OHYDWLRQ IW   6XUIDFH(OHYDWLRQ IW
                         0LOWRQ                                      
                         6KLSRV                                      
                         0HPRULDO60& D          WR       WR
                         *RRG5HVRXUFHV                              
                         $OGUHG                                      
                         +ROOLV                                      
                                                            E
                         6LOYHUPDQ                                   
                         *RGHMRUG                                    
                         &XWWV                                       
                        %H\RJOX                                     
                        $]DU                                        
                        6WDKO                                              
                                                                 F
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      D
1RWHV 7KH0HPRULDO60&SURSHUW\FRQVLVWVRIDSSUR[LPDWHO\GLIIHUHQW EXLOGLQJVWUXFWXUHVZKLFK
        KDYHDUDQJHRIVODEHOHYDWLRQVDFFRUGLQJWRWKHLUFRUUHVSRQGLQJ(OHYDWLRQ&HUWLILFDWHV
      E
          (OHYDWLRQ&HUWLILFDWHZDVQRWDYDLODEOHIRU6LOYHUPDQDOWKRXJKWKHSURSHUW\KDGEHHQVXUYH\HG
          ZLWKDVODEHOHYDWLRQRIIWE\6RXWK7H[DV6XUYH\LQJ$VVRFLDWHV,QF
      F
          7KHVODEHOHYDWLRQRIIWIRU:HOOLQJFRUUHVSRQGVWRWKH ORZHVWHOHYDWLRQRIPDFKLQHU\RU
           HTXLSPHQWVHUYLFLQJWKHEXLOGLQJWKHVODEHOHYDWLRQRIWKHILUVWIORRULVIWERWKRIZKLFKDUH
           UHSRUWHG RQWKH(OHYDWLRQ&HUWLILFDWH7KHUHSRUWHGLQXQGDWLRQGHSWKEDVHGRQSODLQWLIIWHVWLPRQ\
           LVZLWKUHVSHFWWRWKH PDFKLQHU\HOHYDWLRQEHORZWKHILUVWIORRUHOHYDWLRQ




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                                     Case 1:17-cv-09002-LAS                                       Document 266-2                          Filed 01/10/23                 Page 1440 of 1584




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         LL    5HVHUYRLUUHOHDVH UDWHVUHSRUWHGE\86*6JDXJHVIURPWKHWZRUHVHUYRLUV ZHUHXVHG
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LQIRUPDWLRQ KLJK ZDWHU PDUNV FROOHFWHG E\ PXOWLSOH DJHQFLHV DQG SXEOLVKHG LQIRUPDWLRQ
DVVRFLDWHGZLWKWKHFXUUHQW)(0$),6 )(0$ 




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35,9,/(*('$1'&21),'(17,$/                                                  ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                       *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                               1RYHPEHU

                                             6(&7,21

                              29(59,(:2)02'(/5(68/76


      +(&+060RGHO5HVXOWV

7KH +(&+06 PRGHO LQLWLDOO\ SUHSDUHG E\ 'U %HGLHQW DV VXPPDUL]HG LQ KLV H[SHUW UHSRUW
 %HGLHQW DORQJZLWKWKHPRGLILFDWLRQVPDGHWRWKLVPRGHOE\*HRV\QWHFDVGHVFULEHGLQ
$SSHQGL[%ZDVXVHGWR GHYHORSWKH'+(&5$6PRGHOLQSXWV7KHIORZK\GURJUDSKVUHSRUWHG
IURPWKH+(&+06PRGHODORQJZLWK WKHIODQNLQJIORZVREWDLQHGIURPWKHHQKDQFHG'+(&
5$6PRGHOZHUHXVHG DVWKHSULPDU\IORZLQSXWVLQWRWKH FRPELQHG' +(&5$6PRGHO$WWKH
XSVWUHDPERXQGDU\RIWKHPRGHOQHDUWKH$GGLFNVDQG%DUNHU5HVHUYRLUVWKHPHDVXUHG86*6
JDXJHIORZV DUHXVHGDVWKHLQLWLDOLQSXW$VIORZVDUHDGGHGGRZQVWUHDPGXHWRHLWKHUVWRUPZDWHU
UXQRIIRUIODQNLQJIORZVIURP$GGLFNV5HVHUYRLUWKHUHVXOWLQJ IORZK\GURJUDSKVDUHXVHGDVLQSXW
WR WKH ' +(&5$6 PRGHO $ GHWDLOHG GHVFULSWLRQ RI WKH +(&+06 PRGHO GHYHORSPHQW DQG
UHVXOWVDUHSUHVHQWHGLQ$SSHQGL[%

      (QKDQFHG'+(&5$60RGHO5HVXOWV

7KHHQKDQFHG'+(&5$6PRGHOZDVGHYHORSHGXVLQJWKH86$&( '+(&5$6PRGHODVWKH
EDVLVIRU PRGHOGHYHORSPHQW$ GHWDLOHG GHVFULSWLRQRIWKHPRGHOHQKDQFHPHQWVDUHSURYLGHGLQ
$SSHQGL[ & 7KH SXUSRVH RI WKH HQKDQFHG ' +(&5$6 PRGHO ZDV WR DVVHVV ZKHQ IODQNLQJ
IORZVZRXOGRFFXULGHQWLI\ ZKHUHWKHIORZVZRXOGEHFRQYH\HGGRZQVWUHDPDQGTXDQWLI\IORZ
UDWHVDVWKH\UHWXUQHGWR%XIIDOR%D\RX

7KH HQKDQFHG ' +(&5$6 PRGHO TXDQWLILHG WKH SRRO OHYHOV IODQNLQJ IORZ UDWHV DQG WKH
ORFDWLRQV RI ZKHUH IODQNLQJ IORZV ZRXOG UHWXUQ WR %XIIDOR %D\RX XQGHU WKH WZR PRGHOLQJ
VFHQDULRV 7DEOH  SUHVHQWV WKH SHDN SRRO OHYHOV DQG IODQNLQJ IORZV DW $GGLFNV DQG %DUNHU
5HVHUYRLUV IRU WKH JDWHV FORVHG VFHQDULR VLPXODWLRQ FRPSDUHG WR REVHUYHG FRQGLWLRQV GXULQJ
+XUULFDQH+DUYH\$OWKRXJKSRROOHYHOVZLWKLQERWK$GGLFNVDQG%DUNHU5HVHUYRLUVZRXOGKDYH
EHHQKLJKHUXQGHUWKHJDWHVFORVHGVFHQDULR%DUNHUSRROOHYHOV ZRXOGVWLOOQRWKDYHH[FHHGHGWKH
QDWXUDOJURXQGDWWKHHQGRIWKHGDPGXULQJ+XUULFDQH+DUYH\WKHUHE\DYRLGLQJIODQNLQJIORZV
7KH VLPXODWHGJDWHVFORVHGVFHQDULRSRROOHYHOVDUH IWDQG IWKLJKHUZLWKLQ$GGLFNVDQG
%DUNHU5HVHUYRLUVUHVSHFWLYHO\ )ODQNLQJIORZVZHUHRQO\SUHGLFWHGIRU$GGLFNV5HVHUYRLUXQGHU
ERWK WKH JDWHV RSHQHG DQG JDWHV FORVHGVFHQDULRVQRIODQNLQJIORZVZHUHSUHGLFWHGIRU %DUNHU
5HVHUYRLUXQGHUHLWKHUVFHQDULRGXULQJ+XUULFDQH+DUYH\7KHWRWDOSHDNIODQNLQJIORZOHDYLQJ
$GGLFNV5HVHUYRLUZDVREWDLQHG IURPWKHHQKDQFHG'+(&5$6PRGHODVFIVIRUWKH JDWHV
FORVHGVFHQDULRFRPSDUHGWRDSSUR[LPDWHO\FIVIRUWKHJDWHVRSHQHGFRQGLWLRQVDVUHSRUWHG
GXULQJWKH.DXIIPDQGHSRVLWLRQ7KHVHIODQNLQJIORZVDUHVSOLWEHWZHHQWKHIRXUUHWXUQORFDWLRQV
DW%XIIDOR%D\RXDQGDUHDOVRDWWHQXDWHGEHWZHHQWKHHQGRI$GGLFNV5HVHUYRLUDQGWKHUHWXUQ
ORFDWLRQV



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35,9,/(*('$1'&21),'(17,$/                                                      ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                           *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                   1RYHPEHU

)LJXUHDQG)LJXUH SUHVHQWWKH REVHUYHGDQGPRGHOHGRXWIORZVDQGSRROOHYHOVDW$GGLFNV
DQG%DUNHU5HVHUYRLUVUHVSHFWLYHO\)LJXUHDQG)LJXUH SUHVHQWWKHPD[LPXPLQXQGDWLRQ
H[WHQWV IURP WKH HQKDQFHG ' +(&5$6 PRGHO UHVXOWV IRU WKH JDWHV RSHQHG DQG JDWHV FORVHG
VFHQDULRVUHVSHFWLYHO\7KHJDWHVFORVHGVFHQDULRVKRZVQRIODQNLQJIORZVRFFXUUHGIRU%DUNHU
5HVHUYRLU )XUWKHUPRUH WKH IODQNLQJ IORZV WKDW RFFXU DW $GGLFNV 5HVHUYRLU DUH VKRZQ WR EH
FRQYH\HG IDUWKHU GRZQVWUHDP EHIRUH WKH\ UHWXUQ WR %XIIDOR %D\RX DQG E\SDVV PDQ\ RI WKH
GRZQVWUHDPWHVWSURSHUWLHV)RUH[DPSOHIODQNLQJIORZVIURP$GGLFNV 5HVHUYRLUUHWXUQWR%XIIDOR
%D\RXYLD7XUNH\&UHHN5XPPHO&UHHN6SULQJ%UDQFKDQG:KLWH2DN%D\RX

7DEOH EHORZSUHVHQWVWKHVXPPDU\RIWKHHQKDQFHG'+(&5$6PRGHOUHVXOWVDGGLWLRQDO
PRGHOUHVXOWVDUHSUHVHQWHGLQ$SSHQGL[&

      &RPELQHG'+(&5$60RGHO5HVXOWV

$FRPELQHG'+(&5$6PRGHOZDVGHYHORSHGXVLQJ'U%HGLHQW¶V'+(&5$6PRGHODQG
WKH+&)&''+(&5$6PRGHO7KHLQIORZK\GURJUDSKVZHUHREWDLQHGIRUWKHWZRVFHQDULRV
IURPWKH+(&+06 PRGHODQGWKHIODQNLQJIORZVIURPWKHHQKDQFHG'+(&5$6PRGHO DV
GHVFULEHGLQ6HFWLRQ 

$IWHULQSXWWLQJWKH+(&+06IORZVIRUWKHJDWHVRSHQHGVFHQDULRWKHUHVXOWLQJ'+(&5$6
SURGXFHGIORZK\GURJUDSKVDUHYHU\ FRQVLVWHQWZLWKWKHUHFRUGHGIORZK\GURJUDSKVDWIRXURIWKH
86*6 JDXJHV DORQJ %XIIDOR %D\RX 86*6  6WDWH +Z\  86*6  1HDU
$GGLFNV86*6:%HOW'U86*63LQH\3RLQW $VZDVREVHUYHGZLWKWKH
+(&+06DQDO\VLVWKHJDWHVFORVHGVFHQDULRLQ+(&5$6 SURGXFHGIORZK\GURJUDSKVWKDWVKRZ
D YHU\ GLVWLQFW UHGXFWLRQ LQ IORZ DIWHU WKH WLPH WKH JDWHV ZRXOG KDYH RSHQHG 7R YLVXDOL]H WKH
FRPSDULVRQRIWKH86*6UHFRUGHGIORZVWKH'+(&5$6 JDWHVRSHQIORZDQGWKH'+(&
5$6 JDWHV FORVHG IORZ D VHULHV RI JUDSKLFDO RYHUOD\V KDYH EHHQ SUHSDUHG DQG LQFOXGHG LQ
$SSHQGL[%

$VXPPDU\RIWKHZDWHUVXUIDFHHOHYDWLRQDQGWKHFRUUHVSRQGLQJIORZUDWHDWHDFKWHVWSURSHUW\LV
SUHVHQWHGLQ 7DEOH IRUWKHWZRVFHQDULRV$ORQJZLWKWKHSHDNZDWHUVXUIDFHHOHYDWLRQWKHVODE
HOHYDWLRQRIHDFKWHVWSURSHUW\LVLQGLFDWHG,QDGGLWLRQWRWKHSHDNZDWHUVXUIDFHHOHYDWLRQWKH
UHVXOWVRIWKH'+(&5$6PRGHOZHUH XVHGWRHYDOXDWHDQGTXDQWLI\WKHWLPHWKHWHVWSURSHUW\
ZDVOLNHO\LQXQGDWHG)LJXUH DQGWKHDVVRFLDWHGVXEILJXUHVSUHVHQWWKHZDWHUVXUIDFHHOHYDWLRQ
K\GURJUDSKVQHDUHDFKRIWKHGRZQVWUHDPWHVWSURSHUWLHVIRUERWKVFHQDULRV

      $QDO\VLVRI2EVHUYHGDQG5HSRUWHG&RQGLWLRQV 5HVXOWV

7KHFRPELQHG'+(&5$6K\GUDXOLFPRGHOUHVXOWVSUHVHQWHGLQ7DEOH WRJHWKHUZLWKWKH
GHSRVLWLRQWHVWLPRQ\IRUHDFKRIWKHGRZQVWUHDPWHVWSURSHUW\SODLQWLIIVSUHVHQWHGLQ7DEOH
ZHUH XVHG WR DSSUR[LPDWH WKH LQXQGDWLRQ GHSWK DW HDFK SURSHUW\ EDVHG RQ WKH EXLOGLQJ VODE
HOHYDWLRQVDVSUHVHQWHGLQ 7DEOH)XUWKHUPRUH7DEOH  SUHVHQWVWKHGHSRVLWLRQWHVWLPRQ\
IRUWKHUHSRUWHGGXUDWLRQRILQXQGDWLRQDWHDFKRIWKHGRZQVWUHDPWHVWSURSHUWLHVWRJHWKHUZLWK


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35,9,/(*('$1'&21),'(17,$/                                            ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                 *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                         1RYHPEHU

WKHPRGHOHGGXUDWLRQRILQXQGDWLRQEDVHGRQWKHGXUDWLRQWKHJDWHVRSHQHGVFHQDULR:6(LVKLJKHU
WKDQWKHSHDNJDWHV FORVHGVFHQDULR:6( 7KHVH WDEOHVWRJHWKHUZLWKWKH:6(K\GURJUDSKVLQ
)LJXUH DVZHOODVSODLQWLIIWHVWLPRQ\IRUPWKHEDVLVRIRSLQLRQV




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   Case 1:17-cv-09002-LAS              Document 266-2          Filed 01/10/23         Page 1448 of 1584
35,9,/(*('$1'&21),'(17,$/                                                      ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                          *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                   1RYHPEHU

               7DEOH6XPPDU\RI*DWHV&ORVHG(QKDQFHG'+(&5$60RGHO

                                              0RGHOHG*DWHV            *DWHV2SHQHG
                                              &ORVHG6FHQDULR         2EVHUYHG&RQGLWLRQV
                 $GGLFNV3HDN3RRO
                                                                         
                      /HYHO IW
               %DUNHU3HDN3RRO/HYHO
                                                                         
                          IW
                 $GGLFNV 3HDN*DWH
                                                                               D
                    2XWIORZ FIV
                  %DUNHU3HDN*DWH
                                                                               D
                    2XWIORZ FIV
               $GGLFNV3HDN)ODQNLQJ
                                                                          aE
                     )ORZ FIV
                %DUNHU3HDN)ODQNLQJ
                                                                                 
                     )ORZ FIV
               $GGLFNV7LPLQJRI3HDN          DPRQ          DPRQ$XJXVW
                 )ODQNLQJ)ORZ FIV             $XJXVW                   
1RWHV D 7KH FDOFXODWHG JDWH RXWIORZ UDWHV DUH EDVHG RQ WDLOZDWHU FRQGLWLRQV UHSRUWHG LQ WKH 86$&(
         ³PRUQLQJ UHSRUW´ VSUHDGVKHHW DFWXDO JDWH RXWIORZ UDWHV PD\ KDYH EHHQ KLJKHU DFFRUGLQJ WR
         86*6JDXJHPHDVXUHPHQWV
        E
            7KH UHSRUWHGIODQNLQJIORZUDWH LV EDVHGRQ.DXIIPDQGHSRVLWLRQ




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35,9,/(*('$1'&21),'(17,$/                                     ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                          *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                  1RYHPEHU

     7DEOH6XPPDU\RI(QKDQFHG'+(&5$60RGHO)ODQNLQJ)ORZ5HVXOWV

                        3HDN5HWXUQ)ODQNLQJ)ORZ   3HDN5HWXUQ)ODQNLQJ)ORZ
                        IRU*DWHV2SHQHG6FHQDULR    IRU*DWHV&ORVHG6FHQDULR
     ,QIORZ/RFDWLRQ               FIV                           FIV
      7XUNH\&UHHN                                           
      5XPPHO&UHHN                                             
      6SULQJ%UDQFK                                          
     :KLWH2DN%D\RX                                         




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   Case 1:17-cv-09002-LAS              Document 266-2           Filed 01/10/23         Page 1450 of 1584
35,9,/(*('$1'&21),'(17,$/                                                       ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                           *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                    1RYHPEHU

      7DEOH6XPPDU\RI&RPELQHG'+(&5$60RGHO5HVXOWV± 7HVW3URSHUWLHV

                                                        0RGHOHG      0RGHOHG
                6ODE    0RGHOHG *DWHV 0RGHOHG*DWHV *DWHV2SHQ *DWHV&ORVHG
              (OHYDWLRQ 2SHQHG 3HDN    &ORVHG 3HDN  3HDN)ORZ   3HDN)ORZ
   /RFDWLRQ       IW       :6( IW        :6( IW          FIV          FIV
  0LOWRQ                                       
  6KLSRV                                        
 0HPRULDO WR
                                                        
    60&D        
   *RRG
                                                  
  5HVRXUFHVD
  $OGUHG                                      
   +ROOLV                                      
 6LOYHUPDQ                                     
 *RGHMRUG                                     
    &XWWV                                      
 %H\RJOX                                     
   $]DU                                      
   6WDKO                                     
 :HOOLQJ                                     
1RWHV D 0HPRULDO60&DQG*RRG5HVRXUFHVDUHORFDWHGDORQJ/DQJKDP&UHHNGRZQVWUHDPIURP
         WKH$GGLFNV5HVHUYRLURXWOHWVWUXFWXUHZKLFKLVDWULEXWDU\WR%XIIDOR%D\RX7KH'+(&5$6
         PRGHO UHSUHVHQWV %XIIDOR %D\RX DQG GRHV QRW LQFOXGH D /DQJKDP &UHHN UHDFK 7KHUHIRUH WKH
         PRGHOHGSHDN:6(DQGIORZVDUHEDVHGRQ%XIIDOR%D\RXFRQGLWLRQV




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35,9,/(*('$1'&21),'(17,$/                                   ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                        *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                1RYHPEHU

         7DEOH6XPPDU\ RI'RZQVWUHDP7HVW3URSHUW\,QXQGDWLRQ 'HSWKV

                                                                         'LIIHUHQFH
                            (VWLPDWHRI   0RGHOHG    0RGHOHG           %HWZHHQ
                            0D[LPXP        *DWHV      *DWHV          *DWHV2SHQHG
                   6ODE     2EVHUYHG 2SHQHG3HDN &ORVHG3HDN          DQG*DWHV
 'RZQVWUHDP     (OHYDWLRQ ,QXQGDWLRQ   ,QXQGDWLRQ ,QXQGDWLRQ       &ORVHG:6(
 7HVW3URSHUW\       IW          IW           IW          IW                  IW
   0LOWRQ                                               
   6KLSRV                                               
   0HPRULDO    WR
                            WR                             
     60&           
    *RRG
                                                             
   5HVRXUFHV
   $OGUHG                                                 
   +ROOLV                                                 
 6LOYHUPDQ                                                
  *RGHMRUG                                                
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   Case 1:17-cv-09002-LAS               Document 266-2          Filed 01/10/23       Page 1452 of 1584
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      'RZQVWUHDP7HVW              ,QXQGDWLRQ          &ORVHG3HDN   7KDQ *DWHV&ORVHG
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      0HPRULDO60&                                                 
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  Case 1:17-cv-09002-LAS     Document 266-2      Filed 01/10/23      Page 1453 of 1584
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                      Case 1:17-cv-09002-LAS                   Document 266-2               Filed 01/10/23           Page 1457 of 1584




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                      Case 1:17-cv-09002-LAS              Document 266-2               Filed 01/10/23           Page 1460 of 1584




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PRGHOHG JDWHV RSHQHG IORZ K\GURJUDSK DW WKLV ORFDWLRQ PDWFKHV WKH UHFRUGHG JDXJH IORZ
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        86$&( DVVHVVPHQW« ³This release was observed to be limited to low velocity sheet
        flows.”
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       QDWXUDOIODQNLQJUHOHDVHDWWKHQRUWKHQGRIWKH$GGLFNV5HVHUYRLUWKHUHZDVOLWWOHLPSDFW
       RQLPSRXQGHGIORRGZDWHUHOHYDWLRQZKHQWKHJDWHVZHUHRSHQHG
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DQGWKHLUWULEXWDULHVIRUGRPHVWLFPXQLFLSDOIORRGFRQWUROLUULJDWLRQDQGRWKHUXVHIXOSXUSRVHV
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DQGWRDLGLQWKHSURWHFWLRQRIQDYLJDWLRQRQWKHQDYLJDEOHZDWHUVE\UHJXODWLQJWKHIORRGDQGVWRUP
ZDWHUVWKDWIORZLQWRVDLGQDYLJDEOHVWUHDPV´(FEMA FIS, Jan 6, 2017) The Flood Insurance Study
(FIS) for Harris County, TX and Incorporate Areas dated January 6, 2017.

7KH),6VWDWHVWKDW³VLQFHWKDWWLPH LH WKHUHKDYHEHHQPDQ\VLJQLILFDQWSURMHFWVWRUHGXFH
IORRGGDPDJHLQ+DUULV&RXQW\0DQ\RIWKHVHSURMHFWVDUHWKHUHVXOWVRISDUWQHUVKLSVEHWZHHQWKH
+&)&' DQG WKH 86 $UP\ &RUSV RI (QJLQHHUV 86$&(  )HGHUDO (PHUJHQF\ 0DQDJHPHQW
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UDQJH RI DOWHUQDWLYH IORRG PLWLJDWLRQ SUDFWLFHV DQG IORRG SURWHFWLRQ PHDVXUHV WR DGGUHVV ODQG
GHYHORSPHQWSUHVVXUH

5HDVRQDEOHDOWHUQDWLYHVWRWKHGDPVZKLFKZRXOGKDYHEHHQUHTXLUHGWRPDLQWDLQDOHYHORIODQG
GHYHORSPHQWDORQJ%XIIDOR%D\RXDUHH[SHFWHGWRLQFOXGH

      x   FKDQQHOPRGLILFDWLRQVVXFKDVZLGHQLQJVWUDLJKWHQLQJDQGRUOLQLQJ WKHED\RXVWRLPSURYH
          GRZQVWUHDPFRQYH\DQFH




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    x   DGGLWLRQDO OHYHHV DURXQG SURSHUW\ WR SURWHFW DJDLQVW H[WUHPH IORRG HYHQWV ZLWKLQ WKH
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    x   LPSURYHG EULGJH VWDQGDUGV LQ WHUPV RI EULGJH HOHYDWLRQ GHVLJQ IORZV DQG VWUXFWXUDO
        VXSSRUW
    x   WKH XVH RI GHWHQWLRQ DQGRU UHWHQWLRQ SRQGV WR GHFUHDVH SHDN IORZ UDWHV DQGRU UXQRII
        YROXPHV
    x   UHVLGHQWLDO GHYHORSPHQW FKDQJHV LQ GRZQVWUHDP SURSHUWLHV ZLWK UHVSHFW WR GHQVLW\
        LPSHUYLRXVFRYHUDQGSUR[LPLW\WRED\RXV
    x   DGGLWLRQDOGLYHUVLRQFKDQQHOVORFDOFRQYH\DQFHV\VWHPVDQGE\SDVVFKDQQHOVWRDOORZIRU
        PXOWLSOHIORZSDWKV ZLWKLQWKHEXLOWHQYLURQPHQW
    x   VWRUPZDWHU UXQRII DQG GUDLQDJH SODQV IRU DQ LQWHJUDWHG DSSURDFK WR WKH LPSURYHG
        PDQDJHPHQWDQGFRQWURORIUXQRII
    x   UHJXODWRU\ODQGGHYHORSPHQWFRGHFKDQJHVUHODWHGWREXLOGLQJORFDWLRQPLQLPXPHOHYDWLRQ
        RIVWUXFWXUHVRUKRPHVDERYHWKHEDVHIORRGHOHYDWLRQDQGORFDOGUDLQDJHFRQWUROVDQG
    x   UHYLVHGUHJXODWRU\)ORRG,QVXUDQFH6WXGLHV SUHSDUHGE\)(0$WRPDSDQGGHOLQHDWHIORRG
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IORRGSURWHFWLRQPHDVXUHVZLWKLQWKHDUHDRILQWHUHVWRIWKLV5HSRUWLVWKHIORRGLQJDORQJ%XIIDOR
%D\RX7KHSXUSRVHRIHDFKSUDFWLFHRUPHDVXUHLVWRUHGXFHWKHULVNRIGDPDJHRUORVVRIOLIHDV
ZDV FHQWUDO WR WKH RULJLQDO IRUPDWLRQ RI WKH +&)&' 7KLV LGHD ZDV UHLQIRUFHG ZKHQ &RQJUHVV
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UHOLHI FRVW E\ JXLGLQJ IXWXUH GHYHORSPHQW DZD\ IURP IORRG KD]DUG DUHDV ZKHUH SUDFWLFDEOH
UHTXLULQJ IORRG UHVLVWDQW GHVLJQ DQG FRQVWUXFWLRQ DQG WUDQVIHUULQJ FRVWV RI ORVVHV WR IORRGSODLQ
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HOHPHQWRIWKH1),3LVWKHDGRSWLRQRIRUGLQDQFHDQGGHYHORSPHQWFRGHVDWWKHORFDOOHYHOWKDW
SURWHFWVWUXFWXUHV2QHVXFKH[DPSOHLVWKH&LW\RI+RXVWRQ¶VUHTXLUHPHQWWRFRQVWUXFWEXLOGLQJV
ZLWKDILQLVKIORRUDWOHDVWWZR IHHWKLJKHUWKDQWKH\HDUIORRGSODLQ 7KLVUHLQIRUFHVWKDWLIWKH
WZR GDPV ZHUH QRW FRQVWUXFWHG LQ WKH V DOWHUQDWLYH IORRG PLWLJDWLRQ SUDFWLFHV DQG IORRG
SURWHFWLRQPHDVXUHVZRXOGKDYHEHHQHYDOXDWHGZKLFKZRXOGKDYHLQFOXGHGWKHHVWDEOLVKPHQWRI
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DQG IORRG SURWHFWLRQ V\VWHPV LQ WKH +RXVWRQ DUHD H[SUHVV DJUHHPHQW WKDW DOWHUQDWLYH PHDVXUHV
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SHUIRUPHGWRHYDOXDWHWKHEHVWIORRGFRQWUROSURMHFWV 0U/LQGQHUVWDWHGWKDWLI$GGLFNVDQG%DUNHU
5HVHUYRLUV KDG QRW EHHQ FRQVWUXFWHG WKH DUHD DORQJ %XIIDOR %D\RX ZRXOG EH XQLQKDELWDEOH
DVVXPLQJLIQRRWKHUPHDVXUHVZHUHLPSOHPHQWHG)URPWKHGHSRVLWLRQ0U /LQGQHUFRQFXUUHG
WKDWUHDVRQDEOHIORRGULVNPDQDJHPHQWDOWHUQDWLYHVLQFOXGH

      x   FRQFUHWHOLQLQJRIWKHED\RX
      x   ZLGHQLQJGHHSHQLQJUHPRYLQJREVWDFOHVDQGVWUDLJKWHQLQJRIWKHED\RXV
      x   OHYHHV
      x   GLYHUVLRQFKDQQHOV
      x   VWRUPGUDLQVDQGSLSHVFRQVWUXFWHGE\PXQLFLSDOLWLHV
      x   ORFDOFRGHVIRUGHYHORSHUVWREXLOGIORRGFRQWUROV\VWHPV
      x   ]RQLQJ WR HQVXUH WKDW IXWXUH GHYHORSPHQW LV FRQVWUXFWHG DW DQ HOHYDWLRQ WKDW ZRXOG
          SRWHQWLDOO\ UHPRYH VWUXFWXUHV IURP YDULRXV IORRGSODLQV DV DQ DOWHUQDWLYH IRU IORRG ULVN
          PDQDJHPHQWDQG
      x   QRWGHYHORSLQJODQGLQDUHDVWKDWDUHSURQHWRLQXQGDWLRQLVDQDOWHUQDWLYHIRUIORRGULVN
          PDQDJHPHQW

:H DJUHH ZLWK -DPLOD -RKQVRQ IORRG FRQWURO PDQDJHU &LW\ RI +RXVWRQ  ZKR VWDWHG LQ WKH
GHSRVLWLRQ WHVWLPRQ\ WKDW LI QR GDPV ZHUH FRQVWUXFWHG WKH IORRGSODLQ ZRXOG EH GLIIHUHQW 6KH
LQGLFDWHGWKDWWKH&LW\RI+RXVWRQZRXOGVWLOOUHTXLUHEXLOGLQJVWREHEXLOWWZR IHHWKLJKHUWKDQWKH
\HDUIORRGSODLQ:KHQFRPSDUHGWRFXUUHQWIORRGSURWHFWLRQHOHYDWLRQV0V-RKQVRQLQGLFDWHG
WKDWKLJKHUIORRGSURWHFWLRQHOHYDWLRQVZRXOGEHUHTXLUHGLIQRGDPZDVFRQVWUXFWHGRUHOVHWKHUH
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KLV RSLQLRQ WKDW WKH GDPDJH ZDV QRW FDXVHG E\ WKH &LW\¶V VWRUP GUDLQ V\VWHP %DVHG RQ KLV
H[SHULHQFH UDLQZDWHU W\SLFDOO\ GUDLQV LQ +RXVWRQ ZLWKLQ RQH GD\ $IWHU +DUYH\ KLV FUHZV
LQVSHFWHGWKHV\VWHPDQGIRXQGWKHGUDLQDJHV\VWHPZDVLQJRRGZRUNLQJRUGHUDQGWKXVLWLVKLV
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ULVN LQIRUPDWLRQ 5HVLGHQWV FDQ UHDGLO\ UHVHDUFK DQG XQGHUVWDQG WKHLU IORRG ULVN ZLWK RQOLQH
PDSSLQJWRROVDQGREWDLQLQJUHDGLO\DYDLODEOHLQIRUPDWLRQVXFKDVWKH),6 :DWHU6XUIDFH3URILOHV
DQG )(0$ )ORRG ,QVXUDQFH 5DWH 0DS ),50  7KHVH FROOHFWLYHO\ SURYLGH LQIRUPDWLRQ WR
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QR ORQJHU D GDQJHU :KHQ VLJQLILFDQW UXQRII SURGXFLQJ VWRUPV RFFXU WKH JDWHV DUH FORVHG DQG
UHPDLQ FORVHG XQWLO WKH SHDN DW 3LQH\ 3RLQW SDVVHV DQG WKH GLVFKDUJH GURSV EHORZ  FIV
5HVHUYRLUUHOHDVHVZLOOQRWEHPDGH DQ\WLPHWKHFIVOLPLWLVH[FHHGHG FRQVLGHUHGDQRQ
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          LPSOHPHQWHG LQ SODFH RI WKH UHVHUYRLUV LI WKH\ ZHUH QRW FRQVWUXFWHG 7KH DOWHUQDWLYH
          PHDVXUHVZRXOGKDYHLQFOXGHGVWUXFWXUDOSUDFWLFHVDQGSROLFLHVRURUGLQDQFHVWROLPLWZKHUH
          GHYHORSPHQWRFFXUUHGDQGKRZVWUXFWXUHVDUHFRQVWUXFWHG
      x   $OWHUQDWLYHVWUXFWXUDOPHDVXUHVDQGSUDFWLFHVZRXOGKDYHOLNHO\LQFOXGHG
              o LPSURYHPHQW RI FKDQQHO FRQYH\DQFH E\ OLQLQJ WKH ED\RXV ZLWK FRQFUHWH RU
                DUPRULQJ
              o LPSURYHPHQWRIFKDQQHOFRQYH\DQFHE\PDNLQJWKHED\RXFKDQQHOZLGHUGHHSHU
                VWUDLJKWHURUE\UHPRYLQJREVWUXFWLRQV
              o FRQVWUXFWLRQRIOHYHHVWROLPLWLQXQGDWLRQ
              o FRQVWUXFWLRQRIGLYHUVLRQFKDQQHOV
              o H[SDQVLRQ RI FXOYHUWV WUXQN VWRUP VHZHUV GUDLQV DQG ORFDO VWRUPZDWHU
                PDQDJHPHQWV\VWHPVDQG




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            EDVLQV DV SDUW RI SULYDWH ODQG GHYHORSPHQW WR RIIVHW SRWHQWLDO LQFUHDVHV WR IORRG
            IORZV
   x   $OWHUQDWLYHSROLFLHVDQGRUGLQDQFHVWKDWZRXOGKDYHEHHQLPSOHPHQWHGDUHOLNHO\WRKDYH
       LQFOXGHG
          o ORFDO FRGHV WR UHTXLUH GHYHORSHUV WR FRQVWUXFW VWRUPZDWHU PDQDJHPHQW V\VWHPV
            VXFKDVGHWHQWLRQEDVLQVWRFRQWUROUXQRIIIURPGHYHORSPHQW
          o ORFDOFRGHVWRUHTXLUHGHYHORSHUVWRHYDOXDWHIORRGULVNDQGFRQVWUXFWDSSURSULDWH
            IORRGFRQWURORUPDQDJHPHQWV\VWHPVWRSURWHFWWKHLUSURSRVHGGHYHORSPHQWV
          o ORFDOFRGHVWRSURWHFWVWUXFWXUHVIURPGDPDJHVXFKDVUDLVLQJWKHEXLOGLQJRUFULWLFDO
            IDFLOLWLHVWZRIHHWDERYHWKH\HDUIORRGSODLQRUUHTXLULQJWKHXVHRIIORRGSURRI
            PDWHULDODQG
          o ORFDO FRGHV WR UHVWULFW GHYHORSPHQW LQ WKH IORRGSODLQ DQG UHTXLUH PLWLJDWLRQ
            PHDVXUHVLIWKHIORRGSODLQLVLPSDFWHGE\GHYHORSPHQW$QH[DPSOHLQFOXGHVWKH
            UHTXLUHPHQW WKDW SURSRVHG ILOO LQ WKH IORRGSODLQ PXVW EH RIIVHW E\ DSSURSULDWH
            FRPSHQVDWLQJYROXPH




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    Barker Reservoirs along Buffalo Bayou3KLOLS%%HGLHQW 3%%$ 1RYHPEHU

%H\RJOX-& D 2UDO'HSRVLWLRQRI-DQD&DQDQ%H\RJOX 6HSWHPEHU 6XE0DVWHU
   'RFNHW1R&9/

%H\RJOX0* E 2UDO'HSRVLWLRQRI0DKPXW*RNKDQ%H\RJOX6HSWHPEHU 6XE
   0DVWHU'RFNHW1R&9/

%ULWWRQ-  2UDO'HSRVLWLRQ-RKQ%ULWWRQ %  0HPRULDO60&,QYHVWPHQW/3
     -XO\6XE0DVWHU'RFNHW1R&9/

&ROHV%  2UDO E  'HSRVLWLRQRI%UD[WRQ5&ROHV 2FWREHU6XE0DVWHU
    'RFNHW1RPF

&XWWV' D 2UDO'HSRVLWLRQRI'DQD&XWWV -XQH6XE0DVWHU'RFNHW1R&9
    /

&XWWV3 E 2UDO'HSRVLWLRQRI3DXO&XWWV -XQH6XE0DVWHU'RFNHW1R&9
    /

)(0$  Flood Insurance Study, Harris County, Texas and Incorporated Areas QXPEHU
   &9()HGHUDO(PHUJHQF\0DQDJHPHQW$JHQF\UHYLVHG-DQXDU\

*RGHMRUG $ D  2UDO 'HSRVLWLRQ RI $UQVWHLQ *RGHMRUG  6HSWHPEHU  6XE0DVWHU
   'RFNHW1R&9/

*RGHMRUG, E 2UDO'HSRVLWLRQRI,QJD*RGHMRUG 6HSWHPEHU 6XE0DVWHU'RFNHW
   1R&9/

*RRG-(  2UDO'HSRVLWLRQ0U-HUHP\(*RRG -XO\ 6XE0DVWHU'RFNHW1R
   &9/




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   Case 1:17-cv-09002-LAS           Document 266-2        Filed 01/10/23       Page 1485 of 1584
35,9,/(*('$1'&21),'(17,$/                                               ,QLWLDO([SHUW2SLQLRQ5HSRUW
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$1':25.352'8&7'2&75,1(                                                            1RYHPEHU

+&)&' D  0RGHO DQG 0DS 0DQDJHPHQW 0  6\VWHP DYDLODEOH RQOLQH
   KWWSVZZZKFIFGRUJLQWHUDFWLYHPDSSLQJWRROVPRGHODQGPDSPDQDJHPHQWPV\VWHP
   DFFHVVHG6HSWHPEHU+DUULV&RXQW\)ORRG&RQWURO'LVWULFW

+&)&' E  +DUULV &RXQW\ )ORRG :DUQLQJ 6\VWHP KWWSVZZZKDUULVFRXQW\IZVRUJ
   DFFHVVHG6HSWHPEHU+DUULV&RXQW\)ORRG&RQWURO'LVWULFW

+ROOLV3 D 2UDO'HSRVLWLRQRI3HJJ\+ROOLV -XO\6XE0DVWHU'RFNHW1R
    &9/

+ROOLV: E 2UDO'HSRVLWLRQRI:D\QH+ROOLV -XO\6XE0DVWHU'RFNHW1R
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-RKQVRQ-  2UDO E  'HSRVLWLRQRI-DPLOD&-RKQVRQ2FWREHU6XE0DVWHU
    'RFNHW1RPF

.DXIIPDQ 0  2UDO 9LGHRWDSHG 'HSRVLWLRQ RI 0LFKDHO .DXIIPDQ  6HSWHPEHU 
    6XE0DVWHU'RFNHW1R&9/

/LQGHEXUJ'   2UDO'HSRVLWLRQRI'XWFK&KULVWRSKHU/LQGHEXUJ9ROXPH6HSWHPEHU
    6XE0DVWHU'RFNHW1R&9/

/LQGQHU -   2UDO 9LGHRWDSHG 'HSRVLWLRQ -HII /LQGQHU  6HSWHPEHU  6XE0DVWHU
    'RFNHW1R/

0LOWRQ$ D 2UDO'HSRVLWLRQRI$UQROG0LOWRQ-XO\6XE0DVWHU'RFNHW1R
    &9/

0LOWRQ9 E 2UDO'HSRVLWLRQRI9LUJLQLD 0LOWRQ-XO\6XE0DVWHU'RFNHW1R
    &9/

6KLSRV-  2UDO'HSRVLWLRQRI-HQQLIHU6KLSRV 6HSWHPEHU 6XE0DVWHU'RFNHW1R
    &9/

6LOYHUPDQ= D 2UDO'HSRVLWLRQRI=KHQQLD6LOYHUPDQ -XO\6XE0DVWHU'RFNHW
     1R&9/

6LOYHUPDQ3 E 2UDO'HSRVLWLRQRI3HWHU6LOYHUPDQ -XO\6XE0DVWHU'RFNHW1R
     &9/

6WDKO7  2UDO'HSRVLWLRQRI7LPRWK\6WDKO 6HSWHPEHU 6XE0DVWHU'RFNHW1R
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68%-(&7727+($77251(<&/,(1735,9,/(*(                                 *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                         1RYHPEHU

7KRPDV5  2UDO9LGHRWDSHG'HSRVLWLRQ-XO\$XJXVWDQG6HSWHPEHU
    6XE0DVWHU'RFNHG1R/

715,6   +DUULV&RXQW\,PDJHU\DQG*,6GDWDKWWSVWQULVRUJGDWDGRZQORDGVWDWHZLGH
   DFFHVVHG$XJXVW7H[DV1DWXUDO5HVRXUFHV,QIRUPDWLRQ6\VWHP

86$&(   Buffalo Bayou, Texas Reservoir Regulation Manual for Addicks and Barker
   Reservoirs, Initial and Emergency Instructions to Dam Tender*DOYHVWRQ7H[DV$SULO

86$&(  Draft Operational Assessment of the Addicks and Barker Reservoirs, Fort Bend
   and Harris Counties, TX *DOYHVWRQ 'LVWULFW VSRQVRUHG E\ +DUULV &RXQW\ )ORRG &RQWURO
   'LVWULFW2FWREHU

86$&(  Addicks and Barker Reservoirs Buffalo Bayou and Tributaries, San Jacinto River
   Basin, TX Water Control Manual*DOYHVWRQ7H[DV1RYHPEHU

86$&(  Emergency Action Plan, Addicks Reservoir NID #TX00018 and Barker Reservoir
   NID #TX00019, Buffalo Bayou and Tributaries*DOYHVWRQ7H[DV0D\

86$&(  +XUULFDQH+DUYH\)ORRG,QXQGDWLRQ0DSSLQJ$IWHU $FWLRQ5HSRUW )RUW:RUWK
   'LVWULFW0DUFK

86*6   1DWLRQDO :DWHU ,QIRUPDWLRQ 6\VWHP 86*6 :DWHU 'DWD IRU WKH 1DWLRQ
   KWWSZDWHUGDWDXVJVJRYQZLV DFFHVVHG-XQH8QLWHG6WDWHV*HRORJLFDO6XUYH\

:HOOLQJ 6   2UDO 'HSRVLWLRQ RI 0U 6KDZQ 6 :HOOLQJ  $XJXVW  6XE0DVWHU
    'RFNHW1R&9/




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               x /LVWRI&DVHVLQ:KLFKKH7HVWLILHGLQ7UDLORU
                 'HSRVLWLRQIRUWKH3UHYLRXV<HDUV
               x )HH6FKHGXOH




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  Case 1:17-cv-09002-LAS     Document 266-2     Filed 01/10/23   Page 1488 of 1584




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68%-(&7727+($77251(<&/,(1735,9,/(*(
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                                   ,QFOXGLQJ
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               x /LVWRI3XEOLFDWLRQV$XWKRUHGLQWKH3UHYLRXV<HDUV
               x /LVWRI&DVHVLQ:KLFKKH7HVWLILHGLQ7UDLORU
                 'HSRVLWLRQIRUWKH3UHYLRXV<HDUV
               x )HH 6FKHGXOH




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Case 1:17-cv-09002-LAS    Document 266-2   Filed 01/10/23   Page 1489 of 1584




35,9,/(*('$1'&21),'(17,$/
68%-(&7727+($77251(<&/,(1735,9,/(*(
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         +(&+06DQG'+(&5$60RGHO$QDO\VHV




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Case 1:17-cv-09002-LAS   Document 266-2      Filed 01/10/23   Page 1490 of 1584




  35,9,/(*('$1'&21),'(17,$/
  68%-(&7727+($77251(<&/,(1735,9,/(*(
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               (QKDQFHG'+(&5$60RGHO$QDO\VLV




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Case 1:17-cv-09002-LAS   Document 266-2     Filed 01/10/23   Page 1491 of 1584




      35,9,/(*('$1'&21),'(17,$/
      68%-(&7727+($77251(<&/,(1735,9,/(*(
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                                      $SSHQGL['
                            ,QIORZ7LPH6HULHV$QDO\VLV




                                                                                 A1935
   Case 1:17-cv-09002-LAS    Document 266-2   Filed 01/10/23   Page 1492 of 1584




35,9,/(*('$1'&21),'(17,$/
68%-(&7727+($77251(<&/,(1735,9,/(*(
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                               $WWDFKPHQW
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                            VRXUFH)(0$ 




                                                                                   A1936
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
IN RE DOWNSTREAM ADDICKS AND §
BARKER (TEXAS)  FLOOD-CONTROL §
RESERVOIRS                    §                        Sub-Master Docket No. 17-cv-9002L
                                                  §
                                                  §
TIITS DOCUMENT RELATES TO:                             Judge Loren A. mith
                                                  §'
                                                  §
ALL TEST PROPERTIES
                                                  §
                                                  §




                   AFFIDAVIT OF ROBERT BACHUS, PU)., P .E.

 1. "My name is Robert Bachus. I am over the age of eighteen, of sound mind, and capable
    to make this affidavit. The facts stated in this affidavit are true and correct and within my
    personal knowledge.

 2. Attached and incorporated by reference to this Affidavit is a true and correct copy of my
    report of November 13, 2018, which contains a fair and accurate summary of the opinions
    I have rendered in this matter, the bases for those opinions, and a fair and accurate summary
    of my background, education, training, and experience.

    FURTHER AFFIANT SAYETH NOT."


                                                   ROBERT BACHUS

    SWORN TO AND SUBSCRIBED before me this -11:.___ day of June, 2019.



                                                  1). ~ ~CU°'-                 1   6e6Ycjla
                                                  NOTARY PUBLIC, STATE OF




                                                                                                    A1937
    Case 1:17-cv-09002-LAS              Document 266-2          Filed 01/10/23         Page 1494 of 1584




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                          ,Q5H'RZQVWUHDP$GGLFNVDQG%DUNHU 7H[DV 
                                             )ORRG&RQWURO5HVHUYRLUV
                                                                                               Prepared for:
                                     'RZQVWUHDP/LWLJDWLRQ/HDGHUVKLS7HDP
                                                                                               On Behalf of:
                                                                                0F*HKHH&KDQJ/DQGJUDI
                                                                           5LFKPRQG$YH6XLWH
                                                                                       +RXVWRQ7;

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  Case 1:17-cv-09002-LAS                         Document 266-2                   Filed 01/10/23               Page 1495 of 1584
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                IURPWKH$GGLFNVDQG%DUNHU5HVHUYRLUV3XUVXDQWWRLWV:DWHU&RQWURO
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  Case 1:17-cv-09002-LAS                     Document 266-2                 Filed 01/10/23             Page 1496 of 1584
35,9,/(*('$1'&21),'(17,$/                                                                         ,QLWLDO([SHUW2SLQLRQ5HSRUW
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           $QDO\VLVRI2EVHUYHGDQG5HSRUWHG&RQGLWLRQV0HWKRGRORJ\
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6(&7,21,QLWLDO2SLQLRQRQ$GGLFNVDQG%DUNHU6SLOOZD\DQG2XWOHW:RUNV
6(&7,213UHOLPLQDU\2SLQLRQV5HJDUGLQJ'HIHQVHVWKDW0D\EH5DLVHG
      ,QWURGXFWLRQ
           )ORRG3URWHFWLRQ0HDVXUHV
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  Case 1:17-cv-09002-LAS                       Document 266-2                  Filed 01/10/23              Page 1497 of 1584
35,9,/(*('$1'&21),'(17,$/                                                                            ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                                                 *HRV\QWHF&RQVXOWDQWV,QF
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  Case 1:17-cv-09002-LAS                      Document 266-2                Filed 01/10/23             Page 1498 of 1584
35,9,/(*('$1'&21),'(17,$/                                                                        ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                                             *HRV\QWHF&RQVXOWDQWV,QF
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)LJXUH([KLELW$WR7KRPDV'HSR 86$&( 
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            &ORVHG6FHQDULR
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7DEOH6XPPDU\RI*DWHV&ORVHG(QKDQFHG'+(&5$60RGHO
7DEOH6XPPDU\RI(QKDQFHG'+(&5$60RGHO)ODQNLQJ)ORZ5HVXOWV
7DEOH6XPPDU\RI&RPELQHG'+(&5$60RGHO5HVXOWV± 7HVW3URSHUWLHV
7DEOH6XPPDU\RI'RZQVWUHDP7HVW3URSHUW\,QXQGDWLRQ'HSWKV
7DEOH6XPPDU\RI'RZQVWUHDP7HVW3URSHUW\,QXQGDWLRQ'XUDWLRQV

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$SSHQGL[' ,QIORZ7LPH6HULHV$QDO\VLV


$WWDFKPHQW)(0$)ORRG,QVXUDQFH6WXG\)ORRG3URILOHVDQG7DEOH VRXUFH)(0$ 




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 Case 1:17-cv-09002-LAS      Document 266-2       Filed 01/10/23      Page 1499 of 1584
35,9,/(*('$1'&21),'(17,$/                                        ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                             *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                     1RYHPEHU

                               /,672)$&521<06

'        RQHGLPHQVLRQDO
'        WZRGLPHQVLRQDO
DFIW     DFUHIHHW
DVO       DERYHVHDOHYHO
&&5       FRDOFRPEXVWLRQUHVLGXDO
&)0       &HUWLILHG)ORRGSODLQ0DQDJHU
FIV       FXELFIHHWSHUVHFRQG
'(0       GLJLWDOHOHYDWLRQPRGHO
'*(      'LSORPDWH*HRWHFKQLFDO(QJLQHHULQJ
':5(       'LSORPDWH:DWHU5HVRXUFHV(QJLQHHU
($3       (PHUJHQF\$FWLRQ3ODQ
HOHY      HOHYDWLRQ
)(0$      )HGHUDO(PHUJHQF\0DQDJHPHQW$JHQF\
),50      )ORRG,QVXUDQFH5DWH0DS
),6       )ORRG,QVXUDQFH6WXG\
IW        IHHW
*2/       JRYHUQPHQWRZQHGODQG
+&)&'       +DUULV&RXQW\)ORRG&RQWURO'LVWULFW
+(&         +\GURORJLF(QJLQHHULQJ&HQWHU
+06       +\GURORJLF0RGHOLQJ6\VWHP
KU        KRXU
LQ       LQFK
1$9'      1RUWK$PHULFDQ9HUWLFDO'DWXP
1('       1DWLRQDO(OHYDWLRQ'DWDVHW
1),3      1DWLRQDO)ORRG,QVXUDQFH3URJUDP
1*9'      1DWLRQDO*HRGHWLF9HUWLFDO'DWXP
3(      3URIHVVLRQDO(QJLQHHU
5$6       5LYHU$QDO\VLV6\VWHP
5R5       UDWHRIULVH
550       5HVHUYRLU5HJXODWLRQ0DQXDO
715,6       7H[DV1DWXUDO5HVRXUFHV,QIRUPDWLRQ6\VWHP
86$&(      8QLWHG6WDWHV$UP\&RUSVRI(QJLQHHUV
86*6       8QLWHG6WDWHV*HRORJLFDO6XUYH\
:&0       :DWHU&RQWURO0DQXDO
:6(         ZDWHUVXUIDFHHOHYDWLRQ




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35,9,/(*('$1'&21),'(17,$/                                                   ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                        *HRV\QWHF&RQVXOWDQWV,QF
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     7HUPVRI5HIHUHQFH

, 0DWWKHZ %DUGRO KDYH EHHQ UHWDLQHG E\ WKH 'RZQVWUHDP /LWLJDWLRQ /HDGHUVKLS 7HDP ZKLFK
LQFOXGHVWKHIROORZLQJWKUHHDWWRUQH\V L 0F*HKHH&KDQJ/DQGJUDI LL 0LWKRII/DZ)LUPDQG
 LLL  )OHPLQJ 1ROHQ  -H] //3 RQ EHKDOI RI WKH  GRZQVWUHDP WHVW SURSHUW\ SODLQWLIIV LQ
FRQQHFWLRQZLWK,Q5H'RZQVWUHDP$GGLFNVDQG %DUNHU 7H[DV )ORRG&RQWURO5HVHUYRLUV FDVH
&9/  , KDYH EHHQ DVNHG WR SUHSDUH WKLV ,QLWLDO ([SHUW 2SLQLRQ 5HSRUW ³5HSRUW´  WR
DGGUHVVRSLQLRQVUHODWHGWRHQJLQHHULQJDQDO\VHVRIGDPDJHVWRWKHGRZQVWUHDPWHVWSURSHUWLHV
DQGLQWKHDERYHUHIHUHQFHGODZVXLWWKDWUHODWHWRLQXQGDWLRQGRZQVWUHDPRI$GGLFNVDQG%DUNHU
GDPVLQ+RXVWRQ7H[DV

*HRV\QWHF LVFRPSHQVDWHGIRU P\VHUYLFHVUHODWHGWRWKLVPDWWHU DW DUDWH RI  SHU KRXUIRU
LQYHVWLJDWLRQDQDO\VLVDQGUHSRUWSUHSDUDWLRQGHSRVLWLRQDQGWULDOSUHSDUDWLRQDQGDWDUDWH RI
 SHU KRXU IRU GHSRVLWLRQ DQG FRXUW DSSHDUDQFHV &RPSHQVDWLRQ IRU DOO ZRUN UHODWHG WR WKLV
PDWWHULVLQQRZD\WLHGWRWKHRXWFRPHRIWKLVOLWLJDWLRQ



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LQFOXGHVWKHIROORZLQJWKUHHDWWRUQH\V L 0F*HKHH&KDQJ/DQGJUDI LL 0LWKRII/DZ)LUPDQG
 LLL  )OHPLQJ 1ROHQ  -H] //3 RQ EHKDOI RI WKH  GRZQVWUHDP WHVW SURSHUW\ SODLQWLIIV LQ
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5HSRUW ³5HSRUW´ WRDGGUHVVRSLQLRQVUHODWHGWRWKHLQWHJULW\RIWKH$GGLFNVDQG%DUNHU5HVHUYRLUV
LQFOXGLQJEXWQRWOLPLWHGWRWKHVSLOOZD\V

*HRV\QWHFLVFRPSHQVDWHGIRU P\VHUYLFHVUHODWHGWRWKLVPDWWHU DW DUDWH RI  SHU KRXUIRU
LQYHVWLJDWLRQDQDO\VLVDQGUHSRUWSUHSDUDWLRQGHSRVLWLRQDQGWULDOSUHSDUDWLRQDQGDWDUDWHRI
 SHU KRXU IRU GHSRVLWLRQ DQG FRXUW DSSHDUDQFHV &RPSHQVDWLRQ IRUDOO ZRUN UHODWHG WR WKLV
PDWWHULVLQQRZD\WLHGWRWKHRXWFRPHRIWKLVOLWLJDWLRQ



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35,9,/(*('$1'&21),'(17,$/                                               ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                    *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                            1RYHPEHU

    3URIHVVLRQDO%DFNJURXQGDQG4XDOLILFDWLRQV

0DWWKHZ %DUGRO LV D 6HQLRU 3ULQFLSDO LQ WKH 2DN %URRN RIILFH RI *HRV\QWHF &RQVXOWDQWV
 *HRV\QWHF ORFDWHGDW.HQVLQJWRQ5RDG6XLWH2DN%URRN,/DQGKDV EHHQZLWK
*HRV\QWHF VLQFH -XQH  *HRV\QWHF SHUIRUPV FRQVXOWLQJ VHUYLFHV IRU FLYLO HQJLQHHULQJ DQG
ZDWHUUHVRXUFHVSURMHFWVWKURXJKRXWWKH8QLWHG6WDWHVDVZHOODVLQWHUQDWLRQDOO\LQ&DQDGD$VLD
$XVWUDOLD DQG (XURSH $V D UHSUHVHQWDWLYH RI *HRV\QWHF 0U %DUGRO WHQGHUV KLV SUHOLPLQDU\
RSLQLRQUHVSRQVLYHWRWKH6FRSHRI:RUNVWDWHGLQ6HFWLRQEHORZ

0U%DUGROREWDLQHGKLV %DFKHORURI6FLHQFHGHJUHHLQ&LYLO (QJLQHHULQJIURP8QLYHUVLW\RI1RWUH
'DPHLQ ,QKHREWDLQHGKLV0DVWHUVRI6FLHQFHLQ(QYLURQPHQWDO 0DQDJHPHQWIURP
+DUGLQ6LPPRQV8QLYHUVLW\LQ$ELOHQH7H[DV,QKHREWDLQHGKLV0DVWHUVRI6FLHQFHLQ
&LYLO (QJLQHHULQJ ZLWK DQ HPSKDVLV LQ ZDWHU UHVRXUFHV IURP WKH 8QLYHUVLW\ RI 6RXWKHUQ
&DOLIRUQLDLQ/RV$QJHOHV&DOLIRUQLD

0U%DUGRO KDVRYHU \HDUVRIH[SHULHQFHLQFLYLO DQGZDWHUUHVRXUFHVHQJLQHHULQJ DQGK\GURORJLF
DQGK\GUDXOLF PRGHOLQJLQFOXGLQJPRGHOVWKDWSUHGLFWDQGTXDQWLI\IORRGLQXQGDWLRQIURPVWRUP
HYHQWV+HKDV EHHQLQYROYHGZLWKDQGZRUNHGRQ FLYLODQG ZDWHUUHVRXUFHVHQJLQHHULQJSURMHFWV
WKURXJKRXWKLVFDUHHUZLWKDQHPSKDVLVRQZDWHUUHVRXUFHVHQJLQHHULQJDQGPRGHOLQJSURMHFWVIRU
WKHSDVW\HDUV

0U %DUGRO LV D 3URIHVVLRQDO (QYLURQPHQWDO (QJLQHHU DQG KH KDV EHHQ D SUDFWLFLQJ OLFHQVHG
3URIHVVLRQDO(QJLQHHU 3( LQWKH6WDWHRI&DOLIRUQLD VLQFHDQGKDVUHFHLYHGUHFLSURFLW\LQ
PXOWLSOH VWDWHV DFURVV WKH 86 )XUWKHU GHWDLOV RXWOLQLQJ 0U %DUGRO¶V ZRUN H[SHULHQFH DQG
TXDOLILFDWLRQVWRVHUYHDVDQH[SHUWDUHGHVFULEHGLQKLVEDFNJURXQGLQIRUPDWLRQZKLFKLVDWWDFKHG
WRWKLV5HSRUWDV$SSHQGL[$




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35,9,/(*('$1'&21),'(17,$/                                               ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                    *HRV\QWHF&RQVXOWDQWV,QF
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5REHUW%DFKXV LV D6HQLRU3ULQFLSDOLQWKH.HQQHVDZRIILFHRI*HRV\QWHF&RQVXOWDQWV *HRV\QWHF 
ORFDWHGDW5REHUWV%OYG6XLWH.HQQHVDZ*$DQGKDVEHHQZLWK*HRV\QWHF
VLQFH 6HSWHPEHU  $V D UHSUHVHQWDWLYH RI *HRV\QWHF 'U %DFKXV WHQGHUV KLV SUHOLPLQDU\
RSLQLRQUHVSRQVLYHWRWKH6FRSHRI:RUNVWDWHGLQ6HFWLRQEHORZ

'U%DFKXVREWDLQHGKLV %DFKHORURI6FLHQFHDQG0DVWHUVRI6FLHQFH GHJUHHVLQ&LYLO(QJLQHHULQJ
IURP8QLYHUVLW\RI,OOLQRLV&KLFDJR&LUFOHLQDQGUHVSHFWLYHO\,QKHREWDLQHG
KLV'RFWRURI3KLORVRSK\LQ*HRWHFKQLFDO(QJLQHHULQJIURP6WDQIRUG8QLYHUVLW\

'U%DFKXVKDVRYHU\HDUVRIH[SHULHQFHLQJHRWHFKQLFDODQGJHRHQYLURQPHQWDOHQJLQHHULQJ
LQFOXGLQJ JHRWHFKQLFDO VLWH FKDUDFWHUL]DWLRQ VHWWOHPHQW DQG VORSH VWDELOLW\ DQDO\VLV DQG
SHUIRUPDQFHPRQLWRULQJRIJHRWHFKQLFDOIHDWXUHVDQGHDUWKVWUXFWXUHV+H SUHYLRXVO\VHUYHGDVD
JHRWHFKQLFDOHQJLQHHULQJIDFXOW\DW*HRUJLD,QVWLWXWHRI7HFKQRORJ\DQGIRFXVHGKLVUHVHDUFKRQ
WKH EHQHILFLDO UHXVH RI FRDO FRPEXVWLRQ UHVLGXDOV &&5V  DQG HQJLQHHULQJ DSSOLFDWLRQV IRU
JHRV\QWKHWLFPDWHULDOVSULPDULO\RQUHLQIRUFLQJDQGGUDLQDJHSURGXFHGHYHORSPHQW

'U%DFKXVLV D3URIHVVLRQDO(QJLQHHUDQGKHKDV EHHQDSUDFWLFLQJOLFHQVHG3URIHVVLRQDO(QJLQHHU
 3( LQWKH6WDWHRI*HRUJLDVLQFHDQGKDVUHFHLYHGUHFLSURFLW\LQPXOWLSOHVWDWHVDFURVVWKH
86)XUWKHUGHWDLOVRXWOLQLQJ'U%DFKXV¶V ZRUNH[SHULHQFHDQGTXDOLILFDWLRQVWRVHUYHDVDQH[SHUW
DUHGHVFULEHGLQKLVEDFNJURXQGLQIRUPDWLRQZKLFKLVDWWDFKHGWRWKLV5HSRUWDV $SSHQGL[$




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35,9,/(*('$1'&21),'(17,$/                                                  ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                       *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                               1RYHPEHU

     6FRSHRI:RUN

*HRV\QWHF KDV EHHQ DVNHG WR UHYLHZ GRFXPHQWV DQG GDWD FLWHG LQ 6HFWLRQ  EHORZ WR DVVHVV
ZKHWKHUDQGWRZKDWH[WHQWWKHLQGXFHGVXUFKDUJHSURFHGXUHVLQLWLDWHG E\WKH86$UP\&RUSVRI
(QJLQHHUV 86$&( FDXVHGLQXQGDWLRQRIDQGDVVRFLDWHGGDPDJHWR GRZQVWUHDPWHVWSURSHUWLHV
DQGZKHWKHUVXFKLQXQGDWLRQDQGDVVRFLDWHGGDPDJHZRXOGKDYHEHHQDYRLGHGRUUHGXFHGZLWKRXW
WKHLQGXFHGVXUFKDUJH:HKDYH DOVREHHQDVNHGWRRIIHUSUHOLPLQDU\DQDO\VLVRI FHUWDLQGHIHQVH
DUJXPHQWVWKDWPD\EHUDLVHGLQWKLVOLWLJDWLRQ7RWKDWH[WHQWZHUHVHUYHWKHULJKWWRDPHQGRXU
UHSRUWDQGRUDGGRSLQLRQVDQGFRQFOXVLRQVEDVHGRQIXWXUHHYLGHQFH




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35,9,/(*('$1'&21),'(17,$/                                                ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                     *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                             1RYHPEHU

       6FRSHDQG%DVHVRI2SLQLRQV

*HRV\QWHF ZDV DVNHG WR FRQGXFW DQ HYDOXDWLRQ RI WKH K\GURORJLF DQG K\GUDXOLF LPSDFWV RI
+XUULFDQH +DUYH\ LQ FRQMXQFWLRQ ZLWK WKH RSHUDWLRQ RI WKH $GGLFNV DQG %DUNHU 5HVHUYRLUV RQ
EHKDOI RI WKH 'RZQVWUHDP /LWLJDWLRQ /HDGHUVKLS 7HDP :H UHYLHZHG WKH IROORZLQJ GDWD DQG
GRFXPHQWVLQSUHSDUDWLRQIRUWKLV5HSRUWDQGWKHVHGDWDDQGGRFXPHQWVVHUYHDVWKHEDVHVRIRXU
RSLQLRQV :H UHYLHZHG D WZRGLPHQVLRQDO '  PRGHO GHYHORSHG E\ WKH 86$&( XVLQJ WKH
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(PHUJHQF\ 0DQDJHPHQW $JHQF\ )(0$  HIIHFWLYH IORRGSODLQ PRGHOV IRU +DUULV &RXQW\
)XUWKHUPRUHZHUHYLHZHG'U3KLO%HGLHQW¶V +HUPDQ%URZQ3URIHVVRURI(QJLQHHULQJDW5LFH
8QLYHUVLW\ PRGLILFDWLRQVWRWKH+&)&''+(&5$6PRGHO:HUHYLHZHGK\GURORJ\PRGHOV
LQFOXGLQJ WKH +&)&' UHJXODWRU\ PRGHO EDVHG RQ WKH 86$&( +\GURORJLF (QJLQHHULQJ &HQWHU
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IORZV GXULQJ +XUULFDQH +DUYH\ :H DOVR UHYLHZHG DGGLWLRQDO GDWD DQG WHVWLPRQ\ DV LQGLFDWHG
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      x   86$&('+(&5$6PRGHO SURYLGHGDVPRGHOLQJILOHVGXULQJGLVFRYHU\ODEHOHGZLWK
          %DWHVQXPEHU86$&( 
      x   +&)&''+(&5$6PRGHO +&)&'D 
      x   'U%HGLHQW¶V '+(&5$6PRGHO %HGLHQW 
      x   +&)&'+(&+06PRGHO +&)&'D 
      x    5HVHUYRLU5HJXODWLRQ0DQXDO 550 IRU$GGLFNVDQG%DUNHU5HVHUYRLUV,QLWLDODQG
          (PHUJHQF\,QVWUXFWLRQVWR'DP7HQGHU 86$&( 
      x   :DWHU&RQWURO0DQXDO :&0 IRU$GGLFNVDQG%DUNHU5HVHUYRLUV%XIIDOR%D\RX
          DQG7ULEXWDULHV6DQ-DFLQWR5LYHU%DVLQ7; 86$&( 
      x   (PHUJHQF\$FWLRQ3ODQ ($3 IRU$GGLFNVDQG%DUNHU5HVHUYRLUV%XIIDOR%D\RX
          DQG7ULEXWDULHV 86$&( 
      x   86$&( ³+XUULFDQH +DUYH\ )ORRG ,QXQGDWLRQ 0DSSLQJ $IWHU $FWLRQ 5HSRUW´ 86$&(
           
      x   86$&(VSUHDGVKHHW RISRROOHYHOJDWHRXWIORZUDWHVUDWHRIULVH 5R5 DQGFDOFXODWHG
          LQIORZUDWHVW\SLFDOO\UHIHUUHGWRDVWKH³PRUQLQJUHSRUW´DFFRUGLQJWR.DXIIPDQGHSRVLWLRQ
           SURYLGHGDVVSUHDGVKHHWGXULQJGLVFRYHU\ODEHOHGZLWK%DWHVQXPEHU86$&( 
      x   86 *HRORJLFDO 6XUYH\ 86*6  VWUHDP IORZ DQG ZDWHU VXUIDFH HOHYDWLRQ :6(  JDXJH
          GDWD 86*6 DWWKHIROORZLQJORFDWLRQV
             o %DUNHU5HVQU$GGLFNV7;
             o %XIIDOR%D\RXDW6WDWH+Z\QU$GGLFNV7;
             o $GGLFNV5HVQU$GGLFNV7;


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35,9,/(*('$1'&21),'(17,$/                                            ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                 *HRV\QWHF&RQVXOWDQWV,QF
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          o /DQJKDP&NDW$GGLFNV5HV2XWIORZQU$GGLFNV7;
          o %XIIDOR%D\RXQU$GGLFNV7;
          o %XIIDOR%D\RXDW:%HOW'U+RXVWRQ7;
          o %XIIDOR%D\RXDW3LQH\3RLQW7;
          o %XIIDOR%D\RXDW+RXVWRQ7;
   x   )HGHUDO(PHUJHQF\0DQDJHPHQW$JHQF\ )(0$ )ORRG,QVXUDQFH6WXG\ ),6 IRU+DUULV
       &RXQW\7H[DV )(0$ 
   x   'RZQVWUHDPSODLQWLIIWHVWLPRQ\LQFOXGLQJWKHIROORZLQJSODLQWLIIV
          o $UQROG0LOWRQWHVWLPRQ\RQ-XO\ 0LOWRQD 
          o 9LUJLQLD0LOWRQWHVWLPRQ\RQ-XO\ 0LOWRQE 
          o -HQQLIHU6KLSRVWHVWLPRQ\RQ6HSWHPEHU 6KLSRV 
          o -RKQ%ULWWRQIRU60&0HPRULDO,QYHVWPHQW/3WHVWLPRQ\RQ-XO\
             %ULWWRQ 
          o -HUHP\*RRGIRU*RRG5HVRXUFHV//&WHVWLPRQ\RQ-XO\ *RRG 
          o 9DO$OGUHGWHVWLPRQ\RQ$XJXVW $OGUHG 
          o 3HJJ\+ROOLVWHVWLPRQ\RQ-XO\ +ROOLVD
          o :D\QH+ROOLVWHVWLPRQ\RQ-XO\ +ROOLVE
          o 3HWHU6LOYHUPDQWHVWLPRQ\RQ-XO\ 6LOYHUPDQD 
          o =KHQQLD6LOYHUPDQWHVWLPRQ\RQ-XO\ 6LOYHUPDQE 
          o $UQVWHLQ *RGHMRUGWHVWLPRQ\RQ6HSWHPEHU *RGHMRUGD 
          o ,JQD*RGHMRUGWHVWLPRQ\RQ6HSWHPEHU *RGHMRUGE 
          o 'DQD&XWWVWHVWLPRQ\RQ-XQH &XWWVD 
          o 3DXO&XWWVWHVWLPRQ\RQ-XQH &XWWVE 
          o *RNKDQ%H\RJOXWHVWLPRQ\RQ6HSWHPEHU %H\RJOXE
          o -DQD%H\RJOXWHVWLPRQ\RQ6HSWHPEHU %H\RJOXD 
          o 3KLOOLS$]DUWHVWLPRQ\RQ-XO\ $]DU 
          o 7LP6WDKOWHVWLPRQ\RQ6HSWHPEHU 6WDKO 
          o 6KDZQ:HOOLQJWHVWLPRQ\RQ$XJXVW :HOOLQJ 
          o 'XWFK/LQGHEXUJWHVWLPRQ\RQ6HSWHPEHU /LQGHEXUJ 
   x   86$&(ZLWQHVVWHVWLPRQ\LQFOXGLQJWKHIROORZLQJZLWQHVVHV
          o 0LFKDHO.DXIIPDQH[SHUWWHVWLPRQ\RQ6HSWHPEHU .DXIIPDQ 
          o 5REHUW7KRPDVH[SHUWWHVWLPRQ\RQ-XO\$XJXVWDQG6HSWHPEHU
             7KRPDV 
          o -HII/LQGQHUH[SHUWWHVWLPRQ\RQ6HSWHPEHU /LQGQHU 
          o -DPLOD-RKQVRQH[SHUWWHVWLPRQ\RQ2FWREHU -RKQVRQ 


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            o %UD[WRQ&ROHVH[SHUWWHVWLPRQ\RQ2FWREHU &ROHV
    x   7H[DV1DWXUDO5HVRXUFHV,QIRUPDWLRQ6\VWHP 715,6 HOHYDWLRQGDWD 715,6 
    x   +&)&'SUHFLSLWDWLRQGDWDVRXUFHV +&)&'E 
    x   +LJKZDWHUPDUNV SURYLGHGDVVSUHDGVKHHWGXULQJGLVFRYHU\ODEHOHGZLWK%DWHVQXPEHU
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        86*6DQGVKDSHILOHODEHOHGZLWK%DWHVQXPEHU)(0$ 

7KH OLVW RI GRFXPHQWV FRQVLGHUHG DQG WKH PRGHOLQJ ILOHV UHIHUHQFHG DERYH FDQ EH IRXQG LQ
6(&7,21DWWKHHQGRIWKLV5HSRUW

*LYHQWKH OLPLWHGWLPHSHULRG IRUVXEPLVVLRQRIWKLV5HSRUWXQGHUWKH&RXUW¶VVFKHGXOH ZHKDYH
QRWXQGHUWDNHQDQHIIRUWWRDGGUHVVDOORIWKHSRLQWVDQGLVVXHV DVVRFLDWHGZLWKWKLVFDVHDQGZH
PD\UHYLVHRUVXSSOHPHQWWKHLQIRUPDWLRQLQWKLV5HSRUWDVZHFRQWLQXHWRUHYLHZ WKHWHVWLPRQ\
RIWHFKQLFDOH[SHUWVDQGH\HZLWQHVVHVWKHGLJLWDO PRGHOILOHVSURYLGHGDQGWKH([SHUW5HSRUWV
VXEPLWWHGWRWKHFRXUW

:H DOVR UHVHUYH WKHULJKW WR H[DPLQH DGGLWLRQDO LQIRUPDWLRQ DV LWEHFRPHV DYDLODEOH LQFOXGLQJ
WKURXJK IXUWKHU GLVFRYHU\ LQ WKLV FDVH DQG WR DGG WR RU PRGLI\ RXU RSLQLRQV EDVHG RQ VXFK
DGGLWLRQDOLQIRUPDWLRQ




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       5HSRUW2UJDQL]DWLRQ

7KLV5HSRUWLVRUJDQL]HGDVIROORZV

      x   6(&7,21 GHVFULEHVWKHWHUPVEDFNJURXQGPLVVLRQDQGVFRSHRIWKLV5HSRUW

      x   6(&7,21 SUHVHQWVDQLQWURGXFWLRQDQGIDFWXDOEDFNJURXQGWRWKHFDVH

      x   6(&7,21 SUHVHQWVWKHGRZQVWUHDPWHVWSURSHUWLHVFRQVLGHUHGLQWKLV5HSRUW

      x   6(&7,21 SUHVHQWVD UHYLHZRIWKHGDWDVRXUFHVUHOLHGXSRQDQGDJHQHUDO WLPHOLQHRI
          HYHQWVGXULQJ+XUULFDQH+DUYH\

      x   6(&7,21  SURYLGHV DQ RYHUYLHZ RI WKH K\GUDXOLF PRGHOLQJ PHWKRGRORJ\ XVHG LQ
          GHYHORSLQJRSLQLRQVUHODWHGWRLQXQGDWLRQRIWKHGRZQVWUHDPWHVWSURSHUWLHV

      x   6(&7,21  SURYLGHV DQ RYHUYLHZ RI WKH K\GUDXOLF PRGHOLQJ UHVXOWV GLVFXVVHG LQ WKH
          PHWKRGRORJ\VHFWLRQUHODWHGWRLQXQGDWLRQRIWKHGRZQVWUHDPWHVWSURSHUWLHV

      x   6(&7,21 SUHVHQWVRSLQLRQVUHODWHGWRLQXQGDWLRQRIWKHGRZQVWUHDPWHVWSURSHUWLHV
          DVDUHVXOWRIWKHHQJLQHHULQJDQDO\VHVFRQGXFWHG

      x   6(&7,21  SUHVHQWV RSLQLRQV UHODWHG WR WKH LQWHJULW\ RI WKH $GGLFNV DQG %DUNHU
          5HVHUYRLUVLQFOXGLQJEXWQRWOLPLWHGWRWKHVSLOOZD\V

      x   6(&7,21 SURYLGHVSUHOLPLQDU\RSLQLRQVRQWKHGHIHQVHDUJXPHQWVWKDWKDYHEHHQUDLVHG
          RUSRWHQWLDOO\PD\EHUDLVHGODWHU DQG

      x   6(&7,21 SUHVHQWVDGHWDLOHGOLVWRIUHIHUHQFHV




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68%-(&7727+($77251(<&/,(1735,9,/(*(                                              *HRV\QWHF&RQVXOWDQWV,QF
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$GGLFNV'DPDVSUHVHQWO\FRQVWUXFWHGLQFOXGHVDQHDUWKHQGDPDSSUR[LPDWHO\IHHW IW
ORQJZLWKWKHWRSRIWKHGDPDWHOHYDWLRQIW  86$&(DW6HFD 7KHHQGVRIWKH
HPEDQNPHQWWHUPLQDWHDWDQDWXUDOJURXQG HOHYDWLRQRIIWRQWKHQRUWKHQGDQGIWRQ
WKHZHVWHQG 86$&(DW6HFD 7ZRDX[LOLDU\VSLOOZD\VORFDWHGDWWKHQRUWKDQGZHVW
HQGVRIWKHGDPHPEDQNPHQWZHUHUHLQIRUFHGZLWKUROOHUFRPSDFWHGFRQFUHWHE\6HSWHPEHU
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%DUNHU'DPDVSUHVHQWO\FRQVWUXFWHGLQFOXGHVDQHDUWKHQGDPDSSUR[LPDWHO\IWORQJZLWK
WKH WRS RI WKH GDP DW DQ HOHYDWLRQ RI  IW 86$&(  DW 6HF F  7KH HQGV RI WKH
HPEDQNPHQWWHUPLQDWHDWDQDWXUDOJURXQG HOHYDWLRQRIIW 86$&( DW6HFF 
7ZRDX[LOLDU\VSLOOZD\VORFDWHGDWWKHQRUWKZHVWDQGVRXWKZHVWHQGVRIWKHGDPHPEDQNPHQW
ZHUHUHLQIRUFHGZLWKUROOHUFRPSDFWHGFRQFUHWHE\6HSWHPEHU 86$&( DW6HFF
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7KH86$&(GHVFULEHVWKHSXUSRVHRIWKH$GGLFNV DQG%DUNHU5HVHUYRLUVDVLQFOXGLQJ³IORRGULVN
PDQDJHPHQWSURWHFWLRQSURYLGHGWRWKH&LW\RI+RXVWRQIURPIORRGGDPDJHV« 7KHWZRUHVHUYRLUV
SURYLGH IORRGZDWHU GHWHQWLRQ IRU IORRG ULVN PDQDJHPHQW RQ WKH %XIIDOR %D\RX ZDWHUVKHG«´
 86$&(DW6HF $VLQLWLDOO\GHVLJQHGWKHRXWOHWVRIHDFKUHVHUYRLUFRQVLVWHGRIILYH
ER[FXOYHUWFRQGXLWVZLWKRQHFRQGXLWJDWHGDQGWKHRWKHUIRXUXQFRQWUROOHG 86$&( DW
6HF %\)HEUXDU\ DOORIWKHFRQGXLWVRQERWKUHVHUYRLURXWOHWVKDGEHHQJDWHG 86$&(
 DW7DEOH $FFRUGLQJWRWKH86$&(³WKHJDWLQJRIWKHODVWWZRXQFRQWUROOHGFRQGXLWV
RQERWKSURMHFWVLQPDGHLWSRVVLEOHWRUHGXFHGRZQVWUHDPIORRGLQJ«´ 86$&( DW
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     86$&(&RQVLGHUDWLRQVLQ2SHUDWLQJWKH5HVHUYRLUV

$Q2FWREHU³'UDIW2SHUDWLRQDO$VVHVVPHQWRIWKH$GGLFNVDQG%DUNHU5HVHUYRLUV´ 86$&(
 86$&(  FRQILUPV WKDW ³>W@KH VROH DXWKRUL]HG SXUSRVH IRU $GGLFNV DQG %DUNHU
5HVHUYRLUVLVWRUHGXFHSRWHQWLDOIORRGGDPDJHDORQJWKHGRZQVWUHDPUHDFKRI%XIIDOR%D\RX´
 86$&( DW 86$&( 7KH³'UDIW2SHUDWLRQDO$VVHVVPHQW´IXUWKHUHYDOXDWHV
³RSHUDWLRQDO FRQVWUDLQWV´ IRU WKH UHVHUYRLUV DV WKH\ UHODWH WR ERWK GRZQVWUHDP DQG XSVWUHDP
IORRGLQJULVN 86$&( DW86$&(HPSKDVLVDGGHG 



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 8QOHVVRWKHUZLVHVSHFLILHGDOOHOHYDWLRQVKHUHLQDUHVSHFLILHGLQIHHW1$9' 1RUWK$PHULFDQ9HUWLFDO'DWXP
(SRFK 


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35,9,/(*('$1'&21),'(17,$/                                                    ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                         *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                 1RYHPEHU

        7KH LQFUHDVH LQ GRZQVWUHDP GHYHORSPHQW DQG SRVVLEO\ GRZQVWUHDP WULEXWDU\
        LQIORZ KDVFRQWULEXWHGWRUHGXFWLRQVLQDOORZDEOHRXWIORZV The dams are operated
        strictly to prevent downstream flooding; therefore, the gates remain shut even if
        pool levels increase and flood upstream properties 7KHIORRGSRROVKDYHQHYHU
        H[FHHGHGWKHOLPLWRI*2/>JRYHUQPHQWRZQHGODQG@DQGWKHKRPHVXSVWUHDPRI
        WKHGDPVKDYHQRWIORRGHGGXHWRWKHSRRO +RZHYHUDYDLODEOHK\GURORJLFPRGHOV
        LQGLFDWHWKDWWKHOLPLWRI*2/ZRXOGEHH[FHHGHGLQH[WUHPHHYHQWVIRUH[DPSOH
        LWLVEHOLHYHGWKDWLI7URSLFDO6WRUPV$OOLVRQRU&ODXGHWWHKDGEHHQFHQWHUHGRQWKH
        EDVLQIORRGLQJRIWKHXSVWUHDPGHYHORSPHQWZRXOGKDYHRFFXUUHG

7KDWVDPHGRFXPHQWJHQHUDOO\GHVFULEHVWKH86$&(¶VRSHUDWLRQDOSURFHGXUHVIRUWKHUHVHUYRLUV
DQGFRQVLGHUDWLRQVWDNHQLQWRDFFRXQWE\WKH86$&(ZLWKUHVSHFWWRWKRVHSURFHGXUHV 86$&(
 DW86$&(HPSKDVLVDGGHG 

        7KHFXUUHQWSURFHGXUHLVWRSUHYHQWGRZQVWUHDPIORRGLQJDQGSURWHFWGRZQVWUHDP
        SURSHUWLHV 'XULQJDIORRGLQJHYHQWWKHJDWHVDUHFORVHGDQGWKHUHVHUYRLUOHYHOVDUH
        DOORZHG WR ULVH XQWLO WKH\ RYHUIORZ WKH VSLOOZD\V 6LQFH WKHUH LV GHYHORSPHQW
        DGMDFHQWWRWKH*2/WKHVHVWUXFWXUHVZRXOGEHIORRGHGGXULQJDQH[WUHPHHYHQW
        $VQRWHGHDUOLHUWKHUHLVVLJQLILFDQWGHYHORSPHQWZLWKLQWKHIULQJHDUHDEHWZHHQ
        WKH*2/DQGWKHPD[LPXPSRROHOHYDWLRQWith such high valuation of upstream
        properties, it might be desirable to increase the allowable release rates from the
        reservoir once the downstream peak flows have occurred, and accept some
        increased duration of downstream flooding.

     7KH3XUSRVHRI,QGXFHG6XUFKDUJH2SHUDWLRQV

5REHUW7KRPDVWKH86$&(¶VGHVLJQDWHGZLWQHVVWRWHVWLI\UHJDUGLQJ³>S@ROLFLHVIRUUHOHDVHVRI
ZDWHU IURP WKH UHVHUYRLUV IURP  WKURXJK WKH SUHVHQW«´ WHVWLILHG UHJDUGLQJ WKH 86$&(¶V
UHOHDVH RI ZDWHU DOVR UHIHUUHG WR DV ³LQGXFHG VXUFKDUJH´  IURP WKH UHVHUYRLUV GXULQJ DQG DIWHU
+XUULFDQH +DUYH\ +H WHVWLILHG WKDW GXULQJ +XUULFDQH +DUYH\ WKH 86$&( ³VWDUWHG VXUFKDUJH
UHJXODWLRQVDFFRUGLQJWRWKHVFKHGXOHV´LQWKH86$&(¶V:&0 IRUWKHUHVHUYRLUV 7KRPDV
'HSR9RO,DW 2SHUDWLQJWKHUHVHUYRLUVSXUVXDQWWRWKH³LQGXFHGVXUFKDUJHIORRGFRQWURO
UHJXODWLRQ´ LQ WKH  :&0 KDV WKH HIIHFW RI RSHQLQJ WKH UHVHUYRLU IORRG FRQWURO JDWHV DQG
LQXQGDWLQJGRZQVWUHDPSURSHUWLHV 86$&( DW86$&( 7KHVHRSHUDWLRQSURFHGXUHV
GLIIHUIURPWKH :&0¶V³1RUPDO)ORRG&RQWURO5HJXODWLRQ´ZKLFKNHHSVWKHJDWHVFORVHG
GXULQJ IORRG HYHQWV XQWLO UHOHDVHV FDQ EH PDGH LQ D PDQQHU WKDW GRHV QRW FDXVH GDPDJLQJ
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WKHOLPLWVRI*2/DUHUHDFKHGDWDSRROOHYHORIIW ([WR7KRPDV'HSRDW7DEOH$ 



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68%-(&7727+($77251(<&/,(1735,9,/(*(                                        *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                1RYHPEHU

:DWHU (OHYDWLRQ ,PSDFW 7DEOHV SXEOLVKHG E\ WKH 86$&( LQ WKH  (PHUJHQF\ $FWLRQ 3ODQ
 ³ ($3´  UHIOHFW WKH ³ILUVW VWUHHW IORRGHG XSVWUHDP´ IRU $GGLFNV 5HVHUYRLU RFFXUV DW DQ
HOHYDWLRQRIIWDQGWKH³ILUVWKRPHLQXQGDWHGXSVWUHDP´IRU$GGLFNVRFFXUVDWDQHOHYDWLRQ
RI  IW 86$&(  DW (  )RU %DUNHU 5HVHUYRLU WKH SRRO OHYHO WULJJHU SRLQW IRU
FRPPHQFLQJLQGXFHGVXUFKDUJHUHOHDVHV IURP WKHUHVHUYRLU LV IW )RU%DUNHUWKHOLPLWV RI
*2/DUHUHDFKHGDWDSRROOHYHO RIIW ([WR7KRPDV'HSRDW7DEOH$ 7KH($3
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       4     $QGZKDWDUHLQGXFHGVXUFKDUJHUHOHDVHV"
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               VFKHGXOH
       4      :KDWLVWKHSXUSRVHRIPDNLQJLQGXFHGVXUFKDUJHUHOHDVHV"
       $      7KHSXUSRVH RIPDNLQJLQGXFHGVXUFKDUJHUHOHDVHVLVWRDVLWVD\VDERYH
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VKRZ WKDW KDG WKH $GGLFNV DQG %DUNHU JDWHV UHPDLQHG FORVHG WKH GRZQVWUHDP WHVW SURSHUWLHV
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        8VLQJ86$&(VXUYH\VRIVW IORRUHOHYDWLRQGDWDLWZDVGHWHUPLQHGWKDWWKHORZHU
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         DSSUR[LPDWHO\  PLOHV GRZQVWUHDP RI WKH UHVHUYRLUV PHDVXUHG DORQJ WKH
        VWUHDPEHG DQG&KLPQH\5RFN5RDG DSSUR[LPDWHO\PLOHVGRZQVWUHDPRIWKH
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LQXQGDWLRQWKDWZRXOGRFFXUE\VWUHHWLQWHUVHFWLRQDQGEORFNZLWKLQWKHDFFXUDF\RIWKHPRGHO
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        $      6RWKH5$6PRGHOGRHVHVWLPDWHHOHYDWLRQDQGGLVFKDUJHVLU
        4      $QGWKDWZDVNQRZOHGJHWKDWWKH&RUSVKDGDWWKHWLPHWKLVZDVFUHDWHGWKLV
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               LQXQGDWLRQPDSVEHLQJUXQSUH+DUYH\RUGXULQJWKHWLPHRI+DUYH\DFWXDOO\
               LGHQWLI\VWUHHWVDQGLQWHUVHFWLRQVDQGEORFNVRQWKHLQXQGDWLRQPDS"
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DVVRFLDWHG ZLWK WKH YDULRXV ZDWHU VXUIDFH HOHYDWLRQV SUHVHQWHG RQ WKH H[KLELWV LQFOXGHG DV
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       7KH HPEDQNPHQW RXWOHW VWUXFWXUHV DQG HPHUJHQF\ VSLOOZD\V IXQFWLRQHG DV
       LQWHQGHG 3LH]RPHWHUV VHWWOHPHQW SLQV DQG DOLJQPHQW VXUYH\V IRU WKH RXWOHW
       VWUXFWXUHVGRQRWVKRZQ>VLF@DQ\ DODUPLQJWUHQGVIURPWKLVSRRORIUHFRUG7KHUH
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       DUHDVORFDWHGRQWKHGRZQVWUHDPHPEDQNPHQWWRHZHUHPRQLWRUHGEXWVKRZHGQR
       VLJQVRIIORZ« Overall conclusion is that the project was performing as expected
       with no significant problems during this pool of record event.

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       $      $IWHUHYHU\IORRGRIUHFRUGZHSUHSDUHDGRFXPHQWGRFXPHQWLQJWKHVWDWH
               RIWKHGDPVLPPHGLDWHO\DIWHUZDUG
       4      ,VRQHRIWKHSXUSRVHVRISUHSDULQJWKLVPHPRUDQGXPWRDVVHVVZKHWKHURU
               QRW WKH $GGLFNV DQG %DUNHU GDPV DQG UHVHUYRLUV SHUIRUPHG DV H[SHFWHG
               GXULQJWKDWQHZSRRORIUHFRUG"
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       4      +DV WKHUH HYHU EHHQ D IRUPDO GHFODUDWLRQ RI D /HYHO  HPHUJHQF\ LQ WKH
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WKDWFDXVHGGRZQVWUHDPIORRGLQJ DVDUHVXOWRILQGXFHGVXUFKDUJHRSHUDWLRQV,QGXFHGVXUFKDUJH
RSHUDWLRQV KDG WKH HIIHFW RI PLWLJDWLQJ XSVWUHDP LQXQGDWLRQ WR WKH GHWULPHQW RI GRZQVWUHDP
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 Case 1:17-cv-09002-LAS            Document 266-2         Filed 01/10/23       Page 1516 of 1584
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                                                                                                                                            #      5HSUHVHQWDWLYH&ODVV3ODLQWLIIV                                             Houston, TX


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 Case 1:17-cv-09002-LAS             Document 266-2          Filed 01/10/23        Page 1526 of 1584
35,9,/(*('$1'&21),'(17,$/                                                    ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                         *HRV\QWHF&RQVXOWDQWV,QF
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DQDO\]HG GXULQJ WKH GHYHORSPHQW RI RSLQLRQV 6RXUFH GDWD VXSSRUWLQJ LQIRUPDWLRQ DQG
VXSSOHPHQWDO DQDO\VHV DUH SURYLGHG LQ VXEVHTXHQW VHFWLRQV RI WKLV 5HSRUW DQG DV VHSDUDWH
DSSHQGLFHVZKHUHUHIHUHQFHG

       7LPHOLQHRI(YHQWVEDVHGRQ$YDLODEOH'DWD

*DXJHGDWDGRZQVWUHDPWHVWSURSHUW\RZQHUSODLQWLIIWHVWLPRQ\UHSRUWHG86$&(JDWHRXWIORZ
UDWHVDQGWKH86$&($IWHU$FWLRQ5HSRUW 86$&( ZHUHUHYLHZHG WRGHYHORSDJHQHUDO
WLPHOLQHRIHYHQWVDQGDFWLRQV WDNHQE\WKH86$&(7KHWLPHOLQHVXPPDUL]HGLQWKHRXWOLQHEHORZ
WRJHWKHUZLWK )LJXUH RIWKHJDXJHGDWDHVWDEOLVKHVUHSRUWHGJDWHUHOHDVHUDWHVDQGLQXQGDWLRQ
OHYHOV$OOUHSRUWHGGDWHVDUHLQGXULQJDQGIROORZLQJ+XUULFDQH+DUYH\ LQWKH+RXVWRQDUHD
3URSHUW\LQIRUPDWLRQLVEDVHGRQSODLQWLIIQDPHDQGQXPEHUDVLQGLFDWHGLQ7DEOHDERYHDORQJ
ZLWK SURSHUW\ LQXQGDWLRQ UHSRUWHG E\ WKH SODLQWLIIV DV LQGLFDWHG LQ 7DEOH  LQ WKH IROORZLQJ
VHFWLRQ

      x   $XJXVW± +DUYH\PDNHVODQGIDOOQHDU5RFNSRUW7H[DVDSSUR[LPDWHO\RQHLQFKRIUDLQ
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             o 3URSHUWLHVUHSRUWLQJLQLWLDOLQXQGDWLRQEDVHGRQWHVWLPRQ\
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                     0HPRULDO60& PXOWLSOHEXLOGLQJVQRWDOOPD\KDYHEHHQLQXQGDWHG 
                    %H\RJOX UHSRUWHGPLQRULQXQGDWLRQ 
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          GRZQVWUHDPWR%XIIDOR%D\RXSRROOHYHOVLQWKHUHVHUYRLUVFRQWLQXHWR ULVHDSSUR[LPDWHO\
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             o $GGLFNVJDWHVRSHQHGDWQRODWHUWKDQDPRQ$XJXVW
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             o %DUNHUJDWHVRSHQHGDWQRODWHUWKDQDPRQ$XJXVW



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 Case 1:17-cv-09002-LAS            Document 266-2        Filed 01/10/23       Page 1527 of 1584
35,9,/(*('$1'&21),'(17,$/                                                ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                     *HRV\QWHF&RQVXOWDQWV,QF
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                   SHDNGLVFKDUJHFIV
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                    +ROOLV
                    $]DU KDG PLQRU LQXQGDWLRQ RQ $XJXVW  EXW UHSRUWHG VLJQLILFDQW
                    LQXQGDWLRQVWDUWLQJ$XJXVWUHVXOWLQJLQXSWRIWRILQXQGDWLRQ
                    6WDKOHVWLPDWHVLQXQGDWLRQEHJDQRQ$XJXVWEDVHGRQ86*6JDXJHV
                   :HOOLQJ
   x   $XJXVW  ± 8QFRQWUROOHG UHOHDVHV DOVR UHIHUUHG WR DV ³IODQNLQJ IORZV´ DURXQG WKH
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       DQGVWRSSHG
          o $GGLFNVJDWHVUHPDLQHGRSHQHG
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                   SHDNSRROOHYHODWIW
                   XQFRQWUROOHGUHOHDVHV IODQNLQJIORZV VWDUWHG DWDP
          o %DUNHUJDWHVUHPDLQHGRSHQHG
                   SHDNGLVFKDUJHFIV
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          o 3URSHUWLHVUHSRUWLQJLQLWLDOLQXQGDWLRQEDVHGRQWHVWLPRQ\


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 Case 1:17-cv-09002-LAS          Document 266-2       Filed 01/10/23        Page 1528 of 1584
35,9,/(*('$1'&21),'(17,$/                                              ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                   *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                           1RYHPEHU

                  $OGUHG
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   x   $XJXVW±SRROOHYHOVEHJLQWRIDOO
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                 SHDNGLVFKDUJHFIV
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                 XQFRQWUROOHGUHOHDVHV IODQNLQJIORZV DOVRRFFXUUHG
          o %DUNHUJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRROOHYHODWIW
   x   6HSWHPEHU±SRROOHYHOVFRQWLQXHWRIDOO
          o $GGLFNVJDWHVUHPDLQHGRSHQHG
                 SHDNGLVFKDUJHFIV
                 SHDNSRROOHYHODWIW
                 XQFRQWUROOHGUHOHDVHV IODQNLQJIORZV VWRSSHGDURXQGSP
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          o %DUNHUWDLOZDWHUFRQGLWLRQVUHSRUWHGWRHQGDWHOHYDWLRQIWDWDP
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          o $GGLFNVWDLOZDWHUFRQGLWLRQVUHSRUWHGWRHQGDWHOHYDWLRQIWDWSP
   x   6HSWHPEHU±JDWHGLVFKDUJHUDWHVHQGHG
          o $GGLFNV±JDWHVFORVHGDWSP
          o %DUNHU± JDWHVFORVHG DWSP
   x   6HSWHPEHU±JDWHVRSHQHGDJDLQ




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35,9,/(*('$1'&21),'(17,$/                                                      ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                           *HRV\QWHF&RQVXOWDQWV,QF
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            o $GGLFNV±JDWHVRSHQHGDW SPDWFIVXQWLOHQGRIUHFRUG LQ³PRUQLQJ
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)LJXUH SUHVHQWVDFRPSRVLWHJHQHUDOWLPHOLQHRIHYHQWVIURP $XJXVWWKURXJK 6HSWHPEHU
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RIWKHJUDSKDUHLQGLFDWHGLQWKHOHJHQG7KHRXWIORZIURPWKHUHVHUYRLUVUHSUHVHQWVWKHFRPSRVLWH
GLVFKDUJHIURPWKHJDWHVRIWKHWZRUHVHUYRLUV $GGLFNV DQG%DUNHU 7KHIORZUDWHLVEDVHGRQWKH
86$&(UHSRUWHGYDOXHVSHUWKH86$&(VSUHDGVKHHW7KHSUHFLSLWDWLRQYDOXHV DUHEDVHG
RQ DQ DQDO\VLVRISUHFLSLWDWLRQGDWDIRU JDXJHVIURP$XJXVWWR6HSWHPEHUREWDLQHG
IURPWKH+&)&'ZHEVLWH +&)&' 7KLHVVHQSRO\JRQVZHUHJHQHUDWHGIRUWKHSUHFLSLWDWLRQ
JDXJHVWRDFFRXQWIRUWKHVSDWLDOYDULDELOLW\LQWKHSUHFLSLWDWLRQ VHH $SSHQGL[% (DFK7KLHVVHQ
SRO\JRQ ZDV DVVLJQHG WKH UDLQ JDXJH WKDW IHOO LQ LW $Q DUHD ZHLJKHG WRWDO SUHFLSLWDWLRQ ZDV
FDOFXODWHGEDVHGRQWKHSUHFLSLWDWLRQWLPHVHULHVDQGDUHDRI7KLHVVHQSRO\JRQV7KHSUHFLSLWDWLRQ
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     3ODLQWLII7HVWLPRQ\RI2EVHUYHG&RQGLWLRQV

$FFRUGLQJWRGRZQVWUHDPSODLQWLIIWHVWLPRQ\7DEOH EHORZVXPPDUL]HVWKHUHSRUWHGHVWLPDWHG
WLPH RI ILUVW LQXQGDWLRQ WKH HVWLPDWH RI PD[LPXP REVHUYHG LQXQGDWLRQ DQG WKH GXUDWLRQGDWHV
ZKHQWKHSODLQWLIIFRXOGQRWDFFHVVWKH SURSHUW\GXHWRLQXQGDWLRQ ZKLFKLVUHSUHVHQWDWLYHRIWKH
WLPHGXUDWLRQWKDWWKHSURSHUW\ZDVLQXQGDWHG %DVHGRQWKHWHVWLPRQ\VXPPDUL]HGLQ7DEOH
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86$&(RSHQLQJWKHJDWHV

7KH (OHYDWLRQ&HUWLILFDWHVIRUHDFKRIWKHGRZQVWUHDPWHVWSURSHUWLHVZHUHUHYLHZHGLQRUGHUWR
LQYHVWLJDWH WKH VODE HOHYDWLRQ RI WKH EXLOGLQJ VWUXFWXUH RQ WKH SURSHUW\ 7KH VODE HOHYDWLRQ ZDV
FRPSDUHG WR WKH HVWLPDWH RI PD[LPXP REVHUYHG LQXQGDWLRQ GHSWK DFFRUGLQJ WR WKH SODLQWLII
WHVWLPRQ\ LQ RUGHU WR FDOFXODWH DQ HVWLPDWH RI PD[LPXP ZDWHU VXUIDFH HOHYDWLRQ 7DEOH 
SUHVHQWVWKHVODEHOHYDWLRQDQGFDOFXODWHGHVWLPDWHRIPD[LPXPREVHUYHGZDWHUVXUIDFHHOHYDWLRQ
IRUHDFKRIWKHGRZQVWUHDPWHVWSURSHUWLHV




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35,9,/(*('$1'&21),'(17,$/                                         ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                              *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                      1RYHPEHU

           7DEOH6XPPDU\RI3ODLQWLII 7HVWLPRQ\5HJDUGLQJ,QXQGDWLRQ

                               (VWLPDWHRI       (VWLPDWHRI              'XUDWLRQ
                                  )LUVW       0D[LPXP2EVHUYHG          3URSHUW\ZDV
   1XPEHU 3ODLQWLII1DPH       ,QXQGDWLRQ        ,QXQGDWLRQ              ,QDFFHVVLEOH
          0LOWRQ9LUJLQLD
                           DP            IW               8QWLO
          DQG$UQROG
         6KLSRV-HQQLIHU                        IW                8QWLO
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         ,QYHVWPHQW                              WRIW           8QWLO
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 Case 1:17-cv-09002-LAS                Document 266-2              Filed 01/10/23      Page 1531 of 1584
35,9,/(*('$1'&21),'(17,$/                                                         ,QLWLDO([SHUW2SLQLRQ5HSRUW
68%-(&7727+($77251(<&/,(1735,9,/(*(                                              *HRV\QWHF&RQVXOWDQWV,QF
$1':25.352'8&7'2&75,1(                                                                      1RYHPEHU

 7DEOH6ODE(OHYDWLRQVDQG3ODLQWLII7HVWLPRQ\5HJDUGLQJ:DWHU6XUIDFH(OHYDWLRQV

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                                           SECTION 5

                                METHODOLOGY OVERVIEW


5.1    Methodology Summary

Several lines of evidence, models, testimony, and data were used to develop the opinions presented
in SECTION 7. An overview of these methods is described here with specific details discussed in
the referenced appendices. As part of these methods, both the reported gate releases during
Hurricane Harvey in general accordance with the Induced Surcharge Operations Schedule
documented in the 2012 WCM (USACE, 2012) referred to as the “gates opened” scenario, as well
as a hypothetical “gates closed” scenario if the USACE had not opened the gates during Hurricane
Harvey in accordance with the normal flood control regulation of the 2012 WCM were considered.
An overview of hydraulic model results is provided in SECTION 6.

5.2    HEC-HMS Model Methodology

Dr. Bedient’s HEC-HMS model, which was modified from the HCFCD HEC-HMS model, was
used for this analysis. The hydrologic model results were compared to observed USGS flow data
during Hurricane Harvey. Dr. Bedient further modified this HEC-HMS model to consider a gates
closed scenario with no flanking flows (i.e., an infinitely large reservoir capacity). The purpose of
the HEC-HMS gates closed model was to evaluate and quantify precipitation-only flows within
Buffalo Bayou. Flanking flows and where they occur from the reservoirs were quantified using
the enhanced 2D HEC-RAS model (see Section 5.3.1 below).

Dr. Bedient’s HEC-HMS model was modified to include USGS measured flow rates near Addicks
and Barker Reservoirs instead of the USACE calculated gate outflow rates. In addition, flanking
flows were included where they return to Buffalo Bayou in the HEC-HMS model. The unsteady
flow rates within Buffalo Bayou were calculated from these modifications to Dr. Bedient’s HEC-
HMS model for the gates opened and gates closed hydraulic model scenarios. The flow rates within
Buffalo Bayou are considered “unsteady” since they vary with time. The unsteady flows within
Buffalo Bayou obtained from the HEC-HMS model and the flanking flows obtained from the
enhanced 2D HEC-RAS model were used as input to the 1D HEC-RAS model for both the gates
opened and gates closed scenarios. Appendix B presents additional details associated with the
development of the HEC-HMS hydrology model.

5.3    HEC-RAS Model Methodology

HEC-RAS models were utilized to predict inundation depths related to the gates opened and gates
closed hydraulic model scenarios. In both the gates opened and gates closed scenarios, water
within Addicks Reservoir is expected to flank around the ends of the dam when the storage
capacity of the reservoir is exceeded, and eventually this water will return to Buffalo Bayou at



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downstream locations. The enhanced 2D HEC-RAS model was used to quantify the amount and
identify the location of where the flanking flows return to Buffalo Bayou. The 1D HEC-RAS
model was used to quantify the resulting water surface elevation for both scenarios while taking
into account the flanking flows for each scenario.

5.3.1   2D HEC-RAS Model

The original 2D HEC-RAS model developed by USACE to analyze the two gate operation
scenarios was used as the basis for the 2D HEC-RAS analysis. In particular, model enhancements
were made to the USACE 2D HEC-RAS model to gain a general understanding of downstream
flow rates and inundation depths. These model enhancements are described in more detail in
Appendix C with specific modeling results related to flanking flows presented in Section 6.2. The
enhanced 2D HEC-RAS model was developed to investigate the gates opened and gates closed
scenarios primarily to assess when flanking flows are expected to occur under both scenarios,
where those flows might be conveyed downstream, and the resulting flow rates and locations
where the flanking flows returned to Buffalo Bayou. As further discussed in Section 6.2 below,
the gates closed scenario analysis results in larger flanking flows at Addicks Reservoir, but
flanking flows would not have occurred at Barker Reservoir. Furthermore, the enhanced 2D HEC-
RAS model is useful for understanding the tools and models available to USACE during Hurricane
Harvey for the prediction of downstream inundation.

Although the enhanced 2D HEC-RAS model can provide good estimates of where flanking flows
are expected to occur on a specified terrain, the enhanced 2D HEC-RAS model is not as precise in
approximating actual flow depths and extent of inundation due to the lack of detailed channel
geometry, bridge structures, culvert structures, and other hydraulic controls. Furthermore, HEC-
RAS is primarily a hydraulic modeling tool and was not originally developed for detailed
hydrologic modeling. Based on these limitations of the 2D HEC-RAS model, a 1D HEC-RAS
model was used to explicitly represent the hydraulic controls to approximate flow depths along
Buffalo Bayou, along with a HEC-HMS model to conduct hydrologic modeling to predict runoff
flow rates into Buffalo Bayou.

5.3.2   1D HEC-RAS Model

Dr. Bedient’s 1D HEC-RAS model (Bedient, 2018) for the upper portions of Buffalo Bayou
immediately downstream of Addicks and Barker Reservoirs was used for this analysis. Dr.
Bedient’s 1D HEC-RAS model was combined with the HCFCD 1D HEC-RAS model for the entire
length of Lower Buffalo Bayou. The combined 1D HEC-RAS model explicitly represents
hydraulic controls and will better approximate flow depths within Buffalo Bayou than the 2D
HEC-RAS model. It is our understanding that the basis for Dr. Bedient’s 1D HEC-RAS model is
the HCFCD regulatory model (HCFCD, 2018a). However, the HCFCD 1D HEC-RAS model is a
steady state floodplain model and required minor alterations to allow for unsteady state flows as
described in Appendix B.



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The 1D HEC-RAS model gates opened scenario was developed to simulate the baseline condition,
as it occurred during Hurricane Harvey and approximate the water surface elevation along Buffalo
Bayou. The 1D HEC-RAS model gates closed scenario was developed to simulate the alternate
condition if the gates had not been opened in accordance with the normal flood control regulation
of the 2012 WCM. A single geometry file was used for both scenarios. The hydraulic features,
such as bridges and channel geometry, represented in the 1D HEC-RAS model are consistent
between the gates opened and gates closed model scenarios. The only difference between the two
modeled scenarios is the flow inputs; the flow inputs are described below.

        (i)     The unsteady stormwater runoff flow rates from the watershed directly tributary to
                Buffalo Bayou were obtained from the HEC-HMS model. These flow rates are
                consistent between the two modeled scenarios.

        (ii)    Reservoir release rates reported by USGS gauges from the two reservoirs were used
                in the gates opened scenario. Under the gates closed scenario, the gates were
                assumed to have no flow.

        (iii)   Uncontrolled flanking flows from Addicks Reservoir when the pool level within
                the reservoir exceeds the natural ground elevation at the end of the dam were
                obtained from the enhanced 2D HEC-RAS model for both the gates opened and
                gates closed scenarios. Each scenario had unique flanking flows that were used in
                the corresponding modeled scenario.

5.3.3   Evaluation and Comparison of Model Output

The modeled water surface elevation (WSE) from the combined 1D HEC-RAS model was used to
support the formulation of each opinion as to which of the 13 downstream test properties were
potentially impacted by inundation due to the USACE’s decision to open the gates at Addicks and
Barker Reservoirs according to the 2012 WCM. The modeled WSE from the combined 1D HEC-
RAS model for both scenarios compared to the downstream test property slab elevation allows for
an estimation of inundation depth at each downstream test property, as well as an estimate of the
inundation duration and timing associated with the gates opened scenario. The model results,
together with plaintiff testimony as to observed inundation depths and durations, form the basis of
the opinions.

5.4     Analysis of Observed and Reported Conditions Methodology

In order to further support and interpret the combined 1D HEC-RAS modeling results related to
inundation depths and durations, other lines of evidence related to inundation at the downstream
test properties were investigated and relied upon. The deposition testimony from the 13
downstream property owners (see summary in Section 4.3) was reviewed and relied upon in the
formulation of each of the opinions. Other information relied upon included the USGS gauge



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information, high water marks collected by multiple agencies, and published information
associated with the current FEMA FIS (FEMA, 2017).




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                                         SECTION 6

                            OVERVIEW OF MODEL RESULTS


6.1    HEC-HMS Model Results

The HEC-HMS model initially prepared by Dr. Bedient as summarized in his expert report
(Bedient, 2018) along with the modifications made to this model by Geosyntec as described in
Appendix B was used to develop the 1D HEC-RAS model inputs. The flow hydrographs reported
from the HEC-HMS model, along with the flanking flows obtained from the enhanced 2D HEC-
RAS model, were used as the primary flow inputs into the combined 1D HEC-RAS model. At the
upstream boundary of the model near the Addicks and Barker Reservoirs, the measured USGS
gauge flows are used as the initial input. As flows are added downstream due to either stormwater
runoff or flanking flows from Addicks Reservoir, the resulting flow hydrographs are used as input
to the 1D HEC-RAS model. A detailed description of the HEC-HMS model development and
results are presented in Appendix B.

6.2    Enhanced 2D HEC-RAS Model Results

The enhanced 2D HEC-RAS model was developed using the USACE 2D HEC-RAS model as the
basis for model development. A detailed description of the model enhancements are provided in
Appendix C. The purpose of the enhanced 2D HEC-RAS model was to assess when flanking
flows would occur, identify where the flows would be conveyed downstream, and quantify flow
rates as they returned to Buffalo Bayou.

The enhanced 2D HEC-RAS model quantified the pool levels, flanking flow rates, and the
locations of where flanking flows would return to Buffalo Bayou under the two modeling
scenarios. Table 6-1 presents the peak pool levels and flanking flows at Addicks and Barker
Reservoirs for the gates closed scenario simulation compared to observed conditions during
Hurricane Harvey. Although pool levels within both Addicks and Barker Reservoirs would have
been higher under the gates closed scenario, Barker pool levels would still not have exceeded the
natural ground at the end of the dam during Hurricane Harvey, thereby avoiding flanking flows.
The simulated gates closed scenario pool levels are 1.17 ft and 2.40 ft higher within Addicks and
Barker Reservoirs, respectively. Flanking flows were only predicted for Addicks Reservoir under
both the gates opened and gates closed scenarios; no flanking flows were predicted for Barker
Reservoir under either scenario during Hurricane Harvey. The total peak flanking flow leaving
Addicks Reservoir was obtained from the enhanced 2D HEC-RAS model as 5,710 cfs for the gates
closed scenario, compared to approximately 2,000 cfs for the gates opened conditions as reported
during the Kauffman deposition. These flanking flows are split between the four return locations
at Buffalo Bayou and are also attenuated between the end of Addicks Reservoir and the return
locations.



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Figure 6-1 and Figure 6-2 present the observed and modeled outflows and pool levels at Addicks
and Barker Reservoirs, respectively. Figure 6-3 and Figure 6-4 present the maximum inundation
extents from the enhanced 2D HEC-RAS model results for the gates opened and gates closed
scenarios, respectively. The gates closed scenario shows no flanking flows occurred for Barker
Reservoir. Furthermore, the flanking flows that occur at Addicks Reservoir are shown to be
conveyed farther downstream before they return to Buffalo Bayou and bypass many of the
downstream test properties. For example, flanking flows from Addicks Reservoir return to Buffalo
Bayou via Turkey Creek, Rummel Creek, Spring Branch, and White Oak Bayou.

Table 6-2 below presents the summary of the enhanced 2D HEC-RAS model results; additional
model results are presented in Appendix C.

6.3    Combined 1D HEC-RAS Model Results

A combined 1D HEC-RAS model was developed using Dr. Bedient’s 1D HEC-RAS model and
the HCFCD 1D HEC-RAS model. The inflow hydrographs were obtained for the two scenarios
from the HEC-HMS model and the flanking flows from the enhanced 2D HEC-RAS model as
described in Section 5.3.2.

After inputting the HEC-HMS flows for the gates opened scenario, the resulting 1D HEC-RAS
produced flow hydrographs are very consistent with the recorded flow hydrographs at four of the
USGS gauges along Buffalo Bayou (USGS 08072600 State Hwy 6; USGS 08073500 Near
Addicks; USGS 08073600 W Belt Dr; USGS 08073700 Piney Point). As was observed with the
HEC-HMS analysis, the gates closed scenario in HEC-RAS produced flow hydrographs that show
a very distinct reduction in flow after the time the gates would have opened. To visualize the
comparison of the USGS recorded flows, the 1D HEC-RAS gates open flow, and the 1D HEC-
RAS gates closed flow; a series of graphical overlays have been prepared and included in
Appendix B.

A summary of the water surface elevation and the corresponding flow rate at each test property is
presented in Table 6-3 for the two scenarios. Along with the peak water surface elevation, the slab
elevation of each test property is indicated. In addition to the peak water surface elevation, the
results of the 1D HEC-RAS model were used to evaluate and quantify the time the test property
was likely inundated. Figure 6-5 and the associated sub-figures present the water surface elevation
hydrographs near each of the 13 downstream test properties for both scenarios.

6.4    Analysis of Observed and Reported Conditions Results

The combined 1D HEC-RAS hydraulic model results presented in Table 6-3 together with the
deposition testimony for each of the 13 downstream test property plaintiffs presented in Table 4-1
were used to approximate the inundation depth at each property based on the building slab
elevations as presented in Table 6-4. Furthermore, Table 6-5 presents the deposition testimony
for the reported duration of inundation at each of the 13 downstream test properties together with


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the modeled duration of inundation based on the duration the gates opened scenario WSE is higher
than the peak gates closed scenario WSE. These tables, together with the WSE hydrographs in
Figure 6-5 as well as plaintiff testimony form the basis of opinions.




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              Table 6-1: Summary of Gates Closed Enhanced 2D HEC-RAS Model

                                             Modeled Gates            Gates Opened
                                             Closed Scenario        Observed Conditions
                Addicks Peak Pool
                                                  110.26                      109.09
                     Level (ft)
              Barker Peak Pool Level
                                                  103.96                      101.56
                        (ft)
                Addicks Peak Gate
                                                      0                       6,440 a
                   Outflow (cfs)
                 Barker Peak Gate
                                                      0                       4,990 a
                   Outflow (cfs)
              Addicks Peak Flanking
                                                   5,710                      ~2,000 b
                    Flow (cfs)
               Barker Peak Flanking
                                                      0                          0
                    Flow (cfs)
              Addicks Timing of Peak          3:45 am on 31         7:00 am on 30 August
                Flanking Flow (cfs)            August 2017                  2017
Notes: a The calculated gate outflow rates are based on tailwater conditions reported in the USACE
         “morning report” spreadsheet; actual gate outflow rates may have been higher according to
         USGS gauge measurements.
       b
           The reported flanking flow rate is based on Kauffman deposition.




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     Table 6-2: Summary of Enhanced 2D HEC-RAS Model Flanking Flow Results

                        Peak Return Flanking Flow   Peak Return Flanking Flow
                        for Gates Opened Scenario    for Gates Closed Scenario
     Inflow Location               (cfs)                        (cfs)
      Turkey Creek                 955                         1,916
      Rummel Creek                  10                          829
      Spring Branch                173                         1,231
     White Oak Bayou               457                         1,438




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     Table 6-3: Summary of Combined 1D HEC-RAS Model Results – Test Properties

                                                                      Modeled          Modeled
                Slab    Modeled Gates               Modeled Gates    Gates Open      Gates Closed
              Elevation Opened Peak                  Closed Peak     Peak Flow        Peak Flow
   Location      (ft)     WSE (ft)                    WSE (ft)          (cfs)            (cfs)
  #1 Milton     78.61      82.78                        79.42          4,965            3,797
  #2 Shipos     80.90      82.53                        79.09           4998            3,709
 #3 Memorial 77.00 to
                           82.48                        79.01           5,016             3,787
    SMCa        77.90
   #4 Good
                78.50      82.43                        78.92           5,046             3,933
  Resourcesa
  #5 Aldred     80.20      82.13                        78.79           12,133            4,635
   #6 Hollis    76.50      80.80                        77.38           13,106             8,749
 #7 Silverman   75.09      77.81                        74.56           13,025            8,299
 #8 Godejord    74.00      77.29                        74.10           12,994            8,223
   #9 Cutts     72.00      72.13                        69.79           12,600            8,546
 #10 Beyoglu    70.10      67.17                        65.96           12,537            10,014
   #11 Azar     48.94      55.91                        55.91           12,502            11,845
   #12 Stahl    52.10      52.22                        52.22           17,502            17,502
 #13 Welling    39.40      41.87                        41.87           20,372            20,372
Notes: a #3 Memorial SMC and #4 Good Resources are located along Langham Creek downstream from
         the Addicks Reservoir outlet structure which is a tributary to Buffalo Bayou. The 1D HEC-RAS
         model represents Buffalo Bayou and does not include a Langham Creek reach. Therefore, the
         modeled peak WSE and flows are based on Buffalo Bayou conditions.




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         Table 6-4: Summary of Downstream Test Property Inundation Depths

                                                                                Difference
                             Estimate of         Modeled      Modeled            Between
                             Maximum              Gates         Gates          Gates Opened
                   Slab       Observed         Opened Peak   Closed Peak        and Gates
 Downstream      Elevation   Inundation         Inundation   Inundation        Closed WSE
 Test Property      (ft)         (ft)              (ft)          (ft)               (ft)
   #1 Milton       78.61         4.33              4.17          0.81              3.36
   #2 Shipos       80.90         1.25              1.63          0.00              3.44
  #3 Memorial     77.00 to
                             5.50 to 6.00         5.48          2.01                 3.48
     SMC           77.90
    #4 Good
                   78.50        3.33              3.93          0.42                 3.51
   Resources
   #5 Aldred      80.20          1.50             1.93          0.00                 3.34
   #6 Hollis      76.50          3.75             4.30          0.88                 3.42
 #7 Silverman     75.09          1.50             2.72          0.00                 3.25
  #8 Godejord     74.00          2.83             3.29          0.10                 3.19
    #9 Cutts      72.00          0.67             0.13          0.00                 2.34
  #10 Beyoglu     70.10          4.00             0.00          0.00                 1.21
   #11 Azar       48.94          9.75             6.97          6.97                 0.00
   #12 Stahl      52.10          3.33             0.12          0.12                 0.00
  #13 Welling     39.40         10.00             2.47          2.47                 0.00




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           Table 6-5: Summary of Downstream Test Property Inundation Durations

                                                                             Duration of Gates
                                    Reported           Modeled Gates        Opened WSE Greater
      Downstream Test              Inundation           Closed Peak          Than Gates Closed
            Property              Duration (days)        WSE (ft)             Peak WSE (days)
           #1 Milton                   12.9                79.42                    13.4
           #2 Shipos                    6.0                79.09                    13.4
      #3 Memorial SMC                  14.0                79.01                    13.5
      #4 Good Resources                12.5                78.92                    13.5
           #5 Aldred                    3.0                78.79                    12.8
            #6 Hollis                  12.0                77.38                    13.2
         #7 Silverman                  10.0                74.56                    13.2
          #8 Godejord                  10.0                74.10                    13.2
            #9 Cutts                    7.9                69.79                     9.6
         #10 Beyoglu                   10.0                65.96                     5.3
            #11 Azar                   16.0                 N/A                    12.1 a
           #12 Stahl b                  1.0                 N/A                     N/A
         #13 Welling b                  4.0                 N/A                     N/A
Notes: a The “Duration of Gates Opened WSE Greater Than Gates Closed Peak WSE (days)” for #12 Azar
          was calculated as the duration from when the gates closed WSE receded below the slab elevation
          to the time when the gates opened WSE receded below the slab elevation.
       b
           Although the gates opened scenario inundation duration is expected to be longer than the gates
           closed scenario for properties #12 Stahl and #13 Welling, the longer duration is dependent on the
           selected elevation. In general, Figures 6-5L and 6-5M show an increase in the inundation duration
           on the order of up two twelve days depending on the selected elevation.




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   Figure 6-1: Observed and Simulated Outflows and Pool Levels at Addicks Reservoir




   Figure 6-2: Observed and Simulated Outflows and Pool Levels at Barker Reservoir


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                                                                                                                                              Buffalo Bayou from      Flanking Flow into   Flanking Flow into
                                                                                                                                              Turkey Creek            Buffalo Bayou from   Buffalo Bayou from
                                                                                                                                                                      Rummel Creek         Spring Branch
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                                                                                                                                                                                                                                                              3           1.5        0                       3 Miles
                                                                                                     Maximum Inundation Depth, ft
                                                                                                     (Datum: NAVD 88)                                                                                                                                                      Privileged and Confidential
                                                                                                         0-2      7-8            15 - 16                                                                                                                             Maximum Inundation Based On Enhanced
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                                                                                                         5        11 - 12
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                                                                                                                           Barker Reservoir

                                                                                                                                                                                                                                         Flanking Flow into
                                                                                                                                                                                                                                         Buffalo Bayou from
                                                                                                                                              Flanking Flow into                                                                         White Oak Bayou
                                                                                                                                              Buffalo Bayou from      Flanking Flow into   Flanking Flow into
                                                                                                                                              Turkey Creek            Buffalo Bayou from   Buffalo Bayou from
                                                                                                                                                                      Rummel Creek         Spring Branch
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                                                                                                                                                                                                                                                              3           1.5        0                       3 Miles
                                                                                                     Maximum Inundation Depth, ft
                                                                                                     (Datum: NAVD 88)                                                                                                                                                      Privileged and Confidential
                                                                                                         0-2      7-8            15 - 16                                                                                                                             Maximum Inundation Based On Enhanced
                                                                                                                                                                                                                                                                         HEC-RAS 2D Model Results for
                                                                                                                                                                                                                                                                            Gates Closed Scenario
                                                                                                         3-4      9 - 10         > 16
                                                                                                                                                                                                                                                                                 Houston, TX

                                                                                                         5        11 - 12
                                                                                                                                                                                                                                                                                                         Figure
                                                                                                         5-6      13 - 14
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                       Difference in Peak
                       WSE during Reported
                 80    Inundation = 3.5 ft



                 75




                 70
Elevation (ft)




                 65




                 60




                 55




                 50



                                                                                  Date
                              Slab Elevation (ft)   Reported Max Inundation WSE (ft)     Gates Opened WSE (ft)     Gates Closed WSE (ft)


                                                        Figure 6-5C: Elevation Hydrograph for #3 Memorial SMC




                                                                                                                                           A1994
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                 85


                       Difference in Peak
                 80
                       WSE during Reported
                       Inundation = 7.1 ft



                 75




                 70
Elevation (ft)




                 65




                 60




                 55




                 50



                                                                                  Date
                              Slab Elevation (ft)   Reported Max Inundation WSE (ft)     Gates Opened WSE (ft)     Gates Closed WSE (ft)


                                                        Figure 6-5D: Elevation Hydrograph for #4 Good Resources




                                                                                                                                           A1995
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                 85




                 80




                 75                                Difference in Peak
                                                   WSE during Reported
                                                   Inundation = 15.3 ft

                 70
Elevation (ft)




                 65




                 60




                 55




                 50



                                                                               Date
                           Slab Elevation (ft)   Reported Max Inundation WSE (ft)     Gates Opened WSE (ft)     Gates Closed WSE (ft)


                                                     Figure 6-5E: Elevation Hydrograph for #5 Aldred




                                                                                                                                        A1996
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                 85




                 80    Difference in Peak
                       WSE during Reported
                       Inundation = 3.4 ft

                 75




                 70
Elevation (ft)




                 65




                 60




                 55




                 50



                                                                                 Date
                             Slab Elevation (ft)   Reported Max Inundation WSE (ft)     Gates Opened WSE (ft)     Gates Closed WSE (ft)


                                                       Figure 6-5F: Elevation Hydrograph for #6 Hollis




                                                                                                                                          A1997
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                 80




                 75
                                                 Difference in Peak
                                                 WSE during Reported
                                                 Inundation = 8.4 ft
                 70
Elevation (ft)




                 65




                 60




                 55




                 50



                                                                                   Date
                           Slab Elevation (ft)       Reported Max Inundation WSE (ft)     Gates Opened WSE (ft)     Gates Closed WSE (ft)


                                                         Figure 6-5G: Elevation Hydrograph for #7 Silverman




                                                                                                                                            A1998
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                 80




                 75

                                                 Difference in Peak
                                                 WSE during Reported
                                                 Inundation = 8.2 ft
                 70
Elevation (ft)




                 65




                 60




                 55




                 50



                                                                               Date
                           Slab Elevation (ft)   Reported Max Inundation WSE (ft)     Gates Opened WSE (ft)     Gates Closed WSE (ft)


                                                     Figure 6-5H: Elevation Hydrograph for #8 Godejord




                                                                                                                                        A1999
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                 75




                 70




                 65                                  Difference in Peak
                                                     WSE during Reported
Elevation (ft)




                                                     Inundation = 15.4 ft



                 60




                 55




                 50



                                                                               Date
                           Slab Elevation (ft)   Reported Max Inundation WSE (ft)     Gates Opened WSE (ft)     Gates Closed WSE (ft)


                                                     Figure 6-5I: Elevation Hydrograph for #9 Cutts




                                                                                                                                        A2000
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                 80




                 75




                 70
Elevation (ft)




                 65
                                                          Difference in Peak
                                                          WSE during Reported
                                                          Inundation = 1.2 ft

                 60




                 55




                 50



                                                                               Date
                           Slab Elevation (ft)   Reported Max Inundation WSE (ft)     Gates Opened WSE (ft)     Gates Closed WSE (ft)


                                                     Figure 6-5J: Elevation Hydrograph for #10 Beyoglu




                                                                                                                                        A2001
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                 58


                 56


                 54


                 52
Elevation (ft)




                 50


                 48


                 46


                 44


                 42


                 40



                                                                               Date
                           Slab Elevation (ft)   Reported Max Inundation WSE (ft)     Gates Opened WSE (ft)     Gates Closed WSE (ft)


                                                     Figure 6-5K: Elevation Hydrograph for #11 Azar




                                                                                                                                        A2002
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                                           SECTION 7

                    INITIAL OPINIONS ON PROPERTY INUNDATION


7.1     Opinion 1: Effect of Opening the Gates

The gates opened scenario based on the actual gate openings in general accordance with the 2012
WCM was compared to the gates closed scenario. Utilizing estimated inflow rates into the
reservoirs, calculated storage volumes behind the dams, and calculated outflow rates (from either
the gate openings or the dam flanking flows), the pool levels and flanking flows were investigated.
Hydraulic modeling results comparing the gates opened and gates closed model scenarios are
presented in Table 6-4 and Figure 6-5. The opinions presented below were formulated using these
model results, deposition testimony, and the additional information presented in this report.

In my opinion, the USACE’s decision to open the gates in general accordance with the 2012 WCM
significantly increased downstream flows within Buffalo Bayou during Hurricane Harvey. Based
on the hydraulic model results and deposition testimony, the 13 downstream test properties were
adversely impacted as a result of the USACE’s decision to implement the induced surcharge
operation schedule according to the 2012 WCM.

The resulting impact was to cause additional inundation to downstream properties along Buffalo
Bayou, including the 13 downstream test properties.

7.2     Opinion 2: Inundation of Properties in Zone 1

7.2.1   Property 1 – Milton

The property located at 850 Silvergate Drive was reported to have been damaged by the induced
surcharge releases in response to Hurricane Harvey based on the plaintiff testimony which stated
the property was inundated with up to 4.33 ft of water above the building slab elevation of 78.61
ft beginning approximately 3:00 am on 28 August 2017 and lasting until approximately 10
September 2017. The gates opened model scenario results in a modeled water surface elevation of
82.78 ft. The gates closed model scenario results in a modeled water surface elevation of 79.42 ft.

The plaintiff reported that inundation of the property did not occur until after 3:00 am on 28 August
2017, which was after the gates were opened under the induced surcharge protocol. The 1D HEC-
RAS model results show a distinct rise in the water surface elevation after the gates were opened,
which reasonably explains the flood inundation at the plaintiff’s property. The model indicates an
inundation depth of approximately 0.81 ft (9.7 in) prior to gates opening; however, this is within
the model’s uncertainty for this location. In addition, the model shows the property would have
remained significantly inundated for an extended period of time as a result of the induced
surcharge. In considering the plaintiff’s testimony and the results of the model, it is my
opinion that the plaintiff’s reported inundation depth and associated damage to the property


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was caused solely by the induced surcharge releases conducted by the USACE in general
accordance with the 2012 WCM and that inundation of and associated damage to the
property would not have occurred if the gates had remained closed.

7.2.2   Property 2 – Shipos

The property located at 931 Bayou Parkway was reported to have been damaged by the induced
surcharge releases in response to Hurricane Harvey based on the plaintiff testimony which stated
the property was inundated with up to 1.25 ft of water above the building slab elevation of 80.90
ft beginning on or about 29 August 2017 and lasting until approximately 4 September 2017. The
gates opened model scenario results in a modeled water surface elevation of 82.53 ft. The gates
closed model scenario results in a modeled water surface elevation of 79.09 ft.

The 1D HEC-RAS model results indicate the building slab would have been inundated under the
gates opened scenario and would not have been inundated under the gates closed scenario. In
considering the plaintiff’s testimony and the results of the modeling, it is my opinion that the
plaintiff’s reported inundation depth and associated damage to the property was caused
solely by the induced surcharge releases conducted by the USACE in general accordance
with the 2012 WCM and that inundation of and associated damage to the property would
not have occurred if the gates had remained closed.

7.2.3   Property 3 – Memorial SMC

The property located at 777 S. Mayde Creek Drive was reported to have been damaged by the
induced surcharge releases in response to Hurricane Harvey based on the plaintiff testimony which
stated the property was initially inundated beginning late on the night of 27 August 2017 with
approximately 6 to 8 inches of water. A maximum inundation depth of 5.5 to 6.0 ft of water above
the building slab elevations that range from 77.0 ft to 77.9 ft, with inundation lasting until 11
September 2017. The gates opened model scenario results in a modeled water surface elevation of
82.48 ft. The gates closed model scenario results in a modeled water surface elevation of 79.01 ft.

The 1D HEC-RAS model results show a distinct rise in the water surface elevation after the gates
were opened, which reasonably explains the flood inundation at the plaintiff’s property. The model
indicates an inundation depth of approximately 12 to 20 inches prior to gates opening; however,
this is within the model’s uncertainty for this location. Based on the plaintiff’s testimony regarding
observed inundation depth, it is reasonable that the property would have had a lower inundation
depth prior to the gates opening, and the model results are reasonably consistent with observed
conditions. In addition to the model results showing a distinct rise in the water surface elevation
after the gates were opened, the model shows the property would have remained significantly
inundated for an extended period of time as a result of the induced surcharge. It is my opinion
that a substantial increase in inundation depth (on the order of 3.5 to 5.5 ft) above the
plaintiff’s observed inundation depth on the far northeast corner of the property late in the
evening of 27 August 2017, and that a substantial increase in duration of inundation (on the


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order of 13 days) from a modeled duration of less than one day under the gates closed
scenario, was caused solely by the induced surcharge releases conducted by the USACE in
general accordance with the 2012 WCM, and that such additional inundation and associated
damage to the property would not have occurred if the gates had remained closed.

7.2.4   Property 4 – Good Resources

The property located at 760 Memorial Mews Street #4 was reported to have been damaged by the
induced surcharge releases in response to Hurricane Harvey based on the plaintiff testimony which
stated the property was inundated with up to 3.33 ft of water above the building slab elevation of
78.50 ft beginning approximately 11:19 am on 28 August 2017 and lasting until approximately 10
September 2017. The gates opened model scenario results indicates a modeled water surface
elevation of 82.43 ft. The gates closed model scenario indicates a modeled water surface elevation
of 78.92 ft.

The 1D HEC-RAS model results indicate the building slab would have been inundated under the
gates opened scenario with approximately 3.5 ft of inundation, consistent with the testimony. The
plaintiff reported that inundation of the property did not occur until after 11:00 am on 28 August
2017, which was after the gates were opened under the induced surcharge protocol. The 1D HEC-
RAS model results show a distinct rise in the water surface elevation after the gates were opened,
which reasonably explains the flood inundation at the plaintiff’s property. The model indicates an
inundation depth of approximately 0.42 ft (5.0 in) prior to gates opening; however, this is within
the model’s uncertainty for this location. In addition, the model shows the property would have
remained significantly inundated for an extended period of time as a result of the induced
surcharge. In considering the plaintiff’s testimony and the results of the model, it is my opinion
that the plaintiff’s property would not have been inundated under a gates closed scenario
and associated damage to the property was caused solely by the induced surcharge releases
conducted by the USACE in general accordance with the 2012 WCM and that inundation of
and associated damage to the property would not have occurred if the gates had remained
closed.

7.3     Opinion 3: Inundation of Properties in Zone 2

7.3.1   Property 5 – Aldred

The property located at 835 Thornvine Lane was reported to have been damaged by the induced
surcharge releases in response to Hurricane Harvey based on the plaintiff testimony which stated
the property was inundated with up to 1.5 ft of water above the building slab elevation of 80.20 ft
beginning on approximately 30 August 2017 and lasting until approximately 2 September 2017.
The gates opened model scenario results in a modeled water surface elevation of 82.13 ft. The
gates closed model scenario results in a modeled water surface elevation of 78.79 ft.




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The 1D HEC-RAS model results show the building slab would have been inundated under the
gates opened scenario and would not have been inundated under the gates closed scenario. In
considering the plaintiff’s testimony and the results of the model, it is my opinion that the
plaintiff’s reported inundation depth and associated damage to the property was caused
solely by the induced surcharge releases conducted by the USACE in general accordance
with the 2012 WCM and that inundation of and associated damage to the property would
not have occurred if the gates had remained closed.

7.3.2   Property 6 – Hollis

The property located at 14914 River Forest Drive was reported to have been damaged by the
induced surcharge releases in response to Hurricane Harvey based on the plaintiff testimony which
stated the property was inundated with up to 3.75 ft of water above the building slab elevation of
76.50 ft beginning on approximately 28 August 2017 and lasting until approximately 9 September
2017. The gates opened model scenario results in a modeled water surface elevation of 80.80 ft.
The gates closed model scenario results in a modeled water surface elevation of 77.38 ft.

The plaintiff reported that inundation of the property did not occur until 28 August 2017, which
was after the gates were opened under the induced surcharge protocol. The 1D HEC-RAS model
results show a distinct rise in the water surface elevation after the gates were opened, which
reasonably explains the flood inundation at the plaintiff’s property. The model indicates an
inundation depth of approximately 0.88 ft (10.6 in) prior to gates opening; however, this is within
the model’s uncertainty for this location. Based on the plaintiff’s testimony regarding observed
inundation depth, it is reasonable that the property would not have flooded prior to the gates
opening, and the model results are reasonably consistent with observed conditions. In addition, the
model shows the property would have remained significantly inundated for an extended period of
time as a result of the induced surcharge. In considering the plaintiff’s testimony and the results of
the model, it is my opinion that the plaintiff’s reported inundation depth and associated
damage to the property was caused solely by the induced surcharge releases conducted by
the USACE in general accordance with the 2012 WCM and that inundation of and associated
damage to the property would not have occurred if the gates had remained closed.

7.4     Opinion 4: Inundation of Properties in Zone 3

7.4.1   Property 7 – Silverman

The property located at 12515 Westerley Lane was reported to have been damaged by the induced
surcharge releases in response to Hurricane Harvey based on the plaintiff testimony which stated
the property was inundated with up to 1.5 ft of water above the building slab elevation of 75.09 ft
beginning on approximately 29 August 2017 and lasting until approximately 8 September 2017.
The gates opened model scenario results in a modeled water surface elevation of 77.81 ft. The
gates closed model scenario results in a modeled water surface elevation of 74.56 ft.



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The 1D HEC-RAS model results indicate the building slab would have been inundated under the
gates opened scenario and would not have been inundated under the gates closed scenario. In
considering the plaintiff’s testimony and the results of the model, it is my opinion that the
plaintiff’s reported inundation depth and associated damage to the property was caused
solely by the induced surcharge releases conducted by the USACE in general accordance
with the 2012 WCM and that inundation of and associated damage to the property would
not have occurred if the gates had remained closed.

7.4.2   Property 8 – Godejord

The property located at 14334 Heatherfield Drive was reported to have been damaged by the
induced surcharge releases in response to Hurricane Harvey based on the plaintiff testimony which
stated the property was inundated with up to 2.83 ft of water above the building slab elevation of
74.00 ft beginning on approximately 29 August 2017 and lasting until approximately 8 September
2017. The gates opened model scenario results in a modeled water surface elevation of 77.29 ft.
The gates closed model scenario results in a modeled water surface elevation of 74.10 ft.

The plaintiff reported that inundation of the property did not occur until 29 August 2017, which
was after the gates were opened under the induced surcharge protocol. The 1D HEC-RAS model
results show a distinct rise in the water surface elevation after the gates were opened, which
reasonably explains the flood inundation at the plaintiff’s property. The model indicates an
inundation depth of approximately 0.10 ft (1.2 in) prior to gates opening; however, this is within
the model’s uncertainty for this location. Based on the plaintiff’s testimony regarding observed
inundation depth, it is reasonable that the property would not have flooded prior to the gates
opening, and the model results are consistent with observed conditions. In addition, the model
shows the property would have remained significantly inundated for an extended period of time as
a result of the induced surcharge. In considering the plaintiff’s testimony and the results of the
model, it is my opinion that the plaintiff’s reported inundation depth and associated damage
to the property was caused solely by the induced surcharge releases conducted by the
USACE in general accordance with the 2012 WCM and that inundation of and associated
damage to the property would not have occurred if the gates had remained closed.

7.5     Opinion 5: Inundation of Properties in Zone 4

7.5.1   Property 9 – Cutts

The property located at 311 Blue Willow Drive was reported to have been damaged by the induced
surcharge releases in response to Hurricane Harvey based on the plaintiff testimony which stated
the property was inundated with up to 0.67 ft of water above the building slab elevation of 72.00
ft beginning around 3:00 am on 30 August 2017 and lasting until approximately 7 September 2017.
The gates opened model scenario results in a modeled water surface elevation of 72.13 ft. The
gates closed model scenario results in a modeled water surface elevation of 69.79 ft.



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The 1D HEC-RAS model results indicate the building slab would have been inundated under the
gates opened scenario and would not have been inundated under the gates closed scenario. In
considering the plaintiff’s testimony and the results of the model, it is my opinion that the
plaintiff’s reported inundation depth and associated damage to the property was caused
solely by the induced surcharge releases conducted by the USACE in general accordance
with the 2012 WCM and that inundation of and associated damage to the property would
not have occurred if the gates had remained closed despite the model results over estimating
the WSE at the property.

7.6     Opinion 6: Inundation of Properties in Zone 5

7.6.1   Property 10 – Beyoglu

The property located at 107 Warrenton Drive was reported to have been damaged by the induced
surcharge releases in response to Hurricane Harvey based on the plaintiff testimony which stated
the property was inundated with up to 4.0 ft of water above the building slab elevation of 70.10 ft
beginning on 27 August 2017 with approximately 2.0 ft of inundation and rising to 4.0 ft on 29
August 2017 and lasting until approximately 5 September 2017. The gates opened model scenario
results in a modeled water surface elevation of 67.17 ft. The gates closed model scenario results
in a modeled water surface elevation of 65.96 ft.

The plaintiff reported that inundation of the property occurred on 27 August 2017, which was
before the gates were opened under the induced surcharge protocol, but this inundation depth
increased by an additional 2.0 ft on 29 August 2017, after the gates were opened. The 1D HEC-
RAS model indicates a water surface elevation under both scenarios below the reported slab
elevation. At this distance downstream from the reservoirs along Buffalo Bayou, the model is
consistently under predicting the observed water surface elevations. However, the model results
show a distinct rise in the water surface elevation after the gates were opened, which reasonably
explains the flood inundation at the plaintiff’s property. The model results of WSE after this time
indicates a peak difference in WSE between the two scenarios of 1.2 ft. In considering the
plaintiff’s testimony and the results of the model, it is my opinion that the plaintiff’s reported
inundation depth and timing is attributable to the difference in WSE between the two
scenarios after the reported start of inundation; as result, the inundation of and associated
damage to the property is attributed to the induced surcharge releases conducted by the
USACE in general accordance with the 2012 WCM despite the model results under
estimating the WSE at the property.

7.7     Opinion 7: Inundation of Properties in Zone 6

7.7.1   Property 11 – Azar

The property located at 3 Magnolia Bend Drive was reported to have been damaged by the induced
surcharge releases in response to Hurricane Harvey based on the plaintiff testimony. The plaintiff


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testified that inundation of the property began on 25 August 2017 but was limited to the garage
until 28 August 2017 when the entire first floor of the property was inundated. The plaintiff
testified that the maximum inundation on the property was up to 9.75 ft (i.e., 117 inches) of water
above the building slab elevation of 48.94 ft and lasting until approximately 8 September 2017.

At this location downstream of the reservoirs, the gates opened and gates closed model scenarios
indicate very similar peak flow rates within Buffalo Bayou and modeled water surface elevations
of approximately 55.91 ft. However, the model shows a very distinct difference in the sustained
flow rate within Buffalo Bayou when comparing the gates opened and gates closed scenarios. The
modeled gates opened flow hydrograph at this location matches the recorded gauge flow
hydrograph very well. When the modeled gates closed flow hydrograph is compared to the
recorded flows at the Piney Point gauge (see Figure B-9 for hydrographs at USGS 08073700 in
Appendix B), a distinct decrease in the sustained flow rate is very pronounced. The gates closed
flow rate drops from nearly 11,000 cfs to approximately 2,000 cfs in less than two days. The gates
opened hydrograph shows the prolonged and sustained flow rates at elevated flood levels for a
much longer duration when compared to the gates closed scenario.

In considering the plaintiff testimony and general trends of the modeling, it is my opinion that a
substantial increase in duration of inundation (on the order of 12 days) from a modeled
duration of approximately 48 hours under the gates closed scenario, was caused solely by the
induced surcharge releases conducted by the USACE in general accordance with the 2012
WCM, and that such additional inundation of and associated damage to the property would
not have occurred if the gates had remained closed.

7.7.2   Property 12 – Stahl

The property located at 265 Chimney Rock Road was reported to have been damaged by the
induced surcharge releases in response to Hurricane Harvey based on the plaintiff testimony. The
plaintiff testified that the property was inundated with up to 3.33 ft of water above the building
slab elevation of 52.10 ft.

Downstream of the Piney Point gauge (USGS 08073700), the 1D HEC-RAS model appears to
under estimate the peak flow and water surface elevation as compared to reported values by the
USGS gauge. Due to the lack of direct observations of flood inundation by the plaintiff, a thorough
calibration of the model at this location was not feasible. Without the support of direct observations
of the flood inundation of the property, I am unable to present an informed opinion of the full cause
or duration of the inundation attributed to the induced surcharge releases.




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7.8     Opinion 8: Inundation of Properties in Zone 7

7.8.1   Property 13 – Welling

The property located at 5731 Logan Lane was reported to have been damaged by the induced
surcharge releases in response to Hurricane Harvey based on the plaintiff testimony. In addition,
Dutch Lindeburg (2018) testified that inundation of the property began on 28 August 2017, with
an observed depth of approximately 3 ft above the first floor slab elevation of 47.40 ft. Mr.
Lindeburg’s testimony reported an additional 1.5 ft of inundation (with a total depth of
approximately 4.5 ft) occurred by 2:00 am 29 August 2017. The 1D HEC-RAS model does not
adequately predict the significant flows within the channel at this point; however, the USGS gauge
08074000 Buffalo Bayou at Houston is in close proximity to the property to provide recorded flow
data.

In considering the plaintiff testimony and general trends of the USGS gauge, it is my opinion that
the observed increase in inundation on 29 August 2017 could reasonably be the result of the
induced surcharge releases conducted by the USACE in general accordance with the 2012
WCM on 28 August 2017.

7.9     Summary of Conclusions

During and after Hurricane Harvey, Addicks and Barker Reservoirs were operated in a manner
that caused downstream flooding as a result of induced surcharge operations. Induced surcharge
operations had the effect of mitigating upstream inundation, to the detriment of downstream
properties, which experienced inundation that otherwise would not have occurred. At the time of
Hurricane Harvey, USACE knew – with specificity to streets, blocks, or intersections – the
downstream impact of its decision to release water from Addicks and Barker Reservoirs pursuant
to the 2012 WCM’s induced surcharge procedures. As explained in this Report, action undertaken
by USACE to open the Addicks and Barker gates was the decision that caused the downstream
test properties to be inundated, and those properties would not have been inundated, and/or would
not have been inundated to the extent experienced during and after Hurricane Harvey, but for the
induced surcharge release 5. This decision to abandon from the long-standing policy of protecting
downstream properties increased the duration and depth of inundation.




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 No conclusions can be reached to a reasonable degree of scientific and engineering probability with respect to
downstream test property #12 Stahl.


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                                            SECTION 8

INITIAL OPINION ON ADDICKS AND BARKER SPILLWAY AND OUTLET WORKS


Geosyntec participated in a one-day duration site visit to the Addicks and Barker Reservoirs hosted
by representatives of USACE. At the time of the site visit, work was progressing on the new outlet
structures at both dam sites. The purpose of the site visit was to observe first-hand the condition
of the dams and specifically the current conditions at the north end of Addicks Dam. This area was
subjected to local overtopping and flood waters flowed around the end of the reservoir containment
system. Prior to and after the site visit, Geosyntec reviewed numerous documents related to: (i)
historical concerns published by USACE regarding safety of the two dams and outlet works, (ii)
historical rehabilitation measures for the dams and outlet works, (iii) current rehabilitation efforts
at the outlet works; (iv) the 1962 RRM and 2012 WCM; and (v) performance of the dams during
Hurricane Harvey. Based on review of these documents, Geosyntec has developed the following
observations:

   x   Hurricane Harvey resulted in pool levels of 109.09 ft (Addicks) and 101.56 ft (Barker).
       These pool levels were well within the design conditions of the reservoirs.
   x   The 2012 WCM allowed the gates to be opened resulting in significant releases of flood
       waters to Buffalo Bayou.
   x   The actions taken by USACE followed the 2012 WCM in that the gates were opened when
       pool levels in the reservoir reached elevation 101.0 ft (Addicks) and 95.7 ft (Barker).
       Furthermore, Geosyntec concurs that the USACE response to inspections and assessments
       during Hurricane Harvey were appropriate.

These observations notwithstanding, the operations of the outlet works during Hurricane Harvey
in accordance with the 2012 WCM had significant consequences to Buffalo Bayou that have been
well documented in other sections of this Report. Based on review of the history of Addicks and
Barker flood control systems (i.e., levees and outlet works), Geosyntec provides the following
opinions:

   x   When water levels in the Addicks Reservoir exceeded approximately elevation 108.0 ft,
       water was “naturally” released (or flanked) around the north end of Addicks Dam. By
       USACE assessment… “This release was observed to be limited to low velocity sheet
       flows.”
   x   The current condition of the dam at the north end of the Addicks Reservoir includes levees
       of limited height that are protected from overtopping by roller-compacted concrete. The
       levee in this area appeared to be undamaged by the overtopping during Hurricane Harvey.
       These protected levees could have sustained significantly higher floodwaters than imposed




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       during Hurricane Harvey, as the velocity of flow would likely remain quite low, due to the
       local topography.
   x   In response to dam safety concerns identified by USACE, rehabilitation efforts were
       completed by USACE after publication of the 1962 RRM to improve performance of the
       outlet works (i.e., mitigate potential for excessive seepage and piping). The previous (i.e.,
       pre-Hurricane Harvey) maximum pool of record (i.e., elevation 102.65 ft (Addicks) and
       95.2 ft (Barker)) were reached in 2016 and provided a full-scale demonstration of the
       effectiveness of rehabilitation activities at the outlet works completed since imposition of
       the 2012 WCM. Therefore, it was not necessary from a dam safety perspective to open the
       gates. In fact, post-Hurricane Harvey assessment has shown that primarily due to the
       natural flanking release at the north end of the Addicks Reservoir, there was little impact
       on impounded flood water elevation when the gates were opened.
   x   It is Geosyntec’s opinion that had the gates not been opened during Hurricane Harvey, the
       maximum pool levels would not have changed significantly and there would have been no
       significant decrease in dam safety due to levee instability and/or seepage and piping.




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                                            SECTION 9

      PRELIMINARY OPINIONS REGARDING DEFENSES THAT MAY BE RAISED


9.1       Introduction

Geosyntec has been informed that USACE may choose to advance legal theories or defenses
predicated on a hypothetical scenario assuming that the reservoirs were never constructed.
Geosyntec expresses no opinion regarding the legal validity of any such theories or defenses. To
evaluate such a hypothetical scenario, we investigated reasonable stormwater management and
infrastructure improvements that would be expected from the time the dams were built in the 1940s
until the time of Hurricane Harvey in 2017. In addition to these infrastructure improvements, it is
reasonable to assume that the land development regulations, land use, stream buffers, and other
development over the roughly 70 years from the time the dams were built to 2017 would have
varied considerably. These variations would have been driven by Federal regulations, local
ordinances, and land development pressures.

9.2       Flood Protection Measures

After the devastating floods of 1929 and 1935, the State of Texas created the Harris County Flood
Control District (HCFCD) in 1937 for the purpose of “the control, storing, preservation, and
distribution of the storm and flood waters, and the waters of the rivers and streams in Harris County
and their tributaries, for domestic, municipal, flood control, irrigation, and other useful purposes,
the reclamation and drainage of the overflow land of Harris County, the conservation of forests,
and to aid in the protection of navigation on the navigable waters by regulating the flood and storm
waters that flow into said navigable streams” (FEMA FIS, Jan 6, 2017) The Flood Insurance Study
(FIS) for Harris County, TX and Incorporate Areas dated January 6, 2017.

The FIS states that “since that time (i.e. 1937), there have been many significant projects to reduce
flood damage in Harris County. Many of these projects are the results of partnerships between the
HCFCD and the U.S. Army Corps of Engineers (USACE), Federal Emergency Management
Agency (FEMA), and others.” It is reasonable to assume that if the two dams were not constructed,
the HCFCD and their partners would have continued their efforts to evaluate and implement a
range of alternative flood mitigation practices and flood protection measures to address land
development pressure.

Reasonable alternatives to the dams which would have been required to maintain a level of land
development along Buffalo Bayou are expected to include:

      x   channel modifications such as widening, straightening, and/or lining the bayous to improve
          downstream conveyance;




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   x   additional levees around property to protect against extreme flood events within the
       bayous;
   x   improved bridge standards in terms of bridge elevation, design flows, and structural
       support;
   x   the use of detention and/or retention ponds to decrease peak flow rates and/or runoff
       volumes;
   x   residential development changes in downstream properties with respect to density,
       impervious cover, and proximity to bayous;
   x   additional diversion channels, local conveyance systems, and bypass channels to allow for
       multiple flow paths within the built environment;
   x   stormwater runoff and drainage plans for an integrated approach to the improved
       management and control of runoff;
   x   regulatory land development code changes related to building location, minimum elevation
       of structures or homes above the base flood elevation, and local drainage controls; and
   x   revised regulatory Flood Insurance Studies prepared by FEMA to map and delineate flood
       risk zones.


The central and common element influencing the implementation of flood mitigation practices and
flood protection measures within the area of interest of this Report is the flooding along Buffalo
Bayou. The purpose of each practice or measure is to reduce the risk of damage or loss of life, as
was central to the original formation of the HCFCD. This idea was reinforced when Congress
created the National Flood Insurance Program (NFIP) in 1968 to reduce flood losses and disaster
relief cost by guiding future development away from flood hazard areas where practicable,
requiring flood resistant design and construction, and transferring costs of losses to floodplain
occupants through flood insurance premiums.

As is noted on the HCFCD website (HCFCD.org), examples of flood mitigation include elevating
homes and business above the base flood, relocating homes out of the floodplain, and minimizing
the vulnerability to flood damage through both structural and nonstructural means. An important
element of the NFIP is the adoption of ordinance and development codes at the local level that
protect structures. One such example is the City of Houston’s requirement to construct buildings
with a finish floor at least two feet higher than the 500-year floodplain. This reinforces that if the
two dams were not constructed in the 1940s, alternative flood mitigation practices and flood
protection measures would have been evaluated, which would have included the establishment of
ordinances and development codes to protect structures.




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9.3       Deposition Testimony

Several of the testimonies given by the range of professions with knowledge of the flood control
and flood protection systems in the Houston area, express agreement that alternative measures
would likely have been evaluated and implemented if the two dams were not constructed.

We agree with Jeff Lindner (chief meteorologist, HCFCD) who stated in the deposition testimony
that had no dams been built, “there definitely probably would have been some engineering studies”
performed to evaluate the best flood control projects. Mr. Lindner stated that if Addicks and Barker
Reservoirs had not been constructed, the area along Buffalo Bayou would be uninhabitable,
assuming if no other measures were implemented. From the deposition, Mr. Lindner concurred
that reasonable flood risk management alternatives include:

      x   concrete lining of the bayou;
      x   widening, deepening, removing obstacles and straightening of the bayous;
      x   levees;
      x   diversion channels;
      x   storm drains and pipes constructed by municipalities;
      x   local codes for developers to build flood control systems;
      x   zoning to ensure that future development is constructed at an elevation that would
          potentially remove structures from various floodplains as an alternative for flood risk
          management; and
      x   not developing land in areas that are prone to inundation is an alternative for flood risk
          management.

We agree with Jamila Johnson (flood control manager, City of Houston) who stated in the
deposition testimony that if no dams were constructed, the floodplain would be different. She
indicated that the City of Houston would still require buildings to be built two feet higher than the
500-year floodplain. When compared to current flood protection elevations, Ms. Johnson indicated
that higher flood protection elevations would be required if no dam was constructed, or else there
would be no building at all along Buffalo Bayou. We concur that if the dams were not constructed,
the floodplain would likely be higher and would require buildings to be raised to a higher elevation
to provide the same two feet of freeboard above the 500-year floodplain.

In the deposition testimony, Braxton Coles (drainage maintenance, City of Houston) expressed
his opinion that the damage was not caused by the City’s storm drain system. Based on his
experience, rainwater typically drains in Houston within one day. After Harvey, his crews
inspected the system and found the drainage system was in good working order, and thus it is his
opinion that the water staying for a week later was not caused by the City’s system.




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9.4       Flood Risk Mapping

Through the National Flood Insurance Program (NFIP), FEMA is the recognized source for flood
risk information. Residents can readily research and understand their flood risk with online
mapping tools and obtaining readily available information such as the FIS, Water Surface Profiles,
and FEMA Flood Insurance Rate Map (FIRM). These collectively provide information to
homeowners making informed decisions. The current FIS for Harris County, TX and Incorporate
Areas is dated 6 January 2017, prior to Hurricane Harvey.

Section 2.4 “Flood Protection Measures” of the FIS states that the dams help protect the City of
Houston from floodwaters. Water is stored only for flood control and is released when flooding is
no longer a danger. When significant runoff producing storms occur, the gates are closed and
remain closed until the peak at Piney Point passes and the discharge drops below 2,000 cfs.
Reservoir releases will not be made any time the 2,000 cfs limit is exceeded (considered a non-
damaging discharge) in Buffalo Bayou at Piney Point.

9.5       Opinions

We believe based on reasonable probability and engineering judgement that alternative flood
protection measures to the Addicks and Barker Dams would have been considered and built over
the past 70 years of development, if the two dams were not constructed. These alternatives, which
would have included stormwater management, flood protection and mitigation, and improved
conveyance, would have likely provided similar or better protection to the 13 downstream test
properties when compared to the performance of the Addicks and Barker Dams during Hurricane
Harvey.

      x   It is reasonable to assume that other alternative flood protection measures would have been
          implemented in place of the reservoirs if they were not constructed. The alternative
          measures would have included structural practices and policies or ordinances to limit where
          development occurred and how structures are constructed.
      x   Alternative structural measures and practices would have likely included:
             o improvement of channel conveyance by lining the bayous with concrete or
               armoring;
             o improvement of channel conveyance by making the bayou channel wider, deeper,
               straighter, or by removing obstructions;
             o construction of levees to limit inundation;
             o construction of diversion channels;
             o expansion of culverts, trunk storm sewers, drains, and local stormwater
               management systems; and




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          o control of stormwater runoff from development by the construction of detention
            basins as part of private land development to offset potential increases to flood
            flows.
   x   Alternative policies and ordinances that would have been implemented are likely to have
       included:
          o local codes to require developers to construct stormwater management systems,
            such as detention basins to control runoff from development;
          o local codes to require developers to evaluate flood risk and construct appropriate
            flood control or management systems to protect their proposed developments;
          o local codes to protect structures from damage, such as raising the building or critical
            facilities two feet above the 500-year floodplain or requiring the use of flood proof
            material; and
          o local codes to restrict development in the floodplain and require mitigation
            measures if the floodplain is impacted by development. An example includes the
            requirement that proposed fill in the floodplain must be offset by appropriate
            compensating volume.




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                                       SECTION 10

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                                Appendix A1
                       Matt Bardol Background
                                   Including:
               x C.V.
               x List of Publications Authored in the Previous 10 Years
               x List of Cases in Which he Testified in Trail or
                 Deposition for the Previous 4 Years
               x Fee Schedule




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                                Appendix A2
                        Bob Bachus Background
                                   Including:
               x C.V.
               x List of Publications Authored in the Previous 10 Years
               x List of Cases in Which he Testified in Trail or
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                                Appendix B
         HEC-HMS and 1D HEC-RAS Model Analyses




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                                Appendix C
             Enhanced 2D HEC-RAS Model Analysis




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                                Appendix D
                      Inflow Time Series Analysis




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                               Attachment 1
  FEMA Flood Insurance Study Flood Profiles and Table 3
                          (source: FEMA, 2017)




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